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                                                                                 Exhibit A

                                  FTX Trading Ltd., et al.,
                            Summary of Time Detail by Professional
                            March 1, 2023 through March 31, 2023


Professional              Position               Billing Rate    Sum of Hours     Sum of Fees

Chris Arnett              Managing Director          $1,050.00           163.5     $171,675.00

Henry Chambers            Managing Director           $995.00            165.9     $165,070.50

Brian Cumberland          Managing Director          $1,320.00            11.7        $15,444.00

Alessandro Farsaci        Managing Director          $1,100.00            17.4        $19,140.00

Robert Gordon             Managing Director          $1,025.00           192.0     $196,800.00

Christopher Howe          Managing Director          $1,200.00            72.6        $87,120.00

Larry Iwanski             Managing Director          $1,075.00            74.1        $79,657.50

Kevin Jacobs              Managing Director          $1,100.00            14.2        $15,620.00

David Johnston            Managing Director          $1,025.00           222.4     $227,960.00

Chris Kotarba             Managing Director          $1,100.00            19.6        $21,560.00

Steve Kotarba             Managing Director          $1,100.00           227.6     $250,360.00

Joachim Lubsczyk          Managing Director          $1,100.00            13.7        $15,070.00

Jonathan Marshall         Managing Director          $1,075.00             7.0         $7,525.00

Ed Mosley                 Managing Director          $1,250.00           173.5     $216,875.00

Laureen Ryan              Managing Director          $1,075.00           107.0     $115,025.00

Jeffery Stegenga          Managing Director          $1,375.00            18.6        $25,575.00

Jonathan Zatz             Managing Director           $900.00            208.4     $187,560.00

Bill Seaway               Senior Advisor             $1,100.00            14.2        $15,620.00

Cole Broskay              Senior Director             $900.00            137.2     $123,480.00

Lorenzo Callerio          Senior Director             $875.00            186.3     $163,012.50

Alex Canale               Senior Director             $900.00            162.3     $146,070.00

Rob Casburn               Senior Director            $1,045.00            17.8        $18,601.00

James Cooper              Senior Director             $875.00            230.4     $201,600.00

Steve Coverick            Senior Director             $950.00            220.9     $209,855.00

Kora Dusendschon          Senior Director             $900.00            121.0     $108,900.00

Rob Esposito              Senior Director             $875.00            264.0     $231,000.00

Charles Evans             Senior Director             $835.00             17.8        $14,863.00

Robert Johnson            Senior Director             $900.00            193.3     $173,970.00

Louis Konig               Senior Director             $900.00            265.1     $238,590.00

Peter Kwan                Senior Director             $900.00            296.3     $266,670.00

Azmat Mohammed            Senior Director             $925.00             39.1        $36,167.50

Robert Piechota           Senior Director             $950.00              2.0         $1,900.00

Kumanan Ramanathan        Senior Director             $950.00            286.9     $272,555.00


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Professional              Position               Billing Rate    Sum of Hours    Sum of Fees

Joseph Sequeira           Senior Director             $900.00            233.5    $210,150.00

Michael Shanahan          Senior Director             $900.00            196.5    $176,850.00

Adam Titus                Senior Director             $950.00            243.2    $231,040.00

Andrey Ulyanenko          Senior Director             $950.00             46.9        $44,555.00

Sean Wilson               Senior Director            $1,045.00             3.2         $3,344.00

Kevin Baker               Director                    $750.00            174.8    $131,100.00

Gioele Balmelli           Director                    $800.00            153.4    $122,720.00

Brett Bammert             Director                    $750.00             27.6        $20,700.00

Leandro Chamma            Director                    $750.00             16.5        $12,375.00

Kim Dennison              Director                    $650.00             16.9        $10,985.00

Matthew Flynn             Director                    $775.00            218.5    $169,337.50

Steven Glustein           Director                    $800.00            296.3    $237,040.00

Drew Hainline             Director                    $800.00            259.7    $207,760.00

Kevin Kearney             Director                    $800.00            321.1    $256,880.00

Leslie Lambert            Director                    $750.00            197.9    $148,425.00

Julian Lee                Director                    $750.00            168.6    $126,450.00

Douglas Lewandowski       Director                    $800.00            214.6    $171,680.00

Hugh McGoldrick           Director                    $750.00             12.0         $9,000.00

Patrick McGrath           Director                    $750.00            151.0    $113,250.00

David Medway              Director                    $750.00            213.6    $160,200.00

Scott Peoples             Director                    $750.00             59.8        $44,850.00

Cameron Radis             Director                    $750.00            160.2    $120,150.00

Mariah Rodriguez          Director                    $750.00             66.0        $49,500.00

Christopher Sullivan      Director                    $825.00            256.8    $211,860.00

Mark vanden Belt          Director                    $750.00             57.9        $43,425.00

Zachary Voll              Director                    $750.00             18.0        $13,500.00

Gaurav Walia              Director                    $825.00            263.6    $217,470.00

William Walker            Director                    $850.00            186.8    $158,780.00

Heather Ardizzoni         Manager                     $700.00            228.6    $160,020.00

Ricardo Armando Avila     Manager                     $650.00             17.3        $11,245.00

David Dawes               Manager                     $650.00            140.8        $91,520.00

Bernice Grussing          Operations Manager          $325.00             32.7        $10,627.50

Dylan Hernandez           Manager                     $660.00              8.9         $5,874.00

Emily Hoffer              Manager                     $650.00            241.9    $157,235.00

Jan Kaiser                Senior Manager              $750.00             11.6         $8,700.00

James Lam                 Manager                     $600.00            154.8        $92,880.00

Summer Li                 Senior Manager              $670.00            110.5        $74,035.00

Samuel Mimms              Manager                     $650.00             85.1        $55,315.00

Anan Sivapalu             Manager                     $625.00            238.2    $148,875.00

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Professional              Position              Billing Rate   Sum of Hours     Sum of Fees

Austin Sloan              Manager                   $650.00            186.9     $121,485.00

Warren Su                 Manager                   $700.00             63.2         $44,240.00

Calvin Myrie              Manager                   $650.00             17.5         $11,375.00

Lilia Yurchak             Manager                   $650.00             18.0         $11,700.00

Madison Blanchard         Senior Associate          $575.00            104.0         $59,800.00

Jane Chuah                Senior Associate          $495.00             90.9         $44,995.50

Allison Cox               Senior Associate          $575.00            137.6         $79,120.00

Trevor DiNatale           Senior Associate          $700.00            237.2     $166,040.00

Jack Faett                Senior Associate          $700.00            263.6     $184,520.00

Aly Helal                 Senior Associate          $575.00            191.9     $110,342.50

Matthew Hellinghausen     Senior Associate          $575.00              8.1          $4,657.50

Daniel Kuruvilla          Senior Associate          $700.00             73.5         $51,450.00

Katie Montague            Senior Associate          $700.00            163.1     $114,170.00

Vinny Rajasekhar          Senior Associate          $530.00            235.4     $124,762.00

Matthias Schweinzer       Senior Associate          $650.00             46.0         $29,900.00

Mark Zeiss                Senior Associate          $700.00            158.1     $110,670.00

Jon Chan                  Associate                 $525.00            228.3     $119,857.50

Jack Collis               Associate                 $500.00             19.2          $9,600.00

Caoimhe Corr              Associate                 $500.00            146.2         $73,100.00

Aaron Dobbs               Associate                 $525.00            116.2         $61,005.00

Mason Ebrey               Associate                 $525.00            154.5         $81,112.50

Luke Francis              Associate                 $600.00            306.1     $183,660.00

Jared Gany                Associate                 $475.00            158.5         $75,287.50

Johnny Gonzalez           Associate                 $600.00            302.8     $181,680.00

Maya Haigis               Associate                 $525.00             57.3         $30,082.50

Andrew Heric              Associate                 $525.00            204.1     $107,152.50

Katie Lei                 Associate                 $550.00             27.1         $14,905.00

Brandon Parker            Associate                 $550.00            140.6         $77,330.00

Ishika Patel              Associate                 $525.00             57.2         $30,030.00

Breanna Price             Associate                 $525.00            159.4         $83,685.00

Sharon Schlam Batista     Associate                 $500.00             22.0         $11,000.00

Claudia Sigman            Associate                 $550.00            188.1     $103,455.00

Maximilian Simkins        Associate                 $525.00             77.7         $40,792.50

Manasa Sunkara            Associate                 $525.00            255.5     $134,137.50

Erik Taraba               Associate                 $600.00            313.5     $188,100.00

Hudson Trent              Associate                 $625.00            224.9     $140,562.50

Samuel Witherspoon        Associate                 $575.00            244.0     $140,300.00

Ran Bruck                 Consultant                $600.00            180.8     $108,480.00

Mackenzie Jones           Consultant                $600.00            207.2     $124,320.00

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Professional              Position              Billing Rate   Sum of Hours     Sum of Fees

Kathryn Zabcik            Consultant                $600.00            240.2      $144,120.00

Zach Burns                Analyst                   $500.00            236.4      $118,200.00

Lance Clayton             Analyst                   $475.00            298.1      $141,597.50

Bas Fonteijne             Analyst                   $400.00             49.0         $19,600.00

Ritchine Guerrier         Analyst                   $400.00            101.6         $40,640.00

Taylor Hubbard            Analyst                   $425.00             92.6         $39,355.00

Alec Liv-Feyman           Analyst                   $450.00            245.6      $110,520.00

Quinn Lowdermilk          Analyst                   $450.00            208.0         $93,600.00

Claire Myers              Analyst                   $425.00            259.2      $110,160.00

David Nizhner             Analyst                   $500.00            216.9      $108,450.00

Igor Radwanski             Analyst                  $450.00            207.8         $93,510.00

Matthew Ryan II           Analyst                   $450.00             20.9          $9,405.00

Nicole Simoneaux          Analyst                   $475.00            233.7      $111,007.50

David Slay                Analyst                   $525.00            273.2      $143,430.00

Cullen Stockmeyer         Analyst                   $450.00            247.7      $111,465.00

Bridger Tenney             Analyst                  $450.00            253.8      $114,210.00

Matthew Warren            Analyst                   $450.00            163.7         $73,665.00

Jack Yan                  Analyst                   $450.00            150.7         $67,815.00


                                                      Total          18,954.4   $13,320,206.50




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                                           FTX Trading Ltd., et al.,
                                       Summary of Time Detail by Task
                                     March 1, 2023 through March 31, 2023



Task Description                                                    Sum of Hours        Sum of Fees
Accounting                                                                   1,894.1    $1,310,652.00

Asset Sales                                                                   250.0       $212,351.00

Avoidance Actions                                                            2,623.4    $1,823,195.00

Business Operations                                                          3,886.3    $2,746,538.00

Business Plan                                                                 132.9         $98,200.00

Case Administration                                                           251.0       $172,617.50

Cash Management                                                               905.7       $654,474.00

Claims                                                                        271.1       $223,755.00

Contracts                                                                     386.0       $212,337.50

Court and UST Reporting                                                       219.3       $168,122.50

Creditor Cooperation                                                          204.5       $168,092.00

Disclosure Statement and Plan                                                 237.5       $157,878.00

Due Diligence                                                                 107.6         $91,255.00

Employee Matters                                                              309.0       $213,922.50

Fee Application                                                                 91.9        $49,350.00

Financial Analysis                                                           3,221.3    $2,226,613.00

Government and Regulatory Data Requests                                       177.5       $131,877.00

Intercompany                                                                  720.7       $523,516.00

Motions and Related Support                                                    88.3         $56,775.00

Non-working Travel (Billed at 50%)                                             58.8         $45,712.50

Schedules and Statements                                                     2,297.3    $1,573,985.00

Tax Initiatives                                                               376.2       $310,763.00

Vendor Management                                                             244.0       $148,225.00


                                                           Total            18,954.4   $13,320,206.50




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                             FTX Trading Ltd., et al.,
                       Summary of Time Detail by Professional
                       March 1, 2023 through March 31, 2023


Accounting                     Assist with the development and execution of the company's accounting &
                               finance functions, treasury processes & controls, and support of information
                               requirements including Petition Date cut-off and analysis of liabilities subject to
                               compromise.




Professional               Position                    Billing Rate         Sum of Hours              Sum of Fees

Chris Arnett             Managing Director                  $1,050                        2.1            $2,205.00

Henry Chambers           Managing Director                    $995                       16.5           $16,417.50

Alessandro Farsaci       Managing Director                  $1,100                        0.6              $660.00

Robert Gordon            Managing Director                  $1,025                       29.5           $30,237.50

David Johnston           Managing Director                  $1,025                       20.3           $20,807.50

Joachim Lubsczyk         Managing Director                  $1,100                        0.2              $220.00

Jonathan Marshall        Managing Director                  $1,075                        0.3              $322.50

Ed Mosley                Managing Director                  $1,250                        5.8            $7,250.00

Laureen Ryan             Managing Director                  $1,075                        0.9              $967.50

Jonathan Zatz            Managing Director                    $900                        9.2            $8,280.00

Cole Broskay             Senior Director                      $900                       21.2           $19,080.00

Alex Canale              Senior Director                      $900                        0.4              $360.00

James Cooper             Senior Director                      $875                        0.5              $437.50

Steve Coverick           Senior Director                      $950                        4.3            $4,085.00

Rob Esposito             Senior Director                      $875                        0.5              $437.50

Charles Evans            Senior Director                      $835                       11.7            $9,769.50

Robert Johnson           Senior Director                      $900                       11.6           $10,440.00

Peter Kwan               Senior Director                      $900                       21.9           $19,710.00


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                             FTX Trading Ltd., et al.,
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                       March 1, 2023 through March 31, 2023


Kumanan Ramanathan       Senior Director                 $950                0.9          $855.00

Joseph Sequeira          Senior Director                 $900              165.3    $148,770.00

Michael Shanahan         Senior Director                 $900                9.0         $8,100.00

Gioele Balmelli          Director                        $800                2.7         $2,160.00

Matthew Flynn            Director                        $775                0.4          $310.00

Drew Hainline            Director                        $800              181.6    $145,280.00

Kevin Kearney            Director                        $800              184.8    $147,840.00

Julian Lee               Director                        $750                4.9         $3,675.00

Patrick McGrath          Director                        $750                0.8          $600.00

Cameron Radis            Director                        $750                0.3          $225.00

Gaurav Walia             Director                        $825                2.3         $1,897.50

William Walker           Director                        $850                0.9          $765.00

Heather Ardizzoni        Manager                         $700               71.7     $50,190.00

Emily Hoffer             Manager                         $650                8.9         $5,785.00

James Lam                Manager                         $600                9.3         $5,580.00

Summer Li                Senior Manager                  $670               62.9     $42,143.00

Jane Chuah               Senior Associate                $495               73.2     $36,234.00

Jack Faett               Senior Associate                $700              205.5    $143,850.00

Aly Helal                Senior Associate                $575               26.1     $15,007.50

Daniel Kuruvilla         Senior Associate                $700                3.8         $2,660.00

Katie Montague           Senior Associate                $700                0.7          $490.00

Vinny Rajasekhar         Senior Associate                $530                6.1         $3,233.00

Mark Zeiss               Senior Associate                $700                0.3          $210.00

Jon Chan                 Associate                       $525                6.4         $3,360.00



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                              FTX Trading Ltd., et al.,
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Caoimhe Corr              Associate                           $500            8.7         $4,350.00

Aaron Dobbs               Associate                           $525            0.6          $315.00

Mason Ebrey               Associate                           $525           34.7     $18,217.50

Luke Francis              Associate                           $600            7.9         $4,740.00

Maya Haigis               Associate                           $525            9.2         $4,830.00

Ishika Patel              Associate                           $525            0.5          $262.50

Breanna Price             Associate                           $525           31.7     $16,642.50

Sharon Schlam Batista     Associate                           $500            3.2         $1,600.00

Maximilian Simkins        Associate                           $525            1.4          $735.00

Ran Bruck                 Consultant                          $600          177.1    $106,260.00

Mackenzie Jones           Consultant                          $600           31.8     $19,080.00

Kathryn Zabcik            Consultant                          $600          164.8     $98,880.00

Zach Burns                Analyst                             $500          175.7     $87,850.00

Bas Fonteijne             Analyst                             $400           26.8     $10,720.00

Alec Liv-Feyman           Analyst                             $450            3.2         $1,440.00

David Nizhner             Analyst                             $500            1.2          $600.00

David Slay                Analyst                             $525            0.5          $262.50

Bridger Tenney            Analyst                             $450            9.8         $4,410.00

Jack Yan                  Analyst                             $450           19.0         $8,550.00

                                                                           1894.1   $1,310,652.00


                                       Average Billing Rate                                $691.97




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                             FTX Trading Ltd., et al.,
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Asset Sales                    Assist the Debtors and advisors with various asset sales processes including
                               discussions with potential buyers, attaining and submitting information for buyer
                               diligence related to the sale, supplying supporting analysis/forecasts, and
                               support drafting of related purchase agreements (including schedules).




Professional               Position                   Billing Rate        Sum of Hours             Sum of Fees

Chris Arnett             Managing Director                 $1,050                     48.6           $51,030.00

Alessandro Farsaci       Managing Director                 $1,100                     10.5           $11,550.00

Robert Gordon            Managing Director                 $1,025                      3.0            $3,075.00

David Johnston           Managing Director                 $1,025                     12.7           $13,017.50

Joachim Lubsczyk         Managing Director                 $1,100                      3.1            $3,410.00

Ed Mosley                Managing Director                 $1,250                     14.1           $17,625.00

Steve Coverick           Senior Director                      $950                    24.9           $23,655.00

Charles Evans            Senior Director                      $835                     3.1            $2,588.50

Kumanan Ramanathan       Senior Director                      $950                     3.6            $3,420.00

Adam Titus               Senior Director                      $950                     0.8              $760.00

Gioele Balmelli          Director                             $800                    22.3           $17,840.00

Drew Hainline            Director                             $800                     0.5              $400.00

Matthias Schweinzer      Senior Associate                     $650                    23.3           $15,145.00

Caoimhe Corr             Associate                            $500                     1.3              $650.00

Hudson Trent             Associate                            $625                    73.6           $46,000.00

Nicole Simoneaux         Analyst                              $475                     4.6            $2,185.00

                                                                                     250.0          $212,351.00


                                       Average Billing Rate                                             $849.40


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                              FTX Trading Ltd., et al.,
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Avoidance Actions               Assist the Debtors with evaluating and analyzing potential preference and
                                avoidance actions.




Professional                Position                   Billing Rate        Sum of Hours            Sum of Fees

Chris Arnett              Managing Director                 $1,050                      0.6             $630.00

Robert Gordon             Managing Director                 $1,025                      1.9           $1,947.50

Larry Iwanski             Managing Director                 $1,075                      0.5             $537.50

Ed Mosley                 Managing Director                 $1,250                      8.5          $10,625.00

Laureen Ryan              Managing Director                 $1,075                     99.5         $106,962.50

Lorenzo Callerio          Senior Director                     $875                      1.4           $1,225.00

Alex Canale               Senior Director                     $900                    156.7         $141,030.00

Steve Coverick            Senior Director                     $950                      9.0           $8,550.00

Robert Johnson            Senior Director                     $900                      0.7             $630.00

Louis Konig               Senior Director                     $900                      2.9           $2,610.00

Peter Kwan                Senior Director                     $900                      0.5             $450.00

Kumanan Ramanathan        Senior Director                     $950                      2.8           $2,660.00

Michael Shanahan          Senior Director                     $900                    166.5         $149,850.00

Adam Titus                Senior Director                     $950                      0.4             $380.00

Steven Glustein           Director                            $800                      0.9             $720.00

Kevin Kearney             Director                            $800                      2.3           $1,840.00

Leslie Lambert            Director                            $750                      0.8             $600.00

Julian Lee                Director                            $750                    146.3         $109,725.00


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Patrick McGrath           Director                    $750             142.4     $106,800.00

David Medway              Director                    $750             213.6     $160,200.00

Scott Peoples             Director                    $750              59.6      $44,700.00

Cameron Radis             Director                    $750             138.9     $104,175.00

Mariah Rodriguez          Director                    $750               0.4          $300.00

Gaurav Walia              Director                    $825               0.8          $660.00

David Dawes               Manager                     $650             140.5      $91,325.00

Emily Hoffer              Manager                     $650             219.9     $142,935.00

Samuel Mimms              Manager                     $650              85.1      $55,315.00

Austin Sloan              Manager                     $650             180.1     $117,065.00

Madison Blanchard         Senior Associate            $575             103.6      $59,570.00

Allison Cox               Senior Associate            $575             136.1      $78,257.50

Aly Helal                 Senior Associate            $575             114.0      $65,550.00

Mark Zeiss                Senior Associate            $700               1.0          $700.00

Jon Chan                  Associate                   $525               4.8       $2,520.00

Aaron Dobbs               Associate                   $525             115.3      $60,532.50

Mason Ebrey               Associate                   $525             117.8      $61,845.00

Maya Haigis               Associate                   $525              30.7      $16,117.50

Ishika Patel              Associate                   $525              55.8      $29,295.00

Breanna Price             Associate                   $525             120.0      $63,000.00

Maximilian Simkins        Associate                   $525              39.7      $20,842.50

Manasa Sunkara            Associate                   $525               0.3          $157.50

Quinn Lowdermilk          Analyst                     $450               0.3          $135.00

Igor Radwanski            Analyst                     $450               0.5          $225.00



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               FTX Trading Ltd., et al.,
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                                                       2623.4   $1,823,195.00


                    Average Billing Rate                               $694.97




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                              FTX Trading Ltd., et al.,
                        Summary of Time Detail by Professional
                        March 1, 2023 through March 31, 2023


Business Operations             Assist the Debtors in the development, consideration, and execution of
                                operational restructuring strategies for the various Debtors' businesses,
                                including advisory regarding management of the Debtors' cryptocurrency assets.




Professional                Position                  Billing Rate        Sum of Hours           Sum of Fees

Chris Arnett              Managing Director                $1,050                    23.8          $24,990.00

Henry Chambers            Managing Director                  $995                    74.7          $74,326.50

Alessandro Farsaci        Managing Director                $1,100                     0.4             $440.00

Robert Gordon             Managing Director                $1,025                    15.0          $15,375.00

Larry Iwanski             Managing Director                $1,075                    64.0          $68,800.00

David Johnston            Managing Director                $1,025                    48.0          $49,200.00

Chris Kotarba             Managing Director                $1,100                     0.1             $110.00

Steve Kotarba             Managing Director                $1,100                     5.8           $6,380.00

Joachim Lubsczyk          Managing Director                $1,100                     4.8           $5,280.00

Jonathan Marshall         Managing Director                $1,075                     6.7           $7,202.50

Ed Mosley                 Managing Director                $1,250                    19.4          $24,250.00

Laureen Ryan              Managing Director                $1,075                     1.8           $1,935.00

Jeffery Stegenga          Managing Director                $1,375                    10.7          $14,712.50

Jonathan Zatz             Managing Director                  $900                   190.6         $171,540.00

Cole Broskay              Senior Director                    $900                     2.3           $2,070.00

Lorenzo Callerio          Senior Director                    $875                   113.9          $99,662.50

Alex Canale               Senior Director                    $900                     2.8           $2,520.00

James Cooper              Senior Director                    $875                     5.2           $4,550.00


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Steve Coverick           Senior Director              $950              30.9      $29,355.00

Kora Dusendschon         Senior Director              $900             109.8      $98,820.00

Rob Esposito             Senior Director              $875               2.6       $2,275.00

Charles Evans            Senior Director              $835               1.3       $1,085.50

Robert Johnson           Senior Director              $900             152.2     $136,980.00

Louis Konig              Senior Director              $900              36.0      $32,400.00

Peter Kwan               Senior Director              $900             125.5     $112,950.00

Azmat Mohammed           Senior Director              $925              37.2      $34,410.00

Kumanan Ramanathan       Senior Director              $950             169.0     $160,550.00

Joseph Sequeira          Senior Director              $900               0.5          $450.00

Michael Shanahan         Senior Director              $900               2.2       $1,980.00

Adam Titus               Senior Director              $950              13.3      $12,635.00

Sean Wilson              Senior Director             $1,045              3.2       $3,344.00

Kevin Baker              Director                     $750             105.2      $78,900.00

Gioele Balmelli          Director                     $800              12.9      $10,320.00

Brett Bammert            Director                     $750              20.0      $15,000.00

Leandro Chamma           Director                     $750              12.3       $9,225.00

Kim Dennison             Director                     $650              13.3       $8,645.00

Matthew Flynn            Director                     $775             148.2     $114,855.00

Steven Glustein          Director                     $800              10.4       $8,320.00

Kevin Kearney            Director                     $800               7.5       $6,000.00

Leslie Lambert           Director                     $750             191.2     $143,400.00

Julian Lee               Director                     $750               5.1       $3,825.00

Hugh McGoldrick          Director                     $750               1.4       $1,050.00



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Patrick McGrath           Director                    $750               3.5       $2,625.00

Cameron Radis             Director                    $750              21.0      $15,750.00

Mariah Rodriguez          Director                    $750              63.8      $47,850.00

Christopher Sullivan      Director                    $825               0.2          $165.00

Mark vanden Belt          Director                    $750               6.2       $4,650.00

Zachary Voll              Director                    $750              10.0       $7,500.00

Gaurav Walia              Director                    $825             122.6     $101,145.00

William Walker            Director                    $850              46.5      $39,525.00

Heather Ardizzoni         Manager                     $700              66.0      $46,200.00

Ricardo Armando Avila     Manager                     $650              12.8       $8,320.00

David Dawes               Manager                     $650               0.3          $195.00

Emily Hoffer              Manager                     $650               2.8       $1,820.00

Jan Kaiser                Senior Manager              $750              11.6       $8,700.00

James Lam                 Manager                     $600              47.5      $28,500.00

Summer Li                 Senior Manager              $670              14.0       $9,380.00

Anan Sivapalu             Manager                     $625              16.8      $10,500.00

Austin Sloan              Manager                     $650               6.8       $4,420.00

Calvin Myrie              Manager                     $650               6.6       $4,290.00

Lilia Yurchak             Manager                     $650              18.0      $11,700.00

Madison Blanchard         Senior Associate            $575               0.4          $230.00

Jane Chuah                Senior Associate            $495               5.7       $2,821.50

Allison Cox               Senior Associate            $575               1.2          $690.00

Aly Helal                 Senior Associate            $575              31.0      $17,825.00

Matthew Hellinghausen     Senior Associate            $575               8.1       $4,657.50



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Katie Montague            Senior Associate            $700               1.4          $980.00

Vinny Rajasekhar          Senior Associate            $530              34.1      $18,073.00

Jon Chan                  Associate                   $525             162.9      $85,522.50

Jack Collis               Associate                   $500               6.7       $3,350.00

Caoimhe Corr              Associate                   $500              37.0      $18,500.00

Aaron Dobbs               Associate                   $525               0.3          $157.50

Mason Ebrey               Associate                   $525               2.0       $1,050.00

Luke Francis              Associate                   $600              20.9      $12,540.00

Johnny Gonzalez           Associate                   $600               1.1          $660.00

Maya Haigis               Associate                   $525              17.4       $9,135.00

Andrew Heric              Associate                   $525             194.1     $101,902.50

Breanna Price             Associate                   $525               7.7       $4,042.50

Sharon Schlam Batista     Associate                   $500               8.3       $4,150.00

Maximilian Simkins        Associate                   $525              36.6      $19,215.00

Manasa Sunkara            Associate                   $525             185.9      $97,597.50

Erik Taraba               Associate                   $600               0.6          $360.00

Hudson Trent              Associate                   $625              40.2      $25,125.00

Mackenzie Jones           Consultant                  $600               1.8       $1,080.00

Lance Clayton             Analyst                     $475              22.8      $10,830.00

Bas Fonteijne             Analyst                     $400               4.7       $1,880.00

Alec Liv-Feyman           Analyst                     $450              37.8      $17,010.00

Quinn Lowdermilk          Analyst                     $450             176.6      $79,470.00

David Nizhner             Analyst                     $500               8.7       $4,350.00

Igor Radwanski            Analyst                     $450             182.6      $82,170.00



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Nicole Simoneaux        Analyst                          $475           2.0          $950.00

David Slay              Analyst                          $525          19.8     $10,395.00

Cullen Stockmeyer       Analyst                          $450         159.0     $71,550.00

Bridger Tenney          Analyst                          $450           6.1      $2,745.00

Matthew Warren          Analyst                          $450         145.2     $65,340.00

Jack Yan                Analyst                          $450          37.4     $16,830.00

                                                                     3886.3   $2,746,538.00


                                  Average Billing Rate                               $706.72




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Business Plan                  Advise and assist the Debtors with the planning, development, evaluation and
                               implementation of the Debtors' strategic, business and operating plans including
                               the coordination and preparation of the related financial projections.




Professional               Position                   Billing Rate        Sum of Hours            Sum of Fees

Robert Gordon            Managing Director                 $1,025                      1.4           $1,435.00

Ed Mosley                Managing Director                 $1,250                      0.5             $625.00

Steve Coverick           Senior Director                      $950                    10.2           $9,690.00

Kumanan Ramanathan       Senior Director                      $950                     1.6           $1,520.00

Joseph Sequeira          Senior Director                      $900                     4.5           $4,050.00

Christopher Sullivan     Director                             $825                    45.8          $37,785.00

Katie Montague           Senior Associate                     $700                    46.2          $32,340.00

Johnny Gonzalez          Associate                            $600                     2.5           $1,500.00

Hudson Trent             Associate                            $625                     0.3             $187.50

Nicole Simoneaux         Analyst                              $475                     0.3             $142.50

David Slay               Analyst                              $525                     1.4             $735.00

Bridger Tenney           Analyst                              $450                    18.2           $8,190.00

                                                                                    132.9           $98,200.00


                                       Average Billing Rate                                            $738.90




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Case Administration             Address administrative matters related to the case, including: coordinating
                                meeting conference calls and the delivery of information, and preparing or
                                reviewing court documents and general case management.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Chris Arnett              Managing Director                 $1,050                       3.1           $3,255.00

Robert Gordon             Managing Director                 $1,025                       8.8           $9,020.00

David Johnston            Managing Director                 $1,025                       1.2           $1,230.00

Steve Kotarba             Managing Director                 $1,100                       1.5           $1,650.00

Ed Mosley                 Managing Director                 $1,250                     13.6           $17,000.00

Laureen Ryan              Managing Director                 $1,075                       2.8           $3,010.00

Jeffery Stegenga          Managing Director                 $1,375                       0.8           $1,100.00

Cole Broskay              Senior Director                     $900                       1.0             $900.00

Lorenzo Callerio          Senior Director                     $875                       1.0             $875.00

James Cooper              Senior Director                     $875                       2.9           $2,537.50

Steve Coverick            Senior Director                     $950                     25.5           $24,225.00

Rob Esposito              Senior Director                     $875                       9.7           $8,487.50

Kumanan Ramanathan        Senior Director                     $950                       4.3           $4,085.00

Adam Titus                Senior Director                     $950                       3.6           $3,420.00

Kevin Kearney             Director                            $800                       0.4             $320.00

Douglas Lewandowski       Director                            $800                       0.4             $320.00

Christopher Sullivan      Director                            $825                       2.3           $1,897.50

Trevor DiNatale           Senior Associate                    $700                       2.8           $1,960.00


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Luke Francis             Associate                          $600          36.6      $21,960.00

Johnny Gonzalez          Associate                          $600           8.7       $5,220.00

Erik Taraba              Associate                          $600           5.3       $3,180.00

Hudson Trent             Associate                          $625          18.9      $11,812.50

Samuel Witherspoon       Associate                          $575           0.3          $172.50

Lance Clayton            Analyst                            $475          12.0       $5,700.00

Alec Liv-Feyman          Analyst                            $450           0.3          $135.00

Claire Myers             Analyst                            $425          27.0      $11,475.00

David Nizhner            Analyst                            $500          11.9       $5,950.00

Nicole Simoneaux         Analyst                            $475           0.9          $427.50

David Slay               Analyst                            $525          23.5      $12,337.50

Cullen Stockmeyer        Analyst                            $450          19.4       $8,730.00

Bridger Tenney           Analyst                            $450           0.5          $225.00

                                                                         251.0     $172,617.50


                                     Average Billing Rate                               $687.72




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Cash Management                 Identify and implement short-term cash management procedures; prepare
                                financial information for distribution to official committee of unsecured creditors
                                and other interested parties, including, but not limited to cash flow projections
                                and budgets, cash receipts and disbursement analysis.




Professional                Position                    Billing Rate         Sum of Hours             Sum of Fees

Chris Arnett              Managing Director                  $1,050                       7.1            $7,455.00

Henry Chambers            Managing Director                    $995                       8.2            $8,159.00

Alessandro Farsaci        Managing Director                  $1,100                       0.7              $770.00

Robert Gordon             Managing Director                  $1,025                       0.7              $717.50

David Johnston            Managing Director                  $1,025                      41.2           $42,230.00

Joachim Lubsczyk          Managing Director                  $1,100                       2.3            $2,530.00

Ed Mosley                 Managing Director                  $1,250                      25.8           $32,250.00

Jeffery Stegenga          Managing Director                  $1,375                       0.9            $1,237.50

Lorenzo Callerio          Senior Director                      $875                       0.9              $787.50

James Cooper              Senior Director                      $875                     212.6          $186,025.00

Steve Coverick            Senior Director                      $950                      23.0           $21,850.00

Louis Konig               Senior Director                      $900                       0.2              $180.00

Peter Kwan                Senior Director                      $900                       0.2              $180.00

Kumanan Ramanathan        Senior Director                      $950                       2.9            $2,755.00

Adam Titus                Senior Director                      $950                       0.3              $285.00

Gioele Balmelli           Director                             $800                      69.4           $55,520.00

Julian Lee                Director                             $750                       0.5              $375.00

Mark vanden Belt          Director                             $750                       8.0            $6,000.00


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Gaurav Walia              Director                            $825           0.6          $495.00

Emily Hoffer              Manager                             $650           0.8          $520.00

James Lam                 Manager                             $600           4.3       $2,580.00

Summer Li                 Senior Manager                      $670           3.0       $2,010.00

Aly Helal                 Senior Associate                    $575           9.0       $5,175.00

Katie Montague            Senior Associate                    $700           0.8          $560.00

Matthias Schweinzer       Senior Associate                    $650          21.0      $13,650.00

Caoimhe Corr              Associate                           $500          21.1      $10,550.00

Johnny Gonzalez           Associate                           $600           4.1       $2,460.00

Erik Taraba               Associate                           $600         129.4      $77,640.00

Hudson Trent              Associate                           $625           0.5          $312.50

Samuel Witherspoon        Associate                           $575         230.0     $132,250.00

Bas Fonteijne             Analyst                             $400           2.1          $840.00

David Nizhner             Analyst                             $500          19.2       $9,600.00

Nicole Simoneaux          Analyst                             $475          34.7      $16,482.50

David Slay                Analyst                             $525          12.7       $6,667.50

Cullen Stockmeyer         Analyst                             $450           0.6          $270.00

Bridger Tenney            Analyst                             $450           1.2          $540.00

Jack Yan                  Analyst                             $450           5.7       $2,565.00

                                                                           905.7     $654,474.00


                                       Average Billing Rate                               $722.62




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Claims                          Advise and assist the Debtors in questions and processes regarding the claims
                                reconciliation process: including, among other things, claims planning process,
                                potential claim analysis, review of claims filed against the Debtors and other
                                claim related items.




Professional                Position                   Billing Rate        Sum of Hours            Sum of Fees

Chris Arnett              Managing Director                 $1,050                      0.4             $420.00

Henry Chambers            Managing Director                   $995                      6.5           $6,467.50

Steve Kotarba             Managing Director                 $1,100                     43.3          $47,630.00

Ed Mosley                 Managing Director                 $1,250                     10.8          $13,500.00

Laureen Ryan              Managing Director                 $1,075                      0.2             $215.00

Alex Canale               Senior Director                     $900                      0.3             $270.00

Steve Coverick            Senior Director                     $950                     11.4          $10,830.00

Rob Esposito              Senior Director                     $875                     47.8          $41,825.00

Louis Konig               Senior Director                     $900                      0.6             $540.00

Azmat Mohammed            Senior Director                     $925                      1.5           $1,387.50

Kumanan Ramanathan        Senior Director                     $950                      4.8           $4,560.00

Michael Shanahan          Senior Director                     $900                      0.2             $180.00

Douglas Lewandowski       Director                            $800                     63.3          $50,640.00

Patrick McGrath           Director                            $750                      1.8           $1,350.00

Scott Peoples             Director                            $750                      0.2             $150.00

Allison Cox               Senior Associate                    $575                      0.3             $172.50

Trevor DiNatale           Senior Associate                    $700                     12.7           $8,890.00

Mark Zeiss                Senior Associate                    $700                      2.8           $1,960.00


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Luke Francis            Associate                          $600           9.9       $5,940.00

Johnny Gonzalez         Associate                          $600          12.6       $7,560.00

Hudson Trent            Associate                          $625           2.1       $1,312.50

Zach Burns              Analyst                            $500           0.9          $450.00

Taylor Hubbard          Analyst                            $425           8.1       $3,442.50

Claire Myers            Analyst                            $425           5.2       $2,210.00

David Nizhner           Analyst                            $500           2.7       $1,350.00

Nicole Simoneaux        Analyst                            $475           3.4       $1,615.00

David Slay              Analyst                            $525          14.7       $7,717.50

Cullen Stockmeyer       Analyst                            $450           0.7          $315.00

Bridger Tenney          Analyst                            $450           1.9          $855.00

                                                                        271.1     $223,755.00


                                    Average Billing Rate                               $825.36




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Contracts                       Advise and assist management in preparing for and negotiating various
                                agreement and accommodations with key partners/affiliates, suppliers, and
                                vendors and analysis of contract rejection claims.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Chris Arnett              Managing Director                $1,050                     18.7          $19,635.00

David Johnston            Managing Director                $1,025                      0.2             $205.00

Steve Kotarba             Managing Director                $1,100                      0.7             $770.00

Steve Coverick            Senior Director                    $950                      1.6           $1,520.00

Rob Esposito              Senior Director                    $875                      2.1           $1,837.50

Kumanan Ramanathan        Senior Director                    $950                      0.2             $190.00

Douglas Lewandowski       Director                           $800                     35.0          $28,000.00

Mark vanden Belt          Director                           $750                      0.2             $150.00

William Walker            Director                           $850                      2.7           $2,295.00

Katie Montague            Senior Associate                   $700                     38.1          $26,670.00

Caoimhe Corr              Associate                          $500                      0.2             $100.00

Luke Francis              Associate                          $600                     19.2          $11,520.00

Jared Gany                Associate                          $475                     32.1          $15,247.50

Johnny Gonzalez           Associate                          $600                      3.5           $2,100.00

Hudson Trent              Associate                          $625                      7.4           $4,625.00

Lance Clayton             Analyst                            $475                      9.1           $4,322.50

Ritchine Guerrier         Analyst                            $400                     41.3          $16,520.00

Taylor Hubbard            Analyst                            $425                     84.5          $35,912.50


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Claire Myers          Analyst                          $425           0.2           $85.00

Nicole Simoneaux      Analyst                          $475          23.3      $11,067.50

Bridger Tenney        Analyst                          $450          65.7      $29,565.00

                                                                    386.0     $212,337.50


                                Average Billing Rate                               $550.10




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Court and UST Reporting           Assist the Debtors with the preparation of the Initial Debtor Interview
                                  requirements, Initial Operating Report, Form 26 and other related matters for the
                                  US Trustee.




Professional                  Position                   Billing Rate         Sum of Hours             Sum of Fees

Robert Gordon               Managing Director                  $1,025                     16.1           $16,502.50

Ed Mosley                   Managing Director                  $1,250                      0.2             $250.00

Jeffery Stegenga            Managing Director                  $1,375                      0.4             $550.00

Cole Broskay                Senior Director                      $900                     77.7           $69,930.00

James Cooper                Senior Director                      $875                      0.4             $350.00

Joseph Sequeira             Senior Director                      $900                      6.9            $6,210.00

Drew Hainline               Director                             $800                     20.1           $16,080.00

Kevin Kearney               Director                             $800                      1.2             $960.00

Heather Ardizzoni           Manager                              $700                      0.3             $210.00

Trevor DiNatale             Senior Associate                     $700                      0.9             $630.00

Samuel Witherspoon          Associate                            $575                     10.0            $5,750.00

Mackenzie Jones             Consultant                           $600                     81.5           $48,900.00

David Nizhner               Analyst                              $500                      3.6            $1,800.00

                                                                                         219.3         $168,122.50


                                          Average Billing Rate                                             $766.63




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Creditor Cooperation            Prepare for and attend meetings and participate in negotiations with the Official
                                Committee of Unsecured Creditors, other interested parties and their advisors.




Professional                Position                   Billing Rate         Sum of Hours             Sum of Fees

Chris Arnett              Managing Director                  $1,050                     11.3           $11,865.00

Alessandro Farsaci        Managing Director                  $1,100                      1.0            $1,100.00

Robert Gordon             Managing Director                  $1,025                      6.3            $6,457.50

David Johnston            Managing Director                  $1,025                      1.0            $1,025.00

Steve Kotarba             Managing Director                  $1,100                      2.3            $2,530.00

Ed Mosley                 Managing Director                  $1,250                     26.4           $33,000.00

Laureen Ryan              Managing Director                  $1,075                      1.3            $1,397.50

Jeffery Stegenga          Managing Director                  $1,375                      0.5              $687.50

Lorenzo Callerio          Senior Director                      $875                     14.6           $12,775.00

Alex Canale               Senior Director                      $900                      1.7            $1,530.00

James Cooper              Senior Director                      $875                      5.8            $5,075.00

Steve Coverick            Senior Director                      $950                     14.4           $13,680.00

Kora Dusendschon          Senior Director                      $900                      0.6              $540.00

Rob Esposito              Senior Director                      $875                      1.6            $1,400.00

Louis Konig               Senior Director                      $900                      0.5              $450.00

Peter Kwan                Senior Director                      $900                      4.4            $3,960.00

Kumanan Ramanathan        Senior Director                      $950                     16.6           $15,770.00

Kevin Baker               Director                             $750                      5.2            $3,900.00


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Gioele Balmelli          Director                            $800           0.8          $640.00

Matthew Flynn            Director                            $775           3.3       $2,557.50

Kevin Kearney            Director                            $800           8.0       $6,400.00

Gaurav Walia             Director                            $825           1.4       $1,155.00

William Walker           Director                            $850           2.2       $1,870.00

Katie Montague           Senior Associate                    $700           7.1       $4,970.00

Vinny Rajasekhar         Senior Associate                    $530           2.4       $1,272.00

Matthias Schweinzer      Senior Associate                    $650           1.0          $650.00

Erik Taraba              Associate                           $600           7.4       $4,440.00

Hudson Trent             Associate                           $625          10.8       $6,750.00

Samuel Witherspoon       Associate                           $575           1.4          $805.00

Igor Radwanski           Analyst                             $450           0.6          $270.00

Cullen Stockmeyer        Analyst                             $450          42.6      $19,170.00

                                                                          204.5     $168,092.00


                                      Average Billing Rate                               $821.97




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Disclosure Statement and Plan      Assist the Debtors and advisors with various analyses and assessment of the
                                   components included in and relating to the POR, Disclosure Statement,
                                   Schedules and related documents. Complete analyses and assist the Debtors
                                   with the Plan or Reorganization and Disclosure Statement.




Professional                    Position                 Billing Rate        Sum of Hours            Sum of Fees

Robert Gordon               Managing Director                 $1,025                      2.4           $2,460.00

Ed Mosley                   Managing Director                 $1,250                      0.4            $500.00

Jeffery Stegenga            Managing Director                 $1,375                      0.4            $550.00

James Cooper                Senior Director                       $875                    0.4            $350.00

Steve Coverick              Senior Director                       $950                    1.9           $1,805.00

Kumanan Ramanathan          Senior Director                       $950                    0.4            $380.00

Drew Hainline               Director                              $800                    0.3            $240.00

Christopher Sullivan        Director                              $825                  81.7          $67,402.50

Gaurav Walia                Director                              $825                    0.4            $330.00

Vinny Rajasekhar            Senior Associate                      $530                    0.6            $318.00

Johnny Gonzalez             Associate                             $600                  74.6          $44,760.00

Ran Bruck                   Consultant                            $600                    0.3            $180.00

David Slay                  Analyst                               $525                  72.5          $38,062.50

Cullen Stockmeyer           Analyst                               $450                    1.2            $540.00

                                                                                       237.5         $157,878.00


                                           Average Billing Rate                                          $664.75




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Due Diligence                  Diligence of the Debtors' financial and operational standing to assist with
                               correspondence between Debtor advisors and third party inquiries.




Professional               Position                   Billing Rate         Sum of Hours              Sum of Fees

Robert Gordon            Managing Director                  $1,025                       0.3             $307.50

Steve Kotarba            Managing Director                  $1,100                       3.0            $3,300.00

Ed Mosley                Managing Director                  $1,250                       4.8            $6,000.00

Jeffery Stegenga         Managing Director                  $1,375                       0.6             $825.00

Lorenzo Callerio         Senior Director                      $875                      48.1          $42,087.50

James Cooper             Senior Director                      $875                       0.2             $175.00

Steve Coverick           Senior Director                      $950                       8.9            $8,455.00

Rob Esposito             Senior Director                      $875                       0.2             $175.00

Louis Konig              Senior Director                      $900                       0.9             $810.00

Kumanan Ramanathan       Senior Director                      $950                       0.4             $380.00

Kevin Baker              Director                             $750                       4.9            $3,675.00

Douglas Lewandowski      Director                             $800                       1.8            $1,440.00

Christopher Sullivan     Director                             $825                       0.2             $165.00

Gaurav Walia             Director                             $825                      18.2          $15,015.00

Mackenzie Jones          Consultant                           $600                      11.0            $6,600.00

Cullen Stockmeyer        Analyst                              $450                       4.1            $1,845.00

                                                                                      107.6           $91,255.00


                                       Average Billing Rate                                              $848.09


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Employee Matters                Assist the Debtors with employee communications, employee compensation and
                                benefits, and related matters.




Professional                Position                 Billing Rate       Sum of Hours          Sum of Fees

Chris Arnett              Managing Director               $1,050                   11.0         $11,550.00

Henry Chambers            Managing Director                $995                     1.7          $1,691.50

Brian Cumberland          Managing Director               $1,320                   11.7         $15,444.00

Joachim Lubsczyk          Managing Director               $1,100                    0.6            $660.00

Ed Mosley                 Managing Director               $1,250                   21.4         $26,750.00

Jeffery Stegenga          Managing Director               $1,375                    1.0          $1,375.00

Rob Casburn               Senior Director                 $1,045                   17.8         $18,601.00

Steve Coverick            Senior Director                  $950                    16.4         $15,580.00

Kora Dusendschon          Senior Director                  $900                     0.8            $720.00

Kumanan Ramanathan        Senior Director                  $950                     0.4            $380.00

Kevin Baker               Director                         $750                     3.0          $2,250.00

Matthew Flynn             Director                         $775                     9.5          $7,362.50

Dylan Hernandez           Manager                          $660                     8.9          $5,874.00

Summer Li                 Senior Manager                   $670                     0.1             $67.00

Katie Montague            Senior Associate                 $700                     0.3            $210.00

Katie Lei                 Associate                        $550                    27.1         $14,905.00

Hudson Trent              Associate                        $625                    39.8         $24,875.00

Samuel Witherspoon        Associate                        $575                     1.9          $1,092.50


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David Nizhner         Analyst                          $500           6.4       $3,200.00

Nicole Simoneaux      Analyst                          $475         127.8      $60,705.00

Bridger Tenney        Analyst                          $450           1.4          $630.00

                                                                    309.0     $213,922.50


                                Average Billing Rate                               $692.31




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Fee Application                 Preparation of monthly and interim fee applications in accordance with Court
                                guidelines.




Professional                Position                   Billing Rate        Sum of Hours            Sum of Fees

Chris Arnett              Managing Director                 $1,050                      8.0           $8,400.00

Ed Mosley                 Managing Director                 $1,250                      3.6           $4,500.00

Steve Coverick            Senior Director                      $950                     2.2           $2,090.00

Bernice Grussing          Operations Manager                   $325                   32.7           $10,627.50

Johnny Gonzalez           Associate                            $600                     8.1           $4,860.00

Erik Taraba               Associate                            $600                     6.8           $4,080.00

Lance Clayton             Analyst                              $475                     8.7           $4,132.50

David Nizhner             Analyst                              $500                     8.6           $4,300.00

David Slay                Analyst                              $525                     5.6           $2,940.00

Cullen Stockmeyer         Analyst                              $450                     4.6           $2,070.00

Bridger Tenney            Analyst                              $450                     3.0           $1,350.00

                                                                                      91.9           $49,350.00


                                        Average Billing Rate                                            $537.00




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Financial Analysis              Ad-hoc financial analyses made at the request of various constituencies,
                                including from the Debtors' management.




Professional                Position                   Billing Rate        Sum of Hours             Sum of Fees

Chris Arnett              Managing Director                 $1,050                      2.6           $2,730.00

Henry Chambers            Managing Director                   $995                     47.4          $47,163.00

Alessandro Farsaci        Managing Director                 $1,100                      4.2           $4,620.00

Robert Gordon             Managing Director                 $1,025                     10.2          $10,455.00

Larry Iwanski             Managing Director                 $1,075                      9.1           $9,782.50

David Johnston            Managing Director                 $1,025                     76.4          $78,310.00

Steve Kotarba             Managing Director                 $1,100                      1.4           $1,540.00

Joachim Lubsczyk          Managing Director                 $1,100                      2.5           $2,750.00

Ed Mosley                 Managing Director                 $1,250                      9.6          $12,000.00

Jeffery Stegenga          Managing Director                 $1,375                      1.3           $1,787.50

Jonathan Zatz             Managing Director                   $900                      2.1           $1,890.00

Lorenzo Callerio          Senior Director                     $875                      2.4           $2,100.00

Alex Canale               Senior Director                     $900                      0.4                $360.00

Steve Coverick            Senior Director                     $950                      6.5           $6,175.00

Kora Dusendschon          Senior Director                     $900                      9.0           $8,100.00

Rob Esposito              Senior Director                     $875                      1.5           $1,312.50

Charles Evans             Senior Director                     $835                      1.7           $1,419.50

Robert Johnson            Senior Director                     $900                     21.1          $18,990.00


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Louis Konig              Senior Director              $900             209.1     $188,190.00

Peter Kwan               Senior Director              $900             120.7     $108,630.00

Azmat Mohammed           Senior Director              $925               0.4          $370.00

Kumanan Ramanathan       Senior Director              $950              59.4      $56,430.00

Adam Titus               Senior Director              $950             224.8     $213,560.00

Kevin Baker              Director                     $750              39.4      $29,550.00

Gioele Balmelli          Director                     $800              43.7      $34,960.00

Brett Bammert            Director                     $750               3.2       $2,400.00

Leandro Chamma           Director                     $750               4.0       $3,000.00

Kim Dennison             Director                     $650               0.4          $260.00

Matthew Flynn            Director                     $775              31.3      $24,257.50

Steven Glustein          Director                     $800             277.8     $222,240.00

Drew Hainline            Director                     $800               0.4          $320.00

Kevin Kearney            Director                     $800               8.9       $7,120.00

Leslie Lambert           Director                     $750               5.5       $4,125.00

Julian Lee               Director                     $750               1.0          $750.00

Hugh McGoldrick          Director                     $750               2.5       $1,875.00

Mariah Rodriguez         Director                     $750               1.8       $1,350.00

Christopher Sullivan     Director                     $825               0.4          $330.00

Mark vanden Belt         Director                     $750              34.7      $26,025.00

Zachary Voll             Director                     $750               8.0       $6,000.00

Gaurav Walia             Director                     $825             100.8      $83,160.00

William Walker           Director                     $850             132.4     $112,540.00

Heather Ardizzoni        Manager                      $700               9.8       $6,860.00



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Ricardo Armando Avila     Manager                     $650               4.5       $2,925.00

Emily Hoffer              Manager                     $650               2.2       $1,430.00

James Lam                 Manager                     $600              88.6      $53,160.00

Summer Li                 Senior Manager              $670              20.7      $13,869.00

Anan Sivapalu             Manager                     $625             218.7     $136,687.50

Calvin Myrie              Manager                     $650              10.9       $7,085.00

Jane Chuah                Senior Associate            $495               8.0       $3,960.00

Jack Faett                Senior Associate            $700               0.5          $350.00

Aly Helal                 Senior Associate            $575               0.9          $517.50

Vinny Rajasekhar          Senior Associate            $530             186.8      $99,004.00

Matthias Schweinzer       Senior Associate            $650               0.7          $455.00

Jon Chan                  Associate                   $525              49.7      $26,092.50

Jack Collis               Associate                   $500               5.5       $2,750.00

Caoimhe Corr              Associate                   $500              64.4      $32,200.00

Luke Francis              Associate                   $600               4.9       $2,940.00

Johnny Gonzalez           Associate                   $600              25.5      $15,300.00

Andrew Heric              Associate                   $525              10.0       $5,250.00

Ishika Patel              Associate                   $525               0.9          $472.50

Sharon Schlam Batista     Associate                   $500               5.4       $2,700.00

Manasa Sunkara            Associate                   $525              52.6      $27,615.00

Erik Taraba               Associate                   $600              57.8      $34,680.00

Hudson Trent              Associate                   $625              21.6      $13,500.00

Lance Clayton             Analyst                     $475             245.1     $116,422.50

Bas Fonteijne             Analyst                     $400              15.4       $6,160.00



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Alec Liv-Feyman         Analyst                          $450         204.3     $91,935.00

Quinn Lowdermilk        Analyst                          $450          30.7     $13,815.00

David Nizhner           Analyst                          $500         154.0     $77,000.00

Igor Radwanski          Analyst                          $450          24.1     $10,845.00

Nicole Simoneaux        Analyst                          $475           0.3          $142.50

David Slay              Analyst                          $525          26.7     $14,017.50

Cullen Stockmeyer       Analyst                          $450          15.5      $6,975.00

Bridger Tenney          Analyst                          $450          28.4     $12,780.00

Matthew Warren          Analyst                          $450          18.5      $8,325.00

Jack Yan                Analyst                          $450          87.7     $39,465.00

                                                                     3221.3   $2,226,613.00


                                  Average Billing Rate                               $691.22




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Government and Regulatory         Advise and assist management and / or the Debtors’ advisors in responding to
Data Requests                     regulatory, investigation, government or other similar data / discovery requests,
                                  and analysis and documentation related thereto.




Professional                  Position                   Billing Rate         Sum of Hours             Sum of Fees

Robert Gordon               Managing Director                  $1,025                      0.2              $205.00

Larry Iwanski               Managing Director                  $1,075                      0.5              $537.50

David Johnston              Managing Director                  $1,025                      5.3            $5,432.50

Joachim Lubsczyk            Managing Director                  $1,100                      0.2              $220.00

Jonathan Zatz               Managing Director                   $900                       6.5            $5,850.00

Steve Coverick              Senior Director                     $950                       2.6            $2,470.00

Kora Dusendschon            Senior Director                     $900                       0.8              $720.00

Robert Johnson              Senior Director                     $900                       3.9            $3,510.00

Louis Konig                 Senior Director                     $900                       0.5              $450.00

Peter Kwan                  Senior Director                     $900                      18.1           $16,290.00

Kumanan Ramanathan          Senior Director                     $950                      17.1           $16,245.00

Michael Shanahan            Senior Director                     $900                       0.6              $540.00

Kevin Baker                 Director                            $750                      12.9            $9,675.00

Gioele Balmelli             Director                            $800                       0.3              $240.00

Brett Bammert               Director                            $750                       4.4            $3,300.00

Leandro Chamma              Director                            $750                       0.2              $150.00

Kim Dennison                Director                            $650                       3.2            $2,080.00

Matthew Flynn               Director                            $775                      25.3           $19,607.50


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Leslie Lambert            Director                            $750           0.4          $300.00

Julian Lee                Director                            $750           1.5       $1,125.00

Hugh McGoldrick           Director                            $750           8.1       $6,075.00

Mark vanden Belt          Director                            $750           8.8       $6,600.00

Gaurav Walia              Director                            $825           0.5          $412.50

Heather Ardizzoni         Manager                             $700           0.5          $350.00

Emily Hoffer              Manager                             $650           3.3       $2,145.00

Vinny Rajasekhar          Senior Associate                    $530           5.4       $2,862.00

Jon Chan                  Associate                           $525           3.8       $1,995.00

Jack Collis               Associate                           $500           7.0       $3,500.00

Caoimhe Corr              Associate                           $500          12.4       $6,200.00

Manasa Sunkara            Associate                           $525          16.4       $8,610.00

Hudson Trent              Associate                           $625           6.4       $4,000.00

Quinn Lowdermilk          Analyst                             $450           0.4          $180.00

                                                                           177.5     $131,877.00


                                       Average Billing Rate                               $742.97




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Intercompany                   Assist in the evaluation of claims between Debtor and Non-Debtor companies and
                               its affiliates to determine their validity and priority.




Professional               Position                  Billing Rate       Sum of Hours            Sum of Fees

Henry Chambers           Managing Director                  $995                    10.2          $10,149.00

Robert Gordon            Managing Director                $1,025                    19.5          $19,987.50

David Johnston           Managing Director                $1,025                    15.5          $15,887.50

Cole Broskay             Senior Director                    $900                    26.5          $23,850.00

Robert Johnson           Senior Director                    $900                     3.0           $2,700.00

Louis Konig              Senior Director                    $900                     3.0           $2,700.00

Peter Kwan               Senior Director                    $900                     4.2           $3,780.00

Kumanan Ramanathan       Senior Director                    $950                     1.5           $1,425.00

Joseph Sequeira          Senior Director                    $900                    50.5          $45,450.00

Michael Shanahan         Senior Director                    $900                     9.7           $8,730.00

Kevin Baker              Director                           $750                     4.2           $3,150.00

Gioele Balmelli          Director                           $800                     1.2            $960.00

Matthew Flynn            Director                           $775                     0.5            $387.50

Drew Hainline            Director                           $800                    39.4          $31,520.00

Kevin Kearney            Director                           $800                    83.0          $66,400.00

Julian Lee               Director                           $750                     5.1           $3,825.00

Gaurav Walia             Director                           $825                    13.6          $11,220.00

Heather Ardizzoni        Manager                            $700                    65.2          $45,640.00


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Emily Hoffer              Manager                             $650           3.7       $2,405.00

James Lam                 Manager                             $600           5.1       $3,060.00

Summer Li                 Senior Manager                      $670           9.6       $6,432.00

Anan Sivapalu             Manager                             $625           2.7       $1,687.50

Jane Chuah                Senior Associate                    $495           4.0       $1,980.00

Trevor DiNatale           Senior Associate                    $700           1.1          $770.00

Jack Faett                Senior Associate                    $700          54.1      $37,870.00

Daniel Kuruvilla          Senior Associate                    $700          69.7      $48,790.00

Caoimhe Corr              Associate                           $500           1.1          $550.00

Hudson Trent              Associate                           $625           1.2          $750.00

Ran Bruck                 Consultant                          $600           1.5          $900.00

Mackenzie Jones           Consultant                          $600          79.2      $47,520.00

Kathryn Zabcik            Consultant                          $600          71.3      $42,780.00

Zach Burns                Analyst                             $500          59.8      $29,900.00

Jack Yan                  Analyst                             $450           0.8          $360.00

                                                                           720.7     $523,516.00


                                       Average Billing Rate                               $726.40




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Motions and Related Support         Assist the Debtors on various motions filed, and on entry of orders to implement
                                    required reporting and other activities contemplated by the various filed motions.




Professional                    Position                   Billing Rate         Sum of Hours             Sum of Fees

Chris Arnett                  Managing Director                  $1,050                      6.5            $6,825.00

Robert Gordon                 Managing Director                  $1,025                      4.2            $4,305.00

David Johnston                Managing Director                  $1,025                      0.6             $615.00

Steve Kotarba                 Managing Director                  $1,100                      9.4           $10,340.00

Rob Esposito                  Senior Director                      $875                      3.0            $2,625.00

Michael Shanahan              Senior Director                      $900                      4.0            $3,600.00

Kevin Kearney                 Director                             $800                      1.9            $1,520.00

Julian Lee                    Director                             $750                      1.0             $750.00

Emily Hoffer                  Manager                              $650                      0.3             $195.00

Claudia Sigman                Associate                            $550                      4.6            $2,530.00

Claire Myers                  Analyst                              $425                     32.2           $13,685.00

Nicole Simoneaux              Analyst                              $475                     20.6            $9,785.00

                                                                                            88.3           $56,775.00


                                            Average Billing Rate                                             $642.98




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Non-working Travel (Billed at         Fifty percent of non-working travel time in excess of normal travel to and from
50%)                                  Debtors' offices and / or Court Hearings.




Professional                      Position                   Billing Rate         Sum of Hours             Sum of Fees

Robert Gordon                   Managing Director                  $1,025                      3.0            $3,075.00

Cole Broskay                    Senior Director                     $900                       2.8            $2,520.00

Lorenzo Callerio                Senior Director                     $875                       4.0            $3,500.00

James Cooper                    Senior Director                     $875                       2.0            $1,750.00

Rob Esposito                    Senior Director                     $875                       5.4            $4,725.00

Joseph Sequeira                 Senior Director                     $900                       2.0            $1,800.00

Steven Glustein                 Director                            $800                       6.1            $4,880.00

Drew Hainline                   Director                            $800                       4.2            $3,360.00

Douglas Lewandowski             Director                            $800                       3.7            $2,960.00

Christopher Sullivan            Director                            $825                       1.3            $1,072.50

Gaurav Walia                    Director                            $825                       2.4            $1,980.00

William Walker                  Director                            $850                       2.1            $1,785.00

Heather Ardizzoni               Manager                             $700                       3.0            $2,100.00

Trevor DiNatale                 Senior Associate                    $700                       1.5            $1,050.00

Jack Faett                      Senior Associate                    $700                       3.5            $2,450.00

Luke Francis                    Associate                           $600                       3.5            $2,100.00

Jared Gany                      Associate                           $475                       2.0              $950.00

Claudia Sigman                  Associate                           $550                       2.5            $1,375.00


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Ran Bruck              Consultant                          $600           1.9      $1,140.00

Kathryn Zabcik         Consultant                          $600           1.9      $1,140.00

                                                                         58.8     $45,712.50


                                    Average Billing Rate                               $777.42




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Schedules and Statements           Assist the Debtors with gathering information for, and the preparation of,
                                   Statements and Schedules with background information and other related
                                   matters.




Professional                   Position                   Billing Rate        Sum of Hours             Sum of Fees

Chris Arnett                 Managing Director                 $1,050                      6.3            $6,615.00

Robert Gordon                Managing Director                 $1,025                     67.9           $69,597.50

Steve Kotarba                Managing Director                 $1,100                    160.2          $176,220.00

Ed Mosley                    Managing Director                 $1,250                      8.6           $10,750.00

Laureen Ryan                 Managing Director                 $1,075                      0.5              $537.50

Jeffery Stegenga             Managing Director                 $1,375                      2.0            $2,750.00

Cole Broskay                 Senior Director                     $900                      5.7            $5,130.00

Steve Coverick               Senior Director                     $950                     26.6           $25,270.00

Rob Esposito                 Senior Director                     $875                    189.6          $165,900.00

Robert Johnson               Senior Director                     $900                      0.8              $720.00

Louis Konig                  Senior Director                     $900                     11.4           $10,260.00

Peter Kwan                   Senior Director                     $900                      0.8              $720.00

Kumanan Ramanathan           Senior Director                     $950                      1.0              $950.00

Joseph Sequeira              Senior Director                     $900                      3.4            $3,060.00

Michael Shanahan             Senior Director                     $900                      4.3            $3,870.00

Andrey Ulyanenko             Senior Director                     $950                      0.2              $190.00

Gioele Balmelli              Director                            $800                      0.1                  $80.00

Steven Glustein              Director                            $800                      1.1              $880.00


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Drew Hainline             Director                    $800              13.2      $10,560.00

Kevin Kearney             Director                    $800              23.1      $18,480.00

Julian Lee                Director                    $750               3.2       $2,400.00

Douglas Lewandowski       Director                    $800             110.4      $88,320.00

Patrick McGrath           Director                    $750               2.5       $1,875.00

Christopher Sullivan      Director                    $825             124.9     $103,042.50

Heather Ardizzoni         Manager                     $700              12.1       $8,470.00

Trevor DiNatale           Senior Associate            $700             218.2     $152,740.00

Aly Helal                 Senior Associate            $575              10.9       $6,267.50

Katie Montague            Senior Associate            $700              12.4       $8,680.00

Mark Zeiss                Senior Associate            $700             154.0     $107,800.00

Jon Chan                  Associate                   $525               0.7          $367.50

Luke Francis              Associate                   $600             203.2     $121,920.00

Jared Gany                Associate                   $475             124.4      $59,090.00

Johnny Gonzalez           Associate                   $600             162.1      $97,260.00

Brandon Parker            Associate                   $550               0.2          $110.00

Sharon Schlam Batista     Associate                   $500               5.1       $2,550.00

Claudia Sigman            Associate                   $550             181.0      $99,550.00

Manasa Sunkara            Associate                   $525               0.3          $157.50

Hudson Trent              Associate                   $625               1.8       $1,125.00

Mackenzie Jones           Consultant                  $600               1.9       $1,140.00

Kathryn Zabcik            Consultant                  $600               2.2       $1,320.00

Lance Clayton             Analyst                     $475               0.4          $190.00

Ritchine Guerrier         Analyst                     $400              60.3      $24,120.00



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Claire Myers            Analyst                          $425         194.6     $82,705.00

Matthew Ryan II         Analyst                          $450          20.9      $9,405.00

Nicole Simoneaux        Analyst                          $475          15.8      $7,505.00

David Slay              Analyst                          $525          95.8     $50,295.00

Bridger Tenney          Analyst                          $450          51.1     $22,995.00

Jack Yan                Analyst                          $450           0.1           $45.00

                                                                     2297.3   $1,573,985.00


                                  Average Billing Rate                               $685.15




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Tax Initiatives                Assist the Debtors with tax related matters.




Professional               Position                   Billing Rate            Sum of Hours   Sum of Fees

Henry Chambers           Managing Director                    $995                     0.7         $696.50

Robert Gordon            Managing Director                  $1,025                     1.6      $1,640.00

Christopher Howe         Managing Director                  $1,200                    72.6     $87,120.00

Kevin Jacobs             Managing Director                  $1,100                    14.2     $15,620.00

Chris Kotarba            Managing Director                  $1,100                    19.5     $21,450.00

Bill Seaway              Senior Advisor                     $1,100                    14.2     $15,620.00

Steve Coverick           Senior Director                      $950                     0.6         $570.00

Robert Piechota          Senior Director                      $950                     2.0      $1,900.00

Andrey Ulyanenko         Senior Director                      $950                    46.7     $44,365.00

Summer Li                Senior Manager                       $670                     0.2         $134.00

Warren Su                Manager                              $700                    63.2     $44,240.00

Brandon Parker           Associate                            $550                   140.4     $77,220.00

Hudson Trent             Associate                            $625                     0.3         $187.50

                                                                                     376.2    $310,763.00


                                       Average Billing Rate                                        $826.06




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Vendor Management               Assist the Debtors with all vendor related items including, but not limited to
                                vendor strategy, negotiation, and advising Debtors on general accounts payable
                                questions.




Professional                Position                  Billing Rate        Sum of Hours            Sum of Fees

Chris Arnett              Managing Director                $1,050                     13.4          $14,070.00

James Cooper              Senior Director                      $875                    0.4             $350.00

Joseph Sequeira           Senior Director                      $900                    0.4             $360.00

Katie Montague            Senior Associate                     $700                   56.1          $39,270.00

Erik Taraba               Associate                            $600                  106.2          $63,720.00

Samuel Witherspoon        Associate                            $575                    0.4             $230.00

David Nizhner             Analyst                              $500                    0.6             $300.00

Bridger Tenney            Analyst                              $450                   66.5          $29,925.00

                                                                                     244.0         $148,225.00


                                        Average Billing Rate                                           $607.48




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Accounting
Professional             Date     Hours     Activity
Drew Hainline         1/31/2023     0.6   Working session over liabilities mapping between R. Gordon, D.
                                          Hanline (A&M)
Drew Hainline         1/31/2023     0.9   Map liabilities to presentation line items for Embed


Cole Broskay           3/1/2023     2.2   Continue reviews of financial statement petition date roll-backs -
                                          WRS silo entities
Cole Broskay           3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                          Burns (A&M) to review day's progress and action items going forward
Cole Broskay           3/1/2023     2.6   Compile currency translation values for select Dotcom petition date
                                          financials
Cole Broskay           3/1/2023     3.0   Compile petition date financial statements for various legal entities

Cole Broskay           3/1/2023     2.9   Conduct reviews of financial statement petition date roll-backs for
                                          Dotcom silo entities
Drew Hainline          3/1/2023     0.8   Draft post-petition liabilities and income statement for Innovatia Ltd


Drew Hainline          3/1/2023     0.3   Review open questions for Property Holdings conveyances with RLA

Drew Hainline          3/1/2023     2.4   Update petition date financial statement package for Zubr Exchange
                                          Ltd
Drew Hainline          3/1/2023     0.7   Finalize petition date financials for FTX Structured Products

Drew Hainline          3/1/2023     0.3   Review outside research for Silvergate Bank and impact on FTX
                                          accounts
Drew Hainline          3/1/2023     0.8   Finalize petition date financials for FTX Trading GmbH

Drew Hainline          3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                          Burns (A&M) to review day's progress and action items going forward
Drew Hainline          3/1/2023     1.4   Draft post-petition liabilities and income statement for FTX Trading
                                          GmbH
Drew Hainline          3/1/2023     1.4   Draft post-petition liabilities and income statement for FTX Structured
                                          Products Ltd
Drew Hainline          3/1/2023     1.3   Review and update open financial close items for WRS and FTX
                                          Trading entities
Drew Hainline          3/1/2023     0.5   Working session with J. Bavaud (FTX), D. Hainline, J. Sequeira
                                          (A&M) on petition date financials for FTX Europe entities
Drew Hainline          3/1/2023     0.6   Review status of petition date financial packages and update
                                          consolidated entity tracker
Drew Hainline          3/1/2023     0.4   Review overall intercompany positions between FTX Trading Ltd and
                                          FTX Japan Consolidated
Drew Hainline          3/1/2023     0.6   Review petition date financial statement package for Quoine Vietnam

Drew Hainline          3/1/2023     1.4   Analyze transfer pricing model for FTX Japan entities



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Accounting
Professional              Date     Hours     Activity
Heather Ardizzoni       3/1/2023     1.2   Perform research over various properties purchased by FTX for
                                           financial reporting
Heather Ardizzoni       3/1/2023     2.2   Document Alameda balance sheet review procedures (PP&E) in
                                           memorandum
Heather Ardizzoni       3/1/2023     2.7   Document Alameda balance sheet review procedures (loans
                                           payable) in memorandum
Heather Ardizzoni       3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                           and Z. Burns (A&M) to discuss Alameda updates and action items
Heather Ardizzoni       3/1/2023     2.6   Document Alameda balance sheet review procedures (loans
                                           receivable - internal) in memorandum
Heather Ardizzoni       3/1/2023     0.8   Discussion between H. Ardizzoni, K. Kearney (A&M) over Alameda
                                           balance sheet documentation
Heather Ardizzoni       3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                           Burns (A&M) to review day's progress and action items going forward
Jack Faett              3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                           Burns (A&M) to review day's progress and action items going forward
Jack Faett              3/1/2023     3.2   Update loan payable workpaper to bridge changes in loan and
                                           collateral balances based on margin calls near petition date for
                                           Alameda Silo
Jack Faett              3/1/2023     1.5   Update external loans payable workpaper for the presentation of
                                           collateral balances for Alameda Silo
Jack Faett              3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                           and Z. Burns (A&M) to discuss Alameda updates and action items
Jack Faett              3/1/2023     1.2   Review collateral and loan payable balances for the Alameda Silo

Jack Faett              3/1/2023     1.2   Review convertible note agreements to verify whether note is still
                                           outstanding or converted to shares for Alameda Silo
Jack Faett              3/1/2023     1.5   Analyze and adding additional insider loans to the insider loans
                                           workpaper for newly identified insider payments for Alameda Silo
Jack Faett              3/1/2023     1.3   Update cash workpaper for additional brokerage accounts found on
                                           Relativity for Alameda Silo
Jack Faett              3/1/2023     2.0   Calculate external loans receivable balances for Venture silo as of
                                           petition date
Jack Faett              3/1/2023     2.6   Review slack correspondence for changes in loan and collateral
                                           balances near petition date for Alameda Silo
Joseph Sequeira         3/1/2023     1.2   Review DOTCOM expenditure support from RLA for potential
                                           applicability for statements and schedules
Joseph Sequeira         3/1/2023     0.2   Coordinate follow up discussions with various DOTCOM financial
                                           statement preparers
Joseph Sequeira         3/1/2023     0.6   Research DOTCOM entities' monthly expenditures with RLA


Joseph Sequeira         3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                           Burns (A&M) to review day's progress and action items going forward


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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira        3/1/2023     0.2   Discussion with C. Papadopoulos (FTX) regarding aggregation of
                                          donation details
Joseph Sequeira        3/1/2023     1.2   Review WRS open items list with RLA contact


Joseph Sequeira        3/1/2023     1.1   Research individual legal entity activities contained in extracted
                                          relativity search data
Joseph Sequeira        3/1/2023     0.8   Analyze QuickBooks' transactional details to address statements and
                                          schedules workpapers
Joseph Sequeira        3/1/2023     0.4   Discussions with key stakeholders regarding timeline for audit reports


Joseph Sequeira        3/1/2023     0.5   Working session with J. Bavaud (FTX), D. Hainline, J. Sequeira
                                          (A&M) on petition date financials for FTX Europe entities
Joseph Sequeira        3/1/2023     2.3   Aggregate support and drafted content for requested slide
                                          presentation
Joseph Sequeira        3/1/2023     1.7   Review DOTCOM and WRS financial statement support to address
                                          petition date financial statement questions
Joseph Sequeira        3/1/2023     2.1   Review of DOTCOM entities' transactional support for petition date
                                          financial statement compilation
Kathryn Zabcik         3/1/2023     1.1   Reconcile new tokens #5 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/1/2023     1.7   Reconcile new tokens #8 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/1/2023     1.3   Reconcile new tokens #6 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/1/2023     0.9   Cross reference Alameda token investments #4 with investments
                                          master schedule to make sure there are no duplicates
Kathryn Zabcik         3/1/2023     1.2   Reconcile new tokens #3 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/1/2023     0.9   Search for additional new tokens in relativity and add new token #18
                                          to investments schedule
Kathryn Zabcik         3/1/2023     0.8   Cross reference new tokens #2 with investments master schedule to
                                          make sure there are no duplicates
Kathryn Zabcik         3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                          Burns (A&M) to review day's progress and action items going forward
Kathryn Zabcik         3/1/2023     1.1   Cross reference new tokens #1 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                          and Z. Burns (A&M) to discuss Alameda updates and action items
Kathryn Zabcik         3/1/2023     1.8   Reconcile new tokens #7 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kevin Kearney          3/1/2023     0.8   Discussion between H. Ardizzoni, K. Kearney (A&M) over Alameda
                                          balance sheet documentation
Kevin Kearney          3/1/2023     2.0   Preparation and review of Alameda insider loans reconciliation as of
                                          petition date


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Professional               Date     Hours     Activity
Kevin Kearney            3/1/2023     0.7   Preparation and review of Alameda collateral account reconciliation
                                            as of petition date
Kevin Kearney            3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                            Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                            Burns (A&M) to review day's progress and action items going forward
Kevin Kearney            3/1/2023     2.7   Preparation and review of Alameda loans payable account
                                            reconciliation as of petition date
Kevin Kearney            3/1/2023     0.2   Call with K. Kearney, R. Bruck (A&M) Discuss bank statement query
                                            information
Kevin Kearney            3/1/2023     2.3   Preparation and review of Alameda loans receivable reconciliation as
                                            of petition date
Kevin Kearney            3/1/2023     2.3   Preparation and review of Alameda venture investment account
                                            reconciliation as of petition date
Kevin Kearney            3/1/2023     0.3   Preparation and review of Ventures silo venture investments as of
                                            petition date
Kevin Kearney            3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                            and Z. Burns (A&M) to discuss Alameda updates and action items
Kevin Kearney            3/1/2023     0.5   Preparation and review of Alameda crypto asset receivable account
                                            reconciliation as of petition date
Mackenzie Jones          3/1/2023     2.1   Update FTX silo entity 6 petition date balance sheet


Mackenzie Jones          3/1/2023     0.2   Aggregate support on potentially dormant debtors for discussion with
                                            leadership on entity status and reporting requirements going forward
Mackenzie Jones          3/1/2023     1.0   Update FTX silo entity 6 balance sheet for additional post-petition
                                            accounts payable
Mackenzie Jones          3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                            Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                            Burns (A&M) to review day's progress and action items going forward
Mackenzie Jones          3/1/2023     2.2   Perform review process for FTX silo entity 1 balance sheet

Mackenzie Jones          3/1/2023     1.8   Update FTX silo entity 6 income statement for additional post-petition
                                            accounts payable
Mackenzie Jones          3/1/2023     1.7   Update FTX silo entity 6 petition date income statement

Maximilian Simkins       3/1/2023     0.5   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                            reformatting of bank statement and wallet data
Maya Haigis              3/1/2023     0.6   Prepare script to systematically format Excel files for bank statement
                                            and wallet data
Maya Haigis              3/1/2023     0.5   Teleconference with M. Simkins, M. Haigis (A&M) to discuss
                                            reformatting of bank statement and wallet data
Ran Bruck                3/1/2023     0.2   Identify within the General Ledger of Alameda Research LLC and
                                            correct mislabeled SAFE #3
Ran Bruck                3/1/2023     0.4   Review list of potentially mislabeled SAFTs given by Investments
                                            team and research on Relativity original contract #4
Ran Bruck                3/1/2023     0.4   Research and document on Relativity Bitfinex related agreement #2



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Ran Bruck              3/1/2023     0.4   Research and document on Relativity Bitfinex related agreement #8

Ran Bruck              3/1/2023     0.4   Research and document on Relativity Ifinex related agreement #5


Ran Bruck              3/1/2023     0.6   Review list of potentially mislabeled SAFTs given by Investments
                                          team and research on Relativity original contract #6
Ran Bruck              3/1/2023     0.6   Review list of potentially mislabeled SAFTs given by Investments
                                          team and research on Relativity original contract #2
Ran Bruck              3/1/2023     1.3   Identify and document within Alameda Research LLC's general
                                          ledger transaction related to tether #4
Ran Bruck              3/1/2023     0.2   Call with K. Kearney, R. Bruck (A&M) Discuss bank statement query
                                          information
Ran Bruck              3/1/2023     0.3   Identify within the General Ledger of Alameda Research LLC and
                                          correct mislabeled SAFE #2
Ran Bruck              3/1/2023     0.3   Review list of potentially mislabeled SAFTs given by Investments
                                          team and research on Relativity original contract #3
Ran Bruck              3/1/2023     0.3   Research and document on Relativity Bitfinex related agreement #7


Ran Bruck              3/1/2023     0.3   Research and document on Relativity Bitfinex related agreement #4

Ran Bruck              3/1/2023     0.3   Research and document on Relativity Bitfinex related agreement #1

Ran Bruck              3/1/2023     0.9   Identify and document within Alameda Research LLC's general
                                          ledger transaction related to tether #5
Ran Bruck              3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                          Burns (A&M) to review day's progress and action items going forward
Ran Bruck              3/1/2023     0.5   Identify within the General Ledger of Alameda Research LLC and
                                          correct mislabeled SAFE #5
Ran Bruck              3/1/2023     0.5   Research and document on Relativity Bitfinex related agreement #6


Ran Bruck              3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                          and Z. Burns (A&M) to discuss Alameda updates and action items
Ran Bruck              3/1/2023     0.3   Identify within the General Ledger of Alameda Research LLC and
                                          correct mislabeled SAFE #1
Ran Bruck              3/1/2023     0.5   Research and document on Relativity Bitfinex related agreement #9

Ran Bruck              3/1/2023     0.5   Research and document on Relativity Ifinex related agreement #7


Ran Bruck              3/1/2023     1.4   Research and document on Relativity Bitfinex related agreement #2

Ran Bruck              3/1/2023     0.5   Review list of potentially mislabeled SAFTs given by Investments
                                          team and research on Relativity original contract #1
Ran Bruck              3/1/2023     0.5   Review list of potentially mislabeled SAFTs given by Investments
                                          team and research on Relativity original contract #5


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Accounting
Professional              Date     Hours     Activity
Ran Bruck               3/1/2023     0.3   Identify within the General Ledger of Alameda Research LLC and
                                           correct mislabeled SAFE #6
Robert Gordon           3/1/2023     0.3   Review rollback for Structured Products


Robert Gordon           3/1/2023     0.4   Prepare for Accounting team meeting by drafting remaining open
                                           items for the week
Robert Gordon           3/1/2023     0.4   Review rollback for Clifton Bay Investments

Robert Gordon           3/1/2023     1.1   Review rollback for Trading Ltd


Robert Gordon           3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                           Burns (A&M) to review day's progress and action items going forward
Robert Gordon           3/1/2023     0.8   Review rollback for Quoine PTE Ltd

Robert Gordon           3/1/2023     0.6   Review rollback for Japan Holding KK


Summer Li               3/1/2023     2.1   Review of intercompany balance documents relating to fiat
                                           transactions
Zach Burns              3/1/2023     1.2   Translate balance sheet of dotcom silo entities into English


Zach Burns              3/1/2023     1.7   Examine Alameda silo financials for pre-post petition split

Zach Burns              3/1/2023     1.4   Translate cash flow statement of dotcom silo entities into English


Zach Burns              3/1/2023     0.6   Compile dotcom silo data from multiple entities into one source

Zach Burns              3/1/2023     0.7   Translate income statement of dotcom silo entities into English

Zach Burns              3/1/2023     2.3   Analyze WRSS general ledger for donations and supporting
                                           documentation
Zach Burns              3/1/2023     0.8   Meeting with K. Kearney, H. Ardizzoni, J. Faett, R. Bruck. K. Zabcik,
                                           and Z. Burns (A&M) to discuss Alameda updates and action items
Zach Burns              3/1/2023     0.3   Package and send compiled dotcom silo data to multiple third parties


Zach Burns              3/1/2023     0.3   Meeting with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, J. Faett, H. Ardizzoni, R. Bruck, M. Jones, K. Zabcik, and Z.
                                           Burns (A&M) to review day's progress and action items going forward
Zach Burns              3/1/2023     0.9   Download and analyzed WRSS transaction reports for donations

Alec Liv-Feyman         3/2/2023     2.1   Update 3rd party exchange data tab to bridge between exchanges
                                           model and accounting data
Cameron Radis           3/2/2023     0.3   Teleconference with M. Shanahan, C. Radis, and J. Marshall (A&M)
                                           J. LaBella, K. Wessel, and C. Cipione (Alix Partners) regarding the
                                           status of the cash database development, timelines, and next steps



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Accounting
Professional             Date     Hours     Activity
Cole Broskay           3/2/2023     1.2   Correspondence with FTX accounting team related to FTX Europe
                                          reporting
Cole Broskay           3/2/2023     0.6   Follow up with FTX Europe accounting team on question related to
                                          Form 426
Drew Hainline          3/2/2023     0.9   Review and perform updates on the consolidated entity tracker for
                                          outstanding next steps and financial statement gaps
Drew Hainline          3/2/2023     0.5   Review preliminary analysis of shortfalls presentation

Drew Hainline          3/2/2023     1.5   Clean up of notes and next steps for FTX Japan December financials


Drew Hainline          3/2/2023     0.3   Meeting between D. Hainline, J. Sequeira (A&M) to review next steps
                                          for FTX Japan and documentation for November financials
                                          statements
Drew Hainline          3/2/2023     0.3   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to align on
                                          documentation required for non-Alameda Silos
Drew Hainline          3/2/2023     0.2   Coordinate meeting with RLA and FTX to gain updates on December
                                          financials for entities maintained in QBO
Drew Hainline          3/2/2023     0.7   Draft presentation materials for silo and entity overview

Drew Hainline          3/2/2023     1.0   Working session with D. Hainline, J. Sequeira, H. Chambers, S. Li, J.
                                          Lam (A&M), S. Kojima, S Melamed (FTX), S. Matsumoto (Zelos) to
                                          align on audit timeline for FTX Japan JFSA filing
Drew Hainline          3/2/2023     0.6   Draft summary of November financial close challenges and pervasive
                                          risks
Drew Hainline          3/2/2023     0.7   Review of petition financial statement for FTX Europe entities and
                                          confirm topside adjustments
Drew Hainline          3/2/2023     0.7   Review of petition financial statement for Blockfolio and confirm
                                          topside adjustments
Drew Hainline          3/2/2023     1.1   Review and draft documentation and background presentation for
                                          FTX DOTCOM entities for the November financial statement close
Drew Hainline          3/2/2023     0.3   Review available information on DAAG Trading and provide update
                                          to J. Sequeira
Drew Hainline          3/2/2023     0.6   Review and update the consolidated entity tracker for petition date
                                          and December financials
Drew Hainline          3/2/2023     1.6   Draft summary documentation for the petition date financial
                                          statement preparation process
Drew Hainline          3/2/2023     0.8   Review of intercompany balances between WRS entities

Drew Hainline          3/2/2023     0.6   Review Alameda balance sheet process overview and confirm
                                          information required for other silos
Drew Hainline          3/2/2023     0.8   Review November close open items from RLA for entities maintained
                                          in QBO
Ed Mosley              3/2/2023     0.9   Review and provide comments to draft press release regarding
                                          exchange assets and liabilities presentation
Ed Mosley              3/2/2023     1.7   Review and provide comments to draft presentation regarding
                                          exchange assets and liabilities presentation for public release

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Accounting
Professional              Date     Hours     Activity
Heather Ardizzoni       3/2/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) discuss PowerBI bank
                                           information in order to target non-related company transactions
Heather Ardizzoni       3/2/2023     0.5   H. Ardizzoni and R. Gordon (A&M) joint review of control observation
                                           documentation
Heather Ardizzoni       3/2/2023     3.2   Document Alameda balance sheet review procedures (crypto assets
                                           receivable) in memorandum
Henry Chambers          3/2/2023     1.0   Working session with D. Hainline, J. Sequeira, H. Chambers, S. Li, J.
                                           Lam (A&M), S. Kojima, S Melamed (FTX), S. Matsumoto (Zelos) to
                                           align on audit timeline for FTX Japan JFSA filing
Jack Faett              3/2/2023     2.1   Review etherscan.io activity to confirm collateral movements near
                                           petition date for external loans related to the Alameda Silo
Jack Faett              3/2/2023     2.0   Trace cash consideration for insider payments for newly identified
                                           insider loans
Jack Faett              3/2/2023     0.8   Review slack correspondence and agreements within Relativity for
                                           any unidentified insider payments
Jack Faett              3/2/2023     1.9   Perform reconciliation of lenders to Alameda's internal loans schedule


Jack Faett              3/2/2023     1.5   Prepare A&M workpaper for accounts payable and accrued
                                           expenses as of petition date for Alameda Silo
Jack Faett              3/2/2023     2.0   Review slack correspondence and agreements within Relativity for
                                           any unidentified external loan agreements for Alameda Silo
Jack Yan                3/2/2023     1.5   Identify the counterparties in transactions of withdrawal wallets and
                                           deposit wallets
James Lam               3/2/2023     1.0   Working session with D. Hainline, J. Sequeira, H. Chambers, S. Li, J.
                                           Lam (A&M), S. Kojima, S Melamed (FTX), S. Matsumoto (Zelos) to
                                           align on audit timeline for FTX Japan JFSA filing
Jonathan Marshall       3/2/2023     0.3   Teleconference with M. Shanahan, C. Radis, and J. Marshall (A&M)
                                           J. LaBella, K. Wessel, and C. Cipione (Alix Partners) regarding the
                                           status of the cash database development, timelines, and next steps
Joseph Sequeira         3/2/2023     0.3   Meeting between D. Hainline, J. Sequeira (A&M) to review next steps
                                           for FTX Japan and documentation for November financials
                                           statements
Joseph Sequeira         3/2/2023     0.3   Review statements and schedules presentation framing with key
                                           stakeholders and coordinated our initial submission for WRS,
                                           DOTCOM, Ventures
Joseph Sequeira         3/2/2023     1.0   Working session with D. Hainline, J. Sequeira, H. Chambers, S. Li, J.
                                           Lam (A&M), S. Kojima, S Melamed (FTX), S. Matsumoto (Zelos) to
                                           align on audit timeline for FTX Japan JFSA filing
Joseph Sequeira         3/2/2023     1.2   Aggregate slide support for leadership presentation


Joseph Sequeira         3/2/2023     0.3   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to align on
                                           documentation required for non-Alameda Silos
Joseph Sequeira         3/2/2023     0.9   Compile supporting documentation for statements and schedules


Joseph Sequeira         3/2/2023     1.2   Provide additional slide content for financial statement process and
                                           risks



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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira        3/2/2023     1.1   Develop informational template for presentation to senior leadership

Joseph Sequeira        3/2/2023     1.1   Review revised presentation format for leadership presentation


Joseph Sequeira        3/2/2023     0.8   Address outstanding questions for statements and schedules support

Joseph Sequeira        3/2/2023     1.2   Working session with R. Gordon, J. Sequeira(A&M) over composition
                                          of Board presentation
Joseph Sequeira        3/2/2023     0.8   Provide slide feedback for leadership presentation


Joseph Sequeira        3/2/2023     1.3   Compile supporting documentation for presentation to senior
                                          leadership team
Joseph Sequeira        3/2/2023     0.7   Research WRS financial statement open items from RLA


Kathryn Zabcik         3/2/2023     1.0   Continue to revise slides for financial statements presentation

Kathryn Zabcik         3/2/2023     1.0   Prepare finalized slides for financial statements presentation with
                                          incorporated commentary
Kathryn Zabcik         3/2/2023     0.4   Reconcile new tokens #10 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/2/2023     1.1   Reconcile new tokens #13 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/2/2023     0.7   Reconcile new tokens #9 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/2/2023     1.2   Reconcile new tokens #11 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/2/2023     0.3   Call with K. Zabcik, R. Bruck (A&M) review results of searches on
                                          warrants, SAFEs and related items for balance sheet reconciliation
Kathryn Zabcik         3/2/2023     1.8   Reconcile new tokens #14 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/2/2023     1.8   Prepare initial presentation for Financial statement review using
                                          financial statement process documentation files
Kathryn Zabcik         3/2/2023     0.5   Revise slides for financial statements presentation to verify accuracy

Kathryn Zabcik         3/2/2023     1.0   Meeting with K. Zabcik, R. Bruck (A&M) collaborate and review
                                          petition date financial statements presentation
Kathryn Zabcik         3/2/2023     1.0   Reconcile new tokens #12 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kevin Kearney          3/2/2023     1.2   Preparation and review of Alameda venture investment account
                                          reconciliation as of petition date
Kevin Kearney          3/2/2023     1.4   Review of cash tracing for venture investments for Alameda


Kevin Kearney          3/2/2023     0.8   Review of cash tracing for venture investments for Ventures




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Accounting
Professional               Date     Hours     Activity
Kevin Kearney            3/2/2023     0.8   Preparation of BOD material regarding financial statement
                                            compilation process
Kevin Kearney            3/2/2023     3.0   Preparation and review of Ventures silo venture investments as of
                                            petition date
Kevin Kearney            3/2/2023     1.5   Preparation and review of Ventures silo loans receivable account
                                            reconciliation as of petition date
Kevin Kearney            3/2/2023     2.4   Preparation and review of Alameda insider loans reconciliation as of
                                            petition date
Kevin Kearney            3/2/2023     0.9   Call with K. Kearney, R. Gordon(A&M), M. Cilia (RLKS) to
                                            walkthrough Series A buyout
Kevin Kearney            3/2/2023     0.9   Discussion between K. Kearney. R. Gordon(A&M) over
                                            documentation for Alameda silo
Maya Haigis              3/2/2023     1.2   Review script to split and merge bank statement and wallet data


Michael Shanahan         3/2/2023     0.3   Teleconference with M. Shanahan, C. Radis, and J. Marshall (A&M)
                                            J. LaBella, K. Wessel, and C. Cipione (Alix Partners) regarding the
                                            status of the cash database development, timelines, and next steps
Ran Bruck                3/2/2023     0.6   Reconcile SAFEs with investment tracker and document the related
                                            journal entries
Ran Bruck                3/2/2023     0.8   Search 2022 general ledgers for intercompany transactions between
                                            $250M-350M
Ran Bruck                3/2/2023     0.4   Prepare slide of Alameda silo collateral and loans payable balances
                                            as of petition date
Ran Bruck                3/2/2023     0.7   Review all slides within Alameda and Ventures Silo analysis and
                                            ensure formatting congruity between slides
Ran Bruck                3/2/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) discuss PowerBI bank
                                            information in order to target non-related company transactions
Ran Bruck                3/2/2023     0.5   Import 2022 bank transaction data from Silvergate Bank into PowerBI

Ran Bruck                3/2/2023     0.6   Search 2022 general ledgers for intercompany transactions between
                                            $100-250M
Ran Bruck                3/2/2023     0.5   Draft Ventures External Loans Receivable slide on deck for Alameda
                                            and Venture silo analysis
Ran Bruck                3/2/2023     0.4   Prepare slide of Ventures Silo cryptocurrency balances as of petition
                                            date for presentation
Ran Bruck                3/2/2023     0.5   Draft Alameda Property & Equipment slide on deck for Alameda and
                                            Venture silo analysis
Ran Bruck                3/2/2023     0.3   Call with K. Zabcik, R. Bruck (A&M) review results of searches on
                                            warrants, SAFEs and related items for balance sheet reconciliation
Ran Bruck                3/2/2023     1.1   Create visualization about data set #1 cash transactions utilizing the
                                            dataset sent by the Cash Team (A&M)
Ran Bruck                3/2/2023     0.9   Analyze general ledger transactions found for non-related company
                                            transactions within the cash transaction dataset
Ran Bruck                3/2/2023     0.4   Prepare for Finance Statement meeting working on the preliminary
                                            document presentation


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Accounting
Professional              Date     Hours     Activity
Ran Bruck               3/2/2023     0.9   Draft Ventures Equity Securities slide on deck for Alameda and
                                           Venture silo analysis
Ran Bruck               3/2/2023     0.5   Draft Ventures Venture Investments slide on deck for Alameda and
                                           Venture silo analysis
Ran Bruck               3/2/2023     0.6   Create visualization about data set #2 cash transactions utilizing the
                                           dataset sent by the Cash Team (A&M)
Ran Bruck               3/2/2023     0.6   Incorporate list of general ledger transactions over $250M into
                                           transaction log
Ran Bruck               3/2/2023     0.6   Prepare slide of Ventures Silo cash and cash equivalents balances
                                           and asset findings as of petition date
Ran Bruck               3/2/2023     1.0   K. Zabcik, R. Bruck (A&M) collaborate and review petition date
                                           financial statements presentation
Ran Bruck               3/2/2023     0.6   Prepare summary slide of Alameda third party loans payable
                                           balances as of petition date
Ran Bruck               3/2/2023     0.6   Reconcile SAFEs sent from Kevin's (A&M) email compared to list of
                                           investments for Alameda silo
Robert Gordon           3/2/2023     1.4   Working session with R. Gordon, J. Sequeira(A&M) over composition
                                           of Board presentation
Robert Gordon           3/2/2023     0.9   Discussion between K. Kearney. R. Gordon(A&M) over
                                           documentation for Alameda silo
Robert Gordon           3/2/2023     1.5   Continue reviewing through loans receivable schedule for Alameda

Robert Gordon           3/2/2023     0.9   Call with K. Kearney, R. Gordon(A&M), M. Cilia (RLKS) to
                                           walkthrough Series A buyout
Robert Gordon           3/2/2023     0.5   H. Ardizzoni and R. Gordon (A&M) joint review of control observation
                                           documentation
Robert Gordon           3/2/2023     0.3   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to align on
                                           documentation required for non-Alameda Silos
Summer Li               3/2/2023     0.3   Correspondence with M.Zess (A&M) in relation to the additional
                                           payment reports generated or obtained
Summer Li               3/2/2023     1.0   Working session with D. Hainline, J. Sequeira, H. Chambers, S. Li, J.
                                           Lam (A&M), S. Kojima, S Melamed (FTX), S. Matsumoto (Zelos) to
                                           align on audit timeline for FTX Japan JFSA filing
Vinny Rajasekhar        3/2/2023     1.2   Review exchange data provided by accounting team for inclusion in
                                           3rd party exchange model
Zach Burns              3/2/2023     0.4   Download WRSS transaction reports for 2020 in QBO and spent
                                           reports to third party
Zach Burns              3/2/2023     1.3   Translate 2022 PT Triniti income statement into English


Zach Burns              3/2/2023     1.4   Analyze Alameda Research LLC transaction report for line items
                                           related to donations
Zach Burns              3/2/2023     2.2   Download and Analyze Alameda silo transaction reports by account

Zach Burns              3/2/2023     0.8   Analyze WRSS general ledger for line items relating to long term
                                           liabilities


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Accounting
Professional              Date     Hours     Activity
Zach Burns              3/2/2023     0.7   Update consolidated entity tracker to include new financial elements

Zach Burns              3/2/2023     1.2   Translate 2022 PT Triniti balance sheet into English


Zach Burns              3/2/2023     1.1   Built additional reporting tracking capabilities in consolidated entity
                                           tracker
Zach Burns              3/2/2023     1.9   Download and Analyze additional transactions by account reports
                                           from QBO across all silos
Alec Liv-Feyman         3/3/2023     0.9   Call with G. Walia, W. Walker, K. Kearney, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding 3P exchanges model and accounting team
                                           exchange data breakdown updates
Drew Hainline           3/3/2023     0.6   Review and summarize open items from close item tracker for
                                           documentation for Ventures entities
Drew Hainline           3/3/2023     0.8   Draft post-petition liabilities and income statement for WRSFS

Drew Hainline           3/3/2023     0.7   Review QBO based entities to ensure all entity financials are entity
                                           based and do not include detailed balances from subsidiaries
Drew Hainline           3/3/2023     0.8   Review and summarize open items from close item tracker for
                                           documentation for FTX Digital Asset and Good Luck games
Drew Hainline           3/3/2023     2.2   Review and summarize open items from close item tracker for
                                           documentation for FTX.com entities
Drew Hainline           3/3/2023     0.4   Review WRSTS purchase accounting entries for FTX Capital Markets

Drew Hainline           3/3/2023     0.3   Meeting between D. Hainline, J. Sequeira (A&M) to review
                                           documentation and open items for non-Alameda Silos
Drew Hainline           3/3/2023     0.4   Update base financials from QBO for WRSFS to remove balances
                                           from FTX Capital Markets
Drew Hainline           3/3/2023     0.6   Draft summary of November financial close challenges and pervasive
                                           risks
Drew Hainline           3/3/2023     1.2   Review and summarize open items from close item tracker for
                                           documentation for FTX.us entities
Ed Mosley               3/3/2023     1.1   Review of and prepare comments to draft presentation of accounting
                                           controls observations
Gaurav Walia            3/3/2023     0.9   Call with G. Walia, W. Walker, K. Kearney, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding 3P exchanges model and accounting team
                                           exchange data breakdown updates
Gioele Balmelli         3/3/2023     0.4   Correspondence on bank account statements

Gioele Balmelli         3/3/2023     0.8   Call with J. Bavaud (FTX) on bank account statements

Heather Ardizzoni       3/3/2023     2.1   Document Alameda balance sheet review procedures (loans
                                           receivable - external) in memorandum
Jack Faett              3/3/2023     1.7   Write balance sheet process write up for accounts payable and
                                           accrued expenses for Alameda Silo
Jack Faett              3/3/2023     1.5   Trace and vouching cash consideration for insider payments to bank
                                           statements and general ledger for Alameda Silo

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Accounting
Professional              Date     Hours     Activity
Jack Faett              3/3/2023     2.0   Update external loans payable workpaper for new crypto pricing
                                           received from A&M Crypto team for the Alameda Silo
Jack Faett              3/3/2023     1.5   Update external loans payable workpaper for additional market
                                           making loans and changes in collateral balances for Alameda Silo
Jack Faett              3/3/2023     1.8   Reconcile counterparties for external loans payable to CMS
                                           schedules for the Alameda Silo
Jane Chuah              3/3/2023     0.9   Working session on intercompany balance of FTX Japan KK with S.
                                           Li and J. Chuah (A&M)
Joseph Sequeira         3/3/2023     1.7   Prepare draft comments for presentation to senior leadership


Joseph Sequeira         3/3/2023     0.3   Meeting between D. Hainline, J. Sequeira (A&M) to review
                                           documentation and open items for non-Alameda Silos
Joseph Sequeira         3/3/2023     1.1   Convey presentation changes to key stakeholders


Joseph Sequeira         3/3/2023     0.7   Discussion with R. Gordon, J. Sequeira(A&M) over BoD presentation
                                           for financials
Joseph Sequeira         3/3/2023     1.4   Review presentation data contained in revised senior leadership
                                           presentation
Joseph Sequeira         3/3/2023     1.1   Analyze QuickBooks' accounts for instances of divisional reporting

Kathryn Zabcik          3/3/2023     0.8   Reconcile new tokens #15 with investments master schedule to
                                           make sure there are no duplicates for Alameda token investments
Kathryn Zabcik          3/3/2023     0.2   Meeting with K. Zabcik, R. Bruck, and Z. Burns (A&M) over progress
                                           in Alameda silo and action items going forward
Kathryn Zabcik          3/3/2023     2.0   Reconcile new tokens #16 with investments master schedule to
                                           make sure there are no duplicates for Alameda token investments
Kathryn Zabcik          3/3/2023     1.1   Reconcile new tokens #17 with investments master schedule to
                                           make sure there are no duplicates for Alameda token investments
Kevin Kearney           3/3/2023     1.1   Preparation and review of Ventures silo venture investments as of
                                           petition date
Kevin Kearney           3/3/2023     0.8   Preparation and review of Alameda insider loans reconciliation as of
                                           petition date
Kevin Kearney           3/3/2023     2.3   Preparation of BOD material regarding financial statement
                                           compilation process
Kevin Kearney           3/3/2023     2.4   Review of cash tracing for venture investments for Ventures

Kevin Kearney           3/3/2023     1.3   Preparation and review of Ventures silo loans receivable account
                                           reconciliation as of petition date
Kevin Kearney           3/3/2023     1.2   Preparation and review of Alameda venture investment account
                                           reconciliation as of petition date
Kevin Kearney           3/3/2023     0.9   Call with G. Walia, W. Walker, K. Kearney, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding 3P exchanges model and accounting team
                                           exchange data breakdown updates
Mackenzie Jones         3/3/2023     0.4   Update Ventures silo entity 3's financials for year to date data




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Professional               Date     Hours     Activity
Mackenzie Jones          3/3/2023     1.4   Tie out non-debtor entity 3's Form 426 to original financials

Maya Haigis              3/3/2023     1.9   Review and update script to split and merge bank statement and
                                            wallet data
Maya Haigis              3/3/2023     0.6   Review bank statement transaction report output

Ran Bruck                3/3/2023     0.2   Read and review FTX publicly released documents for reference of
                                            Alameda/Ventures documents
Ran Bruck                3/3/2023     0.2   Meeting with K. Zabcik, R. Bruck, and Z. Burns (A&M) over progress
                                            in Alameda silo and action items going forward
Ran Bruck                3/3/2023     0.6   Create formula for visualization to specify non-related party
                                            transactions with Alameda entities
Ran Bruck                3/3/2023     0.8   Search within general ledger search results from visualization data
                                            set and document non-related party transaction #2
Ran Bruck                3/3/2023     1.8   Search within general ledger search results from visualization data
                                            set and document non-related party transaction #3
Ran Bruck                3/3/2023     0.7   Search within general ledger search results from visualization data
                                            set and document non-related party transaction #1
Robert Gordon            3/3/2023     0.6   Review and edit accounting controls analysis

Robert Gordon            3/3/2023     0.7   Discussion with R. Gordon, J. Sequeira(A&M) over BoD presentation
                                            for financials
Summer Li                3/3/2023     0.2   Understand the nature of trust accounts


Summer Li                3/3/2023     2.2   Search for bank statements of FTX Japan KK in the shared drive

Summer Li                3/3/2023     0.9   Working session on intercompany balance of FTX Japan KK with S.
                                            Li and J. Chuah (A&M)
Vinny Rajasekhar         3/3/2023     0.9   Call with G. Walia, W. Walker, K. Kearney, V. Rajasekhar, A. Liv-
                                            Feyman (A&M) regarding 3P exchanges model and accounting team
                                            exchange data breakdown updates
William Walker           3/3/2023     0.9   Call with G. Walia, W. Walker, K. Kearney, V. Rajasekhar, A. Liv-
                                            Feyman (A&M) regarding 3P exchanges model and accounting team
                                            exchange data breakdown updates
Zach Burns               3/3/2023     1.7   Review pre and post petition financial split in WRS silo


Zach Burns               3/3/2023     0.8   Update consolidated entity tracker

Zach Burns               3/3/2023     1.9   Continue analyzing transaction by account reports in Alameda silo

Zach Burns               3/3/2023     0.2   Meeting with K. Zabcik, R. Bruck, and Z. Burns (A&M) over progress
                                            in Alameda silo and action items going forward
Joseph Sequeira          3/4/2023     1.9   Provide slide presentation data points for individual Silos

Joseph Sequeira          3/4/2023     0.9   Extract requested QuickBooks' payment reports for key stakeholder



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Accounting
Professional                Date     Hours     Activity
Kevin Kearney             3/4/2023     1.5   Preparation of BOD material regarding financial statement
                                             compilation process
Kevin Kearney             3/4/2023     2.2   Preparation and review of Alameda loans payable account
                                             reconciliation as of petition date
Kevin Kearney             3/4/2023     2.4   Preparation and review of Alameda collateral account reconciliation
                                             as of petition date
Summer Li                 3/4/2023     1.1   Review bank accounts recorded in the book of Quoine Pte as at 30
                                             November 2022
Joseph Sequeira           3/5/2023     1.9   Review and edit of senior leadership slide submission


Kathryn Zabcik            3/5/2023     2.4   Review daily task and develop summary for additional new tokens in
                                             relativity and add new tokens to investments schedule
Mackenzie Jones           3/5/2023     0.9   Consolidate existing financials for historical non-debtor analysis on
                                             potential sale
Mackenzie Jones           3/5/2023     2.2   Build last twelve month financials for non-debtor analysis related to
                                             potential sale process
Mark Zeiss                3/5/2023     0.3   Call with M. Zeiss and Z. Burns (A&M) over QBO payment inputs


Robert Gordon             3/5/2023     0.8   Review and provide comments to Alameda FS compilation
                                             presentation
Zach Burns                3/5/2023     0.3   Call with M. Zeiss and Z. Burns (A&M) over QBO payment inputs

Zach Burns                3/5/2023     0.6   Analyze payments data in WRS silo for third party request


Zach Burns                3/5/2023     2.4   Answer questions relating to accounting practices for the purposes of
                                             reporting
Zach Burns                3/5/2023     2.1   Research pre-post petition split for Alameda silo financials


Chris Arnett              3/6/2023     0.3   Direct K. Montague and B. Tenney (A&M) re: treatment and recording
                                             of post petition AP
Cole Broskay              3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                             Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                             to review actions items and updates for the upcoming week
Drew Hainline             3/6/2023     0.6   Review and update open item tracker for RLA on QBO-based entities


Drew Hainline             3/6/2023     0.5   Review open items drafted by RLA for the FTX Trading Ltd Income
                                             Statement
Drew Hainline             3/6/2023     0.5   Review of intercompany service charge model between FTX Trading
                                             Ltd and FTX Digital Markets
Drew Hainline             3/6/2023     0.5   Review of backup in QBO for FTX Trading Ltd entries booked after
                                             November close for transactions in November
Drew Hainline             3/6/2023     0.5   Review and finalize updated rollback for FTX Trading Ltd

Drew Hainline             3/6/2023     1.8   Review and draft top-side adjustment for entries drafted after cutoff
                                             for digital asset transactions


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Accounting
Professional              Date     Hours     Activity
Drew Hainline           3/6/2023     1.1   Update open items and risks by entity for WRS Silo

Drew Hainline           3/6/2023     1.8   Review open items drafted by RLA for the FTX Trading Ltd Balance
                                           Sheet
Drew Hainline           3/6/2023     0.6   Review and update list of entities without financial information for
                                           consolidated documentation
Drew Hainline           3/6/2023     0.6   Review open items drafted by RLA for FTX Property Holdings Ltd
                                           and incorporate into documentation
Drew Hainline           3/6/2023     0.4   Prepare agenda and open questions for check-in with FTX and RLA
                                           on QBO-based entities
Drew Hainline           3/6/2023     0.4   Meeting between C. Papadopoulos (FTX), M. Hernandez, R. Lee
                                           (RLA), D. Hainline, J. Sequeira (A&M) to align on documentation for
                                           November close and plan for December close
Drew Hainline           3/6/2023     2.3   Review and update documentation for rollback process, open items
                                           and risks by entity
Drew Hainline           3/6/2023     0.9   Review and summarize open items from close item tracker for
                                           documentation for Island Bay and Paper Bird
Drew Hainline           3/6/2023     0.2   Review outside research for Grayscale Investments

Drew Hainline           3/6/2023     0.3   Request updates to finalize December financials for the FTX Japan
                                           consolidated group
Drew Hainline           3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                           Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                           to review actions items and updates for the upcoming week
Heather Ardizzoni       3/6/2023     0.2   Meeting between H. Ardizzoni, R. Gordon (A&M) to discuss Alameda
                                           priorities and action items
Heather Ardizzoni       3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                           Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                           to review actions items and updates for the upcoming week
Heather Ardizzoni       3/6/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) Review bank statement
                                           transactions for insider loans
Henry Chambers          3/6/2023     1.3   Attend to correspondence and queries regarding FTX Japan
                                           statement tax compliance
Henry Chambers          3/6/2023     0.6   Attend to matters relating to tax advisers / user statements


Henry Chambers          3/6/2023     0.4   Attend to management of accounting workstream regarding closing
                                           of financial year 2022
Jack Faett              3/6/2023     2.3   Search Relativity for additional agreements with insiders resulting in
                                           insider payments
Jack Faett              3/6/2023     2.6   Update external loans payable workpaper for new crypto pricing
                                           received from A&M Crypto team for the Alameda Silo
Jack Faett              3/6/2023     2.6   Search Relativity for statements or agreements related to tokenized
                                           securities offered on the Bittrex exchange
Jack Faett              3/6/2023     0.5   Discussion with K. Kearney, J. Sequeira, J. Faett (A&M), J. Chan, S.
                                           Yuen and K. Wun (FTX) re: Cottonwood balance sheet



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Professional              Date     Hours     Activity
Jack Faett              3/6/2023     0.5   Discussion with K. Kearney and J. Faett (A&M) on priority items
                                           related to Alameda for first half of the week
Jack Faett              3/6/2023     1.9   Update all cover sheets for the Alameda Silo workpapers for updated
                                           formatting
Jack Faett              3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                           Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                           to review actions items and updates for the upcoming week
Jack Faett              3/6/2023     0.2   Call with K. Kearney, J. Faett, R. Bruck (A&M) Review bank
                                           statement transactions, PowerBI and insider loan document
Jack Faett              3/6/2023     3.0   Update insider loans workpaper for newly identified insider loan
                                           payments and vouch payments to bank statements for the Alameda
                                           Silo
Jack Faett              3/6/2023     0.3   Call with J. Faett, R. Bruck (A&M) Reconcile bank statement
                                           transactions, PowerBI and insider loan document
Joseph Sequeira         3/6/2023     1.9   Review latest version of presentation for senior leadership

Joseph Sequeira         3/6/2023     1.1   Review of cash balance capture for financial statement preparation


Joseph Sequeira         3/6/2023     2.1   Compile additional data points for Petition Date Financial Statement
                                           Entity and Process Overview document
Joseph Sequeira         3/6/2023     0.4   Meeting between C. Papadopoulos (FTX), M. Hernandez, R. Lee
                                           (RLA), D. Hainline, J. Sequeira (A&M) to align on documentation for
                                           November close and plan for December close
Joseph Sequeira         3/6/2023     1.1   Research historical Alameda financial statement transactions for
                                           schedules and statements
Joseph Sequeira         3/6/2023     0.5   Discussion with K. Kearney, J. Sequeira, J. Faett (A&M), J. Chan, S.
                                           Yuen and K. Wun (FTX) re: Cottonwood balance sheet
Joseph Sequeira         3/6/2023     1.7   Capture of dormant activities list for presentation slides


Joseph Sequeira         3/6/2023     0.9   Follow up with DOTCOM financial statement preparers regarding
                                           year end monthly close
Joseph Sequeira         3/6/2023     2.1   Edit senior leadership presentation based on availability of new data
                                           points
Joseph Sequeira         3/6/2023     0.8   Review RLA's open items list for Dotcom


Joseph Sequeira         3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                           Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                           to review actions items and updates for the upcoming week
Joseph Sequeira         3/6/2023     0.2   Discussion with C. Papadopoulos (FTX) regarding open monthly
                                           close items
Kathryn Zabcik          3/6/2023     0.5   Search for additional new tokens in relativity and add new token #2 to
                                           investments schedule
Kathryn Zabcik          3/6/2023     0.7   Search for additional new tokens in relativity and add new token #7 to
                                           investments schedule
Kathryn Zabcik          3/6/2023     0.5   Search for additional new tokens in relativity and add new token #8 to
                                           investments schedule


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Professional             Date     Hours     Activity
Kathryn Zabcik         3/6/2023     1.3   Search for additional new tokens in relativity and add new token #1 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     0.6   Search for additional new tokens in relativity and add new token #5 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     1.2   Reconcile new tokens #20 with investments master schedule to
                                          make sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/6/2023     0.9   Search for additional new tokens in relativity and add new token #3 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     1.0   Reconcile new tokens #4 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/6/2023     0.6   Reconcile new tokens #3 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/6/2023     0.7   Reconcile new tokens #1 with investments master schedule to make
                                          sure there are no duplicates for Alameda token investments
Kathryn Zabcik         3/6/2023     1.2   Search for additional new tokens in relativity and add new token #6 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     0.4   Search for additional new tokens in relativity and add new token #4 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     1.4   Search for additional new tokens in relativity and add new token #9 to
                                          investments schedule
Kathryn Zabcik         3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                          Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                          to review actions items and updates for the upcoming week
Kevin Kearney          3/6/2023     2.7   Review of Cottonwood Grove amounts due to insiders/employees
                                          reconciliations
Kevin Kearney          3/6/2023     2.6   Review of Alameda silo loans payable reconciliation

Kevin Kearney          3/6/2023     2.5   Review of Alameda silo collateral assets reconciliation

Kevin Kearney          3/6/2023     2.1   Review of Silvergate activity for payments to insiders


Kevin Kearney          3/6/2023     0.9   Review of Cottonwood Grove accounts payable reconciliations

Kevin Kearney          3/6/2023     1.0   Preparation of petition data balance sheet for Cottonwood Grove


Kevin Kearney          3/6/2023     0.5   Discussion with K. Kearney and J. Faett (A&M) on priority items
                                          related to Alameda for first half of the week
Kevin Kearney          3/6/2023     0.5   Discussion with K. Kearney, J. Sequeira, J. Faett (A&M), J. Chan, S.
                                          Yuen and K. Wun (FTX) re: Cottonwood balance sheet
Kevin Kearney          3/6/2023     1.2   Review of Cottonwood Grove bank account reconciliations

Kevin Kearney          3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                          Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                          to review actions items and updates for the upcoming week
Kevin Kearney          3/6/2023     0.2   Call with K. Kearney, J. Faett, R. Bruck (A&M) Review bank
                                          statement transactions, PowerBI and insider loan document

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Accounting
Professional               Date     Hours     Activity
Mackenzie Jones          3/6/2023     1.9   Consolidate last twelve month financial analysis for Embed

Mackenzie Jones          3/6/2023     0.6   Create request for last twelve month financial analysis for foreign
                                            subsidiaries
Mackenzie Jones          3/6/2023     0.4   Update last twelve months financials for non-debtor analysis related
                                            to potential sale process
Mackenzie Jones          3/6/2023     0.4   Update template for last twelve month financials financial overview
                                            related to potential sale process
Mackenzie Jones          3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                            Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                            to review actions items and updates for the upcoming week
Maximilian Simkins       3/6/2023     0.5   Teleconference with M. Simkins and M. Haigis (A&M) to discuss
                                            request to systematically reformat bank statement and wallet data
Maya Haigis              3/6/2023     0.8   Review and update script to split and merge bank statement and
                                            wallet data
Maya Haigis              3/6/2023     0.5   Teleconference with M. Simkins and M. Haigis (A&M) to discuss
                                            request to systematically reformat bank statement and wallet data
Ran Bruck                3/6/2023     0.4   Reconcile visualization data set with general ledger data for Alameda
                                            Research LLC
Ran Bruck                3/6/2023     1.7   Query data set to target search of transactions with Silvergate


Ran Bruck                3/6/2023     0.8   Query data set to target search of transactions with Stripe bank

Ran Bruck                3/6/2023     0.8   Summarize transaction and bank statements differences and
                                            reconciliations between entities
Ran Bruck                3/6/2023     0.5   Summarize and document various details of Alameda based insider
                                            loans
Ran Bruck                3/6/2023     0.4   Query data set to target search of transactions with Nium bank

Ran Bruck                3/6/2023     0.6   Locate and review recording of various SilverGate bank transactions
                                            in General Ledger
Ran Bruck                3/6/2023     1.8   Reconcile insider loan worksheet with general ledger and bank
                                            statement PDFs
Ran Bruck                3/6/2023     0.4   Research and document transactions between 10/01/2022 and
                                            petition date for non-related parties
Ran Bruck                3/6/2023     0.5   Reconcile visualization data set with general ledger data for Alameda
                                            Research Ltd
Ran Bruck                3/6/2023     0.6   Locate and review recording of various StraitsX transactions in
                                            General Ledger
Ran Bruck                3/6/2023     0.6   Create consolidated master Excel file to host various general ledger
                                            transactions and their relevant details
Ran Bruck                3/6/2023     0.5   Locate and review recording of Klarpay transactions in General
                                            Ledger
Ran Bruck                3/6/2023     0.2   Query large data set and format to visualization for targeted search of
                                            transactions


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Professional               Date     Hours     Activity
Ran Bruck                3/6/2023     0.3   Search through SEC filings for external party loans

Ran Bruck                3/6/2023     0.2   Call with K. Kearney, J. Faett, R. Bruck (A&M) Review bank
                                            statement transactions, PowerBI and insider loan document
Ran Bruck                3/6/2023     0.3   Call with J. Faett, R. Bruck (A&M) Reconcile bank statement
                                            transactions, PowerBI and insider loan document
Ran Bruck                3/6/2023     0.1   Run financial tracking model for R. Gordon (A&M)

Ran Bruck                3/6/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) Review bank statement
                                            transactions for insider loans
Ran Bruck                3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                            Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                            to review actions items and updates for the upcoming week
Robert Gordon            3/6/2023     0.7   Review Alameda entity 2021 financial statements and footnotes

Robert Gordon            3/6/2023     0.8   Analyze funds flow for LedgerX acquisition and disbursement


Robert Gordon            3/6/2023     0.2   Meeting between H. Ardizzoni, R. Gordon (A&M) to discuss Alameda
                                            priorities and action items
Summer Li                3/6/2023     0.9   Update bank statement tracker and prepare outstanding list for the
                                            bank statements
Summer Li                3/6/2023     0.1   Correspondence with R. Gordon (A&M) on crypto balance of Quoine
                                            Pte
Zach Burns               3/6/2023     2.1   Investigate Relativity for documents that link bank accounts to key
                                            individuals involved at FTX
Zach Burns               3/6/2023     1.4   Analyze payments data in ventures silo for third party request

Zach Burns               3/6/2023     1.8   Analyze payments data in WRS silo for third party request

Zach Burns               3/6/2023     1.5   Review information for request regarding payments data from third
                                            party
Zach Burns               3/6/2023     1.3   Analyze payments data in dotcom silo for third party request

Zach Burns               3/6/2023     1.1   Research insider loans for loans approved by same person receiving
                                            said loan
Zach Burns               3/6/2023     1.7   Research improper uses of FBO cash accounts

Zach Burns               3/6/2023     0.7   Consolidate research into document to present to third parties


Zach Burns               3/6/2023     0.4   Call with C. Broskay, D. Hainline, H. Ardizzoni, J. Sequeira, K.
                                            Kearney, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z. Burns (A&M)
                                            to review actions items and updates for the upcoming week
Alex Canale              3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                            Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                            with respect to Alameda loans payable



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Accounting
Professional             Date     Hours     Activity
David Nizhner          3/7/2023     1.2   Review consolidated bank statement database

Drew Hainline          3/7/2023     0.8   Review draft analysis for FTX Japan IC reconciliation with FTX
                                          Trading Ltd
Drew Hainline          3/7/2023     0.6   Review and document open items provided by RLA for Clifton Bay
                                          Investments LLC
Drew Hainline          3/7/2023     0.2   Review and update consolidated entity tracker for FTX Japan entities

Drew Hainline          3/7/2023     1.7   Review and perform updates on process and open item
                                          documentation
Drew Hainline          3/7/2023     0.2   Draft and send request for initial review of the process and open item
                                          documentation
Drew Hainline          3/7/2023     1.3   Review FTX Japan consolidated package and draft entity based
                                          December 2022 package for FTX Japan KK
Drew Hainline          3/7/2023     0.2   Meeting with R. Gordon, M. Shanahan, J. Sequeira, K. Kearney, D.
                                          Hainline (A&M), K. Wessel, C. Cipione, D. Schwartz, J. LaBella
                                          (ALIX) to discuss historical financial statements
Drew Hainline          3/7/2023     1.6   Review FTX Japan consolidated package and draft entity based
                                          December 2022 package for FTX Japan Holdings KK
Drew Hainline          3/7/2023     0.3   Review FTX docket to pull case numbers by entity


Drew Hainline          3/7/2023     0.4   Review support and method for Paper Bird interest expense payable
                                          to Cottonwood Grove
Drew Hainline          3/7/2023     0.3   Review receipt of FTX Japan consolidated December 2022 financials
                                          and archive in Box folders
Drew Hainline          3/7/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                          availability of FTX Trading reports
Drew Hainline          3/7/2023     0.6   Review and document open items and risks for FTX Trading Ltd

Drew Hainline          3/7/2023     0.8   Review FTX Japan consolidated package and draft entity based
                                          December 2022 package for FTX Quoine Pte Ltd
Drew Hainline          3/7/2023     0.8   Review FTX Japan consolidated package and draft entity based
                                          December 2022 package for FTX Quoine Vietnam Co Ltd
Drew Hainline          3/7/2023     0.6   Draft topside accrual entry for IC service charge between FTX
                                          Trading Ltd and FTX Digital Markets
Drew Hainline          3/7/2023     0.4   Review form 426 support files for various entities

Drew Hainline          3/7/2023     0.8   Review of intercompany matrix and financial model


Drew Hainline          3/7/2023     0.3   Review of intercompany service charge model between FTX Trading
                                          Ltd and FTX Digital Markets
Ed Mosley              3/7/2023     0.9   Review of and prepare comments to draft of accounting control
                                          observations
Ed Mosley              3/7/2023     0.3   Discuss FTX DM cash transfers referenced by JPL with P. Greaves
                                          (PWC) and S.Coverick, K.Ramanathan (A&M)


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Professional              Date     Hours     Activity
Gaurav Walia            3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                           Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                           with respect to Alameda loans payable
Heather Ardizzoni       3/7/2023     0.3   Meeting with H. Ardizzoni, J. Faett (A&M) discussion of insider loan
                                           documentation
Heather Ardizzoni       3/7/2023     1.8   Draft narrative of risks and responsive FTX accounting controls at
                                           WRS silo
Henry Chambers          3/7/2023     0.3   Call with S. Kojima (FTX Japan), H. Chambers, S. Li, J. Lam (A&M)
                                           to discuss the status of the December 31, 2022 financials of FTX
                                           Japan and accounting operations of Quoine PTE
Henry Chambers          3/7/2023     1.1   Attend to correspondence and queries regarding FTX Japan
                                           statement tax compliance
Jack Faett              3/7/2023     3.0   Reconcile FTT tokens to the circulated supply per
                                           www.Coinmarketcap.com
Jack Faett              3/7/2023     0.3   Meeting with H. Ardizzoni, J. Faett (A&M) discussion of insider loan
                                           documentation
Jack Faett              3/7/2023     2.0   Review bank statements in the A&M Cash Database for additional
                                           insider payments for Alameda Silo
Jack Faett              3/7/2023     2.8   Reconcile liability balances per the Cottonwood balance sheet to
                                           underlying subledgers for Alameda Silo
Jack Faett              3/7/2023     2.8   Identify unrecorded intercompany transactions within Silvergate bank
                                           activity for Alameda Silo
Jack Faett              3/7/2023     2.1   Reconcile asset balances per the Cottonwood balance sheet to
                                           underlying subledgers for Alameda Silo
Jack Faett              3/7/2023     0.7   Reconcile external loans payable schedule to the filing schedule for
                                           Alameda Silo
Jack Faett              3/7/2023     0.3   Call with J. Faett, K. Zabcik, R. Bruck (A&M) discuss insider loan
                                           identification process and determine coverage
James Lam               3/7/2023     0.3   Call with S. Kojima (FTX Japan), H. Chambers, S. Li, J. Lam (A&M)
                                           to discuss the status of the December 31, 2022 financials of FTX
                                           Japan and accounting operations of Quoine PTE
Jane Chuah              3/7/2023     1.7   Prepare monthly financial statements of FTX Japan K.K

Jane Chuah              3/7/2023     3.1   Map ledger accounts for the preparation of monthly financial
                                           statements of FTX Japan K.K
Joseph Sequeira         3/7/2023     0.2   Provide QuickBooks' access to accounting team members

Joseph Sequeira         3/7/2023     0.2   Meeting with R. Gordon, M. Shanahan, J. Sequeira, K. Kearney, D.
                                           Hainline (A&M), K. Wessel, C. Cipione, D. Schwartz, J. LaBella
                                           (ALIX) to discuss historical financial statements
Joseph Sequeira         3/7/2023     0.2   Discussion with C. Papadopoulos (FTX) concerning December
                                           month end financial statement preparations
Joseph Sequeira         3/7/2023     0.8   Coordinate year end financial statement close documentation
                                           requests from key stakeholders
Joseph Sequeira         3/7/2023     0.9   Provide additional edits for process overview documentation



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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira        3/7/2023     0.9   Review QuickBooks' GL account details to assess mapping

Joseph Sequeira        3/7/2023     1.1   Address open item requests for Schedules and Statements


Joseph Sequeira        3/7/2023     0.7   Research open items requests for Schedules and Statements

Joseph Sequeira        3/7/2023     0.7   Follow up with external vendors regarding accounting services for
                                          DOTCOM entities
Joseph Sequeira        3/7/2023     0.7   Analyze Alameda silo activity contained within QuickBooks' divisions


Joseph Sequeira        3/7/2023     0.3   Coordinate resolution of November month end open items requests
                                          with RLA
Joseph Sequeira        3/7/2023     0.6   Aggregate and Review disclaimer information for presentation deck


Joseph Sequeira        3/7/2023     2.1   Reconcile dormant and removed from bankruptcy entities for process
                                          overview documentation
Joseph Sequeira        3/7/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                          availability of FTX Trading reports
Kathryn Zabcik         3/7/2023     1.1   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #10 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.3   Call with J. Faett, K. Zabcik, R. Bruck (A&M) discuss insider loan
                                          identification process and determine coverage
Kathryn Zabcik         3/7/2023     1.1   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #3 into insider loans schedule
Kathryn Zabcik         3/7/2023     1.0   Working session with K. Zabcik and Z. Burns (A&M) to find SAFE
                                          agreements in WRS silo
Kathryn Zabcik         3/7/2023     0.9   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #8 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.8   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #7 into insider loans schedule
Kathryn Zabcik         3/7/2023     1.2   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #2 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.8   Search for additional new tokens in relativity and add new token #10
                                          to investments schedule
Kathryn Zabcik         3/7/2023     1.0   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #1 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.5   Search for additional new tokens in relativity and add new token #11
                                          to investments schedule
Kathryn Zabcik         3/7/2023     0.7   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #6 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.7   Check Alameda bank statements for additional insider loans and
                                          record new insider loan #11 into insider loans schedule
Kathryn Zabcik         3/7/2023     0.7   Call with K. Zabcik, R. Bruck (A&M) walk through the search for
                                          undocumented insider loans




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Accounting
Professional               Date     Hours     Activity
Kathryn Zabcik           3/7/2023     0.6   Check Alameda bank statements for additional insider loans and
                                            record new insider loan #4 into insider loans schedule
Kathryn Zabcik           3/7/2023     1.3   Check Alameda bank statements for additional insider loans and
                                            record new insider loan #5 into insider loans schedule
Kathryn Zabcik           3/7/2023     1.3   Check Alameda bank statements for additional insider loans and
                                            record new insider loan #9 into insider loans schedule
Kevin Kearney            3/7/2023     1.7   Review of LedgerPrime November 2022 financials in connection with
                                            preparation of petition date financial statement preparation and review
Kevin Kearney            3/7/2023     1.3   Review of Cottonwood Grove amounts due to insiders/employees
                                            reconciliations
Kevin Kearney            3/7/2023     0.2   Meeting with R. Gordon, M. Shanahan, J. Sequeira, K. Kearney, D.
                                            Hainline (A&M), K. Wessel, C. Cipione, D. Schwartz, J. LaBella
                                            (ALIX) to discuss historical financial statements
Kevin Kearney            3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                            Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                            with respect to Alameda loans payable
Kevin Kearney            3/7/2023     2.0   Review of Cottonwood Grove crypto assets reconciliation


Kevin Kearney            3/7/2023     2.1   Preparation of petition data balance sheet for Cottonwood Grove

Kevin Kearney            3/7/2023     0.4   Correspondence with third party bookkeepers for LedgerPrime
                                            entities
Kevin Kearney            3/7/2023     1.4   Review of Cottonwood Grove crypto asset transfers to related parties

Kevin Kearney            3/7/2023     1.8   Review of LedgerPrime October 2022 financials in connection with
                                            preparation of petition date financial statement preparation and review
Kumanan Ramanathan       3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                            Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                            with respect to Alameda loans payable
Kumanan Ramanathan       3/7/2023     0.3   Discuss FTX DM cash transfers referenced by JPL with (PWC) and
                                            S.Coverick, K.Ramanathan (A&M)
Laureen Ryan             3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                            Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                            with respect to Alameda loans payable
Mackenzie Jones          3/7/2023     0.4   Review list of auditors for foreign filing entities


Maya Haigis              3/7/2023     0.5   Review and update script to split and merge bank statement and
                                            wallet data
Michael Shanahan         3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                            Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                            with respect to Alameda loans payable
Michael Shanahan         3/7/2023     0.2   Weekly meeting to discuss historical financial statements with R.
                                            Gordon, M. Shanahan, J. Sequeira, K. Kearney, D. Hainline (A&M),
                                            K. Wessel, C. Cipione, D. Schwartz, J. LaBella (ALIX)
Michael Shanahan         3/7/2023     1.3   Review and analyze accounting entries related to potential donation
                                            transactions



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Accounting
Professional             Date     Hours     Activity
Michael Shanahan       3/7/2023     0.2   Meeting with R. Gordon, M. Shanahan, J. Sequeira, K. Kearney, D.
                                          Hainline (A&M), K. Wessel, C. Cipione, D. Schwartz, J. LaBella
                                          (ALIX) to discuss historical financial statements
Ran Bruck              3/7/2023     1.1   Review 2022 bank statements for Alameda Research Ltd (Bank
                                          Account 1/4) for insider loan transactions
Ran Bruck              3/7/2023     0.6   Review 2020 bank statements for Alameda Research LLC (Bank
                                          Account 2/3) for insider loan transactions
Ran Bruck              3/7/2023     0.9   Review 2020 bank statements for Alameda Research Ltd (Bank
                                          Account 1/4) for insider loan transactions
Ran Bruck              3/7/2023     0.3   Call with J. Faett, K. Zabcik, R. Bruck (A&M) discuss insider loan
                                          identification process and determine coverage
Ran Bruck              3/7/2023     0.6   Review 2022 bank statements for Alameda Research LLC (Bank
                                          Account 1/3) for insider loan transactions
Ran Bruck              3/7/2023     0.8   Review 2022 bank statements for Alameda Research Ltd (Bank
                                          Account 2/4) for insider loan transactions
Ran Bruck              3/7/2023     0.6   Review 2020 bank statements for Alameda Research LLC (Bank
                                          Account 3/3) for insider loan transactions
Ran Bruck              3/7/2023     1.6   Search through bank statement database for loan transactions with
                                          third-party insider
Ran Bruck              3/7/2023     1.0   Examine 2021 bank statements for Alameda Research Ltd (Bank
                                          Account 2/4) for insider loan transactions
Ran Bruck              3/7/2023     0.8   Examine 2021 bank statements for Alameda Research LLC (Bank
                                          Account 2/3) for insider loan transactions
Ran Bruck              3/7/2023     0.7   Call with K. Zabcik, R. Bruck (A&M) walk through the search for
                                          undocumented insider loans
Ran Bruck              3/7/2023     0.7   Examine 2022 bank statements for Alameda Research LLC (Bank
                                          Account 2/3) for insider loan transactions
Ran Bruck              3/7/2023     0.4   Review 2021 bank statements for Alameda Research LLC (Bank
                                          Account 1/3) for insider loan transactions
Ran Bruck              3/7/2023     0.5   Review 2020 bank statements for Alameda Research LLC (Bank
                                          Account 1/3) for insider loan transactions
Ran Bruck              3/7/2023     0.5   Review 2019 bank statements for Alameda Research Ltd (Bank
                                          Account 2/4) for insider loan transactions
Ran Bruck              3/7/2023     1.1   Examine 2020 bank statements for Alameda Research Ltd (Bank
                                          Account 2/4) for insider loan transactions
Ran Bruck              3/7/2023     0.8   Examine 2021 bank statements for Alameda Research LLC (Bank
                                          Account 3/3) for insider loan transactions
Ran Bruck              3/7/2023     0.8   Review 2021 bank statements for Alameda Research Ltd (Bank
                                          Account 1/4) for insider loan transactions
Ran Bruck              3/7/2023     0.7   Review 2022 bank statements for Alameda Research LLC (Bank
                                          Account 3/3) for insider loan transactions
Robert Gordon          3/7/2023     0.2   Meeting with R. Gordon, M. Shanahan, J. Sequeira, K. Kearney, D.
                                          Hainline (A&M), K. Wessel, C. Cipione, D. Schwartz, J. LaBella
                                          (ALIX) to discuss historical financial statements
Robert Gordon          3/7/2023     1.8   Begin reviewing WRS and DOTCOM accounting close documentation



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Accounting
Professional              Date     Hours     Activity
Robert Gordon           3/7/2023     0.3   Correspondence with NAV consulting on LedgerPrime financials

Robert Gordon           3/7/2023     0.7   Analyze monthly report for LedgerPrime and subsidiaries


Robert Gordon           3/7/2023     0.4   Meeting with R. Gordon, L. Ryan, K. Ramanathan, G. Walia, A.
                                           Canale, M. Shanahan, K. Kearney (A&M) to discuss collateral assets
                                           with respect to Alameda loans payable
Robert Gordon           3/7/2023     1.4   Walkthrough supporting documentation on collateral asset account
                                           mapping
Robert Johnson          3/7/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                           availability of FTX Trading reports
Summer Li               3/7/2023     1.5   Prepare for the monthly balance sheet and income statement of FTX
                                           Japan
Summer Li               3/7/2023     0.3   Call with S. Kojima (FTX Japan), H. Chambers, S. Li, J. Lam (A&M)
                                           to discuss the status of the December 31, 2022 financials of FTX
                                           Japan and accounting operations of Quoine PTE
Summer Li               3/7/2023     0.8   Review of additional bank statements provided by FTX Japan


Summer Li               3/7/2023     0.3   Correspondences with D. Hainline (A&M) in relation to the
                                           consolidated financial statements of FTX Japan
Summer Li               3/7/2023     2.1   Review of the intercompany balance worksheet between FTX Japan
                                           and FTX Trading
Vinny Rajasekhar        3/7/2023     0.9   Prepare bridge analysis for exchange data provided by accounting
                                           team
Zach Burns              3/7/2023     1.4   Research SAFE notes in Box for agreements between WRS and
                                           certain directors
Zach Burns              3/7/2023     1.0   Working session with K. Zabcik and Z. Burns (A&M) to find SAFE
                                           agreements in WRS silo
Zach Burns              3/7/2023     0.8   Analyze 2022 bank account records for loans to insiders

Zach Burns              3/7/2023     0.9   Review information sent from Europe team over night and Update
                                           consolidated entities tracker
Zach Burns              3/7/2023     1.2   Examine pre and post petition financial split documents in WRS silo
                                           for division of FBO accounts
Zach Burns              3/7/2023     1.8   Look through 2020 bank account records for loans to insiders


Zach Burns              3/7/2023     0.8   Review 2021 bank account records for loans to insiders

Zach Burns              3/7/2023     2.3   Research SAFE notes in Relativity for agreements between WRS
                                           and certain directors
Zach Burns              3/7/2023     1.3   Upload all SAFE agreements to Box in consolidated folder and
                                           Update SAFE tracker
Zach Burns              3/7/2023     1.2   Research SAFE agreements for Ventures silo in Relativity

Aly Helal               3/8/2023     2.9   Reconcile FTX subsidiary Ledger Prime 2021 and 2022 Payroll
                                           payments to the cash database to proof payments

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Accounting
Professional                Date     Hours     Activity
Chris Arnett              3/8/2023     0.5   Direct accounts payable process summary and plan

Cole Broskay              3/8/2023     0.5   Call with C. Broskay, J. Sequeira (A&M) and J. Bavaud (FTX) to
                                             walkthrough European entities' accounting transactions
Drew Hainline             3/8/2023     0.6   Meeting with M. Hernandez (RLA), J. Sequeira, D. Hainline (A&M) to
                                             discuss open close items
Drew Hainline             3/8/2023     1.3   Review and provide documentation on questions from RLKS for
                                             schedules and statements
Drew Hainline             3/8/2023     1.2   Review supporting detail for FTX Japan intercompany balance


Drew Hainline             3/8/2023     0.8   Working session with J. Sequeira, D. Hainline (A&M) to review
                                             intercompany details from Japan and align on next steps
Drew Hainline             3/8/2023     1.2   Walkthrough of European entities' accounting transactions with J.
                                             Sequeira, D. Hainline (A&M)
Drew Hainline             3/8/2023     1.3   Assist with responses to questions from RLKS on statements and
                                             schedules
Drew Hainline             3/8/2023     0.7   Review list of accounting resources, firms and auditors for debtors


Drew Hainline             3/8/2023     0.4   Perform FSLI analysis on Silo financials to draft consolidated view for
                                             future MOR filings
Drew Hainline             3/8/2023     1.7   Review information from A&M HK team regarding FTX Japan group
                                             intercompany with FTX Trading Ltd and perform research to provide
                                             feedback
Drew Hainline             3/8/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                             availability of FTX Trading reports
Drew Hainline             3/8/2023     0.5   Draft questions on IC recon for Japan

Drew Hainline             3/8/2023     0.6   Review division of responsibilities for November and December MOR
                                             reporting
Ed Mosley                 3/8/2023     0.9   Review of and prepare comments to draft bridge of assets and
                                             liabilities calculation of debtors vs founders
Gioele Balmelli           3/8/2023     0.4   Correspondence on Trading GmbH cash management

Henry Chambers            3/8/2023     0.5   Call with H. Chambers and J. Sequeira (A&M) regarding FTX Japan
                                             year end financial statements
Henry Chambers            3/8/2023     0.5   Attend to correspondence and queries regarding FTX Japan
                                             statement tax compliance
Jack Faett                3/8/2023     2.3   Document the procedures performed by A&M to reconcile the
                                             LedgerX balance sheet as of the petition date
Jack Faett                3/8/2023     1.0   Search relativity for additional slack and email correspondence to
                                             bridge collateral balances to internal FTX loan schedules for the
                                             Alameda Silo
Jack Faett                3/8/2023     1.7   Reconcile balances per the LedgerPrime balance sheet to underlying
                                             subledgers for Alameda Silo
Jack Faett                3/8/2023     2.2   Document the procedures performed by A&M to reconcile the
                                             LedgerPrime balance sheet as of the petition date

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Accounting
Professional              Date     Hours     Activity
Jack Faett              3/8/2023     1.9   Reconcile balances per the LedgerX balance sheet to underlying
                                           subledgers for Alameda Silo
Jack Faett              3/8/2023     1.5   Review the A&M Cash Database, PDF bank statements and
                                           Relativity for additional insider payments
Jane Chuah              3/8/2023     1.9   Review documents in relation to transfer pricing of FTX Japan

Jane Chuah              3/8/2023     2.6   Review documents in relation to intercompany balance of FTX Japan

Jane Chuah              3/8/2023     0.6   Review journal entries of Quoine PTE


Joseph Sequeira         3/8/2023     2.3   Draft supporting documentation for requested schedules and
                                           statements
Joseph Sequeira         3/8/2023     1.2   Walkthrough of European entities' accounting transactions with J.
                                           Sequeira, D. Hainline (A&M)
Joseph Sequeira         3/8/2023     0.9   Review RLA's open items pertaining to December's month end close

Joseph Sequeira         3/8/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                           availability of FTX Trading reports
Joseph Sequeira         3/8/2023     1.8   Research and compiled specific data points for statements and
                                           schedules
Joseph Sequeira         3/8/2023     1.1   Analyze FTX Trading intercompany activity and among subsidiaries

Joseph Sequeira         3/8/2023     0.6   Meeting with M. Hernandez (RLA), J. Sequeira, D. Hainline (A&M) to
                                           discuss open close items
Joseph Sequeira         3/8/2023     1.7   Develop framework for go forward regulatory reporting requirements

Joseph Sequeira         3/8/2023     0.2   Walkthrough of FTX Trading Ltd transaction account details with RLA


Joseph Sequeira         3/8/2023     0.5   Research QuickBooks' FTX Trading Ltd digital assets account details
                                           for schedules and statements
Joseph Sequeira         3/8/2023     0.5   Call with H. Chambers and J. Sequeira (A&M) regarding FTX Japan
                                           year end financial statements
Joseph Sequeira         3/8/2023     0.3   Coordinate meetings with FTX Trading key financial statement
                                           stakeholders to discuss schedules and statements
Joseph Sequeira         3/8/2023     0.8   Working session with J. Sequeira, D. Hainline (A&M) to review
                                           intercompany details from Japan and align on next steps
Joseph Sequeira         3/8/2023     0.3   Discussion with key stakeholders regarding FSLI development for
                                           regulatory filings
Joseph Sequeira         3/8/2023     0.5   Call with C. Broskay, J. Sequeira (A&M) and J. Bavaud (FTX) to
                                           walkthrough European entities' accounting transactions
Joseph Sequeira         3/8/2023     0.7   Discussion with C. Papadopoulos (FTX) regarding statements and
                                           schedules support
Joseph Sequeira         3/8/2023     0.7   Research FTX Trading Ltd QuickBooks' transactions for
                                           intercompany entries




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Accounting
Professional               Date     Hours     Activity
Kathryn Zabcik           3/8/2023     1.1   Onboard onto the Alameda Insider Loan Search PowerBI tool
                                            extracted from cash database
Kathryn Zabcik           3/8/2023     1.0   Search for additional new tokens in relativity and add new token #14
                                            to investments schedule for Alameda token investments
Kathryn Zabcik           3/8/2023     0.2   Search for additional new tokens in relativity and add new token #15
                                            to investments schedule for Alameda token investments
Kathryn Zabcik           3/8/2023     0.6   Alameda Insider Loan Search using PowerBI- Bank Account #1

Kathryn Zabcik           3/8/2023     0.9   Call with K. Zabcik, R. Bruck (A&M) walk through of the PowerBI tool
                                            for undocumented insider loans and recording process
Kathryn Zabcik           3/8/2023     1.3   Call with K. Zabcik, R. Bruck (A&M) review PowerBI tool for
                                            undocumented insider loans
Kathryn Zabcik           3/8/2023     1.0   Search for examples of incorrect intercompany AR and AP balances
                                            for internal controls documentation
Kathryn Zabcik           3/8/2023     0.5   Search for additional new tokens in relativity and add new token #13
                                            to investments schedule Alameda token investments
Kathryn Zabcik           3/8/2023     0.8   Clean up Alameda token investments schedule


Kathryn Zabcik           3/8/2023     0.7   Search for North Dimension payments to charities and donations

Kathryn Zabcik           3/8/2023     0.6   Value potential new receivables for Alameda token investments

Kathryn Zabcik           3/8/2023     0.6   Search for additional new tokens in relativity and add new token #12
                                            to investments schedule Alameda token investments
Kevin Kearney            3/8/2023     1.3   Preparation of LedgerPrime funds balance sheet reconciliation with
                                            respect to venture investments
Kevin Kearney            3/8/2023     0.9   Preparation of LedgerPrime funds balance sheet reconciliation with
                                            respect to accounts payable
Kevin Kearney            3/8/2023     1.4   Preparation of LedgerPrime funds balance sheet reconciliation with
                                            respect to crypto assets on third parties
Kevin Kearney            3/8/2023     0.8   Review of collateral transfers associated with Alameda loan
                                            counterparty loans payable to determine location of assets
Kevin Kearney            3/8/2023     1.7   Review of collateral transfers associated with Alameda counterparty
                                            loans payable to determine location of assets
Kevin Kearney            3/8/2023     1.2   Preparation of LedgerPrime funds balance sheet reconciliation with
                                            respect to crypto assets on FTX.com exchange
Kevin Kearney            3/8/2023     1.7   Preparation of LedgerPrime funds balance sheet reconciliation with
                                            respect to token investments
Mackenzie Jones          3/8/2023     0.3   Review and distribute foreign entities' financial analysis

Maximilian Simkins       3/8/2023     0.4   Teleconference with M. Simkins and M. Haigis (A&M) to discuss
                                            request to systematically reformat bank statement and wallet data
Maya Haigis              3/8/2023     1.4   Review and update script to split and merge bank statement and
                                            wallet data




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Accounting
Professional               Date     Hours     Activity
Maya Haigis              3/8/2023     0.4   Teleconference with M. Simkins and M. Haigis (A&M) to discuss
                                            request to systematically reformat bank statement and wallet data
Ran Bruck                3/8/2023     1.3   Call with K. Zabcik, R. Bruck (A&M) review PowerBI tool for
                                            undocumented insider loans
Ran Bruck                3/8/2023     0.9   Call with K. Zabcik, R. Bruck (A&M) walk through of the PowerBI tool
                                            for undocumented insider loans and recording process
Ran Bruck                3/8/2023     0.5   Utilize visualization model to search for undocumented insider loans
                                            for founder #4
Ran Bruck                3/8/2023     0.5   Research noted related party transactions on Alameda General
                                            Ledger for proper recording
Ran Bruck                3/8/2023     1.2   Review Alameda Research legal entity bank statements for cash
                                            disbursements and receipts to/from related parties
Ran Bruck                3/8/2023     0.9   Research 2021 bank statements for Alameda Research Ltd (Bank
                                            Account 3/4) for insider loan transactions
Ran Bruck                3/8/2023     0.4   Update to consolidated transaction log for newly identified transfers
                                            to FTX founders
Ran Bruck                3/8/2023     1.3   Utilize visualization model to search for undocumented insider loans
                                            for founder #1
Ran Bruck                3/8/2023     0.1   Review latest Chapter 11 bankruptcy case docket updates

Ran Bruck                3/8/2023     0.8   Research 2020 bank statements for Alameda Research Ltd (Bank
                                            Account 3/4) for insider loan transactions
Ran Bruck                3/8/2023     0.9   Utilize visualization model to search for undocumented insider loans
                                            for founder #2
Ran Bruck                3/8/2023     0.7   Research 2022 bank statements for Alameda Research Ltd (Bank
                                            Account 3/4) for insider loan transactions
Ran Bruck                3/8/2023     0.6   Utilize visualization model to search for undocumented insider loans
                                            for founder #3
Robert Gordon            3/8/2023     0.4   Review outline for report for comments and potential inclusion in
                                            controls matrix
Robert Gordon            3/8/2023     1.2   Review and provide comments on controls matrix initial draft


Robert Johnson           3/8/2023     0.2   Call with R. Johnson, J. Sequeira, and D. Hainline (A&M) regarding
                                            availability of FTX Trading reports
Summer Li                3/8/2023     0.3   Correspondences with D. Hainline (A&M) in relation to the
                                            confirmation of intercompany balance between FTX Japan and FTX
                                            Trading
Zach Burns               3/8/2023     1.4   Update consolidated entity tracker to include case numbers for every
                                            entity
Zach Burns               3/8/2023     0.4   Draft and sent email updating third parties about accounting team
                                            progress on Fix assets
Zach Burns               3/8/2023     0.5   Verify other side of entries were present in general ledger for insider
                                            loan transactions found in bank statements
Zach Burns               3/8/2023     0.7   Update insider loan journal entries in new sheet to include both sides
                                            of entry and uploaded to Box


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Accounting
Professional              Date     Hours     Activity
Zach Burns              3/8/2023     1.1   Research bank statements in Box for insider loan transactions

Zach Burns              3/8/2023     1.6   Examine pre and post petition split for financials in the Ventures silo
                                           for division of FBO accounts
Zach Burns              3/8/2023     1.2   Research expenses approved over Slack via emoji in Relativity

Zach Burns              3/8/2023     2.3   Analyze WRSS general ledger for discrepancies in accounts
                                           receivable in 2021
Bridger Tenney          3/9/2023     0.7   Build flow chart for Dotcom silo AP collection process


Bridger Tenney          3/9/2023     0.7   Create graphic to illustrate steps in the invoice compiling process

Bridger Tenney          3/9/2023     0.9   Create flow chart to detail who is responsible for collecting AP at
                                           every silo
Bridger Tenney          3/9/2023     0.5   Create and distribute PPT summary of AP process

Cole Broskay            3/9/2023     0.4   Discussion between R. Gordon, C. Broskay(A&M) over AP slits and
                                           latest changes
Cole Broskay            3/9/2023     0.5   Meeting between R. Lee, M. Hernandez (RLA), C. Papadopoulos
                                           (FTX), R. Esposito, C. Broskay, J. Sequeira, D. Hainline (A&M) to
                                           review tie between QBO AP detail and AP GL data
Drew Hainline           3/9/2023     0.5   Meeting between R. Lee, M. Hernandez (RLA), C. Papadopoulos
                                           (FTX), R. Esposito, C. Broskay, J. Sequeira, D. Hainline (A&M) to
                                           review tie between QBO AP detail and AP GL data
Drew Hainline           3/9/2023     0.2   Review information received from data team for FTX Ventures Ltd,
                                           archive in Box and provide information to RLA requestor
Drew Hainline           3/9/2023     0.3   Meet between D. Hainline, J. Sequeira (A&M) to review open items
                                           and align on priorities
Drew Hainline           3/9/2023     2.4   Perform FSLI analysis on Silo financials to draft consolidated view for
                                           future MOR filings
Drew Hainline           3/9/2023     0.2   Schedule checkpoint with A&M HK team to review open questions on
                                           Liquid intercompany balances
Gioele Balmelli         3/9/2023     0.9   Correspondence on Trading GmbH cash management

Heather Ardizzoni       3/9/2023     0.9   Draft narrative of risks and responsive FTX accounting controls at
                                           Ventures silo
Henry Chambers          3/9/2023     0.3   Correspondence and analysis regarding FTX earn and associated
                                           accounting treatment
Henry Chambers          3/9/2023     0.5   Call with H. Chambers and J. Sequeira (A&M) regarding FTX Japan
                                           year end financial statements
Jack Faett              3/9/2023     2.0   Review Silvergate bank statements for intercompany transactions for
                                           the WRS Silo
Jack Faett              3/9/2023     1.8   Review Deltec bank statements for intercompany transactions for the
                                           Alameda Silo
Jack Faett              3/9/2023     1.2   Review Silvergate bank statements for intercompany transactions for
                                           the Alameda Silo

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Accounting
Professional              Date     Hours     Activity
Jack Faett              3/9/2023     2.5   Review Silvergate bank statements for intercompany transactions for
                                           the Dotcom Silo
Jack Faett              3/9/2023     2.8   Review Signet bank statements for intercompany transactions for the
                                           Dotcom Silo
Jane Chuah              3/9/2023     0.3   Review currency translation of monthly financial statements of FTX
                                           Japan K.K
Jane Chuah              3/9/2023     0.2   Summarize timeline for the preparation of FTX Japan Holdings and
                                           Quoine PTE financial statements
Joseph Sequeira         3/9/2023     0.5   Meeting between R. Lee, M. Hernandez (RLA), C. Papadopoulos
                                           (FTX), R. Esposito, C. Broskay, J. Sequeira, D. Hainline (A&M) to
                                           review tie between QBO AP detail and AP GL data
Joseph Sequeira         3/9/2023     1.1   Review and edited FSLI presentation support

Joseph Sequeira         3/9/2023     0.7   Review list of entities with audited financial statements to address
                                           regulatory filing questions
Joseph Sequeira         3/9/2023     0.2   Coordinate RLA & FTX stakeholder's availability for payables
                                           discussion
Joseph Sequeira         3/9/2023     0.7   Research WRS silo payables to address follow up financial statement
                                           questions
Joseph Sequeira         3/9/2023     0.4   Discussions with C. Papadopoulos (FTX) relating to month end close
                                           and schedules and statements support
Joseph Sequeira         3/9/2023     0.3   Meet between D. Hainline, J. Sequeira (A&M) to review open items
                                           and align on priorities
Joseph Sequeira         3/9/2023     0.5   Analyze bank statement activity for FTX Trading entities in support of
                                           regulatory filing prep
Joseph Sequeira         3/9/2023     0.5   Call with H. Chambers and J. Sequeira (A&M) regarding FTX Japan
                                           year end financial statements
Kathryn Zabcik          3/9/2023     0.7   Alameda Insider Loan Search using PowerBI- Bank Account #4

Kathryn Zabcik          3/9/2023     0.6   Alameda Insider Loan Search using PowerBI- Bank Account #8


Kathryn Zabcik          3/9/2023     1.8   Review latest Chapter 11 bankruptcy case docket updates in
                                           preparation for filing Statement of Financial Affairs
Kathryn Zabcik          3/9/2023     1.6   Alameda Insider Loan Search using PowerBI- Bank Account #5


Kathryn Zabcik          3/9/2023     0.9   Alameda Insider Loan Search using PowerBI- Bank Account #3

Kathryn Zabcik          3/9/2023     1.5   Alameda Insider Loan Search using PowerBI- Bank Account #2


Kathryn Zabcik          3/9/2023     0.8   Alameda Insider Loan Search using PowerBI- Bank Account #7

Kathryn Zabcik          3/9/2023     1.5   Alameda Insider Loan Search using PowerBI- Bank Account #6

Kevin Kearney           3/9/2023     1.5   Review of funding details for targeted venture investments




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Accounting
Professional               Date     Hours     Activity
Kevin Kearney            3/9/2023     1.8   Review of blockchain activity with respect to Binance share
                                            repurchases in order to determine proper accounting entries
Mackenzie Jones          3/9/2023     1.3   Review accounts payable differences and perform reconciliation for
                                            statements and schedules
Mackenzie Jones          3/9/2023     0.3   Distribute converted financials for foreign entity last twelve months
                                            financials
Maya Haigis              3/9/2023     0.8   Review and update script to split and merge bank statement and
                                            wallet data
Ran Bruck                3/9/2023     0.6   Review 2020 North Dimension bank statements to identify previously
                                            unrecorded transactions as compared to general ledger
Ran Bruck                3/9/2023     1.2   Create documentation and tracking for additional loans found for
                                            insiders
Ran Bruck                3/9/2023     0.3   Discuss with K. Zabcik (A&M) process to find, document and
                                            reconcile additional insider loans found
Ran Bruck                3/9/2023     1.6   Continue search for undocumented insider loans for founder #4

Ran Bruck                3/9/2023     1.0   Research 2022 North Dimension bank statements to identify
                                            previously unrecorded transactions as compared to general ledger
Ran Bruck                3/9/2023     0.3   Research Silvergate bankruptcy and potential impacts on FTX
                                            customers
Ran Bruck                3/9/2023     1.8   Research within relativity to find documentation for new list of insider
                                            loans
Ran Bruck                3/9/2023     1.8   Research 2019 North Dimension bank statements to identify
                                            previously unrecorded transactions as compared to general ledger
Ran Bruck                3/9/2023     0.4   Review 2021 North Dimension bank statements to identify previously
                                            unrecorded transactions as compared to general ledger
Ran Bruck                3/9/2023     0.5   Compile summary of various loan details in order to share
                                            presentation
Rob Esposito             3/9/2023     0.5   Meeting to review tie between QBO AP detail and AP GL data
                                            between R. Lee, M. Hernandez (RLA), C. Papadopoulos (FTX), R.
                                            Esposito, C. Broskay, J. Sequeira, D. Hainline (A&M)
Robert Gordon            3/9/2023     0.4   Discussion between R. Gordon, C. Broskay(A&M) over AP slits and
                                            latest changes
Summer Li                3/9/2023     0.3   Review the additional bank statements provided by FTX Japan


Summer Li                3/9/2023     0.8   Convert the monthly financial statements from Japanese Yen to US
                                            Dollar
Zach Burns               3/9/2023     0.7   Edit and review control failure document for entities in WRS silo


Zach Burns               3/9/2023     2.1   Research WRS silo bank statements for transactions relating to
                                            insiders
Zach Burns               3/9/2023     1.7   Edit and review control failure document for entities in dotcom silo

Zach Burns               3/9/2023     1.2   Analyze Innovatia 2022 general ledger for line items relating to short
                                            term liabilities


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Accounting
Professional                Date     Hours     Activity
Zach Burns                3/9/2023     2.2   Analyze Japan Services KK general ledger for line items relating to
                                             short term liabilities
Zach Burns                3/9/2023     1.3   Edit and review control failure document for entities in Alameda silo


Zach Burns                3/9/2023     0.4   Update consolidated entity tracker to include presence of new
                                             financial data
Cole Broskay             3/10/2023     0.9   Correspondence with internal team regarding liabilities subject to
                                             compromise
Cole Broskay             3/10/2023     1.3   Correspondence with FTX accounting team regarding application of
                                             ASC 852 for contract rejections
Drew Hainline            3/10/2023     0.3   Meeting between J. Sequeira, D. Hainline (A&M) to discuss approach
                                             for FTX Digital Markets and details for November split process
Drew Hainline            3/10/2023     0.4   Review open items for FTX Digital Markets and provide guidance to
                                             RLA
Drew Hainline            3/10/2023     0.4   Schedule daily meetings for December close check-ins with FTX,
                                             RLA and A&M
Drew Hainline            3/10/2023     0.4   Review open items for December close regarding sponsorship and
                                             marketing agreements
Drew Hainline            3/10/2023     0.4   Review information received on non-rejected contracts to ensure
                                             completeness of December accruals
Drew Hainline            3/10/2023     0.3   Call with D. Hainline and M. Jones (A&M) to review petition date
                                             financial statement process documentation
Drew Hainline            3/10/2023     0.8   Meeting with C. Papadopoulos (FTX), M. Hernandez, M. Weller, R.
                                             Lee (RLA), R. Hoskins (RLKS), J. Sequeira, D. Hainline (A&M) to
                                             review open items and questions for the December close of QBO-
                                             based entities
Drew Hainline            3/10/2023     0.2   Meeting with J. Sequeira, D. Hainline (A&M) to review of petition date
                                             financial statement process documentation and MOR input process
Drew Hainline            3/10/2023     0.3   Meeting to discuss open items including fee statements for post-
                                             petition professional services with M. Hernandez (RLA), J. Sequeira,
                                             D. Hainline (A&M)
Drew Hainline            3/10/2023     0.6   Review November split financials for Blockfolio to drop in MOR input
                                             template
Drew Hainline            3/10/2023     0.6   Review lease rejections to support accuracy for WRS and WRSS


Drew Hainline            3/10/2023     0.3   Review December financials received from FTX General Partners
                                             AG, add file to Box and updated consolidated entity tracker
Drew Hainline            3/10/2023     0.6   Review available information and request confirmation from contracts
                                             for December close
Drew Hainline            3/10/2023     0.3   Review of FTX Japan audit timeline and milestones

Drew Hainline            3/10/2023     1.9   Develop additional detail on the process for petition data financial
                                             statements preparation process
Emily Hoffer             3/10/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                             database, counterparties, and FBO accounts



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Accounting
Professional              Date     Hours     Activity
Heather Ardizzoni      3/10/2023     1.4   Draft narrative of risks and responsive FTX accounting controls at
                                           Dotcom silo
Jack Faett             3/10/2023     2.7   Analyze the Alameda Research LLC Signet statement for
                                           intercompany transactions
Jack Faett             3/10/2023     2.5   Analyze the Alameda Research Ltd Signet statement for
                                           intercompany transactions
Jack Faett             3/10/2023     2.0   Flag intercompany transactions within the Silvergate bank statements
                                           for the Dotcom Silo
Joseph Sequeira        3/10/2023     1.1   Research QuickBooks' intercompany transactional details for Dotcom
                                           entities
Joseph Sequeira        3/10/2023     0.8   Meeting with C. Papadopoulos (FTX), M. Hernandez, M. Weller, R.
                                           Lee (RLA), R. Hoskins (RLKS), J. Sequeira, D. Hainline (A&M) to
                                           review open items and questions for the December close of QBO-
                                           based entities
Joseph Sequeira        3/10/2023     1.1   Research list of lease rejections and distributed to RLA and FTX
                                           stakeholders
Joseph Sequeira        3/10/2023     1.2   Compile requested Dotcom financial statement support for external
                                           vendors
Joseph Sequeira        3/10/2023     0.9   Compile supporting financial statement documentation for Dotcom
                                           entities to share with key stakeholders
Joseph Sequeira        3/10/2023     0.3   Meeting to discuss open items including fee statements for post-
                                           petition professional services with M. Hernandez (RLA), J. Sequeira,
                                           D. Hainline (A&M)
Joseph Sequeira        3/10/2023     0.2   Meeting with J. Sequeira, D. Hainline (A&M) to review of petition date
                                           financial statement process documentation and MOR input process
Joseph Sequeira        3/10/2023     0.3   Meeting between J. Sequeira, D. Hainline (A&M) to discuss approach
                                           for FTX Digital Markets and details for November split process
Joseph Sequeira        3/10/2023     0.7   Coordinate with E&Y to Provide bookkeeping services for a Dotcom
                                           legal entity
Julian Lee             3/10/2023     0.3   Call with M. Shanahan, J. Lee, K. Kearney, R. Gordon (A&M) to
                                           discuss cash database, intercompany transactions, and customer
                                           funds activity
Julian Lee             3/10/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                           database, counterparties, and FBO accounts
Kathryn Zabcik         3/10/2023     0.9   Review latest Chapter 11 bankruptcy case docket updates


Kathryn Zabcik         3/10/2023     0.9   Research Bankruptcy Case developments, bank news, and recent
                                           court documents ahead of press release draft
Kathryn Zabcik         3/10/2023     1.2   Research previously filed financial data to confirm that drafted press
                                           reports reference the correct filings
Kevin Kearney          3/10/2023     1.1   Reconciliation of LedgerPrime accounting records for crypto assets
                                           held on exchanges to calculated crypto asset details in connection
                                           with petition date balance sheets
Mackenzie Jones        3/10/2023     0.7   Review and update petition date financial statement process
                                           documentation presentation
Mackenzie Jones        3/10/2023     0.3   Call with D. Hainline and M. Jones (A&M) to review petition date
                                           financial statement process documentation

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Accounting
Professional              Date     Hours     Activity
Michael Shanahan       3/10/2023     0.3   Call with M. Shanahan, J. Lee, K. Kearney, R. Gordon (A&M) to
                                           discuss cash database, intercompany transactions, and customer
                                           funds activity
Michael Shanahan       3/10/2023     0.3   Communications to/from team regarding foreign entity liquidations

Michael Shanahan       3/10/2023     0.6   Review bank account tracker and status


Michael Shanahan       3/10/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                           database, counterparties, and FBO accounts
Michael Shanahan       3/10/2023     0.8   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day
                                           payments and customer balances
Michael Shanahan       3/10/2023     0.9   Review bank account index related to FBO accounts

Patrick McGrath        3/10/2023     0.8   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day
                                           payments and customer balances
Ran Bruck              3/10/2023     0.9   Utilize visualization model to identify transactions with activity from
                                           founder 6
Ran Bruck              3/10/2023     0.5   Reconcile list of founder 6 loans with bank statements proving
                                           outflow of cash
Ran Bruck              3/10/2023     0.4   Identify & compile list of open items related to Alameda silo petition
                                           date financials
Ran Bruck              3/10/2023     0.6   Reconcile list of founder 6 loans with general ledger proving outflow
                                           of cash
Ran Bruck              3/10/2023     0.2   Review latest Chapter 11 bankruptcy case docket updates


Ran Bruck              3/10/2023     0.8   Utilize visualization model to identify transactions with activity from
                                           founder 5
Ran Bruck              3/10/2023     0.7   Reconcile list of founder 5 loans with bank statements proving
                                           outflow of cash
Ran Bruck              3/10/2023     1.1   Answer follow-up questions for K. Kearney (A&M) and provide
                                           documentation
Ran Bruck              3/10/2023     0.6   Reconcile list of founder 5 loans with general ledger proving outflow
                                           of cash
Summer Li              3/10/2023     0.3   Call with J. Cooper, H. Chambers, S. Witherspoon and S. Li (A&M)
                                           regarding daily cash balance of FTX Japan
Summer Li              3/10/2023     0.2   Review the additional bank statements provided by FTX Japan and
                                           update bank statement trackers
Zach Burns             3/10/2023     1.0   Search Relativity for documents relating to additional insider loans
                                           suspected
Zach Burns             3/10/2023     0.7   Analyze Japan Services KK transaction report for entries relating to
                                           insiders
Zach Burns             3/10/2023     0.6   Update consolidated entities tracker to include Update financials

Zach Burns             3/10/2023     1.8   Examine WRSS 2022 Fix asset transaction report




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Accounting
Professional                Date     Hours     Activity
Emily Hoffer             3/11/2023     3.3   Review and update FBO bank account tracker

Heather Ardizzoni        3/11/2023     2.5   Draft narrative of risks and responsive FTX accounting controls at
                                             Alameda silo
Cole Broskay             3/12/2023     0.6   Correspondence regarding commentary and feedback on previous
                                             iterations of General Notes
Drew Hainline            3/12/2023     0.4   Update open question tracker from RLKS with responses from
                                             meeting with Sakiko related to Liquid group entities
Drew Hainline            3/12/2023     0.7   Review available bank statement information for open RLA close
                                             items for WRS entities
Drew Hainline            3/12/2023     0.3   Review follow-up questions from RLKS regarding FTX Europe AG
                                             and request information from Jurg Bavaud (FTX)
Drew Hainline            3/12/2023     0.7   Working session with Sakiko Kojima (FTX), J. Sequeira, S. Li, D.
                                             Hainline (A&M) to review and provide responses to SOFA review
                                             questions from RLKS
Drew Hainline            3/12/2023     0.5   Review available information on December financials for FTX Digital
                                             Assets LLC
Drew Hainline            3/12/2023     1.3   Review detailed open close items from RLA for the December close
                                             of QBO-based entities
Drew Hainline            3/12/2023     1.3   Review questions from RLKS on Liquid group November financials
                                             and schedule time with Sakiko and A&M HK team to review and
                                             provide responses
Heather Ardizzoni        3/12/2023     3.2   Gather and research information in relation to S&C request of
                                             accounting and finance operations oversight - Alameda silo
Heather Ardizzoni        3/12/2023     1.9   Gather and research information in relation to S&C request of
                                             accounting and finance operations oversight - Ventures silo
Heather Ardizzoni        3/12/2023     2.8   Gather and research information in relation to S&C request of
                                             accounting and finance operations oversight - WRS silo
Joseph Sequeira          3/12/2023     1.2   Address open SOFA questions for Dotcom entities

Joseph Sequeira          3/12/2023     1.5   Draft risk and control language for senior leadership request


Joseph Sequeira          3/12/2023     0.7   Working session with Sakiko Kojima (FTX), J. Sequeira, S. Li, D.
                                             Hainline (A&M) to review and provide responses to SOFA review
                                             questions from RLKS
Kathryn Zabcik           3/12/2023     2.0   Format template for Bank Statement for incorporation into bank data
                                             analysis
Summer Li                3/12/2023     0.7   Working session to review and provide responses to SOFA review
                                             questions from RLKS with Sakiko Kojima (FTX), J. Sequeira, S. Li, D.
                                             Hainline (A&M)
Zach Burns               3/12/2023     2.0   Examine WRSS 2022 Fix asset transaction report

Cole Broskay             3/13/2023     0.2   Correspondence with internal team regarding PT Trinit financial data
                                             available
Cole Broskay             3/13/2023     1.3   Research regarding available financial data and accounting owner for
                                             PT Triniti entity


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Accounting
Professional                Date     Hours     Activity
Cole Broskay             3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                             Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                             Burns (A&M) to discuss action items for the week
Drew Hainline            3/13/2023     0.7   Track down Blockfolio December payroll support, archive in Box,
                                             update tracker and send notifications to RLA team
Drew Hainline            3/13/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to review of open
                                             questions from RLKS and RLA December close items
Drew Hainline            3/13/2023     2.1   Review of updated Japan IC analysis

Drew Hainline            3/13/2023     0.5   Prepare agenda for check-in with RLA and FTX resources for
                                             December close of QBO-based entities
Drew Hainline            3/13/2023     0.4   Review available payroll support for December and provide to RLA
                                             for processing
Drew Hainline            3/13/2023     0.4   Review available information for WRSS AMEX statements and
                                             transactions and follow-up with Delaney with FTX for information
                                             following November 13th
Drew Hainline            3/13/2023     0.6   Meeting with C. Papadopoulos (FTX), R. Lee, M. Hernandez, R.
                                             Pekary (RLA), J. Sequeira, D. Hainline (A&M) to review status of
                                             open items for December close of QBO-based entities
Drew Hainline            3/13/2023     0.6   Review of rejected leases, claims and balances currently maintained
                                             on WRS Inc
Drew Hainline            3/13/2023     1.1   Review RLA December close open items for QBO-based entities

Drew Hainline            3/13/2023     0.4   Draft and send out notes and next steps on December close for QBO-
                                             based entities following check-in with FTX and RLA
Drew Hainline            3/13/2023     0.8   Review detailed schedules from A&M HK team for Liquid Group and
                                             provide documents and updates in open question tracker from RLKS
Drew Hainline            3/13/2023     0.4   Working session with E. Hoffer, D. Hainline (A&M) to review
                                             outstanding bank statements for December close of QBO-based
                                             entities
Drew Hainline            3/13/2023     0.9   Working session with J. Sequeira, S. Li, D. Hainline (A&M) to review
                                             intercompany analysis for FTX Japan
Drew Hainline            3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                             Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                             Burns (A&M) to discuss action items for the week
Drew Hainline            3/13/2023     0.9   Review of active and rejected contracts to support December close
                                             items for QBO-based entities
Drew Hainline            3/13/2023     1.1   Review transactions of HBAR to identify source and nature of
                                             transactions for Blockfolio December close
Drew Hainline            3/13/2023     0.6   Review of Salameda expense reimbursement request and draft
                                             follow-up questions for additional detail required for accrual
Emily Hoffer             3/13/2023     0.4   Working session to review outstanding bank statements for
                                             December close of QBO-based entities with E. Hoffer, D. Hainline
                                             (A&M)
Emily Hoffer             3/13/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss FBO
                                             accounts identified and cash database



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Accounting
Professional              Date     Hours     Activity
Gaurav Walia           3/13/2023     0.4   Review custodial cash deposit and withdrawal analysis

Heather Ardizzoni      3/13/2023     3.2   Document several page assessment of debtor's internal financial and
                                           accounting records
Heather Ardizzoni      3/13/2023     3.1   Document several page assessment of debtor's financial statements
                                           and financial reports
Heather Ardizzoni      3/13/2023     2.6   Gather and research information in relation to S&C request of
                                           accounting and finance operations oversight - Dotcom silo
Heather Ardizzoni      3/13/2023     2.4   Revise and refine assessment of debtor's internal financial and
                                           accounting records
Heather Ardizzoni      3/13/2023     2.3   Revise and refine assessment of debtor's financial statements and
                                           financial reports
Heather Ardizzoni      3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                           Burns (A&M) to discuss action items for the week
Jack Faett             3/13/2023     1.7   Analyze Alameda Research KK bank statements for intercompany
                                           transactions
Jack Faett             3/13/2023     2.6   Review Silvergate bank statements for North Dimension
                                           intercompany transactions
Jack Faett             3/13/2023     2.5   Review Signature bank statements for Maclaurin Investments
                                           intercompany transactions
Jack Faett             3/13/2023     2.3   Review Silvergate bank statements for LedgerPrime for
                                           intercompany transactions
Jack Faett             3/13/2023     2.1   Analyze Signature bank statements for intercompany transactions for
                                           Alameda Silo entities
Jack Faett             3/13/2023     1.8   Identify intercompany transactions within Alameda Research Ltd's
                                           Prime Trust bank account
Jack Faett             3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                           Burns (A&M) to discuss action items for the week
Jack Faett             3/13/2023     0.5   Meeting with K. Kearney and J. Faett (A&M) to discuss related party
                                           transactions and other priorities for the week
Jack Faett             3/13/2023     1.3   Analyze Silvergate bank statements for intercompany transactions for
                                           the WRS Silo
Jane Chuah             3/13/2023     2.9   Understand prior period journal entries and propose expense entries
                                           for Quoine Pte
Jane Chuah             3/13/2023     2.4   Update intercompany balance schedule of Quoine Pte and review
                                           supporting documents
Jane Chuah             3/13/2023     1.9   Reconcile trial balances of Quoine Pte and resolve any differences

Jon Chan               3/13/2023     2.4   Provide fiat transactions for A&M internal team


Joseph Sequeira        3/13/2023     2.1   Draft monthly journal entries for December close




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Professional              Date     Hours     Activity
Joseph Sequeira        3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                           Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                           Burns (A&M) to discuss action items for the week
Joseph Sequeira        3/13/2023     1.2   Follow up on open monthly close items with Dotcom and WRS
                                           stakeholders
Joseph Sequeira        3/13/2023     1.1   Research QuickBooks files for historical information on Dotcom
                                           entities
Joseph Sequeira        3/13/2023     1.4   Review accounting guidance to facilitate the December month end
                                           close process with external accounting vendors
Joseph Sequeira        3/13/2023     1.3   Address review notes for schedules and statements


Joseph Sequeira        3/13/2023     0.6   Review RLA's December open items list prior to working session

Joseph Sequeira        3/13/2023     0.6   Meeting with C. Papadopoulos (FTX), R. Lee, M. Hernandez, R.
                                           Pekary (RLA), J. Sequeira, D. Hainline (A&M) to review status of
                                           open items for December close of QBO-based entities
Joseph Sequeira        3/13/2023     0.6   Coordinate compilation and delivery of schedules and statements
                                           supporting documentation
Joseph Sequeira        3/13/2023     0.5   Aggregate supporting documentation for lease rejections

Joseph Sequeira        3/13/2023     1.3   Provide system access and workpapers to external accounting
                                           vendor in order to establish bookkeeping services for Dotcom entities
Joseph Sequeira        3/13/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to review of open
                                           questions from RLKS and RLA December close items
Joseph Sequeira        3/13/2023     0.9   Walkthrough of monthly close process for Dotcom entity with FTX
                                           stakeholder
Joseph Sequeira        3/13/2023     0.9   Working session with J. Sequeira, S. Li, D. Hainline (A&M) to review
                                           intercompany analysis for FTX Japan
Julian Lee             3/13/2023     2.3   Review and update FBO bank account tracker

Julian Lee             3/13/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss FBO
                                           accounts identified and cash database
Kathryn Zabcik         3/13/2023     0.5   Search Dotcom personnel rosters for Risk roles for internal controls
                                           presentation
Kathryn Zabcik         3/13/2023     1.9   Search for any other policies and procedures in Relativity for all silos
                                           for internal controls presentation
Kathryn Zabcik         3/13/2023     1.1   Search for Treasury Department policies and procedures in Relativity
                                           for all silos for internal controls presentation
Kathryn Zabcik         3/13/2023     1.0   Search for Ventures personnel rosters in Relativity and Box for
                                           internal controls presentation
Kathryn Zabcik         3/13/2023     1.0   Search for Risk Department policies and procedures in Relativity for
                                           all silos for internal controls presentation
Kathryn Zabcik         3/13/2023     1.0   Search for Dotcom personnel rosters in Relativity and Box for internal
                                           controls presentation
Kathryn Zabcik         3/13/2023     0.9   Search for Audit Department policies and procedures in Relativity for
                                           all silos for internal controls presentation

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Accounting
Professional             Date     Hours     Activity
Kathryn Zabcik        3/13/2023     0.8   Search for Accounting Department policies and procedures in
                                          Relativity for all silos for internal controls presentation
Kathryn Zabcik        3/13/2023     0.6   Search Dotcom personnel rosters for Accounting roles for internal
                                          controls presentation
Kathryn Zabcik        3/13/2023     0.5   Search Dotcom personnel rosters for Treasury roles for internal
                                          controls presentation
Kathryn Zabcik        3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                          Burns (A&M) to discuss action items for the week
Kevin Kearney         3/13/2023     1.3   Review of BNB transfers from FTX to Binance in connection with
                                          share repurchase
Kevin Kearney         3/13/2023     0.5   Meeting with K. Kearney and J. Faett (A&M) to discuss related party
                                          transactions and other priorities for the week
Kevin Kearney         3/13/2023     2.0   Review of activity in wallets used to transfer FTT to Binance in
                                          connection with share repurchase to identify source of funds for
                                          intercompany accounting
Kevin Kearney         3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                          Burns (A&M) to discuss action items for the week
Kevin Kearney         3/13/2023     1.5   Review of FTX.com exchange information for intercompany and
                                          related party accounts
Kevin Kearney         3/13/2023     1.1   Review of BUSD transfers from FTX to Binance in connection with
                                          share repurchase
Kevin Kearney         3/13/2023     2.1   Review of AWS exported information for selection of customer
                                          deposits
Kevin Kearney         3/13/2023     1.2   Review of FTT transfers from FTX to Binance in connection with
                                          share repurchase
Kevin Kearney         3/13/2023     1.2   Review of FTX US exchange information for intercompany and
                                          related party accounts
Kevin Kearney         3/13/2023     2.3   Review of AWS exported information for selection of customer
                                          withdrawals
Mackenzie Jones       3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                          Burns (A&M) to discuss action items for the week
Michael Shanahan      3/13/2023     1.1   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss FBO
                                          accounts identified and cash database
Ran Bruck             3/13/2023     0.3   Reconcile bank statement #1 with transaction tracker for Alameda
                                          Research Ltd
Ran Bruck             3/13/2023     0.2   Run financial tracking model for R. Gordon (A&M)


Ran Bruck             3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                          Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                          Burns (A&M) to discuss action items for the week
Ran Bruck             3/13/2023     0.4   Review latest Chapter 11 bankruptcy case docket updates

Ran Bruck             3/13/2023     1.7   Review of bank statement #1 for bank transactions for Cottonwood
                                          Grove Ltd and reconcile with current statement

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Professional                Date     Hours     Activity
Ran Bruck                3/13/2023     1.8   Review of bank statement #1 for bank transactions for Maclaurin
                                             Investments and reconcile with current statement
Ran Bruck                3/13/2023     0.8   Review of bank statement #1 for bank transactions for Alameda
                                             Research LLC and reconcile with current statement
Ran Bruck                3/13/2023     1.1   Review with cash team (A&M) work product transition regarding bank
                                             statement reconciliation
Ran Bruck                3/13/2023     1.5   Review of bank statement #1 for bank transactions for North
                                             Dimension and reconcile with current statement
Robert Gordon            3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                             Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                             Burns (A&M) to discuss action items for the week
Robert Gordon            3/13/2023     0.6   Prepare for weekly check-in meeting by drafting open items and
                                             talking points
Summer Li                3/13/2023     1.6   Close the December accounts of Quoine Pte

Summer Li                3/13/2023     2.8   Review of the revised intercompany balance calculation and to
                                             understand the counterparty for fiat transactions
Summer Li                3/13/2023     0.9   Extract schedules in responses to review questions from RLKS

Zach Burns               3/13/2023     1.3   Analyze transaction reports for bank accounts in WRS silo


Zach Burns               3/13/2023     1.1   Analyze transaction reports for bank accounts in dotcom silo

Zach Burns               3/13/2023     1.4   Analyze how much capital was allocated to banks in the WRS silo on
                                             a historical basis
Zach Burns               3/13/2023     0.4   Call with R. Gordon, C. Broskay, J. Sequeira, K. Kearney, D.
                                             Hainline, H. Ardizzoni, J. Faett, M. Jones, K. Zabcik, R. Bruck, and Z.
                                             Burns (A&M) to discuss action items for the week
Zach Burns               3/13/2023     2.0   Analyze Box for November and December 2022 bank statements
                                             requested by third party
Zach Burns               3/13/2023     1.8   Link bank statements requested list to bank statements in Box


Zach Burns               3/13/2023     0.9   Document split between actual bank statements and transaction
                                             reports in Box
Zach Burns               3/13/2023     1.5   Finalize documentation for bank statement request from third party
                                             and tied to Box evidence
Charles Evans            3/14/2023     0.2   Call with M. Jonathan (FTX) regarding the financial statements, bank
                                             account statements and other data for the Indonesian entity
Charles Evans            3/14/2023     0.5   Correspondence with M. Cilia (FTX), C. Broskay, C. Evans (A&M)
                                             and M. Jonathan (FTX) regarding the financial statements, bank
                                             account statements and other data for the Indonesian entity
Chris Arnett             3/14/2023     0.3   Review and comment on press release regarding statements and
                                             SOFAs
Cole Broskay             3/14/2023     0.3   Discussion with C. Broskay and J. Sequeira (A&M) regarding month
                                             end close accounting items and scheduling



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Accounting
Professional              Date     Hours     Activity
Drew Hainline          3/14/2023     0.2   Prepare agenda for check point with FTX Japan team to check-in on
                                           IC analysis with FTX Trading Ltd
Drew Hainline          3/14/2023     0.7   Working session with J. Sequeira, S. Li, D. Hainline (A&M) S. Kojima,
                                           R. Fung (FTX) to review intercompany analysis and support for FTX
                                           Japan
Drew Hainline          3/14/2023     0.2   Working session with R. Johnson, D. Hainline (A&M) to understand
                                           Blockfolio Hash graph transactions and validating exchange
                                           transaction in Japan IC analysis
Drew Hainline          3/14/2023     0.3   Update notes and commentary of the Japan IC analysis

Drew Hainline          3/14/2023     0.3   Review information on Miami Lease for 1450 Brickell Ave and
                                           determine approach for required journal entries for WRS Inc
Drew Hainline          3/14/2023     0.9   Meeting with C. Papadopoulos (FTX), R. Lee, M. Hernandez, R.
                                           Pekary, M. Weller (RLA), J. Sequeira, D. Hainline (A&M) to review
                                           status of open items for December close of QBO-based entities
Drew Hainline          3/14/2023     0.6   Review of updated FTX Japan trial balance after adjustments for
                                           transfer pricing
Drew Hainline          3/14/2023     0.3   Prepare agenda for 3/14 check-in on December close of QBO-based
                                           entities with FTX and RLA
Drew Hainline          3/14/2023     1.1   Meeting with H. Chambers, J. Sequeira, S. Li, D. Hainline (A&M) to
                                           discuss open items for FTX Japan
Gaurav Walia           3/14/2023     0.4   Review the cash withdrawals and deposits summary prepared by P.
                                           Lee (FTX)
Heather Ardizzoni      3/14/2023     1.7   Draft oversight of accounting and finance operations at WRS silo in
                                           response to S&C request
Heather Ardizzoni      3/14/2023     2.2   Draft oversight of accounting and finance operations at Alameda silo
                                           in response to S&C request
Heather Ardizzoni      3/14/2023     1.4   Draft oversight of accounting and finance operations at Ventures silo
                                           in response to S&C request
Heather Ardizzoni      3/14/2023     1.6   Draft oversight of accounting and finance operations at Dotcom silo
                                           in response to S&C request
Henry Chambers         3/14/2023     0.8   Attend to management of accounting workstream regarding closing
                                           of financial year 2022
Jack Faett             3/14/2023     2.4   Agree intercompany transactions identified during bank reviews to
                                           the general ledger to determine recorded and unrecorded
                                           intercompany transactions for the Alameda Silo
Jack Faett             3/14/2023     2.8   Perform bank statement review for intercompany transactions for
                                           Venture Silo entities
Jack Faett             3/14/2023     0.5   Perform secondary review on OpenPay'd bank statements to ensure
                                           all intercompany transactions were captured
Jack Faett             3/14/2023     1.9   Perform secondary review of JP Morgan and Bank of America bank
                                           statements to ensure all intercompany transactions were captured for
                                           Alameda Silo
Jack Faett             3/14/2023     1.9   Consolidate and formatting Alameda Silo intercompany workpaper

Jack Faett             3/14/2023     2.6   Match intra-silo transactions between Alameda Silo entities and tying
                                           each side of entry to bank statement details

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Accounting
Professional              Date     Hours     Activity
Jack Yan               3/14/2023     1.6   Investigate the loans borrowed by FTX Trading Ltd to Liquid Group

Jack Yan               3/14/2023     1.8   Check accounts payable control file


James Lam              3/14/2023     0.4   Review loan document and accounting records in relation to a debt
                                           financing for Quoine PTE
Jane Chuah             3/14/2023     2.4   Propose journal entries for the reversal of Quoine Pte's November
                                           accruals and recognize accounts payable
Jane Chuah             3/14/2023     0.9   Review the updated November financial statements and schedules of
                                           Quoine Pte
Jane Chuah             3/14/2023     2.6   Propose journal entries to book accounts payable for Quoine Pte's
                                           November expense based on invoices
Jane Chuah             3/14/2023     1.6   Review December entries booked for Quoine Pte and suggest any
                                           amendments
Jane Chuah             3/14/2023     1.1   Review account payable control list of Quoine Pte and identify
                                           expenses to be booked
Joseph Sequeira        3/14/2023     1.1   Review QuickBooks' GLs pertaining to Dotcom and WRS entities'
                                           open items concerns
Joseph Sequeira        3/14/2023     1.4   Address outstanding accounting treatment questions from external
                                           vendors
Joseph Sequeira        3/14/2023     0.5   Discussion with accounting vendor regarding December's monthly
                                           close process
Joseph Sequeira        3/14/2023     0.7   Analyze GL support from QuickBooks for WRS entities' month end
                                           open items
Joseph Sequeira        3/14/2023     0.6   Review schedules and statements against source financial
                                           statements
Joseph Sequeira        3/14/2023     1.5   Draft lease accounting transactional flows for close meetings


Joseph Sequeira        3/14/2023     0.3   Discussion with C. Broskay and J. Sequeira (A&M) regarding month
                                           end close accounting items and scheduling
Joseph Sequeira        3/14/2023     1.5   Review historical accounting workpapers for Dotcom entities to
                                           facilitate December close processes
Joseph Sequeira        3/14/2023     0.4   Discussion with bank statement group to research December support
                                           for Dotcom entity
Joseph Sequeira        3/14/2023     0.9   Analysis of Dotcom intercompany reconciliation details

Joseph Sequeira        3/14/2023     0.7   Working session with J. Sequeira, S. Li, D. Hainline (A&M) S. Kojima,
                                           R. Fung (FTX) to review intercompany analysis and support for FTX
                                           Japan
Joseph Sequeira        3/14/2023     0.6   Discussion with Dotcom financial statement stakeholders regarding
                                           outstanding bank statements
Joseph Sequeira        3/14/2023     1.1   Meeting with H. Chambers, J. Sequeira, S. Li, D. Hainline (A&M) to
                                           discuss open items for FTX Japan
Joseph Sequeira        3/14/2023     0.9   Meeting with C. Papadopoulos (FTX), R. Lee, M. Hernandez, R.
                                           Pekary, M. Weller (RLA), J. Sequeira, D. Hainline (A&M) to review
                                           status of open items for December close of QBO-based entities

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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira       3/14/2023     0.8   Discussions with FTX stakeholders regarding access to financial
                                          statement support
Joseph Sequeira       3/14/2023     1.2   Review additional financial statement records received from FTX
                                          stakeholders related to month end closings
Kathryn Zabcik        3/14/2023     1.1   Format March Bank Statement for incorporation into bank data
                                          analysis
Kathryn Zabcik        3/14/2023     1.4   Conversion of March-Dec Bank Statements from PDF to Excel for
                                          incorporation into bank data analysis
Kathryn Zabcik        3/14/2023     0.5   Review crypto assets workpaper for accuracy ahead of SOFAs filing


Kathryn Zabcik        3/14/2023     0.8   Finish formatting Bank Statements from PDF to Excel- month #1 for
                                          bank data analysis
Kathryn Zabcik        3/14/2023     0.7   Review Cash & Cash Equivalents workpaper for accuracy ahead of
                                          SOFAs filing
Kathryn Zabcik        3/14/2023     1.0   Review changes to crypto assets receivable workbook

Kathryn Zabcik        3/14/2023     1.0   Format May Bank Statement for incorporation into bank data analysis


Kathryn Zabcik        3/14/2023     1.6   Review Alameda investment relevant party information for crypto
                                          assets work paper
Kathryn Zabcik        3/14/2023     1.5   Convert & format Bank Statements from PDF to Excel- month #1 for
                                          incorporation into bank data analysis
Kathryn Zabcik        3/14/2023     1.7   Convert & format Bank Statements from PDF to Excel- month #2 for
                                          incorporation into bank data analysis
Kathryn Zabcik        3/14/2023     1.0   Format April Bank Statement for incorporation into bank data analysis

Kathryn Zabcik        3/14/2023     0.5   Review preliminary analysis of shortfalls at FTX.com and FTX.US in
                                          case docket ahead of Schedules and SOFAs press release draft
Kevin Kearney         3/14/2023     1.3   Review of activity in wallets used to transfer BUSD to Binance in
                                          connection with share repurchase to identify source of funds for
                                          intercompany accounting
Kevin Kearney         3/14/2023     1.4   Reconciliation of petition date balance sheets in Alameda silo for
                                          collateral assets to Statements and Schedules
Kevin Kearney         3/14/2023     3.0   Reconciliation of petition date balance sheets in Alameda silo for
                                          loans payable to Statements and Schedules
Kevin Kearney         3/14/2023     1.1   Review of activity in wallets used to transfer BNB to Binance in
                                          connection with share repurchase to identify source of funds for
                                          intercompany accounting
Kevin Kearney         3/14/2023     1.9   Reconciliation of petition date balance sheets in Alameda silo for
                                          venture investments to Statements and Schedules
Kevin Kearney         3/14/2023     0.7   Reconciliation of petition date balance sheets in Alameda silo for
                                          marketable securities to Statements and Schedules
Kevin Kearney         3/14/2023     0.2   Review of business information for accuracy recorded on Statements
                                          and Schedules for Alameda silo
Kevin Kearney         3/14/2023     2.0   Reconciliation of petition date balance sheets in Alameda silo for
                                          cash to Statements and Schedules

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                                 FTX Trading Ltd., et al.,
                           Time Detail by Activity by Professional
                           March 1, 2023 through March 31, 2023


Accounting
Professional              Date     Hours     Activity
Kevin Kearney          3/14/2023     1.1   Reconciliation of petition date balance sheets in Alameda silo for
                                           tokens receivable to Statements and Schedules
Robert Johnson         3/14/2023     0.2   Working session with R. Johnson, D. Hainline (A&M) to understand
                                           Blockfolio Hash graph transactions and validating exchange
                                           transaction in Japan IC analysis
Summer Li              3/14/2023     3.1   Understand why the intercompany balance between FTX Japan and
                                           Quoine Pte was payable in the book of Quoine Pte
Summer Li              3/14/2023     0.9   Working session to review intercompany analysis for FTX Japan with
                                           J. Sequeira, S. Li, D. Hainline (A&M)
Summer Li              3/14/2023     3.1   Answer questions in responses to review questions from RLKS


Summer Li              3/14/2023     0.4   Understand the nature of intercompany balance between FTX Japan
                                           and Quoine Pte
Summer Li              3/14/2023     0.2   Correspondence with H. Chambers (A&M) regarding intercompany
                                           balance between Quoine Pte and FTX Japan KK
Zach Burns             3/14/2023     0.9   Convert May 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     1.0   Convert August 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     0.7   Proof-read and delivered documents to executive team


Zach Burns             3/14/2023     0.6   Analyze Innovatia bank statements for activity relating to payments in
                                           2022
Zach Burns             3/14/2023     0.9   Gather information on Box relating to dotcom bank statements


Zach Burns             3/14/2023     0.8   Convert July 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     0.9   Convert March 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     1.1   Document Innovatia bank statements in Box


Zach Burns             3/14/2023     1.1   Examine WRS bank statements for activity relating to payments in
                                           2022
Zach Burns             3/14/2023     1.0   Convert January 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     1.3   Analyze recently filed financials in dotcom silo

Zach Burns             3/14/2023     1.2   Convert April 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Zach Burns             3/14/2023     1.2   Convert February 2020 bank statements from PDF to Excel for
                                           Deltec Bank
Zach Burns             3/14/2023     1.3   Convert June 2020 bank statements from PDF to Excel for Deltec
                                           Bank
Alessandro Farsaci     3/15/2023     0.4   Call with J. Bavaud (CFO FTX Europe AG) to discuss preparation of
                                           financial statements FY22


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                                   FTX Trading Ltd., et al.,
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Accounting
Professional                Date     Hours     Activity
Aly Helal                3/15/2023     0.5   Call with A. Helal and E. Hoffer (A&M) discussing cash database
                                             counterparty overlay workstream to populate the counterparties for
                                             each cash transaction
Breanna Price            3/15/2023     3.1   Apply counterparty names to various bank statements

Drew Hainline            3/15/2023     0.8   Reconcile IC payables for FTX Japan for customer service staff
                                             recharges and marketing costs from FTX Trading Ltd
Drew Hainline            3/15/2023     0.6   Search for information on December close items for Clifton Bay
                                             Investments LLC
Drew Hainline            3/15/2023     0.6   Review and update December close open item tracker for QBO-
                                             based entities
Drew Hainline            3/15/2023     0.9   Review new December close items provided by RLA for QBO-based
                                             entities
Drew Hainline            3/15/2023     0.7   Working session with J. Sequeira, S. Li, D. Hainline (A&M) S. Kojima,
                                             R. Fung (FTX) to review intercompany analysis and support for FTX
                                             Japan
Drew Hainline            3/15/2023     0.4   Review of FTX control failures documentation


Drew Hainline            3/15/2023     0.4   Review questions on reclass of IC load payable from FTX Japan and
                                             provide guidance based on cash transaction review
Drew Hainline            3/15/2023     0.9   Meeting with C. Papadopoulos (FTX), R. Hoskins (RLKS), R. Lee, M.
                                             Hernandez, R. Pekary, M. Weller (RLA), J. Sequeira, D. Hainline
                                             (A&M) to review status of open items for December close of QBO-
                                             based entities
Drew Hainline            3/15/2023     0.5   Working session with K. Kearney, D. Hainline (A&M) to review related
                                             party transfers to support position on loan with FTX Japan
Drew Hainline            3/15/2023     1.1   Meeting with H. Chambers, J. Sequeira, S. Li, D. Hainline (A&M) to
                                             discuss open items for FTX Japan
Drew Hainline            3/15/2023     1.5   Review Japan IC charges with FTX Trading Ltd and WRSS and draft
                                             reclass entries
Emily Hoffer             3/15/2023     0.5   Call with A. Helal and E. Hoffer (A&M) discussing cash database
                                             counterparty overlay workstream
Heather Ardizzoni        3/15/2023     0.2   Discussion with H. Ardizzoni, R. Gordon, M. Flynn, K. Ramanathan
                                             (A&M) re: cryptocurrency investments updates
Heather Ardizzoni        3/15/2023     2.4   Review detailed correspondence from S&C over intercompany
                                             agreements
Heather Ardizzoni        3/15/2023     2.8   Update presentation regarding CM-Equity transaction options

Henry Chambers           3/15/2023     1.1   Meeting to discuss open items for FTX Japan with H. Chambers, J.
                                             Sequeira, S. Li, D. Hainline (A&M)
Jack Faett               3/15/2023     0.5   Discussion with K. Kearney and J. Faett (A&M) on intercompany
                                             transactions
Jack Faett               3/15/2023     2.2   Convert Deltec EUR bank statements from PDF to excel for
                                             intercompany analysis
Jack Faett               3/15/2023     2.5   Convert Deltec GBP bank statements from PDF to excel for
                                             intercompany analysis


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Accounting
Professional              Date     Hours     Activity
Jack Faett             3/15/2023     2.1   Convert Deltec USD bank statements from PDF to excel for
                                           intercompany analysis
Jack Faett             3/15/2023     1.2   Perform intercompany analysis over various FTX Trading legal
                                           entities' bank statement transactions
Jack Faett             3/15/2023     2.0   Convert Deltec CAD bank statements from PDF to excel for
                                           intercompany analysis
Jack Yan               3/15/2023     0.9   Investigate the cash status of Quoine Pte Ltd and show it in the
                                           status update PowerPoint for Quoine Pte Ltd
Jack Yan               3/15/2023     0.7   Understand the intercompany balances of Quoine Pte Ltd


Jack Yan               3/15/2023     1.2   Investigate the reason of Quoine Pte Ltd holding restricted cash

Jack Yan               3/15/2023     1.2   Investigate the loans borrowed by FTX Trading Ltd to Liquid Group


Jane Chuah             3/15/2023     0.3   Check proposed journal entries against schedules for the closing of
                                           Quoine Pte December books
Jane Chuah             3/15/2023     0.4   Review transfer pricing calculation of Quoine Pte


Jane Chuah             3/15/2023     3.2   Propose journal entries to book expense and accounts payable for
                                           Quoine Pte's December expenses
Jane Chuah             3/15/2023     3.1   Update Quoine Pte's accounts payable and other payables schedule
                                           based on proposed journal entries
Jane Chuah             3/15/2023     2.3   Propose journal entries to book expense and other payables for
                                           Quoine Pte's December expenses
Joseph Sequeira        3/15/2023     0.3   Review MOR templates in anticipation of upcoming deliverables

Joseph Sequeira        3/15/2023     0.5   Discussions with third party accounting firm to transfer bookkeeping
                                           services
Joseph Sequeira        3/15/2023     0.2   Bank statement discussion with process owners regarding missing
                                           information
Joseph Sequeira        3/15/2023     0.9   Discussions with Dotcom financial statement stakeholders regarding
                                           monthly close open items
Joseph Sequeira        3/15/2023     0.9   Meeting with C. Papadopoulos (FTX), R. Hoskins (RLKS), R. Lee, M.
                                           Hernandez, R. Pekary, M. Weller (RLA), J. Sequeira, D. Hainline
                                           (A&M) to review status of open items for December close of QBO-
                                           based entities
Joseph Sequeira        3/15/2023     0.4   Review WRS general notes documentation for Form 426

Joseph Sequeira        3/15/2023     0.3   Review Dotcom general notes documentation for Form 426

Joseph Sequeira        3/15/2023     0.3   Review latest version of the interim corporate controls narrative report


Joseph Sequeira        3/15/2023     0.3   Upload additional Dotcom financial statement information for external
                                           bookkeepers




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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira       3/15/2023     0.7   Working session with J. Sequeira, S. Li, D. Hainline (A&M) S. Kojima,
                                          R. Fung (FTX) to review intercompany analysis and support for FTX
                                          Japan
Joseph Sequeira       3/15/2023     0.4   Review Alameda general note documentation for Form 426

Joseph Sequeira       3/15/2023     0.4   Coordinate and scheduled key meetings with senior leadership for
                                          MOR preparation
Joseph Sequeira       3/15/2023     0.3   Review Ventures general note documentation for Form 426

Joseph Sequeira       3/15/2023     0.4   Download QuickBooks' historical files for Dotcom entities


Joseph Sequeira       3/15/2023     1.1   Meeting with H. Chambers, J. Sequeira, S. Li, D. Hainline (A&M) to
                                          discuss open items for FTX Japan
Kathryn Zabcik        3/15/2023     0.7   Research third party accounting firms for controls documentation

Kathryn Zabcik        3/15/2023     1.5   Format December Bank Statement for incorporation into bank data
                                          analysis
Kathryn Zabcik        3/15/2023     1.6   Format August Bank Statement for incorporation into bank data
                                          analysis
Kathryn Zabcik        3/15/2023     1.5   Format July Bank Statement for incorporation into bank data analysis


Kathryn Zabcik        3/15/2023     1.7   Format June Bank Statement for incorporation into bank data analysis

Kathryn Zabcik        3/15/2023     1.3   Format September Bank Statement for incorporation into bank data
                                          analysis
Kathryn Zabcik        3/15/2023     1.8   Search for intercompany transactions in bank statements- cash
                                          disbursements for internal controls documentation
Kathryn Zabcik        3/15/2023     1.3   Format November Bank Statement for incorporation into bank data
                                          analysis
Kathryn Zabcik        3/15/2023     1.4   Format October Bank Statement for incorporation into bank data
                                          analysis
Kevin Kearney         3/15/2023     0.7   Review of contractual agreements associated with targeted
                                          promissory note
Kevin Kearney         3/15/2023     0.5   Working session with K. Kearney, D. Hainline (A&M) to review related
                                          party transfers to support position on loan with FTX Japan
Kevin Kearney         3/15/2023     0.6   Review of fiat activity on FTX exchanges associated with insiders

Kevin Kearney         3/15/2023     0.8   Review of contractual agreements associated with targeted insider
                                          loan
Kevin Kearney         3/15/2023     0.5   Discussion with K. Kearney and J. Faett (A&M) on intercompany
                                          transactions
Kevin Kearney         3/15/2023     0.7   Review of contract termination agreements for targeted investment

Kevin Kearney         3/15/2023     0.6   Review of contractual agreements associated with targeted
                                          investment


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Accounting
Professional               Date     Hours     Activity
Kevin Kearney           3/15/2023     1.4   Review of fiat to stablecoin conversion activity affecting intercompany
                                            balances
Kevin Kearney           3/15/2023     1.2   Review of crypto activity on FTX exchanges associated with insiders


Kumanan Ramanathan      3/15/2023     0.2   Discussion with H. Ardizzoni, R. Gordon, M. Flynn, K. Ramanathan
                                            (A&M) regarding cryptocurrency investments updates
Mackenzie Jones         3/15/2023     0.3   Review controls documentation document and confirm accuracy

Mackenzie Jones         3/15/2023     1.7   Update entity summary tracker for progress on reporting and financial
                                            data
Mackenzie Jones         3/15/2023     1.6   Research third party accounting firms' credentials for controls
                                            documentation
Matthew Flynn           3/15/2023     0.2   Discussion with H. Ardizzoni, R. Gordon, M. Flynn, K. Ramanathan
                                            (A&M) regarding cryptocurrency investments updates
Matthew Flynn           3/15/2023     0.2   Discussion of cryptocurrency investments updates with H. Ardizzoni,
                                            R. Gordon, M. Flynn, K. Ramanathan (A&M)
Ran Bruck               3/15/2023     0.3   Review current status of Monthly Operating Reports for various legal
                                            entities
Robert Gordon           3/15/2023     0.2   Discussion with H. Ardizzoni, R. Gordon, M. Flynn, K. Ramanathan
                                            (A&M) re: cryptocurrency investments updates
Summer Li               3/15/2023     0.7   Review the account closing of Quoine Pte for December 2022

Summer Li               3/15/2023     0.7   Working session to review intercompany analysis and support for
                                            FTX Japan with J. Sequeira, S. Li, D. Hainline (A&M) S. Kojima, R.
                                            Fung (FTX)
Summer Li               3/15/2023     1.1   Meeting to discuss open items for FTX Japan with H. Chambers, J.
                                            Sequeira, S. Li, D. Hainline (A&M)
Summer Li               3/15/2023     2.5   Review of the transfer pricing calculation of Quoine Pte to understand
                                            the intercompany adjustments
Zach Burns              3/15/2023     1.8   Convert November Deltec 2020 PDF statement into Excel format


Zach Burns              3/15/2023     2.1   Convert December Deltec 2020 PDF statement into Excel

Zach Burns              3/15/2023     1.8   Convert August 2020 Deltec PDF statements into Excel format


Zach Burns              3/15/2023     2.0   Convert September 2020 Deltec PDF statement into Excel format

Zach Burns              3/15/2023     1.7   Convert October Deltec 2020 PDF statement into Excel format


Zach Burns              3/15/2023     1.9   Convert other Deltec 2020 PDF statements into Excel format

David Johnston          3/16/2023     2.6   Review of assets and liabilities FTX Europe AG Limited

David Johnston          3/16/2023     2.8   Review of assets and liabilities FTX Europe AG Limited




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                              March 1, 2023 through March 31, 2023


Accounting
Professional                 Date     Hours     Activity
Drew Hainline             3/16/2023     1.3   Review updates on FTX Japan intercompany analysis

Drew Hainline             3/16/2023     0.5   Perform research in order to draft response to request for additional
                                              information on intercompany reconciliation
Drew Hainline             3/16/2023     0.4   Review open items and develop agenda for check-in with FTX and
                                              RLA for December close of QBO-based entities
Drew Hainline             3/16/2023     0.3   Call with D. Hainline and M. Jones (A&M) to discuss intercompany
                                              and petition date liability splits
Emily Hoffer              3/16/2023     1.3   Review workpaper for counterparties associated with specific
                                              transactions and updating workpaper prior to being loaded into the
                                              cash database
Heather Ardizzoni         3/16/2023     1.3   Make revisions to CM-Equity presentation and flowchart

Jack Faett                3/16/2023     1.9   Perform intercompany analysis on EUR Deltec bank statements for
                                              Alameda Silo
Jack Faett                3/16/2023     0.4   Meeting with K. Zabcik and J. Faett (A&M) to discuss intercompany
                                              transactions
Jack Faett                3/16/2023     2.3   Perform intercompany analysis on GBP Deltec bank statements for
                                              Alameda Silo
Jack Faett                3/16/2023     1.9   Perform intercompany analysis on USD Deltec bank statements for
                                              Alameda Silo
Jack Faett                3/16/2023     2.7   Document procedures memo and work flow for intercompany
                                              transactions related to customer funds
Jack Faett                3/16/2023     2.4   Reconcile intercompany transactions between Paper Bird and other
                                              Debtor entities to Paper Bird general ledger
Jack Yan                  3/16/2023     0.8   Investigate the loan from Alameda Research Ltd to Quoine Pte Ltd

Jack Yan                  3/16/2023     0.6   Review intercompany balances between Quoine Pte Ltd and FTX
                                              Japan K.K
Jack Yan                  3/16/2023     1.6   Review intercompany balances between Quoine Pte Ltd and Liquid
                                              Group Inc
Jane Chuah                3/16/2023     0.3   Update status and question list for proposed journal entries of Quoine
                                              Pte
Jane Chuah                3/16/2023     3.1   Review invoices received after January 2023 to check for accruals for
                                              Quoine Pte December books
Jane Chuah                3/16/2023     2.1   Understand prior period journal entries and propose accounts
                                              payable payment entries for Quoine Pte
Jane Chuah                3/16/2023     0.4   Review November general ledger of Quoine Pte to identify recorded
                                              accruals to be adjusted
Jane Chuah                3/16/2023     1.1   Update exchange rates for the proposed journal entries and
                                              schedules of Quoine Pte
Jane Chuah                3/16/2023     2.8   Perform bank reconciliation for Quoine Pte and propose journal
                                              entries
Jane Chuah                3/16/2023     2.4   Review invoices received in January 2023 and propose journal
                                              entries for accruals for Quoine Pte


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Accounting
Professional             Date     Hours     Activity
Joseph Sequeira       3/16/2023     1.2   Draft regulatory language for required filings

Joseph Sequeira       3/16/2023     0.4   Discussion with R. Gordon, J. Sequeira, K. Kearney (A&M), M. Cervi,
                                          J. LaBella, D. Schwartz, K. Wessel (AlixPartners) regarding various
                                          financial statement transactional activities
Joseph Sequeira       3/16/2023     0.7   Analyze intercompany transactions with the Dotcom silo


Joseph Sequeira       3/16/2023     1.8   Follow-up on open monthly close items with Dotcom and WRS
                                          stakeholders
Joseph Sequeira       3/16/2023     1.1   Research Dotcom open items for December financial statement
                                          preparation
Kathryn Zabcik        3/16/2023     0.4   Meeting with K. Zabcik and J. Faett (A&M) to discuss intercompany
                                          transactions
Kathryn Zabcik        3/16/2023     2.3   Tie out balances to insure bank file completeness before
                                          incorporation into bank data analysis
Kathryn Zabcik        3/16/2023     2.2   Search for intercompany transactions in bank statements- cash
                                          receipts for internal controls documentation
Kathryn Zabcik        3/16/2023     1.8   Search for intercompany transactions in bank statements- cash
                                          disbursements for internal controls documentation
Kathryn Zabcik        3/16/2023     1.6   Combine monthly excel bank statements into annual files for
                                          incorporation into bank data analysis
Kathryn Zabcik        3/16/2023     2.1   Locate missing January and February 2022 bank statements for
                                          incorporation into bank statement analysis
Kathryn Zabcik        3/16/2023     1.2   Search GL detail for existing intercompany transactions for internal
                                          controls documentation
Kevin Kearney         3/16/2023     1.4   Follow up review of crypto transactions associated with Binance
                                          share repurchase
Kevin Kearney         3/16/2023     0.4   Discussion with R. Gordon, J. Sequeira, K. Kearney (A&M), M. Cervi,
                                          J. LaBella, D. Schwartz, K. Wessel (AlixPartners) regarding various
                                          financial statement transactional activities
Kevin Kearney         3/16/2023     2.2   Preparation of Alameda silo intercompany matrix


Kevin Kearney         3/16/2023     1.0   Review of Alameda intercompany activity within Signature accounts

Kevin Kearney         3/16/2023     1.2   Review of Alameda intercompany activity within Silvergate accounts


Kevin Kearney         3/16/2023     0.5   Review of Alameda intercompany activity within Deltec accounts

Kevin Kearney         3/16/2023     2.3   Review of Alameda intercompany activity within SEN accounts

Mackenzie Jones       3/16/2023     0.3   Call with D. Hainline and M. Jones (A&M) to discuss intercompany
                                          and petition date liability splits
Mackenzie Jones       3/16/2023     1.5   Update entity summary tracker to analyze data gaps




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Accounting
Professional               Date     Hours     Activity
Robert Gordon           3/16/2023     0.4   Discussion with R. Gordon, J. Sequeira, K. Kearney (A&M), M. Cervi,
                                            J. LaBella, D. Schwartz, K. Wessel (AlixPartners) regarding various
                                            financial statement transactional activities
Robert Johnson          3/16/2023     0.8   Migration of MUFG bank data to metabase statement master tables

Summer Li               3/16/2023     0.5   Correspondence with Sequeira, S. Li, D. Hainline (A&M) in relation to
                                            the additional information on intercompany reconciliation
Summer Li               3/16/2023     0.9   Prepare journal entries for the revaluation of balance sheet items for
                                            Quoine Pte December closing
Summer Li               3/16/2023     3.1   Prepare journal entries for the revaluation of the assets of Quoine Pte
                                            in December 2022
Summer Li               3/16/2023     3.2   Prepare journal entries for revaluation of the assets of Quoine Pte in
                                            December 2022
Summer Li               3/16/2023     0.8   Call with S. Kojima (FTX Japan) to discuss the open items on
                                            intercompany reconciliation
Summer Li               3/16/2023     0.8   Prepare journal entries for depreciation expenses of Quoine Pte in
                                            December 2022
Summer Li               3/16/2023     0.8   Prepare journal entries for other receivable balance of Quoine Pte in
                                            December 2022
Zach Burns              3/16/2023     1.6   Transcribe Jan 17-21 2022 Deltec bank statement from PDF to Excel


Zach Burns              3/16/2023     1.3   Consolidate financial statements not in QBO for September, October,
                                            and November 2022 for third party
Zach Burns              3/16/2023     1.3   Transcribe Jan 3-7 2022 Deltec bank statement from PDF to Excel


Zach Burns              3/16/2023     0.9   Transcribe Jan 30-31 2022 Deltec bank statement from PDF to Excel

Zach Burns              3/16/2023     0.9   Fix errors for balancing in 2020 Deltec bank statements

Zach Burns              3/16/2023     1.5   Transcribe Jan 10-14 2022 Deltec bank statement from PDF to Excel


Zach Burns              3/16/2023     1.2   Transcribe February 7-11 2022 Deltec bank statement from PDF to
                                            Excel
Zach Burns              3/16/2023     1.3   Transcribe Jan 23-27 2022 Deltec bank statement from PDF to Excel


Zach Burns              3/16/2023     1.5   Transcribe February 14-18 2022 Deltec bank statement from PDF to
                                            Excel
Zach Burns              3/16/2023     1.3   Transcribe February 1-4 2022 Deltec bank statement from PDF to
                                            Excel
Aly Helal               3/17/2023     2.3   Update Counterparty for signature bank cash transactions to identify
                                            the correct third party
Aly Helal               3/17/2023     1.2   Review of the counterparty bank transactions file to confirm the right
                                            counterparty for each cash transaction is present
Breanna Price           3/17/2023     0.9   Add counterparties to transactional bank data




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Accounting
Professional               Date     Hours     Activity
Jack Faett              3/17/2023     2.3   Document procedures memo for the Good Luck Games legal entity

Jack Faett              3/17/2023     0.3   Discussion with J. Faett, K. Zabcik (A&M) on action items related to
                                            intercompany analysis done on bank statements
Jack Faett              3/17/2023     0.4   Document procedures memo for the WRS Silo

Jack Faett              3/17/2023     0.8   Document procedures memo for the WRSFS legal entity

Jack Faett              3/17/2023     0.6   Discussion with K. Kearney, J. Faett, K. Zabcik (A&M) on
                                            intercompany analysis from bank statements
Jack Faett              3/17/2023     0.7   Document procedures memo for the WRSS legal entity

Jack Faett              3/17/2023     1.1   Document procedures memo for the Paper Bird legal entity


Jack Faett              3/17/2023     1.8   Document procedures memo for the Cottonwood Grove legal entity

Jane Chuah              3/17/2023     0.4   Calculate and propose journal entries for foreign exchange gain/loss
                                            from cross currency payments of Quoine Pte's payables
Jane Chuah              3/17/2023     0.5   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss the
                                            status of closing Quoine Pte December accounts
Jane Chuah              3/17/2023     0.6   Calculate and propose journal entries for foreign exchange gain/loss
                                            from payments of Quoine Pte's foreign currency payables
Jane Chuah              3/17/2023     3.2   Understand prior journal entries and propose entries for the payment
                                            of Quoine's Pte accounts payable
Jane Chuah              3/17/2023     0.7   Revise question list regarding the proposed journal entries

Jane Chuah              3/17/2023     3.1   Understand prior journal entries and propose entries for the payment
                                            of Quoine's Pte accounts and other payables
Jane Chuah              3/17/2023     2.4   Update Quoine Pte's accounts payable and other payables schedule
                                            based on proposed payment entries
Jane Chuah              3/17/2023     1.4   Revalue Quoine Pte's accounts payable as at December period end


Jane Chuah              3/17/2023     3.2   Understand prior journal entries and propose entries for cross-
                                            currency payments of Quoine Pte's payables
Joseph Sequeira         3/17/2023     1.0   Discussions with key WRS financial statement preparers regarding
                                            December month end close items
Joseph Sequeira         3/17/2023     1.2   Provide external advisors requested financial statement documents


Joseph Sequeira         3/17/2023     2.1   Address outstanding month end close items for Dotcom entities and
                                            uploaded files to Box
Kathryn Zabcik          3/17/2023     0.3   Discussion with J. Faett, K. Zabcik (A&M) on action items related to
                                            intercompany analysis done on bank statements
Kathryn Zabcik          3/17/2023     1.3   Add January and February bank statements to intercompany analysis




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Accounting
Professional               Date     Hours     Activity
Kathryn Zabcik          3/17/2023     1.3   Review progress on bank statement intercompany analysis for
                                            accuracy
Kathryn Zabcik          3/17/2023     1.2   Add notes to intercompany tie out file to capture known customer
                                            transactions and flag potential other intercompany transactions
Kathryn Zabcik          3/17/2023     0.6   Discussion with K. Kearney, J. Faett, K. Zabcik (A&M) on
                                            intercompany analysis from bank statements
Kathryn Zabcik          3/17/2023     1.5   Clean up intercompany analysis file to reduce file size

Kathryn Zabcik          3/17/2023     1.6   Tie out intercompany balances on summary tab of intercompany
                                            analysis file
Kevin Kearney           3/17/2023     0.6   Discussion with K. Kearney, J. Faett, K. Zabcik (A&M) on
                                            intercompany analysis from bank statements
Kevin Kearney           3/17/2023     0.7   Review of Alameda intercompany activity within SEN accounts


Kevin Kearney           3/17/2023     1.2   Review of Alameda intercompany activity within Signet accounts

Kevin Kearney           3/17/2023     2.0   Review of Alameda intercompany activity within Prime Trust accounts


Kevin Kearney           3/17/2023     1.9   Review of Alameda intercompany activity within Silvergate accounts

Michael Shanahan        3/17/2023     1.6   Review cash database and reconciliation workpapers

Summer Li               3/17/2023     0.5   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss the
                                            status of closing Quoine Pte December accounts
Summer Li               3/17/2023     0.1   Prepare journal entries for the revaluation of other balance sheet
                                            items for Quoine Pte December closing
Zach Burns              3/17/2023     0.7   Transcribe February 27-28 2022 Deltec bank statement from PDF to
                                            Excel
Zach Burns              3/17/2023     0.6   Transcribe February 28 through March 1 2022 Deltec bank statement
                                            from PDF to Excel
Zach Burns              3/17/2023     1.0   Consolidate all Deltec February statements into one Excel master file


Zach Burns              3/17/2023     0.7   Consolidate all Deltec January statements into one Excel master file

Zach Burns              3/17/2023     1.2   Transcribe February 21-25 2022 Deltec bank statement from PDF to
                                            Excel
Kevin Kearney           3/18/2023     0.5   Review of Alameda intercompany activity within Signature accounts


Kevin Kearney           3/18/2023     0.5   Review of Alameda intercompany activity within Deltec accounts

Kevin Kearney           3/18/2023     0.5   Review of Alameda intercompany activity within Signet accounts


Kevin Kearney           3/18/2023     1.9   Review of Alameda intercompany activity within Prime Trust accounts




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Accounting
Professional                 Date     Hours     Activity
Kevin Kearney             3/18/2023     0.5   Review of Alameda intercompany activity within Silvergate accounts

Kevin Kearney             3/18/2023     2.1   Review of Alameda intercompany activity within SEN accounts


Zach Burns                3/19/2023     1.1   Analyze Paper Bird general ledger for transactions relating to
                                              liabilities
Zach Burns                3/19/2023     0.9   Transcribe February 21-25 2022 Deltec bank statement from PDF to
                                              Excel
Aly Helal                 3/20/2023     2.7   Populate the counterparties for cash transactions for all banks


Breanna Price             3/20/2023     1.4   Apply counterparty names to various bank statement transactions

Bridger Tenney            3/20/2023     1.5   Summarize dormant entities without AP


Bridger Tenney            3/20/2023     1.3   Prepare analysis of dormant and active entities

Bridger Tenney            3/20/2023     1.1   Review statements and schedules filed in the docket for dormant
                                              entities
Bridger Tenney            3/20/2023     0.9   Review entities with no operations or creditors

Bridger Tenney            3/20/2023     0.9   Update list of entity AP software in AP go forward master file

Caoimhe Corr              3/20/2023     2.9   Analysis of Europe calculation of balance


David Slay                3/20/2023     0.5   Discuss interim fee statement application in model w/ J. Cooper & D.
                                              Slay (A&M)
Drew Hainline             3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                              Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                              outstanding tasks and priorities
Drew Hainline             3/20/2023     0.9   Review updates from A&M HK team on open FTX Japan IC questions


Emily Hoffer              3/20/2023     0.7   Teleconference with E. Hoffer, M. Ebrey (A&M) regarding
                                              identification of counterparties for cash database
Heather Ardizzoni         3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                              Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                              outstanding tasks and priorities
Heather Ardizzoni         3/20/2023     0.2   Meeting with H. Ardizzoni and Z. Burns (A&M) over alignment on
                                              team objectives
Jack Faett                3/20/2023     1.4   Match intra-silo transactions between Alameda Silo entities and tying
                                              each side of entry to bank statement details
Jack Faett                3/20/2023     2.7   Perform intercompany analysis on LedgerPrime Digital Asset
                                              Opportunities Master Fund LP legal entity for Alameda Silo
Jack Faett                3/20/2023     0.2   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over process for
                                              completing bank statement open items




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Accounting
Professional               Date     Hours     Activity
Jack Faett              3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Jack Faett              3/20/2023     3.1   Consolidate all intercompany transactions into the Alameda
                                            intercompany transaction consolidated workpaper and agreeing
                                            recorded intercompany transactions to the general ledger
Jack Faett              3/20/2023     1.9   Perform intercompany analysis on Hive Empire Trading legal entity
                                            for Alameda Silo
Jack Faett              3/20/2023     2.4   Perform intercompany analysis on LedgerPrime Digital Asset
                                            Opportunities Fund, LLC legal entity for Alameda Silo
Jack Faett              3/20/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over open bank
                                            statement items
James Cooper            3/20/2023     0.5   Discuss interim fee statement application in model w/ J. Cooper & D.
                                            Slay (A&M)
Jane Chuah              3/20/2023     0.5   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss the
                                            review status of Quoine Pte December accounts and revaluation
Jon Chan                3/20/2023     1.6   Investigate and quality check balance extracts


Joseph Sequeira         3/20/2023     1.1   Coordinate external vendor requests with key process stakeholders

Joseph Sequeira         3/20/2023     1.2   Review Dotcom intercompany support to address monthly close
                                            concerns
Joseph Sequeira         3/20/2023     0.3   Call with J. Sequeira and Z. Burns (A&M) over file system security
                                            and sharing permissions for accounting document
Joseph Sequeira         3/20/2023     0.4   Coordinate December's open items list with FTX financial statement
                                            stakeholders
Joseph Sequeira         3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Joseph Sequeira         3/20/2023     1.1   Analyze account mapping from schedules and statements to prepare
                                            for monthly reporting requirements
Joseph Sequeira         3/20/2023     0.4   Provide requested file uploads to external vendors for Dotcom
                                            entities
Joseph Sequeira         3/20/2023     0.6   Aggregate missing bank statements for Dotcom entity to share with
                                            external bookkeepers
Kathryn Zabcik          3/20/2023     0.9   Update bank statement tracker for reviewed statements and give
                                            team status update and questions
Kathryn Zabcik          3/20/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over open bank
                                            statement items
Kathryn Zabcik          3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Kathryn Zabcik          3/20/2023     0.2   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over process for
                                            completing bank statement open items
Kevin Kearney           3/20/2023     2.0   Reconciliation of founder account activity recorded on the FTX US
                                            exchange to underlying agreements and transfers of assets


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Accounting
Professional               Date     Hours     Activity
Kevin Kearney           3/20/2023     1.9   Reconciliation of founder account activity recorded on the FTX.com
                                            exchange to underlying agreements and transfers of assets
Kevin Kearney           3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Kevin Kearney           3/20/2023     0.8   Working session between K. Kearney, R. Gordon(A&M) re: Alameda
                                            Intercompany
Mackenzie Jones         3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Mason Ebrey             3/20/2023     0.7   Teleconference with E. Hoffer, M. Ebrey (A&M) regarding
                                            identification of counterparties for cash database
Mason Ebrey             3/20/2023     3.1   Identification of counterparties for FTX transactions


Robert Gordon           3/20/2023     0.8   Working session between K. Kearney, R. Gordon(A&M) re: Alameda
                                            Intercompany
Robert Gordon           3/20/2023     0.6   Prepare for team update call by drafting action items for the week


Summer Li               3/20/2023     0.9   Correspondence with D. Hainline (A&M) for additional questions on
                                            intercompany balance between FTX Japan KK and FTX Trading
Summer Li               3/20/2023     0.6   Working session to review FTX Japan intercompany analysis with J.
                                            Sequeira, S. Li, D. Hainline (A&M)
Summer Li               3/20/2023     0.9   Collect bank statements of FTX Japan KK for the purpose of
                                            understanding the nature of each of the bank transactions prior to 11
                                            November 2022
Summer Li               3/20/2023     0.5   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss the
                                            review status of Quoine Pte December accounts and revaluation
Zach Burns              3/20/2023     0.2   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over process for
                                            completing bank statement open items
Zach Burns              3/20/2023     1.0   Analyze Chase bank statements for Alameda silo entities

Zach Burns              3/20/2023     2.6   Analyze ED&F Man bank statements for entities in Alameda silo

Zach Burns              3/20/2023     0.2   Meeting with H. Ardizzoni and Z. Burns (A&M) over alignment on
                                            team objectives
Zach Burns              3/20/2023     0.8   Review consolidated entities sheet for updated information

Zach Burns              3/20/2023     0.5   Meeting with R. Gordon, J. Sequeira, K. Kearney, D. Hainline, H.
                                            Ardizzoni, J. Faett, K. Zabcik, Z. Burns, M. Jones (A&M) to align on
                                            outstanding tasks and priorities
Zach Burns              3/20/2023     1.4   Analyze Prime Trust bank accounts for entities in Alameda silo

Zach Burns              3/20/2023     0.3   Call with J. Sequeira and Z. Burns (A&M) over file system security
                                            and sharing permissions for accounting document
Zach Burns              3/20/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) over open bank
                                            statement items


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Accounting
Professional                 Date     Hours     Activity
Zach Burns                3/20/2023     0.6   Analyze Paper Bird general ledger for transactions relating to
                                              liabilities
Aly Helal                 3/21/2023     1.5   Review of the counterparty bank transactions file to confirm the right
                                              counterparty for each cash transaction is present
Aly Helal                 3/21/2023     2.8   Populate the counterparties for cash transactions for all banks

Breanna Price             3/21/2023     1.2   Determine if DBS, Maerki, and Klarpay bank have unknown bank
                                              statement counterparties
Breanna Price             3/21/2023     2.2   Apply counterparty names to various bank statement transactions


Breanna Price             3/21/2023     2.2   Continue to apply counterparty names to various bank statement
                                              transactions
Bridger Tenney            3/21/2023     1.3   Review internal payment file for payments made with local bank
                                              accounts
Chris Arnett              3/21/2023     0.7   Review and comment on draft accounts payable process analysis

Daniel Kuruvilla          3/21/2023     0.2   Discussion with D. Kuruvilla, R. Gordon(A&M) over Trading Ltd
                                              Intercompany approach
Daniel Kuruvilla          3/21/2023     0.5   Review FTX business issues and organization chart of legal entities

Drew Hainline             3/21/2023     0.5   Review of post petition global char of accounts from RLKS

Drew Hainline             3/21/2023     0.5   Review and update of consolidated team worksheets for accuracy


Drew Hainline             3/21/2023     0.7   Review AP go-forward proposed process and responsible parties and
                                              draft notes and responses
Drew Hainline             3/21/2023     0.3   Review of open questions from RLA on Clifton Bay investments


Drew Hainline             3/21/2023     0.7   Meeting with H. Ardizzoni, D. Hainline, and Z. Burns (A&M) over
                                              aligning objectives for spreadsheet edits
Drew Hainline             3/21/2023     0.6   Review of available chart of accounts in preparation for mapping to
                                              new QBO instance
Drew Hainline             3/21/2023     1.2   Review and respond to questions for balance sheet details on FTX
                                              Japan KK
Drew Hainline             3/21/2023     0.3   D. Hainline, M. Jones (A&M) Go through rollback workbook and
                                              discuss process of mapping
Drew Hainline             3/21/2023     0.3   Develop workplan to prepare trial balances for load to new QBO
                                              instance
Drew Hainline             3/21/2023     0.9   Update work plan items for DOTCOM intercompany analysis
                                              workstream
Heather Ardizzoni         3/21/2023     0.7   Meeting with H. Ardizzoni, D. Hainline, and Z. Burns (A&M) over
                                              aligning objectives for spreadsheet edits
Heather Ardizzoni         3/21/2023     1.9   Download journal entry data for WRS legal entities from QuickBooks




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Accounting
Professional               Date     Hours     Activity
Heather Ardizzoni       3/21/2023     2.4   Generate general ledger reports and trial balances for WRS legal
                                            entities
Jack Faett              3/21/2023     0.4   Meeting with J. Faett and K. Zabcik (A&M) cover questions related to
                                            mapping the GL detail to investing activity and check in on next steps
                                            to update the Bank statement tracker
Jack Faett              3/21/2023     0.2   J. Faett and K. Zabcik (A&M) discuss mapping cash flow activity in
                                            the GL detail to investment activity
Jack Faett              3/21/2023     2.3   Prepare Venture Silo workpaper for funding of venture investments
                                            from intercompany transactions
Jack Faett              3/21/2023     1.5   Prepare intercompany transaction schedule for Alameda Research
                                            KK
Jack Faett              3/21/2023     1.7   Search Alameda Silo bank statements for intercompany transactions
                                            with Alameda Research KK
Jack Faett              3/21/2023     2.3   Perform intercompany analysis

Jack Faett              3/21/2023     3.0   Match intra-silo transactions between Alameda Silo entities and tying
                                            each side of entry to bank statement details
Jane Chuah              3/21/2023     1.9   Identify April to June 2022 bank transaction details of Quoine Pte

Jane Chuah              3/21/2023     2.4   Identify July to October 2022 bank transaction details of Quoine Pte


Jon Chan                3/21/2023     2.4   Investigate and quality check balance extracts

Joseph Sequeira         3/21/2023     0.9   Collaborate with FTX financial statement stakeholders to address
                                            continuity of audit reviews
Joseph Sequeira         3/21/2023     0.3   Provide requested QuickBooks' file uploads to Box platform

Joseph Sequeira         3/21/2023     1.1   Address external vendor questions regarding monthly close process

Kathryn Zabcik          3/21/2023     0.5   Meeting with R. Bruck, K. Zabcik, M. Jones, and Z. Burns (A&M) to
                                            review recent milestones and discuss action items
Kathryn Zabcik          3/21/2023     0.2   J. Faett and K. Zabcik (A&M) discuss mapping cash flow activity in
                                            the GL detail to investment activity
Kathryn Zabcik          3/21/2023     1.2   Map GL detail to investing activity- FTX Ventures


Kathryn Zabcik          3/21/2023     1.1   Map GL detail to investing activity- review questions, fix more
                                            formatting, correct data for completeness
Kathryn Zabcik          3/21/2023     0.4   Meeting with J. Faett and K. Zabcik (A&M) cover questions related to
                                            mapping the GL detail to investing activity and check in on next steps
                                            to update the Bank statement tracker
Kathryn Zabcik          3/21/2023     2.7   Review Bank statement tracker and flag all reviewed statements by
                                            month
Kathryn Zabcik          3/21/2023     1.4   Map GL detail to investing activity- prep the spreadsheet, fix GL
                                            formatting, create the lead sheet
Kathryn Zabcik          3/21/2023     2.2   Map GL detail to investing activity- Clifton Bay Investments LLC



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Accounting
Professional               Date     Hours     Activity
Kathryn Zabcik          3/21/2023     1.3   Review Bank statement tracker- confirm all statements marked
                                            complete were correct
Kevin Kearney           3/21/2023     1.2   Review of contractual agreements associated with targeted
                                            investment
Kevin Kearney           3/21/2023     1.5   Review of contractual agreements associated with targeted insider
                                            loan
Kevin Kearney           3/21/2023     2.4   Review of contractual agreements associated with targeted
                                            promissory note
Kevin Kearney           3/21/2023     2.8   Review of fiat activity on FTX exchanges associated with insiders


Kevin Kearney           3/21/2023     2.9   Review of crypto activity on FTX exchanges associated with insiders

Mackenzie Jones         3/21/2023     0.3   D. Hainline, M. Jones (A&M) Go through rollback workbook and
                                            discuss process of mapping
Mackenzie Jones         3/21/2023     0.5   Meeting with R. Bruck, K. Zabcik, M. Jones, and Z. Burns (A&M) to
                                            review recent milestones and discuss action items
Mason Ebrey             3/21/2023     2.6   Continue identification of counterparties for FTX transactions


Mason Ebrey             3/21/2023     3.0   Identification of counterparties for FTX transactions

Peter Kwan              3/21/2023     1.8   Perform data enrichment of fiat deposits and withdrawals

Peter Kwan              3/21/2023     1.5   Fiat Deposits and Withdrawals bank account cross reference analysis


Ran Bruck               3/21/2023     0.8   Utilize visualization model to reconcile intercompany items with bank
                                            transactions
Ran Bruck               3/21/2023     0.5   Meeting with R. Bruck, K. Zabcik, M. Jones, and Z. Burns (A&M) to
                                            review recent milestones and discuss action items
Ran Bruck               3/21/2023     0.4   Review latest Chapter 11 bankruptcy case docket updates

Ran Bruck               3/21/2023     0.8   Discuss and explain to reconciliation team (A&M) the structure of the
                                            visualization model
Ran Bruck               3/21/2023     0.9   Review requirements for Monthly Operating Report and petition date
                                            financial statements
Ran Bruck               3/21/2023     0.3   Review email and draft response regarding accounts payable cutoff
                                            details
Ran Bruck               3/21/2023     0.9   Prepare QuickBooks online mapping exercise by reconciling with
                                            statement and schedule information
Ran Bruck               3/21/2023     0.8   Review AP subledger and discuss identified issues

Ran Bruck               3/21/2023     1.3   Research and prepare for entity mapping by reviewing current format
                                            structure and implement best practices
Ran Bruck               3/21/2023     1.3   Reconcile Alameda Silo Intercompany bank statements to General
                                            Ledger entries




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Accounting
Professional               Date     Hours     Activity
Ran Bruck               3/21/2023     1.3   Review WRS and Dotcom silo General Ledgers for incorrectly
                                            recorded transactions
Robert Gordon           3/21/2023     0.2   Discussion with D. Kuruvilla, R. Gordon(A&M) over Trading Ltd
                                            Intercompany approach
Robert Gordon           3/21/2023     1.1   Work on plan for QBO mapping from historical financials

Summer Li               3/21/2023     1.1   Identify the counterparties of one of Quoine Pte bank statements in
                                            order to understand the nature of each of the bank transactions prior
                                            to 11 November 2022
Summer Li               3/21/2023     3.2   Identify the transactions details of one of the Quoine PTE bank
                                            accounts whose counterparty are users
Zach Burns              3/21/2023     0.7   Meeting with H. Ardizzoni, D. Hainline, and Z. Burns (A&M) over
                                            aligning objectives for spreadsheet edits
Zach Burns              3/21/2023     0.9   Analyze Digital Assets DAAG bank statements

Zach Burns              3/21/2023     0.9   Analyze Maclaurin Investments bank statements


Zach Burns              3/21/2023     0.8   Analyze Crypto Bahamas LLC bank statements

Zach Burns              3/21/2023     0.5   Update consolidated entities tracker with new information gathered
                                            from financial statements
Zach Burns              3/21/2023     0.5   Meeting with R. Bruck, K. Zabcik, M. Jones, and Z. Burns (A&M) to
                                            review recent milestones and discuss action items
Zach Burns              3/21/2023     0.4   Update bank statement tracker to include information from Maclaurin
                                            Investments
Zach Burns              3/21/2023     1.6   Review team work products relating to accounting standards

Zach Burns              3/21/2023     1.3   Analyze FTX EU Signature bank statements

Zach Burns              3/21/2023     1.3   Analyze FTX Exchange FZE bank statements


Zach Burns              3/21/2023     1.6   Analyze FTX Crypto Services Ltd bank statements

Alessandro Farsaci      3/22/2023     0.2   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli (A&M) on
                                            FTX Europe balance sheet
Aly Helal               3/22/2023     0.5   Teleconference with J. Lee, A. Helal, M. Ebrey, I. Patel, E. Hoffer, B.
                                            Price (A&M) regarding Counterparties Cash overlay
Breanna Price           3/22/2023     0.3   Continue applying counterparty names to various bank statement
                                            transactions
Breanna Price           3/22/2023     0.5   Teleconference with J. Lee, A. Helal, M. Ebrey, I. Patel, E. Hoffer, B.
                                            Price (A&M) regarding Counterparties Cash overlay
Breanna Price           3/22/2023     0.9   Apply counterparty names to DBS bank statement transactions

Breanna Price           3/22/2023     1.2   Apply counterparty names to Nium bank statement transactions




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Accounting
Professional                 Date     Hours     Activity
Breanna Price             3/22/2023     3.3   Apply counterparty names to various bank statement transactions

Charles Evans             3/22/2023     0.2   Correspondence with C. Evans (A&M) and M. Jonathan (FTX)
                                              regarding PT Triniti internal call
Charles Evans             3/22/2023     0.3   Call with H. Chambers, C. Evans, G. Robert (A&M), M. Cilia, R.
                                              Hoskins (FTX), M. Jonathan (FTX) on background of PT Triniti
                                              Investama Berkat (Bitocto) and the sale process
Chris Arnett              3/22/2023     0.3   Discuss with K. Montague (A&M) AP collection and reporting process
                                              and associated controls
Daniel Kuruvilla          3/22/2023     2.1   Understand of the business and org chart for the purpose of
                                              Intercompany accounting approach
Daniel Kuruvilla          3/22/2023     0.5   Meeting with D. Kuruvilla and Z. Burns (A&M) to discuss FTX
                                              accounting team practices and update all parties on recent
                                              milestones
David Johnston            3/22/2023     2.7   Analysis of historical bank account activity at FTX EU Ltd

David Johnston            3/22/2023     0.2   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli (A&M) on
                                              FTX Europe balance sheet
Drew Hainline             3/22/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Go through rollback workbook
                                              and discuss process of mapping
Drew Hainline             3/22/2023     0.6   Review workplan for loading initial balances in future-state GL


Drew Hainline             3/22/2023     0.6   Add updated Blockfolio 11/30 trial balance to rollback to identify
                                              variances with previous reports used in rollback process
Drew Hainline             3/22/2023     0.2   Call with D. Hainline, R. Bruck (A&M) Discuss QBO mapping next
                                              steps and overview planning
Drew Hainline             3/22/2023     0.7   Review crypto transaction balances for WRSS and DOTCOM entities
                                              on statements and schedules for GL migration
Drew Hainline             3/22/2023     0.5   Meeting with J. LaBella, K. Wessel, D. Schwartz, J. Somerville,
                                              (ALIX), L. Ryan, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                              (A&M) to discuss historical financial statement compilation
Drew Hainline             3/22/2023     1.3   Review and update open items for December close of QBO-based
                                              entities and coordination for GL balance load
Drew Hainline             3/22/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Discuss progress of QBO
                                              mapping and quality improvements
Drew Hainline             3/22/2023     0.5   Meet to discuss historical financial statement compilation with K.
                                              Kearney, D. Hainline (A&M)
Drew Hainline             3/22/2023     0.8   Call with M. Cilia, R. Hoskins (RLKS), R. Gordon, D. Hainline, R.
                                              Bruck (A&M) Discuss QBO status, delineation of silos, focus areas
                                              and next steps
Drew Hainline             3/22/2023     0.6   Draft template to create migration of balances to future-state GL for
                                              WRS Inc
Emily Hoffer              3/22/2023     0.5   Teleconference with J. Lee, A. Helal, M. Ebrey, I. Patel, E. Hoffer, B.
                                              Price (A&M) regarding Counterparties Cash overlay
Gioele Balmelli           3/22/2023     0.2   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli (A&M) on
                                              FTX Europe balance sheet


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Accounting
Professional                 Date     Hours     Activity
Heather Ardizzoni         3/22/2023     2.1   Format and compile WRS general ledgers into single master file

Henry Chambers            3/22/2023     0.3   Call with H. Chambers, C. Evans, G. Robert (A&M), M. Cilia, R.
                                              Hoskins (FTX), M. Jonathan (FTX) on background of PT Triniti
                                              Investama Berkat (Bitocto) and the sale process
Henry Chambers            3/22/2023     0.7   Attend to updates on FTX Japan accounting process


Ishika Patel              3/22/2023     0.5   Teleconference with J. Lee, A. Helal, M. Ebrey, I. Patel, E. Hoffer, B.
                                              Price (A&M) regarding Counterparties Cash overlay
Jack Faett                3/22/2023     2.8   Perform intercompany analysis on HKD Deltec statements for
                                              Alameda Research KK
Jack Faett                3/22/2023     3.0   Perform intercompany analysis Signature bank accounts for
                                              remaining Alameda legal entities using the A&M Cash Database
Jack Faett                3/22/2023     0.8   Meeting with K. Zabcik and J. Faett (A&M) to discuss Ventures Silo
                                              Cash Flows and cover open items and next steps to track down
                                              intercompany transactions
Jack Faett                3/22/2023     2.5   Perform intercompany analysis on AUD Deltec statements for
                                              Alameda Research KK
Jack Faett                3/22/2023     2.3   Perform intercompany analysis on CAD Deltec statements for
                                              Alameda Research KK
Jane Chuah                3/22/2023     0.6   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                              follow-ups of closing Quoine Pte December accounts
Joachim Lubsczyk          3/22/2023     0.2   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli (A&M) on
                                              FTX Europe balance sheet
Joseph Sequeira           3/22/2023     0.5   Meeting with J. LaBella, K. Wessel, D. Schwartz, J. Somerville,
                                              (ALIX), L. Ryan, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                              (A&M) to discuss historical financial statement compilation
Joseph Sequeira           3/22/2023     1.7   Research QuickBooks transactional details for Dotcom entities


Joseph Sequeira           3/22/2023     0.9   Analyze and discussed accounts payable tracker with key
                                              stakeholders
Joseph Sequeira           3/22/2023     0.6   Address external vendor system access requests

Julian Lee                3/22/2023     0.5   Teleconference with J. Lee, A. Helal, M. Ebrey, I. Patel, E. Hoffer, B.
                                              Price (A&M) regarding Counterparties Cash overlay
Kathryn Zabcik            3/22/2023     0.4   Map GL detail to investing activity- Island Bay Ventures

Kathryn Zabcik            3/22/2023     0.7   Finalize list of questions for review Ventures Silo Cash Flows


Kathryn Zabcik            3/22/2023     0.8   Meeting with K. Zabcik and J. Faett (A&M) to discuss Ventures Silo
                                              Cash Flows and cover open items and next steps to track down
                                              intercompany transactions
Kathryn Zabcik            3/22/2023     1.7   Map GL detail to investing activity- Paper Bird

Kathryn Zabcik            3/22/2023     0.8   Map GL detail to investing activity- FTX Ventures continued



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Accounting
Professional             Date     Hours     Activity
Kathryn Zabcik        3/22/2023     1.8   Update GL Data by correcting counterparties listed in GL for
                                          Ventures Silo Cash Flows
Kathryn Zabcik        3/22/2023     0.9   Review data to see if any more intercompany investments can be
                                          mapped to GL cash activity for Ventures Silo Cash Flows
Kathryn Zabcik        3/22/2023     1.9   Develop pivot of data and review irregularities for Ventures Silo Cash
                                          Flows
Kathryn Zabcik        3/22/2023     2.0   Review mapping to investing activity for completeness and
                                          consistency for Ventures Silo Cash Flows
Katie Montague        3/22/2023     0.3   Discuss with C. Arnett (A&M) AP collection and reporting process
                                          and associated controls
Kevin Kearney         3/22/2023     1.8   Review of Alameda intercompany activity within Deltec accounts

Kevin Kearney         3/22/2023     0.7   Review of Alameda intercompany activity within Silvergate accounts


Kevin Kearney         3/22/2023     0.5   Meet to discuss historical financial statement compilation with K.
                                          Kearney, D. Hainline (A&M)
Kevin Kearney         3/22/2023     1.2   Review of Alameda intercompany activity within SEN accounts


Kevin Kearney         3/22/2023     1.1   Review of Alameda intercompany activity within Signature accounts

Kevin Kearney         3/22/2023     3.0   Preparation of Alameda silo intercompany matrix

Kevin Kearney         3/22/2023     1.4   Review of fiat to stablecoin conversion activity affecting intercompany
                                          balances
Kevin Kearney         3/22/2023     0.5   Review of Alameda intercompany activity within Prime Trust accounts

Kevin Kearney         3/22/2023     0.5   Meeting with J. LaBella, K. Wessel, D. Schwartz, J. Somerville,
                                          (ALIX), L. Ryan, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                          (A&M) to discuss historical financial statement compilation
Laureen Ryan          3/22/2023     0.5   Meet to discuss historical financial statement compilation with J.
                                          LaBella, K. Wessel, D. Schwartz, J. Somerville, (ALIX), L. Ryan, J.
                                          Sequeira, M. Shanahan, K. Kearney, D. Hainline (A&M)
Mackenzie Jones       3/22/2023     1.2   Meeting to align on FSLIs and MOR preparation with R. Gordon, M.
                                          Jones (A&M)
Mackenzie Jones       3/22/2023     0.1   Review of North Dimension ownership documents


Mason Ebrey           3/22/2023     2.6   Continue identification of counterparties for FTX transactions

Mason Ebrey           3/22/2023     0.5   Teleconference with J. Lee, A. Helal, E. Mason, I. Patel, E. Hoffer, B.
                                          Price (A&M) regarding Counterparties Cash overlay
Mason Ebrey           3/22/2023     3.1   Identification of counterparties for FTX transactions


Michael Shanahan      3/22/2023     0.5   Meet to discuss historical financial statement compilation with J.
                                          LaBella, K. Wessel, D. Schwartz, J. Somerville, (ALIX), L. Ryan, J.
                                          Sequeira, M Shanahan, K. Kearney, D. Hainline (A&M)



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Professional               Date     Hours     Activity
Peter Kwan              3/22/2023     1.5   Perform data enrichment of fiat deposits and withdrawals

Peter Kwan              3/22/2023     0.9   Fiat Deposits and Withdrawals bank account cross reference analysis


Ran Bruck               3/22/2023     1.1   Review WRSS Inc general ledger and trial balance in preparation of
                                            rollback from 11/30 to petition date
Ran Bruck               3/22/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Go through rollback workbook
                                            and discuss process of mapping
Ran Bruck               3/22/2023     0.5   Analyze WRS Inc petition date Statements and Schedules


Ran Bruck               3/22/2023     0.9   Review split of General Ledger between pre-petition and post-
                                            petition, and identify entries within requiring follow-up
Ran Bruck               3/22/2023     1.3   Go through pre/post split of Profit & Loss and mark for relevant Trial
                                            Balance rows
Ran Bruck               3/22/2023     0.8   Call with M. Cilia, R. Hoskins (FTX), R. Gordon, D. Hainline, R. Bruck
                                            (A&M) Discuss QBO status, delineation of silos, focus areas and next
                                            steps
Ran Bruck               3/22/2023     0.5   Identify all statement and schedule accounts and match to Trial
                                            Balance if available
Ran Bruck               3/22/2023     0.6   Review Global Chart of Accounts file prepared by RLKS


Ran Bruck               3/22/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Discuss progress of QBO
                                            mapping and quality improvements
Ran Bruck               3/22/2023     0.7   Highlight exception rows/entries within WRSFS Inc trial balance and
                                            compile consolidated list for follow-up
Ran Bruck               3/22/2023     0.7   Go through pre/post split of Trial Balance and add any missing rows
                                            for relevant Trial Balance rows
Ran Bruck               3/22/2023     0.2   Call with D. Hainline, R. Bruck (A&M) Discuss QBO mapping next
                                            steps and overview planning
Ran Bruck               3/22/2023     0.5   Create action item list for statement and schedule reconciliation
                                            tomorrow for WRS Inc
Ran Bruck               3/22/2023     0.7   Review WRS silo general ledger and trial balance in preparation of
                                            rollback from 11/30 to petition date
Robert Gordon           3/22/2023     0.8   Call with M. Cilia, R. Hoskins (RLKS), R. Gordon, D. Hainline, R.
                                            Bruck (A&M) Discuss QBO status, delineation of silos, focus areas
                                            and next steps
Robert Gordon           3/22/2023     0.5   Research potential schedules to support mapping into Claims
                                            waterfall template
Robert Gordon           3/22/2023     1.2   Meeting to align on FSLIs and MOR preparation with R. Gordon, M.
                                            Jones (A&M)
Summer Li               3/22/2023     0.6   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                            follow-ups of closing Quoine Pte December accounts
Zach Burns              3/22/2023     0.5   Meeting with D. Kuruvilla and Z. Burns (A&M) to discuss FTX
                                            accounting team practices and update all parties on recent
                                            milestones



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Accounting
Professional               Date     Hours     Activity
Zach Burns              3/22/2023     1.3   Align intercompany bank statement tracker with overall bank
                                            statement tracker
Zach Burns              3/22/2023     1.2   Analyze Goodman Investments bank statements


Aly Helal               3/23/2023     2.1   Populate the counterparties for cash transactions for all banks

Breanna Price           3/23/2023     0.3   Continue reconciling Morgan Stanley bank statements to the
                                            corresponding wire and check support
Breanna Price           3/23/2023     0.1   Apply counterparty names to various bank statement transactions


Breanna Price           3/23/2023     3.3   Reconcile Morgan Stanley bank statements to the corresponding
                                            wire and check support
Charles Evans           3/23/2023     0.4   Call with C. Evans (A&M) and M. Jonathan (FTX) to discuss the PT
                                            Triniti presentation to management
Charles Evans           3/23/2023     0.3   Correspondence with C. Evans, J. Yan (A&M) and M. Jonathan
                                            regarding PT Triniti presentation
Charles Evans           3/23/2023     3.0   Review of PT Triniti presentation for the wind down analysis and the
                                            addendum
Drew Hainline           3/23/2023     0.6   Call with D. Hainline, R. Bruck (A&M) follow-up on status, prepare for
                                            RLKS meeting and additional questions regarding pre/post invoices
Drew Hainline           3/23/2023     0.5   Review information request on post-petition accounts payable
                                            process to identify gaps and understand inputs to GL migration
Drew Hainline           3/23/2023     0.6   Develop approach and coordination of intercompany entries for
                                            December close of non-QBO entities
Drew Hainline           3/23/2023     0.4   Review draft of WRS Inc opening balance load template

Drew Hainline           3/23/2023     0.2   Update work plan items for DOTCOM intercompany analysis
                                            workstream
Drew Hainline           3/23/2023     0.3   Update work plan items for opening balance load to post-petition
                                            books workstream
Drew Hainline           3/23/2023     0.7   Call with D. Hainline, R. Bruck (A&M) discuss QBO new mapping and
                                            questions regarding pre/post invoices
Drew Hainline           3/23/2023     0.7   Review of available crypto data for load to opening balance sheets

Drew Hainline           3/23/2023     0.9   Working session with R. Hoskins (RLKS), D. Hainline, R. Bruck
                                            (A&M) to align on open questions and approach for opening balance
                                            load to post-petition books
Drew Hainline           3/23/2023     1.3   Download updates Blockfolio GL activity data and update November
                                            petition date rollback analysis
Heather Ardizzoni       3/23/2023     0.3   Review foreign exchange rates file for exchange rates of new dates
                                            added
Henry Chambers          3/23/2023     0.5   Call with R. Gordon, H. Chambers, S. Coverick (A&M) regarding
                                            strategic options for PT Triniti entity
Henry Chambers          3/23/2023     0.3   Attend to correspondence regarding Quoine PTE Accounting matters




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Professional               Date     Hours     Activity
Jack Faett              3/23/2023     2.0   Trace funding of venture investments and performing intercompany
                                            analysis on Paper Bird Inc
Jack Faett              3/23/2023     1.1   Meeting with K. Zabcik and J. Faett (A&M) RE: intercompany
                                            transactions for Ventures Silo
Jack Faett              3/23/2023     0.7   Meeting with K. Kearney and J. Faett (A&M) to intercompany
                                            transactions and Binance share repurchase
Jack Faett              3/23/2023     0.4   Discussion with J. Faett, and Z. Burns (A&M) over error correcting for
                                            Alameda silo bank statement tracker
Jack Faett              3/23/2023     0.6   Meeting with J. Faett, Z. Burns, and K. Zabcik (A&M) discuss and
                                            create action plan for open items on the Alameda Silo Intercompany
                                            Reconciliation
Jack Faett              3/23/2023     2.5   Trace funding of venture investments and performing intercompany
                                            analysis on Clifton Bay Investments LLC
Jack Faett              3/23/2023     2.3   Trace funding of venture investments and performing intercompany
                                            analysis on FTX Ventures Ltd
Jack Faett              3/23/2023     0.9   Meeting with K. Kearney and J. Faett (A&M) to discuss intercompany
                                            analysis for Alameda silo
Jack Faett              3/23/2023     2.4   Trace funding of venture investments and performing intercompany
                                            analysis on island Bay Ventures
Jane Chuah              3/23/2023     1.1   Review journal entries for accruals and payments of FTX Japan
                                            Holdings and its subsidiaries' audit fee
Jane Chuah              3/23/2023     1.9   Identify November 2022 bank transaction details of Quoine Pte

Joseph Sequeira         3/23/2023     2.1   Upload financial statement support to shared file room for external
                                            vendors
Kathryn Zabcik          3/23/2023     1.1   Meeting with K. Zabcik and J. Faett (A&M) RE: intercompany
                                            transactions for Ventures Silo
Kathryn Zabcik          3/23/2023     1.0   Review investing inflows (payments from investing entities) and
                                            intercompany outflows for Alameda Silo Intercompany Reconciliation
Kathryn Zabcik          3/23/2023     0.6   Meeting with J. Faett, Z. Burns, and K. Zabcik (A&M) discuss and
                                            create action plan for open items on the Alameda Silo Intercompany
                                            Reconciliation
Kathryn Zabcik          3/23/2023     1.8   Develop the statement of cash flows for Venture Silo

Kathryn Zabcik          3/23/2023     1.7   Update intercompany counterparty on investment lines in the GL for
                                            Ventures
Kevin Kearney           3/23/2023     2.2   Review of Alameda intercompany activity within Signet accounts

Kevin Kearney           3/23/2023     0.4   Review of Alameda intercompany activity within Deltec accounts

Kevin Kearney           3/23/2023     1.2   Review of Alameda intercompany activity within SEN accounts


Kevin Kearney           3/23/2023     0.8   Review of Alameda intercompany activity within Prime Trust accounts

Kevin Kearney           3/23/2023     1.2   Review of Alameda intercompany activity within Silvergate accounts



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Professional               Date     Hours     Activity
Kevin Kearney           3/23/2023     0.7   Meeting with K. Kearney and J. Faett (A&M) to intercompany
                                            transactions and Binance share repurchase
Kevin Kearney           3/23/2023     0.9   Meeting with K. Kearney and J. Faett (A&M) to discuss intercompany
                                            analysis for Alameda silo
Peter Kwan              3/23/2023     1.8   Fiat Deposits and Withdrawals bank account cross reference analysis

Peter Kwan              3/23/2023     2.6   Perform data enrichment of fiat deposits and withdrawals

Ran Bruck               3/23/2023     0.4   Review pre/post-petition account mapping in preparation for meeting
                                            with RLKS
Ran Bruck               3/23/2023     0.7   Identify transactions that occurred within specified pre-petition period
                                            and compile list of items requiring follow-up
Ran Bruck               3/23/2023     0.6   Call with D. Hainline, R. Bruck (A&M) follow-up on status, prepare for
                                            RLKS meeting and additional questions regarding pre/post invoices
Ran Bruck               3/23/2023     0.2   Review latest Chapter 11 bankruptcy case docket updates

Ran Bruck               3/23/2023     0.7   Reconcile WRS entity statement and schedule and rollback Excel -
                                            Balance Sheet
Ran Bruck               3/23/2023     0.4   Format workbook to incorporate feedback from R. Hoskins (RLKS)
                                            regarding reversing journal entry workbook
Ran Bruck               3/23/2023     0.3   Compare/reconcile WRS entity statement and schedule and rollback
                                            Excel - Profit & Loss
Ran Bruck               3/23/2023     0.7   Call with D. Hainline, R. Bruck (A&M) discuss QBO new mapping and
                                            questions regarding pre/post invoices
Ran Bruck               3/23/2023     0.9   Analyze WRSS Inc petition date statements and schedules

Ran Bruck               3/23/2023     1.1   Reconcile WRS entity statement and schedule and rollback Excel -
                                            Trial Balance
Ran Bruck               3/23/2023     0.9   Working session with R. Hoskins (FTX), D. Hainline, R. Bruck (A&M)
                                            to align on open questions and approach for opening balance load to
                                            post-petition books
Ran Bruck               3/23/2023     1.4   Made revisions to account classification within Chart of Accounts
                                            listing for WRS Inc entity
Ran Bruck               3/23/2023     0.8   Review WRS trial balance with checks in statement & schedule,
                                            balance sheet and income statement
Ran Bruck               3/23/2023     1.2   Update new GL account mapping into WRSFS Trial Balance, and
                                            highlight exception rows/entries for follow-up
Robert Gordon           3/23/2023     0.5   Call with R. Gordon, H. Chambers, S. Coverick (A&M) re: strategic
                                            options for PT Triniti entity
Steve Coverick          3/23/2023     0.5   Call with R. Gordon, H. Chambers, S. Coverick (A&M) re: strategic
                                            options for PT Triniti entity
Steve Coverick          3/23/2023     0.5   Participate in call with M. Jacques, J. LaBella (Alix), R. Gordon, C.
                                            Broskay (A&M) re: coordination on intercompany workstream
Steve Coverick          3/23/2023     0.6   Review and provide comments on intercompany workplan with Alix




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Professional               Date     Hours     Activity
Summer Li               3/23/2023     1.1   Review the data gap of daily bank statements in order to understand
                                            the nature of each of the bank transactions prior to 11 November
                                            2022
Summer Li               3/23/2023     0.6   Correspondence with D. Hainline (A&M) regarding the accounting
                                            entries for the intercompany balance between FTX Japan KK and
                                            Quoine Pte
Summer Li               3/23/2023     0.8   Review the questions from D. Hainline (A&M) on intercompany
                                            reimbursement
Zach Burns              3/23/2023     1.1   Download and analyze Hawaii Digital Assets transaction list

Zach Burns              3/23/2023     1.1   Download and Analyze Good Luck Games transaction list

Zach Burns              3/23/2023     0.9   Download and Analyze Digital Custody Inc transaction list


Zach Burns              3/23/2023     0.5   Download and analyze West Realm Shires Services Inc transaction
                                            list
Zach Burns              3/23/2023     0.6   Meeting with J. Faett, Z. Burns, and K. Zabcik (A&M) discuss and
                                            create action plan for open items on the Alameda Silo Intercompany
                                            Reconciliation
Zach Burns              3/23/2023     0.8   Download and analyze West Realm Shires Inc transaction list


Zach Burns              3/23/2023     1.1   Download and Analyze FTX Lend Inc transaction list

Zach Burns              3/23/2023     0.8   Download and analyze West Realm Shires Financial Services Inc
                                            transaction list
Zach Burns              3/23/2023     1.2   Start preliminary consolidation of all US entities for third party

Zach Burns              3/23/2023     0.4   Discussion with J. Faett, and Z. Burns (A&M) over error correcting for
                                            Alameda silo bank statement tracker
Aaron Dobbs             3/24/2023     0.6   Teleconference with A. Dobbs and E. Hoffer (A&M) regarding
                                            updated cash database and counter parties data
Alec Liv-Feyman         3/24/2023     0.2   Call with L. Francis, A. Liv-Feyman (A&M) regarding token tracker
                                            statements and schedules updates
Aly Helal               3/24/2023     2.1   Populate the counterparties for cash transactions for all banks


Breanna Price           3/24/2023     2.4   Add counterparty names to the Morgan Stanley transaction data

Breanna Price           3/24/2023     1.8   Add counterparty names to the Maerki bank transaction data


Caoimhe Corr            3/24/2023     2.9   Analyze European entity balance sheets

Charles Evans           3/24/2023     0.9   Correspondence with C. Evans, H. Chambers, J. Lam, K.
                                            Ramanathan, S. Coverick and R. Gordon (A&M) regarding Pt Triniti
                                            presentation
Charles Evans           3/24/2023     0.9   Call with C. Evans and J. Lam (A&M) to discuss the operations, sale
                                            process, and licensing issues of PT Triniti Investama Berkat


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Accounting
Professional                 Date     Hours     Activity
Charles Evans             3/24/2023     1.0   Call with C. Evans (A&M) and M. Jonathan (FTX) to discuss the PT
                                              Triniti presentation
Charles Evans             3/24/2023     0.2   Call with H. Chambers, C. Evans and J. Lam (A&M) to discuss and
                                              walk through the status update on PT Triniti Investama Berkat
Charles Evans             3/24/2023     3.2   Review and delegate diligence for operational entity presentation

Drew Hainline             3/24/2023     0.8   Coordinate process for booking intercompany entries associated with
                                              post-petition bills paid by WRSS and FTX Trading Ltd
Drew Hainline             3/24/2023     0.7   Call with D. Hainline, R. Bruck (A&M) discuss action items for day
                                              regarding pre/post petition workbook and talk through reversing
                                              journal entries
Drew Hainline             3/24/2023     0.2   Discuss Salameda reimbursements to identify booked entries related
                                              to FTX Japan with D. Hainline (A&M) and M. Weller (RLA)
Drew Hainline             3/24/2023     0.2   Discussion with R. Gordon, D. Hainline (A&M) re: approach to GL
                                              balance migration to post-petition books
Drew Hainline             3/24/2023     0.3   Discuss open items for GL migration including retainers and
                                              approach for November MORs with R. Hoskins (RLKS), D. Hainline
                                              (A&M)
Drew Hainline             3/24/2023     1.4   Investigate retainers and determine if RLA invoices after November
                                              should be a reduction of prepaid expense balances on the QBO
                                              books
Drew Hainline             3/24/2023     0.4   Review RLA-prepared prepaid expense summary for WRS Inc

Drew Hainline             3/24/2023     0.5   Call with D. Hainline, R. Bruck (A&M) to discuss email
                                              correspondence, reversing journal entries status, and global account
                                              mapping work
Drew Hainline             3/24/2023     0.5   Meeting with D. Hainline and M. Jones (A&M) to discuss
                                              intercompany and petition date accrual process
Emily Hoffer              3/24/2023     0.6   Teleconference with A. Dobbs and E. Hoffer (A&M) regarding
                                              updated cash database and counter parties data
Heather Ardizzoni         3/24/2023     1.5   Review with H. Ardizzoni and Z. Burns (A&M) re: entities list to send
                                              to third party
Henry Chambers            3/24/2023     0.2   Call with H. Chambers, C. Evans and J. Lam (A&M) to discuss and
                                              walk through the status update on PT Triniti Investama Berkat
Jack Faett                3/24/2023     2.4   Perform additional intercompany analysis on Alameda LLC Signet
                                              bank statements
Jack Faett                3/24/2023     2.1   Match intra-silo transactions between Alameda Silo entities and tying
                                              each side of entry to bank statement details
Jack Faett                3/24/2023     1.7   Match intra-silo transactions between Alameda Silo entities and tying
                                              each side of entry to bank statement details
Jack Faett                3/24/2023     2.0   Determine additional counterparties to Silvergate bank statement
                                              transactions using the internal Alameda bank statement reconciliation
Jack Yan                  3/24/2023     0.6   Proofread the PowerPoint deck of PT Triniti Investama Berkat

Jack Yan                  3/24/2023     1.0   Prepare deck preparation to include the company background of PT
                                              Triniti Investama Berkat


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Accounting
Professional               Date     Hours     Activity
Jack Yan                3/24/2023     2.2   Perform company background search for the deck preparation of PT
                                            Triniti Investama Berkat
James Lam               3/24/2023     0.9   Call with C. Evans and J. Lam (A&M) to discuss the operations, sale
                                            process, and licensing issues of PT Triniti Investama Berkat
James Lam               3/24/2023     1.0   Research and review financials of PT Triniti Investama Berkat

James Lam               3/24/2023     2.8   Prepare a set of presentation slides on PT Triniti Investama Berkat
                                            including the license issues
James Lam               3/24/2023     0.6   Review audited financial statements of PT Triniti Investama Berkat


James Lam               3/24/2023     0.6   Finalize the deck concerning PT Triniti Investama Berkat's operation

James Lam               3/24/2023     0.2   Call with H. Chambers, C. Evans and J. Lam (A&M) to discuss and
                                            walk through the status update on PT Triniti Investama Berkat
James Lam               3/24/2023     1.5   Review bank statements of PT Triniti Investama Berkat

Joseph Sequeira         3/24/2023     0.8   Coordinate December monthly close deadlines with RLKS and RLA


Joseph Sequeira         3/24/2023     1.1   Provide colleagues requested financial statement information for
                                            various periods
Joseph Sequeira         3/24/2023     1.2   Review FTX Trading's Transaction Reports to reconcile intercompany
                                            entries
Joseph Sequeira         3/24/2023     1.1   Resolve monthly close items for Dotcom entities


Joseph Sequeira         3/24/2023     1.3   Review go forward accounting processes to support regulatory
                                            reporting requirements
Kevin Kearney           3/24/2023     2.1   Review of Alameda intercompany activity within Signet accounts


Kevin Kearney           3/24/2023     0.3   Review of Alameda intercompany activity within Signature accounts

Kevin Kearney           3/24/2023     2.3   Review of Alameda intercompany activity within Silvergate accounts


Kevin Kearney           3/24/2023     1.1   Review of Alameda intercompany activity within SEN accounts

Luke Francis            3/24/2023     0.2   Call with L. Francis, A. Liv-Feyman (A&M) regarding token tracker
                                            statements and schedules updates
Mackenzie Jones         3/24/2023     0.5   Meeting with D. Hainline and M. Jones (A&M) to discuss
                                            intercompany and petition date accrual process
Peter Kwan              3/24/2023     1.5   Perform data enrichment of fiat deposits and withdrawals

Peter Kwan              3/24/2023     1.2   Fiat Deposits and Withdrawals bank account cross reference analysis


Ran Bruck               3/24/2023     0.8   Test reversing journal entry work on transaction log file for mapping
                                            WRS entities




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Accounting
Professional               Date     Hours     Activity
Ran Bruck               3/24/2023     0.2   Create email to send to Robbie (FTX) regarding mapping protocols
                                            and follow-up questions
Ran Bruck               3/24/2023     1.2   Review reversing journal entry logic for mapping exercise of journal
                                            entries across various files
Ran Bruck               3/24/2023     0.5   Call with D. Hainline, R. Bruck (A&M) discuss email response to send
                                            to Robbie, reversing journal entries status, and global account
                                            mapping work
Ran Bruck               3/24/2023     1.3   Review WRS entity accounting workbook and finalize GL account
                                            mapping in preparation for meeting
Ran Bruck               3/24/2023     0.7   Call with D. Hainline, R. Bruck (A&M) discuss action items for day
                                            regarding pre/post petition workbook and talk through reversing
                                            journal entries
Ran Bruck               3/24/2023     0.6   Format workbook of petition date transactions in preparation for
                                            meeting with RLKS
Robert Gordon           3/24/2023     0.2   Discussion with R. Gordon, D. Hainline (A&M) re: approach to GL
                                            balance migration to post-petition books
Robert Johnson          3/24/2023     1.7   Working with team to identify storage issues resulting in queries not
                                            executing for large table create statements
Steve Coverick          3/24/2023     1.1   Review and provide comments on overview deck of PT Triniti entity

Steve Coverick          3/24/2023     0.7   Correspondence with C. Evans, H. Chambers, J. Lam, K.
                                            Ramanathan, S. Coverick and R. Gordon (A&M) regarding Pt Triniti
                                            presentation
Summer Li               3/24/2023     0.2   Correspondence with D. Hainline (A&M) regarding the marketing
                                            recharges from FTX Trading
Summer Li               3/24/2023     0.4   Correspondence with J. Lee(A&M) regarding the counterparties of
                                            bank transactions
Zach Burns              3/24/2023     1.5   Review with H. Ardizzoni and Z. Burns (A&M) re: entities list to send
                                            to third party
Zach Burns              3/24/2023     1.9   Update US entities list to include all entities for third party

Drew Hainline           3/25/2023     0.7   Review updates on December close of QBO-based entities

Kevin Kearney           3/25/2023     2.8   Review of FTX.com exchange information for intercompany and
                                            related party accounts
Kevin Kearney           3/25/2023     2.2   Review of FTX US exchange information for intercompany and
                                            related party accounts
Peter Kwan              3/25/2023     0.8   Perform data enrichment of fiat deposits and withdrawals


Daniel Kuruvilla        3/26/2023     0.2   Meeting with Z. Burns and D. Kuruvilla (A&M) re: the FTX business
                                            for IC Accounting Project
Drew Hainline           3/26/2023     0.9   Reconcile open items in prepetition liabilities master tracker against
                                            items in the November rollback analysis for WRS Inc
Drew Hainline           3/26/2023     1.1   Develop approach to maintain tracker of AP subledger and accrued
                                            liabilities



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Accounting
Professional               Date     Hours     Activity
Drew Hainline           3/26/2023     0.6   Review RLA-prepared prepaid expense summary for WRS Inc

Henry Chambers          3/26/2023     0.4   Correspondence regarding update on accounting workstream


Zach Burns              3/26/2023     1.0   Edit consolidated entity list to send predetermined information to third
                                            party
Zach Burns              3/26/2023     0.2   Meeting with Z. Burns and D. Kuruvilla (A&M) re: the FTX business
                                            for IC Accounting Project
Bas Fonteijne           3/27/2023     3.1   Prepare financial statements Zubr Exchange


Breanna Price           3/27/2023     0.9   Apply counterparty names to SBI bank transactions

Breanna Price           3/27/2023     1.0   Apply counterparty names to Prime Trust bank transactions


Cole Broskay            3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Cole Broskay            3/27/2023     0.3   Respond to Alameda counterparty interest accrual correspondence

Daniel Kuruvilla        3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
David Johnston          3/27/2023     2.9   Analysis of FTX EU Ltd Eurobank statements


Drew Hainline           3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Drew Hainline           3/27/2023     0.8   Working session with R. Hoskins (RLKS), D. Hainline, R. Bruck
                                            (A&M) to align on open questions and approach for opening balance
                                            load to post-petition books
Drew Hainline           3/27/2023     0.6   Review of WRSS prepetition liabilities tracker against rollback
                                            analysis
Drew Hainline           3/27/2023     0.7   Call with D. Hainline, R. Bruck (A&M) Discuss mapping, AP Tracking
                                            and pre/post split for WRS entities
Drew Hainline           3/27/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Discussion around specific
                                            mappings for TB Accounts
Drew Hainline           3/27/2023     0.2   Evaluate current and alternative approaches to migrating balances
                                            into post-petition books and assess impact to MOR generation with
                                            K. Kearney, D. Hainline (A&M)
Drew Hainline           3/27/2023     1.4   Analyze liability tracker to develop approach for November and
                                            December accruals in post-petition books for WRSS
Drew Hainline           3/27/2023     1.1   Review and update workplan for balance migration to post-petition
                                            books




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Accounting
Professional               Date     Hours     Activity
Drew Hainline           3/27/2023     0.4   Review updates on significant accounting topics for WRS

Drew Hainline           3/27/2023     2.3   Reconcile liabilities tracker against AP in GL to support migration
                                            balance for WRSS
Heather Ardizzoni       3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Heather Ardizzoni       3/27/2023     0.4   Discussion with H. Ardizzoni and Z. Burns (A&M) over accounting
                                            procedures relating to building WRS silo master general ledger
Jack Faett              3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Joseph Sequeira         3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Joseph Sequeira         3/27/2023     1.1   Review go forward accounting processes from an operational risk
                                            perspective
Joseph Sequeira         3/27/2023     0.7   Provide external vendors guidance on systems access process


Joseph Sequeira         3/27/2023     1.2   Provide governance feedback on accounting and reporting processes

Joseph Sequeira         3/27/2023     0.5   Monthly close status call with FTX financial statement stakeholders


Joseph Sequeira         3/27/2023     1.9   Address monthly close open items for Dotcom entities

Kathryn Zabcik          3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Kevin Kearney           3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Kevin Kearney           3/27/2023     1.5   Compilation of information to create complete list of insider accounts
                                            on FTX.com and FTX US exchanges
Kevin Kearney           3/27/2023     0.2   Evaluate current and alternative approaches to migrating balances
                                            into post-petition books and assess impact to MOR generation with
                                            K. Kearney, D. Hainline (A&M)
Kevin Kearney           3/27/2023     2.0   Review of information on Relativity to identify information associated
                                            with insider accounts on the FTX.com and FTX US exchanges
Mackenzie Jones         3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Mason Ebrey             3/27/2023     2.1   Identification of unknown counterparties in bank transactions


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Accounting
Professional               Date     Hours     Activity
Peter Kwan              3/27/2023     0.8   Fiat Deposits and Withdrawals bank account cross reference analysis

Peter Kwan              3/27/2023     0.5   Perform data enrichment of fiat deposits and withdrawals


Ran Bruck               3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Ran Bruck               3/27/2023     0.2   Run financial tracking model for R. Gordon (A&M)

Ran Bruck               3/27/2023     0.8   Align GL account structure for WRSS Inc Trial Balance with Global
                                            Chart of Accounts for equity accounts
Ran Bruck               3/27/2023     0.6   Call with D. Hainline, R. Bruck (A&M) Discussion around specific
                                            mappings for TB Accounts
Ran Bruck               3/27/2023     0.3   Analyze and review petition date statements and schedules for
                                            WRSS Inc legal entity
Ran Bruck               3/27/2023     0.5   Review prepaid asset petition date accounting workbook for
                                            upcoming meeting
Ran Bruck               3/27/2023     0.7   Review WRS Inc legal documents/prepaid items/workbooks to
                                            prepare for meeting with RLKS
Ran Bruck               3/27/2023     0.6   Create Trial Balance worksheet for WRSS Inc. and reconcile with
                                            general ledger
Ran Bruck               3/27/2023     0.7   Review AP tracker workbook and align AP Expenses with WRS
                                            pre/post liabilities tracker
Ran Bruck               3/27/2023     0.7   Align GL account structure for WRSS Inc Trial Balance with Global
                                            Chart of Accounts for liability accounts
Ran Bruck               3/27/2023     1.1   Align GL account structure for WRSS Inc Trial Balance with Global
                                            Chart of Accounts for asset accounts
Ran Bruck               3/27/2023     0.5   Extract bank/cash related information from Statements and
                                            Schedules into Trial Balance workbook
Ran Bruck               3/27/2023     0.4   Review WRSS Inc Trial Balance and identify rows with exceptions or
                                            contradictory information for follow-up
Ran Bruck               3/27/2023     0.8   Working session with R. Hoskins (FTX), D. Hainline, R. Bruck (A&M)
                                            to align on open questions and approach for opening balance load to
                                            post-petition books
Ran Bruck               3/27/2023     0.8   Align GL account structure for WRSS Inc Trial Balance with Global
                                            Chart of Accounts for Income accounts
Ran Bruck               3/27/2023     0.7   Call with D. Hainline, R. Bruck (A&M) Discuss mapping, AP Tracking
                                            and pre/post split for WRS entities
Robert Gordon           3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Robert Johnson          3/27/2023     0.9   Review approach for calculating FIFO accounting for
                                            realized/unrealized gains
Summer Li               3/27/2023     0.3   Correspondence with S. Kojima (FTX Japan) and D. Hainline (A&M)
                                            regarding the marketing recharges

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Accounting
Professional               Date     Hours     Activity
Zach Burns              3/27/2023     0.3   Team meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney,
                                            D. Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck,
                                            Z. Burns, M. Jones (A&M) to review intercompany updates and
                                            weekly priorities
Zach Burns              3/27/2023     1.0   Build WRS silo master general ledger from inception

Zach Burns              3/27/2023     1.3   Add additional contextual information to WRS silo master general
                                            ledger
Zach Burns              3/27/2023     0.4   Discussion with H. Ardizzoni and Z. Burns (A&M) over accounting
                                            procedures relating to building WRS silo master general ledger
Aly Helal               3/28/2023     1.3   Populate Cash Transactions counterparties for multiple banks (Bank
                                            of Japan, HSBC, Nium)
Bas Fonteijne           3/28/2023     3.1   Prepare FTX Turkey financial statements


Bas Fonteijne           3/28/2023     2.9   Prepare Singapore financial statements Singaporean entities

Bas Fonteijne           3/28/2023     2.9   Prepare a model in which the cash actuals are being reconciled for
                                            FTX Europe entities
Cole Broskay            3/28/2023     0.3   Call between R. Gordon, C. Broskay(A&M) to discuss intercompany
                                            transaction detail on the DOTCOM exchange
Drew Hainline           3/28/2023     2.1   Update liability tracker detail for GL migration to post-petition books
                                            for Good Luck Games LLC
Drew Hainline           3/28/2023     0.8   Develop tracker for monitoring status of key milestones for balance
                                            migration by entity
Drew Hainline           3/28/2023     0.2   Review of correspondence on related party promissory notes with the
                                            Block and Red Sea Ventures
Drew Hainline           3/28/2023     0.3   Review updated petition date crypto balances information for GL
                                            balance migration
Drew Hainline           3/28/2023     0.2   Call with M. Cervi (ALIX), D. Hainline (A&M) to discuss alignment on
                                            mapping exercise
Drew Hainline           3/28/2023     0.3   Update liability tracker format and add descriptions of key fields for
                                            GL migration to post-petition books
Drew Hainline           3/28/2023     1.0   Update liability tracker detail for GL migration to post-petition books
                                            for other WRS entities
Drew Hainline           3/28/2023     1.1   Call with D. Hainline, R. Bruck (A&M) to discuss action items for
                                            statement and schedules, WRS entities, liabilities tracker and TB work
Drew Hainline           3/28/2023     0.6   Call with D. Hainline, R. Bruck (A&M) to discuss analysis on crypto
                                            holdings, action items from Alix call and follow-ups
Drew Hainline           3/28/2023     0.4   Call with D. Hainline, K. Montague (A&M) to discuss prepetition
                                            liability trackers questions
Drew Hainline           3/28/2023     0.9   Update liability tracker detail for GL migration to post-petition books
                                            for WRSS
Heather Ardizzoni       3/28/2023     0.4   Obtain cash database login and activate account setup

Henry Chambers          3/28/2023     1.3   Attend to correspondence regarding FTX Japan accounting process


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Accounting
Professional               Date     Hours     Activity
Joseph Sequeira         3/28/2023     0.3   Discussion with external bookkeeping vendors regarding monthly
                                            close process
Kathryn Zabcik          3/28/2023     0.4   Call with K. Zabcik and Z. Burns (A&M) over go forward accounting
                                            procedures for Alameda silo
Katie Montague          3/28/2023     0.4   Call with D. Hainline, K. Montague (A&M) to discuss prepetition
                                            liability trackers questions
Mason Ebrey             3/28/2023     1.6   Identification of unknown counterparties in Silvergate SEN
                                            transactions
Mason Ebrey             3/28/2023     2.5   Identification of unknown counterparties in Silvergate wire
                                            transactions
Mason Ebrey             3/28/2023     3.3   Identification of unknown counterparties in bank transactions

Mason Ebrey             3/28/2023     0.1   Continue identification of unknown counterparties in bank transactions


Peter Kwan              3/28/2023     0.7   Fiat Deposits and Withdrawals bank account cross reference analysis

Peter Kwan              3/28/2023     1.9   Perform data enrichment of fiat deposits and withdrawals


Ran Bruck               3/28/2023     0.5   Sent request for customization of crypto holdings summary for
                                            specific WRS and Dotcom entities
Ran Bruck               3/28/2023     0.3   Review latest Chapter 11 bankruptcy case docket updates

Ran Bruck               3/28/2023     0.4   Preparation of two WRS Entity Trial Balance Mappings workbook to
                                            send to external party
Ran Bruck               3/28/2023     1.1   Validate completeness of balances in Trial Balance by reconciling to
                                            sum of general ledger entries for Good Luck Games
Ran Bruck               3/28/2023     0.9   Compile list of exceptions identified within trial balance for WRS Entity


Ran Bruck               3/28/2023     0.8   Reconciliation of crypto asset schedule to transactions recorded in
                                            general ledger for WRS Entities
Ran Bruck               3/28/2023     1.0   Compare petition date WRSS Inc Trial Balance with Statements and
                                            Schedules (Property/Other Assets)
Ran Bruck               3/28/2023     1.3   Comparison of GLG Trial Balance with Income Statement and
                                            alignment of entries between the two
Ran Bruck               3/28/2023     0.7   Incorporate additional entity details and information into legal entity
                                            tracker for WRS Entities
Ran Bruck               3/28/2023     0.8   Create list of questions in preparation for meeting regarding
                                            discrepancies between Balance Sheet and Statements & Schedules
Ran Bruck               3/28/2023     0.6   Call with D. Hainline, R. Bruck (A&M) to discuss analysis on crypto
                                            holdings, action items from Alix call and follow-ups
Ran Bruck               3/28/2023     0.6   Perform search for invoices and related documentation for various
                                            Alameda silo third party transactions
Ran Bruck               3/28/2023     0.8   Perform analysis and comparison of vendor invoice tracker to
                                            invoices recorded in general ledger




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Accounting
Professional               Date     Hours     Activity
Ran Bruck               3/28/2023     1.8   Compare petition date WRSS Inc Trial Balance with Statements and
                                            Schedules (Cash and Cash Equivalents)
Ran Bruck               3/28/2023     1.1   Call with D. Hainline, R. Bruck (A&M) to discuss action items for
                                            statement and schedules, WRS entities, liabilities tracker and TB work
Robert Gordon           3/28/2023     0.3   Call between R. Gordon, C. Broskay(A&M) to discuss intercompany
                                            transaction detail on the DOTCOM exchange
Steve Coverick          3/28/2023     0.1   Discuss Singapore bookkeeping process with M. Cilia (FTX)

Zach Burns              3/28/2023     0.4   Call with K. Zabcik and Z. Burns (A&M) over go forward accounting
                                            procedures for Alameda silo
Aly Helal               3/29/2023     1.8   Populate Cash Transactions counterparties for multiple banks (Bank
                                            of Japan, HSBC, Nium)
Bas Fonteijne           3/29/2023     2.9   prepare strategic option analysis FTX Turkey


Bas Fonteijne           3/29/2023     2.5   Prepare European cash actuals analysis

Bas Fonteijne           3/29/2023     1.2   Prepare Indian financial statements


Breanna Price           3/29/2023     0.1   Add counterparties for Maerki bank's transactional data

David Johnston          3/29/2023     3.1   Compare FTX EU Ltd bank statements to information received from
                                            database
Drew Hainline           3/29/2023     0.3   Perform updates to GL migration entity tracker in preparation for
                                            scope confirmation with RLKS
Drew Hainline           3/29/2023     1.0   Call with D. Hainline, R. Bruck (A&M) to follow-up on meeting from
                                            RLKS notes, action items for QBO mapping, and troubleshooting
                                            mapping issues
Drew Hainline           3/29/2023     1.0   Working session with R. Hoskins (RLKS), D. Hainline, R. Bruck
                                            (A&M) to align on open questions and approach for opening balance
                                            load to post-petition books
Drew Hainline           3/29/2023     0.6   Call with D. Hainline, R. Bruck (A&M) to discuss update on WRS
                                            Entity Mapping progress and preparation for meeting with RLKS
Drew Hainline           3/29/2023     0.7   Reconcile liabilities tracker against AP in GL to support migration
                                            balance for FTX Trading Ltd
Drew Hainline           3/29/2023     1.0   Update liability tracker detail for GL migration to post-petition books
                                            for other WRS entities
Drew Hainline           3/29/2023     1.4   Review post-petition payments against the AP and wage subledgers
                                            for GL migration
Drew Hainline           3/29/2023     0.4   Update workplan for GL migration workstream and refine open item
                                            list for RLKS
Drew Hainline           3/29/2023     0.4   Transfer wage inputs to liability tracker for Good Luck Games


Drew Hainline           3/29/2023     1.8   Review and consolidate prepaid expense information for balance
                                            migration to post-petition books
Henry Chambers          3/29/2023     1.3   Attend to correspondence regarding FTX Japan accounting process



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                                  FTX Trading Ltd., et al.,
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Accounting
Professional               Date     Hours     Activity
Jack Faett              3/29/2023     0.2   Call with J. Faett, R. Bruck (A&M) to discuss required changes to
                                            accounting documentation
Jane Chuah              3/29/2023     0.3   Review bank statements and identify bank transaction details of
                                            Quoine Pte
Jonathan Zatz           3/29/2023     2.6   Database scripting related to SDNY request for info on counterparties
                                            and transaction hashes within a date range
Joseph Sequeira         3/29/2023     1.3   Address monthly close open items for December monthly financial
                                            preparation
Luke Francis            3/29/2023     1.6   Review of bank statement detail for additional counter party detail for
                                            WRS accounts
Luke Francis            3/29/2023     1.9   Review of bank statement detail for additional counter party detail for
                                            Alameda accounts
Mackenzie Jones         3/29/2023     0.7   Review available inputs and outputs of consolidated bank statement
                                            database for use in future analysis
Mackenzie Jones         3/29/2023     0.4   Complete registration process to establish access to bank statement
                                            database
Mackenzie Jones         3/29/2023     0.3   Consolidate scheduling updates and distribute to team


Mason Ebrey             3/29/2023     2.9   Identification of unknown counterparties in transactions greater than
                                            absolute value of $100M
Mason Ebrey             3/29/2023     0.3   Continue identification of unknown counterparties in bank transactions

Mason Ebrey             3/29/2023     3.3   Identification of unknown counterparties in bank transactions


Mason Ebrey             3/29/2023     1.0   Identification of unknown counterparties in transactions greater than
                                            absolute value of $50M to $100M
Peter Kwan              3/29/2023     1.2   Fiat Deposits and Withdrawals bank account cross reference analysis


Peter Kwan              3/29/2023     0.6   Perform data enrichment of fiat deposits and withdrawals

Ran Bruck               3/29/2023     0.6   Reconcile cryptocurrency transactions summary to crypto
                                            transactions captured in Trial Balance for GLG
Ran Bruck               3/29/2023     1.1   Reconcile Income Statement with Trial Balance for GLG

Ran Bruck               3/29/2023     0.8   Revise and edit to WRSS Inc Trial Balance in response to meeting
                                            feedback
Ran Bruck               3/29/2023     1.1   Finalize list of open questions and action items over WRSS Inc trial
                                            balance (Balance Sheet) in preparation for meeting with RLKS
Ran Bruck               3/29/2023     1.0   Working session with R. Hoskins (FTX), D. Hainline, R. Bruck (A&M)
                                            to align on open questions and approach for opening balance load to
                                            post-petition books
Ran Bruck               3/29/2023     0.2   Call with J. Faett, R. Bruck (A&M) to discuss required changes to
                                            accounting documentation
Ran Bruck               3/29/2023     0.7   Create and format Good Luck Games trial balance template




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Accounting
Professional               Date     Hours     Activity
Ran Bruck               3/29/2023     0.7   Reconcile cryptocurrency transactions summary to crypto
                                            transactions captured in Trial Balance for WRSS Inc
Ran Bruck               3/29/2023     0.7   Compare petition date Good Luck Games Trial Balance with
                                            Statements and Schedules (Property/Other Assets)
Ran Bruck               3/29/2023     0.6   Update entity tracker to account for progress made and

Ran Bruck               3/29/2023     1.0   Align GL account structure for Good Luck Games Trial Balance with
                                            Global Chart of Accounts
Ran Bruck               3/29/2023     0.4   Revise and edit to GLG Trial Balance in response to meeting
                                            feedback
Ran Bruck               3/29/2023     0.5   Create partition from balance sheet and income statement for WRSS
                                            Inc and create formula for determining equity plug
Ran Bruck               3/29/2023     0.9   Reconcile Balance Sheet with Trial Balance for GLG


Ran Bruck               3/29/2023     0.5   Revise and edit to WRS Inc Trial Balance in response to meeting
                                            feedback
Ran Bruck               3/29/2023     0.9   Revise entity tracker for GL account number and naming updates in
                                            response to meeting feedback
Ran Bruck               3/29/2023     0.6   Call with D. Hainline, R. Bruck (A&M) to discuss update on WRS
                                            Entity Mapping progress and preparation for meeting with RLKS
Ran Bruck               3/29/2023     1.0   Call with D. Hainline, R. Bruck (A&M) to follow-up on meeting from
                                            RLKS notes, action items for QBO mapping, and troubleshooting
                                            mapping issues
Robert Gordon           3/29/2023     0.6   Weekly discussion with M. Cilia (RLKS) to discuss upcoming
                                            activities and issues in accounting
Robert Johnson          3/29/2023     1.2   Ingestion of Far Eastern banking data from statement staging tables
                                            to Metabase tables, Update of Metabase tables
Robert Johnson          3/29/2023     1.4   Ingestion of transactive banking data from statement staging tables
                                            to Metabase tables, Update of Metabase tables
Robert Johnson          3/29/2023     0.8   Ingestion of OpenPay'd banking data from statement staging tables
                                            to Metabase tables, Update of Metabase tables
Sharon Schlam Batista   3/29/2023     3.2   Reconcile bank account statements vs. trial balance

Summer Li               3/29/2023     1.1   Review the intercompany balance of Quoine Pte and FTX Japan KK


Vinny Rajasekhar        3/29/2023     3.1   Prepare fiat transaction file to include detail by blockchain and other
                                            formatting comments
Zach Burns              3/29/2023     2.3   Analyze cash database for Signature bank statements in dotcom silo


Aly Helal               3/30/2023     2.8   Review Cash Transactions counterparties for multiple banks (Bank of
                                            Japan, HSBC, Nium)
Bas Fonteijne           3/30/2023     2.1   Prepare financial statements for European entities

Breanna Price           3/30/2023     0.2   Continue adding Maerki bank counterparties to the corresponding
                                            transactions


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Accounting
Professional               Date     Hours     Activity
Breanna Price           3/30/2023     3.3   Add Maerki bank counterparties to the corresponding transactions

Breanna Price           3/30/2023     1.1   Add Maerki bank counterparties to the corresponding transactions


Cole Broskay            3/30/2023     0.4   Call with H. Ardizzoni, C. Broskay, J. Faett, R. Bruck (A&M)
                                            discussion on accounting documentation
Cole Broskay            3/30/2023     0.3   Respond to questions regarding existence of bank loans with Debtor
                                            entities
David Johnston          3/30/2023     2.2   Review FTX Europe AG balance sheets


Drew Hainline           3/30/2023     0.4   Prepare agenda and open questions for working session with RLKS
                                            on balance migration to post-petition books
Drew Hainline           3/30/2023     2.1   Reconcile liabilities tracker against AP in GL to support migration
                                            balance for FTX Trading Ltd
Drew Hainline           3/30/2023     0.3   Review and consolidate prepaid expense information for balance
                                            migration to post-petition books
Drew Hainline           3/30/2023     0.4   Review payment tracker to confirm status of logged items in the
                                            liability tracker
Drew Hainline           3/30/2023     0.6   Extract updated reports from QBO to ensure current balances and
                                            AP support for balance migration for DOTCOM entities
Drew Hainline           3/30/2023     0.7   Review available support for updated Japan KK and Quoine Pte Ltd
                                            trial balances and draft request for additional information required for
                                            GL migration
Drew Hainline           3/30/2023     0.5   Review developments on bank transactions for WRSS and analyze
                                            impact to existing trial balance
Drew Hainline           3/30/2023     1.1   Working session with R. Hoskins (RLKS), D. Hainline, R. Bruck
                                            (A&M) to review open questions and align on approach for balance
                                            migration to post-petition books
Gaurav Walia            3/30/2023     0.2   Call with G. Walia and J. Lee (A&M) regarding bank statement
                                            summary balances and inflows/outflows in cash database
Heather Ardizzoni       3/30/2023     0.3   Review correspondence received related to bank account information


Heather Ardizzoni       3/30/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) finalization of details on
                                            accounting documentation and next steps
Heather Ardizzoni       3/30/2023     0.4   Call with H. Ardizzoni, C. Broskay, J. Faett, R. Bruck (A&M)
                                            discussion on accounting documentation
Henry Chambers          3/30/2023     0.5   Meeting with H. Chambers, J. Sequeira (A&M) to discuss status of
                                            FTX Japan's Audit Timeline & Milestones
Henry Chambers          3/30/2023     1.1   Review of Quoine PTE accounting analysis

Henry Chambers          3/30/2023     1.5   Attend to correspondence regarding Quoine PTE accounting matters


Jack Faett              3/30/2023     0.4   Call with H. Ardizzoni, C. Broskay, J. Faett, R. Bruck (A&M)
                                            discussion on accounting documentation
Jonathan Zatz           3/30/2023     2.8   Database scripting related to SDNY request for info on counterparties
                                            and transaction hashes within a date range

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Accounting
Professional               Date     Hours     Activity
Jonathan Zatz           3/30/2023     2.6   Database script execution related to SDNY request for info on
                                            counterparties and transaction hashes within a date range
Joseph Sequeira         3/30/2023     0.5   Meeting with H. Chambers, J. Sequeira (A&M) to discuss status of
                                            FTX Japan's Audit Timeline & Milestones
Joseph Sequeira         3/30/2023     0.6   Follow up with process owners on monthly open close items

Joseph Sequeira         3/30/2023     0.9   Provide QuickBooks' requested financial information to external
                                            vendors
Julian Lee              3/30/2023     0.2   Call with G. Walia, J. Lee (A&M) regarding bank statement summary
                                            balances and inflows/outflows in cash database
Luke Francis            3/30/2023     1.4   Review of bank statement detail for additional counter party detail for
                                            WRS accounts
Luke Francis            3/30/2023     1.2   Review of bank statement detail for additional counter party detail for
                                            Alameda accounts
Mason Ebrey             3/30/2023     0.9   Identification of unknown counterparties in transactions greater than
                                            absolute value of $50M to $100M
Peter Kwan              3/30/2023     1.2   Perform data enrichment of fiat deposits and withdrawals


Peter Kwan              3/30/2023     0.5   Fiat Deposits and Withdrawals bank account cross reference analysis

Ran Bruck               3/30/2023     0.4   Call with H. Ardizzoni, C. Broskay, J. Faett, R. Bruck (A&M)
                                            discussion on accounting documentation
Ran Bruck               3/30/2023     1.1   Working session with R. Hoskins (FTX), D. Hainline, R. Bruck (A&M)
                                            to review open questions and align on approach for balance
                                            migration to post-petition books
Ran Bruck               3/30/2023     1.7   Review WRSFS Inc. Balance Sheet, Income Statement, General
                                            Ledger and reconcile with structured template format of Trial Balance
                                            for mapping load
Ran Bruck               3/30/2023     1.3   Review Hawaii Digital Assets Balance Sheet, Income Statement,
                                            General Ledger and reconcile with structured template format of Trial
                                            Balance for mapping load
Ran Bruck               3/30/2023     0.9   Analyze and reconcile Hawaii Digital Assets Statement and Schedule
                                            with updated Trial Balance
Ran Bruck               3/30/2023     0.4   Analyze and reconcile Digital Custody Statement and Schedule with
                                            updated Trial Balance
Ran Bruck               3/30/2023     1.6   Review LedgerPrime Holdings Balance Sheet, Income Statement,
                                            General Ledger and reconcile with structured template format of Trial
                                            Balance for mapping load
Ran Bruck               3/30/2023     0.9   Analyze and reconcile WRSFS Inc Statement and Schedule with
                                            updated Trial Balance
Ran Bruck               3/30/2023     0.3   Call with H. Ardizzoni, R. Bruck (A&M) finalization of details on
                                            accounting documentation and next steps
Ran Bruck               3/30/2023     0.6   Review Digital Custody Inc. Balance Sheet, Income Statement,
                                            General Ledger and reconcile with structured template format of Trial
                                            Balance for mapping load
Ran Bruck               3/30/2023     0.8   Reconcile differences for WRS entities between the Trial Balance
                                            and AP Tracker

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Accounting
Professional               Date     Hours     Activity
Summer Li               3/30/2023     0.6   Follow up on the outstanding bank statements of Quoine Vietnam

Summer Li               3/30/2023     0.8   Discuss open items and next steps for Japan intercompany analysis
                                            with S. Kojima (FTX), J. Sequeira, D. Hainline, S. Li, D. Kuruvilla
                                            (A&M)
Summer Li               3/30/2023     3.1   Reconcile intercompany balance within FTX Japan KK


Aly Helal               3/31/2023     1.6   Review of Blank counterparties for cash transactions and identifying
                                            cash transactions counterparties
Bas Fonteijne           3/31/2023     3.0   Prepare financial statement analysis for FTX Europe LTD


Bas Fonteijne           3/31/2023     3.1   Prepare financial statement analysis for FTX Europe AG

Caoimhe Corr            3/31/2023     2.9   Prepare balance sheet analysis European entities

Charles Evans           3/31/2023     0.4   Review and delegate diligence for operational entity presentation


Charles Evans           3/31/2023     0.2   Correspondence with C. Evans, H. Chambers, J. Lam (A&M)
                                            regarding PT Triniti presentation
David Johnston          3/31/2023     0.7   Review and reconcile FTX EU Ltd Klarpay accounts


David Johnston          3/31/2023     3.1   Review updated balance sheets and cash flows for FTX Europe AG

Drew Hainline           3/31/2023     0.2   Draft and send confirmation request to RLKS for open IC adjustment
                                            entries for DOTCOM entities
Drew Hainline           3/31/2023     0.8   Review large outstanding bills for DOTCOM entities to validate third-
                                            party classification
Drew Hainline           3/31/2023     1.3   Review unpaid bills and add to liability tracker for balance migration
                                            of DOTCOM entities
Drew Hainline           3/31/2023     0.4   Review and archive prepaid schedule data for Liquid group before
                                            consolidation
Drew Hainline           3/31/2023     0.4   Review prepaid schedules for DOTCOM entities and reconcile
                                            against November month-end trial balance
Drew Hainline           3/31/2023     2.2   Develop AP subledger information to support GL migration to post-
                                            petition books for DOTCOM entities
Jack Yan                3/31/2023     1.4   Input the user transaction data into a template of April 2022 for
                                            reconciliation
Jack Yan                3/31/2023     0.9   Input the user transaction data into a template of May 2022 for
                                            reconciliation
Jack Yan                3/31/2023     1.0   Input the user transaction data into a template of June 2022 for
                                            reconciliation
Jane Chuah              3/31/2023     0.4   Review bank statements and update bank transaction details of
                                            Quoine Pte's FEIB bank
Jonathan Zatz           3/31/2023     1.2   Results formatting related to SDNY request for info on counterparties
                                            and transaction values within a date range


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Accounting
Professional               Date     Hours     Activity
Joseph Sequeira         3/31/2023     1.1   Analyze all QuickBooks' balance sheets to assess potential
                                            outstanding notes payable
Joseph Sequeira         3/31/2023     1.2   Analyze available legal entity financial statements to assess potential
                                            outstanding notes payable
Joseph Sequeira         3/31/2023     1.1   Review completed December financials for Dotcom entity

Joseph Sequeira         3/31/2023     0.7   Analyze December's financial statement supporting documentation
                                            for FTX Trading
Joseph Sequeira         3/31/2023     0.4   Download financial statement transactional support from QuickBooks


Luke Francis            3/31/2023     1.6   Summary of bank statement analysis progress

Mason Ebrey             3/31/2023     0.3   Identification of unknown counterparties in transactions in the range
                                            of $50M to $100M
Mason Ebrey             3/31/2023     0.8   Identification of unknown counterparties in transactions in the range
                                            of $-50M to $-100M
Peter Kwan              3/31/2023     0.4   Perform data enrichment of fiat deposits and withdrawals


Peter Kwan              3/31/2023     0.5   Fiat Deposits and Withdrawals bank account cross reference analysis

Ran Bruck               3/31/2023     0.6   Review and reconcile Digital Assets LLC statements & schedules
                                            with updated Trial Balance
Ran Bruck               3/31/2023     0.5   Analyze and reconcile FTX Vault and Schedule with updated Trial
                                            Balance
Ran Bruck               3/31/2023     0.8   Review Digital Assets LLC Balance Sheet, Income Statement,
                                            General Ledger and reconcile with structured template format of Trial
                                            Balance for mapping load
Ran Bruck               3/31/2023     0.8   Research retainers paid to 3rd parties and match with bank
                                            statements and General Ledger activity
Ran Bruck               3/31/2023     0.7   Review FTX Vault Balance Sheet, Income Statement, General
                                            Ledger and reconcile with structured template format of Trial Balance
                                            for mapping load
Ran Bruck               3/31/2023     0.9   Review FTX Lend Inc. Holdings Balance Sheet, Income Statement,
                                            General Ledger and reconcile with structured template format of Trial
                                            Balance for mapping load
Ran Bruck               3/31/2023     0.6   Analyze and reconcile FTX Lend Inc. Holdings and Schedule with
                                            updated Trial Balance
Ran Bruck               3/31/2023     1.4   Analyze and reconcile LedgerPrime Holdings and Schedule with
                                            updated Trial Balance
Robert Gordon           3/31/2023     0.8   Call with T. Shea (EY), R. Gordon, S. Coverick (A&M), J. Ray, M.
                                            Cilia (RLKS) re: transfer pricing for tax return
Robert Johnson          3/31/2023     1.3   Ingestion of Chase banking data from statement staging tables to
                                            Metabase tables, Update of Metabase tables
Robert Johnson          3/31/2023     1.2   Ingestion of PayPay banking data from statement staging tables to
                                            Metabase tables, Update of Metabase tables



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Accounting
Professional                 Date     Hours      Activity
Robert Johnson            3/31/2023       0.9   Ingestion of HDFC banking data from statement staging tables to
                                                Metabase tables, Update of Metabase tables
Robert Johnson            3/31/2023       0.8   Updates to bank statement summary table to adjust currency for
                                                Goldfield bank
Steve Coverick            3/31/2023       0.8   Participate in call with T. Shea (EY), R. Gordon (A&M), J. Ray, M.
                                                Cilia (FTX) re: transfer pricing for tax return
Summer Li                 3/31/2023       0.6   Review the status of colleting of the bank statements from FTX Japan
                                                and Quoine Pte in order to understand the nature of bank
                                                transactions prior to 11 November 2022
Summer Li                 3/31/2023       0.4   Identify the counterparties for transactions in one of the bank
                                                statements in order to understand the nature of each of the bank
                                                transactions prior to 11 November 2022

Subtotal                              1,894.1

Asset Sales
Professional                 Date     Hours      Activity
Charles Evans              3/1/2023       0.2   Correspondence with S. Melamed (FTX) and the PWP team
                                                regarding FTX Japan sale process and due diligence
Charles Evans              3/1/2023       0.1   Correspondence with M. Jonathan (FTX) regarding Indonesian entity
                                                process
Chris Arnett               3/1/2023       0.3   Provide comment re: NDA status of potential bidders

Chris Arnett               3/1/2023       0.6   Review and comment on latest turn of entity marketing materials


Hudson Trent               3/1/2023       0.7   Review and update materials for potential de minimis asset sale

Charles Evans              3/2/2023       0.1   Correspondence with S. Melamed (FTX) and the PWP team
                                                regarding FTX Japan sale process and DD
Chris Arnett               3/2/2023       1.6   Review latest data re: request to evaluate entity for potential
                                                liquidation or winddown
Chris Arnett               3/2/2023       0.3   Review and comment on latest draft of EU options analysis and
                                                solicit next steps from team
Chris Arnett               3/3/2023       1.1   Review and comment on refresh of various entity liquidation
                                                assessments
Ed Mosley                  3/3/2023       0.8   Review of and provide comments to board slide regarding asset
                                                sales process
Alessandro Farsaci         3/6/2023       0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                                Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                                Ramanathan, and H. Trent (A&M)
Charles Evans              3/6/2023       0.2   Review and track datasite contents of FTX Japan data room


Charles Evans              3/6/2023       0.2   Correspondence with A. Kasajima (FTX) and C. Evans (A&M)
                                                regarding the DD process for FTX Japan
Charles Evans              3/6/2023       0.2   Correspondence with A. Kasajima (FTX) and C. Evans regarding the
                                                DD process for FTX Japan


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Asset Sales
Professional                Date     Hours     Activity
Chris Arnett              3/6/2023     1.2   Review and comment on entity wind down presentation and
                                             associated assumptions driving the recovery model
Chris Arnett              3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
David Johnston            3/6/2023     0.2   Call with E. Mosley, D. Johnston, and S. Coverick (A&M) to discuss
                                             matters pertaining to FTX EU sale process
Ed Mosley                 3/6/2023     1.2   Discuss ongoing sale processes and other workstream updates with
                                             S. Coverick, E. Mosley (A&M)
Ed Mosley                 3/6/2023     1.3   Review of Ledger X data for preparation of board presentation
                                             regarding M&A process
Ed Mosley                 3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Gioele Balmelli           3/6/2023     0.9   Preparation of the discussion on FTX Europe analysis

Gioele Balmelli           3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Hudson Trent              3/6/2023     0.4   Prepare for call regarding FTX Europe


Hudson Trent              3/6/2023     0.7   Correspond with interested party regarding potential de minimis asset
                                             sale
Hudson Trent              3/6/2023     1.4   Prepare subsidiary balance sheet projections for wind-down analysis


Hudson Trent              3/6/2023     1.9   Prepare liquidation analysis summary view for subsidiary

Hudson Trent              3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Hudson Trent              3/6/2023     0.7   Prepare for and participate in call regarding potential asset sale with
                                             M. Rosenberg, R. Jain (BoD), J. Ray (FTX), A. Cohen, M. Wu, E.
                                             Simpson, J. MacDonald (S&C), B. Mendelsohn, K. Cofsky, W. Sayed,
                                             and M. Rahmani (PWP)
Hudson Trent              3/6/2023     0.5   Review requested information for subsidiary wind-down analysis


Hudson Trent              3/6/2023     1.3   Prepare recovery assumptions for hypothetical subsidiary wind-down
                                             analysis
Hudson Trent              3/6/2023     1.6   Prepare employee wind-down plan for subsidiary wind-down analysis


Hudson Trent              3/6/2023     0.2   Correspond with counsel regarding de minimis asset sale materials

Joachim Lubsczyk          3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Kumanan Ramanathan        3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)

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Asset Sales
Professional                Date     Hours     Activity
Robert Gordon             3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Steve Coverick            3/6/2023     1.2   Discuss ongoing sale processes and other workstream updates with
                                             S. Coverick, E. Mosley (A&M)
Steve Coverick            3/6/2023     0.4   Discuss FTX Europe analysis with J. Ray (FTX), S. Coverick, E.
                                             Mosley, R. Gordon, C. Arnett, A. Farsaci, G. Balmelli, J. Lubsczyk, K.
                                             Ramanathan, and H. Trent (A&M)
Steve Coverick            3/6/2023     0.2   Call to discuss FTX Europe with D. Johnston, S. Coverick, E. Mosley
                                             (A&M)
Charles Evans             3/7/2023     0.3   Call with M. Jonathan (FTX) regarding the Bitocto sale process
                                             (follow-up discussion)
Charles Evans             3/7/2023     0.3   Call with M. Jonathan (FTX) regarding the Bitocto sale process


Charles Evans             3/7/2023     0.3   Correspondence with M. Jonathan (FTX) and G. Possess (PWP)
                                             regarding the Bitocto sale process
Chris Arnett              3/7/2023     2.2   Review, comment, and edit wind down analysis presentation and
                                             associated back up
Chris Arnett              3/7/2023     0.5   Participate in call with J. Sutherland and S. Thompson (Alix) and H.
                                             Trent and C. Arnett (A&M) re: transfers at various entities
Chris Arnett              3/7/2023     0.5   Discuss FTX Europe options analysis with R. Gordon, K.
                                             Ramanathan, D. Johnston, and C. Arnett (A&M)
David Johnston            3/7/2023     0.5   Discuss FTX Europe options analysis with R. Gordon, K.
                                             Ramanathan, D. Johnston, and C. Arnett (A&M)
Ed Mosley                 3/7/2023     1.5   Review of draft fund asset sale for board approval

Ed Mosley                 3/7/2023     2.2   Review of Embed data for preparation of board presentation
                                             regarding M&A process
Hudson Trent              3/7/2023     1.7   Review and update recovery assumptions for hypothetical subsidiary
                                             wind down analysis
Hudson Trent              3/7/2023     0.5   Participate in call with J. Sutherland and S. Thompson (Alix) and H.
                                             Trent and C. Arnett (A&M) re: transfers at various entities
Hudson Trent              3/7/2023     0.5   Participate in call with R. Gordon, H. Trent, K. Ramanathan, C.
                                             Arnett, and D. Johnston (A&M) re: liquidation analyses of certain
                                             entities
Hudson Trent              3/7/2023     0.9   Prepare materials outlining assumptions for hypothetical subsidiary
                                             wind-down analysis
Kumanan Ramanathan        3/7/2023     0.5   Call with R. Gordon, K. Ramanathan, D. Johnston, and C. Arnett
                                             (A&M) to discuss FTX Europe options analysis
Kumanan Ramanathan        3/7/2023     0.5   Participate in call with R. Gordon, H. Trent, K. Ramanathan, C.
                                             Arnett, and D. Johnston (A&M) regarding analyses of certain entities
Robert Gordon             3/7/2023     0.5   Call with R. Gordon, K. Ramanathan, D. Johnston, and C. Arnett
                                             (A&M) to discuss FTX Europe options analysis
Charles Evans             3/8/2023     0.2   Correspondence with H. Chambers, (A&M) and PWP team on FTX
                                             Japan sale process



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Asset Sales
Professional                Date     Hours     Activity
Charles Evans             3/8/2023     0.1   Correspondence with M. Jonathan (FTX) and G. Possess (PWP)
                                             regarding the Bitocto sale process
Chris Arnett              3/8/2023     2.9   Continue review, edit, and comment on various entity wind down
                                             analyses
Chris Arnett              3/8/2023     0.5   Call re: LedgerX regulatory analysis with C. Arnett, H. Trent (A&M), J.
                                             McDonald, S. Wheeler and S&C team
Chris Arnett              3/8/2023     1.1   Prepare for call with S&C and A&M re: various liquidation analyses

Chris Arnett              3/8/2023     1.6   Continue to comment and edit entity winddown presentations and
                                             analyses with focus on regulatory overlay
Hudson Trent              3/8/2023     2.2   Prepare updated materials for revised wind down analysis

Hudson Trent              3/8/2023     1.1   Update timeline for subsidiary wind down analysis based on existing
                                             customer contracts
Hudson Trent              3/8/2023     1.9   Prepare funds flow diagram related to potential avoidance action

Hudson Trent              3/8/2023     1.4   Review customer agreements for subsidiary wind down analysis


Hudson Trent              3/8/2023     1.1   Update assumptions in subsidiary wind down analysis based on
                                             internal feedback
Hudson Trent              3/8/2023     1.0   Prepare analysis related to potential recoveries in a hypothetical wind
                                             down analysis for specific assets
Hudson Trent              3/8/2023     1.3   Prepare summary balance sheet for hypothetical subsidiary wind
                                             down analysis
Hudson Trent              3/8/2023     0.5   Call re: LedgerX regulatory analysis with C. Arnett, H. Trent (A&M), J.
                                             McDonald, S. Wheeler and S&C team
Steve Coverick            3/8/2023     0.5   Call re: LedgerX regulatory analysis with C. Arnett, H. Trent (A&M), J.
                                             McDonald, S. Wheeler and S&C team
Chris Arnett              3/9/2023     0.4   Discuss various potential avoidance actions with M. Wu, S. Wheeler,
                                             S. Holley, M. Friedman, A. Cohen (S&C), C. Arnett and H. Trent
                                             (A&M)
Chris Arnett              3/9/2023     1.3   Review draft liquidation assessment and associated analyses and
                                             direct edits of same
Chris Arnett              3/9/2023     0.9   Review clearing services agreements in the context of entity wind-
                                             downs
Chris Arnett              3/9/2023     1.4   Continue review of various entity wind-down analyses and associated
                                             presentations
Chris Arnett              3/9/2023     2.3   Continue edit, review, and direct analyses on entity winddown
                                             analysis
Ed Mosley                 3/9/2023     1.8   Review of and prepare comments to draft analysis for board in
                                             connection with sale of LedgerX
Hudson Trent              3/9/2023     1.4   Compile and incorporate comments on subsidiary wind down analysis

Hudson Trent              3/9/2023     1.2   Update subsidiary wind down analysis assumptions based on
                                             feedback from advisors


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Professional                 Date     Hours     Activity
Hudson Trent               3/9/2023     0.4   Discuss various potential avoidance actions with M. Wu, S. Wheeler,
                                              S. Holley, M. Friedman, A. Cohen (S&C), C. Arnett and H. Trent
                                              (A&M)
Hudson Trent               3/9/2023     1.1   Prepare updated timeline for hypothetical subsidiary wind down
                                              analysis
Hudson Trent               3/9/2023     1.6   Prepare revised materials for subsidiary wind down analysis


Hudson Trent               3/9/2023     0.6   Discuss entity wind-down analysis with C. Arnett and S. Coverick
                                              (A&M)
Hudson Trent               3/9/2023     1.1   Confirm existing contracts utilized by entity slated for potential sale


Hudson Trent               3/9/2023     1.9   Prepare updated subsidiary wind down analysis materials based on
                                              feedback from advisors
Hudson Trent               3/9/2023     2.0   Prepare additional scenarios for subsidiary wind down analysis
                                              following feedback
Hudson Trent               3/9/2023     1.0   Incorporate language related to potential avoidance action recoveries
                                              into wind-down analysis
Steve Coverick             3/9/2023     2.2   Review and provide comments on LedgerX wind-down analysis

Steve Coverick             3/9/2023     0.9   Review and provide feedback on presentation on LedgerPrime
                                              strategic options deck
Steve Coverick             3/9/2023     1.3   Review and provide comments on summary of non-debtor strategic
                                              options analysis
Charles Evans             3/10/2023     0.4   Correspondence with M. Jonathan (FTX) and G. Possess (PWP)
                                              regarding the Bitocto sale process
Charles Evans             3/10/2023     0.2   Review and track datasite contents of FTX Japan data room

Chris Arnett              3/10/2023     2.2   Continue revisions of wind down analyses for CEO and board
                                              approval
Chris Arnett              3/10/2023     1.7   Develop and direct analyses re: wind down versus sale comparisons


David Johnston            3/10/2023     0.8   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
David Johnston            3/10/2023     1.4   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Ed Mosley                 3/10/2023     0.8   Review of current version of LedgerPrime situation overview
                                              presentation to management
Gioele Balmelli           3/10/2023     1.4   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Gioele Balmelli           3/10/2023     0.8   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Gioele Balmelli           3/10/2023     1.6   Review memo on FTX EU Options

Hudson Trent              3/10/2023     2.3   Prepare revised subsidiary wind down analysis materials based on
                                              updated assumptions


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Asset Sales
Professional                 Date     Hours     Activity
Hudson Trent              3/10/2023     1.0   Call regarding potential subsidiary avoidance actions with R. Mekala,
                                              N. Nussbaum, G. Possess, J. Zhu (PWP), M. Friedman, J. Ljustina,
                                              A. Cohen, M. Wu (S&C), and H. Trent (A&M)
Hudson Trent              3/10/2023     0.9   Review and incorporate updated assumptions related to potential
                                              avoidance actions into wind down analysis
Hudson Trent              3/10/2023     1.8   Update subsidiary wind down analysis based on advisor feedback


Kumanan Ramanathan        3/10/2023     1.4   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Kumanan Ramanathan        3/10/2023     0.8   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Robert Gordon             3/10/2023     0.8   Call with R. Gordon, K. Ramanathan, D. Johnston, G. Balmelli
                                              (A&M), R. Matzke (FTX) on FTX EU Options
Robert Gordon             3/10/2023     0.5   Prepare for Memorandum discussion with R. Matzke(FTX) by
                                              reviewing source document
Hudson Trent              3/11/2023     0.4   Correspond regarding subsidiary wind down analysis with S&C
                                              regulatory team
Chris Arnett              3/12/2023     1.1   Continue to assess wind down recoveries versus sale alternatives

Alessandro Farsaci        3/13/2023     0.6   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                              FTX EU Ltd options
Alessandro Farsaci        3/13/2023     0.4   Call with G. Balmelli, J. Lubsczyk, A. Farsaci (A&M) on FTX Europe
                                              options
Chris Arnett              3/13/2023     0.5   Discuss potential avoidance actions with A. Cohen, S. Holley, C.
                                              Dunne, S. Wheeler, G. Pacia (S&C), C. Arnett, S. Coverick, and H.
                                              Trent (A&M)
Chris Arnett              3/13/2023     0.3   Call re: Embed sale process with (S&C), C. Arnett, H. Trent (A&M)


Chris Arnett              3/13/2023     1.7   Continue review and revise entity options analyses re: sale v. wind
                                              down
Chris Arnett              3/13/2023     0.7   Review and comment on revised wind down analyses for board
                                              consideration
David Johnston            3/13/2023     0.6   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                              FTX EU Ltd options
David Johnston            3/13/2023     0.2   Prepare notes and discussion materials on FTX EU Ltd options


Gioele Balmelli           3/13/2023     0.6   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                              FTX EU Ltd options
Gioele Balmelli           3/13/2023     0.4   Call with G. Balmelli, J. Lubsczyk, A. Farsaci (A&M) on FTX Europe
                                              options
Hudson Trent              3/13/2023     0.3   Call re: Embed sale process with (S&C), C. Arnett, H. Trent (A&M)


Hudson Trent              3/13/2023     0.5   Discuss potential avoidance actions with A. Cohen, S. Holley, C.
                                              Dunne, S. Wheeler, G. Pacia (S&C), C. Arnett, S. Coverick, and H.
                                              Trent (A&M)



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Asset Sales
Professional                 Date     Hours     Activity
Joachim Lubsczyk          3/13/2023     0.4   Call with G. Balmelli, J. Lubsczyk, A. Farsaci (A&M) on FTX Europe
                                              options
Joachim Lubsczyk          3/13/2023     0.6   Review of management view on FTX EU Ltd. Options


Joachim Lubsczyk          3/13/2023     0.4   Call with J. Lubsczyk, A. Farsaci (A&M) on FTX Europe options

Joachim Lubsczyk          3/13/2023     0.6   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                              FTX EU Ltd options
Steve Coverick            3/13/2023     0.7   Review and provide comments on FTX EU analysis re: strategic
                                              options
Steve Coverick            3/13/2023     0.3   Call re: Embed sale process with A.Cohen (S&C), C. Arnett, H. Trent
                                              (A&M)
Chris Arnett              3/14/2023     2.2   Continue to review, edit and comment on various entity options
                                              analyses for CEO and board review
Chris Arnett              3/14/2023     0.4   Compose several emails to H. Trent (A&M) re: asset sales status and
                                              subsequent buyer diligence
David Johnston            3/14/2023     0.6   Discuss FTX EU wind-down analysis with S. Coverick and D.
                                              Johnston (A&M)
Ed Mosley                 3/14/2023     0.3   Review of draft presentation to management regarding FTX EU
                                              options for sale
Hudson Trent              3/14/2023     1.0   Update subsidiary wind down analysis based on advisor feedback

Hudson Trent              3/14/2023     0.4   Correspond regarding avoidance actions analysis with S&C
                                              investigations team
Hudson Trent              3/14/2023     1.0   Update wind down analysis based on internal A&M feedback

Hudson Trent              3/14/2023     2.6   Prepare revised assumptions and materials for subsidiary wind down
                                              analysis
Hudson Trent              3/14/2023     1.3   Finalize and circulate revised subsidiary wind down analyses

Hudson Trent              3/14/2023     1.2   Incorporate additional notes related to subsidiary wind down analysis
                                              from advisors
Steve Coverick            3/14/2023     0.6   Discuss FTX EU wind-down analysis with D. Johnston (A&M)

Steve Coverick            3/14/2023     0.3   Review and provide comments on LedgerPrime situation update deck

Steve Coverick            3/14/2023     0.2   Discuss FTX EU wind-down analysis with S. Coverick, D. Johnston
                                              (A&M)
Alessandro Farsaci        3/15/2023     0.6   Preparation of slide on FTX Europe AG situation

Alessandro Farsaci        3/15/2023     0.3   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                              FTX Europe options
Chris Arnett              3/15/2023     1.6   Review and comment on various PWP updates to the asset options
                                              analyses for Board and CEO review




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Asset Sales
Professional               Date     Hours     Activity
David Johnston          3/15/2023     0.3   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                            FTX Europe options
Gioele Balmelli         3/15/2023     0.3   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                            FTX Europe options
Gioele Balmelli         3/15/2023     0.6   Preparation of slide on FTX Europe AG situation

Hudson Trent            3/15/2023     1.1   Call regarding avoidance actions with J. Sutherland, S. Thompson,
                                            M. Jacques (Alix), E. Downing, K. Donnelly, B. Harsch, C. Dunne, M.
                                            Tomaino, W. Scheffer (S&C), and H. Trent (A&M)
Hudson Trent            3/15/2023     1.1   Update subsidiary wind down analysis based on discussions with
                                            advisors related to avoidance actions
Hudson Trent            3/15/2023     1.3   Prepare consolidated wind down analyses and circulate for advisor
                                            feedback
Hudson Trent            3/15/2023     1.9   Update assumptions in wind down analyses based on internal A&M
                                            feedback
Hudson Trent            3/15/2023     2.3   Review contracts related to potential subsidiary asset sales and
                                            reflect in updated wind down analysis
Hudson Trent            3/15/2023     1.6   Incorporate feedback from advisors following further review of wind
                                            down analyses
Joachim Lubsczyk        3/15/2023     0.3   Call with D. Johnston, J. Lubsczyk, A. Farsaci, G. Balmelli (A&M) on
                                            FTX Europe options
Steve Coverick          3/15/2023     1.8   Review and analyze Embed retention plan documentation for
                                            purposes of strategic options analysis
Adam Titus              3/16/2023     0.5   Call with M. Rosenberg, R. Jain (FTX), B. Glueckstein, A. Cohen
                                            (S&C), B. Mendelsohn, K. Flinn (PWP), A. Titus, and S. Coverick
                                            (A&M) re: LedgerPrime strategic options
Hudson Trent            3/16/2023     0.5   Call regarding ongoing asset sales with A. Cohen, M. Wu (S&C), G.
                                            Posses, B. Mendelsohn, K. Cofsky, N. Nussbaum (PWP), and H.
                                            Trent (A&M)
Hudson Trent            3/16/2023     2.0   Update subsidiary wind down analysis for contractual employee
                                            retention
Hudson Trent            3/16/2023     1.6   Prepare updated wind down analysis based on discussions related to
                                            employee retention
Hudson Trent            3/16/2023     0.7   Correspond regarding wind down analysis materials with S&C


Hudson Trent            3/16/2023     0.7   Call regarding ongoing asset sales with J. Ray (FTX), A. Cohen, M.
                                            Wu (S&C), G. Posses, B. Mendelsohn, K. Cofsky, N. Nussbaum
                                            (PWP), S. Coverick, and H. Trent (A&M)
Hudson Trent            3/16/2023     0.4   Correspond regarding various de minimis asset sales with A&M


Steve Coverick          3/16/2023     0.7   Call with J. Ray (FTX), A. Cohen and S&C team, B. Mendelsohn and
                                            PWP team, H. Trent (A&M) re: LedgerX and Embed sale process
                                            update
Steve Coverick          3/16/2023     0.5   Call with M. Rosenberg, R. Jain (FTX), B. Glueckstein, A. Cohen
                                            (S&C), B. Mendelsohn, K. Flinn (PWP), A. Titus re: LedgerPrime
                                            strategic options



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Asset Sales
Professional                 Date     Hours     Activity
Steve Coverick            3/16/2023     0.9   Review and provide comments on final draft of Embed strategic
                                              options deck
Alessandro Farsaci        3/17/2023     0.4   Review of STCFF plan for scenario debt moratorium


Chris Arnett              3/17/2023     0.4   Continue to review and suggest edits to various entity options
                                              analysis for UCC review
Gioele Balmelli           3/17/2023     0.4   Review of STCFF plan for scenario debt moratorium

Hudson Trent              3/17/2023     0.5   Prepare initial operating unit wind down analysis


Hudson Trent              3/17/2023     1.7   Prepare updated subsidiary wind down analysis based on internal
                                              A&M feedback
Steve Coverick            3/17/2023     1.6   Review and provide comments on FTX EU strategic options deck for
                                              UCC
Steve Coverick            3/17/2023     0.5   Review and provide comments on updated Embed wind-down
                                              analysis
Steve Coverick            3/18/2023     0.7   Review and provide comments on support for LedgerX hypothetical
                                              wind-down analyses for UCC members
Steve Coverick            3/18/2023     0.6   Review and provide comments on support for Embed hypothetical
                                              wind-down analyses for UCC members
Adam Titus                3/19/2023     0.3   Discuss LedgerPrime LP redemptions with team (A&M)

Chris Arnett              3/19/2023     0.4   Review and develop counter offer re: letter of intent to acquire certain
                                              assets offered for sale
Hudson Trent              3/19/2023     0.2   Correspond regarding potential asset sale with PWP

Steve Coverick            3/19/2023     0.3   Discuss LedgerPrime LP redemptions with S. Coverick and A. Titus
                                              (A&M)
Steve Coverick            3/19/2023     0.4   Discuss Good Luck Games with prospective buyer

Alessandro Farsaci        3/20/2023     0.8   Review of STCFF plan for scenario debt moratorium


Chris Arnett              3/20/2023     0.4   Call with R. Simmons (S&C), C. Arnett and H. Trent (A&M) regarding
                                              regulatory matters at subsidiary
Chris Arnett              3/20/2023     1.6   Review and comment re: entity wind down and options analysis

Chris Arnett              3/20/2023     0.8   Review workstream plan re: go-forward options analyses with H.
                                              Trent (A&M)
Chris Arnett              3/20/2023     0.6   Review and comment on proposed purchase price adjustment timing
                                              and calculation
Ed Mosley                 3/20/2023     0.6   Review of venture book assets currently for sale and updates
                                              provided by PWP
Ed Mosley                 3/20/2023     0.6   Review of and prepare comments to draft analysis of Mysten
                                              proposed sale




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Asset Sales
Professional                 Date     Hours     Activity
Gioele Balmelli           3/20/2023     2.2   Communication on regarding alternative FTX Europe AG STCFF

Hudson Trent              3/20/2023     0.4   Correspond regarding various subsidiary wind down analyses with
                                              A&M
Hudson Trent              3/20/2023     0.4   Call with R. Simmons (S&C), C. Arnett and H. Trent (A&M) regarding
                                              regulatory matters at subsidiary
Nicole Simoneaux          3/20/2023     1.8   Create hypothetical wind-down analysis

Steve Coverick            3/20/2023     0.5   Call with J. Ray, M. Rosenberg (FTX), A. Titus (A&M) re:
                                              LedgerPrime LP redemptions
Alessandro Farsaci        3/21/2023     1.0   Call with A. Farsaci, G. Balmelli, C. Corr (A&M), T. Luginbühl, E.
                                              Müller (L&S) on potential moratorium request document FTX Europe
                                              AG
Alessandro Farsaci        3/21/2023     0.5   Review of debt moratorium application

Alessandro Farsaci        3/21/2023     0.4   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli, C. Corr
                                              (A&M) on update on FTX Europe options
Caoimhe Corr              3/21/2023     0.4   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli, C. Corr
                                              (A&M) on update on FTX Europe options
Caoimhe Corr              3/21/2023     0.9   Call with A. Farsaci, G. Balmelli, C. Corr (A&M), T. Luginbühl, E.
                                              Müller (L&S) on strategic options for FTX Europe
Charles Evans             3/21/2023     0.2   Correspondence with M. Jonathan (FTX) and G. Possess (PWP)
                                              regarding the Bitocto sale process
Chris Arnett              3/21/2023     0.8   Review and comment on newly added wind-down analysis and
                                              associated structure of same
David Johnston            3/21/2023     0.4   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli, C. Corr
                                              (A&M) on update on FTX Europe options
Drew Hainline             3/21/2023     0.5   Call regarding entity balance sheet analysis with D. Hainline, H.
                                              Trent, and N. Simoneaux (A&M)
Gioele Balmelli           3/21/2023     1.0   Call with A. Farsaci, G. Balmelli, C. Corr (A&M), T. Luginbühl, E.
                                              Müller (L&S) on potential moratorium request document FTX Europe
                                              AG
Gioele Balmelli           3/21/2023     0.8   Communication on info required for FTX Europe AG moratorium
                                              request document
Gioele Balmelli           3/21/2023     0.4   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli, C. Corr
                                              (A&M) on update on FTX Europe options
Gioele Balmelli           3/21/2023     2.8   Review of potential moratorium request FTX Europe AG

Hudson Trent              3/21/2023     0.3   Correspond regarding FTX Europe options analysis with A&M
                                              Europe team
Hudson Trent              3/21/2023     0.2   Correspond regarding de minimis asset sale process with interested
                                              party
Hudson Trent              3/21/2023     0.5   Call regarding entity balance sheet analysis with D. Hainline, H.
                                              Trent, and N. Simoneaux (A&M)
Hudson Trent              3/21/2023     0.5   Prepare summary of term sheet process for de minimis asset sale
                                              processes

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Asset Sales
Professional                 Date     Hours     Activity
Hudson Trent              3/21/2023     0.3   Review treatment of claims in wind down analysis

Hudson Trent              3/21/2023     0.2   Prepare materials related to subsidiary wind down analysis


Hudson Trent              3/21/2023     0.3   Review subsidiary wind down analysis and provide feedback

Hudson Trent              3/21/2023     0.3   Working session with H. Trent and N. Simoneaux (A&M) on
                                              hypothetical wind-down analysis
Hudson Trent              3/21/2023     0.4   Working session with H. Trent and N. Simoneaux (A&M) re: wind-
                                              down budget and analysis
Joachim Lubsczyk          3/21/2023     0.4   Call with D. Johnston, A. Farsaci, J. Lubsczyk, G. Balmelli, C. Corr
                                              (A&M) on update on FTX Europe options
Nicole Simoneaux          3/21/2023     0.4   Working session with H. Trent and N. Simoneaux (A&M) re: wind-
                                              down budget and analysis
Nicole Simoneaux          3/21/2023     0.3   Working session with H. Trent and N. Simoneaux (A&M) on
                                              hypothetical wind-down analysis
Nicole Simoneaux          3/21/2023     0.5   Call regarding entity balance sheet analysis with D. Hainline, H.
                                              Trent, and N. Simoneaux (A&M)
Steve Coverick            3/21/2023     0.4   Review and provide comments on token project analysis

Alessandro Farsaci        3/22/2023     1.1   Meeting with A. Farsaci, and G. Balmelli (A&M) to review STCFF and
                                              moratorium request (filing)
Chris Arnett              3/22/2023     0.9   Review revised entity wind-down options analysis and provide
                                              corresponding edits
Chris Arnett              3/22/2023     1.9   Continue to provide edits and commentary re: entity options analyses

Gioele Balmelli           3/22/2023     1.1   Meeting with A. Farsaci, and G. Balmelli (A&M) to review STCFF and
                                              moratorium request (filing)
Gioele Balmelli           3/22/2023     2.6   Preparation of FTX Europe AG moratorium request document
                                              required analysis
Robert Gordon             3/22/2023     0.3   Call with H. Chambers, C. Evans, G. Robert (A&M), M. Cilia, R.
                                              Hoskins (RLKS), M. Jonathan (FTX) on background of PT Triniti
                                              Investama Berkat (Bitocto) and the sale process
Steve Coverick            3/22/2023     1.8   Prepare workplan for dormant entity wind-down workstream


Steve Coverick            3/22/2023     1.9   Review and provide comments on PT Triniti strategic options
                                              overview
Steve Coverick            3/22/2023     1.6   Review and provide comments on token liquidation analysis


Chris Arnett              3/23/2023     0.7   Continue to provide edits and commentary re: wind-down analyses
                                              and related assumptions; direct team accordingly
Chris Arnett              3/23/2023     1.7   Continue to provide edits and commentary re: entity options analyses

Ed Mosley                 3/23/2023     1.4   Discuss ventures process with FTX (J.Ray), FTX Board
                                              (M.Rosenberg, R.Jain), PWP (M.Rahmani, K.Flinn, B.Mendelsohn,
                                              others), S&C (M. Wu, A.Cohen, others) and A&M (S.Glustein)

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Asset Sales
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/23/2023     1.6   Edit hypothetical wind-down date and research regulatory factors

Chris Arnett              3/24/2023     0.8   Comment, revise, and edit entity options analyses and direct team
                                              accordingly re: next steps
David Johnston            3/24/2023     0.2   Call with S. Coverick and D. Johnston (A&M) re: docile entity wind-
                                              down analysis
Ed Mosley                 3/24/2023     0.8   Review of and prepare comments to draft document regarding non-
                                              debtor exchange entity in sale process
Gioele Balmelli           3/24/2023     2.8   Preparation of hypothetical FTX Europe liquidation analysis


Steve Coverick            3/24/2023     0.2   Call with S. Coverick, D. Johnston (A&M) re: docile entity wind-down
                                              analysis
Chris Arnett              3/25/2023     0.4   Review the funds tracing analysis re: Embed in evaluation of
                                              potential bids
Chris Arnett              3/27/2023     0.3   Review asset sale offer and inquire to S&C regarding investigation
                                              status of internal parties
Chris Arnett              3/27/2023     0.6   Review and comment on revised entity wind down presentations


Matthias Schweinzer       3/27/2023     2.9   Correspondence lawyers and preparation exhibits for moratorium

Matthias Schweinzer       3/27/2023     2.1   Review current liquidation balance sheet of FTX Europe STCFF

Alessandro Farsaci        3/28/2023     1.2   Call with CFO of FTX Europe AG to discuss Feb23 FS and
                                              liquidation balance sheet
Alessandro Farsaci        3/28/2023     1.0   Call with A. Farsaci, M. Schweinzer (A&M), J. Bavaud (FTX) to
                                              discuss Liquidation balance sheet
Charles Evans             3/28/2023     0.1   Correspondence with C. Evans, H. Chambers (A&M) and N.
                                              Nussbaum (PWP) regarding FTX Japan sale process
Chris Arnett              3/28/2023     0.5   Participate in entity wind down discussion with S. Coverick, H. Trent,
                                              and C. Arnett (A&M)
Chris Arnett              3/28/2023     0.4   Continue review and comment of revised entity options and wind
                                              down presentation
Ed Mosley                 3/28/2023     0.4   Review of declaration in support of asset sale of Sequoia venture

Hudson Trent              3/28/2023     0.5   Participate in entity wind down discussion with S. Coverick, H. Trent,
                                              and C. Arnett (A&M)
Matthias Schweinzer       3/28/2023     3.1   Preparation income statement and translation of liquidation financials
                                              to German
Matthias Schweinzer       3/28/2023     2.8   Preparation liquidation balance sheet

Matthias Schweinzer       3/28/2023     1.0   Call with A. Farsaci, M. Schweinzer (A&M), J. Bavaud (FTX) to
                                              discuss Liquidation balance sheet
Steve Coverick            3/28/2023     0.3   Discuss wind down analysis with S. Coverick and C. Arnett (A&M)




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Alessandro Farsaci        3/29/2023     0.2   Call with Jürg to discuss IT costs in debt moratorium of FTX Europe
                                              AG with D. Johnston, A. Farsaci (A&M) and J. Bavaud (FTX Europe
                                              AG)
Alessandro Farsaci        3/29/2023     0.2   Review documents and answering questions from L&S regarding
                                              Swiss debt moratorium
David Johnston            3/29/2023     0.2   Call with Jürg to discuss IT costs in debt moratorium of FTX Europe
                                              AG with D. Johnston, A. Farsaci (A&M) and J. Bavaud (FTX Europe
                                              AG)
Gioele Balmelli           3/29/2023     0.4   Call with G. Balmelli and M. Schweinzer (A&M) to review liquidation
                                              balance
Matthias Schweinzer       3/29/2023     0.4   Call with G. Balmelli and M. Schweinzer (A&M) to review liquidation
                                              balance
Alessandro Farsaci        3/30/2023     0.8   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                              AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), J. Bavaud
                                              (FTX), T. Luginbühl, E. Müller and A.Pellizzari (L+S), F. Lorandi, D.
                                              Knesevic (Holenstein Brusa LTD)
Chris Arnett              3/30/2023     0.6   Review board presentation in advance of call to discuss entity wind
                                              down alternative
Chris Arnett              3/30/2023     0.3   Review asset sale offer and suggest counter offer terms

Chris Arnett              3/30/2023     0.5   Review South Dakota legal requirements to wind down banking
                                              concern and develop methodology for reflecting same in analysis
David Johnston            3/30/2023     1.7   Review Indian entities and options for recovery

David Johnston            3/30/2023     3.1   Review and update materials relating to dormant entities


Gioele Balmelli           3/30/2023     0.8   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                              AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), J. Bavaud
                                              (FTX), T. Luginbühl, E. Müller and A.Pellizzari (L+S), F. Lorandi, D.
                                              Knesevic (Holenstein Brusa LTD)
Matthias Schweinzer       3/30/2023     0.8   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                              AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), J. Bavaud
                                              (FTX), T. Luginbühl, E. Müller and A.Pellizzari (L+S), F. Lorandi, D.
                                              Knesevic (Holenstein Brusa LTD)
Matthias Schweinzer       3/30/2023     0.8   Preparation of FTX trading GmbH financials

Matthias Schweinzer       3/30/2023     0.2   Call with M. Schweinzer (A&M), J. Bavaud (FTX) to discuss
                                              Liquidation balance sheet
Matthias Schweinzer       3/30/2023     2.8   Update and translation of liquidation financials to German


Matthias Schweinzer       3/30/2023     0.6   Call with M. Schweinzer (A&M), J. Bavaud (FTX) to discuss
                                              Liquidation balance sheet
Steve Coverick            3/30/2023     0.4   Review and provide comments on sale proposal response for venture
                                              investment
Steve Coverick            3/30/2023     0.5   Correspond with A&M and S&C personnel regarding LedgerX sale
                                              comparison analysis




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Professional                 Date     Hours     Activity
Alessandro Farsaci        3/31/2023      0.6   Call with A. Farsaci and M. Schweinzer (A&M) to discuss review
                                               STCFF
Chris Arnett              3/31/2023      0.5   Review revised business options and wind down analyses


David Johnston            3/31/2023      0.5   Call with D. Johnston, R. Gordon, K. Ramanathan (A&M) re: Turkey
                                               wind down analysis
David Johnston            3/31/2023      2.0   Review and update materials relating to wind down entities

Hudson Trent              3/31/2023      0.8   Review and correspond regarding potential de minimis asset sale
                                               with S&C M&A team
Matthias Schweinzer       3/31/2023      0.2   Call on FTX Europe AG to discuss exhibit for debt moratorium of FTX
                                               Europe AG with M. Schweinzer (A&M), T. Luginbühl, E. Müller (L+S)
Matthias Schweinzer       3/31/2023      0.2   Call with M. Schweinzer (A&M), J. Bavaud (FTX) to discuss
                                               Liquidation balance sheet
Matthias Schweinzer       3/31/2023      0.6   Call with A. Farsaci and M. Schweinzer (A&M) to discuss review
                                               STCFF
Matthias Schweinzer       3/31/2023      0.7   Preparation of FTX trading GmbH financials


Matthias Schweinzer       3/31/2023      2.5   Preparation and translation of exhibit for debt moratorium

Matthias Schweinzer       3/31/2023      1.6   Review of the request for debt-restructuring moratorium

Robert Gordon             3/31/2023      0.5   Call with D. Johnston, R. Gordon, K. Ramanathan (A&M) re: Turkey
                                               wind down analysis
Steve Coverick            3/31/2023      0.5   Call with D. Johnston, R. Gordon, K. Ramanathan (A&M) re: Turkey
                                               wind down analysis

Subtotal                               250.0

Avoidance Actions
Professional                 Date     Hours     Activity
Aaron Dobbs                3/1/2023      1.4   Perform targeted searches related to Chipper Cash investment

Aaron Dobbs                3/1/2023      2.6   Quality control review of Critical Ideas memo and summarization of
                                               key findings
Aaron Dobbs                3/1/2023      1.6   Investment Transactions tracker data clean up and quality control

Alex Canale                3/1/2023      0.1   Teleconference with A. Canale and A. Cox (A&M) regarding Colliers
                                               Appraisal report analysis
Alex Canale                3/1/2023      0.5   Review IEX investment memorandum prepared by colleagues

Alex Canale                3/1/2023      0.3   Review crypto tracing team findings on Fuel tokens

Alex Canale                3/1/2023      0.7   Review payments made to professionals and other individuals as
                                               directed by counsel


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Professional               Date     Hours     Activity
Alex Canale              3/1/2023     0.6   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding updates
                                            on assigned avoidance actions
Alex Canale              3/1/2023     0.3   Review crypto database team findings on Mina tokens


Allison Cox              3/1/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) regarding Colliers
                                            Appraisal report analysis
Allison Cox              3/1/2023     3.3   Investigate transactions related to various donations

Allison Cox              3/1/2023     3.1   Continue to investigate transactions related to various donations


Allison Cox              3/1/2023     1.3   Update cash transaction schedule in relation to second set of
                                            Professional Fees paid
Austin Sloan             3/1/2023     1.3   Process wire detail for Sanford Federal Credit Union. regarding cash
                                            database construction
Austin Sloan             3/1/2023     1.2   Cleanup and reconciling Volksbank data. regarding cash database
                                            construction
Austin Sloan             3/1/2023     1.4   Update bank statement tracker. regarding cash database construction


Austin Sloan             3/1/2023     0.5   Teleconference with C. Radis, E. Hoffer, M. Haigis, M. Simkins and
                                            A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/1/2023     1.3   Cleanup and reconciling Emirates NBD data. regarding cash
                                            database construction
Austin Sloan             3/1/2023     1.2   Process new SMBC statements through Valid8. regarding cash
                                            database construction
Breanna Price            3/1/2023     1.1   Add new Sumishin bank data received from the Hong Kong team to
                                            the bank data trackers
Breanna Price            3/1/2023     0.3   Teleconference with M. Ebrey, B. Price (A&M) regarding addition of
                                            PayPay bank statements to various trackers
Breanna Price            3/1/2023     0.9   Add new Stripe bank data to the bank data trackers

Breanna Price            3/1/2023     1.5   Began adding new SMBC bank data received from the Hong Kong
                                            team to the bank data files
Breanna Price            3/1/2023     1.3   Add new Swapforex bank data to the bank data trackers

Breanna Price            3/1/2023     0.7   Add new Vietcombank data received from the Hong Kong team to the
                                            bank data files
Breanna Price            3/1/2023     0.9   Organize the SMBC bank data folders


Breanna Price            3/1/2023     0.6   Add new bank data files to the master tracker

Cameron Radis            3/1/2023     0.5   Call with J. Lee, C. Radis, and E. Hoffer (A&M), M. Cilia (FTX), C.
                                            Jenson (S&C), R. Stephenson, W. Bogarin-Ochoa (Prime Trust)
                                            regarding follow-up items to Prime Trust production
Cameron Radis            3/1/2023     2.3   Perform new SQL based analysis creating scripts to summarize all
                                            AWS activity, create workbook output for internal team to review


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Cameron Radis             3/1/2023     0.8   Perform SQL exercise to update all relevant cash database tables to
                                             for account numbers with scientific notation
Cameron Radis             3/1/2023     0.4   Perform manual SQL update to update Silvergate currencies where
                                             empty
Cameron Radis             3/1/2023     0.5   Teleconference with C. Radis, E. Hoffer, M. Haigis, M. Simkins and
                                             A. Sloan (A&M) discussing progress on cash database
Cameron Radis             3/1/2023     0.9   Perform SQL updates to master bank data combining script to
                                             account for normalization of bank names across all sources of data
Cameron Radis             3/1/2023     0.5   Call with M. Shanahan, J. Lee, C. Radis, and E. Hoffer (A&M)
                                             discussing bank accounts for reconciliation and volume of
                                             transactions per bank
Cameron Radis             3/1/2023     1.7   Perform SQL based analysis, set up reconciliation process, write
                                             script to populate fields into deduped transactions
David Dawes               3/1/2023     0.6   Review documents and information related to Binance relationship

David Medway              3/1/2023     1.2   Review and analyze Alameda loan counterparty board materials in
                                             connection with investigation of equity investments
David Medway              3/1/2023     0.3   Internal communications regarding status and results of Alameda
                                             loan counterparty investigation
David Medway              3/1/2023     3.1   Review and analyze Alameda loan counterparty projections in
                                             connection with investigation of equity investments
David Medway              3/1/2023     1.6   Summarize results of review and analysis of Alameda loan
                                             counterparty financials and projections in connection with
                                             investigation of equity investments
David Medway              3/1/2023     0.3   Internal communications regarding status and results of Alameda
                                             investment investigation
David Medway              3/1/2023     0.4   Summarize results of review and analysis of Alameda loan
                                             counterparty board materials in connection with investigation of
                                             equity investments
David Medway              3/1/2023     0.2   Commence internal communications regarding status and results of
                                             Alameda counterparty investigation
David Medway              3/1/2023     1.4   Review and analyze Alameda loan counterparty financials in
                                             connection with investigation of equity investments
Emily Hoffer              3/1/2023     1.6   Review new bank statements, opening account documents, wire
                                             detail information and check images details provided by various
                                             banks in relation to debtor controlled bank accounts
Emily Hoffer              3/1/2023     0.5   Teleconference with C. Radis, E. Hoffer, M. Haigis, M. Simkins and
                                             A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/1/2023     0.5   Call with J. Lee, C. Radis, and E. Hoffer (A&M), M. Cilia (FTX), C.
                                             Jenson (S&C), R. Stephenson, W. Bogarin-Ochoa (Prime Trust)
                                             regarding follow-up items to Prime Trust production
Emily Hoffer              3/1/2023     1.1   Update master list of known accounts for bank accounts associated
                                             with non-debtor legal entities as well as debtor legal entities for newly
                                             identified accounts
Emily Hoffer              3/1/2023     1.7   Review historical bank statement tracker provided by Sullivan and
                                             Cromwell and annotating with specific bank updates in preparation
                                             for weekly call


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Professional                Date     Hours     Activity
Emily Hoffer              3/1/2023     1.4   Update bank communications tracker for new correspondence

Emily Hoffer              3/1/2023     0.5   Call with M. Shanahan, J. Lee, C. Radis, and E. Hoffer (A&M)
                                             discussing bank accounts for reconciliation and volume of transaction
                                             per bank
Emily Hoffer              3/1/2023     1.0   Call with M. Shanahan, J. Lee and E. Hoffer (A&M), C. Jensen
                                             (S&C), M. Cilia (FTX) to discuss historical bank data collection and
                                             status updates
Julian Lee                3/1/2023     1.5   Review and update memo for IEX

Julian Lee                3/1/2023     0.2   Correspond with team regarding follow-up questions for Etana
                                             accounts
Julian Lee                3/1/2023     0.3   Prepare search terms related to donation vendor counterparties


Julian Lee                3/1/2023     0.3   Identify supporting documents on the valuation of FTX and WRS in
                                             relation to the IEX share exchange agreement
Julian Lee                3/1/2023     0.5   Call with J. Lee, C. Radis, and E. Hoffer (A&M), M. Cilia (FTX), C.
                                             Jenson (S&C), R. Stephenson, W. Bogarin-Ochoa (Prime Trust)
                                             regarding follow-up items to Prime Trust production
Julian Lee                3/1/2023     0.5   Call with M. Shanahan, J. Lee, C. Radis, and E. Hoffer (A&M)
                                             discussing bank accounts for reconciliation and volume of
                                             transactions per bank
Julian Lee                3/1/2023     0.4   Run search terms in cash database for counterparties that received
                                             donations
Julian Lee                3/1/2023     0.1   Correspond with counsel regarding additional HSBC contacts


Julian Lee                3/1/2023     1.0   Call with M. Shanahan, J. Lee and E. Hoffer (A&M), C. Jensen
                                             (S&C), M. Cilia (FTX) to discuss historical bank data collection and
                                             status updates
Julian Lee                3/1/2023     0.3   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                             bank data
Julian Lee                3/1/2023     0.6   Review of cash database summary metrics by bank


Julian Lee                3/1/2023     0.2   Correspond with debtor regarding Prime Trust account

Julian Lee                3/1/2023     0.8   Update workpaper on cash database status by bank


Laureen Ryan              3/1/2023     0.2   Review draft law firm analysis

Laureen Ryan              3/1/2023     0.8   Correspond with QE and A&M Team regarding avoidance actions
                                             analysis
Laureen Ryan              3/1/2023     0.6   Review documents relevant to avoidance action investigation matters


Laureen Ryan              3/1/2023     0.2   Correspond with A&M Team re: updates to priority bank account
                                             information for financial reporting
Mark Zeiss                3/1/2023     0.3   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                             bank data

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Avoidance Actions
Professional            Date     Hours     Activity
Mason Ebrey           3/1/2023     0.4   Prepare for meeting regarding PORT Finance Market Maker
                                         Agreement
Mason Ebrey           3/1/2023     2.0   Search in relativity for documents related to amendment to FTX
                                         agreement with 80 Acres
Mason Ebrey           3/1/2023     1.6   Search in relativity for documents related to FTX and Contrarian deFi
                                         Market Making Agreement
Mason Ebrey           3/1/2023     2.7   Addition of PayPay Bank statements to trackers

Mason Ebrey           3/1/2023     0.3   Teleconference with M. Ebrey, B. Price (A&M) regarding addition of
                                         PayPay bank statements to various trackers
Maximilian Simkins    3/1/2023     0.5   Teleconference with C. Radis, E. Hoffer, M. Haigis, M. Simkins and
                                         A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/1/2023     0.5   Teleconference with C. Radis, E. Hoffer, M. Haigis, M. Simkins and
                                         A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/1/2023     0.6   Teleconference with M. Shanahan and P. McGrath (A&M), S. Rand,
                                         E. Kapur, J. Pickhardt (QE), A. Searles and D. Schwartz (Alix)
                                         regarding document transfer
Michael Shanahan      3/1/2023     0.4   Review status of cash database development

Michael Shanahan      3/1/2023     0.5   Review bank production and communication tracker in preparation
                                         for meeting
Michael Shanahan      3/1/2023     0.4   Review updated consideration analysis - Brinc, DriveWealth,
                                         Starkware
Michael Shanahan      3/1/2023     1.0   Call with M. Shanahan, J. Lee and E. Hoffer (A&M), C. Jensen
                                         (S&C), M. Cilia (FTX) to discuss historical bank data collection and
                                         status updates
Michael Shanahan      3/1/2023     0.5   Call with M. Shanahan, J. Lee, C. Radis, and E. Hoffer (A&M)
                                         discussing bank accounts for reconciliation and volume of
                                         transactions per bank
Michael Shanahan      3/1/2023     1.1   Review and revise schedule of investment holdings

Patrick McGrath       3/1/2023     0.6   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding updates
                                         on assigned avoidance actions
Patrick McGrath       3/1/2023     0.6   Teleconference with M. Shanahan and P. McGrath (A&M), S. Rand,
                                         E. Kapur, J. Pickhardt (QE), A. Searles and D. Schwartz (Alix)
                                         regarding document transfer
Patrick McGrath       3/1/2023     2.6   Review crypto transactions for ventures investments

Patrick McGrath       3/1/2023     2.4   Review GBTC activity at the direction of counsel


Patrick McGrath       3/1/2023     1.6   Review ventures investment activity

Samuel Mimms          3/1/2023     1.9   Develop and send responses to Counsel's questions on 80 Acres
                                         avoidance action
Samuel Mimms          3/1/2023     1.6   Develop and send responses to Counsel's questions on NEAR token
                                         transactions


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Avoidance Actions
Professional               Date     Hours     Activity
Samuel Mimms             3/1/2023     0.6   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding updates
                                            on assigned avoidance actions
Samuel Mimms             3/1/2023     3.2   Update Alameda counterparty analyses and incorporate into new
                                            presentation for Counsel
Scott Peoples            3/1/2023     2.3   Perform analysis and independent research on Stocktwits transaction

Scott Peoples            3/1/2023     0.6   Review subsequent purchase of shares related to Stocktwits

Scott Peoples            3/1/2023     1.7   Review and edit findings of analysis on Stocktwits transaction


Aaron Dobbs              3/2/2023     3.3   Prepare targeted Law firm entity transaction tracing and refund
                                            analysis
Aaron Dobbs              3/2/2023     0.7   Investment Transactions tracker data clean up and quality control


Aaron Dobbs              3/2/2023     3.2   Perform targeted searches for Alameda loan counterparty
                                            Management Decks and financial projections
Aaron Dobbs              3/2/2023     1.3   Document review and tracing regarding refunded payment


Alex Canale              3/2/2023     0.1   Teleconference with A. Canale and D. Medway (A&M) regarding
                                            investigation of Alameda investment transactions
Alex Canale              3/2/2023     0.4   Review HOLE token memorandum prepared by QE and add
                                            comments
Alex Canale              3/2/2023     0.8   Review documents related to Sequoia Heritage investment
                                            memorandum
Alex Canale              3/2/2023     0.9   Review documents related to payments to relevant individuals

Alex Canale              3/2/2023     0.2   Communications to/from Alix Partners and counsel regarding
                                            Alameda investment analysis
Alex Canale              3/2/2023     0.3   Review payments made to individuals as directed by counsel

Alex Canale              3/2/2023     0.4   Analysis of Exodus current enterprise value


Alex Canale              3/2/2023     0.5   Call with M. Shanahan, A. Canale, and E. Hoffer (A&M) regarding
                                            donations tracing
Alex Canale              3/2/2023     0.1   Teleconference with K. Kearney, A. Canale and D. Medway (A&M)
                                            regarding investigation of Alameda investment transactions
Alex Canale              3/2/2023     0.2   Teleconference with A. Canale and M. Blanchard (A&M) regarding
                                            next steps from call with GT and Innovatus
Alex Canale              3/2/2023     0.8   Review Sequoia Heritage investment memorandum and edit

Alex Canale              3/2/2023     0.8   Review payments made to professionals and documents related
                                            thereto
Allison Cox              3/2/2023     0.1   Continue to investigate transactions related to specific external
                                            donations




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Avoidance Actions
Professional               Date     Hours     Activity
Allison Cox              3/2/2023     0.8   Investigate transactions related to specific external professional fees

Allison Cox              3/2/2023     3.3   Investigate transactions related to specific external donations


Austin Sloan             3/2/2023     1.4   Update bank statement tracker. regarding cash database construction

Austin Sloan             3/2/2023     0.5   Call with A. Sloan and E. Hoffer (A&M) discussing Brex import in
                                            AWS
Austin Sloan             3/2/2023     1.7   Process new Silicon Valley statements through Valid8. regarding
                                            cash database construction
Austin Sloan             3/2/2023     0.5   Update bank statement issue tracker. regarding cash database
                                            construction
Austin Sloan             3/2/2023     0.7   Teleconference with C. Radis, E. Hoffer, M. Haigis and A. Sloan
                                            (A&M) discussing progress on cash database
Austin Sloan             3/2/2023     3.1   Reconcile statement detail for SMBC bank statements. regarding
                                            cash database construction
Austin Sloan             3/2/2023     0.9   Remove credit card detail from cash database. regarding cash
                                            database construction
Breanna Price            3/2/2023     0.1   Teleconference with E. Hoffer and B. Price (A&M) regarding ED&F
                                            Man bank data
Breanna Price            3/2/2023     0.9   Add new bank data received from Bank of America to the bank
                                            statement trackers
Breanna Price            3/2/2023     0.7   Add new Stripe bank data to the bank statement trackers


Breanna Price            3/2/2023     3.0   Add new ED&F Man bank data to the bank statement trackers

Breanna Price            3/2/2023     0.1   Add new bank data to the master tracker


Breanna Price            3/2/2023     1.2   Add new Signature and Signet bank data to the bank statement
                                            trackers
Cameron Radis            3/2/2023     0.7   Teleconference with C. Radis, E. Hoffer, M. Haigis and A. Sloan
                                            (A&M) discussing progress on cash database
Cameron Radis            3/2/2023     1.8   Perform SQL exercise to identify banks with multiple sources of data
                                            from debtors and non-debtors and multiple sources of file types
                                            (PDFs, CSVs)
Cameron Radis            3/2/2023     1.7   Perform quality control review of work product summarizing banks by
                                            currency and yearly activity for QE
Cameron Radis            3/2/2023     0.5   Teleconference with C. Radis, M. Haigis, and K. MacDonald (A&M) to
                                            discuss bank statement and wallet data file manipulation request
Cameron Radis            3/2/2023     0.6   Perform SQL exercise to remove credit card banking records from all
                                            cash database AWS tables
David Dawes              3/2/2023     3.3   Perform targeted document review of Alameda loan counterparty
                                            financials
David Dawes              3/2/2023     1.9   Review and update A&M summary of Binance relationship




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Avoidance Actions
Professional                Date     Hours     Activity
David Dawes               3/2/2023     0.8   Develop summary of Alameda loan counterparty findings

David Dawes               3/2/2023     0.2   Correspondence with team regarding A&M summary of Binance
                                             relationship
David Dawes               3/2/2023     0.5   Continue to perform targeted document review of Alameda loan
                                             counterparty financials
David Dawes               3/2/2023     0.4   Teleconference with D. Dawes and D. Medway (A&M) regarding
                                             Alameda loan counterparty investigation
David Medway              3/2/2023     2.6   Review and analyze financial models and results provided in
                                             connection with Debtors' due diligence of equity investments in
                                             Alameda loan counterparty
David Medway              3/2/2023     0.5   Review updated Alameda counterparty collateral value analyses and
                                             prepare review comments
David Medway              3/2/2023     0.4   Review updated Alameda counterparty Loans analyses and prepare
                                             review comments
David Medway              3/2/2023     0.9   Review updated Alameda counterparty account value analyses and
                                             prepare review comments
David Medway              3/2/2023     0.3   Internal communications regarding results of updated Alameda
                                             counterparty analyses
David Medway              3/2/2023     0.8   Review updated Alameda counterparty new value analyses and
                                             prepare review comments
David Medway              3/2/2023     0.1   Teleconference with A. Canale and D. Medway (A&M) regarding
                                             investigation of Alameda investment transactions
David Medway              3/2/2023     0.1   Teleconference with K. Kearney, A. Canale and D. Medway (A&M)
                                             regarding investigation of Alameda investment transactions
David Medway              3/2/2023     0.5   Prepare pricing data for AlixPartners use in Alameda investment and
                                             Alameda counterparty analyses
David Medway              3/2/2023     0.4   Teleconference with D. Dawes and D. Medway (A&M) regarding
                                             Alameda loan counterparty investigation
David Medway              3/2/2023     0.4   Email communications with S&C and AlixPartners regarding pricing
                                             data for use in Alameda investment and Alameda counterparty
                                             analyses
David Medway              3/2/2023     0.4   Prepare for internal call regarding results of Alameda loan
                                             counterparty investigations
David Medway              3/2/2023     0.8   Research drivers and assumptions utilized in Alameda loan
                                             counterparty financial projections
David Medway              3/2/2023     0.6   Review updated Alameda counterparty trading activity analyses and
                                             prepare review comments
David Medway              3/2/2023     0.2   Prepare for internal call regarding results of Alameda investment
                                             transaction investigations
Emily Hoffer              3/2/2023     0.7   Teleconference with C. Radis, E. Hoffer, M. Haigis and A. Sloan
                                             (A&M) discussing progress on cash database
Emily Hoffer              3/2/2023     0.5   Call with M. Shanahan, A. Canale, and E. Hoffer (A&M) regarding
                                             donations tracing
Emily Hoffer              3/2/2023     1.0   Update bank communications tracker and bank statement tracker for
                                             new communications and production

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Avoidance Actions
Professional                Date     Hours     Activity
Emily Hoffer              3/2/2023     0.5   Call with A. Sloan and E. Hoffer (A&M) discussing Brex import in
                                             AWS
Emily Hoffer              3/2/2023     3.3   Create workpaper of transactions and amounts in US dollars by bank


Emily Hoffer              3/2/2023     2.3   Audit bank statements, opening account documents, check images
                                             and wire detail available and documenting the status of outstanding
                                             documentation previously requested
Emily Hoffer              3/2/2023     0.3   Call with J. Lee and E. Hoffer (A&M) regarding bank production
                                             status and bank transactions workpaper
Emily Hoffer              3/2/2023     0.9   Review new bank statements, opening account documents, wire
                                             detail information and check images details provided by various
                                             banks in relation to debtor controlled bank accounts
Emily Hoffer              3/2/2023     0.3   Continue creating workpaper of transactions and amounts in US
                                             dollars by bank
Emily Hoffer              3/2/2023     0.1   Teleconference with E. Hoffer and B. Price (A&M) regarding ED&F
                                             Man bank data
Julian Lee                3/2/2023     0.1   Run query on potential donation counterparties in cash database


Julian Lee                3/2/2023     0.2   Correspond with team regarding cash database

Julian Lee                3/2/2023     0.3   Call with J. Lee and E. Hoffer (A&M) regarding bank production
                                             status and bank transactions workpaper
Julian Lee                3/2/2023     0.4   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                             bank data
Julian Lee                3/2/2023     0.2   Correspond with team regarding Trinet and payroll funding

Julian Lee                3/2/2023     0.3   Review of Sequoia Heritage source documents


Julian Lee                3/2/2023     1.7   Review and update donations tracing workpaper

Julian Lee                3/2/2023     1.9   Run search terms related to donation counterparties


Julian Lee                3/2/2023     0.5   Call with M. Shanahan, A. Canale, and E. Hoffer (A&M) regarding
                                             donations tracing
Julian Lee                3/2/2023     0.7   Review of workpaper on transaction activity by bank for QE team


Julian Lee                3/2/2023     0.4   Review of bank communication tracker and PMO slide

Kevin Kearney             3/2/2023     0.1   Teleconference with K. Kearney, A. Canale and D. Medway (A&M)
                                             regarding investigation of Alameda investment transactions
Laureen Ryan              3/2/2023     0.3   Correspond with QE and A&M regarding Sequoia Heritage
                                             documents
Laureen Ryan              3/2/2023     0.5   Correspond with A&M team regarding avoidance action activities

Laureen Ryan              3/2/2023     0.2   Correspond with QE and A&M regarding Sequoia Heritage
                                             documents

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Professional              Date     Hours     Activity
Laureen Ryan            3/2/2023     0.5   Teleconference with P. McGrath and L. Ryan (A&M) regarding S&C
                                           request for 90 cash payment activity
Laureen Ryan            3/2/2023     0.3   Work on summary of data for S&C for 90 day payments


Laureen Ryan            3/2/2023     0.7   Call with L. Ryan, M. Shanahan, P. McGrath (A&M), A. Searles, L.
                                           Goldman, A. Vanderkamp, and B. Mackay (Alix) and E. Ugonna
                                           (S&C) regarding document transfer
Laureen Ryan            3/2/2023     0.3   Review law firm updated payment data

Mark Zeiss              3/2/2023     0.4   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                           bank data
Mason Ebrey             3/2/2023     0.8   Addition of PayPay Bank statements to various trackers

Mason Ebrey             3/2/2023     2.1   Addition of PORT transactions to Port Finance Crypto Transactions
                                           excel file
Mason Ebrey             3/2/2023     0.7   Prepare for teleconference regarding the transactions between Port
                                           Finance and Alameda
Mason Ebrey             3/2/2023     3.0   Analysis of Data Request #297 from database team

Maya Haigis             3/2/2023     0.8   Perform exercise to upload and merge bank statement transaction
                                           reports
Maya Haigis             3/2/2023     0.7   Teleconference with C. Radis, E. Hoffer, M. Haigis and A. Sloan
                                           (A&M) discussing progress on cash database
Maya Haigis             3/2/2023     0.5   Teleconference with C. Radis, M. Haigis, and K. MacDonald (A&M) to
                                           discuss bank statement and wallet data file manipulation request
Michael Shanahan        3/2/2023     0.8   Review schedule of 90 day transfers for Alameda loan counterparty

Michael Shanahan        3/2/2023     0.6   Review and revise responses to SDNY requests

Michael Shanahan        3/2/2023     0.7   Call with L. Ryan, M. Shanahan, P. McGrath (A&M), A. Searles, L.
                                           Goldman, A. Vanderkamp, and B. Mackay (Alix) and E. Ugonna
                                           (S&C) regarding document transfer
Michael Shanahan        3/2/2023     0.5   Call with M. Shanahan, A. Canale, and E. Hoffer (A&M) regarding
                                           donations tracing
Michael Shanahan        3/2/2023     1.0   Review documents related to Alameda loan counterparty


Michael Shanahan        3/2/2023     0.2   Prepare for cash database call with AlixPartners

Michael Shanahan        3/2/2023     1.3   Review analysis of bank account activity

Michael Shanahan        3/2/2023     0.7   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day cash
                                           and crypto payments
Patrick McGrath         3/2/2023     0.1   Call with P. McGrath, S. Mimms (A&M) regarding review of HOLE
                                           transaction memo
Patrick McGrath         3/2/2023     2.2   Review ventures investment activity



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Avoidance Actions
Professional               Date     Hours     Activity
Patrick McGrath          3/2/2023     0.7   Call with L. Ryan, M. Shanahan, P. McGrath (A&M), A. Searles, L.
                                            Goldman, A. Vanderkamp, and B. Mackay (Alix) and E. Ugonna
                                            (S&C) regarding document transfer
Patrick McGrath          3/2/2023     2.0   Review crypto transactions for ventures investments

Patrick McGrath          3/2/2023     0.7   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day cash
                                            and crypto payments
Patrick McGrath          3/2/2023     0.5   Teleconference with P. McGrath and L. Ryan (A&M) regarding S&C
                                            request for 90 cash payment activity
Robert Gordon            3/2/2023     0.2   Review response on Binance/Series A write up request


Samuel Mimms             3/2/2023     2.1   Update Alameda counterparty analyses and incorporate into new
                                            presentation for Counsel
Samuel Mimms             3/2/2023     0.1   Call with P. McGrath, S. Mimms (A&M) regarding review of HOLE
                                            transaction memo
Samuel Mimms             3/2/2023     0.4   Address questions on NEAR Token database request to support
                                            NEAR Token investigation
Samuel Mimms             3/2/2023     1.2   Develop and send responses to Counsel's questions on 80 Acres
                                            avoidance action
Samuel Mimms             3/2/2023     2.1   Review and edit Counsel's draft memo on HOLE Token transactions


Scott Peoples            3/2/2023     0.7   Review analysis of FUEL tokens

Scott Peoples            3/2/2023     0.2   Review enterprise value of Exodus


Scott Peoples            3/2/2023     2.7   Perform research on market transactions related to valuation of
                                            Stocktwits
Scott Peoples            3/2/2023     1.7   Update findings and analysis on Stocktwits

Aaron Dobbs              3/3/2023     1.8   Prepare summary of Alameda loan counterparty documents


Aaron Dobbs              3/3/2023     2.6   Prepare summary of Alameda loan counterparty financial projections
                                            and organize documents related thereto
Aaron Dobbs              3/3/2023     2.1   Perform targeted searches for Alameda loan counterparties


Aaron Dobbs              3/3/2023     1.1   Research transactions related to Chipper Cash memo and
                                            investment history
Alex Canale              3/3/2023     0.6   Call with A. Canale and J. Lee (A&M) to discuss donation tracing
                                            workpaper
Alex Canale              3/3/2023     0.6   Review documents and analysis relating to Mina tokens claim

Alex Canale              3/3/2023     0.9   Review documents and analysis relating to Hole tokens claim

Alex Canale              3/3/2023     0.3   Call with A. Canale and P. McGrath (A&M) regarding ventures
                                            investments


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Avoidance Actions
Professional               Date     Hours     Activity
Alex Canale              3/3/2023     0.3   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                            regarding status of Port Finance Investment review
Alex Canale              3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding NEAR
                                            token transaction data and response to Counsel's questions
Alex Canale              3/3/2023     0.1   Teleconference with A. Canale and D. Medway (A&M) regarding
                                            investigation of Alameda investment transactions
Alex Canale              3/3/2023     0.1   Teleconference with K. Kearney, A. Canale and D. Medway (A&M)
                                            regarding investigation of Alameda investment transactions
Alex Canale              3/3/2023     0.4   Discussion with A. Canale and S. Peoples (A&M) re: Stocktwits
                                            transaction
Alex Canale              3/3/2023     0.1   Call with L. Ryan, A. Canale (A&M) to discuss cash payments to
                                            individuals
Alex Canale              3/3/2023     0.8   Review documents relating to Sequoia Heritage claim


Alex Canale              3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) and A. Alden, N.
                                            Huh (QE) regarding NEAR token transactions
Aly Helal                3/3/2023     1.1   Call with J. Lee and A. Helal (A&M) to discuss FTX donations tracing
                                            workpaper to identify fraudulent donations
Aly Helal                3/3/2023     0.2   Call with J. Lee and A. Helal (A&M) to discuss FTX Venture
                                            investment's Sequoia Heritage supporting documents such as
                                            agreements and correspondence
Aly Helal                3/3/2023     2.8   Review additional support (Agreements, bank statements) for FTX's
                                            Sequoia Heritage Investment
Aly Helal                3/3/2023     2.9   Review and adjusting Counsel's documentation on FTX Ventures
                                            investment in Sequoia Capital Fund
Austin Sloan             3/3/2023     1.4   Create Brex summary load file. regarding cash database construction

Austin Sloan             3/3/2023     0.7   Teleconference with E. Hoffer, M. Haigis and A. Sloan (A&M)
                                            discussing progress on cash database
Austin Sloan             3/3/2023     2.4   Create Brex bank statement load file. regarding cash database
                                            construction
Austin Sloan             3/3/2023     1.3   Create Silicon Valley Bank summary load file. regarding cash
                                            database construction
Austin Sloan             3/3/2023     2.2   Create Silicon Valley Bank statement load file. regarding cash
                                            database construction
Breanna Price            3/3/2023     1.2   Add new SMBC bank data to the bank statement trackers

Breanna Price            3/3/2023     0.3   Add new MUFG bank data to the bank statement trackers


Breanna Price            3/3/2023     0.9   Finish adding new Rakuten bank data to the bank statement trackers

Breanna Price            3/3/2023     2.9   Began adding new Rakuten bank data to the bank statement trackers

Cameron Radis            3/3/2023     0.6   Perform review of Signature statements with beneficiary cutoff issues




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Avoidance Actions
Professional                Date     Hours     Activity
Cameron Radis             3/3/2023     3.1   Perform preliminary summary level calculation reconciliation of
                                             Emirates and Volksbank banks for cash database, create and
                                             calculate monthly balances
Cameron Radis             3/3/2023     1.9   Perform SQL based analysis to incorporate non-debtor accounts into
                                             AWS and exclude summary metrics from non-debtor accounts in
                                             Bank Summary output
Cameron Radis             3/3/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding updates
                                             to bank metric work product for QE
David Dawes               3/3/2023     0.6   Teleconference with M. Shanahan, D. Dawes and D. Medway (A&M)
                                             regarding Alameda loan counterparty investigation
David Dawes               3/3/2023     0.6   Teleconference with D. Dawes and D. Medway (A&M) regarding
                                             analysis of Alameda loan counterparty financial models
David Dawes               3/3/2023     3.3   Update summary of Alameda loan counterparty findings


David Dawes               3/3/2023     0.1   Continue to update summary of Alameda loan counterparty findings

David Medway              3/3/2023     0.3   Review and edit updated slides summarizing initial results of
                                             Alameda counterparty investigation
David Medway              3/3/2023     2.6   Review records identified in Rockbird investigation and summarize
                                             findings for counsel review
David Medway              3/3/2023     0.3   Prepare workplan for expanded analysis of Alameda loan
                                             counterparty financial models
David Medway              3/3/2023     0.2   Internal communications regarding Rockbird investigation

David Medway              3/3/2023     0.3   Prepare for internal call regarding analysis of Alameda loan
                                             counterparty financial models
David Medway              3/3/2023     0.4   Review historical pricing data in connection with inquiry from
                                             AlixPartners
David Medway              3/3/2023     0.1   Teleconference with A. Canale and D. Medway (A&M) regarding
                                             investigation of Alameda investment transactions
David Medway              3/3/2023     0.7   Search document repository for records identified in review of
                                             Rockbird materials
David Medway              3/3/2023     0.6   Teleconference with M. Shanahan, D. Dawes and D. Medway (A&M)
                                             regarding Alameda loan counterparty investigation
David Medway              3/3/2023     0.6   Teleconference with D. Dawes and D. Medway (A&M) regarding
                                             analysis of Alameda loan counterparty financial models
David Medway              3/3/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                             Rockbird investigation
David Medway              3/3/2023     0.2   Internal communications regarding updated slides summarizing initial
                                             results of Alameda counterparty investigation
David Medway              3/3/2023     0.3   Internal communications regarding avoidance actions status and
                                             strategy
Emily Hoffer              3/3/2023     0.4   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M) and K.
                                             Lemire, S. Rand, T. Murray, S. Hill, J. Young (QE) to discuss bank
                                             activity summary in cash database and strategize next steps



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Avoidance Actions
Professional                Date     Hours     Activity
Emily Hoffer              3/3/2023     3.2   Make edits to summary of bank statement activity

Emily Hoffer              3/3/2023     2.2   Review new bank statements, opening account documents, wire
                                             detail information and check images details provided by various
                                             banks in relation to debtor controlled bank accounts
Emily Hoffer              3/3/2023     0.2   Update bank communications tracker for new correspondence


Emily Hoffer              3/3/2023     0.3   Call with A. Sloan and E. Hoffer (A&M) discussing Emirates NBD
                                             Bank and Evolve
Emily Hoffer              3/3/2023     0.7   Teleconference with E. Hoffer, M. Haigis and A. Sloan (A&M)
                                             discussing progress on cash database
Emily Hoffer              3/3/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding updates
                                             to bank metric work product for QE
Emily Hoffer              3/3/2023     0.7   Call with J. Lee and E. Hoffer (A&M) discussing edits to summary of
                                             bank statement activity
Julian Lee                3/3/2023     0.7   Call with J. Lee and E. Hoffer (A&M) discussing edits to summary of
                                             bank statement activity
Julian Lee                3/3/2023     0.2   Call with J. Lee and A. Helal (A&M) to discuss Sequoia Heritage
                                             supporting documents
Julian Lee                3/3/2023     0.7   Review of Sequoia Capital Fund memo from QE


Julian Lee                3/3/2023     0.1   Review and update bank communications tracker

Julian Lee                3/3/2023     0.2   Call with A. Canale and J. Lee (A&M) to discuss donation tracing
                                             workpaper
Julian Lee                3/3/2023     0.2   Run query in QuickBooks database for potential donations

Julian Lee                3/3/2023     0.3   Review and update bank activity status for preparation of call with QE

Julian Lee                3/3/2023     0.4   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M) and K.
                                             Lemire, S. Rand, T. Murray, S. Hill, J. Young (QE) to discuss bank
                                             activity summary in cash database and strategize next steps
Julian Lee                3/3/2023     0.3   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                             bank data
Julian Lee                3/3/2023     1.5   Review and update bank account matrix with production status and
                                             notes
Julian Lee                3/3/2023     1.1   Call with J. Lee and A. Helal (A&M) to discuss donation tracing
                                             workpaper
Julian Lee                3/3/2023     2.9   Review and update donations tracing workpaper

Laureen Ryan              3/3/2023     0.4   Review documents relevant to avoidance action investigations


Laureen Ryan              3/3/2023     0.1   Call with L. Ryan, A. Canale (A&M) to discuss cash payments to
                                             individuals
Laureen Ryan              3/3/2023     0.3   Correspond with A&M team regarding bank account analysis for QE



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Avoidance Actions
Professional              Date     Hours     Activity
Laureen Ryan            3/3/2023     0.1   Correspond with S&C and A&M team regarding data provided inquiry

Laureen Ryan            3/3/2023     0.3   Review draft of 90 day payments for schedules to be filed with court


Laureen Ryan            3/3/2023     0.3   Correspond with Alix and A&M team regarding payments gathered
                                           for individuals and law firms
Laureen Ryan            3/3/2023     0.3   Correspond with A&M team regarding transaction pricing used

Laureen Ryan            3/3/2023     0.4   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M) and K.
                                           Lemire, S. Rand, T. Murray, S. Hill, J. Young (QE) to discuss bank
                                           activity summary in cash database and strategize next steps
Laureen Ryan            3/3/2023     0.2   Review draft cash database summary prepared for QE

Laureen Ryan            3/3/2023     0.2   Correspond with QE and A&M team regarding bank account analysis

Laureen Ryan            3/3/2023     0.2   Correspond with QE and A&M team regarding venture book
                                           avoidance analysis
Laureen Ryan            3/3/2023     0.2   Review and update PMO and workstream tracker

Laureen Ryan            3/3/2023     0.4   Correspond with A&M team regarding 90 day payments for court
                                           filing schedules
Madison Blanchard       3/3/2023     0.1   Review and analysis of venture investments made by debtor entities
                                           (MINA)
Mark Zeiss              3/3/2023     0.3   Call with J. Lee and M. Zeiss (A&M) to discuss tracing donations to
                                           bank data
Mason Ebrey             3/3/2023     0.3   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                           regarding status of Port Finance Investment review
Mason Ebrey             3/3/2023     1.5   Search for Wang Ge related information in Relativity

Mason Ebrey             3/3/2023     2.3   Put together Port Finance Investment Transactions presentation for
                                           counsel
Mason Ebrey             3/3/2023     1.5   Analysis of Data Request #297 from database team

Mason Ebrey             3/3/2023     0.8   Addition of PayPay Bank statements to various trackers


Mason Ebrey             3/3/2023     0.5   Prepare notes for meeting regarding status of Port Finance and VY
                                           Funds Investments
Mason Ebrey             3/3/2023     1.2   Review of VY Memo produced by counsel


Maya Haigis             3/3/2023     1.4   Perform exercise to upload and merge bank statement transaction
                                           reports
Maya Haigis             3/3/2023     0.7   Teleconference with E. Hoffer, M. Haigis and A. Sloan (A&M)
                                           discussing progress on cash database
Michael Shanahan        3/3/2023     0.2   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day cash
                                           and crypto payments


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Avoidance Actions
Professional            Date     Hours     Activity
Michael Shanahan      3/3/2023     1.2   Review and revise bank production tracker

Michael Shanahan      3/3/2023     0.4   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M) and K.
                                         Lemire, S. Rand, T. Murray, S. Hill, J. Young (QE) to discuss bank
                                         activity summary in cash database and strategize next steps
Michael Shanahan      3/3/2023     0.6   Teleconference with M. Shanahan, D. Dawes and D. Medway (A&M)
                                         regarding Alameda loan counterparty investigation
Michael Shanahan      3/3/2023     1.3   Review updated analysis of bank account activity

Michael Shanahan      3/3/2023     0.2   Review and revise PMO slide related to cash database


Michael Shanahan      3/3/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                         Rockbird investigation
Michael Shanahan      3/3/2023     0.7   Review documents related to Rockbird investment

Patrick McGrath       3/3/2023     0.3   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                         regarding status of Port Finance Investment review
Patrick McGrath       3/3/2023     1.7   Review ventures investment activity

Patrick McGrath       3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding NEAR
                                         token transaction data and response to Counsel's questions
Patrick McGrath       3/3/2023     0.3   Call with A. Canale and P. McGrath (A&M) regarding ventures
                                         investments
Patrick McGrath       3/3/2023     1.5   Review crypto transactions for ventures investments


Patrick McGrath       3/3/2023     0.2   Call with M. Shanahan and P. McGrath (A&M) regarding 90 day cash
                                         and crypto payments
Patrick McGrath       3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) and A. Alden, N.
                                         Huh (QE) regarding NEAR token transactions
Samuel Mimms          3/3/2023     2.2   Evaluate NEAR token transaction data to determine status of NEAR
                                         Tokens Purchase Agreements
Samuel Mimms          3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) and A. Alden, N.
                                         Huh (QE) regarding NEAR token transactions
Samuel Mimms          3/3/2023     1.5   Respond to counsel's questions on NEAR token transactions


Samuel Mimms          3/3/2023     1.6   Incorporate edits to new Alameda counterparty presentation for
                                         Counsel's review
Samuel Mimms          3/3/2023     1.4   Request additional information from database and tracing teams
                                         regarding NEAR token transactions
Samuel Mimms          3/3/2023     0.5   Call with A. Canale, P. McGrath, S. Mimms (A&M) regarding NEAR
                                         token transaction data and response to Counsel's questions
Scott Peoples         3/3/2023     0.4   Review and provide comments on IEX Valuation memo

Scott Peoples         3/3/2023     0.4   Discussion with A. Canale and S. Peoples (A&M) re: Stocktwits
                                         transaction


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Avoidance Actions
Professional                Date     Hours     Activity
Scott Peoples             3/3/2023     0.7   Review Stocktwits option agreement

Allison Cox               3/4/2023     0.6   Review QuickBooks data for discrepancies related to FTX Trading Inc


Breanna Price             3/4/2023     0.3   Add new bank data to the master tracker

David Dawes               3/4/2023     1.5   Pull public data relating to network hash rates for BTC

David Medway              3/4/2023     0.8   Review draft Paradigm summary and prepare comments for counsel
                                             review
David Medway              3/4/2023     0.5   Review additional Rockbird transaction records and summarize
                                             findings for QE review
David Medway              3/4/2023     0.2   Internal communications regarding review of draft Paradigm memo


Emily Hoffer              3/4/2023     3.2   Update summary of bank statement activity and gathering supporting
                                             documents
Julian Lee                3/4/2023     0.7   Review of Sequoia Capital Fund memo from QE


Julian Lee                3/4/2023     0.1   Correspond with foreign debtor representatives regarding missing
                                             bank data for HSBC and Turicum accounts
Julian Lee                3/4/2023     0.4   Review and update bank communications tracker

Michael Shanahan          3/4/2023     1.9   Review documents related to Paradigm investment


Michael Shanahan          3/4/2023     1.1   Review and revise draft memo related to Paradigm investment

Scott Peoples             3/4/2023     0.7   Review and edit memo on IEX valuation


Alex Canale               3/5/2023     0.6   Review QE memorandum regarding VY Investments and documents
                                             related thereto
Alex Canale               3/5/2023     0.8   Review QE memorandum regarding Sequoia Capital investments
                                             and documents related thereto
Alex Canale               3/5/2023     0.4   Communications to/from counsel regarding venture book investments
                                             memoranda
Alex Canale               3/5/2023     0.7   Prepare memorandum summarizing findings on Sequoia Heritage
                                             investment
Emily Hoffer              3/5/2023     0.5   Continue reviewing and notating what bank production is available
                                             and status of outstanding documentation
Emily Hoffer              3/5/2023     1.4   Determine various columns placement in an additional cash
                                             database table specific to contain wire detail
Emily Hoffer              3/5/2023     3.3   Audit bank statements, opening account documents, check images
                                             and wire detail available and documenting the status of outstanding
                                             documentation previously requested
Julian Lee                3/5/2023     0.5   Review of memo for Sequoia Heritage investment




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Avoidance Actions
Professional               Date     Hours     Activity
Laureen Ryan             3/5/2023     0.4   Review documents relevant to avoidance action analysis

Laureen Ryan             3/5/2023     0.4   Correspond with A&M team regarding avoidance actions memo
                                            analysis
Laureen Ryan             3/5/2023     0.7   Correspond with QE and A&M team regarding avoidance action
                                            analysis related to venture book
Mason Ebrey              3/5/2023     1.5   Addition of PayPay Bank statements to various trackers

Aaron Dobbs              3/6/2023     1.5   Preform target searches of documents related to Chipper Cash
                                            Memo
Aaron Dobbs              3/6/2023     2.1   Prepare Chipper Cash memo regarding relationship and investment
                                            analysis
Aaron Dobbs              3/6/2023     1.1   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                            transaction analysis and investments for Brinc Drones and Chipper
                                            Cash
Aaron Dobbs              3/6/2023     2.9   Review documents related to Brinc Drones relationship and
                                            investment analysis
Alex Canale              3/6/2023     0.5   Review documents relating to Port Finance claim

Alex Canale              3/6/2023     0.5   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M) and M.
                                            Meadows, A. Alden (QE) regarding Port Finance Investment memo
Alex Canale              3/6/2023     0.9   Review and edit QE memo regarding Mysten Labs claim

Alex Canale              3/6/2023     0.8   Review and edit QE memo regarding NEAR token claim


Alex Canale              3/6/2023     0.9   Review and edit QE memo regarding Exodus Labs claim

Alex Canale              3/6/2023     0.8   Review Alameda counterparty deck incorporating lender specific
                                            analysis and edit
Alex Canale              3/6/2023     0.6   Communications to/from A&M team regarding payments to law firms


Alex Canale              3/6/2023     0.2   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                            regarding status of Port Finance Investment memo
Alex Canale              3/6/2023     0.2   Call with P. McGrath, A. Canale (A&M) regarding status of Port
                                            Finance Investment memo
Alex Canale              3/6/2023     0.2   Call with A. Canale, M. Blanchard and P. McGrath (A&M) regarding
                                            Mysten Labs investment
Alex Canale              3/6/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) regarding
                                            summary of professional fees paid
Alex Canale              3/6/2023     0.2   Call with A. Canale and P. McGrath (A&M) regarding Port Finance
                                            transfers
Alex Canale              3/6/2023     0.2   Call with A. Canale, S. Glustein (A&M) regarding venture book claims

Allison Cox              3/6/2023     1.3   Continue to compile and review data related to professional fees paid




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Avoidance Actions
Professional               Date     Hours     Activity
Allison Cox              3/6/2023     2.3   Compile and review data related to professional fees paid

Allison Cox              3/6/2023     1.2   Perform document review and summarize data related to fiat
                                            deposits from professional firms
Allison Cox              3/6/2023     3.2   Review data related to professional fees paid

Allison Cox              3/6/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) regarding
                                            summary of professional fees paid
Aly Helal                3/6/2023     2.0   Document the findings for "Starkware" Investment by FTX


Aly Helal                3/6/2023     1.7   Respond to counsel comments on IEX Group Investment by FTX

Aly Helal                3/6/2023     0.5   Search for FTX Ventures investment in "Starkware" Support in
                                            relativity
Aly Helal                3/6/2023     1.1   Search for FTX Ventures investment's IEX Group support

Aly Helal                3/6/2023     3.2   Document the findings for IEX Investment


Austin Sloan             3/6/2023     0.8   Call with A. Sloan and E. Hoffer (A&M) discussing various banks wire
                                            details and mapping to the cash database
Austin Sloan             3/6/2023     0.8   Reconcile statement detail for Volk bank statements. regarding cash
                                            database construction
Austin Sloan             3/6/2023     2.0   Reconcile wire detail for Stanford Federal Credit Union. regarding
                                            cash database construction
Austin Sloan             3/6/2023     0.7   Process Evolve Bank statements in valid8. regarding cash database
                                            construction
Austin Sloan             3/6/2023     1.8   Reconcile statement detail for SMBC bank statements. regarding
                                            cash database construction
Austin Sloan             3/6/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/6/2023     0.3   Teleconference with A. Sloan and M. Simkins (A&M) discussing wire
                                            detail for Stanford Federal Credit Union
Breanna Price            3/6/2023     0.7   Add new MUFG bank data to the bank statement trackers

Breanna Price            3/6/2023     0.7   Add new bank data to the master tracker and the external folders

Breanna Price            3/6/2023     1.3   Add new Signature bank data to the bank statement trackers


Breanna Price            3/6/2023     0.7   Add new HSBC bank data to the bank statement trackers

Breanna Price            3/6/2023     0.7   Add new Wells Fargo bank data to the bank statement trackers


Breanna Price            3/6/2023     0.6   Add new Emirates bank data to the bank statement trackers




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Avoidance Actions
Professional                Date     Hours     Activity
Breanna Price             3/6/2023     0.3   Update the Hong Kong bank statement tracker review excel

Breanna Price             3/6/2023     0.4   Add new Klarpay bank data to the bank statement trackers


Breanna Price             3/6/2023     0.3   Determine which accounts have zero activity in the recently received
                                             bank data
Cameron Radis             3/6/2023     1.1   Perform SQL based updates to include additional Volksbank records
                                             received. Re run hierarchy and deduplication script
Cameron Radis             3/6/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Cameron Radis             3/6/2023     1.7   Perform SQL based analysis to adjust scripts to incorporate new
                                             fields to add to staging metabase views
Cameron Radis             3/6/2023     2.7   Perform SQL based exercise reconciling and creating monthly
                                             summary balances, creating summary and detail scripts to push to
                                             AWS staging metabase environments
Cameron Radis             3/6/2023     0.4   Perform SQL base exercise to draft edits to metabase table layouts
                                             prior to internal discussion
Cameron Radis             3/6/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding
                                             additional Volksbank records
Cameron Radis             3/6/2023     0.1   Teleconference with R. Johnson and C. Radis (A&M) regarding
                                             updates to metabase table layout
David Dawes               3/6/2023     1.0   Pull and review public data relating to network hash rates for BTC

David Dawes               3/6/2023     0.6   Continue to review and update A&M summary of Binance relationship


David Dawes               3/6/2023     3.3   Review and update A&M summary of Binance relationship

David Medway              3/6/2023     0.5   Prepare for avoidance actions call with QE

David Medway              3/6/2023     0.8   Review Chipper Cash investment materials and prepare summary for
                                             counsel review
David Medway              3/6/2023     1.2   Review Toss Pionic investment materials and prepare summary for
                                             counsel review
David Medway              3/6/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                             QE avoidance actions call debrief
David Medway              3/6/2023     0.2   Teleconference with E. Winston, A. Nelson, J. Palmerson, A. Sutton
                                             (QE) and M. Shanahan and D. Medway (A&M) regarding avoidance
                                             actions
Emily Hoffer              3/6/2023     0.8   Call with A. Sloan and E. Hoffer (A&M) discussing various banks wire
                                             details and mapping to the cash database
Emily Hoffer              3/6/2023     2.4   Review the transactions and summary balances in the cash database
                                             for Volksbank against the source documents to check for accuracy
Emily Hoffer              3/6/2023     0.6   Reconcile Silvergate check images to known transactions




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Avoidance Actions
Professional                Date     Hours     Activity
Emily Hoffer              3/6/2023     1.1   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                             transaction analysis and investments for Brinc Drones and Chipper
                                             Cash
Emily Hoffer              3/6/2023     1.3   Log onto bank portal and download additional bank statements for
                                             newly accessible legal entities
Emily Hoffer              3/6/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/6/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding
                                             additional Volksbank records
Emily Hoffer              3/6/2023     2.8   Review new bank statements, opening account documents, wire
                                             detail information and check images details provided by various
                                             banks in relation to debtor controlled bank accounts
Emily Hoffer              3/6/2023     0.2   Teleconference with E. Hoffer, M. Ebrey (A&M) regarding addition of
                                             PayPay bank statements to various trackers
Julian Lee                3/6/2023     0.2   Correspond with team regarding bank requests for QE team

Laureen Ryan              3/6/2023     0.8   Correspond with QE and A&M team regarding avoidance action
                                             analysis on venture book
Laureen Ryan              3/6/2023     1.2   Review documents relevant to avoidance action investigation matters

Laureen Ryan              3/6/2023     0.9   Correspond with A&M team regarding avoidance actions


Laureen Ryan              3/6/2023     0.2   Correspond with A&M team and S&C regarding Information System
                                             Requests
Madison Blanchard         3/6/2023     0.9   Review and analysis of venture investments made by debtor entities
                                             (Mysten)
Madison Blanchard         3/6/2023     0.8   Review and analysis of venture investments made by debtor entities
                                             (Exodus)
Madison Blanchard         3/6/2023     1.4   Review and analysis of venture investments made by debtor entities
                                             (NEAR token)
Madison Blanchard         3/6/2023     0.3   Call with P. McGrath and M. Blanchard regarding NEAR token activity


Madison Blanchard         3/6/2023     0.2   Call with A. Canale, M. Blanchard and P. McGrath (A&M) regarding
                                             Mysten Labs investment
Mason Ebrey               3/6/2023     2.1   Searches in relativity for information related to Wang Ge


Mason Ebrey               3/6/2023     2.0   Searches in relativity for individuals related to Wang Ge and Port
                                             Finance
Mason Ebrey               3/6/2023     1.9   Put together Port Finance Presentation for QE Counsel

Mason Ebrey               3/6/2023     0.5   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M) and M.
                                             Meadows, A. Alden (QE) regarding Port Finance Investment memo
Mason Ebrey               3/6/2023     0.5   Call with A. Canale, P. McGrath, M. Ebrey (A&M) M. Meadows, and
                                             A. Alden (QE) regarding Port Finance transfers
Mason Ebrey               3/6/2023     1.7   Addition of PayPay Bank Statements to various trackers



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Mason Ebrey           3/6/2023     0.2   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                         regarding status of Port Finance Investment memo
Mason Ebrey           3/6/2023     0.2   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Port
                                         Finance Investment memo
Mason Ebrey           3/6/2023     0.2   Teleconference with E. Hoffer, M. Ebrey (A&M) regarding addition of
                                         PayPay bank statements to various trackers
Maximilian Simkins    3/6/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                         A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/6/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                         A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/6/2023     1.5   Review bank account reconciliation schedules for cash database

Michael Shanahan      3/6/2023     1.2   Review updated tracing schedule related to potential donations


Michael Shanahan      3/6/2023     0.5   Review updated avoidance action tracker and status

Michael Shanahan      3/6/2023     1.4   Review documents related to Alameda loan counterparty


Michael Shanahan      3/6/2023     2.2   Review documents related to Moonstone bank investment

Michael Shanahan      3/6/2023     0.9   Review documents related to FBH Corporation

Michael Shanahan      3/6/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) regarding
                                         avoidance actions
Michael Shanahan      3/6/2023     0.2   Teleconference with E. Winston, A. Nelson, J. Palmerson, A. Sutton
                                         (QE) and M. Shanahan and D. Medway (A&M) regarding avoidance
                                         actions
Michael Shanahan      3/6/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                         QE avoidance actions call debrief
Patrick McGrath       3/6/2023     1.9   Trace cash and crypto transactions to ventures analyses


Patrick McGrath       3/6/2023     0.5   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M) and M.
                                         Meadows, A. Alden (QE) regarding Port Finance Investment memo
Patrick McGrath       3/6/2023     0.5   Call with A. Canale, P. McGrath, M. Ebrey (A&M) M. Meadows, and
                                         A. Alden (QE) regarding Port Finance transfers
Patrick McGrath       3/6/2023     2.1   Review ventures investment analyses

Patrick McGrath       3/6/2023     0.2   Call with P. McGrath, A. Canale (A&M) regarding status of Port
                                         Finance Investment memo
Patrick McGrath       3/6/2023     0.3   Call with P. McGrath and M. Blanchard regarding NEAR token activity

Patrick McGrath       3/6/2023     0.2   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Port
                                         Finance Investment memo
Patrick McGrath       3/6/2023     0.2   Call with A. Canale, M. Blanchard and P. McGrath (A&M) regarding
                                         Mysten Labs investment


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Patrick McGrath          3/6/2023     0.2   Call with A. Canale and P. McGrath (A&M) regarding Port Finance
                                            transfers
Patrick McGrath          3/6/2023     0.2   Teleconference with P. McGrath, A. Canale, M. Ebrey (A&M)
                                            regarding status of Port Finance Investment memo
Robert Johnson           3/6/2023     0.1   Teleconference with R. Johnson and C. Radis (A&M) regarding
                                            updates to metabase table layout
Robert Johnson           3/6/2023     0.2   Adjust query for staging table in metabase

Scott Peoples            3/6/2023     0.6   Review of Stocktwits merger agreement


Scott Peoples            3/6/2023     1.3   Review of memo and materials related to transaction to assess
                                            whether reasonable equivalent value was received
Scott Peoples            3/6/2023     0.6   Review information on transaction related to reasonable equivalent
                                            value
Scott Peoples            3/6/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) regarding
                                            avoidance actions
Scott Peoples            3/6/2023     0.3   Review edits related to memo on IEX transaction


Steven Glustein          3/6/2023     0.2   Call with A. Canale, S. Glustein (A&M) regarding venture book claims

Aaron Dobbs              3/7/2023     2.8   Perform targeted document searches for investment analysis and
                                            correspondence on terms of agreement
Aaron Dobbs              3/7/2023     1.6   Prepare summary of sources and uses related to Brinc Drones
                                            transaction
Aaron Dobbs              3/7/2023     0.4   Continue to prepare Brinc Drones memo and investment schedule

Aaron Dobbs              3/7/2023     3.2   Summarization of Capitalization schedules and additional
                                            capitalization tables creation for Series-B funding
Aaron Dobbs              3/7/2023     3.3   Prepare Brinc Drones Memo and investment schedule analysis

Alex Canale              3/7/2023     0.4   Prepare organizational chart of entities including entity formerly
                                            known as details
Alex Canale              3/7/2023     0.4   Teleconference with A. Canale, J. Lee and M. Blanchard (A&M)
                                            regarding FTX Digital Markets payments
Alex Canale              3/7/2023     0.4   Call with A. Dietderich (S&C), A. Searles, B. Mackay, A. Vanderkamp
                                            (Alix), and E. Mosely, K. Ramanathan, G. Walia, L. Konig, A. Canale,
                                            and D. Medway (A&M) regarding sources of Alameda investment
                                            transfers
Alex Canale              3/7/2023     0.5   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                            counterparty investigation
Alex Canale              3/7/2023     0.5   Call with M. Shanahan, A. Canale and D. Medway (A&M) regarding
                                            Alameda counterparty and Alameda investment investigations
Alex Canale              3/7/2023     0.3   Call with A. Canale, S. Glustein and P. McGrath (A&M) regarding
                                            Polygon investment
Alex Canale              3/7/2023     0.4   Call with A. Canale and P. McGrath (A&M) regarding PORT Finance
                                            transfers

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Alex Canale              3/7/2023     1.7   Review transactions relating to FTX Digital Market transfers to debtor

Alex Canale              3/7/2023     0.4   Call with A. Canale and M. Blanchard (A&M) regarding FTX Digital
                                            Markets cash transactions
Alex Canale              3/7/2023     0.8   Call with M. Shanahan, A. Canale (A&M) regarding venture book
                                            claims update
Alex Canale              3/7/2023     0.3   Review documents relating to Port Finance claim

Alex Canale              3/7/2023     0.3   Call with L. Ryan, D. Medway, M. Shanahan, A. Canale, J. Lee
                                            (A&M) to discuss transfers from FTX Digital Markets to debtor
                                            accounts
Alex Canale              3/7/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding Port Finance
                                            summary deck
Alex Canale              3/7/2023     1.3   Review documents relating to Polygon claim

Alex Canale              3/7/2023     0.3   Teleconference with L. Ryan, M. Shanahan, A. Canale, and D.
                                            Medway (A&M) regarding Alameda investment investigation
Alex Canale              3/7/2023     0.5   Review and finalize comments on QE memo regarding NEAR token
                                            claim
Alex Canale              3/7/2023     1.1   Review transactions related to transfers of collateral to lenders pre-
                                            petition
Alex Canale              3/7/2023     0.2   Teleconference with M. Shanahan, A. Canale, and D. Medway (A&M)
                                            regarding Alameda investment investigation
Alex Canale              3/7/2023     1.1   Teleconference with L. Ryan, A. Canale, and D. Medway (A&M)
                                            regarding Alameda counterparty investigation
Alex Canale              3/7/2023     0.8   Review documents related to Alameda counterparty lenders and
                                            collateral transactions
Alex Canale              3/7/2023     0.2   Call with P. McGrath and A. Canale (A&M) regarding loan collateral
                                            held by banks
Alex Canale              3/7/2023     0.1   Teleconference with A. Canale, M. Shanahan and M. Blanchard
                                            (A&M) regarding FTX Digital Markets payments
Alex Canale              3/7/2023     0.1   Teleconference with M. Ebrey, A. Canale (A&M) regarding updating
                                            FTX Organization chart to account for F/K/A and DBA
Alex Canale              3/7/2023     0.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss FTX
                                            Digital Markets transactions
Allison Cox              3/7/2023     3.3   Database information pulls related to cash disbursements for
                                            professional fees
Allison Cox              3/7/2023     0.5   Teleconference with A. Cox and M. Blanchard (A&M) regarding
                                            professional fees paid
Allison Cox              3/7/2023     0.3   Call with M. Shanahan, E. Hoffer, J. Lee, A. Cox (A&M) to discuss
                                            QuickBooks data
Allison Cox              3/7/2023     3.3   Prepare summary related to cash disbursements for professional fees

Allison Cox              3/7/2023     0.4   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                            to metabase QuickBooks view


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Allison Cox              3/7/2023     1.2   Document review in relation to venture book investments

Allison Cox              3/7/2023     0.1   Teleconference with A. Cox and M. Blanchard (A&M) regarding FTX
                                            Digital Markets payments
Allison Cox              3/7/2023     0.1   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                            book investments
Aly Helal                3/7/2023     0.6   Respond to counsel's Sequoia Heritage Fund Investment, an FTX
                                            investment, comments
Aly Helal                3/7/2023     3.3   Update FTX Ventures IEX group investment memo


Aly Helal                3/7/2023     1.2   Teleconference with J. Lee, A. Helal(A&M) regarding IEX Group
                                            investment by FTX .
Aly Helal                3/7/2023     1.4   Look for Liquidity Solution (an FTX entity) accounts withdrawals


Aly Helal                3/7/2023     2.5   Search for statements and adding FTX Digital Markets Customers
                                            Bank, Signature, and Fidelity bank statements to the cash tracker
Austin Sloan             3/7/2023     2.8   Reconcile statement detail for Emirates NBD Bank. regarding cash
                                            database construction
Austin Sloan             3/7/2023     0.4   Call with C. Radis, A. Sloan and E. Hoffer (A&M) discussing Emirates
                                            Bank production swap for cash database
Austin Sloan             3/7/2023     1.2   Create summary load file for Emirates NBD Bank. regarding cash
                                            database construction
Austin Sloan             3/7/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/7/2023     1.7   Create statement load file for Emirates NBD Bank. regarding cash
                                            database construction
Austin Sloan             3/7/2023     0.9   Reconcile statement detail for Brex statements. regarding cash
                                            database construction
Austin Sloan             3/7/2023     0.8   Reconcile statement detail for Volk bank statements. regarding cash
                                            database construction
Breanna Price            3/7/2023     0.4   Audit the new bank data received from debtors folders


Breanna Price            3/7/2023     0.6   Add new SMBC files to the bank statement trackers

Breanna Price            3/7/2023     0.5   Add new PayPay bank data to the bank statement trackers

Breanna Price            3/7/2023     1.2   Add new Maerki Baumann & Co. AG data to the bank statement
                                            trackers
Breanna Price            3/7/2023     1.3   Add new Klarpay data to the bank statement trackers

Breanna Price            3/7/2023     1.8   Add new bank data found in the FTX External File share folder to the
                                            bank statement trackers
Breanna Price            3/7/2023     0.1   Add new Turicum data to the bank statement trackers




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Breanna Price         3/7/2023     0.1   Grey out parts of the matrix that have no activity

Breanna Price         3/7/2023     0.2   Add new bank to the maser tracker


Cameron Radis         3/7/2023     0.8   Perform SQL based exercise to recreate combined banking data
                                         table to account for new data processed
Cameron Radis         3/7/2023     0.4   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                         to metabase QuickBooks view
Cameron Radis         3/7/2023     0.4   Call with C. Radis, A. Sloan and E. Hoffer (A&M) discussing Emirates
                                         Bank production swap for cash database
Cameron Radis         3/7/2023     1.4   Perform SQL based analysis to adjust QuickBooks transactions
                                         based on account logic for records that do not have account types
                                         listed
Cameron Radis         3/7/2023     1.6   Perform SQL based analysis to QC added QuickBooks fields.
                                         Perform holistic systematic reconciliation. Ensure proper logic to
                                         assign debit and credit indicators
Cameron Radis         3/7/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                         A. Sloan (A&M) discussing progress on cash database
Cameron Radis         3/7/2023     1.6   Perform SQL based exercise reconciling and creating monthly
                                         summary balances for Brex Bank. Create summary and detail scripts
                                         to push to AWS staging metabase environments
Cameron Radis         3/7/2023     2.9   Perform SQL based analysis to add debit and credit columns to
                                         QuickBooks table. Create scripting logic based on account and type
                                         to populate debit and credit fields
Cameron Radis         3/7/2023     0.1   Call with C. Radis, A. Sloan and E. Hoffer (A&M) discussing
                                         Volksbank cash database import
David Dawes           3/7/2023     2.7   Develop updates to Alameda loan counterparty investments review
                                         summary
David Dawes           3/7/2023     0.6   Continue to review and update A&M summary of Binance relationship

David Dawes           3/7/2023     3.3   Continue to review and update A&M summary of Binance relationship


David Dawes           3/7/2023     3.3   Review and update A&M summary of Binance relationship

David Medway          3/7/2023     0.2   Teleconference with M. Shanahan, A. Canale, and D. Medway (A&M)
                                         regarding Alameda investment investigation
David Medway          3/7/2023     0.5   Update Alameda counterparty materials based on internal review
                                         comments
David Medway          3/7/2023     0.5   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                         counterparty investigation
David Medway          3/7/2023     0.4   Call with A. Dietderich (S&C), A. Searles, B. Mackay, A. Vanderkamp
                                         (Alix), and E. Mosely, K. Ramanathan, G. Walia, L. Konig, A. Canale,
                                         and D. Medway (A&M) regarding sources of Alameda investment
                                         transfers
David Medway          3/7/2023     0.4   Prepare for internal call regarding updated Alameda counterparty
                                         materials



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David Medway              3/7/2023     0.4   Call with K. Kearney and D. Medway (A&M) regarding Alameda
                                             counterparty collateral
David Medway              3/7/2023     0.3   Internal communications regarding review and analysis Alameda loan
                                             counterparty financial reporting and projections
David Medway              3/7/2023     0.3   Prepare for internal call regarding sources of Alameda investment
                                             transactions
David Medway              3/7/2023     0.5   Call with M. Shanahan, A. Canale and D. Medway (A&M) regarding
                                             Alameda counterparty and Alameda investment investigations
David Medway              3/7/2023     0.3   Teleconference with L. Ryan, M. Shanahan, A. Canale, and D.
                                             Medway (A&M) regarding Alameda investment investigation
David Medway              3/7/2023     0.3   Call with L. Ryan, D. Medway, M. Shanahan, A. Canale, J. Lee
                                             (A&M) to discuss transfers from FTX Digital Markets to debtor
                                             accounts
David Medway              3/7/2023     1.1   Teleconference with L. Ryan, A. Canale, and D. Medway (A&M)
                                             regarding Alameda counterparty investigation
David Medway              3/7/2023     1.2   Summarize results of Alameda counterparty FTT collateral analysis
                                             for reference in preparing Petition Date balance sheet
David Medway              3/7/2023     3.3   Prepare Alameda counterparty FTT collateral analysis for reference
                                             in preparing Petition Date balance sheet
David Medway              3/7/2023     0.7   Prepare workplan for investigation of Geniome investment


David Medway              3/7/2023     0.1   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                             book investments
Ed Mosley                 3/7/2023     0.3   Discuss JPL announcements regarding Alameda investment claims
                                             with A.Dietderich (S&C), Alix Partners (A. Searles, others) and A&M
                                             (K.Ramanathan, others)
Emily Hoffer              3/7/2023     0.4   Call with C. Radis, A. Sloan and E. Hoffer (A&M) discussing Emirates
                                             Bank production swap for cash database
Emily Hoffer              3/7/2023     1.6   Review and annotating Brinc Drones memo for accuracy and to
                                             determine any additional research and follow ups necessary
Emily Hoffer              3/7/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/7/2023     1.8   Reconcile Brex in cash database

Emily Hoffer              3/7/2023     2.7   Review various issues with bank statements, check images and wire
                                             detail provided by banks to determine certain steps needed to take to
                                             correct
Emily Hoffer              3/7/2023     0.3   Call with M. Shanahan, E. Hoffer, J. Lee, A. Cox (A&M) to discuss
                                             QuickBooks data
Emily Hoffer              3/7/2023     1.3   Review responses to specific questions provided by Morgan Stanley
                                             and determine any additional questions to respond with
Emily Hoffer              3/7/2023     0.8   Review and annotating Chipper Cash memo for accuracy and to
                                             determine any additional research and follow ups necessary
Emily Hoffer              3/7/2023     0.5   Call with M. Shanahan, E. Hoffer, J. Lee (A&M) to discuss bank
                                             requests for QE



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Professional                Date     Hours     Activity
Emily Hoffer              3/7/2023     0.1   Call with C. Radis, A. Sloan and E. Hoffer (A&M) discussing
                                             Volksbank cash database import
Emily Hoffer              3/7/2023     0.2   Call with M. Simkins and E. Hoffer (A&M) discussing Stanford Credit
                                             Union wire details
Julian Lee                3/7/2023     0.6   Run query on transactions with FTX Digital Markets and debtor
                                             accounts
Julian Lee                3/7/2023     0.3   Correspond with team regarding inquiry on cash database

Julian Lee                3/7/2023     0.3   Call with M. Shanahan, E. Hoffer, J. Lee, A. Cox (A&M) to discuss
                                             QuickBooks data
Julian Lee                3/7/2023     0.3   Call with L. Ryan, D. Medway, M. Shanahan, A. Canale, J. Lee
                                             (A&M) to discuss transfers from FTX Digital Markets to debtor
                                             accounts
Julian Lee                3/7/2023     0.2   Review workpaper on account purpose and bank contacts

Julian Lee                3/7/2023     0.2   Review Wells Fargo production and prepare follow-up items for
                                             counsel
Julian Lee                3/7/2023     0.2   Review of correspondence related to production status of various
                                             Japan KK bank accounts
Julian Lee                3/7/2023     0.2   Correspond with counsel regarding bank contacts for Wells Fargo
                                             and JPMorgan
Julian Lee                3/7/2023     0.5   Call with M. Shanahan, E. Hoffer, J. Lee (A&M) to discuss bank
                                             requests for QE
Julian Lee                3/7/2023     1.3   Prepare workpaper on transactions with FTX Digital Markets


Julian Lee                3/7/2023     0.3   Correspond with team regarding comments on FTX Digital Markets
                                             transactions
Julian Lee                3/7/2023     0.8   Review memo for IEX investment

Julian Lee                3/7/2023     1.2   Teleconference with J. Lee, A. Helal(A&M) regarding IEX investment.


Julian Lee                3/7/2023     0.4   Teleconference with A. Canale, J. Lee and M. Blanchard (A&M)
                                             regarding FTX Digital Markets payments
Julian Lee                3/7/2023     0.7   Prepare summary for FTX Digital Markets transactions


Julian Lee                3/7/2023     0.5   Review and update bank communications tracker

Julian Lee                3/7/2023     0.1   Correspond with QE team regarding Sequoia Heritage support
                                             documents
Julian Lee                3/7/2023     0.1   Correspond with QE team regarding Sequoia Heritage net asset value

Julian Lee                3/7/2023     0.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss FTX
                                             Digital Markets transactions
Julian Lee                3/7/2023     0.1   Correspond with counsel regarding OpenPay follow-up items




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Julian Lee              3/7/2023     0.1   Correspond with FTX foreign representative regarding Turicum
                                           accounts follow-up
Julian Lee              3/7/2023     0.1   Correspond with team to discuss FTX Digital Markets queries in cash
                                           database
Julian Lee              3/7/2023     0.1   Review of wire instruction for Crown Agents bank account in relation
                                           to transfers for FTX Digital Markets
Julian Lee              3/7/2023     0.1   Review Morgan Stanley responses and additional production

Julian Lee              3/7/2023     0.1   Prepare list of non-debtor accounts


Julian Lee              3/7/2023     0.1   Correspond with S&C regarding Prime Trust follow-up

Julian Lee              3/7/2023     0.1   Review of comments for wire transactions related to Etana accounts


Kevin Kearney           3/7/2023     0.4   Call with K. Kearney and D. Medway (A&M) regarding Alameda
                                           counterparty collateral
Kumanan Ramanathan      3/7/2023     0.4   Call with A. Dietderich (S&C), A. Searles, B. Mackay, A. Vanderkamp
                                           (Alix), and E. Mosely, K. Ramanathan, G. Walia, L. Konig, A. Canale,
                                           and D. Medway (A&M) regarding sources of Alameda investment
                                           transfers
Kumanan Ramanathan      3/7/2023     0.3   Discuss JPL announcements regarding Alameda investment claims
                                           with A.Dietderich (S&C), Alix Partners (A. Searles, others) and A&M
                                           (E. Mosely, K.Ramanathan, others)
Laureen Ryan            3/7/2023     0.2   Correspond with A&M team regarding investment tracker information
                                           related to avoidance actions
Laureen Ryan            3/7/2023     0.6   review documents and analysis related to FTX Digital Marketing cash
                                           activity with Debtor accounts
Laureen Ryan            3/7/2023     0.2   Correspond with QE and A&M Team regarding potential avoidance
                                           inquiries
Laureen Ryan            3/7/2023     0.6   Correspond with S&C and A&M Team regarding FTX Digital
                                           Marketing interactions with Debtor accounts
Laureen Ryan            3/7/2023     0.6   Correspond with A&M Team regarding Alameda counterparty cash
                                           activity related to FTX
Laureen Ryan            3/7/2023     0.7   Correspond with A&M Team regarding FTX Digital Marketing
                                           observations related to cash activity with Debtor accounts
Laureen Ryan            3/7/2023     0.3   Call with L. Ryan, D. Medway, M. Shanahan, A. Canale, J. Lee
                                           (A&M) to discuss transfers from FTX Digital Markets to debtor
                                           accounts
Laureen Ryan            3/7/2023     1.1   Review documents relevant to avoidance action investigation matters


Laureen Ryan            3/7/2023     1.1   Teleconference with L. Ryan, A. Canale, and D. Medway (A&M)
                                           regarding Alameda counterparty investigation
Laureen Ryan            3/7/2023     0.4   Correspond with QE and A&M team regarding avoidance action
                                           analysis on venture book
Laureen Ryan            3/7/2023     0.3   Teleconference with L. Ryan, M. Shanahan, A. Canale, and D.
                                           Medway (A&M) regarding Alameda investment investigation


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Avoidance Actions
Professional               Date     Hours     Activity
Laureen Ryan             3/7/2023     0.3   Correspond with A&M Team regarding collateral held related to loan
                                            activity on the Petition Date
Louis Konig              3/7/2023     0.4   Call with A. Dietderich (S&C), A. Searles, B. Mackay, A. Vanderkamp
                                            (Alix), and E. Mosely, K. Ramanathan, G. Walia, L. Konig, A. Canale,
                                            and D. Medway (A&M) regarding sources of Alameda investment
                                            transfers
Madison Blanchard        3/7/2023     0.4   Call with A. Canale and M. Blanchard (A&M) regarding FTX Digital
                                            Markets cash transactions
Madison Blanchard        3/7/2023     2.7   Review and analysis of debtor entity financials, bank statements, and
                                            transactions regarding professional fees paid
Madison Blanchard        3/7/2023     0.5   Teleconference with A. Cox and M. Blanchard (A&M) regarding
                                            professional fees paid
Madison Blanchard        3/7/2023     0.4   Teleconference with A. Canale, J. Lee and M. Blanchard (A&M)
                                            regarding FTX Digital Markets payments
Madison Blanchard        3/7/2023     2.5   Review and analysis of debtor entity cash activity related to FTX
                                            Digital Markets
Madison Blanchard        3/7/2023     2.4   Consolidation of debtor entity financials, bank statements, and
                                            transactions regarding professional fees paid
Madison Blanchard        3/7/2023     0.1   Teleconference with A. Canale, M. Shanahan and M. Blanchard
                                            (A&M) regarding FTX Digital Markets payments
Madison Blanchard        3/7/2023     0.1   Teleconference with A. Cox and M. Blanchard (A&M) regarding FTX
                                            Digital Markets payments
Mason Ebrey              3/7/2023     1.5   Update Port Finance Memo for distribution to internal team

Mason Ebrey              3/7/2023     1.1   Addition of PayPay Bank Statements to various trackers

Mason Ebrey              3/7/2023     0.6   Updates to FTX Organization Chart


Mason Ebrey              3/7/2023     1.4   Respond to Polygon questions from counsel

Mason Ebrey              3/7/2023     0.3   Analysis of production from database team request


Mason Ebrey              3/7/2023     1.0   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Port
                                            Finance Counsel Presentation
Mason Ebrey              3/7/2023     0.1   Teleconference with M. Ebrey, A. Canale (A&M) regarding updating
                                            FTX Organization chart to account for F/K/A and DBA
Maximilian Simkins       3/7/2023     0.9   Compile manually outgoing wires from Stanford Credit Union for
                                            AWS upload
Maximilian Simkins       3/7/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins       3/7/2023     0.2   Call with M. Simkins and E. Hoffer (A&M) discussing Stanford Credit
                                            Union wire details
Maya Haigis              3/7/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database
Michael Shanahan         3/7/2023     0.3   Review Reservation of Rights filed by Joint Provisional Liquidators


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Avoidance Actions
Professional            Date     Hours     Activity
Michael Shanahan      3/7/2023     0.3   Teleconference with L. Ryan, M. Shanahan, A. Canale, and D.
                                         Medway (A&M) regarding Alameda investment investigation
Michael Shanahan      3/7/2023     1.2   Review documents related to potential bank accounts held by FTX
                                         Digital
Michael Shanahan      3/7/2023     0.7   Review schedule summarizing bank account purposes and related
                                         documentation for Debtor entities
Michael Shanahan      3/7/2023     0.5   Call with M. Shanahan, E. Hoffer, J. Lee (A&M) to discuss bank
                                         requests for QE
Michael Shanahan      3/7/2023     0.8   Call with M. Shanahan, A. Canale (A&M) regarding venture book
                                         claims update
Michael Shanahan      3/7/2023     1.2   Review and revise schedule summarizing transactions between
                                         Debtor entities and FTX Digital
Michael Shanahan      3/7/2023     1.2   Review documents related to FTX Digital


Michael Shanahan      3/7/2023     0.6   Preliminary review of documents produced by Signature bank

Michael Shanahan      3/7/2023     0.4   Review updated schedule of payments to professional services firms


Michael Shanahan      3/7/2023     0.3   Call with M. Shanahan, E. Hoffer, J. Lee, A. Cox (A&M) to discuss
                                         QuickBooks data
Michael Shanahan      3/7/2023     0.3   Call with L. Ryan, D. Medway, M. Shanahan, A. Canale, J. Lee
                                         (A&M) to discuss transfers from FTX Digital Markets to debtor
                                         accounts
Michael Shanahan      3/7/2023     0.5   Call with M. Shanahan, A. Canale and D. Medway (A&M) regarding
                                         Alameda counterparty and Alameda investment investigations
Michael Shanahan      3/7/2023     0.5   Review communications related to bank productions from various
                                         financial institutions
Michael Shanahan      3/7/2023     0.2   Teleconference with M. Shanahan, A. Canale, and D. Medway (A&M)
                                         regarding Alameda investment investigation
Michael Shanahan      3/7/2023     0.1   Call with M. Shanahan, A. Canale, J. Lee (A&M) to discuss FTX
                                         Digital Markets transactions
Michael Shanahan      3/7/2023     0.1   Teleconference with A. Canale, M. Shanahan and M. Blanchard
                                         (A&M) regarding FTX Digital Markets payments
Patrick McGrath       3/7/2023     1.9   Trace cash and crypto transactions to ventures analyses


Patrick McGrath       3/7/2023     3.1   Review ventures investment analyses

Patrick McGrath       3/7/2023     1.0   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Port
                                         Finance Counsel Presentation
Patrick McGrath       3/7/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding Port Finance
                                         summary deck
Patrick McGrath       3/7/2023     0.4   Call with A. Canale and P. McGrath (A&M) regarding PORT Finance
                                         transfers
Patrick McGrath       3/7/2023     0.3   Call with A. Canale, S. Glustein and P. McGrath (A&M) regarding
                                         Polygon investment


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Avoidance Actions
Professional               Date     Hours     Activity
Patrick McGrath          3/7/2023     0.2   Call with P. McGrath and A. Canale (A&M) regarding loan collateral
                                            held by banks
Scott Peoples            3/7/2023     1.1   Review and update IEX asset memorandum


Steven Glustein          3/7/2023     0.3   Call with A. Canale, S. Glustein and P. McGrath (A&M) regarding
                                            token investment
Aaron Dobbs              3/8/2023     1.7   Prepare summary of Brinc Drones transaction

Aaron Dobbs              3/8/2023     3.3   Perform targeted searches for bank statements


Aaron Dobbs              3/8/2023     1.6   Continue to perform targeted searches for bank statements

Aaron Dobbs              3/8/2023     3.3   Alameda loan counterparty memo creation and summary of capital
                                            expenditures
Aaron Dobbs              3/8/2023     0.6   Continue to perform targeted searches for bank statements

Alex Canale              3/8/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, (A&M) to discuss FTX
                                            Digital Markets cash tracing
Alex Canale              3/8/2023     0.2   Call with M. Shanahan, A. Canale, (A&M) to discuss FTX Digital
                                            Markets cash tracing
Alex Canale              3/8/2023     0.2   Teleconference with A. Canale and M. Blanchard (A&M) regarding
                                            FTX.COM and FTX.US fiat withdrawals and deposits
Alex Canale              3/8/2023     0.9   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                            E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                            FTX Trading
Alex Canale              3/8/2023     0.9   Review Binance potential claims summary deck prepared by
                                            colleague and edit
Alex Canale              3/8/2023     0.4   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                            counterparty investigation
Alex Canale              3/8/2023     0.9   Review fiat withdrawal and deposit information related to FTX.COM
                                            and FTX.US exchanges
Alex Canale              3/8/2023     0.1   Call with A. Canale, J. Lee (A&M) to discuss fiat activity for FTX Com
                                            and FTX US
Alex Canale              3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                            E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                            FTX Trading
Alex Canale              3/8/2023     0.2   Call with P. McGrath and A. Canale (A&M) regarding loan collateral
                                            held by banks
Alex Canale              3/8/2023     0.6   Correspond with A&M team regarding FTX Digital Markets cash
                                            transfers
Alex Canale              3/8/2023     0.8   Review records relating to FTX Digital Markets cash transactions


Alex Canale              3/8/2023     0.8   Review documents relating to NEAR token claim provided by crypto
                                            tracing team
Allison Cox              3/8/2023     0.5   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                            book investments

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Avoidance Actions
Professional               Date     Hours     Activity
Allison Cox              3/8/2023     0.2   Teleconference with A. Cox and E. Hoffer (A&M) regarding FTX
                                            Digital Markets payments
Allison Cox              3/8/2023     0.3   Continue document review in relation to venture book investments


Allison Cox              3/8/2023     0.1   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                            to metabase QuickBooks view
Allison Cox              3/8/2023     3.3   Prepare summary related to cash disbursements for professional fees

Allison Cox              3/8/2023     3.3   Document review in relation to venture book investments


Allison Cox              3/8/2023     0.3   Develop logic to compile and consolidate QuickBooks data

Aly Helal                3/8/2023     0.1   Call with A. Helal and B. Price (A&M) regarding Relativity searches
                                            for FTX Digital Markets bank statements to collect them
Aly Helal                3/8/2023     1.9   Search for statements and adding FTX Digital Markets Customers
                                            Bank, Signature, and Fidelity bank statements to the cash tracker
Austin Sloan             3/8/2023     1.6   Update bank statement tracker. regarding cash database construction


Austin Sloan             3/8/2023     1.4   Reconcile statement detail for Volk bank statements. regarding cash
                                            database construction
Austin Sloan             3/8/2023     0.5   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                            (A&M) discussing progress on cash database
Austin Sloan             3/8/2023     1.8   Create summary load file for Volk bank. regarding cash database
                                            construction
Austin Sloan             3/8/2023     2.2   Create statement load file for Volk bank. regarding cash database
                                            construction
Austin Sloan             3/8/2023     0.7   Reconcile statement detail for Commercial Bank of Dubai
                                            statements. regarding cash database construction
Breanna Price            3/8/2023     0.8   Add new moonstone bank data to the bank statement trackers

Breanna Price            3/8/2023     0.1   Call with A. Helal and B. Price (A&M) regarding Relativity searches
                                            for FTX Digital Markets
Breanna Price            3/8/2023     3.3   Add new Equity bank data to the bank statement trackers

Breanna Price            3/8/2023     0.6   Add new Signature bank data to the bank statement trackers

Breanna Price            3/8/2023     2.0   Add new Fidelity bank data to the bank statement trackers


Breanna Price            3/8/2023     0.3   Add new Customers bank data to the bank statement trackers

Breanna Price            3/8/2023     3.1   Conduct Relativity searches regarding FTX Digital Markets


Breanna Price            3/8/2023     1.9   Add new BCB data to the bank statement tracker




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Professional            Date     Hours     Activity
Breanna Price         3/8/2023     1.2   Add new Silvergate data to the bank statement tracker

Cameron Radis         3/8/2023     0.1   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                         to metabase QuickBooks view
Cameron Radis         3/8/2023     0.9   Perform SQL based exercise to recreate combined banking data
                                         table to account for new data processed. Perform this exercise twice
                                         for multiple new data imports
Cameron Radis         3/8/2023     2.4   Perform SQL based exercise reconciling and creating monthly
                                         summary balances for Emirates NBD Bank. Create custom script to
                                         handle different currencies. Create summary and detail scripts to
                                         push to AWS staging metabase environments
Cameron Radis         3/8/2023     1.7   Perform SQL based exercise reconciling and creating monthly
                                         summary balances for newly added/amended Volksbank files. Create
                                         summary and detail scripts to push to AWS staging metabase
                                         environments
Cameron Radis         3/8/2023     1.7   Create output of debit and credit totals by entity from QuickBooks for
                                         further review. Indicate the entities with non-netting entries. Perform
                                         quality control review that output matches database
Cameron Radis         3/8/2023     0.5   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                         (A&M) discussing progress on cash database
David Dawes           3/8/2023     1.0   Teleconference with D. Medway and D. Dawes (A&M) re: Alameda
                                         loan counterparties
David Dawes           3/8/2023     3.3   Develop updates to Alameda loan counterparty investments review
                                         summary
David Dawes           3/8/2023     2.9   Review and update A&M summary of Binance relationship


David Dawes           3/8/2023     3.1   Continue to update Alameda loan counterparty investments review
                                         summary
David Dawes           3/8/2023     0.8   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                         regarding Alameda loan counterparty financial model analysis
David Medway          3/8/2023     2.3   Update Alameda counterparty materials based on internal review
                                         comments
David Medway          3/8/2023     2.3   Perform analysis of sources of Alameda counterparty FTT balance on
                                         FTX Exchange
David Medway          3/8/2023     1.2   Review results of analysis of GDA financial projections and prepare
                                         follow up questions and review comments
David Medway          3/8/2023     0.4   Prepare updated Alameda counterparty deck appendices

David Medway          3/8/2023     0.8   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                         regarding Alameda loan counterparty financial model analysis
David Medway          3/8/2023     0.3   Internal communications regarding review and analysis Alameda loan
                                         counterparty financial reporting and projections
David Medway          3/8/2023     1.0   Teleconference with D. Medway and D. Dawes (A&M) re: Alameda
                                         loan counterparties
David Medway          3/8/2023     0.5   Call with D. Medway, K. Kearney (A&M) regarding Alameda
                                         counterparty collateral



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Professional                Date     Hours     Activity
David Medway              3/8/2023     0.4   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                             counterparty investigation
David Medway              3/8/2023     0.5   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                             book investments
David Medway              3/8/2023     0.7   Prepare Alameda counterparty account data for use in analyzing
                                             Petition Date FTT holdings
David Medway              3/8/2023     0.6   Review results of investigation of Geniome investment and prepare
                                             follow up questions and review comments
Ed Mosley                 3/8/2023     1.7   Review of draft cash inflows / outflows information regarding non-
                                             debtor affiliate
Ed Mosley                 3/8/2023     0.2   Discuss avoidance actions workstream with E. Mosley, S.Coverick
                                             (A&M)
Emily Hoffer              3/8/2023     2.6   Review and tracing FTX Digital Markets transactions in cash
                                             database
Emily Hoffer              3/8/2023     0.2   Call with J. Lee and E. Hoffer (A&M) discussing QuickBooks data for
                                             FTX Digital Market cash movements
Emily Hoffer              3/8/2023     0.5   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                             (A&M) discussing progress on cash database
Emily Hoffer              3/8/2023     1.8   Review QuickBooks October 2022 entities for FTX Digital Markets for
                                             cash tracing exercise of specific transactions
Emily Hoffer              3/8/2023     1.5   Review documents on Relativity for additional information
                                             surrounding specific FTX Digital Market transfers
Emily Hoffer              3/8/2023     0.2   Teleconference with A. Cox and E. Hoffer (A&M) regarding FTX
                                             Digital Markets payments
Emily Hoffer              3/8/2023     0.3   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), J. Young,
                                             K. Lemire, T. Murray, and S. Hill (all QE) discussing financial
                                             institution and related discovery request updates and next steps
Emily Hoffer              3/8/2023     0.9   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                             E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                             FTX Trading
Emily Hoffer              3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                             E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                             FTX Trading
Emily Hoffer              3/8/2023     1.3   Reconcile Emirates NBD Bank and Volksbank in the cash database


Emily Hoffer              3/8/2023     0.3   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) to discuss deck
                                             for FTX Digital Market cash movements
Emily Hoffer              3/8/2023     1.2   Update bank statement tracker to include non-debtor associated
                                             bank accounts
Emily Hoffer              3/8/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) discussing
                                             movement of funds between Signature, Signet and Silvergate FTX
                                             Digital Market and FTX Trading accounts
Julian Lee                3/8/2023     0.2   Prepare account information and activity on Chase account for QE
                                             team
Julian Lee                3/8/2023     1.7   Analyze cash activity between FTX Digital Trading to FTX Trading
                                             and Signet accounts


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Avoidance Actions
Professional              Date     Hours     Activity
Julian Lee              3/8/2023     0.3   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), J. Young,
                                           K. Lemire, T. Murray, and S. Hill (QE) discussing financial institution
                                           and related discovery request updates and next steps
Julian Lee              3/8/2023     0.3   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) to discuss deck
                                           for FTX Digital Market cash movements
Julian Lee              3/8/2023     0.2   Call with J. Lee and E. Hoffer (A&M) discussing QuickBooks data for
                                           FTX Digital Market cash movements
Julian Lee              3/8/2023     1.1   Create diagram to analyze flow of funds from FTX Digital Markets to
                                           FTX Trading Limited and 3rd parties
Julian Lee              3/8/2023     0.1   Correspond with S&C team regarding Silvergate production status


Julian Lee              3/8/2023     0.3   Identify select signatory information for Paysafe and Wells Fargo
                                           accounts
Julian Lee              3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                           E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                           FTX Trading
Julian Lee              3/8/2023     0.1   Correspond with team regarding cash movement between debtor
                                           entities and FTX Digital Markets
Julian Lee              3/8/2023     0.9   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                           E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                           FTX Trading
Julian Lee              3/8/2023     0.1   Call with A. Canale, J. Lee (A&M) to discuss fiat activity for FTX Com
                                           and FTX US
Julian Lee              3/8/2023     0.4   Review of signatory information for Evolve, DBS, and Goldfields


Julian Lee              3/8/2023     0.2   Correspond with foreign debtor contact regarding SMBC bank
                                           statement follow-up
Julian Lee              3/8/2023     0.6   Review and update bank activity summary for QE team


Julian Lee              3/8/2023     0.7   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction

Julian Lee              3/8/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) discussing
                                           movement of funds between Signature, Signet and Silvergate FTX
                                           Digital Market and FTX Trading accounts
Kevin Kearney           3/8/2023     0.5   Call with D. Medway, K. Kearney (A&M) regarding Alameda
                                           counterparty collateral
Kumanan Ramanathan      3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                           E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                           FTX Trading
Kumanan Ramanathan      3/8/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale, J. Lee, E. Hoffer (A&M)
                                           to discuss FTX Digital Markets cash movement to FTX Trading
Laureen Ryan            3/8/2023     0.7   Review updated Alameda counterparty preference related analysis


Laureen Ryan            3/8/2023     2.6   Review documents relevant to avoidance action investigation matters

Laureen Ryan            3/8/2023     1.4   Correspond with QE and A&M Team regarding avoidance actions
                                           analysis

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Avoidance Actions
Professional            Date     Hours     Activity
Laureen Ryan          3/8/2023     0.9   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                         E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                         FTX Trading
Laureen Ryan          3/8/2023     0.3   Correspond with RLKS and A&M Team regarding access to certain
                                         bank activity documents
Laureen Ryan          3/8/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, (A&M) to discuss FTX
                                         Digital Markets cash tracing
Laureen Ryan          3/8/2023     0.4   Correspond with QE and A&M Team regarding avoidance actions
                                         analysis
Laureen Ryan          3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                         E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                         FTX Trading
Laureen Ryan          3/8/2023     0.3   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), J. Young,
                                         K. Lemire, T. Murray, and S. Hill (all QE) discussing financial
                                         institution and related discovery request updates and next steps
Laureen Ryan          3/8/2023     0.3   Correspond with A&M Team regarding updated Alameda
                                         counterparty analysis
Madison Blanchard     3/8/2023     2.8   Consolidation of debtor entity financials, bank statements, and
                                         transactions regarding professional fees paid
Madison Blanchard     3/8/2023     0.5   Review of consolidated of debtor entity financials, bank statements,
                                         and transactions regarding professional fees paid
Madison Blanchard     3/8/2023     0.2   Teleconference with A. Canale and M. Blanchard (A&M) regarding
                                         FTX.COM and FTX.US fiat withdrawals and deposits
Madison Blanchard     3/8/2023     3.2   Review and analysis of FTX.COM and FTX.US fiat withdrawals and
                                         deposits related to FTX Digital Markets analysis
Madison Blanchard     3/8/2023     2.3   Review and analysis of debtor entity cash activity related to FTX
                                         Digital Markets
Mason Ebrey           3/8/2023     1.6   Put together response to QE Counsel question regarding Port
                                         Finance
Mason Ebrey           3/8/2023     2.1   Search in relativity for FTX Digital Markets Equity Bank statements

Maximilian Simkins    3/8/2023     0.5   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                         (A&M) discussing progress on cash database
Maximilian Simkins    3/8/2023     0.8   Prepare compilation of manually outgoing wires from Stanford Credit
                                         Union for AWS upload
Maya Haigis           3/8/2023     0.5   Perform exercise to upload and merge bank statement transaction
                                         reports
Michael Shanahan      3/8/2023     1.1   Review bank account activity and tracing analysis for FTX Digital


Michael Shanahan      3/8/2023     0.2   Call with M. Shanahan, A. Canale, (A&M) to discuss FTX Digital
                                         Markets cash tracing
Michael Shanahan      3/8/2023     0.8   Review status of bank document collection and database
                                         development
Michael Shanahan      3/8/2023     1.5   Review documents related to customer relationships between FTX
                                         Digital and Debtor entities



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Avoidance Actions
Professional            Date     Hours     Activity
Michael Shanahan      3/8/2023     0.3   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) to discuss deck
                                         for FTX Digital Market cash movements
Michael Shanahan      3/8/2023     0.2   Prepare for call with counsel regarding potential claims against
                                         financial institutions
Michael Shanahan      3/8/2023     0.9   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                         E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                         FTX Trading
Michael Shanahan      3/8/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale, (A&M) to discuss FTX
                                         Digital Markets cash tracing
Michael Shanahan      3/8/2023     0.5   Develop strategy for tracing analysis - FTX Digital


Michael Shanahan      3/8/2023     1.3   Review documents related to Alameda loan counterparty business
                                         plans and valuations
Michael Shanahan      3/8/2023     0.7   Review supporting documents for bank tracing analysis - FTX Digital

Michael Shanahan      3/8/2023     0.4   Call with K. Ramanathan, L. Ryan, M. Shanahan, A. Canale, J. Lee,
                                         E. Hoffer (A&M) to discuss FTX Digital Markets cash movement to
                                         FTX Trading
Michael Shanahan      3/8/2023     0.8   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                         regarding Alameda loan counterparty financial model analysis
Michael Shanahan      3/8/2023     0.3   Review and revise schedule summarizing bank account activity and
                                         purpose
Michael Shanahan      3/8/2023     0.7   Call with M. Shanahan, J. Lee, and E. Hoffer (A&M) discussing
                                         movement of funds between Signature, Signet and Silvergate FTX
                                         Digital Market and FTX Trading accounts
Michael Shanahan      3/8/2023     0.6   Review Provisional Liquidators First Interim Report - FTX Digital
                                         Markets
Patrick McGrath       3/8/2023     0.4   Correspond with team regarding venture investments and litigation
                                         pursuits
Patrick McGrath       3/8/2023     0.2   Call with P. McGrath and A. Canale (A&M) regarding loan collateral
                                         held by banks
Patrick McGrath       3/8/2023     2.8   Review ventures investment analyses

Patrick McGrath       3/8/2023     2.4   Trace cash and crypto transactions to ventures analyses


Scott Peoples         3/8/2023     0.4   Review IEX investment summary memorandum

Scott Peoples         3/8/2023     0.7   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction


Steve Coverick        3/8/2023     0.1   Discuss avoidance actions workstream with E. Mosley, S.Coverick
                                         (A&M)
Steve Coverick        3/8/2023     0.6   Review and provide comments on preference analysis re: 3rd party
                                         crypto company
Aaron Dobbs           3/9/2023     1.0   Teleconference with D. Medway, E. Hoffer and A. Dobbs (A&M)
                                         regarding Chipper Cash transaction analysis and investments



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Avoidance Actions
Professional               Date     Hours     Activity
Aaron Dobbs              3/9/2023     0.2   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                            Chipper Cash transaction analysis and investments
Aaron Dobbs              3/9/2023     0.3   Continue to prepare Chipper Cash memo


Aaron Dobbs              3/9/2023     3.3   Chipper Cash memo creation and targeted searches for key
                                            documents
Aaron Dobbs              3/9/2023     3.3   Perform targeted searches for Chipper Cash valuations and
                                            correspondence about warrant issuance
Alex Canale              3/9/2023     0.5   Teleconference with A. Canale and D. Dawes (A&M) regarding
                                            Binance transaction analysis
Alex Canale              3/9/2023     0.7   Review documents related to HOLE and NEAR token claims

Alex Canale              3/9/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) regarding the cash
                                            database descriptions
Alex Canale              3/9/2023     0.3   Call with A. Canale, M. Blanchard, J. Lee, J. Chan, and M. Sunkara
                                            (A&M) on banking records for fiat deposits and withdrawals
Alex Canale              3/9/2023     0.3   Review updates schedules of payments related to law firms


Alex Canale              3/9/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding NEAR tokens claim

Alex Canale              3/9/2023     0.5   Calls with M. Shanahan, A. Canale (A&M) regarding workplan for
                                            venture book avoidance actions
Alex Canale              3/9/2023     0.5   Call with A. Canale, P. McGrath, I. Radwanski (A&M) and A. Alden,
                                            N. Huh (both QE) regarding NEAR tokens claim
Allison Cox              3/9/2023     1.2   Investigate document support in relation venture book investments

Allison Cox              3/9/2023     0.2   Call with A. Cox and E. Hoffer (A&M) discussing blank memo field in
                                            cash database for specific transactions
Allison Cox              3/9/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) regarding the cash
                                            database descriptions
Allison Cox              3/9/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                            book investments
Allison Cox              3/9/2023     0.7   Teleconference with A. Cox and M. Blanchard (A&M) regarding
                                            professional fees paid
Allison Cox              3/9/2023     1.2   Investigate variance in debit and credits in relation to QuickBooks
                                            Database
Allison Cox              3/9/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding
                                            intercompany BNB sale transactions
Allison Cox              3/9/2023     2.7   Prepare summary related to cash disbursements for professional fees

Aly Helal                3/9/2023     2.1   Update DriveWealth Investment (FTX Investment) memo based on
                                            new support provided
Aly Helal                3/9/2023     2.4   Update IEX Group investment (FTX Investment) memo based on
                                            new support




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Avoidance Actions
Professional             Date     Hours     Activity
Aly Helal              3/9/2023     2.3   Search for DriveWealth inc (FTX investment) support and performing
                                          analysis on valuation of DriveWealth
Aly Helal              3/9/2023     0.3   Teleconference with J. Lee, A. Helal (A&M) regarding DriveWealth
                                          investment by FTX
Aly Helal              3/9/2023     2.8   Search and updating the authorized signatories for Stripe, Goldfield,
                                          Evolve Bank, DBS, and Eurobank accounts
Austin Sloan           3/9/2023     1.5   Create statement load file for DBS. regarding cash database
                                          construction
Austin Sloan           3/9/2023     1.8   Reconcile statement detail for J Trust statements. regarding cash
                                          database construction
Austin Sloan           3/9/2023     1.3   Reconcile statement detail for DBS statements. regarding cash
                                          database construction
Austin Sloan           3/9/2023     1.4   Create summary load file for J Trust. regarding cash database
                                          construction
Austin Sloan           3/9/2023     1.1   Create summary load file for DBS. regarding cash database
                                          construction
Austin Sloan           3/9/2023     1.6   Create statement load file for J Trust. regarding cash database
                                          construction
Austin Sloan           3/9/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Breanna Price          3/9/2023     0.9   Add new bank data to the master tracker and the external folders

Breanna Price          3/9/2023     1.0   Add new Silvergate data for LedgerPrime and Ledger Holdings
                                          accounts to the bank statement trackers
Breanna Price          3/9/2023     2.4   Add new Silvergate data for Ledger Prime Digital Asset accounts to
                                          the bank statement trackers
Breanna Price          3/9/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding new bank accounts
                                          and bank data
Breanna Price          3/9/2023     2.6   Add new Silvergate data for FTX Japan and Quoine accounts to the
                                          bank statement trackers
Cameron Radis          3/9/2023     0.5   Teleconference with C. Radis and E. Hoffer (A&M) regarding PMO
                                          metrics
Cameron Radis          3/9/2023     1.4   Perform SQL based exercise looking into unique mapping options to
                                          overlay AM created fields into new Silvergate data imported into AWS
Cameron Radis          3/9/2023     2.6   Perform SQL based exercise reconciling and creating monthly
                                          summary balances for DBS bank. Create summary and detail scripts
                                          to push to AWS staging metabase environments
Cameron Radis          3/9/2023     0.2   Call with C. Cipione, K. Wessel, D. Schwartz (Alix Partners), M.
                                          Shanahan, C. Radis, and R. Johnson (A&M) to discuss FTX
                                          accounting records and cash database
Cameron Radis          3/9/2023     1.5   Perform SQL based exercise reconciling and creating monthly
                                          summary balances for Commercial Bank of Dubai. Create summary
                                          and detail scripts to push to AWS staging metabase environments
Cameron Radis          3/9/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database



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David Dawes               3/9/2023     0.5   Teleconference with A. Canale and D. Dawes (A&M) regarding
                                             Binance transaction analysis
David Dawes               3/9/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding
                                             intercompany BNB sale transactions
David Medway              3/9/2023     0.1   Teleconference with J. Chan and D. Medway (A&M) regarding
                                             Critical Ideas account exchange data
David Medway              3/9/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                             Critical Ideas investigation
David Medway              3/9/2023     0.8   Prepare Alameda counterparty deck appendices summarizing loan
                                             issuances, refinances and repayments by lending entity
David Medway              3/9/2023     2.3   Perform analysis of Critical Ideas account exchange data and
                                             summarize results for QE review
David Medway              3/9/2023     1.3   Prepare summary of Alameda counterparty findings for counsel
                                             review
David Medway              3/9/2023     0.8   Investigate nature of SEN transactions between WRS and Critical
                                             Ideas
David Medway              3/9/2023     0.8   Update executive summary to Alameda Investment materials based
                                             on internal review comments
David Medway              3/9/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                             book investments
David Medway              3/9/2023     1.8   Prepare summary of Alameda counterparty loan issuances,
                                             refinances and repayments by lending entity
David Medway              3/9/2023     1.0   Teleconference with D. Medway, E. Hoffer and A. Dobbs (A&M)
                                             regarding Chipper Cash transaction analysis and investments
David Medway              3/9/2023     0.4   Internal communications regarding Critical Ideas account exchange
                                             data requests
David Medway              3/9/2023     0.4   Communications with QE regarding Critical Ideas account exchange
                                             data requests
David Medway              3/9/2023     0.7   Update Alameda counterparty deck for internal review

Ed Mosley                 3/9/2023     0.3   Discuss preference analysis workstream updates with S. Coverick, E.
                                             Mosley (A&M)
Emily Hoffer              3/9/2023     1.2   Call with J. Lee and E. Hoffer (A&M) discussing bank production of
                                             Stripe and OpenPay'd
Emily Hoffer              3/9/2023     1.0   Reconciliation of Commercial Bank of Dubai for cash database

Emily Hoffer              3/9/2023     0.4   Call with J. Lee and E. Hoffer (A&M) discussing PMO slide


Emily Hoffer              3/9/2023     1.6   Update Sullivan & Cromwell historical bank statement tracker

Emily Hoffer              3/9/2023     0.2   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                             Chipper Cash transaction analysis and investments
Emily Hoffer              3/9/2023     0.9   Update Avoidance Bank Transaction PMO slide and workplanner




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Professional                Date     Hours     Activity
Emily Hoffer              3/9/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding new bank accounts
                                             and bank data
Emily Hoffer              3/9/2023     0.2   Call with A. Cox and E. Hoffer (A&M) discussing blank memo field in
                                             cash database for specific transactions
Emily Hoffer              3/9/2023     1.1   Update bank statement tracker for new correspondence

Emily Hoffer              3/9/2023     0.8   Call with L. Ryan, M. Shanahan, J. Lee (A&M), R. Schutt, C. Jensen
                                             (S&C) and M. Cilia (FTX) discussing historical bank statement
                                             collection progress
Emily Hoffer              3/9/2023     2.3   Review new bank communications and production


Emily Hoffer              3/9/2023     0.1   Teleconference with M. Ebrey, E. Hoffer (A&M) regarding
                                             reconciliation of check images received with previously received bank
                                             statements
Emily Hoffer              3/9/2023     0.5   Teleconference with C. Radis and E. Hoffer (A&M) regarding PMO
                                             metrics
Emily Hoffer              3/9/2023     1.0   Teleconference with D. Medway, E. Hoffer and A. Dobbs (A&M)
                                             regarding Chipper Cash transaction analysis and investments
Emily Hoffer              3/9/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Igor Radwanski            3/9/2023     0.5   Call with A. Canale, P. McGrath, I. Radwanski (A&M) and A. Alden,
                                             N. Huh (both QE) regarding NEAR tokens claim
Jon Chan                  3/9/2023     1.7   Provide transaction activity for an account on the platform that made
                                             a specific fiat transfer
Jon Chan                  3/9/2023     0.3   Call with A. Canale, M. Blanchard, J. Lee, J. Chan, and M. Sunkara
                                             (A&M) on banking records for fiat deposits and withdrawals
Jon Chan                  3/9/2023     0.1   Teleconference with J. Chan and D. Medway (A&M) regarding
                                             Critical Ideas account exchange data
Jon Chan                  3/9/2023     2.7   Provide extracts for a specific institution that had accounts on the
                                             FTX exchange
Julian Lee                3/9/2023     1.3   Review and update memo on IEX investment


Julian Lee                3/9/2023     0.3   Call with A. Canale, M. Blanchard, J. Lee, J. Chan, and M. Sunkara
                                             (A&M) on banking records for fiat deposits and withdrawals
Julian Lee                3/9/2023     0.3   Teleconference with J. Lee, A. Helal (A&M) regarding DriveWealth
                                             investment
Julian Lee                3/9/2023     0.3   Review and update bank account tracker

Julian Lee                3/9/2023     0.2   Review of S&C bank status tracker

Julian Lee                3/9/2023     1.1   Review bank responses and update bank communications tracker


Julian Lee                3/9/2023     0.2   Correspond with team regarding IEX investment

Julian Lee                3/9/2023     0.2   Correspond with QE team regarding JPMorgan follow-up items



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Professional              Date     Hours     Activity
Julian Lee              3/9/2023     0.4   Call with J. Lee and E. Hoffer (A&M) discussing PMO slide

Julian Lee              3/9/2023     0.1   Review of FTX.com and FTX US fiat deposits and withdrawals


Julian Lee              3/9/2023     1.2   Call with J. Lee and E. Hoffer (A&M) discussing bank production of
                                           Stripe and OpenPay'd
Julian Lee              3/9/2023     0.2   Review of support related to potential signet transfer affiliated with
                                           DriveWealth subsidiary from database team
Julian Lee              3/9/2023     1.6   Review valuation and diligence documents related to DriveWealth
                                           investment
Julian Lee              3/9/2023     0.8   Call with L. Ryan, M. Shanahan, J. Lee (A&M), R. Schutt, C. Jensen
                                           (S&C) and M. Cilia (FTX) discussing historical bank statement
                                           collection progress
Julian Lee              3/9/2023     0.2   Correspond with database team regarding potential withdrawal
                                           related to Liquidity Solutions Global Ltd
Julian Lee              3/9/2023     0.5   Call with M. Shanahan, J. Lee (A&M) to discuss DriveWealth
                                           investment and QE follow-up
Julian Lee              3/9/2023     0.4   Review signatory support and update workpaper for QE

Laureen Ryan            3/9/2023     0.9   Correspond with A&M team regarding avoidance action activities


Laureen Ryan            3/9/2023     0.3   Correspond with QE and A&M team regarding avoidance action
                                           activities
Laureen Ryan            3/9/2023     0.8   Call with L. Ryan, M. Shanahan, J. Lee (A&M), R. Schutt, C. Jensen
                                           (S&C) and M. Cilia (FTX) discussing historical bank statement
                                           collection progress
Laureen Ryan            3/9/2023     0.2   Review updated payment history related to law firms


Laureen Ryan            3/9/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) discussing intercompany
                                           analysis
Laureen Ryan            3/9/2023     0.2   Review law firm updated payment data


Madison Blanchard       3/9/2023     0.3   Call with A. Canale, M. Blanchard, J. Lee, J. Chan, and M. Sunkara
                                           (A&M) on banking records for fiat deposits and withdrawals
Madison Blanchard       3/9/2023     2.0   Additional review of consolidated of debtor entity financials, bank
                                           statements, and transactions regarding professional fees paid
Madison Blanchard       3/9/2023     1.6   Review of consolidated of debtor entity financials, bank statements,
                                           and transactions regarding professional fees paid
Madison Blanchard       3/9/2023     0.7   Teleconference with A. Cox and M. Blanchard (A&M) regarding
                                           professional fees paid
Madison Blanchard       3/9/2023     0.3   Review and analysis of debtor entity cash activity related to FTX
                                           Digital Markets
Madison Blanchard       3/9/2023     2.7   Consolidation of debtor entity financials, bank statements, and
                                           transactions regarding professional fees paid
Manasa Sunkara          3/9/2023     0.3   Call with A. Canale, M. Blanchard, J. Lee, J. Chan, and M. Sunkara
                                           (A&M) on banking records for fiat deposits and withdrawals

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Avoidance Actions
Professional            Date     Hours     Activity
Mason Ebrey           3/9/2023     1.4   Determination of investments as Layer 1 or Layer 2 tokens

Mason Ebrey           3/9/2023     0.8   Teleconference with P. McGrath, M. Ebrey (A&M) regarding the
                                         determination of investments as layer 1 or layer 2
Mason Ebrey           3/9/2023     0.1   Teleconference with M. Ebrey, E. Hoffer (A&M) regarding
                                         reconciliation of check images received with previously received bank
                                         statements
Mason Ebrey           3/9/2023     3.3   Reconciliation of check images with previously received bank
                                         statements
Maximilian Simkins    3/9/2023     1.9   Compile manually outgoing wires from Stanford Credit Union for
                                         upload to AWS
Maximilian Simkins    3/9/2023     0.9   Prepare notes and materials for teleconference with K. Baker, M.
                                         Haigis, C. Radis, M. Simkins, and L. Konig (A&M) discussing python
                                         account parsing process
Maximilian Simkins    3/9/2023     0.7   Prepare notes and materials for teleconference with E. Hoffer, M.
                                         Haigis, C. Radis, M. Simkins, and A. Sloan (A&M) discussing
                                         progress on cash database
Maximilian Simkins    3/9/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                         A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/9/2023     1.8   Perform exercise to upload and merge bank statement transaction
                                         reports
Maya Haigis           3/9/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                         A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/9/2023     1.2   Review documents related to DriveWealth


Michael Shanahan      3/9/2023     1.3   Review documents related to FTX Digital and customer funds

Michael Shanahan      3/9/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                         Critical Ideas investigation
Michael Shanahan      3/9/2023     0.8   Call with L. Ryan, M. Shanahan, J. Lee (A&M), R. Schutt, C. Jensen
                                         (S&C) and M. Cilia (FTX) discussing historical bank statement
                                         collection progress
Michael Shanahan      3/9/2023     0.5   Review updated schedule for payments to professionals

Michael Shanahan      3/9/2023     0.4   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                         investments and litigation pursuits
Michael Shanahan      3/9/2023     1.1   Preliminary review of findings memo prepared by counsel -
                                         DriveWealth
Michael Shanahan      3/9/2023     0.2   Call with C. Cipione, K. Wessel, D. Schwartz (Alix Partners), M.
                                         Shanahan, C. Radis, R. Johnson (A&M) to discuss FTX accounting
                                         records and cash database
Michael Shanahan      3/9/2023     1.4   Review documents related to potential avoidance actions


Michael Shanahan      3/9/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) discussing intercompany
                                         analysis
Michael Shanahan      3/9/2023     0.8   Review updated schedule summarizing bank account activity


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Avoidance Actions
Professional                Date     Hours     Activity
Michael Shanahan          3/9/2023     0.2   Communications to/from counsel regarding available bank records

Michael Shanahan          3/9/2023     0.6   Review bank records collection status in preparation for call with
                                             counsel
Michael Shanahan          3/9/2023     0.5   Calls with M. Shanahan, A. Canale (A&M) regarding workplan for
                                             venture book avoidance actions
Michael Shanahan          3/9/2023     0.5   Call with M. Shanahan, J. Lee (A&M) to discuss DriveWealth
                                             investment and QE follow-up
Patrick McGrath           3/9/2023     0.8   Teleconference with P. McGrath, M. Ebrey (A&M) regarding the
                                             determination of investments as layer 1 or layer 2
Patrick McGrath           3/9/2023     0.4   Call with A. Canale, P. McGrath (A&M) regarding NEAR tokens claim

Patrick McGrath           3/9/2023     0.4   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                             investments and litigation pursuits
Patrick McGrath           3/9/2023     1.4   Review ventures investment analyses

Patrick McGrath           3/9/2023     1.5   Research ventures investment claims


Patrick McGrath           3/9/2023     0.5   Call with A. Canale, P. McGrath, I. Radwanski (A&M) and A. Alden,
                                             N. Huh (both QE) regarding NEAR tokens claim
Robert Johnson            3/9/2023     0.2   Call with C. Cipione, K. Wessel, D. Schwartz (Alix Partners), M.
                                             Shanahan, C. Radis, and R. Johnson (A&M) to discuss FTX
                                             accounting records and cash database
Steve Coverick            3/9/2023     0.3   Discuss preference analysis workstream updates with S. Coverick, E.
                                             Mosley (A&M)
Aaron Dobbs              3/10/2023     1.2   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                             Chipper Cash transaction analysis and investments
Aaron Dobbs              3/10/2023     0.2   Continue to trace Chipper Cash investment and warrant
                                             reclassification funds through wire activity and internal
                                             correspondence
Aaron Dobbs              3/10/2023     3.3   Trace Chipper Cash investment and warrant reclassification funds
                                             through wire activity and internal correspondence
Aaron Dobbs              3/10/2023     2.9   Continue to perform targeted searches for responsive documents
                                             regarding valuation and due diligence related to Chipper Cash
Aaron Dobbs              3/10/2023     1.1   Teleconference with A. Dobbs and D. Medway (A&M) regarding
                                             Chipper Cash investigation
Aaron Dobbs              3/10/2023     2.7   Perform targeted searches for responsive documents regarding
                                             valuation and due diligence related to Chipper Cash
Alex Canale              3/10/2023     0.5   Review revised NEAR claim memorandum prepared by QE

Alex Canale              3/10/2023     0.3   Call with A. Canale, J. Lee (A&M) regarding IEX valuation memo


Alex Canale              3/10/2023     0.5   Call with L. Ryan, A. Canale, D. Medway (A&M) regarding Alameda
                                             counterparty legal entity preference analysis
Alex Canale              3/10/2023     0.4   Calls with M. Shanahan, A. Canale (A&M) regarding workplan for
                                             venture book avoidance actions

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Avoidance Actions
Professional                Date     Hours     Activity
Alex Canale              3/10/2023     0.8   Review analysis relating to Alameda counterparty legal entity level
                                             avoidance actions
Alex Canale              3/10/2023     1.0   Review IEX investment and potential avoidance action memo


Alex Canale              3/10/2023     0.4   Correspond with A&M team regarding IEX memorandum

Alex Canale              3/10/2023     0.2   Teleconference with A. Canale, M. Blanchard, and A. Cox (A&M)
                                             regarding professional fees paid
Allison Cox              3/10/2023     0.3   Continue to investigate document support in relation to professional
                                             fees paid
Allison Cox              3/10/2023     0.2   Teleconference with A. Cox, M. Ebrey (A&M) regarding pulling
                                             together invoices transactions identified as related to Law Firms
Allison Cox              3/10/2023     0.2   Teleconference with A. Canale, M. Blanchard, and regarding
                                             professional fees paid
Allison Cox              3/10/2023     3.3   Investigate document support in relation to professional fees paid

Allison Cox              3/10/2023     0.3   Teleconference with M. Blanchard and M. Blanchard(A&M) regarding
                                             professional fees paid
Allison Cox              3/10/2023     0.1   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                             to metabase QuickBooks view
Allison Cox              3/10/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                             book investments
Allison Cox              3/10/2023     2.3   Investigate document support in relation venture book investments


Allison Cox              3/10/2023     1.2   Pull document support in relation to professional fees paid

Aly Helal                3/10/2023     2.9   Review and documenting all FBO customers bank accounts to
                                             confirm their designation as custodian accounts
Aly Helal                3/10/2023     2.2   Document and review FTXT Series C and WRS Series A financing to
                                             support in reviewing FTX investments that relied on these financing
                                             series.
Aly Helal                3/10/2023     0.3   Teleconference with J. Lee, E. Hoffer, I. Patel, A. Helal (A&M)
                                             regarding verification of FBO bank accounts
Aly Helal                3/10/2023     3.3   Update the tracker with all FBO custodian bank accounts


Aly Helal                3/10/2023     0.4   Search for support and paper work of Ledger Holding Acquisition by
                                             FTX
Austin Sloan             3/10/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/10/2023     1.2   Process new Signature statements through Valid8. regarding cash
                                             database construction
Austin Sloan             3/10/2023     2.1   Update bank statement tracker. regarding cash database construction

Austin Sloan             3/10/2023     0.4   Teleconference with C. Radis and A. Sloan (A&M) regarding DBS
                                             reconciliation issues


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Professional             Date     Hours     Activity
Austin Sloan          3/10/2023     0.9   Process various FTX Digital Markets statements through Monarch.
                                          regarding cash database construction
Austin Sloan          3/10/2023     1.3   Process new Silvergate statements through Valid8. regarding cash
                                          database construction
Austin Sloan          3/10/2023     0.3   Call with A. Sloan and E. Hoffer (A&M) discussing outstanding
                                          production upload and workstream strategy
Austin Sloan          3/10/2023     1.7   Process various FTX Digital Markets statements through Valid8.
                                          regarding cash database construction
Breanna Price         3/10/2023     0.5   Add more Signature bank data to the bank statement tracker


Breanna Price         3/10/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding the determination of
                                          bank accounts used for customer funds
Breanna Price         3/10/2023     1.5   Add new Evolve bank data to the bank statement tracker


Breanna Price         3/10/2023     1.7   Add bank data details to the various tabs in the bank statement
                                          tracker to ensure the non-debtor accounts populate in the matrix
Cameron Radis         3/10/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Cameron Radis         3/10/2023     2.8   Perform SQL based exercise to update QuickBooks account types
                                          for entities and accounts. Re-perform debit and credit reconciliation
                                          for all transactions and entities. Create output to share internally.
                                          Create script to update metabase view
Cameron Radis         3/10/2023     0.4   Teleconference with C. Radis and A. Sloan (A&M) regarding DBS
                                          reconciliation issues
Cameron Radis         3/10/2023     0.9   Perform SQL based exercise to review Silicon Valley months,
                                          inflows, and outflows, that do not reconcile from cash detail to
                                          balance summary. Create exports for manual review. Perform
                                          manual date updates to summary balance table
Cameron Radis         3/10/2023     0.1   Teleconference with C. Radis and A. Cox (A&M) regarding updates
                                          to metabase QuickBooks view
Cameron Radis         3/10/2023     2.1   Perform SQL based exercise reconciling and creating monthly
                                          summary balances for New Silicon Valley bank data. Create
                                          summary and detail scripts to push to AWS staging metabase
                                          environments
Cameron Radis         3/10/2023     1.7   Perform SQL based exercise to review DBS months, inflows, and
                                          outflows, that do not reconcile from cash detail to balance summary.
                                          Create exports for manual review. Perform manual date updates to
                                          summary balance table
David Dawes           3/10/2023     0.6   Continue to develop updates to Alameda loan counterparty
                                          investments review summary
David Dawes           3/10/2023     3.3   Develop updates to Alameda loan counterparty investments review
                                          summary
David Medway          3/10/2023     0.3   Teleconference with D. Medway and A. Cox (A&M) regarding venture
                                          book investments
David Medway          3/10/2023     1.2   Update Alameda counterparty investigation materials based on
                                          internal review comments




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Avoidance Actions
Professional                 Date     Hours     Activity
David Medway              3/10/2023     0.8   Review key documents identified in course of investigation of Chipper
                                              Cash investment
David Medway              3/10/2023     1.4   Summarize results of investigation of FBH Corporation/Moonstone
                                              Bank investment for QE review
David Medway              3/10/2023     1.1   Teleconference with A. Dobbs and D. Medway (A&M) regarding
                                              Chipper Cash investigation
David Medway              3/10/2023     0.8   Prepare for internal call regarding Alameda counterparty investigation
                                              materials
David Medway              3/10/2023     0.5   Call with L. Ryan, A. Canale, D. Medway (A&M) regarding Alameda
                                              counterparty legal entity preference analysis
David Medway              3/10/2023     3.3   Summarize historical annual Farmington State Bank financials in
                                              comparative format and perform flux analysis
David Medway              3/10/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                              Chipper Cash investigation
David Medway              3/10/2023     1.7   Review contextual documents identified in investigation of FBH
                                              Corporation/Moonstone Bank investment
Emily Hoffer              3/10/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/10/2023     1.2   Teleconference with E. Hoffer and A. Dobbs (A&M) regarding
                                              Chipper Cash transaction analysis and investments
Emily Hoffer              3/10/2023     2.3   Reconcile Prime Trust transaction reports

Emily Hoffer              3/10/2023     1.2   Review new Singaporian DBS Bank cash database


Emily Hoffer              3/10/2023     1.3   Update bank statement tracker for new production

Emily Hoffer              3/10/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding the determination of
                                              bank accounts used for customer funds
Emily Hoffer              3/10/2023     0.3   Call with A. Sloan and E. Hoffer (A&M) discussing outstanding
                                              production upload and workstream strategy
Emily Hoffer              3/10/2023     0.3   Teleconference with J. Lee, E. Hoffer, I. Patel, A. Helal (A&M)
                                              regarding verification of FBO bank accounts
Gaurav Walia              3/10/2023     0.3   Call with L. Ryan, G. Walia (A&M) regarding 90 day crypto activity
                                              analysis
Ishika Patel              3/10/2023     2.8   Verify Silvergate FBO Bank Accounts

Ishika Patel              3/10/2023     0.3   Teleconference with J. Lee, E. Hoffer, I. Patel, A. Helal (A&M)
                                              regarding verification of FBO bank accounts
Ishika Patel              3/10/2023     2.7   Verify Silvergate FBO Bank Accounts

Julian Lee                3/10/2023     0.1   Correspond with team regarding Etana transaction activity


Julian Lee                3/10/2023     0.1   Review database team comments on potential Signet withdrawal by
                                              Liquidity Solutions Global




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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/10/2023     0.3   Call with A. Canale, J. Lee (A&M) regarding IEX valuation memo

Julian Lee              3/10/2023     0.2   Review of Prime Trust production


Julian Lee              3/10/2023     0.3   Teleconference with J. Lee, E. Hoffer, I. Patel, A. Helal (A&M)
                                            regarding verification of FBO bank accounts
Julian Lee              3/10/2023     0.3   Review and update bank signatory information and bank contacts

Julian Lee              3/10/2023     0.4   Search and review of email correspondence related to DriveWealth
                                            investment
Julian Lee              3/10/2023     0.5   Search and review correspondence related to North Dimension
                                            accounts
Julian Lee              3/10/2023     0.7   Review and update account matrix for debtors and non-debtors


Julian Lee              3/10/2023     1.2   Review and update memo for IEX investment

Julian Lee              3/10/2023     1.9   Prepare summary for DriveWealth valuation and REV analysis


Laureen Ryan            3/10/2023     0.2   Correspond with QE and A&M team regarding venture book
                                            avoidance analysis
Laureen Ryan            3/10/2023     0.2   Review and update PMO and workstream tracker

Laureen Ryan            3/10/2023     0.4   Calls with M. Shanahan, A. Canale (A&M) regarding workplan for
                                            venture book avoidance actions
Laureen Ryan            3/10/2023     0.2   Correspond with Alix and A&M team regarding bank tracer updates

Laureen Ryan            3/10/2023     0.3   Call with L. Ryan, G. Walia (A&M) regarding 90 day crypto activity
                                            analysis
Laureen Ryan            3/10/2023     0.3   Correspond with QE and A&M team regarding bank account analysis

Laureen Ryan            3/10/2023     0.4   Review documents relevant to avoidance action investigations


Laureen Ryan            3/10/2023     0.2   Correspond with team regarding prepetition payments to
                                            professionals
Laureen Ryan            3/10/2023     0.2   Correspond with A&M team regarding PMO updates

Laureen Ryan            3/10/2023     0.3   Correspond with QE and A&M team regarding law firm payment
                                            analysis
Laureen Ryan            3/10/2023     0.2   Correspond with S&C and A&M team regarding Alameda
                                            counterparty updated analysis
Laureen Ryan            3/10/2023     0.5   Call with L. Ryan, A. Canale, D. Medway (A&M) regarding Alameda
                                            counterparty legal entity preference analysis
Laureen Ryan            3/10/2023     0.3   Correspond with A&M team regarding avoidance action activities




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Avoidance Actions
Professional             Date     Hours     Activity
Madison Blanchard     3/10/2023     1.3   Additional documentation of support documents in relation to First
                                          and Second Priority payments made to professionals
Madison Blanchard     3/10/2023     0.2   Teleconference with A. Canale, M. Blanchard, and A. Cox regarding
                                          professional fees paid
Madison Blanchard     3/10/2023     1.0   Review of consolidated of debtor entity financials, bank statements,
                                          and transactions regarding professional fees paid
Madison Blanchard     3/10/2023     2.8   Documentation of support documents in relation to First and Second
                                          Priority payments made to professionals
Madison Blanchard     3/10/2023     0.3   Review analysis of professional fees paid to date


Mason Ebrey           3/10/2023     3.1   Search in relativity for invoices related to payments made to various
                                          law firms
Mason Ebrey           3/10/2023     1.1   Search in relativity for invoices related to payments made to various
                                          law firms
Mason Ebrey           3/10/2023     0.4   Search in relativity for invoices related to payments made to various
                                          law firms
Mason Ebrey           3/10/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding research
                                          into customer account bankruptcy
Mason Ebrey           3/10/2023     0.2   Teleconference with A. Cox, M. Ebrey (A&M) regarding pulling
                                          together invoices transactions identified as related to Law Firms
Mason Ebrey           3/10/2023     1.8   Continue searching in relativity for invoices related to payments
                                          made to various law firms
Maximilian Simkins    3/10/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins    3/10/2023     1.6   Compile manually incoming wires from Stanford Credit Union for
                                          AWS upload
Maximilian Simkins    3/10/2023     0.3   Compile manually bank statement summaries that could not be
                                          processed in Valid8
Maximilian Simkins    3/10/2023     0.8   Review manually created wires for AWS upload

Maya Haigis           3/10/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/10/2023     1.6   Perform exercise to upload and merge bank statement transaction
                                          reports
Michael Shanahan      3/10/2023     0.6   Review updated schedule of financial institution priorities for discovery

Michael Shanahan      3/10/2023     0.4   Calls with M. Shanahan, A. Canale (A&M) regarding workplan for
                                          venture book avoidance actions
Michael Shanahan      3/10/2023     0.4   Review draft PMO slides and supporting schedule for 3/14 meeting

Michael Shanahan      3/10/2023     0.5   Review documents related to potential avoidance actions


Michael Shanahan      3/10/2023     0.3   Teleconference with M. Shanahan and D. Medway (A&M) regarding
                                          Chipper Cash investigation




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Avoidance Actions
Professional                 Date     Hours     Activity
Michael Shanahan          3/10/2023     0.8   Review additional documents related to DriveWealth investment

Patrick McGrath           3/10/2023     1.6   Research customer balance and transaction information


Patrick McGrath           3/10/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding research
                                              into customer account bankruptcy
Scott Peoples             3/10/2023     0.4   Review of IEX transaction background and supporting documents

Steve Coverick            3/10/2023     1.4   Review and provide comments on updated preference analysis on
                                              3rd party crypto company
David Medway              3/11/2023     0.5   Communications with QE regarding results of investigation of
                                              Chipper Cash investment
David Medway              3/11/2023     0.6   Review key documents identified in course of investigation of Chipper
                                              Cash investment
David Medway              3/11/2023     1.1   Summarize results of investigation of Chipper Cash investment for
                                              QE review
Julian Lee                3/11/2023     0.7   Review and update memo on IEX investment


Julian Lee                3/11/2023     0.1   Review and update bank account matrix

Julian Lee                3/11/2023     0.1   Correspond with team regarding bank production status

Maya Haigis               3/11/2023     0.3   Prepare workbooks with file counts by folder for reconciled and
                                              unreconciled files
Michael Shanahan          3/11/2023     0.3   Correspondence to/from counsel regarding Chipper Cash

Michael Shanahan          3/11/2023     0.5   Preliminary review of updated DriveWealth findings


Michael Shanahan          3/11/2023     0.9   Review documents related to Chipper Cash transaction

Austin Sloan              3/12/2023     2.4   Reconcile statement detail for DBS statements. regarding cash
                                              database construction
Emily Hoffer              3/12/2023     1.0   Reconcile DBS and Silicon Valley Bank in cash database

Emily Hoffer              3/12/2023     1.8   Analyze and update counterparties in cash database

Emily Hoffer              3/12/2023     0.3   Internal call discussing updates to Chipper Cash memo


Maya Haigis               3/12/2023     0.4   Perform exercise to upload and merge bank statement transaction
                                              reports
Aaron Dobbs               3/13/2023     2.3   Capitalization Table Summary creation and verification of source
                                              documents
Aaron Dobbs               3/13/2023     1.7   Perform targeted searches for documents related to Capitalization
                                              Tables




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Avoidance Actions
Professional                Date     Hours     Activity
Allison Cox              3/13/2023     1.9   Document review in relation to venture book investments

Allison Cox              3/13/2023     0.5   Continue to prepare summary related to cash disbursements for
                                             professional fees
Allison Cox              3/13/2023     1.6   Prepare detailed summary of supporting documentation obtained in
                                             relation to related party individual fees paid
Allison Cox              3/13/2023     1.3   Prepare detailed summary of supporting documentation obtained in
                                             relation to professional fees paid
Allison Cox              3/13/2023     3.3   Prepare summary related to cash disbursements for professional fees


Aly Helal                3/13/2023     2.1   Document the findings for IEX Group Investment by FTX

Aly Helal                3/13/2023     1.3   Respond to comments on IEX Group Investment, an investment by
                                             FTX
Aly Helal                3/13/2023     1.6   Search for FTX Investment in IEX Group Support in Relativity

Austin Sloan             3/13/2023     0.7   Reconcile statement detail for SMBC statements. regarding cash
                                             database construction
Austin Sloan             3/13/2023     2.1   Process new Silvergate statements through Valid8. regarding cash
                                             database construction
Austin Sloan             3/13/2023     0.8   Reconcile statement detail for J Trust statements. regarding cash
                                             database construction
Austin Sloan             3/13/2023     0.3   Call with A. Sloan and E. Hoffer (A&M) discussing SMBC and J Trust
                                             bank production
Austin Sloan             3/13/2023     1.7   Process new Evolve statements through Valid8. regarding cash
                                             database construction
Austin Sloan             3/13/2023     1.1   Process new Signature statements through Valid8. regarding cash
                                             database construction
Austin Sloan             3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing new priorities for cash database
Austin Sloan             3/13/2023     1.8   Reconcile statement detail for DBS statements. regarding cash
                                             database construction
Austin Sloan             3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Breanna Price            3/13/2023     1.6   Begin the process of comparing the Hong Kong team's bank
                                             statement tracker for FTX Japan to our tracker
Breanna Price            3/13/2023     0.6   Continue adding PayPay bank data to the bank statement trackers


Breanna Price            3/13/2023     1.5   Correct Nium bank data information on the bank data tab

Breanna Price            3/13/2023     0.2   Continue the review of FTX's FBO bank accounts for PayPay bank


Breanna Price            3/13/2023     0.3   Call with E. Hoffer and B. Price (A&M) discussing bank data




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Avoidance Actions
Professional                 Date     Hours     Activity
Breanna Price             3/13/2023     3.3   Add PayPay bank data to the bank statement trackers

Cameron Radis             3/13/2023     2.4   Perform SQL based exercise to incorporate new DBS files processed
                                              in AWS into reconciliation process. Reperform systematic
                                              reconciliation exercise and replace data in staging tables and
                                              metabase views
Cameron Radis             3/13/2023     0.3   Teleconference with M. Haigis, E. Hoffer, and C. Radis (A&M)
                                              regarding updated prime trust files
Cameron Radis             3/13/2023     2.3   Perform SQL based exercise to reconcile records for Nium bank.
                                              Create scripts to push reconciled views to metabase staging tables
Cameron Radis             3/13/2023     0.8   Perform SQL based exercise to push updated Silicon Valley Bank
                                              records to production metabase environments
Cameron Radis             3/13/2023     0.3   Call with C. Radis and E. Hoffer (A&M) discussing the reprioritization
                                              of bank reconciliation
Cameron Radis             3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Cameron Radis             3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing new priorities for cash database
Cameron Radis             3/13/2023     1.1   Perform SQL based exercise to make manual table adjustments for
                                              DBS bank to incorporate new files. Archive previous versions of
                                              tables
Cameron Radis             3/13/2023     2.3   Perform SQL based exercise to archive all tables containing Prime
                                              Trust Records. Review all prime trust records in all AWS tables.
                                              Conduct manual exercise to remove all Prime trust records from all
                                              AWS tables
David Dawes               3/13/2023     3.3   Review and update A&M summary of Binance relationship

David Dawes               3/13/2023     3.0   Continue to review and update A&M summary of Binance relationship


David Dawes               3/13/2023     0.6   Continue to review and update A&M summary of Binance relationship

David Medway              3/13/2023     0.7   Strategize investigation of venture book investments identified as
                                              potential avoidance actions
David Medway              3/13/2023     2.2   Review analysis of Alameda loan counterparty financial projections
                                              and valuation models and prepare review comments
David Medway              3/13/2023     0.5   Prepare for call with S&C regarding Alameda counterparty
                                              investigation
David Medway              3/13/2023     0.4   Internal communications regarding Alameda counterparty
                                              investigation
David Medway              3/13/2023     1.3   Investigate nature of Critical Ideas exchange account transactions in
                                              connection with potential avoidance actions
Emily Hoffer              3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/13/2023     1.6   Review transactions available in the cash database for Nium bank for
                                              underlying detail available within descriptions and ability to easily
                                              determine counterparties



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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/13/2023     2.5   Update bank statement tracker for updated account openings

Emily Hoffer              3/13/2023     0.6   Reconcile Singaporian DBS Bank cash database


Emily Hoffer              3/13/2023     1.2   Review new bank statements provided by Goldfields bank in relation
                                              to debtor owned accounts for any overlap or new information
Emily Hoffer              3/13/2023     0.3   Call with C. Radis and E. Hoffer (A&M) discussing the reprioritization
                                              of bank reconciliation
Emily Hoffer              3/13/2023     0.3   Call with E. Hoffer and B. Price (A&M) discussing bank data


Emily Hoffer              3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing new priorities for cash database
Emily Hoffer              3/13/2023     0.3   Teleconference with M. Haigis, E. Hoffer, and C. Radis (A&M)
                                              regarding updated prime trust files
Emily Hoffer              3/13/2023     0.3   Call with A. Sloan and E. Hoffer (A&M) discussing SMBC and J Trust
                                              bank production
Julian Lee                3/13/2023     0.2   Review First Republic bank data production


Julian Lee                3/13/2023     0.1   Correspond with counsel regarding ED&F Man follow-up items

Julian Lee                3/13/2023     0.2   Correspond with counsel and team regarding First Republic
                                              production
Julian Lee                3/13/2023     0.2   Correspond with team regarding updates to memo on IEX investment


Julian Lee                3/13/2023     0.2   Prepare follow-up inquiry on ED&F Man for counsel

Julian Lee                3/13/2023     1.3   Review and update memo on IEX investment


Laureen Ryan              3/13/2023     0.3   Correspond with A&M team regarding avoidance actions

Laureen Ryan              3/13/2023     0.4   Review documents relevant to avoidance action investigation matters


Laureen Ryan              3/13/2023     0.2   Correspond with QE and A&M team regarding avoidance action
                                              analysis
Laureen Ryan              3/13/2023     0.2   Correspond with A&M team and S&C regarding Alameda
                                              counterparty analysis
Madison Blanchard         3/13/2023     2.1   Additional review of consolidated of debtor entity financials, bank
                                              statements, and transactions regarding professional fees paid
Madison Blanchard         3/13/2023     2.6   Review of consolidated of debtor entity financials, bank statements,
                                              and transactions regarding professional fees paid
Mason Ebrey               3/13/2023     2.4   Conversion of Liquid Value Fund Financial Statements from PDF to
                                              Excel
Mason Ebrey               3/13/2023     0.5   Teleconference with P. McGrath, M. Ebrey (A&M) regarding
                                              researching customer accounts and transactions




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Avoidance Actions
Professional             Date     Hours     Activity
Mason Ebrey           3/13/2023     1.9   Research into precedence for treatment of customer funds in crypto
                                          exchange bankruptcies
Mason Ebrey           3/13/2023     1.7   Search in relativity for documents related to Alameda investment
                                          valuation in Liquid Value Fund
Mason Ebrey           3/13/2023     1.1   Research into Bitcoin price projections prior to 2021 for period
                                          including 2021-2025
Maximilian Simkins    3/13/2023     0.9   Manually compile Prime Trust bank statement summaries

Maximilian Simkins    3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing new priorities for cash database
Maximilian Simkins    3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/13/2023     2.6   Perform exercise to upload and merge bank statement transaction
                                          reports
Maya Haigis           3/13/2023     0.3   Teleconference with M. Haigis, E. Hoffer, and C. Radis (A&M)
                                          regarding updated prime trust files
Maya Haigis           3/13/2023     1.0   Continue to merge bank transactions into consolidated database


Maya Haigis           3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/13/2023     0.6   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing new priorities for cash database
Michael Shanahan      3/13/2023     0.5   Preliminary review of documents provided by First Republic


Michael Shanahan      3/13/2023     1.2   Review documents related to avoidance actions

Michael Shanahan      3/13/2023     0.7   Call with P. McGrath and M. Shanahan (A&M) regarding
                                          intercompany balances and customer balance transactions
Michael Shanahan      3/13/2023     0.8   Review correspondence from financial institutions related to
                                          document productions
Michael Shanahan      3/13/2023     2.3   Research treatment of customer balances and claims


Patrick McGrath       3/13/2023     2.2   Review and analyze venture investment documents

Patrick McGrath       3/13/2023     0.5   Teleconference with P. McGrath, M. Ebrey (A&M) regarding
                                          researching customer accounts and transactions
Patrick McGrath       3/13/2023     1.4   Research customer balance issues


Patrick McGrath       3/13/2023     0.7   Call with P. McGrath and M. Shanahan (A&M) regarding
                                          intercompany balances and customer balance transactions
Scott Peoples         3/13/2023     0.3   Review IEX investment summary memorandum


Scott Peoples         3/13/2023     0.4   Review Mina transaction summary memo and transaction detail




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Avoidance Actions
Professional                Date     Hours     Activity
Scott Peoples            3/13/2023     0.5   Review Fuel transaction summary memo and transaction detail

Scott Peoples            3/13/2023     0.4   Review Alameda investment transaction summary


Scott Peoples            3/13/2023     0.3   Review Anchorage transaction summary and supporting documents

Allison Cox              3/14/2023     1.9   Document review in relation to fees paid to individual related parties

Allison Cox              3/14/2023     1.8   Document review in relation to professional fees paid


Allison Cox              3/14/2023     1.6   Document review in relation to venture book investments

Aly Helal                3/14/2023     2.1   Search and documenting Starkware Investment (FTX investment)
                                             new payments support
Aly Helal                3/14/2023     2.6   Search and information gathering on DriveWealth Series A,B,C
                                             financing rounds in relation to FTX investment in DriveWealth
Aly Helal                3/14/2023     2.1   Document the findings for Starkware Investment by FTX Ventures


Aly Helal                3/14/2023     2.8   Document the findings for Starkware Investment by FTX Ventures

Aly Helal                3/14/2023     1.3   Perform a report on DriveWealth (an FTX investment) Series A,B,C
                                             financing rounds
Austin Sloan             3/14/2023     1.1   Manual Process HSBC statements. regarding cash database
                                             construction
Austin Sloan             3/14/2023     0.4   Teleconference with M. Simkins, and A. Sloan (A&M) discussing the
                                             move of PrimeTrust account balance summaries to AWS
Austin Sloan             3/14/2023     0.5   Teleconference with M. Simkins, and A. Sloan (A&M) discussing
                                             Morgan Stanley bank statement activities
Austin Sloan             3/14/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/14/2023     0.2   Teleconference with M. Simkins, and A. Sloan (A&M) discussing the
                                             move of Morgan Stanley account balance summaries to AWS
Austin Sloan             3/14/2023     2.1   Create AWS summary and detail load files for Turicum statement
                                             data. regarding cash database construction
Austin Sloan             3/14/2023     2.3   Create AWS summary and detail load files for Evolve Bank statement
                                             data. regarding cash database construction
Austin Sloan             3/14/2023     2.6   Create AWS summary and detail load files for SMBC statement data.
                                             regarding cash database construction
Austin Sloan             3/14/2023     1.3   Process HSBC statements in Monarch. regarding cash database
                                             construction
Breanna Price            3/14/2023     0.3   Review and identifying bank statement counterparty names


Breanna Price            3/14/2023     2.8   Finish the process of comparing the Hong Kong team's bank tracker
                                             to our data and summarizing findings




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Professional             Date     Hours     Activity
Breanna Price         3/14/2023     2.2   Continue the process of comparing the Hong Kong team's bank
                                          tracker to our data and summarizing findings
Breanna Price         3/14/2023     1.9   Add First Republic bank files to the bank statement tracker


Cameron Radis         3/14/2023     0.3   Teleconference with C. Radis, E. Hoffer, and M. Haigis (A&M)
                                          regarding Far Eastern Int data updates
Cameron Radis         3/14/2023     1.9   Perform SQL based exercise to reconcile records for Turicum bank.
                                          Perform manual review of accounts and currencies that do not
                                          reconcile. Create output workbooks for further review with the team
Cameron Radis         3/14/2023     1.0   Call with C. Radis, E. Hoffer and J. Lee (A&M) discussing issues with
                                          cash database reconciliation and strategy moving for workstream
Cameron Radis         3/14/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Cameron Radis         3/14/2023     0.7   Perform SQL based exercise create to create scripts to push Prime
                                          Trust summary and transactions to metabase staging views
Cameron Radis         3/14/2023     0.4   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                          (A&M) discussing Prime Trust account balance summary
                                          reconciliation
Cameron Radis         3/14/2023     2.7   Perform SQL based exercise to reconcile records for Far Eastern Int
                                          bank. Create custom script to incorporate debits and credits based
                                          on transaction type. Create scripts to push reconciled views to
                                          metabase staging tables
Cameron Radis         3/14/2023     1.6   Perform SQL based exercise to normalize new Far Eastern
                                          International bank records in AWS tables. Update entity values where
                                          transaction data is blank. Perform manual database edits to remove
                                          certain records and reassign deduplication hierarchy
Cameron Radis         3/14/2023     3.2   Perform SQL based exercise to reconcile records for Far Eastern Int
                                          bank. Perform manual review of accounts and currencies that do not
                                          reconcile. Create output workbooks for further review with the team
Cameron Radis         3/14/2023     0.5   Call with C. Radis and E. Hoffer (A&M) discussing reconciliation of
                                          Prime Trust in cash database
David Dawes           3/14/2023     2.9   Continue to develop alternative financial models surrounding
                                          Alameda loan counterparty valuations
David Dawes           3/14/2023     3.1   Develop alternative financial models surrounding Alameda loan
                                          counterparty valuations
David Dawes           3/14/2023     2.0   Perform research relating to consensus BTC pricing projections prior
                                          to FTX investments in GDA
David Medway          3/14/2023     1.5   Review analysis of Alameda loan counterparty financial projections
                                          and valuation models and prepare review comments
David Medway          3/14/2023     0.6   Review updated investments tracker and strategize need for
                                          additional investigative procedures
David Medway          3/14/2023     0.8   Prepare materials summarizing understanding of Rockbird
                                          transaction for reference in avoidance action analysis
David Medway          3/14/2023     0.6   Prepare materials summarizing understanding of Toss transaction for
                                          reference in avoidance action analysis




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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/14/2023     1.1   Call between J. Lee and E. Hoffer (A&M) discussing additional
                                              research for avoidance actions and Far Eastern International Bank
                                              reconciliation and follow ups
Emily Hoffer              3/14/2023     0.3   Teleconference with C. Radis, E. Hoffer, and M. Haigis (A&M)
                                              regarding Far Eastern Int data updates
Emily Hoffer              3/14/2023     1.0   Call with C. Radis, E. Hoffer and J. Lee (A&M) discussing issues with
                                              cash database reconciliation and strategy moving for workstream
Emily Hoffer              3/14/2023     0.5   Call with C. Radis and E. Hoffer (A&M) discussing reconciliation of
                                              Prime Trust in cash database
Emily Hoffer              3/14/2023     0.4   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                              (A&M) discussing Prime Trust account balance summary
                                              reconciliation
Emily Hoffer              3/14/2023     1.7   Review of additional bank production received


Emily Hoffer              3/14/2023     1.8   Reconciliation of Far Eastern International Bank for the cash
                                              database
Emily Hoffer              3/14/2023     1.7   Reconciliation of Prime Trust for the cash database


Emily Hoffer              3/14/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/14/2023     1.3   Reconciliation of Nium bank for the cash database


Gaurav Walia              3/14/2023     0.5   Call with A. Dietderich (S&C), K. Ramanathan, G. Walia, and S.
                                              Coverick (A&M) to discuss Alameda relationship deck draft
Julian Lee                3/14/2023     1.0   Call with C. Radis, E. Hoffer and J. Lee (A&M) discussing issues with
                                              cash database reconciliation and strategy moving for workstream
Julian Lee                3/14/2023     0.4   Review documents and update bank contacts for QE bank tracker


Julian Lee                3/14/2023     0.6   Correspond with team to discuss Far Eastern International bank data

Julian Lee                3/14/2023     0.5   Call with J. Lee, E. Hoffer (A&M) to discuss research on Brinc
                                              valuation and reasonably equivalent value
Julian Lee                3/14/2023     0.3   Review and update bank communication tracker for follow-up items

Julian Lee                3/14/2023     0.3   Correspond with foreign debtor representative for SBI bank data


Julian Lee                3/14/2023     1.1   Call between J. Lee and E. Hoffer (A&M) discussing additional
                                              research for avoidance actions and Far Eastern International Bank
                                              reconciliation and follow ups
Julian Lee                3/14/2023     0.9   Review and provide comments to DriveWealth memo prepared by
                                              QE team
Julian Lee                3/14/2023     0.2   Correspond with team regarding Starkware investment


Julian Lee                3/14/2023     0.5   Review OpenPay'd data files and prepare follow-up items




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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/14/2023     0.6   Call with J. Lee, P. McGrath (A&M) regarding Liquid Value Fund
                                            investment
Julian Lee              3/14/2023     0.2   Correspond with team regarding bank statement tracker


Julian Lee              3/14/2023     0.4   Call with M. Shanahan, J. Lee (A&M) to discuss DriveWealth
                                            investment valuation
Julian Lee              3/14/2023     0.3   Correspond with Prime Trust regarding follow-up items

Kumanan Ramanathan      3/14/2023     0.5   Call with A. Dietderich (S&C), K. Ramanathan, G. Walia, and S.
                                            Coverick (A&M) to discuss Alameda relationship deck draft
Laureen Ryan            3/14/2023     0.2   Correspond with QE and A&M team regarding avoidance action
                                            analysis on venture book
Mason Ebrey             3/14/2023     0.4   Response to counsel questions regarding Port Finance Investment


Mason Ebrey             3/14/2023     0.2   Relativity searches related to financial statements and investor
                                            updates for Liquid Value Fund
Mason Ebrey             3/14/2023     1.4   Update Liquid Value Fund Investment Memo


Mason Ebrey             3/14/2023     0.5   Prepare materials for meeting regarding Liquid Value Fund
                                            investment
Mason Ebrey             3/14/2023     0.5   Teleconference with P. McGrath, M. Ebrey (A&M) regarding counsel
                                            questions relating to Port Finance Investment
Mason Ebrey             3/14/2023     0.8   Research into Bitcoin price projections prior to 2021 for period
                                            including 2021-2025
Mason Ebrey             3/14/2023     1.4   Put together a table comparing Bitcoin price projections found for
                                            2021-2025
Mason Ebrey             3/14/2023     1.6   Conversion of Liquid Value Fund Financial Statements from PDF to
                                            Excel
Mason Ebrey             3/14/2023     1.3   Relativity searches related to financial statements and investor
                                            updates for Liquid Value Fund
Maximilian Simkins      3/14/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins      3/14/2023     0.5   Teleconference with M. Simkins, and A. Sloan (A&M) discussing
                                            Morgan Stanley bank statement activities
Maximilian Simkins      3/14/2023     0.4   Teleconference with M. Simkins, and A. Sloan (A&M) discussing the
                                            move of PrimeTrust account balance summaries to AWS
Maximilian Simkins      3/14/2023     1.5   Push PrimeTrust account balance summaries to AWS


Maximilian Simkins      3/14/2023     0.4   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                            (A&M) discussing PrimeTrust account balance summary reconciliation
Maximilian Simkins      3/14/2023     0.9   Manually compile Morgan Stanley bank statement summaries


Maximilian Simkins      3/14/2023     0.2   Teleconference with M. Simkins, and A. Sloan (A&M) discussing the
                                            move of Morgan Stanley account balance summaries to AWS




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Avoidance Actions
Professional              Date     Hours     Activity
Maya Haigis            3/14/2023     0.3   Teleconference with C. Radis, E. Hoffer, and M. Haigis (A&M)
                                           regarding Far Eastern Int data updates
Maya Haigis            3/14/2023     0.7   Perform exercise to upload and merge bank statement transaction
                                           reports
Maya Haigis            3/14/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                           A. Sloan (A&M) discussing progress on cash database
Michael Shanahan       3/14/2023     0.3   Communications to/from counsel regarding bank record discovery

Michael Shanahan       3/14/2023     0.4   Call with M. Shanahan, J. Lee (A&M) to discuss DriveWealth
                                           investment valuation
Michael Shanahan       3/14/2023     0.8   Review reconciliation schedules for cash database

Michael Shanahan       3/14/2023     0.4   Discussion with M. Shanahan and S. Peoples (A&M) re: update on
                                           avoidance actions
Michael Shanahan       3/14/2023     1.7   Review and revise memo related to DriveWealth

Michael Shanahan       3/14/2023     2.2   Review additional documents identified related to DriveWealth


Patrick McGrath        3/14/2023     2.2   Review and analyze venture investment documents

Patrick McGrath        3/14/2023     0.5   Teleconference with P. McGrath, M. Ebrey (A&M) regarding counsel
                                           questions relating to Port Finance Investment
Patrick McGrath        3/14/2023     0.6   Call with J. Lee, P. McGrath (A&M) regarding Liquid Value Fund
                                           investment
Patrick McGrath        3/14/2023     0.2   Call with P. McGrath, S. Mimms (A&M) regarding updates on
                                           assigned workstreams
Patrick McGrath        3/14/2023     0.4   Discussion with P. McGrath and S. Peoples (A&M) re: status of
                                           avoidance actions
Patrick McGrath        3/14/2023     1.8   Research customer balance issues

Samuel Mimms           3/14/2023     0.2   Review updates from Counsel on NEAR Token, HOLE, and 80 Acres
                                           avoidance actions
Samuel Mimms           3/14/2023     0.2   Call with P. McGrath, S. Mimms (A&M) regarding updates on
                                           assigned workstreams
Scott Peoples          3/14/2023     1.9   Review background on Anchorage transaction and underlying detail

Scott Peoples          3/14/2023     0.4   Discussion with M. Shanahan and S. Peoples (A&M) re: update on
                                           avoidance actions
Scott Peoples          3/14/2023     0.4   Discussion with P. McGrath and S. Peoples (A&M) re: status of
                                           avoidance actions
Aly Helal              3/15/2023     1.1   Respond to counsel's memo comments on Sequoia Heritage Fund
                                           investment by FTX
Aly Helal              3/15/2023     1.6   Final review of (FTX investment)IEX Group Investment
                                           documentation




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Avoidance Actions
Professional             Date     Hours     Activity
Austin Sloan          3/15/2023     0.3   Teleconference with M. Simkins, and A. Sloan (A&M) discussing
                                          manual extraction of HSBC bank statement activity
Austin Sloan          3/15/2023     1.7   Process SBI statements in Monarch. regarding cash database
                                          construction
Austin Sloan          3/15/2023     2.1   Reconcile statement detail for Silvergate statements. regarding cash
                                          database construction
Austin Sloan          3/15/2023     1.8   Reconcile statement detail for SMBC statements. regarding cash
                                          database construction
Austin Sloan          3/15/2023     2.3   Reconcile statement detail for Evolve Bank statements. regarding
                                          cash database construction
Austin Sloan          3/15/2023     1.6   Reconcile statement detail for Morgan Stanley statements. regarding
                                          cash database construction
Breanna Price         3/15/2023     0.1   Call with M. Simkins and B. Price (A&M) regarding HSBC bank


Breanna Price         3/15/2023     1.3   Start the process of entering bank statement transactional data for
                                          HSBC bank
Cameron Radis         3/15/2023     0.8   Perform SQL based exercise create to create scripts to push Turicum
                                          summary and transactions to metabase staging views
Cameron Radis         3/15/2023     0.2   Teleconference with C. Radis, R. Johnson, and E. Hoffer (A&M)
                                          regarding counterparty overlay into AWS
Cameron Radis         3/15/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Cameron Radis         3/15/2023     0.7   Perform SQL based exercise to remove Evolve bank records from all
                                          relevant tables
Cameron Radis         3/15/2023     2.8   Perform SQL based exercise to reconcile records for J Trust bank.
                                          Perform manual review of accounts and currencies that do not
                                          reconcile. Create manual script to calculate account balances. Create
                                          output workbooks for further review with the team
Cameron Radis         3/15/2023     1.7   Perform SQL based exercise to reconcile records for new Evolve
                                          bank data. Create scripts to push reconciled views to metabase
                                          staging tables
David Dawes           3/15/2023     0.6   Working session with D. Dawes and D. Medway (A&M) regarding
                                          analysis of Alameda loan counterparty model
David Dawes           3/15/2023     2.8   Perform research relating to consensus BTC pricing projections prior
                                          to FTX investments in GDA
David Medway          3/15/2023     0.4   Prepare for internal working session regarding avoidance actions
                                          workstream strategy and status
David Medway          3/15/2023     0.6   Working session with D. Dawes and D. Medway (A&M) regarding
                                          analysis of Alameda loan counterparty model
David Medway          3/15/2023     0.3   Working session with M. Shanahan and D. Medway (A&M) regarding
                                          avoidance actions workstream
David Medway          3/15/2023     0.3   Communications with QE regarding results of review of investigation
                                          of Critical Ideas exchange transactions
David Medway          3/15/2023     0.7   Review updated investments tracker




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Avoidance Actions
Professional                 Date     Hours     Activity
David Medway              3/15/2023     0.8   Review materials identified in investigation of Rockbird transaction

David Medway              3/15/2023     1.2   Research historical BTC projections in connection with analysis of
                                              GDA financial model
David Medway              3/15/2023     1.3   Review results of investigation of Critical Ideas exchange transactions

David Medway              3/15/2023     1.6   Prepare for Alameda counterparty strategy call with S&C

Emily Hoffer              3/15/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/15/2023     0.2   Teleconference with C. Radis, R. Johnson, and E. Hoffer (A&M)
                                              regarding counterparty overlay into AWS
Emily Hoffer              3/15/2023     1.9   Reconciliation of Evolve bank for cash database


Emily Hoffer              3/15/2023     1.6   Reconciliation of Turicum bank for cash database

Emily Hoffer              3/15/2023     1.7   Reconciliation of J Trust bank for cash database


Emily Hoffer              3/15/2023     2.6   Review of SBI Net Bank production for import into cash database

Julian Lee                3/15/2023     0.4   Review documents and update bank contacts for QE bank tracker

Julian Lee                3/15/2023     0.1   Review Deltec bank production status per bank account matrix


Julian Lee                3/15/2023     0.5   Review of Paysafe data and reconcile to balance information

Julian Lee                3/15/2023     0.3   Prepare follow-up items for First Republic bank and update bank
                                              communication status tracker
Julian Lee                3/15/2023     0.2   Correspond with counsel regarding findings on DriveWealth
                                              investment
Julian Lee                3/15/2023     0.3   Correspond with team regarding Circle request


Julian Lee                3/15/2023     0.6   Review Stripe data and prepare follow-up items

Julian Lee                3/15/2023     1.0   Review and update memo for IEX investment

Julian Lee                3/15/2023     0.1   Review email response provided by Transfero


Julian Lee                3/15/2023     0.9   Review Circle data and prepare follow-up request

Julian Lee                3/15/2023     0.7   Review DriveWealth memo and relevant supporting documents


Julian Lee                3/15/2023     0.7   Review status of banks for combined table reconciliation in cash
                                              database




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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/15/2023     0.6   Review data files provided by Circle and document follow-up items

Julian Lee              3/15/2023     1.1   Prepare follow-up items for Far Eastern International and Paysafe
                                            regarding bank data discrepancies
Kevin Kearney           3/15/2023     0.5   Call with L. Lampert, M. Rodriguez, L. Iwanski, S. Glustein, K.
                                            Kearney, L. Callerio, and P. McGrath (A&M) regarding coin tracing
                                            procedures
Larry Iwanski           3/15/2023     0.5   Call with L. Lampert, M. Rodriguez, L. Iwanski, S. Glustein, K.
                                            Kearney, L. Callerio, and P. McGrath (A&M) regarding coin tracing
                                            procedures
Laureen Ryan            3/15/2023     0.5   Call with L. Ryan, M. Shanahan (A&M) potential preference action
                                            analysis
Laureen Ryan            3/15/2023     0.5   Correspond with A&M Team regarding avoidance actions analysis


Laureen Ryan            3/15/2023     0.2   Correspond with A&M Team regarding available bank statements for
                                            intercompany reconciliation
Laureen Ryan            3/15/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) strategy related to other
                                            avoidance action analysis
Laureen Ryan            3/15/2023     0.9   Review documents relevant to avoidance action investigation matters

Laureen Ryan            3/15/2023     0.4   Call with L. Ryan, M. Shanahan (A&M) discussing financial institution
                                            and related discovery request updates and next steps
Laureen Ryan            3/15/2023     0.2   Correspond with S&C and A&M Team regarding access to certain
                                            bank activity documents
Laureen Ryan            3/15/2023     0.6   Correspond with A&M Team regarding bank repository analysis

Laureen Ryan            3/15/2023     0.4   Correspond with QE and A&M Team regarding avoidance actions
                                            analysis
Leslie Lambert          3/15/2023     0.5   Call with L. Lampert, M. Rodriguez, L. Iwanski, S. Glustein, K.
                                            Kearney, L. Callerio, and P. McGrath (A&M) regarding coin tracing
                                            procedures
Madison Blanchard       3/15/2023     0.3   Review and analysis of venture investments made by debtor entities
                                            (Mysten)
Madison Blanchard       3/15/2023     1.5   Review and analysis of venture investments made by debtor entities
                                            (NEAR token)
Mariah Rodriguez        3/15/2023     0.4   Call with L. Lampert, M. Rodriguez, L. Iwanski, S. Glustein, K.
                                            Kearney, L. Callerio, and P. McGrath (A&M) regarding coin tracing
                                            procedures
Mason Ebrey             3/15/2023     0.7   Update Liquid Value Fund Investment Memo


Mason Ebrey             3/15/2023     2.3   Prepare table comparing Bitcoin price projections found for 2021-
                                            2025
Mason Ebrey             3/15/2023     1.2   Create excel comparing schedule of investments for quarterly Liquid
                                            Value Fund Investment Statements
Maximilian Simkins      3/15/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                            A. Sloan (A&M) discussing progress on cash database


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Avoidance Actions
Professional             Date     Hours     Activity
Maximilian Simkins    3/15/2023     0.1   Call with M. Simkins and B. Price (A&M) regarding HSBC bank

Maximilian Simkins    3/15/2023     0.3   Teleconference with M. Simkins, and A. Sloan (A&M) discussing
                                          manual extraction of HSBC bank statement activity
Maximilian Simkins    3/15/2023     2.1   Manually compile second batch HSBC bank statement activity

Maximilian Simkins    3/15/2023     2.3   Manually compile first batch of HSBC bank statement activity

Maya Haigis           3/15/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/15/2023     2.1   Perform exercise to upload and merge bank statement transaction
                                          reports
Michael Shanahan      3/15/2023     0.5   Call with L. Ryan, M. Shanahan (A&M) potential preference action
                                          analysis
Michael Shanahan      3/15/2023     0.4   Review and revise follow-up request for Circle Bank

Michael Shanahan      3/15/2023     0.3   Working session with M. Shanahan and D. Medway (A&M) regarding
                                          avoidance actions workstream
Michael Shanahan      3/15/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) strategy related to other
                                          avoidance action analysis
Michael Shanahan      3/15/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) re: DriveWealth
                                          transaction
Michael Shanahan      3/15/2023     0.8   Review status of bank statement collection and cash database
                                          development
Michael Shanahan      3/15/2023     0.4   Call with L. Ryan, M. Shanahan (A&M) discussing financial institution
                                          and related discovery request updates and next steps
Michael Shanahan      3/15/2023     1.3   Review and revise updated memo regarding DriveWealth


Michael Shanahan      3/15/2023     1.6   Review supporting documents to DriveWealth memo

Patrick McGrath       3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, and P. McGrath
                                          (A&M) regarding coin tracing procedures
Patrick McGrath       3/15/2023     1.8   Research customer balance issues

Patrick McGrath       3/15/2023     2.3   Review and analyze venture investment documents

Robert Johnson        3/15/2023     0.2   Teleconference with C. Radis, R. Johnson, and E. Hoffer (A&M)
                                          regarding counterparty overlay into AWS
Scott Peoples         3/15/2023     0.3   Perform research on Alameda investment transaction

Scott Peoples         3/15/2023     0.3   Review tracking summary of avoidance actions


Scott Peoples         3/15/2023     0.4   Review Alameda investment memorandum




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Avoidance Actions
Professional                Date     Hours     Activity
Scott Peoples            3/15/2023     0.4   Edit memo related to DriveWealth transaction

Scott Peoples            3/15/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) re: DriveWealth
                                             transaction
Scott Peoples            3/15/2023     2.6   Review materials associated with DriveWealth

Scott Peoples            3/15/2023     1.3   Review documents and materials related to Alameda investment

Alex Canale              3/16/2023     0.7   Analysis of exchange related transaction for Alameda counterparty


Alex Canale              3/16/2023     0.8   Analysis of Liquid Value claim value

Alex Canale              3/16/2023     0.8   Review of updated Binance analysis and provide comments to
                                             colleague
Alex Canale              3/16/2023     1.0   Call with B. Beller, B. Glueckstein, C. Hodges and A. Toobin (S&C)
                                             and L. Ryan, A. Canale, D. Medway and S. Coverick (A&M)
                                             regarding Alameda counterparty investigation
Alex Canale              3/16/2023     0.8   Call with L. Ryan, A. Canale, and D. Medway (A&M) to debrief
                                             Alameda counterparty call with S&C
Alex Canale              3/16/2023     0.5   Review documents relating to Liquid Value claim


Alex Canale              3/16/2023     0.5   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                             counterparty claim update
Alex Canale              3/16/2023     0.4   Teleconference with A. Canale, M. Ebrey (A&M) and O. Yeffet, E.
                                             Kapur, and M. Wittmann (QE) regarding status of Liquid Value Fund
                                             investment analysis
Alex Canale              3/16/2023     0.2   Discussion with A. Canale and S. Peoples (A&M) re: update on
                                             avoidance actions
Alex Canale              3/16/2023     0.3   Teleconference with A. Canale, P. McGrath (A&M) regarding status
                                             of Liquid Value Fund Investment
Alex Canale              3/16/2023     0.4   Review documents supporting payments to individuals and send to
                                             QE
Alex Canale              3/16/2023     0.5   Call with B. Glueckstein, B. Beller (S&C), L. Ryan, A. Canale (A&M)
                                             re: avoidance actions
Alex Canale              3/16/2023     0.2   Teleconference with A. Canale, M. Ebrey (A&M) regarding next steps
                                             in Liquid Value Fund Investment analysis following call with counsel
Alex Canale              3/16/2023     0.2   Teleconference with A. Canale, M. Ebrey (A&M) regarding status of
                                             Liquid Value Fund Investment
Alex Canale              3/16/2023     0.4   Call with A. Canale, D. Dawes (A&M) regarding Binance analysis

Aly Helal                3/16/2023     0.9   Call with A. Helal and E. Hoffer (A&M) discussing cash database
                                             counterparty overlay workstream to populate the counterparties for
                                             each cash transaction
Aly Helal                3/16/2023     2.1   Final review of (FTX investment)IEX Group Investment
                                             documentation



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Professional              Date     Hours     Activity
Aly Helal              3/16/2023     1.4   Search support for Starkware inc Investment by FTX Ventures

Aly Helal              3/16/2023     1.2   Check Goodluck Games company (FTX Subsidiary) bank accounts
                                           information and reviewing payments
Austin Sloan           3/16/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                           A. Sloan (A&M) discussing progress on cash database
Austin Sloan           3/16/2023     1.9   Create AWS detail load file for MUFG statement data. regarding cash
                                           database construction
Austin Sloan           3/16/2023     0.6   Call with E. Hoffer, C. Radis and A. Sloan (A&M) discussing cash
                                           database reconciliation discrepancies
Austin Sloan           3/16/2023     3.1   Process SBI statements in Monarch. regarding cash database
                                           construction
Austin Sloan           3/16/2023     2.5   Reconcile statement detail for SBI statements. regarding cash
                                           database construction
Austin Sloan           3/16/2023     2.6   Process MUFG statements in Monarch. regarding cash database
                                           construction
Breanna Price          3/16/2023     1.8   Finish the process of entering bank statement transactional data for
                                           HSBC bank
Breanna Price          3/16/2023     2.6   Continue the process of entering bank statement transactional data
                                           for HSBC bank
Cameron Radis          3/16/2023     0.8   Perform SQL based exercise to reconcile records for SMBC bank.
                                           Perform manual review of accounts and currencies that do not
                                           reconcile. Create manual script to calculate account balances. Create
                                           output workbooks for further review with the team
Cameron Radis          3/16/2023     0.4   Call with E. Hoffer, C. Radis, and M. Haigis (A&M) discussing SMBC
                                           transaction report discrepancy
Cameron Radis          3/16/2023     1.3   Perform SQL based review of Turicum records that have incorrect
                                           dates pulled from Valid8. Edit queries to adjust issue
Cameron Radis          3/16/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                           A. Sloan (A&M) discussing progress on cash database
Cameron Radis          3/16/2023     0.3   Call with E. Hoffer and C. Radis (A&M) discussing SMBC cash
                                           database reconciliation
Cameron Radis          3/16/2023     1.2   Perform SQL based review of J Trust account and records that are
                                           duplicates on multiple statements. Edit queries to adjust issue
Cameron Radis          3/16/2023     0.6   Call with E. Hoffer, C. Radis and A. Sloan (A&M) discussing cash
                                           database reconciliation discrepancies
Cameron Radis          3/16/2023     3.2   Perform SQL based review of SMBC records that have incorrect
                                           values and overlap within AWS. Edit queries to adjust issue
David Dawes            3/16/2023     0.4   Call with A. Canale, D. Dawes (A&M) regarding Binance analysis

David Dawes            3/16/2023     2.4   Develop alternative financial models surrounding Alameda loan
                                           counterparty valuations
David Dawes            3/16/2023     1.2   Update summary of alternative financial models surrounding
                                           Alameda loan counterparty valuations
David Dawes            3/16/2023     0.3   Working session with D. Dawes and D. Medway (A&M) regarding
                                           analysis of Alameda loan counterparty model

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Professional                 Date     Hours     Activity
David Medway              3/16/2023     1.0   Call with B. Beller, B. Glueckstein, C. Hodges and A. Toobin (S&C)
                                              and L. Ryan, A. Canale, D. Medway and S. Coverick (A&M)
                                              regarding Alameda counterparty investigation
David Medway              3/16/2023     0.3   Working session with D. Dawes and D. Medway (A&M) regarding
                                              analysis of Alameda loan counterparty model
David Medway              3/16/2023     0.5   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                              counterparty claim update
David Medway              3/16/2023     0.4   Internal communications regarding workplan for updates to Alameda
                                              counterparty analyses and materials based on comments from S&C
David Medway              3/16/2023     2.1   Review and edit analysis of Alameda loan counterparty projections


David Medway              3/16/2023     0.8   Prepare for call with S&C regarding Alameda counterparty
                                              investigation
David Medway              3/16/2023     1.3   Strategize procedures and prepare workplan for updates to Alameda
                                              counterparty analyses and materials based on comments from S&C
David Medway              3/16/2023     0.8   Call with L. Ryan, A. Canale, and D. Medway (A&M) to debrief
                                              Alameda counterparty call with S&C
David Medway              3/16/2023     0.5   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty new value analysis
David Medway              3/16/2023     0.5   Internal communications regarding analysis of Alameda counterparty
                                              trading activity
David Medway              3/16/2023     0.6   Prepare workplan for analysis of Alameda counterparty trading activity

Emily Hoffer              3/16/2023     0.8   Update Sullivan and Cromwell historical bank tracker with notes in
                                              preparation for call
Emily Hoffer              3/16/2023     0.4   Call with E. Hoffer, C. Radis, and M. Haigis (A&M) discussing SMBC
                                              transaction report discrepancy
Emily Hoffer              3/16/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/16/2023     0.6   Call with E. Hoffer, C. Radis and A. Sloan (A&M) discussing cash
                                              database reconciliation discrepancies
Emily Hoffer              3/16/2023     0.7   Review updates to monthly balance calculations and transaction
                                              dates in the cash database for J Trust bank and Turicum bank to
                                              ensure accuracy
Emily Hoffer              3/16/2023     0.3   Call with E. Hoffer and C. Radis (A&M) discussing SMBC cash
                                              database reconciliation
Emily Hoffer              3/16/2023     1.9   Reconciliation of Prime Trust for cash database

Emily Hoffer              3/16/2023     0.9   Call with A. Helal and E. Hoffer (A&M) discussing cash database
                                              counterparty overlay strategy and workstream
Emily Hoffer              3/16/2023     0.8   Call with L. Ryan, R. Gordon, M. Shanahan, J. Lee, E. Hoffer (A&M),
                                              F. Crocco, A. Toobin (S&C), M. Cilia (FTX) discussing historical bank
                                              statement collection progress
Emily Hoffer              3/16/2023     0.2   Call with E. Hoffer, J. Lee (A&M) regarding SMBC data and date
                                              discrepancy



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Professional                 Date     Hours     Activity
Emily Hoffer              3/16/2023     2.6   Review of PayPay bank production for uploading to the cash
                                              database
Emily Hoffer              3/16/2023     1.8   Review bank statements, check images and wire detail available for
                                              Klarpay bank accounts and determining the specific files to be loaded
                                              into the cash database
Julian Lee                3/16/2023     0.2   Review of bank communication tracker and PMO slide


Julian Lee                3/16/2023     0.6   Review Nuvei data files and prepare follow-ups items

Julian Lee                3/16/2023     0.2   Correspond with debtor regarding Good Luck Games and Apple
                                              business account
Julian Lee                3/16/2023     0.5   Update QE bank tracker and correspond with team

Julian Lee                3/16/2023     0.5   Review of bank data related to Maerki and Klarpay

Julian Lee                3/16/2023     0.3   Review Stripe data files and prepare follow-up items


Julian Lee                3/16/2023     0.3   Review QE memo of Brinc Drones investment

Julian Lee                3/16/2023     0.3   Correspond with team regarding bank account tracker and bank
                                              communication status tracker
Julian Lee                3/16/2023     0.2   Review of bank data files related to Transfero

Julian Lee                3/16/2023     0.1   Correspond with QE team regarding production status of JPMorgan
                                              Chase
Julian Lee                3/16/2023     0.8   Call with L. Ryan, R. Gordon, M. Shanahan, J. Lee, E. Hoffer (A&M),
                                              F. Crocco, A. Toobin (S&C), M. Cilia (FTX) discussing historical bank
                                              statement collection progress
Julian Lee                3/16/2023     0.2   Correspond with foreign debtor representative for Turicum bank data

Julian Lee                3/16/2023     0.1   Correspond with team regarding research on Good Luck Games and
                                              potential Apple bank account
Julian Lee                3/16/2023     0.4   Review of Nuvei production and responses

Julian Lee                3/16/2023     0.8   Review bank communication status tracker


Julian Lee                3/16/2023     0.2   Call with E. Hoffer, J. Lee (A&M) regarding SMBC data and date
                                              discrepancy
Julian Lee                3/16/2023     0.1   Correspond with counsel regarding production status for HSBC, Bank
                                              of America, and Wells Fargo
Laureen Ryan              3/16/2023     0.8   Call with L. Ryan, A. Canale, and D. Medway (A&M) to debrief
                                              Alameda counterparty call with S&C
Laureen Ryan              3/16/2023     0.4   Correspond with A&M team regarding avoidance action activities

Laureen Ryan              3/16/2023     0.7   Correspond with A&M team regarding avoidance action activities



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Professional             Date     Hours     Activity
Laureen Ryan          3/16/2023     0.6   Correspond with QE and A&M team regarding avoidance action
                                          activities
Laureen Ryan          3/16/2023     0.8   Call with L. Ryan, R. Gordon, M. Shanahan, J. Lee, E. Hoffer (A&M),
                                          F. Crocco, A. Toobin (S&C), M. Cilia (FTX) discussing historical bank
                                          statement collection progress
Laureen Ryan          3/16/2023     0.3   Correspond with A&M team regarding bank activity updates


Laureen Ryan          3/16/2023     0.5   Call with B. Glueckstein, B. Beller (S&C), L. Ryan, A. Canale (A&M)
                                          re: avoidance actions
Laureen Ryan          3/16/2023     1.0   Call with B. Beller, B. Glueckstein, C. Hodges and A. Toobin (S&C)
                                          and L. Ryan, A. Canale, D. Medway and S. Coverick (A&M)
                                          regarding Alameda counterparty investigation
Mason Ebrey           3/16/2023     0.4   Teleconference with A. Canale, M. Ebrey (A&M) and O. Yeffet, E.
                                          Kapur, and M. Wittmann (QE) regarding status of Liquid Value Fund
                                          investment analysis
Mason Ebrey           3/16/2023     1.4   Put together a table comparing Bitcoin price projections found for
                                          2021-2025
Mason Ebrey           3/16/2023     2.4   Create excel outlining primary investments for quarterly Liquid Value
                                          Fund Investment Statements
Mason Ebrey           3/16/2023     0.2   Teleconference with A. Canale, M. Ebrey (A&M) regarding status of
                                          Liquid Value Fund Investment
Mason Ebrey           3/16/2023     0.3   Updates to Liquid Value Fund memo and Crypto Transaction
                                          Schedule
Mason Ebrey           3/16/2023     0.2   Teleconference with A. Canale, M. Ebrey (A&M) regarding next steps
                                          in Liquid Value Fund Investment analysis following call with counsel
Mason Ebrey           3/16/2023     1.4   Research into precedence for treatment of customer funds in crypto
                                          exchange bankruptcies
Mason Ebrey           3/16/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Liquid
                                          Value Fund analysis
Maximilian Simkins    3/16/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins    3/16/2023     1.1   Prepare notes and materials for teleconference with E. Hoffer, M.
                                          Haigis, C. Radis, M. Simkins, and A. Sloan (A&M) discussing
                                          progress on cash database
Maximilian Simkins    3/16/2023     2.5   Manually compile second batch HSBC bank statement activity


Maya Haigis           3/16/2023     0.3   Call with E. Hoffer, C. Radis, and M. Haigis (A&M) discussing SMBC
                                          transaction report discrepancy
Maya Haigis           3/16/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/16/2023     1.3   Review documents related to potential avoidance actions

Michael Shanahan      3/16/2023     0.4   Communications to/from counsel regarding outstanding diligence
                                          requests
Michael Shanahan      3/16/2023     0.8   Review bank production status in preparation for call with counsel



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Avoidance Actions
Professional                Date     Hours     Activity
Michael Shanahan         3/16/2023     0.3   Call with M. Shanahan and P. McGrath (A&M) regarding customer
                                             balance transactions and venture investments
Michael Shanahan         3/16/2023     0.5   Preliminary review of documents produced by Transfero


Michael Shanahan         3/16/2023     0.5   Review 2004 request issued to financial institutions

Michael Shanahan         3/16/2023     1.3   Review research related to customer balances and activity

Michael Shanahan         3/16/2023     0.6   Review and revise follow-up request for financial institutions


Michael Shanahan         3/16/2023     0.8   Call with L. Ryan, R. Gordon, M. Shanahan, J. Lee, E. Hoffer (A&M),
                                             F. Crocco, A. Toobin (S&C), M. Cilia (FTX) discussing historical bank
                                             statement collection progress
Patrick McGrath          3/16/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Liquid
                                             Value Fund analysis
Patrick McGrath          3/16/2023     0.4   Review and analyze venture investment documents


Patrick McGrath          3/16/2023     0.3   Teleconference with A. Canale, P. McGrath (A&M) regarding status
                                             of Liquid Value Fund Investment
Patrick McGrath          3/16/2023     0.3   Call with M. Shanahan and P. McGrath (A&M) regarding customer
                                             balance transactions and venture investments
Robert Gordon            3/16/2023     0.8   Call with L. Ryan, R. Gordon, M. Shanahan, J. Lee, E. Hoffer (A&M),
                                             F. Crocco, A. Toobin (S&C), M. Cilia (RLKS) discussing historical
                                             bank statement collection progress
Samuel Mimms             3/16/2023     0.5   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                             counterparty new value analysis
Scott Peoples            3/16/2023     0.2   Discussion with A. Canale and S. Peoples (A&M) re: update on
                                             avoidance actions
Scott Peoples            3/16/2023     0.3   Review updated DriveWealth memo

Steve Coverick           3/16/2023     0.5   Call with B. Glueckstein, B. Beller (S&C), L. Ryan, A. Canale (A&M)
                                             re: avoidance actions
Steve Coverick           3/16/2023     1.0   Call with B. Beller, B. Glueckstein, C. Hodges and A. Toobin (S&C)
                                             and L. Ryan, A. Canale, D. Medway and S. Coverick (A&M)
                                             regarding Alameda counterparty investigation
Alex Canale              3/17/2023     0.7   Calls with D. Medway, A. Canale (A&M) regarding Alameda
                                             counterparty collateral analysis
Alex Canale              3/17/2023     0.3   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding PMO
                                             reporting
Alex Canale              3/17/2023     1.0   Review payments to third priority professionals firms and edit

Alex Canale              3/17/2023     0.4   Correspond with A&M and S&C regarding Alameda counterparty
                                             collateral analysis
Alex Canale              3/17/2023     1.6   Review documents relating to Alameda counterparty exchange and
                                             collateral analysis



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Avoidance Actions
Professional                Date     Hours     Activity
Alex Canale              3/17/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding updated on
                                             venture book claims analysis
Alex Canale              3/17/2023     0.3   Review documents relating to Alameda investment claim and token
                                             airdrop
Alex Canale              3/17/2023     0.4   Draft initial key findings regarding Binance transactions

Alex Canale              3/17/2023     0.3   Review documents relating to Liquid Value fund claim

Alex Canale              3/17/2023     0.3   Review documents relating to Mina token transfers


Alex Canale              3/17/2023     0.3   Teleconference with A. Canale and A. Cox (A&M) related to
                                             professional fees paid
Alex Canale              3/17/2023     0.5   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                             claims update
Alex Canale              3/17/2023     0.3   Review responses to counsel queries regarding Alameda
                                             counterparty collateral and edit
Alex Canale              3/17/2023     0.6   Continue to review and summarize payments made to law firms


Allison Cox              3/17/2023     0.3   Teleconference with A. Canale and A. Cox (A&M) related to
                                             professional fees paid
Allison Cox              3/17/2023     0.8   Document review to updated summary table in relation to
                                             professional fees paid
Aly Helal                3/17/2023     1.5   Search and documenting Starkware Investment (FTX Investment)
                                             new payments support
Aly Helal                3/17/2023     2.5   Document the findings for Starkware Investment by FTX Ventures

Austin Sloan             3/17/2023     1.9   Process Klarpay statements in Valid8. regarding cash database
                                             construction
Austin Sloan             3/17/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/17/2023     1.9   Create AWS summary and detail load files for HSBC statement data.
                                             regarding cash database construction
Austin Sloan             3/17/2023     2.4   Reconcile statement detail for HSBC statements. regarding cash
                                             database construction
Breanna Price            3/17/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal, B. Price, and I. Patel (A&M)
                                             regarding the process of defining A&M counterparties
Breanna Price            3/17/2023     0.8   Add new OpenPay'd bank data to the bank statement tracker


Breanna Price            3/17/2023     2.5   Pull down Relativity sources for the Brinc memo

Breanna Price            3/17/2023     0.5   Confirm if Maerki bank has counterparties for its transactional data


Cameron Radis            3/17/2023     0.7   Perform SQL exercise to push four banks into staging metabase
                                             environment




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Avoidance Actions
Professional                 Date     Hours     Activity
Cameron Radis             3/17/2023     2.6   Perform SQL based exercise to reconcile records for MUFG bank.
                                              Perform manual review of accounts and currencies that do not
                                              reconcile. Create manual script to calculate account balances
Cameron Radis             3/17/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Cameron Radis             3/17/2023     1.9   Perform SQL based review of SMBC records that have incorrect
                                              dates in AWS. Edit queries to adjust issue. Re-reconcile bank and
                                              create scripts to push to metabase staging views
David Dawes               3/17/2023     0.6   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                              regarding Alameda loan counterparty financial model analysis
David Dawes               3/17/2023     0.4   Update Binance summaries for fraudulent conveyance review

David Dawes               3/17/2023     0.9   Review and update A&M summary of Binance relationship


David Dawes               3/17/2023     2.0   Continue to update summary of alternative financial models
                                              surrounding Alameda loan counterparty valuations
David Dawes               3/17/2023     2.6   Update summary of alternative financial models surrounding
                                              Alameda loan counterparty valuations
David Medway              3/17/2023     0.8   Update Alameda counterparty new value analysis based on feedback
                                              from S&C
David Medway              3/17/2023     0.8   Call with D. Medway, M. Shanahan (A&M) regarding investigations of
                                              various Venture Book investments
David Medway              3/17/2023     1.7   Review Alameda counterparty collateral inquiry from counsel and
                                              prepare response
David Medway              3/17/2023     0.6   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                              regarding Alameda loan counterparty financial model analysis
David Medway              3/17/2023     1.2   Update Alameda counterparty collateral analysis based on feedback
                                              from S&C
David Medway              3/17/2023     0.3   Call with D. Medway, P. McGrath (A&M) regarding investigations of
                                              various Venture Book investments
David Medway              3/17/2023     0.4   Prepare workplan for investigation of various Venture Book
                                              investments
David Medway              3/17/2023     0.1   Call with D. Medway, S. Mimms (A&M) regarding new value analysis
                                              of Alameda counterparty trading activity
David Medway              3/17/2023     0.4   Prepare for internal call regarding analysis of Alameda loan
                                              counterparty financial projections
David Medway              3/17/2023     0.4   Update Alameda counterparty executive summary based on updates
                                              to new value analysis
David Medway              3/17/2023     0.7   Calls with D. Medway, A. Canale (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/17/2023     0.3   Communications with counsel regarding Alameda counterparty
                                              collateral analysis
Emily Hoffer              3/17/2023     1.0   Media searches for BRINC Drones

Emily Hoffer              3/17/2023     1.6   Reconciliation of MUFG bank for cash database



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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/17/2023     1.7   Compile search results for BRINC Drones in a memo

Emily Hoffer              3/17/2023     1.2   Reconciliation of SMBC for cash database


Emily Hoffer              3/17/2023     1.8   Review of Venture Book for BRINC Drones

Emily Hoffer              3/17/2023     1.9   Review documents on Relativity for additional information
                                              surrounding specific transfers from FTX legal entities to BRINC
                                              Drones
Emily Hoffer              3/17/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Ishika Patel              3/17/2023     1.4   Review counterparties for consolidated Silvergate Bank Transactions

Ishika Patel              3/17/2023     2.0   Enter counterparties for Silvergate Bank Transactions

Ishika Patel              3/17/2023     3.3   Continue entering counterparties for Silvergate Bank Transactions


Julian Lee                3/17/2023     0.2   Correspond with team regarding bank communication status and
                                              bank account tracker
Julian Lee                3/17/2023     0.3   Review of QE memo for Brinc Drones investment


Julian Lee                3/17/2023     0.1   Call with M. Shanahan, J. Lee (A&M) to discuss avoidance actions
                                              workplan
Julian Lee                3/17/2023     0.3   Review of supporting documents related to Starkware investment


Julian Lee                3/17/2023     0.1   Correspond with LRC regarding status of outstanding items from
                                              Silicon Valley Bank, Bank of America, and Wells Fargo
Julian Lee                3/17/2023     0.8   Review and update bank account tracker

Julian Lee                3/17/2023     0.2   Review of bank communication tracker and PMO slide


Julian Lee                3/17/2023     1.2   Bank communication tracker and bank response files

Julian Lee                3/17/2023     0.1   Correspond with team regarding discrepancies in bank data for SBI
                                              Netbank
Julian Lee                3/17/2023     0.1   Correspond with team regarding OpenPay'd and Maerki bank data

Kumanan Ramanathan        3/17/2023     0.1   Call with A. Dietderich (S&C), K. Ramanathan, G. Walia, and S.
                                              Coverick (A&M) to discuss Alameda relationship deck draft
Laureen Ryan              3/17/2023     0.5   Correspond with QE and A&M team regarding venture book
                                              avoidance analysis memos
Laureen Ryan              3/17/2023     0.6   Review documents relevant to avoidance action investigations

Laureen Ryan              3/17/2023     0.2   Correspond with QE and A&M team regarding bank account analysis




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Professional             Date     Hours     Activity
Laureen Ryan          3/17/2023     0.3   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding PMO
                                          reporting
Laureen Ryan          3/17/2023     0.2   Review and update PMO and workstream tracker


Laureen Ryan          3/17/2023     0.4   Correspond with A&M team regarding avoidance action activities

Laureen Ryan          3/17/2023     0.2   Correspond with A&M team regarding PMO updates

Laureen Ryan          3/17/2023     0.3   Correspond with S&C and A&M team regarding Alameda
                                          counterparty updated analysis
Laureen Ryan          3/17/2023     0.3   Correspond with QE and A&M team regarding law firm payment
                                          analysis
Laureen Ryan          3/17/2023     0.4   Correspond with A&M team regarding good luck games and other
                                          bank activity
Mason Ebrey           3/17/2023     0.3   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Liquid
                                          Value Fund analysis
Mason Ebrey           3/17/2023     0.8   Prepare for discussion regarding Liquid Value Fund analysis


Mason Ebrey           3/17/2023     3.3   Create excel outlining primary investments for quarterly Liquid Value
                                          Fund Investment Statements
Maximilian Simkins    3/17/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/17/2023     0.3   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/17/2023     0.6   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                          regarding Alameda loan counterparty financial model analysis
Michael Shanahan      3/17/2023     0.3   Communications to/from counsel regarding outstanding bank
                                          productions
Michael Shanahan      3/17/2023     0.3   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding PMO
                                          reporting
Michael Shanahan      3/17/2023     0.5   Preliminary review of memo - Brinc


Michael Shanahan      3/17/2023     0.5   Call with M. Shanahan and P. McGrath (A&M) regarding customer
                                          balance transactions and venture investments
Michael Shanahan      3/17/2023     0.8   Call with D. Medway, M. Shanahan (A&M) regarding investigations of
                                          various Venture Book investments
Michael Shanahan      3/17/2023     1.2   Review documents related to potential avoidance action - Alameda
                                          loan counterparty
Michael Shanahan      3/17/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding updated on
                                          venture book claims analysis
Michael Shanahan      3/17/2023     0.4   Review PMO reporting slide and supporting schedule


Michael Shanahan      3/17/2023     0.1   Call with M. Shanahan, J. Lee (A&M) to discuss avoidance actions
                                          workplan




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Patrick McGrath           3/17/2023     0.3   Call with D. Medway, P. McGrath (A&M) regarding investigations of
                                              various Venture Book investments
Patrick McGrath           3/17/2023     1.6   Research customer balance issues


Patrick McGrath           3/17/2023     0.5   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                              claims update
Patrick McGrath           3/17/2023     2.3   Review and analyze venture investment documents

Patrick McGrath           3/17/2023     0.5   Call with M. Shanahan and P. McGrath (A&M) regarding customer
                                              balance transactions and venture investments
Patrick McGrath           3/17/2023     0.3   Teleconference with P. McGrath, M. Ebrey (A&M) regarding Liquid
                                              Value Fund analysis
Samuel Mimms              3/17/2023     0.1   Call with D. Medway, S. Mimms (A&M) regarding new value analysis
                                              of Alameda counterparty trading activity
Samuel Mimms              3/17/2023     1.1   Develop Alameda counterparty new value analysis on FTX Exchange
                                              account activity
Scott Peoples             3/17/2023     0.8   Review IEX investment summary memorandum


Scott Peoples             3/17/2023     1.3   Review IEX contractual documents

David Dawes               3/18/2023     2.0   Perform updates to GDA operational summaries

David Medway              3/18/2023     0.6   Prepare summary of Alameda counterparty FTX exchange accounts
                                              for database team review and analysis
David Medway              3/18/2023     0.2   Communications with Database team regarding Alameda
                                              counterparty FTX exchange accounts
Julian Lee                3/18/2023     0.6   Review and provide comments to Brinc Drones memo from QE team


Julian Lee                3/18/2023     0.4   Review and provide comments to Sequoia Heritage memo from QE
                                              team
Patrick McGrath           3/18/2023     1.1   Review and analyze venture investment documents


Austin Sloan              3/19/2023     1.1   Reconcile statement detail for Klarpay statements. regarding cash
                                              database construction
David Dawes               3/19/2023     0.3   Perform updates to GDA operational summaries

David Medway              3/19/2023     1.5   Perform analysis to quantify Alameda counterparty collateral surplus
                                              and shortfall as of various key dates
David Medway              3/19/2023     2.9   Update Alameda counterparty collateral analysis based on comments
                                              from S&C
Emily Hoffer              3/19/2023     0.2   Review bank statements, check images and wire detail available for
                                              Bank of America accounts and determining the specific files to be
                                              loaded into the cash database
Emily Hoffer              3/19/2023     0.5   Review bank statements, check images and wire detail available for
                                              Maerki bank accounts and determining the specific files to be loaded
                                              into the cash database

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Professional                Date     Hours     Activity
Laureen Ryan             3/19/2023     0.5   Review draft Venture Book avoidance action memo

Laureen Ryan             3/19/2023     0.1   Correspond with QE and A&M team regarding Venture Book
                                             avoidance action memo
Alex Canale              3/20/2023     0.8   Review and edit Alameda counterparty claim draft report and
                                             appendices
Alex Canale              3/20/2023     0.7   Review Sequoia Heritage memorandum and documents related
                                             thereto
Alex Canale              3/20/2023     0.9   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                             counterparty collateral analysis
Alex Canale              3/20/2023     0.3   Call with A. Canale, P. McGrath (A&M) regarding Fuel update

Alex Canale              3/20/2023     0.2   Teleconference with A. Canale and A. Cox (A&M) regarding venture
                                             book investments
Alex Canale              3/20/2023     1.8   Review and edit analysis of Liquid Value fund investments

Alex Canale              3/20/2023     0.1   Teleconference with A. Canale, M. Ebrey (A&M) regarding updates to
                                             Liquid Value Fund Investment Schedule Comparison
Alex Canale              3/20/2023     1.1   Review Fuel tokens memorandum and documents related thereto

Alex Canale              3/20/2023     0.3   Correspond with A&M team regarding Liquid Value transaction

Alex Canale              3/20/2023     0.2   Correspond with A&M team regarding Sequoia Heritage transaction


Alex Canale              3/20/2023     1.2   Review and edit QE memorandum regarding 80 Acres and
                                             documents related thereto
Alex Canale              3/20/2023     0.2   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                             claims update
Alex Canale              3/20/2023     0.5   Prepare summary of QE avoidance action claims for PMO

Allison Cox              3/20/2023     1.8   Document review related to venture book investments


Allison Cox              3/20/2023     0.1   Teleconference with M. Blanchard and A. Cox (A&M) regarding
                                             professional fees paid
Allison Cox              3/20/2023     0.2   Teleconference with A. Canale and A. Cox (A&M) regarding venture
                                             book investments
Allison Cox              3/20/2023     1.6   Perform budget versus actual analysis related venture book
                                             investments
Allison Cox              3/20/2023     1.8   Perform metrics per media reports versus company financial analysis
                                             related to venture book investments
Aly Helal                3/20/2023     2.4   Review and tying Sequoia Capital Fund Investment (by FTX) memo
                                             from Counsel to A&M's memo
Aly Helal                3/20/2023     1.9   Review and tying DriveWealth company Investment (by FTX) memo
                                             from Counsel to A&M's memo




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Professional             Date     Hours     Activity
Austin Sloan          3/20/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Austin Sloan          3/20/2023     2.3   Create AWS summary and detail load files for Klarpay statement
                                          data. regarding cash database construction
Austin Sloan          3/20/2023     2.2   Create AWS summary and detail load files for SBI statement data.
                                          regarding cash database construction
Austin Sloan          3/20/2023     2.4   Reconcile statement detail for SBI statements. regarding cash
                                          database construction
Austin Sloan          3/20/2023     0.6   Reconcile statement detail for HSBC statements. regarding cash
                                          database construction
Breanna Price         3/20/2023     2.1   Add new Innovatia Ltd Turicum bank data to the bank statement
                                          trackers
Breanna Price         3/20/2023     2.6   Add new Zubr Exchange Ltd Turicum bank data to the bank
                                          statement trackers
Breanna Price         3/20/2023     0.8   Add new HSBC bank data to the bank statement trackers

Cameron Radis         3/20/2023     0.2   Teleconference with C. Radis and E. Hoffer (A&M) regarding Morgan
                                          Stanley bank customizations
Cameron Radis         3/20/2023     2.8   Perform SQL based exercise to reconcile records for HSBC bank.
                                          Perform manual review of accounts and currencies that do not
                                          reconcile. Create manual script to calculate account balances
Cameron Radis         3/20/2023     2.6   Perform SQL based exercise to reconcile records for Morgan Stanley
                                          bank. Create custom script to handle different account categories
                                          and types
Cameron Radis         3/20/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Cameron Radis         3/20/2023     0.7   Perform SQL exercise to create scripts to push both HSBC and
                                          Morgan Stanley bank data to staging metabase views
Cameron Radis         3/20/2023     1.2   Perform SQL exercise to review all SBI data in AWS. Generate
                                          summary metrics and create output to share with team to determine
                                          most recent and accurate files to use for reconciliation
David Dawes           3/20/2023     0.9   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                          regarding Alameda loan counterparty financial model analysis
David Dawes           3/20/2023     2.9   Develop summaries of potential avoidance action investments


David Dawes           3/20/2023     3.1   Perform review of Alameda loan counterparty models for
                                          development of expenses and mechanics in model
David Dawes           3/20/2023     1.8   Update alternative financial models surrounding Alameda loan
                                          counterparty valuations
David Dawes           3/20/2023     1.9   Develop alternative financial models surrounding Alameda loan
                                          counterparty valuations
David Dawes           3/20/2023     0.4   Review market analyses and public projections of BTC pricing in 2021


David Dawes           3/20/2023     0.2   Teleconference with D. Dawes, M. Ebrey (A&M) regarding quality
                                          control process of Alameda loan counterparty Bitcoin Model



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Professional                 Date     Hours     Activity
David Medway              3/20/2023     0.4   Call with S. Mimms, D. Medway (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/20/2023     0.4   Call with M. Shanahan, D. Medway (A&M) regarding avoidance
                                              action workstream status and strategy
David Medway              3/20/2023     1.9   Review and analyze pre-Preference Period transfers of FTT to known
                                              Alameda counterparty wallets against Alameda counterparty loan
                                              term sheets
David Medway              3/20/2023     0.9   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                              regarding Alameda loan counterparty financial model analysis
David Medway              3/20/2023     0.9   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/20/2023     0.5   Communications with QE regarding investigations of various Venture
                                              Book investments
David Medway              3/20/2023     2.1   Prepare materials summarizing results of new value analysis of
                                              Alameda counterparty FTX exchange account activity for counsel
                                              review
David Medway              3/20/2023     1.5   Prepare materials summarizing results of Alameda counterparty
                                              Preference Period collateral analysis for counsel review
David Medway              3/20/2023     1.2   Review and edit new value analysis of Alameda counterparty FTX
                                              exchange account activity
David Medway              3/20/2023     0.6   Call with A. Kutscher (QE) and M. Shanahan, D. Medway (A&M)
                                              regarding avoidance action workstream status and strategy
Emily Hoffer              3/20/2023     0.7   Locate and review documents surrounding the purchase of
                                              Philadelphia Sureties
Emily Hoffer              3/20/2023     1.9   Review OpenPay'd production and attempt to reconcile

Emily Hoffer              3/20/2023     3.2   Review Far Eastern bank production and attempt to reconcile


Emily Hoffer              3/20/2023     1.1   Call with E. Hoffer, J. Lee (A&M) to discuss Far Eastern bank
                                              production
Emily Hoffer              3/20/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/20/2023     0.2   Call with E. Hoffer, J. Lee (A&M) to discuss memo on Brinc
                                              investment
Emily Hoffer              3/20/2023     0.8   Update bank statement detail tracker for non-debtor accounts


Emily Hoffer              3/20/2023     0.2   Teleconference with C. Radis and E. Hoffer (A&M) regarding Morgan
                                              Stanley bank customizations
Emily Hoffer              3/20/2023     0.2   Call with E. Hoffer, J. Lee (A&M) to discuss bank data follow-ups for
                                              OpenPay'd, Skrill, Wells Fargo, Far Eastern
Ishika Patel              3/20/2023     1.6   Continue entering Counterparties for Silvergate Bank Transactions


Ishika Patel              3/20/2023     2.3   Enter Counterparties for Silvergate Bank Transactions

Ishika Patel              3/20/2023     2.8   Enter Counterparties for Evolve Bank Transactions



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Avoidance Actions
Professional                 Date     Hours     Activity
Ishika Patel              3/20/2023     0.8   Continue entering Counterparties for Evolve Bank Transactions

Julian Lee                3/20/2023     0.1   Search and identify cash collateral payment to Philadelphia
                                              Indemnity in cash database
Julian Lee                3/20/2023     0.2   Review of Nuvei response and provide follow-up to counsel

Julian Lee                3/20/2023     0.9   Review of Skrill responses and prepare follow-up regarding balance
                                              discrepancies
Julian Lee                3/20/2023     0.1   Prepare request for database team regarding potential USDC
                                              transaction to Sequoia Capital
Julian Lee                3/20/2023     0.1   Review of correspondence from team in relation to bank data for
                                              Japan KK and Quoine
Julian Lee                3/20/2023     0.1   Review of HSBC statements provided by foreign debtor
                                              representative
Julian Lee                3/20/2023     0.2   Update status of bank reconciliation for combined table in cash
                                              database
Julian Lee                3/20/2023     0.3   Review of email correspondence in relation to Sequoia Heritage
                                              investment and potential USDC transfer
Julian Lee                3/20/2023     0.2   Correspond with foreign debtor representative regarding data
                                              production for SBI account
Julian Lee                3/20/2023     0.3   Review and update of bank communication status tracker

Julian Lee                3/20/2023     0.2   Correspond with team regarding DriveWealth findings


Julian Lee                3/20/2023     0.2   Call with E. Hoffer, J. Lee (A&M) to discuss bank data follow-ups for
                                              OpenPay'd, Skrill, and Wells Fargo. Far Eastern
Julian Lee                3/20/2023     0.7   Review data files and responses provided by OpenPay'd


Julian Lee                3/20/2023     0.4   Review of QE memo on investment in Sequoia Heritage

Julian Lee                3/20/2023     1.1   Call with E. Hoffer, J. Lee (A&M) to discuss Far Eastern bank
                                              production
Julian Lee                3/20/2023     0.2   Review of bank data files provided by foreign debtor representative
                                              for Turicum bank re: Innovatia Ltd. and Zubr Exchange
Julian Lee                3/20/2023     0.2   Review of correspondence related to DriveWealth and Autonomous
                                              research report
Julian Lee                3/20/2023     0.2   Call with E. Hoffer, J. Lee (A&M) to discuss memo on Brinc
                                              investment
Julian Lee                3/20/2023     0.5   Review of cash database and correspond with team regarding banks
                                              that require valid 8 for processing
Laureen Ryan              3/20/2023     0.3   Correspond with QE and A&M team regarding Ledger related
                                              information for venture book recovery
Laureen Ryan              3/20/2023     0.2   Correspond with A&M team and S&C regarding Alameda
                                              counterparty analysis




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Avoidance Actions
Professional             Date     Hours     Activity
Laureen Ryan          3/20/2023     0.7   Correspond with A&M team regarding avoidance actions

Laureen Ryan          3/20/2023     0.4   Correspond with QE and A&M team regarding avoidance action
                                          analysis
Laureen Ryan          3/20/2023     0.3   Correspond with A&M team regarding S&C request related to
                                          Philadelphina sureties
Laureen Ryan          3/20/2023     0.2   Review document related to S&C request related to Philadelphina
                                          sureties
Laureen Ryan          3/20/2023     0.6   Review documents relevant to avoidance action investigation matters


Madison Blanchard     3/20/2023     2.2   Documentation of support documents in relation to payments made
                                          to professionals
Madison Blanchard     3/20/2023     1.2   Additional documentation of support documents in relation to
                                          payments made to professionals
Madison Blanchard     3/20/2023     0.3   Call with P. McGrath and M. Blanchard (A&M) regarding Fuel Memo

Madison Blanchard     3/20/2023     0.1   Teleconference with M. Blanchard and A. Cox (A&M) regarding
                                          professional fees paid
Madison Blanchard     3/20/2023     3.3   Review and analysis of venture investments made by debtor entities
                                          and review of draft memo prepared by QE (Fuel)
Mason Ebrey           3/20/2023     0.3   Calculation of Fair Value amount for Liquid Value Fund investment in
                                          Point Network Limited
Mason Ebrey           3/20/2023     0.1   Teleconference with A. Canale, M. Ebrey (A&M) regarding updates to
                                          Liquid Value Fund Investment Schedule Comparison
Mason Ebrey           3/20/2023     0.9   Quality Control of Alameda loan counterparty Bitcoin Model

Mason Ebrey           3/20/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding updates
                                          to Liquid Value Fund Investment Schedule Comparison
Mason Ebrey           3/20/2023     0.2   Teleconference with D. Dawes, M. Ebrey (A&M) regarding quality
                                          control process of Alameda loan counterparty Bitcoin Model
Mason Ebrey           3/20/2023     0.8   Updates to Liquid Value Fund Investment Schedule


Maximilian Simkins    3/20/2023     0.4   Teleconference with M. Simkins and M. Haigis (A&M) regarding
                                          transaction report Process
Maximilian Simkins    3/20/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins    3/20/2023     0.6   Process Maerki Baumann transaction report csv files for AWS upload


Maya Haigis           3/20/2023     0.4   Teleconference with M. Simkins and M. Haigis (A&M) regarding
                                          transaction report Process
Maya Haigis           3/20/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/20/2023     0.3   Prepare transaction reports for Process




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Avoidance Actions
Professional             Date     Hours     Activity
Michael Shanahan      3/20/2023     0.9   Review documents related to potential avoidance action - Stocktwits

Michael Shanahan      3/20/2023     0.9   Teleconference with M. Shanahan, D. Medway and D. Dawes (A&M)
                                          regarding Alameda loan counterparty financial model analysis
Michael Shanahan      3/20/2023     0.1   Discussion with M. Shanahan and S. Peoples (A&M) re: Stocktwits
                                          valuation
Michael Shanahan      3/20/2023     1.2   Review financial analysis related to Alameda loan counterparty
                                          valuations
Michael Shanahan      3/20/2023     0.4   Call with M. Shanahan, D. Medway (A&M) regarding avoidance
                                          action workstream status and strategy
Michael Shanahan      3/20/2023     1.3   Review documents related to potential avoidance action -
                                          DriveWealth
Michael Shanahan      3/20/2023     1.5   Review reconciliation workpapers for cash database


Michael Shanahan      3/20/2023     0.4   Review and revise detailed bank communications tracker

Michael Shanahan      3/20/2023     0.6   Review status of bank document record collection


Michael Shanahan      3/20/2023     0.5   Review communications to/from financial institutions related to
                                          document production
Michael Shanahan      3/20/2023     0.6   Review cash transactions and supporting documents related to
                                          Philadelphia Sureties
Michael Shanahan      3/20/2023     0.6   Call with A. Kutscher (QE) and M. Shanahan, D. Medway (A&M)
                                          regarding avoidance action workstream status and strategy
Patrick McGrath       3/20/2023     1.7   Review analysis of investment multiples for venture book investment

Patrick McGrath       3/20/2023     3.1   Review and update venture book memos


Patrick McGrath       3/20/2023     0.2   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                          claims update
Patrick McGrath       3/20/2023     0.3   Call with P. McGrath and M. Blanchard (A&M) regarding Fuel Memo


Patrick McGrath       3/20/2023     0.1   Teleconference with P. McGrath, M. Ebrey (A&M) regarding updates
                                          to Liquid Value Fund Investment Schedule Comparison
Patrick McGrath       3/20/2023     0.3   Call with A. Canale, P. McGrath (A&M) regarding Fuel update

Patrick McGrath       3/20/2023     1.8   Analysis of historical financial information for ventures investments


Samuel Mimms          3/20/2023     0.4   Call with S. Mimms, D. Medway (A&M) regarding Alameda
                                          counterparty collateral analysis
Samuel Mimms          3/20/2023     1.3   Review and edit Counsel's draft memo on 80 Acres avoidance action


Samuel Mimms          3/20/2023     0.9   Develop Alameda counterparty loan collateral analysis for
                                          incorporation into deck for Counsel




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Avoidance Actions
Professional                Date     Hours     Activity
Scott Peoples            3/20/2023     0.1   Discussion with M. Shanahan and S. Peoples (A&M) re: Stocktwits
                                             valuation
Scott Peoples            3/20/2023     1.2   Review and edit memo on the Fuel transaction


Scott Peoples            3/20/2023     0.3   Review counsel's DriveWealth comments

Scott Peoples            3/20/2023     1.1   Review documents related to Fuel transaction

Scott Peoples            3/20/2023     0.2   Review correspondence related to Stocktwits


Alex Canale              3/21/2023     0.3   Correspond with A&M and QE team regarding payments to law firms
                                             and support related thereto
Alex Canale              3/21/2023     0.3   Correspond with A&M team and QE regarding Mina tokens claim


Alex Canale              3/21/2023     0.5   Call with A. Alden and J. Palmerson (QE) and M. Shanahan, A.
                                             Canale, and D. Medway (A&M) regarding bank 2004 requests
Alex Canale              3/21/2023     0.3   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                             Alameda counterparty collateral analysis
Alex Canale              3/21/2023     0.3   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                             Mina Memo
Alex Canale              3/21/2023     0.1   Correspond with S&C regarding Wang search terms

Alex Canale              3/21/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding bank information
                                             strategy and coordination
Alex Canale              3/21/2023     1.1   Review and edit Mina tokens claim memorandum prepared by QE
                                             and documents related thereto
Alex Canale              3/21/2023     0.3   Review Polygon claim memorandum prepared by QE


Alex Canale              3/21/2023     0.4   Prepare summary of QE avoidance action claims for PMO

Alex Canale              3/21/2023     0.8   Review documents related to MPL claim


Alex Canale              3/21/2023     0.4   Call with A. Canale, M. Blanchard, and A. Cox (A&M) regarding MPL
                                             investment
Alex Canale              3/21/2023     0.4   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                             counterparty collateral analysis
Alex Canale              3/21/2023     0.4   Call with A. Canale, P. McGrath, S. Peoples and M. Blanchard (A&M)
                                             regarding Fuel Memo
Alex Canale              3/21/2023     0.8   Review and edit Fuel tokens claim memorandum prepared by QE

Alex Canale              3/21/2023     0.9   Review transaction information for various venture book deals


Alex Canale              3/21/2023     1.7   Review Alameda counterparty net trading analysis and related
                                             comments in draft report




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Avoidance Actions
Professional                Date     Hours     Activity
Allison Cox              3/21/2023     0.1   Call with D. Dawes and A. Cox (A&M) regarding Binance relationship
                                             deck
Allison Cox              3/21/2023     0.1   Call with A. Cox and M. Blanchard (A&M) regarding MPL investment


Allison Cox              3/21/2023     0.4   Call with A. Canale, M. Blanchard, and A. Cox (A&M) regarding MPL
                                             investment
Allison Cox              3/21/2023     2.6   Document review related to Binance relationship

Allison Cox              3/21/2023     1.8   Updates tables related to Binance relationship for findings deck


Allison Cox              3/21/2023     2.4   Document review related to professional fees paid

Aly Helal                3/21/2023     1.6   Review and tying the Sequoia Heritage Fund ( FTX
                                             investment)memo from Counsel
Austin Sloan             3/21/2023     0.5   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/21/2023     2.1   Reconcile statement detail for HSBC statements. regarding cash
                                             database construction
Austin Sloan             3/21/2023     2.4   Create AWS summary and detail load files for HSBC statement data.
                                             regarding cash database construction
Austin Sloan             3/21/2023     1.3   Reconcile statement detail for Bank of America statements. regarding
                                             cash database construction
Austin Sloan             3/21/2023     1.4   Create AWS summary and detail load files for Bank of America
                                             statement data. regarding cash database construction
Breanna Price            3/21/2023     0.8   Determine the Wells Fargo bank data coverage

Breanna Price            3/21/2023     0.2   Add new Turicum bank data to the bank statement trackers


Cameron Radis            3/21/2023     0.5   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Cameron Radis            3/21/2023     2.9   Perform SQL based exercise to reconcile records for SBI Sumishin
                                             bank. Create custom reconciliation script to calculate period balances
                                             by currency, account, and starting balance data. Create output of
                                             reconciliation results to review with team
Cameron Radis            3/21/2023     1.6   Perform SQL based exercise to update AWS tables and
                                             reconciliation to include additional HSBC account time periods for the
                                             summary and at a transaction level
Cameron Radis            3/21/2023     1.4   Perform SQL exercise to remove certain SBI Sumishin Bank files
                                             from multiple AWS tables. Re-run scripts to recreated combined
                                             banking table
Cameron Radis            3/21/2023     2.4   Perform SQL based exercise to reconcile records for Bank of
                                             America bank. Create custom script to push views into metabase
                                             staging environments
David Dawes              3/21/2023     0.1   Call with D. Dawes and A. Cox (A&M) regarding Binance relationship
                                             deck
David Dawes              3/21/2023     0.4   Update summary deck of findings relating to Binance and FTX


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Avoidance Actions
Professional                 Date     Hours     Activity
David Dawes               3/21/2023     1.7   Review market analyses and public projections of BTC pricing in 2021

David Dawes               3/21/2023     1.3   Perform review of and updates to Alameda loan counterparty model
                                              analysis
David Dawes               3/21/2023     2.9   Develop summary of market research related to BTC projections in
                                              2021
David Dawes               3/21/2023     2.3   Update Alameda loan counterparty pro forma valuation analysis
                                              using updated BTC pricing
David Medway              3/21/2023     1.2   Review and edit analysis of collateralization of Alameda counterparty
                                              loans repaid during the Preference Period
David Medway              3/21/2023     0.3   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                              Alameda counterparty collateral analysis
David Medway              3/21/2023     0.8   Update Alameda counterparty deck based on internal review
                                              comments
David Medway              3/21/2023     0.4   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/21/2023     0.8   Review bank 2004 requests and prepare for call with QE regarding
                                              clarifying items
David Medway              3/21/2023     0.3   Working session with M. Shanahan and D. Medway (A&M) regarding
                                              bank 2004 requests
David Medway              3/21/2023     0.3   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/21/2023     0.6   Review results of updated analysis of GDA financial projections


David Medway              3/21/2023     0.3   Teleconference with K. Kearney and D. Medway (A&M) regarding
                                              Alameda counterparty collateral transactions
David Medway              3/21/2023     0.2   Call with J. Palmerson (QE) and D. Medway (A&M) regarding bank
                                              2004 requests
David Medway              3/21/2023     0.4   Call with A. Canale, D. Medway (A&M) regarding Alameda
                                              counterparty collateral analysis
David Medway              3/21/2023     1.0   Prepare for Alameda counterparty call with S&C


David Medway              3/21/2023     0.5   Call with A. Alden and J. Palmerson (QE) and M. Shanahan, A.
                                              Canale, and D. Medway (A&M) regarding bank 2004 requests
David Medway              3/21/2023     1.6   Review historical BTC price and hash rate projections in connection
                                              with analysis of GDA financial projections
David Medway              3/21/2023     1.4   Prepare materials summarizing results of analysis of collateralization
                                              of Alameda counterparty loans repaid during the Preference Period
Ed Mosley                 3/21/2023     1.1   Review of and prepare comments to draft presentation of latest
                                              avoidance action summary for management
Ed Mosley                 3/21/2023     1.4   Review of communications from J.Ray (FTX) regarding board
                                              communications around avoidance actions and prepare responses
Emily Hoffer              3/21/2023     0.5   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database




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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/21/2023     1.2   Perform manual reconciliation review of Bank of America bank
                                              accounts from AWS metabase to native source PDFs and structured
                                              data files. Ensure accuracy of all data elements including monthly
                                              balance calculations, transaction dates, and transaction amou
Emily Hoffer              3/21/2023     0.2   Teleconference with E. Hoffer, M. Haigis, and M. Simkins (A&M)
                                              discussing Maerki Baumann transaction report processing
Emily Hoffer              3/21/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), M. Cilia (FTX), A.
                                              Toobin, F. Weinberg Crocco (S&C), B. Gold, H. McCullough (DWT)
                                              to discuss follow-up items re: Stripe production
Emily Hoffer              3/21/2023     0.7   Review of Wells Fargo new bank production for any outstanding
                                              items or gaps in production
Emily Hoffer              3/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                              intercompany reconciliation and bank production status
Emily Hoffer              3/21/2023     1.4   Perform manual reconciliation review of HSBC bank accounts from
                                              AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts, and up
Emily Hoffer              3/21/2023     2.1   Perform manual reconciliation review of SBI Net Bank accounts from
                                              AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts, an
Emily Hoffer              3/21/2023     1.7   Perform manual reconciliation review of Morgan Stanley bank
                                              accounts from AWS metabase to native source PDFs and structured
                                              data files. Ensure accuracy of all data elements including monthly
                                              balance calculations, transaction dates, and transaction amoun
Emily Hoffer              3/21/2023     1.3   Review of Far Eastern International production and compose follow
                                              ups
Ishika Patel              3/21/2023     3.1   Continue entering Counterparties for Evolve Bank Transactions

Ishika Patel              3/21/2023     3.2   Enter Counterparties for Evolve Bank Transactions

Julian Lee                3/21/2023     0.3   Correspond with team regarding Nuvei responses and follow-up
                                              items on cash ownership
Julian Lee                3/21/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), M. Cilia (FTX), A.
                                              Toobin, F. Weinberg Crocco (S&C), B. Gold, H. McCullough (DWT)
                                              to discuss follow-up items re: Stripe production
Julian Lee                3/21/2023     0.4   Prepare follow-up request for Far Eastern bank regarding updated
                                              data file
Julian Lee                3/21/2023     0.3   Search for valuation and projected revenue figures related to Brinc
                                              Drones
Julian Lee                3/21/2023     0.3   Review of supporting documents related to Starkware investment

Julian Lee                3/21/2023     0.8   Review and update of bank communication status tracker


Julian Lee                3/21/2023     0.3   Review of memo on Starkware investment and supporting documents

Julian Lee                3/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                              intercompany reconciliation and bank production status


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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/21/2023     0.4   Review of USDC withdrawal data in relation to Sequoia Heritage

Julian Lee              3/21/2023     0.1   Correspond with debtor regarding Wells Fargo bank production


Julian Lee              3/21/2023     0.4   Review Stripe production containing select counterparty information

Julian Lee              3/21/2023     0.7   Prepare follow-up items to Stripe regarding data production

Julian Lee              3/21/2023     0.2   Review data gaps for Wells Fargo production and prepare follow-up
                                            to debtor
Julian Lee              3/21/2023     0.1   Review supporting documents related to Far Eastern bank data that
                                            identify customer information
Julian Lee              3/21/2023     0.2   Prepare bank statement request for counsel regarding Wells Fargo


Julian Lee              3/21/2023     0.1   Review of Silvergate bank data files provided by debtor

Julian Lee              3/21/2023     0.1   Search supporting documents in Relativity related to Brinc's valuation


Julian Lee              3/21/2023     0.2   Review of Nuvei responses in relation to produced data

Kevin Kearney           3/21/2023     0.3   Teleconference with K. Kearney and D. Medway (A&M) regarding
                                            Alameda counterparty collateral transactions
Laureen Ryan            3/21/2023     0.2   Call with L. Ryan, M. Shanahan (A&M) updated on bank outreach


Laureen Ryan            3/21/2023     0.8   Correspond with QE and A&M team regarding avoidance action
                                            analysis on venture book
Laureen Ryan            3/21/2023     0.9   Correspond with A&M team regarding avoidance action activities


Laureen Ryan            3/21/2023     0.2   Correspond with A&M Team regarding Alameda counterparty
                                            updated analysis
Laureen Ryan            3/21/2023     0.3   Review Alameda counterparty updated analysis


Laureen Ryan            3/21/2023     0.2   Call with L. Ryan, S. Coverick (A&M) avoidance action deck

Madison Blanchard       3/21/2023     0.1   Call with P. McGrath and M. Blanchard (A&M) regarding MPL
                                            investment
Madison Blanchard       3/21/2023     0.3   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                            Mina Memo
Madison Blanchard       3/21/2023     0.1   Review and analysis of venture investments made by debtor entities
                                            and review of draft memo prepared by QE (Fuel)
Madison Blanchard       3/21/2023     0.1   Call with A. Cox and M. Blanchard (A&M) regarding MPL investment


Madison Blanchard       3/21/2023     0.4   Call with A. Canale, M. Blanchard, and A. Cox (A&M) regarding MPL
                                            investment




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Avoidance Actions
Professional             Date     Hours     Activity
Madison Blanchard     3/21/2023     0.4   Call with A. Canale, P. McGrath, S. Peoples and M. Blanchard (A&M)
                                          regarding Fuel Memo
Madison Blanchard     3/21/2023     0.2   Documentation of support documents in relation to payments made
                                          to professionals
Madison Blanchard     3/21/2023     2.2   Additional review and analysis of venture investments made by
                                          debtor entities (MPL)
Madison Blanchard     3/21/2023     2.2   Review and analysis of venture investments made by debtor entities
                                          (MPL)
Madison Blanchard     3/21/2023     1.7   Review and analysis of venture investments made by debtor entities
                                          and review of draft memo prepared by QE (Mina)
Mason Ebrey           3/21/2023     0.9   Review of Quinn Emanuel Polygon Network claim memo

Maximilian Simkins    3/21/2023     0.5   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins    3/21/2023     0.6   Process Maerki Baumann transaction report csv files for AWS upload

Maximilian Simkins    3/21/2023     0.2   Teleconference with E. Hoffer, M. Haigis, and M. Simkins (A&M)
                                          discussing Maerki Baumann transaction report Process
Maximilian Simkins    3/21/2023     1.7   Teleconference with M. Haigis and M. Simkins (A&M) discussing
                                          transaction report Process
Maya Haigis           3/21/2023     0.3   Prepare and process transaction reports

Maya Haigis           3/21/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/21/2023     0.2   Teleconference with E. Hoffer, M. Haigis, and M. Simkins (A&M)
                                          discussing Maerki Baumann transaction report Process
Maya Haigis           3/21/2023     1.7   Teleconference with M. Haigis and M. Simkins (A&M) discussing
                                          transaction report Process
Michael Shanahan      3/21/2023     0.7   Review documents related to avoidance action - Brinc Drones

Michael Shanahan      3/21/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), M. Cilia (FTX), A.
                                          Toobin, F. Weinberg Crocco (S&C), B. Gold, H. McCullough (DWT)
                                          to discuss follow-up items re: Stripe production
Michael Shanahan      3/21/2023     0.4   Correspondence to/from counsel regarding bank requests


Michael Shanahan      3/21/2023     0.4   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                          intercompany reconciliation and bank production status
Michael Shanahan      3/21/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding bank information
                                          strategy and coordination
Michael Shanahan      3/21/2023     0.3   Working session with M. Shanahan and D. Medway (A&M) regarding
                                          bank 2004 requests
Michael Shanahan      3/21/2023     0.3   Review correspondence from financial institutions related to
                                          document production
Michael Shanahan      3/21/2023     0.3   Prepare for call with Stripe counsel




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Avoidance Actions
Professional             Date     Hours     Activity
Michael Shanahan      3/21/2023     0.2   Review schedule of bank accounts per AWS data in conjunction with
                                          known Debtor accounts
Michael Shanahan      3/21/2023     0.3   Communications to/from AlixPartners regarding bank tracker


Michael Shanahan      3/21/2023     0.7   Review bank tracker related to AlixPartners request

Michael Shanahan      3/21/2023     0.5   Review 2004 requests for financial institutions

Michael Shanahan      3/21/2023     0.2   Call with L. Ryan, M. Shanahan (A&M) updated on bank outreach


Michael Shanahan      3/21/2023     0.5   Prepare for call with counsel regarding 2004 requests

Michael Shanahan      3/21/2023     0.5   Call with A. Alden and J. Palmerson (QE) and M. Shanahan, A.
                                          Canale, and D. Medway (A&M) regarding bank 2004 requests
Patrick McGrath       3/21/2023     0.4   Call with A. Canale, P. McGrath, S. Peoples and M. Blanchard (A&M)
                                          regarding Fuel Memo
Patrick McGrath       3/21/2023     0.1   Call with P. McGrath and M. Blanchard (A&M) regarding MPL
                                          investment
Patrick McGrath       3/21/2023     0.3   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                          Mina Memo
Patrick McGrath       3/21/2023     1.7   Analysis of historical financial information for ventures investments

Patrick McGrath       3/21/2023     2.6   Perform review of contract and financial information for ventures
                                          investments
Patrick McGrath       3/21/2023     3.2   Review and update venture book memos

Samuel Mimms          3/21/2023     0.4   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                          counterparty collateral analysis
Samuel Mimms          3/21/2023     0.3   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                          counterparty collateral analysis
Samuel Mimms          3/21/2023     0.3   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                          Alameda counterparty collateral analysis
Samuel Mimms          3/21/2023     1.6   Incorporate edits to new Alameda counterparty presentation for
                                          Counsel's review
Samuel Mimms          3/21/2023     1.8   Update Alameda counterparty new value analysis for incorporation
                                          into deck for Counsel
Scott Peoples         3/21/2023     0.4   Call with A. Canale, P. McGrath, S. Peoples and M. Blanchard (A&M)
                                          regarding Fuel Memo
Scott Peoples         3/21/2023     0.4   Review Stocktwits transaction detail

Scott Peoples         3/21/2023     0.7   Review and provide comments on Mina transaction memo


Steve Coverick        3/21/2023     0.2   Call with L. Ryan, S. Coverick (A&M) avoidance action deck




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Avoidance Actions
Professional                Date     Hours     Activity
Steve Coverick           3/21/2023     0.6   Review and provide comments on avoidance action summary deck

Alex Canale              3/22/2023     0.3   Review documents relating to MPL claim


Alex Canale              3/22/2023     0.3   Review Binance transaction summary draft report

Alex Canale              3/22/2023     0.4   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                             Medway (A&M) regarding Alameda counterparty analysis
Alex Canale              3/22/2023     0.7   Prepare venture book avoidance actions slip sheet for Fuel claim


Alex Canale              3/22/2023     0.9   Call with L. Ryan, A. Canale, D. Medway, S. Mimms (A&M) regarding
                                             Alameda counterparty presentation
Alex Canale              3/22/2023     0.6   Correspond with A&M and QE regarding venture book token claims


Alex Canale              3/22/2023     0.3   Review Polygon claim memorandum prepared by QE

Alex Canale              3/22/2023     0.2   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                             Alameda counterparty presentation
Alex Canale              3/22/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Alameda
                                             counterparty account transaction data
Alex Canale              3/22/2023     0.3   Call with A. Canale, D. Medway (A&M) and B. Beller, A. Toobin
                                             (S&C) regarding Alameda counterparty investigation
Alex Canale              3/22/2023     0.9   Call with L. Ryan, S. Coverick, A. Canale, D. Medway, S. Mimms
                                             (A&M) and B. Beller, B. Glueckstein, A. Toobin (S&C) regarding
                                             Alameda counterparty investigation
Alex Canale              3/22/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding venture
                                             book avoidance actions update
Alex Canale              3/22/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding venture book
                                             avoidance actions update
Alex Canale              3/22/2023     0.4   Working sessions with A. Canale, M. Blanchard (A&M) regarding
                                             MPL valuation analysis
Alex Canale              3/22/2023     0.4   Review documents relating to Alameda counterparty exchange
                                             activity
Alex Canale              3/22/2023     0.5   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                             claims update
Alex Canale              3/22/2023     0.4   Review documents relating to Alameda counterparty preference claim

Alex Canale              3/22/2023     0.6   Analysis of MPL implied valuation and sensitivity analysis regarding
                                             same
Alex Canale              3/22/2023     0.4   Review documents relating to Mina token claim

Alex Canale              3/22/2023     1.4   Calls with A. Canale and D. Medway (A&M) regarding Alameda
                                             counterparty preference analysis
Allison Cox              3/22/2023     1.4   Research and analysis related to the historical price of BNB and FTT




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Avoidance Actions
Professional                Date     Hours     Activity
Allison Cox              3/22/2023     2.4   Document review related to Binance relationship

Allison Cox              3/22/2023     2.6   Update slides for preliminary findings deck related to Binance
                                             relationship
Aly Helal                3/22/2023     1.0   Review and tying Sequoia Capital Fund Investment (by FTX) memo
                                             from Counsel to A&M's memo
Aly Helal                3/22/2023     2.1   Search for documents for the IEX Investment by FTX

Austin Sloan             3/22/2023     2.6   Reconcile statement detail for Silvergate statements. regarding cash
                                             database construction
Austin Sloan             3/22/2023     0.5   Teleconference with E. Hoffer, C. Radis, and A. Sloan (A&M)
                                             discussing Klarpay bank discrepancies
Austin Sloan             3/22/2023     0.1   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                             (A&M) discussing progress on cash database
Austin Sloan             3/22/2023     1.3   Reconcile statement detail for Signature statements. regarding cash
                                             database construction
Austin Sloan             3/22/2023     1.8   Reconcile statement detail for Klarpay statements. regarding cash
                                             database construction
Breanna Price            3/22/2023     1.9   Add new Wells Fargo bank data to the bank statement trackers

Cameron Radis            3/22/2023     2.6   Perform SQL based exercise to reconcile records for Maerki bank.
                                             Perform manual review of duplicate transactions across multiple
                                             transaction reports. Create manual script to calculate account
                                             balances
Cameron Radis            3/22/2023     0.1   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                             (A&M) discussing progress on cash database
Cameron Radis            3/22/2023     0.5   Teleconference with E. Hoffer, C. Radis, and A. Sloan (A&M)
                                             discussing Klarpay bank discrepancies
Cameron Radis            3/22/2023     2.9   Perform SQL based exercise to reconcile records for Klarpay bank.
                                             Perform manual review of accounts and currencies that do not
                                             reconcile. Create manual script to calculate account balances, and
                                             create excel output of issues
Cameron Radis            3/22/2023     2.4   Perform SQL based exercise to manually update transaction date
                                             values and balances in AWS for Klarpay records that did not
                                             reconcile to bank statement data. Create custom script for calculating
                                             summary balances for one account
David Dawes              3/22/2023     1.6   Continue to develop sensitivity analyses for Alameda loan
                                             counterparty enterprise valuation
David Dawes              3/22/2023     2.2   Perform review of Binance exchange data regarding FTX accounts


David Dawes              3/22/2023     0.3   Teleconference with D. Dawes, M. Ebrey (A&M) regarding quality
                                             control process of Alameda loan counterparty Bitcoin Model
David Dawes              3/22/2023     1.4   Develop sensitivity analyses for Alameda loan counterparty
                                             enterprise valuation
David Medway             3/22/2023     0.4   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                             Medway (A&M) regarding Alameda counterparty analysis



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Avoidance Actions
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David Medway              3/22/2023     1.8   Adjust Alameda counterparty FTX account activity preference
                                              analysis for scenarios provided by counsel and summarize results
David Medway              3/22/2023     1.3   Adjust Alameda counterparty FTX account activity preference
                                              analysis to eliminate impact of avoidable transfers
David Medway              3/22/2023     0.3   Call with A. Canale, D. Medway (A&M) and B. Beller, A. Toobin
                                              (S&C) regarding Alameda counterparty investigation
David Medway              3/22/2023     0.2   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty collateral analysis updates
David Medway              3/22/2023     0.2   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                              Alameda counterparty presentation
David Medway              3/22/2023     0.4   Investigate sources of cryptocurrency assets deposited to Alameda
                                              counterparty accounts
David Medway              3/22/2023     0.3   Communications with QE regarding investigations of various Venture
                                              Book investments
David Medway              3/22/2023     1.4   Calls with A. Canale and D. Medway (A&M) regarding Alameda
                                              counterparty preference analysis
David Medway              3/22/2023     1.3   Investigate key drivers of Alameda counterparty preference value
                                              and summarize results of discussion with counsel
David Medway              3/22/2023     1.0   Update Alameda counterparty deck based on internal review
                                              comments
David Medway              3/22/2023     1.5   Update Alameda counterparty material based on review comments
                                              from S&C
David Medway              3/22/2023     0.9   Call with L. Ryan, A. Canale, D. Medway, S. Mimms (A&M) regarding
                                              Alameda counterparty presentation
David Medway              3/22/2023     0.9   Call with L. Ryan, S. Coverick, A. Canale, D. Medway, S. Mimms
                                              (A&M) and B. Beller, B. Glueckstein, A. Toobin (S&C) regarding
                                              Alameda counterparty investigation
David Medway              3/22/2023     0.5   Review and analyze Alameda counterparty account balance
                                              component data
David Medway              3/22/2023     0.3   Teleconference with K. Kearney and D. Medway (A&M) regarding
                                              Alameda counterparty collateral transactions
Emily Hoffer              3/22/2023     2.3   Perform manual reconciliation review of Maerki bank accounts from
                                              AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts, and
Emily Hoffer              3/22/2023     2.1   Perform manual reconciliation review of Klarpay bank accounts from
                                              AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts, and
Emily Hoffer              3/22/2023     1.7   Review of Wells Fargo new bank production for any outstanding
                                              items or gaps in production
Emily Hoffer              3/22/2023     1.5   Review of Rakuten production for cash database upload


Emily Hoffer              3/22/2023     1.4   Review of Turicum new production for any outstanding items or gaps
                                              in production
Emily Hoffer              3/22/2023     1.1   Review of PayPay new production for any outstanding items or gaps
                                              in production

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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/22/2023     0.5   Teleconference with E. Hoffer, C. Radis, and A. Sloan (A&M)
                                              discussing Klarpay bank discrepancies
Emily Hoffer              3/22/2023     0.1   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                              (A&M) discussing progress on cash database
Ishika Patel              3/22/2023     3.2   Update Counterparties for Evolve Bank Transactions

Ishika Patel              3/22/2023     3.1   Continue updating Counterparties for Evolve Bank Transactions

Julian Lee                3/22/2023     0.2   Review memo on Starkware investment and included comments


Julian Lee                3/22/2023     0.1   Correspond with counsel regarding Deltec production status

Julian Lee                3/22/2023     0.1   Correspond with team regarding potential 2 million USDC transaction
                                              related to Sequoia Heritage
Julian Lee                3/22/2023     0.1   Review of findings from crypto tracing team regarding 2 million USDC
                                              transaction potentially related to Sequoia Heritage
Julian Lee                3/22/2023     0.2   Correspond with team regarding 2 million USDC transaction related
                                              to Sequoia Heritage
Julian Lee                3/22/2023     0.2   Correspond with team regarding additional searches for IEX
                                              transaction
Julian Lee                3/22/2023     0.2   Correspond with team regarding IEX share exchange

Julian Lee                3/22/2023     0.7   Search correspondence related to IEX share exchange


Julian Lee                3/22/2023     0.2   Correspond with team regarding PMO workpaper on bank production
                                              status
Julian Lee                3/22/2023     0.2   Review of bank data related to Signet and Goldfields accounts


Julian Lee                3/22/2023     0.5   Review of OpenPay'd responses and updated data file, prepare
                                              follow-up items
Julian Lee                3/22/2023     1.0   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction


Julian Lee                3/22/2023     0.2   Review team comments on Far Eastern data and counterparty info

Julian Lee                3/22/2023     0.3   Review DBS bank statements and prepare follow-up regarding
                                              counterparty information
Julian Lee                3/22/2023     1.3   Review of balance discrepancies identified in PayPay account data


Kevin Kearney             3/22/2023     0.3   Teleconference with K. Kearney and D. Medway (A&M) regarding
                                              Alameda counterparty collateral transactions
Laureen Ryan              3/22/2023     0.6   Correspond with QE and A&M Team regarding avoidance actions
                                              analysis
Laureen Ryan              3/22/2023     0.2   Correspond with S&C and A&M Team regarding access to certain
                                              bank activity documents




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Avoidance Actions
Professional             Date     Hours     Activity
Laureen Ryan          3/22/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding venture
                                          book avoidance actions update
Laureen Ryan          3/22/2023     0.3   Review documents relevant to avoidance action investigation matters


Laureen Ryan          3/22/2023     0.9   Call with L. Ryan, S. Coverick, A. Canale, D. Medway, S. Mimms
                                          (A&M) and B. Beller, B. Glueckstein, A. Toobin (S&C) regarding
                                          Alameda counterparty investigation
Laureen Ryan          3/22/2023     1.4   Correspond with A&M Team regarding avoidance actions analysis

Laureen Ryan          3/22/2023     0.9   Call with L. Ryan, A. Canale, D. Medway, S. Mimms (A&M) regarding
                                          Alameda counterparty presentation
Laureen Ryan          3/22/2023     0.4   Prepare notes and discussion materials for meeting regarding
                                          Alameda counterparty presentation
Madison Blanchard     3/22/2023     1.4   Additional review and analysis of venture investments made by
                                          debtor entities (MPL)
Madison Blanchard     3/22/2023     2.8   Review and analysis of venture investments made by debtor entities
                                          (MPL)
Madison Blanchard     3/22/2023     0.6   Review and analysis of venture investments made by debtor entities
                                          (GDA)
Madison Blanchard     3/22/2023     0.4   Working sessions with A. Canale, M. Blanchard (A&M) regarding
                                          MPL valuation analysis
Mason Ebrey           3/22/2023     1.6   Quality control review of BTC analysis

Mason Ebrey           3/22/2023     0.3   Teleconference with D. Dawes, M. Ebrey (A&M) regarding quality
                                          control process of Alameda loan counterparty Bitcoin Model
Mason Ebrey           3/22/2023     2.7   Review transactions in cash database for PayPay

Maximilian Simkins    3/22/2023     0.2   Teleconference with M. Haigis, and M. Simkins (A&M) discussing
                                          bank statement Process documentation
Maximilian Simkins    3/22/2023     1.2   Prepare draft of cash database process documentation


Maximilian Simkins    3/22/2023     0.1   Teleconference with E. Hoffer, C. Radis, M. Simkins, and A. Sloan
                                          (A&M) discussing progress on cash database
Maya Haigis           3/22/2023     0.2   Teleconference with M. Haigis, and M. Simkins (A&M) discussing
                                          bank statement Process documentation
Michael Shanahan      3/22/2023     0.5   Review draft template for potential avoidance action slides

Michael Shanahan      3/22/2023     0.4   Correspondence to/from AlixPartners related to bank account tracker


Michael Shanahan      3/22/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) re: Stocktwits

Michael Shanahan      3/22/2023     0.3   Review updated tracker related to Debtor documents and Relativity

Michael Shanahan      3/22/2023     1.3   Review and revise draft memo related to Brinc Drones transaction




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Avoidance Actions
Professional             Date     Hours     Activity
Michael Shanahan      3/22/2023     0.4   Call with M. Shanahan, A. Canale (A&M) regarding venture book
                                          avoidance actions update
Michael Shanahan      3/22/2023     1.8   Review supporting documents for Brinc Drones memo


Michael Shanahan      3/22/2023     0.2   Call with L. Ryan, M. Shanahan, A. Canale (A&M) regarding venture
                                          book avoidance actions update
Michael Shanahan      3/22/2023     0.5   Review additional documents related to potential avoidance action -
                                          StockTwits
Michael Shanahan      3/22/2023     0.7   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                          book claims and intercompany accounting
Patrick McGrath       3/22/2023     1.9   Review and update venture book memos

Patrick McGrath       3/22/2023     2.2   Perform review of contract and financial information for ventures
                                          investments
Patrick McGrath       3/22/2023     0.5   Call with A. Canale, P. McGrath (A&M) regarding venture book
                                          claims update
Patrick McGrath       3/22/2023     0.7   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                          book claims and intercompany accounting
Samuel Mimms          3/22/2023     2.1   Update Alameda counterparty collateral and new value analyses

Samuel Mimms          3/22/2023     0.9   Call with L. Ryan, S. Coverick, A. Canale, D. Medway, S. Mimms
                                          (A&M) and B. Beller, B. Glueckstein, A. Toobin (S&C) regarding
                                          Alameda counterparty investigation
Samuel Mimms          3/22/2023     0.2   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                          Alameda counterparty presentation
Samuel Mimms          3/22/2023     0.2   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                          counterparty collateral analysis updates
Samuel Mimms          3/22/2023     2.2   Investigate pledging of SOL collateral on Alameda counterparty loans
                                          to Alameda
Samuel Mimms          3/22/2023     0.9   Call with L. Ryan, A. Canale, D. Medway, S. Mimms (A&M) regarding
                                          Alameda counterparty presentation
Samuel Mimms          3/22/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Alameda
                                          counterparty account transaction data
Scott Peoples         3/22/2023     1.0   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction


Scott Peoples         3/22/2023     0.3   Discussion with M. Shanahan and S. Peoples (A&M) re: Stocktwits

Scott Peoples         3/22/2023     1.4   Review documentation related to IEX transaction


Scott Peoples         3/22/2023     2.4   Review and revise the IEX summary memo

Steve Coverick        3/22/2023     0.9   Call with L. Ryan, S. Coverick, A. Canale, D. Medway, S. Mimms
                                          (A&M) and B. Beller, B. Glueckstein, A. Toobin (S&C) regarding
                                          Alameda counterparty investigation
Steve Coverick        3/22/2023     1.2   Review and provide comments on revised third party crypto company
                                          preference analysis

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Avoidance Actions
Professional                Date     Hours     Activity
Aaron Dobbs              3/23/2023     0.8   Continue to perform searches of cash database for unreconciled
                                             document and cash statements
Aaron Dobbs              3/23/2023     3.3   Research unreconciled accounts for cash database


Aaron Dobbs              3/23/2023     0.8   Teleconference with A. Dobbs and E. Hoffer (A&M) regarding
                                             updated Cash Database and Unreconciled Statement Periods
Aaron Dobbs              3/23/2023     0.2   Continue to search cash database for unreconciled document and
                                             cash statements
Aaron Dobbs              3/23/2023     3.1   Continue to research unreconciled accounts for cash database


Adam Titus               3/23/2023     0.4   Call with L. Ryan, A. Canale P. McGrath, A. Titus, S. Glustein (A&M),
                                             E. Kapur, I. Nesser, A. Alden (QE), K. Flinn (PWP) M. Wu (S&C)
                                             regarding venture book claims
Alex Canale              3/23/2023     0.3   Review documents relating to MPL valuation analysis

Alex Canale              3/23/2023     1.1   Review updated Binance transaction summary draft report


Alex Canale              3/23/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Alameda
                                             counterparty tear sheet
Alex Canale              3/23/2023     0.4   Correspond with A&M and QE regarding Polygon VWAP pricing


Alex Canale              3/23/2023     0.4   Correspond with A&M and S&C regarding Alameda counterparty
                                             preference claim
Alex Canale              3/23/2023     1.4   Review documents related to Alameda counterparty preference and
                                             collateral transfers
Alex Canale              3/23/2023     0.3   Participate in call with A. Canale, P. McGrath (A&M) and A. Alden, N.
                                             Huh (QE) regarding Polygon investment
Alex Canale              3/23/2023     1.0   Call with L. Ryan, A. Canale and D. Medway (A&M) regarding
                                             Alameda counterparty preference analysis
Alex Canale              3/23/2023     0.4   Meeting with A. Canale, D. Dawes and A. Cox (A&M) regarding
                                             Binance deck
Alex Canale              3/23/2023     0.4   Prepare discussion materials for meeting regarding venture book
                                             claims
Alex Canale              3/23/2023     0.4   Call with L. Ryan, A. Canale P. McGrath, A. Titus, S. Glustein (A&M),
                                             E. Kapur, I. Nesser, A. Alden (QE), K. Flinn (PWP) M. Wu (S&C)
                                             regarding venture book claims
Alex Canale              3/23/2023     0.8   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                             counterparty preference analysis
Alex Canale              3/23/2023     0.6   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                             Medway (A&M) regarding Alameda counterparty preference analysis
Alex Canale              3/23/2023     2.2   Prepare draft Alameda counterparty claim analysis report


Alex Canale              3/23/2023     0.5   Calls with A. Canale and M. Shanahan (A&M) regarding avoidance
                                             action tear sheets
Allison Cox              3/23/2023     0.2   Teleconference with S. Mimms and A. Cox (A&M) regarding FTT
                                             collateral tracing

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Avoidance Actions
Professional                Date     Hours     Activity
Allison Cox              3/23/2023     1.9   Update slides for preliminary findings deck related to Binance
                                             relationship
Allison Cox              3/23/2023     0.2   Teleconference with K. Kearney, D. Dawes, and A. Cox (A&M)
                                             regarding Binance exchange activity
Allison Cox              3/23/2023     1.2   Trace FTT collateral in relation to loan balances

Allison Cox              3/23/2023     0.5   Meeting with D. Dawes and A. Cox (A&M) regarding Binance deck
                                             and exchange data
Allison Cox              3/23/2023     2.6   Prepare tables for preliminary findings deck related to Binance
                                             relationship
Allison Cox              3/23/2023     2.3   Document review related to Binance relationship

Allison Cox              3/23/2023     0.4   Meeting with A. Canale, D. Dawes and A. Cox (A&M) regarding
                                             Binance deck
Aly Helal                3/23/2023     1.5   Review and updating Starkware's Investment (FTX investment)
                                             comments
Aly Helal                3/23/2023     2.2   Search for documents for the IEX Investment by FTX


Aly Helal                3/23/2023     1.5   Document the Tear sheet for DriveWealth Investment by FTX to
                                             represent to management
Austin Sloan             3/23/2023     1.9   Reconcile statement detail for Wells Fargo statements. regarding
                                             cash database construction
Austin Sloan             3/23/2023     2.2   Reconcile statement detail for Silvergate statements. regarding cash
                                             database construction
Austin Sloan             3/23/2023     1.8   Create AWS summary and detail load files for Wells Fargo statement
                                             data. regarding cash database construction
Austin Sloan             3/23/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Breanna Price            3/23/2023     0.2   Teleconference with E. Hoffer and B. Price (A&M) regarding Morgan
                                             Stanley wires and checks
Breanna Price            3/23/2023     0.4   Add new Wells Fargo bank data to the bank statement trackers


Cameron Radis            3/23/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Cameron Radis            3/23/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding updates
                                             to cash database
Cameron Radis            3/23/2023     2.2   Perform SQL based exercise to manually adjust the hierarchy and
                                             deduplication script for Maerki bank. Re-run reconciliation and push
                                             results to staging environment
Cameron Radis            3/23/2023     0.6   Perform review of account/period tracker matrix to assess feasibility
                                             of reporting at a statement and account level
Cameron Radis            3/23/2023     0.4   Teleconference with C. Radis and M. Shanahan (A&M), C. Cipione,
                                             D. Schwartz, and K. Wessel (Alix Partners) regarding the status of
                                             the cash database
David Dawes              3/23/2023     0.4   Meeting with A. Canale, D. Dawes and A. Cox (A&M) regarding
                                             Binance deck

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Professional                 Date     Hours     Activity
David Dawes               3/23/2023     0.5   Meeting with D. Dawes and A. Cox (A&M) regarding Binance deck
                                              and exchange data
David Dawes               3/23/2023     0.8   Perform review and update summary presentation of potential
                                              preferential professional fees
David Dawes               3/23/2023     1.1   Review and update A&M summary of Binance relationship

David Dawes               3/23/2023     0.2   Teleconference with K. Kearney, D. Dawes, and A. Cox (A&M)
                                              regarding Binance exchange activity
David Medway              3/23/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                              investigations of venture book investments
David Medway              3/23/2023     0.6   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                              Medway (A&M) regarding Alameda counterparty preference analysis
David Medway              3/23/2023     0.9   Perform analysis to quantify impact of excluding avoidable transfers
                                              from Alameda counterparty account preference/new value analysis
David Medway              3/23/2023     1.2   Prepare workplan and template for tracing of subsequent transfers of
                                              FTT collateral pledged and transferred to Alameda counterparty
David Medway              3/23/2023     0.7   Summarize results of investigation of Toss Pionic investment for
                                              counsel review
David Medway              3/23/2023     1.0   Call with L. Ryan, A. Canale and D. Medway (A&M) regarding
                                              Alameda counterparty preference analysis
David Medway              3/23/2023     0.6   Review staff updates to Alameda counterparty deck

David Medway              3/23/2023     0.8   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                              counterparty preference analysis
David Medway              3/23/2023     1.4   Update Alameda counterparty collateral analysis based on comments
                                              from S&C
David Medway              3/23/2023     0.4   Communications with QE regarding investigations of various Venture
                                              Book investments
David Medway              3/23/2023     0.4   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty FTT collateral tracing
David Medway              3/23/2023     2.3   Update Alameda counterparty deck based on internal review
                                              comments
David Medway              3/23/2023     0.3   Internal communications regarding tracing of subsequent transfers of
                                              FTT collateral pledged and transferred to Alameda counterparty
David Medway              3/23/2023     0.7   Summarize results of analysis to quantify impact of excluding
                                              avoidable transfers from Alameda counterparty account
                                              preference/new value analysis for counsel review
Ed Mosley                 3/23/2023     1.4   Review of and prepare comments to draft avoidance action
                                              presentation for management
Emily Hoffer              3/23/2023     1.7   Review and edit Brinc Drones memo

Emily Hoffer              3/23/2023     1.2   Review wire detail information provided by Wells Fargo to determine
                                              if the information provided covers all identified wire and if additional
                                              follow up is necessary with the bank




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Professional                 Date     Hours     Activity
Emily Hoffer              3/23/2023     1.0   Review historical bank statement tracker provided by Sullivan and
                                              Cromwell and annotating with specific bank updates in preparation
                                              for weekly call
Emily Hoffer              3/23/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco, A. Toobin
                                              (S&C), M. Cilia (FTX) discussing historical bank statement collection
                                              progress
Emily Hoffer              3/23/2023     0.7   Update bank communications detail tracker


Emily Hoffer              3/23/2023     0.2   Teleconference with E. Hoffer and B. Price (A&M) regarding Morgan
                                              Stanley wires and checks
Emily Hoffer              3/23/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/23/2023     0.4   Review of Capital IQ pull for Brinc Drones


Emily Hoffer              3/23/2023     0.3   Teleconference with E. Hoffer and C. Radis (A&M) regarding updates
                                              to cash database
Emily Hoffer              3/23/2023     0.8   Teleconference with A. Dobbs and E. Hoffer (A&M) regarding
                                              updated Cash Database and Unreconciled Statement Periods
Julian Lee                3/23/2023     0.1   Correspond with team regarding bank account tracker

Julian Lee                3/23/2023     0.5   Call with J. Lee (A&M) and K. Wessel, E. Mostoff (S&C) to discuss
                                              bank account tracker and Signet account
Julian Lee                3/23/2023     0.4   Review and update memo on Brinc investment

Julian Lee                3/23/2023     0.1   Correspond with counsel regarding Evolve bank follow-up items

Julian Lee                3/23/2023     0.1   Correspond with team on Signet data discrepancy


Julian Lee                3/23/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco, A. Toobin
                                              (S&C), M. Cilia (FTX) discussing historical bank statement collection
                                              progress
Julian Lee                3/23/2023     0.1   Correspond with team regarding USDC for Sequoia memo

Julian Lee                3/23/2023     0.2   Correspond with AlixPartners regarding questions on Nuvei


Julian Lee                3/23/2023     0.4   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction

Julian Lee                3/23/2023     0.2   Correspond with team regarding IEX investment


Julian Lee                3/23/2023     0.2   Review of CapIQ documents related to Brinc Drones

Julian Lee                3/23/2023     0.3   Call with S. Peoples, J. Lee (A&M) to discuss IEX investment


Julian Lee                3/23/2023     1.2   Review and update PMO workpaper related to bank production status




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Avoidance Actions
Professional                Date     Hours     Activity
Julian Lee               3/23/2023     0.3   Review and update PMO workpaper for bank production status

Kevin Kearney            3/23/2023     0.2   Teleconference with K. Kearney, D. Dawes, and A. Cox (A&M)
                                             regarding Binance exchange activity
Laureen Ryan             3/23/2023     0.3   Correspond with FTX, S&C and A&M team regarding bank account
                                             matters
Laureen Ryan             3/23/2023     0.5   Correspond with A&M team regarding avoidance action activities

Laureen Ryan             3/23/2023     1.0   Call with L. Ryan, A. Canale and D. Medway (A&M) regarding
                                             Alameda counterparty preference analysis
Laureen Ryan             3/23/2023     0.6   Participate in call with A. Canale, L. Ryan, S. Glustein, A. Titus
                                             (A&M), A. Alden, I. Nesser, E. Kapur (QE), J. MacDonald (S&C), K.
                                             Finn and Velivela (PWP) regarding token investments
Laureen Ryan             3/23/2023     0.3   Correspond with S&C and A&M team regarding Alameda
                                             counterparty related inquiries
Laureen Ryan             3/23/2023     0.8   Correspond with QE and A&M team regarding avoidance action
                                             activities
Laureen Ryan             3/23/2023     0.4   Call with L. Ryan, A. Canale P. McGrath, A. Titus, S. Glustein (A&M),
                                             E. Kapur, I. Nesser, A. Alden (QE), K. Flinn (PWP) M. Wu (S&C)
                                             regarding venture book claims
Laureen Ryan             3/23/2023     0.3   Correspond with A&M team regarding bank activity updates


Laureen Ryan             3/23/2023     0.2   Correspond with FTX and A&M team regarding inquiries on activities
                                             in books and records
Louis Konig              3/23/2023     1.5   Account beneficial ownership analysis for targeted account listing

Madison Blanchard        3/23/2023     1.9   Preparation of Venture Book Tear Sheets


Madison Blanchard        3/23/2023     1.7   Review and analysis of venture investments made by debtor entities
                                             and review of draft memo prepared by QE (Mina)
Madison Blanchard        3/23/2023     2.2   Review and analysis of venture investments made by debtor entities
                                             (MPL)
Madison Blanchard        3/23/2023     0.5   Preparation of payments to professionals tear sheets

Mason Ebrey              3/23/2023     2.6   Research into counsels questions regarding Liquid Value Fund


Mason Ebrey              3/23/2023     1.9   Relativity searches related to Alameda General Partner Agreement
                                             with Sino Global Capital
Mason Ebrey              3/23/2023     0.6   Prepare tear sheet for Polygon Network

Mason Ebrey              3/23/2023     0.9   Teleconference with P. McGrath, M. Ebrey (A&M) regarding
                                             responses to counsels questions about Liquid Value Fund GP
Mason Ebrey              3/23/2023     0.4   Review transactions in cash database for PayPay

Maximilian Simkins       3/23/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database

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Professional             Date     Hours     Activity
Maximilian Simkins    3/23/2023     1.5   Prepare draft of cash database process documentation

Maya Haigis           3/23/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/23/2023     0.5   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                          book claims and intercompany accounting
Michael Shanahan      3/23/2023     0.5   Calls with A. Canale and M. Shanahan (A&M) regarding avoidance
                                          action tear sheets
Michael Shanahan      3/23/2023     0.7   Review account reconciliations files for cash database


Michael Shanahan      3/23/2023     0.3   Communications to/from FTI related to Relativity database

Michael Shanahan      3/23/2023     0.5   Review bank communications related to document productions


Michael Shanahan      3/23/2023     0.4   Teleconference with C. Radis and M. Shanahan (A&M), C. Cipione,
                                          D. Schwartz, and K. Wessel (Alix Partners) regarding the status of
                                          the cash database
Michael Shanahan      3/23/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco, A. Toobin
                                          (S&C), M. Cilia (FTX) discussing historical bank statement collection
                                          progress
Michael Shanahan      3/23/2023     0.3   Call with M. Shanahan, R. Gordon(A&M) re: bank statement recovery
                                          update
Michael Shanahan      3/23/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding results of
                                          investigations of venture book investments
Michael Shanahan      3/23/2023     0.2   Prepare for call with AlixPartners regarding cash database

Michael Shanahan      3/23/2023     0.3   Bank statement recovery update with M. Shanahan, R. Gordon(A&M)


Michael Shanahan      3/23/2023     0.2   Telecom with A. Kutscher (QE) related to avoidance action
                                          summaries
Michael Shanahan      3/23/2023     0.6   Review supporting schedules to PMO tracker and detailed bank
                                          communications tracker
Michael Shanahan      3/23/2023     0.4   Review supporting schedules for bank tracker

Michael Shanahan      3/23/2023     0.9   Review status of bank productions in preparation for call with counsel


Michael Shanahan      3/23/2023     0.8   Review and revise memo related to Brinc Drones transaction

Michael Shanahan      3/23/2023     0.9   Review supporting documents related to DriveWealth memo

Patrick McGrath       3/23/2023     1.6   Perform review of contract and financial information for ventures
                                          investments
Patrick McGrath       3/23/2023     0.8   Teleconference with P. McGrath, M. Ebrey (A&M) regarding
                                          responses to counsels questions about Liquid Value Fund GP




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Avoidance Actions
Professional             Date     Hours     Activity
Patrick McGrath       3/23/2023     0.6   Participate in call with A. Canale, L. Ryan, S. Glustein, A. Titus
                                          (A&M), A. Alden, I. Nesser, E. Kapur (QE), J. MacDonald (S&C), K.
                                          Finn and Velivela (PWP) regarding token investments
Patrick McGrath       3/23/2023     0.4   Call with L. Ryan, A. Canale P. McGrath, A. Titus, S. Glustein (A&M),
                                          E. Kapur, I. Nesser, A. Alden (QE), K. Flinn (PWP) M. Wu (S&C)
                                          regarding venture book claims
Patrick McGrath       3/23/2023     0.5   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                          book claims and intercompany accounting
Patrick McGrath       3/23/2023     1.4   Analysis of historical financial information for ventures investments

Patrick McGrath       3/23/2023     2.2   Review and update venture book memos

Patrick McGrath       3/23/2023     0.3   Participate in call with A. Canale, P. McGrath (A&M) and A. Alden, N.
                                          Huh (QE) regarding Polygon investment
Robert Gordon         3/23/2023     0.3   Call with M. Shanahan, R. Gordon(A&M) re: bank statement recovery
                                          update
Samuel Mimms          3/23/2023     1.4   Draft Hole Token tear sheet for review by Counsel


Samuel Mimms          3/23/2023     1.1   Draft NEAR Token tear sheet for review by Counsel

Samuel Mimms          3/23/2023     1.8   Draft Alameda counterparty tear sheet for review by Counsel


Samuel Mimms          3/23/2023     2.3   Perform Alameda counterparty FTT collateral tracing for
                                          incorporation into deck for Counsel
Samuel Mimms          3/23/2023     0.2   Teleconference with S. Mimms and A. Cox (A&M) regarding FTT
                                          collateral tracing
Samuel Mimms          3/23/2023     0.4   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                          counterparty FTT collateral tracing
Samuel Mimms          3/23/2023     0.1   Call with A. Canale, S. Mimms (A&M) regarding Alameda
                                          counterparty tear sheet
Scott Peoples         3/23/2023     2.1   Review correspondence and documentation related to IE X
                                          transaction
Scott Peoples         3/23/2023     0.1   Review correspondence related to Brinc Drones

Scott Peoples         3/23/2023     0.6   Review contracts related to IEX share swap


Scott Peoples         3/23/2023     0.3   Call with S. Peoples, J. Lee (A&M) to discuss IEX investment

Scott Peoples         3/23/2023     0.4   Discussion with S. Peoples and J. Lee (A&M) re: IEX transaction

Scott Peoples         3/23/2023     0.8   Perform research related to Brinc Drones transaction


Scott Peoples         3/23/2023     2.8   Review and edit memo on IEX transaction




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Professional                Date     Hours     Activity
Steven Glustein          3/23/2023     0.4   Call with L. Ryan, A. Canale P. McGrath, A. Titus, S. Glustein (A&M),
                                             E. Kapur, I. Nesser, A. Alden (QE), K. Flinn (PWP) M. Wu (S&C)
                                             regarding venture book claims
Aaron Dobbs              3/24/2023     0.6   Continue updating cash database for counterparty data through
                                             targeted searches and reconciliation
Aaron Dobbs              3/24/2023     3.3   Update cash database for counterparty data through targeted
                                             searches and reconciliation
Aaron Dobbs              3/24/2023     3.1   Target searches for updating cash database for counterparty data

Alex Canale              3/24/2023     0.8   Call with A. Canale and P. McGrath (A&M) regarding Liquid Value
                                             and Mina claim memoranda
Alex Canale              3/24/2023     0.8   Finalize Alameda counterparty draft claim report including exchange
                                             data and provide to counsel
Alex Canale              3/24/2023     0.9   MPL transaction valuation analysis

Alex Canale              3/24/2023     0.7   Correspond with S&C and A&M teams regarding Alameda
                                             counterparty transactions associated with WRS loan
Alex Canale              3/24/2023     0.7   Review documents relating to exchange account ownership
                                             information
Alex Canale              3/24/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) Binance preferred
                                             Shares purchase
Alex Canale              3/24/2023     0.3   Prepare responses to counsel queries regarding SOL collateral
                                             pledged to Alameda counterparty
Alex Canale              3/24/2023     0.7   Prepare avoidance action tear sheet summaries


Alex Canale              3/24/2023     0.2   Teleconference with A. Canale and D. Dawes (A&M) regarding
                                             Binance exchange data
Alex Canale              3/24/2023     0.5   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                             Alameda counterparty loan and collateral analyses
Alex Canale              3/24/2023     0.2   Call with M. Shanahan, A. Canale (A&M) regarding Binance claim
                                             analysis
Alex Canale              3/24/2023     0.6   Review documents relating to TripleDot claim

Alex Canale              3/24/2023     0.3   Call with L. Ryan and A. Canale (A&M) regarding Binance exchange
                                             analysis
Alex Canale              3/24/2023     0.4   Binance exchange transactions analysis

Alex Canale              3/24/2023     0.5   Call with L. Konig, P. Kwan, A. Canale, M. Shanahan, P. McGrath
                                             (A&M) to discuss account beneficial ownership
Alex Canale              3/24/2023     0.5   Review Mina updated claim memorandum prepared by QE

Alex Canale              3/24/2023     0.5   Prepare responses to queries form counsel regarding WRS loan to
                                             Alameda counterparty
Alex Canale              3/24/2023     0.2   Call with M. Blanchard and A. Canale (A&M) regarding MPL
                                             valuation analysis


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Professional                Date     Hours     Activity
Alex Canale              3/24/2023     0.4   Calls with A. Canale, D. Medway (A&M) regarding Alameda
                                             counterparty claim analysis
Allison Cox              3/24/2023     0.8   Continue document review in relation to venture book investments


Allison Cox              3/24/2023     0.1   Teleconference with A. Canale and A. Cox (A&M) Binance preferred
                                             Shares purchase
Allison Cox              3/24/2023     0.3   Update valuation analysis in relation to venture book investments

Allison Cox              3/24/2023     0.6   Teleconference with P. McGrath and A. Cox (A&M) regarding Triple
                                             Dot venture book investment
Allison Cox              3/24/2023     0.1   Call with M. Blanchard and A. Cox (A&M) regarding Triple Dot
                                             valuation analysis
Allison Cox              3/24/2023     1.2   Financial statement review related to venture book investments


Allison Cox              3/24/2023     0.2   Call with P. McGrath and A. Cox (A&M) regarding venture book
                                             investments
Allison Cox              3/24/2023     2.9   Document review in relation to venture book investments


Allison Cox              3/24/2023     2.9   Valuation analysis in relation to venture book investments

Aly Helal                3/24/2023     1.7   Search for additional IEX investment (FTX Investment) documents

Aly Helal                3/24/2023     1.1   Teleconference with J. Lee, A. Helal, S. Peoples (A&M) regarding
                                             updates to memo on IEX Investment by FTX Ventures
Austin Sloan             3/24/2023     0.9   Create AWS summary and detail load files for Rakuten statement
                                             data. regarding cash database construction
Austin Sloan             3/24/2023     0.2   Call with A. Sloan, C. Radis, and E. Hoffer (A&M) discussing cash
                                             database progress
Austin Sloan             3/24/2023     1.2   Create AWS summary and detail load files for Turicum statement
                                             data. regarding cash database construction
Austin Sloan             3/24/2023     1.4   Reconcile statement detail for Turicum statements. regarding cash
                                             database construction
Austin Sloan             3/24/2023     0.7   Reconcile statement detail for Rakuten statements. regarding cash
                                             database construction
Breanna Price            3/24/2023     0.8   Add Transactive bank data to the bank statement trackers

Breanna Price            3/24/2023     0.2   Call with B. Price and E. Hoffer (A&M) discussing additional
                                             OpenPay'd production received
Breanna Price            3/24/2023     1.0   Add the missing file names and paths to the bank statement tracker

Cameron Radis            3/24/2023     1.6   Perform SQL based review of new Turicum data received for
                                             additional accounts and periods. Update SQL tables and scripts to
                                             include both additional data and existing data in views
Cameron Radis            3/24/2023     1.4   Perform quality control review of AM Counterparty overlay file to be
                                             appended to AWS tables. Ensure data validity and that there is no
                                             overlap or truncation when appending to AWS

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Avoidance Actions
Professional                 Date     Hours     Activity
Cameron Radis             3/24/2023     0.2   Call with A. Sloan, C. Radis, and E. Hoffer (A&M) discussing cash
                                              database progress
David Dawes               3/24/2023     0.3   Calls with D. Dawes and D. Medway (A&M) regarding analysis of
                                              Alameda loan counterparty projections
David Dawes               3/24/2023     1.6   Update summary deck of findings relating to Binance and FTX

David Dawes               3/24/2023     0.2   Teleconference with A. Canale and D. Dawes (A&M) regarding
                                              Binance exchange data
David Dawes               3/24/2023     0.3   Develop summary of Binance FTT holdings prior to FTX filing


David Dawes               3/24/2023     0.3   Perform review and update summary presentation of potential
                                              preferential professional fees
David Medway              3/24/2023     0.8   Prepare workplan for preparation of venture investment tear sheets


David Medway              3/24/2023     0.4   Calls with A. Canale, D. Medway (A&M) regarding Alameda
                                              counterparty claim analysis
David Medway              3/24/2023     0.5   Call with M. Shanahan and D. Medway (A&M) regarding avoidance
                                              actions workstream
David Medway              3/24/2023     1.4   Review and analyze materials evidencing SOL collateral pledged to
                                              Alameda counterparty in connection with MLA
David Medway              3/24/2023     0.3   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                              counterparty SOL collateral and WRS loan interest calculation
David Medway              3/24/2023     0.5   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                              Alameda counterparty loan and collateral analyses
David Medway              3/24/2023     0.2   Call with D. Medway, S. Mimms (A&M) regarding tear sheet
                                              assignment and WRS loan interest calculation
David Medway              3/24/2023     1.6   Prepare summary of results of analysis of materials evidencing SOL
                                              collateral pledged to Alameda counterparty in connection with MLA
                                              for counsel review
David Medway              3/24/2023     1.0   Review results of analysis to identify initial and subsequent transfers
                                              of cryptocurrency in connection with WRS loan to Alameda
                                              Investment
David Medway              3/24/2023     0.3   Calls with D. Dawes and D. Medway (A&M) regarding analysis of
                                              Alameda loan counterparty projections
Emily Hoffer              3/24/2023     1.2   Clean a version of detail bank data for Alix Partners


Emily Hoffer              3/24/2023     1.6   Review Transactive System production for uploading into cash
                                              database
Emily Hoffer              3/24/2023     1.1   Review new bank statements, opening account documents, wire
                                              detail information and check images details provided by various
                                              banks in relation to debtor controlled bank accounts
Emily Hoffer              3/24/2023     0.2   Call with B. Price and E. Hoffer (A&M) discussing additional
                                              OpenPay'd production received
Emily Hoffer              3/24/2023     0.2   Call with A. Sloan, C. Radis, and E. Hoffer (A&M) discussing cash
                                              database progress



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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/24/2023     1.3   Review of Far Eastern International new bank production for any
                                              outstanding items or gaps in production
Emily Hoffer              3/24/2023     1.0   Review of Evolve new bank production for any outstanding items or
                                              gaps in production
Ishika Patel              3/24/2023     3.0   Enter Counterparties for Blockfolio Transactions

Ishika Patel              3/24/2023     2.7   Continue entering Counterparties for Blockfolio Transactions

Ishika Patel              3/24/2023     1.5   Update Counterparties for Blockfolio Inc Transactions


Julian Lee                3/24/2023     0.8   Review updated QE memo for DriveWealth investment

Julian Lee                3/24/2023     0.9   Review and update QE memo on Brinc Drones investment


Julian Lee                3/24/2023     1.6   Review and update bank account tracker

Julian Lee                3/24/2023     0.1   Correspond with foreign debtor representative regarding Cottonwood
                                              Grove accounting data to identify counterparties for HSBC bank data
Julian Lee                3/24/2023     0.1   Correspond with team regarding IEX investment and supporting
                                              documents
Julian Lee                3/24/2023     1.1   Teleconference with J. Lee, A. Helal, S. Peoples (A&M) regarding
                                              updates to memo on IEX Investment
Julian Lee                3/24/2023     1.1   Review and update memo on IEX investment


Julian Lee                3/24/2023     0.4   Review Wells Fargo wire transaction support provided by bank

Julian Lee                3/24/2023     2.2   Search and review supporting documents related to 409a valuations,
                                              update memo on IEX investment
Julian Lee                3/24/2023     0.1   Correspond with QE regarding JPMC request for authorized signer of
                                              the account
Julian Lee                3/24/2023     0.3   Prepare underlying bank data schedule for bank account tracker to
                                              AlixPartners
Julian Lee                3/24/2023     0.4   Correspond with counsel and debtor regarding Transactive Systems
                                              data and account balance
Julian Lee                3/24/2023     0.3   Review and update bank communication status tracker

Laureen Ryan              3/24/2023     0.7   updates to Alameda counterparty preference analysis


Laureen Ryan              3/24/2023     0.2   Correspond with A&M team regarding PMO updates

Laureen Ryan              3/24/2023     0.2   Review and update PMO and workstream tracker


Laureen Ryan              3/24/2023     0.3   Correspond with A&M team regarding Alameda counterparty analysis




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Avoidance Actions
Professional                Date     Hours     Activity
Laureen Ryan             3/24/2023     0.3   Correspond with FTX, S&C and A&M team regarding bank account
                                             matters
Laureen Ryan             3/24/2023     0.5   Correspond with QE and A&M team regarding venture book
                                             avoidance analysis memos
Laureen Ryan             3/24/2023     0.3   Correspond with S&C and A&M team regarding Alameda activity
                                             inquiries
Laureen Ryan             3/24/2023     0.5   Review documents relevant to avoidance action investigations

Laureen Ryan             3/24/2023     0.3   Correspond with S&C and A&M team regarding Alameda
                                             counterparty related inquiries
Laureen Ryan             3/24/2023     0.4   Correspond with FTX and A&M team regarding inquiries on activities
                                             in books and records
Laureen Ryan             3/24/2023     0.1   Correspond with QE and A&M team regarding bank account analysis


Laureen Ryan             3/24/2023     0.2   Correspond with QE and A&M team regarding law firm payment
                                             analysis
Laureen Ryan             3/24/2023     0.3   Call with L. Ryan and A. Canale (A&M) regarding Binance exchange
                                             analysis
Louis Konig              3/24/2023     0.5   Call with L. Konig, P. Kwan, A. Canale, M. Shanahan, P. McGrath
                                             (A&M) to discuss account beneficial ownership
Madison Blanchard        3/24/2023     1.3   Review and analysis of venture investments made by debtor entities
                                             (Alameda investment)
Madison Blanchard        3/24/2023     0.2   Call with M. Blanchard and A. Canale (A&M) regarding MPL
                                             valuation analysis
Madison Blanchard        3/24/2023     1.2   Review and analysis of venture investments made by debtor entities
                                             (Anchorage)
Madison Blanchard        3/24/2023     2.1   Review and analysis of venture investments made by debtor entities
                                             (MPL)
Madison Blanchard        3/24/2023     0.1   Call with M. Blanchard and A. Cox (A&M) regarding Triple Dot
                                             valuation analysis
Mason Ebrey              3/24/2023     2.4   Review of Quinn Emanuel Liquid Value Fund memo


Mason Ebrey              3/24/2023     2.2   Put together Liquid Value Fund tear sheet

Mason Ebrey              3/24/2023     1.3   Put together VY (Consolidated) tear sheet

Maximilian Simkins       3/24/2023     1.3   Prepare draft of cash database process documentation


Michael Shanahan         3/24/2023     0.8   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                             book claims and intercompany accounting
Michael Shanahan         3/24/2023     0.8   Review and finalize draft Brinc Drones memo


Michael Shanahan         3/24/2023     0.2   Call with M. Shanahan, A. Canale (A&M) regarding Binance claim
                                             analysis




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Professional               Date     Hours     Activity
Michael Shanahan        3/24/2023     0.5   Call with L. Konig, P. Kwan, A. Canale, M. Shanahan, P. McGrath
                                            (A&M) to discuss account beneficial ownership
Michael Shanahan        3/24/2023     0.5   Call with M. Shanahan and D. Medway (A&M) regarding avoidance
                                            actions workstream
Michael Shanahan        3/24/2023     0.3   Review PMO slides and supporting schedules

Michael Shanahan        3/24/2023     2.3   Review documents related to TripleDot investment

Michael Shanahan        3/24/2023     0.6   Review and revise updated DriveWealth memo


Patrick McGrath         3/24/2023     0.8   Call with M. Shanahan and P. McGrath (A&M) regarding venture
                                            book claims and intercompany accounting
Patrick McGrath         3/24/2023     0.8   Call with A. Canale and P. McGrath (A&M) regarding Liquid Value
                                            and Mina claim memoranda
Patrick McGrath         3/24/2023     1.6   Review and update venture book memos

Patrick McGrath         3/24/2023     2.4   Perform review of contract and financial information for ventures
                                            investments
Patrick McGrath         3/24/2023     1.1   Analysis of historical financial information for ventures investments

Patrick McGrath         3/24/2023     0.5   Call with L. Konig, P. Kwan, A. Canale, M. Shanahan, P. McGrath
                                            (A&M) to discuss account beneficial ownership
Patrick McGrath         3/24/2023     0.6   Teleconference with P. McGrath and A. Cox (A&M) regarding venture
                                            book investments
Patrick McGrath         3/24/2023     0.2   Call with P. McGrath and A. Cox (A&M) regarding venture book
                                            investments
Peter Kwan              3/24/2023     0.5   Call with L. Konig, P. Kwan, A. Canale, M. Shanahan, P. McGrath
                                            (A&M) to discuss account beneficial ownership
Samuel Mimms            3/24/2023     1.4   Analyze Alameda counterparty transactional data for incorporation
                                            into deck for Counsel
Samuel Mimms            3/24/2023     2.4   Investigate WRS loan to Alameda counterparty


Samuel Mimms            3/24/2023     0.3   Call with D. Medway, S. Mimms (A&M) regarding Alameda
                                            counterparty SOL collateral and WRS loan interest calculation
Samuel Mimms            3/24/2023     1.8   Draft 80 Acres tear sheet for review by Counsel

Samuel Mimms            3/24/2023     0.6   Draft NEAR Token tear sheet for review by Counsel


Samuel Mimms            3/24/2023     0.2   Call with D. Medway, S. Mimms (A&M) regarding tear sheet
                                            assignment and WRS loan interest calculation
Samuel Mimms            3/24/2023     0.5   Call with A. Canale, D. Medway, S. Mimms (A&M) regarding
                                            Alameda counterparty loan and collateral analyses
Scott Peoples           3/24/2023     1.1   Teleconference with J. Lee, A. Helal, S. Peoples (A&M) regarding
                                            updates to memo on IEX investment




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Avoidance Actions
Professional                Date     Hours     Activity
Scott Peoples            3/24/2023     1.1   Review and update IEX memorandum

Scott Peoples            3/24/2023     0.4   Review analysis of Mina transaction including journal entries and
                                             summary of transaction
Scott Peoples            3/24/2023     0.7   Review summary tearsheet on Exodus

Scott Peoples            3/24/2023     2.3   Review documentation and correspondence related to IEX transaction

David Medway             3/25/2023     0.5   Prepare workplan for expanded Alameda counterparty and Alameda
                                             investment analyses
David Medway             3/25/2023     1.3   Review QE investment memos and prepare workplan for tear sheet
                                             preparation
David Medway             3/25/2023     0.3   Internal communications regarding Alameda counterparty collateral
                                             analysis
Julian Lee               3/25/2023     0.2   Correspond with team regarding additional searches for IEX
                                             transaction related to FTX share price
Laureen Ryan             3/25/2023     0.3   Correspond with A&M team regarding Avoidance action matters


Laureen Ryan             3/25/2023     0.1   Correspond with A&M team regarding PMO updates

Laureen Ryan             3/25/2023     0.2   Correspond with A&M team regarding Alameda Research LTD
                                             account analysis
Patrick McGrath          3/25/2023     1.4   Perform review of contract and financial information for ventures
                                             investments
Scott Peoples            3/25/2023     1.2   Review additional information located in Relativity related to IEX
                                             transaction
Scott Peoples            3/25/2023     0.9   Review and update revised IEX asset memorandum


Alex Canale              3/26/2023     0.9   Prepare case summaries for venture book avoidance actions

Julian Lee               3/26/2023     0.1   Correspond with S&C regarding follow-up request for Far Eastern
                                             bank
Laureen Ryan             3/26/2023     0.5   Correspond with A&M team regarding Venture Book avoidance
                                             action activities
Laureen Ryan             3/26/2023     0.3   Review draft Venture Book avoidance action memo

Samuel Mimms             3/26/2023     0.5   Calculate accrued interest on WRS Loan to Alameda counterparty


Aaron Dobbs              3/27/2023     0.3   Continue updating cash database for counterparty data for missing
                                             transactions
Aaron Dobbs              3/27/2023     3.2   Target searches for updating cash database for counterparty data


Aaron Dobbs              3/27/2023     3.3   Update cashdata base for counterparty data for missing transactions




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Professional                Date     Hours     Activity
Alex Canale              3/27/2023     1.1   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                             regarding status of Liquid Value Fund Memo
Alex Canale              3/27/2023     0.7   Correspond with A&M team regarding Binance data and draft deck


Alex Canale              3/27/2023     1.1   Review and comment on Liquid Value fund claim memorandum

Alex Canale              3/27/2023     0.5   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                             Alameda counterparty and Alameda investment avoidance actions
Alex Canale              3/27/2023     0.5   Analysis of Alameda counterparty interest accrued on WRS loan


Alex Canale              3/27/2023     0.5   Review and comment on Port Finance token claim memorandum

Alex Canale              3/27/2023     0.3   Call with L. Ryan, A. Canale, S. Mimms, and D. Medway (A&M)
                                             regarding Alameda counterparty and Alameda investment avoidance
                                             actions
Alex Canale              3/27/2023     0.5   Prepare avoidance action tear sheets


Alex Canale              3/27/2023     0.5   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                             regarding status of Liquid Value Fund Memo
Alex Canale              3/27/2023     2.1   Calls with L. Ryan, A. Canale, D. Dawes (A&M) regarding draft
                                             Binance investigation report
Allison Cox              3/27/2023     1.6   Target document review related to Storybook investment

Allison Cox              3/27/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding Binance
                                             deck
Allison Cox              3/27/2023     2.4   Update Tripledot investment analysis for comments received

Aly Helal                3/27/2023     0.3   Call with B. Price, A. Helal and E. Hoffer (A&M) discussing Deltec
                                             Bank Statements searches in Relativity
Aly Helal                3/27/2023     2.1   Prepare FTX Ventures Tear Sheets for Brinc Drones, Drive Wealth, &
                                             Sequoia Capital Investments (All FTX Investments)
Aly Helal                3/27/2023     1.9   Respond to comments on the documentation of DriveWealth
                                             Investment by FTX
Aly Helal                3/27/2023     2.0   Respond to comments on the documentation of IEX Investment by
                                             FTX
Austin Sloan             3/27/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/27/2023     0.7   Reconcile PayPay bank statement data. regarding cash database
                                             construction
Austin Sloan             3/27/2023     2.9   Process PayPay bank statements through Monarch. regarding cash
                                             database construction
Breanna Price            3/27/2023     0.2   Call with B. Price and A. Helal (A&M) discussing Deltec Statements

Breanna Price            3/27/2023     0.9   Add Prime Trust bank data to the bank data tab




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Professional             Date     Hours     Activity
Breanna Price         3/27/2023     0.1   Call with B. Price and E. Hoffer (A&M) discussing Deltec statements

Breanna Price         3/27/2023     0.3   Call with B. Price, A. Helal and E. Hoffer (A&M) discussing Deltec
                                          searches in Relativity
Breanna Price         3/27/2023     2.8   Expand Deltec bank data on the tracker to reflect all currencies

Cameron Radis         3/27/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
David Dawes           3/27/2023     1.3   Review and update A&M summary of Binance relationship


David Dawes           3/27/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding Binance
                                          deck
David Dawes           3/27/2023     0.1   Teleconference with D. Medway and D. Dawes (A&M) regarding
                                          avoidance investment summaries
David Dawes           3/27/2023     2.1   Calls with L. Ryan, A. Canale, D. Dawes (A&M) regarding draft
                                          Binance investigation report
David Dawes           3/27/2023     2.8   Perform review of transactional data and develop tear sheet
                                          summaries related to potential avoidance actions
David Dawes           3/27/2023     2.6   Update summary deck of findings relating to Binance and FTX

David Medway          3/27/2023     0.6   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                          counterparty transactional data
David Medway          3/27/2023     0.4   Review results of initial Alameda counterparty accounts data roll
                                          forward and summarize results for internal reference
David Medway          3/27/2023     0.8   Review results of reconciliation of Alameda counterparty accounts
                                          balance components to withdrawals, deposits and transfer data
David Medway          3/27/2023     1.1   Review and edit tear sheet summarizing Geniome Bank investment


David Medway          3/27/2023     0.3   Internal communications regarding investment tear sheets status

David Medway          3/27/2023     0.1   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                          counterparty and Alameda investment avoidance actions
David Medway          3/27/2023     0.2   Call with D. Medway and M. Blanchard (A&M) regarding tear sheet
                                          presentation materials and venture book investments
David Medway          3/27/2023     1.5   Review and edit tear sheet summarizing Chipper Cash investments

David Medway          3/27/2023     0.5   Prepare workplan for reconciliation of Alameda counterparty
                                          accounts balance components to withdrawals, deposits and transfer
                                          data
David Medway          3/27/2023     0.4   Review relevant case dockets for payment information

David Medway          3/27/2023     0.3   Call with L. Ryan, A. Canale, S. Mimms, and D. Medway (A&M)
                                          regarding Alameda counterparty and Alameda investment avoidance
                                          actions
David Medway          3/27/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                          tear sheets

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Professional                 Date     Hours     Activity
David Medway              3/27/2023     0.1   Teleconference with D. Medway and D. Dawes (A&M) regarding
                                              avoidance investment summaries
David Medway              3/27/2023     0.3   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                              counterparty transactional data
David Medway              3/27/2023     0.7   Prepare workplan for staff preparation of investment tear sheets

David Medway              3/27/2023     1.2   Review and edit tear sheet summarizing Paradigm One investment

David Medway              3/27/2023     0.5   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                              Alameda counterparty and Alameda investment avoidance actions
David Medway              3/27/2023     1.8   Review and edit tear sheet summarizing Toss Pionic investments

Ed Mosley                 3/27/2023     2.1   Review of and prepare comments to draft presentation regarding
                                              Binance transactions and potential avoidance actions
Emily Hoffer              3/27/2023     1.7   Review of Signature files obtained from Alix Partners

Emily Hoffer              3/27/2023     1.6   Review wire detail information and check images provided by Morgan
                                              Stanley to determine if the information provided covers all identified
                                              wire and if additional follow up is necessary with the bank
Emily Hoffer              3/27/2023     1.1   Compile tear sheet for avoidance action


Emily Hoffer              3/27/2023     0.1   Call with B. Price and E. Hoffer (A&M) discussing Deltec statements

Emily Hoffer              3/27/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/27/2023     0.3   Call with B. Price, A. Helal and E. Hoffer (A&M) discussing Deltec
                                              searches in Relativity
Emily Hoffer              3/27/2023     1.4   Review of Deltec bank documents available on Relativity

Emily Hoffer              3/27/2023     2.2   Audit of bank productions and status of outstanding items


Laureen Ryan              3/27/2023     0.7   Correspond with A&M team regarding Binance analysis various
                                              transactions
Laureen Ryan              3/27/2023     0.6   Correspond with A&M team regarding avoidance actions


Laureen Ryan              3/27/2023     0.3   Correspond with A&M team regarding Alameda Research documents
                                              supporting certain crypto transactions
Laureen Ryan              3/27/2023     0.7   Correspond with QE and A&M team regarding venture book related
                                              analyses
Laureen Ryan              3/27/2023     0.3   Call with L. Ryan, A. Canale, S. Mimms, and D. Medway (A&M)
                                              regarding Alameda counterparty and Alameda investment avoidance
                                              actions
Laureen Ryan              3/27/2023     0.2   Correspond with S&C and A&M team regarding reporting on
                                              Alameda counterparty transactions in books and records of debtors
Laureen Ryan              3/27/2023     1.1   Review documents relevant to Binance investigation analysis



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Laureen Ryan          3/27/2023     0.5   Correspond with FTX and A&M team regarding reporting on Alameda
                                          counterparty and Alameda investment transactions in books and
                                          records of debtors
Laureen Ryan          3/27/2023     0.3   Correspond with A&M team and S&C regarding Alameda
                                          counterparty analysis
Laureen Ryan          3/27/2023     2.1   Calls with L. Ryan, A. Canale, D. Dawes (A&M) regarding draft
                                          Binance investigation report
Madison Blanchard     3/27/2023     1.8   Updates to schedule of tear sheets and preparation of presentation
                                          materials
Madison Blanchard     3/27/2023     0.2   Call with D. Medway and M. Blanchard (A&M) regarding tear sheet
                                          presentation materials and venture book investments
Madison Blanchard     3/27/2023     1.2   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Paradigm One)
Madison Blanchard     3/27/2023     0.4   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Liquid Value Fund I, LP)
Madison Blanchard     3/27/2023     0.7   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Port Finance)
Madison Blanchard     3/27/2023     0.5   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Dave, Inc.)
Madison Blanchard     3/27/2023     0.9   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Yuga Labs (BAYC))
Madison Blanchard     3/27/2023     0.6   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Geniome)
Madison Blanchard     3/27/2023     0.5   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Toss (Pionic))
Madison Blanchard     3/27/2023     0.8   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Chipper Cash)
Mason Ebrey           3/27/2023     0.3   Read Quinn Emanuel Liquid Value Fund memo and making edits

Mason Ebrey           3/27/2023     0.6   Put together email request for crypto tracing team


Mason Ebrey           3/27/2023     0.1   Review of edits made to Liquid Value fund tear sheet

Mason Ebrey           3/27/2023     0.5   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                          regarding status of Liquid Value Fund Memo
Mason Ebrey           3/27/2023     1.1   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                          regarding status of Liquid Value Fund Memo
Mason Ebrey           3/27/2023     0.2   Analysis of Database Team Request 235B


Mason Ebrey           3/27/2023     2.0   Read Quinn Emanuel Port Finance memo and making edits

Maximilian Simkins    3/27/2023     0.3   Teleconference with M. Haigis and M. Simkins (A&M) discussing
                                          bank data Process documentation
Maximilian Simkins    3/27/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database


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Avoidance Actions
Professional             Date     Hours     Activity
Maya Haigis           3/27/2023     0.3   Teleconference with M. Haigis and M. Simkins (A&M) discussing
                                          bank data Process documentation
Maya Haigis           3/27/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/27/2023     0.6   Review communications related to bank productions

Michael Shanahan      3/27/2023     0.6   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                          venture book claims
Michael Shanahan      3/27/2023     1.4   Review documents related to TripleDot investment


Michael Shanahan      3/27/2023     0.8   Review and revise template for avoidance action tear sheets

Michael Shanahan      3/27/2023     1.2   Preliminary review of memo summarizing TripleDot investment


Michael Shanahan      3/27/2023     0.2   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                          tear sheets
Michael Shanahan      3/27/2023     0.1   Discussion with M. Shanahan and S. Peoples (A&M) re: transaction
                                          summaries
Michael Shanahan      3/27/2023     2.1   Review documents related to potential avoidance actions

Patrick McGrath       3/27/2023     1.1   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                          regarding status of Liquid Value Fund Memo
Patrick McGrath       3/27/2023     0.6   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                          venture book claims
Patrick McGrath       3/27/2023     1.1   Summarize investment book analysis

Patrick McGrath       3/27/2023     1.1   Review venture book memorandums prepared by counsel


Patrick McGrath       3/27/2023     0.5   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                          regarding status of Liquid Value Fund Memo
Patrick McGrath       3/27/2023     2.3   Perform analysis of venture book investments


Robert Gordon         3/27/2023     0.6   Read through avoidance action draft materials for DOTCOM entity

Samuel Mimms          3/27/2023     0.5   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                          Alameda counterparty and Alameda investment avoidance actions
Samuel Mimms          3/27/2023     0.3   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                          counterparty transactional data
Samuel Mimms          3/27/2023     1.6   Summarize WRS Loan interest accrued and supporting documents

Samuel Mimms          3/27/2023     0.6   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                          counterparty transactional data
Samuel Mimms          3/27/2023     0.3   Call with L. Ryan, A. Canale, S. Mimms, and D. Medway (A&M)
                                          regarding Alameda counterparty and Alameda investment avoidance
                                          actions


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Avoidance Actions
Professional                Date     Hours     Activity
Samuel Mimms             3/27/2023     0.1   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                             counterparty and Alameda investment avoidance actions
Samuel Mimms             3/27/2023     2.4   Analyze Alameda counterparty transactional data for incorporation
                                             into deck for Counsel
Samuel Mimms             3/27/2023     2.8   Draft Alameda counterparty preference period balance roll forward

Scott Peoples            3/27/2023     0.3   Review and update commentary on revised IEX asset memorandum

Scott Peoples            3/27/2023     0.3   Review summaries of avoidance actions


Scott Peoples            3/27/2023     0.1   Discussion with M. Shanahan and S. Peoples (A&M) re: transaction
                                             summaries
Aaron Dobbs              3/28/2023     3.3   Target searches for updating cash database for missing counterparty
                                             data
Aaron Dobbs              3/28/2023     1.1   Continue Target searches for updating cash database for missing
                                             counterparty data
Aaron Dobbs              3/28/2023     3.1   Update bank tracker data with additional counterparty data from bank
                                             statements and translations
Aaron Dobbs              3/28/2023     0.2   Continue targeted searches for updating cash database for missing
                                             counterparty data
Alex Canale              3/28/2023     0.3   Correspond with A&M team regarding TripleDot claim

Alex Canale              3/28/2023     0.3   Correspond with A&M team regarding MPL claim


Alex Canale              3/28/2023     0.5   Review Port Finance draft memorandum

Alex Canale              3/28/2023     0.6   Analysis of TripleDot valuation as of time of investment


Alex Canale              3/28/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale (A&M) and A. Alden, K.
                                             Lemire, J. Palmerson, O. Yeffet, J. Young (QE) regarding
                                             investigations into professionals and banks
Alex Canale              3/28/2023     0.5   Call with L. Konig, K. Baker, A. Canale, S. Mimms, and D. Medway
                                             (A&M) regarding Alameda counterparty transactional data
Alex Canale              3/28/2023     0.4   Call with L. Ryan, A. Canale, P. McGrath, and M. Blanchard (A&M)
                                             regarding MPL valuation analysis
Alex Canale              3/28/2023     1.0   Calls with L. Ryan, A. Canale (A&M) regarding avoidance actions
                                             summary for UCC update
Alex Canale              3/28/2023     0.8   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                             Alameda counterparty transactional data reconciliation and balance
                                             roll forward
Alex Canale              3/28/2023     0.2   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                             Alameda counterparty summary table request
Alex Canale              3/28/2023     0.7   Review MPL investment and valuation analysis

Alex Canale              3/28/2023     0.4   Prepare list of relevant venture book avoidance actions and status for
                                             UCC update

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Avoidance Actions
Professional                Date     Hours     Activity
Alex Canale              3/28/2023     0.8   Review avoidance actions tear sheets

Alex Canale              3/28/2023     0.6   Teleconference with A. Canale, P. McGrath, and A. Cox (A&M)
                                             regarding venture book investments
Alex Canale              3/28/2023     0.8   Analysis of Alameda counterparty gross payments and summary of
                                             same for proof of claim
Alex Canale              3/28/2023     0.9   Calls with M. Shanahan, A. Canale, (A&M) regarding avoidance
                                             actions tear sheets
Allison Cox              3/28/2023     0.2   Teleconference with P. McGrath and A. Cox (A&M) regarding venture
                                             book investments
Allison Cox              3/28/2023     0.1   Teleconference with P. McGrath, M. Blanchard, and A. Cox (A&M)
                                             regarding Tripledot venture book investment
Allison Cox              3/28/2023     0.6   Teleconference with A. Canale, P. McGrath, and A. Cox (A&M)
                                             regarding venture book investments
Allison Cox              3/28/2023     2.7   Update Tripledot investment analysis for comments received

Allison Cox              3/28/2023     2.9   Calculate Tripledot multiples based on financial statements provided
                                             in relation to venture book investment review
Allison Cox              3/28/2023     0.4   Teleconference with P. McGrath and A. Cox (A&M) regarding
                                             Tripledot venture book investment
Allison Cox              3/28/2023     2.4   Calculate comparable company multiples in relation to Tripledot
                                             investment analysis
Aly Helal                3/28/2023     0.5   Discussion with S. Peoples, J. Lee, and A. Helal (A&M) re: IEX
                                             transaction by FTX
Aly Helal                3/28/2023     2.7   Prepare FTX Ventures Tear Sheets for Sequoia Heritage Investment
                                             by FTX
Aly Helal                3/28/2023     0.2   Call with J. Lee, A. Helal (A&M) to discuss Sequoia Capital Fund
                                             (FTX Investment) tear sheet
Aly Helal                3/28/2023     1.6   Respond to comments on the documentation of Starkware
                                             Investment by FTX Ventures
Austin Sloan             3/28/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/28/2023     2.3   Reconcile PayPay bank statement data. regarding cash database
                                             construction
Austin Sloan             3/28/2023     0.8   Reconcile Silvergate bank statement data. regarding cash database
                                             construction
Breanna Price            3/28/2023     3.2   Expand Deltec bank data for 2020 on the bank statement tracker to
                                             reflect all currencies
Breanna Price            3/28/2023     2.1   Expand Deltec bank data for 2019 on the bank statement tracker to
                                             reflect all currencies
Breanna Price            3/28/2023     2.9   Expand Deltec bank data for 2021 on the bank statement tracker to
                                             reflect all currencies
Cameron Radis            3/28/2023     2.7   Perform SQL based exercise to reconcile records for Rakuten bank.
                                             Create custom script to create balances with non zero starting
                                             balances and to push views into metabase staging environments


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Professional                 Date     Hours     Activity
Cameron Radis             3/28/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Cameron Radis             3/28/2023     2.1   Perform SQL based exercise to reconcile records for Wells Fargo
                                              bank. Create custom script to push views into metabase staging
                                              environments
David Dawes               3/28/2023     3.0   Develop tear sheet summaries related to potential avoidance actions


David Dawes               3/28/2023     0.3   Call with D. Dawes and D. Medway (A&M) regarding investment tear
                                              sheets
David Dawes               3/28/2023     2.9   Continue to develop tear sheet summaries related to potential
                                              avoidance actions
David Dawes               3/28/2023     2.0   Perform review of transactional data and develop tear sheet
                                              summaries related to potential avoidance actions
David Medway              3/28/2023     0.3   Internal communications regarding investment tear sheets status

David Medway              3/28/2023     0.5   Review and edit Red Sea Research note tear sheet


David Medway              3/28/2023     0.5   Call with L. Konig, K. Baker, A. Canale, S. Mimms, and D. Medway
                                              (A&M) regarding Alameda counterparty transactional data
David Medway              3/28/2023     0.6   Review and edit table summarizing gross Alameda counterparty
                                              transaction history for S&C reference
David Medway              3/28/2023     0.7   Review and edit Lonely Road note tear sheet

David Medway              3/28/2023     0.8   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                              tear sheets
David Medway              3/28/2023     1.2   Review and edit tear sheet summarizing Yuga Labs investment

David Medway              3/28/2023     0.8   Review and edit MJMcCaffrey note tear sheet

David Medway              3/28/2023     0.3   Call with D. Dawes and D. Medway (A&M) regarding investment tear
                                              sheets
David Medway              3/28/2023     0.8   Review results of Alameda counterparty account balance roll forward
                                              analysis and prepare for internal call with Database team
David Medway              3/28/2023     0.8   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                              Alameda counterparty transactional data reconciliation and balance
                                              roll forward
David Medway              3/28/2023     1.9   Review and edit tear sheet summarizing Dave Inc. investments

David Medway              3/28/2023     0.2   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                              Alameda counterparty summary table request
David Medway              3/28/2023     1.4   Review and edit tear sheet summarizing Stocktwits investment


Emily Hoffer              3/28/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) and F. Crocco, A.
                                              Toobin (S&C) to discuss production status for various banks and next
                                              steps



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Professional                 Date     Hours     Activity
Emily Hoffer              3/28/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Emily Hoffer              3/28/2023     1.7   Review bank statements, check images and wire detail available for
                                              Transactive Systems bank accounts and determining the specific
                                              files to be loaded into the cash database
Emily Hoffer              3/28/2023     1.6   Review outstanding items still not provided by Silvergate bank and
                                              compiling examples of issues with specific bank statements to be
                                              sent to Silvergate bank
Emily Hoffer              3/28/2023     2.3   Review outstanding items still not provided by Signature bank and
                                              compiling examples of issues with specific bank statements to be
                                              sent to Silvergate bank
Emily Hoffer              3/28/2023     0.9   Call with J. Lee and E. Hoffer (A&M) discussing bank production
                                              status and follow ups
Emily Hoffer              3/28/2023     0.8   Call with J. Lee, E. Hoffer (A&M) to discuss follow-up items re: Signet
                                              bank data
Ishika Patel              3/28/2023     3.1   Enter Counterparties for HSBC Bank Transactions

Ishika Patel              3/28/2023     0.7   Continue entering counterparties for HSBC Bank Transactions

Ishika Patel              3/28/2023     2.7   Enter Counterparties for Bank of America Transactions


Julian Lee                3/28/2023     0.5   Review correspondence related to Starkware and 409a valuation
                                              documents
Julian Lee                3/28/2023     0.3   Review and update Sequoia Heritage tear sheet


Julian Lee                3/28/2023     0.3   Review and update memo on IEX investment

Julian Lee                3/28/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) and F. Crocco, A.
                                              Toobin (S&C) to discuss production status for various banks and next
                                              steps
Julian Lee                3/28/2023     0.5   Discussion with S. Peoples, J. Lee, and A. Helal (A&M) re: IEX
                                              transaction
Julian Lee                3/28/2023     0.1   Review and update investment summary for Sequoia Capital Fund

Julian Lee                3/28/2023     0.1   Review JPMorgan chase bank data and related counterparties,
                                              purpose of account
Julian Lee                3/28/2023     0.1   Review Silvergate follow-up items regarding bank statements with
                                              cutoff issue
Julian Lee                3/28/2023     0.2   Call with J. Lee, A. Helal (A&M) to discuss Sequoia Capital tear sheet


Julian Lee                3/28/2023     0.1   Prepare follow-up items for to S&C regarding Transactive Systems
                                              production
Julian Lee                3/28/2023     0.8   Call with J. Lee, E. Hoffer (A&M) to discuss follow-up items re: Signet
                                              bank data
Julian Lee                3/28/2023     0.2   Correspond with team regarding updated bank account tracker



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Avoidance Actions
Professional                Date     Hours     Activity
Julian Lee               3/28/2023     0.7   Search and review Series C share price determination in relation to
                                             IEX transaction
Julian Lee               3/28/2023     0.2   Review and update memo on Starkware investment


Julian Lee               3/28/2023     0.1   Review JPMorgan chase bank data and correspond with debtor
                                             representatives
Julian Lee               3/28/2023     0.9   Call with J. Lee and E. Hoffer (A&M) discussing bank production
                                             status and follow ups
Laureen Ryan             3/28/2023     0.5   Teleconference with L. Ryan and P. McGrath (A&M) regarding MPL
                                             investment
Laureen Ryan             3/28/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale (A&M) and A. Alden, K.
                                             Lemire, J. Palmerson, O. Yeffet, J. Young (QE) regarding
                                             investigations into professionals and banks
Laureen Ryan             3/28/2023     0.5   Correspond with QE and A&M team regarding avoidance action
                                             analysis on venture book
Laureen Ryan             3/28/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding bank repository
                                             updates
Laureen Ryan             3/28/2023     0.3   Review Alameda counterparty updated analysis

Laureen Ryan             3/28/2023     0.4   Call with L. Ryan, A. Canale, P. McGrath, and M. Blanchard (A&M)
                                             regarding MPL valuation analysis
Laureen Ryan             3/28/2023     1.0   Calls with L. Ryan, A. Canale (A&M) regarding avoidance actions
                                             summary for UCC update
Laureen Ryan             3/28/2023     0.1   Correspond with A&M team regarding avoidance action activities


Louis Konig              3/28/2023     0.5   Call with L. Konig, K. Baker, A. Canale, S. Mimms, and D. Medway
                                             (A&M) regarding Alameda counterparty transactional data
Madison Blanchard        3/28/2023     0.3   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (MPL)
Madison Blanchard        3/28/2023     0.3   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (Dave, Inc.)
Madison Blanchard        3/28/2023     0.6   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (Mina)
Madison Blanchard        3/28/2023     0.4   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (TripleDot Studios)
Madison Blanchard        3/28/2023     2.7   Preparation of schedule for memos not yet completed and
                                             consolidation of data points to be included in presentation materials
Madison Blanchard        3/28/2023     0.7   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (SCF)
Madison Blanchard        3/28/2023     0.4   Call with L. Ryan, A. Canale, P. McGrath, and M. Blanchard (A&M)
                                             regarding MPL valuation analysis
Madison Blanchard        3/28/2023     0.1   Teleconference with P. McGrath, M. Blanchard, and A. Cox (A&M)
                                             regarding Tripledot venture book investment
Madison Blanchard        3/28/2023     0.2   Review and analysis of venture investments made by debtor entities
                                             and preparation of tear sheet (Yuga Labs (BAYC))


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Avoidance Actions
Professional             Date     Hours     Activity
Madison Blanchard     3/28/2023     0.2   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (Mysten)
Madison Blanchard     3/28/2023     0.4   Updates to schedule of tear sheets and preparation of presentation
                                          materials
Madison Blanchard     3/28/2023     0.9   Review and analysis of venture investments made by debtor entities
                                          and preparation of tear sheet (VY)
Mason Ebrey           3/28/2023     0.1   Review of edits made to VY (Consolidated) tear sheets

Mason Ebrey           3/28/2023     0.6   Read Quinn Emanuel Port Finance memo and making edits


Mason Ebrey           3/28/2023     0.7   Continue reading Quinn Emanuel Port Finance memo and making
                                          edits
Maximilian Simkins    3/28/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maximilian Simkins    3/28/2023     2.3   Process Transactive transaction reports

Maya Haigis           3/28/2023     0.8   Review PayPay bank statement files and process files


Maya Haigis           3/28/2023     0.3   Review Transactive csv importation and Process

Maya Haigis           3/28/2023     0.4   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Michael Shanahan      3/28/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding bank repository
                                          updates
Michael Shanahan      3/28/2023     0.5   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) and F. Crocco, A.
                                          Toobin (S&C) to discuss production status for various banks and next
                                          steps
Michael Shanahan      3/28/2023     0.5   Preliminary review of documents produced by Deltec

Michael Shanahan      3/28/2023     0.5   Call with L. Ryan, M. Shanahan, A. Canale (A&M) and A. Alden, K.
                                          Lemire, J. Palmerson, O. Yeffet, J. Young (QE) regarding
                                          investigations into professionals and banks
Michael Shanahan      3/28/2023     0.4   Review status of cash database and bank productions

Michael Shanahan      3/28/2023     0.6   Review documents related to potential claims against banks


Michael Shanahan      3/28/2023     0.9   Calls with M. Shanahan, A. Canale, (A&M) regarding avoidance
                                          actions tear sheets
Michael Shanahan      3/28/2023     0.2   Preliminary review of memos summarizing potential avoidance
                                          actions
Michael Shanahan      3/28/2023     0.2   Communications to/from team regarding cash database


Michael Shanahan      3/28/2023     0.8   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                          tear sheets
Michael Shanahan      3/28/2023     0.8   Review documents related to potential claims against professionals



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Patrick McGrath          3/28/2023     0.5   Teleconference with L. Ryan and P. McGrath (A&M) regarding MPL
                                             investment
Patrick McGrath          3/28/2023     0.5   Review venture book memorandums prepared by counsel


Patrick McGrath          3/28/2023     0.1   Teleconference with P. McGrath, M. Blanchard, and A. Cox (A&M)
                                             regarding Tripledot venture book investment
Patrick McGrath          3/28/2023     0.2   Correspond with team regarding venture book investments

Patrick McGrath          3/28/2023     0.4   Call with L. Ryan, A. Canale, P. McGrath, and M. Blanchard (A&M)
                                             regarding MPL valuation analysis
Patrick McGrath          3/28/2023     1.7   Summarize investment book analysis

Patrick McGrath          3/28/2023     2.5   Perform analysis of venture book investments


Patrick McGrath          3/28/2023     0.4   Correspond with team regarding Tripledot venture book investment

Patrick McGrath          3/28/2023     0.6   Teleconference with A. Canale, P. McGrath, and A. Cox (A&M)
                                             regarding venture book investments
Samuel Mimms             3/28/2023     0.5   Call with L. Konig, K. Baker, A. Canale, S. Mimms, and D. Medway
                                             (A&M) regarding Alameda counterparty transactional data
Samuel Mimms             3/28/2023     0.2   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                             Alameda counterparty summary table request
Samuel Mimms             3/28/2023     0.8   Call with A. Canale, S. Mimms, and D. Medway (A&M) regarding
                                             Alameda counterparty transactional data reconciliation and balance
                                             roll forward
Samuel Mimms             3/28/2023     0.9   Respond to request from counsel on Alameda counterparty summary
                                             table
Samuel Mimms             3/28/2023     2.6   Update Alameda counterparty transactional data reconciliation

Samuel Mimms             3/28/2023     2.5   Summarize Alameda counterparty balance roll forward components


Scott Peoples            3/28/2023     0.5   Discussion with S. Peoples, J. Lee, and A. Helal (A&M) re: IEX
                                             transaction
Scott Peoples            3/28/2023     0.3   Review updates to memo based on additional findings for IEX


Steve Coverick           3/28/2023     1.1   Review and provide comments on preference analysis overview deck

Aaron Dobbs              3/29/2023     1.2   Verification of bank statement transactions through database sources


Alex Canale              3/29/2023     0.6   Call with A. Canale, J. Lee (A&M) to discuss memo on IEX
                                             investment and next steps
Alex Canale              3/29/2023     0.5   Call with A. Canale, S. Peoples, J. Lee, A. Helal (A&M) to discuss
                                             memo on IEX investment and next steps
Alex Canale              3/29/2023     1.5   Continue to review avoidance actions tear sheets presentation




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Avoidance Actions
Professional                Date     Hours     Activity
Alex Canale              3/29/2023     0.5   Review Port Finance draft memorandum and add comments

Alex Canale              3/29/2023     2.2   Review IEX share swap memorandum and documents related thereto


Alex Canale              3/29/2023     0.9   Review avoidance actions tear sheets presentation

Alex Canale              3/29/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding avoidance action
                                             tear sheets
Allison Cox              3/29/2023     1.6   Document review related to Tripledot venture book investment
                                             analysis
Allison Cox              3/29/2023     2.8   Update Tripledot investment analysis for comments received

Allison Cox              3/29/2023     0.8   Teleconference with L. Ryan, M. Shanahan, P. McGrath, and A. Cox
                                             (A&M) regarding Tripledot venture book investment analysis
Allison Cox              3/29/2023     0.2   Teleconference with M. Shanahan, P. McGrath, and A. Cox (A&M)
                                             regarding Tripledot venture book investment analysis
Allison Cox              3/29/2023     0.7   Extract QuickBooks journal entries related to IEX venture book
                                             investment
Allison Cox              3/29/2023     0.4   Teleconference with J. Lee and A. Cox (A&M) regarding IEX venture
                                             book investment
Aly Helal                3/29/2023     0.5   Call with A. Canale, S. Peoples, J. Lee, A. Helal (A&M) to discuss
                                             memo on IEX investment (FTX Ventures Investment) and next steps
Aly Helal                3/29/2023     1.4   Respond to comments on the documentation of Starkware
                                             Investment by FTX Ventures
Aly Helal                3/29/2023     1.6   Collect for Starkware Investment by FTX Ventures

Austin Sloan             3/29/2023     1.3   Reconcile original Deltex bank statement data. regarding cash
                                             database construction
Austin Sloan             3/29/2023     2.7   Reconcile Silvergate bank statement data. regarding cash database
                                             construction
Austin Sloan             3/29/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                             A. Sloan (A&M) discussing progress on cash database
Austin Sloan             3/29/2023     3.1   Reconcile PayPay bank statement data. regarding cash database
                                             construction
Breanna Price            3/29/2023     0.2   Expand Deltec bank data for 2018 on the bank statement tracker to
                                             reflect all currencies
Breanna Price            3/29/2023     0.5   Continue expanding Deltec bank data for 2020 on the bank
                                             statement tracker to reflect all currencies
Breanna Price            3/29/2023     1.8   Add Deltec bank statements to the bank statement trackers

Breanna Price            3/29/2023     1.7   Search for missing Deltec bank statements through Relativity


Breanna Price            3/29/2023     3.3   Expand Deltec bank data for 2020 on the bank statement tracker to
                                             reflect all currencies




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Avoidance Actions
Professional                 Date     Hours     Activity
Breanna Price             3/29/2023     0.2   Expand Deltec West Realm Shires Services statements on the bank
                                              trackers to reflect all currencies
Cameron Radis             3/29/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Chris Arnett              3/29/2023     0.6   Research and direct subsequent analysis of insider payments and
                                              potential actions re: same
David Dawes               3/29/2023     1.3   Review revenue and EBITDA multiple analysis and comparable for
                                              Alameda loan counterparty
David Medway              3/29/2023     0.5   Review filing in Alameda counterparty bankruptcy concern custody of
                                              collateral assets and prepare workplan for responsive investigative
                                              procedures
David Medway              3/29/2023     0.5   Review Alameda counterparty lending agreements and summarize
                                              relevant collateral provisions
David Medway              3/29/2023     0.3   Internal communications regarding investigation of Alameda
                                              counterparty collateral custody
David Medway              3/29/2023     0.3   Review results of targeted investigation of Alameda counterparty
                                              collateral transactions
David Medway              3/29/2023     1.4   Review MPL and TripleDot valuation analyses and strategize similar
                                              analysis for GDA investments
David Medway              3/29/2023     0.6   Prepare workplan for materials summarizing results of analysis of
                                              GDA valuation comps
David Medway              3/29/2023     0.1   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                              tear sheets
David Medway              3/29/2023     0.1   Call with M. Blanchard and D. Medway (A&M) regarding investment
                                              tear sheets
David Medway              3/29/2023     0.8   Review and edit investment tear sheets in response to internal review
                                              comments
David Medway              3/29/2023     1.0   Review memo summarizing results of investigation of McCaffrey
                                              loans and consider feedback for counsel
David Medway              3/29/2023     0.2   Internal communications regarding GDA projections analysis


Emily Hoffer              3/29/2023     1.3   Review wire detail information provided by Evolve Bank to determine
                                              if the information provided covers all identified wire and if additional
                                              follow up is necessary with the bank
Emily Hoffer              3/29/2023     1.9   Review bank statements, check images and wire detail available for
                                              Far Eastern International Bank accounts and determining the specific
                                              files to be loaded into the cash database
Emily Hoffer              3/29/2023     1.6   Perform manual reconciliation review of Wells Fargo bank accounts
                                              from AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts,
Emily Hoffer              3/29/2023     0.3   Review bank statements, check images and wire detail available for
                                              Transactive Systems bank accounts and determining the specific
                                              files to be loaded into the cash database




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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/29/2023     0.9   Perform manual reconciliation review of Rakuten bank accounts from
                                              AWS metabase to native source PDFs and structured data files.
                                               Ensure accuracy of all data elements including monthly balance
                                              calculations, transaction dates, and transaction amounts, and
Emily Hoffer              3/29/2023     0.7   Review bank statements, check images and wire detail available for
                                              OpenPay'd bank accounts and determining the specific files to be
                                              loaded into the cash database
Emily Hoffer              3/29/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                              A. Sloan (A&M) discussing progress on cash database
Ishika Patel              3/29/2023     3.2   Revise HSBC Counterparties based on newly received accounting
                                              data
Ishika Patel              3/29/2023     1.0   Continue revising HSBC Counterparties based on newly received
                                              accounting data
Julian Lee                3/29/2023     0.4   Review and prepare Signature bank follow-up items


Julian Lee                3/29/2023     0.8   Review Maerki bank data and prepare follow-up questions for foreign
                                              debtor representatives
Julian Lee                3/29/2023     0.5   Call with A. Canale, S. Peoples, J. Lee, A. Helal (A&M) to discuss
                                              memo on IEX investment and next steps
Julian Lee                3/29/2023     0.1   Correspond with debtor and counsel regarding JPMorgan production
                                              status
Julian Lee                3/29/2023     0.4   Teleconference with J. Lee and A. Cox (A&M) regarding IEX venture
                                              book investment
Julian Lee                3/29/2023     0.1   Review general ledger data for Cottonwood Grove and HSBC account


Julian Lee                3/29/2023     0.6   Review Nuvei responses and data files and prepare follow-up items

Julian Lee                3/29/2023     0.2   Inquire with S&C regarding status of outstanding inquiries for Paysafe


Julian Lee                3/29/2023     0.2   Review Klarpay data provided by foreign debtor representative

Julian Lee                3/29/2023     0.3   Review of FTX exchange data for fiat deposits in relation to customer
                                              deposit into Evolve bank account
Julian Lee                3/29/2023     0.3   Review bank data coverage for Vietcombank, SBI Clearing, and
                                              HDFC and correspond with team regarding status update
Julian Lee                3/29/2023     2.2   Review and update memo on IEX transaction

Julian Lee                3/29/2023     0.5   Review responses provided by Evolve bank and relevant supporting
                                              documents
Julian Lee                3/29/2023     0.6   Call with A. Canale, J. Lee (A&M) to discuss memo on IEX
                                              investment and next steps
Julian Lee                3/29/2023     0.3   Review responses from Paysafe and prepare follow-up inquiries


Laureen Ryan              3/29/2023     0.8   Teleconference with L. Ryan, M. Shanahan, P. McGrath, and A. Cox
                                              (A&M) regarding Tripledot venture book investment analysis



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Avoidance Actions
Professional             Date     Hours     Activity
Laureen Ryan          3/29/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding venture book
                                          avoidance actions update
Laureen Ryan          3/29/2023     1.2   Correspond with A&M Team regarding avoidance actions analysis


Laureen Ryan          3/29/2023     0.7   Correspond with QE and A&M Team regarding avoidance actions
                                          analysis
Laureen Ryan          3/29/2023     0.4   Review MPL avoidance reaction related analysis

Laureen Ryan          3/29/2023     0.6   Review documents relevant to avoidance action investigation matters


Madison Blanchard     3/29/2023     0.1   Call with M. Blanchard and D. Medway (A&M) regarding investment
                                          tear sheets
Madison Blanchard     3/29/2023     1.3   Updates to schedule of tear sheets and preparation of presentation
                                          materials
Madison Blanchard     3/29/2023     0.9   Preparation of schedule for memos not yet completed and
                                          consolidation of data points to be included in presentation materials
Mason Ebrey           3/29/2023     0.3   Review of edits made to Quinn Emanuel Port Finance Memo


Mason Ebrey           3/29/2023     1.3   Addition of Klaypay bank statements to various trackers

Mason Ebrey           3/29/2023     0.2   Review of and making edits to Port Finance tear sheet

Maximilian Simkins    3/29/2023     0.4   Process Transactive transaction reports


Maximilian Simkins    3/29/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/29/2023     0.2   Teleconference with E. Hoffer, M. Haigis, C. Radis, M. Simkins, and
                                          A. Sloan (A&M) discussing progress on cash database
Maya Haigis           3/29/2023     2.5   Prepare bank statement transaction reports to be processed and
                                          loaded into AWS
Michael Shanahan      3/29/2023     1.5   Review documents supporting analysis of TripleDot valuation


Michael Shanahan      3/29/2023     0.8   Teleconference with L. Ryan, M. Shanahan, P. McGrath, and A. Cox
                                          (A&M) regarding Tripledot venture book investment analysis
Michael Shanahan      3/29/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding venture book
                                          avoidance actions update
Michael Shanahan      3/29/2023     1.4   Review analysis related to potential value of TripleDot


Michael Shanahan      3/29/2023     0.1   Call with M. Shanahan and D. Medway (A&M) regarding investment
                                          tear sheets
Michael Shanahan      3/29/2023     0.5   Call with M. Shanahan, A. Canale (A&M) regarding avoidance action
                                          tear sheets
Michael Shanahan      3/29/2023     2.3   Review and revise tear sheets summarizing potential avoidance
                                          actions




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Avoidance Actions
Professional                Date     Hours     Activity
Michael Shanahan         3/29/2023     0.2   Teleconference with M. Shanahan, P. McGrath, and A. Cox (A&M)
                                             regarding Tripledot venture book investment analysis
Michael Shanahan         3/29/2023     0.5   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                             venture book claims
Michael Shanahan         3/29/2023     0.4   Discussion with M. Shanahan and S. Peoples (A&M) re: avoidance
                                             actions
Michael Shanahan         3/29/2023     2.1   Review documents related to potential avoidance actions

Patrick McGrath          3/29/2023     0.2   Teleconference with M. Shanahan, P. McGrath, and A. Cox (A&M)
                                             regarding Tripledot venture book investment analysis
Patrick McGrath          3/29/2023     2.3   Summarize investment book analysis

Patrick McGrath          3/29/2023     0.8   Teleconference with L. Ryan, M. Shanahan, P. McGrath, and A. Cox
                                             (A&M) regarding Tripledot venture book investment analysis
Patrick McGrath          3/29/2023     1.0   Review venture book memorandums prepared by counsel

Patrick McGrath          3/29/2023     3.2   Perform analysis of venture book investments


Patrick McGrath          3/29/2023     0.5   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                             venture book claims
Samuel Mimms             3/29/2023     1.5   Analyze Alameda counterparty transactional data for incorporation
                                             into deck for Counsel
Samuel Mimms             3/29/2023     1.4   Perform Relativity searches on possible collateral transfers from
                                             Alameda counterparty to Gemini
Scott Peoples            3/29/2023     0.4   Review supplemental information located on Relativity related to IEX
                                             transaction
Scott Peoples            3/29/2023     0.5   Call with A. Canale, S. Peoples, J. Lee, A. Helal (A&M) to discuss
                                             memo on IEX investment and next steps
Scott Peoples            3/29/2023     0.4   Discussion with M. Shanahan and S. Peoples (A&M) re: avoidance
                                             actions
Aaron Dobbs              3/30/2023     2.1   Quality control of transaction regarding counterparty data and
                                             translations
Aaron Dobbs              3/30/2023     0.4   Quality control of data summaries for Alameda loan counterparty

Alex Canale              3/30/2023     0.4   Prepare updates to Alameda counterparty draft report regarding
                                             interest payable on WRS loan and analysis
Alex Canale              3/30/2023     0.4   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                             Anchor Labs (Anchorage) Venture Book memo and lending
                                             agreements
Alex Canale              3/30/2023     1.6   Prepare updates to Alameda counterparty draft report regarding
                                             analysis supporting proof of claim
Alex Canale              3/30/2023     0.4   Call with A. Canale and M. Blanchard (A&M) and M. Meadows (QE)
                                             regarding MPL valuation analysis
Alex Canale              3/30/2023     1.5   Analysis of preference period loan repayments made by Debtors




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Professional                Date     Hours     Activity
Alex Canale              3/30/2023     0.3   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                             prepping for Liquid Value Fund call with counsel
Alex Canale              3/30/2023     0.3   Prepare responses to counsel queries regarding MPL preliminary
                                             valuation analysis
Alex Canale              3/30/2023     0.5   Prepare avoidance action tear sheet slides for review by relevant QE
                                             partners
Alex Canale              3/30/2023     0.3   Call with L. Ryan, A. Canale, and D. Medway (A&M) regarding
                                             Alameda counterparty claim
Alex Canale              3/30/2023     0.3   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                             Medway regarding Alameda counterparty claim
Alex Canale              3/30/2023     0.1   Call with A. Canale, J. Lee (A&M) to discuss accounting entries
                                             related to IEX investment
Alex Canale              3/30/2023     0.2   Call with L. Ryan, K. Ramanathan, A. Canale, (A&M) to discuss
                                             Binance exchange data
Alex Canale              3/30/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) and O. Yeffet
                                             (QE) regarding Anchor Labs (Anchorage) Venture Book memo and
                                             lending agreements
Alex Canale              3/30/2023     0.2   Call with L. Ryan, K. Ramanathan, A. Canale, (A&M) to discuss
                                             Binance exchange data
Alex Canale              3/30/2023     0.2   Call with L. Ryan, A. Canale, S. Mimms and D. Medway (A&M)
                                             regarding Alameda counterparty claim
Alex Canale              3/30/2023     0.3   Correspond with A&M team regarding Alameda counterparty
                                             information to provide to UCC
Alex Canale              3/30/2023     0.9   Teleconference with L. Ryan, A. Canale, P. McGrath, M. Ebrey
                                             (A&M) and M. Wittmann, E. Kapur (QE) discussing Liquid Value Fund
Alex Canale              3/30/2023     1.1   Call with L. Ryan, A. Canale, S. Coverick, L. Callerio, D. Medway
                                             (A&M) and M. Greenblatt, L. Baer, M. Diodato, B. Bromberg, M.
                                             Gray, and I. Leonatis (FTI) regarding Alameda counterparty
                                             investigation
Alex Canale              3/30/2023     0.3   Review updated Alameda counterparty draft proof of claim provided
                                             by counsel
Alex Canale              3/30/2023     0.7   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                             Alameda counterparty claim
Alex Canale              3/30/2023     1.0   Review updated IEX investment memorandum and edit


Alex Canale              3/30/2023     1.2   Analysis of collateral pledged to Alameda counterparty under the
                                             MLAs and pledge agreements
Alex Canale              3/30/2023     0.8   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                             counterparty claim
Allison Cox              3/30/2023     2.9   Document review related to Storybook venture book investment
                                             analysis
Allison Cox              3/30/2023     1.2   Prepare table related to Binance withdrawal confirmation emails


Allison Cox              3/30/2023     1.4   Analyze transactions related to loans to related parties




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Avoidance Actions
Professional              Date     Hours     Activity
Aly Helal              3/30/2023     3.2   Search for support to confirm Sam Bankman's gift payment to insider
                                           in the amount of $10 million
Austin Sloan           3/30/2023     1.9   Create bank statement summary file for JP Morgan Chase. regarding
                                           cash database construction
Austin Sloan           3/30/2023     1.6   Create bank statement detail file for HDFC. regarding cash database
                                           construction
Austin Sloan           3/30/2023     2.9   Reconcile PayPay bank statement data. regarding cash database
                                           construction
Austin Sloan           3/30/2023     1.8   Reconcile Goldfield bank statement data. regarding cash database
                                           construction
Breanna Price          3/30/2023     0.4   Add Deltec bank statements to the bank statement trackers

Breanna Price          3/30/2023     0.2   Call with J. Lee, B. Price (A&M) to discuss general ledger data for
                                           FTX Europe AG in relation to Maerki accounts
Breanna Price          3/30/2023     2.8   Expand Deltec West Realm Shires Services statements on the bank
                                           trackers to reflect all currencies
Breanna Price          3/30/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding Maerki bank
                                           transactions and Deltec transaction reports
David Dawes            3/30/2023     1.0   Call with L. Ryan, M. Shanahan and D. Dawes (A&M) regarding
                                           Alameda loan counterparty summary
David Dawes            3/30/2023     0.5   Call with S. Peoples, M. Shanahan and D. Dawes (A&M) regarding
                                           Alameda loan counterparty revenue multiple analysis
David Dawes            3/30/2023     0.6   Continue to develop summary deck of findings relating to Alameda
                                           loan counterparty and FTX
David Dawes            3/30/2023     2.8   Develop summary deck of findings relating to Alameda loan
                                           counterparty and FTX
David Dawes            3/30/2023     0.8   Review revenue and EBITDA multiple analysis and comparable for
                                           Alameda loan counterparty
David Dawes            3/30/2023     0.5   Call with D. Medway and D. Dawes (A&M) regarding Alameda loan
                                           counterparty revenue multiple analysis
David Dawes            3/30/2023     1.8   Update summaries of analyses for Alameda loan counterparty


David Dawes            3/30/2023     0.6   Call with M. Shanahan and D. Dawes (A&M) regarding Alameda loan
                                           counterparty valuation analysis
David Dawes            3/30/2023     1.0   Update summary deck of findings relating to Binance and FTX

David Medway           3/30/2023     0.3   Call with L. Ryan and D. Medway (A&M) regarding Alameda
                                           counterparty claim
David Medway           3/30/2023     0.3   Call with B. Beller and A. Toobin (S&C) and A. Canale and D.
                                           Medway regarding Alameda counterparty claim
David Medway           3/30/2023     1.0   Prepare native Alameda counterparty claim analyses for UCC
                                           advisors' review
David Medway           3/30/2023     2.3   Update Alameda counterparty deck for consistency with claim at
                                           counsels direction




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David Medway              3/30/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding GDA
                                              investigation
David Medway              3/30/2023     0.3   Call with L. Ryan, A. Canale, and D. Medway (A&M) regarding
                                              Alameda counterparty claim
David Medway              3/30/2023     0.7   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                              Alameda counterparty claim
David Medway              3/30/2023     1.4   Update Alameda counterparty appendices for consistency with claim
                                              at counsels direction
David Medway              3/30/2023     0.1   Call with P. McGrath and D. Medway (A&M) regarding cryptocurrency
                                              pricing
David Medway              3/30/2023     0.5   Prepare for call with advisors to UCC regarding Alameda
                                              counterparty investigation and claim
David Medway              3/30/2023     0.2   Call with B. Beller and A. Toobin (S&C) and D. Medway (A&M)
                                              regarding Alameda counterparty claim
David Medway              3/30/2023     0.5   Call with D. Medway and D. Dawes (A&M) regarding Alameda loan
                                              counterparty revenue multiple analysis
David Medway              3/30/2023     0.3   Internal communications regarding updated Alameda counterparty
                                              claim
David Medway              3/30/2023     0.8   Call with A. Canale and D. Medway (A&M) regarding Alameda
                                              counterparty claim
David Medway              3/30/2023     0.4   Debrief call with advisors to UCC regarding Alameda counterparty
                                              investigation and claim
David Medway              3/30/2023     0.2   Call with L. Ryan, A. Canale, S. Mimms and D. Medway (A&M)
                                              regarding Alameda counterparty claim
David Medway              3/30/2023     0.7   Update Alameda counterparty deck to include analysis of accrued
                                              interest on WRS loan
David Medway              3/30/2023     0.9   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                              counterparty claim
David Medway              3/30/2023     1.1   Call with L. Ryan, A. Canale, S. Coverick, L. Callerio, D. Medway
                                              (A&M) and M. Greenblatt, L. Baer, M. Diodato, B. Bromberg, M.
                                              Gray, and I. Leonatis (FTI) regarding Alameda counterparty
                                              investigation
Emily Hoffer              3/30/2023     2.7   Review bank statements provided by Deltec to determine issues
                                              such as missing transactions, ending balances not equaling the next
                                              periods opening balance and missing accounts to follow up with
                                              Deltec
Emily Hoffer              3/30/2023     0.5   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco,
                                              A. Toobin (S&C), and M. Cilia (FTX) discussing historical bank
                                              statement collection progress
Emily Hoffer              3/30/2023     0.8   Review historical bank statement tracker provided by Sullivan and
                                              Cromwell and annotating with specific bank updates in preparation
                                              for weekly call
Emily Hoffer              3/30/2023     2.3   Review wire detail information and check images provided by Morgan
                                              Stanley to determine if the information provided covers all identified
                                              wire and if additional follow up is necessary with the bank
Emily Hoffer              3/30/2023     0.3   Call with E. Hoffer and B. Price (A&M) regarding Maerki bank
                                              transactions and Deltec transaction reports


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Avoidance Actions
Professional                 Date     Hours     Activity
Emily Hoffer              3/30/2023     0.5   Update bank communications tracker detail for new bank accounts,
                                              banks, and responses from all banks with associated debtor
                                              accounts in preparation for weekly management meeting
Ishika Patel              3/30/2023     1.8   Enter Counterparties for HSBC Bank Transactions

Ishika Patel              3/30/2023     2.7   Enter Counterparties for Klarpay Bank Transactions


Julian Lee                3/30/2023     0.1   Review of attachments related to IEX journal entry in QuickBooks

Julian Lee                3/30/2023     0.5   Prepare follow-up items for to S&C regarding Deltec bank production


Julian Lee                3/30/2023     0.5   Correspond with team regarding loan receivable and potential
                                              accounting treatment of 10 million fiat gift transfer from SBF
Julian Lee                3/30/2023     0.2   Correspond with team regarding HDFC activity and reconciliation
                                              process
Julian Lee                3/30/2023     0.2   Review bank communication and production tracker and PMO slide


Julian Lee                3/30/2023     0.8   Prepare memo to summarize $10 million family gift from SBF

Julian Lee                3/30/2023     0.5   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco,
                                              A. Toobin (S&C), and M. Cilia (FTX) discussing historical bank
                                              statement collection progress
Julian Lee                3/30/2023     0.1   Call with A. Canale, J. Lee (A&M) to discuss accounting entries
                                              related to IEX investment
Julian Lee                3/30/2023     0.2   Review Nuvei responses and data files and prepare follow-up items

Julian Lee                3/30/2023     0.2   Call with J. Lee, B. Price (A&M) to discuss general ledger data for
                                              FTX Europe AG in relation to Maerki accounts
Julian Lee                3/30/2023     1.0   Analyze bank data, accounting records, correspondence related to
                                              $10 million family gift from SBF
Julian Lee                3/30/2023     0.6   Review of bank communication and production status in preparation
                                              of weekly meeting with S&C
Julian Lee                3/30/2023     0.1   Review of general ledger files related to Maerki accounts

Julian Lee                3/30/2023     0.2   Review of Bank of America and Deltec bank production files


Julian Lee                3/30/2023     0.3   Review and update memo on IEX investment in relation to
                                              accounting entries
Julian Lee                3/30/2023     0.2   Review of Goldfields bank statements to identify currency of account

Julian Lee                3/30/2023     0.2   Review of Nuvei merchant services agreement


Julian Lee                3/30/2023     0.2   Review of team's responses to inquiry on FTX Japan bank accounts
                                              and outstanding items
Julian Lee                3/30/2023     1.1   Analyze FTX exchange activity and cash database in relation to $10
                                              million family gift from SBF

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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/30/2023     0.9   Review of FTX exchange data for 10 million fiat transfer related to
                                            SBF gift to parents
Kumanan Ramanathan      3/30/2023     0.2   Call with L. Ryan, K. Ramanathan, and A. Canale (A&M) to discuss
                                            Binance exchange data
Laureen Ryan            3/30/2023     0.9   Teleconference with L. Ryan, A. Canale, P. McGrath, M. Ebrey
                                            (A&M) and M. Wittmann, E. Kapur (QE) discussing Liquid Value Fund
Laureen Ryan            3/30/2023     0.2   Call with L. Ryan, K. Ramanathan, A. Canale, (A&M) to discuss
                                            Binance exchange data
Laureen Ryan            3/30/2023     1.0   Call with L. Ryan, M. Shanahan and D. Dawes (A&M) regarding
                                            Alameda loan counterparty summary
Laureen Ryan            3/30/2023     0.7   Correspond with S&C and A&M team regarding Alameda
                                            counterparty related inquiries
Laureen Ryan            3/30/2023     0.3   Call with L. Ryan, A. Canale, and D. Medway (A&M) regarding
                                            Alameda counterparty claim
Laureen Ryan            3/30/2023     0.2   Call with L. Ryan, K. Ramanathan, A. Canale, (A&M) to discuss
                                            Binance exchange data
Laureen Ryan            3/30/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding Tripledot memo
                                            analysis summary
Laureen Ryan            3/30/2023     0.3   Correspond with FTI and A&M team updated Alameda counterparty
                                            deck and requested documents
Laureen Ryan            3/30/2023     0.3   Correspond with FTX and A&M team regarding inquiries on activities
                                            in books and records
Laureen Ryan            3/30/2023     1.1   Call with L. Ryan, A. Canale, S. Coverick, L. Callerio, D. Medway
                                            (A&M) and M. Greenblatt, L. Baer, M. Diodato, B. Bromberg, M.
                                            Gray, and I. Leonatis (FTI) regarding Alameda counterparty
                                            investigation
Laureen Ryan            3/30/2023     0.2   Call with L. Ryan, A. Canale, S. Mimms and D. Medway (A&M)
                                            regarding Alameda counterparty claim
Laureen Ryan            3/30/2023     0.6   Review Alameda counterparty updated analysis deck

Laureen Ryan            3/30/2023     0.6   Correspond with QE and A&M team regarding avoidance action
                                            activities
Laureen Ryan            3/30/2023     1.5   Review memo related to TripleDot and other Avoidance action
                                            analysis
Laureen Ryan            3/30/2023     0.6   Correspond with A&M team regarding avoidance action activities


Laureen Ryan            3/30/2023     0.5   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco,
                                            A. Toobin (S&C), and M. Cilia (FTX) discussing historical bank
                                            statement collection progress
Laureen Ryan            3/30/2023     0.3   Call with L. Ryan and D. Medway (A&M) regarding Alameda
                                            counterparty claim
Lorenzo Callerio        3/30/2023     1.1   Call with L. Ryan, A. Canale, S. Coverick, L. Callerio, D. Medway
                                            (A&M) and M. Greenblatt, L. Baer, M. Diodato, B. Bromberg, M.
                                            Gray, and I. Leonatis (FTI) regarding Alameda counterparty
                                            investigation
Madison Blanchard       3/30/2023     0.8   Review and analysis of venture investments made by debtor entities
                                            and preparation of tear sheet (Anchorage)

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Avoidance Actions
Professional            Date     Hours     Activity
Madison Blanchard    3/30/2023     0.8   Review and analysis of venture investments made by debtor entities
                                         and updates to valuation analysis (MPL)
Madison Blanchard    3/30/2023     0.4   Call with A. Canale and M. Blanchard (A&M) and M. Meadows (QE)
                                         regarding MPL valuation analysis
Madison Blanchard    3/30/2023     0.4   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                         Anchor Labs (Anchorage) Venture Book memo and lending
                                         agreements
Madison Blanchard    3/30/2023     1.3   Review and analysis of Debtors' investments, invoices, payments
                                         and lending relationship with Anchorage
Madison Blanchard    3/30/2023     0.5   Call with P. McGrath and M. Blanchard (A&M) regarding Anchor Labs
                                         (Anchorage) Venture Book memo and lending agreements
Madison Blanchard    3/30/2023     2.7   Review and analysis of existing loan balances with Debtor entities
                                         and changes in value over time
Madison Blanchard    3/30/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) and O. Yeffet
                                         (QE) regarding Anchor Labs (Anchorage) Venture Book memo and
                                         lending agreements
Mason Ebrey          3/30/2023     0.3   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                         prepping for Liquid Value Fund call with counsel
Mason Ebrey          3/30/2023     0.9   Teleconference with L. Ryan, A. Canale, P. McGrath, M. Ebrey
                                         (A&M) and M. Wittmann, E. Kapur (QE) discussing Liquid Value Fund
Michael Shanahan     3/30/2023     1.2   Review and revise tear sheets summarizing potential avoidance
                                         actions
Michael Shanahan     3/30/2023     0.5   Review status of bank productions in preparation for call with counsel

Michael Shanahan     3/30/2023     0.3   Call with L. Ryan, M. Shanahan (A&M) regarding Tripledot memo
                                         analysis summary
Michael Shanahan     3/30/2023     0.5   Call with S. Peoples, M. Shanahan and D. Dawes (A&M) regarding
                                         Alameda loan counterparty revenue multiple analysis
Michael Shanahan     3/30/2023     0.6   Call with M. Shanahan and D. Dawes (A&M) regarding Alameda loan
                                         counterparty valuation analysis
Michael Shanahan     3/30/2023     0.5   Call with L. Ryan, M. Shanahan, J. Lee, E. Hoffer (A&M), F. Crocco,
                                         A. Toobin (S&C), and M. Cilia (FTX) discussing historical bank
                                         statement collection progress
Michael Shanahan     3/30/2023     1.3   Review and revise memo summarizing TripleDot investment


Michael Shanahan     3/30/2023     0.2   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                         venture book claims
Michael Shanahan     3/30/2023     1.4   Review analysis of GDA forecast and enterprise value calculations


Michael Shanahan     3/30/2023     1.4   Review documents related to GDA investment

Michael Shanahan     3/30/2023     1.0   Call with L. Ryan, M. Shanahan and D. Dawes (A&M) regarding
                                         Alameda loan counterparty summary
Michael Shanahan     3/30/2023     0.3   Call with M. Shanahan and D. Medway (A&M) regarding GDA
                                         investigation



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Avoidance Actions
Professional             Date     Hours     Activity
Patrick McGrath       3/30/2023     0.5   Call with P. McGrath and M. Blanchard (A&M) regarding Anchor Labs
                                          (Anchorage) Venture Book memo and lending agreements
Patrick McGrath       3/30/2023     0.4   Call with A. Canale, P. McGrath, and M. Blanchard (A&M) regarding
                                          Anchor Labs (Anchorage) Venture Book memo and lending
                                          agreements
Patrick McGrath       3/30/2023     2.1   Summarize investment book analysis


Patrick McGrath       3/30/2023     0.3   Teleconference with A. Canale, P. McGrath, M. Ebrey (A&M)
                                          prepping for Liquid Value Fund call with counsel
Patrick McGrath       3/30/2023     2.2   Perform analysis of venture book investments


Patrick McGrath       3/30/2023     0.2   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                          venture book claims
Patrick McGrath       3/30/2023     0.2   Call with A. Canale, P. McGrath, M. Blanchard (A&M) and O. Yeffet
                                          (QE) regarding Anchor Labs (Anchorage) Venture Book memo and
                                          lending agreements
Patrick McGrath       3/30/2023     0.7   Review venture book memorandums prepared by counsel


Patrick McGrath       3/30/2023     0.9   Teleconference with L. Ryan, A. Canale, P. McGrath, M. Ebrey
                                          (A&M) and M. Wittmann, E. Kapur (QE) discussing Liquid Value Fund
Patrick McGrath       3/30/2023     0.1   Call with P. McGrath and D. Medway (A&M) regarding cryptocurrency
                                          pricing
Samuel Mimms          3/30/2023     3.2   Update Alameda counterparty new value analyses for incorporation
                                          into deck for Counsel
Samuel Mimms          3/30/2023     0.2   Call with L. Ryan, A. Canale, S. Mimms and D. Medway (A&M)
                                          regarding Alameda counterparty claim
Samuel Mimms          3/30/2023     0.7   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                          Alameda counterparty claim
Samuel Mimms          3/30/2023     2.1   Prepare Alameda counterparty native files for production

Samuel Mimms          3/30/2023     0.9   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                          counterparty claim
Samuel Mimms          3/30/2023     1.3   Analyze Alameda counterparty transactional data for incorporation
                                          into deck for Counsel
Scott Peoples         3/30/2023     0.6   Review counsel's analysis of Anchorage transaction


Scott Peoples         3/30/2023     0.8   Review and provide comments on revised IEX asset memorandum

Scott Peoples         3/30/2023     0.5   Call with S. Peoples, M. Shanahan and D. Dawes (A&M) regarding
                                          Alameda loan counterparty revenue multiple analysis
Steve Coverick        3/30/2023     1.1   Call with L. Ryan, A. Canale, S. Coverick, L. Callerio, D. Medway
                                          (A&M) and M. Greenblatt, L. Baer, M. Diodato, B. Bromberg, M.
                                          Gray, and I. Leonatis (FTI) regarding Alameda counterparty
                                          investigation
Aaron Dobbs           3/31/2023     0.2   Teleconference with D. Dawes and A. Dobbs (A&M) regarding
                                          Alameda loan counterparty summary quality control


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Avoidance Actions
Professional                Date     Hours     Activity
Aaron Dobbs              3/31/2023     0.2   Teleconference with S. Mimms and A. Dobbs (A&M) regarding new
                                             components in digital asset trading
Aaron Dobbs              3/31/2023     0.1   Continue quality control of data summaries and slide deck for
                                             Alameda loan counterparty
Aaron Dobbs              3/31/2023     1.4   Confirmation through internal database and bank statement tracker
                                             of counterparty transactions
Aaron Dobbs              3/31/2023     2.1   Target searches for digital asset trading terms and trading
                                             instruments
Aaron Dobbs              3/31/2023     3.3   Quality control of data summaries and slide deck for Alameda loan
                                             counterparty
Alex Canale              3/31/2023     0.3   Call with L. Ryan, A. Canale, P. McGrath M. Blanchard (A&M) and A.
                                             Alden, M. Meadows (QE) regarding MPL valuation analysis
Alex Canale              3/31/2023     0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                             McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                             data requests
Alex Canale              3/31/2023     0.6   Correspond with QE and A&M teams regarding avoidance action tear
                                             sheets
Alex Canale              3/31/2023     0.8   Review documents relating to Anchorage investment and loan
                                             repayments
Alex Canale              3/31/2023     0.2   Call with A. Canale and D. Medway (A&M) regarding data supporting
                                             Alameda counterparty claim
Alex Canale              3/31/2023     0.5   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                             Alameda counterparty balance roll forward
Alex Canale              3/31/2023     0.8   Review native appendices and source files for Alameda counterparty
                                             draft report for provision to UCC
Alex Canale              3/31/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale and D. Medway (A&M)
                                             regarding case status and strategy
Alex Canale              3/31/2023     1.0   Updates to avoidance action tear sheet summaries based on
                                             comments provided by QE
Alex Canale              3/31/2023     0.4   Correspond with A&M team regarding native and source files for
                                             Alameda counterparty analysis
Alex Canale              3/31/2023     0.2   Correspond with A&M team regarding Alameda counterparty
                                             information to provide to UCC
Alex Canale              3/31/2023     0.4   Review documents provided by PWP in relation to investments
                                             considered for avoidance actions
Alex Canale              3/31/2023     0.9   Review IEX transaction memorandum and provide for managing
                                             director review
Alex Canale              3/31/2023     0.1   Call with A. Canale and M. Blanchard (A&M) regarding PWP
                                             documentation received and next steps
Alex Canale              3/31/2023     0.5   Prepare executive summary for avoidance action tear sheets
                                             presentation
Allison Cox              3/31/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding Alameda
                                             loan counterparty venture book investment deck
Allison Cox              3/31/2023     1.6   Analyze transactions related to loans to related parties




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Professional                Date     Hours     Activity
Allison Cox              3/31/2023     0.3   Update capital investment table in relation to Alameda loan
                                             counterparty venture book investment deck
Allison Cox              3/31/2023     1.1   Document review related to Storybook venture book investment
                                             analysis
Allison Cox              3/31/2023     1.3   Review third party diligence materials in relation to Tripledot and
                                             Storybook venture book investments
Allison Cox              3/31/2023     0.4   Bank transaction review in relation to Alameda loan counterparty
                                             venture book investment deck
Allison Cox              3/31/2023     0.3   Teleconference with J. Lee and A. Cox (A&M) regarding loan
                                             transactions to insiders
Aly Helal                3/31/2023     0.6   Call with J. Lee, A. Helal (A&M) to discuss QE inquiry on Starkware
                                             company secondary share purchases
Aly Helal                3/31/2023     0.2   Call with J. Lee, A. Helal (A&M) to discuss FTX loan transactions to
                                             insiders
Aly Helal                3/31/2023     1.7   Respond to counsel regarding Starkware's FTX Venture Investments

Aly Helal                3/31/2023     2.8   Collect support and review the accounting of SBF gift payment to an
                                             insider
Austin Sloan             3/31/2023     0.4   Call with A. Sloan and E. Hoffer (A&M) discussing Deltec production
                                             upload into cash database
Austin Sloan             3/31/2023     0.3   Teleconference with E. Hoffer, M. Haigis, M. Simkins, and A. Sloan
                                             (A&M) discussing progress on cash database
Austin Sloan             3/31/2023     2.7   Create bank statement detail file for Deltec. regarding cash database
                                             construction
Austin Sloan             3/31/2023     3.1   Process Deltec bank statements through Monarch. regarding cash
                                             database construction
Austin Sloan             3/31/2023     2.4   Reconcile Deltec bank statement data. regarding cash database
                                             construction
Breanna Price            3/31/2023     0.2   Add new bank data files to the master tracker

Breanna Price            3/31/2023     0.9   Add new Vietcombank data received from the Hong Kong team to the
                                             bank data files
Breanna Price            3/31/2023     0.4   Add new Bank of America files to the bank statement trackers

Breanna Price            3/31/2023     0.2   Call with E. Hoffer and B. Price (A&M) regarding Deltec bank
                                             statements received from banks
Breanna Price            3/31/2023     2.9   Add Deltec bank statements to the bank statement trackers


David Dawes              3/31/2023     0.2   Teleconference with D. Dawes and A. Dobbs (A&M) regarding
                                             Alameda loan counterparty summary quality control
David Dawes              3/31/2023     0.2   Teleconference with D. Dawes and A. Cox (A&M) regarding Alameda
                                             loan counterparty venture book investment deck
David Dawes              3/31/2023     0.4   Call with D. Dawes and D. Medway (A&M) regarding materials
                                             summarizing interim results of GDA investigation




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Professional                 Date     Hours     Activity
David Dawes               3/31/2023     0.1   Call with L. Ryan, D. Dawes (A&M) regarding Alameda loan
                                              counterparty valuation analysis
David Dawes               3/31/2023     2.3   Develop summary deck of findings relating to Alameda loan
                                              counterparty and FTX
David Dawes               3/31/2023     2.3   Continue to develop summary deck of findings relating to Alameda
                                              loan counterparty and FTX
David Medway              3/31/2023     0.1   Call with M. Shanahan and D. Medway (A&M) regarding case status
                                              and strategy
David Medway              3/31/2023     1.2   Review and analyze draft Alameda counterparty proof of claim


David Medway              3/31/2023     0.4   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                              counterparty action items
David Medway              3/31/2023     0.7   Review and edit materials summarizing interim results of GDA
                                              investigation
David Medway              3/31/2023     0.2   Call with A. Canale and D. Medway (A&M) regarding data supporting
                                              Alameda counterparty claim
David Medway              3/31/2023     0.4   Call with D. Dawes and D. Medway (A&M) regarding materials
                                              summarizing interim results of GDA investigation
David Medway              3/31/2023     0.2   Correspond with team regarding case status and strategy

David Medway              3/31/2023     0.2   Call with A. Toobin (S&C) and D. Medway (A&M) regarding Alameda
                                              counterparty claim
David Medway              3/31/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale and D. Medway (A&M)
                                              regarding case status and strategy
David Medway              3/31/2023     0.5   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                              Alameda counterparty balance roll forward
David Medway              3/31/2023     2.6   Prepare native and supporting Alameda counterparty materials for
                                              FTI review
Emily Hoffer              3/31/2023     0.4   Call with A. Sloan and E. Hoffer (A&M) discussing Deltec production
                                              upload into cash database
Emily Hoffer              3/31/2023     1.5   Review bank statements, check images and wire detail available for
                                              Deltec bank accounts and determining the specific files to be loaded
                                              into the cash database
Emily Hoffer              3/31/2023     1.1   Review transaction reports provided by Circle and compiling follow
                                              ups to ask Circle to better understand the data provided within the
                                              transaction reports
Emily Hoffer              3/31/2023     0.6   Call with J. Lee, E. Hoffer (A&M) to discuss updates to memo on
                                              Brinc investment
Emily Hoffer              3/31/2023     0.3   Teleconference with E. Hoffer, M. Haigis, M. Simkins, and A. Sloan
                                              (A&M) discussing progress on cash database
Emily Hoffer              3/31/2023     1.2   Review bank statement tracker for accuracy against bank statements
                                              available and updating underlying documentation for any bank
                                              statements not currently documented
Emily Hoffer              3/31/2023     0.4   Review responses to specific questions provided by Paysafe in
                                              relation to their transaction report provided and next steps with the
                                              transaction report


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Professional                 Date     Hours     Activity
Emily Hoffer              3/31/2023     0.4   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) discussing cash
                                              workstream and strategy moving forward
Emily Hoffer              3/31/2023     0.2   Call with E. Hoffer and B. Price (A&M) regarding Deltec bank
                                              statements received from banks
Emily Hoffer              3/31/2023     2.4   Review updated BRINC Drones memo provided by Quinn Emanuel
                                              and responding to specific questions Quinn Emanuel asked about
                                              specific investments into BRINC Drones
Ishika Patel              3/31/2023     0.8   Enter Counterparties for Klarpay Transactions

Julian Lee                3/31/2023     0.2   Review of Starkware documents to respond to QE


Julian Lee                3/31/2023     0.3   Bank account tracker production status and notes, prepare
                                              correspondence to AlixPartners
Julian Lee                3/31/2023     0.2   Prepare response to QE team inquiry on insider loan

Julian Lee                3/31/2023     0.2   Review of Brinc redline document containing Series A language


Julian Lee                3/31/2023     0.3   Teleconference with J. Lee and A. Cox (A&M) regarding loan
                                              transactions to insiders
Julian Lee                3/31/2023     0.4   Review of PWP files in related to Brinc Drones and Starkware


Julian Lee                3/31/2023     0.8   Review of underlying bank data for bank account tracker for
                                              AlixPartners
Julian Lee                3/31/2023     0.1   Prepare response to QE team regarding Starkware investment and
                                              secondary share purchases
Julian Lee                3/31/2023     0.1   Review of bank account tracker production status and notes

Julian Lee                3/31/2023     0.6   Call with J. Lee, A. Helal (A&M) to discuss QE inquiry on Starkware
                                              secondary share purchases
Julian Lee                3/31/2023     0.2   Call with J. Lee, A. Helal (A&M) to discuss loan transactions to
                                              insiders
Julian Lee                3/31/2023     1.6   Prepare memo to summarize $10 million family gift from SBF

Julian Lee                3/31/2023     0.3   Review of memo on Brinc Drones investment prepared by QE team


Julian Lee                3/31/2023     0.4   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) discussing cash
                                              workstream and strategy moving forward
Julian Lee                3/31/2023     0.4   Provide response to QE team regarding memo on Brinc investment


Julian Lee                3/31/2023     0.9   Review Starkware documents on secondary share purchase and
                                              Series D
Julian Lee                3/31/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                              database, avoidance action analyses for Brinc and Starkware
Julian Lee                3/31/2023     0.3   Review of Deltec bank production for Alameda Research Ltd
                                              account, prepare follow-up question for Deltec


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Avoidance Actions
Professional               Date     Hours     Activity
Julian Lee              3/31/2023     0.6   Call with J. Lee, E. Hoffer (A&M) to discuss updates to memo on
                                            Brinc investment
Laureen Ryan            3/31/2023     0.3   Call with L. Ryan, A. Canale, P. McGrath M. Blanchard (A&M) and A.
                                            Alden, M. Meadows (QE) regarding MPL valuation analysis
Laureen Ryan            3/31/2023     0.3   Correspond with A&M team regarding Avoidance action tear sheet
                                            deck
Laureen Ryan            3/31/2023     0.3   Review and update PMO and workstream tracker

Laureen Ryan            3/31/2023     0.4   Correspond with QE team on payments to SBF family members


Laureen Ryan            3/31/2023     0.8   Review documents relevant to avoidance action investigations

Laureen Ryan            3/31/2023     0.3   Correspond with FTI and A&M team regarding Alameda counterparty
                                            analysis and documents
Laureen Ryan            3/31/2023     0.9   Correspond with QE team on venture book related analysis

Laureen Ryan            3/31/2023     0.3   Review deck summarizing findings on Alameda loan counterparty
                                            investment
Laureen Ryan            3/31/2023     0.4   Correspond with A&M team regarding Alameda counterparty analysis

Laureen Ryan            3/31/2023     0.2   Correspond with Alix regarding bank tracker matters

Laureen Ryan            3/31/2023     0.2   Correspond with QE and A&M team regarding bank account analysis


Laureen Ryan            3/31/2023     0.1   Call with L. Ryan, D. Dawes (A&M) regarding Alameda loan
                                            counterparty valuation analysis
Laureen Ryan            3/31/2023     0.4   Review memo summarizing analysis on TripleDot investment


Laureen Ryan            3/31/2023     1.2   Review memos related to other avoidance actions investigation with
                                            QE on venture book matters
Laureen Ryan            3/31/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale and D. Medway (A&M)
                                            regarding case status and strategy
Laureen Ryan            3/31/2023     0.3   Review memo summarizing findings on loan to SBF's father

Laureen Ryan            3/31/2023     0.2   Correspond with QE and A&M team regarding review of draft
                                            Avoidance action tear sheet deck
Laureen Ryan            3/31/2023     0.1   Correspond with A&M team regarding PMO updates


Leslie Lambert          3/31/2023     0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                            McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                            data requests
Lorenzo Callerio        3/31/2023     0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                            McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                            data requests
Madison Blanchard       3/31/2023     0.3   Call with L. Ryan, A. Canale, P. McGrath M. Blanchard (A&M) and A.
                                            Alden, M. Meadows (QE) regarding MPL valuation analysis

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Professional             Date     Hours     Activity
Madison Blanchard     3/31/2023     0.2   Review and analysis of bank statements and transaction activity
                                          associated with Venture Book investment (MPL)
Madison Blanchard     3/31/2023     0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                          McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                          data requests
Madison Blanchard     3/31/2023     0.5   Review of documents received from PWP in relation to Venture Book
                                          investments
Madison Blanchard     3/31/2023     1.2   Review and analysis of existing loan balances with Debtor entities
                                          and changes in value over time
Madison Blanchard     3/31/2023     1.5   Updates to tear sheets incorporating feedback received from QE


Madison Blanchard     3/31/2023     0.1   Call with A. Canale and M. Blanchard (A&M) regarding PWP
                                          documentation received and next steps
Madison Blanchard     3/31/2023     2.6   Review and analysis of Debtors' investments, invoices, payments
                                          and lending relationship with Anchorage
Mason Ebrey           3/31/2023     0.2   Review of PWP documents relating to HOLE investment


Mason Ebrey           3/31/2023     0.6   Identification of unknown counterparties in transactions in the range
                                          of $25M to $49M
Mason Ebrey           3/31/2023     1.1   Identification of unidentified counterparties after first review


Mason Ebrey           3/31/2023     0.3   Review and making edits to Polygon Network tear sheet

Mason Ebrey           3/31/2023     0.6   Research into BCB Account x23282


Mason Ebrey           3/31/2023     0.4   Review of PWP documents relating to NEAR investment

Maximilian Simkins    3/31/2023     0.3   Teleconference with E. Hoffer, M. Haigis, M. Simkins, and A. Sloan
                                          (A&M) discussing progress on cash database
Maya Haigis           3/31/2023     0.9   Prepare bank statement transaction reports to be processed and
                                          loaded into AWS
Maya Haigis           3/31/2023     0.3   Teleconference with E. Hoffer, M. Haigis, M. Simkins, and A. Sloan
                                          (A&M) discussing progress on cash database
Michael Shanahan      3/31/2023     0.2   Review bank transaction PMO slide and provide additional
                                          commentary
Michael Shanahan      3/31/2023     0.2   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                          venture book claims
Michael Shanahan      3/31/2023     1.3   Review and revise preliminary findings deck related to TripleDot
                                          valuation
Michael Shanahan      3/31/2023     0.4   Call with M. Shanahan, J. Lee and E. Hoffer (A&M) discussing cash
                                          workstream and strategy moving forward
Michael Shanahan      3/31/2023     1.3   Review documents related to potential avoidance actions

Michael Shanahan      3/31/2023     0.9   Call with L. Ryan, M. Shanahan, A. Canale and D. Medway (A&M)
                                          regarding case status and strategy


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Avoidance Actions
Professional             Date     Hours      Activity
Michael Shanahan      3/31/2023       1.6   Review and revise preliminary findings deck related to GDA

Michael Shanahan      3/31/2023       0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss cash
                                            database, avoidance action analyses for Brinc and Starkware
Michael Shanahan      3/31/2023       0.1   Call with M. Shanahan and D. Medway (A&M) regarding case status
                                            and strategy
Michael Shanahan      3/31/2023       1.4   Review and revise tear sheets related to potential avoidance actions

Michael Shanahan      3/31/2023       0.2   Communications to/from team regarding bank database


Patrick McGrath       3/31/2023       0.2   Teleconference with M. Shanahan and P. McGrath (A&M) regarding
                                            venture book claims
Patrick McGrath       3/31/2023       0.3   Call with L. Ryan, A. Canale, P. McGrath M. Blanchard (A&M) and A.
                                            Alden, M. Meadows (QE) regarding MPL valuation analysis
Patrick McGrath       3/31/2023       0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                            McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                            data requests
Patrick McGrath       3/31/2023       1.8   Summarize investment book analysis

Patrick McGrath       3/31/2023       1.6   Review venture book memorandums prepared by counsel


Patrick McGrath       3/31/2023       2.8   Perform analysis of venture book investments

Quinn Lowdermilk      3/31/2023       0.3   Call with A. Canale, L. Callerio, Q. Lowdermilk, L. Lambert, P.
                                            McGrath, and M. Blanchard (A&M) to discuss Loan Agreements and
                                            data requests
Samuel Mimms          3/31/2023       0.2   Teleconference with S. Mimms and A. Dobbs (A&M) regarding new
                                            components in digital asset trading
Samuel Mimms          3/31/2023       0.5   Call with A. Canale, S. Mimms and D. Medway (A&M) regarding
                                            Alameda counterparty balance roll forward
Samuel Mimms          3/31/2023       0.4   Call with S. Mimms and D. Medway (A&M) regarding Alameda
                                            counterparty action items
Samuel Mimms          3/31/2023       2.4   Analyze Alameda counterparty transactional data for incorporation
                                            into deck for Counsel
Samuel Mimms          3/31/2023       2.6   Compile Alameda counterparty documents and work product for
                                            production

Subtotal                          2,623.4

Business Operations
Professional             Date     Hours      Activity
Andrew Heric           3/1/2023       0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                            Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                            crypto tracing workstream update




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Professional             Date     Hours     Activity
Andrew Heric           3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                          Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                          Internal accounts
Andrew Heric           3/1/2023     2.1   Summarize analysis of US internal accounts for report related to
                                          request from K. Ramanathan (A&M)
Andrew Heric           3/1/2023     0.6   Update analysis related to crypto tracing request 39 based on
                                          commentary from C. Stockmeyer (A&M)
Andrew Heric           3/1/2023     0.6   Prepare summary for report related to crypto tracing request 39
                                          based on commentary from C. Stockmeyer (A&M)
Andrew Heric           3/1/2023     2.3   Summarize analysis of international internal accounts for report
                                          related to request from K. Ramanathan (A&M)
Andrew Heric           3/1/2023     2.7   Adjust and format deliverable tables and descriptions in internal
                                          accounts report based on commentary from C. Stockmeyer (A&M)
Austin Sloan           3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                          Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                          go through action items, pending requests and workstreams
Brett Bammert          3/1/2023     1.3   Send internal review team progress update regarding current
                                          document review and coding analysis
Cullen Stockmeyer      3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                          Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re: Internal
                                          accounts
Cullen Stockmeyer      3/1/2023     2.3   Update FTX.US net internal transfers by activity

Cullen Stockmeyer      3/1/2023     2.4   Update FTX.COM net internal transfers by activity


Cullen Stockmeyer      3/1/2023     1.7   Develop template for net internal transfers by activity table

Cullen Stockmeyer      3/1/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: updated internal
                                          accounts deck
Ed Mosley              3/1/2023     0.4   Discussion with E. Mosley, J. Stegenga (A&M) re: Alameda loan
                                          counterparty data accumulation
Gaurav Walia           3/1/2023     0.3   Review the latest TRM Labs silo tracing analysis

Gaurav Walia           3/1/2023     1.2   Prepare a summary one-pager of Alameda sources of funds


Gaurav Walia           3/1/2023     0.4   Correspondence regarding revised internal accounts analysis

Gaurav Walia           3/1/2023     1.0   Review the updated top accounts reports


Gaurav Walia           3/1/2023     0.4   Review the updated customer jurisdiction analysis

Gaurav Walia           3/1/2023     0.9   Review the latest internal account analysis presentation


Heather Ardizzoni      3/1/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, J. Cooper (A&M) to
                                          discuss material for April board presentation



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Professional              Date     Hours     Activity
Henry Chambers          3/1/2023     0.7   Attend to correspondence regarding non-whitelisted tokens and
                                           impact to wider FTX
Henry Chambers          3/1/2023     1.8   Attend to correspondence and calls regarding Zendesk outage


Henry Chambers          3/1/2023     0.4   Review of Quoine PTE transfer records for movements to BitGo

Henry Chambers          3/1/2023     0.2   Make database request regarding SRM/FTT tokens

Igor Radwanski          3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                           Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                           crypto tracing workstream update
Igor Radwanski          3/1/2023     1.9   Meeting with I. Radwanski and M. Rodriguez (A&M) to review asset
                                           tracing requests
Igor Radwanski          3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           internal accounts
Igor Radwanski          3/1/2023     1.8   Trace specific incoming transfers using blockchain Trace software


Igor Radwanski          3/1/2023     1.4   Edit deliverable to include on-chain visuals from tracing activity

Jack Yan                3/1/2023     1.3   Review wire transfer details for transfer amounts and entity transfers


James Cooper            3/1/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, J. Cooper (A&M) to
                                           discuss material for April board presentation
James Lam               3/1/2023     1.7   Review and analyze the datasets associated with FTT and SRM
                                           holdings in FTX.com
James Lam               3/1/2023     1.5   Research on SRM and FTT on-chain movements


Jan Kaiser              3/1/2023     0.5   Call with J. Chan and J. Kaiser (A&M) regarding Reporting workflow

Jan Kaiser              3/1/2023     1.8   Working session regarding Reporting workflow development


Jeffery Stegenga        3/1/2023     0.4   Discussion with E. Mosley, J. Stegenga (A&M) re: Alameda loan
                                           counterparty data accumulation
Jon Chan                3/1/2023     0.9   Provide all account details pertaining to a list of customers


Jon Chan                3/1/2023     0.5   Call with J. Chan and J. Kaiser (A&M) regarding Reporting workflow

Jon Chan                3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                           Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                           go through action items, pending requests and workstreams
Jon Chan                3/1/2023     0.8   Review automation steps pertaining to pulling data on the platform


Jon Chan                3/1/2023     1.2   Investigate transactions made by specific entity to FTX




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Professional               Date     Hours     Activity
Jon Chan                 3/1/2023     2.8   Provide all documents pertaining to accounts associated with a
                                            specific transaction hash
Jonathan Marshall        3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                            Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                            go through action items, pending requests and workstreams
Jonathan Zatz            3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                            Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                            go through action items, pending requests and workstreams
Jonathan Zatz            3/1/2023     1.0   Call with A. Holland (S&C) and J. Zatz (A&M) to discuss Alameda
                                            transaction data request from SDNY
Jonathan Zatz            3/1/2023     1.5   Concatenate min/max dates for each field related to Alameda data
                                            profiling
Jonathan Zatz            3/1/2023     0.8   Answer S&C questions related to Alameda databases


Jonathan Zatz            3/1/2023     0.6   Edit S&C email to SDNY related to request for Alameda transaction
                                            data
Jonathan Zatz            3/1/2023     1.5   Transpose min/max dates for each field related to Alameda data
                                            profiling
Kevin Baker              3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                            Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                            go through action items, pending requests and workstreams
Kevin Baker              3/1/2023     2.8   Develop script to automate KYC reporting from AWS

Kevin Baker              3/1/2023     2.9   Develop script to overlay KYC metadata and file ID's from AWS to
                                            Relativity
Kevin Baker              3/1/2023     2.1   Investigate user account details for specific individuals for crypto
                                            asset tracing
Kevin Baker              3/1/2023     1.0   Call with K. Dusendschon, P. Kwan and K. Baker (A&M) to discuss
                                            KYC tables, KYC normalization and next steps
Kevin Baker              3/1/2023     2.4   Report jurisdiction of all customers enrolled in EARN and margin
                                            lending
Kevin Baker              3/1/2023     1.6   Research specific accounts and transactions related to Mina

Kora Dusendschon         3/1/2023     0.6   Provide oversight and PMO, reviewing requests and communicating
                                            with team
Kora Dusendschon         3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                            Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                            go through action items, pending requests and workstreams
Kora Dusendschon         3/1/2023     1.2   Review results of KYC searches from K. Baker, internal comms
                                            regarding results, tie-outs, creating report for FTI and sending out
Kora Dusendschon         3/1/2023     1.1   Complete action items from call with S&C

Kora Dusendschon         3/1/2023     1.0   Call with K. Dusendschon, P. Kwan and K. Baker (A&M) to discuss
                                            KYC tables, KYC normalization and next steps
Kumanan Ramanathan       3/1/2023     0.2   Call with K. Ramanathan, W. Walker (A&M) regarding agreements
                                            for potential custodial and trading services providers


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Professional             Date     Hours     Activity
Kumanan Ramanathan     3/1/2023     0.6   Review of stablecoin deck updated amounts

Kumanan Ramanathan     3/1/2023     0.9   Prepare cost analysis and distribute for AWS


Kumanan Ramanathan     3/1/2023     0.9   Review of third party exchange analysis

Lance Clayton          3/1/2023     1.8   Review work from D. Nizhner (A&M) and make needed adjustments

Larry Iwanski          3/1/2023     0.2   Correspondence regarding KYC and crypto tracing


Larry Iwanski          3/1/2023     0.2   Preparation for KYC report review with FTX EU

Larry Iwanski          3/1/2023     1.2   Call with L. Iwanski, L. Lambert, M. Rodriguez (A&M) to review
                                          internal accounts work and crypto tracing status
Larry Iwanski          3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                          Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                          crypto tracing workstream update
Larry Iwanski          3/1/2023     0.3   Preparation for meeting with L. Lambert, M. Warren, A. Heric, M.
                                          Rodriguez, Q. Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski
                                          (A&M) regarding crypto tracing workstream update
Larry Iwanski          3/1/2023     0.9   Call with L. Iwanski, L. Lambert, and M. Rodriguez (A&M) related to
                                          asset tracing requests
Leslie Lambert         3/1/2023     1.2   Call with L. Iwanski, L. Lambert, M. Rodriguez (A&M) to review
                                          internal accounts work and crypto tracing status
Leslie Lambert         3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                          Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                          Internal accounts
Leslie Lambert         3/1/2023     1.6   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss liabilities
                                          analysis
Leslie Lambert         3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                          Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                          crypto tracing workstream update
Leslie Lambert         3/1/2023     2.4   Analyze internal transfer data by transfer party

Leslie Lambert         3/1/2023     0.9   Call with L. Iwanski, L. Lambert, and M. Rodriguez (A&M) related to
                                          asset tracing requests
Leslie Lambert         3/1/2023     0.6   Review deliverable of findings, observations, and summary of activity
                                          for target accounts
Lorenzo Callerio       3/1/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: updated internal
                                          accounts deck
Lorenzo Callerio       3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                          Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                          Internal accounts
Lorenzo Callerio       3/1/2023     1.7   Review the draft revised deck re: internal accounts

Lorenzo Callerio       3/1/2023     0.4   Correspond with internal team re: revised internal accounts analysis


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Business Operations
Professional               Date     Hours     Activity
Louis Konig              3/1/2023     1.8   Database scripting related to EU customer example details for
                                            presentation
Louis Konig              3/1/2023     0.9   Quality control and review of script for EU customer example details
                                            for presentation
Louis Konig              3/1/2023     1.1   Quality control and review of script for customer liabilities report
                                            creation by legal entity
Manasa Sunkara           3/1/2023     0.8   Quality check, troubleshoot queries and prepare deliverables for
                                            review
Manasa Sunkara           3/1/2023     2.6   Search SQL database for certain individuals and provide all
                                            transaction data, user account information and KYC details
Manasa Sunkara           3/1/2023     0.4   Review a request from internal A&M to provide users holding a
                                            certain token
Manasa Sunkara           3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                            Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                            go through action items, pending requests and workstreams
Manasa Sunkara           3/1/2023     2.2   Provide a listing of accounts in the database associated with a
                                            specific company name
Mariah Rodriguez         3/1/2023     1.2   Prioritize list of asset tracing request

Mariah Rodriguez         3/1/2023     1.2   Call with L. Iwanski, L. Lambert, M. Rodriguez (A&M) to review
                                            internal accounts work and crypto tracing status
Mariah Rodriguez         3/1/2023     0.6   Review asset tracing request prior to submission

Mariah Rodriguez         3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                            Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                            internal accounts
Mariah Rodriguez         3/1/2023     1.6   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss liabilities
                                            analysis
Mariah Rodriguez         3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                            Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                            crypto tracing workstream update
Mariah Rodriguez         3/1/2023     0.9   Research asset tracing request on the blockchain

Mariah Rodriguez         3/1/2023     0.9   Call with L. Iwanski, L. Lambert, and M. Rodriguez (A&M) related to
                                            asset tracing requests
Mariah Rodriguez         3/1/2023     1.9   Meeting with I. Radwanski and M. Rodriguez (A&M) to review asset
                                            tracing requests
Mariah Rodriguez         3/1/2023     0.4   Edit deliverable to include on-chain visuals from tracing activity


Mariah Rodriguez         3/1/2023     0.7   Analyze data related to on chain activity

Matthew Flynn            3/1/2023     1.1   Revise stablecoin reporting for updated balances


Matthew Flynn            3/1/2023     0.3   Follow up on venture investments stablecoin




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Business Operations
Professional              Date     Hours     Activity
Matthew Flynn           3/1/2023     0.8   Review market maker revenue analysis

Matthew Flynn           3/1/2023     1.4   Analyze stablecoin model for wallet balance variances


Matthew Flynn           3/1/2023     1.1   Review the market maker volume analysis

Matthew Warren          3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           Internal accounts
Matthew Warren          3/1/2023     0.5   Prepare crypto tracing analyses related token schedule request


Matthew Warren          3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                           Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                           crypto tracing workstream update
Matthew Warren          3/1/2023     2.6   Analyze and provide internal account summaries for new deck

Matthew Warren          3/1/2023     2.2   Review of summaries and usage of standard language for
                                           presentation
Maximilian Simkins      3/1/2023     2.1   Create process to split a large excel file containing many account
                                           numbers into smaller excel files containing one account
Maximilian Simkins      3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                           Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                           go through action items, pending requests and workstreams
Maximilian Simkins      3/1/2023     1.1   Create OS walk so excel files can be split


Maya Haigis             3/1/2023     0.5   Daily meeting with K. Baker, K. Dusendschon, J. Marshall, M.
                                           Simkins, M. Haigis, A. Sloan, J. Zatz, J. Chan, M. Sunkara (A&M) to
                                           go through action items, pending requests and workstreams
Peter Kwan              3/1/2023     0.3   KYC-AML Workstream Coordination and Planning

Peter Kwan              3/1/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)


Peter Kwan              3/1/2023     0.5   Commence customer entitlements validation query development

Peter Kwan              3/1/2023     1.3   Analyze data and refine queries to ensure accuracy and reasonability
                                           of outputs
Peter Kwan              3/1/2023     0.3   Prepare customer entitlements analysis and reporting

Peter Kwan              3/1/2023     1.0   Address Tracking Master database migration and data refresh


Peter Kwan              3/1/2023     1.1   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/1/2023     1.0   Call with K. Dusendschon, P. Kwan and K. Baker (A&M) to discuss
                                           KYC tables, KYC normalization and next steps
Peter Kwan              3/1/2023     0.6   Review FTX EU crypto wallet balance amounts



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Professional              Date     Hours     Activity
Quinn Lowdermilk        3/1/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           Internal accounts
Quinn Lowdermilk        3/1/2023     2.2   Summarize key findings for certain accounts for internal account
                                           analysis
Quinn Lowdermilk        3/1/2023     2.4   Revise slides in the internal account analysis deliverable


Quinn Lowdermilk        3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                           Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                           crypto tracing workstream update
Ricardo Armando Avila   3/1/2023     0.9   Edit main deck with account data updates for submission

Ricardo Armando Avila   3/1/2023     0.5   Meeting with L. Lambert, M. Warren, A. Heric, M. Rodriguez, Q.
                                           Lowdermilk, I. Radwanski, A. Avila, and L. Iwanski (A&M) regarding
                                           crypto tracing workstream update
Ricardo Armando Avila   3/1/2023     1.7   Analyze transactions of related parties both received and sent

Ricardo Armando Avila   3/1/2023     0.7   Elaborate conclusions of the internal account activity summary

Ricardo Armando Avila   3/1/2023     0.7   Perform an analysis of received transactions to the balance sheet


Ricardo Armando Avila   3/1/2023     0.9   Validate transactions of the internal account balance sheet

Robert Gordon           3/1/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, J. Cooper (A&M) to
                                           discuss material for April board presentation
Robert Johnson          3/1/2023     1.4   Migration of banking data, archive of data, and creation of additional
                                           archive schema
Robert Johnson          3/1/2023     0.4   Add additional index to FTX us database table


Robert Johnson          3/1/2023     1.7   Working with team to address issues with running queries

Robert Johnson          3/1/2023     1.6   Clean up of users on various RDS database servers

Robert Johnson          3/1/2023     1.3   Metabase user administration and updates to tables and views


Steve Coverick          3/1/2023     1.1   Correspond with real estate broker regarding new office lease
                                           opportunity
William Walker          3/1/2023     0.2   Call with J. Petiford (S&C) to review questions on custodial
                                           agreements
William Walker          3/1/2023     0.3   Call with W. Walker (A&M) and C. Jensen (S&C) to review questions
                                           on custodial agreements
William Walker          3/1/2023     0.2   Call with K. Ramanathan, W. Walker (A&M) regarding agreements
                                           for potential custodial and trading services providers
William Walker          3/1/2023     3.1   Review custodial agreements for potential new service providers




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Professional                Date     Hours     Activity
Alec Liv-Feyman           3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                             Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                             workstream updates
Alec Liv-Feyman           3/2/2023     0.7   Call with G. Walia, V. Rajasekhar, A. Liv-Feyman (A&M) regarding
                                             exchanges data breakdown analysis
Alec Liv-Feyman           3/2/2023     2.1   Analyze exchanges data figures to determine token mapping updates
                                             and outstanding figures left to consolidate
Aly Helal                 3/2/2023     2.1   Document and confirm the proof of funding (Invoices) for Ledger
                                             Holdings Payroll payments
Aly Helal                 3/2/2023     2.3   Additional documenting and confirming the proof of funding (Invoices)
                                             for Ledger Holdings Payroll payments
Aly Helal                 3/2/2023     3.3   Search and collecting invoices to Ledger Holdings use of TriNet HR
                                             systems as a payroll system in 2022
Anan Sivapalu             3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                             Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                             workstream updates
Anan Sivapalu             3/2/2023     0.4   Call with J. McGill, D. Reardon (TRM Labs), G. Walia, A. Sivapalu
                                             (A&M) to review silo tracing analysis
Andrew Heric              3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                             Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                             Internal accounts
Andrew Heric              3/2/2023     0.5   Meeting with Q. Lowdermilk, M. Warren, A. Heric, and A. Avila (A&M)
                                             regarding a review of quality control procedures
Andrew Heric              3/2/2023     2.6   Finalize updates to account analysis deliverable based off superior
                                             comments
Andrew Heric              3/2/2023     1.4   Develop quality assurance procedures for confirming information
                                             within account analysis deliverable
Andrew Heric              3/2/2023     1.1   Update graphics for internal accounts report based on receipt of new
                                             information
Andrew Heric              3/2/2023     2.8   Conduct quality assurance review of full account analysis deliverable

Brett Bammert             3/2/2023     1.2   Create targeted searches to capture specific documents contained
                                             within folders collected from data repository
Cameron Radis             3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                             Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Chris Arnett              3/2/2023     0.2   Follow up with J. Chan (Company) re: status of computer terminals

Chris Arnett              3/2/2023     0.3   Address request from S. Coverick (A&M) re: real estate lease
                                             proposals
Cullen Stockmeyer         3/2/2023     2.1   Set up internal accounts data book for detailed review of specific
                                             accounts
Cullen Stockmeyer         3/2/2023     0.7   Update FTX.US internal accounts summary table

Cullen Stockmeyer         3/2/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: data book deck



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Professional             Date     Hours     Activity
Cullen Stockmeyer      3/2/2023     0.8   Update FTX.COM internal accounts summary table

Cullen Stockmeyer      3/2/2023     1.9   Review FTX.US internal accounts presentation for formatting and
                                          content inconsistencies
Cullen Stockmeyer      3/2/2023     1.6   Review FTX.COM internal accounts presentation for formatting and
                                          content inconsistencies
Cullen Stockmeyer      3/2/2023     1.3   Update internal accounts data book for detailed review of specific
                                          accounts
Cullen Stockmeyer      3/2/2023     0.5   Call with G. Walia, L. Callerio, L. Lambert, M. Rodriguez, C.
                                          Stockmeyer (A&M) re: internal accounts
Cullen Stockmeyer      3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                          Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re: Internal
                                          accounts and crypto tracing
Ed Mosley              3/2/2023     1.1   Review of latest version of FTX EU options presentation to
                                          management
Ed Mosley              3/2/2023     0.9   Review of draft options presentation for Embed and identify updates
                                          needed given current information
Gaurav Walia           3/2/2023     0.5   Call with G. Walia, L. Callerio, L. Lambert, M. Rodriguez, C.
                                          Stockmeyer (A&M) regarding internal accounts
Gaurav Walia           3/2/2023     0.7   Call with G. Walia, V. Rajasekhar, A. Liv-Feyman (A&M) regarding
                                          exchanges data breakdown analysis
Gaurav Walia           3/2/2023     0.4   Call with J. McGill, D. Reardon (TRM Labs), and A. Sivapalu (A&M)
                                          to review silo tracing analysis
Gaurav Walia           3/2/2023     1.3   Review the latest version of the internal accounts analysis


Gaurav Walia           3/2/2023     0.3   Call with L. Callerio, G. Walia (A&M) regarding internal accounts
                                          process review
Gaurav Walia           3/2/2023     0.3   Call with K. Ramanathan, G. Walia, L. Konig (A&M) to discuss
                                          customer liability reporting
Gioele Balmelli        3/2/2023     2.4   Collection of and correspondence on historical bank accounts
                                          information
Heather Ardizzoni      3/2/2023     2.4   Document existing state of corporate governance controls

Heather Ardizzoni      3/2/2023     2.7   Document existing state of IT controls


Henry Chambers         3/2/2023     0.3   Attend to correspondence regarding Blockfolio users

Henry Chambers         3/2/2023     1.5   Attend project revival steering committee with S. Melamed, J.
                                          Masters, K Takahashi, K. Nakamura, R. Fung (FTX)
Hudson Trent           3/2/2023     0.6   Prepare entity dissolution proposal for various non-op entities

Igor Radwanski         3/2/2023     2.9   Create visuals using blockchain software to illustrate location of funds

Igor Radwanski         3/2/2023     2.8   Investigate cryptocurrency coin in relation to incoming transfer activity




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Professional              Date     Hours     Activity
Igor Radwanski          3/2/2023     2.7   Trace transactions in regards to a written agreement

Igor Radwanski          3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           Internal accounts and crypto tracing
James Lam               3/2/2023     0.4   Review and update the monitoring bots for wallet groups


Jan Kaiser              3/2/2023     2.3   Working session regarding Reporting workflow documentation

Jan Kaiser              3/2/2023     2.7   Working session regarding Reporting workflow development


Jan Kaiser              3/2/2023     1.0   Continued working session regarding Reporting workflow
                                           development
Jon Chan                3/2/2023     3.1   Provide all documents pertaining to accounts associated with a
                                           specific transaction hash
Jon Chan                3/2/2023     2.9   Provide transactions details made by specific entity to FTX


Jon Chan                3/2/2023     0.3   Teleconference with J. Chan, M. Ebrey (A&M) regarding Data
                                           Request #297
Jon Chan                3/2/2023     0.6   Investigate transactions and trading activity pertaining to other
                                           platforms
Jon Chan                3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                           Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Jonathan Marshall       3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                           Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Jonathan Zatz           3/2/2023     1.5   Review results to identify potential transaction types within tables
                                           Alameda data subset for SDNY request
Jonathan Zatz           3/2/2023     0.8   Respond to S&C questions regarding in-scope data set for SDNY
                                           request
Jonathan Zatz           3/2/2023     1.5   Database scripting to identify potential transaction types within tables
                                           Alameda data subset for SDNY request
Jonathan Zatz           3/2/2023     1.3   Manually categorizing tables as part of Alameda data profiling


Jonathan Zatz           3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                           Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Jonathan Zatz           3/2/2023     1.1   Answer questions from S&C regarding response to SDNY request


Jonathan Zatz           3/2/2023     1.0   Update outstanding tables' min/max dates related to Alameda data
                                           set
Jonathan Zatz           3/2/2023     0.9   Organize outputs related to Alameda data profiling thus far

Jonathan Zatz           3/2/2023     0.9   Group potential transaction types within tables Alameda data subset
                                           for SDNY request


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Professional               Date     Hours     Activity
Kevin Baker              3/2/2023     2.9   Load and analyze 3rd party exchange data for select individual

Kevin Baker              3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                            Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Kevin Baker              3/2/2023     2.1   Develop workflow and specifics around KYC documents from AWS
                                            exchange
Kevin Baker              3/2/2023     0.4   Call with K. Baker, K. Ramanathan (A&M) to discuss third party
                                            exchange data
Kora Dusendschon         3/2/2023     0.5   Teleconference with G. Houghey, C. Rowe, A. Vyas, B. Hadamik,
                                            and others (FTI), K. Dusendschon (A&M), and S&C to discuss
                                            current status of KYC data loads
Kora Dusendschon         3/2/2023     0.8   Create dashboard for Tuesday and Thursday, distribute end of week
                                            dashboard to team for updates
Kora Dusendschon         3/2/2023     0.4   Internal communications regarding collection of A&M communication
                                            platform and response to FTI
Kora Dusendschon         3/2/2023     0.4   Provide oversight and PMO, reviewing requests and communicating
                                            with team
Kora Dusendschon         3/2/2023     0.3   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig, and
                                            P. Kwan (A&M) to discuss AWS data requests
Kumanan Ramanathan       3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                            Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                            workstream updates
Kumanan Ramanathan       3/2/2023     0.4   Call with K. Baker, K. Ramanathan (A&M) to discuss third party
                                            exchange data
Kumanan Ramanathan       3/2/2023     0.4   Call with M. Flynn, K. Ramanathan, S. Kotarba (A&M) to discuss
                                            customer portal
Kumanan Ramanathan       3/2/2023     0.3   Call with R. Perubhatla (FTX) to discuss IT matters


Kumanan Ramanathan       3/2/2023     1.1   Review and revise press release materials

Kumanan Ramanathan       3/2/2023     0.8   Review various data requests and responses

Kumanan Ramanathan       3/2/2023     0.2   Review crypto tracing team presentation


Kumanan Ramanathan       3/2/2023     0.3   Review and request changes to invoice

Kumanan Ramanathan       3/2/2023     0.3   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig, and
                                            P. Kwan (A&M) to discuss AWS data requests
Kumanan Ramanathan       3/2/2023     0.3   Call with K. Ramanathan, G. Walia, L. Konig (A&M) to discuss
                                            customer liability reporting
Lance Clayton            3/2/2023     3.1   Consolidate all data entries into one master file for review


Larry Iwanski            3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, L. Iwanski (A&M) regarding
                                            Internal accounts and crypto tracing



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Professional               Date     Hours     Activity
Larry Iwanski            3/2/2023     0.2   Call with L. Chamma and L. Iwanski (A&M) to discuss KYC review
                                            presentation
Leandro Chamma           3/2/2023     0.2   Call with L. Chamma and L. Iwanski (A&M) to discuss KYC review
                                            presentation
Leslie Lambert           3/2/2023     2.4   Analyze target accounts by internal transfers with transfer parties

Leslie Lambert           3/2/2023     2.8   Prepare summarization of findings and observations from analysis of
                                            account activity via transfer party perspective
Leslie Lambert           3/2/2023     0.9   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss internal
                                            accounts
Leslie Lambert           3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                            Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                            Internal accounts and crypto tracing
Leslie Lambert           3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, L. Iwanski (A&M) regarding
                                            Internal accounts and crypto tracing
Leslie Lambert           3/2/2023     0.5   Call with G. Walia, L. Callerio, L. Lambert, M. Rodriguez, C.
                                            Stockmeyer (A&M) regarding internal accounts
Leslie Lambert           3/2/2023     0.5   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss
                                            commingling analysis
Leslie Lambert           3/2/2023     2.3   Review final deliverable for findings, observations, and summary of
                                            activity for target accounts
Lorenzo Callerio         3/2/2023     1.9   In depth review of the internal accounts excel file analysis

Lorenzo Callerio         3/2/2023     0.3   Call with G. Walia (A&M) re: internal accounts process review


Lorenzo Callerio         3/2/2023     1.3   Review and provide comments to the internal accounts draft deck

Lorenzo Callerio         3/2/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: data book deck

Lorenzo Callerio         3/2/2023     0.9   Review and provide comments to the internal accounts supporting
                                            data book
Lorenzo Callerio         3/2/2023     1.1   Prepare a revised internal accounts summary analysis

Lorenzo Callerio         3/2/2023     0.5   Call with G. Walia, L. Callerio, L. Lambert, M. Rodriguez, C.
                                            Stockmeyer (A&M) re: internal accounts
Louis Konig              3/2/2023     0.3   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig, and
                                            P. Kwan (A&M) to discuss AWS data requests
Louis Konig              3/2/2023     0.3   Call with K. Ramanathan, G. Walia, L. Konig (A&M) to discuss
                                            customer liability reporting
Louis Konig              3/2/2023     2.5   Database scripting related to targeted data requests for account data

Luke Francis             3/2/2023     2.1   Analysis of token receivables by silo and potential transfers to
                                            internal wallets
Luke Francis             3/2/2023     2.3   Creation of summary difference tracker between TB and scheduled
                                            assets for investments


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Luke Francis          3/2/2023     1.1   Updates to summary assets and review of comparison to TB

Manasa Sunkara        3/2/2023     0.8   Correspondence with internal A&M individuals regarding confirmation
                                         of data request
Manasa Sunkara        3/2/2023     2.1   Search for any activity in the database pertaining to a certain token
                                         and provide transaction data
Manasa Sunkara        3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                         Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                         items, pending requests and workstreams
Manasa Sunkara        3/2/2023     1.7   Quality check queries and prepare deliverables for an internal A&M
                                         request to S&C
Mariah Rodriguez      3/2/2023     1.8   Investigate cryptocurrency wallet in relation to outgoing transfer
                                         activity
Mariah Rodriguez      3/2/2023     0.5   Call with G. Walia, L. Callerio, L. Lambert, M. Rodriguez, C.
                                         Stockmeyer (A&M) regarding internal accounts
Mariah Rodriguez      3/2/2023     0.5   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss
                                         commingling analysis
Mariah Rodriguez      3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, L. Iwanski (A&M) regarding
                                         Internal accounts and crypto tracing
Mariah Rodriguez      3/2/2023     0.3   Research Relativity database related to coin deals with Alameda


Mariah Rodriguez      3/2/2023     0.9   Meeting with L. Lambert and M. Rodriguez (A&M) to discuss internal
                                         accounts
Mariah Rodriguez      3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                         Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                         Internal accounts and crypto tracing
Mariah Rodriguez      3/2/2023     2.2   Research transactional activity regarding specific cryptocurrency
                                         token
Mason Ebrey           3/2/2023     0.3   Teleconference with J. Chan, M. Ebrey (A&M) regarding Data
                                         Request #297
Matthew Flynn         3/2/2023     1.4   Update post-petition FTX.US deposits for updated crypto pricing


Matthew Flynn         3/2/2023     1.7   Update post-petition FTX.COM deposits for crypto pricing

Matthew Flynn         3/2/2023     0.9   Create AWS to TRM post-petition reconciliation


Matthew Flynn         3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                         Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                         workstream updates
Matthew Flynn         3/2/2023     0.6   Correspondence on developer on-boarding

Matthew Flynn         3/2/2023     0.3   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig, P.
                                         Kwan (A&M) to discuss AWS data requests
Matthew Flynn         3/2/2023     0.4   Call with M. Flynn, K. Ramanathan, S. Kotarba (A&M) to discuss
                                         customer portal



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Business Operations
Professional              Date     Hours     Activity
Matthew Flynn           3/2/2023     0.7   Update stablecoin wallet variance analysis

Matthew Flynn           3/2/2023     0.3   Review security protocols for developer onboarding


Matthew Flynn           3/2/2023     1.3   Create post-petition disputed coin analysis

Matthew Flynn           3/2/2023     0.9   Review exchange restart data and associated presentation

Matthew Warren          3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           Internal accounts and crypto tracing
Matthew Warren          3/2/2023     1.9   Complete ad hoc analysis on token tracing efforts

Matthew Warren          3/2/2023     2.6   Quality control check of internal accounts

Matthew Warren          3/2/2023     1.9   Review of data for internal accounts to ensure alignment with other
                                           tracing efforts
Matthew Warren          3/2/2023     1.6   Quality review crypto tracing analyses related to token schedule
                                           request
Matthew Warren          3/2/2023     0.5   Meeting with Q. Lowdermilk, M. Warren, A. Heric, and A. Avila (A&M)
                                           regarding a review of quality control procedures
Maximilian Simkins      3/2/2023     0.6   Document process to split large excel files by account number into
                                           smaller excels
Maya Haigis             3/2/2023     0.4   Daily meeting with M. Sunkara, C. Radis, J. Chan, K. Baker, J.
                                           Marshall, J. Zatz, M. Haigis, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Peter Kwan              3/2/2023     0.6   Conduct customer entitlements analysis and reporting


Peter Kwan              3/2/2023     0.5   Meeting with A&M Data team regarding process planning,
                                           outstanding requests outputs, and steps
Peter Kwan              3/2/2023     0.7   Conduct customer entitlements validation query development


Peter Kwan              3/2/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/2/2023     0.3   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig, and
                                           P. Kwan (A&M) to discuss AWS data requests
Peter Kwan              3/2/2023     0.4   Review FTX EU crypto wallet balance amounts

Peter Kwan              3/2/2023     1.2   Analyze data and refine queries of outputs

Peter Kwan              3/2/2023     1.4   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/2/2023     2.3   Address steps necessary for Address Tracking Master database
                                           migration and data refresh
Peter Kwan              3/2/2023     0.2   KYC-AML Workstream Coordination and Planning



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Quinn Lowdermilk        3/2/2023     0.3   Call with L. Lambert, M. Rodriguez, A. Heric, I. Radwanski, M.
                                           Warren, Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                           Internal accounts and crypto tracing
Quinn Lowdermilk        3/2/2023     2.2   Revise wording on the summary overview slides for internal accounts

Quinn Lowdermilk        3/2/2023     1.6   Update appendix slides for internal account analysis deliverable


Quinn Lowdermilk        3/2/2023     0.5   Meeting with Q. Lowdermilk, M. Warren, A. Heric, and A. Avila (A&M)
                                           regarding a review of quality control procedures
Quinn Lowdermilk        3/2/2023     1.2   Organize the summary overview slides to be consistent throughout
                                           the presentation
Quinn Lowdermilk        3/2/2023     2.0   Download new charts to deliverable for updated accounts

Quinn Lowdermilk        3/2/2023     1.2   Prepare whole deliverable for submission of internal account analysis
                                           request
Ricardo Armando Avila   3/2/2023     0.7   Analyze aggregated amounts of the balance sheet


Ricardo Armando Avila   3/2/2023     0.9   Validate overall results from the main deck to be consistent with the
                                           balance sheet
Ricardo Armando Avila   3/2/2023     0.5   Meeting with Q. Lowdermilk, M. Warren, A. Heric, and A. Avila (A&M)
                                           regarding a review of quality control procedures
Ricardo Armando Avila   3/2/2023     0.5   Edit the balance sheet with updated information provided

Ricardo Armando Avila   3/2/2023     0.8   Edit graphics from the balance sheet based on new information
                                           received
Ricardo Armando Avila   3/2/2023     0.8   Incorporate additional transactions to the balance sheet

Robert Johnson          3/2/2023     1.2   Update metabase platform and install operating system patches,
                                           confirm functionality
Robert Johnson          3/2/2023     1.6   Review timeout settings and adjust parameters


Robert Johnson          3/2/2023     0.7   Monitor progress of alameda export to s3

Robert Johnson          3/2/2023     0.8   User administration on RDS servers, and adjustments to VPC firewall
                                           rules
Steve Kotarba           3/2/2023     0.4   Call with M. Flynn, K. Ramanathan, S. Kotarba (A&M) to discuss
                                           customer portal
Summer Li               3/2/2023     0.6   Search for supporting documents of the bank statements of Quoine
                                           Pte
Summer Li               3/2/2023     3.1   Search for supporting documents of certain bank transactions of
                                           Quoine Pte
Vinny Rajasekhar        3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                           Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                           workstream updates
Vinny Rajasekhar        3/2/2023     0.7   Call with G. Walia, V. Rajasekhar, A. Liv-Feyman (A&M) regarding
                                           exchanges data breakdown analysis

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Professional                Date     Hours     Activity
William Walker            3/2/2023     0.2   Call with K. Ramanathan, W. Walker, M. Flynn, A. Sivapalu, V.
                                             Rajasekhar, A. Liv-Feyman (A&M) regarding crypto team internal
                                             workstream updates
Adam Titus                3/3/2023     0.4   Call with A. Titus, J. Lam, V. Rajasekhar (A&M) regarding NFT
                                             analysis
Alex Canale               3/3/2023     0.4   Call with I. Radwanski, P. McGrath, M. Blanchard, A. Canale, and M.
                                             Rodriguez (A&M) regarding specific tracing request
Andrew Heric              3/3/2023     2.9   Conduct tracing of specific token from one of three identified wallets
                                             back to origin
Andrew Heric              3/3/2023     1.3   Conduct quality assurance review of database account analysis for
                                             tracing request 74
Andrew Heric              3/3/2023     1.7   Conduct tracing of specific token from two of three identified wallets
                                             back to their origin
Andrew Heric              3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                             Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Andrew Heric              3/3/2023     0.4   Call with M. Warren and A. Heric (A&M) regarding process of detail
                                             review
Andrew Heric              3/3/2023     0.7   Strategize analysis document for token tracing request 39

Andrew Heric              3/3/2023     0.8   Strategize report template for token tracing request 39


Austin Sloan              3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                             Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                             items, pending requests and workstreams
Brett Bammert             3/3/2023     1.2   Create additional searches to capture documents with specific
                                             document identifiers collected from data repository
Brett Bammert             3/3/2023     1.4   Run additional queries within central document repositories to locate
                                             agreements based on loan numbers supplied by review team
Chris Arnett              3/3/2023     0.7   Develop updated materials for next week's management update and
                                             corresponding PMO
Cullen Stockmeyer         3/3/2023     2.4   Update professional trackers and working group list for new and
                                             rolled off team members
Cullen Stockmeyer         3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                             Rodriguez, C. Stockmeyer (A&M) re: internal accounts
Cullen Stockmeyer         3/3/2023     1.9   Review summarized internal accounts report for inconsistencies


Cullen Stockmeyer         3/3/2023     2.1   Update specific verbiage and defined terms in internal accounts
                                             analyses
Cullen Stockmeyer         3/3/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing

Cullen Stockmeyer         3/3/2023     1.7   Update FTX.COM internal accounts data book - account activity by
                                             asset and transfers by counterparty
Cullen Stockmeyer         3/3/2023     1.9   Update commentary for FTX.US internal transfer accounts in internal
                                             accounts data book
Cullen Stockmeyer         3/3/2023     2.2   Update commentary for FTX.COM internal transfer accounts in
                                             internal accounts data book

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Professional               Date     Hours     Activity
David Nizhner            3/3/2023     0.6   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: operational cost analysis
David Slay               3/3/2023     0.3   Correspond with BofA for FTX lockbox access


David Slay               3/3/2023     0.6   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: operational cost analysis
Ed Mosley                3/3/2023     1.1   Review and provide comments to draft timeline for management
                                            regarding crypto asset recovery efforts
Erik Taraba              3/3/2023     0.6   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: operational cost analysis
Gaurav Walia             3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                            Rodriguez, C. Stockmeyer (A&M) regarding internal accounts
Gaurav Walia             3/3/2023     2.2   Update the latest exchange data summary


Gaurav Walia             3/3/2023     0.2   Review and provide feedback on Japan KPI analysis

Gaurav Walia             3/3/2023     0.8   Review the latest TRM Labs silo tracing analysis


Gaurav Walia             3/3/2023     0.3   Review the PMO deck and provide feedback

Gaurav Walia             3/3/2023     0.3   Review the latest 3rd party exchange analysis

Heather Ardizzoni        3/3/2023     3.1   Prepare summary of corporate controls and control features for
                                            interim report for J. Ray
Heather Ardizzoni        3/3/2023     0.3   Working session between H. Ardizzoni and R. Gordon (A&M) to
                                            revise control observation documentation
Henry Chambers           3/3/2023     1.5   Attend project revival steering committee with S. Melamed, J.
                                            Masters, K Takahashi, K. Nakamura, R. Fung (FTX)
Henry Chambers           3/3/2023     0.8   Call with S. Melamed (FTX) regarding fiat transfer and Blockfolio

Hudson Trent             3/3/2023     2.0   Consolidate responses regarding non-op entities


Igor Radwanski           3/3/2023     0.8   Research transactional activity regarding specific cryptocurrency
                                            token
Igor Radwanski           3/3/2023     0.4   Call with I. Radwanski, P. McGrath, M. Blanchard, A. Canale, and M.
                                            Rodriguez (A&M) regarding specific tracing request
Igor Radwanski           3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                            Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Igor Radwanski           3/3/2023     3.1   Investigate a specific token in relation to historical transactions

Igor Radwanski           3/3/2023     0.6   Call with I. Radwanski, and M. Rodriguez (A&M) regarding specific
                                            tracing request
Jack Yan                 3/3/2023     0.9   Confirm Alameda Research's Accounts at Liquid Japan




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James Lam                3/3/2023     0.2   Correspondence with the database team for requesting wallet
                                            addresses data for analysis
James Lam                3/3/2023     1.1   Review NFT analyses for collections in Ethereum and Solana
                                            blockchains
James Lam                3/3/2023     0.4   Call with A. Titus, J. Lam, V. Rajasekhar (A&M) regarding NFT
                                            analysis
Johnny Gonzalez          3/3/2023     0.6   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: operational cost analysis
Jonathan Marshall        3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                            Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                            items, pending requests and workstreams
Jonathan Zatz            3/3/2023     0.1   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                            Alameda AWS Status
Jonathan Zatz            3/3/2023     1.4   Results formatting and sharing related to SDNY request for Alameda
                                            transaction data
Jonathan Zatz            3/3/2023     1.7   Database scripting related to SDNY request for Alameda transaction
                                            data
Jonathan Zatz            3/3/2023     1.5   Manually categorizing tables as part of Alameda data profiling

Jonathan Zatz            3/3/2023     1.3   Script execution and debugging related to SDNY request for
                                            Alameda transaction data
Jonathan Zatz            3/3/2023     1.1   Database scripting, execution and results formatting for last table
                                            related to SDNY request
Jonathan Zatz            3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                            Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                            items, pending requests and workstreams
Jonathan Zatz            3/3/2023     0.7   Organize script storage related to Alameda data analysis


Kevin Baker              3/3/2023     1.6   Report on specific user account activity for key individual in AWS
                                            exchange
Kevin Baker              3/3/2023     2.8   Provide a listing of user accounts regarding MYC tokens for market
                                            manipulation
Kevin Baker              3/3/2023     0.4   Provide specific token mapping and updated pricing for exchange
                                            data
Kevin Baker              3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                            Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                            items, pending requests and workstreams
Kora Dusendschon         3/3/2023     0.6   Email communications with R. Perubhatla (FTX) re status update and
                                            email bounce backs
Kora Dusendschon         3/3/2023     0.1   Send email to compliance contacts

Kora Dusendschon         3/3/2023     1.2   Teleconference with R. Perubhatla (FTX), Z. Flegenheimer, S.
                                            Dooley (S&C), K. Dusendschon (A&M), A. Bailey, S. McDermott, and
                                            others (FTI) to discuss current collection status and pending items
Kora Dusendschon         3/3/2023     0.3   Staff and other PMO topics - internal comms



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Kora Dusendschon       3/3/2023     0.4   Compile updates and tracker, format and place in appropriate
                                          locations
Kora Dusendschon       3/3/2023     0.4   Teleconference with R. Perubhatla (FTX) and K. Dusendschon
                                          (A&M) to discuss AWS requests and other pending items
Kora Dusendschon       3/3/2023     0.6   Draft summary of call with R. Perubhatla (FTX) and sending to
                                          appropriate teams
Kora Dusendschon       3/3/2023     1.2   Compile KYC results from FTI, associating with appropriate accounts,
                                          compiling report and drafting email to S&C with results
Kora Dusendschon       3/3/2023     0.9   Provide oversight and PMO, reviewing requests and logging into
                                          system, communicating to team
Kumanan Ramanathan     3/3/2023     0.1   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                          Alameda AWS Status
Kumanan Ramanathan     3/3/2023     0.4   Call with K. Ramanathan, L. Callerio (A&M) regarding tracing
                                          activities
Kumanan Ramanathan     3/3/2023     0.3   Review and provide feedback on specific blockchain network matters

Kumanan Ramanathan     3/3/2023     0.2   Extract most recent custodial wallet list and wire details and distribute


Kumanan Ramanathan     3/3/2023     0.9   Review third party exchange detailed analysis

Kumanan Ramanathan     3/3/2023     0.3   Call with R. Gordon, L. Callerio, K. Ramanathan (A&M) and S.
                                          Yeargan (S&C) regarding FTX.US lenders
Kumanan Ramanathan     3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                          Rodriguez, C. Stockmeyer (A&M) regarding internal accounts
Lance Clayton          3/3/2023     1.8   Review work from D. Nizhner (A&M) and prepare feedback and
                                          adjustments for next steps
Lance Clayton          3/3/2023     0.6   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                          Clayton (A&M) re: operational cost analysis
Larry Iwanski          3/3/2023     0.7   Call with L. Lambert, L. Iwanski, and M. Rodriguez (A&M) to discuss
                                          updates related to asset tracing
Larry Iwanski          3/3/2023     2.1   Communication related to crypto tracing, KYC reporting,
                                          investigations, and data
Larry Iwanski          3/3/2023     0.7   Review of crypto tracing product, status, and requests

Larry Iwanski          3/3/2023     0.4   Review and edit of KYC final report

Leandro Chamma         3/3/2023     1.3   Implement changes on appendix section of FTX EU know-your-
                                          customer presentation based on discussions with FTX EU and S&C
Leandro Chamma         3/3/2023     2.1   Implement changes on FTX EU know-your-customer presentation
                                          based on discussions with FTX EU and S&C
Leslie Lambert         3/3/2023     0.7   Call with L. Lambert, L. Iwanski, and M. Rodriguez (A&M) to discuss
                                          updates related to asset tracing
Leslie Lambert         3/3/2023     1.6   Analyze data gathered to-date related to commingling analysis




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Professional               Date     Hours     Activity
Leslie Lambert           3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                            Rodriguez, C. Stockmeyer (A&M) regarding internal accounts
Leslie Lambert           3/3/2023     0.7   Draft and communicate progress and current status of ongoing
                                            analyses
Leslie Lambert           3/3/2023     1.0   Call with L. Lambert and M. Warren (A&M) regarding next steps on
                                            internal account analysis
Leslie Lambert           3/3/2023     1.2   Review data and tracing requests

Leslie Lambert           3/3/2023     0.9   Consider and prepare next steps for commingling analysis


Lorenzo Callerio         3/3/2023     0.4   Call with K. Ramanathan, L. Callerio (A&M) re: tracing activities

Lorenzo Callerio         3/3/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing


Lorenzo Callerio         3/3/2023     1.2   Review the final version of the internal account deck prior to
                                            circulating it
Lorenzo Callerio         3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                            Rodriguez, C. Stockmeyer (A&M) re: internal accounts
Lorenzo Callerio         3/3/2023     1.5   Review the final version of the internal accounts data book

Louis Konig              3/3/2023     0.9   Quality control and review of script for customer liabilities NFT
                                            schedule creation
Louis Konig              3/3/2023     1.1   Quality control and review of script for targeted data requests for
                                            transaction activity
Louis Konig              3/3/2023     1.2   Quality control and review of script for targeted data requests for
                                            account data
Louis Konig              3/3/2023     1.2   Database scripting related to customer liabilities NFT schedule
                                            creation
Luke Francis             3/3/2023     0.6   Review of potential insider companies invested in

Luke Francis             3/3/2023     1.9   Summary review of token receivables and crypto assets held by
                                            debtors
Madison Blanchard        3/3/2023     0.4   Call with I. Radwanski, P. McGrath, M. Blanchard, A. Canale, and M.
                                            Rodriguez (A&M) regarding specific tracing request
Manasa Sunkara           3/3/2023     0.9   Search the SQL database for any user accounts that may belong to a
                                            certain individual
Manasa Sunkara           3/3/2023     1.2   Search for any activity related to the user accounts identified and
                                            prepare transaction exports
Manasa Sunkara           3/3/2023     0.9   Search for all users that may have interacted with a certain wallet
                                            address and provide their user account details
Manasa Sunkara           3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                            Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                            items, pending requests and workstreams
Manasa Sunkara           3/3/2023     1.3   Quality check and prepare data request deliverables for internal A&M
                                            to provide S&C


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Manasa Sunkara          3/3/2023     0.5   Correspondence with internal A&M to confirm the existence of data
                                           related to a certain coin in the database
Manasa Sunkara          3/3/2023     2.8   Search SQL database for user accounts that interacted with specific
                                           wallet addresses and transaction activity during a certain timeframe
Mariah Rodriguez        3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                           Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Mariah Rodriguez        3/3/2023     0.6   Call with I. Radwanski, and M. Rodriguez (A&M) regarding specific
                                           tracing request
Mariah Rodriguez        3/3/2023     0.4   Call with I. Radwanski, P. McGrath, M. Blanchard, A. Canale, and M.
                                           Rodriguez (A&M) regarding specific tracing request
Mariah Rodriguez        3/3/2023     0.6   Call with K. Ramanathan, L. Callerio, L. Lambert, G. Walia, M.
                                           Rodriguez, C. Stockmeyer (A&M) regarding internal accounts
Mariah Rodriguez        3/3/2023     0.7   Call with L. Lambert, L. Iwanski, and M. Rodriguez (A&M) to discuss
                                           updates related to asset tracing
Mariah Rodriguez        3/3/2023     2.0   Respond and researching asset tracing requests

Mariah Rodriguez        3/3/2023     1.9   Research transactional activity regarding specific cryptocurrency
                                           token
Matthew Flynn           3/3/2023     0.1   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                           Alameda AWS Status
Matthew Flynn           3/3/2023     2.1   Update customer post-petition presentation and supporting Databook

Matthew Flynn           3/3/2023     0.5   Coordinate FTX developer work and update planner


Matthew Flynn           3/3/2023     1.2   Review exchange start deliverables provided to PWP

Matthew Hellinghausen   3/3/2023     1.4   Machine translation of foreign language filesMachine translation of
                                           foreign language filesMachine translation of foreign language
                                           filesMachine translation of foreign language filesMachine
                                           translation of foreign language files
Matthew Warren          3/3/2023     2.4   Conduct research into highlighted internal account to identify
                                           balances
Matthew Warren          3/3/2023     1.0   Call with L. Lambert and M. Warren (A&M) regarding next steps on
                                           internal account analysis
Matthew Warren          3/3/2023     0.4   Call with M. Warren and A. Heric (A&M) regarding process of detail
                                           review
Matthew Warren          3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                           Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Matthew Warren          3/3/2023     2.5   Analysis of internal account and provide summary of information

Patrick McGrath         3/3/2023     0.4   Call with I. Radwanski, P. McGrath, M. Blanchard, A. Canale, and M.
                                           Rodriguez (A&M) regarding specific tracing request
Peter Kwan              3/3/2023     0.3   Review customer entitlements analysis and reporting

Peter Kwan              3/3/2023     0.3   Progress customer entitlements validation query development


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Business Operations
Professional              Date     Hours     Activity
Peter Kwan              3/3/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/3/2023     1.1   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/3/2023     0.4   Analyze data and refine queries to ensure accuracy of outputs

Peter Kwan              3/3/2023     0.5   Call with L. Konig, P. Kwan (A&M), J. van Zeijts, N. Bills (FTX)
                                           regarding Databases and onboarding
Peter Kwan              3/3/2023     1.9   Conduct Address Tracking Master database migration and data
                                           refresh
Peter Kwan              3/3/2023     0.2   KYC-AML Workstream Coordination and Planning

Quinn Lowdermilk        3/3/2023     1.1   Update all folders for most recent analysis file


Quinn Lowdermilk        3/3/2023     1.1   Update excel analysis for supplied data

Quinn Lowdermilk        3/3/2023     2.2   Create analysis document for comingling of funds


Quinn Lowdermilk        3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                           Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Quinn Lowdermilk        3/3/2023     2.1   Review supplied data for comingling document and filter relevant
                                           areas
Ricardo Armando Avila   3/3/2023     0.4   Conduct a quality check to ensure accuracy of the balance sheet


Ricardo Armando Avila   3/3/2023     0.3   Call with M. Rodriguez, A. Heric, I. Radwanski, M. Warren, Q.
                                           Lowdermilk, A. Avila (A&M) regarding crypto tracing updates
Ricardo Armando Avila   3/3/2023     0.7   Format the main deck and incorporating conclusions of internal
                                           accounts for submission
Ricardo Armando Avila   3/3/2023     1.4   Analyze transactions sent from the internal accounts

Robert Gordon           3/3/2023     0.3   Working session between H. Ardizzoni and R. Gordon (A&M) to
                                           revise control observation documentation
Robert Gordon           3/3/2023     0.4   Review dismissal notes and presentation

Robert Johnson          3/3/2023     2.3   Plan for migration of RDS databases to new VPCs within region

Robert Johnson          3/3/2023     1.8   Review parameters on RDS server to improve performance of long
                                           running queries, testing of configuration
Robert Johnson          3/3/2023     1.2   Add additional tables to metabase, granting relevant permissions to
                                           allow for SQL querying
Robert Johnson          3/3/2023     0.3   Daily meeting with M. Sunkara, C. Radis, K. Baker, J. Marshall, J.
                                           Zatz, P. Kwan, R. Johnson, A. Sloan (A&M) to go through action
                                           items, pending requests and workstreams
Steve Coverick          3/3/2023     1.2   Correspond with A&M team regarding issue with potential new office
                                           lease


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Steve Kotarba            3/3/2023     1.2   Respond to priority request re payment detail

Steven Glustein          3/3/2023     0.4   Call with S. Glustein, V. Rajasekhar (A&M) regarding ledger prime
                                            asset listing and investment third party transfer
Vinny Rajasekhar         3/3/2023     0.4   Call with S. Glustein, V. Rajasekhar (A&M) regarding ledger prime
                                            asset listing and Matic Bitgo transfer
Vinny Rajasekhar         3/3/2023     0.4   Call with A. Titus, J. Lam, and V. Rajasekhar (A&M) regarding NFT
                                            analysis
Jan Kaiser               3/4/2023     1.0   Working session regarding Reporting workflow development


Kevin Baker              3/4/2023     2.3   Investigate the user activity of specific key individuals regards
                                            transfers to FTX insiders
Kim Dennison             3/4/2023     1.1   Review & respond to K Donnelly (S&C) queries regarding Bahamas
                                            properties; Correspondence with L Francis (A&M) regarding same
Kora Dusendschon         3/4/2023     0.2   Internal comms with K. Baker re KYC requests

Manasa Sunkara           3/4/2023     1.9   Search SQL database and provide exports for coin specific wallet
                                            addresses associated with a list of user accounts
Manasa Sunkara           3/4/2023     1.6   Provide user account details and all transaction activity associated
                                            with a coin in the US exchange
Rob Esposito             3/4/2023     1.0   Prepare detailed updates to the bankruptcy reporting and calendar
                                            data within the PMO presentation
Rob Esposito             3/4/2023     0.4   Conference with R Gordon and R Esposito (A&M) to review and
                                            discuss the PMO presentation updates
Robert Gordon            3/4/2023     0.4   Conference with R Gordon and R Esposito (A&M) to review and
                                            discuss the PMO presentation updates
Robert Johnson           3/4/2023     2.2   Build framework for migration of RDS databases to new VPCs


Heather Ardizzoni        3/5/2023     2.0   Prepare for meeting between A&M and Alix Partners to discuss FTX
                                            control environment matters
Lance Clayton            3/5/2023     2.3   Prepare updates to align all versions to the correct outputs


Manasa Sunkara           3/5/2023     2.3   Search the database and extract wallet addresses associated with a
                                            list of users based on coin type
Manasa Sunkara           3/5/2023     0.4   Quality check and prepare deliverables for internal A&M

Peter Kwan               3/5/2023     1.5   Prepare Address Tracking Master database migration and data
                                            refresh
Robert Johnson           3/5/2023     1.1   Test new VPC configuration and VPC peering

Summer Li                3/5/2023     0.1   Correspondence with S. Kojima (FTX) on extracting data from the
                                            system
Adam Titus               3/6/2023     0.5   Participate in workstream update call with S.Coverick, C. Arnett, A.
                                            Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito (A&M)




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Professional                Date     Hours     Activity
Alec Liv-Feyman           3/6/2023     2.1   Update figures on exchanges analysis versus current holdings to
                                             confirm crypto assets amounts
Alec Liv-Feyman           3/6/2023     0.3   Call with G. Walia, V. Rajasekhar, A. Liv-Feyman (A&M) regarding
                                             token file updates
Alex Canale               3/6/2023     0.4   Call with I. Radwanski, A. Heric, M. Rodriguez, P. McGrath, and A.
                                             Canale (A&M) regarding specific cryptocurrency tracing request
Anan Sivapalu             3/6/2023     0.6   Call with G. Walia, A. Sivapalu (A&M) to review TRM tracing exercise

Andrew Heric              3/6/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding related party
                                             search
Andrew Heric              3/6/2023     0.4   Call with I. Radwanski, A. Heric, M. Rodriguez, P. McGrath, and A.
                                             Canale (A&M) regarding specific cryptocurrency tracing request
Andrew Heric              3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                             M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                             workstream updates
Andrew Heric              3/6/2023     1.1   Call with I. Radwanski and A. Heric (A&M) regarding crypto tracing
                                             request and strategy
Andrew Heric              3/6/2023     0.6   Review and make changes to account analysis deliverable based off
                                             of review comments
Andrew Heric              3/6/2023     2.7   Revise report for crypto tracing request 88 based on commentary
                                             from C. Stockmeyer (A&M)
Andrew Heric              3/6/2023     0.8   Analyze token generation event transfers for crypto tracing request 81

Andrew Heric              3/6/2023     1.9   Conduct analysis of crypto token tracing request back to original
                                             token generation event for request 81
Andrew Heric              3/6/2023     0.3   Call with M. Rodriguez and A. Heric (A&M) regarding findings of
                                             crypto tracing request
Austin Sloan              3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                             Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                             Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                             pending requests and workstreams
Bridger Tenney            3/6/2023     0.4   Discussion with N. Simoneaux, B. Tenney (A&M) re: Dallas office
                                             room availability
Cameron Radis             3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                             Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                             Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                             pending requests and workstreams
Chris Arnett              3/6/2023     0.5   Participate in workstream update call with E. Mosley, S .Coverick, C.
                                             Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito
                                             (A&M)
Chris Arnett              3/6/2023     0.3   Prepare for weekly A&M team workstream call

Cullen Stockmeyer         3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                             Stockmeyer (A&M) re: internal crypto tracing
Cullen Stockmeyer         3/6/2023     0.5   Call with L. Callerio, G. Walia, L. Lambert, L. Iwanski, C. Stockmeyer
                                             (A&M) re: internal account analysis status update



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Cullen Stockmeyer      3/6/2023     1.9   Prepare summary tables for crypto-asset tracing requests tracker

Cullen Stockmeyer      3/6/2023     1.8   Review summarized internal accounts report for inconsistencies
                                          related to table and graphics in high priority accounts
Cullen Stockmeyer      3/6/2023     2.2   Prepare professional tracker for crypto-asset tracing requests

Cullen Stockmeyer      3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                          Stockmeyer (A&M) re: crypto tracing process flow
Ed Mosley              3/6/2023     0.2   Call with S.Coverick, D. Johnston (A&M) to discuss matters
                                          pertaining to FTX EU sale process
Gaurav Walia           3/6/2023     1.4   Review the TRM tracing analysis bridge

Gaurav Walia           3/6/2023     0.5   Call with L. Callerio, G. Walia, L. Lambert, L. Iwanski, C. Stockmeyer
                                          (A&M) regarding internal account analysis status update
Gaurav Walia           3/6/2023     0.6   Call with G. Walia and A. Sivapalu (A&M) to review TRM tracing
                                          exercise
Gaurav Walia           3/6/2023     1.3   Map wallet groups to silos for the TRM tracing exercise


Gaurav Walia           3/6/2023     1.0   Review the Bitgo discrepancies summary

Gaurav Walia           3/6/2023     0.3   Call with G. Walia, V. Rajasekhar, A. Liv-Feyman (A&M) regarding
                                          BitGo file updates
Gaurav Walia           3/6/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss various
                                          workstreams
Gaurav Walia           3/6/2023     0.3   Call with Z. Dexter (FTX), G. Walia, K. Ramanathan (A&M), N.
                                          Friedlander, W. Scheffer (S&C) to review certain exchange account
Gaurav Walia           3/6/2023     0.3   Call with G. Walia, V. Rajasekhar (A&M) BitGo discrepancies and 3rd
                                          party exchange tokens
Gioele Balmelli        3/6/2023     0.7   Correspondence on FTX EU transactions

Gioele Balmelli        3/6/2023     0.4   Call with G. Balmelli (A&M) and R. Matzke (FTX) on FTX EU
                                          transactions
Gioele Balmelli        3/6/2023     1.2   Illustration of FTX EU transactions

Gioele Balmelli        3/6/2023     0.7   Call with G. Balmelli and J. Bavaud (FTX) on Invoice/payment
                                          process
Gioele Balmelli        3/6/2023     0.2   Call with K. Ramanathan, P. Kwan, G. Balmelli (A&M), O. de Vito
                                          Piscicelli (S&C) on FTX EU transactions
Heather Ardizzoni      3/6/2023     1.6   Document examples of risks and controls for matrix for Alameda silo

Heather Ardizzoni      3/6/2023     1.9   Research for FTX control policies and procedures - Ventures Silo


Heather Ardizzoni      3/6/2023     2.1   Research for FTX control policies and procedures - Alameda Silo




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Heather Ardizzoni      3/6/2023     1.8   Research for FTX control policies and procedures - Dotcom Silo

Heather Ardizzoni      3/6/2023     1.1   Review FTX control policies and procedures documentation -
                                          Ventures Silo
Heather Ardizzoni      3/6/2023     1.0   Review FTX control policies and procedures documentation - Dotcom
                                          Silo
Heather Ardizzoni      3/6/2023     1.4   Review FTX control policies and procedures documentation -
                                          Alameda silo
Heather Ardizzoni      3/6/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M),
                                          S&C, and Alix Partners to discuss FTX control environment matters
Henry Chambers         3/6/2023     0.9   Attend to correspondence regarding Alameda account at Liquid

Henry Chambers         3/6/2023     0.9   Correspondence regarding Blockfolio user eligibility


Henry Chambers         3/6/2023     0.3   Correspondence regarding preparation of year end accounts

Henry Chambers         3/6/2023     0.3   Correspondence regarding Liquid data preservation


Igor Radwanski         3/6/2023     0.4   Call with I. Radwanski, A. Heric, M. Rodriguez, P. McGrath, and A.
                                          Canale (A&M) regarding specific cryptocurrency tracing request
Igor Radwanski         3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                          M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Igor Radwanski         3/6/2023     1.1   Call with I. Radwanski and A. Heric (A&M) regarding crypto tracing
                                          request and strategy
Igor Radwanski         3/6/2023     0.6   Research tokenomics of a specific cryptocurrency token to further
                                          trace transactions
Igor Radwanski         3/6/2023     2.9   Investigate transfers regarding a specific cryptocurrency token

Igor Radwanski         3/6/2023     3.1   Trace transfers using on-chain software to identify parties involved


Igor Radwanski         3/6/2023     0.2   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                          tracing request
James Lam              3/6/2023     0.9   Review and document on-chain transactions for scheduled swap
                                          transactions
James Lam              3/6/2023     2.9   Research and summarize movements of FTT minted from the
                                          deployer address and estimated payables due to customers
Jonathan Marshall      3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                          Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                          Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                          pending requests and workstreams
Jonathan Marshall      3/6/2023     0.3   Review communication to be sent to AWS team


Jonathan Zatz          3/6/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter D, part 1



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Jonathan Zatz            3/6/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter C, part 1
Jonathan Zatz            3/6/2023     1.5   Prepare data profiling spreadsheets for database import


Jonathan Zatz            3/6/2023     0.7   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter C, part 2
Jonathan Zatz            3/6/2023     1.4   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter E, part 1
Jonathan Zatz            3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                            Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                            Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                            pending requests and workstreams
Jonathan Zatz            3/6/2023     0.7   Database scripting and formatting results related to S&C request re:
                                            Alameda bank transfers
Jonathan Zatz            3/6/2023     0.3   Database scripting and formatting results related to S&C request re:
                                            Alameda bank transfers
Jonathan Zatz            3/6/2023     0.2   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter D, part 2
Kevin Baker              3/6/2023     0.8   Analyze specific user accounts that are related to specific wallet
                                            address in both FTX us/com
Kevin Baker              3/6/2023     1.2   Respond to specific user account request from the department of
                                            homeland security
Kevin Baker              3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                            Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                            Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                            pending requests and workstreams
Kevin Baker              3/6/2023     2.3   Investigate FTX EU inquiry on key individual transactions for German
                                            court request
Kevin Baker              3/6/2023     2.8   Investigate the user activity related to wallet addresses for specific
                                            crypto tracing exercise
Kevin Baker              3/6/2023     0.4   Call with K. Baker, K. Ramanathan, W. Walker (A&M) to discuss third
                                            party exchange data
Kevin Baker              3/6/2023     1.8   Export specific KYC information for user accounts to locate
                                            documents in Relativity
Kora Dusendschon         3/6/2023     0.7   Provide oversight to database team, review incoming requests and
                                            anticipated timing
Kora Dusendschon         3/6/2023     0.6   Check status of Australia KYC documents. Drafting communication to
                                            FTI
Kora Dusendschon         3/6/2023     0.7   Follow up on open items with FTX and FTI re KYC information


Kora Dusendschon         3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                            Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                            Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                            pending requests and workstreams
Kora Dusendschon         3/6/2023     1.7   Email communications with FTI. Reviewing the workspace and status
                                            of permissions. Follow up requests re permissions and views



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Kora Dusendschon       3/6/2023     1.1   Draft communication to FTX EU team with detailed screenshots and
                                          other navigation information for KYC User object in Relativity
Kumanan Ramanathan     3/6/2023     0.5   Prepare documentation related to P. Kwan (A&M)


Kumanan Ramanathan     3/6/2023     0.4   Review of Amazon AWS invoices and correspond on payment

Kumanan Ramanathan     3/6/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), O. Wortman, Y. Torati, H.
                                          Nacmias (Sygnia) to discuss latest project status and deliverables
Kumanan Ramanathan     3/6/2023     0.4   Call with K. Baker, K. Ramanathan, W. Walker (A&M) to discuss third
                                          party exchange data
Kumanan Ramanathan     3/6/2023     0.5   Call with A. Lewis (S&C), M. Torkin (STBLaw), Y. Cavanaugh, A.
                                          Gherlone (Solana) to discuss Solana matters
Kumanan Ramanathan     3/6/2023     0.4   Review of third party exchange inflows near petition time


Kumanan Ramanathan     3/6/2023     0.8   Review 3rd party exchange correspondence

Kumanan Ramanathan     3/6/2023     0.2   Review of Zeplin front-end tool


Kumanan Ramanathan     3/6/2023     0.3   Call with Z. Dexter (FTX), G. Walia, K. Ramanathan (A&M), N.
                                          Friedlander, W. Scheffer (S&C) to review certain exchange account
Kumanan Ramanathan     3/6/2023     0.2   Call with K. Ramanathan, P. Kwan, G. Balmelli (A&M), O. de Vito
                                          Piscicelli (S&C) on FTX EU transactions
Kumanan Ramanathan     3/6/2023     0.3   Call with K. Ramanathan, G. Walia (A&M) to discuss various
                                          workstreams
Kumanan Ramanathan     3/6/2023     0.2   Review of token activity in community threads

Kumanan Ramanathan     3/6/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M),
                                          S&C, and Alix Partners to discuss FTX control environment matters
Larry Iwanski          3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                          M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Larry Iwanski          3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                          Stockmeyer (A&M) regarding crypto tracing process flow
Larry Iwanski          3/6/2023     0.5   Call with L. Callerio, G. Walia, L. Lambert, L. Iwanski, C. Stockmeyer
                                          (A&M) regarding internal account analysis status update
Larry Iwanski          3/6/2023     0.8   Correspondence related to crypto tracing and KYC reporting

Larry Iwanski          3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                          Stockmeyer (A&M) regarding internal crypto tracing
Larry Iwanski          3/6/2023     0.3   Call with L. Iwanski, L. Chamma to discuss finalization of KYC report

Laureen Ryan           3/6/2023     0.5   Participate in workstream update call with S.Coverick, C. Arnett, A.
                                          Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito (A&M)
Leandro Chamma         3/6/2023     1.7   Draft of FTX EU know-your-customer report based on discussions
                                          with C. Jones, O. de Vito Piscicelli (S&C)


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Business Operations
Professional               Date     Hours     Activity
Leandro Chamma           3/6/2023     0.3   Call with L. Iwanski, L. Chamma to discuss finalization of KYC report

Leslie Lambert           3/6/2023     0.5   Call with L. Callerio, G. Walia, L. Lambert, L. Iwanski, C. Stockmeyer
                                            (A&M) regarding internal account analysis status update
Leslie Lambert           3/6/2023     0.9   Analysis of data produced for detailed internal account analysis

Leslie Lambert           3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                            Stockmeyer (A&M) regarding crypto tracing process flow
Leslie Lambert           3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                            Stockmeyer (A&M) regarding internal crypto tracing
Leslie Lambert           3/6/2023     0.5   Call with L. Lambert, G. Walia, L. Callerio, C. Stockmeyer, L. Iwanski
                                            (A&M) regarding internal account analysis
Leslie Lambert           3/6/2023     0.5   Call with L. Lambert, L. Callerio, C. Stockmeyer, L. Iwanski (A&M)
                                            regarding crypto tracing process flow
Leslie Lambert           3/6/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing workstream
Leslie Lambert           3/6/2023     0.4   Call with M. Warren and L. Lambert (A&M) regarding analysis of user
                                            activity with a specific account
Leslie Lambert           3/6/2023     1.1   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                            workstream
Leslie Lambert           3/6/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding findings of
                                            internal account analysis
Leslie Lambert           3/6/2023     1.1   Call with Q. Lowdermilk and L. Lambert (A&M) regarding data
                                            request and update for commingling of funds request
Leslie Lambert           3/6/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding update for
                                            commingling of funds request
Leslie Lambert           3/6/2023     0.8   Quality control review of deliverable for analysis of internal accounts


Lorenzo Callerio         3/6/2023     1.7   Prepare a first draft of a revised tracing tracker

Lorenzo Callerio         3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                            Stockmeyer (A&M) re: crypto tracing process flow
Lorenzo Callerio         3/6/2023     0.5   Participate in workstream update call with E. Mosley, S .Coverick, C.
                                            Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito
                                            (A&M)
Lorenzo Callerio         3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                            Stockmeyer (A&M) re: internal crypto tracing
Lorenzo Callerio         3/6/2023     0.5   Call with L. Callerio, G. Walia, L. Lambert, L. Iwanski, C. Stockmeyer
                                            (A&M) re: internal account analysis status update
Lorenzo Callerio         3/6/2023     2.3   Start reviewing all the available documents relating to the crypto
                                            tracing activities
Louis Konig              3/6/2023     1.1   Data export and analysis of top related party and customer accounts

Luke Francis             3/6/2023     1.1   Searches for potential litigation potentially dormant entities




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Professional            Date     Hours     Activity
Luke Francis          3/6/2023     0.8   Review of updated liability schedules by silo and provide summary
                                         analysis
Manasa Sunkara        3/6/2023     2.3   Search the database for the account holder of a certain wallet
                                         address and Provide their user account details and available
                                         transaction activity
Manasa Sunkara        3/6/2023     2.7   Search the database and extract the user account information and
                                         any activity associated with the wallets provided
Manasa Sunkara        3/6/2023     2.2   Run an analysis in the database to confirm whether certain
                                         addresses belong to FTX Sweep addresses
Manasa Sunkara        3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                         Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                         Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                         pending requests and workstreams
Manasa Sunkara        3/6/2023     1.1   Quality check and prepare deliverables for internal A&M and S&C


Manasa Sunkara        3/6/2023     0.7   Correspondence with internal A&M to confirm their requests

Manasa Sunkara        3/6/2023     1.4   Search the database for any potential user accounts that belongs to
                                         a certain name of interest for an overseas lawsuit
Manasa Sunkara        3/6/2023     2.9   Provide a summary analysis of users per jurisdiction across both
                                         platforms for S&C
Mariah Rodriguez      3/6/2023     1.1   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                         workstream
Mariah Rodriguez      3/6/2023     1.5   Prepare and Analyze wallet user request


Mariah Rodriguez      3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                         Stockmeyer (A&M) regarding internal crypto tracing
Mariah Rodriguez      3/6/2023     0.5   Analyze coin agreement for asset tracing request


Mariah Rodriguez      3/6/2023     0.5   Call with L. Callerio, L. Lamber, M. Rodriguez, L. Iwanski, C.
                                         Stockmeyer (A&M) regarding crypto tracing process flow
Mariah Rodriguez      3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                         M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                         workstream updates
Mariah Rodriguez      3/6/2023     0.4   Call with I. Radwanski, A. Heric, M. Rodriguez, P. McGrath, and A.
                                         Canale (A&M) regarding specific cryptocurrency tracing request
Mariah Rodriguez      3/6/2023     0.2   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                         tracing request
Mariah Rodriguez      3/6/2023     0.3   Call with M. Rodriguez and A. Heric (A&M) regarding findings of
                                         crypto tracing request
Matthew Flynn         3/6/2023     0.5   Correspond with S&C on FTX Australia presentation

Matthew Flynn         3/6/2023     0.9   Review and update crypto team project planner

Matthew Flynn         3/6/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), O. Wortman, Y. Torati, H.
                                         Nacmias (Sygnia) to discuss latest project status and deliverables


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Business Operations
Professional              Date     Hours     Activity
Matthew Flynn           3/6/2023     0.7   Correspond with FTX developers on-boarding

Matthew Hellinghausen   3/6/2023     0.5   Machine translation of foreign language filesMachine translation of
                                           foreign language filesMachine translation of foreign language
                                           filesMachine translation of foreign language filesMachine
                                           translation of foreign language files
Matthew Hellinghausen   3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                           Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                           Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                           pending requests and workstreams
Matthew Warren          3/6/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding findings of
                                           internal account analysis
Matthew Warren          3/6/2023     0.4   Call with M. Warren and L. Lambert (A&M) regarding analysis of user
                                           activity with a specific account
Matthew Warren          3/6/2023     1.2   Conduct further research into internal accounts and origins to inform
                                           discussions with leadership
Matthew Warren          3/6/2023     1.9   Refresh of data tasks regarding transaction analysis and distribution
                                           to internal team
Matthew Warren          3/6/2023     1.8   Provide updates to internal account analysis for supplementary review

Matthew Warren          3/6/2023     2.1   Review and finalize crypto tracing details and information


Matthew Warren          3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                           M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Maximilian Simkins      3/6/2023     1.9   Create process to split a large excel file containing many account
                                           numbers into smaller excel files containing one account
Maximilian Simkins      3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                           Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                           Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                           pending requests and workstreams
Maya Haigis             3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                           Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                           Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                           pending requests and workstreams
Nicole Simoneaux        3/6/2023     0.4   Discussion with N. Simoneaux, B. Tenney (A&M) re: Dallas office
                                           room availability
Patrick McGrath         3/6/2023     0.4   Call with I. Radwanski, A. Heric, M. Rodriguez, P. McGrath, and A.
                                           Canale (A&M) regarding specific cryptocurrency tracing request
Peter Kwan              3/6/2023     0.4   Meeting with A&M Data team regarding process planning,
                                           outstanding requests outputs, and steps
Peter Kwan              3/6/2023     0.6   Prepare customer entitlements validation query development

Peter Kwan              3/6/2023     0.5   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/6/2023     1.2   Continue Address Tracking Master database migration and data
                                           refresh



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Peter Kwan              3/6/2023     0.6   KYC-AML Workstream Coordination and Planning

Peter Kwan              3/6/2023     1.4   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/6/2023     0.5   Revise customer entitlements analysis and reporting

Peter Kwan              3/6/2023     0.8   Analyze data and refine queries to ensure reasonability of outputs

Quinn Lowdermilk        3/6/2023     1.1   Outline findings from summaries of commingling of funds analysis


Quinn Lowdermilk        3/6/2023     0.9   Update deliverable for commingling of funds analysis update

Quinn Lowdermilk        3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                           M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Quinn Lowdermilk        3/6/2023     0.4   Call with Q. Lowdermilk and L. Lambert regarding update for
                                           commingling of funds request
Quinn Lowdermilk        3/6/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding related party
                                           search
Quinn Lowdermilk        3/6/2023     0.4   Create summary tables for commingling of funds analysis


Quinn Lowdermilk        3/6/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing workstream
Quinn Lowdermilk        3/6/2023     0.5   Call with Q. Lowdermilk and L. Lambert regarding commingling of
                                           funds analysis
Quinn Lowdermilk        3/6/2023     1.1   Call with Q. Lowdermilk and L. Lambert (A&M) regarding data
                                           request and update for commingling of funds request
Quinn Lowdermilk        3/6/2023     1.1   Call with Q. Lowdermilk and L. Lambert regarding data request and
                                           update for commingling of funds request
Quinn Lowdermilk        3/6/2023     0.6   Filter out irrelevant data from analysis documents


Quinn Lowdermilk        3/6/2023     1.6   Upload new data to commingling analysis

Quinn Lowdermilk        3/6/2023     0.4   Call with Q. Lowdermilk and L. Lambert (A&M) regarding update for
                                           commingling of funds request
Ricardo Armando Avila   3/6/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, A. Avila,
                                           M. Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Robert Gordon           3/6/2023     0.9   Review and draft comments on controls report for JJR

Robert Gordon           3/6/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M),
                                           S&C, and Alix Partners to discuss FTX control environment matters
Robert Johnson          3/6/2023     2.8   Create AWS-related builds for US West 2 RDS VPC




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Professional                Date     Hours     Activity
Robert Johnson            3/6/2023     0.5   Daily meeting with M. Hellinghausen, M. Simkins, K. Baker, M.
                                             Sunkara, J. Zatz, A. Sloan, K. Dusendschon, M. Haigis, C. Radis, R.
                                             Johnson, J. Marshall, P. Kwan (A&M) to go through action items,
                                             pending requests and workstreams
Vinny Rajasekhar          3/6/2023     0.3   Call with G. Walia, V. Rajasekhar (A&M) BitGo discrepancies and 3rd
                                             party exchange tokens
William Walker            3/6/2023     0.4   Call with K. Baker, K. Ramanathan, W. Walker (A&M) to discuss third
                                             party exchange data
Alec Liv-Feyman           3/7/2023     0.3   Modify and update distribution list for new members to provide
                                             internal/external communications
Alec Liv-Feyman           3/7/2023     0.5   Call with V. Rajasekhar, A. Liv-Feyman (A&M) to discuss updates to
                                             exchange breakdown token mapping
Alec Liv-Feyman           3/7/2023     1.6   Update market cap analysis for current holdings to determine illiquid
                                             tokens
Alec Liv-Feyman           3/7/2023     1.9   Update mapping analysis within exchanges breakdown to determine
                                             compiled crypto assets
Anan Sivapalu             3/7/2023     0.5   Call with J. McGill (TRM Labs), G. Walia, A. Sivapalu (A&M) to
                                             review latest tracing analysis
Andrew Heric              3/7/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding venture
                                             investments
Andrew Heric              3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                             Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                             workstream updates
Andrew Heric              3/7/2023     1.8   Finalize analysis of token generating event to quantify amount
                                             received in relation to contracted amount
Andrew Heric              3/7/2023     3.1   Finalize changes and summary descriptions within origin crypto token
                                             tracing request
Andrew Heric              3/7/2023     1.8   Conduct quality assurance review and make updates accordingly to
                                             origin crypto tracing request
Andrew Heric              3/7/2023     0.9   Review token vesting schedule to identify initial receipt of ventures
                                             token
Austin Sloan              3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                             Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                             Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Brett Bammert             3/7/2023     1.8   Provide review team with different metrics and searches to capture
                                             unstructured data extracted from new data source
Bridger Tenney            3/7/2023     0.7   Compile monthly meetings for every A&M professional


Cameron Radis             3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                             Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                             Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Charles Evans             3/7/2023     0.3   Correspondence with H. Chambers, J. Lam and C. Evans (A&M)
                                             regarding the transfer of Quoine assets
Chris Arnett              3/7/2023     0.6   Participate in weekly PMO with debtor and advisory team



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Professional                Date     Hours     Activity
Chris Arnett              3/7/2023     0.3   Prepare for weekly PMO with debtor and advisory team

Cullen Stockmeyer         3/7/2023     1.4   Update crypto-asset tracing request tracker with additional information


Cullen Stockmeyer         3/7/2023     1.6   Working session with L. Callerio, C. Stockmeyer (A&M) re: EU KYC
                                             Presentation
Cullen Stockmeyer         3/7/2023     1.3   Prepare crypto-asset tracing request tracker for forensics team to
                                             update
Cullen Stockmeyer         3/7/2023     1.9   Prepare summary tables for crypto-asset tracing requests tracker


Ed Mosley                 3/7/2023     0.2   Discuss LedgerX wind down information with A.Cohen (S&C)

Ed Mosley                 3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                             (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY)
                                             S.Coverick & workstream leads (A&M)
Gaurav Walia              3/7/2023     0.4   Meeting with G. Walia, K. Kearney (A&M) to discuss collateral assets
                                             on the FTX.com exchange
Gaurav Walia              3/7/2023     0.5   Call with K. Ramanathan, G. Walia (A&M) to discuss various
                                             workstreams
Gaurav Walia              3/7/2023     0.7   Perform on-chain analysis for certain wallets to validate amounts


Gaurav Walia              3/7/2023     0.3   Call with L. Lambert and G. Walia (A&M) regarding bank account
                                             reconciliation
Gaurav Walia              3/7/2023     0.7   Review the Alameda exchange accounts by component output


Gaurav Walia              3/7/2023     0.6   Review the latest TRM Labs silo tracing analysis

Gaurav Walia              3/7/2023     0.5   Call with J. McGill (TRM Labs), G. Walia, A. Sivapalu (A&M) to
                                             review latest tracing analysis
Gaurav Walia              3/7/2023     0.4   Call with A. Dietderich (S&C), A. Searles, B. Mackay, A. Vanderkamp
                                             (Alix), and E. Mosely, K. Ramanathan, G. Walia, L. Konig, A. Canale,
                                             and D. Medway (A&M) regarding Alameda investment transfers
Gaurav Walia              3/7/2023     1.1   Review certain signal and communication platform messages

Gioele Balmelli           3/7/2023     1.2   Correspondence and analysis on FTX EU - FDM Settlements


Gioele Balmelli           3/7/2023     0.7   Correspondence on FTX EU transactions

Heather Ardizzoni         3/7/2023     2.8   Draft matrix of risks and responsive controls for Alameda silo

Heather Ardizzoni         3/7/2023     1.3   Research for FTX control policies and procedures - WRS Silo


Heather Ardizzoni         3/7/2023     0.9   Review FTX control policies and procedures documentation - WRS
                                             Silo
Henry Chambers            3/7/2023     0.8   Attend to investigation of funds in Defi protocol



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Professional             Date     Hours     Activity
Henry Chambers         3/7/2023     0.3   Consideration of auditors for Quoine PTE entity

Henry Chambers         3/7/2023     0.4   Attend to issues pertaining to personal information in data
                                          preservation exercise
Henry Chambers         3/7/2023     1.6   Consideration of valuation of licensing FTX.com code base and
                                          implications thereof
Henry Chambers         3/7/2023     0.3   Attend to transfer of assets to BitGo logistics

Henry Chambers         3/7/2023     0.4   Attend to correspondence regarding Alameda account at Liquid


Henry Chambers         3/7/2023     0.4   Attend to document requirements regarding Alameda account control
                                          change
Igor Radwanski         3/7/2023     0.4   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                          tracing request
Igor Radwanski         3/7/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding venture
                                          investments
Igor Radwanski         3/7/2023     3.1   Analyze transfer information on the blockchain regarding a specific
                                          crypto currency token
Igor Radwanski         3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Igor Radwanski         3/7/2023     1.1   Edit deliverable to include on-chain tracing visuals and transfer
                                          details
Igor Radwanski         3/7/2023     2.9   Triage datasets regarding transfers between two entities


James Cooper           3/7/2023     0.8   Participate in PMO status update meeting with J. Ray (FTX), A.
                                          Dietderich (S&C), A&M team and others
James Cooper           3/7/2023     0.3   Prepare for weekly PMO status update meeting

James Lam              3/7/2023     2.3   Prepare a summary of tokens transferred from Quoine PTE to a
                                          custodian
James Lam              3/7/2023     3.1   Prepare a summary of NFT collections held under custodian's wallets

Jeffery Stegenga       3/7/2023     0.6   Participation in the weekly PMO update w/ mgmt, S&C, PWP and
                                          A&M
Jeffery Stegenga       3/7/2023     0.7   Review of latest PMO deck in preparation for/follow-up to today's
                                          mgmt update session
Jeffery Stegenga       3/7/2023     0.5   Review of fee tracker, breakdown mgmt by silo/effort and follow-up
                                          with Ed Mosley re: same
Jeffery Stegenga       3/7/2023     0.4   Review of / comments on a draft A&M overview section to be included

Jeffery Stegenga       3/7/2023     0.4   Review of Embed/LedgerX auction delay release information

Jon Chan               3/7/2023     2.6   Provide account information and transaction detail relating to a
                                          specific transaction for internal analysis


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Jon Chan                 3/7/2023     2.3   Provide transaction and account details for key FTX Accounts to
                                            internal team
Jon Chan                 3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                            Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                            Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Jonathan Marshall        3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                            Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                            Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Jonathan Zatz            3/7/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter F, part 2
Jonathan Zatz            3/7/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter G
Jonathan Zatz            3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                            Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                            Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Jonathan Zatz            3/7/2023     0.9   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter E, part 2
Jonathan Zatz            3/7/2023     0.6   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter K
Jonathan Zatz            3/7/2023     0.9   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter H
Jonathan Zatz            3/7/2023     0.3   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter L, part 1
Jonathan Zatz            3/7/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter F, part 1
Jonathan Zatz            3/7/2023     0.4   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter I
Jonathan Zatz            3/7/2023     0.1   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter J
Julian Lee               3/7/2023     0.1   Review list of accounts with FBO references

Kevin Baker              3/7/2023     2.1   Analyze transactions relating to BUSD, BNB, and FTT tokens and the
                                            Binance share repurchase
Kevin Baker              3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                            Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                            Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Kevin Baker              3/7/2023     2.4   Investigate specific user accounts related to spot margin lending and
                                            borrowing
Kevin Baker              3/7/2023     2.8   Provide coin listing for all token found within the certain exchange
                                            data for updated pricing information
Kevin Baker              3/7/2023     2.4   Investigate user accounts related to the Earn program for S&C




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Kevin Baker              3/7/2023     1.6   Investigate specific user accounts related to staking within the AWS
                                            exchange data
Kevin Kearney            3/7/2023     0.4   Meeting with G. Walia, K. Kearney (A&M) to discuss collateral assets
                                            on the FTX.com exchange
Kora Dusendschon         3/7/2023     0.7   Provide oversight to database team, review incoming requests and
                                            anticipated timing
Kora Dusendschon         3/7/2023     0.9   Email communications with FTI and Kordamentha, set up access and
                                            send out details
Kora Dusendschon         3/7/2023     0.5   Call with B. Hadamik, G. Hougey, D. Lee, B. McMahon, C. Miller, C.
                                            Rowe, A. Vyas (FT), K. Dusendschon, P. Kwan, R. Johnson (A&M) to
                                            discuss the current status of Process unstructured data to review
Kora Dusendschon         3/7/2023     0.7   Follow up internally regarding requests from FTI during call

Kora Dusendschon         3/7/2023     0.8   Teleconference with R. Johnson and K. Dusendschon to go over
                                            draft update, diagrams and update data flows
Kora Dusendschon         3/7/2023     0.3   Follow up internally regarding open requests from Raj


Kumanan Ramanathan       3/7/2023     0.5   Call with the Ren team and A. Lewis (S&C) to discuss protocol
                                            matters
Kumanan Ramanathan       3/7/2023     0.4   Prepare for and participate in weekly Board meeting with R. Jain, M.
                                            Rosenberg, M. Doheny and other Board members, J. Ray, K.
                                            Schultea, M. Cilia (FTX), E. Mosley, S. Coverick, and K. Ramanathan
                                            (A&M), S. Rand, B. Burck, J. Shaffer (QE), M. Rahmani, and B
Kumanan Ramanathan       3/7/2023     0.3   Review of equity investment position with Alameda


Kumanan Ramanathan       3/7/2023     0.6   Review various data requests and responses

Kumanan Ramanathan       3/7/2023     0.4   Provide feedback on stablecoin analysis


Kumanan Ramanathan       3/7/2023     0.3   Review of SBF sub stack spreadsheet against Debtor amounts

Kumanan Ramanathan       3/7/2023     0.3   Review of custodial invoices and provide feedback

Kumanan Ramanathan       3/7/2023     0.5   Call with K. Ramanathan, G. Walia (A&M) to discuss various
                                            workstreams
Kumanan Ramanathan       3/7/2023     0.2   Obtain competitive market bids on transaction exercise

Kumanan Ramanathan       3/7/2023     0.7   Email correspondence with Y. Torati (Sygnia) regarding code review
                                            and review of relevant materials
Kumanan Ramanathan       3/7/2023     0.3   Review of crypto tracing workstream requests

Kumanan Ramanathan       3/7/2023     0.4   Review of compensation report and provide comments


Kumanan Ramanathan       3/7/2023     0.5   Call with E. Gilad (PH), F. Risler, J. de Brignac (FTI), J. Croke, B.
                                            Glueckstein (S&C) to discuss stablecoin matters



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Larry Iwanski          3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Larry Iwanski          3/7/2023     2.2   Review and edit of KYC report draft

Larry Iwanski          3/7/2023     1.3   Communications related to database requests and crypto tracing


Leslie Lambert         3/7/2023     0.3   Call with L. Lambert and G. Walia (A&M) regarding bank account
                                          reconciliation
Leslie Lambert         3/7/2023     0.3   Review of data extracts for bank account reconciliation


Leslie Lambert         3/7/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                          tracing request
Leslie Lambert         3/7/2023     0.8   Call with Q. Lowdermilk, L. Lambert, M. Rodriguez, K. Baker, and M.
                                          Sunkara (A&M) discussing data request regarding commingling of
                                          funds
Leslie Lambert         3/7/2023     0.8   Review of data produced for detailed internal account analysis


Leslie Lambert         3/7/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                          commingling of funds update
Leslie Lambert         3/7/2023     0.5   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                          workstream
Leslie Lambert         3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Leslie Lambert         3/7/2023     0.2   Call with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                          tracing workstreams
Lorenzo Callerio       3/7/2023     2.5   Draft a revised version of the crypto tracing activities summary file


Lorenzo Callerio       3/7/2023     1.6   Working session with L. Callerio, C. Stockmeyer (A&M) re: EU KYC
                                          Presentation
Lorenzo Callerio       3/7/2023     2.4   Prepare a revised EU KYC deck to be discussed with K. Ramanathan
                                          (A&M)
Manasa Sunkara         3/7/2023     1.7   Confirm whether certain addresses belong to alameda users and put
                                          all findings and analyses together in a spreadsheet
Manasa Sunkara         3/7/2023     1.2   Query and extract the users' trades, fills, orders, activity records,
                                          borrows, lends and positions data from the database
Manasa Sunkara         3/7/2023     0.8   Call with Q. Lowdermilk, L. Lambert, M. Rodriguez, K. Baker, and M.
                                          Sunkara (A&M) discussing data request regarding commingling of
                                          funds
Manasa Sunkara         3/7/2023     2.3   Trace a population of alleged transfers between FTX US sweep
                                          accounts and Alameda accounts
Manasa Sunkara         3/7/2023     0.7   Quality check, format and prepare deliverables for S&C




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Manasa Sunkara          3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                           Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                           Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Manasa Sunkara          3/7/2023     2.8   Confirm whether these transfers were initiated by users and extract
                                           the exchange, email and account information for these users
Mariah Rodriguez        3/7/2023     0.8   Analyze blockchain for specific coin related to asset tracing request


Mariah Rodriguez        3/7/2023     0.6   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                           tracing request
Mariah Rodriguez        3/7/2023     0.9   Research relativity for asset tracing request

Mariah Rodriguez        3/7/2023     0.8   Call with Q. Lowdermilk, L. Lambert, M. Rodriguez, K. Baker, and M.
                                           Sunkara (A&M) discussing data request regarding commingling of
                                           funds
Mariah Rodriguez        3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Mariah Rodriguez        3/7/2023     0.5   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                           workstream
Mariah Rodriguez        3/7/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                           tracing request
Mariah Rodriguez        3/7/2023     0.2   Call with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                           tracing workstreams
Matthew Flynn           3/7/2023     1.7   Research Mycelium token and investment position


Matthew Flynn           3/7/2023     0.7   Update Crypto team project plan

Matthew Flynn           3/7/2023     1.2   Review MYC token data on the exchange

Matthew Hellinghausen   3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                           Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                           Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Matthew Hellinghausen   3/7/2023     0.3   Machine translation of foreign language filesMachine translation of
                                           foreign language filesMachine translation of foreign language
                                           filesMachine translation of foreign language filesMachine
                                           translation of foreign language files
Matthew Warren          3/7/2023     1.1   Assist in workpaper organization regarding internal accounts
                                           deliverables
Matthew Warren          3/7/2023     1.7   Review of internal account information for updates to inform ad hoc
                                           analyses
Matthew Warren          3/7/2023     1.6   Provide data extract for further pivot investigation and summary
                                           discussion with leadership
Matthew Warren          3/7/2023     3.2   Provide analysis and research of account analysis to leadership for
                                           future discussion with management




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Matthew Warren          3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Maximilian Simkins      3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                           Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                           Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Maximilian Simkins      3/7/2023     1.1   Create process to catch errors when splitting large excel file by
                                           account
Maximilian Simkins      3/7/2023     2.3   Create process to split a large excel file containing many account
                                           numbers into smaller excel files containing one account
Maya Haigis             3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                           Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                           Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Peter Kwan              3/7/2023     1.4   Conduct Address Tracking Master database migration and data
                                           refresh
Peter Kwan              3/7/2023     1.4   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/7/2023     1.8   Analyze data and refine certain queries to ensure accuracy and
                                           reasonability of outputs
Peter Kwan              3/7/2023     0.5   Call with B. Hadamik, G. Hougey, D. Lee, B. McMahon, C. Miller, C.
                                           Rowe, A. Vyas (FT), K. Dusendschon, P. Kwan, R. Johnson (A&M) to
                                           discuss the current status of Process unstructured data to review
Peter Kwan              3/7/2023     0.6   KYC-AML Workstream Coordination and Planning


Peter Kwan              3/7/2023     0.5   Expand customer entitlements analysis and reporting

Peter Kwan              3/7/2023     0.9   Produce customer entitlements validation query development


Quinn Lowdermilk        3/7/2023     1.1   Summarize new findings surrounding updated data

Quinn Lowdermilk        3/7/2023     1.3   Update deliverable for new data surrounding commingling of funds

Quinn Lowdermilk        3/7/2023     0.9   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Quinn Lowdermilk        3/7/2023     2.2   Create analysis surrounding new AWS data

Quinn Lowdermilk        3/7/2023     0.8   Call with Q. Lowdermilk, L. Lambert, M. Rodriguez, K. Baker, and M.
                                           Sunkara (A&M) discussing data request regarding commingling of
                                           funds
Quinn Lowdermilk        3/7/2023     0.3   Call with Q. Lowdermilk and L. Lambert (A&M) regarding
                                           commingling of funds update
Robert Johnson          3/7/2023     0.3   Daily meeting with K. Baker, A. Sloan, K. Dusendschon, J. Chan, M.
                                           Sunkara, M. Haigis, C. Radis, M. Simkins, J. Marshall, J. Zatz, M.
                                           Hellinghausen, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams


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Robert Johnson           3/7/2023     0.3   Migration of banking data to metabase tables

Robert Johnson           3/7/2023     2.2   Visio mapping of AWS environment


Robert Johnson           3/7/2023     0.9   Data mapping of access by various parties to AWS databases

Robert Johnson           3/7/2023     2.4   Build out us west 2 EXT VPC, and addition of appropriate firewall
                                            rules and network routes
Robert Johnson           3/7/2023     0.5   Call with B. Hadamik, G. Hougey, D. Lee, B. McMahon, C. Miller, C.
                                            Rowe, A. Vyas (FT), K. Dusendschon, P. Kwan, R. Johnson (A&M) to
                                            discuss the current status of Process unstructured data to review
Sean Wilson              3/7/2023     0.5   Prepare summary of WRS 382 analysis for memo

Steve Coverick           3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                            (S&C), K. Flynn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                            Coverick & workstream leads (A&M)
Steve Coverick           3/7/2023     1.2   Review and provide comments on FTX EU analysis re: historical
                                            transactions
Steve Coverick           3/7/2023     0.6   Prepare for and participate in weekly Board meeting with R. Jain, M.
                                            Rosenberg, M. Doheny and other Board members, J. Ray, K.
                                            Schultea, M. Cilia (FTX), E. Mosley, S. Coverick, and K. Ramanathan
                                            (A&M), S. Rand, B. Burck, J. Shaffer (QE), M. Rahmani, and B
Vinny Rajasekhar         3/7/2023     0.5   Call with V. Rajasekhar, A. Liv-Feyman (A&M) to discuss updates to
                                            exchange breakdown token mapping
William Walker           3/7/2023     1.6   Review Sygnia transaction tracker


William Walker           3/7/2023     2.3   Review Bitgo transaction list for new entries

Adam Titus               3/8/2023     0.5   Call with A. Titus, S. Glustein, L. Clayton, A. Liv-Feyman (A&M)
                                            regarding ventures team tracker updates
Adam Titus               3/8/2023     0.2   Call with K. Ramanathan, S. Glustein, A. Titus, A. Liv-Feyman (A&M),
                                            J. Croke, A. Holland (S&C), K. Flinn (PWP), and 3rd party exchange
                                            team regarding frozen tokens and transfers timeline
Alec Liv-Feyman          3/8/2023     2.2   Update third party exchanges transfer information and pull
                                            transaction IDs from explorer pages
Alec Liv-Feyman          3/8/2023     0.2   Call with K. Ramanathan, S. Glustein, A. Titus, A. Liv-Feyman (A&M),
                                            J. Croke, A. Holland (S&C), K. Flinn (PWP), and 3rd party exchange
                                            team regarding frozen tokens and transfers timeline
Alec Liv-Feyman          3/8/2023     0.5   Call with A. Titus, S. Glustein, L. Clayton, A. Liv-Feyman (A&M)
                                            regarding ventures team tracker updates
Alec Liv-Feyman          3/8/2023     1.8   Analyze token tracker analysis to understand future updates in tracker

Alex Canale              3/8/2023     0.2   Call with A. Canale, P. McGrath, R. Rodriguez, and I. Radwanski
                                            (A&M) regarding specific token request
Alex Canale              3/8/2023     0.6   Call with A. Canale, P. McGrath, and I. Radwanski (A&M) regarding
                                            specific token request



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Aly Helal              3/8/2023     3.2   Collect Ledger Prime (FTX Subsidiary) TriNet Payroll company
                                          payments
Andrew Heric           3/8/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing request


Andrew Heric           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Andrew Heric           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                          current findings of tracing request
Andrew Heric           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, I. Radwanski, and M. Rodriguez
                                          (A&M) regarding approach to tracing request
Andrew Heric           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric and I. Radwanski (A&M) regarding
                                          token tracing tasks
Andrew Heric           3/8/2023     1.4   Review the origins of a token for venture tracing request 39 by
                                          conducting TRM crypto tracing
Andrew Heric           3/8/2023     0.7   Prepare analysis template for token tracing request related to token
                                          generation event
Andrew Heric           3/8/2023     1.2   Note current findings from crypto tracing conducted for venture
                                          tracing request 39
Andrew Heric           3/8/2023     0.5   Correspondence regarding token generating event report commentary


Andrew Heric           3/8/2023     0.9   Prepare deliverable for venture tracing request related to token
                                          generation event
Andrew Heric           3/8/2023     0.7   Strategize high priority tracing request related to token origination
                                          event
Brett Bammert          3/8/2023     1.3   Create new search term reports for review team

Bridger Tenney         3/8/2023     0.9   Audit time detail for multiple workstreams

Bridger Tenney         3/8/2023     0.6   Update time entries for each workstream


Cullen Stockmeyer      3/8/2023     1.6   Update crypto-asset tracing request tracker based on input from
                                          crypto tracing tracker call
Cullen Stockmeyer      3/8/2023     0.5   Call with L. Callerio, L. Lambert, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: crypto tracing tracker and internal accounts
Cullen Stockmeyer      3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                          Radwanski, C. Stockmeyer (A&M) re: NEAR Token tracing
Cullen Stockmeyer      3/8/2023     0.7   Working session with L. Callerio and C. Stockmeyer (A&M) re: tracing
                                          activities tracker
Cullen Stockmeyer      3/8/2023     2.1   Update professional trackers and working group information

Cullen Stockmeyer      3/8/2023     0.6   Prepare crypto-asset tracing request tracker for forensics team to
                                          update
Ed Mosley              3/8/2023     1.6   Review of workstream requirements for various requests from S&C
                                          regarding the exchange and data for various transactions


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Gaurav Walia           3/8/2023     1.4   Update the summarized slide to compare SBF sub stack to the latest
                                          exchange presentation
Gaurav Walia           3/8/2023     0.3   Call with K. Ramanathan, G. Walia, M. Flynn, A. Sivapalu, V.
                                          Rajasekhar, W. Walker (A&M) regarding crypto team daily
                                          workstream updates
Gaurav Walia           3/8/2023     0.6   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss crypto
                                          workstream deliverables
Gaurav Walia           3/8/2023     1.4   Prepare initial summary of the Alameda account analysis

Gaurav Walia           3/8/2023     0.8   Review the Alameda account components breakdown output


Gioele Balmelli        3/8/2023     0.8   Call with G. Balmelli (A&M) and M. Lambrianou (FTX) on FTX EU -
                                          FDM Settlements
Gioele Balmelli        3/8/2023     0.4   Correspondence on info pack for the preparation of the liquidations

Gioele Balmelli        3/8/2023     0.7   Correspondence on FTX EU transactions


Heather Ardizzoni      3/8/2023     0.5   Call with H. Ardizzoni and R. Gordon (A&M) live review of risk and
                                          control matrix
Heather Ardizzoni      3/8/2023     0.5   Prepare for presentation to AlixPartners over internal controls risk
                                          and control matrix
Heather Ardizzoni      3/8/2023     1.0   Prepare for presentation to AlixPartners over internal controls risk
                                          and control matrix
Heather Ardizzoni      3/8/2023     0.3   Update risk and control matrix in response to feedback and
                                          comments received in meeting with AlixPartners
Heather Ardizzoni      3/8/2023     1.5   Draft narrative of risks and responsive FTX treasury controls at WRS
                                          silo
Heather Ardizzoni      3/8/2023     1.8   Document examples of risks and controls for matrix for WRS &
                                          Dotcom silo
Heather Ardizzoni      3/8/2023     1.2   Review summary of risks and FTX controls prepared by Alix Partners


Heather Ardizzoni      3/8/2023     0.3   Call with H. Ardizzoni, R. Gordon (A&M), and J. LaBella, A. Searles
                                          (Alix Partners) meeting to discuss risk and control matrix
Henry Chambers         3/8/2023     1.8   Attend to correspondence regarding Alameda account at Liquid


Henry Chambers         3/8/2023     0.4   Correspondence regarding frozen stablecoins in Singapore

Henry Chambers         3/8/2023     0.5   Consideration of auditors for Quoine PTE entity


Henry Chambers         3/8/2023     0.5   Attend to key performance indicator report update and fixing pricing
                                          issues
Henry Chambers         3/8/2023     0.6   Correspondence regarding Blockfolio users and associated
                                          documentation
Igor Radwanski         3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, I. Radwanski, and M. Rodriguez
                                          (A&M) regarding approach to tracing request


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Igor Radwanski           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric and I. Radwanski (A&M) regarding
                                            token tracing tasks
Igor Radwanski           3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Igor Radwanski           3/8/2023     0.2   Call with A. Canale, P. McGrath, R. Rodriguez, and I. Radwanski
                                            (A&M) regarding specific token request
Igor Radwanski           3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                            Radwanski, C. Stockmeyer (A&M) regarding NEAR Token tracing
Igor Radwanski           3/8/2023     3.1   Trace specific token transactions using on-chain data


Igor Radwanski           3/8/2023     0.6   Call with A. Canale, P. McGrath, and I. Radwanski (A&M) regarding
                                            specific token request
Igor Radwanski           3/8/2023     0.7   Edit deliverable presentation to include new findings regarding
                                            specific token request
James Lam                3/8/2023     2.9   Analyze the wallet transaction records of a DeFi option service
                                            provider
James Lam                3/8/2023     1.4   Research on a DeFi option service provider

Jon Chan                 3/8/2023     2.9   Provide transactions summaries for key accounts


Jon Chan                 3/8/2023     2.8   Investigate several wallets pertaining to specific individuals

Jon Chan                 3/8/2023     2.1   Investigate specific ft accounts in the database


Jonathan Marshall        3/8/2023     0.7   Update correspondence to be distributed to AWS team

Jonathan Zatz            3/8/2023     2.0   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter O, part 1
Jonathan Zatz            3/8/2023     0.4   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter P, part 1
Jonathan Zatz            3/8/2023     0.8   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter L, part 2
Jonathan Zatz            3/8/2023     1.3   Populate responses for S&C memo


Jonathan Zatz            3/8/2023     1.3   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter O, part 2
Jonathan Zatz            3/8/2023     0.5   Create shared template for S&C memo responses


Jonathan Zatz            3/8/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter M, part 1
Jonathan Zatz            3/8/2023     0.3   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter M, part 2
Kevin Baker              3/8/2023     1.1   Analyze transactions among all internal accounts related to
                                            Alameda/FTX


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Business Operations
Professional             Date     Hours     Activity
Kevin Kearney          3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, K. Kearney (A&M) regarding
                                          ledger prime support
Kora Dusendschon       3/8/2023     0.3   Review information provided by P. Lee (FTX), setting up Box link and
                                          sending email communication
Kora Dusendschon       3/8/2023     1.7   Analyze update from FTI, create new spreadsheet for S&C, provide
                                          overall update on documents located to S&C, provide additional
                                          update on Compliance team members
Kora Dusendschon       3/8/2023     0.2   Reach out to FTI requesting access

Kora Dusendschon       3/8/2023     0.4   Review information provided by P. Lee (FTX), conducting tie-outs,
                                          handing off to FTI
Kora Dusendschon       3/8/2023     0.9   Provide oversight to database team, review incoming requests and
                                          anticipated timing
Kora Dusendschon       3/8/2023     0.4   Reach out internally re Odoo and next steps

Kumanan Ramanathan     3/8/2023     0.3   Call with K. Lemire, T. Murray, J. Young (QE) to discuss controls
                                          failures report pertaining to crypto matters
Kumanan Ramanathan     3/8/2023     0.3   Call with K. Ramanathan, G. Walia, M. Flynn, A. Sivapalu, V.
                                          Rajasekhar, W. Walker (A&M) regarding crypto team daily
                                          workstream updates
Kumanan Ramanathan     3/8/2023     0.3   Call with L. Callerio, K. Ramanathan (A&M) to discuss crypto tracing
                                          activities
Kumanan Ramanathan     3/8/2023     0.3   Call with L. Iwanski, L. Callerio, K. Ramanathan (A&M) to discuss
                                          workstream updates on KYC and crypto tracing
Kumanan Ramanathan     3/8/2023     0.4   Review of equity investment position with Alameda

Kumanan Ramanathan     3/8/2023     0.5   Create Coinbase institution account


Kumanan Ramanathan     3/8/2023     1.2   Review of on-chain tracing and provide feedback regarding TRM

Kumanan Ramanathan     3/8/2023     0.2   Call with K. Ramanathan, S. Glustein, A. Titus, A. Liv-Feyman (A&M),
                                          J. Croke, A. Holland (S&C), K. Flinn (PWP), and 3rd party exchange
                                          team regarding certain tokens and transfers timeline
Kumanan Ramanathan     3/8/2023     0.6   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss crypto
                                          workstream deliverables
Kumanan Ramanathan     3/8/2023     1.3   Review various data requests and responses

Kumanan Ramanathan     3/8/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), G. Jackson (FTX) to
                                          discuss FTX front-end build
Larry Iwanski          3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Larry Iwanski          3/8/2023     0.3   Call with L. Iwanski, L. Callerio, K. Ramanathan (A&M) to discuss
                                          workstream updates on KYC and crypto tracing
Larry Iwanski          3/8/2023     0.5   Call with L. Iwanski and M. Rodriguez (A&M) to discuss asset tracing



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Larry Iwanski          3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                          Radwanski, C. Stockmeyer (A&M) regarding NEAR Token tracing
Leandro Chamma         3/8/2023     0.4   Correspondence with L. Iwanski (A&M) re: FTX EU know-your-
                                          customer report
Leslie Lambert         3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                          Radwanski, C. Stockmeyer (A&M) regarding NEAR Token tracing
Leslie Lambert         3/8/2023     0.5   Call with L. Callerio, L. Lambert, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: crypto tracing tracker and internal accounts
Leslie Lambert         3/8/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                          tracing request
Leslie Lambert         3/8/2023     0.8   Conduct review of workplan, workpapers, and deliverables for certain
                                          tracing requests
Leslie Lambert         3/8/2023     0.6   Review of final deliverable for analysis of certain account activity


Leslie Lambert         3/8/2023     0.7   Craft various communications regarding ongoing and recent tracing
                                          efforts
Lorenzo Callerio       3/8/2023     0.2   Call with L. Callerio and M. Rodriguez (A&M) re: internal accounts
                                          analysis
Lorenzo Callerio       3/8/2023     1.7   Draft a revised version of the crypto tracing tracker to be discussed
                                          with the team
Lorenzo Callerio       3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                          Radwanski, C. Stockmeyer (A&M) re: NEAR Token tracing
Lorenzo Callerio       3/8/2023     0.7   Working session with L. Callerio and C. Stockmeyer (A&M) re: tracing
                                          activities tracker
Lorenzo Callerio       3/8/2023     0.3   Call with L. Iwanski, L. Callerio, K. Ramanathan (A&M) to discuss
                                          workstream updates on KYC and crypto tracing
Lorenzo Callerio       3/8/2023     0.5   Call with L. Callerio, L. Lambert, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: crypto tracing tracker and internal accounts
Lorenzo Callerio       3/8/2023     0.2   Meeting with L. Callerio and S. Glustein (A&M) re: tracing activities

Manasa Sunkara         3/8/2023     1.1   Clean data related to a list of lender entities and perform a wild card
                                          search across several fields for a preliminary list of user accounts
Manasa Sunkara         3/8/2023     0.8   Correspondence with internal A&M to confirm their requests and
                                          answer questions
Manasa Sunkara         3/8/2023     0.6   Quality check, format and prepare deliverables for internal A&M

Mariah Rodriguez       3/8/2023     1.5   Analyze coin agreement for asset tracing request


Mariah Rodriguez       3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Mariah Rodriguez       3/8/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                          tracing request
Mariah Rodriguez       3/8/2023     0.5   Call with L. Callerio, L. Lambert, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: crypto tracing tracker and internal accounts


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Mariah Rodriguez        3/8/2023     0.2   Call with L. Callerio and M. Rodriguez (A&M) regarding internal
                                           accounts analysis
Mariah Rodriguez        3/8/2023     1.2   Research relativity for certain asset tracing request


Mariah Rodriguez        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, I. Radwanski, and M. Rodriguez
                                           (A&M) regarding approach to tracing request
Mariah Rodriguez        3/8/2023     0.2   Call with L. Callerio, L. Iwanski, L. Lambert, M. Rodriguez, I.
                                           Radwanski, C. Stockmeyer (A&M) regarding NEAR Token tracing
Mariah Rodriguez        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                           current findings of tracing request
Mariah Rodriguez        3/8/2023     1.6   Analyze blockchain for specific coin related to asset tracing request

Mariah Rodriguez        3/8/2023     0.5   Call with L. Iwanski and M. Rodriguez (A&M) to discuss asset tracing


Mariah Rodriguez        3/8/2023     0.8   Research internal account information for asset tracing request

Mariah Rodriguez        3/8/2023     0.6   Update asset tracing tracker for asset tracing requests


Matthew Flynn           3/8/2023     1.8   Coordinate front-end developer work

Matthew Flynn           3/8/2023     1.7   Create future work plan by individual

Matthew Flynn           3/8/2023     0.3   Call with K. Ramanathan, G. Walia, M. Flynn, A. Sivapalu, V.
                                           Rajasekhar, W. Walker (A&M) regarding crypto team daily
                                           workstream updates
Matthew Flynn           3/8/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), G. Jackson (FTX) to
                                           discuss FTX front-end build
Matthew Flynn           3/8/2023     0.6   Review AWS version requirements for developer work

Matthew Warren          3/8/2023     0.8   Research of index for interested subjects, timeline of events, and
                                           relevant addresses to inform supplementary schedules
Matthew Warren          3/8/2023     1.8   Construction of index for persons of interest to facilitate quick
                                           reference for related analyses
Matthew Warren          3/8/2023     1.4   Provide workpaper documentation updates and organization for
                                           internal accounts folders
Matthew Warren          3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Maximilian Simkins      3/8/2023     1.7   Test and validating process to split large excel file by account

Patrick McGrath         3/8/2023     0.6   Call with A. Canale, P. McGrath, and I. Radwanski (A&M) regarding
                                           specific token request
Patrick McGrath         3/8/2023     0.2   Call with A. Canale, P. McGrath, and I. Radwanski (A&M) regarding
                                           specific token request
Peter Kwan              3/8/2023     0.5   KYC-AML Workstream Coordination and Planning



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Peter Kwan              3/8/2023     2.2   Analyze data and refine specific queries to ensure accuracy and
                                           reasonability of outputs
Peter Kwan              3/8/2023     0.4   Conduct customer entitlements validation query development


Peter Kwan              3/8/2023     0.3   Prepare customer entitlements analysis and reporting

Peter Kwan              3/8/2023     0.8   Prepare Address Tracking Master database migration and data
                                           refresh
Peter Kwan              3/8/2023     1.2   Meeting with A&M Data team regarding process planning,
                                           outstanding requests outputs, and steps
Peter Kwan              3/8/2023     1.9   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Quinn Lowdermilk        3/8/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing request


Quinn Lowdermilk        3/8/2023     1.7   Update analysis with token protocols that have been launched

Quinn Lowdermilk        3/8/2023     2.3   Analyze token protocols to investigate if token was launched


Quinn Lowdermilk        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Quinn Lowdermilk        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, I. Radwanski, and M. Rodriguez
                                           (A&M) regarding approach to tracing request
Quinn Lowdermilk        3/8/2023     2.2   Analyze supplied transfer data for request to trace funds


Quinn Lowdermilk        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric and I. Radwanski (A&M) regarding
                                           token tracing tasks
Quinn Lowdermilk        3/8/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                           current findings of tracing request
Robert Gordon           3/8/2023     0.9   Initial read through of European management status quo
                                           memorandum
Robert Gordon           3/8/2023     0.3   Call with H. Ardizzoni, R. Gordon (A&M), and J. LaBella, A. Searles
                                           (Alix Partners) meeting to discuss risk and control matrix
Robert Gordon           3/8/2023     0.5   Call with H. Ardizzoni and R. Gordon (A&M) live review of risk and
                                           control matrix
Robert Johnson          3/8/2023     0.6   Migration of Alameda prod 3 db to new VPC, and testing of new db

Robert Johnson          3/8/2023     0.6   Migration of Alameda prod 7 db to new VPC, and testing of new db


Robert Johnson          3/8/2023     0.8   Migration of Alameda prod 8 db to new VPC, and testing of new db

Robert Johnson          3/8/2023     0.8   Migration of Alameda prod 4 db to new VPC, and testing of new db

Robert Johnson          3/8/2023     0.8   Migration of Alameda prod 2 db to new VPC, and testing of new db




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Robert Johnson          3/8/2023     0.3   Migration of Alameda analysis db to new VPC, and testing of new db

Robert Johnson          3/8/2023     0.7   Migration of Alameda prod db to new VPC, and testing of new db


Robert Johnson          3/8/2023     0.7   Migration of Alameda production exchange database to new VPC,
                                           and testing of new database
Robert Johnson          3/8/2023     0.7   Migration of Alameda prod 5 db to new VPC, and testing of new db

Robert Johnson          3/8/2023     0.7   Migration of Alameda prod trades db to new VPC, and testing of new
                                           db
Sean Wilson             3/8/2023     0.8   Revise WRS 382 analysis for memo

Steve Coverick          3/8/2023     0.4   Correspond with FTX and S&C personnel regarding former employee
                                           device imaging
Steven Glustein         3/8/2023     0.2   Call with K. Ramanathan, S. Glustein, A. Titus, A. Liv-Feyman (A&M),
                                           J. Croke, A. Holland (S&C), K. Flinn (PWP), and 3rd party exchange
                                           team regarding frozen tokens and transfers timeline
Steven Glustein         3/8/2023     0.5   Call with A. Titus, S. Glustein, L. Clayton, A. Liv-Feyman (A&M)
                                           regarding ventures team tracker updates
Steven Glustein         3/8/2023     0.4   Call with K. Flinn (PWP), J. Croke (S&C), S. Glustein (A&M) to
                                           discuss receipt of outstanding venture token investments
Steven Glustein         3/8/2023     0.2   Meeting with L. Callerio and S. Glustein (A&M) re: tracing activities

Vinny Rajasekhar        3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, K. Kearney (A&M) regarding
                                           ledger prime support
Vinny Rajasekhar        3/8/2023     0.3   Call with K. Ramanathan, G. Walia, M. Flynn, A. Sivapalu, V.
                                           Rajasekhar, W. Walker (A&M) regarding crypto team daily
                                           workstream updates
William Walker          3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, K. Kearney (A&M) regarding
                                           ledger prime support
William Walker          3/8/2023     0.3   Call with K. Ramanathan, G. Walia, M. Flynn, A. Sivapalu, V.
                                           Rajasekhar, W. Walker (A&M) regarding crypto team daily
                                           workstream updates
Adam Titus              3/9/2023     1.3   Conference call with M. Rosenberg (Lincoln Park advisors), J. Ray
                                           (Greylock partners), K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                           Cohen, M. Wu (S&C), A. Titus, S. Glustein, K. Kearney (A&M)
                                           relating to venture investment updates
Adam Titus              3/9/2023     0.6   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP, S&C re:
                                           Updates on Ledger Prime Status
Alec Liv-Feyman         3/9/2023     2.2   Review token tracker to determine ventures background and
                                           underlying data associated with file
Alec Liv-Feyman         3/9/2023     2.1   Review ventures legal agreements to determine crypto asset recovery


Alec Liv-Feyman         3/9/2023     0.3   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                           and investments masters analysis updates
Alec Liv-Feyman         3/9/2023     1.9   Review investments tracker to comprehend ventures analysis and
                                           consolidated files

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Professional                Date     Hours     Activity
Alec Liv-Feyman           3/9/2023     0.5   Call with L. Clayton, A. Liv-Feyman (A&M) regarding ventures team
                                             workstream updates
Alex Canale               3/9/2023     0.2   Call with A. Canale, P. McGrath, R. Rodriguez, and I. Radwanski
                                             (A&M) regarding specific token request
Alex Canale               3/9/2023     0.5   Call with I. Radwanski, A. Canale, M. Rodriguez, L. Iwanski, P.
                                             McGrath (A&M), N. Huh, and A. Alden (QE) regarding token tracing
                                             request
Anan Sivapalu             3/9/2023     1.0   Call with A. Sivapalu (A&M), D. Reardon, J. McGill, K. Tran (TRM) to
                                             discuss variance seen in wallet address data provided
Anan Sivapalu             3/9/2023     0.3   Call with A. Sivapalu and V. Rajasekhar (A&M) regarding TRM
                                             source data and power BI tool
Andrew Heric              3/9/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) discussing analysis
                                             steps for crypto tracing request
Andrew Heric              3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                             Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                             updates
Andrew Heric              3/9/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                             data request and update for high priority request
Andrew Heric              3/9/2023     0.7   Call with L. Callerio, M. Rodriguez, K. Ramanathan, Q. Lowdermilk,
                                             and A. Heric (A&M) to discuss crypto asset tracing request
Andrew Heric              3/9/2023     1.1   Analyze transfer activity associated with account tracing request 76


Andrew Heric              3/9/2023     2.2   Summarize methodology and process for high priority tracing request

Andrew Heric              3/9/2023     1.8   Populate phase one of the deliverable for a top priority crypto tracing
                                             request
Andrew Heric              3/9/2023     1.9   Summarize findings in report related to high priority venture tracing
                                             request
Cameron Radis             3/9/2023     0.4   Teleconference with K. Baker, M. Haigis, C. Radis, M. Simkins, and
                                             L. Konig (A&M) discussing python account parsing process
Cameron Radis             3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                             J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Chris Arnett              3/9/2023     0.4   Discuss entity wind-down analysis with C. Arnett, S. Coverick, and H.
                                             Trent (A&M)
Cullen Stockmeyer         3/9/2023     1.1   Update professional tracker related to invoices for new information

Cullen Stockmeyer         3/9/2023     1.2   Update professional tracker related to crypto-asset tracing


David Johnston            3/9/2023     0.2   Discussion with R. Gordon, K. Ramanathan, D, Johnston, G.
                                             Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                             (S&C), R. Metzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                             Status presentation
David Johnston            3/9/2023     0.3   Call with D. Johnston, K. Ramanathan, R. Gordon (A&M) to discuss
                                             EU management memorandum




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David Johnston         3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                          Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                          (S&C), R. Metzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                          Status Quo memo
David Johnston         3/9/2023     0.5   Prepare discussion materials to coordinate FTX EU status quo memo

Ed Mosley              3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                          Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                          (S&C), R. Matzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                          Status Quo memo
Ed Mosley              3/9/2023     2.1   Review of and prepare comments to draft FTX EU presentation of
                                          options for mgmt
Gaurav Walia           3/9/2023     2.3   Prepare the market makers preference analysis for the COM
                                          exchange
Gaurav Walia           3/9/2023     0.6   Review the tracing analysis provided by TRM

Gaurav Walia           3/9/2023     1.8   Prepare the market makers preference analysis for the US exchange


Gioele Balmelli        3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                          Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                          (S&C), R. Metzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                          Status Quo memo
Gioele Balmelli        3/9/2023     0.2   Discussion with R. Gordon, K. Ramanathan, G. Balmelli, S. Coverick
                                          (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), R. Metzke, P.
                                          Gruhn (FTX) and PWP to coordinate FTX EU Status presentation
Heather Ardizzoni      3/9/2023     1.0   Call with H. Ardizzoni, R. Gordon (A&M) to review over corporate
                                          control evaluation
Heather Ardizzoni      3/9/2023     0.4   Call with H. Ardizzoni, K. Ramanathan, R. Gordon (A&M), J. LaBella
                                          and others (Alix Partners), D. O'Hara and others (S&C) to discuss
                                          FTX controls
Heather Ardizzoni      3/9/2023     1.4   Respond to S&C email regarding FTX control environment at all silos
                                          with specific examples
Heather Ardizzoni      3/9/2023     1.3   Draft narrative of risks and responsive FTX treasury controls at
                                          Ventures silo
Heather Ardizzoni      3/9/2023     2.2   Document examples of risks and controls for matrix for Ventures silo

Henry Chambers         3/9/2023     0.4   Attend to correspondence regarding imaging of Liquid environment

Henry Chambers         3/9/2023     0.9   Review of analysis regarding CEGA DeFi crypto holding


Henry Chambers         3/9/2023     0.7   Correspondence with EY Singapore regarding Quoine PTE auditor

Hudson Trent           3/9/2023     0.4   Discuss entity wind-down analysis with C. Arnett, S. Coverick, and H.
                                          Trent (A&M)
Igor Radwanski         3/9/2023     0.6   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                          tracing request




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Business Operations
Professional             Date     Hours     Activity
Igor Radwanski         3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                          updates
Igor Radwanski         3/9/2023     0.2   Call with A. Canale, P. McGrath, R. Rodriguez, and I. Radwanski
                                          (A&M) regarding specific token request
Igor Radwanski         3/9/2023     1.4   Investigate different blockchains to conclude activity of a specific
                                          token
Igor Radwanski         3/9/2023     0.2   Call with P. McGrath and I. Radwanski (A&M) regarding specific
                                          token request
Igor Radwanski         3/9/2023     1.7   Trace transfers between parties of interest regarding a token request


Igor Radwanski         3/9/2023     0.5   Call with I. Radwanski, A. Canale, M. Rodriguez, L. Iwanski, P.
                                          McGrath (A&M), N. Huh, and A. Alden (QE) regarding token tracing
                                          request
Igor Radwanski         3/9/2023     0.5   Call with I. Radwanski, M. Rodriguez, L. Iwanski (A&M) to discuss
                                          token tracing
James Lam              3/9/2023     1.8   Examine same-name tokens that have different token addresses


Jeffery Stegenga       3/9/2023     0.8   Review of order for the appt of a fee examiner and the fee examiner
                                          issued Standards Memorandum
Jeffery Stegenga       3/9/2023     0.5   Review of the latest draft of Ed Mosley's declaration in support of the
                                          KERP and follow-up
Jeffery Stegenga       3/9/2023     0.8   Review of / comments to Ed Mosley on the latest draft of the Key
                                          Employee Retention Motion
Jon Chan               3/9/2023     1.0   Teleconference with K. Baker, J. Chan and M. Sunkara (A&M)
                                          discussing data request workflow
Jon Chan               3/9/2023     1.4   Provide extracts for several accounts relating to transactions made
                                          on the platform
Jon Chan               3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                          J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                          to go through action items, pending requests and workstreams
Jonathan Marshall      3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                          J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                          to go through action items, pending requests and workstreams
Jonathan Zatz          3/9/2023     0.3   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter R
Jonathan Zatz          3/9/2023     0.1   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter Q
Jonathan Zatz          3/9/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter S, part 1
Jonathan Zatz          3/9/2023     1.2   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter T, part 1
Jonathan Zatz          3/9/2023     0.6   Review everyone's memo responses for S&C

Jonathan Zatz          3/9/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                          beginning with letter S, part 2


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Business Operations
Professional               Date     Hours     Activity
Jonathan Zatz            3/9/2023     0.2   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter S, part 3
Jonathan Zatz            3/9/2023     0.6   Update my memo responses for S&C


Jonathan Zatz            3/9/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                            beginning with letter P, part 2
Jonathan Zatz            3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                            J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Katie Montague           3/9/2023     0.2   Review request from S&C regarding potential wind down analyses


Kevin Baker              3/9/2023     1.0   Teleconference with K. Baker, J. Chan, and M. Sunkara (A&M)
                                            discussing data request workflow
Kevin Baker              3/9/2023     0.4   Teleconference with K. Baker, M. Haigis, C. Radis, M. Simkins, and
                                            L. Konig (A&M) discussing python account parsing process
Kevin Baker              3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                            J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Kevin Kearney            3/9/2023     1.3   Conference call with M. Rosenberg (Lincoln Park advisors), J. Ray
                                            (Greylock partners), K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                            Cohen, M. Wu (S&C), A. Titus, S. Glustein, K. Kearney (A&M)
                                            relating to venture investment updates
Kora Dusendschon         3/9/2023     1.4   Deep dive into open requests and on-hold items, reviewing and
                                            making updates, sending emails to team regarding on hold items
Kora Dusendschon         3/9/2023     0.9   Conduct searches in Relativity, review results and then provide
                                            insights to FTI re iDeals data
Kora Dusendschon         3/9/2023     0.6   Review information provided by FTX and send update requesting file
                                            and additional details. Send additional update re transfer of files
Kora Dusendschon         3/9/2023     0.7   Review information from FTI and provide response to individual
                                            questions
Kora Dusendschon         3/9/2023     0.2   Call with M. Flynn, K. Dusendschon, K. Ramanathan, P. Kwan, L.
                                            Konig (A&M) to discuss AWS data workstreams
Kora Dusendschon         3/9/2023     0.3   Request access for additional team members and sending
                                            communications
Kora Dusendschon         3/9/2023     0.7   Draft status updates for Tuesday and Thursday


Kora Dusendschon         3/9/2023     0.8   Provide oversight to database team, review incoming requests and
                                            anticipated timing
Kora Dusendschon         3/9/2023     0.2   Follow up on action items from internal call


Kora Dusendschon         3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                            J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Kumanan Ramanathan       3/9/2023     0.3   Call with K. Ramanathan, R. Gordon (A&M) to discuss EU
                                            management memorandum




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Professional             Date     Hours     Activity
Kumanan Ramanathan     3/9/2023     0.2   Discussion with R. Gordon, K. Ramanathan, G. Balmelli, S. Coverick
                                          (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), R. Metzke, P.
                                          Gruhn (FTX) and PWP to coordinate FTX EU Status presentation
Kumanan Ramanathan     3/9/2023     0.5   Review of Alameda on-chain activity to external party

Kumanan Ramanathan     3/9/2023     0.3   Review of Solana agreement and provide comments


Kumanan Ramanathan     3/9/2023     0.6   Review of Coinbase agreements and provide feedback

Kumanan Ramanathan     3/9/2023     0.7   Call with C. Jensen (S&C), M. Torkin (STBLaw), Y. Cavanaugh, and
                                          D. Albert (Solana) to discuss Solana matters
Kumanan Ramanathan     3/9/2023     0.2   Call with M. Flynn, K. Dusendschon, K. Ramanathan, P. Kwan, L.
                                          Konig (A&M) to discuss AWS data workstreams
Kumanan Ramanathan     3/9/2023     1.1   Review various data requests and responses

Kumanan Ramanathan     3/9/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M), R. Perubhatla, D. Chiu
                                          (FTX) to discuss developer work
Kumanan Ramanathan     3/9/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), R. Perubhatla, J. Sardinha
                                          (FTX) to discuss developer work
Kumanan Ramanathan     3/9/2023     0.3   Review of Coinbase fee agreements


Kumanan Ramanathan     3/9/2023     0.4   Call with R. Perubhatla (FTX) to discuss IT matters

Kumanan Ramanathan     3/9/2023     0.8   Revise Ren protocol agreements


Kumanan Ramanathan     3/9/2023     0.4   Call with H. Ardizzoni, K. Ramanathan, R. Gordon (A&M), J. LaBella
                                          and others (Alix Partners), D. O'Hara and others (S&C) to discuss
                                          FTX controls
Kumanan Ramanathan     3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                          Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                          (S&C), R. Metzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                          Status Quo memo
Kumanan Ramanathan     3/9/2023     0.7   Call with L. Callerio, M. Rodriguez, K. Ramanathan, Q. Lowdermilk,
                                          and A. Heric (A&M) to discuss crypto asset tracing request
Kumanan Ramanathan     3/9/2023     0.4   Provide changes to CySec responses on FTX EU


Lance Clayton          3/9/2023     0.6   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP, S&C re:
                                          Updates on Ledger Prime Status
Lance Clayton          3/9/2023     0.5   Call with L. Clayton, A. Liv-Feyman (A&M) regarding ventures team
                                          workstream updates
Larry Iwanski          3/9/2023     0.3   Call with L. Iwanski and L. Chamma (A&M) to discuss know-your-
                                          customer report final edits and review
Larry Iwanski          3/9/2023     0.5   Call with I. Radwanski, A. Canale, M. Rodriguez, L. Iwanski, P.
                                          McGrath (A&M), N. Huh, and A. Alden (QE) regarding token tracing
                                          request
Larry Iwanski          3/9/2023     0.5   Call with I. Radwanski, M. Rodriguez, L. Iwanski (A&M) to discuss
                                          token tracing

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Professional               Date     Hours     Activity
Leandro Chamma           3/9/2023     1.7   Draft of FTX EU know-your-customer report to implement comments
                                            sent by K. Ramanathan and L. Callerio (A&M)
Leandro Chamma           3/9/2023     0.3   Call with L. Iwanski and L. Chamma (A&M) to discuss know-your-
                                            customer report final edits and review
Leandro Chamma           3/9/2023     2.0   Draft of FTX EU know-your-customer report to implement edits
                                            pursuant to internal discussions
Leslie Lambert           3/9/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                            tracing request
Leslie Lambert           3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                            updates
Leslie Lambert           3/9/2023     0.7   Call with L. Callerio and L. Lambert (A&M) regarding crypto tracing
                                            process
Leslie Lambert           3/9/2023     0.7   Perform quality control review of tracing deliverables

Leslie Lambert           3/9/2023     1.3   Review approach, workpaper, and output detailing tracing request


Leslie Lambert           3/9/2023     0.9   Review and consider requests for data and potential tracing
                                            opportunities
Lorenzo Callerio         3/9/2023     0.7   Review the NEAR token tracing request documentation


Lorenzo Callerio         3/9/2023     0.7   Call with L. Callerio and L. Lambert (A&M) re: crypto tracing process

Lorenzo Callerio         3/9/2023     1.6   Review the documentation prepared by the tracing team related
                                            different requests received from S&C, A&M and other constituents
Lorenzo Callerio         3/9/2023     0.7   Call with L. Callerio, M. Rodriguez, K. Ramanathan, Q. Lowdermilk,
                                            and A. Heric (A&M) to discuss crypto asset tracing request
Louis Konig              3/9/2023     0.2   Call with M. Flynn, K. Dusendschon, K. Ramanathan, P. Kwan, L.
                                            Konig (A&M) to discuss AWS data workstreams
Louis Konig              3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                            J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Louis Konig              3/9/2023     0.4   Teleconference with K. Baker, M. Haigis, C. Radis, M. Simkins, and
                                            L. Konig (A&M) discussing python account parsing process
Manasa Sunkara           3/9/2023     1.0   Teleconference with K. Baker, J. Chan and M. Sunkara (A&M)
                                            discussing data request workflow
Manasa Sunkara           3/9/2023     1.1   Review a four part request from internal A&M regarding specific
                                            trading activity and determine whether that information is available
Manasa Sunkara           3/9/2023     0.7   Update the query logic for the fills data to limit the time period and
                                            specify a certain token
Manasa Sunkara           3/9/2023     0.7   Search the SQL database to confirm a transaction and the user
                                            account associated with the receiving address for S&C
Manasa Sunkara           3/9/2023     0.6   Correspondence with internal A&M to answer questions regarding
                                            the data exports for their requests
Manasa Sunkara           3/9/2023     0.9   Quality check SQL scripts and exports to prepare deliverables for
                                            S&C

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Manasa Sunkara        3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                         J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                         to go through action items, pending requests and workstreams
Mariah Rodriguez      3/9/2023     0.7   Call with L. Callerio, M. Rodriguez, K. Ramanathan, Q. Lowdermilk,
                                         and A. Heric (A&M) to discuss crypto asset tracing request
Mariah Rodriguez      3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                         Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                         updates
Mariah Rodriguez      3/9/2023     2.1   Research relativity for asset tracing ad-hoc request

Mariah Rodriguez      3/9/2023     0.2   Research wallet information in metabase for ad-hoc asset tracing
                                         request
Mariah Rodriguez      3/9/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                         data request and update for high priority request
Mariah Rodriguez      3/9/2023     0.6   Call with I. Radwanski and M. Rodriguez (A&M) to discuss asset
                                         tracing request
Mariah Rodriguez      3/9/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                         tracing request
Mariah Rodriguez      3/9/2023     0.5   Analyze blockchain for specific coin related to ad-hoc asset tracing
                                         request
Mariah Rodriguez      3/9/2023     0.5   Call with I. Radwanski, A. Canale, M. Rodriguez, L. Iwanski, P.
                                         McGrath (A&M), N. Huh, and A. Alden (QE) regarding token tracing
                                         request
Mariah Rodriguez      3/9/2023     0.5   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                         data request and update for high priority request
Mariah Rodriguez      3/9/2023     0.5   Call with I. Radwanski, M. Rodriguez, L. Iwanski (A&M) to discuss
                                         token tracing
Matthew Flynn         3/9/2023     0.7   Analyze aspects of a specific cold wallet system


Matthew Flynn         3/9/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M), R. Perubhatla, D. Chiu
                                         (FTX) to discuss developer work
Matthew Flynn         3/9/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M), R. Perubhatla, J. Sardinha
                                         (FTX) to discuss developer work
Matthew Flynn         3/9/2023     1.2   Update developer skill set and restart project plan


Matthew Flynn         3/9/2023     0.7   Review historical KYC vendor detail

Matthew Flynn         3/9/2023     0.2   Call with M. Flynn, K. Ramanathan (A&M), R. Perubhatla, N. Shay
                                         (FTX) to discuss developer work
Matthew Flynn         3/9/2023     0.2   Call with M. Flynn, K. Dusendschon, K. Ramanathan, P. Kwan, L.
                                         Konig (A&M) to discuss AWS data workstreams
Matthew Flynn         3/9/2023     0.8   Review Mycelium crypto holdings data


Matthew Flynn         3/9/2023     1.3   Analyze Circle internal user account activity




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Matthew Flynn           3/9/2023     0.4   Update MYC analysis presentation and data pack

Matthew Flynn           3/9/2023     0.4   Update stablecoin by blockchain presentation


Matthew Warren          3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                           updates
Maximilian Simkins      3/9/2023     0.4   Teleconference with K. Baker, M. Haigis, C. Radis, M. Simkins, and
                                           L. Konig (A&M) discussing python account parsing process
Maximilian Simkins      3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                           J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                           to go through action items, pending requests and workstreams
Maya Haigis             3/9/2023     0.3   Update Excel splitting task based on requests


Maya Haigis             3/9/2023     0.4   Teleconference with K. Baker, M. Haigis, C. Radis, M. Simkins, and
                                           L. Konig (A&M) discussing python account parsing process
Patrick McGrath         3/9/2023     0.2   Call with A. Canale, P. McGrath, and I. Radwanski (A&M) regarding
                                           specific token request
Patrick McGrath         3/9/2023     0.2   Call with P. McGrath and I. Radwanski (A&M) regarding specific
                                           token request
Patrick McGrath         3/9/2023     0.5   Call with I. Radwanski, A. Canale, M. Rodriguez, L. Iwanski, P.
                                           McGrath (A&M), N. Huh, and A. Alden (QE) regarding token tracing
                                           request
Peter Kwan              3/9/2023     0.5   KYC-AML Workstream Coordination and Planning


Peter Kwan              3/9/2023     1.5   Develop and test queries to pull data in relation to inquiry by various
                                           investigative bodies
Peter Kwan              3/9/2023     1.7   Continue Address Tracking Master database migration and data
                                           refresh
Peter Kwan              3/9/2023     0.4   Meeting with A&M Data team regarding process planning,
                                           outstanding requests outputs, and steps
Peter Kwan              3/9/2023     1.6   Analyze data and revise queries to ensure accuracy and
                                           reasonability of outputs
Peter Kwan              3/9/2023     0.2   Call with M. Flynn, K. Dusendschon, K. Ramanathan, P. Kwan, L.
                                           Konig (A&M) to discuss AWS data workstreams
Quinn Lowdermilk        3/9/2023     2.2   Update analysis for tracing request surrounding origination of funds

Quinn Lowdermilk        3/9/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) discussing analysis
                                           steps for crypto tracing request
Quinn Lowdermilk        3/9/2023     0.7   Call with L. Callerio, M. Rodriguez, K. Ramanathan, Q. Lowdermilk,
                                           and A. Heric (A&M) to discuss crypto asset tracing request
Quinn Lowdermilk        3/9/2023     0.2   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                           data request and update for high priority request
Quinn Lowdermilk        3/9/2023     2.4   Summarize key findings surrounding request to trace origination of
                                           funds



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Quinn Lowdermilk      3/9/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                         Rodriguez, L. Lambert (A&M) regarding crypto tracing workstream
                                         updates
Robert Gordon         3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                         Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                         (S&C), R. Matzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                         Status Quo memo
Robert Gordon         3/9/2023     0.3   Call with D. Johnston, K. Ramanathan, R. Gordon(A&M) to discuss
                                         EU management memorandum
Robert Gordon         3/9/2023     0.2   Discussion with R. Gordon, K. Ramanathan, G. Balmelli, S. Coverick
                                         (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill (S&C), R. Matzke, P.
                                         Gruhn (FTX) and PWP to coordinate FTX EU Status presentation
Robert Gordon         3/9/2023     1.0   Call with H. Ardizzoni, R. Gordon (A&M) to review over corporate
                                         control evaluation
Robert Gordon         3/9/2023     0.4   Call with H. Ardizzoni, K. Ramanathan, R. Gordon (A&M), J. LaBella
                                         and others (Alix Partners), D. O'Hara and others (S&C) to discuss
                                         FTX controls
Robert Johnson        3/9/2023     1.3   Installation of necessary certificates and drivers to allow for the use of
                                         PowerBI on both analysis servers
Robert Johnson        3/9/2023     0.8   Respond to request for Ventures data from Jan 2022 - Jun 2022

Robert Johnson        3/9/2023     0.8   Adjust instance size for two Alameda servers to reduce cost

Robert Johnson        3/9/2023     0.4   Monitor progress of alameda export to s3


Robert Johnson        3/9/2023     1.4   Review running queries to identify instances for optimization

Robert Johnson        3/9/2023     1.2   Restoration of additional MySQL database relating to bank transfers


Robert Johnson        3/9/2023     0.2   Communication with Alix Partners regarding meeting to discuss
                                         database layouts and information
Robert Johnson        3/9/2023     0.5   Daily meeting with M. Simkins, K. Dusendschon, J. Zatz, R. Johnson,
                                         J. Chan, K. Baker, M. Sunkara, C. Radis, J. Marshall, L. Konig (A&M)
                                         to go through action items, pending requests and workstreams
Sean Wilson           3/9/2023     1.9   Review summary of WRS 382 analysis for memo


Steve Coverick        3/9/2023     0.4   Discuss entity wind-down analysis with C. Arnett, S. Coverick, and H.
                                         Trent (A&M)
Steve Coverick        3/9/2023     1.4   Review and provide comments on market maker transaction analysis


Steve Coverick        3/9/2023     0.1   Call with E. Mosley, R. Gordon, K. Ramanathan, D, Johnston, G.
                                         Balmelli, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli, T. Hill
                                         (S&C), R. Matzke, P. Gruhn (FTX) and PWP to coordinate FTX EU
                                         Status Quo memo
Steven Glustein       3/9/2023     0.6   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP, S&C re:
                                         Updates on Ledger Prime Status




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Professional             Date     Hours     Activity
Steven Glustein        3/9/2023     1.1   Call with K. Flinn, M. Rahman, W. Syed re: Sofa and Schedules
                                          relating to venture investments
Steven Glustein        3/9/2023     0.3   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                          and investments masters analysis updates
Steven Glustein        3/9/2023     1.3   Conference call with M. Rosenberg (Lincoln Park advisors), J. Ray
                                          (Greylock partners), K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                          Cohen, M. Wu (S&C), A. Titus, S. Glustein, K. Kearney (A&M)
                                          relating to venture investment updates
Vinny Rajasekhar       3/9/2023     0.3   Call with A. Sivapalu and V. Rajasekhar (A&M) regarding TRM
                                          source data and power BI tool
Alec Liv-Feyman       3/10/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                          tracker updates
Alec Liv-Feyman       3/10/2023     2.4   Update token tracker sets 21-30 regarding compiled information from
                                          legal agreements
Alec Liv-Feyman       3/10/2023     1.5   Update token tracker sets 41-50 regarding compiled information from
                                          legal agreements
Alec Liv-Feyman       3/10/2023     2.3   Update token tracker sets 11-20 regarding compiled information from
                                          legal agreements
Alec Liv-Feyman       3/10/2023     0.9   Update token tracker sets 31-40 regarding compiled information from
                                          legal agreements
Alec Liv-Feyman       3/10/2023     2.1   Review investments tracker to update relevant tabs for contacts


Alec Liv-Feyman       3/10/2023     1.9   Update token tracker sets 1-10 regarding compiled information from
                                          legal agreements
Andrew Heric          3/10/2023     0.6   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                          data request and update for high priority request
Andrew Heric          3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Andrew Heric          3/10/2023     0.3   Call with Q. Lowdermilk, and A. Heric (A&M) discussing additional
                                          data supplied for request to trace funds
Andrew Heric          3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                          Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                          M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                          wallet group overview
Andrew Heric          3/10/2023     1.2   Conduct quality assurance review of crypto tracing request 72
                                          deliverable related to internal account analysis
Andrew Heric          3/10/2023     1.1   Trace origins of funds related to Tether transfers for crypto tracing
                                          request 72
Andrew Heric          3/10/2023     0.7   Finalize and note tracing findings for crypto tracing request 72 for
                                          final review
Andrew Heric          3/10/2023     1.6   Update the summary and TRM visuals for internal account analysis
                                          request 72
Andrew Heric          3/10/2023     1.7   Adjust summary tables and graphs within the deliverable of internal
                                          account analysis request 72




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Austin Sloan            3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                            Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                            Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                            pending requests and workstream
Breanna Price           3/10/2023     0.1   Continue the review of FTX's FBO bank accounts

Breanna Price           3/10/2023     3.3   Continue the review of FTX's FBO bank accounts


Breanna Price           3/10/2023     3.3   Start the review of FTX's FBO bank accounts

Cameron Radis           3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                            Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                            Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                            pending requests and workstream
Cole Broskay            3/10/2023     0.5   Call with between H. Ardizzoni, K. Kearney, C. Broskay, J. Sequeira
                                            (A&M) to review and discuss of corporate controls
Cullen Stockmeyer       3/10/2023     0.6   Update professional tracker related to crypto-asset tracing


Cullen Stockmeyer       3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                            Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                            M. Rodriguez, L. Iwanski (A&M) re: Metabase training and wallet
                                            group overview
Cullen Stockmeyer       3/10/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process

David Johnston          3/10/2023     0.3   Call with D. Johnston, K. Ramanathan, R. Gordon (A&M) to discuss
                                            EU management memorandum
David Johnston          3/10/2023     0.8   Prepare for call with A&M team on FTX EU Options

David Nizhner           3/10/2023     1.2   Working session regarding consolidated transaction validation


David Nizhner           3/10/2023     0.4   Coordinate with internal team regarding professional entries

David Slay              3/10/2023     1.3   Update PMO deck with submitted workstream slides

Ed Mosley               3/10/2023     0.3   Call with E. Mosley, S. Coverick (A&M) re: USDC situation


Gaurav Walia            3/10/2023     0.9   Review the updated TRM hot wallet analysis

Gaurav Walia            3/10/2023     0.5   Call with L. Goldman, M. Evans (AlixPartners), G. Walia, S. Coverick,
                                            K. Ramanathan (A&M) to discuss Alameda and FTX relationship
Gaurav Walia            3/10/2023     0.3   Teleconference with L. Ryan and G. Walia (A&M) regarding 90 day
                                            crypto activity analysis
Gaurav Walia            3/10/2023     2.1   Review the latest Alameda components analysis


Gaurav Walia            3/10/2023     1.6   Update the market maker analysis for latest set of data




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Gioele Balmelli        3/10/2023     1.0   Analysis of FTX EU transaction data

Gioele Balmelli        3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C) re: FTX EU liability matter
Heather Ardizzoni      3/10/2023     1.3   Draft narrative of risks and responsive FTX treasury controls at
                                           Dotcom silo
Heather Ardizzoni      3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C) re: FTX EU liability matter
Heather Ardizzoni      3/10/2023     0.5   Call with between H. Ardizzoni, K. Kearney, C. Broskay, J. Sequeira
                                           (A&M) to review and discuss of corporate controls
Heather Ardizzoni      3/10/2023     0.3   Review and discussion of corporate controls between H. Ardizzoni,
                                           K. Kearney, R. Gordon (A&M)
Henry Chambers         3/10/2023     0.4   Attend to correspondence regarding Sendgrid history for Blockfolio
                                           users
Henry Chambers         3/10/2023     1.6   Consideration and planning of next steps for Liquid Global


Henry Chambers         3/10/2023     0.5   Call with S. Melamed, J. Masters (FTX) H. Chambers, K.
                                           Ramanathan (A&M), N. Nussbaum (PWP) regarding FTX.com code
                                           licensing
Henry Chambers         3/10/2023     0.3   Call with S. Jadav, J. Gillon (FTI), K. Dusendschon, H. Chambers
                                           (A&M), Z. Flegenheimer (S&C) regarding Liquid DB imaging
Igor Radwanski         3/10/2023     2.7   Trace transfer activity using on-chain software regarding a specific
                                           token Trace request
Igor Radwanski         3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Igor Radwanski         3/10/2023     2.8   Analyze datasets to identify specific transactions of interest regarding
                                           a crypto tracing request
Igor Radwanski         3/10/2023     2.4   Complete final deliverable regarding a previous token tracing request


Jon Chan               3/10/2023     0.3   Call with M. Sunkara, K. Kearney, J. Chan, and K. Baker (A&M) on
                                           crypto transaction tracing
Jon Chan               3/10/2023     1.3   Investigate activity made from a wallet and identify if there are any
                                           accounts relating to that wallet
Jon Chan               3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                           Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                           Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                           pending requests and workstream
Jonathan Marshall      3/10/2023     0.2   Discuss database and servers with AWS team

Jonathan Marshall      3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                           Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                           Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                           pending requests and workstream




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Jonathan Marshall        3/10/2023     0.4   Teleconference with R. Johnson, J. Marshall, K. Dusendschon (A&M)
                                             and R. Perubhatla (FTX) to discuss status of AWS requests
Jonathan Zatz            3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                             Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                             Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                             pending requests and workstream
Jonathan Zatz            3/10/2023     0.1   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter X
Jonathan Zatz            3/10/2023     0.3   Call between M. Flynn, K. Ramanathan, and J. Zatz (A&M) to discuss
                                             Alameda AWS work
Jonathan Zatz            3/10/2023     0.7   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter U
Jonathan Zatz            3/10/2023     1.2   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter T, part 5
Jonathan Zatz            3/10/2023     0.8   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter W
Jonathan Zatz            3/10/2023     0.1   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter V
Jonathan Zatz            3/10/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter T, part 3
Jonathan Zatz            3/10/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter T, part 2
Jonathan Zatz            3/10/2023     1.5   Manually categorizing tables as part of Alameda data profiling -
                                             beginning with letter T, part 4
Joseph Sequeira          3/10/2023     0.5   Call with between H. Ardizzoni, K. Kearney, C. Broskay, J. Sequeira
                                             (A&M) to review and discuss of corporate controls
Julian Lee               3/10/2023     0.2   Review and update FBO bank account tracker


Julian Lee               3/10/2023     0.5   Identify FBO accounts from QuickBooks data

Kevin Baker              3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                             Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                             Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                             pending requests and workstreams
Kevin Baker              3/10/2023     0.3   Call with M. Sunkara, K. Kearney, J. Chan, and K. Baker (A&M) on
                                             crypto transaction tracing
Kevin Baker              3/10/2023     2.1   Provide customer relationship lookup to creditors list for CMS team

Kevin Baker              3/10/2023     1.7   Investigate specific transactions related to Deltec trading transactions


Kevin Kearney            3/10/2023     0.3   Review and discussion of corporate controls between H. Ardizzoni,
                                             K. Kearney, R. Gordon (A&M)
Kevin Kearney            3/10/2023     0.3   Call with M. Sunkara, K. Kearney, J. Chan, and K. Baker (A&M) on
                                             Alameda crypto transaction tracing
Kevin Kearney            3/10/2023     0.5   Call with between H. Ardizzoni, K. Kearney, C. Broskay, J. Sequeira
                                             (A&M) to review and discuss of corporate controls


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Kora Dusendschon      3/10/2023     1.0   Teleconference with B. Bangerter, R. Perubhatla (FTX), A. Vyas, C.
                                          Rowe, B. McMahon (FTI), E. Newman, S. Dooley (S&C), and K.
                                          Dusendschon (A&M) to discuss data collections and pending action
                                          items
Kora Dusendschon      3/10/2023     0.9   Correspondence with K. Baker (A&M) re: KYC tables, review
                                          normalization and next steps
Kora Dusendschon      3/10/2023     0.3   Compile and posting updates, compiling tracker and
                                          distributing/posting as appropriate
Kora Dusendschon      3/10/2023     0.2   Communications with S. Stephens (FTX) via email and follow up

Kora Dusendschon      3/10/2023     0.3   Call with S. Jadav, J. Gillon (FTI), K. Dusendschon, H. Chambers
                                          (A&M), Z. Flegenheimer (S&C) re Liquid DB imaging
Kora Dusendschon      3/10/2023     0.4   Review collection questionnaire from FTI and providing to H.
                                          Chambers
Kora Dusendschon      3/10/2023     0.4   Provide oversight to database team, review incoming requests and
                                          anticipated timing
Kora Dusendschon      3/10/2023     0.4   Teleconference with R. Johnson, J. Marshall, K. Dusendschon (A&M)
                                          and R. Perubhatla (FTX) to discuss status of AWS requests
Kumanan Ramanathan    3/10/2023     0.3   Call between M. Flynn, K. Ramanathan, and J. Zatz (A&M) to discuss
                                          Alameda AWS work
Kumanan Ramanathan    3/10/2023     0.5   Call with L. Goldman, M. Evans (AlixPartners), G. Walia, S. Coverick,
                                          K. Ramanathan (A&M) to discuss Alameda and FTX relationship
Kumanan Ramanathan    3/10/2023     0.3   Call with M. Schmenk, L. DeMeco, W. Choon (Avalanche Labs), J.
                                          Croke (S&C) and Y. Yogev (Sygnia) to discuss crypto matters
Kumanan Ramanathan    3/10/2023     0.5   Correspond with market makers and Coinbase trading advisory team
                                          to circulate bids on stablecoin to mitigate risk, including relevant
                                          research
Kumanan Ramanathan    3/10/2023     0.6   Call with M. Gurevich, E. Gaevoy (Wintermute), J. Ray (FTX), S.
                                          Coverick, K. Ramanathan (A&M), K. Hansen (PH), F. Risler (FTI) to
                                          discuss crypto matters
Kumanan Ramanathan    3/10/2023     0.6   Review of market maker OTC agreement and KYC requirements


Kumanan Ramanathan    3/10/2023     0.5   Call with W. Huang, A. Armstrong (Cumberland) to discuss trading
                                          services and interest
Kumanan Ramanathan    3/10/2023     0.4   Call with J. Petiford (S&C) to discuss Coinbase agreement


Kumanan Ramanathan    3/10/2023     0.4   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M), and A.
                                          Dietderich (S&C) to discuss stablecoin matters
Kumanan Ramanathan    3/10/2023     0.8   Various correspondences with M. Wang (BitGo) to coordinate cold
                                          storage test signings for stablecoin trades
Kumanan Ramanathan    3/10/2023     0.3   Call with D. Johnston, K. Ramanathan, R. Gordon(A&M) to discuss
                                          EU management memorandum
Kumanan Ramanathan    3/10/2023     0.5   Call with J. Ray (FTX), S. Coverick, K. Ramanathan (A&M), A.
                                          Dietderich (S&C), J. de Brignac, F. Risler (FTI), K. Hansen, E. Gilad
                                          (PH) to discuss stablecoin matters
Kumanan Ramanathan    3/10/2023     0.4   Call with A. Armstrong, C. Pizzola, C. Algar, and W. Huang
                                          (Cumberland) to discuss trading matters

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Kumanan Ramanathan     3/10/2023     0.5   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss crypto
                                           workstream deliverables
Kumanan Ramanathan     3/10/2023     0.8   Call with R. Perubhatla (FTX) and M. Wang (BitGo) to discuss
                                           signing transactions
Kumanan Ramanathan     3/10/2023     0.5   Call between M. Flynn, K. Ramanathan (A&M), G. Jackson, N. Shay
                                           (FTX) to discuss front-end development work
Kumanan Ramanathan     3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C) regarding FTX EU liability matter
Kumanan Ramanathan     3/10/2023     0.5   Call with S. Melamed, J. Masters (FTX) H. Chambers, K.
                                           Ramanathan (A&M), N. Nussbaum (PWP) re FTX.com code licensing
Larry Iwanski          3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C) regarding FTX EU liability matter
Larry Iwanski          3/10/2023     1.6   Communications related to the KYC report, edits, and finalization

Larry Iwanski          3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Larry Iwanski          3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                           Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                           M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                           wallet group overview
Larry Iwanski          3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C)
Larry Iwanski          3/10/2023     0.7   Call with L. Chamma, L. Iwanski (A&M) to discuss KYC report

Larry Iwanski          3/10/2023     2.1   Review and edit of KYC report to send to S&C


Laureen Ryan           3/10/2023     0.3   Teleconference with L. Ryan and G. Walia (A&M) regarding 90 day
                                           crypto activity analysis
Leandro Chamma         3/10/2023     1.4   Draft of FTX EU know-your-customer report based on discussions
                                           with S&C
Leandro Chamma         3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                           P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                           Simpson, T. Hill, and others (S&C) regarding FTX EU liability matter
Leandro Chamma         3/10/2023     0.7   Call with L. Chamma, L. Iwanski (A&M) to discuss KYC report

Leslie Lambert         3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Leslie Lambert         3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                           Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                           M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                           wallet group overview
Leslie Lambert         3/10/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding overview of
                                           request information and next steps


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Leslie Lambert           3/10/2023     1.2   Review of documentation related to ongoing crypto tracing efforts

Leslie Lambert           3/10/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                             tracing request
Leslie Lambert           3/10/2023     0.8   Perform review of deliverable and underlying support documentation
                                             for tracing of funds
Lorenzo Callerio         3/10/2023     0.8   Review the Deltec deck provided by M. Rodriguez (A&M)

Lorenzo Callerio         3/10/2023     1.6   Review and finalize the latest EU KYC deck


Lorenzo Callerio         3/10/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process

Lorenzo Callerio         3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                             Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                             M. Rodriguez, L. Iwanski (A&M) re: Metabase training and wallet
                                             group overview
Louis Konig              3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                             Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                             Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                             pending requests and workstream
Louis Konig              3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                             Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                             M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                             wallet group overview
Louis Konig              3/10/2023     0.5   Call with L. Lambert, R. Johnson, L. Konig, Q. Lowdermilk, A. Heric,
                                             I. Radwanski, M. Warren, C. Stockmeyer (A&M) regarding wallet
                                             address database and Metabase
Manasa Sunkara           3/10/2023     0.7   Use the Linux machine to calculate the amount of fills data for a
                                             certain time period related to an Alameda account
Manasa Sunkara           3/10/2023     2.7   Update the query logic and exports for a previous request to include
                                             sub account details and creation date of the transaction for internal
                                             A&M
Manasa Sunkara           3/10/2023     1.4   Correspondence with internal A&M and S&C to confirm and discuss
                                             their requests
Manasa Sunkara           3/10/2023     0.8   Correspondence with S&C to confirm their requests and answer
                                             questions
Manasa Sunkara           3/10/2023     0.9   Quality check queries and exports and prepare deliverables for
                                             internal A&M and S&C
Manasa Sunkara           3/10/2023     0.3   Call with M. Sunkara, K. Kearney, J. Chan, and K. Baker (A&M) on
                                             crypto transaction tracing
Manasa Sunkara           3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                             Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                             Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                             pending requests and workstream
Mariah Rodriguez         3/10/2023     0.6   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                             data request and update for high priority request




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Mariah Rodriguez        3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Mariah Rodriguez        3/10/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) to discuss asset
                                            tracing request
Mariah Rodriguez        3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                            Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                            M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                            wallet group overview
Mariah Rodriguez        3/10/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Mariah Rodriguez        3/10/2023     0.8   Research and reviewing ad-hoc asset tracing request for S&C

Matthew Flynn           3/10/2023     0.8   Analyze FTX.US Circle transfer activity on chain

Matthew Flynn           3/10/2023     0.7   Coordination with developer work plan


Matthew Flynn           3/10/2023     0.9   Update TRYB presentation and supporting Databook

Matthew Flynn           3/10/2023     1.1   Investigate KYC app for U.S. Web


Matthew Flynn           3/10/2023     0.9   Update crypto workstream project plan

Matthew Flynn           3/10/2023     0.7   Update crypto workplan headcount


Matthew Flynn           3/10/2023     0.8   Review updated MYC detail on the exchange

Matthew Flynn           3/10/2023     0.3   Call between M. Flynn, K. Ramanathan, and J. Zatz (A&M) to discuss
                                            Alameda AWS work
Matthew Flynn           3/10/2023     0.5   Call between M. Flynn, K. Ramanathan (A&M), G. Jackson, N. Shay
                                            (FTX) to discuss front-end development work
Matthew Flynn           3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                            P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                            Simpson, T. Hill, and others (S&C) regarding FTX EU liability matter
Matthew Hellinghausen   3/10/2023     0.5   Machine translation of foreign language filesMachine translation of
                                            foreign language filesMachine translation of foreign language
                                            filesMachine translation of foreign language filesMachine
                                            translation of foreign language files
Matthew Hellinghausen   3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                            Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                            Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                            pending requests and workstream
Matthew Warren          3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Matthew Warren          3/10/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding overview of
                                            request information and next steps


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Matthew Warren          3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                            Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                            M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                            wallet group overview
Maximilian Simkins      3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                            Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                            Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                            pending requests and workstream
Maya Haigis             3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                            Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                            Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                            pending requests and workstream
Peter Kwan              3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                            Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                            M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                            wallet group overview
Peter Kwan              3/10/2023     0.3   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/10/2023     0.8   Analyze data and revise various queries


Peter Kwan              3/10/2023     0.6   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/10/2023     0.4   KYC-AML Workstream Coordination and Planning

Peter Kwan              3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                            P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                            Simpson, T. Hill, and others (S&C) regarding FTX EU liability matter
Peter Kwan              3/10/2023     0.5   Call with L. Lambert, R. Johnson, L. Konig, Q. Lowdermilk, A. Heric,
                                            I. Radwanski, M. Warren, C. Stockmeyer (A&M) regarding wallet
                                            address database and Metabase
Peter Kwan              3/10/2023     0.7   Conduct Address Tracking Master database migration and data
                                            refresh
Quinn Lowdermilk        3/10/2023     0.5   Update deliverable summarizing findings surrounding the source of
                                            funds
Quinn Lowdermilk        3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                            Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                            M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                            wallet group overview
Quinn Lowdermilk        3/10/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Quinn Lowdermilk        3/10/2023     0.6   Call with Q. Lowdermilk, A. Heric, and M. Rodriguez (A&M) regarding
                                            data request and update for high priority request
Quinn Lowdermilk        3/10/2023     0.3   Call with Q. Lowdermilk, and A. Heric (A&M) discussing additional
                                            data supplied for request to trace funds
Quinn Lowdermilk        3/10/2023     1.4   Analyze fill information to calculate net flow

Quinn Lowdermilk        3/10/2023     0.6   Quality control and turn comments on deliverable surrounding tracing
                                            of funds

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Professional             Date     Hours     Activity
Quinn Lowdermilk      3/10/2023     1.9   Aggregate new data from A&M team into analysis

Robert Gordon         3/10/2023     0.3   Review and discussion of corporate controls between H. Ardizzoni,
                                          K. Kearney, R. Gordon (A&M)
Robert Gordon         3/10/2023     0.3   Call with D. Johnston, K. Ramanathan, R. Gordon(A&M) to discuss
                                          EU management memorandum
Robert Gordon         3/10/2023     0.6   Review latest draft of the controls memorandum for JRR report

Robert Gordon         3/10/2023     0.2   Call between H. Ardizzoni, R. Gordon, K. Ramanathan, G. Balmelli,
                                          P. Kwan, L. Iwanski, L. Chamma, M. Flynn, S. Coverick (A&M) and E.
                                          Simpson, T. Hill, and others (S&C) re: FTX EU liability matter
Robert Johnson        3/10/2023     2.9   Continue upgrades to Alameda database servers

Robert Johnson        3/10/2023     2.8   Prepare upgrades to Alameda database servers

Robert Johnson        3/10/2023     0.6   Call with I. Radwanski, L. Lambert, C. Stockmeyer, L. Konig, A.
                                          Heric, Q. Lowdermilk, R. Johnson, P. Kwan, L. Callerio, M. Warren,
                                          M. Rodriguez, L. Iwanski (A&M) regarding Metabase training and
                                          wallet group overview
Robert Johnson        3/10/2023     2.7   Build foreign data wrappers for five Alameda databases, and
                                          associated testing
Robert Johnson        3/10/2023     0.4   Teleconference with R. Johnson, J. Marshall, K. Dusendschon (A&M)
                                          and R. Perubhatla (FTX) to discuss status of AWS requests
Robert Johnson        3/10/2023     2.3   Create and testing foreign data wrappers for additional five Alameda
                                          databases
Robert Johnson        3/10/2023     1.6   Prepare updates and upgrades to Alameda redash server

Robert Johnson        3/10/2023     0.5   Daily meeting with P. Kwan, K. Baker, J. Marshall, R. Johnson, A.
                                          Sloan, J. Zatz, M. Simkins, M. Hellinghausen, C. Radis, M. Haigis, L.
                                          Konig, J. Chan, M. Sunkara (A&M) to go through action items,
                                          pending requests and workstreams
Robert Johnson        3/10/2023     0.7   Updates to banking data in metabase


Robert Johnson        3/10/2023     0.7   Updates to data mapping, and data access mapping

Robert Johnson        3/10/2023     1.1   Restore backup of Alameda production database 05

Steve Coverick        3/10/2023     0.5   Call with L. Goldman, M. Evans (AlixPartners), G. Walia, S. Coverick,
                                          K. Ramanathan (A&M) to discuss Alameda and FTX relationship
Steve Coverick        3/10/2023     0.5   Discuss USDC situation with K. Ramanathan (A&M)

Steve Coverick        3/10/2023     0.3   Call with E. Mosley, S. Coverick (A&M) re: USDC situation


Steve Coverick        3/10/2023     1.3   Review documentation relevant to USDC matter

Steve Coverick        3/10/2023     0.3   Call re: USDC situation with J. Ray (FTX), K. Ramanathan (A&M), B.
                                          Bromberg, S. Simms, F. Risler (FTI), Alameda loan counterparty team

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Steve Coverick            3/10/2023     0.2   Call re: FTX EU liability matter with H. Ardizzoni, R. Gordon, K.
                                              Ramanathan, G. Balmelli, P. Kwan, L. Iwanski, L. Chamma, M. Flynn,
                                              S. Coverick (A&M) and E. Simpson, T. Hill, and others (S&C)
Steve Coverick            3/10/2023     1.8   Monitor USDC situation on social media / Ethernet

Steven Glustein           3/10/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                              tracker updates
Summer Li                 3/10/2023     0.2   Correspondence with J. Lee (A&M) regarding the updated bank
                                              tracker
Vinny Rajasekhar          3/10/2023     1.1   Update distribution copy for relevant feedback


William Walker            3/10/2023     2.4   Review NFT valuation documents

Breanna Price             3/11/2023     0.7   Complete the review of FTX's FBO bank accounts

Emily Hoffer              3/11/2023     0.1   Continue to review and update FBO bank account tracker


Gaurav Walia              3/11/2023     0.2   Update the market maker preference analysis

Gaurav Walia              3/11/2023     0.3   Review the TRM bill and provide feedback


Gaurav Walia              3/11/2023     0.7   Review the latest stablecoin analysis

Heather Ardizzoni         3/11/2023     2.1   Draft narrative of risks and responsive FTX treasury controls at
                                              Alameda silo
Jon Chan                  3/11/2023     0.6   Provide reports for accounts based on jurisdiction state

Jon Chan                  3/11/2023     1.9   Develop python script to split data based on a column in a
                                              spreadsheet
Jonathan Zatz             3/11/2023     0.6   Import data profiling work thus far into database


Jonathan Zatz             3/11/2023     0.8   Prepare Sygnia Alameda analysis for import into database

Jonathan Zatz             3/11/2023     1.3   Database scripting related to summarizing Alameda data profiling
                                              results
Kumanan Ramanathan        3/11/2023     0.5   Call with K. Hansen (PH), J. Ray (FTX), S. Coverick, K. Ramanathan
                                              (A&M), J. de Brignac, F. Risler (FTI) to discuss stablecoin
                                              conversions
Kumanan Ramanathan        3/11/2023     0.4   Distribute Coinbase exchange agreement and circulate to S&C for
                                              review and approval to sign
Kumanan Ramanathan        3/11/2023     3.0   Review on-chain analytics and research online activity on de-pegging


Kumanan Ramanathan        3/11/2023     0.9   Review bridging options for stablecoin to ERC-20

Kumanan Ramanathan        3/11/2023     0.8   Review of invoice for TRM Labs and provide approvals



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Manasa Sunkara            3/11/2023     1.2   Query and extract the users' trades, fills, orders, activity records,
                                              borrows, lends and positions data
Rob Esposito              3/11/2023     0.3   Prepare detailed updates to the bankruptcy reporting and calendar
                                              data within the PMO presentation
Robert Johnson            3/11/2023     0.6   Adjust timeouts for idle queries across databases

Robert Johnson            3/11/2023     2.3   Troubleshoot upgrade of Alameda Prod db 05

Steve Coverick            3/11/2023     0.8   Call re: USDC exposure with K. Hansen (PH), J. DeBrignac (FTI), J.
                                              Ray (FTX), K. Ramanathan (A&M)
Alec Liv-Feyman           3/12/2023     2.0   Analyze token tracker to determine vesting schedule updated reports
                                              for new agreements
Alec Liv-Feyman           3/12/2023     2.0   Update investment tracker for new contacts to reach out to regarding
                                              crypto assets
Chris Arnett              3/12/2023     0.6   Update and edit PMO deck for current workstream status

David Nizhner             3/12/2023     0.9   Correspond regarding philanthropy disbursements


David Slay                3/12/2023     1.0   Correspond with BofA for FTX lockbox access

Gaurav Walia              3/12/2023     2.4   Prepare the detailed slides for the Alameda .COM accounts

Gaurav Walia              3/12/2023     2.8   Prepare the trading activity analysis for the Alameda .COM accounts


Gaurav Walia              3/12/2023     0.4   Review the latest stablecoin analysis and provide feedback

Gaurav Walia              3/12/2023     0.9   Prepare the executive summary for the Alameda .COM accounts
                                              detail presentation
Hudson Trent              3/12/2023     0.6   Correspond regarding subsidiary wind down analysis with PWP

James Cooper              3/12/2023     0.2   Review of weekly PMO draft materials and provide comments


Jonathan Zatz             3/12/2023     1.4   Database scripting related to identifying duplicate Alameda tables

Jonathan Zatz             3/12/2023     0.6   Database scripting related to summarizing Alameda data profiling
                                              results
Jonathan Zatz             3/12/2023     0.7   Test and debug scripts to identify duplicate Alameda tables


Jonathan Zatz             3/12/2023     1.2   Database scripting relating to merging Alameda data profiling results
                                              into fewer views
Julian Lee                3/12/2023     0.2   Review of FBO bank account tracker


Kumanan Ramanathan        3/12/2023     0.5   Review and revise tracking sheet for proposed transactions




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Kumanan Ramanathan     3/12/2023     0.9   Review impacts of Signature bank to potential trading avenues

Kumanan Ramanathan     3/12/2023     0.9   Various correspondences with Coinbase's trading advisory service
                                           for guidance on trades
Kumanan Ramanathan     3/12/2023     0.4   Review updated Coinbase final markup

Kumanan Ramanathan     3/12/2023     0.7   Review immediate issues with Solana network

Kumanan Ramanathan     3/12/2023     0.8   Various calls with R. Perubhatla (FTX) and BitGo team to conduct
                                           cold wallet transfers
Kumanan Ramanathan     3/12/2023     0.6   Review KYC/AML report and provide feedback

Larry Iwanski          3/12/2023     1.4   Review and edit KYC report for use in management meeting


Matthew Flynn          3/12/2023     0.6   Prepare background report on a specific process

Robert Johnson         3/12/2023     1.1   Migration of databases between VPC to clean up IP CIDR blocks


Vinny Rajasekhar       3/12/2023     0.9   Prepare USDT summary table for internal team call

Aly Helal              3/13/2023     3.1   Collect and document payments by FTX Foundation / FTX
                                           Philanthropy through Wise inc
Aly Helal              3/13/2023     2.3   Search payments by FTX Foundation / FTX Philanthropy through
                                           Transferwise (Wise Inc), an online payment processor
Anan Sivapalu          3/13/2023     0.4   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                           the latest TRM hot wallet data
Andrew Heric           3/13/2023     0.9   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                           methodology and approach to venture request
Andrew Heric           3/13/2023     0.4   Call with L. Lambert, A. Heric, C. Stockmeyer, L. Callerio, L. Iwanski,
                                           M. Rodriguez (A&M) regarding asset tracing request process
Andrew Heric           3/13/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                           team priorities and dynamics
Andrew Heric           3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Andrew Heric           3/13/2023     0.8   Review contractual documents in preparation to conduct analyses on
                                           a token related to venture tracing request 39
Andrew Heric           3/13/2023     1.3   Conduct and finalize analysis of crypto tracing related to venture
                                           request 39
Andrew Heric           3/13/2023     1.4   Review venture contracts for identifiable tracing information and
                                           begin analysis of the token for venture tracing request 39
Andrew Heric           3/13/2023     2.9   Identify specific features and attributes of 45 tokens related to
                                           venture tracing request 39
Cameron Radis          3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                           M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                           action items, pending requests and workstreams

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Chris Arnett              3/13/2023     0.4   Discuss workstream status and go-forward plan for AP with K.
                                              Montague and C. Arnett (A&M)
Chris Arnett              3/13/2023     0.8   Review and comment on board materials and associated analysis


Cullen Stockmeyer         3/13/2023     2.3   Develop asset tracing request tracker

Cullen Stockmeyer         3/13/2023     1.3   Input new requests into asset tracing tracker

Cullen Stockmeyer         3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                              Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                              walkthrough for blockchain tracing platforms
Cullen Stockmeyer         3/13/2023     0.4   Call with L. Lambert, A. Heric, C. Stockmeyer, L. Callerio, L. Iwanski,
                                              M. Rodriguez (A&M) re: asset tracing request process
Cullen Stockmeyer         3/13/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process
                                              update
Cullen Stockmeyer         3/13/2023     0.5   Call with M. Rodriguez, L. Lambert, L. Callerio, C. Stockmeyer and L.
                                              Iwanski (A&M) regarding asset tracing updates
Cullen Stockmeyer         3/13/2023     0.5   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                              Stockmeyer (A&M) re: internal crypto tracing update
David Johnston            3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                              Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                              others (S&C) to discuss FTX Europe matters
David Nizhner             3/13/2023     2.4   Perform relativity search on FTX Philanthropy for data inquiry

David Nizhner             3/13/2023     0.6   Update FX rates and distribute to internal team

David Nizhner             3/13/2023     2.2   Research Alameda and Dotcom bank relationship


David Slay                3/13/2023     2.1   Coordinate with BofA Los Angeles offices and open lockbox

David Slay                3/13/2023     0.9   Teleconference with K. Dusendschon, R. Johnson and D. Slay (A&M)
                                              re phone image
David Slay                3/13/2023     0.1   Teleconference with K. Dusendschon and D. Slay (A&M) re phone
                                              image
Emily Hoffer              3/13/2023     1.2   Review workpaper of potential FBO bank accounts and looking at
                                              bank statements to determine if an account should be considered
                                              FBO
Gaurav Walia              3/13/2023     1.4   Call with L. Konig, G. Walia (A&M) to review the fiat account on the
                                              .COM exchange
Gaurav Walia              3/13/2023     0.8   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                              the latest TRM hot wallet data
Gaurav Walia              3/13/2023     0.4   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                              the latest TRM hot wallet data
Gaurav Walia              3/13/2023     1.0   Update the Alameda accounts overview presentation for the US
                                              accounts



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Gaurav Walia           3/13/2023     1.7   Prepare the analysis for the Alameda US accounts

Gaurav Walia           3/13/2023     0.4   Provide feedback on the latest wallet to silo mapping


Gaurav Walia           3/13/2023     1.8   Review the latest TRM Labs silo tracing analysis

Gioele Balmelli        3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                           Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                           others (S&C) to discuss FTX Europe matters
Heather Ardizzoni      3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                           Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                           others (S&C) to discuss FTX Europe matters
Henry Chambers         3/13/2023     0.5   Call with S. Melamed, J. Masters, K. Takahashi (FTX) regarding
                                           Quoine PTE operations
Henry Chambers         3/13/2023     0.4   Manage new key performance indicator template and associated
                                           reconciliation
Henry Chambers         3/13/2023     0.5   Call with S.Melamed (FTX) regarding Japan operations


Henry Chambers         3/13/2023     0.8   Attend to frozen XSGD token issue

Henry Chambers         3/13/2023     0.4   Attend to FTI imaging logistics for Liquid DB and unstructured data


Henry Chambers         3/13/2023     1.5   Prepare Quoine PTE and Liquid Global deck

Henry Chambers         3/13/2023     0.7   Attend to correspondence regarding Blockfolio users

Hudson Trent           3/13/2023     2.2   Review subsidiary analysis and provide comments


Hudson Trent           3/13/2023     0.7   Review and provide feedback on subsidiary value analysis

Hudson Trent           3/13/2023     2.2   Update subsidiary wind-down analysis based on advisor feedback


Hudson Trent           3/13/2023     1.1   Update subsidiary wind-down analysis for internal A&M feedback

Hudson Trent           3/13/2023     1.7   Review subsidiary wind down analysis and prepare updates


Hudson Trent           3/13/2023     2.5   Prepare updated wind down analysis materials based on revised
                                           assumptions
Igor Radwanski         3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Igor Radwanski         3/13/2023     1.7   Triage transfers pertaining to specific wallet addresses to identify
                                           target transfers
Igor Radwanski         3/13/2023     0.9   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                           methodology and approach to venture request



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Igor Radwanski         3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                           Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                           walkthrough for blockchain tracing platforms
Igor Radwanski         3/13/2023     0.2   Call with M. Warren and I. Radwanski (A&M) regarding specific
                                           cryptocurrency tracing request
Igor Radwanski         3/13/2023     2.6   Trace transactions on different blockchains to identify transfers of
                                           interest
James Lam              3/13/2023     0.2   Consider requests for information on Quoine PTE and identify
                                           sources of information
James Lam              3/13/2023     1.7   Draft the framework of status update on Quoine PTE Ltd


James Lam              3/13/2023     1.6   Review Quoine PTE's tracker for crypto assets transferred to a
                                           custodian
Joachim Lubsczyk       3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                           Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                           others (S&C) to discuss FTX Europe matters
Jon Chan               3/13/2023     2.8   Investigate accounts relating to several key institutions and obtain
                                           wallets relating to those accounts
Jon Chan               3/13/2023     3.1   Provide transaction history relating to transactions made on the
                                           platform
Jon Chan               3/13/2023     2.9   Investigate if specific entities or institutions had any activity on the
                                           platform
Jon Chan               3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                           M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                           action items, pending requests and workstreams
Jon Chan               3/13/2023     1.1   Develop and execute python script to parse data columns from
                                           database extracts
Jonathan Marshall      3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                           M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                           action items, pending requests and workstreams
Jonathan Zatz          3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                           M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                           action items, pending requests and workstreams
Jonathan Zatz          3/13/2023     0.5   Call with N. Aragam (FTX), R. Johnson, L. Konig, P. Kwan, J. Zatz
                                           (A&M) to discuss Alameda AWS data structure
Jonathan Zatz          3/13/2023     1.3   Execute scripts and formatting results related to Alameda data
                                           profiling summary
Jonathan Zatz          3/13/2023     1.3   Database scripting to concatenate Alameda primary keys

Jonathan Zatz          3/13/2023     1.5   Database scripting to identify potential wholly included tables in
                                           Alameda data
Jonathan Zatz          3/13/2023     1.4   Database scripting to identify primary keys for comparing potential
                                           wholly included tables in Alameda data
Jonathan Zatz          3/13/2023     1.4   Database scripting to include concatenated primary keys in wholly
                                           included list to review
Jonathan Zatz          3/13/2023     0.8   Test and debug scripts to identify wholly included tables in Alameda
                                           data

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Jonathan Zatz            3/13/2023     0.6   Prepare questions for FTX engineering related to Alameda data

Julian Lee               3/13/2023     0.5   Review bank records related to Japan KK entities and update FBO
                                             bank account tracker
Katie Montague           3/13/2023     0.4   Discuss workstream status and go-forward plan for AP with K.
                                             Montague and C. Arnett (A&M)
Kevin Baker              3/13/2023     1.4   Analyze AWS exchange request regarding specific customers to
                                             report on associated wallets
Kevin Baker              3/13/2023     2.7   Analyze request from the Law Enforcement Agency regarding
                                             specific wallet address
Kim Dennison             3/13/2023     1.3   Draft email response to M Strand (S&C) query regarding Bahamas
                                             GoldWynn properties, confer with L Francis (A&M)
Kim Dennison             3/13/2023     1.1   Prepare for and attend call w A Titus (A&M) and S Tang
                                             (LedgerPrime) regarding wind-down options for Cayman master Fund
Kim Dennison             3/13/2023     0.8   Respond to K Mayberry (S&C) query regarding OneCable Beach
                                             Bahamas properties
Kim Dennison             3/13/2023     0.4   Review & consider M Strand (S&C) email regarding GoldWynn
                                             Properties' conveyance documents
Kora Dusendschon         3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                             M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                             action items, pending requests and workstreams
Kora Dusendschon         3/13/2023     0.4   Follow up on open items with FTI, including Japan collection

Kora Dusendschon         3/13/2023     0.3   Email exchanges re phone email and FTI


Kora Dusendschon         3/13/2023     0.9   Teleconference with K. Dusendschon, R. Johnson and D. Slay (A&M)
                                             re phone image
Kora Dusendschon         3/13/2023     0.6   Provide oversight to database team, review incoming requests and
                                             anticipated timing
Kora Dusendschon         3/13/2023     0.1   Teleconference with K. Dusendschon and D. Slay (A&M) regarding
                                             phone image
Kora Dusendschon         3/13/2023     0.2   Teleconference with R. Johnson and K. Dusendschon (A&M) re cell
                                             phone image to be transferred
Kumanan Ramanathan       3/13/2023     0.4   Execute on USDT to USD trades above parity


Kumanan Ramanathan       3/13/2023     0.3   Various correspondences with Coinbase's trading advisory service
                                             for guidance on trades
Kumanan Ramanathan       3/13/2023     0.8   Review Coinbase status site and refresh app for updated Circle
                                             redemption
Kumanan Ramanathan       3/13/2023     0.5   Various calls with market maker regarding trade and test transfers

Kumanan Ramanathan       3/13/2023     0.4   Solicit trading quotes from market makers and confirm bid for
                                             approval
Kumanan Ramanathan       3/13/2023     0.8   Assist with initiating USDT transfers with R. Perubhatla (FTX)




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Kumanan Ramanathan     3/13/2023     0.8   Coordinate wire instructions for Coinbase prime platform

Kumanan Ramanathan     3/13/2023     0.7   Confirm test transfers and correspondence with involved internal
                                           teams
Kumanan Ramanathan     3/13/2023     0.7   Call with S. Coverick (A&M) to discuss cybersecurity matters

Kumanan Ramanathan     3/13/2023     2.6   Various calls with R. Perubhatla (FTX) and BitGo team to conduct
                                           cold wallet transfers
Kumanan Ramanathan     3/13/2023     1.1   Call with S. Simms, B. Bromberg (FTI), J. Croke (S&C), K.
                                           Ramanathan, S. Coverick (A&M) regarding 3rd party exchange
                                           exposure
Kumanan Ramanathan     3/13/2023     1.1   Review on-chain activity and validate test transfers to market maker

Kumanan Ramanathan     3/13/2023     0.9   Prepare tracking sheet for transactions

Larry Iwanski          3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                           Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                           others (S&C) to discuss FTX Europe matters
Larry Iwanski          3/13/2023     1.2   Communications, review, and edit of draft report

Larry Iwanski          3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Larry Iwanski          3/13/2023     1.4   Communications related to database requests and investigations that
                                           impact crypto tracing
Larry Iwanski          3/13/2023     0.5   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                           Stockmeyer (A&M) regarding internal crypto tracing update
Larry Iwanski          3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                           Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                           walkthrough for blockchain tracing platforms
Larry Iwanski          3/13/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez (A&M) regarding
                                           internal crypto tracing update
Leslie Lambert         3/13/2023     1.4   Review deliverables related to output from token schedule analysis

Leslie Lambert         3/13/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding overview of
                                           request information and next steps
Leslie Lambert         3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Leslie Lambert         3/13/2023     2.1   Review of workpaper, approach, and preliminary findings regarding
                                           analysis of share repurchase
Leslie Lambert         3/13/2023     0.5   Call with M. Rodriguez, L. Lambert, L. Callerio, C. Stockmeyer and L.
                                           Iwanski (A&M) regarding asset tracing updates
Leslie Lambert         3/13/2023     0.5   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                           Stockmeyer (A&M) regarding internal crypto tracing update
Leslie Lambert         3/13/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) regarding crypto asset
                                           tracing

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Leslie Lambert           3/13/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                             Stockmeyer (A&M) regarding internal crypto tracing update
Leslie Lambert           3/13/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez (A&M) regarding
                                             internal crypto tracing update
Leslie Lambert           3/13/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding crypto tracing
                                             team priorities and dynamics
Leslie Lambert           3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                             Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                             walkthrough for blockchain tracing platforms
Lorenzo Callerio         3/13/2023     0.9   Review the tracing activities documentation


Lorenzo Callerio         3/13/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                             C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                             regarding tracing team update
Lorenzo Callerio         3/13/2023     0.8   Review the updated tracing activities tracker prepared by C.
                                             Stockmeyer (A&M)
Lorenzo Callerio         3/13/2023     0.2   Respond to a question received from Elliptic customer operations


Lorenzo Callerio         3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                             Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                             walkthrough for blockchain tracing platforms
Lorenzo Callerio         3/13/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process
                                             update
Lorenzo Callerio         3/13/2023     0.8   Review the information provided by the Elliptic customer relationship
                                             manager
Lorenzo Callerio         3/13/2023     0.5   Call with M. Rodriguez, L. Lambert, L. Callerio, C. Stockmeyer and L.
                                             Iwanski (A&M) regarding asset tracing updates
Louis Konig              3/13/2023     0.5   Call with N. Aragam (FTX), R. Johnson, L. Konig, P. Kwan, J. Zatz
                                             (A&M) to discuss Alameda AWS data structure
Louis Konig              3/13/2023     1.4   Call with L. Konig, G. Walia (A&M) to review the fiat account on the
                                             .COM exchange
Manasa Sunkara           3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                             M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                             action items, pending requests and workstreams
Manasa Sunkara           3/13/2023     1.1   Review data request correspondence from internal A&M to
                                             understand and communicate the ask
Manasa Sunkara           3/13/2023     1.2   Correspondence with internal A&M regarding data exports

Manasa Sunkara           3/13/2023     1.4   Quality check scripts and exports and prepare data request
                                             deliverables for internal A&M
Mariah Rodriguez         3/13/2023     0.6   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                             Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                             walkthrough for blockchain tracing platforms
Mariah Rodriguez         3/13/2023     0.3   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                             C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                             regarding tracing team update



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Mariah Rodriguez      3/13/2023     0.3   Call with M. Rodriguez, L. Lambert, L. Callerio, C. Stockmeyer and L.
                                          Iwanski (A&M) regarding asset tracing updates
Mariah Rodriguez      3/13/2023     0.4   Call with L. Lambert, A. Heric, C. Stockmeyer, L. Callerio, L. Iwanski,
                                          M. Rodriguez (A&M) regarding asset tracing request process
Mariah Rodriguez      3/13/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez (A&M) regarding
                                          internal crypto tracing update
Mariah Rodriguez      3/13/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Mariah Rodriguez      3/13/2023     0.5   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                          Stockmeyer (A&M) regarding internal crypto tracing update
Mariah Rodriguez      3/13/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) regarding crypto asset
                                          tracing
Matthew Flynn         3/13/2023     0.9   Create timeline of bank deliverables and events

Matthew Flynn         3/13/2023     0.4   Call with M. Flynn (A&M), Y. Torati (Sygnia), D. Carter, P. Feldman,
                                          E. Burke, T. Renner (FTI) to discuss HSM cold wallet system
Matthew Flynn         3/13/2023     1.2   Analyze stablecoin fiat conversions

Matthew Flynn         3/13/2023     1.3   Update stablecoin board presentation for comments


Matthew Flynn         3/13/2023     1.3   Update Stablecoin board presentation for the UCC

Matthew Flynn         3/13/2023     1.4   Update Stablecoin Analysis of FTX.COM for updated pricing


Matthew Flynn         3/13/2023     1.7   Update Stablecoin Analysis of FTX.US & Alameda for pricing

Matthew Flynn         3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                          Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                          others (S&C) to discuss FTX Europe matters
Matthew Flynn         3/13/2023     0.4   Review of Messari agreement markup


Matthew Warren        3/13/2023     0.7   Review of database for subject repository and summarize findings for
                                          workstream leadership
Matthew Warren        3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Matthew Warren        3/13/2023     3.2   Review and finalize of crypto detail for ad hoc analysis re: token
                                          balances and tracing
Matthew Warren        3/13/2023     0.4   Call with L. Lambert and M. Warren (A&M) regarding overview of
                                          request information and next steps
Matthew Warren        3/13/2023     0.2   Call with M. Warren and I. Radwanski (A&M) regarding specific
                                          cryptocurrency tracing request
Maximilian Simkins    3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                          M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                          action items, pending requests and workstreams


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Michael Shanahan        3/13/2023     1.4   Review analysis of bank accounts related to customer funds

Peter Kwan              3/13/2023     0.5   Call with N. Aragam (FTX), R. Johnson, L. Konig, P. Kwan, J. Zatz
                                            (A&M) to discuss Alameda AWS data structure
Peter Kwan              3/13/2023     1.3   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/13/2023     1.1   Analyze data and revise queries to ensure accuracy of outputs

Peter Kwan              3/13/2023     0.7   Progress customer entitlements validation query development


Peter Kwan              3/13/2023     0.6   Conduct customer entitlements analysis and reporting

Peter Kwan              3/13/2023     0.5   Prepare Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/13/2023     0.5   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                            Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                            others (S&C) to discuss FTX Europe matters
Quinn Lowdermilk        3/13/2023     1.4   Research correspondence surrounding investment tokens and
                                            update for any negative mentioning
Quinn Lowdermilk        3/13/2023     0.9   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                            methodology and approach to venture request
Quinn Lowdermilk        3/13/2023     0.8   Call with L. Lambert, L. Iwanski, M. Rodriguez, L. Callerio, C.
                                            Stockmeyer, I. Radwanski, Q. Lowdermilk (A&M) regarding
                                            walkthrough for blockchain tracing platforms
Quinn Lowdermilk        3/13/2023     0.6   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                            workstream updates
Quinn Lowdermilk        3/13/2023     2.2   Update analysis document for tokens that have been circulated into
                                            market
Quinn Lowdermilk        3/13/2023     2.3   Research token investments and check if tokens launched

Rob Esposito            3/13/2023     0.4   Conference with A&M workstream leads to provide status updates


Robert Johnson          3/13/2023     0.9   Migration of bank_data_combined to metabase for review by various
                                            parties
Robert Johnson          3/13/2023     0.6   Migration of Nium transaction reports to Metabase


Robert Johnson          3/13/2023     1.4   Migration of Far Eastern bank data to metabase

Robert Johnson          3/13/2023     0.3   Daily meeting with K. Dusendschon, J. Chan, M. Sunkara, C. Radis,
                                            M. Simkins, J. Marshall, J. Zatz, R. Johnson, (A&M) to go through
                                            action items, pending requests and workstreams
Robert Johnson          3/13/2023     1.7   Additional bank data migration to metabase



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Robert Johnson        3/13/2023     1.7   Migration of Prime Trust data to metabase

Steve Coverick        3/13/2023     0.3   Call between H. Ardizzoni, J. Lubsczyk, G. Balmelli, L. Iwanski, M.
                                          Flynn, P. Kwan, S. Coverick, D. Johnston (A&M) and E. Simpson and
                                          others (S&C) to discuss FTX Europe matters
Steve Coverick        3/13/2023     1.3   Correspond with A&M and FTX personnel re: stablecoin transactions


Steve Coverick        3/13/2023     0.7   Call with S. Coverick, K. Ramanathan (A&M) to discuss cybersecurity
                                          matters
Vinny Rajasekhar      3/13/2023     0.2   Review BitGo invoice and agree amount charged


Anan Sivapalu         3/14/2023     0.3   Call with G. Walia and A. Sivapalu (A&M) regarding CMC coin IDs

Anan Sivapalu         3/14/2023     0.4   Call with D. Reardon, C. Gomez, C. Hoffmeister (TRM) and A.
                                          Sivapalu, G. Walia, V. Rajasekar (A&M) to discuss wallet address
                                          group and silo attribution
Andrew Heric          3/14/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding venture token
                                          tracing request
Andrew Heric          3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                          C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                          regarding tracing team update
Andrew Heric          3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                          (A&M) regarding crypto tracing approach
Andrew Heric          3/14/2023     0.1   Call with Q. Lowdermilk, A. Heric, and L. Lambert (A&M) discussing
                                          token tracing request update
Andrew Heric          3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                          (A&M) regarding crypto tracing workstream updates
Andrew Heric          3/14/2023     2.6   Notate the amount of assets recovered related to crypto tracing
                                          requests reviewed
Andrew Heric          3/14/2023     0.7   Analyze token attributed related to updated tokens list provided for
                                          crypto tracing request 39
Andrew Heric          3/14/2023     0.9   Update token attribute designations related to crypto tracing request
                                          39 for initial analysis
Andrew Heric          3/14/2023     2.4   Analyze contract details and begin crypto tracing related to venture
                                          request 39
Austin Sloan          3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                          Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                          Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                          pending requests and workstreams
Brett Bammert         3/14/2023     0.4   Locate specific transactional documents for review team

Cameron Radis         3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                          Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                          Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                          pending requests and workstreams




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Professional                 Date     Hours     Activity
Charles Evans             3/14/2023     0.2   Correspondence with J. Lam and C. Evans (A&M) regarding the
                                              transfer of Quoine assets
Chris Arnett              3/14/2023     0.2   Prepare for weekly PMO with debtor and advisory team


Chris Arnett              3/14/2023     0.8   Participate in weekly PMO with debtor and advisory team

Chris Arnett              3/14/2023     0.7   Review and comment on revised board package vis-à-vis entity sale
                                              versus wind down
Cullen Stockmeyer         3/14/2023     0.7   Update formatting in EU KYC report


Cullen Stockmeyer         3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                              Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                              (A&M) regarding crypto tracing workstream updates
Cullen Stockmeyer         3/14/2023     2.1   Investigate new account tracing request related to Australian
                                              transaction activity
Cullen Stockmeyer         3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                              C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M) re:
                                              tracing team update
Cullen Stockmeyer         3/14/2023     0.5   Prepare asset tracing request for asset recovery attempt

Cullen Stockmeyer         3/14/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update


Cullen Stockmeyer         3/14/2023     0.7   Call with L. Iwanski, M. Rodriguez, L. Callerio and C. Stockmeyer
                                              (A&M) re: tracing QC process
Cullen Stockmeyer         3/14/2023     2.1   Input new requests related to database into asset tracing tracker

David Johnston            3/14/2023     0.4   Discuss Europe options analysis with D. Johnston, R. Gordon, and H.
                                              Trent (A&M)
David Johnston            3/14/2023     0.4   Call with D. Johnston, R. Gordon, and H. Trent (A&M) to discuss
                                              Europe options analysis
David Johnston            3/14/2023     0.2   Discuss FTX EU wind-down analysis with S. Coverick (A&M)


David Slay                3/14/2023     1.1   Meet with L. Spears (FTI) to extract data

Ed Mosley                 3/14/2023     0.8   Prepare for and participate in weekly Board meeting with R. Jain, M.
                                              Rosenberg, M. Doheny and other Board members, J. Ray, K.
                                              Schultea, M. Cilia (FTX), E. Mosley, S. Coverick, and K. Ramanathan
                                              (A&M), S. Rand, B. Burck, J. Shaffer (QE), M. Rahmani, and B
Gaurav Walia              3/14/2023     0.2   Review the summarized related party analysis


Gaurav Walia              3/14/2023     0.3   Call with G. Walia and A. Sivapalu (A&M) regarding CMC coin IDs

Gaurav Walia              3/14/2023     0.9   Prepare Alameda trading activity summary by position

Gaurav Walia              3/14/2023     0.4   Call with D. Reardon, C. Gomez, C. Hoffmeister (TRM) and A.
                                              Sivapalu, G. Walia, V. Rajasekar (A&M) to discuss wallet address
                                              group and silo attribution

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Gaurav Walia            3/14/2023     1.0   Call with J. Sardinha (FTX), P. Kwan, L. Konig, G. Walia, R. Johnson
                                            (A&M) regarding fiat banking database
Gaurav Walia            3/14/2023     1.6   Update the Alameda account overview presentation


Henry Chambers          3/14/2023     0.8   Call with S.Melamed (FTX) regarding Japan operations

Henry Chambers          3/14/2023     0.4   Correspondence regarding Quoine PTE operations

Henry Chambers          3/14/2023     1.3   Attend to transfer of assets to BitGo logistics


Hudson Trent            3/14/2023     0.8   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                            Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                            M. Cilia, K. Schultea (FTX), K. Cofsky, B. Mendelsohn, N. Nussbaum,
                                            M. Rahmani, K. Flinn, W. Sayed (PWP), E. Simpson,
Hudson Trent            3/14/2023     0.4   Call with D. Johnston, R. Gordon, and H. Trent (A&M) to discuss
                                            Europe options analysis
Hudson Trent            3/14/2023     0.5   Discuss Europe options analysis with D. Johnston, R. Gordon, and H.
                                            Trent (A&M)
Igor Radwanski          3/14/2023     1.8   Quantify total number of recoverable and non-recoverable funds
                                            traced
Igor Radwanski          3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                            (A&M) regarding crypto tracing workstream updates
Igor Radwanski          3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                            C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                            regarding tracing team update
Igor Radwanski          3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                            (A&M) regarding crypto tracing approach
Igor Radwanski          3/14/2023     2.3   Investigate specific transactions pertaining to a token request

Jack Yan                3/14/2023     1.7   Prepare the status update PowerPoint for Quoine Pte Ltd


James Cooper            3/14/2023     0.8   Participate in PMO status update meeting with J. Ray (FTX), A.
                                            Dietderich (S&C), A&M team and others
James Cooper            3/14/2023     0.8   Participate in weekly Board meeting with K. Knipp, M. Doheny, J.
                                            Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray, M. Cilia, K.
                                            Schultea (FTX), K. Cofsky, B. Mendelsohn, N. Nussbaum, M.
                                            Rahmani, K. Flinn, W. Sayed (PWP), E. Simpson, J. Bromley, A. D
James Lam               3/14/2023     1.3   Review the research and presentation on Liquid Global and Quoine
                                            PTE development
James Lam               3/14/2023     0.1   Review the documents in relation to the business plan of Liquid

Jan Kaiser              3/14/2023     1.3   Working session regarding Reporting workflow development


Jeffery Stegenga        3/14/2023     0.7   Review of latest PMO deck in preparation for/follow-up to today's
                                            mgmt update session



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Professional                Date     Hours     Activity
Jeffery Stegenga         3/14/2023     0.6   Participation in the weekly PMO update w/ mgmt, S&C, PWP and
                                             A&M
Jon Chan                 3/14/2023     2.1   Provide transaction history relating to transactions made on the
                                             platform
Jon Chan                 3/14/2023     2.4   Investigate trading activity between ft entities

Jon Chan                 3/14/2023     2.6   Provide fill activity between international entities

Jon Chan                 3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                             Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                             Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                             pending requests and workstreams
Jon Chan                 3/14/2023     1.9   Investigate if there were any accounts on FTX pertaining to a list of
                                             individuals
Jon Chan                 3/14/2023     0.8   Analyze automation script for database processes

Jonathan Marshall        3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                             Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                             Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                             pending requests and workstreams
Jonathan Zatz            3/14/2023     1.5   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'C'
Jonathan Zatz            3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                             Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                             Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                             pending requests and workstreams
Jonathan Zatz            3/14/2023     1.4   Database scripting to identify remaining Alameda in-scope tables

Jonathan Zatz            3/14/2023     1.4   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'B'
Jonathan Zatz            3/14/2023     0.5   Call with R. Johnson, L. Konig, P. Kwan, J. Zatz (A&M) to discuss
                                             follow-up questions for Alameda regarding data set
Jonathan Zatz            3/14/2023     0.8   Test and debug scripts to identifying remaining Alameda in-scope
                                             tables
Jonathan Zatz            3/14/2023     0.6   Prepare follow-up questions for Alameda regarding data set


Jonathan Zatz            3/14/2023     1.0   Update follow-up questions for Alameda regarding data set

Jonathan Zatz            3/14/2023     1.2   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'A'
Kevin Baker              3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                             Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                             Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                             pending requests and workstreams
Kevin Baker              3/14/2023     1.9   Investigate AWS request regarding specific customers and if they
                                             contain activity on FTX exchange




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Kim Dennison          3/14/2023     0.3   Emails w M Maynard (Maynard Law) regarding conveyance
                                          documents for Bahamas Properties
Kim Dennison          3/14/2023     0.2   Further emails w M Maynard (Maynard Law) regarding conveyance
                                          documents received for Bahamas Properties
Kim Dennison          3/14/2023     0.2   Emails w K Donnelly (S&C) regarding conveyance documents
                                          provided by Maynard Law
Kim Dennison          3/14/2023     3.1   Draft detailed email response to K Donnelly (S&C) regarding title
                                          deed search; produce title deed search results and provide same
Kim Dennison          3/14/2023     0.6   Review & consider K Donnelly (S&C) email regarding Bahamas
                                          property searches
Kora Dusendschon      3/14/2023     1.3   Review KYC table extracts and analyze. Create summary report on
                                          analysis and provide to team for discussion
Kora Dusendschon      3/14/2023     0.2   Internal follow up regarding requests provided by C. Beatty from S&C


Kora Dusendschon      3/14/2023     0.1   Follow up re Japan collection and correspondence with A&M team on
                                          next steps
Kora Dusendschon      3/14/2023     0.4   Compile biweekly dashboard and review QuickBase entries


Kora Dusendschon      3/14/2023     0.8   Provide oversight to database team, review incoming requests and
                                          anticipated timing. Logging incoming requests
Kora Dusendschon      3/14/2023     0.3   Call with M. Flynn, K. Dusendschon, L. Konig, K. Ramanathan, P.
                                          Kwan (A&M) to discuss AWS/ KYC work status
Kora Dusendschon      3/14/2023     0.6   Internal follow up regarding requests from Z. Flegenheimer and KYC
                                          documents. Running searches and providing results to Manasa
Kora Dusendschon      3/14/2023     0.4   Write summary on next steps for KYC and send to team

Kora Dusendschon      3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                          Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                          Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                          pending requests and workstreams
Kora Dusendschon      3/14/2023     1.2   Execute searches for DocSend, review results, and compile
                                          information into email for FTI
Kumanan Ramanathan    3/14/2023     0.6   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss crypto
                                          workstream deliverables
Kumanan Ramanathan    3/14/2023     0.9   Assist with initiating USDT transfers with R. Perubhatla (FTX)


Kumanan Ramanathan    3/14/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M), N. Shay, G. Jackson
                                          (FTX) to discuss exchange restart
Kumanan Ramanathan    3/14/2023     0.9   Correspond with M. Wang (BitGo) regarding signing cold storage
                                          transactions and relevant verification on-chain
Kumanan Ramanathan    3/14/2023     0.9   Oversee test transfers and verify on-chain confirmations


Kumanan Ramanathan    3/14/2023     0.9   Review FTX TR matters for use in summary

Kumanan Ramanathan    3/14/2023     0.5   Call with O. Wortman, Y. Yogev and Y. Torati (Sygnia) to discuss
                                          bridging crypto across multiple chains

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Kumanan Ramanathan     3/14/2023     0.6   Call with V. Rajasekhar, K. Ramanathan (A&M) to review 3rd party
                                           exchange summary
Kumanan Ramanathan     3/14/2023     0.8   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                           Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                           M. Cilia, K. Schultea (FTX), K. Cofsky, B. Mendelsohn, N. Nussbaum,
                                           M. Rahmani, K. Flinn, W. Sayed (PWP), E. Simpson,
Kumanan Ramanathan     3/14/2023     0.2   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                           K. Ramanathan (A&M) regarding customer data files
Kumanan Ramanathan     3/14/2023     0.2   Various correspondences with Coinbase's trading advisory service
                                           for guidance on trades
Kumanan Ramanathan     3/14/2023     0.3   Call with M. Flynn, K. Dusendschon, L. Konig, K. Ramanathan, P.
                                           Kwan (A&M) to discuss AWS/ KYC work status
Kumanan Ramanathan     3/14/2023     1.2   Execute on USDT to USD trades above parity and relevant research
                                           and correspondences
Larry Iwanski          3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Larry Iwanski          3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                           C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                           regarding tracing team update
Larry Iwanski          3/14/2023     0.3   Call with M. Rodriguez, L. Iwanski (A&M) to discuss crypto tracing
                                           stream
Larry Iwanski          3/14/2023     0.4   Call with L. Iwanski, M. Rodriguez, L. Lambert, L. Callerio and C.
                                           Stockmeyer (A&M) regarding Ventures asset tracing request planning
Larry Iwanski          3/14/2023     0.6   Call with L. Iwanski, M. Rodriguez, L. Callerio and C. Stockmeyer
                                           (A&M) regarding tracing QC process
Leslie Lambert         3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                           C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                           regarding tracing team update
Leslie Lambert         3/14/2023     2.0   Review of workpaper, approach, and preliminary findings for an
                                           analysis of cryptocurrency transaction
Leslie Lambert         3/14/2023     1.0   Call with L. Lambert and M. Rodriguez (A&M) regarding crypto asset
                                           tracing
Leslie Lambert         3/14/2023     0.4   Call with L. Iwanski, M. Rodriguez, L. Lambert, L. Callerio and C.
                                           Stockmeyer (A&M) regarding Ventures asset tracing request planning
Leslie Lambert         3/14/2023     2.1   Review deliverables for output of tracing efforts

Leslie Lambert         3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream updates
Leslie Lambert         3/14/2023     0.1   Call with Q. Lowdermilk, A. Heric, and L. Lambert (A&M) discussing
                                           token tracing request update
Leslie Lambert         3/14/2023     1.8   Conduct quality control reviews of staff work product


Leslie Lambert         3/14/2023     0.1   Call with L. Lambert, V. Rajasekhar (A&M) to discuss LMAX
                                           exchange transfers



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Leslie Lambert           3/14/2023     0.8   Call with Q. Lowdermilk and L. Lambert (A&M) discussing token
                                             tracing request
Leslie Lambert           3/14/2023     1.3   Craft various communications regarding recent and ongoing tracing
                                             efforts
Lorenzo Callerio         3/14/2023     0.8   Review some additional crypto tracing requests

Lorenzo Callerio         3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                             Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                             (A&M) regarding crypto tracing workstream updates
Lorenzo Callerio         3/14/2023     1.6   Finalize the EU KYC deck including comments received from S.
                                             Coverick (A&M)
Lorenzo Callerio         3/14/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update

Lorenzo Callerio         3/14/2023     1.9   Review the crypto currency documentation received from M.
                                             Rodriguez (A&M)
Lorenzo Callerio         3/14/2023     0.6   Call with L. Iwanski, M. Rodriguez, L. Callerio and C. Stockmeyer
                                             (A&M) re: tracing QC process
Lorenzo Callerio         3/14/2023     1.1   Review the available documentation re: tracing request #39 in
                                             preparation of a call with the A&M tracing team
Louis Konig              3/14/2023     0.2   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                             K. Ramanathan (A&M) regarding customer data files
Louis Konig              3/14/2023     1.0   Call with J. Sardinha (FTX), P. Kwan, L. Konig, G. Walia, R. Johnson
                                             (A&M) regarding fiat banking database
Louis Konig              3/14/2023     0.5   Call with R. Johnson, L. Konig, P. Kwan, J. Zatz (A&M) to discuss
                                             follow-up questions for Alameda regarding data set
Louis Konig              3/14/2023     0.3   Call with M. Flynn, K. Dusendschon, L. Konig, K. Ramanathan, P.
                                             Kwan (A&M) to discuss AWS/ KYC work status
Manasa Sunkara           3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                             Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                             Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                             pending requests and workstreams
Manasa Sunkara           3/14/2023     1.6   Quality check exports and scripts and prepare correspondence for
                                             data request deliverables
Manasa Sunkara           3/14/2023     0.9   Review correspondence from internal A&M regarding data request
                                             inquiries
Manasa Sunkara           3/14/2023     2.9   Query and extract all transaction history, trading activity, activity
                                             records and KYC data for the user accounts provided to S&C
Manasa Sunkara           3/14/2023     2.9   Search the SQL database for user accounts that may be associated
                                             with certain entities
Manasa Sunkara           3/14/2023     0.8   Review data request correspondence from S&C

Mariah Rodriguez         3/14/2023     0.6   Research asset tracing request for QC prior to submission


Mariah Rodriguez         3/14/2023     0.7   Call with L. Lambert and M. Rodriguez (A&M) regarding crypto asset
                                             tracing



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Mariah Rodriguez      3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                          (A&M) regarding crypto tracing workstream updates
Mariah Rodriguez      3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                          C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                          regarding tracing team update
Mariah Rodriguez      3/14/2023     0.3   Call with M. Rodriguez, L. Iwanski (A&M) to discuss crypto tracing
                                          stream
Mariah Rodriguez      3/14/2023     0.6   Call with L. Iwanski, M. Rodriguez, L. Callerio and C. Stockmeyer
                                          (A&M) regarding tracing QC process
Mariah Rodriguez      3/14/2023     0.4   Call with L. Iwanski, M. Rodriguez, L. Lambert, L. Callerio and C.
                                          Stockmeyer (A&M) regarding Ventures asset tracing request planning
Matthew Flynn         3/14/2023     0.3   Call with M. Flynn, K. Dusendschon, L. Konig, K. Ramanathan, P.
                                          Kwan (A&M) to discuss AWS/ KYC work status
Matthew Flynn         3/14/2023     0.4   Call with M. Flynn, K. Ramanathan (A&M), N. Shay, G. Jackson
                                          (FTX) to discuss exchange restart
Matthew Flynn         3/14/2023     1.1   Perform search of relativity for Bilira agreements


Matthew Flynn         3/14/2023     0.3   Call with M. Flynn (A&M), Y. Torati, H. Nachmias (Sygnia), B. Harsch
                                          (S&C) to discuss TRYB
Matthew Flynn         3/14/2023     2.1   Perform cold storage location analysis for stablecoin


Matthew Flynn         3/14/2023     0.9   Review of new SKG code for exchange restart

Matthew Flynn         3/14/2023     0.9   Review TRYB stablecoin whitepaper

Matthew Flynn         3/14/2023     1.3   Update developer project/ deliverable plan


Matthew Flynn         3/14/2023     1.2   Review TRYB stablecoin transaction history

Matthew Flynn         3/14/2023     1.1   Update crypto team project / deliverable plan


Matthew Warren        3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                          C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                          regarding tracing team update
Matthew Warren        3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                          (A&M) regarding crypto tracing approach
Matthew Warren        3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                          Rodriguez, L. Lambert, and L. Iwanski (A&M) regarding crypto tracing
                                          workstream updates
Matthew Warren        3/14/2023     2.1   Compile transaction information and account data for management
                                          presentation
Matthew Warren        3/14/2023     2.1   Update tracker with asset information and distribute internally to
                                          Crypto Tracing team




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Business Operations
Professional               Date     Hours     Activity
Maximilian Simkins      3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                            Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                            Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                            pending requests and workstreams
Maya Haigis             3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                            Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                            Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                            pending requests and workstreams
Peter Kwan              3/14/2023     0.5   Call with R. Johnson, L. Konig, P. Kwan, J. Zatz (A&M) to discuss
                                            follow-up questions for Alameda regarding data set
Peter Kwan              3/14/2023     0.4   Analyze data and revise various queries to ensure reasonability of
                                            outputs
Peter Kwan              3/14/2023     0.3   Call with M. Flynn, K. Dusendschon, L. Konig, K. Ramanathan, P.
                                            Kwan (A&M) to discuss AWS/ KYC work status
Peter Kwan              3/14/2023     0.6   Continue Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/14/2023     1.4   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/14/2023     1.4   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/14/2023     0.4   Review customer entitlements analysis and reporting


Peter Kwan              3/14/2023     0.6   Prepare customer entitlements validation query development

Peter Kwan              3/14/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)


Quinn Lowdermilk        3/14/2023     0.8   Call with Q. Lowdermilk and L. Lambert (A&M) discussing token
                                            tracing request
Quinn Lowdermilk        3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                            (A&M) regarding crypto tracing approach
Quinn Lowdermilk        3/14/2023     0.1   Call with Q. Lowdermilk, A. Heric, and L. Lambert (A&M) discussing
                                            token tracing request update
Quinn Lowdermilk        3/14/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding venture token
                                            tracing request
Quinn Lowdermilk        3/14/2023     0.4   Call with L. Lambert, L. Iwanski, M. Rodriguez, A. Heric, L. Callerio,
                                            C. Stockmeyer, I. Radwanski, Q. Lowdermilk, M. Warren (A&M)
                                            regarding tracing team update
Quinn Lowdermilk        3/14/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, L. Lambert, C. Stockmeyer, L. Callerio and L. Iwanski
                                            (A&M) regarding crypto tracing workstream updates
Robert Gordon           3/14/2023     0.4   Call with D. Johnston, R. Gordon, and H. Trent (A&M) to discuss
                                            Europe options analysis
Robert Johnson          3/14/2023     1.9   Migration of Morgan Stanley banking data to metabase


Robert Johnson          3/14/2023     0.8   Migration of Prime Trust transaction data to metabase transaction
                                            report master tables



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Business Operations
Professional              Date     Hours     Activity
Robert Johnson         3/14/2023     0.9   Migration of bank data for multiple banks to metabase

Robert Johnson         3/14/2023     1.0   Call with J. Sardinha (FTX), P. Kwan, L. Konig, G. Walia, R. Johnson
                                           (A&M) regarding fiat banking database
Robert Johnson         3/14/2023     0.5   Daily meeting with J. Zatz, K. Dusendschon, C. Radis, J. Marshall, K.
                                           Baker, J. Chan, M. Sunkara, M. Haigis, A. Sloan, M. Simkins, R.
                                           Johnson, P. Kwan, L. Konig (A&M) to go through action items,
                                           pending requests and workstreams
Robert Johnson         3/14/2023     1.2   Migration of Nium bank data to metabase

Steve Coverick         3/14/2023     0.8   Prepare for and participate in weekly Board meeting with R. Jain, M.
                                           Rosenberg, M. Doheny and other Board members, J. Ray, K.
                                           Schultea, M. Cilia (FTX), E. Mosley, S. Coverick, and K. Ramanathan
                                           (A&M), S. Rand, B. Burck, J. Shaffer (QE), M. Rahmani, and B
Steve Coverick         3/14/2023     0.8   Review and provide comments on final draft of EU KYC report

Steve Coverick         3/14/2023     0.5   Call with A. Dietderich (S&C), K. Ramanathan, G. Walia (A&M) to
                                           discuss Alameda relationship deck draft
Summer Li              3/14/2023     0.3   Correspondence with J. Lee (A&M) regarding custodial accounts of
                                           Quoin Pte
Vinny Rajasekhar       3/14/2023     1.8   Update pricing master for new tokens identified in 3rd party
                                           exchanges
Vinny Rajasekhar       3/14/2023     0.4   Call with D. Reardon, C. Gomez, C. Hoffmeister (TRM) and A.
                                           Sivapalu, G. Walia, V. Rajasekar (A&M) to discuss wallet address
                                           group and silo attribution
Vinny Rajasekhar       3/14/2023     3.1   Update 3rd party exchange tracker for additional insight in token
                                           visibility
Vinny Rajasekhar       3/14/2023     0.1   Call with L. Lambert, V. Rajasekhar (A&M) to discuss LMAX
                                           exchange transfers
Vinny Rajasekhar       3/14/2023     0.6   Call with V. Rajasekhar, K. Ramanathan (A&M) to review 3rd party
                                           exchange summary
Vinny Rajasekhar       3/14/2023     1.9   Update 3rd party exchange tracker for updated notes for exchange
                                           status
Alec Liv-Feyman        3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                           Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                           re: ventures token schedule
Anan Sivapalu          3/15/2023     0.3   Call with M. Flynn, K. Ramanathan, G. Walia, A. Sivapalu, V.
                                           Rajasekhar (A&M) to discuss crypto workstream status
Andrew Heric           3/15/2023     0.4   Call with I. Radwanski, A. Heric, M. Warren, and Q. Lowdermilk
                                           (A&M) regarding toking tracing request update
Andrew Heric           3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                           workstream updates
Andrew Heric           3/15/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding schedule of
                                           venture token request
Andrew Heric           3/15/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Lambert (A&M) regarding crypto tracing request updates


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Business Operations
Professional             Date     Hours     Activity
Andrew Heric          3/15/2023     2.4   Review venture contracts for identifiable tracing information and
                                          begin analysis of the token for venture tracing request 39
Andrew Heric          3/15/2023     2.0   Input summary tables, crypto tracing visuals, and conclusions of
                                          analyses for crypto tracing request 39
Andrew Heric          3/15/2023     0.9   Review origins of token creation and last identified location of the
                                          tokens based of tracing conducted for request 39
Andrew Heric          3/15/2023     1.0   Finalize summary, input TRM visuals, and create hyperlinks to
                                          identified related documentation for request 39 deliverable
Andrew Heric          3/15/2023     0.7   Conduct tracing and update findings of token tracing conducted for
                                          tracing request 39
Austin Sloan          3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                          Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                          Hellinghausen (A&M) to go through action items, pending requests
                                          and workstreams
Brett Bammert         3/15/2023     0.8   Construct saved searches and generate document analysis for
                                          review team
Bridger Tenney        3/15/2023     0.9   Detailed review of monthly time entries


Cameron Radis         3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                          Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                          Hellinghausen (A&M) to go through action items, pending requests
                                          and workstreams
Caoimhe Corr          3/15/2023     3.0   Review Europe liability management options

Cole Broskay          3/15/2023     1.8   Working session between H. Ardizzoni, K. Kearney, R. Gordon, C.
                                          Broskay, and M. Jones (A&M) to review corporate control narrative
Cullen Stockmeyer     3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                          Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: ventures token schedule
Cullen Stockmeyer     3/15/2023     0.9   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update

Cullen Stockmeyer     3/15/2023     0.3   Call with L. Iwanski, L. Callerio, M. Rodriquez, C. Stockmeyer, L.
                                          Lambert (A&M) re: internal crypto tracing
Cullen Stockmeyer     3/15/2023     1.4   Quality check asset tracing report for Euler venture

Cullen Stockmeyer     3/15/2023     2.3   Prepare asset tracing request for asset recovery attempt

Cullen Stockmeyer     3/15/2023     2.1   Update crypto asset tracing tracker


David Johnston        3/15/2023     0.5   Call with D. Johnston, G. Balmelli, R. Gordon, K. Ramanathan, P.
                                          Kwan (A&M) on FTX EU Ltd customer claims calculation status
                                          update
Gaurav Walia          3/15/2023     0.5   Call with G. Walia, K. Ramanathan (A&M), L. Goldman, and M.
                                          Evans (AlixPartners) to discuss Alameda and FTX relationship
Gaurav Walia          3/15/2023     0.3   Call with M. Flynn, K. Ramanathan, G. Walia, A. Sivapalu, V.
                                          Rajasekhar (A&M) to discuss crypto workstream status



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Business Operations
Professional              Date     Hours     Activity
Gaurav Walia           3/15/2023     0.3   Call with M. Flynn, G. Walia to discuss Alameda transfers

Gaurav Walia           3/15/2023     0.6   Call with K. Ramanathan, S. Coverick, G. Walia (A&M) to discuss
                                           Alameda account overview presentation
Gaurav Walia           3/15/2023     0.4   Call with L. Callerio and G. Walia (A&M) regarding excluded tokens
                                           deck
Gaurav Walia           3/15/2023     0.4   Provide feedback on the excluded tokens deck

Gaurav Walia           3/15/2023     0.5   Call with J. Sardinha (FTX), P. Kwan, G. Walia, R. Johnson (A&M)
                                           regarding fiat banking database
Gioele Balmelli        3/15/2023     0.5   Call with D. Johnston, G. Balmelli, R. Gordon, K. Ramanathan, P.
                                           Kwan (A&M) on FTX EU Ltd customer claims calculation status
                                           update
Heather Ardizzoni      3/15/2023     1.8   Working session between H. Ardizzoni, K. Kearney, R. Gordon, C.
                                           Broskay, and M. Jones (A&M) to review corporate control narrative
Henry Chambers         3/15/2023     0.3   Attend to release of Singapore frozen crypto


Henry Chambers         3/15/2023     0.4   Attend to operations regarding transfer for Quoine PTE assets to
                                           BitGo
Hudson Trent           3/15/2023     1.2   Update subsidiary wind down analysis based on internal A&M
                                           feedback
Igor Radwanski         3/15/2023     0.4   Call with I. Radwanski and M. Warren (A&M) regarding formatting
                                           deliverable for a specific token request
Igor Radwanski         3/15/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Lambert (A&M) regarding crypto tracing request updates
Igor Radwanski         3/15/2023     0.4   Call with I. Radwanski, A. Heric, M. Warren, and Q. Lowdermilk
                                           (A&M) regarding toking tracing request update
Igor Radwanski         3/15/2023     0.4   Call with I. Radwanski, M. Warren, and L. Lambert (A&M) regarding
                                           analysis of certain share repurchase
Igor Radwanski         3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                           workstream updates
Igor Radwanski         3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                           Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                           regarding ventures token schedule
Igor Radwanski         3/15/2023     1.4   Identify specific wallet addresses via proprietary databases to
                                           implement on deliverable
Igor Radwanski         3/15/2023     2.1   Edit final deliverable to include additional on-chain tracing visuals


Igor Radwanski         3/15/2023     2.4   Format final deliverable to include more information and holistic
                                           transfer details for target transactions
Jack Yan               3/15/2023     2.9   Prepare the status update PowerPoint for Quoine Pte Ltd


James Lam              3/15/2023     2.7   Prepare presentation materials in relation to Liquid Global




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Business Operations
Professional                Date     Hours     Activity
Jon Chan                 3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                             Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                             regarding ventures token schedule
Jon Chan                 3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                             Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                             Hellinghausen (A&M) to go through action items, pending requests
                                             and workstreams
Jon Chan                 3/15/2023     0.6   Analyze email activity and correspondence

Jon Chan                 3/15/2023     2.2   Investigate activity between ft and other entities


Jon Chan                 3/15/2023     2.6   Investigate activity platform activity relating to specific coins

Jonathan Marshall        3/15/2023     0.2   Prepare correspondence to distribute to AWS team


Jonathan Zatz            3/15/2023     0.2   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'F', part 2
Jonathan Zatz            3/15/2023     1.1   Call with C. Cipione, L. Goldman, T. Phelan, S. Hanzi, B. Mackay
                                             (Alix Partners), K. Dusendschon, L. Konig, P. Kwan, J. Zatz, and R.
                                             Johnson (A&M) regarding database structures and insights
Jonathan Zatz            3/15/2023     1.1   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'E'
Jonathan Zatz            3/15/2023     0.9   Identify example tables to send to Alameda to help explain the need
                                             for detailed walk-through
Jonathan Zatz            3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                             Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                             Hellinghausen (A&M) to go through action items, pending requests
                                             and workstreams
Jonathan Zatz            3/15/2023     0.5   Call with R. Johnson, J. Zatz (A&M) to discuss codebase


Jonathan Zatz            3/15/2023     1.2   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'D'
Jonathan Zatz            3/15/2023     1.5   Database scripting and manual review to identify wholly included
                                             tables - beginning with 'F', part 1
Jonathan Zatz            3/15/2023     1.3   Test and debug scripts related to Alameda data profiling summary


Kevin Baker              3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                             Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                             Hellinghausen (A&M) to go through action items, pending requests
                                             and workstreams
Kevin Baker              3/15/2023     0.8   Analyze the customer accounts and associated wallets that pertain to
                                             related partied and legal entities
Kevin Kearney            3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, L. Callerio, P.
                                             McGrath, K. Kearney and S. Glustein (A&M) re: avoidance, tracing,
                                             ventures working session
Kevin Kearney            3/15/2023     1.8   Working session between H. Ardizzoni, K. Kearney, R. Gordon, C.
                                             Broskay, and M. Jones (A&M) to review corporate control narrative



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Business Operations
Professional             Date     Hours     Activity
Kevin Kearney         3/15/2023     1.8   Review and provide feedback over updated version of corporate
                                          controls narrative
Kim Dennison          3/15/2023     0.3   Review email correspondence w R Bell (Walkers) regarding
                                          redemption mechanics for LedgerPrime
Kora Dusendschon      3/15/2023     1.1   Call with C. Cipione, L. Goldman, T. Phelan, S. Hanzi, B. Mackay
                                          (Alix Partners), K. Dusendschon, L. Konig, P. Kwan, J. Zatz, and R.
                                          Johnson (A&M) regarding database structures and insights
Kora Dusendschon      3/15/2023     0.2   Screenshare with M. Flynn to search for documents related to entity

Kora Dusendschon      3/15/2023     0.1   Execute searches in Relativity for entity KYC


Kora Dusendschon      3/15/2023     0.9   Provide oversight to database team, review incoming requests and
                                          anticipated timing
Kora Dusendschon      3/15/2023     0.2   Working session with M. Flynn and K. Dusendschon (A&M) to search
                                          for documents related to entity
Kora Dusendschon      3/15/2023     0.2   Send email to FTI re document found


Kora Dusendschon      3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                          Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                          Hellinghausen (A&M) to go through action items, pending requests
                                          and workstreams
Kora Dusendschon      3/15/2023     1.1   Review information provided by S. Stephens re KYC users with no
                                          files and creating analysis spreadsheet
Kumanan Ramanathan    3/15/2023     0.6   Revise schedules for stablecoin to fiat conversions and distribute


Kumanan Ramanathan    3/15/2023     0.4   Review additional Coinbase custody cold storage wallets and provide
                                          to Sygnia team
Kumanan Ramanathan    3/15/2023     0.4   Review controls report inquiry


Kumanan Ramanathan    3/15/2023     0.4   Review documentation and Coinbase advisory services materials on
                                          bridging
Kumanan Ramanathan    3/15/2023     0.4   Review of investigation materials related to cold storage

Kumanan Ramanathan    3/15/2023     0.5   Call with D. Johnston, G. Balmelli, R. Gordon, K. Ramanathan, P.
                                          Kwan (A&M) on FTX EU Ltd customer claims calculation status
                                          update
Kumanan Ramanathan    3/15/2023     0.5   Call with G. Walia, K. Ramanathan (A&M), L. Goldman, and M.
                                          Evans (AlixPartners) to discuss Alameda and FTX relationship
Kumanan Ramanathan    3/15/2023     0.4   Provide comments to controls failures report


Kumanan Ramanathan    3/15/2023     0.6   Various calls with A. Armstrong (Cumberland) to discuss bids

Kumanan Ramanathan    3/15/2023     0.6   Call with K. Ramanathan, S. Coverick, G. Walia (A&M) to discuss
                                          Alameda account overview presentation
Kumanan Ramanathan    3/15/2023     0.3   Call with M. Flynn, K. Ramanathan, G. Walia, A. Sivapalu, V.
                                          Rajasekhar (A&M) to discuss crypto workstream status


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Kumanan Ramanathan     3/15/2023     0.2   Call with L. Callerio and K. Ramanathan (A&M) regarding tracing
                                           process updates
Kumanan Ramanathan     3/15/2023     0.6   Various calls with G. Walia, K. Ramanathan (A&M) to discuss
                                           Alameda and FTX relationship
Larry Iwanski          3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                           Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                           regarding ventures token schedule
Larry Iwanski          3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, A. Canale, L. Callerio,
                                           P. McGrath, K. Kearney and S. Glustein (A&M) regarding avoidance,
                                           tracing, ventures working session
Larry Iwanski          3/15/2023     0.3   Correspondence related to investigations and database requests that
                                           impact crypto tracing
Larry Iwanski          3/15/2023     0.3   Call with L. Iwanski, L. Callerio, M. Rodriquez, C. Stockmeyer, L.
                                           Lambert (A&M) regarding internal crypto tracing
Larry Iwanski          3/15/2023     1.4   Review, edit, and distribute KYC report

Leslie Lambert         3/15/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Lambert (A&M) regarding crypto tracing request updates
Leslie Lambert         3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                           Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                           regarding ventures token schedule
Leslie Lambert         3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, A. Canale, L. Callerio,
                                           P. McGrath, K. Kearney and S. Glustein (A&M) regarding avoidance,
                                           tracing, ventures working session
Leslie Lambert         3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                           Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                           workstream updates
Leslie Lambert         3/15/2023     0.3   Call with L. Callerio and L. Lambert (A&M) regarding crypto tracing
                                           process
Leslie Lambert         3/15/2023     0.3   Call with L. Iwanski, L. Callerio, M. Rodriquez, C. Stockmeyer, L.
                                           Lambert (A&M) regarding internal crypto tracing
Leslie Lambert         3/15/2023     0.4   Call with I. Radwanski, M. Warren, and L. Lambert (A&M) regarding
                                           analysis of certain share repurchase
Leslie Lambert         3/15/2023     0.3   Call with M. Warren and L. Lambert (A&M) regarding crypto tracing
                                           effort
Leslie Lambert         3/15/2023     0.3   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                           tracing workstream
Leslie Lambert         3/15/2023     1.9   Quality control review of progress so far on venture token tracing
                                           effort
Leslie Lambert         3/15/2023     1.2   Review of workpaper, approach, and preliminary findings regarding
                                           analysis of share repurchase
Lorenzo Callerio       3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, L. Callerio, P.
                                           McGrath, K. Kearney and S. Glustein (A&M) re: avoidance, tracing,
                                           ventures working session
Lorenzo Callerio       3/15/2023     0.2   Call with L. Callerio and K. Ramanathan (A&M) re: tracing process
                                           updates



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Professional                Date     Hours     Activity
Lorenzo Callerio         3/15/2023     0.3   Call with L. Iwanski, L. Callerio, M. Rodriguez, C. Stockmeyer, L.
                                             Lambert (A&M) re: internal crypto tracing
Lorenzo Callerio         3/15/2023     0.3   Call with L. Callerio and L. Lambert (A&M) regarding ongoing crypto
                                             tracing efforts
Lorenzo Callerio         3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                             Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                             re: ventures token schedule
Lorenzo Callerio         3/15/2023     0.4   Call with L. Callerio and G. Walia (A&M) re: excluded tokens

Lorenzo Callerio         3/15/2023     0.9   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update


Lorenzo Callerio         3/15/2023     1.3   Prepare a first draft of the excluded token deck, as discussed with G.
                                             Walia (A&M)
Lorenzo Callerio         3/15/2023     1.4   Review the updated version of the crypto tracing tracker and provide
                                             feedback to C. Stockmeyer and L. Lambert (A&M)
Louis Konig              3/15/2023     0.4   Quality control review of outputs related to targeted FTX earn
                                             program database requests
Louis Konig              3/15/2023     1.1   Call with C. Cipione, L. Goldman, T. Phelan, S. Hanzi, B. Mackay
                                             (Alix Partners), K. Dusendschon, L. Konig, P. Kwan, J. Zatz, and R.
                                             Johnson (A&M) regarding database structures and insights
Mackenzie Jones          3/15/2023     1.8   Working session between H. Ardizzoni, K. Kearney, R. Gordon, C.
                                             Broskay, and M. Jones (A&M) to review corporate control narrative
Manasa Sunkara           3/15/2023     0.7   Review outstanding requests and update the data request tracker

Manasa Sunkara           3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                             Baker, J. Chan, J. Zatz, M. Sunkara, J. Chan, M. Simkins, R.
                                             Johnson, L. Konig, M. Hellinghausen (A&M) to go through action
                                             items, pending requests and workstreams
Manasa Sunkara           3/15/2023     1.8   Pull the associated email addresses for the wallet addresses that
                                             were found
Manasa Sunkara           3/15/2023     1.2   Review and discuss data requests from internal A&M


Manasa Sunkara           3/15/2023     1.3   Quality check the scripts and exports and prepare correspondence
                                             for data request deliverables
Manasa Sunkara           3/15/2023     2.7   Prepare and extract a large volume of wallet addresses provided by
                                             internal A&M to search in the database
Mariah Rodriguez         3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, A. Canale, L. Callerio,
                                             P. McGrath, K. Kearney and S. Glustein (A&M) regarding avoidance,
                                             tracing, ventures working session
Mariah Rodriguez         3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                             Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                             workstream updates
Mariah Rodriguez         3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                             Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                             regarding ventures token schedule
Mariah Rodriguez         3/15/2023     0.3   Call with L. Iwanski, L. Callerio, M. Rodriquez, C. Stockmeyer, L.
                                             Lambert (A&M) regarding internal crypto tracing


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Mariah Rodriguez        3/15/2023     0.3   Calls with M. Rodriguez and L. Lambert (A&M) regarding crypto
                                            tracing workstream
Matthew Flynn           3/15/2023     0.5   Coordinate work on dune analytics platform


Matthew Flynn           3/15/2023     0.8   Review post-petition customer data for customers reaching out with
                                            council
Matthew Flynn           3/15/2023     0.9   Review post-petition customer data for updated crypto pricing

Matthew Flynn           3/15/2023     0.4   Review Bilira KYC information on Relativity


Matthew Flynn           3/15/2023     0.3   Call with M. Flynn, G. Walia to discuss Alameda transfers

Matthew Flynn           3/15/2023     0.3   Call with M. Flynn, K. Ramanathan, G. Walia, A. Sivapalu, V.
                                            Rajasekhar (A&M) to discuss crypto workstream status
Matthew Flynn           3/15/2023     0.9   Analyze TRY transfers on the exchange

Matthew Flynn           3/15/2023     0.9   Review Singapore presentation deck


Matthew Flynn           3/15/2023     0.2   Working session with M. Flynn and K. Dusendschon (A&M) to search
                                            for documents related to entity
Matthew Flynn           3/15/2023     1.3   Review TRY trades conducted on and off chain

Matthew Hellinghausen   3/15/2023     0.3   Machine translation of foreign language filesMachine translation of
                                            foreign language filesMachine translation of foreign language
                                            filesMachine translation of foreign language filesMachine
                                            translation of foreign language files
Matthew Hellinghausen   3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                            Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                            Hellinghausen (A&M) to go through action items, pending requests
                                            and workstreams
Matthew Warren          3/15/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                            Lambert (A&M) regarding crypto tracing request updates
Matthew Warren          3/15/2023     0.4   Call with I. Radwanski, M. Warren, and L. Lambert (A&M) regarding
                                            analysis of certain share repurchase
Matthew Warren          3/15/2023     0.3   Call with M. Warren and L. Lambert (A&M) regarding crypto tracing
                                            effort
Matthew Warren          3/15/2023     0.4   Call with I. Radwanski and M. Warren (A&M) regarding formatting
                                            deliverable for a specific token request
Matthew Warren          3/15/2023     0.4   Call with I. Radwanski, A. Heric, M. Warren, and Q. Lowdermilk
                                            (A&M) regarding toking tracing request update
Matthew Warren          3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                            workstream updates
Matthew Warren          3/15/2023     1.6   Compile and finalize of cryptocurrency detail in summary schedule for
                                            leadership




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Maximilian Simkins      3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                            Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                            Hellinghausen (A&M) to go through action items, pending requests
                                            and workstreams
Maya Haigis             3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                            Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                            Hellinghausen (A&M) to go through action items, pending requests
                                            and workstreams
Patrick McGrath         3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, L. Callerio, P.
                                            McGrath, K. Kearney and S. Glustein (A&M) re: avoidance, tracing,
                                            ventures working session
Peter Kwan              3/15/2023     0.8   Produce customer entitlements validation query development

Peter Kwan              3/15/2023     0.4   Revise customer entitlements analysis and reporting


Peter Kwan              3/15/2023     0.8   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/15/2023     0.5   Call with D. Johnston, G. Balmelli, R. Gordon, K. Ramanathan, P.
                                            Kwan (A&M) on FTX EU Ltd customer claims calculation status
                                            update
Peter Kwan              3/15/2023     0.5   Call with J. Sardinha (FTX), P. Kwan, G. Walia, R. Johnson (A&M)
                                            regarding fiat banking database
Peter Kwan              3/15/2023     1.1   Call with C. Cipione, L. Goldman, T. Phelan, S. Hanzi, B. Mackay
                                            (Alix Partners), K. Dusendschon, L. Konig, P. Kwan, J. Zatz, and R.
                                            Johnson (A&M) regarding database structures and insights
Peter Kwan              3/15/2023     1.1   Continue call with J. Sardinha (FTX), P. Kwan, R. Johnson (A&M)
                                            regarding fiat banking database
Peter Kwan              3/15/2023     0.6   Conduct Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/15/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/15/2023     0.7   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/15/2023     1.7   Analyze data and refine queries to ensure accuracy and reasonability
                                            of outputs
Quinn Lowdermilk        3/15/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                            Lambert (A&M) regarding crypto tracing request updates
Quinn Lowdermilk        3/15/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, M.
                                            Rodriguez, and L. Lambert (A&M) regarding crypto tracing
                                            workstream updates
Quinn Lowdermilk        3/15/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding schedule of
                                            venture token request
Quinn Lowdermilk        3/15/2023     0.4   Call with I. Radwanski, A. Heric, M. Warren, and Q. Lowdermilk
                                            (A&M) regarding toking tracing request update
Quinn Lowdermilk        3/15/2023     1.9   Research investment positions with token protocols




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Quinn Lowdermilk      3/15/2023     1.2   Prepare token schedule analysis with updated total investment value

Quinn Lowdermilk      3/15/2023     1.9   Analyze historical data surrounding token projects to determine
                                          blockchain
Robert Gordon         3/15/2023     0.5   Call with D. Johnston, G. Balmelli, R. Gordon, K. Ramanathan, P.
                                          Kwan (A&M) on FTX EU Ltd customer claims calculation status
                                          update
Robert Gordon         3/15/2023     1.8   Working session between H. Ardizzoni, K. Kearney, R. Gordon, C.
                                          Broskay, and M. Jones (A&M) to review corporate control narrative
Robert Johnson        3/15/2023     0.3   Adjust IP addresses in firewall rules


Robert Johnson        3/15/2023     0.5   Call with J. Sardinha (FTX), P. Kwan, G. Walia, R. Johnson (A&M)
                                          regarding fiat banking database
Robert Johnson        3/15/2023     0.5   Call with R. Johnson, J. Zatz (A&M) to discuss codebase

Robert Johnson        3/15/2023     0.8   Migration of Evolve banking data to metabase and staging tables


Robert Johnson        3/15/2023     1.1   Call with C. Cipione, L. Goldman, T. Phelan, S. Hanzi, B. Mackay
                                          (Alix Partners), K. Dusendschon, L. Konig, P. Kwan, J. Zatz, and R.
                                          Johnson (A&M) regarding database structures and insights
Robert Johnson        3/15/2023     0.3   Daily meeting with K. Dusendschon, C. Radis, A. Sloan, M. Haigis, K.
                                          Baker, J. Chan, J. Zatz, M. Simkins, R. Johnson, L. Konig, M.
                                          Hellinghausen (A&M) to go through action items, pending requests
                                          and workstreams
Robert Johnson        3/15/2023     1.1   Continue call with J. Sardinha (FTX), P. Kwan, R. Johnson (A&M)
                                          regarding fiat banking database
Robert Johnson        3/15/2023     2.3   Resize databases to scale for ongoing request work, validating
                                          connectivity following resize
Steve Coverick        3/15/2023     0.6   Call with K. Ramanathan and G. Walia (A&M) to review Alameda
                                          relationship deck
Steven Glustein       3/15/2023     0.5   Call with L. Lambert, M. Rodriguez, L. Iwanski, L. Callerio, P.
                                          McGrath, K. Kearney and S. Glustein (A&M) re: avoidance, tracing,
                                          ventures working session
Steven Glustein       3/15/2023     0.5   Call with L. Iwanski, J. Chan, I. Radwanski, A. Liv-Feyman, S.
                                          Glustein, L. Lambert, L. Callerio, M. Rodriguez, C. Stockmeyer (A&M)
                                          re: ventures token schedule
Vinny Rajasekhar      3/15/2023     0.3   Call with M. Flynn, K. Ramanathan, G. Walia, A. Sivapalu, V.
                                          Rajasekhar (A&M) to discuss crypto workstream status
Vinny Rajasekhar      3/15/2023     2.1   Update fiat transfer summary for 3/14/2023 transfers


Vinny Rajasekhar      3/15/2023     1.6   Update 3rd party exchange tracker for feedback received

Andrew Heric          3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                          Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                          updates
Andrew Heric          3/16/2023     0.3   Call with L. Lambert and A. Heric (A&M) regarding analysis of a
                                          specific token investment


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Andrew Heric            3/16/2023     0.3   Call with A. Heric and L. Lambert (A&M) regarding approach to
                                            venture request update
Andrew Heric            3/16/2023     0.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request
Andrew Heric            3/16/2023     1.3   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                            (A&M) regarding approach to crypto tracing designations
Andrew Heric            3/16/2023     2.9   Input summary tables, crypto tracing visuals, and conclusions of
                                            analyses for crypto tracing request 39
Andrew Heric            3/16/2023     2.4   Create deliverable of tracing findings related to request 39 including
                                            tracing visuals, transaction detail tables, and a summary of findings
Andrew Heric            3/16/2023     0.8   Review attributes of new token for analyses and transaction details of
                                            an identified crypto wallet related to tracing request 39
Austin Sloan            3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                            Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                            Konig (A&M) to go through action items, pending requests and
                                            workstreams
Brett Bammert           3/16/2023     1.7   Locate additional transactional documents for review team and
                                            modify search terms
Bridger Tenney          3/16/2023     1.3   Project plan review for February entries

Bridger Tenney          3/16/2023     0.8   Prepare summary of entries for project plan


Caoimhe Corr            3/16/2023     1.9   Analyze Europe liquidity requirements

Cullen Stockmeyer       3/16/2023     0.3   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                            excluded tokens deck
Cullen Stockmeyer       3/16/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update


Cullen Stockmeyer       3/16/2023     1.9   Summarize market statistics for excluded tokens for use in excluded
                                            tokens deck
Cullen Stockmeyer       3/16/2023     1.3   Update crypto asset tracing tracker


Cullen Stockmeyer       3/16/2023     1.6   Summarize background information for excluded tokens for use in
                                            excluded tokens deck
David Johnston          3/16/2023     0.1   Discussion with H. Ardizzoni, D. Johnston, T. Hudson (A&M) over
                                            CM-Equity arrangement
David Slay              3/16/2023     0.7   Distribute PMO to internal and external workstream leads

David Slay              3/16/2023     0.5   Update PMO for distribution for the following week

Gaurav Walia            3/16/2023     0.4   Call with L. Callerio and G. Walia (A&M) regarding excluded tokens
                                            deck
Gaurav Walia            3/16/2023     0.4   Various calls with G. Walia, K. Ramanathan (A&M) to discuss
                                            Alameda and FTX relationship
Gaurav Walia            3/16/2023     1.1   Call with L. Goldman, M. Evans (AlixPartners), G. Walia , L. Konig
                                            (A&M) to discuss Alameda and FTX relationship

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Gaurav Walia            3/16/2023     1.8   Update the Alameda account overview presentation

Heather Ardizzoni       3/16/2023     0.1   Discussion with H. Ardizzoni, D. Johnston, T. Hudson (A&M) over
                                            CM-Equity arrangement
Henry Chambers          3/16/2023     0.8   Attend to release of Singapore frozen crypto

Henry Chambers          3/16/2023     0.4   Consider options regarding Quoine PTE auditor

Henry Chambers          3/16/2023     0.6   Attend to matters surrounding Slack deactivation


Hudson Trent            3/16/2023     0.1   Discussion with H. Ardizzoni, D. Johnston, T. Hudson (A&M) over
                                            CM-Equity arrangement
Igor Radwanski          3/16/2023     1.4   Edit final repository workbook for specific token tracing request


Igor Radwanski          3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            updates
Igor Radwanski          3/16/2023     0.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request
Igor Radwanski          3/16/2023     1.4   Analyze token activity in relation to specific agreements


Igor Radwanski          3/16/2023     0.4   Call with L. Lambert and I. Radwanski (A&M) discussing workstream
                                            update for crypto tracing request
Igor Radwanski          3/16/2023     1.3   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                            (A&M) regarding approach to crypto tracing designations
Igor Radwanski          3/16/2023     0.9   Call with L. Lambert and I. Radwanski (A&M) discussing
                                            methodology for crypto tracing request that is in process
Igor Radwanski          3/16/2023     0.9   Call with L. Lambert and I. Radwanski (A&M) regarding crypto tracing
                                            request
Igor Radwanski          3/16/2023     1.3   Calls with I. Radwanski and L. Lambert (A&M) regarding approach,
                                            documentation, and preliminary findings for analysis of 92 tokens
Jack Yan                3/16/2023     1.3   Perform company background search of Quoine Pte Ltd for the
                                            preparation of status update PowerPoint
James Lam               3/16/2023     0.7   Correspondence with Liquid Global regarding the migration status to
                                            FTX
James Lam               3/16/2023     2.1   Update the presentation materials on Liquid Global

James Lam               3/16/2023     0.4   Address comments on presentation materials in relation to Liquid
                                            Global
Jan Kaiser              3/16/2023     0.4   Working session regarding Reporting workflow development

Jon Chan                3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                            Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                            Konig (A&M) to go through action items, pending requests and
                                            workstreams



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Jon Chan                 3/16/2023     0.9   Analyze emails and correspondence

Jon Chan                 3/16/2023     2.4   Investigate if there were any accounts on FTX pertaining to a list of
                                             individuals
Jon Chan                 3/16/2023     2.8   Investigate accounts relating to an institution and wallets that are
                                             associated with those accounts
Jonathan Marshall        3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                             Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                             Konig (A&M) to go through action items, pending requests and
                                             workstreams
Jonathan Marshall        3/16/2023     0.4   Correspondence with A&M data team regarding status of outstanding
                                             items and coordination of requests
Jonathan Zatz            3/16/2023     1.5   Create slides related to Alameda data profiling results thus far


Jonathan Zatz            3/16/2023     0.5   Draft response to S&C question regarding Alameda data challenges

Jonathan Zatz            3/16/2023     0.8   Create slides related to Alameda data profiling summary actions to
                                             date
Jonathan Zatz            3/16/2023     1.5   Prepare results for Alameda data profiling summary

Jonathan Zatz            3/16/2023     0.4   Review and editing data status slide for FTX


Jonathan Zatz            3/16/2023     1.0   Create slides related to Alameda data profiling next steps

Jonathan Zatz            3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                             Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                             Konig (A&M) to go through action items, pending requests and
                                             workstreams
Jonathan Zatz            3/16/2023     1.4   Database scripting to update Alameda data profiling tables with latest
                                             duplicate flags
Jonathan Zatz            3/16/2023     0.8   Test and debug scripts related to Update Alameda data profiling
                                             tables with duplicate flags
Julian Lee               3/16/2023     0.3   Review of FBO bank account tracker

Kevin Baker              3/16/2023     0.8   Investigate the Earn and Spot Margin lending programs for user
                                             accounts on the FTX exchange
Kevin Baker              3/16/2023     2.1   Provide update on the Alameda AWS trading data to the USAG office
                                             regarding inquiries on all trading accounts
Kevin Baker              3/16/2023     1.2   Teleconference with K. Dusendschon, P. Kwan, and K. Baker to
                                             conduct deep dive into KYC tables and determine next steps
Kim Dennison             3/16/2023     2.1   Review & consider LedgerPrime Master Fund options and prepare
                                             detailed note to A Titus (A&M) regarding the same
Kim Dennison             3/16/2023     0.9   Review & consider R Bell (Walkers) email regarding LedgerPrime
                                             redemptions; Correspondence w A Titus (A&M) regarding same
Kora Dusendschon         3/16/2023     1.2   Teleconference with K. Dusendschon, P. Kwan, and K. Baker to
                                             conduct deep dive into KYC tables and determine next steps


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Kora Dusendschon       3/16/2023     0.8   Make updates to biweekly deck and status of data copies/restoration
                                           in preparation for call with Raj
Kora Dusendschon       3/16/2023     1.3   Create deck for call with Raj. Distributing to team members,
                                           incorporating feedback, re-organizing slide and re-sending to team
                                           for review
Kora Dusendschon       3/16/2023     0.7   Review information provided by S. Stephens re missing KYC links for
                                           EU documents in Odoo
Kora Dusendschon       3/16/2023     0.6   Requests to FTI regarding additional access for team member,
                                           issues encountered with KYC user RDO and other items
Kora Dusendschon       3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                           Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                           Konig (A&M) to go through action items, pending requests and
                                           workstreams
Kora Dusendschon       3/16/2023     0.1   Follow up re: Japan collections in the short term


Kora Dusendschon       3/16/2023     0.8   Provide oversight to database team, review incoming requests and
                                           anticipated timing
Kumanan Ramanathan     3/16/2023     0.7   Correspond with BitGo team for validation of addresses and holdings

Kumanan Ramanathan     3/16/2023     0.3   Confirm test transfers to cold storage


Kumanan Ramanathan     3/16/2023     0.6   Call with N. Friedlander (S&C) to discuss cold wallet infrastructure

Kumanan Ramanathan     3/16/2023     0.6   Develop internal controls for wallet transfers


Kumanan Ramanathan     3/16/2023     0.5   Call with V. Rajasekhar, K. Ramanathan (A&M) to review 3rd party
                                           exchange summary
Kumanan Ramanathan     3/16/2023     0.8   Review of Quoine PTE ltd presentation materials


Kumanan Ramanathan     3/16/2023     0.8   Prepare BitGo stablecoin holdings by address and distribute for
                                           confirmation
Kumanan Ramanathan     3/16/2023     0.5   Call with K. Ramanathan, S. Coverick (A&M), K. Flinn, E. Aidoo, K.
                                           Cofsky (PWP), C. Lloyd (S&C) to discuss FTX 2.0 exchange restart
                                           matters
Kumanan Ramanathan     3/16/2023     0.7   Provide revised language for control failure report


Kumanan Ramanathan     3/16/2023     0.4   Various calls with G. Walia, K. Ramanathan (A&M) to discuss
                                           Alameda and FTX relationship
Kumanan Ramanathan     3/16/2023     0.5   Review of legal notice to Quoine PTE Ltd vendor and provide
                                           comments
Kumanan Ramanathan     3/16/2023     1.1   Prepare updated alternative chains for Optimism, Avalanche, Aptos
                                           and others and matrix of stablecoin holdings
Lance Clayton          3/16/2023     2.5   Compile and review data submissions for February

Larry Iwanski          3/16/2023     0.3   Meeting about Meta regarding utilization with crypto tracing



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Business Operations
Professional                Date     Hours     Activity
Larry Iwanski            3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             updates
Larry Iwanski            3/16/2023     1.2   Review of crypto tracing requisition #73 production

Leslie Lambert           3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             updates
Leslie Lambert           3/16/2023     0.3   Call with L. Lambert and A. Heric (A&M) regarding analysis of a
                                             specific token investment
Leslie Lambert           3/16/2023     0.3   Call with L. Lambert and L. Callerio (A&M) regarding crypto tracing
                                             process update
Leslie Lambert           3/16/2023     0.3   Communications regarding action items for crypto tracing
                                             workstreams
Leslie Lambert           3/16/2023     1.7   Perform quality control review token and transaction detail for
                                             analysis of 92 tokens
Leslie Lambert           3/16/2023     1.9   Review deliverables related to output from token schedule analysis


Leslie Lambert           3/16/2023     0.9   Call with L. Lambert and I. Radwanski (A&M) discussing
                                             methodology for crypto tracing request that is in process
Leslie Lambert           3/16/2023     0.4   Review of documentation relevant to crypto tracing analysis


Leslie Lambert           3/16/2023     0.3   Call with A. Heric and L. Lambert (A&M) regarding approach to
                                             venture request update
Leslie Lambert           3/16/2023     1.3   Calls with I. Radwanski and L. Lambert (A&M) regarding approach,
                                             documentation, and preliminary findings for analysis of 92 tokens
Leslie Lambert           3/16/2023     0.4   Call with L. Lambert and I. Radwanski (A&M) discussing workstream
                                             update for crypto tracing request
Leslie Lambert           3/16/2023     1.6   Conduct quality control review of approach, workpaper, and
                                             deliverable for tracing of certain transaction
Lorenzo Callerio         3/16/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: tracing process update


Lorenzo Callerio         3/16/2023     2.3   Prepare a revised draft of the excluded tokens deck

Lorenzo Callerio         3/16/2023     0.4   Call with L. Callerio and G. Walia (A&M) re: excluded tokens deck


Lorenzo Callerio         3/16/2023     0.3   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                             excluded tokens deck
Lorenzo Callerio         3/16/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing process
                                             update
Lorenzo Callerio         3/16/2023     2.0   Draft certain token summary charts including an overview of 60+
                                             different coins
Louis Konig              3/16/2023     1.1   Call with L. Goldman, M. Evans (AlixPartners), G. Walia , L. Konig
                                             (A&M) to discuss Alameda and FTX relationship




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Business Operations
Professional                Date     Hours     Activity
Louis Konig              3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                             Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                             Konig (A&M) to go through action items, pending requests and
                                             workstreams
Manasa Sunkara           3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                             Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                             Konig (A&M) to go through action items, pending requests and
                                             workstreams
Manasa Sunkara           3/16/2023     2.8   Create a query to run a wild card search for potential user accounts
                                             that may be associated with 18 different entities
Manasa Sunkara           3/16/2023     0.6   Review outstanding requests and update the data request tracker
                                             accordingly
Manasa Sunkara           3/16/2023     1.4   Quality check query scripts and exports and send correspondence
                                             regarding the data request deliverables
Manasa Sunkara           3/16/2023     2.4   Run the wild card search and break up the results accordingly due to
                                             the large volume of data for a few entities
Matthew Flynn            3/16/2023     0.7   Review TRYB exchange activity against TRM recon


Matthew Flynn            3/16/2023     1.2   Test the mock up website and provide comments to dev team

Matthew Flynn            3/16/2023     0.3   Call with M. Flynn, S. Glustein (A&M) to discuss SOL investment


Matthew Flynn            3/16/2023     2.2   Update Solana analysis and presentation

Matthew Flynn            3/16/2023     0.4   Update crypto team Microsoft planner for work performed


Matthew Flynn            3/16/2023     1.3   Update PMO slide deck for crypto workstream

Matthew Flynn            3/16/2023     0.5   Call with V. Rajasekhar and M. Flynn (A&M) to review Solana staked
                                             tokens Solana wallet
Matthew Warren           3/16/2023     0.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                             (A&M) discussing work procedures for crypto tracing request
Matthew Warren           3/16/2023     1.7   Research token schedule and implement into spreadsheet for
                                             analysis
Matthew Warren           3/16/2023     1.8   Insert tabs with agreement information into token tracing database for
                                             further review
Matthew Warren           3/16/2023     1.3   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                             (A&M) regarding approach to crypto tracing designations
Matthew Warren           3/16/2023     1.1   Review and quality control of presentation information for token
                                             request
Matthew Warren           3/16/2023     3.0   Add external data to summary schedule for token request
                                             presentation
Matthew Warren           3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             updates
Matthew Warren           3/16/2023     2.2   Develop table formatting for token summaries and distribute to team


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Maximilian Simkins      3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                            Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                            Konig (A&M) to go through action items, pending requests and
                                            workstreams
Peter Kwan              3/16/2023     2.8   FTX EU Data Extracts for Analysis Support for execution times
                                            analysis
Peter Kwan              3/16/2023     0.9   Analyze data and refine queries of outputs


Peter Kwan              3/16/2023     0.5   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/16/2023     1.2   Teleconference with K. Dusendschon, P. Kwan, and K. Baker to
                                            conduct deep dive into KYC tables and determine next steps
Peter Kwan              3/16/2023     1.2   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/16/2023     0.7   Expand customer entitlements analysis and reporting

Peter Kwan              3/16/2023     0.4   Conduct customer entitlements validation query development


Peter Kwan              3/16/2023     0.4   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/16/2023     0.5   Prepare Address Tracking Master database migration and data
                                            refresh
Quinn Lowdermilk        3/16/2023     1.6   Summarize all the tokens that the crypto tracing team will be able to
                                            trace
Quinn Lowdermilk        3/16/2023     2.1   Trace of tokens that did not have exchange activity and were
                                            launched
Quinn Lowdermilk        3/16/2023     0.9   Prepare final analysis file for tracing of tokens


Quinn Lowdermilk        3/16/2023     1.3   Call with Q. Lowdermilk, A. Heric, M. Warren and I. Radwanski
                                            (A&M) regarding approach to crypto tracing designations
Quinn Lowdermilk        3/16/2023     2.2   Update token tracing schedule with current investment data


Quinn Lowdermilk        3/16/2023     1.9   Trace tokens that did not have activity on exchange and were not
                                            launched
Quinn Lowdermilk        3/16/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            updates
Quinn Lowdermilk        3/16/2023     0.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request
Robert Johnson          3/16/2023     0.3   Daily meeting with A. Sloan, K. Dusendschon, J. Zatz, M. Simkins, J.
                                            Chan, M. Sunkara, J. Marshall, K. Baker, R. Johnson, P. Kwan, L.
                                            Konig (A&M) to go through action items, pending requests and
                                            workstreams
Robert Johnson          3/16/2023     0.8   Monitor progress of alameda export to s3 for ingestion into database
                                            platform
Robert Johnson          3/16/2023     1.9   Configure VPC peering between regions and testing to confirm
                                            connectivity

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Robert Johnson        3/16/2023     2.3   Build foreign data wrappers for five Alameda databases, and
                                          associated testing
Steve Coverick        3/16/2023     0.6   Call with K. Cofsky, K. Flinn (PWP), C. Lloyd (S&C), K. Ramanathan
                                          (A&M) re: FTX 2.0 cost structure
Steve Kotarba         3/16/2023     1.1   Post-file follow up re schedules

Steven Glustein       3/16/2023     0.3   Call with M. Flynn, S. Glustein (A&M) to discuss SOL investment

Vinny Rajasekhar      3/16/2023     0.5   Call with V. Rajasekhar, M. Flynn (A&M) to review Solana staked
                                          tokens Solana wallet
Vinny Rajasekhar      3/16/2023     0.5   Call with V. Rajasekhar, K. Ramanathan (A&M) to review 3rd party
                                          exchange summary
Vinny Rajasekhar      3/16/2023     2.3   Update 3rd party exchange tracker for new exchange data received


Alessandro Farsaci    3/17/2023     0.2   Alignment meeting D. Johnston & A. Farsaci (A&M) to discuss next
                                          steps re. Debt moratorium
Anan Sivapalu         3/17/2023     0.4   Email CoinGeko team requesting new quote for refined data
                                          requirement
Andrew Heric          3/17/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                          Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                          updates
Andrew Heric          3/17/2023     0.2   Call with A. Heric and L. Lambert (A&M) regarding walkthrough of
                                          venture token tracing request
Andrew Heric          3/17/2023     1.1   Call with A. Heric and L. Lambert (A&M) regarding finalization of
                                          venture token deliverable
Andrew Heric          3/17/2023     1.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing work procedures for crypto tracing request
Andrew Heric          3/17/2023     0.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                          (A&M) discussing work procedures for crypto tracing request
Andrew Heric          3/17/2023     1.6   Analyze contract details and begin crypto tracing of token related to
                                          venture request 39
Andrew Heric          3/17/2023     0.6   Update tracing visuals and summary analysis for request 39
                                          deliverable based off comments from L. Lambert (A&M)
Andrew Heric          3/17/2023     0.7   Input summary tracing findings based off token analysis for venture
                                          request 39
Andrew Heric          3/17/2023     0.4   Gather TRM crypto tracing visuals for token analysis related to
                                          request 39
Andrew Heric          3/17/2023     1.9   Conduct tracing of token distribution event and confirm receipt of
                                          tokens related to venture request 39
Austin Sloan          3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                          Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                          to go through action items, pending requests and workstreams
Azmat Mohammed        3/17/2023     0.8   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                          development workstream




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Brett Bammert           3/17/2023     1.2   Create targeted searches for review team based upon specific
                                            document characteristics like filename, date, and file type for terms of
                                            service of additional companies
Brett Bammert           3/17/2023     1.1   Setup targeted searches for review team to isolate company listings

Caoimhe Corr            3/17/2023     1.2   Prepare materials for Europe planning session


Cullen Stockmeyer       3/17/2023     0.5   Call with I. Radwanski, L. Lambert, L. Callerio, L. Iwanski, C.
                                            Stockmeyer (A&M) re: Internal asset tracing request 39
Cullen Stockmeyer       3/17/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process
                                            update
Cullen Stockmeyer       3/17/2023     1.6   Update crypto asset tracing tracker

David Johnston          3/17/2023     0.2   Alignment meeting D. Johnston & A. Farsaci (A&M) to discuss next
                                            steps re. debt moratorium
David Slay              3/17/2023     1.5   Update PMO for submitted workstream slides


Gaurav Walia            3/17/2023     2.2   Update the Alameda account overview presentation

Gaurav Walia            3/17/2023     0.5   Various calls with G. Walia, K. Ramanathan (A&M) to discuss
                                            Alameda and FTX relationship
Gaurav Walia            3/17/2023     0.1   Call with A. Dietderich (S&C), S. Coverick, K. Ramanathan, and G.
                                            Walia (A&M) to discuss Alameda relationship deck draft
Henry Chambers          3/17/2023     0.8   Update on the closure of Quoine PTE December accounts


Henry Chambers          3/17/2023     0.4   Review and update of Blockfolio Q&A

Henry Chambers          3/17/2023     0.7   Analysis of TTP wallet holdings and correspondence regarding
                                            assets therein
Henry Chambers          3/17/2023     0.3   Attend to correspondence regarding frozen Singapore crypto


Henry Chambers          3/17/2023     0.6   Correspondence regarding future Liquid operations

Igor Radwanski          3/17/2023     3.1   Trace wallet address suspected to have received or sent transfers of
                                            interest
Igor Radwanski          3/17/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            updates
Igor Radwanski          3/17/2023     0.9   Analyze and making edits to PowerPoint deliverable regarding token
                                            request
Igor Radwanski          3/17/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) discussing token
                                            receipt findings for crypto tracing request
Igor Radwanski          3/17/2023     0.5   Call with I. Radwanski, L. Lambert, L. Callerio, L. Iwanski, C.
                                            Stockmeyer (A&M) regarding Internal asset tracing request 39
Igor Radwanski          3/17/2023     1.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request

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Igor Radwanski           3/17/2023     1.7   Trace source of funds regarding specific token request

Igor Radwanski           3/17/2023     1.7   Triage transfer activity to request user information from database
                                             team
Igor Radwanski           3/17/2023     0.4   Call with L. Lambert and I. Radwanski (A&M) discussing
                                             methodology for crypto tracing request that is in process
Jack Yan                 3/17/2023     2.3   Review the crypto loss incurred in the transfer of cryptos from Quoine
                                             Pte Ltd to FTX Trading
James Lam                3/17/2023     1.0   Consider available assets within Liquid Group to settle customer
                                             liabilities
James Lam                3/17/2023     1.2   Analyze Liquid Global assets migrated to FTX

Jan Kaiser               3/17/2023     0.6   Working session regarding Reporting workflow development


Jon Chan                 3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Jonathan Zatz            3/17/2023     0.6   Update Alameda data profiling summary deck

Jonathan Zatz            3/17/2023     0.5   Call with M. Flynn, J. Zatz (A&M) to discuss Alameda AWS status


Jonathan Zatz            3/17/2023     0.3   Edit data status slide for FTX

Jonathan Zatz            3/17/2023     0.4   Test and debug scripts to produce starting point of manual review of
                                             date fields
Jonathan Zatz            3/17/2023     1.5   Update Alameda data profiling scripts to generate summaries using
                                             flags going forward
Jonathan Zatz            3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Jonathan Zatz            3/17/2023     1.5   Database scripting to produce starting point of manual identification
                                             of important Alameda date fields
Jonathan Zatz            3/17/2023     1.4   Database scripting related to concatenating Alameda tables' date
                                             fields
Jonathan Zatz            3/17/2023     1.1   Test and debug new scripts related to generating Alameda data
                                             profiling results
Jonathan Zatz            3/17/2023     1.3   Database scripting to update Alameda data profiling tables with latest
                                             private key flags
Julian Lee               3/17/2023     0.2   Review of FBO bank account tracker

Kevin Baker              3/17/2023     0.8   Teleconference with K. Dusendschon and K. Baker to conduct
                                             discuss KYC tables and update to S&C
Kevin Baker              3/17/2023     1.4   Report and provide update on Earn and Spot Margin lending
                                             programs for customer accounts to S&C




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Kevin Baker              3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Kora Dusendschon         3/17/2023     0.8   Provide oversight to database team, review incoming requests and
                                             anticipated timing
Kora Dusendschon         3/17/2023     1.0   Teleconference with K. Dusendschon (A&M), B. Bangerton, R.
                                             Perubhatla (FTX), Z. Flegenheimer (S&C), C. Rowe, B. Hadamik, A.
                                             Vyas, B. McMahon (FTI) to discuss ongoing data
                                             collections/preservations
Kora Dusendschon         3/17/2023     0.3   Teleconference with R. Johnson, K. Dusendschon (A&M) R.
                                             Perubhatla (FTX), to discuss AWS and ongoing items
Kora Dusendschon         3/17/2023     0.1   Follow up on the status of the entity review

Kora Dusendschon         3/17/2023     0.7   Compile data tracker for AWS requests, post to appropriate locations,
                                             and send email update
Kora Dusendschon         3/17/2023     0.8   Teleconference with K. Dusendschon and K. Baker to conduct
                                             discuss KYC tables and update to S&C
Kora Dusendschon         3/17/2023     0.2   Review request from FTI re accounts and coordinating internally

Kora Dusendschon         3/17/2023     0.3   Teleconference with R. Johnson, K. Dusendschon, and M.
                                             Hellinghausen (A&M) to discuss communication platform collection
Kora Dusendschon         3/17/2023     0.2   Compile updates to PowerPoint before call with R. Perubhatla (FTX)

Kumanan Ramanathan       3/17/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss use of third-
                                             party crypto vendors
Kumanan Ramanathan       3/17/2023     0.8   Call with L. Abendschein (Coinbase) to discuss staking and custodial
                                             matters
Kumanan Ramanathan       3/17/2023     0.6   Review custodian vulnerabilities report


Kumanan Ramanathan       3/17/2023     0.5   Call between M. Flynn, K. Ramanathan (A&M), G. Jackson, N. Shay
                                             (FTX) to discuss front-end development work
Kumanan Ramanathan       3/17/2023     0.7   Call with A. Taylor, A. Istrefi, O. Wortman (Sygnia), J. Croke, A.
                                             Holland (S&C) to discuss 3rd party exchange holdings
Kumanan Ramanathan       3/17/2023     0.8   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                             development workstream
Kumanan Ramanathan       3/17/2023     0.5   Various calls with G. Walia, K. Ramanathan (A&M) to discuss
                                             Alameda and FTX relationship
Kumanan Ramanathan       3/17/2023     0.7   Review of 3rd party exchange holdings schedule


Kumanan Ramanathan       3/17/2023     2.2   Execute various trades on stablecoin to fiat and review of relevant
                                             materials on tracking activity
Kumanan Ramanathan       3/17/2023     0.7   Review of Fireblocks documentation


Kumanan Ramanathan       3/17/2023     0.4   Call with S. Coverick, K. Ramanathan (A&M) and J. Ray (FTX) to
                                             discuss investments and 3rd party exchange holdings



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Business Operations
Professional              Date     Hours     Activity
Kumanan Ramanathan     3/17/2023     0.4   Call with L. Schneider, M. Schmenk, L. DeMeco (Ava Labs), A.
                                           Holland, J. Croke (S&C), Y. Yogev (Sygnia) to discuss Avalanche
                                           network
Larry Iwanski          3/17/2023     0.5   Call with L. Lambert, L. Iwanski (A&M) regarding token tracing

Larry Iwanski          3/17/2023     0.5   Correspondence related to investigations and database requests that
                                           impact crypto tracing
Larry Iwanski          3/17/2023     0.5   Call with I. Radwanski, L. Lambert, L. Callerio, L. Iwanski, C.
                                           Stockmeyer (A&M) regarding Internal asset tracing request 39
Larry Iwanski          3/17/2023     0.8   Review of crypto tracing requisition #39 process and methodology


Larry Iwanski          3/17/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                           Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           updates
Larry Iwanski          3/17/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                           Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           updates
Leslie Lambert         3/17/2023     0.5   Call with L. Lambert, L. Iwanski (A&M) regarding token tracing

Leslie Lambert         3/17/2023     1.9   Review output detailing tracing and analysis of certain cryptocurrency
                                           transaction
Leslie Lambert         3/17/2023     1.8   Identify and analyze documentation relevant to transaction of interest

Leslie Lambert         3/17/2023     0.4   Conduct quality control review and revision of analysis of a specific
                                           token purchase
Leslie Lambert         3/17/2023     0.2   Communicate action items related to workstream reporting

Leslie Lambert         3/17/2023     1.1   Call with A. Heric and L. Lambert (A&M) regarding finalization of
                                           venture token deliverable
Leslie Lambert         3/17/2023     0.4   Call with L. Lambert and I. Radwanski (A&M) discussing
                                           methodology for crypto tracing request that is in process
Leslie Lambert         3/17/2023     0.7   Revise and quality control review one-pager detailing progress on
                                           review of certain tokens
Leslie Lambert         3/17/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                           Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           updates
Leslie Lambert         3/17/2023     0.5   Call with I. Radwanski, L. Lambert, L. Callerio, L. Iwanski, C.
                                           Stockmeyer (A&M) regarding Internal asset tracing request 39
Leslie Lambert         3/17/2023     0.2   Call with A. Heric and L. Lambert (A&M) regarding walkthrough of
                                           venture token tracing request
Leslie Lambert         3/17/2023     0.3   Call with L. Lambert and L. Callerio (A&M) regarding REQ39 deck

Leslie Lambert         3/17/2023     0.3   Revise update on preliminary analysis of certain token acquisitions

Leslie Lambert         3/17/2023     0.2   Review stablecoin process and workstream update



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Professional                Date     Hours     Activity
Lorenzo Callerio         3/17/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: asset tracing process
                                             update
Lorenzo Callerio         3/17/2023     0.9   Review the REQ39 materials received from L. Lambert (A&M)


Lorenzo Callerio         3/17/2023     0.5   Call with I. Radwanski, L. Lambert, L. Callerio, L. Iwanski, C.
                                             Stockmeyer (A&M) re: Internal asset tracing request 39
Lorenzo Callerio         3/17/2023     0.3   Call with L. Lambert and L. Callerio (A&M) re: REQ39 deck

Louis Konig              3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Manasa Sunkara           3/17/2023     0.7   Search the SQL database for an address associated with a user on
                                             either exchange and provide the user account details
Manasa Sunkara           3/17/2023     0.6   Review outstanding correspondence regarding data requests and
                                             update the tracker
Manasa Sunkara           3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Manasa Sunkara           3/17/2023     1.3   Search for the wallet address on the blockchain for additional insight

Matthew Flynn            3/17/2023     0.5   Current status of the Block information feed


Matthew Flynn            3/17/2023     0.5   Call between M. Flynn, K. Ramanathan (A&M), G. Jackson, N. Shay
                                             (FTX) to discuss front-end development work
Matthew Flynn            3/17/2023     0.8   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                             development workstream
Matthew Flynn            3/17/2023     1.4   Front-end development project plan


Matthew Flynn            3/17/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss use of third-
                                             party crypto vendors
Matthew Flynn            3/17/2023     0.9   Review of FTX site mock-up and provide comments


Matthew Flynn            3/17/2023     0.6   Review of Fireblocks services in contract provided

Matthew Flynn            3/17/2023     0.8   Update Crypto PMO slide deck for current week status


Matthew Flynn            3/17/2023     0.5   Call with M. Flynn, J. Zatz (A&M) to discuss Alameda AWS status

Matthew Hellinghausen    3/17/2023     0.3   Teleconference with R. Johnson, K. Dusendschon, and M.
                                             Hellinghausen (A&M) to discuss communication platform collection
Matthew Hellinghausen    3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Matthew Warren           3/17/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             updates


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Matthew Warren          3/17/2023     2.5   Research of token agreements and addition to spreadsheet

Matthew Warren          3/17/2023     1.6   Develop formatting structure for token research schedule and
                                            distribute to internal team
Matthew Warren          3/17/2023     1.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request
Maximilian Simkins      3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                            Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Maya Haigis             3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                            Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                            to go through action items, pending requests and workstreams
Michael Shanahan        3/17/2023     0.8   Review counterparty standardization workpapers


Peter Kwan              3/17/2023     2.5   FTX EU Data Extracts for Analysis Support for fiat bank associations

Peter Kwan              3/17/2023     0.6   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/17/2023     0.3   KYC-AML Workstream Data Sourcing (Structured and Unstructured)

Peter Kwan              3/17/2023     0.6   Progress customer entitlements validation query development


Peter Kwan              3/17/2023     0.3   Continue Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/17/2023     1.7   FTX EU Data Extracts for Analysis Support for fiat execution times
                                            analysis
Peter Kwan              3/17/2023     0.3   Prepare customer entitlements analysis and reporting


Peter Kwan              3/17/2023     0.6   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/17/2023     0.4   Analyze data and refine queries to ensure accuracy of outputs


Quinn Lowdermilk        3/17/2023     2.1   Create analysis for population of 92 tokens needed to be traced

Quinn Lowdermilk        3/17/2023     2.2   Prepare methodology analysis file for documentation of tokens


Quinn Lowdermilk        3/17/2023     1.4   Call with A. Heric, M. Warren, Q. Lowdermilk, and I. Radwanski
                                            (A&M) discussing work procedures for crypto tracing request
Quinn Lowdermilk        3/17/2023     2.1   Research token agreements for tokens that have no exchange activity

Quinn Lowdermilk        3/17/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) discussing token
                                            receipt findings for crypto tracing request
Robert Johnson          3/17/2023     0.3   Teleconference with R. Johnson, K. Dusendschon, and M.
                                            Hellinghausen (A&M) to discuss communication platform collection
Robert Johnson          3/17/2023     1.2   Update VPC firewall rules following migration of data between VPCs



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Professional                Date     Hours     Activity
Robert Johnson           3/17/2023     1.8   Test connectivity to all databases and foreign data wrappers between
                                             databases following migration of data
Robert Johnson           3/17/2023     2.8   Database maintenance, migration of databases in ap-northeast-1
                                             region
Robert Johnson           3/17/2023     2.1   Migration of ec2 machines in ap-northeast-1 region to new VPC,
                                             confirming connectivity from EC2 machines to relevant database
                                             servers
Robert Johnson           3/17/2023     1.3   Build fills and orders table, monitoring progress of tables, reporting
                                             back to team
Robert Johnson           3/17/2023     0.6   Build python script for EU orders and fills in response to request


Robert Johnson           3/17/2023     0.3   Daily meeting with M. Hellinghausen, M. Haigis, A. Sloan, J. Zatz, M.
                                             Simkins, J. Chan, M. Sunkara, K. Baker, R. Johnson, L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Robert Johnson           3/17/2023     1.3   Update indexes on tables, and reviewing performance of databases

Steve Coverick           3/17/2023     0.1   Call with A. Dietderich (S&C), K. Ramanathan, G. Walia (A&M) to
                                             discuss Alameda relationship deck draft
Steve Coverick           3/17/2023     0.2   Call with J. Ray (FTX) and S. Coverick, K. Ramanathan (A&M) re:
                                             potential wallet discovery
Summer Li                3/17/2023     1.2   Overview of the closing of December accounts of Quoine Pte


Summer Li                3/17/2023     3.3   Close the December accounts of Quoine Pte in relation to the other
                                             payable
Vinny Rajasekhar         3/17/2023     1.7   Update TRM analysis for Solana blockchain breakdown

Vinny Rajasekhar         3/17/2023     0.4   Compile token data for ADA and NEAR blockchain


Brett Bammert            3/18/2023     1.3   Execute queries within central document repositories to locate
                                             licenses based on numbers supplied by review team
Cullen Stockmeyer        3/18/2023     0.8   Update crypto asset tracing tracker


Jon Chan                 3/18/2023     1.9   Investigate trade and transfer activity between FTX and specific
                                             institutions
Jon Chan                 3/18/2023     1.2   Provide account information and wallet information for a set of
                                             customers
Jon Chan                 3/18/2023     3.1   Investigate list of wallets that may have been used on the platform
                                             and related accounts
Kevin Baker              3/18/2023     1.6   Report and respond to a specific request to produce all transactional
                                             data to the NYAG for a specific list of individual investor entities
Lance Clayton            3/18/2023     2.8   Finalize compiled data submissions and perform final detailed review


Matthew Flynn            3/18/2023     1.1   Draft public notice document on ren protocol

Peter Kwan               3/18/2023     1.2   FTX EU Data Extracts for Analysis Support regarding exchange
                                             execution times

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Business Operations
Professional               Date     Hours     Activity
Robert Johnson          3/18/2023     1.4   Proactive database maintenance, and review of database sizes to
                                            identify cost savings
David Johnston          3/19/2023     0.5   Call with P. Kwan, D. Johnston (A&M) regarding FTX EU Ltd.
                                            customer repayment status
David Slay              3/19/2023     0.8   Update PMO for venture and M&A slides to be discussed

Henry Chambers          3/19/2023     0.2   Correspondence regarding SendGrid access for emails to Blockfolio

Henry Chambers          3/19/2023     0.8   Review and update of Blockfolio Q&A


Henry Chambers          3/19/2023     1.2   Review and update of Quoine PTE Deck for John Ray

Jon Chan                3/19/2023     1.3   Provide activity for accounts related to wallets that withdrew from the
                                            exchange
Kora Dusendschon        3/19/2023     0.1   Email communications with H. Chambers and K. Ramanathan (A&M)
                                            re Blockfolio
Kumanan Ramanathan      3/19/2023     0.5   Provide comments on 3rd party exchange notes


Kumanan Ramanathan      3/19/2023     0.8   Review of AWS data requests and provide feedback

Kumanan Ramanathan      3/19/2023     0.9   Revise presentation for compensation

Larry Iwanski           3/19/2023     1.2   Correspondence related to crypto tracing, database requests, and
                                            investigations
Peter Kwan              3/19/2023     0.5   Call with P. Kwan, D. Johnston (A&M) regarding FTX EU Ltd.
                                            customer repayment status
Robert Johnson          3/19/2023     0.6   Monitor databases and review of performance to identify issues with
                                            queries in idle state
Adam Titus              3/20/2023     0.5   Call regarding asset sale with R. Jain, M. Rosenberg (BoD), J. Ray
                                            (FTX), W. Sayed, K. Flinn, M. Rahmani, B. Mendelsohn, K. Cofsky,
                                            N. Velivela, S. Saferstein, B. Baker, A. Kalashnikov, E. Betts, L.
                                            Klaassen, M. Mesny (PWP), R. O'Neill, E. Simpson, M. Wu,
Adam Titus              3/20/2023     0.5   Conference call with M. Cilia (RLKS), J. MacDonald (S&C), A. Titus,
                                            and S. Glustein (A&M) to discuss closing fund transfers relating to
                                            venture investment transactions
Adam Titus              3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                            Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                            J.Cooper, and S. Coverick (A&M)
Aly Helal               3/20/2023     2.9   Collect Bank account information for potential new FTX bank
                                            accounts
Anan Sivapalu           3/20/2023     0.7   Call with A. Sivapalu and V. Rajasekhar (A&M) regarding TRM
                                            Solana information and silo mapping
Andrew Heric            3/20/2023     0.5   Call with L. Lambert, A. Heric, I. Radwanski, Q. Lowdermilk and M.
                                            Warren (A&M) regarding research tools and processes
Andrew Heric            3/20/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams


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Business Operations
Professional                 Date     Hours     Activity
Andrew Heric              3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                              (A&M) regarding progress of venture request
Andrew Heric              3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                              progress of venture request
Andrew Heric              3/20/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                              Iwanski (A&M) regarding crypto tracing workstream update
Andrew Heric              3/20/2023     1.6   Review attributes of new token for analyses and transaction details of
                                              an identified crypto wallet related to tracing request 39
Andrew Heric              3/20/2023     1.4   Review internal documentation and conduct blockchain tracing for
                                              token request 39 related to the venture workstream
Andrew Heric              3/20/2023     2.8   Finalize summary analyses, input TRM visuals, and create hyperlinks
                                              to identified internal documentation for request 39 deliverable
Austin Sloan              3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                              K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                              Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                              items, pending requests and workstreams
Azmat Mohammed            3/20/2023     0.5   Email dev team and scheduling time to meet with the team


Azmat Mohammed            3/20/2023     1.0   Meeting with D. Chiu (FTX) and A. Mohammed (A&M) regarding ftx.jp
                                              work and custodian integrations logic
Azmat Mohammed            3/20/2023     3.0   Gain access and analyze exchange code base


Cameron Radis             3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                              K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                              Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                              items, pending requests and workstreams
Caoimhe Corr              3/20/2023     0.9   Call with O. de Vito Piscicelli T. Hill, E. Simpson (S&C), R. Matzke, P.
                                              Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                              (AT&S), D. Johnston, K. Ramanathan, C. Corr (A&M) on Europe
                                              customer liability calculation
Chris Arnett              3/20/2023     0.3   Catch up call with S. Coverick (A&M) to discuss A&M key
                                              workstreams
Chris Arnett              3/20/2023     0.3   Catch up call with N. Simoneaux and C. Arnett (A&M) to discuss
                                              progress and edits of key workstreams
Chris Arnett              3/20/2023     0.2   Prepare for weekly A&M team workstream call


Chris Arnett              3/20/2023     0.9   Catch up call with N. Simoneaux and C. Arnett (A&M) to discuss
                                              progress and edits of key workstreams
Chris Arnett              3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                              J.Cooper (A&M)
Cullen Stockmeyer         3/20/2023     2.1   Update professional operations tracking documents


Cullen Stockmeyer         3/20/2023     0.4   Call with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re: asset
                                              tracing process
Cullen Stockmeyer         3/20/2023     2.2   Update asset tracing request list for additional database and
                                              investigations information requests


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David Johnston         3/20/2023     2.1   Review KYC materials for FTX EU Ltd

David Johnston         3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                           Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                           J.Cooper, and S. Coverick (A&M)
David Nizhner          3/20/2023     0.4   Update FX rates and distribute to internal team


Ed Mosley              3/20/2023     0.3   Discuss administrative expense options with M.Cilia (FTX)

Gaurav Walia           3/20/2023     0.2   Call with G. Walia and K. Ramanathan (A&M) to discuss various
                                           crypto workstreams
Gaurav Walia           3/20/2023     1.2   Prepare for the meeting with G. Wang (FTX)

Gaurav Walia           3/20/2023     1.4   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                           Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                           Ramanathan, G. Walia, (A&M), Y. Torati, Y. Yogev (Sygnia)
                                           regarding exchange data
Gaurav Walia           3/20/2023     1.0   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                           Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                           Ramanathan, L. Callerio, G. Walia, L. Lambert (A&M), Y. Torati, Y.
                                           Yogev (Sygnia) regarding exchange data
Gaurav Walia           3/20/2023     1.4   Review the latest TRM Labs silo tracing analysis

Gaurav Walia           3/20/2023     0.6   Call with V. Rajasekhar, W. Walker, and G. Walia (A&M) to review
                                           the latest TRM hot wallet data
Gioele Balmelli        3/20/2023     1.2   Correspondence on FTX EU transactions

Henry Chambers         3/20/2023     1.2   Manage review of Relativity for Blockfolio documentation


Henry Chambers         3/20/2023     0.2   Correspondence with R. Fung (FTX) regarding slack

Henry Chambers         3/20/2023     3.1   Finalization of Quoine PTE update slide


Hudson Trent           3/20/2023     0.3   Prepare skeleton materials for subsidiary wind down analyses

Hudson Trent           3/20/2023     0.4   Working session with H. Trent and N. Simoneaux (A&M) re: wind-
                                           down budgets and analysis
Hudson Trent           3/20/2023     0.5   Call regarding asset sale with R. Jain, M. Rosenberg (BoD), J. Ray
                                           (FTX), W. Sayed, K. Flinn, M. Rahmani, B. Mendelsohn, K. Cofsky,
                                           N. Velivela, S. Saferstein, B. Baker, A. Kalashnikov, E. Betts, L.
                                           Klaassen, M. Mesny (PWP), R. O'Neill, E. Simpson, M. Wu,
Hudson Trent           3/20/2023     1.0   Prepare assumptions related to wind down analysis


Hudson Trent           3/20/2023     1.0   Review personnel data for wind down analysis

Hudson Trent           3/20/2023     0.8   Review workstream plan re: go-forward options analyses with C.
                                           Arnett (A&M)


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Hudson Trent          3/20/2023     1.7   Prepare materials summarizing assumptions in wind down analysis

Hudson Trent          3/20/2023     0.2   Prepare summary assumptions for subsidiary wind-down budget


Hudson Trent          3/20/2023     0.5   Review operating cost assumptions related to wind-down analysis

Igor Radwanski        3/20/2023     1.9   Investigate wallet activity specific to a signed agreement

Igor Radwanski        3/20/2023     0.9   Call with I. Radwanski and L. Lambert (A&M) discussing subsequent
                                          steps for crypto tracing request
Igor Radwanski        3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                          progress of venture request
Igor Radwanski        3/20/2023     1.3   Trace specific transactions using blockchain tracing software


Igor Radwanski        3/20/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update
Igor Radwanski        3/20/2023     0.2   Call with Q. Lowdermilk, M. Warren, and I. Radwanski (A&M)
                                          regarding update for request to trace token investments
Igor Radwanski        3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding progress of venture request
Igor Radwanski        3/20/2023     0.7   Call with L. Lambert and I. Radwanski (A&M) discussing updates and
                                          next steps pertaining to crypto tracing requests
Igor Radwanski        3/20/2023     0.5   Call with L. Lambert, A. Heric, I. Radwanski, Q. Lowdermilk and M.
                                          Warren (A&M) regarding research tools and processes
Igor Radwanski        3/20/2023     2.0   Analyze email documents related to a token tracing request

Igor Radwanski        3/20/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding current progress of venture request workstreams
Igor Radwanski        3/20/2023     0.4   Call with I. Radwanski and M. Warren (A&M) regarding findings of
                                          token request
Jack Yan              3/20/2023     0.8   Proofread the PowerPoint deck prepared for introduction of Quoine
                                          Pte Ltd
James Cooper          3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                          Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                          J.Cooper (A&M)
Johnny Gonzalez       3/20/2023     0.5   Meeting with J. Gonzalez and L. Clayton (A&M) re: Venture
                                          Investments
Jon Chan              3/20/2023     2.6   Provide extracts relating to several accounts associated with a list of
                                          wallets
Jon Chan              3/20/2023     2.9   Provide extracts relating to transactions provided

Jon Chan              3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                          K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                          Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                          items, pending requests and workstreams



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Jon Chan                 3/20/2023     3.1   Investigate activity and wallets relating to key individuals provided

Jon Chan                 3/20/2023     2.8   Provide extracts relating to additional transactions provided


Jonathan Marshall        3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                             K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                             Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Jonathan Zatz            3/20/2023     2.6   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'F'
Jonathan Zatz            3/20/2023     2.4   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'H'-'L'
Jonathan Zatz            3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                             K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                             Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Jonathan Zatz            3/20/2023     1.4   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'M'
Jonathan Zatz            3/20/2023     0.3   Update questions for Alameda related to Alameda data set

Jonathan Zatz            3/20/2023     0.8   Call with W. Walker, V. Rajasekhar, J. Zatz, K. Baker (A&M)
                                             regarding Binance exchange token detail
Jonathan Zatz            3/20/2023     0.5   Call with L. Konig, J. Zatz (A&M) to discuss running scripts from Linux

Jonathan Zatz            3/20/2023     0.4   Call with K. Baker, L. Konig, P. Kwan, J. Zatz (A&M) to discuss 3rd
                                             party exchange data
Julian Lee               3/20/2023     0.2   Correspond with team regarding Far Eastern Bank follow-up in
                                             relation to custodial funds and underlying transaction data
Julian Lee               3/20/2023     0.5   Compare accounts from AWS database to bank account tracker

Kevin Baker              3/20/2023     0.4   Call with K. Baker, L. Konig, P. Kwan, J. Zatz (A&M) to discuss 3rd
                                             party exchange data
Kevin Baker              3/20/2023     0.8   Call with W. Walker, V. Rajasekhar, J. Zatz, K. Baker (A&M)
                                             regarding Binance exchange token detail
Kevin Baker              3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                             K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                             Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Kevin Baker              3/20/2023     2.3   Analyze 3rd party exchange data from Alameda user account data


Kim Dennison             3/20/2023     0.3   Review & consider A Titus (A&M) email regarding Cayman
                                             deregistration process for LedgerPrime Master Fund
Kora Dusendschon         3/20/2023     0.7   Provide oversight to database team, review incoming requests and
                                             anticipated timing
Kora Dusendschon         3/20/2023     0.9   Execute searches in Relativity for Blockfolio related ToS and other
                                             documents. Reviewing documents



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Kora Dusendschon       3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                           K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                           Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                           items, pending requests and workstreams
Kora Dusendschon       3/20/2023     0.6   Respond to A. Holland (S&C) request. Drafting and compiling email
                                           to FTI with new request and follow up
Kumanan Ramanathan     3/20/2023     0.2   Call with K. Ramanathan and S. Glustein (A&M) to discuss token
                                           purchase agreements relating to venture token investments
Kumanan Ramanathan     3/20/2023     0.2   Call with G. Walia and K. Ramanathan (A&M) to discuss various
                                           crypto workstreams
Kumanan Ramanathan     3/20/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) and J. Sardinha (FTX) to
                                           discuss Dune analytics
Kumanan Ramanathan     3/20/2023     0.3   Call with R. Perubhatla, M. Cilia's (FTX) to discuss KYC matters


Kumanan Ramanathan     3/20/2023     0.3   Populate KYC application and distribute

Kumanan Ramanathan     3/20/2023     0.9   Review 3rd party exchange data and provide changes to schedules


Kumanan Ramanathan     3/20/2023     0.9   Review and revise wallet database summary schedules

Kumanan Ramanathan     3/20/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), A. Taylor, Y. Torati, H.
                                           Nachmias (Sygnia) to discuss project status
Kumanan Ramanathan     3/20/2023     0.6   Revise letter for Ren protocol team public notice

Kumanan Ramanathan     3/20/2023     1.3   Review Gary Wang question list and prepare notes in advance of
                                           meeting
Kumanan Ramanathan     3/20/2023     1.4   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                           Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                           Ramanathan, G. Walia, (A&M), Y. Torati, Y. Yogev (Sygnia)
                                           regarding exchange data
Kumanan Ramanathan     3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                           Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                           J.Cooper, and S. Coverick (A&M)
Lance Clayton          3/20/2023     0.5   Meeting with J. Gonzalez and L. Clayton (A&M) re: Venture
                                           Investments
Larry Iwanski          3/20/2023     1.0   Review updates regarding KYC report

Larry Iwanski          3/20/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Larry Iwanski          3/20/2023     0.7   Correspondence regarding the KYC report for FTX EU Cyprus

Larry Iwanski          3/20/2023     0.6   Communications regarding crypto tracing request #39


Laureen Ryan           3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                           Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                           J.Cooper, and S. Coverick (A&M)



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Leslie Lambert        3/20/2023     0.4   Calls with L. Callerio and L. Lambert (A&M) regarding exchange data

Leslie Lambert        3/20/2023     0.4   Conduct analysis of documentation relevant to analysis of a specific
                                          token
Leslie Lambert        3/20/2023     0.5   Call with L. Lambert, A. Heric, I. Radwanski, Q. Lowdermilk and M.
                                          Warren (A&M) regarding research tools and processes
Leslie Lambert        3/20/2023     1.0   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                          Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                          Ramanathan, L. Callerio, G. Walia, (A&M), Y. Torati, Y. Yogev
                                          (Sygnia) regarding exchange data
Leslie Lambert        3/20/2023     0.3   Communication regarding ongoing and anticipated tracing efforts

Leslie Lambert        3/20/2023     1.1   Quality control review of detailed analysis of token acquisitions


Leslie Lambert        3/20/2023     0.7   Call with L. Lambert and I. Radwanski (A&M) discussing updates and
                                          next steps pertaining to crypto tracing requests
Leslie Lambert        3/20/2023     0.2   Call with L. Lambert and L. Callerio (A&M) regarding crypto tracing
                                          activities
Leslie Lambert        3/20/2023     2.1   Review of detailed descriptions for workstream

Leslie Lambert        3/20/2023     1.2   Review workpapers of token schedule analysis


Leslie Lambert        3/20/2023     0.9   Call with I. Radwanski and L. Lambert (A&M) discussing subsequent
                                          steps for crypto tracing request
Leslie Lambert        3/20/2023     0.8   Prepare for call regarding exchange data

Leslie Lambert        3/20/2023     1.4   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                          Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                          Ramanathan, G. Walia, (A&M), Y. Torati, Y. Yogev (Sygnia)
                                          regarding exchange data
Leslie Lambert        3/20/2023     1.9   Identify and review documentation relevant to certain token of interest


Lorenzo Callerio      3/20/2023     0.4   Call with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) re: asset
                                          tracing process
Lorenzo Callerio      3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                          Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                          J.Cooper (A&M)
Lorenzo Callerio      3/20/2023     1.0   Call with G. Wang (FTX), G. Ilan (Fried Frank), C. Kerin, N.
                                          Friedlander (S&C), J. LaBella, L. Goldman (Alix Partners), K.
                                          Ramanathan, L. Callerio, G. Walia, L. Lambert (A&M), Y. Torati, Y.
                                          Yogev (Sygnia) regarding exchange data
Lorenzo Callerio      3/20/2023     1.0   Review and update the excluded tokens deck


Lorenzo Callerio      3/20/2023     0.2   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing activities

Lorenzo Callerio      3/20/2023     0.4   Calls with L. Callerio and L. Lambert (A&M) regarding exchange data



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Louis Konig              3/20/2023     0.5   Call with L. Konig, J. Zatz (A&M) to discuss running scripts from Linux

Louis Konig              3/20/2023     0.4   Call with K. Baker, L. Konig, P. Kwan, J. Zatz (A&M) to discuss 3rd
                                             party exchange data
Luke Francis             3/20/2023     1.5   Searches for additional known parties

Manasa Sunkara           3/20/2023     2.4   Review an internal follow up question to a previously provided
                                             request and identify whether any additional transaction activity took
                                             place
Manasa Sunkara           3/20/2023     0.8   Correspond with internal parties to explain findings from additional
                                             research
Manasa Sunkara           3/20/2023     1.2   Provide a summary of the current assets for certain user accounts for
                                             S&C
Manasa Sunkara           3/20/2023     0.9   Quality check and prepare deliverables for internal entities

Manasa Sunkara           3/20/2023     0.3   Update the internal tracker to reflect the current status of requests


Manasa Sunkara           3/20/2023     2.9   Search the SQL database for any accounts that interacted with a list
                                             of provided addresses for S&C
Manasa Sunkara           3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                             K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                             Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Manasa Sunkara           3/20/2023     0.4   Review outstanding requests and correspond with the appropriate
                                             internal and external parties
Matthew Flynn            3/20/2023     0.3   Call with M. Flynn, K. Ramanathan (A&M) and J. Sardinha (FTX) to
                                             discuss Dune analytics
Matthew Flynn            3/20/2023     0.8   Process and review TRY trades data


Matthew Flynn            3/20/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), A. Taylor, Y. Torati, H.
                                             Nachmias (Sygnia) to discuss project status
Matthew Flynn            3/20/2023     1.2   Review post-petition KYC information

Matthew Flynn            3/20/2023     1.6   Review exchange mock up and provide comments


Matthew Flynn            3/20/2023     0.8   Review AUS Transfer activity on the exchange for data pack

Matthew Hellinghausen    3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                             K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                             Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                             items, pending requests and workstreams
Matthew Hellinghausen    3/20/2023     0.4   Machine translation of foreign language filesMachine translation of
                                             foreign language filesMachine translation of foreign language
                                             filesMachine translation of foreign language filesMachine
                                             translation of foreign language files
Matthew Warren           3/20/2023     0.2   Call with Q. Lowdermilk, M. Warren, and I. Radwanski (A&M)
                                             regarding update for request to trace token investments


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Matthew Warren          3/20/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                            Iwanski (A&M) regarding crypto tracing workstream update
Matthew Warren          3/20/2023     1.6   Assist with providing addresses for tokens request to adjacent teams


Matthew Warren          3/20/2023     0.5   Call with L. Lambert, A. Heric, I. Radwanski, Q. Lowdermilk and M.
                                            Warren (A&M) regarding research tools and processes
Matthew Warren          3/20/2023     2.4   Provide research and analysis of dormant tokens to leadership

Matthew Warren          3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding progress of venture request
Matthew Warren          3/20/2023     0.4   Call with I. Radwanski and M. Warren (A&M) regarding findings of
                                            token request
Matthew Warren          3/20/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams
Matthew Warren          3/20/2023     1.8   Review and finalize crypto detail for analysis task requested by
                                            internal team
Maximilian Simkins      3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                            K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                            Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Maya Haigis             3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                            K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                            Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                            items, pending requests and workstreams
Nicole Simoneaux        3/20/2023     0.9   Catch up call with N. Simoneaux and C. Arnett (A&M) to discuss
                                            progress and edits of key workstreams
Nicole Simoneaux        3/20/2023     0.4   Working session with H. Trent and N. Simoneaux (A&M) re: wind-
                                            down budgets and analysis
Peter Kwan              3/20/2023     0.5   Conduct Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/20/2023     0.4   Call with K. Baker, L. Konig, P. Kwan, J. Zatz (A&M) to discuss 3rd
                                            party exchange data
Peter Kwan              3/20/2023     0.9   Analyze data and refine queries to ensure reasonability of outputs

Peter Kwan              3/20/2023     1.2   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/20/2023     0.6   Prepare customer entitlements validation query development

Quinn Lowdermilk        3/20/2023     0.2   Call with Q. Lowdermilk, M. Warren, and I. Radwanski (A&M)
                                            regarding update for request to trace token investments
Quinn Lowdermilk        3/20/2023     1.6   Prepare update surrounding two token investment protocols and any
                                            mentioning of FTX Group
Quinn Lowdermilk        3/20/2023     0.4   Call with Q. Lowdermilk, L. Callerio, C. Stockmeyer (A&M) regarding
                                            asset tracing process
Quinn Lowdermilk        3/20/2023     0.5   Call with L. Lambert, A. Heric, I. Radwanski, Q. Lowdermilk and M.
                                            Warren (A&M) regarding research tools and processes


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Quinn Lowdermilk      3/20/2023     1.1   Prepare deliverable for token tracing surrounding SOMM investment

Quinn Lowdermilk      3/20/2023     0.2   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk      3/20/2023     1.9   Research on token investment agreements outlining current
                                          investment
Quinn Lowdermilk      3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding progress of venture request
Quinn Lowdermilk      3/20/2023     0.4   Call with Q. Lowdermilk, A. Heric, and I. Radwanski (A&M) regarding
                                          progress of venture request
Quinn Lowdermilk      3/20/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding current progress of venture request workstreams
Robert Johnson        3/20/2023     1.8   Update Linux EC2 machines to apply latest security patches


Robert Johnson        3/20/2023     2.1   Maintenance of metabase platform, Update server, and confirming
                                          connectivity following maintenance
Robert Johnson        3/20/2023     2.1   Restore legacy orders databases and generating counts from tables


Robert Johnson        3/20/2023     2.4   Migration of banking data to metabase tables and staging tables,
                                          creating backups of tables to ensure archives exist pre-data migration
Robert Johnson        3/20/2023     0.4   Daily meeting with J. Zatz, J. Marshall, A. Sloan, M. Hellinghausen,
                                          K. Dusendschon, M. Simkins, M. Haigis, M. Sunkara, J. Chan, K.
                                          Baker, C. Radis, R. Johnson, P. Kwan (A&M) to go through action
                                          items, pending requests and workstreams
Steve Coverick        3/20/2023     0.3   Catch up call with S. Coverick, C. Arnett (A&M) to discuss A&M key
                                          workstreams
Steve Coverick        3/20/2023     1.5   Participate (partial) in interview of Gary Wang with N. Friedlander
                                          (S&C), K. Ramanathan, G. Walia, L. Callerio (S&C)
Steve Kotarba         3/20/2023     0.4   Update team tasks and priorities

Steven Glustein       3/20/2023     0.5   Call regarding asset sale with R. Jain, M. Rosenberg (BoD), J. Ray
                                          (FTX), W. Sayed, K. Flinn, M. Rahmani, B. Mendelsohn, K. Cofsky,
                                          N. Velivela, S. Saferstein, B. Baker, A. Kalashnikov, E. Betts, L.
                                          Klaassen, M. Mesny (PWP), R. O'Neill, E. Simpson, M. Wu,
Steven Glustein       3/20/2023     0.3   Call with M. Cilia (FTX), M. Titus and S. Glustein (A&M) regarding
                                          wire instruction details relating to venture investment sale process
Steven Glustein       3/20/2023     0.2   Call with K. Ramanathan and S. Glustein (A&M) to discuss token
                                          purchase agreements relating to venture token investments
Steven Glustein       3/20/2023     0.5   Conference call with M. Cilia (FTX), J. MacDonald (S&C), A. Titus,
                                          and S. Glustein (A&M) to discuss closing fund transfers relating to
                                          venture investment transactions
Vinny Rajasekhar      3/20/2023     0.7   Call with A. Sivapalu and V. Rajasekhar (A&M) regarding TRM
                                          Solana information and silo mapping
Vinny Rajasekhar      3/20/2023     1.9   Prepare report for partial Binance exchange data

Vinny Rajasekhar      3/20/2023     0.8   Call with W. Walker, V. Rajasekhar, J. Zatz, K. Baker (A&M)
                                          regarding Binance exchange token detail

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Vinny Rajasekhar        3/20/2023     0.6   Call with V. Rajasekhar, W. Walker, and G. Walia (A&M) to review
                                            the latest TRM hot wallet data
William Walker          3/20/2023     0.7   Review 3rd party intelligence software


William Walker          3/20/2023     1.2   Review discrepancies on 3rd party exchange detail identified by
                                            S&&C
William Walker          3/20/2023     0.8   Call with W. Walker, V. Rajasekhar, J. Zatz, K. Baker (A&M)
                                            regarding Binance exchange token detail
William Walker          3/20/2023     0.6   Call with V. Rajasekhar, W. Walker, and G. Walia (A&M) to review
                                            the latest TRM hot wallet data
William Walker          3/20/2023     0.6   Review hot wallet detail analysis and summary

Adam Titus              3/21/2023     1.0   Conference call with F. Crocco, (S&C), R. Bell (Walkers Global), A.
                                            Titus and S. Glustein (A&M) relating to Ledger Prime wind-down
Adam Titus              3/21/2023     0.3   Call with A. Titus and S. Glustein (A&M) to discuss updates from
                                            PMO meeting
Adam Titus              3/21/2023     0.8   Follow up requests from discussion with call with F. Weinberg (S&C)
                                            outstanding options request and other questions regarding Ledger
                                            Prime
Adam Titus              3/21/2023     0.6   Review Starkware information request and data regarding asks for
                                            contact information. Complete request
Adam Titus              3/21/2023     2.3   Review scorecard for first 5 tear sheets on equity investments
                                            provided by team for detailed review and assessment. Provide
                                            comments to L. Clayton (A&M)
Alec Liv-Feyman         3/21/2023     0.3   Call with A. Sivapalu, A. Liv-Feyman (A&M) regarding database
                                            source updates
Aly Helal               3/21/2023     2.5   Collect Bank account information for potential new FTX bank
                                            accounts
Anan Sivapalu           3/21/2023     0.3   Call with G. Walia and A. Sivapalu (A&M) regarding exchange
                                            volume and revenue data
Anan Sivapalu           3/21/2023     0.4   Call with W. Walker and A. Sivapalu (A&M) to discuss PowerBI
                                            dashboards and crypto chain scans
Anan Sivapalu           3/21/2023     0.3   Call with A. Sivapalu and A. Liv-Feyman (A&M) regarding database
                                            source updates
Andrew Heric            3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams
Andrew Heric            3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Andrew Heric            3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Andrew Heric            3/21/2023     0.2   Call with L. Lambert, A. Heric, and M. Sunkara (A&M) regarding
                                            token tracing request
Andrew Heric            3/21/2023     1.9   Finalize summary analyses, input TRM visuals, create hyperlinks to
                                            identified internal documentation, and notate transaction details for
                                            request 39 deliverable

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Andrew Heric              3/21/2023     1.3   Review venture contracts for identifiable tracing information and
                                              begin analysis of the token for venture tracing request 39
Andrew Heric              3/21/2023     1.1   Finalize crypto tracing analysis and notate findings of supporting
                                              document research for venture tracing request 39
Andrew Heric              3/21/2023     2.4   Conduct crypto tracing analysis of a new token related to venture
                                              tracing request 39
Azmat Mohammed            3/21/2023     2.5   Meeting with N. Shay and G. Jackson (FTX) to discuss 2.0 backlog

Caoimhe Corr              3/21/2023     2.9   Prepare customer reconciliation updates


Charles Evans             3/21/2023     0.2   Correspondence with J. Lam and C. Evans (A&M) regarding the
                                              transfer of Quoine assets
Chris Arnett              3/21/2023     0.2   Compose email to E. Simpson (S&C) re: Hong Kong office lease
                                              remediation
Chris Arnett              3/21/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                              Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                              M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                              Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Chris Arnett              3/21/2023     0.5   Participate in weekly PMO with debtor and advisory team

Chris Arnett              3/21/2023     0.2   Prepare for weekly PMO with debtor and advisory team


Chris Arnett              3/21/2023     2.4   Review and comment on team workstream and deliverables progress
                                              and status
Cullen Stockmeyer         3/21/2023     0.5   Call with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re: internal
                                              crypto tracing
Cullen Stockmeyer         3/21/2023     0.5   Call with K. Ramanathan, G. Walia, L. Lambert, L. Callerio, C.
                                              Stockmeyer (A&M) re: internal accounts and excluded accounts
Cullen Stockmeyer         3/21/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Cullen Stockmeyer         3/21/2023     0.5   Call with I. Radwanski, C. Stockmeyer (A&M) re: asset tracing for
                                              venture team
Cullen Stockmeyer         3/21/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Cullen Stockmeyer         3/21/2023     2.1   Update excluded tokens deck for new information consolidation
                                              related to token exchange platform
Cullen Stockmeyer         3/21/2023     1.7   Prepare analysis of top accounts by excluded token for report

Cullen Stockmeyer         3/21/2023     2.4   Update asset tracing request list for additional database and
                                              investigations information requests
David Johnston            3/21/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                              Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                              M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                              Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
David Johnston            3/21/2023     0.5   Discuss FTX EU workstream updates with D. Johnston, S. Coverick,
                                              and E. Mosley (A&M)


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David Johnston         3/21/2023     0.3   Prepare updates for comments received on FTX EU Ltd presentation

David Johnston         3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt. (FTX), A. Kranzley & leads
                                           (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                           Coverick & workstream leads (A&M)
Ed Mosley              3/21/2023     0.5   Discuss FTX EU workstream updates with D. Johnston, S. Coverick
                                           and E. Mosley (A&M)
Ed Mosley              3/21/2023     1.0   Participate in weekly Board meeting with K. Knipp, M. Doheny, J.
                                           Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray, M. Cilia, K.
                                           Schultea, R. Perubhatla (FTX), K. Cofsky, B. Mendelsohn, N.
                                           Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP), S. Coverick,
Gaurav Walia           3/21/2023     0.5   Call with V. Rajasekhar and G. Walia (A&M) regarding BitGo and
                                           Sygnia crypto wallets
Gaurav Walia           3/21/2023     0.2   Call with G. Walia and V. Rajasekhar (A&M) regarding CoinGeko API
                                           purchase
Gaurav Walia           3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                           P. Kwan (A&M) to discuss AWS and KYC status
Gaurav Walia           3/21/2023     0.3   Call with G. Walia and A. Sivapalu (A&M) regarding exchange
                                           volume and revenue data
Gaurav Walia           3/21/2023     0.7   Review the lend / borrow deck prepared by Alix


Gaurav Walia           3/21/2023     0.5   Call with K. Ramanathan, G. Walia, L. Lambert, L. Callerio, C.
                                           Stockmeyer (A&M) regarding internal accounts and excluded
                                           accounts
Gaurav Walia           3/21/2023     0.7   Call with N. Molina (FTX) to discuss exchange P&L calculation


Gaurav Walia           3/21/2023     1.2   Review the available pricing data available for historic dates

Henry Chambers         3/21/2023     0.8   Review of Blockfolio terms of use and other related documents

Henry Chambers         3/21/2023     1.8   Review and update of Quoine PTE Deck for John Ray


Hudson Trent           3/21/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                           Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                           M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                           Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Hudson Trent           3/21/2023     1.1   Prepare recovery estimates for subsidiary wind down analysis

Igor Radwanski         3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                           (A&M) regarding current progress of venture request workstreams
Igor Radwanski         3/21/2023     0.4   Analyze workstream methodology to improve overall tracing process

Igor Radwanski         3/21/2023     0.9   Call with I. Radwanski and L. Lambert (A&M) discussing subsequent
                                           steps for crypto tracing request
Igor Radwanski         3/21/2023     0.4   Call with I. Radwanski, and Q. Lowdermilk (A&M) discussing transfer
                                           details pertaining to a specific token request



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Igor Radwanski           3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             update
Igor Radwanski           3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             update
Igor Radwanski           3/21/2023     0.5   Call with I. Radwanski, C. Stockmeyer (A&M) regarding asset tracing
                                             for venture team
Igor Radwanski           3/21/2023     2.8   Edit deliverable to include further findings regarding a crypto tracing
                                             request
Igor Radwanski           3/21/2023     2.4   Trace transactions pertaining to specific wallet addresses as part of a
                                             token tracing request
Jack Yan                 3/21/2023     0.7   Retrieve documents related to Blockfolio from Relativity


Jack Yan                 3/21/2023     1.2   Understand the use of Relativity to search different iterations of terms
                                             of use of Blockfolio
Jack Yan                 3/21/2023     3.1   Consolidate and summarize analyses related to bank transactions


James Cooper             3/21/2023     1.0   Participate in weekly Board meeting with K. Knipp, M. Doheny, J.
                                             Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray, M. Cilia, K.
                                             Schultea, R. Perubhatla (FTX), K. Cofsky, B. Mendelsohn, N.
                                             Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP), S. Coverick,
James Lam                3/21/2023     2.1   Prepare slides on crypto movements for Liquid Global and Liquid
                                             Japan
Jeffery Stegenga         3/21/2023     0.6   Participation in the weekly PMO update w/ mgmt, S&C, PWP and
                                             A&M
Jeffery Stegenga         3/21/2023     0.8   Review of latest PMO deck in preparation for/follow-up to today's
                                             mgmt update session
Jon Chan                 3/21/2023     2.6   Investigate a provided wallet and provide transactions from the
                                             platform
Jon Chan                 3/21/2023     2.7   Investigate transactions involving certain coins traded on the
                                             exchange
Jonathan Zatz            3/21/2023     0.5   Call with K. Baker, J. Zatz (A&M) to discuss 3rd party exchange data
                                             files
Jonathan Zatz            3/21/2023     2.9   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'P'-'S'
Jonathan Zatz            3/21/2023     1.3   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'O'
Jonathan Zatz            3/21/2023     2.8   Database scripting and manual review to identify wholly included
                                             tables in Alameda data - beginning with 'T'-'W'
Julian Lee               3/21/2023     0.1   Compare accounts from AWS database to bank account tracker

Kevin Baker              3/21/2023     0.5   Call with K. Baker, J. Zatz (A&M) to discuss 3rd party exchange data
                                             files
Kevin Baker              3/21/2023     1.4   Produce top 10 holders for select coins on AWS exchange



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Kim Dennison           3/21/2023     0.6   Review & consider A Titus (A&M) response regarding deregistration
                                           of LedgerPrime steps; Email response to same
Kora Dusendschon       3/21/2023     0.2   Review request and set up discussion


Kora Dusendschon       3/21/2023     0.3   Participate in screenshare with K. Dusendschon (A&M) and B.
                                           Hadamik (FTI) for KYC deliverable
Kora Dusendschon       3/21/2023     0.5   Teleconference with K. Dusendschon (A&M), E. Newman, N.
                                           Wolowski (S&C), C. Rowe, B. Hadamik, G. Hougey (FTI) to go
                                           through open items and requests
Kora Dusendschon       3/21/2023     0.7   Provide oversight to database team, review incoming requests and
                                           anticipated timing
Kora Dusendschon       3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                           P. Kwan (A&M) to discuss AWS and KYC status
Kora Dusendschon       3/21/2023     0.3   Call with R. Johnson, K. Dusendschon, M. Hellinghausen (A&M) to
                                           discuss data preservation
Kumanan Ramanathan     3/21/2023     0.5   Call with K. Ramanathan, G. Walia, L. Lambert, L. Callerio, C.
                                           Stockmeyer (A&M) regarding internal accounts and excluded
                                           accounts
Kumanan Ramanathan     3/21/2023     0.7   Review wallet address database for sample addresses across
                                           multiple networks
Kumanan Ramanathan     3/21/2023     0.6   Review of Binance account holdings


Kumanan Ramanathan     3/21/2023     0.6   Revise public notice for Ren protocol

Kumanan Ramanathan     3/21/2023     0.5   Call with D. Jones (Coinbase) regarding Coinbase custody accounts

Kumanan Ramanathan     3/21/2023     0.2   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                           tracing status
Kumanan Ramanathan     3/21/2023     1.1   Review of Arbitrium ARB token release and relevant materials

Kumanan Ramanathan     3/21/2023     0.7   Provide instructions to team on developing revenue by customers,
                                           region and market maker for FTX 2.0 exchange restart efforts
Kumanan Ramanathan     3/21/2023     0.9   Review crypto assets posted on schedules and provide feedback

Kumanan Ramanathan     3/21/2023     0.3   Call with R. Johnson, K. Dusendschon, M. Hellinghausen (A&M) to
                                           discuss data preservation
Kumanan Ramanathan     3/21/2023     0.4   Call with R. Perubhatla (FTX) to discuss IT matters

Larry Iwanski          3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                           Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
Larry Iwanski          3/21/2023     0.1   Review of FINAL KYC report for FTX EU Cyprus


Larry Iwanski          3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                           Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update


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Professional                Date     Hours     Activity
Leslie Lambert           3/21/2023     0.8   Communications regarding ongoing crypto tracing workstream

Leslie Lambert           3/21/2023     0.5   Call with K. Ramanathan, G. Walia, L. Lambert, L. Callerio, C.
                                             Stockmeyer (A&M) regarding internal accounts and excluded
                                             accounts
Leslie Lambert           3/21/2023     0.8   Conduct quality control review of approach, workpaper, and
                                             deliverable for tracing analysis
Leslie Lambert           3/21/2023     0.2   Call with L. Lambert, A. Heric, and M. Sunkara (A&M) regarding
                                             token tracing request
Leslie Lambert           3/21/2023     0.9   Call with I. Radwanski and L. Lambert (A&M) discussing subsequent
                                             steps for crypto tracing request
Leslie Lambert           3/21/2023     0.5   Call with L. Callerio, L. Lambert, C. Stockmeyer (A&M) regarding
                                             internal crypto tracing
Leslie Lambert           3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                             Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             update
Leslie Lambert           3/21/2023     2.2   Review and revise findings, observations, preliminary conclusions for
                                             tracing efforts on a population of token purchases
Leslie Lambert           3/21/2023     1.7   Perform supplementary analysis / research to inform tracing findings

Leslie Lambert           3/21/2023     1.8   Conduct review of detailed descriptions for workstream


Lorenzo Callerio         3/21/2023     0.2   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Lorenzo Callerio         3/21/2023     0.5   Call with K. Ramanathan, G. Walia, L. Lambert, L. Callerio, C.
                                             Stockmeyer (A&M) re: internal accounts and excluded accounts
Lorenzo Callerio         3/21/2023     0.5   Call with L. Callerio, L. Lambert, C. Stockmeyer (A&M) re: internal
                                             crypto tracing
Lorenzo Callerio         3/21/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Lorenzo Callerio         3/21/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                             Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                             M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                             Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Lorenzo Callerio         3/21/2023     0.2   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                             tracing status
Lorenzo Callerio         3/21/2023     1.6   Review and integrate the excluded tokens deck including comments
                                             received form K. Ramanathan (A&M)
Louis Konig              3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                             P. Kwan (A&M) to discuss AWS and KYC status
Manasa Sunkara           3/21/2023     0.3   Update the team's data request tracker to reflect the current status of
                                             requests
Manasa Sunkara           3/21/2023     0.8   Quality check deliverables and correspond findings to internal A&M

Manasa Sunkara           3/21/2023     0.2   Call with L. Lambert, A. Heric, and M. Sunkara (A&M) regarding
                                             token tracing request


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Manasa Sunkara          3/21/2023     1.2   Quality check scripts and exports and prepare deliverables for S&C

Manasa Sunkara          3/21/2023     1.1   Pull additional data fields into a previously provided export regarding
                                            addresses and associated emails
Manasa Sunkara          3/21/2023     0.6   Review outstanding requests and correspond with internal A&M and
                                            S&C
Manasa Sunkara          3/21/2023     2.9   Analyze the results of the transaction activity and identify potential
                                            user accounts related to certain entities
Manasa Sunkara          3/21/2023     1.8   Quality check and prepare deliverables to correspond findings to S&C


Manasa Sunkara          3/21/2023     3.2   Revise to Follow up on S&C request re identification users by trading
                                            activity
Matthew Flynn           3/21/2023     0.9   Review and comments provided on Quoine presentation


Matthew Flynn           3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                            P. Kwan (A&M) to discuss AWS and KYC status
Matthew Flynn           3/21/2023     0.7   Review of global KYC vendors on FTX.COM


Matthew Flynn           3/21/2023     0.7   Review provide additional comments on exchange website mock up

Matthew Flynn           3/21/2023     0.6   Review of Fireblocks trading and storage proposal

Matthew Flynn           3/21/2023     0.2   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                            tracing status
Matthew Flynn           3/21/2023     0.5   Discussion with Fireblocks on services and quote

Matthew Flynn           3/21/2023     1.3   Review of Dune analytics and relevant dashboards


Matthew Flynn           3/21/2023     1.7   Update post-petition presentation

Matthew Flynn           3/21/2023     1.4   Review of TRY counterparty data


Matthew Hellinghausen   3/21/2023     0.3   Machine translation of foreign language filesMachine translation of
                                            foreign language filesMachine translation of foreign language
                                            filesMachine translation of foreign language filesMachine
                                            translation of foreign language files
Matthew Hellinghausen   3/21/2023     0.3   Call with R. Johnson, K. Dusendschon, M. Hellinghausen (A&M) to
                                            discuss data preservation
Matthew Warren          3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Matthew Warren          3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams
Matthew Warren          3/21/2023     3.2   Provide and analysis on tokens with designated addresses




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Matthew Warren          3/21/2023     1.8   Compile methodology for token research and distribute to internal
                                            team for reference
Matthew Warren          3/21/2023     2.4   Review and analysis of tokens with no data activity and summarize
                                            findings
Peter Kwan              3/21/2023     0.6   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/21/2023     0.5   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/21/2023     1.0   Prepare Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                            P. Kwan (A&M) to discuss AWS and KYC status
Peter Kwan              3/21/2023     1.5   Analyze data and refine certain queries to ensure accuracy and
                                            reasonability of outputs
Quinn Lowdermilk        3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, L.
                                            Lambert, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Quinn Lowdermilk        3/21/2023     0.4   Call with I. Radwanski, and Q. Lowdermilk (A&M) discussing transfer
                                            details pertaining to a specific token request
Quinn Lowdermilk        3/21/2023     0.7   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams
Quinn Lowdermilk        3/21/2023     2.1   Prepare analysis with transaction hashed that correlate to the
                                            agreement
Quinn Lowdermilk        3/21/2023     1.2   Update analysis for token investments found


Quinn Lowdermilk        3/21/2023     1.8   Research token on public explorers for transactions correlated to
                                            agreement
Rob Esposito            3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt. (FTX), A. Kranzley & leads
                                            (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                            Coverick & workstream leads (A&M)
Robert Gordon           3/21/2023     1.3   Prepare for AlixPartners call over tracing and historical transfers


Robert Johnson          3/21/2023     0.5   Call with M. Flynn, K. Dusendschon, R. Johnson, G. Walia, L. Konig,
                                            P. Kwan (A&M) to discuss AWS and KYC status
Robert Johnson          3/21/2023     0.4   Clean up snapshots to reduce data footprint


Robert Johnson          3/21/2023     1.2   Migration of EU fills and orders table from Dotcom database to
                                            analysis server
Robert Johnson          3/21/2023     0.8   Review metabase tables and historic requests to identify need to
                                            present specific columns in metabase views
Robert Johnson          3/21/2023     0.4   Migrate bank data for three banks to metabase, and add additional
                                            requested field to view
Robert Johnson          3/21/2023     1.6   Test VPN connectivity to EC2 machines and RDS instances, and
                                            adjusting VPN configuration to correct issues
Robert Johnson          3/21/2023     2.3   Add VPC rules and DNS between regions and VPCs to allow VPN
                                            connectivity to RDS and EC2 instances

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Robert Johnson           3/21/2023     2.4   Additional migration of banking data to metabase tables and staging
                                             tables following parsing by team relating to Klarpay, BofA, HSBC
Steve Coverick           3/21/2023     0.7   Coordinate with FTX, S&C and A&M personnel on legal entity wind-
                                             down workstream
Steve Coverick           3/21/2023     0.5   Discuss FTX EU workstream updates with D. Johnston, S. Coverick
                                             and E. Mosley (A&M)
Steve Coverick           3/21/2023     1.0   Participate in weekly Board meeting with K. Knipp, M. Doheny, J.
                                             Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray, M. Cilia, K.
                                             Schultea, R. Perubhatla (FTX), K. Cofsky, B. Mendelsohn, N.
                                             Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP), S. Coverick,
Steve Kotarba            3/21/2023     0.5   Prepare daily tasks and priorities

Steve Kotarba            3/21/2023     1.2   Work re creditor noticing prep - preparation of parties and notice
                                             information
Steven Glustein          3/21/2023     0.3   Call with A. Titus and S. Glustein (A&M) to discuss updates from
                                             PMO meeting
Steven Glustein          3/21/2023     1.0   Conference call with F. Crocco, (S&C), R. Bell (Walkers Global), A.
                                             Titus and S. Glustein (A&M) relating to Ledger Prime wind-down
Summer Li                3/21/2023     0.8   Understand the movement of SBI trust account between 11
                                             November 2022 to 30 November 2022
Summer Li                3/21/2023     0.5   Correspondence with J. Lee (A&M) regarding the transactions details
                                             of one of the Quoine PTE bank accounts
Vinny Rajasekhar         3/21/2023     0.5   Call with V. Rajasekhar and G. Walia (A&M) regarding BitGo and
                                             Sygnia crypto wallets
Vinny Rajasekhar         3/21/2023     0.2   Call with G. Walia and V. Rajasekhar (A&M) regarding CoinGeko API
                                             purchase
William Walker           3/21/2023     0.4   Call with W. Walker and A. Sivapalu (A&M) to discuss PowerBI
                                             dashboards and crypto chain scans
William Walker           3/21/2023     1.9   Review 3rd party exchange detail data for validation of holdings

William Walker           3/21/2023     1.7   Research staking structures and economics of staking rewards


Adam Titus               3/22/2023     0.9   Provide email responses to potential liquidator to Cayman Master
                                             Fund. Gather relevant answers and draft responses based on latest
                                             thinking
Adam Titus               3/22/2023     0.7   Email correspondence review and follow up on token investments,
                                             provide related responses to follow up and questions
Alex Canale              3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                             C. Stockmeyer, A. Heric, I. Radwanski (A&M) re: avoidance action
                                             tracing - ventures touchpoint
Aly Helal                3/22/2023     2.0   Document the findings for potential new FTX bank accounts to
                                             decide whether they are Debtors or Non-Debtors accounts
Aly Helal                3/22/2023     2.8   Collect Bank account information for potential new bank accounts

Andrew Heric             3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                             C. Stockmeyer, A. Heric, I. Radwanski (A&M) regarding avoidance
                                             action tracing - ventures touchpoint

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Professional                 Date     Hours     Activity
Andrew Heric              3/22/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, M. Warren, and A. Heric
                                              (A&M) regarding crypto tracing workstream update
Andrew Heric              3/22/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding venture token
                                              tracing request
Andrew Heric              3/22/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                              (A&M) regarding current progress of venture request workstreams
Andrew Heric              3/22/2023     3.1   Finalize summary analyses, input TRM visuals, and create hyperlinks
                                              to identified internal documentation for request 39 deliverable
Andrew Heric              3/22/2023     1.8   Finalize analysis of token tracing, open-source research, and internal
                                              document review for token related to venture request 39
Andrew Heric              3/22/2023     0.3   Gather TRM crypto tracing visuals for token analysis related to
                                              request 39
Andrew Heric              3/22/2023     0.8   Summarize open-source findings of token distribution event for
                                              venture request 39
Austin Sloan              3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                              go through action items, pending requests and workstreams
Azmat Mohammed            3/22/2023     0.5   Meeting with H. Chambers and A. Mohammed (A&M) to discuss
                                              Liquid Exchange and other development efforts
Brett Bammert             3/22/2023     1.8   Construct saved searches and generate document analysis for
                                              review team
Cameron Radis             3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                              go through action items, pending requests and workstreams
Chris Arnett              3/22/2023     0.3   Meeting with T. Nagase, K. Kawai (AMT), N. Mehta, K. Hatano, S.
                                              Xiang (S&C), C. Arnett, H. Trent, and N. Simoneaux (A&M) on
                                              hypothetical wind-down analysis
Chris Arnett              3/22/2023     0.7   Review D&O policy at request of J. Paranyuk (S&C) re: named
                                              officers and directors by entity
Cullen Stockmeyer         3/22/2023     1.7   Review presentation related to asset tracing for accuracy

Cullen Stockmeyer         3/22/2023     0.4   Call with L. Callerio, L. Lambert, C. Stockmeyer, L. Iwanski (A&M) re:
                                              internal crypto tracing
Cullen Stockmeyer         3/22/2023     1.7   Build appendix related to FTX.US exchange for excluded tokens deck


Cullen Stockmeyer         3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                              C. Stockmeyer, A. Heric, I. Radwanski (A&M) re: avoidance action
                                              tracing - ventures touchpoint
Cullen Stockmeyer         3/22/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck


Cullen Stockmeyer         3/22/2023     2.1   Build appendix related to FTX.COM exchange for excluded tokens
                                              deck
Cullen Stockmeyer         3/22/2023     1.8   Update asset tracing request list for additional database and
                                              investigations information requests
David Johnston            3/22/2023     0.6   Discuss FTX EU alternatives strategy and attached analyses with D.
                                              Johnston, S.Coverick, and E. Mosley (A&M)


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Professional                 Date     Hours     Activity
David Slay                3/22/2023     0.7   Update PMO for distribution for the following week

Ed Mosley                 3/22/2023     0.6   Review of latest FTX overview summary/phase 2 focus and follow-up
                                              w/ E. Mosley, J. Stegenga and S. Coverick (A&M)
Ed Mosley                 3/22/2023     0.2   Discuss rest of world business options planning with S.Coverick
                                              (A&M)
Ed Mosley                 3/22/2023     0.6   Discuss FTX EU alternatives strategy and attached analyses with D.
                                              Johnston, S.Coverick, E. Mosley (A&M)
Emily Hoffer              3/22/2023     0.6   Review of DBS production and counterparty availability


Gaurav Walia              3/22/2023     0.7   Call with G. Walia (A&M) and P. Lee (FTX) to discuss Market Maker
                                              analysis
Gaurav Walia              3/22/2023     0.9   Review the excluded tokens analysis


Gaurav Walia              3/22/2023     0.3   Call with K.Ramanathan, V. Rajeshkar, M. Flynn and G. Walia (A&M)
                                              regarding crypto currency team update
Gaurav Walia              3/22/2023     0.3   Call with K. Dusendschon, G. Walia (A&M) regarding market maker
                                              data and KYC
Gaurav Walia              3/22/2023     0.6   Call with G. Walia and L. Callerio (A&M) regarding excluded tokens
                                              executive summary review
Gaurav Walia              3/22/2023     0.8   Call with G. Walia, L. Konig, K. Ramanathan (A&M), L. Goldman, M.
                                              Evans, and S. Hanzi (Alix) to review the lend / borrow analysis
Gaurav Walia              3/22/2023     1.0   Review the updated borrow / lend methodology described by Alix


Gaurav Walia              3/22/2023     0.3   Various calls with G. Walia, K. Ramanathan (A&M) to discuss crypto
                                              workstream updates
Heather Ardizzoni         3/22/2023     0.8   Draft email responses re: Alameda legal entity historical ownership
                                              with timeline
Heather Ardizzoni         3/22/2023     2.3   Review and understand Alameda legal entity ownership change and
                                              timeline of events
Heather Ardizzoni         3/22/2023     2.1   Compile and organize documents pertaining to ownership of
                                              Alameda legal entities
Heather Ardizzoni         3/22/2023     2.6   Research incorporation and ownership of Alameda legal entities

Henry Chambers            3/22/2023     0.5   Perform administration of intellectual property licensing meeting
                                              regarding FTX.com code
Henry Chambers            3/22/2023     0.4   Attend to SendGrid access to identify sent emails


Henry Chambers            3/22/2023     0.4   Attend to intellectual property licensing correspondence

Henry Chambers            3/22/2023     0.8   Consideration of Bitocto exchange go-forward plan


Henry Chambers            3/22/2023     1.2   Update of Quoine PTE presentation




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Henry Chambers        3/22/2023     0.5   Meeting with H. Chambers and A. Mohammed (A&M) to discuss
                                          Liquid Exchange and other development efforts
Henry Chambers        3/22/2023     0.9   Update of Quoine PTE FTX wallet gap analysis


Henry Chambers        3/22/2023     0.4   Consideration of Quoine PTE audit issues

Henry Chambers        3/22/2023     0.5   Consideration of Quoine PTE banned users and associated liability
                                          gap
Hudson Trent          3/22/2023     1.2   Prepare updated assumption descriptions for entity wind down
                                          analysis
Hudson Trent          3/22/2023     0.3   Meeting with T. Nagase, K. Kawai (AMT), N. Mehta, K. Hatano, S.
                                          Xiang (S&C), C. Arnett, H. Trent, and N. Simoneaux (A&M) on
                                          hypothetical wind-down analysis
Hudson Trent          3/22/2023     1.7   Prepare subsidiary wind down assumptions for entity considered for
                                          de minimis asset sale
Hudson Trent          3/22/2023     0.3   Correspond with various parties regarding wind down analysis
                                          assumptions
Hudson Trent          3/22/2023     1.4   Prepare timeline and related materials for subsidiary wind down

Igor Radwanski        3/22/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, M. Warren, and A. Heric
                                          (A&M) regarding crypto tracing workstream update
Igor Radwanski        3/22/2023     0.9   Edit deliverable related to a specific blockchain transaction

Igor Radwanski        3/22/2023     1.1   Update workstream methodology to illustrate current progress of
                                          token tracing requests
Igor Radwanski        3/22/2023     2.3   Trace specific outgoing transfers using blockchain tracing software

Igor Radwanski        3/22/2023     1.8   Trace transfers related to a specific token request

Igor Radwanski        3/22/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding current progress of venture request workstreams
Igor Radwanski        3/22/2023     2.3   Build deliverable related to a specific token request

Igor Radwanski        3/22/2023     0.6   Call with I. Radwanski and L. Lambert (A&M) discussing updates
                                          regarding different crypto tracing requests
Igor Radwanski        3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                          C. Stockmeyer, A. Heric, I. Radwanski (A&M) regarding avoidance
                                          action tracing - ventures touchpoint
Jack Yan              3/22/2023     3.2   Consolidate and summarize analyses related to sohrtfall

Jack Yan              3/22/2023     0.8   Correspondence with H. Chambers (A&M) regarding the revision of
                                          report related to go-forward plan
Jack Yan              3/22/2023     1.1   Correspondence with K. Dusendschon (A&M) on the matter of
                                          Relativity access
Jack Yan              3/22/2023     0.7   Understand the use of Relativity to search different iterations of terms
                                          of use of Blockfolio

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Professional                Date     Hours     Activity
Jack Yan                 3/22/2023     1.3   Revise the PowerPoint deck for the introduction of Quoine Pte Ltd

James Lam                3/22/2023     1.6   Research and review information on Liquid Global including its
                                             operation and development
James Lam                3/22/2023     0.2   Review the progress of Quoine Pte's crypto being transferred to a
                                             custodian
James Lam                3/22/2023     0.4   Correspondence with Quoine Pte team for further information on
                                             Liquid Global users
Jeffery Stegenga         3/22/2023     0.6   Review of latest FTX overview summary/phase 2 focus and follow-up
                                             w/ E. Mosley, J. Stegenga and S. Coverick (A&M)
Jon Chan                 3/22/2023     2.3   Investigate names to see if there are associated accounts for key
                                             individuals
Jon Chan                 3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                             go through action items, pending requests and workstreams
Jon Chan                 3/22/2023     2.7   Investigate address associated with an account


Jonathan Zatz            3/22/2023     3.1   Review Alameda codebase repositories for database references

Jonathan Zatz            3/22/2023     0.8   Correspondence with FTX regarding Alameda codebase


Jonathan Zatz            3/22/2023     0.9   Root-cause issue with Linux queries running out of space

Jonathan Zatz            3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                             go through action items, pending requests and workstreams
Jonathan Zatz            3/22/2023     2.1   Script and execute queries to identify wholly included tables for large
                                             tables in Alameda data - beginning with 'I' and 'L'
Jonathan Zatz            3/22/2023     0.3   Call with K. Baker, J. Zatz, K. Ramanathan (A&M) to discuss 3rd
                                             party exchange transactional data
Julian Lee               3/22/2023     0.8   Review of accounts from AWS database not identified in bank
                                             account tracker
Julian Lee               3/22/2023     0.5   Review supporting documents identified for potential fairpay and
                                             klarpay accounts
Kevin Baker              3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, and L. Konig (A&M)
                                             to go through action items, pending requests and workstreams
Kevin Baker              3/22/2023     2.1   Investigate specific transactions on AWS exchange that are over 2m
                                             in size
Kevin Baker              3/22/2023     0.3   Call with K. Baker, J. Zatz, K. Ramanathan (A&M) to discuss 3rd
                                             party exchange transactional data
Kora Dusendschon         3/22/2023     0.8   Follow up regarding S&C request on 11 accounts for KYC


Kora Dusendschon         3/22/2023     0.1   Internal coordination on Market Makers review




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Kora Dusendschon       3/22/2023     0.9   Draft internal email regarding Relativity access and send FTI
                                           questions on metadata fields
Kora Dusendschon       3/22/2023     0.2   Internal coordination on access to QE workspace


Kora Dusendschon       3/22/2023     0.8   Provide oversight to database team, review incoming requests and
                                           anticipated timing. Log requests
Kora Dusendschon       3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                           Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                           go through action items, pending requests and workstreams
Kora Dusendschon       3/22/2023     0.2   Internal coordination regarding the 11 accounts and information
                                           requested
Kora Dusendschon       3/22/2023     0.3   Call with K. Dusendschon, G. Walia (A&M) regarding market maker
                                           data and KYC
Kora Dusendschon       3/22/2023     0.4   KYC coordination with FTI for Turkish account request, review
                                           document in Relativity and request additional details
Kora Dusendschon       3/22/2023     0.4   KYC coordination with FTI regarding overall KYC requests


Kora Dusendschon       3/22/2023     0.6   Provide additional details to FTI regarding Market Makers review

Kumanan Ramanathan     3/22/2023     0.9   Review of Coinbase custody invoice and correspond with D. Jones
                                           (Coinbase), and review other relevant materials
Kumanan Ramanathan     3/22/2023     0.3   Call with K.Ramanathan, V. Rajeshkar, M. Flynn and G. Walia (A&M)
                                           regarding crypto currency team update
Kumanan Ramanathan     3/22/2023     1.1   Review of Coinbase custody wallet addresses and confirm test
                                           transfers and crypto secured for subsidiaries
Kumanan Ramanathan     3/22/2023     0.3   Various calls with G. Walia, K. Ramanathan (A&M) to discuss crypto
                                           workstream updates
Kumanan Ramanathan     3/22/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss crypto
                                           workstream status
Kumanan Ramanathan     3/22/2023     0.6   Review on-chain activity using TRM for addresses


Kumanan Ramanathan     3/22/2023     0.8   Call with G. Walia, L. Konig, K. Ramanathan (A&M), L. Goldman, M.
                                           Evans, and S. Hanzi (Alix) to review the lend / borrow analysis
Kumanan Ramanathan     3/22/2023     0.8   Various correspondences regarding ARB token airdrop and warrant
                                           issuance
Kumanan Ramanathan     3/22/2023     0.3   Call with K. Baker, J. Zatz, K. Ramanathan (A&M) to discuss 3rd
                                           party exchange transactional data
Larry Iwanski          3/22/2023     0.4   Call with L. Callerio, L. Lambert, C. Stockmeyer, L. Iwanski (A&M)
                                           regarding internal crypto tracing
Larry Iwanski          3/22/2023     0.8   Review of FINAL KYC report for FTX EU Cyprus

Larry Iwanski          3/22/2023     0.9   Call with L. Lambert, L. Iwanski (A&M) regarding crypto tracing
                                           requirements
Leslie Lambert         3/22/2023     1.9   Review document repository to identify relevant documentation to
                                           tracing request


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Professional                Date     Hours     Activity
Leslie Lambert           3/22/2023     0.4   Call with L. Callerio, L. Lambert, C. Stockmeyer, L. Iwanski (A&M)
                                             regarding internal crypto tracing
Leslie Lambert           3/22/2023     1.4   Prepare and distribute communications regarding status of ongoing
                                             workstream efforts
Leslie Lambert           3/22/2023     1.8   Review deliverables for tracing requests

Leslie Lambert           3/22/2023     0.6   Call with I. Radwanski and L. Lambert (A&M) discussing updates
                                             regarding different crypto tracing requests
Leslie Lambert           3/22/2023     0.3   Plan and prepare workplan for tracing efforts


Leslie Lambert           3/22/2023     0.4   Review and revise workplan for tracing request

Leslie Lambert           3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                             C. Stockmeyer, A. Heric, I. Radwanski (A&M) regarding avoidance
                                             action tracing - ventures touchpoint
Leslie Lambert           3/22/2023     0.9   Call with L. Lambert, L. Iwanski (A&M) regarding crypto tracing
                                             requirements
Lorenzo Callerio         3/22/2023     1.8   Review and update the structure of the crypto tracing activities tracker

Lorenzo Callerio         3/22/2023     0.4   Call with G. Walia and L. Callerio (A&M) re: excluded tokens
                                             executive summary review
Lorenzo Callerio         3/22/2023     1.0   Review the update version of the excluded tokens deck prepared by
                                             C. Stockmeyer (A&M)
Lorenzo Callerio         3/22/2023     0.6   Call with G. Walia and L. Callerio (A&M) re: excluded tokens
                                             executive summary review
Lorenzo Callerio         3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                             C. Stockmeyer, A. Heric, I. Radwanski (A&M) re: avoidance action
                                             tracing - ventures touchpoint
Lorenzo Callerio         3/22/2023     0.4   Call with L. Callerio, L. Lambert, C. Stockmeyer, L. Iwanski (A&M) re:
                                             internal crypto tracing
Lorenzo Callerio         3/22/2023     0.8   Review all the crypto tracing requests received today


Lorenzo Callerio         3/22/2023     2.3   Work on the excluded token deck to incorporate changes to the
                                             executive summary
Lorenzo Callerio         3/22/2023     0.8   Review 3 responses provided by the crypto tracing team


Lorenzo Callerio         3/22/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Lorenzo Callerio         3/22/2023     0.6   Analyze certain files received from G. Walia (A&M) re: FTX.com and
                                             FTX.us coins
Louis Konig              3/22/2023     0.8   Call with G. Walia, L. Konig, K. Ramanathan (A&M), L. Goldman, M.
                                             Evans, and S. Hanzi (Alix) to review the lend / borrow analysis
Louis Konig              3/22/2023     0.8   Call with L. Konig, K. Ramanathan (A&M), L. Goldman, M. Evans,
                                             and S. Hanzi (Alix) to review the lend / borrow analysis




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Professional             Date     Hours     Activity
Manasa Sunkara        3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                          Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                          go through action items, pending requests and workstreams
Manasa Sunkara        3/22/2023     0.9   Discuss findings of wild card search results with internal A&M

Manasa Sunkara        3/22/2023     2.6   Discuss with internal data team regarding the related party data and
                                          update associated queries
Manasa Sunkara        3/22/2023     3.3   Additional follow up on a previous request to add related party data
                                          fields to the receiving address and users export
Manasa Sunkara        3/22/2023     0.4   Quality check data deliverables to internal A&M and relay the
                                          updates to the exports
Manasa Sunkara        3/22/2023     1.6   Search the SQL database for user accounts associated with a certain
                                          name
Matthew Flynn         3/22/2023     1.3   Review customer options and derivatives interface

Matthew Flynn         3/22/2023     0.3   Call with K.Ramanathan, V. Rajeshkar, M. Flynn and G. Walia (A&M)
                                          regarding crypto currency team update
Matthew Flynn         3/22/2023     1.6   Create presentation for new customer portal

Matthew Flynn         3/22/2023     0.8   Review and respond to fiat to bank reconciliation questions


Matthew Flynn         3/22/2023     0.3   Correspondence with Fireblocks quote

Matthew Flynn         3/22/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss crypto
                                          workstream status
Matthew Flynn         3/22/2023     0.6   Correspondence with developers on exchange status

Matthew Flynn         3/22/2023     0.9   Update post-petition customer presentation for comments

Matthew Warren        3/22/2023     1.8   Use of open sources to find relevant addresses in response to inquiry
                                          from management
Matthew Warren        3/22/2023     1.8   Provide research of tokens to find relevant transactions

Matthew Warren        3/22/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                          (A&M) regarding current progress of venture request workstreams
Matthew Warren        3/22/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, M. Warren, and A. Heric
                                          (A&M) regarding crypto tracing workstream update
Matthew Warren        3/22/2023     1.9   Analysis of found addresses and how they correlate to missing token
                                          funds
Maximilian Simkins    3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                          Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                          go through action items, pending requests and workstreams
Maya Haigis           3/22/2023     0.2   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                          Haigis, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig (A&M) to
                                          go through action items, pending requests and workstreams



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Nicole Simoneaux        3/22/2023     0.3   Meeting with T. Nagase, K. Kawai (AMT), N. Mehta, K. Hatano, S.
                                            Xiang (S&C), C. Arnett, H. Trent, and N. Simoneaux (A&M) on
                                            hypothetical wind-down analysis
Patrick McGrath         3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                            C. Stockmeyer, A. Heric, I. Radwanski (A&M) re: avoidance action
                                            tracing - ventures touchpoint
Peter Kwan              3/22/2023     1.1   Continue Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/22/2023     0.3   Analyze data and refine specific queries to ensure accuracy and
                                            reasonability of outputs
Peter Kwan              3/22/2023     0.6   Produce customer entitlements validation query development

Quinn Lowdermilk        3/22/2023     2.1   Prepare analysis for transactions believed to be associated with
                                            investment
Quinn Lowdermilk        3/22/2023     0.2   Call with Q. Lowdermilk and A. Heric (A&M) regarding venture token
                                            tracing request
Quinn Lowdermilk        3/22/2023     1.9   Research new token and agreement terms to understand investment


Quinn Lowdermilk        3/22/2023     0.5   Call with Q. Lowdermilk, A. Heric, M. Warren, and I. Radwanski
                                            (A&M) regarding current progress of venture request workstreams
Quinn Lowdermilk        3/22/2023     1.7   Update token tracing schedule with investment transactions of interest


Quinn Lowdermilk        3/22/2023     0.4   Call with Q. Lowdermilk, I. Radwanski, M. Warren, and A. Heric
                                            (A&M) regarding crypto tracing workstream update
Robert Gordon           3/22/2023     0.2   Review results of North Dimension Ltd relativity search

Robert Gordon           3/22/2023     0.4   Walkthrough material for the Indonesian exchange BitOcto


Robert Johnson          3/22/2023     0.6   Resize alameda analysis database server to mitigate storage errors

Robert Johnson          3/22/2023     1.9   Update all EC2 machines to apply latest security patches


Robert Johnson          3/22/2023     1.6   Review security group firewall rules and confirming network
                                            accessibility
Robert Johnson          3/22/2023     2.3   Monitor queries, and adjusting database parameters to improve
                                            performance
Robert Johnson          3/22/2023     0.7   Adjust DNS settings for VPC peering connections

Steve Coverick          3/22/2023     0.2   Discuss rest of world business options planning with S.Coverick, E.
                                            Mosley (A&M)
Steve Coverick          3/22/2023     0.6   Review of latest FTX overview summary/phase 2 focus and follow-up
                                            w/ E. Mosley, J. Stegenga and S. Coverick (A&M)
Steve Coverick          3/22/2023     0.6   Discuss FTX EU alternatives strategy and attached analyses with D.
                                            Johnston, S.Coverick, E. Mosley (A&M)
Steve Kotarba           3/22/2023     0.4   Update team tasks and priorities



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Professional                 Date     Hours     Activity
Steven Glustein           3/22/2023     0.5   Call with L. Lambert, P. McGrath, A. Canale, S. Glustein, L. Callerio,
                                              C. Stockmeyer, A. Heric, I. Radwanski (A&M) re: avoidance action
                                              tracing - ventures touchpoint
William Walker            3/22/2023     1.4   Review crypto staking proposal details provided by vendors

William Walker            3/22/2023     0.3   Call with K.Ramanathan, V. Rajeshkar, M. Flynn and G. Walia (A&M)
                                              regarding crypto currency team update
Adam Titus                3/23/2023     1.2   Provide email responses to potential liquidator to Cayman Master
                                              Fund. Gather relevant answers and draft responses based on latest
                                              thinking
Allison Cox               3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                              Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) re: asset tracing
                                              request debrief
Aly Helal                 3/23/2023     2.1   Collect Bank account information for potential new FTX bank
                                              accounts
Anan Sivapalu             3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                              Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                              regarding Power BI usage on TRM data
Andrew Heric              3/23/2023     0.9   Call with L. Lambert and A. Heric (A&M) regarding updates and next
                                              steps for priority tracing requests
Andrew Heric              3/23/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                              Iwanski (A&M) regarding crypto tracing workstream update
Andrew Heric              3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                              Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                              regarding Power BI usage on TRM data
Andrew Heric              3/23/2023     1.4   Update summary of findings and TRM visuals for multiple request 39
                                              deliverables based off comments from C. Stockmeyer and L. Lambert
                                              (A&M)
Austin Sloan              3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                              pending requests and workstreams
Azmat Mohammed            3/23/2023     2.5   Analyze exchange code base and prepare summary


Cameron Radis             3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                              pending requests and workstreams
Chris Arnett              3/23/2023     1.2   Investigate practical considerations around certain entity liquidations

Cullen Stockmeyer         3/23/2023     0.4   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                              Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) re: asset tracing
                                              request debrief
Cullen Stockmeyer         3/23/2023     1.4   Update asset tracing request list for additional database and
                                              investigations information requests
Cullen Stockmeyer         3/23/2023     1.2   Update professional operations tracking documents


Cullen Stockmeyer         3/23/2023     1.9   Update Excluded tokens deck for comments provided during review




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Professional             Date     Hours     Activity
Cullen Stockmeyer     3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                          Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                          regarding Power BI usage on TRM data
Cullen Stockmeyer     3/23/2023     0.5   Call with I. Radwanski, Q. Lowdermilk, C. Stockmeyer (A&M) re:
                                          asset tracing tracker update
David Dawes           3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                          Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) re: asset tracing
                                          request debrief
David Johnston        3/23/2023     2.6   Review European country level recovery options

David Johnston        3/23/2023     2.7   Review prior presentations relating to recovery, incorporate into
                                          European analysis
David Johnston        3/23/2023     3.2   Develop summary of options for European jurisdictions


Gaurav Walia          3/23/2023     0.9   Review the available KYC documentation

Henry Chambers        3/23/2023     0.5   Discussion with R. Esposito, S. Kotarba, K. Ramanathan, D.
                                          Lewandowski and H. Chambers (A&M) regarding customer portal
Henry Chambers        3/23/2023     0.3   Attend to correspondence regarding audit workstream

Henry Chambers        3/23/2023     0.6   Attend to the release of frozen Singapore crypto


Henry Chambers        3/23/2023     0.2   Follow ups on Comsec pre petition invoice

Henry Chambers        3/23/2023     0.3   Correspondence with O. Wortman (Sygnia) regarding Liquid
                                          Database acquisition
Hudson Trent          3/23/2023     0.4   Review and provide feedback on subsidiary wind down analysis


Igor Radwanski        3/23/2023     0.3   Call with L. Lambert, I. Radwanski, V. Rajasekhar (A&M) regarding
                                          Binance partial account detail
Igor Radwanski        3/23/2023     0.4   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                          Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) regarding asset
                                          tracing request debrief
Igor Radwanski        3/23/2023     1.4   Trace payments made on the blockchain to verify if agreements were
                                          honored
Igor Radwanski        3/23/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update
Igor Radwanski        3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                          Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                          regarding Power BI usage on TRM data
Igor Radwanski        3/23/2023     0.5   Call with I. Radwanski, Q. Lowdermilk, C. Stockmeyer (A&M)
                                          regarding asset tracing tracker update
Igor Radwanski        3/23/2023     0.8   Triage transfers made from a specific wallet during a set date range

Igor Radwanski        3/23/2023     0.5   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding findings
                                          of token tracing workstream


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Professional                Date     Hours     Activity
Igor Radwanski           3/23/2023     1.7   Call with I. Radwanski and L. Lambert (A&M) discussing procedures
                                             regarding a specific crypto tracing request
Igor Radwanski           3/23/2023     3.0   Trace transfers related to a specific token request using blockchain
                                             analytics software
Jack Yan                 3/23/2023     2.2   Correspondence with K. Dusendschon (A&M) on the matter of
                                             Relativity access
Jack Yan                 3/23/2023     2.0   Retrieve documents related to Blockfolio from Relativity

James Lam                3/23/2023     2.1   Review findings on TTP wallet addresses and Sollet tokens


James Lam                3/23/2023     0.1   Review the Quoine Pte custodian transfer tracker

Jon Chan                 3/23/2023     2.3   Investigate activity made by specific institutions and whether or not
                                             they were account holders
Jon Chan                 3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                             pending requests and workstreams
Jon Chan                 3/23/2023     2.6   Investigate activity related to key individuals

Jon Chan                 3/23/2023     2.4   Investigate activity related to specific transactions and wallets


Jonathan Zatz            3/23/2023     2.6   Script and execute queries to identify wholly included tables for large
                                             tables in Alameda data - beginning with 'B' and 'C'
Jonathan Zatz            3/23/2023     2.3   Script and execute queries to identify wholly included tables for large
                                             tables in Alameda data - beginning with 'O' and 'P'
Jonathan Zatz            3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                             pending requests and workstreams
Jonathan Zatz            3/23/2023     2.4   Script and execute queries to identify wholly included tables for large
                                             tables in Alameda data - beginning with 'F'
Julian Lee               3/23/2023     0.1   Update workpaper on AWS data comparison with bank account
                                             tracker
Julian Lee               3/23/2023     0.2   Correspond with foreign debtor representative regarding potential
                                             Fairpay account
Kevin Baker              3/23/2023     1.2   Investigate and report on law department request for the NYAG


Kevin Kearney            3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                             Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) re: asset tracing
                                             request debrief
Kora Dusendschon         3/23/2023     0.3   Compile weekly update for earlier in the week

Kora Dusendschon         3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                             pending requests and workstreams
Kora Dusendschon         3/23/2023     0.4   Provide additional details regarding Relativity and guidance to team



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Kora Dusendschon       3/23/2023     0.8   Follow up on KYC requests and updates with FTI

Kora Dusendschon       3/23/2023     0.7   Provide oversight and coordination on requests


Kora Dusendschon       3/23/2023     0.2   Next steps on the Market Makers review

Kora Dusendschon       3/23/2023     0.7   Compile update for the week, draft new slide outlining Relativity
                                           instances
Kora Dusendschon       3/23/2023     0.8   Internal coordination on KYC requests. Setting up follow up
                                           conversations and compiling updates
Kumanan Ramanathan     3/23/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                           tracing activities
Kumanan Ramanathan     3/23/2023     1.1   Review various data requests and responses


Kumanan Ramanathan     3/23/2023     0.9   Review of situation with defi lending platform

Kumanan Ramanathan     3/23/2023     0.5   Review crypto staking analysis for use in internal meeting


Kumanan Ramanathan     3/23/2023     0.8   Various email correspondences on crypto tracing matters

Kumanan Ramanathan     3/23/2023     1.7   Prepare formula and calculation for FTX EU adjusted cost base
                                           positions
Kumanan Ramanathan     3/23/2023     1.2   Review of Solana foundation agreement and correspond with the PH
                                           team
Kumanan Ramanathan     3/23/2023     0.5   Discussion with R. Esposito, S. Kotarba, K. Ramanathan, D.
                                           Lewandowski and H. Chambers (A&M) regarding customer portal
Kumanan Ramanathan     3/23/2023     0.4   Review insurance matters for custodial accounts


Larry Iwanski          3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                           Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) regarding asset
                                           tracing request debrief
Larry Iwanski          3/23/2023     0.7   Review of FINAL KYC report for FTX EU Cyprus

Larry Iwanski          3/23/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Leslie Lambert         3/23/2023     1.6   Review deliverables detailing findings and observations from tracing
                                           and underlying support documentation
Leslie Lambert         3/23/2023     1.7   Call with I. Radwanski and L. Lambert (A&M) discussing procedures
                                           regarding a specific crypto tracing request
Leslie Lambert         3/23/2023     0.9   Call with L. Lambert and A. Heric (A&M) regarding updates and next
                                           steps for priority tracing requests
Leslie Lambert         3/23/2023     0.9   Review analysis of excluded tokens

Leslie Lambert         3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                           Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                           regarding Power BI usage on TRM data

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Professional             Date     Hours     Activity
Leslie Lambert        3/23/2023     0.3   Call with L. Lambert, I. Radwanski, V. Rajasekhar (A&M) regarding
                                          Binance partial account detail
Leslie Lambert        3/23/2023     1.4   Quality control review of multi-pronged analysis of certain token
                                          positions
Leslie Lambert        3/23/2023     0.3   Provide feedback and direction on approach, methodology, and
                                          preliminary findings for certain tracing efforts
Leslie Lambert        3/23/2023     0.4   Call with L. Callerio and L. Lambert (A&M) regarding Request 73

Leslie Lambert        3/23/2023     0.7   Draft and circulate updates on status of tracing efforts


Leslie Lambert        3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                          Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) regarding asset
                                          tracing request debrief
Lorenzo Callerio      3/23/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                          tracing activities
Lorenzo Callerio      3/23/2023     0.5   Update the excluded token deck including comments received from
                                          L. Lambert (A&M)
Lorenzo Callerio      3/23/2023     0.3   Call with L. Callerio, C. Stockmeyer, L. Lambert, L. Iwanski, I.
                                          Radwanski, K. Kearney, D. Dawes, A. Cox (A&M) re: asset tracing
                                          request debrief
Lorenzo Callerio      3/23/2023     0.4   Call with L. Callerio and L. Lambert (A&M) regarding Request 73


Lorenzo Callerio      3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                          Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                          regarding Power BI usage on TRM data
Lorenzo Callerio      3/23/2023     1.1   Review the additional crypto tracing request received today

Lorenzo Callerio      3/23/2023     0.8   Update the excluded tokens deck prior to circulating it internally


Luke Francis          3/23/2023     0.8   Review and updates to investments based on sales of assets

Luke Francis          3/23/2023     1.2   Analysis of open AP and invoice matching review based on internal
                                          records
Manasa Sunkara        3/23/2023     1.4   Look into the existing tables with wallet addresses and queries to
                                          identify the gap in the master table
Manasa Sunkara        3/23/2023     0.8   Review outstanding data requests and correspondence from internal
                                          A&M
Manasa Sunkara        3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                          Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                          pending requests and workstreams
Manasa Sunkara        3/23/2023     0.6   Discussion with S&C regarding the data exports provided and the
                                          direction to proceed with the request
Manasa Sunkara        3/23/2023     2.8   Update SQL queries regarding a previous request and update the
                                          data exports
Manasa Sunkara        3/23/2023     3.2   Search for missing wallet addresses in the SQL database and
                                          identify potential gaps in existing tables


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Matthew Flynn           3/23/2023     1.1   Review and provide comments on U.S. exchange mock up

Matthew Flynn           3/23/2023     0.9   Analyze unknown post-petition customer data


Matthew Flynn           3/23/2023     1.2   Update post-petition customer presentation for comments

Matthew Flynn           3/23/2023     1.3   Research and correspondence with vendors on crypto storage
                                            solutions
Matthew Flynn           3/23/2023     1.4   Map customer data to TRM receipt addresses


Matthew Flynn           3/23/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) on crypto
                                            tracing activities
Matthew Flynn           3/23/2023     0.8   Correspondence on AUS data requests


Matthew Warren          3/23/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                            Iwanski (A&M) regarding crypto tracing workstream update
Matthew Warren          3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                            Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                            regarding Power BI usage on TRM data
Matthew Warren          3/23/2023     2.1   Provide analysis of previous transactions of specific tokens


Matthew Warren          3/23/2023     2.8   Provide research of token details and processes

Matthew Warren          3/23/2023     2.5   Conduct analysis of tokens to find relevant transactions


Maximilian Simkins      3/23/2023     0.3   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                            Sunkara, J. Chan, C. Radis (A&M) to go through action items,
                                            pending requests and workstreams
Peter Kwan              3/23/2023     0.5   Analyze data and revise queries to ensure accuracy and
                                            reasonability of outputs
Peter Kwan              3/23/2023     0.9   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/23/2023     0.6   Conduct customer entitlements validation query development

Peter Kwan              3/23/2023     0.6   Meeting with A&M Data team regarding process planning,
                                            outstanding requests outputs, and steps
Peter Kwan              3/23/2023     0.6   Conduct Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/23/2023     0.8   Review customer entitlements analysis and reporting

Quinn Lowdermilk        3/23/2023     0.8   Call with L. Lambert, Q. Lowdermilk, M. Warren, I. Radwanski, A.
                                            Heric, L. Callerio, C. Stockmeyer, L. Iwanski, and A. Sivapalu (A&M)
                                            regarding Power BI usage on TRM data
Quinn Lowdermilk        3/23/2023     0.5   Call with I. Radwanski, Q. Lowdermilk, C. Stockmeyer (A&M)
                                            regarding asset tracing tracker update



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Quinn Lowdermilk       3/23/2023     1.4   Analyze public explorers and found transactions of interest for
                                           specific token tracing request
Quinn Lowdermilk       3/23/2023     2.1   Research public block explorers for transactions tied to token
                                           investment agreement
Quinn Lowdermilk       3/23/2023     0.4   Call with Q. Lowdermilk, A. Heric, M. Warren, I. Radwanski, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk       3/23/2023     1.6   Prepare analysis for transactions of interest that could be related to
                                           token investment
Quinn Lowdermilk       3/23/2023     0.5   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding findings
                                           of token tracing workstream
Quinn Lowdermilk       3/23/2023     1.2   Prepare updates to deliverable for token investment analysis

Summer Li              3/23/2023     0.1   Correspondence with C. Bertrand (FTX) relating to the latest status of
                                           user reports and schedule meeting to discuss the latest status
Summer Li              3/23/2023     1.4   Understand how much the audit fee payments the Japan and
                                           Singapore entities are going to make
Vinny Rajasekhar       3/23/2023     0.3   Call with L. Lambert, I. Radwanski, V. Rajasekhar (A&M) regarding
                                           Binance partial account detail
William Walker         3/23/2023     1.7   Update FTT token holdings report

William Walker         3/23/2023     1.7   Prepare report on FTT token holdings in response to request from EY

Aly Helal              3/24/2023     1.3   Standardize and review of the counterparty bank transactions file to
                                           confirm the right counterparty for each cash transaction is present
Anan Sivapalu          3/24/2023     0.6   Call with A. Sivapalu and P. Kwan (A&M) regarding coin data
                                           download for select coins for European pricing
Anan Sivapalu          3/24/2023     0.4   Call with A. Sivapalu and W. Walker (A&M) regarding coin metric
                                           development
Andrew Heric           3/24/2023     0.3   Call with I. Radwanski and A. Heric (A&M) regarding deliverable
                                           updates and timeline
Andrew Heric           3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                           Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream update
Andrew Heric           3/24/2023     0.3   Call with A. Heric and C. Stockmeyer (A&M) regarding recoverable
                                           token assets
Andrew Heric           3/24/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding approach to
                                           venture token deliverable
Andrew Heric           3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                           A. Heric (A&M) regarding AUS KM tracing
Andrew Heric           3/24/2023     2.4   Review venture contracts for identifiable tracing information and
                                           begin analysis of the token for venture tracing request 39
Andrew Heric           3/24/2023     0.9   Conduct further crypto tracing based on internal documentation
                                           findings for request 39 deliverable
Andrew Heric           3/24/2023     0.4   Provide quality assurance review comments for tracing deliverables
                                           related to request 39


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Professional                 Date     Hours     Activity
Andrew Heric              3/24/2023     3.1   Finalize two deliverables based on crypto tracing findings for tokens
                                              related to venture request 39
Austin Sloan              3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                              (A&M) to go through action items, pending requests and workstreams
Azmat Mohammed            3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                              Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                              to discuss crypto operations work status
Azmat Mohammed            3/24/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                              development status
Brett Bammert             3/24/2023     1.6   Locate specific transactional documents for review team

Cameron Radis             3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                              Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                              (A&M) to go through action items, pending requests and workstreams
Caoimhe Corr              3/24/2023     0.9   Prepare information request list for missing data

Caoimhe Corr              3/24/2023     2.1   Review European options assessment

Chris Arnett              3/24/2023     0.2   Call with E. Mosley S. Coverick, C. Arnett (A&M) to discuss
                                              merchandise storage costs
Chris Arnett              3/24/2023     0.4   Revise weekly PMO materials in advance of next week's meeting

Chris Arnett              3/24/2023     1.2   Research locations to consolidate and secure FTX assets and
                                              logistics around same
Chris Arnett              3/24/2023     0.6   Revise weekly PMO materials in advance of next week's meeting

Cullen Stockmeyer         3/24/2023     1.9   Update professional operations tracking documents


Cullen Stockmeyer         3/24/2023     0.3   Call with A. Heric, C. Stockmeyer (A&M) re: liquid vs illiquid token
                                              recoverable assets
Cullen Stockmeyer         3/24/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Cullen Stockmeyer         3/24/2023     1.4   Review deck related to crypto tracing request for accuracy and
                                              consistency
Cullen Stockmeyer         3/24/2023     1.4   Review deck related to MCB token for accuracy

Cullen Stockmeyer         3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                              A. Heric (A&M) re: AUS KM tracing
Cullen Stockmeyer         3/24/2023     0.4   Update excluded tokens analysis summary for new information

David Johnston            3/24/2023     2.6   Review solvent and insolvent options for dormant entities


David Slay                3/24/2023     1.2   Consolidate PMO for workstream updates




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David Slay               3/24/2023     0.9   Update docket track for recent activity

Ed Mosley                3/24/2023     0.2   Call with E. Mosley S. Coverick, C. Arnett (A&M) to discuss
                                             merchandise storage costs
Gaurav Walia             3/24/2023     1.5   Review the market maker analysis and provide feedback

Gaurav Walia             3/24/2023     2.2   Review the existing Alameda account roll-forward analysis and
                                             provide feedback
Henry Chambers           3/24/2023     1.3   Preparation and review of Bitocto deck


Henry Chambers           3/24/2023     2.3   Review of documents pertaining to Blockfolio

Henry Chambers           3/24/2023     1.2   Correspondence in connection with Bitocto


Igor Radwanski           3/24/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) subsequent actions
                                             pertaining to tracing specific tokens
Igor Radwanski           3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                             Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                             workstream update
Igor Radwanski           3/24/2023     0.5   Call with I. Radwanski and L. Lambert (A&M) discussing findings
                                             pertaining to a token request
Igor Radwanski           3/24/2023     0.3   Call with I. Radwanski and A. Heric (A&M) regarding deliverable
                                             updates and timeline
Igor Radwanski           3/24/2023     0.4   Call with M. Warren and I. Radwanski (A&M) regarding document
                                             findings pertaining to a token request
Igor Radwanski           3/24/2023     1.9   Trace transfers using blockchain analytics software

Igor Radwanski           3/24/2023     3.1   Analyze different email correspondences pertaining to token
                                             purchase agreements
Igor Radwanski           3/24/2023     0.6   Call with Q. Lowdermilk, L. Lambert, I. Radwanski, and L. Iwanski
                                             (A&M) regarding crypto tracing workstream update
Igor Radwanski           3/24/2023     0.5   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding updates
                                             on findings of specific cryptocurrencies
Jack Collis              3/24/2023     2.2   Draft presentation on strategic options for three jurisdictions


Jack Yan                 3/24/2023     0.3   Correspondence with K. Dusendschon (A&M) on the matter of
                                             Relativity access
Jon Chan                 3/24/2023     2.1   Provide extracts related to key individuals that may have interacted
                                             with the exchange
Jon Chan                 3/24/2023     1.7   Investigate activity related to specific transactions and wallets

Jon Chan                 3/24/2023     3.1   Provide extracts related to accounts that performed specific
                                             transactions
Jon Chan                 3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                             (A&M) to go through action items, pending requests and workstreams

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Professional                Date     Hours     Activity
Jon Chan                 3/24/2023     2.8   Provide extracts related to key individuals

Jonathan Zatz            3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                             (A&M) to go through action items, pending requests and workstreams
Jonathan Zatz            3/24/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                             Alameda AWS status
Jonathan Zatz            3/24/2023     2.1   Script and execute queries to identify wholly included tables for large
                                             tables in Alameda data - beginning with 'S'
Julian Lee               3/24/2023     0.1   Review of FTX Exchange account tracker comparison with bank
                                             account tracker
Kevin Baker              3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                             Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                             to discuss crypto operations work status
Kevin Baker              3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, and L.
                                             Konig (A&M) to go through action items, pending requests and
                                             workstreams
Kevin Baker              3/24/2023     1.1   Respond to Rotterdam Cybercrime legal requests for a targeted list of
                                             accounts
Kevin Baker              3/24/2023     2.1   Investigate and report on Liquid Value Fund Data transfer within
                                             AWS exchange data
Kevin Baker              3/24/2023     1.6   Provide specific user account information for a specific wallet address

Kora Dusendschon         3/24/2023     0.8   Call with K. Dusendschon (A&M), R. Perubhatla, B. Bangerton (FTX),
                                             C. Rowe, B. Hadamik, B. McMahon, A. Bailey (FTI) and Z.
                                             Flegenheimer (S&C) to discuss ongoing collections
Kora Dusendschon         3/24/2023     0.9   Additional email communications with FTI regarding KYC reviews


Kora Dusendschon         3/24/2023     0.4   Review account listing from FTI and hand off to others for review.
                                             Discuss internally
Kora Dusendschon         3/24/2023     0.6   Run searches for KYC files and provide results to team


Kora Dusendschon         3/24/2023     0.3   Coordinate next steps on Top 100 review

Kora Dusendschon         3/24/2023     0.3   Coordinate additional follow up regarding Market Makers review with
                                             FTI
Kora Dusendschon         3/24/2023     0.4   Draft hand off for review to internal team


Kora Dusendschon         3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                             (A&M) to go through action items, pending requests and workstreams
Kora Dusendschon         3/24/2023     0.3   Look into Relativity issue encountered by team member, reach out to
                                             FTI regarding issue
Kora Dusendschon         3/24/2023     0.5   Call with L. Konig, P. Kwan, K. Dusendschon (A&M), and R.
                                             Perubhatla (FTX) to discuss database environment updates



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Professional              Date     Hours     Activity
Kora Dusendschon       3/24/2023     0.6   Provide oversight to database team, review incoming requests and
                                           anticipated timing
Kora Dusendschon       3/24/2023     0.4   Draft tracker and make final updates to deck, and providing it to
                                           appropriate team members
Kora Dusendschon       3/24/2023     0.6   Follow up internally with team regarding pending collections and
                                           status. Reviewing status of collections and trackers
Kumanan Ramanathan     3/24/2023     0.9   Review and correspond regarding Coinbase custody accounts

Kumanan Ramanathan     3/24/2023     0.9   Review excluded token analysis and provide comments


Kumanan Ramanathan     3/24/2023     0.9   Review TRM report and request consent on distribution

Kumanan Ramanathan     3/24/2023     0.6   Review and provide comments on Bitocto materials


Kumanan Ramanathan     3/24/2023     0.3   Review data preservation effort and coordinate with team on
                                           collection
Kumanan Ramanathan     3/24/2023     1.6   Review various data requests and responses


Kumanan Ramanathan     3/24/2023     0.5   Review of BTC addresses and review TRM data

Kumanan Ramanathan     3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                           Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                           to discuss crypto operations work status
Kumanan Ramanathan     3/24/2023     0.5   Call with I. Leonaitis (FTI), K. Ramanathan and L. Callerio (A&M)
                                           regarding additional crypto questions
Kumanan Ramanathan     3/24/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                           development status
Kumanan Ramanathan     3/24/2023     1.2   Various correspondence regarding ARB token launch and review of
                                           relevant materials to secure holdings
Kumanan Ramanathan     3/24/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                           Alameda AWS status
Kumanan Ramanathan     3/24/2023     0.4   Review of data decommission plan and distribute

Larry Iwanski          3/24/2023     0.3   Correspondence related to investigations, crypto tracing, and
                                           databases for crypto tracing requirements
Larry Iwanski          3/24/2023     0.6   Call with Q. Lowdermilk, L. Lambert, I. Radwanski, and L. Iwanski
                                           (A&M) regarding crypto tracing workstream update
Larry Iwanski          3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                           A. Heric (A&M) regarding AUS KM tracing
Larry Iwanski          3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                           Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                           to discuss crypto operations work status
Larry Iwanski          3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                           Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                           workstream update



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Business Operations
Professional                Date     Hours     Activity
Leslie Lambert           3/24/2023     1.4   Analysis of underlying documentation supporting findings and
                                             conclusions for an analysis of token acquisition and position
Leslie Lambert           3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                             Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                             workstream update
Leslie Lambert           3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                             Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                             to discuss crypto operations work status
Leslie Lambert           3/24/2023     0.6   Call with Q. Lowdermilk, L. Lambert, I. Radwanski, and L. Iwanski
                                             (A&M) regarding crypto tracing workstream update
Leslie Lambert           3/24/2023     1.1   Call with Q. Lowdermilk, L. Lambert, and M. Warren (A&M) regarding
                                             relativity processes and procedures
Leslie Lambert           3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                             A. Heric (A&M) regarding AUS KM tracing
Leslie Lambert           3/24/2023     1.2   Prepare update on ongoing analysis of certain token purchases

Leslie Lambert           3/24/2023     0.5   Call with I. Radwanski and L. Lambert (A&M) discussing findings
                                             pertaining to a token request
Leslie Lambert           3/24/2023     0.7   Conduct relativity research to identify relevant documentation to
                                             target transaction
Leslie Lambert           3/24/2023     1.6   Perform detailed quality control review of deliverable for certain token
                                             analysis
Leslie Lambert           3/24/2023     0.7   Review findings and observations derived from tracing and
                                             documentation analysis concerning a particular token acquisition
Lorenzo Callerio         3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                             A. Heric (A&M) re: AUS KM tracing
Lorenzo Callerio         3/24/2023     0.9   Review the additional crypto tracing requests received


Lorenzo Callerio         3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                             Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                             to discuss crypto operations work status
Lorenzo Callerio         3/24/2023     0.5   Call with I. Leonaitis (FTI), K. Ramanathan and L. Callerio (A&M) re:
                                             additional crypto questions
Lorenzo Callerio         3/24/2023     1.4   Update the excluded tokens deck including comments received from
                                             K. Ramanathan (A&M)
Lorenzo Callerio         3/24/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) re: excluded tokens deck

Louis Konig              3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                             Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                             to discuss crypto operations work status
Louis Konig              3/24/2023     0.5   Call with L. Konig, P. Kwan, K. Dusendschon (A&M), and R.
                                             Perubhatla (FTX) to discuss database environment updates
Manasa Sunkara           3/24/2023     1.6   Discuss with internal data team regarding possible solutions to
                                             identify potential entities in the Alameda database and provide
                                             search queries
Manasa Sunkara           3/24/2023     2.6   Update the transfers query to be inclusive of certain user accounts
                                             and make it more efficient to run

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Professional               Date     Hours     Activity
Manasa Sunkara          3/24/2023     2.3   Provide internal transfers between potential user accounts and
                                            Alameda not limited to a certain coin
Manasa Sunkara          3/24/2023     1.2   Internal discussion with the data request team regarding questions
                                            surrounding outstanding requests
Manasa Sunkara          3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                            (A&M) to go through action items, pending requests and workstreams
Matthew Flynn           3/24/2023     0.8   Update crypto workstream project plan

Matthew Flynn           3/24/2023     0.9   Create relativity access tracker


Matthew Flynn           3/24/2023     0.8   KYC vendor research for customer portal

Matthew Flynn           3/24/2023     0.8   Review of dune analytics dashboards

Matthew Flynn           3/24/2023     0.4   Call with L. Callerio, L. Iwanski, L. Lambert, C. Stockmeyer, M. Flynn,
                                            A. Heric (A&M) regarding AUS KM tracing
Matthew Flynn           3/24/2023     0.6   Update developer project plan for current status

Matthew Flynn           3/24/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                            development status
Matthew Flynn           3/24/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                            Alameda AWS status
Matthew Flynn           3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                            Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                            to discuss crypto operations work status
Matthew Flynn           3/24/2023     0.9   Review of KYC and term inputs on FTX.US site


Matthew Flynn           3/24/2023     0.5   Call with self custody wallet vendors

Matthew Hellinghausen   3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                            (A&M) to go through action items, pending requests and workstreams
Matthew Warren          3/24/2023     1.1   Call with Q. Lowdermilk, L. Lambert, and M. Warren (A&M) regarding
                                            relativity processes and procedures
Matthew Warren          3/24/2023     0.4   Call with M. Warren and I. Radwanski (A&M) regarding document
                                            findings pertaining to a token request
Matthew Warren          3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                            Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                            workstream update
Matthew Warren          3/24/2023     1.7   Conduct analysis of tokens to find relevant transactions

Matthew Warren          3/24/2023     2.8   Research into token statuses through database researching

Matthew Warren          3/24/2023     1.8   Review of previous requests and data for quality control



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Business Operations
Professional               Date     Hours     Activity
Maximilian Simkins      3/24/2023     0.4   Daily meeting with J. Zatz, A. Sloan, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, C. Radis, L. Konig
                                            (A&M) to go through action items, pending requests and workstreams
Peter Kwan              3/24/2023     0.6   Call with A. Sivapalu and P. Kwan (A&M) regarding coin data
                                            download for select coins for European pricing
Peter Kwan              3/24/2023     1.2   Analyze data and revise various queries


Peter Kwan              3/24/2023     0.6   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                            Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                            to discuss crypto operations work status
Peter Kwan              3/24/2023     0.3   Prepare Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/24/2023     0.5   Call with L. Konig, P. Kwan, K. Dusendschon (A&M), and R.
                                            Perubhatla (FTX) to discuss database environment updates
Quinn Lowdermilk        3/24/2023     0.8   Prepare deliverables for updates to token investments


Quinn Lowdermilk        3/24/2023     1.7   Prepare all transaction hashes related to investment into an appendix

Quinn Lowdermilk        3/24/2023     0.5   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding updates
                                            on findings of specific cryptocurrencies
Quinn Lowdermilk        3/24/2023     0.5   Call with L. Lambert, Q. Lowdermilk, A. Heric, M. Warren, I.
                                            Radwanski, and L. Iwanski (A&M) regarding crypto tracing
                                            workstream update
Quinn Lowdermilk        3/24/2023     1.1   Call with Q. Lowdermilk, L. Lambert, and M. Warren (A&M) regarding
                                            relativity processes and procedures
Quinn Lowdermilk        3/24/2023     1.3   Outline all relevant findings for transactions found to be connected to
                                            agreement
Quinn Lowdermilk        3/24/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding approach to
                                            venture token deliverable
Quinn Lowdermilk        3/24/2023     0.6   Call with Q. Lowdermilk, L. Lambert, I. Radwanski, and L. Iwanski
                                            (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk        3/24/2023     0.4   Call with Q. Lowdermilk and I. Radwanski (A&M) subsequent actions
                                            pertaining to tracing specific tokens
Robert Gordon           3/24/2023     0.4   Review updated materials on Bitocto exchange

Robert Johnson          3/24/2023     1.2   Monitor network and queries on AWS environment


Robert Johnson          3/24/2023     1.6   Updates to metabase tables and migration of banking data between
                                            servers and staging environment
Robert Johnson          3/24/2023     0.4   Updates to status update deck to be shared with FTX


Steve Coverick          3/24/2023     0.2   Call with E. Mosley S. Coverick, C. Arnett (A&M) to discuss
                                            merchandise storage costs



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Business Operations
Professional                Date     Hours     Activity
Steve Kotarba            3/24/2023     0.6   Prepare updated list of priority items and tasks

William Walker           3/24/2023     2.1   Update crypto strategy deck slide detail


William Walker           3/24/2023     2.5   Research staking and applicable staking rates

William Walker           3/24/2023     1.3   Update crypto strategy deck tables and charts

William Walker           3/24/2023     0.5   Call with M. Flynn, L. Konig, K. Baker, L. Lambert, L. Callerio, L.
                                             Iwanski, P. Kwan, W. Walker, K. Ramanathan, A. Mohammed (A&M)
                                             to discuss crypto operations work status
William Walker           3/24/2023     0.4   Call with A. Sivapalu and W. Walker (A&M) regarding coin metric
                                             development
William Walker           3/24/2023     1.1   Update crypto summary slides and graphics for PMO deck

Zachary Voll             3/24/2023     3.0   Perform continued entity analysis regarding European parameters


Zachary Voll             3/24/2023     3.0   Review European metrics for entity parameter analysis

Brett Bammert            3/25/2023     1.9   Locate additional transactional documents for review team and
                                             modify search terms
Cullen Stockmeyer        3/25/2023     0.6   Update asset tracing request list for additional database and
                                             investigations information requests
Cullen Stockmeyer        3/25/2023     1.3   Update asset tracing request list for external entity new information
                                             requests
Gaurav Walia             3/25/2023     0.9   Update the latest Alameda overview presentation

Gaurav Walia             3/25/2023     0.5   Review the latest KYC information summary

Gaurav Walia             3/25/2023     0.4   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation


Gaurav Walia             3/25/2023     1.6   Review and provide feedback on the existing profit / loss calculation

Henry Chambers           3/25/2023     1.2   Review of Bitocto presentation and associated data


Kora Dusendschon         3/25/2023     0.2   Hand-off request to FTI and follow up

Kora Dusendschon         3/25/2023     0.4   Review additional request for Market Makers review and coordinating


Kumanan Ramanathan       3/25/2023     0.8   Prepare commentary on cybersecurity and data integrity issues with
                                             FTX site
Louis Konig              3/25/2023     0.4   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation

Luke Francis             3/25/2023     1.2   Review of severance liabilities




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Professional                Date     Hours     Activity
Manasa Sunkara           3/25/2023     1.2   Quality check and analyze the transfers data export and provide the
                                             results of the Alameda database search to S&C
Matthew Warren           3/25/2023     1.7   Provide analysis of specific token holders for request


Matthew Warren           3/25/2023     1.8   Insert completed token updates to presentation and complete
                                             formatting
Robert Johnson           3/25/2023     2.4   Proactive monitoring and execution of queries to expand the storage
                                             space on analysis server
Cullen Stockmeyer        3/26/2023     0.6   Update professional operations tracking documents for new
                                             information
Cullen Stockmeyer        3/26/2023     2.3   Update asset tracing request list for external entity new information
                                             requests
David Johnston           3/26/2023     2.7   Analyze open position cost basis at FTX EU Ltd


James Lam                3/26/2023     1.7   Review and update the status on transfer of crypto assets from
                                             Quoine Pte to custodian service provider
Jon Chan                 3/26/2023     3.1   Investigate and provide documents relating to provided transaction
                                             hashes
Jonathan Zatz            3/26/2023     2.8   Script and execute queries to identify wholly included large tables in
                                             Alameda data
Jonathan Zatz            3/26/2023     2.2   Database scripting to capture Alameda records that don't overlap
                                             between otherwise overlapping tables
Kevin Baker              3/26/2023     0.7   Investigate AWS transfer transactions among insiders


Kora Dusendschon         3/26/2023     0.4   Review open items for KYC and create action list

Kora Dusendschon         3/26/2023     1.2   Follow up requests for Market Makers review - coordinating with FTI,
                                             reviewing status and communicating with team
Robert Gordon            3/26/2023     0.3   Review BitOcto presentation for comments

Robert Johnson           3/26/2023     1.4   Review of storage capacity on server, execution of scripts to track
                                             usage
Steve Coverick           3/26/2023     1.6   Review and provide comments on foreign subsidiary strategic options
                                             analysis
William Walker           3/26/2023     0.8   Correspond with Cumberland Bank regarding hedging options

Aaron Dobbs              3/27/2023     0.3   Teleconference with E. Hoffer, A. Dobbs, M. Ebrey (A&M) regarding
                                             identification of counterparties
Adam Titus               3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                             Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                             J. Cooper, and S. Coverick (A&M)
Aly Helal                3/27/2023     0.2   Call with B. Price and A. Helal (A&M) discussing Deltec Bank
                                             Statements and how to add them to cash database
Anan Sivapalu            3/27/2023     0.4   Call with A. Sivapalu, G. Walia (A&M) and P .Lee (FTX) regarding
                                             market maker data


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Professional             Date     Hours     Activity
Andrew Heric          3/27/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding findings of token
                                          tracing request
Andrew Heric          3/27/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding specific
                                          blockchain transaction tracing
Andrew Heric          3/27/2023     1.1   Call with L. Lambert and A. Heric (A&M) workshopping venture token
                                          tracing request
Andrew Heric          3/27/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update
Andrew Heric          3/27/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding identified
                                          crypto tracing transaction
Andrew Heric          3/27/2023     1.9   Review and detail recovered assets for multiple crypto tracing team
                                          requests
Andrew Heric          3/27/2023     0.6   Review contract details and attributes of new token related to venture
                                          tracing request 39
Andrew Heric          3/27/2023     0.4   Review new tracing request 77 related to identifying the origin and
                                          last identified location of an unrecognized token
Andrew Heric          3/27/2023     1.4   Update summary analysis and TRM tracing visuals for request 39
                                          deliverable based off comments from L. Lambert (A&M)
Andrew Heric          3/27/2023     2.4   Finalize analysis of token tracing, open-source research, and internal
                                          document review for token related to venture request 39
Austin Sloan          3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                          Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                          M. Haigis (A&M) to go through action items, pending requests and
                                          workstreams
Azmat Mohammed        3/27/2023     0.5   Call with M. Flynn and A. Mohammed (A&M) to discuss exchange
                                          restart status
Azmat Mohammed        3/27/2023     0.2   Call with K. Ramanathan, M. Flynn, A. Mohammed, H. Chambers
                                          (A&M) F. Crocco, K. Lim, D. Hisarli, K. Hatano, M. Ansari, E. Levin,
                                          N. Mehta (S&C) N. Nussbaum, K. Cofsky (PWP) to discuss Liquid
                                          exchange IP implications
Azmat Mohammed        3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                          Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                          K. Ramanathan (A&M) regarding customer claims portal
Azmat Mohammed        3/27/2023     1.1   Design potential ideas for claims portal for .COM and .US

Azmat Mohammed        3/27/2023     0.6   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) F. Crocco, K.
                                          Lim, D. Hisarli, K. Hatano, M. Ansari, E. Levin, N. Mehta (S&C) N.
                                          Nussbaum, K. Cofsky (PWP) to discuss Liquid exchange IP
                                          implications
Bas Fonteijne         3/27/2023     1.1   Prepare checklist per entity in scope to create a information overview

Bas Fonteijne         3/27/2023     2.9   Prepare scenario analysis for FTX Europe


Calvin Myrie          3/27/2023     0.4   Meeting with K. Dusendschon, P. Kwan, L. Yurchak, C. Myrie, and
                                          K. Baker (A&M) to discuss KYC review of Top 100
Caoimhe Corr          3/27/2023     1.9   Prepare options assessment for non-debtor entities



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Professional                 Date     Hours     Activity
Caoimhe Corr              3/27/2023     1.1   Update slide deck for analysis overview presentation

Caoimhe Corr              3/27/2023     1.9   Prepare options assessment for entities with significant relevance to
                                              wider group
Caoimhe Corr              3/27/2023     2.1   Prepare options assessment for potential non-debtors

Chris Arnett              3/27/2023     0.3   Review and comment on comparison of month over month
                                              professional fee burn at CEO request
Chris Arnett              3/27/2023     0.3   Prepare for weekly A&M team workstream call


Chris Arnett              3/27/2023     0.3   Participate in workstream planning and coordination call with C.
                                              Arnett and K. Montague (A&M)
Chris Arnett              3/27/2023     0.3   Discuss methodology for IT service providers with R. Parabatla
                                              (RLKS) and plan for CEO approval
Chris Arnett              3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                              J. Cooper (A&M)
Chris Arnett              3/27/2023     0.4   Participate in workstream planning and coordination call with C.
                                              Arnett and H. Trent (A&M)
Chris Arnett              3/27/2023     0.6   Review and comment on summary of asset consolidation efforts and
                                              go-forward planning of same
Cullen Stockmeyer         3/27/2023     0.4   Call with G. Walia, L. Callerio, C. Stockmeyer (A&M) regarding
                                              capabilities of third party vendor
Cullen Stockmeyer         3/27/2023     1.6   Update professional operations tracking documents for changes
                                              requested by S. Coverick (A&M)
Cullen Stockmeyer         3/27/2023     0.3   Call with L. Lambert, L. Iwanski, L. Callerio, C. Stockmeyer (A&M) re:
                                              internal crypto tracing update
Cullen Stockmeyer         3/27/2023     2.1   Update excluded tokens analysis presentation for G. Walia (A&M)
                                              comments
Cullen Stockmeyer         3/27/2023     2.3   Update asset tracing request list for external entity new information
                                              requests
David Johnston            3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                              J. Cooper, and S. Coverick (A&M)
David Slay                3/27/2023     0.6   Update PMO for workstream slides and consolidate for review


Ed Mosley                 3/27/2023     2.4   Review of and prepare comments to latest draft of FTX EU KYC
                                              testing findings and observations presentation to management
Emily Hoffer              3/27/2023     0.3   Teleconference with E. Hoffer, A. Dobbs, M. Ebrey (A&M) regarding
                                              identification of counterparties
Gaurav Walia              3/27/2023     0.4   Call with G. Walia, L. Callerio, C. Stockmeyer (A&M) regarding
                                              capabilities of third party vendor
Gaurav Walia              3/27/2023     0.4   Call with A. Sivapalu, G. Walia (A&M) and P .Lee (FTX) regarding
                                              market maker data
Gaurav Walia              3/27/2023     0.5   Call with L. Konig, G. Walia (A&M), T. Shea, D. Bailey, and L.
                                              Lovelace (EY) to discuss profit/loss calculation

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Gaurav Walia          3/27/2023     1.0   Call with L. Konig, G. Walia (A&M), B. Mackay, and L. Goldman (Alix)
                                          to discuss profit/loss calculation
Gaurav Walia          3/27/2023     0.7   Review the latest market maker analysis and provide feedback


Gaurav Walia          3/27/2023     2.7   Prepare a summary document outlining the calculation required to
                                          prepare an account roll forward
Heather Ardizzoni     3/27/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M), C.
                                          Dunne and D. O'Hara (S&C), J. la Bella and others (AlixPartners)
                                          over internal controls draft report
Heather Ardizzoni     3/27/2023     2.2   Review updated report of FTX controls


Heather Ardizzoni     3/27/2023     2.4   Research various updates newly added to FTX controls report

Henry Chambers        3/27/2023     0.3   Revise amendment to BitGo KYC document

Henry Chambers        3/27/2023     1.7   Update on Quoine PTE information deck


Henry Chambers        3/27/2023     0.3   Follow up on outstanding audit items

Henry Chambers        3/27/2023     0.6   Attend to correspondence regarding Bitocto


Henry Chambers        3/27/2023     0.6   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) F. Crocco, K.
                                          Lim, D. Hisarli, K. Hatano, M. Ansari, E. Levin, N. Mehta (S&C) N.
                                          Nussbaum, K. Cofsky (PWP) to discuss Liquid exchange intellectual
                                          property implications
Henry Chambers        3/27/2023     0.4   Prepare questions for call regarding licensing of FTX.com intellectual
                                          property
Henry Chambers        3/27/2023     0.2   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                          (A&M) to discuss Liquid IP implications
Henry Chambers        3/27/2023     0.8   Attend to Bitocto presentation update

Hudson Trent          3/27/2023     0.4   Participate in workstream planning and coordination call with C.
                                          Arnett and H. Trent (A&M)
Hudson Trent          3/27/2023     0.7   Incorporate updated wind down analysis into materials for circulation


Hudson Trent          3/27/2023     0.7   Update subsidiary wind down analysis based on internal A&M
                                          feedback
Hugh McGoldrick       3/27/2023     1.4   Discussions internally re: insolvency procedures and next steps


Igor Radwanski        3/27/2023     0.4   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding token
                                          tracing findings
Igor Radwanski        3/27/2023     0.4   Call with I. Radwanski and A. Heric (A&M) regarding specific
                                          blockchain transaction tracing
Igor Radwanski        3/27/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update



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Professional                Date     Hours     Activity
Igor Radwanski           3/27/2023     2.4   Trace transactions relating to a specific crypto token request

Igor Radwanski           3/27/2023     2.2   Edit deliverable to convey the findings of specific token tracing
                                             request
Igor Radwanski           3/27/2023     2.2   Leverage database containing correspondence between parties of
                                             interest to uncover specific transfer activity
Jack Yan                 3/27/2023     0.4   Revise the PowerPoint deck of Quoine Pte Ltd

Jack Yan                 3/27/2023     1.9   Perform Relativity search for terms of use of Blockfolio and FTX
                                             Application
James Cooper             3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                             Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                             J. Cooper (A&M)
James Lam                3/27/2023     2.7   Review monitoring bot notifications, update the settings, and examine
                                             transactions transferred to a custodian
Jon Chan                 3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                             M. Haigis (A&M) to go through action items, pending requests and
                                             workstreams
Jon Chan                 3/27/2023     2.8   Investigate activity relating to key individuals and accounts


Jon Chan                 3/27/2023     2.6   Investigate activity relating to specific transaction hashes in the
                                             database
Jon Chan                 3/27/2023     2.6   Investigate know your customer fields in the database and
                                             developing code to parse metadata
Jonathan Zatz            3/27/2023     0.4   Draft points to make the case for hiring Alameda engineers

Jonathan Zatz            3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                             M. Haigis (A&M) to go through action items, pending requests and
                                             workstreams
Jonathan Zatz            3/27/2023     2.7   Review dates of non-overlapping Alameda records to identify
                                             whether they occurred on day of cut-over
Jonathan Zatz            3/27/2023     3.1   Database scripting to capture Alameda records that don't overlap
                                             between otherwise overlapping tables
Jonathan Zatz            3/27/2023     1.9   Script and execute queries to identify wholly included large tables in
                                             Alameda data
Katie Montague           3/27/2023     0.3   Participate in workstream planning and coordination call with C.
                                             Arnett and K. Montague (A&M)
Kevin Baker              3/27/2023     0.4   Meeting with K. Dusendschon, P. Kwan, L. Yurchak, C. Myrie, and
                                             K. Baker (A&M) to discuss KYC review of Top 100
Kevin Baker              3/27/2023     1.7   Report on specific KYC information from AWS for additional Market
                                             Makers
Kevin Baker              3/27/2023     0.8   Assist with the production of a cost profile and deliver to S&C

Kora Dusendschon         3/27/2023     0.3   Review setup from FTI for TOP 100 review, create instructions for
                                             team and internally distribute

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Professional             Date     Hours     Activity
Kora Dusendschon      3/27/2023     0.2   Review request email and follow up internally regarding EY access

Kora Dusendschon      3/27/2023     0.4   Meeting with K. Dusendschon, P. Kwan, L. Yurchak, C. Myrie, and K.
                                          Baker (A&M) to discuss KYC review of Top 100
Kora Dusendschon      3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                          Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                          M. Haigis (A&M) to go through action items, pending requests and
                                          workstreams
Kora Dusendschon      3/27/2023     0.2   Review open items for KYC and create action list

Kora Dusendschon      3/27/2023     0.7   Provide oversight to database team, review incoming requests and
                                          anticipated timing
Kora Dusendschon      3/27/2023     0.9   Coordinate the review of Top 100, requesting accounts, internal
                                          discussions regarding population, sending email to FTI to request
                                          review setup
Kora Dusendschon      3/27/2023     0.6   Meeting with K. Dusendschon (A&M), A. Vyas, B. Hadamik, G.
                                          Houghey and D. Dolinsky (FTI) to discuss KYC folder information
Kora Dusendschon      3/27/2023     0.6   Additional information regarding Market Makers accounts, providing
                                          update to team and coordination with FTI
Kora Dusendschon      3/27/2023     0.6   Further analysis into question re Market Makers accounts, reviewing
                                          records and providing interim update
Kumanan Ramanathan    3/27/2023     1.1   Review various data requests and responses

Kumanan Ramanathan    3/27/2023     1.1   Revise Indonesia presentation


Kumanan Ramanathan    3/27/2023     0.9   Revise and circulate updated Indonesia presentation

Kumanan Ramanathan    3/27/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M), C.
                                          Dunne and D. O'Hara (S&C), J. la Bella and others (AlixPartners)
                                          over internal controls draft report
Kumanan Ramanathan    3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                          Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                          K. Ramanathan (A&M) regarding customer claims portal
Kumanan Ramanathan    3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                          Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                          J. Cooper, and S. Coverick (A&M)
Kumanan Ramanathan    3/27/2023     0.8   Review of self custody wallet presentation

Kumanan Ramanathan    3/27/2023     0.3   Call with. K .Ramanathan, T. Adams, S. Glustein, C. Stockmeyer and
                                          L. Callerio (A&M) regarding token investments
Kumanan Ramanathan    3/27/2023     0.4   Review of various cold storage addresses at Coinbase custody

Kumanan Ramanathan    3/27/2023     0.8   Review FTX EU KYC materials and distribute


Kumanan Ramanathan    3/27/2023     0.5   Call with A. Titus, S. Coverick, D. Johnson, E. Mosley, K.
                                          Ramanathan (A&M) and others to discuss workstream updates



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Kumanan Ramanathan     3/27/2023     0.2   Prepare markups to internal controls failure report

Kumanan Ramanathan     3/27/2023     0.6   Review of Ren protocol materials and distribute for posting


Kumanan Ramanathan     3/27/2023     0.9   Review and correspond on TRM tracing data on-chain

Kumanan Ramanathan     3/27/2023     0.7   Correspond on matters relating to Ren protocol, and review of
                                           relevant materials
Kumanan Ramanathan     3/27/2023     0.2   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                           (A&M) to discuss Liquid IP implications
Lance Clayton          3/27/2023     3.1   Detailed review of consolidated resource exhibits and prepare
                                           feedback
Larry Iwanski          3/27/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Larry Iwanski          3/27/2023     0.3   Call with L. Lambert, L. Iwanski, L. Callerio, C. Stockmeyer (A&M)
                                           regarding internal crypto tracing update
Larry Iwanski          3/27/2023     1.1   Review crypto asset tracing request report related to req 39


Laureen Ryan           3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                           Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                           J. Cooper, and S. Coverick (A&M)
Leslie Lambert         3/27/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding findings of token
                                           tracing request
Leslie Lambert         3/27/2023     1.1   Call with L. Lambert and A. Heric (A&M) workshopping venture token
                                           tracing request
Leslie Lambert         3/27/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Leslie Lambert         3/27/2023     1.6   Review of renBTC investigation analysis

Leslie Lambert         3/27/2023     0.8   Quality control review of presentation of findings concerning token
                                           analysis
Leslie Lambert         3/27/2023     1.4   Plan and prepare workplan for current crypto tracing efforts

Leslie Lambert         3/27/2023     0.2   Call with L. Lambert and L. Callerio (A&M) regarding REQ39 deck
                                           walkthrough
Leslie Lambert         3/27/2023     1.7   Review internal account analysis and prepare detailed data request
                                           relevant to analysis
Leslie Lambert         3/27/2023     1.8   Review of approach, documentation, and deliverable for a request to
                                           analyze certain transactions
Leslie Lambert         3/27/2023     0.3   Call with L. Lambert, L. Iwanski, L. Callerio, C. Stockmeyer (A&M)
                                           regarding internal crypto tracing update
Lilia Yurchak          3/27/2023     0.4   Meeting with K. Dusendschon, P. Kwan, L. Yurchak, C. Myrie, and
                                           K. Baker (A&M) to discuss KYC review of Top 100
Lorenzo Callerio       3/27/2023     0.4   Call with G. Walia, L. Callerio, C. Stockmeyer (A&M) regarding
                                           capabilities of third party vendor


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Professional                Date     Hours     Activity
Lorenzo Callerio         3/27/2023     0.5   Review data provided by the data team re: internal accounts

Lorenzo Callerio         3/27/2023     0.7   Review the inbound crypto tracing requests


Lorenzo Callerio         3/27/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                             Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston,
                                             J. Cooper (A&M)
Lorenzo Callerio         3/27/2023     0.6   Review the crypto tracing REQ39 materials provided by L. Lambert
                                             (A&M)
Lorenzo Callerio         3/27/2023     0.4   Review the final version of the excluded tokens provided by C.
                                             Stockmeyer (A&M)
Lorenzo Callerio         3/27/2023     0.2   Call with L. Lambert and L. Callerio (A&M) re: REQ39 deck
                                             walkthrough
Lorenzo Callerio         3/27/2023     0.3   Call with L. Lambert, L. Iwanski, L. Callerio, C. Stockmeyer (A&M) re:
                                             internal crypto tracing update
Lorenzo Callerio         3/27/2023     1.1   Review and update the excluded tokens deck executive summary
                                             including comments received from K. Ramanathan (A&M)
Lorenzo Callerio         3/27/2023     2.2   Update the excluded tokens deck structure based on comments
                                             received from multiple A&M reviewers
Louis Konig              3/27/2023     0.5   Call with L. Konig, G. Walia (A&M), T. Shea, D. Bailey, and L.
                                             Lovelace (EY) to discuss profit/loss calculation
Louis Konig              3/27/2023     1.0   Call with L. Konig, G. Walia (A&M), B. Mackay, and L. Goldman (Alix)
                                             to discuss profit/loss calculation
Luke Francis             3/27/2023     0.7   Review of bank transaction master tracking file


Luke Francis             3/27/2023     1.2   Review of insider accounts on exchange

Manasa Sunkara           3/27/2023     0.8   Internal discussion regarding the status of providing KYC documents
                                             and the confirmation of KYC tables/fields
Manasa Sunkara           3/27/2023     0.6   Review outstanding data requests, update the internal tracker and
                                             correspond with updates on existing requests
Manasa Sunkara           3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                             Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                             M. Haigis (A&M) to go through action items, pending requests and
                                             workstreams
Manasa Sunkara           3/27/2023     0.9   Correspond with internal and external clients regarding new data
                                             requests and log them in the tracker
Manasa Sunkara           3/27/2023     2.9   Use a sample of 20 user accounts across both exchanges to help
                                             identify potential KYC fields to include
Manasa Sunkara           3/27/2023     2.2   Review tracker of all KYC tables in the database and determine
                                             relevant fields to provide
Mark vanden Belt         3/27/2023     0.2   Prepare e-mail with data & questions on Insolvency


Mason Ebrey              3/27/2023     0.3   Teleconference with E. Hoffer, A. Dobbs, M. Ebrey (A&M) regarding
                                             identification of counterparties



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Professional               Date     Hours     Activity
Matthew Flynn           3/27/2023     0.3   Update crypto workstream project plan

Matthew Flynn           3/27/2023     1.6   Review .US exchange website mock-up


Matthew Flynn           3/27/2023     1.7   Prepare deck on self-custody wallet solutions

Matthew Flynn           3/27/2023     0.7   Review Fireblocks updated service plan

Matthew Flynn           3/27/2023     0.7   Draft next steps on Liquid IP considerations


Matthew Flynn           3/27/2023     0.7   Review third party cold storage activity

Matthew Flynn           3/27/2023     0.2   Call with M. Flynn, K. Ramanathan, A. Mohammed, H. Chambers
                                            (A&M) to discuss Liquid IP implications
Matthew Flynn           3/27/2023     0.6   Call with M. Flynn, A. Mohammed, H. Chambers (A&M) F. Crocco, K.
                                            Lim, D. Hisarli, K. Hatano, M. Ansari, E. Levin, N. Mehta (S&C) N.
                                            Nussbaum, K. Cofsky (PWP) to discuss Liquid exchange IP
                                            implications
Matthew Flynn           3/27/2023     0.8   Draft next steps on Alameda AWS support

Matthew Flynn           3/27/2023     1.1   Review Alameda current AWS status and limitations


Matthew Flynn           3/27/2023     0.5   Call with M. Flynn and A. Mohammed (A&M) to discuss exchange
                                            restart status
Matthew Hellinghausen   3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                            M. Haigis (A&M) to go through action items, pending requests and
                                            workstreams
Maximilian Simkins      3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                            M. Haigis (A&M) to go through action items, pending requests and
                                            workstreams
Maya Haigis             3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                            Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                            M. Haigis (A&M) to go through action items, pending requests and
                                            workstreams
Peter Kwan              3/27/2023     0.4   Meeting with K. Dusendschon, P. Kwan, L. Yurchak, C. Myrie, and K.
                                            Baker (A&M) to discuss KYC review of Top 100
Peter Kwan              3/27/2023     0.3   Continue Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/27/2023     0.5   Analyze data and revise queries to ensure accuracy of outputs

Peter Kwan              3/27/2023     1.4   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/27/2023     1.0   Call with O. de Vito Piscicelli, T. Hill, E. Simpson (S&C), R. Matzke,
                                            P. Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                            (AT&S), D. Johnston, P. Kwan, K. Ramanathan, (A&M) regarding
                                            Website launch

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Professional              Date     Hours     Activity
Quinn Lowdermilk       3/27/2023     0.4   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding token
                                           tracing findings
Quinn Lowdermilk       3/27/2023     1.7   Outline token investment findings and format into a deliverable


Quinn Lowdermilk       3/27/2023     1.6   Prepare analysis with transactional information for a token investment

Quinn Lowdermilk       3/27/2023     1.1   Prepare deliverable to outline where the remaining funds are
                                           currently sitting and tracing the funds received
Quinn Lowdermilk       3/27/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding identified
                                           crypto tracing transaction
Quinn Lowdermilk       3/27/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk       3/27/2023     1.1   Research on new token agreement and outline the terms of the
                                           agreement
Quinn Lowdermilk       3/27/2023     0.6   Prepare analysis with transactions found to be associate with the
                                           agreement
Quinn Lowdermilk       3/27/2023     1.2   Prepare update for two token protocols and any negative mentioning
                                           of FTX Group
Quinn Lowdermilk       3/27/2023     1.2   Research relativity for conversations surrounding the sale of the
                                           tokens and terms of the agreement
Robert Gordon          3/27/2023     0.4   Review Turkish memorandum for comments and edits

Robert Gordon          3/27/2023     0.2   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan (A&M), C.
                                           Dunne and D. O'Hara (S&C), J. la Bella and others (AlixPartners)
                                           over internal controls draft report
Robert Johnson         3/27/2023     1.3   Review Alameda focused queries to identify efficiencies that can be
                                           employed for querying
Robert Johnson         3/27/2023     1.4   Monitor databases and investigation of long running queries
                                           impacting performance
Robert Johnson         3/27/2023     1.3   Update Metabase application following creation of database backup


Robert Johnson         3/27/2023     0.3   Daily meeting with J. Zatz, K. Dusendschon, M. Simkins, M.
                                           Hellinghausen, M. Sunkara, J. Chan, K. Baker, A. Sloan, R. Johnson,
                                           M. Haigis (A&M) to go through action items, pending requests and
                                           workstreams
Steve Coverick         3/27/2023     1.5   Review and provide comments on draft of first interim Ray report

William Walker         3/27/2023     0.9   Update FTT token deck with updated information from data team


William Walker         3/27/2023     0.9   Update FTT token holdings report and distribute to EY for review

Zachary Voll           3/27/2023     2.0   Correspondence with team re: insolvency considerations in Singapore


Aly Helal              3/28/2023     0.4   Call with A. Helal and E. Hoffer (A&M) discussing Deltec statements
                                           and various issues documenting the statements balances tie out



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Anan Sivapalu         3/28/2023     0.8   Call with G. Walia, A. Sivapalu (A&M) and P. Lee (FTX) regarding
                                          financial line item reconciliation
Anan Sivapalu         3/28/2023     0.5   Call with A. Sivapalu and G. Walia (A&M) regarding market maker
                                          data
Andrew Heric          3/28/2023     1.3   Conduct initial quality assurance review of internal account analysis
                                          deliverable related to request 44
Andrew Heric          3/28/2023     1.4   Update analyses conducted on activity within multiple internal
                                          accounts related to request 44
Andrew Heric          3/28/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding updates to internal
                                          account deliverables
Andrew Heric          3/28/2023     1.6   Update analysis findings and specific review designations for internal
                                          accounts related to request 44
Andrew Heric          3/28/2023     2.1   Notate blockchain findings summarize conclusion for token related to
                                          request 77 deliverable
Andrew Heric          3/28/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding token analysis
                                          deliverable updates
Andrew Heric          3/28/2023     0.6   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                          Iwanski (A&M) regarding crypto tracing workstream update
Andrew Heric          3/28/2023     0.6   Input findings of analysis conducted on multiple tokens into the
                                          summary analysis Excel for tracing request 39
Andrew Heric          3/28/2023     2.9   Finalize summary analyses, input TRM visuals, and create hyperlinks
                                          to identified internal documentation for request 39 deliverable
Andrew Heric          3/28/2023     0.6   Update summary analysis and crypto transaction detail for request 39
                                          deliverable based off comments from L. Lambert (A&M)
Austin Sloan          3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                          Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Azmat Mohammed        3/28/2023     0.3   Call with M. Flynn and A. Mohammed (A&M) to discuss exchange
                                          restart status
Azmat Mohammed        3/28/2023     0.5   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                          customer portal and restart status
Azmat Mohammed        3/28/2023     1.5   Document Epics / Big Blocks for Customer Portal efforts

Azmat Mohammed        3/28/2023     1.0   Call with N. Aragam (FTX) as introductory to 2.0 efforts


Azmat Mohammed        3/28/2023     0.5   Call with E. Echevarria, V. Manners, B. Steele (Kroll), K.
                                          Ramanathan, R. Esposito, D. Lewandowski, A. Mohammed (A&M)
                                          regarding development efforts on the claims portal
Breanna Price         3/28/2023     0.1   Correct counterparties for Maerki bank

Calvin Myrie          3/28/2023     2.7   Perform initial KYC review of the Top 100 traders


Calvin Myrie          3/28/2023     0.1   Call with L. Yurchak and C. Myrie (A&M) to discuss KYC review of
                                          Top 100




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Cameron Radis             3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                              Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                              mapping exercise
Cameron Radis             3/28/2023     1.0   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                              Dusendschon (A&M) to discuss KYC data mapping exercise
Cameron Radis             3/28/2023     0.8   Create workplan for KYC data mapping exercise


Cameron Radis             3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                              Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                              go through action items, pending requests and workstreams
Cameron Radis             3/28/2023     0.3   Teleconference with M. Haigis, C. Radis, M. Simkins, and R. Johnson
                                              (A&M) regarding AWS KYC Data
Caoimhe Corr              3/28/2023     2.9   Prepare European strategic options analysis


Caoimhe Corr              3/28/2023     1.1   Prepare Europe AG entity tearsheet for internal discussion

Caoimhe Corr              3/28/2023     1.3   Prepare entity strategic options timeline


Charles Evans             3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                              (A&M) to discuss the latest status of each workstream for FTX Asia
Chris Arnett              3/28/2023     0.3   Discuss wind down analysis with H. Trent, S. Coverick and C. Arnett
                                              (A&M)
Chris Arnett              3/28/2023     0.8   Develop plan to consolidate remote assets and direct team
                                              accordingly
Chris Arnett              3/28/2023     0.4   Triage foreign real estate landlord request for payment

Chris Arnett              3/28/2023     0.2   Discuss ongoing wind down analyses with C. Arnett, H. Trent (A&M)


Christopher Sullivan      3/28/2023     0.2   Discuss Opex forecast model with S. Coverick (A&M)

Cullen Stockmeyer         3/28/2023     0.4   Call with L. Lambert, L. Callerio, C. Stockmeyer (A&M) re: crypto
                                              tracing operation
Cullen Stockmeyer         3/28/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) to discuss crypto tracing
                                              operation
Cullen Stockmeyer         3/28/2023     0.7   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                              revised excluded tokens deck
Cullen Stockmeyer         3/28/2023     2.3   Update crypto tracing tracker for new requests

Cullen Stockmeyer         3/28/2023     1.5   Update asset tracing request list for external entity new information
                                              requests
David Johnston            3/28/2023     2.5   Analyze potential recoveries for wind down entities


David Johnston            3/28/2023     2.7   Prepare for PMO and board presentations




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David Johnston            3/28/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                              Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                              M. Cilia, K. Schultea, R. Perubhatla (FTX), B. Mendelsohn, N.
                                              Nussbaum, K. Flinn (PWP), E. Simpson, A. Dietderich, J.
David Johnston            3/28/2023     3.1   Review materials already prepared for potential wind down entities

David Johnston            3/28/2023     2.6   Review and provide comments on wind down presentation


David Slay                3/28/2023     1.7   Review and develop docket summaries for internal team

Ed Mosley                 3/28/2023     0.9   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                              Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                              M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                              Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Emily Hoffer              3/28/2023     0.4   Call with A. Helal and E. Hoffer (A&M) discussing Deltec statements
                                              and various issues documenting
Gaurav Walia              3/28/2023     0.3   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation


Gaurav Walia              3/28/2023     0.3   Review the top customer analysis previously sent to S&C

Gaurav Walia              3/28/2023     0.6   Call with A. Sivapalu, L. Konig, G. Walia (A&M) and C .Rogers
                                              (Nansen) to discuss wallet tracking
Gaurav Walia              3/28/2023     0.9   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                              and P. Lee (FTX) to discuss profit/loss calculation
Gaurav Walia              3/28/2023     0.5   Call with A. Sivapalu and G. Walia (A&M) regarding market maker
                                              data
Gaurav Walia              3/28/2023     1.2   Review the Alameda history document provided by J. Croke (S&C)

Gaurav Walia              3/28/2023     0.3   Call with G. Walia (A&M) and J. Croke (S&C) to discuss Alameda
                                              history
Gaurav Walia              3/28/2023     0.4   Call with C. Rogers (Nansen) and G. Walia (A&M) to discuss hot
                                              wallet historical tracing analysis
Gaurav Walia              3/28/2023     0.2   Call with M. Flynn, K. Dusendschon, G. Walia, L. Konig, P. Kwan
                                              (A&M) to discuss AWS and KYC status
Gaurav Walia              3/28/2023     1.3   Review the components of expenses on the exchange and provide
                                              feedback
Gaurav Walia              3/28/2023     0.8   Call with G. Walia, A. Sivapalu (A&M) and P. Lee (FTX) regarding
                                              financial line item reconciliation
Heather Ardizzoni         3/28/2023     2.1   Verify updates made to report on FTX controls for accuracy


Heather Ardizzoni         3/28/2023     2.3   Provide comments and feedback on updated report of FTX controls

Heather Ardizzoni         3/28/2023     0.7   Prepare response to various correspondence relating to FTX control
                                              environment
Henry Chambers            3/28/2023     1.3   Review of Blockfolio terms of use and other related documents



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Henry Chambers           3/28/2023     0.8   Attend to correspondence regarding intellectual property licensing

Henry Chambers           3/28/2023     0.3   Attend to correspondence regarding audit questions


Henry Chambers           3/28/2023     0.4   Attend to B. Spitz (FTX) queries in Singapore claim schedule

Henry Chambers           3/28/2023     1.9   Review and commentary on cold or hot wallet provider MSA

Henry Chambers           3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                             (A&M) to discuss the latest status of each workstream for FTX Asia
Hudson Trent             3/28/2023     0.7   Prepare updated wind down timeline for subsidiary wind down
                                             analysis based on updated assumptions
Hudson Trent             3/28/2023     1.0   Incorporate feedback into wind down analysis for subsidiary related
                                             to liability treatment
Hudson Trent             3/28/2023     1.3   Prepare shell wind down analysis for subsidiary slated for potential
                                             de minimis asset sale
Hudson Trent             3/28/2023     0.2   Discuss ongoing wind down analyses with C. Arnett, H. Trent (A&M)


Hudson Trent             3/28/2023     1.0   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                             Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                             M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                             Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Igor Radwanski           3/28/2023     2.4   Leverage blockchain analytics software to identify transactions of
                                             interest for token tracing request
Igor Radwanski           3/28/2023     1.1   Edit deliverable to include findings related to a token tracing request

Igor Radwanski           3/28/2023     2.1   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding crypto
                                             tracing request deliverable
Igor Radwanski           3/28/2023     0.5   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding editing
                                             crypto tracing request deliverable
Igor Radwanski           3/28/2023     1.9   Investigate written correspondences relating to debtor entity
                                             agreements
Igor Radwanski           3/28/2023     0.6   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                             Iwanski (A&M) regarding crypto tracing workstream update
Jack Collis              3/28/2023     2.3   Finalize drafting presentation on insolvency options for 3 jurisdictions


Jack Yan                 3/28/2023     3.0   Perform Relativity search for terms of use of Blockfolio and FTX
                                             Application
Jack Yan                 3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                             (A&M) to discuss the latest status of each workstream for FTX Asia
James Lam                3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                             (A&M) to discuss the latest status of each workstream for FTX Asia
Jane Chuah               3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                             (A&M) to discuss the latest status of each workstream for FTX Asia
Jeffery Stegenga         3/28/2023     1.2   Participation in the weekly mgmt/advisor PMO update call for
                                             workstream prioritization (mgmt, S&C, PWP, A&M)

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Jeffery Stegenga         3/28/2023     0.6   Review and follow-up on the PMO update deck in preparation for
                                             today's case update
Jon Chan                 3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                             Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                             mapping exercise
Jon Chan                 3/28/2023     0.4   Call with K. Donnelly, M. Sadat, K. Baker (A&M) and Jon Chan
                                             (A&M) regarding Jonathan Cheesman data
Jon Chan                 3/28/2023     3.1   Investigate activity relating to key individuals and accounts relating to
                                             potential insiders
Jon Chan                 3/28/2023     2.8   Investigate and provide documents relating to provided transaction
                                             hashes and emails
Jon Chan                 3/28/2023     1.1   Provide account details relating to specific accounts from previous
                                             documents
Jon Chan                 3/28/2023     1.4   Provide documents and investigate activity relating to specific
                                             individuals over time
Jon Chan                 3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                             Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                             go through action items, pending requests and workstreams
Jon Chan                 3/28/2023     2.6   Investigate activity made by certain key individuals

Jonathan Zatz            3/28/2023     0.3   Correspondence with S&C regarding Alameda follow-ups


Jonathan Zatz            3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                             Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                             go through action items, pending requests and workstreams
Jonathan Zatz            3/28/2023     1.8   Review dates of non-overlapping Alameda records to identify
                                             whether they occurred on day of cut-over
Jonathan Zatz            3/28/2023     2.8   Database scripting related to SDNY request for transactions within a
                                             date range
Jonathan Zatz            3/28/2023     1.2   Manually identifying Alameda tables for review to determine
                                             important date fields
Jonathan Zatz            3/28/2023     2.2   Database scripting to capture Alameda records that don't overlap
                                             between otherwise overlapping tables
Julian Lee               3/28/2023     0.6   Review supporting documents and update FTX Exchange bank
                                             account reconciliation
Kevin Baker              3/28/2023     1.8   Analyze list of accounts from AWS exchange that are potential
                                             entities associated as a related party
Kevin Baker              3/28/2023     2.3   Assist with the production of a cost profile and deliver to S&C


Kora Dusendschon         3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                             Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                             mapping exercise
Kora Dusendschon         3/28/2023     0.6   Answer questions from team re KYC and provide guidance, review
                                             prior requests and analysis
Kora Dusendschon         3/28/2023     0.3   Review open items for KYC and update action list



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Professional             Date     Hours     Activity
Kora Dusendschon      3/28/2023     0.1   Review email to coordinate next steps on data transfer for FTI

Kora Dusendschon      3/28/2023     0.2   Call with M. Flynn, K. Dusendschon, G. Walia, L. Konig, P. Kwan
                                          (A&M) to discuss AWS and KYC status
Kora Dusendschon      3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                          Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                          go through action items, pending requests and workstreams
Kora Dusendschon      3/28/2023     0.2   Provide FTI guidance on accounts

Kora Dusendschon      3/28/2023     0.8   Provide oversight to database team, review incoming requests and
                                          anticipated timing
Kora Dusendschon      3/28/2023     0.4   Teleconference with K. Dusendschon (A&M), J. Gilday, G. Houghey,
                                          A. Vyas, S. McDermott, A. Bailey, B. Hadamik, C. Miller (FTI), E.
                                          Newman, N. Wolowski, S. Dooley (S&C) to discuss open items
Kora Dusendschon      3/28/2023     0.6   Review questions from internal team, review documents and provide
                                          guidance re KYC review
Kora Dusendschon      3/28/2023     1.1   Execute searches for DocSend, review hits, make notes and provide
                                          summary to FTI re next steps
Kora Dusendschon      3/28/2023     1.0   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                          Dusendschon (A&M) to discuss KYC data mapping exercise
Kumanan Ramanathan    3/28/2023     0.5   Coordinate opening cold storage addresses for new blockchain
                                          network tokens
Kumanan Ramanathan    3/28/2023     0.5   Prepare and revise crypto asset management strategy materials,
                                          including discussion with team
Kumanan Ramanathan    3/28/2023     0.5   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                          customer portal and restart status
Kumanan Ramanathan    3/28/2023     0.5   Call with R. Perubhatla (FTX) to discuss IT matters


Kumanan Ramanathan    3/28/2023     1.1   Revise top 200 creditor schedule and distribute

Kumanan Ramanathan    3/28/2023     0.5   Call with K. Ramanathan and W. Walker (A&M), D. Bailey, L.
                                          Lovelace (EY), W. Syed (PWP), and A. Armstrong, S. Gupta
                                          (Cumberland) regarding hedging opportunities
Kumanan Ramanathan    3/28/2023     0.8   Review of preference claims by certain users


Kumanan Ramanathan    3/28/2023     0.4   Review of various cold storage addresses at Coinbase custody

Kumanan Ramanathan    3/28/2023     1.2   Prepare schedule of major accomplishments to-date on crypto-
                                          related matters
Kumanan Ramanathan    3/28/2023     0.6   Review of BitGo February invoices and provide approval

Kumanan Ramanathan    3/28/2023     0.9   Review of security issue document


Kumanan Ramanathan    3/28/2023     0.9   Review of excluded token analysis and provide comments




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Professional              Date     Hours     Activity
Kumanan Ramanathan     3/28/2023     1.1   Review of third party exchange data and provide comments

Kumanan Ramanathan     3/28/2023     0.7   Review of Coinbase custody agreement and discuss authorizing FTX
                                           CIO
Kumanan Ramanathan     3/28/2023     0.6   Review of FTX 2.0 restart data points from media article and discuss
                                           internally
Larry Iwanski          3/28/2023     2.9   Review crypto asset tracing request report related to req 39

Larry Iwanski          3/28/2023     0.6   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Leslie Lambert         3/28/2023     0.3   Call with L. Callerio and L. Lambert (A&M) regarding open crypto
                                           tracing and ad hoc requests
Leslie Lambert         3/28/2023     2.1   Conduct detailed review of approach, workpaper, and deliverable and
                                           conduct supplementary research in response to a crypto tracing
                                           request
Leslie Lambert         3/28/2023     0.2   Call with L. Lambert and A. Heric (A&M) regarding token analysis
                                           deliverable updates
Leslie Lambert         3/28/2023     1.8   Identify and analyze documentation relevant to certain token analyses

Leslie Lambert         3/28/2023     0.6   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                           Iwanski (A&M) regarding crypto tracing workstream update
Leslie Lambert         3/28/2023     2.0   Perform secondary review of deliverable and supporting information
                                           documenting conclusions from a certain token analysis
Leslie Lambert         3/28/2023     2.4   Review summary of findings and observations as well as supporting
                                           workpaper and underlying documents responsive to a request to
                                           analyze certain crypto assets
Leslie Lambert         3/28/2023     0.4   Call with L. Lambert and A. Heric (A&M) regarding updates to internal
                                           account deliverables
Leslie Lambert         3/28/2023     0.4   Call with L. Lambert, L. Callerio, C. Stockmeyer (A&M) regarding
                                           crypto tracing operation
Leslie Lambert         3/28/2023     1.9   Prepare communications regarding update on key findings from a
                                           crypto tracing exercise
Lilia Yurchak          3/28/2023     2.8   Commence analysis of KYC filings for Top 100 review

Lilia Yurchak          3/28/2023     2.1   Continue analysis of KYC filings for Top 100 review


Lorenzo Callerio       3/28/2023     0.5   Review the updated version of the REQ39 deck provided by L.
                                           Lambert (A&M)
Lorenzo Callerio       3/28/2023     0.3   Call with L. Callerio and L. Lambert (A&M) regarding open crypto
                                           tracing and ad hoc requests
Lorenzo Callerio       3/28/2023     0.9   Review inbound crypto tracing requests received today


Lorenzo Callerio       3/28/2023     0.7   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                           revised excluded tokens deck
Lorenzo Callerio       3/28/2023     0.6   Review the updated excluded tokens deck that includes comments
                                           form K. Ramanathan (A&M)

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Lorenzo Callerio         3/28/2023     0.7   Call with L. Lambert, L. Callerio, C. Stockmeyer (A&M) re: crypto
                                             tracing operation
Lorenzo Callerio         3/28/2023     0.4   Call with L. Lambert, L. Callerio, C. Stockmeyer (A&M) re: crypto
                                             tracing operation
Lorenzo Callerio         3/28/2023     0.4   Call with L. Callerio, C. Stockmeyer (A&M) to discuss crypto tracing
                                             operation
Louis Konig              3/28/2023     0.3   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation

Louis Konig              3/28/2023     0.9   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss profit/loss calculation
Louis Konig              3/28/2023     0.2   Call with M. Flynn, K. Dusendschon, G. Walia, L. Konig, P. Kwan
                                             (A&M) to discuss AWS and KYC status
Louis Konig              3/28/2023     0.6   Call with A. Sivapalu, L. Konig, G. Walia (A&M) and C .Rogers
                                             (Nansen) to discuss wallet tracking
Luke Francis             3/28/2023     1.4   Review of insider additional accounts on exchange

Luke Francis             3/28/2023     1.8   Review of fund investment information release


Manasa Sunkara           3/28/2023     0.5   Query the database to provide the investor and display names
                                             associated with a large list of user accounts
Manasa Sunkara           3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                             Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                             mapping exercise
Manasa Sunkara           3/28/2023     2.3   Provide all trading activity, activity records, log in information and
                                             KYC data associated with the user accounts
Manasa Sunkara           3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                             Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                             go through action items, pending requests and workstreams
Manasa Sunkara           3/28/2023     2.4   Quality check scripts, exports and prepare deliverables for internal
                                             and external parties
Manasa Sunkara           3/28/2023     0.7   Use the SQL database to identify which user withdrew funds to a
                                             specific wallet address and provide the user details
Manasa Sunkara           3/28/2023     1.6   Correspond with internal and external parties regarding data request
                                             deliverables
Matthew Flynn            3/28/2023     0.3   Call with M. Flynn and A. Mohammed (A&M) to discuss exchange
                                             restart status
Matthew Flynn            3/28/2023     0.5   Call with M. Flynn, A. Mohammed, K. Ramanathan (A&M) to discuss
                                             customer portal and restart status
Matthew Flynn            3/28/2023     0.4   Research 3rd party exchange agreements

Matthew Flynn            3/28/2023     0.6   Review of API FTX restart issues


Matthew Flynn            3/28/2023     0.9   Create customer entitlements presentation

Matthew Flynn            3/28/2023     1.2   Update wrapped token analysis and slide



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Matthew Flynn           3/28/2023     0.6   Review requirements of Dune analytics for cold wallet tracking

Matthew Flynn           3/28/2023     1.1   Research on TRYB coin recapture


Matthew Flynn           3/28/2023     0.9   Update stablecoin analysis and slide

Matthew Flynn           3/28/2023     0.2   Call with M. Flynn, K. Dusendschon, G. Walia, L. Konig, P. Kwan
                                            (A&M) to discuss AWS and KYC status
Matthew Flynn           3/28/2023     1.2   Review of Coinbase cold storage wallet accounts and recent activity


Matthew Hellinghausen   3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                            Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                            go through action items, pending requests and workstreams
Maximilian Simkins      3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                            Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                            mapping exercise
Maximilian Simkins      3/28/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, M. Hellinghausen, A.
                                            Sloan, J. Chan, M. Sunkara, K. Baker, M. Simkins, J. Zatz (A&M) to
                                            go through action items, pending requests and workstreams
Maximilian Simkins      3/28/2023     1.0   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                            Dusendschon (A&M) to discuss KYC data mapping exercise
Maximilian Simkins      3/28/2023     0.3   Teleconference with M. Haigis, C. Radis, M. Simkins, and R. Johnson
                                            (A&M) regarding AWS KYC Data
Maximilian Simkins      3/28/2023     0.7   Prepare notes and materials for teleconference with M. Haigis, M.
                                            Simkins, C. Radis, K. Dusendschon (A&M) to discuss KYC data
                                            mapping exercise
Maya Haigis             3/28/2023     0.5   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                            Dusendschon, J. Chan, and M. Sunkara (A&M) to discuss KYC data
                                            mapping exercise
Maya Haigis             3/28/2023     0.3   Teleconference with M. Haigis, C. Radis, M. Simkins, and R. Johnson
                                            (A&M) regarding AWS KYC Data
Maya Haigis             3/28/2023     1.0   Teleconference with M. Haigis, M. Simkins, C. Radis, K.
                                            Dusendschon (A&M) to discuss KYC data mapping exercise
Peter Kwan              3/28/2023     0.5   Call with O. de Vito Piscicelli, T. Hill, E. Simpson (S&C), R. Matzke,
                                            P. Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                            (AT&S), D. Johnston, P. Kwan, K. Ramanathan, (A&M) regarding
                                            Website launch
Peter Kwan              3/28/2023     0.5   Progress customer entitlements validation query development

Peter Kwan              3/28/2023     0.8   Analyze data and revise various queries to ensure reasonability of
                                            outputs
Peter Kwan              3/28/2023     1.3   Conduct Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/28/2023     1.3   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/28/2023     0.9   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss profit/loss calculation


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Peter Kwan              3/28/2023     0.2   Call with M. Flynn, K. Dusendschon, G. Walia, L. Konig, P. Kwan
                                            (A&M) to discuss AWS and KYC status
Quinn Lowdermilk        3/28/2023     1.6   Analyze relativity searches for email correspondence for token
                                            investment
Quinn Lowdermilk        3/28/2023     0.6   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, and L.
                                            Iwanski (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk        3/28/2023     0.5   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding editing
                                            crypto tracing request deliverable
Quinn Lowdermilk        3/28/2023     2.3   Prepare deliverable for token tracing findings for specific token
                                            investment
Quinn Lowdermilk        3/28/2023     2.6   Prepare analysis and deliverable for crypto tracing request identifying
                                            two addresses
Quinn Lowdermilk        3/28/2023     1.1   Research surrounding conversations pertaining to the agreement for
                                            tokens
Quinn Lowdermilk        3/28/2023     1.4   Call with I. Radwanski and Q. Lowdermilk (A&M) regarding crypto
                                            tracing request deliverable
Robert Gordon           3/28/2023     0.2   Discussion with R. Gordon (A&M) re: draft of first interim Ray report
                                            feedback
Robert Johnson          3/28/2023     0.9   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss profit/loss calculation
Robert Johnson          3/28/2023     1.2   Additional review of Alameda queries to profile data between the ten
                                            database servers
Robert Johnson          3/28/2023     0.3   Teleconference with M. Haigis, C. Radis, M. Simkins, and R. Johnson
                                            (A&M) regarding AWS KYC Data
Steve Coverick          3/28/2023     0.2   Discuss draft of first interim Ray report feedback with R. Gordon
                                            (A&M)
Steve Coverick          3/28/2023     0.9   Prepare for and participate in weekly Board meeting with K. Knipp, M.
                                            Doheny, J. Farnan, R. Jain, M. Rosenberg, M. Sonkin (BoD), J. Ray,
                                            M. Cilia, K. Schultea, R. Perubhatla (FTX), K. Cofsky, B.
                                            Mendelsohn, N. Nussbaum, M. Rahmani, K. Flinn, W. Sayed (PWP
Summer Li               3/28/2023     0.6   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah and J. Yan
                                            (A&M) to discuss the latest status of each workstream for FTX Asia
Summer Li               3/28/2023     0.4   Manage the status of each workstream for FTX Asia

Summer Li               3/28/2023     1.4   Review of the user transaction data in order to reconcile the
                                            intercompany balance between FTX Japan KK and FTX Trading
William Walker          3/28/2023     1.9   Update tables and charts for asset sale slide

William Walker          3/28/2023     0.6   Correspond with S&C regarding updated 3rd party exchange data

William Walker          3/28/2023     0.5   Call with K. Ramanathan and W. Walker (A&M), D. Bailey, L.
                                            Lovelace (EY), W. Syed (PWP), and A. Armstrong, S. Gupta
                                            (Cumberland) regarding hedging opportunities
Aly Helal               3/29/2023     0.2   Call with A. Helal and E. Hoffer (A&M) discussing narrowing
                                            searches on Relativity for Deltec bank statements



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Anan Sivapalu         3/29/2023     0.7   Call with A. Mohammed, G. Walia, M. Flynn and A. Sivapalu (A&M)
                                          regarding next step on crypto blockchain tracking
Anan Sivapalu         3/29/2023     0.2   Call with K. Dusendschon and A. Sivapalu (A&M) to review Relativity
                                          searching
Andrew Heric          3/29/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          graphics and deliverable
Andrew Heric          3/29/2023     3.1   Conduct crypto tracing analysis and internal document research of a
                                          new token related to venture tracing request 39
Andrew Heric          3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                          Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                          update
Andrew Heric          3/29/2023     1.6   Input findings of token tracing analysis into deliverable for venture
                                          request 39
Andrew Heric          3/29/2023     1.1   Finalize analysis of token tracing, open-source research, and internal
                                          document review for token related to venture request 39
Andrew Heric          3/29/2023     0.8   Updates two token tracing deliverables related to venture request 39
                                          based off comments from L. Lambert (A&M)
Andrew Heric          3/29/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                          findings
Andrew Heric          3/29/2023     0.7   Update crypto tracing visuals and summary analysis based off
                                          internal comments from L. Lambert (A&M)
Andrew Heric          3/29/2023     0.5   Finalize updates to review of internal account activity based off
                                          comments from L. Lambert (A&M)
Andrew Heric          3/29/2023     0.4   Call with L. Lambert, A. Heric, L. Callerio, C. Stockmeyer, L. Iwanski
                                          (A&M) regarding Internal Crypto Tracing
Austin Sloan          3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                          Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Azmat Mohammed        3/29/2023     0.7   Call with A. Mohammed, G. Walia, M. Flynn and A. Sivapalu (A&M)
                                          regarding next step on crypto blockchain tracking
Azmat Mohammed        3/29/2023     0.6   Procure software and licenses for development efforts

Azmat Mohammed        3/29/2023     0.8   Call with R. Reynaldo (FTX) to discuss FTX product fees


Azmat Mohammed        3/29/2023     1.0   Gain access to AWS environment with authentication

Azmat Mohammed        3/29/2023     0.5   Call with K. Ramanathan, A. Mohammed (A&M) and J. Masters
                                          (FTX) to discuss customer portal requirements
Azmat Mohammed        3/29/2023     0.5   Identify potential 3rd party consultants/development shops

Azmat Mohammed        3/29/2023     0.7   Research Sygnia correspondence related to security


Azmat Mohammed        3/29/2023     0.2   Respond to requests related to Liquid / FTX JP IP considerations




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Azmat Mohammed            3/29/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), J.
                                              Sardinha (FTX) to discuss dune analytics and dashboards
Azmat Mohammed            3/29/2023     0.5   Call with M. Flynn, G. Walia, A. Mohammed (A&M) to discuss dune
                                              analytics and dashboarding
Bas Fonteijne             3/29/2023     0.5   Call with M. van den Belt, D. Johnston, B. Fonteijne, C. Corr (A&M)
                                              discussion surrounding insolvency considerations in India
Cameron Radis             3/29/2023     1.8   Perform SQL based review of KYC request 375. Create scripts and
                                              workbook output of various results for further review
Cameron Radis             3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                              Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                              Kwan, L. Konig (A&M) to go through action items, pending requests
                                              and workstreams
Cameron Radis             3/29/2023     0.8   Teleconference with K. Dusendschon and C. Radis (A&M) regarding
                                              KYC request 369
Cameron Radis             3/29/2023     1.8   Perform SQL based review of current KYC process scripts and output
                                              files. Perform QC procedures for correct results and output
Cameron Radis             3/29/2023     1.6   Perform SQL based review of KYC request 369. Create workbook
                                              output of various results for further review
Cameron Radis             3/29/2023     0.4   Teleconference with C. Radis, M. Simkins, and M. Haigis (A&M)
                                              discussing KYC data mapping
Cameron Radis             3/29/2023     0.8   Teleconference with K. Baker and C. Radis (A&M) regarding KYC
                                              data pulls
Cameron Radis             3/29/2023     0.1   Teleconference with K. Dusendschon, C. Radis, M. Simkins, and M.
                                              Haigis (A&M) discussing KYC data mapping
Cameron Radis             3/29/2023     0.4   Teleconference with K. Dusendschon and C. Radis (A&M) regarding
                                              KYC request 375
Caoimhe Corr              3/29/2023     1.6   Prepare analysis of Turkish strategic options


Caoimhe Corr              3/29/2023     1.3   Prepare analysis of Indian strategic options

Caoimhe Corr              3/29/2023     0.5   Call with M. van den Belt, D. Johnston, B. Fonteijne, C. Corr (A&M)
                                              discussion surrounding insolvency considerations in India
Caoimhe Corr              3/29/2023     1.2   Prepare analysis of Gibraltar strategic options

Caoimhe Corr              3/29/2023     0.6   Analyze Singapore strategic options


Caoimhe Corr              3/29/2023     0.9   Update Entity Analysis deck with findings

Chris Arnett              3/29/2023     0.8   Continue to develop plan to consolidate remote assets and direct
                                              team accordingly
Cullen Stockmeyer         3/29/2023     1.7   Update asset tracing request list for external entity related to
                                              completed requests
Cullen Stockmeyer         3/29/2023     1.1   Analyze crypto tracing request #10, 285 Alameda Addresses for
                                              recoverable assets
Cullen Stockmeyer         3/29/2023     1.1   Review tracing requests 4-20 related to recoverable asset tracing
                                              analyses

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Cullen Stockmeyer         3/29/2023     1.1   Update crypto tracing management table related to request to
                                              consolidate learnings in single location
Cullen Stockmeyer         3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                              Iwanski, C. Stockmeyer (A&M) re: Asset tracing update
Cullen Stockmeyer         3/29/2023     0.4   Call with L. Lambert, A. Heric, L. Callerio, C. Stockmeyer, L. Iwanski
                                              (A&M) re: Internal Crypto Tracing
Cullen Stockmeyer         3/29/2023     1.9   Review requests 1-3 related to recoverable asset tracing analyses

Cullen Stockmeyer         3/29/2023     2.1   Update asset tracing request list for external entity related to
                                              additional requests
Cullen Stockmeyer         3/29/2023     0.3   Working session with Q. Lowdermilk, C. Stockmeyer (A&M) re: crypto
                                              tracing request for identifying Alameda/FTX wallets on third party
                                              exchanges
Cullen Stockmeyer         3/29/2023     2.3   Analyze third party exchange report with intent to identify recoverable
                                              funds
Cullen Stockmeyer         3/29/2023     0.2   Working session with L. Lambert, C. Stockmeyer (A&M) re: crypto
                                              tracing process
Cullen Stockmeyer         3/29/2023     0.6   Update excluded tokens analysis presentation for K. Ramanathan
                                              (A&M) comments
David Johnston            3/29/2023     0.5   Call with D. Johnston, Z. Voll (A&M) Discussion surrounding
                                              insolvency considerations in Singapore
David Johnston            3/29/2023     0.5   Call with M. van den Belt, D. Johnston, B. Fonteijne, C. Corr (A&M)
                                              discussion surrounding insolvency considerations in India
David Johnston            3/29/2023     1.2   Review comments and updates relating to new FTX EU Ltd website


David Johnston            3/29/2023     1.1   Review workstreams, team structure, plan upcoming weeks

David Johnston            3/29/2023     1.7   Review draft materials and commentary relating to new FTX EU Ltd
                                              website
David Johnston            3/29/2023     1.8   Review PMO presentation for 28 March


David Slay                3/29/2023     1.6   Review and summarize recent docket activity for distribution

David Slay                3/29/2023     0.5   Distribute PMO to internal and external workstream leads


David Slay                3/29/2023     1.2   Update FTX team distribution list for current staff on deal

Ed Mosley                 3/29/2023     0.3   Prepare for and participate in meeting with S&C (O. deVitoPiscicelli,
                                              A.Cohen, others) and A&M (D. Johnston, K.Ramanathan,
                                              S.Coverick, others) regarding FTX EU workstream updates
Emily Hoffer              3/29/2023     0.2   Call with A. Helal and E. Hoffer (A&M) discussing narrowing
                                              searches on Relativity for Deltec statements
Gaurav Walia              3/29/2023     0.9   Update the expense tracker vs. what's available in AWS document

Gaurav Walia              3/29/2023     0.4   Review the latest internal accounts analysis deck



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Gaurav Walia             3/29/2023     0.5   Call with M. Flynn, G. Walia, A. Mohammed (A&M) to discuss dune
                                             analytics and dashboarding
Gaurav Walia             3/29/2023     0.6   Call with M. Flynn, G. Walia, A. Mohammed (A&M) to discuss dune
                                             analytics
Gaurav Walia             3/29/2023     0.7   Call with A. Mohammed, G. Walia, M. Flynn and A. Sivapalu (A&M)
                                             regarding next step on crypto blockchain tracking
Gaurav Walia             3/29/2023     0.3   Call with G. Walia, W. Walker (A&M) regarding crypto customer
                                             balances
Gaurav Walia             3/29/2023     1.0   Prepare a summary of the profit / loss calculation methodology


Gaurav Walia             3/29/2023     0.7   Update the exchange liabilities and assets analysis

Gaurav Walia             3/29/2023     0.6   Review the FTT liabilities vs. assets analysis and provide feedback


Gaurav Walia             3/29/2023     0.8   Prepare a bridge from the previously reported crypto number and the
                                             latest thinking
Gaurav Walia             3/29/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss profit/loss calculation
Gaurav Walia             3/29/2023     0.5   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation

Henry Chambers           3/29/2023     1.3   Attend to correspondence and analysis regarding historic Liquid
                                             volumes
Hudson Trent             3/29/2023     1.3   Revise subsidiary wind down analysis based on internal A&M
                                             feedback
Igor Radwanski           3/29/2023     2.3   Analyze agreements to understand what is being exchanged

Igor Radwanski           3/29/2023     2.6   Leverage document database to discover token agreements between
                                             debtor entities and a third party vendor
Igor Radwanski           3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                             Iwanski, C. Stockmeyer (A&M) regarding Asset tracing update
Igor Radwanski           3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                             Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             update
Igor Radwanski           3/29/2023     0.9   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding crypto
                                             tracing request
Igor Radwanski           3/29/2023     1.2   Call with I. Radwanski and L. Lambert (A&M) regarding crypto tracing
                                             findings
Igor Radwanski           3/29/2023     0.7   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding crypto
                                             tracing findings
Igor Radwanski           3/29/2023     0.7   Utilize blockchain tracing software to identify transactions of interest

Jack Collis              3/29/2023     2.2   Review of information provided and prepare tracker

Jack Yan                 3/29/2023     2.9   Perform Relativity search for terms of use of Blockfolio and FTX
                                             Application


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Jack Yan                 3/29/2023     0.8   Correspondence with H. Chambers (A&M) regarding the Relativity
                                             search results of terms of use of Blockfolio and FTX Application
Joachim Lubsczyk         3/29/2023     1.3   Finalize Scenario and next steps for FTX Trading GmbH


Joachim Lubsczyk         3/29/2023     0.4   Call w/ Austria tax consultant V. Rauch (GBR) on status of liquidation
                                             of Austrian FTX entities
Joachim Lubsczyk         3/29/2023     1.6   Draft scenario and next steps for FTX Trading GmbH

Jon Chan                 3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                             Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Jon Chan                 3/29/2023     0.6   Analyze tables with json data types and developing query methods


Jon Chan                 3/29/2023     0.8   Analyze email and correspondence regarding multiple requests

Jon Chan                 3/29/2023     1.7   Provide documents for activity relating to specific individuals 90 days
                                             before petition date
Jonathan Zatz            3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                             Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Jonathan Zatz            3/29/2023     3.2   Database scripting related to SDNY request for transactions within a
                                             date range
Jonathan Zatz            3/29/2023     0.3   Call with L. Lambert, Q. Lowdermilk, J. Zatz, L. Iwanski and L.
                                             Callerio (A&M) regarding a request received from S&C
Jonathan Zatz            3/29/2023     1.4   Script and execute queries to identify wholly included tables in
                                             Alameda data
Jonathan Zatz            3/29/2023     2.3   Review results and debugging queries related to transaction values
                                             within a date range
Jonathan Zatz            3/29/2023     0.8   Database scripting to parse out json fields


Kevin Baker              3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                             Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Kevin Baker              3/29/2023     0.8   Teleconference with K. Baker and C. Radis (A&M) regarding KYC
                                             data pulls
Kora Dusendschon         3/29/2023     0.1   Teleconference with K. Dusendschon, C. Radis, M. Simkins, and M.
                                             Haigis (A&M) discussing KYC data mapping
Kora Dusendschon         3/29/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                             (A&M) discussing KYC data mapping
Kora Dusendschon         3/29/2023     0.1   Setup call with FTI for screenshare


Kora Dusendschon         3/29/2023     1.2   Answer questions from team re KYC and provide guidance re Top
                                             100 review



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Kora Dusendschon      3/29/2023     0.3   Internal communications re access for EY, draft email to S&C team

Kora Dusendschon      3/29/2023     0.2   Call with K. Dusendschon and A. Sivapalu (A&M) to review Relativity
                                          searching
Kora Dusendschon      3/29/2023     0.4   Coordinate response to request from S&C, hand off to FTI

Kora Dusendschon      3/29/2023     0.4   Coordinate update on Top 100 review

Kora Dusendschon      3/29/2023     0.4   Teleconference with K. Dusendschon and C. Radis (A&M) regarding
                                          KYC request 375
Kora Dusendschon      3/29/2023     1.1   Review results from team for request, interpret and provide update to
                                          FTI for TOP 100 review
Kora Dusendschon      3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                          Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Kora Dusendschon      3/29/2023     1.1   Provide oversight to database team, review incoming requests and
                                          anticipated timing. Log new requests
Kora Dusendschon      3/29/2023     0.8   Teleconference with K. Dusendschon and C. Radis (A&M) regarding
                                          KYC request 369
Kora Dusendschon      3/29/2023     0.4   Review update from FTI for Top 100 review, create new saved
                                          search and send update to the team
Kumanan Ramanathan    3/29/2023     0.5   Call with K. Ramanathan, A. Mohammed (A&M) and J. Masters
                                          (FTX) to discuss customer portal requirements
Kumanan Ramanathan    3/29/2023     0.7   Correspond regarding NEAR tokens and review of relevant materials

Kumanan Ramanathan    3/29/2023     0.5   Review relevant materials for FTX 2.0 product offerings and fee
                                          generation mechanisms in advance of FTX developer meetings
Kumanan Ramanathan    3/29/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), J.
                                          Sardinha (FTX) to discuss dune analytics and dashboards
Kumanan Ramanathan    3/29/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), J.
                                          Sardinha (FTX) to discuss dune analytics and dashboards
Kumanan Ramanathan    3/29/2023     0.5   Revise Alameda privileges materials

Kumanan Ramanathan    3/29/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), B. Harsch, S. Ehrenberg
                                          (S&C), B. Durkan (DP) to discuss TRYB status
Kumanan Ramanathan    3/29/2023     0.7   Review of crypto matter involving Klay tokens

Kumanan Ramanathan    3/29/2023     0.6   Review of proposal for IP at subsidiary

Kumanan Ramanathan    3/29/2023     0.3   Review and provide Coinbase custody cold wallet confirmations


Kumanan Ramanathan    3/29/2023     0.2   Call with K. Ramanathan, V. Rajasekhar (A&M) to discuss fiat
                                          conversion summary
Kumanan Ramanathan    3/29/2023     0.6   Review of Flow Traders agreement and correspond


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Kumanan Ramanathan     3/29/2023     0.3   Review of OKX and OKC holdings documents

Lance Clayton          3/29/2023     3.2   Demonstrate resource review process to team and review output


Larry Iwanski          3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                           Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
Larry Iwanski          3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                           Iwanski, C. Stockmeyer (A&M) regarding Asset tracing update
Larry Iwanski          3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                           Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) regarding
                                           Avoidance - Tracing - Ventures Touchpoint
Larry Iwanski          3/29/2023     0.3   Call with L. Lambert, Q. Lowdermilk, J. Zatz, L. Iwanski and L.
                                           Callerio (A&M) regarding a request received from S&C
Larry Iwanski          3/29/2023     0.4   Call with L. Lambert, A. Heric, L. Callerio, C. Stockmeyer, L. Iwanski
                                           (A&M) regarding Internal Crypto Tracing
Larry Iwanski          3/29/2023     1.2   Review crypto asset tracing request report related to req 39


Leslie Lambert         3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                           Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) regarding
                                           Avoidance - Tracing - Ventures Touchpoint
Leslie Lambert         3/29/2023     0.3   Call with L. Lambert, Q. Lowdermilk, J. Zatz, L. Iwanski and L.
                                           Callerio (A&M) regarding a request received from S&C
Leslie Lambert         3/29/2023     0.4   Call with L. Lambert, A. Heric, L. Callerio, C. Stockmeyer, L. Iwanski
                                           (A&M) regarding Internal Crypto Tracing
Leslie Lambert         3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                           Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
Leslie Lambert         3/29/2023     0.2   Working session with L. Lambert, C. Stockmeyer (A&M) regarding
                                           crypto tracing process
Leslie Lambert         3/29/2023     1.2   Call with I. Radwanski and L. Lambert (A&M) regarding crypto tracing
                                           findings
Leslie Lambert         3/29/2023     0.4   Prepare update on ongoing analyses for the avoidance and ventures
                                           teams
Leslie Lambert         3/29/2023     1.6   Analyze documentation relevant to ongoing crypto tracing requests


Leslie Lambert         3/29/2023     1.7   Review and revise deliverable summarizing output from a certain
                                           token analysis
Leslie Lambert         3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                           Iwanski, C. Stockmeyer (A&M) regarding Asset tracing update
Leslie Lambert         3/29/2023     1.2   Conduct a review of the methodology, analysis, and presentation of
                                           findings for an analysis of a certain token purchase
Leslie Lambert         3/29/2023     1.3   Provide a quality control review of the deliverable and underlying
                                           support documentation in response to a crypto tracing request
                                           regarding certain token activity
Lilia Yurchak          3/29/2023     3.1   Analyze KYC filings for Top 100 review


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Lilia Yurchak            3/29/2023     2.7   Continue analysis of KYC filings for Top 100 review

Lilia Yurchak            3/29/2023     1.5   Continue analysis of KYC filings for Top 100 review - additional
                                             documents
Lorenzo Callerio         3/29/2023     1.6   Review the updated internal accounts decks provided by L. Lambert
                                             (A&M)
Lorenzo Callerio         3/29/2023     0.6   Review the updated internal account deck prepared by C.
                                             Stockmeyer (A&M)
Lorenzo Callerio         3/29/2023     1.0   Review and provided comments to the REQ39 and REQ11
                                             deliverables provided by L. Lambert (A&M)
Lorenzo Callerio         3/29/2023     0.5   Review all the other crypto tracing inbound request received

Lorenzo Callerio         3/29/2023     0.4   Call with L. Lambert, A. Heric, L. Callerio, C. Stockmeyer, L. Iwanski
                                             (A&M) re: Internal Crypto Tracing
Lorenzo Callerio         3/29/2023     0.3   Call with L. Lambert, Q. Lowdermilk, J. Zatz, L. Iwanski and L.
                                             Callerio (A&M) re: a request received from S&C
Lorenzo Callerio         3/29/2023     1.5   Review the crypto tracing response strawman


Lorenzo Callerio         3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                             Iwanski, C. Stockmeyer (A&M) re: Asset tracing update
Lorenzo Callerio         3/29/2023     0.6   Review revised REQ39 presentation for internal discussion

Louis Konig              3/29/2023     0.5   Call with L. Konig, G. Walia (A&M) to discuss profit / loss calculation


Louis Konig              3/29/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss profit/loss calculation
Manasa Sunkara           3/29/2023     2.9   Review the NFT tables in the database and map the fields to
                                             understand how they relate to each other
Manasa Sunkara           3/29/2023     3.1   Query the database to provide the trading activity, activity records,
                                             log in records and KYC data associated with specific user accounts
Manasa Sunkara           3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                             Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Manasa Sunkara           3/29/2023     1.3   Correspondence with internal A&M to discuss the NFT tables and the
                                             significance of certain tables/fields
Manasa Sunkara           3/29/2023     2.4   Create updated SQL scripts to query NFT trading data

Manasa Sunkara           3/29/2023     0.8   Correspondence with internal and external parties regarding data
                                             request questions and deliverables
Manasa Sunkara           3/29/2023     1.4   Quality check scripts, exports and prepare deliverables for external
                                             S&C
Manasa Sunkara           3/29/2023     1.2   Search the SQL database to provide all transaction activity
                                             associated with specific user accounts across both platforms




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Mark vanden Belt      3/29/2023     0.6   Participate in call with M. van den Belt, D. Johnston B. Fonteijne,
                                          C.Corr, N. Shah V. Khushboo, Z.Voll (A&M) Discussion surrounding
                                          recovery considerations in India
Mark vanden Belt      3/29/2023     0.2   Update Europe overview materials for feedback received

Mark vanden Belt      3/29/2023     0.4   Participate in call with M. van den Belt, D. Johnston J. Taylor B.
                                          Fonteijne, C.Corr, Z.Voll (A&M) Discussion surrounding recovery
                                          considerations in Singapore
Matthew Flynn         3/29/2023     0.6   Research on third-party multi-sig wallet solutions

Matthew Flynn         3/29/2023     1.1   Verify post-petition transactions for top 20 customers

Matthew Flynn         3/29/2023     0.5   Call with M. Flynn, G. Walia, A. Mohammed (A&M) to discuss dune
                                          analytics and dashboarding
Matthew Flynn         3/29/2023     0.9   Review closed & deleted exchange account detail

Matthew Flynn         3/29/2023     0.8   Update project plan for crypto workstream


Matthew Flynn         3/29/2023     0.9   Research Bilira equity agreements with Alameda

Matthew Flynn         3/29/2023     0.6   Update project plan for developers for current status


Matthew Flynn         3/29/2023     0.6   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M), J.
                                          Sardinha (FTX) to discuss dune analytics and dashboards
Matthew Flynn         3/29/2023     0.7   Call with A. Mohammed, G. Walia, M. Flynn and A. Sivapalu (A&M)
                                          regarding next step on crypto blockchain tracking
Matthew Flynn         3/29/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M), B. Harsch, S. Ehrenberg
                                          (S&C), B. Durkan (DP) to discuss TRYB status
Matthew Warren        3/29/2023     2.6   Conduct research on holder information for tokens

Matthew Warren        3/29/2023     1.9   Conduct analysis on token holder information


Matthew Warren        3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                          Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                          update
Matthew Warren        3/29/2023     3.2   Provide token research for relevant token agreements

Maximilian Simkins    3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                          Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Maximilian Simkins    3/29/2023     2.3   Compile data for AWS KYC master tracker


Maximilian Simkins    3/29/2023     0.7   Teleconference with M. Haigis and M. Simkins (A&M) regarding AWS
                                          KYC Data
Maximilian Simkins    3/29/2023     0.1   Teleconference with K. Dusendschon, C. Radis, M. Simkins, and M.
                                          Haigis (A&M) discussing KYC data mapping

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Business Operations
Professional               Date     Hours     Activity
Maximilian Simkins      3/29/2023     2.6   Create AWS KYC Documentation and master tracker

Maximilian Simkins      3/29/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                            (A&M) discussing KYC data mapping
Maximilian Simkins      3/29/2023     0.4   Teleconference with C. Radis, M. Simkins, and M. Haigis (A&M)
                                            discussing KYC data mapping
Maya Haigis             3/29/2023     0.7   Teleconference with M. Haigis and M. Simkins (A&M) regarding AWS
                                            KYC Data
Maya Haigis             3/29/2023     0.4   Teleconference with C. Radis, M. Simkins, and M. Haigis (A&M)
                                            discussing KYC data mapping
Maya Haigis             3/29/2023     0.1   Teleconference with K. Dusendschon, C. Radis, M. Simkins, and M.
                                            Haigis (A&M) discussing KYC data mapping
Maya Haigis             3/29/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                            (A&M) discussing KYC data mapping
Maya Haigis             3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                            Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                            Kwan, L. Konig (A&M) to go through action items, pending requests
                                            and workstreams
Maya Haigis             3/29/2023     1.1   Create KYC data mapping outline and documentation

Peter Kwan              3/29/2023     0.6   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Peter Kwan              3/29/2023     1.1   Analyze data and refine queries to ensure reasonability of outputs

Peter Kwan              3/29/2023     0.5   Prepare Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/29/2023     0.6   Prepare customer entitlements validation query development


Peter Kwan              3/29/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss profit/loss calculation
Peter Kwan              3/29/2023     0.4   Huddle with A&M Data team regarding Process planning, outstanding
                                            requests outputs, and steps
Quinn Lowdermilk        3/29/2023     0.9   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding crypto
                                            tracing request
Quinn Lowdermilk        3/29/2023     0.3   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            findings
Quinn Lowdermilk        3/29/2023     0.3   Working session with Q. Lowdermilk, C. Stockmeyer (A&M) regarding
                                            crypto tracing request for identifying Alameda/FTX wallets on third
                                            party exchanges
Quinn Lowdermilk        3/29/2023     1.6   Create deliverable surrounding findings on certain token investment

Quinn Lowdermilk        3/29/2023     0.7   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding crypto
                                            tracing findings
Quinn Lowdermilk        3/29/2023     2.1   Prepare analysis for token investment




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Professional               Date     Hours     Activity
Quinn Lowdermilk        3/29/2023     0.7   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                            Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Quinn Lowdermilk        3/29/2023     0.3   Call with L. Lambert, Q. Lowdermilk, J. Zatz, L. Iwanski and L.
                                            Callerio (A&M) regarding a request received from S&C
Quinn Lowdermilk        3/29/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding crypto tracing
                                            graphics and deliverable
Quinn Lowdermilk        3/29/2023     0.6   Create the analysis for the 29 transactions of interest that were found

Quinn Lowdermilk        3/29/2023     1.2   Analyze block explorers for the transactions of interest


Quinn Lowdermilk        3/29/2023     1.8   Prepare analysis for REQ79 surrounding 29 transactions

Robert Gordon           3/29/2023     0.6   Review and tie out debtor revenue against AWS exchange

Robert Johnson          3/29/2023     0.5   Daily meeting with K. Dusendschon, K. Baker, C. Radis, A. Sloan, M.
                                            Sunkara, M. Haigis, J. Chan, M. Simkins, J. Zatz, R. Johnson, P.
                                            Kwan, L. Konig (A&M) to go through action items, pending requests
                                            and workstreams
Robert Johnson          3/29/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss profit/loss calculation
Robert Johnson          3/29/2023     2.3   Add VPN user account and associated accounts for P. Lee (FTX) to
                                            enable access from additional locations
Robert Johnson          3/29/2023     0.6   Migration of Rakuten data to Metabase, QC of data migration


Robert Johnson          3/29/2023     1.2   Migration of Wells Fargo data to Metabase tables from staging tables

Sharon Schlam Batista   3/29/2023     2.5   Build structure for the workflow of customer trading book


Steven Glustein         3/29/2023     0.4   Court hearing regarding to Alameda investment closing relating to
                                            venture fund investments
Steven Glustein         3/29/2023     0.2   Call with L. Lambert, L. Callerio, S. Glustein, I. Radwanski, L.
                                            Iwanski, C. Stockmeyer (A&M) re: Asset tracing update
Vinny Rajasekhar        3/29/2023     0.2   Call with K. Ramanathan, V. Rajasekhar (A&M) to discuss fiat
                                            conversion summary
William Walker          3/29/2023     1.8   Update 3rd party intelligence software platform with updated asset
                                            detail
William Walker          3/29/2023     0.3   Call with G. Walia, W. Walker (A&M) regarding crypto customer
                                            balances
William Walker          3/29/2023     0.9   Update FTT token tracker for team review

Zachary Voll            3/29/2023     0.5   Call with M. van den Belt, D. Johnston, B. Fonteijne, C. Corr (A&M)
                                            discussion surrounding insolvency considerations in India
Zachary Voll            3/29/2023     0.5   Call with D. Johnston, Z. Voll (A&M) Discussion surrounding
                                            insolvency considerations in Singapore



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Business Operations
Professional                Date     Hours     Activity
Alessandro Farsaci       3/30/2023     0.2   Call with Tanja on administrator engagement

Allison Cox              3/30/2023     0.9   Media report review related to Storybook venture book investment
                                             analysis
Aly Helal                3/30/2023     0.2   Call with A. Helal and B. Price (A&M) regarding counterparties for
                                             Deltec Bank statements
Anan Sivapalu            3/30/2023     0.5   Call with A. Mohammed and A. Sivapalu (A&M) regarding data
                                             infrastructure
Anan Sivapalu            3/30/2023     0.9   Call with A. Mohammed, A. Sivapalu, K.Ramanathan, G. Walia
                                             (A&M), and Nevin (FTX) regarding chain API build
Anan Sivapalu            3/30/2023     0.8   Call with A. Mohammed and A. Sivapalu (A&M) regarding service line
                                             data
Andrew Heric             3/30/2023     1.1   Notate crypto tracing findings and gather internal supporting
                                             documentation for token related to venture request 39
Andrew Heric             3/30/2023     2.6   Conduct crypto tracing, review internal documentation, and research
                                             open-source data for new token related to request 39
Andrew Heric             3/30/2023     0.4   Call with I. Radwanski, A. Heric, and L. Lambert (A&M) regarding
                                             targeted wallet investigation request
Andrew Heric             3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                             Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                             update
Andrew Heric             3/30/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding high priority
                                             tracing request
Andrew Heric             3/30/2023     0.6   Begin populating deliverable with TRM crypto tracing visuals and
                                             transaction details related to venture request 39
Andrew Heric             3/30/2023     2.1   Conduct crypto tracing analysis of a specific address for high-priority
                                             request 81
Andrew Heric             3/30/2023     0.6   Review new tracing request 79 related to debtor transfers and begin
                                             tracing the identified transfers within TRM
Austin Sloan             3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                             Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Azmat Mohammed           3/30/2023     1.0   Call with A. Mohammed and A. Sivapalu (A&M) regarding data
                                             infrastructure
Azmat Mohammed           3/30/2023     1.0   Call with E. Echevarria, V. Manners, B. Steele (Kroll), H. Chambers,
                                             K. Ramanathan, R. Esposito, A. Mohammed (A&M), J. Masters (FTX)
                                             regarding development efforts on the claims portal
Azmat Mohammed           3/30/2023     0.9   Call with A. Mohammed, A. Sivapalu, K.Ramanathan, G. Walia
                                             (A&M), and Nevin (FTX) regarding chain API build
Azmat Mohammed           3/30/2023     0.8   Call with A. Mohammed and A. Sivapalu (A&M) regarding service line
                                             data
Azmat Mohammed           3/30/2023     0.5   Call with A. Mohammed, K.Ramanathan, (A&M), J. Sardinha and
                                             Nevin (FTX) regarding chain API build
Azmat Mohammed           3/30/2023     0.5   Build fees by product description slides



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Professional             Date     Hours     Activity
Azmat Mohammed        3/30/2023     0.9   Requirements documentation for Chain API and data build

Azmat Mohammed        3/30/2023     0.3   Organize technology efforts (restart 2.0, wallet time series, etc.)


Azmat Mohammed        3/30/2023     0.5   Call with A. Mohammed and A. Sivapalu (A&M) regarding data
                                          infrastructure
Azmat Mohammed        3/30/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia, A. Mohammed
                                          (A&M), N. Molina, and P. Lee (FTX) to discuss profit/loss calculation
Bas Fonteijne         3/30/2023     0.2   Participate in call with C. Kotarba, D. Johnston M. Van den Belt C.
                                          Corr B. Fonteijne (A&M) to discuss current situation in Gibraltar
Breanna Price         3/30/2023     0.2   Call with A. Helal and B. Price (A&M) regarding counterparties and
                                          Deltec reports
Calvin Myrie          3/30/2023     0.2   Call with L. Yurchak and C. Myrie (A&M) to discuss KYC review of
                                          Top 100
Cameron Radis         3/30/2023     2.2   Perform SQL based analysis to update KYC scripts to search across
                                          KYC tables in both .COM and .US databases. Run scripts for request
                                          375
Cameron Radis         3/30/2023     1.2   Make updates to KYC process and scripts and correspond with
                                          internal team regarding changes
Cameron Radis         3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                          Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Cameron Radis         3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                          K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                          conduct screenshare walkthrough of KYC data
Cameron Radis         3/30/2023     0.5   Teleconference with M. Simkins, C. Radis, and M. Haigis (A&M) to
                                          discuss KYC data mapping
Caoimhe Corr          3/30/2023     2.7   Prepare Europe AG entity tearsheet for internal discussion

Caoimhe Corr          3/30/2023     2.1   Prepare Turkish options analysis


Chris Kotarba         3/30/2023     0.1   Call with C. Kotarba, D. Johnston M. Van den Belt C. Corr B.
                                          Fonteijne (A&M) to discuss current situation in Zubr
Cullen Stockmeyer     3/30/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                          updates
Cullen Stockmeyer     3/30/2023     2.3   Correspondence related to asset tracing request list for external
                                          entity
Cullen Stockmeyer     3/30/2023     1.1   Prepare list of top holders for certain token based on request from K.
                                          Ramanathan for more information related to a potential sale of assets
Cullen Stockmeyer     3/30/2023     1.3   Strategize new report template for asset tracing requests

Cullen Stockmeyer     3/30/2023     1.2   Prepare diligence update for leadership summary review of deal

Cullen Stockmeyer     3/30/2023     1.3   Review and comment on updated template for asset tracing request
                                          deliverables


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Business Operations
Professional              Date     Hours     Activity
Cullen Stockmeyer      3/30/2023     1.2   Review and provide commentary on report for asset tracing request
                                           #79 related to 29 transactions
Cullen Stockmeyer      3/30/2023     0.2   Review and prepare strategy for updated crypto tracing tracking
                                           document
Cullen Stockmeyer      3/30/2023     2.1   Update crypto tracing request tracker for new correspondences
                                           related to various parties
David Johnston         3/30/2023     0.1   Call with C. Kotarba, D. Johnston M. Van den Belt C. Corr B.
                                           Fonteijne (A&M) to discuss current situation in Zubr
David Johnston         3/30/2023     1.4   Review and update materials relating to FTX Trading GmbH


David Johnston         3/30/2023     1.3   Review Singapore entities and options for recovery

David Johnston         3/30/2023     0.8   Review FTX EU Ltd press release


Ed Mosley              3/30/2023     0.5   Discussions w/ E. Mosley, J. Stegenga (A&M) & D. Feigenbaum re:
                                           Binance update
Gaurav Walia           3/30/2023     1.7   Conduct research on Alameda history


Gaurav Walia           3/30/2023     0.8   Review the latest Alameda components analysis

Gaurav Walia           3/30/2023     0.6   Review the updated crypto assets figures

Gaurav Walia           3/30/2023     0.8   Review the lend / borrow deck prepared by Alix


Gaurav Walia           3/30/2023     0.3   Review the market maker and customer revenue analysis

Gaurav Walia           3/30/2023     0.5   Call with L. Iwanski, L. Lambert, G. Walia, L. Konig and L. Callerio
                                           (A&M) regarding internal accounts
Gaurav Walia           3/30/2023     0.9   Call with A. Mohammed, A. Sivapalu, K.Ramanathan, G. Walia
                                           (A&M), and Nevin (FTX) regarding chain API build
Gaurav Walia           3/30/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia, A. Mohammed
                                           (A&M), N. Molina, and P. Lee (FTX) to discuss profit/loss calculation
Gaurav Walia           3/30/2023     0.4   Review the FTT liabilities vs. assets analysis and provide feedback

Gaurav Walia           3/30/2023     1.1   Review the control failures document

Heather Ardizzoni      3/30/2023     0.7   Meeting between H. Ardizzoni, R. Gordon (A&M) to discuss controls
                                           report questions
Heather Ardizzoni      3/30/2023     0.7   Research answers and responses to internal controls report questions

Henry Chambers         3/30/2023     1.0   Call with E. Echevarria, V. Manners, B. Steele (Kroll), H. Chambers,
                                           K. Ramanathan, R. Esposito, A. Mohammed (A&M), J. Masters (FTX)
                                           regarding development efforts on the claims portal
Henry Chambers         3/30/2023     0.8   Follow up with J. Masters (FTX) regarding intellectual property
                                           licensing matter and other queries


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Professional              Date     Hours     Activity
Henry Chambers         3/30/2023     1.2   Review of documents regarding Blockfolio users and correspondence
                                           with S&C regarding the same
Henry Chambers         3/30/2023     0.6   Call with O. Wortman (Sygnia) regarding go forward Sygnia
                                           monitoring and Liquid database acquisition
Igor Radwanski         3/30/2023     0.3   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding tracing
                                           request findings and update
Igor Radwanski         3/30/2023     1.8   Edit deliverable to include further findings on a token request

Igor Radwanski         3/30/2023     0.4   Call with I. Radwanski, A. Heric, and L. Lambert (A&M) regarding
                                           targeted wallet investigation request
Igor Radwanski         3/30/2023     0.4   Call with M. Warren and I. Radwanski (A&M) regarding organizing
                                           crypto tracing workstream
Igor Radwanski         3/30/2023     1.4   Analyze document database for correspondences between parties of
                                           interest
Igor Radwanski         3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                           Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
James Lam              3/30/2023     0.3   Confirm certain wallet groups are loaded in the wallet tracking
                                           database
James Lam              3/30/2023     0.8   Conduct searches for wallet addresses possibly controlled by FTX or
                                           Alameda
Jeffery Stegenga       3/30/2023     0.5   Discussions w/ E. Mosley, J. Stegenga (A&M) & D. Feigenbaum re:
                                           Binance update
Joachim Lubsczyk       3/30/2023     1.2   Summarize Status of Austrian FTX entities


Jon Chan               3/30/2023     2.7   Analyze activity for specific customer on the exchange

Jon Chan               3/30/2023     0.6   Investigate issues relating to SQL automation scripts

Jon Chan               3/30/2023     1.9   Analyze activity relating to specific key individuals on the exchange


Jon Chan               3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                           Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                           Kwan, L. Konig (A&M) to go through action items, pending requests
                                           and workstreams
Jon Chan               3/30/2023     2.6   Provide extracts and investigate account details and transaction
                                           history pertaining to key individuals and related parties
Jon Chan               3/30/2023     0.9   Investigate activity for accounts on the exchange relating to phone
                                           numbers and transaction hashes
Jon Chan               3/30/2023     1.1   Investigate know your customer activity relating to certain individuals

Jon Chan               3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                           K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                           conduct screenshare walkthrough of KYC data
Jonathan Zatz          3/30/2023     3.1   Database scripting and execution to identify wholly included tables in
                                           Alameda data without primary keys


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Professional                Date     Hours     Activity
Jonathan Zatz            3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                             Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Jonathan Zatz            3/30/2023     1.6   Database scripting to identify wholly included tables in Alameda date
                                             with different table names
Kevin Baker              3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                             K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                             conduct screenshare walkthrough of KYC data
Kevin Baker              3/30/2023     2.3   Develop and maintain scripts for AWS reports and formatting


Kora Dusendschon         3/30/2023     0.7   Provide oversight and guidance to team. Update requests in tracker

Kora Dusendschon         3/30/2023     0.5   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                             (A&M) to discuss status of KYC data mapping
Kora Dusendschon         3/30/2023     0.2   Send request to FTX compliance to obtain sample deliverable for
                                             KYC
Kora Dusendschon         3/30/2023     0.6   Conduct searches in Relativity, review results, provide internal
                                             update and hand off searches to team member for additional review
Kora Dusendschon         3/30/2023     0.6   Work on request 375 - coordinate with FTI, provide update to S&C
                                             and provide AWS exports
Kora Dusendschon         3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                             K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                             conduct screenshare walkthrough of KYC data
Kora Dusendschon         3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                             Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Kora Dusendschon         3/30/2023     0.2   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig (A&M)
                                             to discuss AWS/ KYC data status
Kora Dusendschon         3/30/2023     0.7   Compile bi-weekly update for S&C and Raj, distribute internally

Kora Dusendschon         3/30/2023     0.3   Status check on TOP 100 review and follow up coordination

Kumanan Ramanathan       3/30/2023     0.4   Correspond regarding Coinbase cold wallet setup and BitGo wallet
                                             setup for GLM
Kumanan Ramanathan       3/30/2023     0.5   Revise FTX EU claims noticing response and distribute

Kumanan Ramanathan       3/30/2023     1.0   Call with E. Echevarria, V. Manners, B. Steele (Kroll), H. Chambers,
                                             K. Ramanathan, R. Esposito, A. Mohammed (A&M), J. Masters (FTX)
                                             regarding development efforts on the claims portal
Kumanan Ramanathan       3/30/2023     1.4   Call with A. Taylor, A. Istrefi (Sygnia) J. Croke, A. Holland (S&C) K.
                                             Ramanathan, and V. Rajasekhar (A&M) regarding exchange transfer
                                             session #9
Kumanan Ramanathan       3/30/2023     0.4   Review and distribute exchange crypto recovery letter




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Business Operations
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Kumanan Ramanathan     3/30/2023     0.2   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig (A&M)
                                           to discuss AWS/ KYC data status
Kumanan Ramanathan     3/30/2023     0.9   Call with A. Mohammed, A. Sivapalu, K.Ramanathan, G. Walia
                                           (A&M), and Nevin (FTX) regarding chain API build
Kumanan Ramanathan     3/30/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) to discuss
                                           crypto tracing status
Kumanan Ramanathan     3/30/2023     0.4   Call with R. Perubhatla (FTX) to discuss IT matters

Kumanan Ramanathan     3/30/2023     0.5   Call with A. Mohammed, K.Ramanathan, (A&M), J. Sardinha and
                                           Nevin (FTX) regarding chain API build
Larry Iwanski          3/30/2023     0.5   Call with L. Iwanski, L. Lambert, G. Walia, L. Konig and L. Callerio
                                           (A&M) regarding internal accounts
Larry Iwanski          3/30/2023     1.3   Review crypto asset tracing request report related to req 39


Larry Iwanski          3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                           Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
Leslie Lambert         3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                           Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                           update
Leslie Lambert         3/30/2023     0.4   Call with I. Radwanski, A. Heric, and L. Lambert (A&M) regarding
                                           targeted wallet investigation request
Leslie Lambert         3/30/2023     0.9   Prepare update on internal account analysis

Leslie Lambert         3/30/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                           tracing request findings and deliverable
Leslie Lambert         3/30/2023     0.4   Call with L. Lambert and L. Callerio (A&M) regarding crypto tracing
                                           update
Leslie Lambert         3/30/2023     0.5   Call with L. Iwanski, L. Lambert, G. Walia, L. Konig and L. Callerio
                                           (A&M) regarding internal accounts
Leslie Lambert         3/30/2023     1.9   Analyze updated token schedule to identify changes and craft a craft
                                           a supplemental document request
Leslie Lambert         3/30/2023     0.7   Provide detailed feedback on presentation of findings based on a
                                           review of the deck and related documentation
Leslie Lambert         3/30/2023     1.3   Revise deliverable and support documentation detailing preliminary
                                           conclusions on crypto tracing efforts for a certain token position
Leslie Lambert         3/30/2023     1.0   Call with L. Lambert and M. Warren (A&M) regarding tracing updates
                                           and next steps
Lilia Yurchak          3/30/2023     2.2   Continue analysis of KYC filings for Top 100 review - additional
                                           documents
Lilia Yurchak          3/30/2023     2.1   Conduct analysis of KYC filings for Top 100 review


Lorenzo Callerio       3/30/2023     0.6   Review 2 additional REQ39 deliverables (crypto tracing)

Lorenzo Callerio       3/30/2023     0.6   Review the inbound requests received today as well as the crypto
                                           tracing tracker

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Professional                Date     Hours     Activity
Lorenzo Callerio         3/30/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) to discuss
                                             crypto tracing status
Lorenzo Callerio         3/30/2023     1.3   Draft a revised crypto tracing response template


Lorenzo Callerio         3/30/2023     0.5   Call with L. Iwanski, L. Lambert, G. Walia, L. Konig and L. Callerio
                                             (A&M) re: internal accounts
Lorenzo Callerio         3/30/2023     0.4   Call with L. Lambert and L. Callerio (A&M) re: crypto tracing update

Lorenzo Callerio         3/30/2023     0.7   Review the Pith holders analysis and provide comments to C.
                                             Stockmeyer (A&M)
Lorenzo Callerio         3/30/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: diligence process
                                             updates
Lorenzo Callerio         3/30/2023     1.0   Review the Pith documents received from K. Ramanathan (A&M)


Louis Konig              3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                             Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Louis Konig              3/30/2023     0.5   Call with L. Iwanski, L. Lambert, G. Walia, L. Konig and L. Callerio
                                             (A&M) regarding internal accounts
Louis Konig              3/30/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia, A. Mohammed
                                             (A&M), N. Molina, and P. Lee (FTX) to discuss profit/loss calculation
Louis Konig              3/30/2023     0.2   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig (A&M)
                                             to discuss AWS/ KYC data status
Manasa Sunkara           3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                             Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                             Kwan, L. Konig (A&M) to go through action items, pending requests
                                             and workstreams
Manasa Sunkara           3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                             K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                             conduct screenshare walkthrough of KYC data
Manasa Sunkara           3/30/2023     2.8   Correspond with internal A&M regarding data request confirmation,
                                             status and responses to inquiries
Manasa Sunkara           3/30/2023     0.3   Review outstanding data requests and update the internal tracker

Manasa Sunkara           3/30/2023     2.2   Further trace and analyze the transactions made by this individual
                                             and provide the bank accounts they interacted with
Manasa Sunkara           3/30/2023     0.6   Quality check scripts and exports and prepare deliverables to internal
                                             A&M
Manasa Sunkara           3/30/2023     2.9   Analyze the user's activity to trace the origin of the transaction and
                                             provide the details
Mark vanden Belt         3/30/2023     2.1   Prepare update on Rest of World entities


Mark vanden Belt         3/30/2023     0.1   Participate in call with C. Kotarba, D. Johnston M. Van den Belt C.
                                             Corr B. Fonteijne (A&M) to discuss current situation in Gibraltar
Matthew Flynn            3/30/2023     0.2   Call with M. Flynn, K. Ramanathan, K. Dusendschon, L. Konig (A&M)
                                             to discuss AWS/ KYC data status

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Matthew Flynn         3/30/2023     0.3   Call with M. Flynn, K. Ramanathan, L. Callerio (A&M) to discuss
                                          crypto tracing status
Matthew Flynn         3/30/2023     0.9   Review TRY 405M transfer case support


Matthew Flynn         3/30/2023     0.6   Review bank relationships and any resulting conflicts

Matthew Flynn         3/30/2023     0.6   Review Solana foundation agreement

Matthew Flynn         3/30/2023     0.6   Research and review KYC providers and associated services


Matthew Warren        3/30/2023     0.4   Call with M. Warren and I. Radwanski (A&M) regarding organizing
                                          crypto tracing workstream
Matthew Warren        3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                          Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                          update
Matthew Warren        3/30/2023     1.7   Review of token information for relevant details on agreements


Matthew Warren        3/30/2023     1.7   Provide research on open sources for relevant token transactions

Matthew Warren        3/30/2023     1.0   Call with L. Lambert and M. Warren (A&M) regarding tracing updates
                                          and next steps
Matthew Warren        3/30/2023     1.1   Provide updates to token analysis and workpapers

Matthew Warren        3/30/2023     1.9   Provide holder information of specific tokens


Maximilian Simkins    3/30/2023     2.4   Create code and Update documentation process for KYC process

Maximilian Simkins    3/30/2023     2.6   Compile data for AWS KYC source table columns

Maximilian Simkins    3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                          Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Maximilian Simkins    3/30/2023     0.5   Teleconference with M. Simkins, C. Radis, and M. Haigis (A&M) to
                                          discuss KYC data mapping
Maximilian Simkins    3/30/2023     0.5   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                          (A&M) to discuss status of KYC data mapping
Maya Haigis           3/30/2023     0.5   Call with K. Dusendschon, M. Haigis, C. Radis, J. Chan, M. Sunkara,
                                          K. Baker (A&M), B. Hadamik, G. Houghey, D. Lee, V. Reed (FTI) to
                                          conduct screenshare walkthrough of KYC data
Maya Haigis           3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                          Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                          Kwan, L. Konig (A&M) to go through action items, pending requests
                                          and workstreams
Maya Haigis           3/30/2023     2.7   Create KYC data mapping outline and documentation




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Maya Haigis             3/30/2023     0.5   Teleconference with M. Simkins, C. Radis, and M. Haigis (A&M) to
                                            discuss KYC data mapping
Maya Haigis             3/30/2023     0.5   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                            (A&M) to discuss status of KYC data mapping
Peter Kwan              3/30/2023     0.5   Analyze data and refine queries to ensure accuracy and reasonability
                                            of outputs
Peter Kwan              3/30/2023     0.4   Huddle with A&M Data team regarding Process planning, outstanding
                                            requests outputs, and steps
Peter Kwan              3/30/2023     0.5   Continue Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/30/2023     0.8   Produce customer entitlements validation query development

Peter Kwan              3/30/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia, A. Mohammed
                                            (A&M), N. Molina, and P. Lee (FTX) to discuss profit/loss calculation
Peter Kwan              3/30/2023     0.9   Develop and test queries to pull data in relation to inquiry by various
                                            investigative bodies
Quinn Lowdermilk        3/30/2023     1.7   Prepare analysis for findings surrounding 29 transactions supplied


Quinn Lowdermilk        3/30/2023     0.3   Call with Q. Lowdermilk and I. Radwanski (A&M) regarding tracing
                                            request findings and update
Quinn Lowdermilk        3/30/2023     0.4   Call with Q. Lowdermilk and A. Heric (A&M) regarding high priority
                                            tracing request
Quinn Lowdermilk        3/30/2023     0.5   Call with Q. Lowdermilk and L. Lambert (A&M) regarding crypto
                                            tracing request findings and deliverable
Quinn Lowdermilk        3/30/2023     1.6   Prepare deliverable highlighting findings surrounding analysis of 29
                                            transactions
Quinn Lowdermilk        3/30/2023     0.8   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert, M.
                                            Warren, and L. Iwanski (A&M) regarding crypto tracing workstream
                                            update
Quinn Lowdermilk        3/30/2023     2.1   Research 29 transactions on public block explorers


Robert Gordon           3/30/2023     0.7   Meeting between H. Ardizzoni, R. Gordon (A&M) to discuss controls
                                            report questions
Robert Johnson          3/30/2023     0.8   Migration of coin pricing tables to database for Alameda querying and
                                            joins
Robert Johnson          3/30/2023     0.4   Daily meeting with K. Dusendschon, C. Radis, K. Baker, A. Sloan, M.
                                            Haigis, J. Chan, M. Sunkara, M. Simkins, J. Zatz, R. Johnson, P.
                                            Kwan, L. Konig (A&M) to go through action items, pending requests
                                            and workstreams
Robert Johnson          3/30/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia, A. Mohammed
                                            (A&M), N. Molina, and P. Lee (FTX) to discuss profit/loss calculation
Sharon Schlam Batista   3/30/2023     3.2   Run scenario analysis on the customer trading book based on each
                                            user daily transaction
Vinny Rajasekhar        3/30/2023     1.4   Update unauthorized transfer table for Chainalysis data




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Vinny Rajasekhar       3/30/2023     1.4   Call with A. Taylor, A. Istrefi (Sygnia) J. Croke, A. Holland (S&C) K.
                                           Ramanathan, and V. Rajasekhar (A&M) regarding exchange transfer
                                           session #9
William Walker         3/30/2023     0.9   Draft memo to Cumberland with updated figures for review

William Walker         3/30/2023     0.8   Prepare pricing request for various strike price and durations for
                                           hedge pricing data
William Walker         3/30/2023     2.3   Build out updated hedge strategy slide with new pricing and materials
                                           from Cumberland
Zachary Voll           3/30/2023     1.0   Meeting with S. Schlam to discuss customer reconciliation logic


Alec Liv-Feyman        3/31/2023     0.3   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding token
                                           vesting schedule database bridging
Aly Helal              3/31/2023     0.1   Call with A. Helal, M. Ebrey (A&M) regarding bank transactions
                                           counterparty identification
Anan Sivapalu          3/31/2023     0.5   Call with K. Montague, B. Tenney and A. Sivapalan (A&M) regarding
                                           currency pair by service line data
Anan Sivapalu          3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                           and A. Sivapalu (A&M) regarding KYC for top market makers
Anan Sivapalu          3/31/2023     2.9   Implement revenue calculation for market maker by currency pair
                                           combination in DAX
Andrew Heric           3/31/2023     2.8   Populate deliverable with findings from open-source data, internal
                                           document research, and crypto tracing for request 39
Andrew Heric           3/31/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert and M.
                                           Warren (A&M) regarding crypto tracing workstream update
Andrew Heric           3/31/2023     2.8   Conduct in-depth crypto tracing of a wallet to identify the token's
                                           origin and last identified location for venture request 39
Andrew Heric           3/31/2023     0.8   Detail final findings of crypto tracing conducted on an address related
                                           to high-priority request 81
Andrew Heric           3/31/2023     1.6   Finalize analysis of token tracing, open-source research, and internal
                                           document review for token related to venture request 39
Austin Sloan           3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                           Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                           (A&M) to go through action items, pending requests and workstreams
Azmat Mohammed         3/31/2023     0.5   Research and reaching out to crypto development organizations


Azmat Mohammed         3/31/2023     0.7   Meeting with J. Sardinha (FTX) and A. Mohammed (A&M) regarding
                                           Chain API build
Azmat Mohammed         3/31/2023     0.5   Build requirements for ft mock sites

Azmat Mohammed         3/31/2023     1.0   Meeting with G. Jackson, N. Shay, N. Aragam (FTX) and A.
                                           Mohammed (A&M) to discuss development efforts/projects
Azmat Mohammed         3/31/2023     1.0   Working with IT for Zendesk and for secured environment setup

Azmat Mohammed         3/31/2023     0.8   Respond to correspondence related to development efforts



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Azmat Mohammed            3/31/2023     0.7   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                              development projects
Bridger Tenney            3/31/2023     0.5   Call with K. Montague, B. Tenney and A. Sivapalan (A&M) regarding
                                              currency pair by service line data
Calvin Myrie              3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                              and A. Sivapalu (A&M) regarding KYC for top market makers
Calvin Myrie              3/31/2023     0.7   Call with K. Dusendschon, C. Myrie, M. Simkins (A&M) regarding
                                              KYC for top market makers
Calvin Myrie              3/31/2023     0.1   Call with L. Yurchak and C. Myrie (A&M) to discuss KYC review of
                                              Top 100
Calvin Myrie              3/31/2023     2.1   Begin expanded KYC review of a subset of traders

Caoimhe Corr              3/31/2023     0.9   Update Turkish situation slide deck


Chris Arnett              3/31/2023     0.7   Review and further develop workstream plan re: HR, vendors and go-
                                              forward options analyses
Cullen Stockmeyer         3/31/2023     0.4   Review and provide commentary on report for asset tracing request
                                              #39
Cullen Stockmeyer         3/31/2023     1.3   Update new report template for crypto tracing team's reports

Cullen Stockmeyer         3/31/2023     0.3   Working session with Q. Lowdermilk, C. Stockmeyer (A&M) re: crypto
                                              tracing request # 79
David Johnston            3/31/2023     1.1   Discuss FTX EU wind down presentation with J. Ray (FTX), S.
                                              Coverick, E. Mosley, and D. Johnston (A&M)
David Slay                3/31/2023     0.5   Cross reference supporting data with workstreams and ensure
                                              accuracy
Ed Mosley                 3/31/2023     0.5   Call with J. Ray (FTX), E. Mosley, S. Coverick and D. Johnston
                                              (A&M) re: legal entity rationalization workplan
Ed Mosley                 3/31/2023     0.9   Discuss Alameda relationship to exchanges with A.Dietderich (S&C)
                                              and A&M (S.Coverick, K.Ramanathan, G.Walia, E. Mosley)
Ed Mosley                 3/31/2023     1.1   Discuss FTX EU wind down presentation with J.Ray (FTX), and A&M
                                              (S.Coverick, D. Johnston, E. Mosley)
Gaurav Walia              3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                              and A. Sivapalu (A&M) regarding KYC for top market makers
Gaurav Walia              3/31/2023     1.0   Working session with L. Lambert, L. Konig, G. Walia, K. Baker, J.
                                              Chan and L. Callerio (A&M) regarding OTC Data Review
Gaurav Walia              3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                              Callerio, G. Walia (A&M) to discuss internal account tracing
Gaurav Walia              3/31/2023     0.4   Review the trading revenue summary presentation

Gaurav Walia              3/31/2023     0.7   Update the Alameda overview deck


Gaurav Walia              3/31/2023     0.8   Review the crypto asset bridge




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Henry Chambers          3/31/2023     1.4   Preparation of post-petition AML deck

Henry Chambers          3/31/2023     0.4   Attend to update of Bitocto presentation


Hudson Trent            3/31/2023     0.9   Review and provide feedback on subsidiary wind down analysis

Hudson Trent            3/31/2023     1.2   Update subsidiary wind down analysis based on internal A&M
                                            feedback
Igor Radwanski          3/31/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert and M.
                                            Warren (A&M) regarding crypto tracing workstream update
Igor Radwanski          3/31/2023     1.2   Call with M. Warren and I. Radwanski (A&M) regarding crypto tracing
                                            findings
Igor Radwanski          3/31/2023     0.8   Call with M. Warren and I. Radwanski (A&M) discussing crypto
                                            tracing findings via blockchain analytics tool
Igor Radwanski          3/31/2023     3.1   Trace transactions using blockchain analytics software related to
                                            specific token request
Igor Radwanski          3/31/2023     2.5   Analyze transfers related to a specific token request


James Lam               3/31/2023     0.7   Review the monitoring bot settings and notifications

James Lam               3/31/2023     0.6   Update the Bitocto deck with solicitors' comments

Jane Chuah              3/31/2023     0.9   Identify bank transaction details of Quoine Pte's DBS bank (July to
                                            September 2022)
Jane Chuah              3/31/2023     1.9   Identify bank transaction details of Quoine Pte's DBS bank (October
                                            to November 2022)
Jane Chuah              3/31/2023     2.3   Identify bank transaction details of Quoine Pte's DBS bank (April to
                                            June 2022)
Jon Chan                3/31/2023     1.4   Provide extracts and investigate account details and transaction
                                            history pertaining to key individuals and related parties
Jon Chan                3/31/2023     1.0   Working session with L. Lambert, L. Konig, G. Walia, K. Baker, J.
                                            Chan and L. Callerio (A&M) regarding OTC Data Review
Jon Chan                3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                            Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                            (A&M) to go through action items, pending requests and workstreams
Jon Chan                3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                            Callerio, G. Walia (A&M) to discuss internal account tracing
Jon Chan                3/31/2023     0.9   Analyze email and correspondence regarding multiple requests


Jon Chan                3/31/2023     2.1   Investigate activity for accounts on the exchange relating to phone
                                            numbers and transaction hashes and national identification numbers
Jon Chan                3/31/2023     2.4   Analyze activity made utilizing specific coins and tokens on the
                                            exchanges
Jonathan Zatz           3/31/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                            Alameda AWS status


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Jonathan Zatz            3/31/2023     1.4   Review and reformat results of Alameda wallet transaction analysis

Jonathan Zatz            3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                             Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                             (A&M) to go through action items, pending requests and workstreams
Jonathan Zatz            3/31/2023     0.5   Update weekly status report related to Alameda data


Jonathan Zatz            3/31/2023     1.8   Script and execute queries to identify wholly included large tables in
                                             Alameda data
Jonathan Zatz            3/31/2023     2.6   Debug script to parse json objects in Alameda data


Katie Montague           3/31/2023     0.5   Call with K. Montague, B. Tenney and A. Sivapalan (A&M) regarding
                                             currency pair by service line data
Kevin Baker              3/31/2023     0.2   Call with K. Dusendschon and K. Baker to discuss LEO request and
                                             Relativity searches
Kevin Baker              3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                             Callerio, G. Walia (A&M) to discuss internal account tracing
Kevin Baker              3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                             Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                             (A&M) to go through action items, pending requests and workstreams
Kevin Baker              3/31/2023     2.2   Analyze specific requests relating to the FTX Earn and spot margin
                                             programs
Kevin Baker              3/31/2023     2.7   Prepare 3rd party exchange data to be searchable in Metabase for
                                             further analysis
Kora Dusendschon         3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                             and A. Sivapalu (A&M) regarding KYC for top market makers
Kora Dusendschon         3/31/2023     0.5   Call with R. Johnson, K. Dusendschon (A&M) and R. Perubhatla
                                             (FTX) to discuss AWS request and open items
Kora Dusendschon         3/31/2023     0.7   Provide oversight and guidance to team on daily requests

Kora Dusendschon         3/31/2023     0.2   Call with K. Dusendschon and K. Baker to discuss LEO request and
                                             Relativity searches
Kora Dusendschon         3/31/2023     1.0   Call with C. Rowe, S. McDermott, C. Miller, C. Kyprinou, A. Vyas
                                             (FTI), Z. Flegenheimer, S. Dooley, E. Newman (S&C), R.Perubhatla,
                                             B. Bangerter (FTX), (A&M) to discuss status of collections and next
                                             steps
Kora Dusendschon         3/31/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                             (A&M) to discuss KYC data mapping
Kora Dusendschon         3/31/2023     0.6   Compile bi-weekly update, tracker and posting to Box


Kora Dusendschon         3/31/2023     0.4   Look into request from Taipei PD

Kora Dusendschon         3/31/2023     0.7   Call with K. Dusendschon, C. Myrie, M. Simkins (A&M) regarding
                                             KYC for top market makers
Kumanan Ramanathan       3/31/2023     0.2   Review crypto holdings on Messari platform



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Business Operations
Professional              Date     Hours     Activity
Kumanan Ramanathan     3/31/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                           Alameda AWS status
Kumanan Ramanathan     3/31/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                           development projects
Kumanan Ramanathan     3/31/2023     0.3   Review of third party API sites being utilized in development efforts

Kumanan Ramanathan     3/31/2023     0.1   Call with K. Ramanathan, R. Johnson (A&M) to discuss preservation
                                           of communication platform instance
Kumanan Ramanathan     3/31/2023     0.9   Discuss Alameda relationship to exchanges with A.Dietderich (S&C)
                                           and A&M (S.Coverick, K.Ramanathan, )
Kumanan Ramanathan     3/31/2023     0.3   Distribute guidance on crypto asset management strategy materials

Larry Iwanski          3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                           Callerio, G. Walia (A&M) to discuss internal account tracing
Leslie Lambert         3/31/2023     0.8   Compile relevant data responsive to request for deliverable in excel
                                           format
Leslie Lambert         3/31/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert and M.
                                           Warren (A&M) regarding crypto tracing workstream update
Leslie Lambert         3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                           Callerio, G. Walia (A&M) to discuss internal account tracing
Leslie Lambert         3/31/2023     1.1   Review correspondence and other documentation relevant to crypto
                                           tracing workstream and data requests
Leslie Lambert         3/31/2023     0.6   Search unstructured data repository to identify communications
                                           relevant to transaction of interest
Leslie Lambert         3/31/2023     1.2   Provide revisions to crypto tracing output responsive to a request

Leslie Lambert         3/31/2023     1.0   Working session with L. Lambert, L. Konig, G. Walia, K. Baker, J.
                                           Chan and L. Callerio (A&M) regarding OTC Data Review
Leslie Lambert         3/31/2023     0.3   Prepare communication regarding ongoing efforts to respond to
                                           crypto tracing requests
Lilia Yurchak          3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                           and A. Sivapalu (A&M) regarding KYC for top market makers
Lilia Yurchak          3/31/2023     0.7   Call with K. Dusendschon, C. Myrie, M. Simkins (A&M) regarding
                                           KYC for top market makers
Lilia Yurchak          3/31/2023     0.1   Call with L. Yurchak and C. Myrie (A&M) to discuss KYC review of
                                           Top 100
Lorenzo Callerio       3/31/2023     0.5   Review the updated crypto tracing request template provided by C.
                                           Stockmeyer (A&M)
Lorenzo Callerio       3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                           Callerio, G. Walia (A&M) to discuss internal account tracing
Lorenzo Callerio       3/31/2023     0.6   Review and provide comments to REQ79 deck provided by Q.
                                           Lowdermilk (A&M)
Lorenzo Callerio       3/31/2023     0.7   Review the crypto tracing inbound requests received today




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Business Operations
Professional                Date     Hours     Activity
Louis Konig              3/31/2023     1.3   Call with L. Iwanski, J. Chan, K. Baker, L. Konig, L. Lambert, L.
                                             Callerio, G. Walia (A&M) to discuss internal account tracing
Louis Konig              3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                             Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                             (A&M) to go through action items, pending requests and workstreams
Louis Konig              3/31/2023     0.4   Call with M. Bennett (S&C) and L. Konig (A&M) to discuss margin
                                             and lending program
Louis Konig              3/31/2023     1.0   Working session with L. Lambert, L. Konig, G. Walia, K. Baker, J.
                                             Chan and L. Callerio (A&M) regarding OTC Data Review
Luke Francis             3/31/2023     1.2   Updates to summary liabilities for all silos


Mark vanden Belt         3/31/2023     0.6   Review materials ahead of weekly European update meeting

Mark vanden Belt         3/31/2023     1.1   Review slide on options in India

Mark vanden Belt         3/31/2023     0.9   Review slide on options in Singapore


Mason Ebrey              3/31/2023     1.3   Combination of various counterparties identified into one file

Mason Ebrey              3/31/2023     0.1   Call with A. Helal, M. Ebrey (A&M) regarding counterparty
                                             identification
Matthew Flynn            3/31/2023     0.3   Call with M. Flynn, K. Ramanathan, J. Zatz (A&M) to discuss
                                             Alameda AWS status
Matthew Flynn            3/31/2023     1.2   Review of certain Nov transactions


Matthew Flynn            3/31/2023     0.9   Review of relativity for Circle related agreements

Matthew Flynn            3/31/2023     0.8   Update crypto workstream project plan

Matthew Flynn            3/31/2023     0.8   Review of Circle MSA FTX agreement


Matthew Flynn            3/31/2023     0.5   Call with M. Flynn, K. Ramanathan, A. Mohammed (A&M) to discuss
                                             development projects
Matthew Flynn            3/31/2023     1.2   Review of Circle MSA Alameda agreement


Matthew Hellinghausen    3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                             Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                             (A&M) to go through action items, pending requests and workstreams
Matthew Warren           3/31/2023     1.2   Call with M. Warren and I. Radwanski (A&M) regarding crypto tracing
                                             findings
Matthew Warren           3/31/2023     0.8   Call with M. Warren and I. Radwanski (A&M) discussing crypto
                                             tracing findings via blockchain analytics tool
Matthew Warren           3/31/2023     1.1   Provide data updates to token workpapers

Matthew Warren           3/31/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert and M.
                                             Warren (A&M) regarding crypto tracing workstream update

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Business Operations
Professional               Date     Hours     Activity
Matthew Warren          3/31/2023     2.2   Research of open sources for relevant holder history

Matthew Warren          3/31/2023     2.2   Conduct research for relevant email correspondence of token details


Maximilian Simkins      3/31/2023     0.8   Prepare and quality check code to combine tables that contain kyc
                                            drives and make a list of users
Maximilian Simkins      3/31/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                            (A&M) to discuss KYC data mapping
Maximilian Simkins      3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                            Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                            (A&M) to go through action items, pending requests and workstreams
Maximilian Simkins      3/31/2023     1.9   Compile data for AWS know-your-customer source table columns

Maya Haigis             3/31/2023     0.4   Teleconference with K. Dusendschon, M. Simkins, and M. Haigis
                                            (A&M) to discuss KYC data mapping
Maya Haigis             3/31/2023     0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                            Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                            (A&M) to go through action items, pending requests and workstreams
Maya Haigis             3/31/2023     2.1   Create KYC data mapping outline and documentation

Peter Kwan              3/31/2023     0.3   Call with P. Kwan, C. Myrie, G. Walia, L. Yurchak, K. Dusendschon,
                                            and A. Sivapalu (A&M) regarding KYC for top market makers
Peter Kwan              3/31/2023     0.5   Huddle with A&M Data team regarding Process planning, outstanding
                                            requests outputs, and steps
Peter Kwan              3/31/2023     0.3   Conduct customer entitlements validation query development

Peter Kwan              3/31/2023     0.4   Conduct Address Tracking Master database migration and data
                                            refresh
Peter Kwan              3/31/2023     0.8   Alameda data analysis and parsing

Peter Kwan              3/31/2023     0.5   Analyze data and refine queries to ensure reasonability of outputs


Quinn Lowdermilk        3/31/2023     0.5   Call with Q. Lowdermilk, A. Heric, I. Radwanski, L. Lambert and M.
                                            Warren (A&M) regarding crypto tracing workstream update
Quinn Lowdermilk        3/31/2023     0.3   Working session with Q. Lowdermilk, C. Stockmeyer (A&M) regarding
                                            crypto tracing request # 79
Quinn Lowdermilk        3/31/2023     1.7   Finish deliverable for analysis of 29 transactions for external parties

Quinn Lowdermilk        3/31/2023     2.3   Prepare updates for crypto tracing request #79

Quinn Lowdermilk        3/31/2023     2.3   Form a summary of findings slide for deliverable surrounding 29
                                            transactions
Quinn Lowdermilk        3/31/2023     1.6   Working on analysis file highlighting key areas for deliverable

Robert Johnson          3/31/2023     0.5   Call with R. Johnson, K. Dusendschon (A&M) and R. Perubhatla
                                            (FTX) to discuss AWS request and open items

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Business Operations
Professional               Date     Hours      Activity
Robert Johnson          3/31/2023       1.4   Ingestion of Deltec banking data to Metabase tables

Robert Johnson          3/31/2023       0.4   Daily meeting with K. Baker, A. Sloan, M. Haigis, J. Chan, M.
                                              Simkins, J. Zatz, R. Johnson, P. Kwan, L. Konig, M. Hellinghausen
                                              (A&M) to go through action items, pending requests and workstreams
Robert Johnson          3/31/2023       0.1   Call with K. Ramanathan, R. Johnson (A&M) to discuss preservation
                                              of communication platform instance
Robert Johnson          3/31/2023       1.7   Update Tokyo based servers and databases to apply latest security
                                              patches
Sharon Schlam Batista   3/31/2023       2.6   Clean raw data for the customer trading book workflow


Steve Coverick          3/31/2023       0.5   Call with J. Ray (FTX), E. Mosley, S. Coverick and D. Johnston
                                              (A&M) re: legal entity rationalization workplan
Steve Coverick          3/31/2023       1.1   Discuss FTX EU wind down presentation with J.Ray (FTX), and A&M
                                              (S.Coverick, D. Johnston, E. Mosley)
Steve Coverick          3/31/2023       0.9   Discuss Alameda relationship to exchanges with A.Dietderich (S&C)
                                              and A&M (S.Coverick, K.Ramanathan, G.Walia, E. Mosley)
Vinny Rajasekhar        3/31/2023       0.3   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding token
                                              vesting schedule database bridging
Vinny Rajasekhar        3/31/2023       2.9   Prepare updated located tokens database with accurate split for
                                              category A/B tokens
William Walker          3/31/2023       0.8   Draft responses to questions from D. Bailey (EY) on FTT token
                                              analysis
William Walker          3/31/2023       0.5   Correspond with team on additional firms providing expert support
                                              services
William Walker          3/31/2023       0.4   Correspond with D. Bailey (EY) on FTT token analysis



Subtotal                            3,886.3

Business Plan
Professional               Date     Hours      Activity
David Slay               3/9/2023       1.4   Update and modify projection model to reflect updated forecast

Christopher Sullivan    3/21/2023       0.6   Provide detailed instructions for first steps of cost build out related to
                                              the potential business plan
Christopher Sullivan    3/21/2023       0.3   Working session with S. Coverick & C. Sullivan (A&M) to discuss the
                                              kick-off of the business plan workstream
Christopher Sullivan    3/21/2023       1.2   Review third party vendor historical run rate data

Christopher Sullivan    3/21/2023       1.9   Review WRS silo P&L to structure cost profile analysis for business
                                              plan
Christopher Sullivan    3/21/2023       2.2   Review Dotcom silo P&L to structure cost profile analysis for
                                              business plan
Christopher Sullivan    3/21/2023       1.4   Review company roster to structure basis for headcount structure in
                                              the preliminary cost profile

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Business Plan
Professional              Date     Hours     Activity
Steve Coverick         3/21/2023     0.3   Working session with S. Coverick & C. Sullivan (A&M) to discuss the
                                           kick-off of the business plan workstream
Steve Coverick         3/21/2023     0.4   Discuss workplan for FTX 2.0 business plan with E. Mosley (A&M)


Steve Coverick         3/21/2023     1.9   Prepare workplan for FTX 2.0 cost run-rate analysis

Christopher Sullivan   3/22/2023     0.4   Meeting with C. Sullivan and K. Montague (A&M) to discuss FTX cost
                                           analysis
Christopher Sullivan   3/22/2023     1.2   Draft summary structure for cost analysis of dotcom


Christopher Sullivan   3/22/2023     0.4   Review IT vendor spend support for cost profile of WRS

Christopher Sullivan   3/22/2023     0.6   Review IT vendor spend support for cost profile of FTX.com


Katie Montague         3/22/2023     1.5   Update exchange cost analysis for Dotcom and US

Katie Montague         3/22/2023     0.4   Meeting with C. Sullivan and K. Montague (A&M) to discuss FTX cost
                                           analysis
Christopher Sullivan   3/24/2023     0.7   Working session with K. Montague & C. Sullivan (A&M) to review
                                           structure of the WRS/Dotcom cost profiling analysis
Christopher Sullivan   3/24/2023     0.8   Provide comments to spend to expense account mapping

Christopher Sullivan   3/24/2023     0.9   Provide comments to initial build of structure for Dotcom cost profile
                                           analysis
Christopher Sullivan   3/24/2023     0.8   Provide comments to initial build of structure for WRS cost profile
                                           analysis
Christopher Sullivan   3/24/2023     0.5   Review Q3 '22 P&L for expense line items at Dotcom


Christopher Sullivan   3/24/2023     0.7   Review updates to the open items / diligence tracker for the
                                           WRS/Dotcom cost profiling analysis
Christopher Sullivan   3/24/2023     0.7   Review financial package for WRS to understand expense account
                                           types
Christopher Sullivan   3/24/2023     1.1   Review historical cash spend run rates at WRS/Dotcom

Christopher Sullivan   3/24/2023     0.4   Review Q3 '22 P&L for expense line items at WRS

Katie Montague         3/24/2023     0.7   Working session with K. Montague & C. Sullivan (A&M) to review
                                           structure of the WRS/Dotcom cost profiling analysis
Katie Montague         3/24/2023     1.3   Prepare data request list for business plan

Katie Montague         3/24/2023     1.0   Prepare shell for business plan cost analysis for Dotcom


Katie Montague         3/24/2023     1.0   Prepare shell for business plan cost analysis for WRS




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Business Plan
Professional              Date     Hours     Activity
Katie Montague         3/24/2023     1.0   Update FTX 2.0 data request list

Christopher Sullivan   3/25/2023     1.4   Review updates to the cost structure analysis for Dotcom


Christopher Sullivan   3/25/2023     0.9   Review updates to the cost structure analysis for WRS

Christopher Sullivan   3/25/2023     0.7   Update the information request for the cost structure analysis for
                                           WRS & Dotcom
Katie Montague         3/25/2023     3.1   Analyze vendor spend data compared to P&L files


Katie Montague         3/25/2023     1.6   Update business plan cost analysis draft file for baseline and
                                           adjusted views
Katie Montague         3/25/2023     1.2   Distribute data request list to responsible parties


Christopher Sullivan   3/27/2023     0.7   Investigate variances between disbursement activity and P&L activity
                                           for WRS
Christopher Sullivan   3/27/2023     0.8   Review updates to summary roll-up of the cost analysis by silo


Christopher Sullivan   3/27/2023     1.1   Summarize cost activity notes for cost analysis of dotcom/WRS

Christopher Sullivan   3/27/2023     1.6   Draft up general notes for process and approach of cost analysis
                                           exercise
Christopher Sullivan   3/27/2023     0.9   Investigate variances between disbursement activity and P&L activity
                                           for dotcom
Christopher Sullivan   3/27/2023     0.4   Working session with K. Montague, C. Sullivan, J. Sequeira, and R.
                                           Gordon (A&M) to determine historical and normalized cost run rates
Christopher Sullivan   3/27/2023     0.8   Review adjustments made to historical cost run rates to reflect
                                           industry standards
Christopher Sullivan   3/27/2023     0.3   Discussion with H. Trent, K. Montague, C. Sullivan & N. Simoneaux
                                           (A&M) to discuss historical payroll spend for WRS/Dotcom for the
                                           cost structure analysis
Christopher Sullivan   3/27/2023     2.9   Working session with K. Montague & C. Sullivan (A&M) to update the
                                           WRS & Dotcom cost profile analysis
Christopher Sullivan   3/27/2023     2.3   Detail review dotcom annualized cost assumptions


Christopher Sullivan   3/27/2023     2.2   Detail review WRS annualized cost assumptions

Hudson Trent           3/27/2023     0.3   Discussion with H. Trent, K. Montague, C. Sullivan & N. Simoneaux
                                           (A&M) to discuss historical payroll spend for WRS/Dotcom for the
                                           cost structure analysis
Johnny Gonzalez        3/27/2023     2.5   Build a forecast for staff workstream management


Joseph Sequeira        3/27/2023     1.8   Create cost run rate analysis based on industry data points

Joseph Sequeira        3/27/2023     0.4   Working session with K. Montague, C. Sullivan, J. Sequeira, and R.
                                           Gordon (A&M) to determine historical and normalized cost run rates

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Professional              Date     Hours     Activity
Joseph Sequeira        3/27/2023     2.3   Aggregate benchmarking data from public filings to analyze cost
                                           metrics
Katie Montague         3/27/2023     1.8   Incorporate feedback into FTX 2.0 analysis


Katie Montague         3/27/2023     0.3   Communicate with CPI group regarding data requests for FTX 2.0
                                           analysis
Katie Montague         3/27/2023     0.3   Discussion with H. Trent, K. Montague, C. Sullivan & N. Simoneaux
                                           (A&M) to discuss historical payroll spend for WRS/Dotcom for the
                                           cost structure analysis
Katie Montague         3/27/2023     0.4   Working session with K. Montague, C. Sullivan, J. Sequeira, and R.
                                           Gordon (A&M) to determine historical and normalized cost run rates
Katie Montague         3/27/2023     2.5   Research Company documents for expense descriptions and run
                                           rates
Katie Montague         3/27/2023     2.9   Working session with K. Montague & C. Sullivan (A&M) to update the
                                           WRS & Dotcom cost profile analysis
Nicole Simoneaux       3/27/2023     0.3   Discussion with H. Trent, K. Montague, C. Sullivan & N. Simoneaux
                                           (A&M) to discuss historical payroll spend for WRS/Dotcom for the
                                           cost structure analysis
Robert Gordon          3/27/2023     0.4   Working session with K. Montague, C. Sullivan, J. Sequeira, and R.
                                           Gordon (A&M) to determine historical and normalized cost run rates
Steve Coverick         3/27/2023     0.2   Call with K. Cofsky (PWP) re: timeline for FTX 2.0 workstream


Bridger Tenney         3/28/2023     1.2   Prepare outline for revenue analysis summary deck

Christopher Sullivan   3/28/2023     0.3   Call with R. Gordon, S. Coverick, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure presentation
Christopher Sullivan   3/28/2023     1.8   Provide comments to revised Dotcom cost profile model


Christopher Sullivan   3/28/2023     1.3   Working session with K. Montague and C. Sullivan (A&M) to draft
                                           outline of the potential exchange start up analysis
Christopher Sullivan   3/28/2023     1.4   Working session with K. Montague and C. Sullivan (A&M) to analyze
                                           cost assumptions for dotcom and WRS
Christopher Sullivan   3/28/2023     0.8   Review initial strawman deck for the cost analysis presentation

Christopher Sullivan   3/28/2023     0.7   Call with R. Gordon, K. Ramanathan, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure
Christopher Sullivan   3/28/2023     1.4   Provide comments to revised WRS cost profile model

Katie Montague         3/28/2023     0.3   Call with R. Gordon, S. Coverick, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure presentation
Katie Montague         3/28/2023     1.3   Working session with K. Montague and C. Sullivan (A&M) to draft
                                           outline of the potential exchange start up analysis
Katie Montague         3/28/2023     1.2   Review audited financial statements for information on revenue and
                                           expense categories
Katie Montague         3/28/2023     2.2   Analysis of additional expense data for Dotcom and US



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Business Plan
Professional              Date     Hours     Activity
Katie Montague         3/28/2023     0.4   Prepare template for FTX 2.0 presentation

Katie Montague         3/28/2023     0.7   Call with R. Gordon, K. Ramanathan, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure
Katie Montague         3/28/2023     1.4   Working session with K. Montague and C. Sullivan (A&M) to analyze
                                           cost assumptions for dotcom and WRS
Kumanan Ramanathan     3/28/2023     0.7   Call with R. Gordon, K. Ramanathan, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure
Robert Gordon          3/28/2023     0.3   Call with R. Gordon, S. Coverick, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure presentation
Robert Gordon          3/28/2023     0.7   Call with R. Gordon, K. Ramanathan, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure
Steve Coverick         3/28/2023     0.3   Call with R. Gordon, S. Coverick, C. Sullivan, and K. Montague
                                           (A&M) to review WRS/Dotcom cost structure presentation
Steve Coverick         3/28/2023     0.2   Discuss Opex forecast model with C. Sullivan (A&M)

Steve Coverick         3/28/2023     1.2   Review and provide comments on exchange P&L analysis


Steve Coverick         3/28/2023     0.9   Review and provide comments on FTX 2.0 deck outline

Bridger Tenney         3/29/2023     0.9   Summarize current security issues for distribution

Bridger Tenney         3/29/2023     1.1   Create summary slide of security concerns for revenue analysis deck


Christopher Sullivan   3/29/2023     1.2   Draft template slides for potential exchange reboot

Christopher Sullivan   3/29/2023     1.0   Call with S. Coverick, K. Ramanathan, C. Sullivan, K. Montague
                                           (A&M), K. Cofsky, K. Flinn, S. Saferstein, M. Rahmani, N. Nussbaum,
                                           N. Velivela (PWP) to discuss exchange financials
Christopher Sullivan   3/29/2023     1.4   Create slides on revenue type comparisons


Christopher Sullivan   3/29/2023     0.7   Provide comments to first draft of the exchange restart implications
                                           deck
Ed Mosley              3/29/2023     0.5   Call with S. Coverick, E. Mosley re: FTX 2.0 workplan


Katie Montague         3/29/2023     1.1   Analysis of Dotcom and US revenue sources

Katie Montague         3/29/2023     1.3   Update template for FTX 2.0 presentation with placeholder figures


Katie Montague         3/29/2023     0.5   Review security issues summary for inclusion in FTX 2.0 presentation

Katie Montague         3/29/2023     1.0   Call with S. Coverick, K. Ramanathan, C. Sullivan, K. Montague
                                           (A&M), K. Cofsky, K. Flinn, S. Saferstein, M. Rahmani, N. Nussbaum,
                                           N. Velivela (PWP) to discuss exchange financials




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                                FTX Trading Ltd., et al.,
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                          March 1, 2023 through March 31, 2023


Business Plan
Professional             Date     Hours     Activity
Kumanan Ramanathan    3/29/2023     0.9   Call with S. Coverick, K. Ramanathan, C. Sullivan, K. Montague
                                          (A&M), K. Cofsky, K. Flinn, S. Saferstein, M. Rahmani, N. Nussbaum,
                                          N. Velivela (PWP) to discuss exchange financials
Steve Coverick        3/29/2023     0.5   Call with S. Coverick, E. Mosley re: FTX 2.0 workplan

Steve Coverick        3/29/2023     0.5   Call with J. Ray (FTX) re: FTX 2.0 dataroom setup


Steve Coverick        3/29/2023     2.1   Review and provide comments on FTX 2.0 P&L analysis

Steve Coverick        3/29/2023     1.0   Call with S. Coverick, K. Ramanathan, C. Sullivan, K. Montague
                                          (A&M), K. Cofsky, K. Flinn, S. Saferstein, M. Rahmani, N. Nussbaum,
                                          N. Velivela (PWP) to discuss exchange financials
Steve Coverick        3/29/2023     0.7   Correspond with A&M and PWP personnel re: FTX 2.0 presentation


Bridger Tenney        3/30/2023     1.6   Working session with K. Montague, B. Tenney (A&M) re: perpetual
                                          futures and spot trading tear sheets
Bridger Tenney        3/30/2023     1.5   Prepare analysis using spot trading and perpetual futures data


Bridger Tenney        3/30/2023     1.4   Review crypto data sent to UCC to incorporate into revenue analysis

Bridger Tenney        3/30/2023     1.1   Prepare list of information needed from Crypto team data sources


Bridger Tenney        3/30/2023     0.4   Create graphic demonstrating volume traded and revenue earned for
                                          revenue analysis deck
Bridger Tenney        3/30/2023     0.4   Call with K. Montague, B. Tenney (A&M) to discuss data received
                                          from Crypto team
Bridger Tenney        3/30/2023     0.9   Prepare summary tables in revenue analysis deck


Bridger Tenney        3/30/2023     0.6   Call with K. Montague, B. Tenney (A&M) regarding entity exchange
                                          summaries
Bridger Tenney        3/30/2023     0.6   Index information received in shared folders and files


Bridger Tenney        3/30/2023     0.9   Create internal request list to obtain crypto pair data

Bridger Tenney        3/30/2023     0.7   Revise graphic to show both volume traded and revenue earned for
                                          multiple entities
Bridger Tenney        3/30/2023     1.0   Update exchange summary deck based on follow-up comments

Katie Montague        3/30/2023     3.0   Review and analysis of exchange data provided by FTX data team
                                          with trading revenue and volumes
Katie Montague        3/30/2023     2.4   Prepare summary of market maker data provided by data team


Katie Montague        3/30/2023     0.6   Call with K. Montague, B. Tenney (A&M) regarding entity exchange
                                          summaries
Katie Montague        3/30/2023     1.6   Working session with K. Montague, B. Tenney (A&M) re: perpetual
                                          futures and spot trading tear sheets

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Business Plan
Professional                Date     Hours     Activity
Katie Montague           3/30/2023      0.8   Compile and provide data requests for additional items to FTX data
                                              team
Katie Montague           3/30/2023      0.3   Prepare descriptions of revenue and expense categories for trading


Katie Montague           3/30/2023      0.9   Incorporate data summaries into FTX 2.0 presentation

Katie Montague           3/30/2023      0.4   Call with K. Montague, B. Tenney (A&M) to discuss data received
                                              from Crypto team
Bridger Tenney           3/31/2023      0.4   Review market maker data based on trade pairs


Bridger Tenney           3/31/2023      0.7   Working session with K. Montague, B. Tenney (A&M) re: update
                                              revenue analysis summary deck
Bridger Tenney           3/31/2023      0.5   Revise perpetual futures tear sheets in revenue analysis PowerPoint
                                              deck
Bridger Tenney           3/31/2023      0.7   Update spot trading tear sheets in revenue analysis PowerPoint deck

Bridger Tenney           3/31/2023      1.6   Update revenue analysis summary PowerPoint


Katie Montague           3/31/2023      0.7   Working session with K. Montague, B. Tenney (A&M) re: update
                                              revenue analysis summary deck
Katie Montague           3/31/2023      1.3   Prepare new slides for IT and security-related items

Katie Montague           3/31/2023      1.0   Continue analysis of trading revenue, volume, and customer data
                                              provided to date
Katie Montague           3/31/2023      0.8   Summarize status of FTX 2.0 presentation and share deck internally



Subtotal                              132.9

Case Administration
Professional                Date     Hours     Activity
Claire Myers              3/1/2023      1.8   Analyze redactions in affidavits of services for filings

Johnny Gonzalez           3/1/2023      0.8   Make revisions to the fee application exhibits


Johnny Gonzalez           3/1/2023      1.4   Update the January fee statement word document for legal review

Claire Myers              3/2/2023      0.7   Analyze redactions in affidavits of services for filings


Erik Taraba               3/2/2023      0.4   Review leadership comments and feedback to exhibits and provide
                                              responses to questions
Johnny Gonzalez           3/2/2023      0.2   Prepare a summary of exhibits per matter code

Luke Francis              3/2/2023      1.8   Creation of PPT deck to consolidate questions and variances
                                              between TB and Scheduled amounts


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Case Administration
Professional                Date     Hours     Activity
Chris Arnett              3/3/2023     0.2   Participate in call with landlord counsel re: lease space

Claire Myers              3/3/2023     1.1   Analyze redactions in affidavits of services for filings


David Nizhner             3/3/2023     2.0   Review professional model for consolidated drivers

Ed Mosley                 3/3/2023     1.1   Review of draft outline for the next Ray report

Johnny Gonzalez           3/3/2023     0.6   Mark up the January Fee Statement for team revisions


Luke Francis              3/3/2023     1.6   Creation of PWP investment summary deck for review

Luke Francis              3/3/2023     1.7   Updates to summary assets and liabilities tracker


Luke Francis              3/3/2023     0.7   Updates to investment summary for potential liabilities

Luke Francis              3/4/2023     1.4   Creation of summary of assets by silo for scheduled and TB variances


Luke Francis              3/4/2023     1.7   Review of load files and creation of summary analysis to show how
                                             SOFA and Schedule questions answered for investments
Ed Mosley                 3/5/2023     0.7   Discuss outstanding workstreams with S.Coverick, E. Mosley (A&M)
                                             and next steps for upcoming week
Lance Clayton             3/5/2023     3.1   Review compiled data entries in the resource model for high-level
                                             themes
Lance Clayton             3/5/2023     2.5   Generate next steps for workstream and detail allocation and process
                                             for internal team
Steve Coverick            3/5/2023     0.7   Discuss outstanding workstreams with S.Coverick, E. Mosley (A&M)
                                             and next steps for upcoming week
Bridger Tenney            3/6/2023     0.5   Participate in call with N. Simoneaux, B. Tenney (A&M) re:
                                             coordination related to A&M team travel
Cullen Stockmeyer         3/6/2023     1.2   Make changes to and updates for professional working group tracker


David Nizhner             3/6/2023     0.8   Update Agresso for all new February updates

Ed Mosley                 3/6/2023     0.5   Participate in workstream update call with S. Coverick, E. Mosley, C.
                                             Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito
                                             (A&M)
Hudson Trent              3/6/2023     0.8   Correspond with various parties regarding Board meeting on pending
                                             asset sale
Hudson Trent              3/6/2023     0.3   Correspond with J. Ray (FTX) regarding 3/7 Board meeting agenda

Kumanan Ramanathan        3/6/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, C. Arnett, R.
                                             Gordon (A&M) and others to discuss workstream updates
Kumanan Ramanathan        3/6/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                             Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito (A&M)


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Case Administration
Professional              Date     Hours     Activity
Luke Francis            3/6/2023     2.2   Updates to SOFA 25 summary ppt and process for statement
                                           question details
Luke Francis            3/6/2023     1.3   Updates to investment addresses and notice detail


Nicole Simoneaux        3/6/2023     0.5   Participate in call with N. Simoneaux, B. Tenney (A&M) re:
                                           coordination related to A&M team travel
Robert Gordon           3/6/2023     0.5   Call with E. Mosley, S. Coverick, K. Ramanathan, C. Arnett, R.
                                           Gordon (A&M) and others to discuss workstream updates
Steve Coverick          3/6/2023     0.5   Participate in workstream update call with S. Coverick, E. Mosley, C.
                                           Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito
                                           (A&M)
Steve Coverick          3/6/2023     0.7   Review and provide comments on PMO deck for 3/7 meeting

Adam Titus              3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                           (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                           Mosley & workstream leads (A&M)
Adam Titus              3/7/2023     1.4   Review investment financial information, organize information work to
                                           load into appropriate channel
David Slay              3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                           (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                           Mosley & workstream leads (A&M)
Ed Mosley               3/7/2023     0.6   Participate in board meeting with board members (R.Jain,
                                           M.Rosenberg, M.Doheny, K.Knipp), S&C (A.Dietderich, others), FTX
                                           (J.Ray, K.Shultea), PWP (K.Cofsky, others), and A&M (S.Coverick,
                                           H.Trent) regarding fund investment asset sale
Ed Mosley               3/7/2023     0.5   Discuss workstream updates with J.Ray (FTX), S&C (A.Dietderich,
                                           J.Bromley, N.Friedlander), S.Rand (QE)
Hudson Trent            3/7/2023     0.6   Participate in board meeting with board members (R. Jain, M.
                                           Rosenberg, M. Doheny, K. Knipp), S&C (A.Dietderich, others), FTX (,
                                           K.Shultea), PWP (K. Cofsky, others), and A&M (S.Coverick, H.Trent)
                                           regarding fund investment asset sale
Johnny Gonzalez         3/7/2023     1.2   Draft commentary for project plan review


Laureen Ryan            3/7/2023     0.6   PMO Meeting update w/ J. Ray & management (FTX), A. Dietderich
                                           & leads (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads
                                           (EY) E. Mosley & workstream leads (A&M)
Lorenzo Callerio        3/7/2023     0.3   Meeting with E. Mosley (A&M) re: diligence process update

Luke Francis            3/7/2023     1.3   Review of investment documents for debtor signature


Nicole Simoneaux        3/7/2023     0.4   Prepare arrangements for professional travel and accommodations in
                                           Dallas
Rob Esposito            3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt. (FTX), A. Dietderich & leads
                                           (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                           Mosley & workstream leads (A&M)
Robert Gordon           3/7/2023     0.5   Prepare for weekly PMO by reviewing prepared materials




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Case Administration
Professional                Date     Hours     Activity
Robert Gordon             3/7/2023     0.6   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                             (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                             Mosley & workstream leads (A&M)
Steve Coverick            3/7/2023     2.4   Prepare team workplan for various A&M and AWS workstreams

Steve Coverick            3/7/2023     0.5   Participate in restructuring steering committee call with J. Ray (FTX),
                                             A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP), E.
                                             Mosley (A&M)
David Nizhner             3/8/2023     2.2   Prepare February resource model with meeting revisions

David Slay                3/8/2023     0.3   Meeting with E. Taraba, B. Grussing, J. Gonzalez and D. Slay (A&M)
                                             re: February and Interim Fee app process
David Slay                3/8/2023     0.6   Update working group list for new external staff


Erik Taraba               3/8/2023     0.3   Meeting with E. Taraba, B. Grussing, J. Gonzalez and D. Slay (A&M)
                                             re: February and Interim Fee app process
Erik Taraba               3/8/2023     0.4   Review Order re: Fee Examiner Appointment and develop plan and
                                             checklist to maintain compliance with stated directions
Johnny Gonzalez           3/8/2023     0.3   Meeting with E. Taraba, B. Grussing, J. Gonzalez and D. Slay (A&M)
                                             re: February and Interim Fee app process
Johnny Gonzalez           3/8/2023     0.8   Incorporate latest management commentary to the Interim Fee
                                             Application
Kumanan Ramanathan        3/8/2023     0.8   Prepare workstream status and headcount schedule

Luke Francis              3/8/2023     0.6   Analysis of changes of investment types

Luke Francis              3/8/2023     1.2   Provide feedback and sources for questions on investments


Luke Francis              3/8/2023     0.7   Updates to creditor IDs for counter party changes

Luke Francis              3/8/2023     1.4   Preparation of additional SOFA data requests


Steve Coverick            3/8/2023     1.6   Revise A&M team workplan for key business operations issues

Chris Arnett              3/9/2023     1.0   Plan and direct deliverables and associated timing for HR and vendor
                                             workstreams
David Nizhner             3/9/2023     1.2   Retrace previously added professional entries

Erik Taraba               3/9/2023     0.3   Coordinate with Operations Team re: production of required
                                             deliverables from Nov-Jan for Fee Examiner
Erik Taraba               3/9/2023     0.7   Review Fee Examiner correspondence and coordinate development
                                             of appropriate deliverables
Luke Francis              3/9/2023     1.2   Updates to Schedules PPT summary and details for review

Luke Francis              3/9/2023     1.7   Updates to legal names based on review



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Case Administration
Professional                 Date     Hours     Activity
Steve Coverick             3/9/2023     1.2   Review team staffing and utilization chart for reallocation of staff to
                                              critical workstreams
Steve Coverick             3/9/2023     0.5   Discuss EU wind-down analyses and other workstream updates with
                                              E. Mosley (A&M)
Cullen Stockmeyer         3/10/2023     1.1   Update working group list for changes to team members

Cullen Stockmeyer         3/10/2023     1.4   Update working group list for changes to team members

Ed Mosley                 3/10/2023     0.9   Review of correspondence from JPL to debtors regarding actions to
                                              be undertaken by JPL in legal system
Ed Mosley                 3/10/2023     0.3   Follow-up discussion w/ E. Mosley, J. Stegenga (A&M) re: fee
                                              examiner requirements and historical process with G&K
Jeffery Stegenga          3/10/2023     0.3   Follow-up discussion w/ E. Mosley, J. Stegenga (A&M) re: fee
                                              examiner requirements and historical process with G&K
Hudson Trent              3/11/2023     0.5   Review materials prepared for Board meeting

Rob Esposito              3/11/2023     0.4   Working call with R. Esposito, R. Gordon(A&M) to update reporting
                                              section of PMO
Robert Gordon             3/11/2023     0.4   Working call with R. Esposito, R. Gordon(A&M) to update reporting
                                              section of PMO
Steve Coverick            3/11/2023     0.4   Correspond with A&M and FTX personnel regarding materials for
                                              3/14 board meeting
David Slay                3/12/2023     2.8   Update PMO for comments, prior to final review


Luke Francis              3/12/2023     1.6   Updates to SOFA overview PPT summary

Chris Arnett              3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                              (A&M)
Cullen Stockmeyer         3/13/2023     1.2   Update working group list for changes to team members


David Johnston            3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                              (A&M)
Ed Mosley                 3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                              (A&M)
Hudson Trent              3/13/2023     1.2   Consolidate and update materials for weekly BoD meeting


Johnny Gonzalez           3/13/2023     0.9   Incorporate latest management commentary to the Interim Fee
                                              Application
Kumanan Ramanathan        3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                              (A&M)
Laureen Ryan              3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                              Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                              (A&M)

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Case Administration
Professional               Date     Hours     Activity
Lorenzo Callerio        3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                            Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                            (A&M)
Lorenzo Callerio        3/13/2023     0.3   Review and circulate the A&M Monthly Fee Statements to the fee
                                            examiner
Rob Esposito            3/13/2023     0.4   Internal A&M senior leadership meeting re: updates to workstreams
                                            and preparation for PMO meeting with debtor & other advisors
Steve Coverick          3/13/2023     1.6   Review and provide comment on board materials for 3/14 meeting

Steve Coverick          3/13/2023     0.4   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                            Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                            (A&M)
Steve Coverick          3/13/2023     0.8   Review and provide comments on PMO deck for management and
                                            advisor team meeting on 3/14
Cullen Stockmeyer       3/14/2023     2.3   Make changes to and updates for professional working group tracker

Cullen Stockmeyer       3/14/2023     2.1   Update working group list for changes to team members


Cullen Stockmeyer       3/14/2023     1.1   Working session D. Slay, C. Stockmeyer (A&M) re: professional
                                            tracker update
David Johnston          3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt. (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) S.
                                            Coverick & workstream leads (A&M)
David Slay              3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                            Mosley & workstream leads (A&M)
David Slay              3/14/2023     2.5   Working session w/ L. Clayton & D. Slay (A&M) re: February detailed
                                            time review
David Slay              3/14/2023     1.1   Working session D. Slay, C. Stockmeyer (A&M) re: professional
                                            tracker update
Lance Clayton           3/14/2023     2.5   Working session w/ L. Clayton & D. Slay (A&M) re: February detailed
                                            time review
Laureen Ryan            3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) S.
                                            Coverick & workstream leads (A&M)
Rob Esposito            3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt. (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) S.
                                            Coverick & workstream leads (A&M)
Robert Gordon           3/14/2023     0.3   Prepare for PMO meeting by reviewing content and preparing talking
                                            point
Robert Gordon           3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) S.
                                            Coverick & workstream leads (A&M)
Steve Coverick          3/14/2023     0.5   Participate in restructuring steering committee call with J. Ray (FTX),
                                            A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP)
Steve Coverick          3/14/2023     0.8   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Dietderich & leads
                                            (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) S.
                                            Coverick & workstream leads (A&M)

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Case Administration
Professional                Date     Hours     Activity
Claire Myers             3/15/2023     1.2   Analyze AOS for redaction for contract rejection motion

David Nizhner            3/15/2023     1.4   Initial project plan meeting review working session


David Nizhner            3/15/2023     1.3   Create professional review internal calendar

Cullen Stockmeyer        3/16/2023     1.1   Make changes to and updates for professional working group tracker

David Slay               3/16/2023     1.8   Review Crypto senior management detailed time entries in project
                                             plan
Erik Taraba              3/16/2023     1.8   Reconcile DRAFT Interim Fee Application to previously filed monthly
                                             fee applications
Luke Francis             3/16/2023     1.4   Review of presentation and updates to PPT for assets and liabilities


Trevor DiNatale          3/16/2023     0.2   Review inquiry from S&C related to creditor matrix inclusion

Cullen Stockmeyer        3/17/2023     2.1   Make changes to and updates for professional working group tracker


Cullen Stockmeyer        3/17/2023     1.7   Make changes to and updates for professional working group tracker

Erik Taraba              3/17/2023     0.2   Incorporate edits from counsel into interim application draft

Lance Clayton            3/17/2023     3.1   Review compiled data entries in the resource model for high-level
                                             themes
Steve Coverick           3/17/2023     1.7   Prepare A&M team workplan for following week

Cullen Stockmeyer        3/18/2023     0.4   Update working group list for changes to team members


David Slay               3/18/2023     2.2   Initial Review Crypto team detailed entries for project plan
                                             considerations
David Slay               3/18/2023     2.0   Update PMO for additional submission


David Nizhner            3/19/2023     0.4   Consolidate master review tab in professional meeting review

Erik Taraba              3/19/2023     0.6   Develop detailed time entry exhibits for Fee Application Model

Johnny Gonzalez          3/19/2023     1.2   Develop a model for review by workstream leads for month of
                                             February
Rob Esposito             3/19/2023     0.3   Prepare detailed updates to PMO presentation

Robert Gordon            3/19/2023     0.4   Update reporting section of the weekly PMO presentation


Cullen Stockmeyer        3/20/2023     1.1   Update working group list for changes to team members




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                                   FTX Trading Ltd., et al.,
                             Time Detail by Activity by Professional
                             March 1, 2023 through March 31, 2023


Case Administration
Professional                Date     Hours     Activity
David Slay               3/20/2023     0.5   Update PMO for comments, prior to final review

Ed Mosley                3/20/2023     0.7   Review and provide comments on draft board agenda and discussion
                                             points
Ed Mosley                3/20/2023     0.5   Discuss open workstreams with A&M (S.Coverick, K.Ramanathan,
                                             others)
Ed Mosley                3/20/2023     0.8   Discuss crypto, cash forecast, M&A processes, claims process, and
                                             venture book with J.Ray (FTX )
Hudson Trent             3/20/2023     0.3   Correspond with advisors regarding 3/21 Board meeting


Kumanan Ramanathan       3/20/2023     0.5   Call with A&M workstream leads for status update

Rob Esposito             3/20/2023     0.5   Internal A&M senior leadership meeting re: updates to workstreams
                                             and preparation for PMO meeting with debtor & other advisors
Steve Coverick           3/20/2023     0.5   Participate in workstream update call with E. Mosley, C. Arnett, A.
                                             Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D. Johnston
                                             (A&M)
Steve Coverick           3/20/2023     1.4   Review and provide comments on PMO deck for 3/21 meeting with
                                             management
Steve Coverick           3/20/2023     0.6   Update team project plan based on workstream lead feedback during
                                             weekly coordination call
Steve Coverick           3/20/2023     0.9   Review and provide comments on materials for 3/21 board meeting

Adam Titus               3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                             (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                             Coverick & workstream leads (A&M)
David Slay               3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                             (S&C), K. Flynn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                             Coverick & workstream leads (A&M)
Ed Mosley                3/21/2023     0.4   Review of director presentations for BVI and Hong Kong

Ed Mosley                3/21/2023     0.5   Participate in restructuring steering committee call with J. Ray (FTX),
                                             A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP), E.
                                             Mosley, S. Coverick (A&M)
Ed Mosley                3/21/2023     0.6   Participate in meeting with J.Ray (FTX), S&C (A.Dietderich,
                                             B.Glueckstein), S.Rand (QE), K.Cofsky (PWP) and A&M (S.Coverick)
                                             regarding JPL disputes, UCC approvals requested, and avoidance
                                             actions pursued
Ed Mosley                3/21/2023     0.8   Prepare notes and materials for weekly board meeting


Erik Taraba              3/21/2023     0.6   Perform initial consolidation of March entries into Fee Application
                                             model
Hudson Trent             3/21/2023     0.4   Correspond with Board regarding items to be addressed in weekly
                                             meeting
James Cooper             3/21/2023     0.9   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                             (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                             Coverick & workstream leads (A&M)


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Case Administration
Professional                 Date     Hours     Activity
Kumanan Ramanathan        3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                              Coverick & workstream leads (A&M)
Laureen Ryan              3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                              Coverick & workstream leads (A&M)
Luke Francis              3/21/2023     1.2   Prepare responses and additional detail for UCC requests


Rob Esposito              3/21/2023     0.4   Conference with R Esposito (A&M), J Petiford and A Kranzley (S&C)
                                              re: parties-in-interest, redactions and the claims bar date
Robert Gordon             3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                              Coverick & workstream leads (A&M)
Robert Gordon             3/21/2023     0.3   Prepare for PMO meeting by preparing talking points


Steve Coverick            3/21/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                              Coverick & workstream leads (A&M)
Steve Coverick            3/21/2023     0.5   Participate in restructuring steering committee call with J. Ray (FTX),
                                              A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP), E.
                                              Mosley (A&M)
Steve Coverick            3/21/2023     0.8   Prepare notes and materials for weekly board meeting


Cullen Stockmeyer         3/22/2023     0.7   Update working group list for changes to team members

Luke Francis              3/22/2023     0.9   Creation of summary liabilities presentation

Claire Myers              3/23/2023     1.4   Analyze redaction for affidavits of service for redaction


David Slay                3/23/2023     1.3   Create and update docket tracker for distribution

Luke Francis              3/23/2023     1.5   Updates to claims review summary


Rob Esposito              3/23/2023     0.9   Work on and review creditor redaction data

Rob Esposito              3/23/2023     0.4   Review of redaction data for affidavits of service


Rob Esposito              3/23/2023     0.7   Review and analysis of parties-in-interest data

Steve Coverick            3/23/2023     0.4   Correspond with A&M personnel regarding conflicts supplemental
                                              disclosure
Chris Arnett              3/24/2023     0.4   Revise weekly workstream materials for planning and resource
                                              allocation purposes
Christopher Sullivan      3/24/2023     0.3   Working session with D. Slay and C. Sullivan (A&M) to create a daily
                                              docket tracker to monitor critical events and dates
Claire Myers              3/24/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                              and T DiNatale (A&M) to discuss workstreams

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                                  FTX Trading Ltd., et al.,
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Case Administration
Professional               Date     Hours     Activity
Claire Myers            3/24/2023     0.6   Conference with C Myers, L Francis and R Esposito (A&M) to discuss
                                            the parties-in-interest updates
David Nizhner           3/24/2023     0.6   Review process regarding project plan review updates


David Slay              3/24/2023     0.3   Working session with D. Slay and C. Sullivan (A&M) to create a daily
                                            docket tracker to monitor critical events and dates
Douglas Lewandowski     3/24/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Johnny Gonzalez         3/24/2023     1.3   Draft the February fee statement for review


Luke Francis            3/24/2023     1.3   Preparation of summary presentation of liabilities

Luke Francis            3/24/2023     1.4   Updates to redactions to creditor matrix and overall redaction
                                            summary
Luke Francis            3/24/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Luke Francis            3/24/2023     0.6   Conference with C Myers, L Francis and R Esposito (A&M) to discuss
                                            the parties-in-interest updates
Rob Esposito            3/24/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Rob Esposito            3/24/2023     0.6   Conference with C Myers, L Francis and R Esposito (A&M) to discuss
                                            the parties-in-interest updates
Robert Gordon           3/24/2023     1.2   Begin working on new format for reporting and intercompany for PMO
                                            deck
Steve Kotarba           3/24/2023     1.1   Review and discuss updated disclosures re interested parties

Trevor DiNatale         3/24/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Cole Broskay            3/26/2023     0.6   Working session on changes to PMO presentation C. Broskay, R.
                                            Gordon (A&M)
David Nizhner           3/26/2023     2.0   Working session regarding professional entries review


Rob Esposito            3/26/2023     0.3   Prepare updates to the weekly PMO slide presentation

Robert Gordon           3/26/2023     0.6   Working session on changes to PMO presentation C. Broskay, R.
                                            Gordon (A&M)
Samuel Witherspoon      3/26/2023     0.3   Update weekly management meeting materials for latest cash
                                            workstream objectives
Christopher Sullivan    3/27/2023     0.7   Working session w/ C. Sullivan & D. Slay (A&M) re: update & review
                                            daily docket tracker to monitor critical events and dates
Claire Myers            3/27/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Claire Myers            3/27/2023     1.2   Analyze affidavits of service regarding real estate for redaction




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Professional               Date     Hours     Activity
Cole Broskay            3/27/2023     0.2   Call with C. Broskay, K. Kearney, R. Gordon(A&M) to review PMO
                                            slide for intercompany
Cole Broskay            3/27/2023     0.2   Review with C. Broskay, K. Kearney, R. Gordon(A&M) re: PMO slide
                                            for intercompany
David Slay              3/27/2023     0.7   Working session w/ C. Sullivan & D. Slay (A&M) re: update & review
                                            daily docket tracker to monitor critical events and dates
Douglas Lewandowski     3/27/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Ed Mosley               3/27/2023     1.8   Review of and prepare comments to draft presentations to board of
                                            directors regarding cash and Europe
Ed Mosley               3/27/2023     0.5   Participate in workstream update call with S. Coverick, E. Mosley, C.
                                            Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D.
                                            Johnston (A&M)
Hudson Trent            3/27/2023     1.9   Prepare asset bridge graphic for consolidated case update materials

Hudson Trent            3/27/2023     2.2   Prepare shell for consolidated case update materials


Kevin Kearney           3/27/2023     0.2   Review with C. Broskay, K. Kearney, R. Gordon(A&M) re: PMO slide
                                            for intercompany
Kevin Kearney           3/27/2023     0.2   Call with C. Broskay, K. Kearney, R. Gordon(A&M) to review PMO
                                            slide for intercompany
Luke Francis            3/27/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Rob Esposito            3/27/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Rob Esposito            3/27/2023     0.5   Internal A&M senior leadership meeting re: updates to workstreams
                                            and preparation for PMO meeting with debtor & other advisors
Rob Esposito            3/27/2023     0.2   Prepare updates to the workstream tracker

Robert Gordon           3/27/2023     0.2   Review with C. Broskay, K. Kearney, R. Gordon(A&M) re: PMO slide
                                            for intercompany
Robert Gordon           3/27/2023     0.3   Discussion between R. Gordon, S. Coverick(A&M) over updates to
                                            the weekly PMO presentation
Robert Gordon           3/27/2023     0.2   Call with C. Broskay, K. Kearney, R. Gordon(A&M) to review PMO
                                            slide for intercompany
Steve Coverick          3/27/2023     1.8   Revise A&M team workplan for latest thinking on resource availability,

Steve Coverick          3/27/2023     0.5   Participate in workstream update call with S. Coverick, E. Mosley, C.
                                            Arnett, A. Titus, L. Callerio, L. Ryan, K. Ramanathan, R. Esposito, D.
                                            Johnston (A&M)
Steve Coverick          3/27/2023     0.3   Discussion between R. Gordon, S. Coverick(A&M) over updates to
                                            the weekly PMO presentation
Trevor DiNatale         3/27/2023     0.2   Teleconference with C Myers, L Francis, D Lewandowski, R Esposito
                                            and T DiNatale (A&M) to discuss workstreams
Trevor DiNatale         3/27/2023     1.2   Review updates to creditor matrix detail to identify additional creditors
                                            to be transferred to Kroll team

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Case Administration
Professional                 Date     Hours     Activity
Adam Titus                3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Chris Arnett              3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Claire Myers              3/28/2023     1.3   Analyze affidavits of service for redaction


David Slay                3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Ed Mosley                 3/28/2023     0.5   Review of case to date staffing mix/workstream tracker and
                                              discussion w/ E. Mosley, J. Stegenga (A&M)
Ed Mosley                 3/28/2023     0.7   Participate in restructuring steering committee call with J. Ray (FTX),
                                              A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP), E.
                                              Mosley, S. Coverick (A&M)
Ed Mosley                 3/28/2023     0.8   Discuss crypto, UCC, tax, and cash with FTX (J.Ray, M.Cilia, others),
                                              S&C (A.Dietderich, others), PWP (M.Rahmani, others), EY (T.Shea),
                                              and A&M (S.Coverick, K.Ramanathan, J.Cooper, E. Mosley)
Hudson Trent              3/28/2023     0.3   Correspond with various parties related to Board minutes circulation

Hudson Trent              3/28/2023     1.0   Prepare draft workstream detail slides for consolidated case update
                                              materials
James Cooper              3/28/2023     1.0   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                              Coverick & workstream leads (A&M)
Jeffery Stegenga          3/28/2023     0.5   Review of case to date staffing mix/workstream tracker and
                                              discussion w/ E. Mosley, J. Stegenga (A&M)
Kumanan Ramanathan        3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Lance Clayton             3/28/2023     0.8   Further research into storage options in Dallas


Laureen Ryan              3/28/2023     0.5   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Rob Esposito              3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Robert Gordon             3/28/2023     1.1   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                              (S&C), B. Mendelsohn & leads (PWP) & T. Shea & leads (EY) E.
                                              Mosley, S. Coverick & workstream leads (A&M)
Robert Gordon             3/28/2023     0.4   Prepare for PMO meeting by reviewing content and preparing
                                              speaking points
Steve Coverick            3/28/2023     0.8   Discuss crypto, UCC, tax, and cash with FTX (J.Ray, M.Cilia, others),
                                              S&C (A.Dietderich, others), PWP (M.Rahmani, others), EY (T.Shea),
                                              and A&M (S.Coverick, K.Ramanathan, J.Cooper, E. Mosley)




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Professional               Date     Hours     Activity
Steve Coverick          3/28/2023     1.0   PMO Meeting update w/ J. Ray & mgmt (FTX), A. Kranzley & leads
                                            (S&C), K. Flinn & leads (PWP) & T. Shea & leads (EY) E. Mosley, S.
                                            Coverick & workstream leads (A&M)
Steve Coverick          3/28/2023     0.7   Participate in restructuring steering committee call with J. Ray (FTX),
                                            A. Dietderich, J. Bromley (S&C), B. Mendelsohn, K. Cofsky (PWP), E.
                                            Mosley, S. Coverick (A&M)
Christopher Sullivan    3/29/2023     0.3   Working session with D. Slay and C. Sullivan (A&M) to discuss the
                                            daily docket tracker
Christopher Sullivan    3/29/2023     0.3   Review final daily docket tracker for 3/29

Claire Myers            3/29/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, L. Francis and C.
                                            Myers (A&M) regarding priority workstreams involving PII, claims,
                                            global redaction and amendments
Claire Myers            3/29/2023     1.2   Analyze AOS redaction for contract rejection and lease service
                                            notification
Claire Myers            3/29/2023     1.7   Match creditors with no addresses in the master mailing list with
                                            creditors with a physical address
Claire Myers            3/29/2023     2.3   Analyze new creditors in order to update master mailing list

David Slay              3/29/2023     0.3   Working session with D. Slay and C. Sullivan (A&M) to discuss the
                                            daily docket tracker
Hudson Trent            3/29/2023     1.6   Prepare updated Plan formulation timeline slide for consolidated case
                                            update materials
Hudson Trent            3/29/2023     1.2   Update workstream detail slides in consolidated case update
                                            materials based on feedback from counsel
Hudson Trent            3/29/2023     1.4   Prepare updated asset bridge for consolidated case updated
                                            materials based on feedback
Hudson Trent            3/29/2023     0.7   Incorporate latest feedback on consolidated case update materials
                                            related to ongoing avoidance actions
Hudson Trent            3/29/2023     1.3   Incorporate and finalize consolidated case update materials and
                                            circulate to advisors
Hudson Trent            3/29/2023     0.9   Incorporate updated crypto operations workstreams into consolidated
                                            case update materials
Luke Francis            3/29/2023     0.6   Updates to SOFA amendment tracker


Luke Francis            3/29/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, L. Francis and C.
                                            Myers (A&M) regarding priority workstreams involving PII, claims,
                                            global redaction and amendments
Rob Esposito            3/29/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, L. Francis and C.
                                            Myers (A&M) regarding priority workstreams involving PII, claims,
                                            global redaction and amendments
Rob Esposito            3/29/2023     0.8   Review and analysis of the draft parties-in-interest list


Steve Kotarba           3/29/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, L. Francis and C.
                                            Myers (A&M) regarding priority workstreams involving PII, claims,
                                            global redaction and amendments



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Case Administration
Professional               Date     Hours     Activity
Trevor DiNatale         3/29/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, L. Francis and C.
                                            Myers (A&M) regarding priority workstreams involving PII, claims,
                                            global redaction and amendments
Christopher Sullivan    3/30/2023     0.4   Review updated docket tracker for 3/30

Christopher Sullivan    3/30/2023     0.1   Respond to commentary on the docket trackers


Claire Myers            3/30/2023     1.8   Update redaction for new parties in the master mailing list in internal
                                            tracker
Claire Myers            3/30/2023     2.8   Match creditors with no addresses in the master mailing list with
                                            creditors with a physical address
Claire Myers            3/30/2023     1.2   Update MOI status and emails for claimants in the master mailing list

Claire Myers            3/30/2023     1.6   Analyze results of fuzzy comparison between creditors with a
                                            physical address and no address in order to update the master
                                            mailing list
Claire Myers            3/30/2023     2.7   Match creditors with no addresses in the master mailing list with
                                            creditors with an email address
David Slay              3/30/2023     2.3   Review latest docket activity and develop key points for internal
                                            discussion
Luke Francis            3/30/2023     1.6   Updates to summary liability recon and potential amendments


Steve Coverick          3/30/2023     0.5   Correspond with A&M personnel regarding conflicts supplemental
                                            disclosure
Alec Liv-Feyman         3/31/2023     0.3   Call with D. Slay, A. Liv-Feyman (A&M) regarding public dockets
                                            updates
Christopher Sullivan    3/31/2023     0.2   Review updates to the daily docket tracker for 3/31


Claire Myers            3/31/2023     1.6   Analyze results of fuzzy comparison between creditors with a
                                            physical address and no address in order to update the master
                                            mailing list
Cullen Stockmeyer       3/31/2023     0.8   Correspondence related to professional working tracker

Cullen Stockmeyer       3/31/2023     1.1   Update professional working tracker for team changes


David Slay              3/31/2023     0.3   Call with D. Slay, A. Liv-Feyman (A&M) regarding public dockets
                                            updates
David Slay              3/31/2023     1.5   Review latest docket activity and develop key points for internal
                                            discussion
Hudson Trent            3/31/2023     1.3   Review and provide feedback on weekly PMO materials

Hudson Trent            3/31/2023     0.4   Correspond regarding media coverage updates with BoD


Hudson Trent            3/31/2023     0.6   Correspond regarding case update materials with crypto team




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Case Administration
Professional                 Date     Hours     Activity
James Cooper              3/31/2023      0.7   Draft updates to weekly PMO materials for cash and liquidity team

James Cooper              3/31/2023      0.3   Review draft of weekly PMO materials and provide comments


Luke Francis              3/31/2023      0.7   Update investment agreement for conflicts and Personal Identifiable
                                               Information
Luke Francis              3/31/2023      1.4   Updates to creditor matrix for additional notice parties

Luke Francis              3/31/2023      1.1   Review of sold investments and updates to summary data


Robert Gordon             3/31/2023      0.5   Update Intercompany section of the PMO

Trevor DiNatale           3/31/2023      0.6   Review updated creditor matrix detail



Subtotal                               251.0

Cash Management
Professional                 Date     Hours     Activity
Chris Arnett               3/1/2023      0.3   Review and provide comment to J. Cooper (A&M) re: latest cash flow
                                               budget
Chris Arnett               3/1/2023      0.4   Review potential OCP payments based on invoices received and
                                               declarations filed
David Nizhner              3/1/2023      1.0   Call with J. Cooper, S. Witherspoon, D. Nizhner (A&M), M. Cilia
                                               (FTX) re: updated monthly budget
David Slay                 3/1/2023      1.8   Incorporate balance sheet updates based on latest thinking

Ed Mosley                  3/1/2023      1.6   Review of updated cash forecast to the UCC (Budget 3) and prepare
                                               comments
Erik Taraba                3/1/2023      2.8   Develop overall structure for new professional fees forecast model


Erik Taraba                3/1/2023      1.7   Re-link TWCF bridge and supporting schedules to new professional
                                               fees forecast model and balance
Erik Taraba                3/1/2023      0.7   Call with J. Cooper and E. Taraba (A&M) re: OCP payments and
                                               professionals fee forecast
Erik Taraba                3/1/2023      0.8   Update professional fees forecast model and associated presentation
                                               materials with edits from Company Finance Team
Erik Taraba                3/1/2023      0.6   Discussion with S. Witherspoon and E. Taraba (A&M) re:
                                               professional fees forecast and upcoming budget update
Erik Taraba                3/1/2023      1.9   Develop new invoice tracker to capture additional detail requested by
                                               leadership
Erik Taraba                3/1/2023      2.9   Develop subordinate schedules within new professional fees forecast
                                               model
Gioele Balmelli            3/1/2023      0.2   Call with G. Balmelli, L. Konig, P. Kwan (A&M) and R. Matzke (FTX)
                                               on EU customer balances reconciliation


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Cash Management
Professional               Date     Hours     Activity
Gioele Balmelli          3/1/2023     0.2   Call with J. Lubsczyk, G. Balmelli (A&M) on impact of liquidation of
                                            selected European entities on STCF
Gioele Balmelli          3/1/2023     0.5   Call with B. Danhach (FTX) on review recurrent cost of FTX
                                            Exchange FZE
Gioele Balmelli          3/1/2023     2.4   Update Invoice list FTX Europe entities

Gioele Balmelli          3/1/2023     2.2   Update of FTX Europe statement of cash flows and prepare feedback
                                            for team
Gioele Balmelli          3/1/2023     1.0   Call with J. Bavaud (FTX) on review recurrent costs of FTX Europe
                                            AG
James Cooper             3/1/2023     1.0   Call with J. Cooper, S. Witherspoon, D. Nizhner (A&M), M. Cilia
                                            (FTX) re: updated monthly budget
James Cooper             3/1/2023     0.5   Review budget 3 presentation appendix Dotcom specific silo slides


James Cooper             3/1/2023     0.7   Call with J. Cooper and E. Taraba (A&M) re: OCP payments and
                                            professionals fee forecast
James Cooper             3/1/2023     0.6   Review budget 3 presentation consolidated and silo cash flow slides


James Cooper             3/1/2023     0.8   Prepare summary and distribute budget 3 draft materials for internal
                                            review
James Cooper             3/1/2023     1.8   Draft budget 3 presentation summary updates

James Cooper             3/1/2023     0.2   Internal correspondence and validating re: ventures cash receipts


James Cooper             3/1/2023     0.3   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                            presentation updates
James Cooper             3/1/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: interest
                                            income assumptions
James Cooper             3/1/2023     2.6   Review budget 3 presentation key updates slide

James Cooper             3/1/2023     1.3   Analysis of budget 3 presentation professional fees and comparison
                                            to model
James Cooper             3/1/2023     0.3   Review bank account tracker for latest balances at Silvergate

James Cooper             3/1/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                            finalization of cash flow budget update
Joachim Lubsczyk         3/1/2023     0.2   Call with J. Lubsczyk, G. Balmelli (A&M) on impact of liquidation of
                                            selected European entities on STCF
Louis Konig              3/1/2023     0.2   Call with G. Balmelli, L. Konig, P. Kwan (A&M) and R. Matzke (FTX)
                                            on EU customer balances reconciliation
Peter Kwan               3/1/2023     0.2   Call with G. Balmelli, L. Konig, P. Kwan (A&M) and R. Matzke (FTX)
                                            on EU customer balances reconciliation
Samuel Witherspoon       3/1/2023     0.8   Update and distribute draft of latest cash flow budget




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Cash Management
Professional                Date     Hours     Activity
Samuel Witherspoon        3/1/2023     1.5   Create January 31st cash bridge from prior year end

Samuel Witherspoon        3/1/2023     1.2   Prepare and distribute detailed cash flow variance to prior budget


Samuel Witherspoon        3/1/2023     0.7   Update weekly variance report commentary for other operating spend

Samuel Witherspoon        3/1/2023     1.0   Call with J. Cooper, S. Witherspoon, D. Nizhner (A&M), M. Cilia
                                             (FTX) re: updated monthly budget
Samuel Witherspoon        3/1/2023     0.6   Update interest income timing and payment assumptions


Samuel Witherspoon        3/1/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                             finalization of cash flow budget update
Samuel Witherspoon        3/1/2023     0.6   Discussion with S. Witherspoon and E. Taraba (A&M) re:
                                             professional fees forecast and upcoming budget update
Samuel Witherspoon        3/1/2023     0.7   Review cash flow bridge for changes in payroll cost

Samuel Witherspoon        3/1/2023     0.4   Update cash flow forecast materials for the Alameda and Dotcom
                                             silos
Samuel Witherspoon        3/1/2023     0.3   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                             presentation updates
Samuel Witherspoon        3/1/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: interest
                                             income assumptions
Samuel Witherspoon        3/1/2023     1.1   Update variance report for intercompany transfers commentary


Steve Coverick            3/1/2023     0.6   Correspond with PWP and A&M personnel regarding bank account
                                             matter
Chris Arnett              3/2/2023     0.3   Review and comment on the weekly cash variance reporting


David Nizhner             3/2/2023     0.6   Research historical payroll related disbursements from various bank
                                             accounts
David Nizhner             3/2/2023     1.2   Review historical vendor spend for WRS and Dotcom


David Nizhner             3/2/2023     0.5   Correspond with team regarding Dotcom and WRS historical vendor
                                             spend
Ed Mosley                 3/2/2023     0.9   Review of and provide comments to draft cash variance report for
                                             week ending 2/24
Erik Taraba               3/2/2023     0.7   Perform final QC of new professional fees forecast model and
                                             optimize file parameters to improve performance
Erik Taraba               3/2/2023     0.8   Develop tool to split multi-month invoices enabling accurate
                                             professional fees forecasting
Erik Taraba               3/2/2023     0.5   Develop retainer tracker for professional firms and link into
                                             professional fees forecast model
Erik Taraba               3/2/2023     1.8   Build in foreign exchange functionality into professional fees forecast
                                             model




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Cash Management
Professional             Date     Hours     Activity
Gioele Balmelli        3/2/2023     3.2   Update of FTX Europe statement of cash flows and prepare feedback
                                          for team
Gioele Balmelli        3/2/2023     1.4   Correspondence on FTX Europe STCF weekly update


Gioele Balmelli        3/2/2023     0.7   Call with M. Lambrianou (FTX) on review recurrent cost of FTX EU
                                          Ltd
Gioele Balmelli        3/2/2023     2.4   Update Invoice list FTX Europe entities

Jack Yan               3/2/2023     1.7   Generate credit entries to cash for FTX Japan Holding and its
                                          subsidiaries
James Cooper           3/2/2023     0.4   Review payroll history internal request for LedgerX

James Cooper           3/2/2023     1.2   Address internal comments re: budget 3 cash flow deck


James Cooper           3/2/2023     0.6   Updates to the budget 3 model and deck to reflect Bahamas property
                                          cash flow changes
James Cooper           3/2/2023     0.4   Identify ventures cash receipt and review background information


James Cooper           3/2/2023     0.5   Review weekly variance report distribution excel model

James Cooper           3/2/2023     0.3   Distribute weekly cash variance report to FTI

James Cooper           3/2/2023     0.5   Prepare summary and distribute budget 3 draft materials for internal
                                          management review
James Cooper           3/2/2023     2.6   Review draft weekly cash variance report and provide comments

James Cooper           3/2/2023     0.3   Correspondence with JPL's re: Bahamas property cash flows


Samuel Witherspoon     3/2/2023     0.6   Finalize and distribute variance report to external parties

Samuel Witherspoon     3/2/2023     0.6   Review intercompany transfers as of the previous week end


Samuel Witherspoon     3/2/2023     0.8   Update cash flow forecast intercompany transfers summary

Samuel Witherspoon     3/2/2023     1.0   Update cash flow presentation materials for internal review

Samuel Witherspoon     3/2/2023     1.0   Update variance report with edits from A&M team


Samuel Witherspoon     3/2/2023     1.3   Update cash flow forecast with additional commentary from internal
                                          team
Samuel Witherspoon     3/2/2023     2.2   Refresh cash flow forecast with updates to subsidiary forecasts


Samuel Witherspoon     3/2/2023     0.8   Analyze other debtor and OCP spend for weekly variance reporting




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Cash Management
Professional               Date     Hours     Activity
Samuel Witherspoon       3/2/2023     1.1   Update weekly variance report with comments from internal team

Steve Coverick           3/2/2023     0.4   Review and provide comments on latest cash variance report


David Slay               3/3/2023     1.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: identify and
                                            develop cash bridge for schedules and statements BoD deck
Ed Mosley                3/3/2023     1.2   Review of and prepare comments to draft custodial cash presentation
                                            to management
Ed Mosley                3/3/2023     0.4   Call with E. Mosley, J. Cooper, S. Witherspoon (A&M) re: custodial
                                            cash analysis
Ed Mosley                3/3/2023     0.9   Review and provide approval to updated cash forecast for delivery to
                                            the UCC
Erik Taraba              3/3/2023     0.2   Update professional fees forecast model with latest thinking re:
                                            budgets
Erik Taraba              3/3/2023     1.6   Update invoice tracker and professional fees forecast model with
                                            invoices and fee applications through 3/3/23
Erik Taraba              3/3/2023     0.2   Correspondence with M. Cilia (FTX) re: updated vendor agreement,
                                            associated costs and timing as they pertain to forecasting of fees
Gioele Balmelli          3/3/2023     0.8   Correspondence on STCFF FTX Europe update

James Cooper             3/3/2023     0.4   Discussion with M. Cilia (FTX) re: LedgerPrime

James Cooper             3/3/2023     0.9   Prepare summary of Silvergate balances and distribute internally


James Cooper             3/3/2023     0.7   Analysis and correspondence re: crypto vendor payment and
                                            variance to forecast
James Cooper             3/3/2023     0.7   Discussion with M. Cilia (FTX) re: Silvergate balances


James Cooper             3/3/2023     0.4   Call with E. Mosley, J. Cooper, S. Witherspoon (A&M) re: custodial
                                            cash analysis
James Cooper             3/3/2023     0.4   Correspondence re: LedgerPrime and future anticipated receipts
                                            bank accounts
James Cooper             3/3/2023     0.7   Prepare for internal discussion re: custodial cash analysis

Joachim Lubsczyk         3/3/2023     0.5   Review STCF FTX Europe before submission to FTX US

Joachim Lubsczyk         3/3/2023     0.2   Summarize review of bank accounts FTX Europe group per request
                                            FTX US
Johnny Gonzalez          3/3/2023     1.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: identify and
                                            develop cash bridge for schedules and statements BoD deck
Nicole Simoneaux         3/3/2023     0.4   Reconcile vendor invoices with cash actuals


Samuel Witherspoon       3/3/2023     0.4   Call with E. Mosley, J. Cooper, S. Witherspoon (A&M) re: custodial
                                            cash analysis




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Cash Management
Professional               Date     Hours     Activity
Samuel Witherspoon       3/3/2023     0.8   Analyze current cash forecast to prior budgets

Samuel Witherspoon       3/3/2023     0.8   Update bank account details with latest balances


Samuel Witherspoon       3/3/2023     0.7   Summarize information regarding historical payroll payments

Samuel Witherspoon       3/3/2023     0.8   Create silo forecast summaries for distribution to external parties

Samuel Witherspoon       3/3/2023     0.7   Update and distribute external cash forecast summaries


Samuel Witherspoon       3/3/2023     0.6   Review post petition intercompany cash transfers

Ed Mosley                3/4/2023     0.9   Review of crypto bank exposure analysis and provide comments


James Cooper             3/4/2023     1.3   Prepare responses to address follows ups re: Silvergate balances

David Nizhner            3/6/2023     0.8   Distribute updated FX rates to various teams


David Nizhner            3/6/2023     0.5   Update FX rates for full month

Erik Taraba              3/6/2023     0.7   Update weekly cash meeting slides with latest data and talking points

Erik Taraba              3/6/2023     0.4   Import latest foreign exchange rates into professional fees forecast
                                            model and refresh amounts
Erik Taraba              3/6/2023     0.6   Adjust formatting for professional fees review model to match style of
                                            adjacent deliverables
Erik Taraba              3/6/2023     0.9   Update professional fees forecast model with historical data from
                                            professionals firms re: zero balance owed
Erik Taraba              3/6/2023     1.8   Develop professionals fees schedules for interim financial update

Erik Taraba              3/6/2023     0.3   Coordinate with project leadership re: objections to filed December
                                            Fee Applications
Gioele Balmelli          3/6/2023     0.8   Correspondence on STCFF FTX Europe update

James Cooper             3/6/2023     0.8   Review professional fee workstream lead analysis

James Cooper             3/6/2023     1.4   Prepare for weekly cash diligence call with FTI


James Cooper             3/6/2023     1.1   Review Project Revival KPI report for fiat transfers

James Cooper             3/6/2023     0.4   Discussion with S. Coverick (A&M) re: professional fee analysis


James Cooper             3/6/2023     0.7   Call with M. Grey, B. Bromberg, M. Dawson (FTI), J. Cooper, S.
                                            Witherspoon (A&M) re: weekly cash variance discussion




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Cash Management
Professional            Date     Hours     Activity
James Cooper          3/6/2023     0.6   Review prior week payment listing and professional fee payments

James Cooper          3/6/2023     1.6   Draft updates to custodial cash analysis materials


James Cooper          3/6/2023     0.7   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                         variance reporting
James Cooper          3/6/2023     0.9   Participate in teleconference with A&M Workstream leads for weekly
                                         update
James Cooper          3/6/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: cash workplan
                                         objectives
Samuel Witherspoon    3/6/2023     0.7   Review previously variance commentary to discuss with external
                                         parties
Samuel Witherspoon    3/6/2023     0.8   Create bridge summary of petition date cash to January month ending


Samuel Witherspoon    3/6/2023     0.7   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                         variance reporting
Samuel Witherspoon    3/6/2023     0.9   Update mechanics of cash flow forecasting model


Samuel Witherspoon    3/6/2023     0.8   Reconcile prior cash flow budget to latest forecast

Samuel Witherspoon    3/6/2023     0.7   Call with M. Grey, B. Bromberg, M. Dawson (FTI), J. Cooper, S.
                                         Witherspoon (A&M) re: weekly cash variance discussion
Samuel Witherspoon    3/6/2023     1.1   Analyze cash transfers between silos at January month end


Samuel Witherspoon    3/6/2023     0.8   Review historical brokerage cash transfers as of the petition date

Samuel Witherspoon    3/6/2023     0.8   Review professional fee forecast updated forecast


Samuel Witherspoon    3/6/2023     0.8   Update cash transfers to reconcile February month end

Samuel Witherspoon    3/6/2023     0.6   Update variance report intercompany matrix details


Samuel Witherspoon    3/6/2023     0.3   Update bridge summary with silo transfer commentary

Samuel Witherspoon    3/6/2023     0.4   Analyze post petition bank accounts for intercompany transactions

Samuel Witherspoon    3/6/2023     0.4   Analyze cash payments of professional fee spend


Samuel Witherspoon    3/6/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: cash workplan
                                         objectives
Steve Coverick        3/6/2023     0.4   Discussion with S. Coverick, J. Cooper (A&M) re: professional fee
                                         analysis
David Nizhner         3/7/2023     0.3   Meeting with J. Cooper, D. Nizhner, and G. Walia (A&M) re: Signet
                                         bank access




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Cash Management
Professional                Date     Hours     Activity
David Nizhner             3/7/2023     0.5   Call with J. Cooper, D. Nizhner, E. Hoffer, J. Lee (A&M) re: customer
                                             withdrawal updates
David Nizhner             3/7/2023     0.3   Call with J. Cooper, G. Walia, D. Nizhner (A&M) re: customer
                                             withdrawal updates
Emily Hoffer              3/7/2023     0.5   Call with J. Cooper, D. Nizhner, E. Hoffer, J. Lee (A&M) re: customer
                                             withdrawal updates
Erik Taraba               3/7/2023     0.9   Import latest invoice and fee application data into professional fees
                                             forecast model
Erik Taraba               3/7/2023     0.4   Coordinate with M. Cilia (FTX) re: payments of 327(a) retained
                                             professionals
Erik Taraba               3/7/2023     1.6   Reconcile professional fees forecast to latest budget TWCF

Erik Taraba               3/7/2023     1.1   Update professional fees forecast to match latest budget thinking


Gaurav Walia              3/7/2023     0.3   Meeting with J. Cooper, D. Nizhner, and G. Walia (A&M) regarding
                                             bank access
Gaurav Walia              3/7/2023     0.3   Call with J. Cooper, G. Walia, D. Nizhner (A&M) regarding customer
                                             withdrawal updates
Gioele Balmelli           3/7/2023     3.2   Update Invoice list FTX Europe entities

Gioele Balmelli           3/7/2023     1.8   Correspondence for the update of FTX Europe STCFF

Gioele Balmelli           3/7/2023     2.4   Update of FTX Europe statement of cash flows and prepare feedback
                                             for team
James Cooper              3/7/2023     0.5   Meeting with J. Cooper, E. Hoffer, D. Nizhner and J. Lee (A&M) re:
                                             bank tracing of customer withdrawals
James Cooper              3/7/2023     1.7   Review current week's payment tracker and updated bank balances


James Cooper              3/7/2023     0.3   Meeting with J. Cooper, D. Nizhner, and G. Walia (A&M) re: Signet
                                             bank access
James Cooper              3/7/2023     0.3   Call with J. Cooper, G. Walia, D. Nizhner (A&M) re: customer
                                             withdrawal updates
James Cooper              3/7/2023     0.9   Correspondence and follow-up analysis on Silvergate bank exposure

James Cooper              3/7/2023     1.9   Review latest version of customer withdrawal bank tracing analysis

James Cooper              3/7/2023     0.5   Call with J. Cooper, D. Nizhner, E. Hoffer, J. Lee (A&M) re: customer
                                             withdrawal updates
James Cooper              3/7/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                             adjustments to cash flow forecast
Julian Lee                3/7/2023     0.5   Meeting with J. Cooper, E. Hoffer, D. Nizhner and J. Lee (A&M) re:
                                             bank tracing of customer withdrawals
Kumanan Ramanathan        3/7/2023     0.3   Call with S. Coverick, E. Mosley, K. Ramanathan (A&M) and P.
                                             Greaves (PwC) to discuss banking activity




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Cash Management
Professional                Date     Hours     Activity
Samuel Witherspoon        3/7/2023     0.3   Update historical cash balances based on month end reconciliation

Samuel Witherspoon        3/7/2023     0.5   Create summary of petition date cash balances at the WRS silo


Samuel Witherspoon        3/7/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                             adjustments to cash flow forecast
Samuel Witherspoon        3/7/2023     1.5   Update professional fee summary materials with updates on payment
                                             timing
Samuel Witherspoon        3/7/2023     0.7   Analyze latest cash payments file for the previous week


Samuel Witherspoon        3/7/2023     0.7   Update cash flow forecast materials with edits from internal team

Samuel Witherspoon        3/7/2023     0.4   Prepare and distribute weekly cash management materials


Samuel Witherspoon        3/7/2023     0.8   Review actual bank payments for the previous week

Samuel Witherspoon        3/7/2023     1.3   Reconcile previous cash flow forecast professional fee estimates


Samuel Witherspoon        3/7/2023     0.6   Compare transaction detail for professional fee spend

Samuel Witherspoon        3/7/2023     1.7   Update bank transactions for previous week actuals

Steve Coverick            3/7/2023     1.4   Review documentation re: cash transactions from FDM accounts in
                                             response to JPL reservation of rights filing
Chris Arnett              3/8/2023     0.6   Review the latest payment tracker as a basis for vendor reporting

David Nizhner             3/8/2023     0.3   Working session with J. Cooper, E. Hoffer, D. Nizhner (A&M) re:
                                             transaction database
David Nizhner             3/8/2023     0.6   Correspond with internal team regarding non-debtor balances

Emily Hoffer              3/8/2023     0.3   Working session with J. Cooper, E. Hoffer, D. Nizhner (A&M) re:
                                             transaction database
Erik Taraba               3/8/2023     0.3   Import invoice data into professional fees forecast model

Erik Taraba               3/8/2023     1.7   Reconcile cash actuals as of 3/3/23 to professional fees forecast
                                             model and invoice tracker
Erik Taraba               3/8/2023     0.4   Coordinate with Crypto Team re: payments made using crypto and
                                             process for tracking such payments
Erik Taraba               3/8/2023     0.4   Coordinate with Company management re: crypto payment of vendor
                                             invoice
Erik Taraba               3/8/2023     0.4   Add Fee Examiner forecast to professional fees forecast model


Erik Taraba               3/8/2023     1.8   Make updates to professional fees forecast model based on outputs
                                             from 3/8 working session




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Cash Management
Professional               Date     Hours     Activity
Erik Taraba              3/8/2023     0.9   Research previous cases and develop estimate for fees and
                                            expenses re: fee examiners
Erik Taraba              3/8/2023     0.6   Working session with S. Witherspoon and E. Taraba (A&M) re:
                                            professional fees forecast model
Erik Taraba              3/8/2023     0.7   Convert overseas OCP invoices to USD

Erik Taraba              3/8/2023     0.7   Link professional fees forecast model to professional fees review
                                            model
James Cooper             3/8/2023     0.4   Discussion with M. Cilia (FTX), J. Cooper, S. Witherspoon (A&M) re:
                                            weekly cash objectives
James Cooper             3/8/2023     1.3   Prepare summary of professional fee detail by workstream leads

James Cooper             3/8/2023     0.4   Discussion with B. Bromberg (FTI) re: budget 3 professional fee
                                            adjustment
James Cooper             3/8/2023     1.3   Correspondence re: FTX Japan test wire

James Cooper             3/8/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly cash
                                            objectives
James Cooper             3/8/2023     1.7   Review revised budget 3 materials and provide comments

James Cooper             3/8/2023     0.3   Working session with J. Cooper, E. Hoffer, D. Nizhner (A&M) re:
                                            transaction database
James Cooper             3/8/2023     2.5   Review initial draft of weekly variance report and provide comments


Samuel Witherspoon       3/8/2023     0.9   Analyze February month end balances by legal entity

Samuel Witherspoon       3/8/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly cash
                                            objectives
Samuel Witherspoon       3/8/2023     0.8   Implement cash model updates to reconcile historical payment data

Samuel Witherspoon       3/8/2023     0.7   Update weekly variance report with commentary on other operating
                                            spend
Samuel Witherspoon       3/8/2023     2.2   Update weekly cash forecast variance report to the prior week

Samuel Witherspoon       3/8/2023     0.3   Review professional fee monthly accruals

Samuel Witherspoon       3/8/2023     1.6   Refresh cash flow forecast with adjustments to professional fees


Samuel Witherspoon       3/8/2023     0.4   Discussion with M. Cilia (FTX), J. Cooper, S. Witherspoon (A&M) re:
                                            weekly cash objectives
Samuel Witherspoon       3/8/2023     0.8   Analyze weekly payments for latest professional fee spend


Samuel Witherspoon       3/8/2023     0.6   Working session with S. Witherspoon and E. Taraba (A&M) re:
                                            professional fees forecast model




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Cash Management
Professional                Date     Hours     Activity
Samuel Witherspoon        3/8/2023     0.6   Update legal entity cash summary for weekly variance report

Steve Coverick            3/8/2023     0.9   Review account opening documentation on certain FBO bank
                                             accounts
Chris Arnett              3/9/2023     0.3   Review and comment on weekly variance reporting

David Slay                3/9/2023     2.3   Develop table and charts for assets by legal entity

David Slay                3/9/2023     1.7   Develop individual cash bridges for each silo on assets


Ed Mosley                 3/9/2023     1.7   Review of and prepare comments to draft weekly cash variance
                                             report for the UCC
Erik Taraba               3/9/2023     0.2   Convert overseas OCP invoices to USD


Erik Taraba               3/9/2023     0.6   Update internal links to support global checks within professional
                                             fees forecast model
Erik Taraba               3/9/2023     1.4   Perform additional research and analysis on Fee Examiner fees and
                                             expenses to inform professional fees forecast
Erik Taraba               3/9/2023     2.1   Develop global checks for summary schedules within professional
                                             fees forecast model
Erik Taraba               3/9/2023     1.3   Import latest budget data into professional fees forecast model and
                                             reconcile to actuals
Erik Taraba               3/9/2023     2.8   Develop global checks for detailed forecast data schedules within
                                             professional fees forecast model
Erik Taraba               3/9/2023     0.4   Update formatting of professional fees forecast model to match
                                             outputs to deliverables
Gioele Balmelli           3/9/2023     1.9   Update Invoice list FTX Europe entities


Gioele Balmelli           3/9/2023     2.4   Update of FTX Europe statement of cash flows and prepare feedback
                                             for team
Gioele Balmelli           3/9/2023     0.9   Call with J. Bavaud (FTX) on FTX Europe open invoices


James Cooper              3/9/2023     0.3   Distribute weekly cash variance report

James Cooper              3/9/2023     1.1   Review revised weekly cash variance report

James Cooper              3/9/2023     1.4   Correspondence re: tracking ventures cash receipts


James Cooper              3/9/2023     0.8   Respond to internal comments re: weekly cash variance report

James Cooper              3/9/2023     0.5   Working session with J. Cooper, S. Witherspoon (A&M) re: updated
                                             variance report
James Cooper              3/9/2023     2.2   Review initial draft of FTX Japan cash reconciliation




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Cash Management
Professional                Date     Hours     Activity
James Cooper              3/9/2023     1.8   Follow up analysis re: professional fee workstream leads

Joachim Lubsczyk          3/9/2023     0.5   Review STCF FTX Europe before submission to FTX US


Nicole Simoneaux          3/9/2023     0.6   Review payroll mapping on internal payment tracker

Samuel Witherspoon        3/9/2023     1.3   Develop reconciliation of bank balances for Dotcom silo entities

Samuel Witherspoon        3/9/2023     0.8   Reconcile Dotcom silo entities cash transactions with available
                                             payment data
Samuel Witherspoon        3/9/2023     0.6   Finalize and distribute template of Dotcom silo bank account
                                             reconciliations
Samuel Witherspoon        3/9/2023     1.0   Update variance report with reconciled week end cash balances


Samuel Witherspoon        3/9/2023     0.9   Compile weekly cash balances by bank account

Samuel Witherspoon        3/9/2023     1.2   Update variance report with commentary edits from A&M team


Samuel Witherspoon        3/9/2023     0.5   Working session with J. Cooper, S. Witherspoon (A&M) re: updated
                                             variance report
Steve Coverick            3/9/2023     0.6   Review and provide feedback on cash budget variance analysis for
                                             w/e 3/3
David Johnston           3/10/2023     2.4   Review historical short term cash flows for FTX Europe


David Johnston           3/10/2023     1.3   Review 03 March short term cash flows for FTX Europe

David Nizhner            3/10/2023     0.3   Call with J. Cooper, D. Nizhner (A&M) re: professional analysis


David Slay               3/10/2023     1.5   Update silo cash bridges per comments from J. Gonzalez (A&M)

Ed Mosley                3/10/2023     0.8   Review of options for board and management regarding treasury
                                             options for retention of cash
Erik Taraba              3/10/2023     0.2   Coordinate with Company Finance Team re: 327(a) professional fee
                                             application questions
Erik Taraba              3/10/2023     0.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                             walkthrough of professional fees forecast model
Erik Taraba              3/10/2023     1.2   Make updates to professional fees forecast model per feedback from
                                             3/10 call with Cash Team
Erik Taraba              3/10/2023     0.2   Review docket and gather additional data for professional fees
                                             forecast model
Erik Taraba              3/10/2023     0.5   Refine interim financial update schedules and link to professional
                                             fees forecast model
Erik Taraba              3/10/2023     0.9   Make further updates to professional fees forecast model to improve
                                             functionality with other professional fees models




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Cash Management
Professional                Date     Hours     Activity
Erik Taraba              3/10/2023     0.8   Prepare notes and materials for upcoming call re: professional fees
                                             forecast model
Henry Chambers           3/10/2023     0.8   Review of FTX Japan daily cash updates and correspondence
                                             regarding the same
Henry Chambers           3/10/2023     0.3   Call with J. Cooper, H. Chambers, S. Witherspoon and S. Li (A&M)
                                             regarding daily cash balance of FTX Japan
James Cooper             3/10/2023     0.4   Correspondence re: bank exposure at SVB and Silvergate

James Cooper             3/10/2023     0.4   Discussion with J. Cooper, R. Gordon (A&M) over bank transfer
                                             tracking
James Cooper             3/10/2023     0.3   Call with J. Cooper, H. Chambers, S. Witherspoon and S. Li (A&M)
                                             regarding daily cash balance of FTX Japan
James Cooper             3/10/2023     0.3   Call with J. Cooper, D. Nizhner (A&M) re: professional analysis


James Cooper             3/10/2023     0.4   Discussion with banking partners re: bank health and next steps

James Cooper             3/10/2023     0.7   Research re: situation at Silicon Valley Bank


James Cooper             3/10/2023     1.0   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             forecast responses to UCC
James Cooper             3/10/2023     0.3   Review press release distributed by post petition bank

James Cooper             3/10/2023     0.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                             walkthrough of professional fees forecast model
James Cooper             3/10/2023     0.7   Review daily cash balances files from FTX Japan

Robert Gordon            3/10/2023     0.4   Discussion with J. Cooper, R. Gordon(A&M) over bank transfer
                                             tracking
Samuel Witherspoon       3/10/2023     1.3   Compile daily bank balances for Dotcom foreign entities

Samuel Witherspoon       3/10/2023     0.9   Reconcile cash payments of customer withdrawals


Samuel Witherspoon       3/10/2023     0.3   Call with J. Cooper, H. Chambers, S. Witherspoon and S. Li (A&M)
                                             regarding daily cash balance of FTX Japan
Samuel Witherspoon       3/10/2023     1.0   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             forecast responses to UCC
Samuel Witherspoon       3/10/2023     0.6   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                             walkthrough of professional fees forecast model
Steve Coverick           3/10/2023     0.4   Correspond with A&M and FTX personnel regarding bank account
                                             issue
Steve Coverick           3/10/2023     0.6   Review articles regarding recent bank exposure for banks holding
                                             debtor and non-debtor cash
Summer Li                3/10/2023     0.3   Upload daily cash tracker and confirm with S. Kojima (FTX Japan) on
                                             our understanding of the SBI trust account




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Cash Management
Professional                 Date     Hours     Activity
Summer Li                 3/10/2023     0.3   Search for the daily cash report of FTX Japan KK from the shared
                                              drive
Chris Arnett              3/11/2023     0.8   Research depository status and cash management alternatives


David Slay                3/11/2023     1.0   Update invoice model with recent time submissions

Ed Mosley                 3/11/2023     0.4   Discussion with J.Ray (FTX) regarding cash options and potential
                                              scenarios for stablecoins
Erik Taraba               3/11/2023     1.1   Refresh professional fees forecast analysis with latest data


Erik Taraba               3/11/2023     0.6   Update professional fees forecast model with updated OCP data

James Cooper              3/11/2023     2.9   Draft board materials re: bank exposure


James Cooper              3/11/2023     1.3   Review latest bank account listing and exposure to regional banks

James Cooper              3/11/2023     0.7   Discussion with S. Coverick (A&M) re: bank status and board
                                              materials
James Cooper              3/11/2023     1.8   Research latest bank news at SVB, Signature, Silvergate and others

Steve Coverick            3/11/2023     0.9   Review and provide comments on bank exposure analysis

Steve Coverick            3/11/2023     0.7   Discussion with S. Coverick, J. Cooper (A&M) re: bank status and
                                              board materials
Steve Coverick            3/11/2023     0.5   Correspond with A&M and FTX personnel regarding regional bank
                                              exposure
David Slay                3/12/2023     2.6   Update Invoice model for submitted applications and ensure accuracy


Ed Mosley                 3/12/2023     1.1   Review of and prepare comments for draft correspondence with
                                              management regarding treasury options for banking
Erik Taraba               3/12/2023     0.9   Develop additional checks into professional fees forecast model to
                                              account for retainer application
Erik Taraba               3/12/2023     1.3   Build retainer drawdown functionality into professional fees forecast
                                              model
Erik Taraba               3/12/2023     1.4   Develop retainer drawdown schedule to track retainer application and
                                              availability
James Cooper              3/12/2023     1.2   Draft updates to bank exposure board materials based on internal
                                              review
James Cooper              3/12/2023     0.7   Review and summarize surety bond credit reports

James Cooper              3/12/2023     0.2   Discussion with M. Rahmani (PWP) re: surety bond credit reports


James Cooper              3/12/2023     1.3   Correspondence and address internal comments re: bank exposure
                                              board materials




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Cash Management
Professional                Date     Hours     Activity
James Cooper             3/12/2023     0.6   Discussion with M. Cilia (FTX) re: bank exposure board materials

Robert Gordon            3/12/2023     0.3   Review bank presentation and provide comments


Samuel Witherspoon       3/12/2023     1.6   Review latest bank account balances as of the previous week end

Steve Coverick           3/12/2023     2.6   Research potential new bank accounts options

David Johnston           3/13/2023     2.1   Analysis of prior week short term cash forecasts


David Nizhner            3/13/2023     0.7   Call with J. Cooper, D. Nizhner (A&M) re: Dotcom balance analysis

Ed Mosley                3/13/2023     0.9   Review of stablecoin transactions and banking options for
                                             management
Erik Taraba              3/13/2023     0.4   Update foreign exchange rates in professional fees forecast model

Erik Taraba              3/13/2023     0.4   Update slides for weekly cash meeting with Company Finance Team


Erik Taraba              3/13/2023     0.2   Coordinate with Company Finance Team re: payment of 327(a)
                                             professional
Erik Taraba              3/13/2023     1.2   Update professional fees forecast model with latest batch of invoices

Erik Taraba              3/13/2023     2.4   Develop additional schedules for inclusion into monthly reporting deck


Gioele Balmelli          3/13/2023     2.2   Correspondence on answer to RLKS question on FTX Europe
                                             financials
Gioele Balmelli          3/13/2023     0.9   Correspondence for the update of FTX Europe STCFF


James Cooper             3/13/2023     1.3   Correspondence re: bank outreach to solicit options for board

James Cooper             3/13/2023     0.7   Prepare for weekly cash diligence call with FTI


James Cooper             3/13/2023     0.7   Call with J. Cooper, D. Nizhner (A&M) re: Dotcom balance analysis

James Cooper             3/13/2023     0.4   Correspondence re: latest balances at non-debtor entities

James Cooper             3/13/2023     0.7   Review of latest bank balances after daily transfers


James Cooper             3/13/2023     0.3   Call with M. Grey, B. Bromberg, M. Dawson (FTI), S. Coverick, L.
                                             Callerio, J. Cooper, S. Witherspoon (A&M) re: weekly cash variance
                                             discussion
James Cooper             3/13/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: cash balance
                                             report for the UST
James Cooper             3/13/2023     0.3   Provide listing of outstanding surety bonds internally




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Cash Management
Professional             Date     Hours     Activity
James Cooper          3/13/2023     2.1   Draft updates to the bank exposure and surety bond materials for the
                                          board
James Cooper          3/13/2023     1.8   Draft updates to the bank exposure and surety bond board materials
                                          with latest daily balances
Jeffery Stegenga      3/13/2023     0.3   Follow-up discussion w/ D. Feigenbaum re: safe deposit box content
                                          review process
Jeffery Stegenga      3/13/2023     0.6   Discussions w/ S. Coverick and K. Ramanathan, J. Stegenga (A&M).
                                          re: safe deposit box contents and process follow-up
Lorenzo Callerio      3/13/2023     0.3   Call with M. Grey, B. Bromberg, M. Dawson (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, S. Witherspoon (A&M) re: weekly cash variance
                                          discussion
Samuel Witherspoon    3/13/2023     0.9   Analyze latest cash withdrawals at foreign subsidiaries

Samuel Witherspoon    3/13/2023     1.4   Reconcile intercompany transfers for the Dotcom silo

Samuel Witherspoon    3/13/2023     0.9   Finalize foreign entities bank reconciliation through previous week
                                          end
Samuel Witherspoon    3/13/2023     0.3   Call with M. Grey, B. Bromberg, M. Dawson (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, S. Witherspoon (A&M) re: weekly cash variance
                                          discussion
Samuel Witherspoon    3/13/2023     1.5   Analyze February month end custodial transfers and balances


Samuel Witherspoon    3/13/2023     1.3   Reconcile latest cash balances at foreign entities for February 2023

Samuel Witherspoon    3/13/2023     1.0   Prepare backup materials for cash variance reporting discussion

Samuel Witherspoon    3/13/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: cash balance
                                          report for the UST
Samuel Witherspoon    3/13/2023     0.8   Update variance report to prepare for the current week

Samuel Witherspoon    3/13/2023     0.5   Review bank balances for upcoming board presentation


Steve Coverick        3/13/2023     0.3   Call with M. Grey, B. Bromberg, M. Dawson (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, S. Witherspoon (A&M) re: weekly cash variance
                                          discussion
Steve Coverick        3/13/2023     0.6   Discussions w/ S. Coverick and K. Ramanathan, J. Stegenga (A&M).
                                          re: safe deposit box contents and process follow-up
Steve Coverick        3/13/2023     0.6   Review and provide comments on professional fee forecast


Steve Coverick        3/13/2023     1.2   Correspond with broker re: bank account options

Steve Coverick        3/13/2023     0.4   Correspond with A&M personnel regarding safe deposit box opening


Steve Coverick        3/13/2023     0.6   Coordinate opening and handling of contents of safe deposit box in
                                          CA



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Cash Management
Professional                Date     Hours     Activity
David Johnston           3/14/2023     2.7   Review and analyze forecast cash outflows for European entities

David Johnston           3/14/2023     2.3   Review and analyze historical cash activity for European entities


David Nizhner            3/14/2023     2.2   Validate Dotcom bank withdrawals to rectify AWS discrepancies

Erik Taraba              3/14/2023     0.2   Coordinate with Cash Team and Company Finance Team re: recent
                                             payments to OCP
Erik Taraba              3/14/2023     0.5   Convert overseas OCP invoices to USD for further analysis


Erik Taraba              3/14/2023     0.4   Correspondence with K. Schultea (FTX) re: professional fee invoice
                                             questions
Erik Taraba              3/14/2023     2.6   Reconcile cash actuals as of 3/10/23 to filed invoices and fee
                                             applications and provide feedback to management
Erik Taraba              3/14/2023     0.4   Review docket and compile recently filed CNOs for approval of
                                             327(a) professional fee applications
Erik Taraba              3/14/2023     0.7   Input data from recently received invoices into professional fees
                                             forecast model
Gioele Balmelli          3/14/2023     0.6   Correspondence for the update of FTX Europe STCFF

Gioele Balmelli          3/14/2023     2.4   Update of FTX Europe statement of cash flows and prepare feedback
                                             for team
Gioele Balmelli          3/14/2023     0.3   Call with G. Balmelli (A&M), T. Luginbühl, E. Müller (L&S) on FTX
                                             Europe AG STCFF
Gioele Balmelli          3/14/2023     0.8   Call with G. Balmelli (A&M) and J. Bavaud (FTX) on FTX Europe
                                             payments
Gioele Balmelli          3/14/2023     1.2   Correspondence with L&S on FTX Europe STCFF


James Cooper             3/14/2023     0.4   Review latest weekly cash payment tracker and bank balances

James Cooper             3/14/2023     0.4   Review draft MOR cash sections


James Cooper             3/14/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly cash
                                             objectives
James Cooper             3/14/2023     0.7   Correspondence re: bank outreach to solicit additional options

James Cooper             3/14/2023     1.9   Working session with J. Cooper, S. Witherspoon (A&M) re: Japan
                                             bank balance reconciliation detail
James Cooper             3/14/2023     0.6   Review draft Japan and bank reconciliations

James Cooper             3/14/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: bank
                                             balance reconciliation
James Cooper             3/14/2023     1.2   Prepare for weekly board meeting re: bank exposure materials




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Cash Management
Professional                Date     Hours     Activity
James Cooper             3/14/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                             review and updates
Samuel Witherspoon       3/14/2023     1.3   Update transaction level detail for foreign customer withdrawals


Samuel Witherspoon       3/14/2023     1.5   Update weekly cash variance report with latest week actuals

Samuel Witherspoon       3/14/2023     0.3   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly cash
                                             objectives
Samuel Witherspoon       3/14/2023     0.7   Update UST petition date balances schedule with edits from internal
                                             team
Samuel Witherspoon       3/14/2023     1.9   Working session with J. Cooper, S. Witherspoon (A&M) re: Japan
                                             bank balance reconciliation detail
Samuel Witherspoon       3/14/2023     0.7   Review detailed petition date balances of brokerage accounts


Samuel Witherspoon       3/14/2023     1.8   Prepare foreign subsidiary bank reconciliation summary

Samuel Witherspoon       3/14/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: bank
                                             balance reconciliation
Samuel Witherspoon       3/14/2023     1.1   Update variance report for current custodial and unrestricted balances

Samuel Witherspoon       3/14/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: MOR
                                             review and updates
Steve Coverick           3/14/2023     0.6   Review and provide comments on bank surety bond analysis


Steve Coverick           3/14/2023     0.4   Correspond with FTX and A&M personnel regarding bank collateral
                                             issue
David Johnston           3/15/2023     3.1   FTX Europe AG cash and balance sheet analysis


David Johnston           3/15/2023     3.2   European entity cash and balance sheet analysis

David Johnston           3/15/2023     2.6   FTX EU Ltd cash and balance sheet analysis


David Johnston           3/15/2023     2.4   Prepare FTX Exchange FZE cash and balance sheet analysis

David Nizhner            3/15/2023     0.4   Discussion with J. Cooper, S. Witherspoon, D. Nizhner (A&M) re:
                                             cash deposits detail
David Nizhner            3/15/2023     2.8   Reconcile Japan cash balances for cash flow forecast


David Nizhner            3/15/2023     1.7   Review Japan cash balance reconciliation for various accounts

David Nizhner            3/15/2023     1.2   Review database for withdrawal / deposit information prior to meeting


Erik Taraba              3/15/2023     0.8   Import latest invoice data into professional fees forecast model




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Cash Management
Professional                Date     Hours     Activity
Erik Taraba              3/15/2023     0.6   Coordinate with counsel re: OCP status and approval process for
                                             pending professional fee invoices
Erik Taraba              3/15/2023     1.7   Refresh professional fees variance report and associated schedules
                                             with latest data
Gioele Balmelli          3/15/2023     0.8   Correspondence on FTX Europe payments

Gioele Balmelli          3/15/2023     2.2   Update of FTX Europe statement of cash flows and prepare feedback
                                             for team
Gioele Balmelli          3/15/2023     2.2   Update Invoice list FTX Europe entities


Henry Chambers           3/15/2023     1.6   Preparation of Singapore operations deck and associated cash
                                             transfer analysis
James Cooper             3/15/2023     0.9   Discussion with banking partner re: bank situation and alternative
                                             options
James Cooper             3/15/2023     0.4   Discussion with J. Cooper, S. Witherspoon, D. Nizhner (A&M) re:
                                             cash deposits detail
James Cooper             3/15/2023     0.6   Review AWS extract and identify next steps on validating transaction
                                             from bank data
James Cooper             3/15/2023     0.6   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly
                                             variance report
James Cooper             3/15/2023     1.8   Research and summarize latest updates re: treasury bill investment
                                             option
Kumanan Ramanathan       3/15/2023     0.6   Review wire information and correspond on clearing bank accounts


Nicole Simoneaux         3/15/2023     0.4   Review payment file payroll mapping

Samuel Witherspoon       3/15/2023     0.6   Discussion with J. Cooper, S. Witherspoon (A&M) re: weekly
                                             variance report
Samuel Witherspoon       3/15/2023     1.0   Update custodial cash reconciliation by bank account

Samuel Witherspoon       3/15/2023     0.4   Discussion with J. Cooper, S. Witherspoon, D. Nizhner (A&M) re:
                                             cash deposits detail
Samuel Witherspoon       3/15/2023     0.3   Analyze historical cash spend for other debtor professionals

Samuel Witherspoon       3/15/2023     0.9   Update cash reconciliation schedule with latest balances for Dotcom
                                             entities
Samuel Witherspoon       3/15/2023     1.8   Analyze currency impacts of bank balances


Samuel Witherspoon       3/15/2023     1.2   Finalize and distribute summary of custodial cash movements

Samuel Witherspoon       3/15/2023     1.3   Update cash reconciliation schedule with latest balances for Alameda
                                             entities
Samuel Witherspoon       3/15/2023     1.3   Update weekly variance report with additional commentary from A&M
                                             team




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Cash Management
Professional                Date     Hours     Activity
Samuel Witherspoon       3/15/2023     1.1   Summarize custodial cash movement in the Dotcom silo

Steve Coverick           3/15/2023     1.7   Research potential options for bank account and alternate cash
                                             management mechanisms
Alessandro Farsaci       3/16/2023     0.4   Meeting with G. Balmelli and A. Farsaci (A&M) on FTX Europe
                                             STCFF update
David Johnston           3/16/2023     2.3   Review of updated cash flow forecasts for FTX Europe

Ed Mosley                3/16/2023     0.9   Review of potential T-bills options for treasury function in response to
                                             board requests
Erik Taraba              3/16/2023     0.9   Research and provide feedback to Cash Team re: application of
                                             retainer amounts to professionals fee applications
Erik Taraba              3/16/2023     0.9   Develop additional checks into professional fees forecast model to
                                             account for invoices spanning multiple months
Erik Taraba              3/16/2023     0.4   Review docket, consolidate, and organize recently filed fee
                                             applications for further review and analysis
Erik Taraba              3/16/2023     0.5   Correspondence with M. Cilia (FTX) re: application of payments to
                                             OCP invoices
Erik Taraba              3/16/2023     0.6   Coordinate with Cash Team and Company Finance Team re: silo
                                             allocation for IT service provider invoices
Erik Taraba              3/16/2023     2.1   Import fee applications filed through 3/16/23 into professional fees
                                             forecast model and refresh schedules
Gioele Balmelli          3/16/2023     3.2   Update of FTX Europe statement of cash flows and prepare feedback
                                             for team
Gioele Balmelli          3/16/2023     0.4   Meeting with G. Balmelli and A. Farsaci (A&M) on FTX Europe
                                             STCFF update
Gioele Balmelli          3/16/2023     1.9   Preparation of FTX Europe STCFF alternative


Henry Chambers           3/16/2023     1.6   Preparation of Singapore operations deck and associated cash
                                             transfer analysis
James Cooper             3/16/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: bank risk
                                             and consideration presentation
James Cooper             3/16/2023     1.3   Update backup bank process materials to address internal comments

James Cooper             3/16/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             variance reporting
James Cooper             3/16/2023     1.4   Review FTX Japan customer withdrawal cash reconciliation


James Cooper             3/16/2023     0.6   Review weekly variance report distribution materials

James Cooper             3/16/2023     1.2   Prepare draft of treasury bill analysis materials


James Cooper             3/16/2023     0.3   Review weekly variance report distribution excel model




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Cash Management
Professional                Date     Hours     Activity
James Cooper             3/16/2023     2.6   Prepare draft of backup bank process update materials

James Cooper             3/16/2023     0.7   Analysis of treasury bill yields and comparison


James Lam                3/16/2023     1.9   Review the cash position and customer fiat deposits of Quoine Pte
                                             Ltd
Samuel Witherspoon       3/16/2023     0.8   Create external variance report to distribute to UCC

Samuel Witherspoon       3/16/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             variance reporting
Samuel Witherspoon       3/16/2023     1.2   Prepare foreign currency summary by bank account

Samuel Witherspoon       3/16/2023     1.4   Compile bank statement transaction detail for December 2022


Samuel Witherspoon       3/16/2023     1.3   Prepare and distribute cash flow summary to external parties

Samuel Witherspoon       3/16/2023     0.9   Compile bank statement transaction detail for January 2023


Samuel Witherspoon       3/16/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: bank risk
                                             and consideration presentation
Samuel Witherspoon       3/16/2023     0.7   Create illustrative cash analysis on treasury bill investments

Samuel Witherspoon       3/16/2023     1.1   Adjust cash variance report for customer fiat withdrawals


Samuel Witherspoon       3/16/2023     0.7   Update cash variance report commentary on professional fee cash
                                             burn
Steve Coverick           3/16/2023     0.5   Correspondence with A&M personnel regarding latest developments
                                             with bank accounts
Ed Mosley                3/17/2023     0.6   Review of cash variance reporting to UCC

Erik Taraba              3/17/2023     1.2   Review interim fee applications filed on 3/17/23 and reconcile
                                             amounts to professional fees forecast model and invoice tracking
                                             model
Erik Taraba              3/17/2023     0.6   Conduct analysis of 327(a) retained professional budget vs actual
                                             fees at request of management
Erik Taraba              3/17/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             forecast variance
Erik Taraba              3/17/2023     1.7   Update professional fees forecast model with interim fee application
                                             hearing dates and latest thinking re: holdback payment timing
Gioele Balmelli          3/17/2023     0.8   Finalization FTX Europe statement of cash flows

Gioele Balmelli          3/17/2023     2.9   Preparation alternative FTX Europe STCFF

Gioele Balmelli          3/17/2023     1.8   Hand-over STCFF with G. Balmelli and M. Schweinzer (A&M)




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Cash Management
Professional                Date     Hours     Activity
Gioele Balmelli          3/17/2023     1.4   Communication regarding alternative FTX Europe AG STCFF

Henry Chambers           3/17/2023     2.1   Preparation of Singapore operations deck and associated cash
                                             transfer analysis
James Cooper             3/17/2023     0.4   Review professional fee app and comparison against initial budgets

James Cooper             3/17/2023     0.6   Review bank listing to assess existing options for backup bank

James Cooper             3/17/2023     0.2   Call with A. Kranzley (S&C) re: bank update


James Cooper             3/17/2023     1.7   Update listing of bank outreach tracker

James Cooper             3/17/2023     0.3   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             forecast variance
James Cooper             3/17/2023     1.2   Prepare internal update materials re: bank process

James Cooper             3/17/2023     1.1   Call with M. Cilia (FTX) re: bank update and materials


James Cooper             3/17/2023     1.4   Update listing of broker outreach tracker

James Cooper             3/17/2023     1.2   Address follow-up questions re: backup bank process from M. Cilia
                                             (FTX)
Joachim Lubsczyk         3/17/2023     0.5   Review STCF FTX Europe before submission to US


Samuel Witherspoon       3/17/2023     1.2   Prepare professional fee accrual summary to prior cash flow forecast

Samuel Witherspoon       3/17/2023     2.0   Review and summarize bank transaction detail for foreign subsidiaries


Samuel Witherspoon       3/17/2023     0.7   Adjust professional fee accrual summary with edits from A&M team

Steve Coverick           3/17/2023     0.4   Review and provide comments on bank account options deck for
                                             board and CEO
Summer Li                3/17/2023     2.4   Close the December accounts of Quoine Pte in relation to cash
                                             balance
Erik Taraba              3/18/2023     1.6   Update professional fees forecast model with key dates from Fee
                                             Examiner correspondence
James Cooper             3/18/2023     1.6   Draft updates to back up bank and treasury bill materials


James Cooper             3/18/2023     0.9   Prepare internal update correspondence re: bank process

James Cooper             3/18/2023     0.7   Address internal comments re: backup bank and treasury bill
                                             materials
James Cooper             3/18/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: detailed
                                             bank reconciliation




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Cash Management
Professional                Date     Hours     Activity
Samuel Witherspoon       3/18/2023     1.3   Reconcile latest bank statements to February month end balances

Samuel Witherspoon       3/18/2023     2.8   Reconcile latest bank statements to December and January month
                                             end balances
Samuel Witherspoon       3/18/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: detailed
                                             bank reconciliation
Samuel Witherspoon       3/18/2023     1.6   Reconcile latest bank statements to November month end balances

Erik Taraba              3/19/2023     0.5   Review docket and update professional fee invoice tracker with latest
                                             data
James Cooper             3/19/2023     1.3   Draft slide to include for backup bank option

James Cooper             3/19/2023     0.9   Review materials and research backup bank option


Bridger Tenney           3/20/2023     1.2   Determine the entities that are paid through a US bank account

Caoimhe Corr             3/20/2023     3.1   Variance analysis EU entities STCFF


Cullen Stockmeyer        3/20/2023     0.6   Call with B. Bromberg, M. Dawson, M. Diaz, M. Gray (FTI), J.
                                             Cooper, E. Taraba, S. Witherspoon, C. Stockmeyer, E. Mosley (A&M)
                                             re: Cash variance and outstanding questions
David Nizhner            3/20/2023     0.4   Revise current budget for use in prep tracker

Ed Mosley                3/20/2023     2.1   Review of and provide comments to draft board presentation for
                                             banking options
Erik Taraba              3/20/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: review
                                             of professional fees forecast
Erik Taraba              3/20/2023     0.2   Research Ch 11 U.S.C. Sect 345-compliant deposits

Erik Taraba              3/20/2023     0.4   Input data from 327(a) retained professional fee application into
                                             professional fees forecast model and invoice tracker
Erik Taraba              3/20/2023     0.6   Update professional fees forecast model with latest foreign exchange
                                             rates
Erik Taraba              3/20/2023     0.7   Update professional fees forecast model with feedback from earlier
                                             call with Cash Team
Erik Taraba              3/20/2023     0.3   Coordinate with Cash Team re: updated forecast assumptions per
                                             Fee Examiner memo
Erik Taraba              3/20/2023     1.5   Develop holdback check functionality into professional fees forecast
                                             model to track payments of 327(a) retained professionals
Erik Taraba              3/20/2023     0.6   Call with B. Bromberg, M. Dawson, M. Diaz, M. Gray (FTI), J.
                                             Cooper, E. Taraba, S. Witherspoon, C. Stockmeyer, and E. Mosley
                                             (A&M) re: Cash variance and outstanding questions
Erik Taraba              3/20/2023     0.6   Research UST fee structure for incorporation into professional fees
                                             forecast model
Gioele Balmelli          3/20/2023     0.4   Correspondence for the update of FTX Europe STCFF



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Cash Management
Professional              Date     Hours     Activity
Jack Yan               3/20/2023     1.3   Summarize the cash balance held by Quoine Pte Ltd

James Cooper           3/20/2023     1.7   Prepare weekly PMO update materials for cash and liquidity
                                           workstream
James Cooper           3/20/2023     1.9   Draft updates to the backup bank and treasury bill board materials

James Cooper           3/20/2023     0.4   Follow up correspondence re: receipt of brokerage cash in FTX
                                           Europe
James Cooper           3/20/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: review
                                           of professional fees forecast
James Cooper           3/20/2023     1.2   Discussion with J. Cooper, S. Witherspoon (A&M) re: petition date
                                           cash reconciliation
James Cooper           3/20/2023     0.5   Prepare for weekly cash flow diligence call with FTI


James Cooper           3/20/2023     0.6   Address internal comments re: bank board materials

James Cooper           3/20/2023     0.6   Call with B. Bromberg, M. Dawson, M. Diaz, M. Gray (FTI), J.
                                           Cooper, E. Taraba, S. Witherspoon, C. Stockmeyer, and E. Mosley
                                           (A&M) re: Cash variance and outstanding questions
James Cooper           3/20/2023     0.6   Call with M. Cilia (FTX) re: bank update and materials


James Lam              3/20/2023     0.6   Review the change in cash balances of Quoine Pte Ltd

James Lam              3/20/2023     1.8   Consider the unrestricted cash balances of FTX Japan K.K


Johnny Gonzalez        3/20/2023     2.4   Develop a cash reconciliation from Petition Date for the UCC

Johnny Gonzalez        3/20/2023     0.2   Discuss cash reconciliation at Petition Date w/ J. Gonzalez and S.
                                           Witherspoon (A&M)
Samuel Witherspoon     3/20/2023     1.4   Reconcile foreign entity intercompany cash transactions for
                                           December 2022
Samuel Witherspoon     3/20/2023     1.4   Analyze historical payment information for foreign entities

Samuel Witherspoon     3/20/2023     0.2   Discuss cash reconciliation at Petition Date w/ J. Gonzalez and S.
                                           Witherspoon (A&M)
Samuel Witherspoon     3/20/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re: review
                                           of professional fees forecast
Samuel Witherspoon     3/20/2023     0.8   Summarize outstanding items on latest monthly cash reconciliation


Samuel Witherspoon     3/20/2023     1.3   Prepare and distribute questions regarding bank reconciliation
                                           adjustments
Samuel Witherspoon     3/20/2023     0.9   Update Japan entity foreign balances through February 2023

Samuel Witherspoon     3/20/2023     0.3   Update month end cash balances with latest statements




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Cash Management
Professional                 Date     Hours     Activity
Samuel Witherspoon        3/20/2023     1.2   Discussion with J. Cooper, S. Witherspoon (A&M) re: petition date
                                              cash reconciliation
Samuel Witherspoon        3/20/2023     0.6   Call with B. Bromberg, M. Dawson, M. Diaz, M. Gray (FTI), J.
                                              Cooper, E. Taraba, S. Witherspoon, C. Stockmeyer, and E. Mosley
                                              (A&M) re: Cash variance and outstanding questions
Samuel Witherspoon        3/20/2023     0.5   Update bank balances with latest month end statements


Samuel Witherspoon        3/20/2023     0.6   Communicate with internal team on cash bridging questions from the
                                              UCC
Samuel Witherspoon        3/20/2023     0.6   Review and prepare for weekly cash variance call


Adam Titus                3/21/2023     0.3   Call with J. Cooper, A. Titus, K. Ramanathan (A&M) to discuss cash
                                              receipts
Caoimhe Corr              3/21/2023     1.9   Prepare variance analysis EU entities short term cash flow

Chris Arnett              3/21/2023     0.5   Call with M. Cilia, D. Tollefson (RLKS), E. Taraba, S. Witherspoon, J.
                                              Cooper, K. Montague, and C. Arnett (A&M) re: weekly cash updates
Ed Mosley                 3/21/2023     1.1   Review of and prepare comments to draft of management update
                                              presentation regarding cash, bank reconciliation process, and crypto
Erik Taraba               3/21/2023     0.5   Call with M. Cilia, D. Tollefson (FTX), E. Taraba, S. Witherspoon, J.
                                              Cooper, K. Montague, and C. Arnett (A&M) re: weekly cash updates
Erik Taraba               3/21/2023     0.3   Update professional fees forecast model with updated data from
                                              327(a) professional firm
Erik Taraba               3/21/2023     0.2   Call with S. Witherspoon and E. Taraba (A&M) re: upcoming budget
                                              deliverables
Erik Taraba               3/21/2023     0.4   Review budget deliverables and develop structure of next iteration of
                                              schedules
Erik Taraba               3/21/2023     0.5   Refresh professional fees forecast model outputs using latest data

Erik Taraba               3/21/2023     0.6   Coordinate with 327(a) professional firm re: revised forecast for fees
                                              and expense
Erik Taraba               3/21/2023     1.8   Update professional fees forecast model to account for 328(a)
                                              retained professionals
Henry Chambers            3/21/2023     1.8   Attend to analysis and review of FTX Japan to Quoine PTE cash
                                              transfer issues
James Cooper              3/21/2023     0.8   Correspondence re: an additional bank up option

James Cooper              3/21/2023     0.4   Review weekly cash balance update tracker provided by RLKS


James Cooper              3/21/2023     0.5   Call with A. Titus and K. Ramanathan (A&M) re: long term cash
                                              receipts forecast
James Cooper              3/21/2023     0.5   Call with M. Cilia, D. Tollefson (FTX), E. Taraba, S. Witherspoon, J.
                                              Cooper, K. Montague, and C. Arnett (A&M) re: weekly cash updates
James Cooper              3/21/2023     0.6   Review weekly payment tracker provided by RLKS




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Cash Management
Professional                 Date     Hours     Activity
James Cooper              3/21/2023     0.9   Review initial draft of February IFU supporting excel files

James Cooper              3/21/2023     0.3   Call with J. Cooper, A. Titus, K. Ramanathan (A&M) to discuss cash
                                              receipts
James Cooper              3/21/2023     1.4   Prepare initial draft of high-level cash receipts forecast

James Cooper              3/21/2023     1.5   Review ventures cash receipts materials

James Cooper              3/21/2023     1.3   Prepare for weekly board meeting re: bank update and treasury bill


Katie Montague            3/21/2023     0.5   Call with M. Cilia, D. Tollefson (FTX), E. Taraba, S. Witherspoon, J.
                                              Cooper, K. Montague, and C. Arnett (A&M) re: weekly cash updates
Kumanan Ramanathan        3/21/2023     0.3   Call with J. Cooper, A. Titus, K. Ramanathan (A&M) to discuss cash
                                              receipts
Kumanan Ramanathan        3/21/2023     0.5   Call with A. Titus and K. Ramanathan, J. Cooper (A&M) regarding
                                              long term cash receipts forecast
Nicole Simoneaux          3/21/2023     2.1   Analyze contractor taxes and fees for cash breakdown


Nicole Simoneaux          3/21/2023     2.3   Reconcile payment tracker with cash actuals for payroll

Samuel Witherspoon        3/21/2023     0.4   Prepare and distribute payments tracker to internal team

Samuel Witherspoon        3/21/2023     0.8   Refresh weekly variance report with Budget 3 data


Samuel Witherspoon        3/21/2023     0.2   Call with S. Witherspoon and E. Taraba (A&M) re: upcoming budget
                                              deliverables
Samuel Witherspoon        3/21/2023     0.7   Refresh weekly cash balances with previous week end


Samuel Witherspoon        3/21/2023     0.5   Call with M. Cilia, D. Tollefson (FTX), E. Taraba, S. Witherspoon, J.
                                              Cooper, K. Montague, and C. Arnett (A&M) re: weekly cash updates
Samuel Witherspoon        3/21/2023     1.3   Update intercompany matrix with latest bank actuals data


Samuel Witherspoon        3/21/2023     1.4   Draft weekly variance report for previous week end

Samuel Witherspoon        3/21/2023     1.3   Adjust cash flow forecast based on variances to previous budget

Samuel Witherspoon        3/21/2023     1.6   Update payments tracker with latest bank actuals


Caoimhe Corr              3/22/2023     2.1   Prepare short term cash flow variance analysis

Chris Arnett              3/22/2023     0.4   Assist J. Cooper (A&M) re: cash impact of proposed KERP / KEIP on
                                              cash flow forecast
David Johnston            3/22/2023     1.6   Review updated short term cash forecasts for FTX EU Ltd




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Cash Management
Professional                Date     Hours     Activity
Ed Mosley                3/22/2023     1.1   Review of current banking options and yields from various options

Erik Taraba              3/22/2023     0.3   Input invoice data into professional fees forecast model and invoice
                                             tracker
Erik Taraba              3/22/2023     0.6   Complete monthly professionals fees variance report

Erik Taraba              3/22/2023     0.3   Make updates to professional fees variance report per feedback from
                                             Cash Team
Erik Taraba              3/22/2023     1.7   Develop weekly professional fees variance report


Erik Taraba              3/22/2023     2.2   Update professional fees forecast model to include non-debtor
                                             funding requirements
Erik Taraba              3/22/2023     1.2   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             invoice review process
Hudson Trent             3/22/2023     0.5   Call with J. Cooper, H. Trent, S. Witherspoon (A&M) re: subsidiary
                                             cash flow review
James Cooper             3/22/2023     1.2   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             invoice review process
James Cooper             3/22/2023     0.4   Correspondence and follow up re: backup bank for LedgerX

James Cooper             3/22/2023     2.4   Working session with J. Cooper, S. Witherspoon (A&M) re: weekly
                                             variance report adjustments
James Cooper             3/22/2023     0.2   Review cash management order to assess treatment of non-debtor
                                             cash transfers
James Cooper             3/22/2023     0.2   Correspondence re: FTX Turkey and Europe cash flow assumptions

James Cooper             3/22/2023     2.4   Call with M. Cilia, M. Concitis, D. Tollefson (FTX), J. Cooper, S.
                                             Witherspoon (A&M) re: February bank reconciliation
James Cooper             3/22/2023     0.2   Correspondence re: cash tax cash flow assumptions

James Cooper             3/22/2023     0.4   Discussion with C. Arnett and J. Cooper (A&M) re: cash impact of
                                             proposed KERP / KEIP on cash flow forecast
James Cooper             3/22/2023     0.4   Review February bank reconciliation draft

James Cooper             3/22/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re: updated
                                             cash flow forecast
James Cooper             3/22/2023     0.1   Correspondence re: KEIP/KERP cash flow assumptions


James Cooper             3/22/2023     0.5   Call with J. Cooper, H. Trent, S. Witherspoon (A&M) re: subsidiary
                                             cash flow review
Nicole Simoneaux         3/22/2023     2.2   Incorporate comments and updates on payroll cash forecast


Nicole Simoneaux         3/22/2023     1.9   Forecast headcount for payroll cash forecast




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Cash Management
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/22/2023     1.3   Bridge headcount from previous cash forecast

Samuel Witherspoon        3/22/2023     1.4   Input detailed transactions at foreign entities for bank actuals


Samuel Witherspoon        3/22/2023     1.1   Update consolidated cash forecast with latest thinking on subsidiary
                                              costs
Samuel Witherspoon        3/22/2023     1.5   Update weekly variance report with latest bank actuals

Samuel Witherspoon        3/22/2023     0.8   Update custodial cash summary for weekly variance reporting


Samuel Witherspoon        3/22/2023     2.4   Working session with J. Cooper, S. Witherspoon (A&M) re: weekly
                                              variance report adjustments
Samuel Witherspoon        3/22/2023     0.5   Call with J. Cooper, H. Trent, S. Witherspoon (A&M) re: subsidiary
                                              cash flow review
Samuel Witherspoon        3/22/2023     1.8   Refresh cash flow forecast with latest custodial cash movements

Samuel Witherspoon        3/22/2023     0.5   Update Japan daily balance tracker with fiat withdrawal data


Samuel Witherspoon        3/22/2023     2.4   Call with M. Cilia, M. Concitis, D. Tollefson (FTX), J. Cooper, S.
                                              Witherspoon (A&M) re: February bank reconciliation
Samuel Witherspoon        3/22/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re: updated
                                              cash flow forecast
Alessandro Farsaci        3/23/2023     0.3   Call with A. Farsaci, G. Balmelli, M. Schweinzer (A&M), J. Bavaud
                                              (FTX) to discuss 13 week cash flow
Caoimhe Corr              3/23/2023     1.1   Update variance analysis STCFF for all EU entities

Chris Arnett              3/23/2023     0.4   Review and comment on the weekly cash variance reporting


David Johnston            3/23/2023     2.8   Review balance sheets and historical cash activity for FTX Turkey

David Nizhner             3/23/2023     1.4   Create updated IT vendor forecast schedule


Ed Mosley                 3/23/2023     0.9   Review of and prepare comments to draft weekly cash variance
                                              report for the UCC
Erik Taraba               3/23/2023     2.0   Develop UST fee calculation and link to professional fees forecast
                                              model
Erik Taraba               3/23/2023     0.7   Update formatting and dynamic links for professional fees cash
                                              variance schedules
Erik Taraba               3/23/2023     0.3   Correspondence with Company Finance Team re: anticipated
                                              payment date for professional firm (J. Frank)
Erik Taraba               3/23/2023     0.9   Update professional fees forecast model with new checks for
                                              updated TWCF bridge
Gioele Balmelli           3/23/2023     2.9   Update of FTX Europe statement of cash flows and prepare feedback
                                              for team




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Cash Management
Professional              Date     Hours     Activity
Gioele Balmelli        3/23/2023     0.3   Call with A. Farsaci, G. Balmelli, M. Schweinzer (A&M), J. Bavaud
                                           (FTX) to discuss 13 week cash flow
Gioele Balmelli        3/23/2023     2.7   Update Invoice list FTX Europe entities


Gioele Balmelli        3/23/2023     2.6   Update alternative FTX Europe AG STCFF

James Cooper           3/23/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           adjustments to historical cash actuals
James Cooper           3/23/2023     0.4   Call with S. Coverick (A&M) re: treasury bill and cash flow matters


James Cooper           3/23/2023     0.9   Distribute weekly cash variance report to notice parties

James Cooper           3/23/2023     2.8   Review initial draft of weekly variance report and provide comments


James Cooper           3/23/2023     0.6   Correspondence re: backup bank for LedgerX

Matthias Schweinzer    3/23/2023     0.9   Review of current alternative 13 week cash flow


Matthias Schweinzer    3/23/2023     0.3   Call with A. Farsaci, G. Balmelli, M. Schweinzer (A&M), J. Bavaud
                                           (FTX) to discuss 13 week cash flow
Matthias Schweinzer    3/23/2023     2.8   Support update of 13 week cash flow

Nicole Simoneaux       3/23/2023     2.1   Refine cash forecast based on internal discussions


Samuel Witherspoon     3/23/2023     1.3   Update February bank reconciliation with new bank statements

Samuel Witherspoon     3/23/2023     1.3   Reconcile February external cash disbursements for interim financial
                                           update
Samuel Witherspoon     3/23/2023     0.8   Prepare and distribute IT vendor spend summary

Samuel Witherspoon     3/23/2023     0.6   Update cash flow forecast with vendor payments for unsoiled entities


Samuel Witherspoon     3/23/2023     1.5   Prepare and update draft of cash flow forecast presentation

Samuel Witherspoon     3/23/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                           adjustments to historical cash actuals
Samuel Witherspoon     3/23/2023     1.0   Update professional fee cash flow inputs


Samuel Witherspoon     3/23/2023     1.0   Update cash flow forecast with Europe subsidiary forecast

Samuel Witherspoon     3/23/2023     1.8   Update cash flow forecast bridge to previous budget


Steve Coverick         3/23/2023     0.8   Review and provide comments on cash variance report for w/e 3/17




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Cash Management
Professional                Date     Hours     Activity
David Johnston           3/24/2023     2.8   Review short term cash scenarios for European entities

David Johnston           3/24/2023     2.4   Review latest cash flow forecasts for FTX Europe


David Johnston           3/24/2023     2.9   Analysis of latest balance sheet and cash flow information for
                                             potential recoveries
Erik Taraba              3/24/2023     0.8   Update professional fees forecast model per outputs of 3/24 meeting

Erik Taraba              3/24/2023     0.8   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             forecast refresh for Budget 4
Erik Taraba              3/24/2023     1.2   Update timing of professional fees payments based on actuals to-date

Erik Taraba              3/24/2023     1.1   Call with S. Witherspoon and E. Taraba (A&M) re: professional fees
                                             forecast for Budget 4
Erik Taraba              3/24/2023     0.5   Develop schedules to facilitate outreach for updates to professional
                                             fees forecast
Erik Taraba              3/24/2023     0.7   Update professional fees variance overlay per outputs of 3/24
                                             meeting
Erik Taraba              3/24/2023     0.6   Update professional fees forecast model with feedback from
                                             professional firms
Erik Taraba              3/24/2023     0.6   Conduct outreach to various professional firms re: updates to
                                             forecast fees and expenses to support Budget 4
Gioele Balmelli          3/24/2023     2.6   Update alternative FTX Europe AG STCFF


Jack Yan                 3/24/2023     1.0   Understand the cash and crypto balance status of PT Triniti
                                             Investama Berkat
Jack Yan                 3/24/2023     1.7   Prepare deck preparation to include the details of cash and crypto
                                             balance status of PT Triniti Investama Berkat
James Cooper             3/24/2023     0.8   Call with J. Cooper and E. Taraba (A&M) re: professional fees
                                             forecast refresh for Budget 4
James Cooper             3/24/2023     1.4   Correspondence re: professional fee forecast updates


James Cooper             3/24/2023     0.2   Correspondence re: backup bank for LedgerX

James Cooper             3/24/2023     1.2   Review FTX Europe updated weekly cash flow forecast

James Cooper             3/24/2023     0.4   Review Modulo settlement motion and internal correspondence re:
                                             cash flow assumptions
James Cooper             3/24/2023     2.6   Review draft of weekly cash flow forecast for Budget 4

James Cooper             3/24/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: cash forecast
                                             objectives
James Cooper             3/24/2023     0.6   Review custodial foreign cash schedule




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Cash Management
Professional            Date     Hours     Activity
James Cooper         3/24/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                         forecast walkthrough
Nicole Simoneaux     3/24/2023     0.8   Address outstanding items from cash team on payroll forecast


Nicole Simoneaux     3/24/2023     1.5   Update cash deck with employee forecast data

Nicole Simoneaux     3/24/2023     1.8   Create variance report for cash forecast

Nicole Simoneaux     3/24/2023     1.4   Analyze employee bridge for rationalization of changes


Nicole Simoneaux     3/24/2023     2.1   Review payroll actuals for variance analysis and cash flow mapping

Nicole Simoneaux     3/24/2023     0.3   Call with S. Witherspoon and N. Simoneaux (A&M) re: refining payroll
                                         cash forecast and outstanding items
Samuel Witherspoon   3/24/2023     0.4   Refresh intercompany summary outputs for cash flow forecast
                                         presentation
Samuel Witherspoon   3/24/2023     1.1   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                         forecast walkthrough
Samuel Witherspoon   3/24/2023     1.7   Update cash flow forecast materials with latest silo budgets

Samuel Witherspoon   3/24/2023     1.7   Update cash flow forecast with reconciled payroll figures

Samuel Witherspoon   3/24/2023     1.2   Review and update foreign subsidiary payroll timing assumptions


Samuel Witherspoon   3/24/2023     0.3   Call with S. Witherspoon and N. Simoneaux (A&M) re: refining payroll
                                         cash forecast and outstanding items
Samuel Witherspoon   3/24/2023     0.4   Update cash flow forecast with latest cash receipts


Samuel Witherspoon   3/24/2023     1.1   Call with S. Witherspoon and E. Taraba (A&M) re: professional fees
                                         forecast for budget 4
Samuel Witherspoon   3/24/2023     1.3   Update cash flow forecast with latest assumptions regarding
                                         intercompany funding
Samuel Witherspoon   3/24/2023     1.3   Analyze intercompany funding requirements of Dotcom entities

Samuel Witherspoon   3/24/2023     0.6   Update cash flow forecast materials with professional fee by firm

Samuel Witherspoon   3/24/2023     0.6   Update bridge analysis of Budget 4 to Budget 3 cash flow forecast


Samuel Witherspoon   3/24/2023     0.3   Call with J. Cooper, S. Witherspoon (A&M) re: cash forecast
                                         objectives
James Cooper         3/25/2023     0.7   Draft materials re: conversion of foreign custodial cash


James Cooper         3/25/2023     1.3   Draft cash flow forecast presentation materials for Budget 4




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Cash Management
Professional                Date     Hours     Activity
James Cooper             3/25/2023     1.6   Prepare analysis and research re: conversion of foreign custodial
                                             cash
Erik Taraba              3/26/2023     0.2   Update professional fees variance overlay with refreshed data from
                                             forecast model
Erik Taraba              3/26/2023     0.3   Update professional fees forecast model with latest feedback from
                                             professional firms
James Cooper             3/26/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             forecast presentation review
James Cooper             3/26/2023     1.4   Draft materials re: conversion of foreign custodial cash


Samuel Witherspoon       3/26/2023     1.3   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             forecast presentation review
Samuel Witherspoon       3/26/2023     1.1   Reconcile cash balances from prior to current forecast


Samuel Witherspoon       3/26/2023     0.7   Update intercompany funding summary outputs

Samuel Witherspoon       3/26/2023     2.3   Analyze cash forecast for vendor spend and professional fees


Aly Helal                3/27/2023     1.9   Update the Cash Tracker with new Deltec Bank coverage statements

David Nizhner            3/27/2023     0.4   Update FX rate tracker and distribute to internal team

David Nizhner            3/27/2023     1.1   Reconcile Japan cash balances for cash flow forecast


Ed Mosley                3/27/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                             Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                             Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                             matters
Ed Mosley                3/27/2023     1.1   Review of and prepare comments to draft presentation to board of
                                             directors regarding foreign currency exchange risk and mitigation
                                             options
Ed Mosley                3/27/2023     0.3   Call with E. Mosley, J. Cooper (A&M), A. Kranzley and B. Glueckstein
                                             (Both S&C) re: treasury bill alternative
Erik Taraba              3/27/2023     0.4   Conduct outreach to workstream leads re: professional firm analysis
                                             variances
Erik Taraba              3/27/2023     0.4   Update professional fees forecast model with data from invoices
                                             received on 3/25 and 3/26
Erik Taraba              3/27/2023     0.3   Adjust timing of professional fee payments to reflect latest thinking
                                             and assumptions
Erik Taraba              3/27/2023     0.3   Call with E. Taraba and J. Cooper (A&M) re: preparation of fee
                                             analysis for management
Erik Taraba              3/27/2023     1.4   Update professional firm analysis with feedback from workstream
                                             leadership
Erik Taraba              3/27/2023     0.5   Update slides for weekly cash meeting with Company Finance Team
                                             and A&M Cash and Vendor Management Teams



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Cash Management
Professional                Date     Hours     Activity
Erik Taraba              3/27/2023     0.5   Update schedules for February Interim Financial Update

Erik Taraba              3/27/2023     0.6   Update professional firm analysis slides with February data, format,
                                             and add commentary
Erik Taraba              3/27/2023     0.5   Call with E. Taraba and J. Cooper (A&M) re: review of fee analysis
                                             for management
Erik Taraba              3/27/2023     0.2   Update foreign exchange rates in professional fees forecast model

Erik Taraba              3/27/2023     2.9   Develop consolidated analysis for professional firm fees for
                                             management
James Cooper             3/27/2023     0.5   Call with E. Taraba and J. Cooper (A&M) re: review of fee analysis
                                             for management
James Cooper             3/27/2023     0.7   Prepare for call re: treasury bills with FTI


James Cooper             3/27/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                             Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                             Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                             matters
James Cooper             3/27/2023     0.3   Call with E. Mosley (A&M), A. Kranzley and B. Glueckstein (Both
                                             S&C) re: treasury bill alternative
James Cooper             3/27/2023     0.7   Prepare updates to high-level cash receipts forecast for capital
                                             planning
James Cooper             3/27/2023     1.2   Address internal comments foreign custodial cash presentation

James Cooper             3/27/2023     0.3   Call with B. Bromberg, M. Dawson, M. Gray (FTI), S. Coverick, L.
                                             Callerio, J. Cooper, E. Taraba, S. Witherspoon (A&M) re: Cash
                                             variance and outstanding questions
James Cooper             3/27/2023     1.5   Review and draft updates to professional fee firm analysis


James Cooper             3/27/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: FBO Cash Request deck

James Cooper             3/27/2023     0.3   Call with N. Nussbaum (PWP) re: cash receipts forecast

James Cooper             3/27/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                             workstream objectives
James Cooper             3/27/2023     0.8   Prepare for weekly cash flow diligence call with FTI

James Cooper             3/27/2023     1.7   Draft updates and distribute foreign custodial cash presentation


James Cooper             3/27/2023     0.6   Correspondence re: foreign custodial cash conversion

James Cooper             3/27/2023     0.3   Call with E. Taraba and J. Cooper (A&M) re: preparation of fee
                                             analysis for management
James Cooper             3/27/2023     2.3   Review February interim financial update and provide comments




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Cash Management
Professional             Date     Hours     Activity
Kumanan Ramanathan    3/27/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                          Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                          Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                          matters
Lorenzo Callerio      3/27/2023     0.3   Call with B. Bromberg, M. Dawson, M. Gray (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, E. Taraba, S. Witherspoon (A&M) re: Cash
                                          variance and outstanding questions
Lorenzo Callerio      3/27/2023     0.3   Call with J. Cooper and L. Callerio (A&M) re: FBO Cash Request deck

Matthias Schweinzer   3/27/2023     1.6   Correspondence for the update of FTX Europe STCFF


Nicole Simoneaux      3/27/2023     1.3   Incorporate comments to cash forecast deck and analysis

Samuel Witherspoon    3/27/2023     0.3   Call with B. Bromberg, M. Dawson, M. Gray (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, E. Taraba, S. Witherspoon (A&M) re: Cash
                                          variance and outstanding questions
Samuel Witherspoon    3/27/2023     1.1   Reconcile custodial cash balances with latest customer withdrawal
                                          data
Samuel Witherspoon    3/27/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                          workstream objectives
Samuel Witherspoon    3/27/2023     1.3   Summarize February month end cash balances for interim financial
                                          update
Samuel Witherspoon    3/27/2023     1.7   Analyze quarterly receipts forecast to inform the thirteen week cash
                                          flow
Samuel Witherspoon    3/27/2023     0.6   Update cash flow forecast professional fee summary materials


Samuel Witherspoon    3/27/2023     0.8   Update cash variance report with commentary from external parties

Samuel Witherspoon    3/27/2023     0.3   Adjust timing of other operating disbursements in the thirteen week
                                          period
Samuel Witherspoon    3/27/2023     1.3   Summarize February external disbursements for interim financial
                                          update
Samuel Witherspoon    3/27/2023     1.3   Refresh February interim financial update presentation materials

Samuel Witherspoon    3/27/2023     1.3   Refresh thirteen week cash flow budget 4 materials


Samuel Witherspoon    3/27/2023     0.6   Update intercompany matrix with latest intrasilo funding assumptions

Steve Coverick        3/27/2023     0.3   Prepare questions for call re: weekly cash variance analysis


Steve Coverick        3/27/2023     0.3   Call with B. Bromberg, M. Dawson, M. Gray (FTI), S. Coverick, L.
                                          Callerio, J. Cooper, E. Taraba, S. Witherspoon (A&M) re: Cash
                                          variance and outstanding questions
Steve Coverick        3/27/2023     1.3   Review and provide comments on FBO cash analysis for UCC




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Cash Management
Professional                 Date     Hours     Activity
Steve Coverick            3/27/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                              Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                              Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                              matters
Aly Helal                 3/28/2023     2.3   Populate the Cash Tracker with new Deltec Bank coverage
                                              statements
Chris Arnett              3/28/2023     0.3   Call with M. Cilia, (FTX), E. Taraba, S. Witherspoon, J. Cooper, K.
                                              Montague, and C. Arnett (A&M) re: weekly cash updates
Chris Arnett              3/28/2023     0.6   Review and comment on periodic financial update and associated
                                              back up
Erik Taraba               3/28/2023     0.3   Make additional updates to detailed professional firm fee analysis
                                              including additional data provided by leadership
Erik Taraba               3/28/2023     0.3   Conduct outreach to Company Finance Team re: certain payments in
                                              3/24 cash actuals
Erik Taraba               3/28/2023     0.3   Call with M. Cilia, (FTX), E. Taraba, S. Witherspoon, J. Cooper, K.
                                              Montague, and C. Arnett (A&M) re: weekly cash updates
Erik Taraba               3/28/2023     0.4   Update Interim Financial Update schedules to reflect appropriate silo
                                              allocation of Director's Fees
Erik Taraba               3/28/2023     0.4   Coordinate with counsel and Company Finance Team re: inputs to
                                              February Interim Financial Update
Erik Taraba               3/28/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: review of and feedback
                                              on professional firm detailed fee analysis for management
Erik Taraba               3/28/2023     0.3   Update professional fees forecast model with updated forecasts from
                                              select professional firms
Erik Taraba               3/28/2023     0.3   Update February Interim Financial Update schedules per feedback
                                              from Company Finance team and workstream leadership
Erik Taraba               3/28/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                              (A&M) re: review of February's Interim Financial Update
Erik Taraba               3/28/2023     0.4   Update professional fees review model to allocate Director's Fees
                                              according to appropriate silo
Erik Taraba               3/28/2023     1.2   Review cash actuals as of 3/24 and reconcile to professional fees
                                              forecast model anticipated payments
Erik Taraba               3/28/2023     0.6   Refine checks in professional fees forecast model to account for
                                              changes requested by leadership
Erik Taraba               3/28/2023     0.8   Update February Interim Financial Update schedules per feedback
                                              from counsel and Company Finance leadership
Erik Taraba               3/28/2023     0.8   Update professional fees forecast model per feedback from
                                              Company Finance team leadership
Erik Taraba               3/28/2023     0.4   Update detailed professional firm fee analysis per feedback from
                                              project leadership and revert with updated deliverables
Gioele Balmelli           3/28/2023     2.3   Extension FTX Europe AG statement of cash flows


James Cooper              3/28/2023     0.3   Call with M. Cilia, (FTX), E. Taraba, S. Witherspoon, J. Cooper, K.
                                              Montague, and C. Arnett (A&M) re: weekly cash updates
James Cooper              3/28/2023     0.4   Call with J. Cooper and E. Taraba (A&M) re: review of and feedback
                                              on professional firm detailed fee analysis for management

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Cash Management
Professional             Date     Hours     Activity
James Cooper          3/28/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: treasury
                                          bill analysis
James Cooper          3/28/2023     0.8   Call with M. Cilia (FTX) re: treasury bill option analysis and tiered
                                          allocation
James Cooper          3/28/2023     2.4   Draft treasury bill option analysis materials

James Cooper          3/28/2023     1.4   Review and address comments to February interim financial update

James Cooper          3/28/2023     1.3   Prepare analysis of yield comparison for treasury bill option analysis


James Cooper          3/28/2023     0.9   Review updated deposit rate and additional information provided by
                                          bank
James Cooper          3/28/2023     0.7   Address internal comments re: treasury bill option analysis


James Cooper          3/28/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                          (A&M) re: review of February's Interim Financial Update
James Cooper          3/28/2023     1.9   Review working draft of cash flow forecast update for Budget 4 and
                                          provide comments
James Cooper          3/28/2023     0.4   Prepare notes for call re: review of February's Interim Financial
                                          Update
James Cooper          3/28/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                          Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                          Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                          matters
Katie Montague        3/28/2023     0.3   Call with M. Cilia, (FTX), E. Taraba, S. Witherspoon, J. Cooper, K.
                                          Montague, and C. Arnett (A&M) re: weekly cash updates
Kumanan Ramanathan    3/28/2023     0.6   Call with E. Gilad (PH), S. Coverick, E. Mosley, K. Ramanathan, J.
                                          Cooper (S&C), B. Glueckstein, A. Kranzley, J. Croke (S&C), J. de
                                          Brignac, F. Risler (FTI) and J. Ray, M. Cilia (FTX) to discuss banking
                                          matters
Matthias Schweinzer   3/28/2023     0.9   Correspondence (follow-ups) for the update of FTX Europe STCFF


Nicole Simoneaux      3/28/2023     2.1   Create Interim Financial Update payroll breakdown

Nicole Simoneaux      3/28/2023     1.7   Compile payroll forecast detail for Interim Financial Update


Nicole Simoneaux      3/28/2023     1.3   Review invoices for Interim Financial Update payroll analysis

Samuel Witherspoon    3/28/2023     0.3   Call with M. Cilia, (FTX), E. Taraba, S. Witherspoon, J. Cooper, K.
                                          Montague, and C. Arnett (A&M) re: weekly cash updates
Samuel Witherspoon    3/28/2023     0.5   Prepare and distribute weekly cash meeting materials

Samuel Witherspoon    3/28/2023     0.6   Update backup materials for February interim financial update

Samuel Witherspoon    3/28/2023     1.2   Update interim financial update with changes to professional fee
                                          summary


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Cash Management
Professional                 Date     Hours     Activity
Samuel Witherspoon        3/28/2023     1.2   Working session with J. Cooper, S. Witherspoon (A&M) re: treasury
                                              bill analysis
Samuel Witherspoon        3/28/2023     1.3   Review and update weekly payments tracker with previous week's
                                              data
Samuel Witherspoon        3/28/2023     1.3   Update bank balances with intercompany transactions as of previous
                                              week's end
Samuel Witherspoon        3/28/2023     0.6   Update cash flow forecast with latest interest income assumptions

Samuel Witherspoon        3/28/2023     0.6   Prepare and distribute draft of February interim financial update


Samuel Witherspoon        3/28/2023     0.6   Prepare materials for weekly cash variance report

Samuel Witherspoon        3/28/2023     0.8   Update weekly cash variance report for prior period payments


Samuel Witherspoon        3/28/2023     0.7   Update interim financial update February presentation with external
                                              team edits
Samuel Witherspoon        3/28/2023     1.5   Update and refresh Treasury bill yield analysis with latest
                                              assumptions
Samuel Witherspoon        3/28/2023     1.0   Update interim financial update with edits from internal team

Samuel Witherspoon        3/28/2023     0.4   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                              (A&M) re: review of February's Interim Financial Update
Aly Helal                 3/29/2023     2.2   Update the Cash Tracker with new Deltec Bank coverage statements


Bas Fonteijne             3/29/2023     2.1   Prepare analysis of cash actuals for European payroll

Caoimhe Corr              3/29/2023     3.1   Prepare cash outflow actuals European priority entities


Caoimhe Corr              3/29/2023     1.9   Prepare cash outflow forecast European priority entities

Chris Arnett              3/29/2023     0.7   Continue review and comment re: periodic financial update and
                                              associated back-up
Chris Arnett              3/29/2023     0.3   Call with C. Arnett, J. Cooper, S. Witherspoon (A&M) re: February IFU

David Slay                3/29/2023     0.3   Working session with S. Witherspoon & D. Slay (A&M) re: recovery
                                              analysis cash treatment
Ed Mosley                 3/29/2023     2.0   Review of FBO cash presentation for management and eventually
                                              the UCC
Ed Mosley                 3/29/2023     1.8   Review of and prepare comments to draft presentation of treasury
                                              options for management and UCC
Ed Mosley                 3/29/2023     0.4   Discussion with D. Johnston (A&M) regarding FTX EU cash forecast
                                              adjustments regarding local payments
Erik Taraba               3/29/2023     0.8   Call with J. Cooper and E. Taraba (A&M) re: review of professional
                                              fee budget




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Cash Management
Professional                Date     Hours     Activity
Erik Taraba              3/29/2023     0.3   Update check formulas in professional fees forecast model to capture
                                             new payment timing changes
Erik Taraba              3/29/2023     0.4   Update February Interim Financial Update schedules per additional
                                             feedback from counsel
Erik Taraba              3/29/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                             professional firms forecast for Budget 4
Erik Taraba              3/29/2023     0.7   Update professional fees schedules for February Interim Financial
                                             Update per feedback from various stakeholders
Erik Taraba              3/29/2023     0.2   Research and respond to question from Company Finance Team
                                             leadership re: February Interim Financial Update presentation
Erik Taraba              3/29/2023     0.6   Update timing of forecast OCP payments based on updated OCP
                                             status list
Erik Taraba              3/29/2023     0.6   Update professional fees forecast model with feedback from call
                                             discussing Budget 4
Erik Taraba              3/29/2023     0.6   Review docket and update filing dates for professional firms with
                                             Certificates of No Objection filed through 3/28/23
Erik Taraba              3/29/2023     0.5   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                             (A&M) re: review of Budget 4
Erik Taraba              3/29/2023     1.2   Adjust timing of investment bank payments per feedback from
                                             Company Finance Team
Erik Taraba              3/29/2023     0.4   Coordinate with A. Kranzley (S&C) and M. Cilia (FTX) re:
                                             professional fee inclusions for February Interim Financial Update
Gioele Balmelli          3/29/2023     0.6   Review FTX Europe statement of cash flows and prepare discussion
                                             topics for internal team
Gioele Balmelli          3/29/2023     0.6   Call with G. Balmelli and M. Schweinzer (A&M) to review STCFF

James Cooper             3/29/2023     0.3   Call with C. Arnett and S. Witherspoon (A&M) re: February IFU


James Cooper             3/29/2023     1.2   Review latest draft of cash flow forecast and professional fee forecast
                                             materials for Budget 4
James Cooper             3/29/2023     1.6   Draft updates to treasury bill option analysis materials


James Cooper             3/29/2023     0.2   Distribute treasury bill option analysis to FTI

James Cooper             3/29/2023     0.3   Review and follow-ups re: treasury bill yield rates provided by bank

James Cooper             3/29/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                             presentation materials
James Cooper             3/29/2023     0.5   Address internal comments re: cash flow forecast for Budget 4

James Cooper             3/29/2023     0.8   Call with J. Cooper, E. Taraba, S. Witherspoon (A&M) re: review of
                                             professional fee budget
James Cooper             3/29/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                             professional firms forecast for Budget 4




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Cash Management
Professional             Date     Hours     Activity
James Cooper          3/29/2023     0.5   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                          (A&M) re: review of Budget 4
Mark vanden Belt      3/29/2023     0.8   Prepare analysis on cash forecast - other European entities


Mark vanden Belt      3/29/2023     2.1   Prepare analysis on cash actuals - Turkish entities

Mark vanden Belt      3/29/2023     2.2   Prepare analysis on cash forecast - Turkish entities

Mark vanden Belt      3/29/2023     1.1   Prepare analysis on cash actuals - other European entities


Mark vanden Belt      3/29/2023     0.9   Prepare analysis on cash forecast - Singapore entities

Mark vanden Belt      3/29/2023     0.9   Prepare analysis on cash actuals - Singapore entities


Matthias Schweinzer   3/29/2023     2.9   Update of FTX Europe statement of cash flows and discuss changes
                                          with internal team
Matthias Schweinzer   3/29/2023     3.1   Update alternative FTX Europe AG STCFF


Matthias Schweinzer   3/29/2023     0.6   Call with G. Balmelli and M. Schweinzer (A&M) to review STCFF

Matthias Schweinzer   3/29/2023     1.4   Update Invoice list FTX Europe entities

Nicole Simoneaux      3/29/2023     1.7   Perform insiders analysis for payroll cash forecast


Samuel Witherspoon    3/29/2023     0.4   Adjust payroll headcount summaries in cash flow forecast materials

Samuel Witherspoon    3/29/2023     1.3   Update and distribute draft of latest cash flow budget


Samuel Witherspoon    3/29/2023     0.5   Update cash forecast model with timing adjustments of debtor
                                          professionals
Samuel Witherspoon    3/29/2023     0.8   Update cash balances with newly identified accounts


Samuel Witherspoon    3/29/2023     0.3   Working session with S. Witherspoon & D. Slay (A&M) re: recovery
                                          analysis cash treatment
Samuel Witherspoon    3/29/2023     0.8   Call with J. Cooper, S. Witherspoon, and E. Taraba (A&M) re:
                                          professional firms forecast for Budget 4
Samuel Witherspoon    3/29/2023     0.5   Call with M. Cilia (FTX), J. Cooper, S. Witherspoon, and E. Taraba
                                          (A&M) re: review of Budget 4
Samuel Witherspoon    3/29/2023     1.6   Update interim financial update with edits from FTX and S&C teams

Samuel Witherspoon    3/29/2023     0.6   Working session with J. Cooper, S. Witherspoon (A&M) re: cash flow
                                          presentation materials
Samuel Witherspoon    3/29/2023     0.3   Call with C. Arnett and S. Witherspoon (A&M) re: February IFU




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Cash Management
Professional                 Date     Hours     Activity
Samuel Witherspoon        3/29/2023     0.9   Prepare weekly variance report commentary for operating cash flow

Samuel Witherspoon        3/29/2023     2.4   Analyze weekly cumulative variances at the Dotcom and WRS silos


Samuel Witherspoon        3/29/2023     1.6   Prepare and distribute responses to questions about February interim
                                              financial update
Samuel Witherspoon        3/29/2023     1.5   Analyze interim financial update with professional fee summaries

Samuel Witherspoon        3/29/2023     1.0   Prepare weekly variance report commentary for non-operating cash
                                              flow
Aly Helal                 3/30/2023     2.6   Update A&M's Cash Tracker with new Deltec Bank coverage
                                              statements
Caoimhe Corr              3/30/2023     1.9   Analyze and review Turkish cash position


Chris Arnett              3/30/2023     0.4   Review final draft of the February Interim Financial Update

Chris Arnett              3/30/2023     0.8   Review and comment on latest 13 week budget and associated
                                              analysis
David Johnston            3/30/2023     1.7   Review FTX Europe AG cash forecasts and scenarios

Ed Mosley                 3/30/2023     1.1   Review of and prepare comments to updated cash forecast for
                                              submission to the UCC (Budget 4)
Ed Mosley                 3/30/2023     0.7   Review of and prepare comments to draft weekly cash variance
                                              report for the UCC for week ending 3/24
Erik Taraba               3/30/2023     0.3   Coordinate with Cash Team and Company Finance Team re:
                                              February Interim Financial Update materials
Erik Taraba               3/30/2023     0.3   Adjust timing of IT consultant payments in professional fees forecast
                                              model per feedback from workstream leadership
Erik Taraba               3/30/2023     0.2   Update professional fees forecast model per outputs from earlier call
                                              with Cash Team re: updating variance analysis
Erik Taraba               3/30/2023     0.2   Call with S. Witherspoon and E. Taraba re: variance analysis for
                                              Budget 4
Erik Taraba               3/30/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: update of professional
                                              fees forecast for Budget 4
Erik Taraba               3/30/2023     0.2   Update professional fees forecast summary schedules per direction
                                              from Cash Team
Erik Taraba               3/30/2023     0.4   Update February Interim Financial Update schedules with additional
                                              line items related to investment banking fees
Erik Taraba               3/30/2023     0.4   Develop variance schedule for UCC fees from Budget 3 to Budget 4

Erik Taraba               3/30/2023     0.3   Update professional fees forecast model with outputs from call re:
                                              Budget 4
James Cooper              3/30/2023     0.7   Prepare summary of cash balances for PWP




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Cash Management
Professional             Date     Hours     Activity
James Cooper          3/30/2023     2.3   Review and finalize cash flow budget 4 materials

James Cooper          3/30/2023     0.4   Address internal comments re: weekly cash variance report


James Cooper          3/30/2023     0.2   Call with J. Cooper and E. Taraba (A&M) re: update of professional
                                          fees forecast for Budget 4
James Cooper          3/30/2023     0.7   Review DIG motion for research on interest calculation analysis

James Cooper          3/30/2023     0.3   Correspondence re: cash receipt of Sequoia funds


James Cooper          3/30/2023     0.3   Correspondence re: FTX Europe and Cyprus cash treatment

James Cooper          3/30/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                          forecasting and cash variance reporting
James Cooper          3/30/2023     1.6   Review draft of weekly cash variance report and provide comments

Matthias Schweinzer   3/30/2023     3.1   Update alternative FTX Europe AG STCFF


Nicole Simoneaux      3/30/2023     1.1   Provide payroll & benefits allocations for interim financial update

Nicole Simoneaux      3/30/2023     2.4   Prepare invoice breakdowns for interim financial update

Samuel Witherspoon    3/30/2023     0.6   Update weekly variance report with commentary from internal team


Samuel Witherspoon    3/30/2023     1.6   Working session with J. Cooper, S. Witherspoon (A&M) re: cash
                                          forecasting and cash variance reporting
Samuel Witherspoon    3/30/2023     0.2   Call with S. Witherspoon and E. Taraba re: variance analysis for
                                          Budget 4
Samuel Witherspoon    3/30/2023     1.5   Prepare and distribute final draft of budget 4 cash flow

Samuel Witherspoon    3/30/2023     1.6   Adjust forecast for latest thinking on debtor professionals


Samuel Witherspoon    3/30/2023     0.8   Communicate with internal team on latest professional fee forecast

Samuel Witherspoon    3/30/2023     1.2   Implement payments updates to February Interim Financial Update

Samuel Witherspoon    3/30/2023     0.7   Prepare and distribute draft of weekly variance report


Samuel Witherspoon    3/30/2023     0.8   Create interest income schedule on promissory note

Steve Coverick        3/30/2023     1.3   Review and provide comments on updated cash budget


Steve Coverick        3/30/2023     0.8   Review and provide comments on cash variance report for w/e 3/24




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Cash Management
Professional                Date     Hours     Activity
Caoimhe Corr             3/31/2023     2.9   Analyze STCFF Non-European entities

Caoimhe Corr             3/31/2023     3.1   Prepare analysis of short term cash forecast for Europe


David Johnston           3/31/2023     2.6   Review updated short term cash forecast for FTX Europe

Ed Mosley                3/31/2023     0.3   Participate in teleconference with M. Diaz and F. Risler (FTI), E.
                                             Mosley, S. Coverick, J. Cooper (A&M) re: cash management strategy
Erik Taraba              3/31/2023     0.3   Adjust professional fees inputs to February Interim Financial Update
                                             per feedback from counsel
Erik Taraba              3/31/2023     0.3   Input OCP invoice data into professional fees forecast model for
                                             invoices received through 3/31
Erik Taraba              3/31/2023     0.6   Update professional fees forecast model advisor list with updated
                                             OCPs and associated status and descriptions
Erik Taraba              3/31/2023     0.2   Call with A. Searles (AlixPartners) re: updating professional fees
                                             forecast for next budget period
James Cooper             3/31/2023     0.2   Distribute DIG interest calculation


James Cooper             3/31/2023     1.6   Review and provide comments re: DIG interest calculation

James Cooper             3/31/2023     1.1   Review final draft of February IFU for distribution

James Cooper             3/31/2023     0.4   Prepare for call with FIT re: treasury bill analysis


James Cooper             3/31/2023     0.6   Respond to internal requests for information on FTX Turkey payments

James Cooper             3/31/2023     0.3   Finalize and distribute cash flow forecast for Budget 4 to FTI


James Cooper             3/31/2023     0.5   Participate in teleconference with M. Diaz and F. Risler (Both FTI), E.
                                             Mosley, S. Coverick, J. Cooper (A&M) re: cash management strategy
James Cooper             3/31/2023     0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                             finalization of interim financial update
James Cooper             3/31/2023     1.9   Research updated treasury rates and placement fee benchmarks

Joachim Lubsczyk         3/31/2023     0.4   Review STCF for FTX Europe Group

Matthias Schweinzer      3/31/2023     0.6   Review liquidation balance sheet and STCFF


Matthias Schweinzer      3/31/2023     2.8   Update of both FTX Europe AG STCFF incl. Correspondence

Nicole Simoneaux         3/31/2023     1.9   Review disbursement actuals for gaps in contractual vendor
                                             payments
Samuel Witherspoon       3/31/2023     1.3   Update interim financial update with final edits before submittal




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Cash Management
Professional               Date     Hours     Activity
Samuel Witherspoon      3/31/2023      0.3   Prepare and distribute latest material receipts forecast

Samuel Witherspoon      3/31/2023      1.5   Update cash balances for newly identified bank accounts


Samuel Witherspoon      3/31/2023      0.9   Update cash flow forecast support materials to distribute externally

Samuel Witherspoon      3/31/2023      0.8   Working session with J. Cooper, S. Witherspoon (A&M) re:
                                             finalization of interim financial update
Steve Coverick          3/31/2023      0.3   Participate in teleconference with M. Diaz and F. Risler (FTI), E.
                                             Mosley, S. Coverick, J. Cooper (A&M) re: cash management strategy

Subtotal                             905.7

Claims
Professional               Date     Hours     Activity
David Slay               3/1/2023      0.9   Update assumption mapping in the claims model for current recovery
                                             analysis
David Slay               3/1/2023      2.1   Incorporate Alameda and Ventures balance sheets in claims model

Ed Mosley                3/1/2023      0.6   Discuss methods to reduce administrative costs and processes with
                                             B. Weiland (Kroll) and A&M (S.Kotarba, R. Esposito)
Ed Mosley                3/1/2023      0.7   Conference with Kroll team, A Kranzley (S&C), J Petiford (S&C), K
                                             Brown (Landis), and R Esposito (A&M) to discuss the proposed
                                             customer claims platform and electronic proof of claim
Ed Mosley                3/1/2023      0.3   Conference with E Mosley, S Kotarba and R Esposito (A&M) to
                                             discuss the claims processing and next steps to prepare for customer
                                             claims reconciliations
Mark Zeiss               3/1/2023      0.9   Revise presentation outlining Customer claims processing effort for
                                             FTX claims reconciliation
Rob Esposito             3/1/2023      0.7   Conference with Kroll team, A Kranzley (S&C), J Petiford (S&C), K
                                             Brown (Landis), and R Esposito (A&M) to discuss the proposed
                                             customer claims platform and electronic proof of claim
Rob Esposito             3/1/2023      0.3   Conference with E Mosley, S Kotarba and R Esposito (A&M) to
                                             discuss the claims processing and next steps to prepare for customer
                                             claims reconciliations
Rob Esposito             3/1/2023      0.6   Conference with B. Weiland (Kroll), E Mosley, S Kotarba and R
                                             Esposito (A&M) to discuss the electronic claims process
Steve Kotarba            3/1/2023      0.3   Conference with E Mosley, S Kotarba and R Esposito (A&M) to
                                             discuss the claims processing and next steps to prepare for customer
                                             claims reconciliations
Steve Kotarba            3/1/2023      0.6   Prepare internal discussion memo re claims rec considerations

Steve Kotarba            3/1/2023      0.6   Conference with B. Weiland (Kroll), E Mosley, S Kotarba and R
                                             Esposito (A&M) to discuss the electronic claims process
Douglas Lewandowski      3/2/2023      1.3   Work on customer claim reconciliation in Metabase




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Claims
Professional               Date     Hours     Activity
Douglas Lewandowski      3/2/2023     1.8   Work on updates to the Claims overview deck

Rob Esposito             3/2/2023     0.6   Conference with Kroll team, R Esposito and S Kotarba (A&M) to
                                            discuss the scheduled and filed claims process
Steve Kotarba            3/2/2023     0.6   Conference with Kroll team, R Esposito and S Kotarba (A&M) to
                                            discuss the scheduled and filed claims process
Steve Kotarba            3/2/2023     0.5   Discussion with claims agent re claims portal

Douglas Lewandowski      3/3/2023     0.7   Prepare mockup of Customer Schedule F appendix


Nicole Simoneaux         3/3/2023     2.1   Prepare claimant taxation summaries

Rob Esposito             3/3/2023     1.8   Prepare summary of next steps for claims process implementation


Steve Kotarba            3/3/2023     2.0   Research and analysis re customer claims

Douglas Lewandowski      3/4/2023     0.7   Prepare schedule F loan payables records


Douglas Lewandowski      3/4/2023     1.8   Prepare Schedule F loan payables rider indicating the loan amounts
                                            by coin
Douglas Lewandowski      3/4/2023     1.3   Update loan payables schedule to include schedule D/F reference
                                            identifiers
Ed Mosley                3/4/2023     0.7   Review of draft document of claims process strategy and system
                                            requirements
Laureen Ryan             3/4/2023     0.2   Review 90 day cash and crypto payments

Patrick McGrath          3/4/2023     1.3   Prepare for internal call re: 90 day cash and crypto payments


Patrick McGrath          3/4/2023     0.5   Call with S. Kotarba, and P. McGrath (A&M) regarding 90 day cash
                                            and crypto payments
Rob Esposito             3/4/2023     0.3   Review and response to claims process questions provided by A
                                            Kranzley (S&C)
Rob Esposito             3/4/2023     0.7   Work on scheduled claims summary for cost analysis

Rob Esposito             3/4/2023     1.9   Prepare updated claims process presentation

Steve Kotarba            3/4/2023     0.5   Call with S. Kotarba, and P. McGrath (A&M) regarding 90 day cash
                                            and crypto payments
Douglas Lewandowski      3/5/2023     2.1   Update claims overview to include Alameda counterparty claims
                                            process information
Rob Esposito             3/5/2023     1.7   Prepare details updates to the scheduled and filed claims process
                                            presentation
Alex Canale              3/6/2023     0.3   Teleconference with A. Canale, S. Kotarba, R. Esposito, J. Gany, M.
                                            Zeiss, and A. Cox (A&M) regarding cash database details of
                                            professional fees paid


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Claims
Professional               Date     Hours     Activity
Allison Cox              3/6/2023     0.3   Teleconference with A. Canale, S. Kotarba, R. Esposito, J. Gany, M.
                                            Zeiss, and A. Cox (A&M) regarding cash database details of
                                            professional fees paid
Bridger Tenney           3/6/2023     0.8   Create summary sheets for 1099 claims reporting

Bridger Tenney           3/6/2023     0.6   Review 1099 claims reporting memo


Bridger Tenney           3/6/2023     0.5   Revise memo summary for distribution

David Slay               3/6/2023     2.3   Revise claims model with new format and data to capture updates


Douglas Lewandowski      3/6/2023     0.7   Working session with M. Zeiss and D. Lewandowski (A&M) re:
                                            scheduling customer claims
Douglas Lewandowski      3/6/2023     0.6   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) re: scheduling customer claim a balances
Douglas Lewandowski      3/6/2023     0.6   Working session with S. Kotarba, M. Zeiss, T. DiNatale and D.
                                            Lewandowski (A&M) re: scheduling customer claims
Kumanan Ramanathan       3/6/2023     0.4   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) regarding scheduling customer claim a
                                            balances
Louis Konig              3/6/2023     0.6   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) regarding scheduling customer claim a
                                            balances
Mark Zeiss               3/6/2023     0.7   Working session with M. Zeiss and D. Lewandowski (A&M) re:
                                            scheduling customer claims
Mark Zeiss               3/6/2023     0.6   Working session with S. Kotarba, M. Zeiss, T. DiNatale and D.
                                            Lewandowski (A&M) re: scheduling customer claims
Mark Zeiss               3/6/2023     0.6   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) re: scheduling customer claim a balances
Nicole Simoneaux         3/6/2023     1.3   Revise claimant taxation summaries

Rob Esposito             3/6/2023     0.4   Discussion with A Kranzley (S&C) and R Esposito (A&M) re:
                                            customer claims scheduling and filed claims process
Rob Esposito             3/6/2023     0.4   Meeting with E Mosley, R Esposito and S Kotarba (A&M) to discuss
                                            the customer claims process
Steve Kotarba            3/6/2023     0.6   Working session with S. Kotarba, M. Zeiss, T. DiNatale and D.
                                            Lewandowski (A&M) re: scheduling customer claims
Steve Kotarba            3/6/2023     0.4   Meeting with E Mosley, R Esposito and S Kotarba (A&M) to discuss
                                            the customer claims process
Steve Kotarba            3/6/2023     0.7   Working session with M. Zeiss and D. Lewandowski (A&M) re:
                                            scheduling customer claims
Steve Kotarba            3/6/2023     0.6   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) re: scheduling customer claim a balances
Steve Kotarba            3/6/2023     0.3   Teleconference with A. Canale, S. Kotarba, R. Esposito, J. Gany, M.
                                            Zeiss, and A. Cox (A&M) regarding cash database details of
                                            professional fees paid


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Claims
Professional              Date     Hours     Activity
Trevor DiNatale         3/6/2023     0.6   Working session with S. Kotarba, M. Zeiss, T. DiNatale and D.
                                           Lewandowski (A&M) re: scheduling customer claims
Douglas Lewandowski     3/7/2023     0.9   Work on customer schedule metrics for scheduling presentation


Douglas Lewandowski     3/7/2023     1.1   Work customer claims presentation to document the claims process
                                           for other crypto cases
Ed Mosley               3/7/2023     1.0   Call with B. Steele (Kroll), J. Ray, M. Cilia, K. Schultea (FTX), A.
                                           Kranzley (S&C), S. Coverick, E. Mosley, R. Esposito (A&M) regarding
                                           customer claims portal design
Rob Esposito            3/7/2023     0.6   Conference with B Steele (Kroll), S Kotarba and R Esposito (A&M)
                                           re: the customer claims process
Rob Esposito            3/7/2023     1.0   Call with B. Steele (Kroll), J. Ray, M. Cilia, K. Schultea (FTX), A.
                                           Kranzley (S&C), E. Mosley, S. Coverick, R. Esposito (A&M) regarding
                                           customer claims portal design
Steve Coverick          3/7/2023     1.0   Call with B. Steele (Kroll), J. Ray, M. Cilia, K. Schultea (FTX), A.
                                           Kranzley (S&C), S. Coverick, E. Mosley, R. Esposito (A&M) regarding
                                           customer claims portal design
Steve Kotarba           3/7/2023     1.8   Review presentments and outputs to finalize customer liability
                                           reporting
Steve Kotarba           3/7/2023     0.6   Conference with B Steele (Kroll), S Kotarba and R Esposito (A&M)
                                           re: the customer claims process
David Slay              3/8/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                           claims model
Johnny Gonzalez         3/8/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                           claims model
Steve Coverick          3/8/2023     0.4   Review documentation regarding DARE act application for FTX
                                           Digital Markets
Steve Kotarba           3/8/2023     1.1   Draft template for customer contact email post-schedules


Steve Kotarba           3/8/2023     0.9   Draft coordination checklist for schedules filing and noticing for
                                           discussion with claims agent
Zach Burns              3/8/2023     0.3   Inform third party about FBO account split in Ventures silo

Douglas Lewandowski     3/9/2023     1.4   Review customer claim schedule detail against customer database


Douglas Lewandowski     3/9/2023     1.4   Update customer claims deck to include customer scheduling slides
                                           based on updated Schedule F exhibits
Douglas Lewandowski     3/9/2023     0.8   Update customer schedule deck to include Alameda counterparty
                                           claims process
Steve Coverick          3/9/2023     0.9   Correspond with A&M personnel regarding claims portal design

Steve Coverick          3/9/2023     1.3   Review and provide comments on claims communications plan


Zach Burns              3/9/2023     0.2   Compile insider transactions found in WRS silo and sent results to
                                           third party



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Claims
Professional               Date     Hours     Activity
Ed Mosley               3/10/2023     0.9   Review of draft customer claims presentation to management

Rob Esposito            3/10/2023     0.3   Review of proposed customer claim email draft


Steve Kotarba           3/10/2023     1.5   Prepare notes and strategy re claims recon and customer access to
                                            claims data
Rob Esposito            3/11/2023     0.3   Conference with S Coverick, S Kotarba and R Esposito (A&M) to
                                            discuss next steps for customer claims communications
Steve Coverick          3/11/2023     0.3   Conference with S Coverick, S Kotarba and R Esposito (A&M) to
                                            discuss next steps for customer claims communications
Steve Kotarba           3/11/2023     0.3   Conference with S Coverick, S Kotarba and R Esposito (A&M) to
                                            discuss next steps for customer claims communications
Steve Kotarba           3/12/2023     1.3   Update internal update and exhibits re customers


Rob Esposito            3/13/2023     0.4   Review and provide comments to the Statements and Schedules
                                            notice re: customer claims
Zach Burns              3/13/2023     0.2   Sent email outlining results of search to third party


David Nizhner           3/14/2023     2.7   Revise schedule to include Dotcom Withdrawals

Zach Burns              3/14/2023     0.2   Draft and sent email to third party about payments in WRS and
                                            Innovatia
Rob Esposito            3/16/2023     0.2   Conference with A Kranzley (S&C) re: the customer claims
                                            notifications
Steve Kotarba           3/16/2023     2.1   Work re customer noticing of schedule filing

Rob Esposito            3/19/2023     0.3   Prepare summary of next steps for claims process implementation


Rob Esposito            3/19/2023     0.4   Review of quarterly claims register draft for redactions

Cullen Stockmeyer       3/20/2023     0.7   Summarize call regarding surety bond claims as to define resultant
                                            tasks
David Slay              3/20/2023     0.2   Discuss next steps for Claims model update w/ J. Gonzalez and D.
                                            Slay (A&M)
David Slay              3/20/2023     1.6   Create mapping tool for balance sheet items into recovery model

Douglas Lewandowski     3/20/2023     0.5   Discussion with S. Kotarba, D. Lewandowski, and R. Esposito (A&M)
                                            re: customer portal and ePOCs
Johnny Gonzalez         3/20/2023     2.3   Update the claims model with scheduled and not scheduled balance
                                            sheet claims
Johnny Gonzalez         3/20/2023     2.4   Update the claims model with the latest versions of the balance
                                            sheets
Johnny Gonzalez         3/20/2023     0.2   Discuss next steps for Claims model update w/ J. Gonzalez and D.
                                            Slay (A&M)




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Claims
Professional               Date     Hours     Activity
Rob Esposito            3/20/2023     0.5   Discussion with S. Kotarba, D. Lewandowski, and R. Esposito (A&M)
                                            re: customer portal and ePOCs
Steve Coverick          3/20/2023     1.3   Review documentation pertaining to surety bond claims


Steve Kotarba           3/20/2023     1.4   Coordination and strategy with claims agent and counsel re noticing
                                            of customers re scheduled claims
Steve Kotarba           3/20/2023     2.2   Review redaction updates, source files to advise re creditor redaction

Steve Kotarba           3/20/2023     0.5   Discussion with S. Kotarba, D. Lewandowski, and R. Esposito (A&M)
                                            re: customer portal and ePOCs
David Slay              3/21/2023     1.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: claims mapping
                                            for each silo
David Slay              3/21/2023     2.1   Update recovery model with work in process balances and scheduled
                                            amounts
Douglas Lewandowski     3/21/2023     0.6   Correspond with S. Perry (Kroll) re: claims register updates

Douglas Lewandowski     3/21/2023     1.4   Work on the Kroll/FTX Claims register for importing into the claims
                                            management system
Douglas Lewandowski     3/21/2023     1.7   Work on FTX customer claims deck to incorporate customer notice
                                            slides
Hudson Trent            3/21/2023     2.1   Prepare estimated claims as of the petition date for wind down
                                            analysis
Johnny Gonzalez         3/21/2023     0.8   Map the unscheduled claims for each FTX silo


Johnny Gonzalez         3/21/2023     1.8   Map the scheduled undetermined claims for each FTX silo

Johnny Gonzalez         3/21/2023     1.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: claims mapping
                                            for each silo
Johnny Gonzalez         3/21/2023     1.4   Map the scheduled claims for each FTX silo

Rob Esposito            3/21/2023     0.6   Review and summary of creditor address information for discussion
                                            with S&C team
Rob Esposito            3/21/2023     0.4   Review of redaction data to prepare for call with S&C

Rob Esposito            3/21/2023     2.4   Prepare customers claims portal slides for claims presentation

Steve Coverick          3/21/2023     0.4   Correspond with A&M personnel re: claims portal


Steve Kotarba           3/21/2023     3.0   Work re customer claims portal and PMO reporting re same

Trevor DiNatale         3/21/2023     0.7   Analyze updated claims register detail to identify updated filed claims


David Slay              3/22/2023     1.8   Create range tab for liabilities and include toggle between difference
                                            scenarios




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Claims
Professional              Date     Hours     Activity
Douglas Lewandowski    3/22/2023     0.3   Conference with D Lewandowski and R Esposito (A&M) re: customer
                                           claims portal
Douglas Lewandowski    3/22/2023     0.8   Correspond with J. Petiford (S&C) re: claimant noticing and register
                                           updates
Douglas Lewandowski    3/22/2023     2.7   Prepare customer claims portal options slide summarizing various
                                           options for customer claims reconciliation
Douglas Lewandowski    3/22/2023     0.8   Update customer portal deck with transaction history slides

Ed Mosley              3/22/2023     0.6   Participate in meeting with K.Ramanathan, J. Klein (A&M) regarding
                                           code requirements for claims reconciliation process
Kumanan Ramanathan     3/22/2023     0.6   Participate in meeting with K. Ramanathan, J. Klein, E. Mosley
                                           (A&M) regarding code requirements for claims reconciliation process
Luke Francis           3/22/2023     1.4   Analysis of filed claims and population of summary liabilities


Michael Shanahan       3/22/2023     0.2   Teleconference with M. Shanahan and S. Peoples (A&M) regarding
                                           claims
Rob Esposito           3/22/2023     2.4   Review and prepare detailed updates to the customer claims process
                                           or portal presentation
Rob Esposito           3/22/2023     1.9   Review and prepare detailed presentation for bar date and amended
                                           schedules
Rob Esposito           3/22/2023     0.4   Review and summary of creditor inquiries for discussion with S&C

Rob Esposito           3/22/2023     2.8   Prepare detail claims presentation slides for portal objectives,
                                           requirements and process flow
Rob Esposito           3/22/2023     0.3   Conference with D Lewandowski and R Esposito (A&M) re: customer
                                           claims portal
Rob Esposito           3/22/2023     0.6   Review of claims process comments to summarize in claims process
                                           presentation
Scott Peoples          3/22/2023     0.2   Teleconference with M. Shanahan and S. Peoples (A&M) regarding
                                           claims
Steve Kotarba          3/22/2023     0.4   Discussion w/ R. Esposito re customer portal


Steve Kotarba          3/22/2023     2.2   Prepare analysis re decision points re customer claims process

Trevor DiNatale        3/22/2023     1.8   Review filed claim detail to identify non-customer related liabilities

Claire Myers           3/23/2023     1.6   Analyze addresses in statements and schedules in order to find
                                           complete addresses for parties with missing addresses
Claire Myers           3/23/2023     2.8   Analyze duplicate parties in statements and schedules to determine if
                                           they were redacted correctly
Claire Myers           3/23/2023     0.6   Teleconference with L Francis, C Myers, S Kotarba, T DiNatale and
                                           R Esposito (A&M) re: creditor redaction parameters
Douglas Lewandowski    3/23/2023     1.4   Work on customer claims portal presentation to incorporate changes
                                           from S. Kotarba and R. Esposito (A&M)




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Claims
Professional             Date     Hours     Activity
Douglas Lewandowski   3/23/2023     0.5   Discussion with R. Esposito, S. Kotarba, K. Ramanathan, D.
                                          Lewandowski and H. Chambers (A&M) re: customer portal
Douglas Lewandowski   3/23/2023     0.5   Discussion with R. Esposito and D. Lewandowski (A&M) re: customer
                                          portal
Douglas Lewandowski   3/23/2023     2.1   Work on inactivated customers in the scheduling population for
                                          purposes of the customer email blast
Douglas Lewandowski   3/23/2023     0.2   Working session with R. Esposito, S. Kotarba, and D. Lewandowski
                                          (A&M) re: customer portal and customer outreach
Douglas Lewandowski   3/23/2023     1.5   Work on analysis related to customers with large balances and
                                          potentially invalid email addresses
Douglas Lewandowski   3/23/2023     0.8   Working session with R. Esposito and D. Lewandowski (A&M) re:
                                          claims portal presentation
Douglas Lewandowski   3/23/2023     0.3   Conference with M Pierce (Landis), J Petiford (S&C), D Lewandowski
                                          and R Esposito (A&M) re: standardizing claimant address data
Douglas Lewandowski   3/23/2023     0.3   Working session with R. Esposito, S. Kotarba, K. Ramanathan, and
                                          D. Lewandowski (A&M) re: customer portal and customer outreach
Henry Chambers        3/23/2023     0.3   Attend to query on Quoine PTE claims schedule


Kumanan Ramanathan    3/23/2023     0.3   Working session with R. Esposito, S. Kotarba, K. Ramanathan, and
                                          D. Lewandowski (A&M) regarding customer portal and customer
                                          outreach
Luke Francis          3/23/2023     0.6   Teleconference with L Francis, C Myers, S Kotarba, T DiNatale and
                                          R Esposito (A&M) re: creditor redaction parameters
Rob Esposito          3/23/2023     1.1   Prepare final edits to the claims presentation and distributions to
                                          A&M team
Rob Esposito          3/23/2023     0.4   Prepare updates to the recommendations to the claims portal
                                          presentation
Rob Esposito          3/23/2023     0.5   Discussion with R. Esposito and D. Lewandowski (A&M) re: customer
                                          portal
Rob Esposito          3/23/2023     0.5   Discussion with R. Esposito, S. Kotarba, K. Ramanathan, D.
                                          Lewandowski and H. Chambers (A&M) re: customer portal
Rob Esposito          3/23/2023     0.6   Review and respond to comments to the claims presentation

Rob Esposito          3/23/2023     0.3   Working session with R. Esposito, S. Kotarba, K. Ramanathan, and
                                          D. Lewandowski (A&M) re: customer portal and customer outreach
Rob Esposito          3/23/2023     0.2   Working session with R. Esposito, S. Kotarba, and D. Lewandowski
                                          (A&M) re: customer portal and customer outreach
Rob Esposito          3/23/2023     0.3   Conference with M Pierce (Landis), J Petiford (S&C), D Lewandowski
                                          and R Esposito (A&M) re: standardizing claimant address data
Rob Esposito          3/23/2023     0.6   Teleconference with L Francis, C Myers, S Kotarba, T DiNatale and
                                          R Esposito (A&M) re: creditor redaction parameters
Rob Esposito          3/23/2023     0.3   Review of FTX Japan deposit return presentation for related
                                          customer claims presentation
Rob Esposito          3/23/2023     0.8   Working session with R. Esposito and D. Lewandowski (A&M) re:
                                          claims portal presentation


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Claims
Professional              Date     Hours     Activity
Steve Coverick         3/23/2023     0.5   Prepare for call re: surety bond claims

Steve Coverick         3/23/2023     0.9   Review and provide comments on claims portal overview deck


Steve Kotarba          3/23/2023     0.3   Working session with R. Esposito, S. Kotarba, K. Ramanathan, and
                                           D. Lewandowski (A&M) re: customer portal and customer outreach
Steve Kotarba          3/23/2023     1.4   Review notes, deck and recent case precedent to prepare for internal
                                           call re customer portal development
Steve Kotarba          3/23/2023     1.3   Review claims register details and discussions re claims reporting


Steve Kotarba          3/23/2023     0.6   Teleconference with L Francis, C Myers, S Kotarba, T DiNatale and
                                           R Esposito (A&M) re: creditor redaction parameters
Steve Kotarba          3/23/2023     0.5   Discussion with R. Esposito, S. Kotarba, K. Ramanathan, D.
                                           Lewandowski and H. Chambers (A&M) re: customer portal
Steve Kotarba          3/23/2023     0.2   Working session with R. Esposito, S. Kotarba, and D. Lewandowski
                                           (A&M) re: customer portal and customer outreach
Trevor DiNatale        3/23/2023     0.6   Teleconference with L Francis, C Myers, S Kotarba, T DiNatale and
                                           R Esposito (A&M) re: creditor redaction parameters
Trevor DiNatale        3/23/2023     0.8   Prepare summary of employee related claims filed on docket for
                                           internal review
Trevor DiNatale        3/23/2023     1.2   Review updated claim register to identify non-customer related
                                           liabilities
Douglas Lewandowski    3/24/2023     0.6   Review FTX Japan customer process for claims presentation/portal


Douglas Lewandowski    3/24/2023     2.0   Update deck to reflect the comparison on options for customer portal

Douglas Lewandowski    3/24/2023     0.6   Conferences with D Lewandowski and R Esposito (A&M) re: the
                                           customer claims portal presentation
Douglas Lewandowski    3/24/2023     1.3   Work on reviewing newly filed claims against the customer database

Ed Mosley              3/24/2023     0.8   Review of detail supporting surety bond process and strategy for
                                           claims process in connection with negotiations with surety providers
Ed Mosley              3/24/2023     2.0   Review of and prepare comments to draft detailed presentation of
                                           claims reconciliation and claims portal creation process
Luke Francis           3/24/2023     0.2   Teleconference with L Francis and R Esposito (A&M) re: Gibraltar
                                           creditors
Luke Francis           3/24/2023     1.0   Analysis of claims summary and liabilities


Rob Esposito           3/24/2023     0.2   Teleconference with L Francis and R Esposito (A&M) re: Gibraltar
                                           creditors
Rob Esposito           3/24/2023     0.6   Conferences with D Lewandowski and R Esposito (A&M) re: the
                                           customer claims portal presentation
Rob Esposito           3/24/2023     0.1   Call with R. Esposito, S. Coverick (A&M) to discuss claims portal




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Claims
Professional                 Date     Hours     Activity
Rob Esposito              3/24/2023     2.4   Modifications to the claims presentation to included an executory
                                              summary and comparison for review with S&C and Kroll
Rob Esposito              3/24/2023     0.5   Prepare for claims presentation and discussion with S&C team


Rob Esposito              3/24/2023     0.4   Review of deleted account user data for patterns related to account
                                              deletions
Steve Coverick            3/24/2023     0.9   Review and provide comments on revised claims portal proposal deck

Steve Coverick            3/24/2023     0.1   Call with S. Coverick, R. Esposito (A&M) to discuss claims portal


Steve Kotarba             3/24/2023     1.0   Internal discussions and work to prepare for bar date request

Steve Kotarba             3/24/2023     0.6   Conferences with D Lewandowski and R Esposito (A&M) re: the
                                              customer claims portal presentation
Steve Kotarba             3/24/2023     2.2   Review analysis and details and prepare updates to build outline for
                                              claims portal
Chris Arnett              3/25/2023     0.4   Review and comment on filed employee severance claims and
                                              suggest next steps
Luke Francis              3/25/2023     1.2   Summary of liabilities for severance agreements and potential claims

Luke Francis              3/25/2023     0.8   Review of filed claims and potential reconciliation

Rob Esposito              3/25/2023     0.4   Review of employment contracts related to filed severance claims


Henry Chambers            3/26/2023     0.3   Attend to correspondence regarding Claims Portal

Douglas Lewandowski       3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                              Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                              K. Ramanathan (A&M) re: customer claims portal
Douglas Lewandowski       3/27/2023     1.4   Work on diligence requests related to customer disclosures in the
                                              liability schedules
Douglas Lewandowski       3/27/2023     0.8   Work on customer email blast review

Douglas Lewandowski       3/27/2023     0.6   Discussion with D. Lewandowski and L. Francis (A&M) re: importing
                                              claims register and reconciliation
Douglas Lewandowski       3/27/2023     0.5   Discussion with D. Lewandowski and R. Esposito (A&M) re: updates
                                              to claims portal deck
Ed Mosley                 3/27/2023     0.6   Review of updated draft presentation regarding the customer portal
                                              development process
Ed Mosley                 3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                              Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                              K. Ramanathan (A&M) re: customer claims portal
Luke Francis              3/27/2023     1.3   Review of potential claim summary drafts

Luke Francis              3/27/2023     1.6   Updates to claims register and database



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Claims
Professional              Date     Hours     Activity
Luke Francis           3/27/2023     0.6   Discussion with D. Lewandowski and L. Francis (A&M) re: importing
                                           claims register and reconciliation
Rob Esposito           3/27/2023     0.3   Review of agreements related to filed severance claims


Rob Esposito           3/27/2023     0.3   Teleconference with B Steele (Kroll) re: the dynamic claims portal

Rob Esposito           3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                           Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                           K. Ramanathan (A&M) re: customer claims portal
Rob Esposito           3/27/2023     0.5   Discussion with D. Lewandowski and R. Esposito (A&M) re: updates
                                           to claims portal deck
Rob Esposito           3/27/2023     0.8   Review and modifications to the detailed claims process presentation

Rob Esposito           3/27/2023     1.1   Prepare updates to claims portal requirements presentation

Steve Coverick         3/27/2023     1.0   Discussion with B. Zonenshayn, A. Kranzley, J. Petiford (S&C), D.
                                           Lewandowski, R. Esposito, E. Mosley, A. Mohammed, S. Coverick,
                                           K. Ramanathan (A&M) re: customer claims portal
Steve Kotarba          3/27/2023     0.7   Review filed claims re claims reporting

Steve Kotarba          3/27/2023     0.4   Review and respond to questions re certain filed claims to
                                           supplement conflict searches
Steve Kotarba          3/27/2023     0.5   Review bank detail re 90-day payments

Steve Kotarba          3/27/2023     0.4   Review identification analysis re certain customer accounts

Steve Kotarba          3/27/2023     0.5   Review drafts and updates re customer communication


Trevor DiNatale        3/27/2023     2.2   Analyze updated claims register detail to identify non-customer
                                           related liabilities
Claire Myers           3/28/2023     0.2   Teleconference with C Myers and R Esposito (A&M) to discuss
                                           redactions within the affidavits of services
Douglas Lewandowski    3/28/2023     1.6   Work on reviewing newly filed claims based on Kroll register

Douglas Lewandowski    3/28/2023     1.7   Work on customer emails that were excluded from the exchange for
                                           customer outreach purposes and liability schedules
Douglas Lewandowski    3/28/2023     0.2   Teleconference with D Lewandowski and R Esposito (A&M) to
                                           discuss the claims reporting
Douglas Lewandowski    3/28/2023     0.3   Teleconference with D Lewandowski and R Esposito (A&M) to
                                           discuss the dynamic claims portal
Ed Mosley              3/28/2023     0.8   Discussion with A Kranzley, J Petiford (S&C), Kroll team, E Mosley, S
                                           Coverick, K Ramanathan and R Esposito (A&M) regarding
                                           requirements and hosting of the dynamic claims portal
Ed Mosley              3/28/2023     0.2   Conference with E Mosley and R Esposito (A&M) to discuss the
                                           claims portal and POC process



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Claims
Professional             Date     Hours     Activity
Kumanan Ramanathan    3/28/2023     0.8   Discussion with A Kranzley, J Petiford (S&C), Kroll team, E Mosley, S
                                          Coverick, K Ramanathan and R Esposito (A&M) regarding
                                          requirements and hosting of the dynamic claims portal
Rob Esposito          3/28/2023     0.4   Review and management of the claims portal process

Rob Esposito          3/28/2023     0.2   Conference with E Mosley and R Esposito (A&M) to discuss the
                                          claims portal and POC process
Rob Esposito          3/28/2023     0.2   Teleconference with D Lewandowski and R Esposito (A&M) to
                                          discuss the claims reporting
Rob Esposito          3/28/2023     0.8   Discussion with A Kranzley, J Petiford (S&C), Kroll team, E Mosley, S
                                          Coverick, K Ramanathan and R Esposito (A&M) regarding
                                          requirements and hosting of the dynamic claims portal
Rob Esposito          3/28/2023     0.2   Teleconference with C Myers and R Esposito (A&M) to discuss
                                          redactions within the affidavits of services
Rob Esposito          3/28/2023     0.6   Prepare draft of plan and email communication for customers who do
                                          not receive email communication
Rob Esposito          3/28/2023     0.3   Teleconference with D Lewandowski and R Esposito (A&M) to
                                          discuss the dynamic claims portal
Steve Coverick        3/28/2023     0.8   Discussion with A Kranzley, J Petiford (S&C), Kroll team, E Mosley, S
                                          Coverick, K Ramanathan and R Esposito (A&M) regarding
                                          requirements and hosting of the dynamic claims portal
Douglas Lewandowski   3/29/2023     0.7   Teleconference with D. Lewandowski and L. Francis (A&M) to
                                          discuss summary claims reporting
Douglas Lewandowski   3/29/2023     1.1   Work on new claims register for management reporting purposes


Douglas Lewandowski   3/29/2023     1.5   Identify duplicate/amended claims in proof of claim population for
                                          reporting purposes
Douglas Lewandowski   3/29/2023     1.4   Work on populated the filed claims population with scheduled claims


Douglas Lewandowski   3/29/2023     0.6   Teleconference with Kroll team, K. Ramanathan, D. Lewandowski,
                                          and R Esposito (A&M) to discuss the claims portal development
Henry Chambers        3/29/2023     1.9   Follow up on queries re Quoine PTE claims schedules, and
                                          discussion with S. Melamed (FTX) regarding the same
Henry Chambers        3/29/2023     1.5   Attend to correspondence regarding claims email


Henry Chambers        3/29/2023     0.3   Call with J. Masters (FTX) regarding claims email

Henry Chambers        3/29/2023     0.4   Call with J. Masters (FTX) regarding claims email


Henry Chambers        3/29/2023     0.2   Teleconference with H. Chambers and R. Esposito (A&M) regarding
                                          Japan customer communications
Henry Chambers        3/29/2023     0.8   Attend to correspondence regarding claims process


Kumanan Ramanathan    3/29/2023     0.6   Teleconference with Kroll team, K. Ramanathan and R Esposito
                                          (A&M) to discuss the claims portal development



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Claims
Professional             Date     Hours     Activity
Kumanan Ramanathan    3/29/2023     0.6   Teleconference with Kroll team, K. Ramanathan, D. Lewandowski,
                                          and R Esposito (A&M) to discuss the claims portal development
Luke Francis          3/29/2023     0.5   Teleconference with T. DiNatale and L. Francis (A&M) to discuss AP
                                          claims processing
Luke Francis          3/29/2023     0.7   Teleconference with D. Lewandowski and L. Francis (A&M) to
                                          discuss summary claims reporting
Rob Esposito          3/29/2023     0.4   Review and response to Japan customer claims related inquiries

Rob Esposito          3/29/2023     0.2   Teleconference with H Chambers and R Esposito (A&M) re: Japan
                                          customer communications
Rob Esposito          3/29/2023     0.7   Management of the claims portal process and presentation data

Rob Esposito          3/29/2023     0.6   Teleconference with Kroll team, K. Ramanathan and R Esposito
                                          (A&M) to discuss the claims portal development
Rob Esposito          3/29/2023     0.6   Teleconference with Kroll team, K. Ramanathan, D. Lewandowski,
                                          and R Esposito (A&M) to discuss the claims portal development
Rob Esposito          3/29/2023     0.4   Prepare draft claims reporting template


Steve Kotarba         3/29/2023     1.4   Work re reconciliation of customer claims

Steve Kotarba         3/29/2023     0.4   Review analysis and provide updates re claim reporting

Trevor DiNatale       3/29/2023     0.5   Teleconference with T. DiNatale and L. Francis (A&M) to discuss AP
                                          claims processing
Trevor DiNatale       3/29/2023     0.8   Review updated filed claim register

Azmat Mohammed        3/30/2023     0.9   Conference with E Echevarria, B Steele, V Manners (Kroll), Jered
                                          (FTX), H Chambers, A Mohammed, R Esposito and K Ramanathan
                                          (A&M) regarding development of the customer claims portal
Azmat Mohammed        3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                          Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                          Mohammed (A&M) regarding custom claims portal options, KYC, and
                                          claims reconciliation
Douglas Lewandowski   3/30/2023     1.6   Work on updated claim summary/detail report for discussion with
                                          team
Douglas Lewandowski   3/30/2023     0.4   Discussion with B. Steele (Kroll), Kroll team, D. Lewandowski, and R.
                                          Esposito (A&M) re: custom claims portal options
Douglas Lewandowski   3/30/2023     1.6   Work on reconciling the Kroll register to the claims database


Douglas Lewandowski   3/30/2023     0.3   Teleconference with T. Hubbard and D. Lewandowski (A&M) re:
                                          claims triage
Douglas Lewandowski   3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                          Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                          Mohammed (A&M) re: custom claims portal options, KYC, and claims
                                          reconciliation
Douglas Lewandowski   3/30/2023     1.4   Set up claims review/triage process for discussion with staff


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Claims
Professional              Date     Hours     Activity
Douglas Lewandowski    3/30/2023     0.3   Teleconference with D Lewandowski and R Esposito (A&M) to
                                           discuss the claims filing process
Ed Mosley              3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                           Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                           Mohammed (A&M) re: custom claims portal options, KYC, and claims
                                           reconciliation
Henry Chambers         3/30/2023     0.8   Attend to Customer claims queries regarding Quoine PTE


Kumanan Ramanathan     3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                           Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                           Mohammed (A&M) regarding custom claims portal options, KYC, and
                                           claims reconciliation
Kumanan Ramanathan     3/30/2023     0.9   Conference with E Echevarria, B Steele, V Manners (Kroll), Jered
                                           (FTX), H Chambers, A Mohammed, R Esposito and K Ramanathan
                                           (A&M) regarding development of the customer claims portal
Rob Esposito           3/30/2023     0.3   Teleconference with D Lewandowski and R Esposito (A&M) to
                                           discuss the claims filing process
Rob Esposito           3/30/2023     0.4   Discussion with B. Steele (Kroll), Kroll team, D. Lewandowski, and R.
                                           Esposito (A&M) re: custom claims portal options
Rob Esposito           3/30/2023     0.3   Review and response to proposed claims triage plan

Rob Esposito           3/30/2023     0.3   Prepare for call with Kroll and A&M to discuss the customer claims
                                           portal
Rob Esposito           3/30/2023     0.9   Conference with E Echevarria, B Steele, V Manners (Kroll), Jered
                                           (FTX), H Chambers, A Mohammed, R Esposito and K Ramanathan
                                           (A&M) re: development of the customer claims portal
Rob Esposito           3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                           Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                           Mohammed (A&M) re: custom claims portal options, KYC, and claims
                                           reconciliation
Steve Coverick         3/30/2023     0.6   Correspond with A&M personnel regarding issue in EU with claims
                                           email distribution
Steve Coverick         3/30/2023     0.6   Discussion with B. Steele, V. Manners, Kroll Team, E. Mosley, R.
                                           Esposito, S. Coverick, K. Ramanathan, D. Lewandowski, and A.
                                           Mohammed (A&M) re: custom claims portal options, KYC, and claims
                                           reconciliation
Steve Kotarba          3/30/2023     0.2   Review claims agent notes re customer claim process


Steve Kotarba          3/30/2023     2.2   Draft supplement to customer claims process

Taylor Hubbard         3/30/2023     0.3   Teleconference with T. Hubbard and D. Lewandowski (A&M) re:
                                           claims triage
Trevor DiNatale        3/30/2023     1.7   Review accounts payable detail to filed claim information


Douglas Lewandowski    3/31/2023     0.8   Working session with D. Lewandowski, T. Hubbard (A&M) on newly
                                           filed claims review
Douglas Lewandowski    3/31/2023     1.1   Discussion with T. Hubbard and D. Lewandowski (A&M) re: claims
                                           triage process walkthrough


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Claims
Professional                 Date     Hours     Activity
Douglas Lewandowski       3/31/2023      1.3   Work on reviewing claims summary/detail reports for claims
                                               management and PMO reporting
Douglas Lewandowski       3/31/2023      1.6   Review customer inquiries from Kroll log against customer database


Douglas Lewandowski       3/31/2023      0.8   Work on reviewing Japanese customer schedule inquiries

Steve Coverick            3/31/2023      0.4   Review and provide comments on EU press release re: claims email

Steve Kotarba             3/31/2023      1.5   Review claims agent update re claims intake and treatment and
                                               prepare discussion notes re same
Taylor Hubbard            3/31/2023      1.1   Discussion with T. Hubbard and D. Lewandowski (A&M) re: claims
                                               triage process walkthrough
Taylor Hubbard            3/31/2023      0.8   Working session with D. Lewandowski, T. Hubbard (A&M) on newly
                                               filed claims review
Taylor Hubbard            3/31/2023      1.4   Perform analysis of proof of claim documents (D - E) to identify key
                                               data points to assist with claim triage
Taylor Hubbard            3/31/2023      2.4   Verify proof of claim and supporting documentation provided by
                                               claimants (A - C) to identify key data points to assist with claims
                                               triage process
Taylor Hubbard            3/31/2023      2.1   Verify proof of claim and supporting documentation provided by
                                               claimants (F - H) to identify key data points to assist with claims
                                               triage process
Trevor DiNatale           3/31/2023      1.8   Review updated filed claim register



Subtotal                               271.1

Contracts
Professional                 Date     Hours     Activity
Bridger Tenney             3/1/2023      0.6   Summarize signed lease agreement for distribution

Chris Arnett               3/1/2023      0.4   Review and comment on latest turn of contract presentation

Douglas Lewandowski        3/1/2023      2.3   Correspond with individual contract reviewers re: Schedule G file
                                               review
Douglas Lewandowski        3/1/2023      1.6   Review contracts with missing counterparties for Schedule G
                                               purposes
Douglas Lewandowski        3/1/2023      2.9   Prepare individualized contract review files for FTX schedule G review


Hudson Trent               3/1/2023      1.5   Prepare updated damages calculation for potential contract rejections

Hudson Trent               3/1/2023      0.7   Update damages calculation for contracts slated for potential rejection


Jared Gany                 3/1/2023      3.2   Quality control procedures to clean up contracts with missing
                                               information



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Contracts
Professional              Date     Hours     Activity
Jared Gany              3/1/2023     1.1   Quality control procedures to clean up foreign language contracts

Jared Gany              3/1/2023     1.9   Quality control procedures to clean up real estate contract names
                                           and add in property locations
Jared Gany              3/1/2023     1.6   Quality control procedures to find contracts with hard names

Johnny Gonzalez         3/1/2023     2.7   Review of rental lease contracts for possible loss or damages

Lance Clayton           3/1/2023     3.3   Review contracts for potential damages and avoidance


Lance Clayton           3/1/2023     3.2   Update contracts tracker based on items from review and prepare
                                           feedback
Ritchine Guerrier       3/1/2023     2.8   Dormant Entities file review of Employment Agreements


Ritchine Guerrier       3/1/2023     2.1   Dormant Entities file review of Simple Agreements

Ritchine Guerrier       3/1/2023     3.2   Dormant Entities file review of Transfer Agreements


Ritchine Guerrier       3/1/2023     2.2   Dormant Entities file review of Confidentiality/ Mutual Non-Disclosure
                                           Agreements
Ritchine Guerrier       3/1/2023     3.2   Dormant Entities file review of Share Agreements

Rob Esposito            3/1/2023     1.7   Review and analysis of the contract data and requests to FTX
                                           employees
Taylor Hubbard          3/1/2023     2.4   Review non-disclosure/confidentiality agreements (K - Q) for
                                           Schedule G purposes
Taylor Hubbard          3/1/2023     3.2   Evaluate non-disclosure/confidentiality contracts (D - J) for Schedule
                                           G purposes
Taylor Hubbard          3/1/2023     1.2   Perform quality control review of contracts with missing counter party
                                           addresses for Schedule G purposes
Taylor Hubbard          3/1/2023     0.4   Evaluate non-disclosure/confidentiality agreements (W - Z) for
                                           Schedule G purposes
Taylor Hubbard          3/1/2023     1.9   Analyze non-disclosure/confidentiality contracts (R - V) for Schedule
                                           G purposes
William Walker          3/1/2023     2.7   Prepare comparison deck highlighting key differences in liability &
                                           indemnification clauses in the various agreements
Douglas Lewandowski     3/2/2023     0.3   Discussion with D. Lewandowski and R. Guerrier (A&M) re: contract
                                           status
Douglas Lewandowski     3/2/2023     2.1   Review duplicate matching on surviving contracts to ensure they are
                                           listed on Schedule G
Douglas Lewandowski     3/2/2023     1.3   Work on responses to contract/schedule G review


Douglas Lewandowski     3/2/2023     1.4   Update stock purchase agreements to exclude the remaining
                                           documents from Schedule G




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Contracts
Professional              Date     Hours     Activity
Jared Gany              3/2/2023     3.1   Review contracts summary to determine applicable f.k.a entities

Jared Gany              3/2/2023     0.9   Clean contract summary data to remove non-contracts and duplicates


Jared Gany              3/2/2023     2.4   Quality control procedures to clean counterparty names

Jared Gany              3/2/2023     2.8   Quality control procedures to clean up debtor names

Jared Gany              3/2/2023     1.3   Quality control procedures to clean document name


Jared Gany              3/2/2023     0.7   Call J. Gany, T. Hubbard, and R. Guerrier (A&M) re: updates to the
                                           duplicate review and workstream.
Jared Gany              3/2/2023     0.6   Review of contracts to remove excess punctuation for address fields


Luke Francis            3/2/2023     0.7   Searches for threatened / potential litigation

Luke Francis            3/2/2023     1.2   Contract review of investments for address information


Nicole Simoneaux        3/2/2023     1.4   Populate employee contract tracker

Ritchine Guerrier       3/2/2023     2.9   Formerly known as (FKA) file review of debtors starting with an A

Ritchine Guerrier       3/2/2023     3.0   Review of counterparties with foreign address


Ritchine Guerrier       3/2/2023     0.3   Discussion with D. Lewandowski and R. Guerrier (A&M) re: contract
                                           status
Ritchine Guerrier       3/2/2023     2.9   Review contract-related files for consolidation


Ritchine Guerrier       3/2/2023     0.7   Call J. Gany, T. Hubbard, and R. Guerrier (A&M) re: updates to the
                                           duplicate review and workstream.
Ritchine Guerrier       3/2/2023     3.1   Formerly known as (FKA) file review of debtors starting with an F


Steve Kotarba           3/2/2023     0.7   Review and discuss indemnity agreements re presentment on
                                           schedules
Taylor Hubbard          3/2/2023     1.6   Perform quality control review of completed agreements (Counter
                                           Party #1 Name and Address fields) for Schedule G purposes
Taylor Hubbard          3/2/2023     1.3   Execute quality control analysis of completed contracts (Counter
                                           Party #1 City fields) for Schedule G purposes
Taylor Hubbard          3/2/2023     1.4   Create and utilize report of completed agreements to assess counter
                                           party address errors for Schedule G purposes
Taylor Hubbard          3/2/2023     2.8   Execute quality control analysis of completed contracts (Document
                                           Name A&M field) for Schedule G purposes
Taylor Hubbard          3/2/2023     2.9   Conduct quality control evaluation of completed agreements (FKA
                                           entities field) for Schedule G purposes




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Contracts
Professional                Date     Hours     Activity
Taylor Hubbard            3/2/2023     0.7   Call J. Gany, T. Hubbard, and R. Guerrier (A&M) re: updates to the
                                             duplicate review and workstream.
Bridger Tenney            3/3/2023     0.7   Update review / identification process for each contract in master
                                             deck
Bridger Tenney            3/3/2023     0.3   Review IT contracts for service and due dates

Bridger Tenney            3/3/2023     1.0   Calculate damages and claims for each new contract in master file

Bridger Tenney            3/3/2023     0.6   Review previously rejected contracts for examples of liquidated
                                             damages provisions
Bridger Tenney            3/3/2023     1.2   Update contract review master file and slide deck

Bridger Tenney            3/3/2023     0.8   Call with N. Simoneaux, B. Tenney (A&M) re: review additional IT
                                             contracts
Bridger Tenney            3/3/2023     0.6   Add new IT contract information to master file summary

Chris Arnett              3/3/2023     0.3   Review revised contracts presentation reflecting comments from R.
                                             Parabatla (Company)
Claire Myers              3/3/2023     0.2   Discussion with M. Cilia (FTX) and C. Myers (A&M) re: affidavits of
                                             service
Douglas Lewandowski       3/3/2023     1.4   Update non-debtor agreements for schedule G

Douglas Lewandowski       3/3/2023     0.6   Prepare schedule G review file as part of Statements/Schedules
                                             review packages
Douglas Lewandowski       3/3/2023     1.1   Update contract database with changes from FTX schedule G
                                             reviewers
Douglas Lewandowski       3/3/2023     1.7   Review newly coded contracts for schedule G


Jared Gany                3/3/2023     1.0   Clean up of contracts tagged for potential errors

Jared Gany                3/3/2023     2.7   Review of address one field for hard names, double spaces, and
                                             other errors
Jared Gany                3/3/2023     2.3   Review of address two field for errors

Jared Gany                3/3/2023     3.3   Quality control procedures to fix effective dates

Jared Gany                3/3/2023     1.2   Search for and tagging of contracts with potential errors and contract
                                             templates
Katie Montague            3/3/2023     1.0   Research FTX-owned website and related purchase agreements and
                                             consulting contracts
Lance Clayton             3/3/2023     2.6   Finalize review of contracts for identifiable themes


Nicole Simoneaux          3/3/2023     0.8   Call with N. Simoneaux, B. Tenney (A&M) re: review additional IT
                                             contracts




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Contracts
Professional                Date     Hours     Activity
Nicole Simoneaux          3/3/2023     1.1   Review invoices for IT contracts

Nicole Simoneaux          3/3/2023     0.9   Update IT contract status and contract summary tracker


Nicole Simoneaux          3/3/2023     0.8   Populate IT contracts review summary

Ritchine Guerrier         3/3/2023     2.2   Conduct a review of effective dates

Taylor Hubbard            3/3/2023     0.9   Conduct quality control evaluation of completed contracts (Additional
                                             Notice Party #1 Name and Address fields) for Schedule G purposes
Taylor Hubbard            3/3/2023     2.9   Execute quality control analysis of completed agreements (Counter
                                             Party #1 Country fields) for Schedule G purposes
Taylor Hubbard            3/3/2023     3.2   Conduct quality control evaluation of completed agreements (Counter
                                             Party #1 State fields) for Schedule G purposes
Taylor Hubbard            3/3/2023     2.3   Perform quality control review of completed contracts (Counter Party
                                             #1 Zip Code fields) for Schedule G purposes
Jared Gany                3/4/2023     2.0   Contracts cleanup for foreign country addresses


Taylor Hubbard            3/4/2023     1.1   Execute quality control analysis of completed contracts (Additional
                                             Notice Party #1 Zip and Country fields) for Schedule G purposes
Taylor Hubbard            3/4/2023     2.6   Perform quality control review of completed agreements (Additional
                                             Notice Party #1 City and State fields) for Schedule G purposes
Taylor Hubbard            3/4/2023     1.9   Conduct quality control evaluation of completed agreements
                                             (Debtor/Legal Entity fields) for Schedule G purposes
Hudson Trent              3/5/2023     0.7   Finalize and redistribute contract review materials

Taylor Hubbard            3/5/2023     1.1   Perform duplicate identification review of completed contracts (A - B)
                                             for Schedule G purposes
Bridger Tenney            3/6/2023     0.4   Call with N. Simoneaux, B. Tenney (A&M) re: vendor invoices
                                             pertaining to IT contracts
Bridger Tenney            3/6/2023     0.5   Call with N. Simoneaux, B. Tenney (A&M) re: contract review process


Chris Arnett              3/6/2023     1.2   Review, edit, and comment on revised contract rejection deck and
                                             associated analysis
Chris Arnett              3/6/2023     0.7   Review newly discovered IT agreement for inclusion in analysis for
                                             potential rejection
Chris Arnett              3/6/2023     0.4   Discuss edits to contract rejection deck with H. Trent and C. Arnett
                                             (A&M)
Douglas Lewandowski       3/6/2023     0.8   Work on dormant/semi-dormant schedule G records

Douglas Lewandowski       3/6/2023     1.1   Create revised Schedule G review file for management


Douglas Lewandowski       3/6/2023     1.4   Update master contract schedule with changes from FTX Contract
                                             reviewers




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Contracts
Professional                Date     Hours     Activity
Douglas Lewandowski       3/6/2023     1.3   Correspond with FTX contract team re: schedule G review

Hudson Trent              3/6/2023     0.4   Discuss edits to contract rejection deck with H. Trent and C. Arnett
                                             (A&M)
Hudson Trent              3/6/2023     0.8   Discuss edits to contract rejection deck with H. Trent and C. Arnett
                                             (A&M)
Hudson Trent              3/6/2023     0.2   Update contract rejection materials and circulate for feedback

Nicole Simoneaux          3/6/2023     0.4   Call with N. Simoneaux, B. Tenney (A&M) re: vendor invoices
                                             pertaining to IT contracts
Nicole Simoneaux          3/6/2023     0.5   Call with N. Simoneaux, B. Tenney (A&M) re: contract review process

Ritchine Guerrier         3/6/2023     2.9   Individual review for counterparties starting with D-H


Ritchine Guerrier         3/6/2023     3.2   Individual review for counterparties starting with A-C

Taylor Hubbard            3/6/2023     1.3   Flag counter parties as Individuals or Entities (F - J) for name
                                             redaction purposes
Taylor Hubbard            3/6/2023     0.9   Conduct duplicate identification review of completed agreements (M -
                                             N) for Schedule G purposes
Taylor Hubbard            3/6/2023     2.1   Conduct duplicate identification review of completed contracts (F - H)
                                             for Schedule G purposes
Taylor Hubbard            3/6/2023     1.6   Execute duplicate identification review of completed contracts (K - L)
                                             for Schedule G purposes
Taylor Hubbard            3/6/2023     1.1   Flag counter parties as Individuals or Entities (A - E) for name
                                             redaction purposes
Taylor Hubbard            3/6/2023     1.4   Perform duplicate identification review of completed agreements (I -
                                             J) for Schedule G purposes
Taylor Hubbard            3/6/2023     3.2   Execute duplicate identification review of completed agreements (C -
                                             E) for Schedule G purposes
Chris Arnett              3/7/2023     1.3   Call regarding contracts with C. Jensen, D. Hisarli (S&C), R.
                                             Perubhatla (FTX), C. Arnett, N. Simoneaux, and H. Trent (A&M)
Chris Arnett              3/7/2023     0.4   Review and comment on rejection status of settlement agreement

Douglas Lewandowski       3/7/2023     2.1   Continue working on contract responses from FTX team related to
                                             schedule G disclosures
Douglas Lewandowski       3/7/2023     0.6   Correspond with C. Papadopoulos re: changes to contract schedule


Douglas Lewandowski       3/7/2023     0.7   Work on foreign language contracts for schedule G review

Douglas Lewandowski       3/7/2023     1.1   Work on contract memo for S. Kotarba (A&M) review


Douglas Lewandowski       3/7/2023     2.7   Work on comments from FTX contract reviewers into schedule G




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Contracts
Professional                Date     Hours     Activity
Hudson Trent              3/7/2023     1.3   Call regarding contracts with C. Jensen, D. Hisarli (S&C), R.
                                             Perubhatla (FTX), C. Arnett, N. Simoneaux, and H. Trent (A&M)
Luke Francis              3/7/2023     1.4   Searches for additional investment executory contracts


Nicole Simoneaux          3/7/2023     0.7   Analyze settlement agreement for contract summary tracker

Nicole Simoneaux          3/7/2023     1.3   Call regarding contracts with C. Jensen, D. Hisarli (S&C), R.
                                             Perubhatla (FTX), C. Arnett, N. Simoneaux, and H. Trent (A&M)
Nicole Simoneaux          3/7/2023     2.2   Track data from employment contracts in datasite


Ritchine Guerrier         3/7/2023     3.1   Japanese Market Agreement Updates I-L

Taylor Hubbard            3/7/2023     2.4   Perform quality control review of counter party addresses (A - H) for
                                             Schedule G purposes
Taylor Hubbard            3/7/2023     1.7   Flag counter parties as Individuals or Entities (S - Z) for name
                                             redaction purposes
Taylor Hubbard            3/7/2023     2.9   Flag counter parties as Individuals or Entities (K - R) for name
                                             redaction purposes
Taylor Hubbard            3/7/2023     1.9   Execute quality control analysis of counter party addresses (I - L) for
                                             Schedule G purposes
Chris Arnett              3/8/2023     0.8   Continue review and comment re: contract termination presentation
                                             and associated follow up
Douglas Lewandowski       3/8/2023     1.7   Work on feedback from H. Boo (FTX) on contract schedule


Douglas Lewandowski       3/8/2023     1.4   Prepare redaction review to identify individuals vs. non-individuals

Douglas Lewandowski       3/8/2023     0.8   Working session with R. Guerrier (A&M) re: contract review


Katie Montague            3/8/2023     0.8   Research status of lease agreement based on landlord inquiry

Nicole Simoneaux          3/8/2023     2.4   Incorporate status updates on IT contract rejections


Nicole Simoneaux          3/8/2023     0.6   Update IT contract summary and dataroom

Ritchine Guerrier         3/8/2023     0.8   Working session with R. Guerrier (A&M) re: contract review

Ritchine Guerrier         3/8/2023     2.7   Employment Agreements lookup and review


Taylor Hubbard            3/8/2023     3.2   Conduct quality control evaluation of counter party addresses (M - Q)
                                             for Schedule G purposes
Taylor Hubbard            3/8/2023     3.2   Conduct address updates to State and Country fields for Schedule G
                                             purposes
Taylor Hubbard            3/8/2023     2.3   Perform quality control review of counter party addresses (R - V) for
                                             Schedule G purposes




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Contracts
Professional                 Date     Hours     Activity
Taylor Hubbard             3/8/2023     3.1   Execute duplicate identification analysis of completed agreements
                                              (O - P) for Schedule G purposes
Katie Montague             3/9/2023     0.1   Email C. Jensen (S&C) regarding status of Antigua lease and ISP


Luke Francis               3/9/2023     1.2   Searches for policy details for debtors

Taylor Hubbard             3/9/2023     0.9   Conduct duplicate identification analysis of completed contracts (W -
                                              Z) for Schedule G purposes
Taylor Hubbard             3/9/2023     2.6   Execute duplicate identification evaluation of completed agreements
                                              (S - V) for Schedule G purposes
Taylor Hubbard             3/9/2023     0.3   Perform contract updates to FKA entity fields for Schedule G
                                              purposes
Taylor Hubbard             3/9/2023     2.1   Conduct address updates (A - M) for Schedule G purposes


Taylor Hubbard             3/9/2023     2.9   Perform duplicate identification review of completed contracts (Q - R)
                                              for Schedule G purposes
Katie Montague            3/10/2023     0.4   Communicate with Antigua landlord regarding status of payment


Taylor Hubbard            3/10/2023     1.4   Populate missing counter party address fields (N - Z) for Schedule G
                                              purposes
Taylor Hubbard            3/10/2023     0.6   Execute quality control review of counter party addresses (W - Z) for
                                              Schedule G purposes
Taylor Hubbard            3/10/2023     2.7   Perform address updates (N - Z) for Schedule G purposes


Taylor Hubbard            3/10/2023     2.9   Populate missing counter party address fields (A - M) for Schedule G
                                              purposes
Douglas Lewandowski       3/11/2023     1.5   Update schedule G to remove certain contracts identified by FTX
                                              review team
Bridger Tenney            3/13/2023     0.4   Distribute list of contracts rejected to date

Bridger Tenney            3/13/2023     0.6   Compile remaining contract amounts and damages for previously
                                              rejected contracts
Bridger Tenney            3/13/2023     0.7   Create summary of all rejected contracts with potential damages for
                                              each rejection
Bridger Tenney            3/13/2023     0.6   Distribute summary of rejected leases

Bridger Tenney            3/13/2023     0.5   Review shared files for rejected contract data


Bridger Tenney            3/13/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: contract rejections to
                                              date
Chris Arnett              3/13/2023     0.4   Review of rejection damages claims for all contracts and lease to
                                              date for MOR purposes
Chris Arnett              3/13/2023     0.7   Discuss contract rejection process with C. Arnett, H. Trent (A&M)




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Contracts
Professional                 Date     Hours     Activity
Hudson Trent              3/13/2023     0.7   Discuss contract rejection process with C. Arnett, H. Trent (A&M)

Katie Montague            3/13/2023     1.3   Prepare list of estimated damages for rejected real estate leases


Katie Montague            3/13/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: contract rejections to
                                              date
Katie Montague            3/13/2023     1.4   Prepare consolidated list of contracts rejected, including order docket
                                              number and date filed
Nicole Simoneaux          3/13/2023     0.8   Incorporate comments to contract review summary


Katie Montague            3/14/2023     0.5   Review list of contracts open for consideration to assume or reject

Katie Montague            3/14/2023     1.1   Review potentially unexpired contracts on file for rejection
                                              consideration
Nicole Simoneaux          3/14/2023     2.1   Review employment contracts and add to tracker

Nicole Simoneaux          3/15/2023     1.8   Review employment contracts and add to tracker


Katie Montague            3/16/2023     1.7   Summarize status of contract review

Nicole Simoneaux          3/16/2023     1.2   Prepare additions to IT contract review

Chris Arnett              3/17/2023     0.3   Compose several emails to D. Hisarli (S&C) re: potential contract
                                              rejections
Hudson Trent              3/17/2023     0.5   Review additional contracts slated for potential rejection

Bridger Tenney            3/20/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: contract review process


Bridger Tenney            3/20/2023     0.6   Review current master file for contracts in review

Chris Arnett              3/20/2023     0.4   Review and edit slide presentation for CEO review and approval re:
                                              contract treatment
Chris Arnett              3/20/2023     0.7   Review and comment on latest contracts analysis and potential
                                              rejections
Hudson Trent              3/20/2023     0.4   Correspond A&M case management team regarding contract review
                                              process
Katie Montague            3/20/2023     1.9   Review list of contracts open for consideration to assume or reject


Katie Montague            3/20/2023     1.9   Perform secondary review of contracts flagged during initial review

Katie Montague            3/20/2023     1.1   Incorporate severance agreement, purchase order, and settlement
                                              agreement review into consolidated review file
Katie Montague            3/20/2023     0.8   Meeting K. Montague and N. Simoneaux (A&M) re: contract review
                                              and rejection workstreams




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Professional                 Date     Hours     Activity
Katie Montague            3/20/2023     2.0   Incorporate employment agreement review into consolidated review
                                              file
Katie Montague            3/20/2023     0.4   Prepare dashboard for contract review process


Katie Montague            3/20/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: contract review process

Nicole Simoneaux          3/20/2023     0.8   Meeting K. Montague and N. Simoneaux (A&M) re: contract review
                                              and rejection workstreams
Bridger Tenney            3/21/2023     1.0   Review college endorsement contracts for rejection provisions


Bridger Tenney            3/21/2023     1.2   Review endorsement contracts for effective dates and damages
                                              provisions
Bridger Tenney            3/21/2023     0.5   Review foreign lease agreement


Bridger Tenney            3/21/2023     0.5   Distribute lease agreement for review

Bridger Tenney            3/21/2023     1.0   Review NIL contracts for outstanding balances and damages
                                              provisions
Bridger Tenney            3/21/2023     1.4   Prepare summary of invoice inquiries received

Bridger Tenney            3/21/2023     1.4   Prepare follow-up for each outstanding invoice and contract

Bridger Tenney            3/21/2023     1.4   Review contract listing for contracts to be considered for rejection


Chris Arnett              3/21/2023     0.6   Address inquiries re: proposed contract treatment for various IT-
                                              related agreements
Chris Arnett              3/21/2023     0.3   Review and edit slide presentation for CEO review and approval re:
                                              contract treatment
Chris Arnett              3/21/2023     0.8   Research contract terms and associated treatment of possible admin
                                              claim of foreign vendor
Katie Montague            3/21/2023     0.5   Update contract termination proposal deck based on comments


Katie Montague            3/21/2023     1.0   Correspond with R. Perubhatla (Company) regarding
                                              recommendations to terminate or reject contracts
Katie Montague            3/21/2023     0.4   Allocate contracts for review to various A&M personnel

Katie Montague            3/21/2023     1.5   Prepare summary for contract termination recommendation for J. Ray
                                              (Company)
Steve Coverick            3/21/2023     0.8   Review and provide comments on executory contract analysis

Bridger Tenney            3/22/2023     1.1   Match vendor invoices to contracts in master contract file


Bridger Tenney            3/22/2023     1.2   Prepare tracker for all vendor / contract inquiries sent from company
                                              vendor manager




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Contracts
Professional                 Date     Hours     Activity
Chris Arnett              3/22/2023     1.7   Research additional proposed contract rejections and propose
                                              strategy around same
Katie Montague            3/22/2023     1.6   Review list of IT contracts for rejection or termination consideration


Katie Montague            3/22/2023     2.0   Prepare presentation for S&C and J. Ray (Company) review
                                              regarding proposed approach to contracts
Katie Montague            3/22/2023     1.7   Update status of contracts for rejection or termination consideration

Bridger Tenney            3/23/2023     0.8   Analyze vendor contracts slated for rejection


Bridger Tenney            3/23/2023     1.3   Prepare contract rejection slide deck

Bridger Tenney            3/23/2023     1.0   Working session with K. Montague, B. Tenney (A&M) re: contract
                                              review and rejections
Bridger Tenney            3/23/2023     0.4   Distribute contract rejections deck to company vendor manager

Bridger Tenney            3/23/2023     1.2   Determine services provided by open IT contract


Bridger Tenney            3/23/2023     1.2   List contractual termination ramifications for each IT contract

Bridger Tenney            3/23/2023     1.0   Review vendor contract to determine if services are still necessary

Bridger Tenney            3/23/2023     1.3   Prepare analysis of IT contracts with outstanding invoices


Bridger Tenney            3/23/2023     0.9   Develop summary table for all IT contracts slated for rejection

Chris Arnett              3/23/2023     1.3   Review and comment on revised contract presentation re: potential
                                              IT contract rejections
Katie Montague            3/23/2023     1.3   Review updated presentation on contract review status and proposals

Katie Montague            3/23/2023     1.0   Working session with K. Montague, B. Tenney (A&M) re: contract
                                              review and rejections
Katie Montague            3/23/2023     1.9   Update contract proposals presentation for new information

Bridger Tenney            3/24/2023     0.8   Review contracts with termination stipulations

Bridger Tenney            3/24/2023     1.0   Edit contract review and rejections deck


Bridger Tenney            3/24/2023     1.2   Finalize contract rejection deck to send to S&C

Bridger Tenney            3/24/2023     1.2   Update contract rejections deck for contracts that no longer need to
                                              be rejected
Bridger Tenney            3/24/2023     0.4   Call with K. Montague, B. Tenney (A&M) and J. Petiford, D. Hisarli
                                              (S&C) re: contract rejections




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Professional                 Date     Hours     Activity
Bridger Tenney            3/24/2023     1.0   Add additional contracts to be rejected to master deck

Bridger Tenney            3/24/2023     0.6   Update summary page in contract review slide deck


Bridger Tenney            3/24/2023     1.0   Update contract review deck for only contracts to be rejected

Bridger Tenney            3/24/2023     0.7   Participate in discussion with B. Tenney, K. Montague, and C. Arnett
                                              (A&M) re: contract treatment
Chris Arnett              3/24/2023     0.7   Participate in discussion with B. Tenney, K. Montague, and C. Arnett
                                              (A&M) re: contract treatment
Chris Arnett              3/24/2023     2.4   Continue review of various contracts and potential treatment of same

Douglas Lewandowski       3/24/2023     1.1   Work on contract related diligence request from S&C


Katie Montague            3/24/2023     0.4   Call with K. Montague, B. Tenney (A&M) and J. Petiford, D. Hisarli
                                              (S&C) re: contract rejections
Katie Montague            3/24/2023     0.4   Correspond with company personnel regarding storage unit in UK


Katie Montague            3/24/2023     0.7   Participate in discussion with B. Tenney, K. Montague, and C. Arnett
                                              (A&M) re: contract treatment
Luke Francis              3/24/2023     1.2   Searches for additional funding for investments

Bridger Tenney            3/25/2023     1.1   Determine if IT contract services are still in use by company


Luke Francis              3/25/2023     1.6   Searches for contract terms and severance agreements

Bridger Tenney            3/27/2023     1.2   List status of contract review process for contracts slated for rejection


Bridger Tenney            3/27/2023     1.1   Review real estate purchase agreements

Bridger Tenney            3/27/2023     0.5   Review real estate rental agreements


Bridger Tenney            3/27/2023     1.4   Detail services provided by vendors slated for contract rejection

Bridger Tenney            3/27/2023     1.0   Draft recommendation for resolution of contract and vendor services

Bridger Tenney            3/27/2023     1.2   Create one page summary of vendor contract rejection


Bridger Tenney            3/27/2023     0.7   Working session with K. Montague, B. Tenney (A&M) re: real estate
                                              and storage contracts
Bridger Tenney            3/27/2023     0.9   Search shared folders for audit professional fees contracts


Bridger Tenney            3/27/2023     0.4   Update status of vendor account termination and service cancellation




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Contracts
Professional                 Date     Hours     Activity
Bridger Tenney            3/27/2023     1.0   Create summary of storage units rented by Company

Chris Arnett              3/27/2023     0.9   Prepare contract action recommendations for CEO approval


Katie Montague            3/27/2023     0.3   Update list of real estate leases and storage unit contracts

Katie Montague            3/27/2023     0.2   Communicate with O. Ravnushkin (Company) to arrange site visit of
                                              storage unit
Katie Montague            3/27/2023     0.6   Working session with K. Montague, B. Tenney (A&M) re: real estate
                                              and storage contracts
Katie Montague            3/27/2023     0.3   Correspond with D. Hisarli (S&C) regarding contract resolution
                                              proposals and status
Katie Montague            3/27/2023     0.5   Communicate with S&C to execute contract termination before
                                              renewal deadline
Steve Coverick            3/27/2023     0.8   Review and provide comments on contract termination analysis for IT
                                              vendor
Bridger Tenney            3/28/2023     1.2   Compile all lease information in one location


Bridger Tenney            3/28/2023     0.8   Prepare summary of storage units leased by the Company

Bridger Tenney            3/28/2023     0.9   Update vendor one page summary for June contract renewal date

Bridger Tenney            3/28/2023     0.6   Draft follow-up to vendor to receive contract and terminate service


Bridger Tenney            3/28/2023     0.9   Update statements and schedules amendment tracker with
                                              prepetition invoices
Bridger Tenney            3/28/2023     0.6   Determine status of vendor reach out process


Bridger Tenney            3/28/2023     0.7   Determine if vendors need to be noticed as a part of the creditor
                                              matrix
Katie Montague            3/28/2023     0.4   Correspond with S&C to finalize execution of service termination


Luke Francis              3/28/2023     1.7   Searches for severance agreements

Bridger Tenney            3/29/2023     0.9   Distribute vendor cancellation communication through email

Bridger Tenney            3/29/2023     0.6   Call with C. Arnett, K. Montague, B. Tenney (A&M) re: contract
                                              review status
Bridger Tenney            3/29/2023     1.2   Update status of each contract termination to review with full vendor
                                              team
Bridger Tenney            3/29/2023     1.2   Determine priority of each vendor rejection or termination in the
                                              tracker
Bridger Tenney            3/29/2023     1.1   Working session with K. Montague, B. Tenney (A&M) re: vendor
                                              inquiries




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Professional                 Date     Hours     Activity
Bridger Tenney            3/29/2023     1.0   Update vendor inquiry tracker with responses from vendors

Bridger Tenney            3/29/2023     0.5   Draft communication to send to vendor for cancelling accounts and
                                              terminating service
Chris Arnett              3/29/2023     0.6   Call with C. Arnett, K. Montague, B. Tenney (A&M) re: contract
                                              review status
Katie Montague            3/29/2023     0.6   Call with C. Arnett, K. Montague, B. Tenney (A&M) re: contract
                                              review status
Katie Montague            3/29/2023     1.1   Working session with K. Montague, B. Tenney (A&M) re: vendor
                                              inquiries
Luke Francis              3/29/2023     1.8   Searches for AP invoices for 3rd parties

Luke Francis              3/29/2023     1.3   Searches for additional contracts for employees


Bridger Tenney            3/30/2023     0.8   Working session with J. Gonzalez, N. Simoneaux, B. Tenney (A&M)
                                              re: contract review process for employment agreements
Bridger Tenney            3/30/2023     0.9   Update status of vendor service terminations


Johnny Gonzalez           3/30/2023     0.8   Working session with J. Gonzalez, N. Simoneaux, B. Tenney (A&M)
                                              re: contract review process for employment agreements
Luke Francis              3/30/2023     1.2   Searches for AP invoices for 3rd parties

Luke Francis              3/30/2023     1.7   Review into banking agreements


Luke Francis              3/30/2023     1.4   Review into additional 3rd party investment or venture firms

Nicole Simoneaux          3/30/2023     2.1   Review employment contracts and related employee status


Nicole Simoneaux          3/30/2023     0.8   Working session with J. Gonzalez, N. Simoneaux, B. Tenney (A&M)
                                              re: contract review process for employment agreements
Rob Esposito              3/30/2023     0.4   Review of contract data for response to S&C team requests


Bridger Tenney            3/31/2023     0.7   Call with K. Montague, B. Tenney (A&M) re: vendor follow-ups for
                                              cancellation of services
Bridger Tenney            3/31/2023     1.0   Update list vendor priority list based on vendor contract expiration
                                              and outstanding AP
Bridger Tenney            3/31/2023     0.6   Call with N. Simoneaux, B. Tenney (A&M) re: contract review
                                              diligence
Caoimhe Corr              3/31/2023     0.2   Participate in call with C. Arnett, D. Johnston, K. Ramanathan, M. van
                                              den Belt, H. Trent, C. Corr, K. Montague (A&M) and E. Simpson
                                              (S&C) regarding Dubai lease strategy
Chris Arnett              3/31/2023     0.6   Review lease and comment on lease termination status and strategy
                                              of middle eastern properties
Chris Arnett              3/31/2023     0.2   Call with C. Arnett, D. Johnston, K. Ramanathan, M. van den Belt, H.
                                              Trent, C. Corr, K. Montague (A&M) and E. Simpson (S&C) regarding
                                              Dubai lease strategy

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Professional                 Date     Hours     Activity
Chris Arnett              3/31/2023      0.6   Review progress on contract evaluation and rejection efforts

David Johnston            3/31/2023      0.2   Call with C. Arnett, D. Johnston, K. Ramanathan, M. van den Belt, H.
                                               Trent, C. Corr, K. Montague (A&M) and E. Simpson (S&C) regarding
                                               Dubai lease strategy
Hudson Trent              3/31/2023      0.2   Call with C. Arnett, D. Johnston, K. Ramanathan, M. van den Belt, H.
                                               Trent, C. Corr, K. Montague (A&M) and E. Simpson (S&C) regarding
                                               Dubai lease strategy
Katie Montague            3/31/2023      0.3   Call with R. Perubhatla (Company) regarding status of service and
                                               contract terminations
Katie Montague            3/31/2023      0.9   Review Dubai lease agreement and associated communications

Katie Montague            3/31/2023      0.2   Call with C. Arnett, D. Johnston, K. Ramanathan, M. van den Belt, H.
                                               Trent, C. Corr, K. Montague (A&M) and E. Simpson (S&C) regarding
                                               Dubai lease strategy
Katie Montague            3/31/2023      0.7   Call with K. Montague, B. Tenney (A&M) re: vendor follow-ups for
                                               cancellation of services
Kumanan Ramanathan        3/31/2023      0.2   Call with C. Arnett, D. Johnston, K. Ramanathan, M. van den Belt, H.
                                               Trent, C. Corr, K. Montague (A&M) and E. Simpson (S&C) regarding
                                               Dubai lease strategy
Luke Francis              3/31/2023      1.3   Review of employee separation agreements


Luke Francis              3/31/2023      1.5   Review into frozen funds and master service agreements

Mark vanden Belt          3/31/2023      0.2   Participate in call with C. Arnett, D. Johnston, K. Ramanathan, M. van
                                               den Belt, H. Trent, C. Corr, K. Montague (A&M) and E. Simpson
                                               (S&C) regarding Dubai lease strategy
Nicole Simoneaux          3/31/2023      0.6   Call with N. Simoneaux, B. Tenney (A&M) re: contract review
                                               diligence

Subtotal                               386.0

Court and UST Reporting
Professional                 Date     Hours     Activity
David Nizhner              3/1/2023      2.8   Update UST fee model with updated quarterly disbursements


Mackenzie Jones            3/1/2023      1.1   Prepare support packages and list of missing financial information for
                                               outstanding Form 426s
Cole Broskay               3/2/2023      1.8   Compile edits on FTX Switzerland GmbH Form 426 and send for
                                               review
Cole Broskay               3/2/2023      2.2   Load select entity data into FTX Trading Ltd Form 426

Cole Broskay               3/2/2023      1.3   Conversation between R. Gordon, C. Broskay(A&M) over open items
                                               for 2015.3 reports
Cole Broskay               3/2/2023      0.7   Call with R. Gordon, C. Broskay(A&M) to review of Turkish
                                               accounting records to begin Form 426 preparation



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Court and UST Reporting
Professional            Date     Hours     Activity
Cole Broskay          3/2/2023     1.1   Update Form 426 status slides to reflect entities reporting and
                                         progress made
Cole Broskay          3/2/2023     1.0   Incorporate feedback on draft Form 426 reports and re-distribute


Cole Broskay          3/2/2023     0.4   Compile and send draft Form 426 reports to counsel for review

Heather Ardizzoni     3/2/2023     0.3   Review of Turkish accounting records to begin Form 426 preparation
                                         with R. Gordon, H. Ardizzoni (A&M)
Mackenzie Jones       3/2/2023     1.7   Update Form 426 financial statement mapping for non-debtor entity 3


Mackenzie Jones       3/2/2023     1.7   Upload 2021 financial data to non-debtor entity 3 Form 426

Mackenzie Jones       3/2/2023     0.3   Research non-debtor entity 3 Q1 2022 financials


Mackenzie Jones       3/2/2023     0.4   Update non-debtor entity 1 financial statements in Form 426

Mackenzie Jones       3/2/2023     0.5   Update FTX Trading Ltd Form 426 formatting


Mackenzie Jones       3/2/2023     1.3   Translate December 2022 FTX silo entity 7's financials to USD

Mackenzie Jones       3/2/2023     2.1   Create 2021 financial statements for non-debtor entity 3

Mackenzie Jones       3/2/2023     2.1   Review and convert FTX silo entity 7's 2021 financials for use in
                                         Form 426
Mackenzie Jones       3/2/2023     1.1   Review and translate FTX silo entity 7's 2022 financials

Mackenzie Jones       3/2/2023     0.3   Review external sources for financial information related to FTX silo
                                         non-debtors
Mackenzie Jones       3/2/2023     0.3   Gather support documents for FTX silo entity 7 Form 426

Mackenzie Jones       3/2/2023     0.7   Adjust and print non-debtor entity 1 Form 426 for final review


Robert Gordon         3/2/2023     0.7   Call with R. Gordon, C. Broskay(A&M) to review of Turkish
                                         accounting records to begin Form 426 preparation
Robert Gordon         3/2/2023     0.7   Review non-debtor reporting status presentation and provide
                                         comments
Robert Gordon         3/2/2023     0.4   Review latest updates to FTX Switzerland form 426


Robert Gordon         3/2/2023     1.3   Conversation between R. Gordon, C. Broskay(A&M) over open items
                                         for 2015.3 reports
Robert Gordon         3/2/2023     0.3   Review of Turkish accounting records to begin Form 426 preparation
                                         with R. Gordon, H. Ardizzoni (A&M)
Cole Broskay          3/3/2023     1.7   Compile edits on FTX Capital Markets Form 426




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Cole Broskay         3/3/2023     0.6   Compile edits on FTX Vault Trust Form 426

Cole Broskay         3/3/2023     1.1   Conduct reviews of Form 426 templates prepared by team and
                                        provide edits and commentary
Mackenzie Jones      3/3/2023     0.8   Prepare draft of non-debtor entity 3 Form 426 for management's
                                        review
Mackenzie Jones      3/3/2023     0.7   Update non-debtor entity 3's Form 426 for new data received

Mackenzie Jones      3/3/2023     0.3   Review non-debtor entity intercompany transactions and balances for
                                        Form 426 Exhibit C
Cole Broskay         3/5/2023     1.1   Respond to Form 426 questions regarding FTX Switzerland entities

Mackenzie Jones      3/5/2023     0.5   Consolidate and distribute Form 426 support files


Cole Broskay         3/6/2023     1.2   Respond to questions from M. Cilia regarding Form 426 submissions

Cole Broskay         3/6/2023     0.8   Review intercompany footnote for select Rule 2015.3 reports


Cole Broskay         3/6/2023     0.6   Discussion with M. Cilia (RLKS) regarding select entities' Form 426
                                        submissions
Cole Broskay         3/6/2023     0.6   Call with M. Cilia (RLKS), C. Broskay, M. Jones (A&M) to review Rule
                                        2015.3 Form for FTX Vault Trust
Cole Broskay         3/6/2023     0.6   Call with M. Cilia (RLKS), C. Broskay, M. Jones (A&M) to review Rule
                                        2015.3 Form for FTX Switzerland
Cole Broskay         3/6/2023     0.2   Correspondence regarding progress of Rule 2015.3 reporting with
                                        internal accounting team
Mackenzie Jones      3/6/2023     0.6   Call with M. Cilia (RLKS), C. Broskay, M. Jones (A&M) to review Rule
                                        2015.3 Form for FTX Vault Trust
Mackenzie Jones      3/6/2023     1.5   Gather supporting documentation for non-debtor entity 3's Form 426

Mackenzie Jones      3/6/2023     0.9   Research supporting documentation for non-debtor entity 1's Form
                                        426
Mackenzie Jones      3/6/2023     0.6   Prepare for upcoming call with M. Cilia re: FTX Vault Trust and Rule
                                        2015.3
Mackenzie Jones      3/6/2023     0.6   Prepare for upcoming call with M. Cilia re: FTX Switzerland and Rule
                                        2015.3
Mackenzie Jones      3/6/2023     1.1   Research and compile support for management's questions
                                        regarding Form 426 for non-debtor entity 1
Mackenzie Jones      3/6/2023     0.6   Call with M. Cilia (RLKS), C. Broskay, M. Jones (A&M) to review Rule
                                        2015.3 Form for FTX Switzerland
Mackenzie Jones      3/6/2023     1.0   Research formation document support for non-debtor entity 3's Form
                                        426
Cole Broskay         3/7/2023     0.8   Discussion with M. Cilia (RLKS), C. Broskay, R. Gordon(A&M) over
                                        updates to FTX Switzerland Form 426




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Professional            Date     Hours     Activity
Cole Broskay          3/7/2023     0.6   Internal conversation on FTX Switzerland GmbH Form 426

Cole Broskay          3/7/2023     0.8   Review FTX Capital Markets Form 426 and provide commentary


Cole Broskay          3/7/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                         (A&M) to review MOR form and priorities
Cole Broskay          3/7/2023     0.7   Conversation with M. Cilia (RLKS) re FTX Switzerland GmbH
                                         financial data
Cole Broskay          3/7/2023     2.4   Continue compiling Rule 2015.3 reporting for select entities


Drew Hainline         3/7/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                         (A&M) to review MOR form and priorities
Joseph Sequeira       3/7/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                         (A&M) to review MOR form and priorities
Mackenzie Jones       3/7/2023     0.3   Prepare new Form 426 for foreign entity moved out of bankruptcy
                                         filing
Mackenzie Jones       3/7/2023     0.7   Update non-debtor entity 2's Form 426 for 2021 cash flow data


Mackenzie Jones       3/7/2023     0.7   Update non-debtor entity 3 Form 426 to send for client's review

Mackenzie Jones       3/7/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                         (A&M) to review MOR form and priorities
Mackenzie Jones       3/7/2023     1.9   Translate 2021 financials to USD for non-debtor entity 5


Mackenzie Jones       3/7/2023     0.2   Update non-debtor entity 1 Form 426 for changes requested by CFO

Mackenzie Jones       3/7/2023     0.2   Upload additional support documentation for non-debtor entity 2's
                                         Form 426
Mackenzie Jones       3/7/2023     1.1   Gather support for non-debtor entity 5's Form 426

Mackenzie Jones       3/7/2023     2.4   Research loan document support for potential intercompany balances


Mackenzie Jones       3/7/2023     0.6   Upload 2021 financial statements into non-debtor entity 5's Form 426

Mackenzie Jones       3/7/2023     1.5   Translate 2022 financials to USD for non-debtor entity 5

Robert Gordon         3/7/2023     0.8   Discussion with M. Cilia (RLKS), C. Broskay, R. Gordon(A&M) over
                                         updates to FTX Switzerland Form 426
Cole Broskay          3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
Cole Broskay          3/8/2023     1.3   Discussion between R. Gordon, C. Broskay(A&M) over Vault Trust
                                         Form 426
Cole Broskay          3/8/2023     2.1   Compile MPC entity financials for Rule 205.3 reporting




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Professional            Date     Hours     Activity
Cole Broskay          3/8/2023     2.1   Compile Rule 2015.3 reporting for various entities

Cole Broskay          3/8/2023     1.1   Working session between R. Gordon, C. Broskay(A&M) over
                                         intercompany updates to Switzerland Form 426
Cole Broskay          3/8/2023     1.6   Review Rule 2015.3 reporting compiled by internal team, reconcile to
                                         supporting documentation provided by client
Cole Broskay          3/8/2023     1.6   Review of FTX Vault Trust Form 426 supporting documentation

Cole Broskay          3/8/2023     0.7   Correspondence with internal accounting team regarding Form 426
                                         reporting and select entities details
Drew Hainline         3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
James Cooper          3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
Mackenzie Jones       3/8/2023     1.3   Review of convertible note for non-debtor entity 1's Form 426

Mackenzie Jones       3/8/2023     0.3   Review final version of non-debtor entity 3 Form 426


Mackenzie Jones       3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
Mackenzie Jones       3/8/2023     1.5   Gather support for non-debtor entity 1's Form 426 intercompany
                                         balance and APIC
Mackenzie Jones       3/8/2023     1.6   Gather bank statements for non-debtor entity 1's Form 426 support


Mackenzie Jones       3/8/2023     0.9   Research foreign entities operational and formation information for
                                         background data required for court reporting purposes
Robert Gordon         3/8/2023     0.2   Review Capital Markets form 426 for comments


Robert Gordon         3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
Robert Gordon         3/8/2023     1.1   Working session between R. Gordon, C. Broskay(A&M) over
                                         intercompany updates to Switzerland Form 426
Robert Gordon         3/8/2023     1.3   Discussion between R. Gordon, C. Broskay(A&M) over Vault Trust
                                         Form 426
Robert Gordon         3/8/2023     0.5   Prepare for MOR Section 1 discussion by reviewing examples of
                                         previous supporting schedules
Samuel Witherspoon    3/8/2023     0.4   Discussion with R. Gordon, C. Broskay, D. Hainline, M. Jones, J.
                                         Cooper, S. Witherspoon (A&M) re: MOR cash reporting
Cole Broskay          3/9/2023     0.3   Respond to questions regarding select Alameda entity Form 426
                                         status
Cole Broskay          3/9/2023     0.4   Respond to cash management question regarding MOR Part 1
                                         schedule
Cole Broskay          3/9/2023     1.1   Continue to compile Rule 2015.3 reporting for select entities




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Professional            Date     Hours     Activity
Cole Broskay          3/9/2023     0.7   Working session with J. Sequeira, D. Hainline, M. Jones, and C.
                                         Broskay (A&M) regarding financial statement line items for use in
                                         Monthly Operating Report attachments
Cole Broskay          3/9/2023     1.4   Compile General Notes to the Form 426 for select entities

Cole Broskay          3/9/2023     0.6   Working session with R. Gordon, J. Sequeira, C. Broskay, D.
                                         Hainline, M. Jones (A&M) regarding financials statement line items
                                         for MOR attachments
Drew Hainline         3/9/2023     0.6   Populate base fields for November MOR input template

Drew Hainline         3/9/2023     0.9   Review MOR input template and categorize columns into the various
                                         sections and parts
Drew Hainline         3/9/2023     0.6   Working session with R. Gordon, J. Sequeira, C. Broskay, D.
                                         Hainline, M. Jones (A&M) regarding financials statement line items
                                         for MOR attachments
Drew Hainline         3/9/2023     0.7   Working session with J. Sequeira, D. Hainline, M. Jones, and C.
                                         Broskay (A&M) regarding financial statement line items for use in
                                         Monthly Operating Report attachments
Drew Hainline         3/9/2023     2.0   Draft presentation of FSLIs for review with RLKS

Joseph Sequeira       3/9/2023     0.7   Working session with J. Sequeira, D. Hainline, M. Jones, and C.
                                         Broskay (A&M) regarding financial statement line items for use in
                                         Monthly Operating Report attachments
Joseph Sequeira       3/9/2023     0.6   Working session with R. Gordon, J. Sequeira, C. Broskay, D.
                                         Hainline, M. Jones (A&M) regarding financials statement line items
                                         for MOR attachments
Mackenzie Jones       3/9/2023     1.2   Prepare draft of non-debtor entity 4's Form 426

Mackenzie Jones       3/9/2023     0.6   Working session with R. Gordon, J. Sequeira, C. Broskay, D.
                                         Hainline, M. Jones (A&M) regarding financials statement line items
                                         for MOR attachments
Mackenzie Jones       3/9/2023     1.0   Update non-debtor entity 4's Form 426 exhibits


Mackenzie Jones       3/9/2023     0.2   Review comments from legal on non-debtor entity 3's Form 426

Mackenzie Jones       3/9/2023     0.2   Draft communication to FTX data owners for confirmation of entity
                                         status
Robert Gordon         3/9/2023     0.6   Working session with R. Gordon, J. Sequeira, C. Broskay, D.
                                         Hainline, M. Jones (A&M) regarding financials statement line items
                                         for MOR attachments
Robert Gordon         3/9/2023     0.3   Prepare for MOR FSLI discussion by reviewing and preparing
                                         comments from provided materials
Samuel Witherspoon    3/9/2023     0.8   Review intercompany transfers to exclude from MOR cash report


Samuel Witherspoon    3/9/2023     1.0   Create summary of cash receipts by legal entity

Samuel Witherspoon    3/9/2023     1.3   Create summary of cash disbursements by legal entity


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Cole Broskay          3/10/2023     0.4   Correspondence regarding Form 426 compilation status and timeline
                                          for select entities
Cole Broskay          3/10/2023     2.4   Incorporate feedback into Form 426 submissions and send back to
                                          internal team for review
Cole Broskay          3/10/2023     0.4   Call between R. Gordon, C. Broskay(A&M) to discuss McLaurin Form
                                          426
Cole Broskay          3/10/2023     1.7   Compile General Notes to the Form 426 for select entities

David Nizhner         3/10/2023     0.8   Update UST fee tracker for latest exhibit


Drew Hainline         3/10/2023     0.3   Review and confirm guidance for bankruptcy code 507 for priority
                                          claims
Mackenzie Jones       3/10/2023     0.8   Review of MOR data requirements and process


Mackenzie Jones       3/10/2023     0.6   Draft initial exhibits for non-debtor entity 5's Form 426

Mackenzie Jones       3/10/2023     0.3   Update Form 426 support files and distributing to third parties


Mackenzie Jones       3/10/2023     0.9   Gather payment support for intercompany transactions between
                                          controlled non-debtor and debtor
Mackenzie Jones       3/10/2023     0.5   Finalize non-debtor entity 4's draft Form 426

Mackenzie Jones       3/10/2023     0.6   Perform final review of non-debtor entity 4's Form 426


Mackenzie Jones       3/10/2023     1.9   Review and update non-debtor entity 6's Form 426

Robert Gordon         3/10/2023     0.4   Call between R. Gordon, C. Broskay(A&M) to discuss McLaurin Form
                                          426
Samuel Witherspoon    3/10/2023     0.8   Analyze cash disbursements by legal entity through year end

Samuel Witherspoon    3/10/2023     1.3   Update MOR cash backup summaries by legal entity silo


Samuel Witherspoon    3/10/2023     2.0   Prepare backup schedules to support cash reconciliations of the MOR

Cole Broskay          3/11/2023     0.9   Respond to questions regarding supporting documentation for select
                                          entities' Form 426 reports
Cole Broskay          3/11/2023     0.4   Update Rule 2015.3 reporting tracker for progress made to date


Cole Broskay          3/11/2023     1.6   Incorporate feedback and edits on FTX Capital Markets and FTX
                                          Vault Trust Form 426 reports
Cole Broskay          3/11/2023     1.4   Continue compiling Form 426 report for FTX Trading Ltd,
                                          incorporating feedback from internal team
Cole Broskay          3/11/2023     0.3   Discussion between R. Gordon, C. Broskay(A&M) over FTX
                                          Switzerland Form 426




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Court and UST Reporting
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Robert Gordon        3/11/2023     0.3   Discussion between R. Gordon, C. Broskay(A&M) over FTX
                                         Switzerland Form 426
Cole Broskay         3/12/2023     1.1   Compile financial data for select entities' Form 426 reports


Cole Broskay         3/12/2023     2.4   Continue to compile General Notes for select entities' Form 426
                                         reports
Robert Gordon        3/12/2023     0.4   Review FTX Trading 426 and provide comments

Cole Broskay         3/13/2023     0.4   Send FTX Trading Ltd Form 426 for review with counsel


Cole Broskay         3/13/2023     0.3   Continue incorporating feedback from internal accounting teams and
                                         counsel on outstanding Form 426 reports in review
Cole Broskay         3/13/2023     0.7   Correspondence on progress of Form 426 creation with M. Cilia
                                         (RLKS)
Cole Broskay         3/13/2023     2.4   Compile LedgerPrime LLC Form 426 report and General Notes

Cole Broskay         3/13/2023     0.4   Working session C. Broskay and M. Jones (A&M) re: Form 426
                                         support
Cole Broskay         3/13/2023     0.9   Incorporate edits and commentary in FTX Trading Ltd Form 426
                                         based on counsel feedback
Cole Broskay         3/13/2023     2.3   Re-incorporate latest financial data into FTX Switzerland Form 426

Cole Broskay         3/13/2023     1.7   Various correspondence with counsel and internal accounting teams
                                         regarding edits to Form 426 reports in review
Cole Broskay         3/13/2023     0.6   Call with C. Broskay and M. Jones (A&M) to review outstanding Form
                                         426 questions and action items
Cole Broskay         3/13/2023     0.8   Working session to incorporate adjustments into outstanding Form
                                         426 reports
Mackenzie Jones      3/13/2023     0.5   Draft general notes for non-debtor entity 8 Form 426

Mackenzie Jones      3/13/2023     1.2   Draft non-debtor entity 8 Form 426 exhibits


Mackenzie Jones      3/13/2023     0.7   Update non-debtor entity 5 Form 426 per feedback from legal

Mackenzie Jones      3/13/2023     1.2   Finalize updates made by legal for non-debtor entity 6

Mackenzie Jones      3/13/2023     0.4   Working session C. Broskay and M. Jones (A&M) re: Form 426
                                         support
Mackenzie Jones      3/13/2023     1.7   Draft responses to Form 426 questions from CFO

Mackenzie Jones      3/13/2023     0.6   Call with C. Broskay and M. Jones (A&M) to review outstanding Form
                                         426 questions and action items
Mackenzie Jones      3/13/2023     0.6   Review of outstanding Form 426 questions and action items R.
                                         Gordon and M. Jones (A&M)




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Mackenzie Jones       3/13/2023     1.6   Answer management review questions on non-debtor entity 6

Robert Gordon         3/13/2023     0.6   Review of outstanding Form 426 questions and action items R.
                                          Gordon and M. Jones (A&M)
Robert Gordon         3/13/2023     0.3   Review S&C comments for Maclaurin form 426

Robert Gordon         3/13/2023     0.9   Continue reviewing FTX Trading Form 426 and supporting materials

Samuel Witherspoon    3/13/2023     1.3   Finalize cash balance report for the UST


Cole Broskay          3/14/2023     2.1   Continue incorporating feedback from counsel and internal
                                          accounting on select Form 426 reports
Cole Broskay          3/14/2023     2.2   Continue compiling Form 426 reports for select entities


Cole Broskay          3/14/2023     0.9   Call with C. Broskay, D. Hainline, M. Jones (A&M) to discuss
                                          reconciliation process for MOR preparation
Cole Broskay          3/14/2023     0.5   Call with R. Gordon, C. Broskay, M. Jones (A&M) to review status of
                                          Form 426s
Cole Broskay          3/14/2023     0.9   Working session with C. Broskay and M. Jones (A&M) to draft non-
                                          debtor entity 8's Form 426
Cole Broskay          3/14/2023     0.6   Call with C. Broskay and M. Jones (A&M) to review outstanding Form
                                          426s
Cole Broskay          3/14/2023     1.3   Finalize General Notes for the Form 426 for select entities and
                                          submit for final review
Drew Hainline         3/14/2023     0.9   Call with C. Broskay, D. Hainline, M. Jones (A&M) to discuss
                                          reconciliation process for MOR preparation
Mackenzie Jones       3/14/2023     0.9   Call with C. Broskay, D. Hainline, M. Jones (A&M) to discuss
                                          reconciliation process for MOR preparation
Mackenzie Jones       3/14/2023     0.9   Working session with C. Broskay and M. Jones (A&M) to draft non-
                                          debtor entity 8's Form 426
Mackenzie Jones       3/14/2023     0.4   Update and distribute last Form 426 for filing


Mackenzie Jones       3/14/2023     0.8   Organize support and update status of Form 426s in reporting tracker

Mackenzie Jones       3/14/2023     0.6   Call with C. Broskay and M. Jones (A&M) to review outstanding Form
                                          426s
Mackenzie Jones       3/14/2023     0.5   Call with R. Gordon, C. Broskay, M. Jones (A&M) to review status of
                                          Form 426s
Mackenzie Jones       3/14/2023     0.5   Call with R. Gordon, M. Jones (A&M) to discuss follow-up items and
                                          next steps over Form 426s
Mackenzie Jones       3/14/2023     0.8   Remove excess pages from Form 426s for filing with court


Mackenzie Jones       3/14/2023     0.6   Review of outstanding Form 426s and open items on existing Form
                                          426s




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Mackenzie Jones       3/14/2023     0.7   Correct exhibits and prepare footnotes for final Form 426s

Mackenzie Jones       3/14/2023     0.6   Prepare and distribute each Form 426 for final signature


Mackenzie Jones       3/14/2023     1.1   Distribute signed Form 426s for filing

Mackenzie Jones       3/14/2023     0.4   Perform updates per CFO's comments and resend Form 426s for
                                          signature
Mackenzie Jones       3/14/2023     0.9   Consolidate materials needed to draft non-debtor entity 8's Form 426


Mackenzie Jones       3/14/2023     1.2   Prepare Form 426 drafts for CFO signature

Robert Gordon         3/14/2023     0.5   Review status of each Form 426s


Robert Gordon         3/14/2023     0.5   Call with R. Gordon, M. Jones (A&M) to discuss follow-up items and
                                          next steps over Form 426s
Robert Gordon         3/14/2023     0.5   Call with R. Gordon, C. Broskay, M. Jones (A&M) to review status of
                                          Form 426s
Samuel Witherspoon    3/14/2023     1.1   Analyze intercompany related payments to support the MOR

Cole Broskay          3/15/2023     0.6   Plan session with R. Gordon, C. Broskay(A&M) on November MORs

Cole Broskay          3/15/2023     0.6   Evaluate approach to reconcile MOR financial data to statements and
                                          schedules data submitted
Cole Broskay          3/15/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                          (A&M) to develop process plan for MOR reporting
Drew Hainline         3/15/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                          (A&M) to develop process plan for MOR reporting
Joseph Sequeira       3/15/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                          (A&M) to develop process plan for MOR reporting
Mackenzie Jones       3/15/2023     0.4   Update non-debtor reporting status deck for management update


Mackenzie Jones       3/15/2023     1.2   Working session with C. Broskay, J. Sequeira, D. Hainline, M. Jones
                                          (A&M) to develop process plan for MOR reporting
Mackenzie Jones       3/15/2023     2.1   Review data gaps and financials needed for MOR reporting

Robert Gordon         3/15/2023     0.6   Plan session with R. Gordon, C. Broskay(A&M) on November MORs


Drew Hainline         3/16/2023     0.4   Review open items and develop agenda for meeting with RLKS to
                                          align on MOR preparation matters
Mackenzie Jones       3/16/2023     1.8   Review available data for entities required to complete MOR filing


Mackenzie Jones       3/17/2023     1.4   Prepare MOR overview summary for MOR reporting




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Court and UST Reporting
Professional             Date     Hours     Activity
Cole Broskay          3/20/2023     1.0   Working session with J. Sequeira, C. Broskay, D. Hainline, M. Jones
                                          (A&M) on MOR priorities and next steps
Cole Broskay          3/20/2023     1.1   Meeting with M. Cilia (RLKS), R. Hoskins (RLKS), R. Gordon, C.
                                          Broskay, J. Sequeira, D. Hainline, M. Jones (A&M) to align on FSLIs
                                          and MOR preparation
Cole Broskay          3/20/2023     0.3   Teleconference between R. Gordon, C. Broskay(A&M) over potential
                                          changes to the MOR process
Drew Hainline         3/20/2023     0.7   Develop plan for MOR next steps including FSLI confirmation and
                                          alignment
Drew Hainline         3/20/2023     0.3   Call with M. Hernandez (RLA) to align on open items for December
                                          close of QBO-based entities
Drew Hainline         3/20/2023     1.8   Draft changes to MOR FSLIs and presentation after meeting with
                                          RLKS
Drew Hainline         3/20/2023     1.2   Update MOR reporting summary deck for management review

Drew Hainline         3/20/2023     0.3   Meeting with D. Hainline and M. Jones (A&M) to debrief MOR
                                          preparation
Drew Hainline         3/20/2023     0.8   Review and update proposed FSLIs for MOR attachments

Drew Hainline         3/20/2023     0.3   Review and update proposed MOR FSLIs in advance of alignment
                                          meeting with RLKS
Drew Hainline         3/20/2023     0.3   Working session with J. Sequeira, D. Hainline (A&M) to align on next
                                          steps for MOR planning
Drew Hainline         3/20/2023     1.0   Working session with J. Sequeira, C. Broskay, D. Hainline, M. Jones
                                          (A&M) on MOR priorities and next steps
Drew Hainline         3/20/2023     1.1   Meeting with M. Cilia (RLKS), R. Hoskins (RLKS), R. Gordon, C.
                                          Broskay, J. Sequeira, D. Hainline, M. Jones (A&M) to align on FSLIs
                                          and MOR preparation
Joseph Sequeira       3/20/2023     0.3   Working session with J. Sequeira, D. Hainline (A&M) to align on next
                                          steps for MOR planning
Joseph Sequeira       3/20/2023     1.1   Meeting with M. Cilia (RLKS), R. Hoskins (RLKS), R. Gordon, C.
                                          Broskay, J. Sequeira, D. Hainline, M. Jones (A&M) to align on FSLIs
                                          and MOR preparation
Joseph Sequeira       3/20/2023     1.0   Working session with J. Sequeira, C. Broskay, D. Hainline, M. Jones
                                          (A&M) on MOR priorities and next steps
Joseph Sequeira       3/20/2023     0.4   Meeting J. Sequeira and M. Jones (A&M) to debrief and alignment on
                                          MOR preparation
Kevin Kearney         3/20/2023     0.8   Debrief MOR preparation meeting with K. Kearney and M. Jones
                                          (A&M)
Mackenzie Jones       3/20/2023     0.7   Update support files and compile financial data used in MOR
                                          reporting process
Mackenzie Jones       3/20/2023     1.0   Working session with J. Sequeira, C. Broskay, D. Hainline, M. Jones
                                          (A&M) on MOR priorities and next steps
Mackenzie Jones       3/20/2023     0.4   Meeting J. Sequeira and M. Jones (A&M) to debrief and alignment on
                                          MOR preparation



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Court and UST Reporting
Professional              Date     Hours     Activity
Mackenzie Jones        3/20/2023     0.3   Update MOR reporting summary for outstanding tasks

Mackenzie Jones        3/20/2023     1.3   Pull support examples for MOR meeting preparation


Mackenzie Jones        3/20/2023     1.1   Meeting with M. Cilia (RLKS), R. Hoskins (RLKS), R. Gordon, C.
                                           Broskay, J. Sequeira, D. Hainline, M. Jones (A&M) to align on FSLIs
                                           and MOR preparation
Mackenzie Jones        3/20/2023     0.3   Meeting with D. Hainline and M. Jones (A&M) to debrief MOR
                                           preparation
Mackenzie Jones        3/20/2023     0.8   Debrief MOR preparation meeting with K. Kearney and M. Jones
                                           (A&M)
Robert Gordon          3/20/2023     1.1   Meeting with M. Cilia (RLKS), R. Hoskins (RLKS), R. Gordon, C.
                                           Broskay, J. Sequeira, D. Hainline, M. Jones (A&M) to align on FSLIs
                                           and MOR preparation
Robert Gordon          3/20/2023     0.3   Teleconference between R. Gordon, C. Broskay(A&M) over potential
                                           changes to the MOR process
Drew Hainline          3/21/2023     0.4   Call with D. Hainline and M. Jones (A&M) re: summary of
                                           deliverables for management
Drew Hainline          3/21/2023     0.3   Call with D. Hainline & M. Jones (A&M) to review MOR FSLI mapping

Drew Hainline          3/21/2023     0.2   Meeting with D. Hainline, J. Sequeira, M. Jones (A&M) to review
                                           MOR FSLI mapping
Drew Hainline          3/21/2023     0.4   Discuss summary of deliverables for management D. Hainline and K.
                                           Kearney (A&M)
Drew Hainline          3/21/2023     0.9   Draft changes to MOR FSLIs and presentation after meeting with
                                           RLKS
Joseph Sequeira        3/21/2023     0.2   Meeting with D. Hainline, J. Sequeira, M. Jones (A&M) to review
                                           MOR FSLI mapping
Joseph Sequeira        3/21/2023     0.2   Prepare for MOR financial statement line item mapping meeting

Kevin Kearney          3/21/2023     0.4   Discuss summary of deliverables for management D. Hainline and K.
                                           Kearney (A&M)
Mackenzie Jones        3/21/2023     0.4   Call with D. Hainline and M. Jones (A&M) re: summary of
                                           deliverables for management
Mackenzie Jones        3/21/2023     0.2   Meeting with D. Hainline, J. Sequeira, M. Jones (A&M) to review
                                           MOR FSLI mapping
Mackenzie Jones        3/21/2023     0.3   Call with D. Hainline & M. Jones (A&M) to review MOR FSLI mapping

Ed Mosley              3/23/2023     0.2   Discuss UST interactions regarding foreign jurisdiction options
                                           analyses with A.Kranzley (S&C)
Trevor DiNatale        3/23/2023     0.9   Review crypto holdings detail and coin quantities for MOR


Cole Broskay           3/24/2023     0.9   Call with C. Broskay, D. Hainline (A&M) to evaluate current and
                                           alternative approaches to migrating balances into post-petition books
                                           and assess impact to MOR generation



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Court and UST Reporting
Professional                 Date     Hours     Activity
Cole Broskay              3/24/2023      0.6   Working session with C. Broskay, R. Gordon(A&M) on account
                                               mapping for MORS
Cole Broskay              3/24/2023      0.5   Discussion between R. Gordon, C. Broskay(A&M) over feedback on
                                               MOR approach
Drew Hainline             3/24/2023      0.9   Call with C. Broskay, D. Hainline (A&M) to evaluate current and
                                               alternative approaches to migrating balances into post-petition books
                                               and assess impact to MOR generation
Jeffery Stegenga          3/24/2023      0.4   Review of UST's request for direct certification of the examiner
                                               motion ruling
Robert Gordon             3/24/2023      0.6   Working session with C. Broskay, R. Gordon(A&M) on account
                                               mapping for MORS
Robert Gordon             3/24/2023      0.5   Discussion between R. Gordon, C. Broskay(A&M) over feedback on
                                               MOR approach

Subtotal                               219.3

Creditor Cooperation
Professional                 Date     Hours     Activity
Chris Arnett               3/1/2023      0.2   Provide email commentary re: KERP responses and motion to L.
                                               Callerio (A&M)
Cullen Stockmeyer          3/1/2023      1.7   Research diligence request re: user accounts and withdrawals

Ed Mosley                  3/1/2023      1.4   Review of updated and latest version of the presentation to the UCC
                                               regarding exchange balances
Ed Mosley                  3/1/2023      1.7   Review of updated draft of UCC presentation regarding updated
                                               crypto assets and liabilities of the exchanges
Ed Mosley                  3/1/2023      0.3   Discuss crypto bridge for UCC with E. Mosley, G. Walia, H. Trent
                                               (A&M)
Ed Mosley                  3/1/2023      1.8   Review of and prepare comments to draft press release for UCC
                                               information
Ed Mosley                  3/1/2023      2.3   Prepare for upcoming meeting with UCC regarding cryptocurrency
                                               assets and liabilities on the exchanges
Erik Taraba                3/1/2023      0.5   Make additional updates to formatting for OCP schedule in response
                                               to UCC request
Gaurav Walia               3/1/2023      0.3   Call with K. Ramanathan, G. Walia, V. Rajasekhar, L. Callerio, W.
                                               Walker (A&M), J. de Brignac, B. Bromberg, S. Simms, I. Leonaitis
                                               (FTI) regarding shortfall deck and excel supplement
Gaurav Walia               3/1/2023      0.3   Working session with K. Ramanathan, G. Walia and H. Trent (A&M)
                                               regarding shortfall analysis
Gaurav Walia               3/1/2023      0.3   Discuss crypto bridge for UCC with E. Mosley, G. Walia, H. Trent
                                               (A&M)
Hudson Trent               3/1/2023      0.3   Discuss crypto bridge for UCC with E. Mosley, G. Walia, H. Trent
                                               (A&M)
Hudson Trent               3/1/2023      0.3   Working session with K. Ramanathan, G. Walia and H. Trent (A&M)
                                               re: shortfall analysis



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Creditor Cooperation
Professional                Date     Hours     Activity
James Cooper              3/1/2023     0.2   Prepare response to FTI re: yield on cash held

Kumanan Ramanathan        3/1/2023     0.3   Various email correspondences with J. Ray (FTX) regarding UCC
                                             deliverables
Kumanan Ramanathan        3/1/2023     0.3   Discuss with K.Ramanathan, G. Walia, H.Trent (A&M) regarding
                                             crypto bridge for UCC
Kumanan Ramanathan        3/1/2023     0.1   Call with L. Callerio (A&M) regarding FTI diligence requests

Kumanan Ramanathan        3/1/2023     0.3   Working session with K. Ramanathan, G. Walia and H. Trent (A&M)
                                             regarding shortfall analysis
Kumanan Ramanathan        3/1/2023     0.3   Call with K. Ramanathan, G. Walia, V. Rajasekhar, L. Callerio, W.
                                             Walker (A&M), J. de Brignac, B. Bromberg, S. Simms, I. Leonaitis
                                             (FTI) regarding shortfall deck and excel supplement
Lorenzo Callerio          3/1/2023     0.7   Review the final version of the surety bond plan deck and circulate it
                                             to the constituents
Lorenzo Callerio          3/1/2023     0.3   Call with K. Ramanathan, G. Walia, V. Rajasekhar, L. Callerio, W.
                                             Walker (A&M), J. de Brignac, B. Bromberg, S. Simms, I. Leonaitis
                                             (FTI) regarding shortfall deck and excel supplement
Lorenzo Callerio          3/1/2023     0.3   Working session with K. Ramanathan, G. Walia and H. Trent (A&M)
                                             re: shortfall analysis
Lorenzo Callerio          3/1/2023     0.1   Call with K. Ramanathan (A&M) re: FTI diligence requests


Vinny Rajasekhar          3/1/2023     0.3   Call with K. Ramanathan, G. Walia, V. Rajasekhar, L. Callerio, W.
                                             Walker (A&M), J. de Brignac, B. Bromberg, S. Simms, I. Leonaitis
                                             (FTI) regarding shortfall deck and excel supplement
William Walker            3/1/2023     0.9   Review questions from UCC advisors on the latest coin report

William Walker            3/1/2023     0.3   Call with K. Ramanathan, G. Walia, V. Rajasekhar, L. Callerio, W.
                                             Walker (A&M), J. de Brignac, B. Bromberg, S. Simms, I. Leonaitis
                                             (FTI) regarding shortfall deck and excel supplement
Chris Arnett              3/2/2023     1.0   Participate in call with B. Bromberg and FTI team (FTI), J. Ray and S.
                                             Melamed (Company), H. Trent, S. Coverick, C. Arnett (A&M) re:
                                             potential Japan KEIP
Chris Arnett              3/2/2023     0.3   Review memo prepared by EY on employee claim withholdings and
                                             begin preparing summary of same
Cullen Stockmeyer         3/2/2023     0.7   Upload documents to UCC re: exchange


Ed Mosley                 3/2/2023     0.4   Review of draft presentation of claimant tax considerations for use
                                             with the UCC
Ed Mosley                 3/2/2023     0.5   Discussion w/ E. Mosley, J. Stegenga (A&M) re: UCC presentation,
                                             timing of public release and staffing update
Ed Mosley                 3/2/2023     1.2   Participate in discussion regarding presentation of exchange
                                             balances with UCC Members (various), PH (K.Hansen, others),
                                             Jefferies (M. O'Hara, others), FTI (S.Simms, others), S&C
                                             (A.Dietderich, others), J. Ray (FTX), and A&M (K.Ramanathan,
                                             others)




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Creditor Cooperation
Professional                Date     Hours     Activity
Ed Mosley                 3/2/2023     1.6   Review of latest version of the presentation to the UCC regarding
                                             exchange balances
Hudson Trent              3/2/2023     1.0   Participate in call with B. Bromberg and FTI team (FTI), J. Ray and S.
                                             Melamed (Company), H. Trent, S. Coverick, C. Arnett (A&M) re:
                                             potential Japan KEIP
Jeffery Stegenga          3/2/2023     0.5   Discussion w/ E. Mosley, J. Stegenga (A&M) re: UCC presentation,
                                             timing of public release and staffing update
Kevin Baker               3/2/2023     1.2   Investigate UCC-post petition deposits for key individuals

Kumanan Ramanathan        3/2/2023     0.3   Review of historical UCC postings


Robert Gordon             3/2/2023     0.5   Read through shortfall analysis prior to public release

Steve Coverick            3/2/2023     1.0   Participate in call with B. Bromberg and FTI team (FTI), J. Ray and S.
                                             Melamed (Company), H. Trent, S. Coverick, C. Arnett (A&M) re:
                                             potential Japan KEIP
Chris Arnett              3/3/2023     0.7   Develop summary slide re: employee wage claims treatment


Chris Arnett              3/3/2023     0.2   Review and comment on written KEIP proposal from UCC re: Japan

James Cooper              3/3/2023     0.2   Distribute budget 3 materials to UCC advisors


Matthew Flynn             3/3/2023     2.2   UCC Member Deliverable timeline presentation

Cullen Stockmeyer         3/4/2023     1.1   Prepare customer distribution data approval pipeline for share with
                                             UCC
Chris Arnett              3/6/2023     0.4   Draft email communication re: changes to the KERP motion due to
                                             resignations
Chris Arnett              3/6/2023     1.3   Draft summary presentation on the treatment of employee wage
                                             claims
Chris Arnett              3/6/2023     1.1   Develop creditor summary of 1099 tax treatment memorandum


Chris Arnett              3/6/2023     0.3   Compose email to C. Howe (A&M) re: claim tax treatment summaries

Cullen Stockmeyer         3/6/2023     1.3   Acquire approvals for customer distribution summaries


Cullen Stockmeyer         3/6/2023     0.4   Upload Japan revival document to dataroom

Cullen Stockmeyer         3/6/2023     0.9   Upload custodial agreements to dataroom

Chris Arnett              3/7/2023     0.6   Finalize claims summary for distribution to FTI


Chris Arnett              3/7/2023     0.4   Address KERP questions on analysis and motion from FTI

Cullen Stockmeyer         3/7/2023     1.9   Update language in EU KYC Presentation for UCC



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Creditor Cooperation
Professional                Date     Hours     Activity
Cullen Stockmeyer         3/7/2023     2.3   Update formatting in EU KYC Presentation for UCC

Ed Mosley                 3/7/2023     0.3   Call with P. Greaves (PwC), S. Coverick, E. Mosley, K. Ramanathan
                                             (A&M) re: reservation of rights filing
Erik Taraba               3/7/2023     1.3   Develop schedule of professional fees payments in response to
                                             request from UCC
Erik Taraba               3/7/2023     0.7   Update formatting of professional fees schedule to match other UCC
                                             materials
Erik Taraba               3/7/2023     0.8   Revise professional fees payment schedule for UCC per feedback
                                             from leadership
Kevin Kearney             3/7/2023     1.8   Compilation of all stock purchases from insiders to WRS and Dotcom
                                             silos
Kevin Kearney             3/7/2023     1.8   Compilation of all SAFE notes from insiders to WRS and Dotcom silos


Kevin Kearney             3/7/2023     1.9   Compilation of all stock purchases from insiders with respect to
                                             Binance share purchases for WRS silo
Kumanan Ramanathan        3/7/2023     0.4   Conduct on-chain tracing exercise on wallet address activity request
                                             from FTI
Kumanan Ramanathan        3/7/2023     1.1   Various correspondences with I. Leonaitis (FTI) regarding crypto
                                             inquiries, including review of relevant models and materials
Kumanan Ramanathan        3/7/2023     0.3   Call with P. Greaves (PwC), E. Mosley, S. Coverick, K. Ramanathan
                                             (A&M) regarding reservation of rights filing
Steve Coverick            3/7/2023     0.3   Call with P. Greaves (PwC), S. Coverick, E. Mosley, K. Ramanathan
                                             (A&M) re: reservation of rights filing
Chris Arnett              3/8/2023     2.2   Finalize KERP motion and declarations with commentary from UCC

Gaurav Walia              3/8/2023     0.5   Call with J. de Brignac, F. Risler (FTI) and S. Coverick, L. Callerio, W.
                                             Walker, G. Walia, K. Ramanathan (A&M) to discuss stablecoin and
                                             market maker matters
Kumanan Ramanathan        3/8/2023     0.5   Call with J. de Brignac, F. Risler (FTI) and S. Coverick, L. Callerio, W.
                                             Walker, G. Walia, K. Ramanathan (A&M) to discuss stablecoin and
                                             market maker matters
Kumanan Ramanathan        3/8/2023     0.6   Review stablecoin analysis and provide feedback for UCC inquiries

Lorenzo Callerio          3/8/2023     0.5   Call with J. de Brignac, F. Risler (FTI) and S. Coverick, L. Callerio, W.
                                             Walker, G. Walia, K. Ramanathan (A&M) to discuss stablecoin and
                                             market maker matters
Matthew Flynn             3/8/2023     1.1   Review stablecoin analysis for UCC


Steve Coverick            3/8/2023     0.5   Call with J. de Brignac, F. Risler (FTI) and S. Coverick, L. Callerio, W.
                                             Walker, G. Walia, K. Ramanathan (A&M) to discuss stablecoin and
                                             market maker matters
William Walker            3/8/2023     0.5   Call with K. Ramanathan, W. Walker, G. Walia, S. Coverick, L.
                                             Callerio (A&M), F. Risler, J. de Brignac (FTI) to discuss third party
                                             exchange data




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Creditor Cooperation
Professional                Date     Hours     Activity
William Walker            3/8/2023     0.5   Call with J. de Brignac, F. Risler (FTI) and S. Coverick, L. Callerio, W.
                                             Walker, G. Walia, K. Ramanathan (A&M) to discuss stablecoin and
                                             market maker matters
Cullen Stockmeyer         3/9/2023     0.1   Call with K. Kearney, L. Callerio, R, Gordon, C. Stockmeyer (A&M)
                                             re: FTX.US Lenders diligence
Kevin Kearney             3/9/2023     0.1   Call with K. Kearney, L. Callerio, R, Gordon, C. Stockmeyer (A&M)
                                             re: FTX.US Lenders diligence
Kumanan Ramanathan        3/9/2023     1.4   Review of UCC diligence questions and responses and provide
                                             feedback
Kumanan Ramanathan        3/9/2023     0.6   Prepare approval email correspondence for J. Ray (FTX) on posting
                                             materials for UCC
Lorenzo Callerio          3/9/2023     0.1   Call with K. Kearney, L. Callerio, R, Gordon, C. Stockmeyer (A&M)
                                             re: FTX.US Lenders diligence
Robert Gordon             3/9/2023     0.1   Call with K. Kearney, L. Callerio, R, Gordon, C. Stockmeyer (A&M)
                                             re: FTX.US Lenders diligence
Steve Coverick            3/9/2023     0.4   Correspond with S&C and A&M personnel regarding JPL application
                                             for directions pleading in Bahamian court
Steve Coverick            3/9/2023     0.4   Review JPL application for directions pleading in Bahamian court

Cullen Stockmeyer        3/10/2023     1.3   Prepare venture files for upload to virtual dataroom


Cullen Stockmeyer        3/10/2023     1.6   Retrieve approvals to share items with UCC

Ed Mosley                3/10/2023     0.7   Review of counterproposal between FTX Japan management and
                                             UCC regarding employee compensation programs
Ed Mosley                3/10/2023     1.3   Review of draft presentation to UCC regarding customer data
                                             requested
James Cooper             3/10/2023     1.2   Prepare responses to FTI re: cash flow forecast questions

Kevin Baker              3/10/2023     1.4   Provide account profiles and withdrawals transactions to specific
                                             wallet addresses for the UCC
Kevin Kearney            3/10/2023     1.8   Preparation of schedules and compilation of underlying information
                                             with respect to UCC request pertaining to insider share activity
Kumanan Ramanathan       3/10/2023     0.3   Call regarding USDC situation with J. Ray (FTX), K. Ramanathan
                                             (A&M), B. Bromberg, S. Simms, F. Risler (FTI), and creditor team
Kumanan Ramanathan       3/10/2023     0.5   Call with J. de Brignac, F. Risler (FTI), K. Hansen (PH), R. Doshi, G.
                                             Grant, A. Van Voorhees (Creditor) and K. Ramanathan, S. Coverick
                                             (A&M) to discuss crypto matters
Steve Coverick           3/10/2023     2.1   Correspond with various A&M, FTX, and UCC advisors and members
                                             regarding USDC situation
Erik Taraba              3/11/2023     0.4   Update slide for UCC deck re: professional fees


Erik Taraba              3/11/2023     1.3   Refresh professional fee historical payments schedule for UCC
                                             update deck
Kumanan Ramanathan       3/11/2023     1.4   Prepare tracking schedules for stablecoin and compare to UCC
                                             analysis

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Creditor Cooperation
Professional                 Date     Hours     Activity
Steve Coverick            3/11/2023     0.4   Call re: UCC member feedback on USDC exposure with K. Hansen
                                              (PH), J. DeBrignac (FTI), J. Ray (FTX), K. Ramanathan (A&M)
Cullen Stockmeyer         3/13/2023     0.7   Upload documents to UCC dataroom


Cullen Stockmeyer         3/13/2023     0.9   Update summary of diligence process

Igor Radwanski            3/13/2023     0.6   Quantify methodology needed to successfully trace specific token
                                              requests
Lorenzo Callerio          3/13/2023     1.1   Draft responses to certain questions received from FTI re: surety
                                              bonds
Steve Coverick            3/13/2023     1.1   Call with S. Simms, B. Bromberg (FTI), J. Croke (S&C), K.
                                              Ramanathan re: 3rd party exchange exposure
Katie Montague            3/14/2023     0.4   Review updated payment file for critical and foreign vendor payments


Katie Montague            3/14/2023     1.7   Provide comments on critical and foreign vendor reporting analysis
                                              and summary
Chris Arnett              3/15/2023     0.3   Respond to B. Bromberg (FTI) inquiry re: tax disclosures


Cullen Stockmeyer         3/15/2023     1.6   Prepare request related to third party exchanges

Cullen Stockmeyer         3/15/2023     2.1   Upload documents to UCC dataroom

Katie Montague            3/15/2023     1.0   Review and provide comments on revised UCC reporting package


Katie Montague            3/15/2023     0.6   Review UCC critical and foreign vendor reporting and provide
                                              comments on same
Katie Montague            3/15/2023     0.5   Draft request list for D. Tollefson (Company) to update critical and
                                              foreign vendor payment report
Katie Montague            3/15/2023     1.4   Review and analysis of payments file for critical and foreign vendor
                                              payments
Kumanan Ramanathan        3/15/2023     0.8   Prepare package for UCC on 3rd party exchange and seek approval
                                              for posting
Kumanan Ramanathan        3/15/2023     0.6   Distribute updated 3rd party exchange table to UCC

Kumanan Ramanathan        3/15/2023     0.4   Provide data on specific Tether holdings to UCC

Steve Kotarba             3/15/2023     2.3   Post-file follow up re schedules (meetings with UCC and respond to
                                              information requests)
Cullen Stockmeyer         3/16/2023     1.9   Prepare professional trackers for summary update

Cullen Stockmeyer         3/16/2023     2.1   Prepare documents for approval to share with UCC


Kumanan Ramanathan        3/16/2023     0.8   Provide feedback on post-petition presentation materials for UCC




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Creditor Cooperation
Professional                 Date     Hours     Activity
Lorenzo Callerio          3/16/2023     0.3   Call with A. Kranzley and J. Petiford (S&C), S. Coverick and L.
                                              Callerio (A&M) re: surety bonds
Lorenzo Callerio          3/16/2023     0.3   Review available surety bonds info and schedule a call with FTI to
                                              discuss
Cullen Stockmeyer         3/17/2023     1.7   Prepare files for share with UCC

Erik Taraba               3/17/2023     0.3   Discussion with S. Witherspoon and E. Taraba (A&M) re:
                                              professional fees forecast schedule for UCC
Erik Taraba               3/17/2023     1.2   Develop schedule of professional fees forecast variance between
                                              budgets for UCC
Hudson Trent              3/17/2023     1.0   Prepare distribution version of wind down analyses for provision to
                                              the committee
Hudson Trent              3/17/2023     1.9   Update distribution versions of wind down analyses based on internal
                                              A&M feedback for provision to the UCC
Hudson Trent              3/17/2023     0.6   Prepare initial response to committee question related to employee
                                              headcount
Hudson Trent              3/17/2023     0.8   Correspond with K. Schultea (FTX) regarding committee question on
                                              employee headcount
Hudson Trent              3/17/2023     1.1   Prepare analysis related to UCC question on employee headcount

Hudson Trent              3/17/2023     1.4   Prepare file for distribution for additional wind down analysis to be
                                              provided to the Committee
James Cooper              3/17/2023     1.3   Prepare responses to FTI re: cash and treasury inquiries


Louis Konig               3/17/2023     0.5   Database scripting and development related to reconciliation of
                                              liability schedules to presented UCC totals
Samuel Witherspoon        3/17/2023     0.3   Discussion with S. Witherspoon and E. Taraba (A&M) re:
                                              professional fees forecast schedule for UCC
Samuel Witherspoon        3/17/2023     1.1   Provide requested summary information to UCC regarding custodial
                                              accounts
Hudson Trent              3/18/2023     0.4   Correspond with A&M cash team regarding UCC questions regarding
                                              employee headcount
Hudson Trent              3/18/2023     0.5   Update distribution versions of subsidiary wind down analyses for
                                              provision to the UCC
Cullen Stockmeyer         3/19/2023     0.4   Prepare and upload documents to virtual dataroom related to storage

Kumanan Ramanathan        3/19/2023     0.4   Review of Solana foundation agreement and post for the UCC


Chris Arnett              3/20/2023     1.0   Review and comment on monthly periodic vendor reporting to UCC

Chris Arnett              3/20/2023     0.6   Discuss status of go-forward AP, contract review, and UCC reporting
                                              with C. Arnett and K. Montague (A&M)
Cullen Stockmeyer         3/20/2023     0.7   Prepare response re: surety bonds to outstanding FTI questions




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Creditor Cooperation
Professional                Date     Hours     Activity
Cullen Stockmeyer        3/20/2023     2.3   Prepare and upload documents to virtual dataroom related to storage

Cullen Stockmeyer        3/20/2023     0.5   Call with B. Bromberg, M. Gray, M. Dawson, M. Diaz (FTI), S.
                                             Coverick, L. Callerio, C. Stockmeyer (A&M) re: surety bonds
Cullen Stockmeyer        3/20/2023     0.4   Notify UCC of updates made to dataroom

Cullen Stockmeyer        3/20/2023     0.6   Call with M. Cilia (FTX), A. Kranzley (S&C), S. Coverick, L. Callerio,
                                             C. Stockmeyer (A&M) re: surety bond claims
Ed Mosley                3/20/2023     0.4   Review of information shared with the UCC regarding stablecoin
                                             conversions
Ed Mosley                3/20/2023     0.7   Review of open diligence requests to / from UCC and its professionals

Ed Mosley                3/20/2023     0.8   Review of proposed email communications to customers and list of
                                             email addresses that appear to be non-functional
Ed Mosley                3/20/2023     0.6   Review of and prepare comments to proposed UCC meeting

Ed Mosley                3/20/2023     0.5   Discuss cash variance report with FTI (B.Bromberg, others) and A&M
                                             (J.Cooper, others)
Ed Mosley                3/20/2023     1.1   Review of and prepare comments to non-PEO only version of FTX
                                             EU situation overview deck
Erik Taraba              3/20/2023     0.9   Review UCC vendor reporting and provide feedback re: OCP status
                                             and go-forward plan for additional OCPs
Hudson Trent             3/20/2023     0.7   Prepare for call with Committee advisors regarding hypothetical
                                             subsidiary wind down analyses
Hudson Trent             3/20/2023     0.1   Prepare for call with Committee advisors regarding hypothetical
                                             subsidiary wind down analyses
Katie Montague           3/20/2023     0.9   Review and propose edits to UCC vendor reporting draft


Katie Montague           3/20/2023     0.6   Discuss status of go-forward AP, contract review, and UCC reporting
                                             with C. Arnett and K. Montague (A&M)
Lorenzo Callerio         3/20/2023     0.3   Respond to inquiries on published documents received from FTI


Lorenzo Callerio         3/20/2023     0.3   Prepare a shared folder including all the surety bonds related
                                             documents as discussed with M. Cilia (FTX)
Lorenzo Callerio         3/20/2023     0.3   Organize a call with the financial advisors, the bankers and legal
                                             advisors to discuss FTX EU, LedgerX, Embed decks
Lorenzo Callerio         3/20/2023     0.5   Call with B. Bromberg, M. Gray, M. Dawson, M. Diaz (FTI), S.
                                             Coverick, L. Callerio, C. Stockmeyer (A&M) re: surety bonds
Lorenzo Callerio         3/20/2023     0.6   Call with M. Cilia (FTX), A. Kranzley (S&C), S. Coverick, L. Callerio,
                                             C. Stockmeyer (A&M) re: surety bond claims
Robert Gordon            3/20/2023     0.3   Review responses from cash team for the UCC schedules questions


Robert Gordon            3/20/2023     0.9   Review questions from the UCC and determine assignments




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Creditor Cooperation
Professional                 Date     Hours     Activity
Steve Coverick            3/20/2023     0.5   Call with B. Bromberg, M. Gray, M. Dawson, M. Diaz (FTI), S.
                                              Coverick, L. Callerio, C. Stockmeyer (A&M) re: surety bonds
Steve Coverick            3/20/2023     0.6   Call with M. Cilia (FTX), A. Kranzley (S&C), S. Coverick, L. Callerio,
                                              C. Stockmeyer (A&M) re: surety bond claims
Chris Arnett              3/21/2023     0.7   Prepare for call with PWP, Jefferies, FTI, A&M and J. Ray (FTX) re:
                                              entity options
Cullen Stockmeyer         3/21/2023     1.9   Prepare and upload documents to virtual dataroom related to storage

Hudson Trent              3/21/2023     0.7   Prepare for call with UCC on wind down analyses


Kumanan Ramanathan        3/21/2023     0.5   Call with the FTI team, K. Ramanathan and L. Callerio (A&M)
                                              regarding token overview
Lorenzo Callerio          3/21/2023     0.5   Call with the FTI team, K. Ramanathan and L. Callerio (A&M) re:
                                              token overview
Rob Esposito              3/21/2023     0.6   Prepare final edits to the UCC questions re: Schedules and
                                              Statements
Rob Esposito              3/21/2023     0.6   Review UCC responses over schedules question with R. Gordon, R.
                                              Esposito(A&M)
Rob Esposito              3/21/2023     0.4   Discussion over UCC responses for schedules with A. Kranzley, J.
                                              Petiford(S&C), R. Gordon, R. Esposito(A&M)
Robert Gordon             3/21/2023     0.4   Discussion with A. Kranzley, J. Pettiford(S&C), R. Gordon, R.
                                              Esposito(A&M) over UCC responses for schedules
Robert Gordon             3/21/2023     0.6   Call with R. Gordon, R. Esposito(A&M) to review UCC responses
                                              over schedules question
Robert Gordon             3/21/2023     1.2   Review responses to UCC questions and make final edits

Cullen Stockmeyer         3/22/2023     1.1   Prepare and upload documents to virtual dataroom related to storage


Ed Mosley                 3/22/2023     0.4   Discuss UCC communications with K.Cofsky (PWP)

Ed Mosley                 3/22/2023     1.4   Review of documents shared with UCC in follow-up to discussion
                                              with PWP regarding UCC concerns
Kevin Baker               3/22/2023     2.6   Investigate market markets KYC documentation for UCC

Robert Gordon             3/22/2023     0.4   Review for completeness support loan documents for UCC request

Cullen Stockmeyer         3/23/2023     0.5   Call with M. Cilia, K. Schultea (FTX), A. Kranzley (S&C), S. Coverick,
                                              E. Mosley, L. Callerio, C. Stockmeyer (A&M) re: surety bond claims
Cullen Stockmeyer         3/23/2023     1.6   Update surety bond and state license summary page

Cullen Stockmeyer         3/23/2023     0.5   Call with L. Callerio, C. Stockmeyer (A&M) re: surety bonds update


Cullen Stockmeyer         3/23/2023     1.3   Prepare and upload documents to virtual dataroom related to storage




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Creditor Cooperation
Professional               Date     Hours     Activity
Ed Mosley               3/23/2023     0.5   Call with M. Cilia, K. Schultea (FTX), A. Kranzley (S&C), S. Coverick,
                                            E. Mosley, L. Callerio, C. Stockmeyer (A&M) re: surety bond claims
Kumanan Ramanathan      3/23/2023     0.8   Review of Solet bridge analysis in advance of sharing with UCC


Lorenzo Callerio        3/23/2023     0.5   Call with M. Cilia, K. Schultea (FTX), A. Kranzley (S&C), S. Coverick,
                                            E. Mosley, L. Callerio, C. Stockmeyer (A&M) re: surety bond claim
Lorenzo Callerio        3/23/2023     1.4   Prepare an updated list of surety bonds and licenses status as
                                            requested by A. Kranzley (S&C)
Lorenzo Callerio        3/23/2023     0.5   Call with C. Stockmeyer (A&M) re: surety bonds update


Steve Coverick          3/23/2023     0.5   Call with M. Cilia, K. Schultea (FTX), A. Kranzley (S&C), S. Coverick,
                                            E. Mosley, L. Callerio, C. Stockmeyer (A&M) re: surety bond claims
Steve Coverick          3/24/2023     0.3   Call with B. Bromberg (FTI) to discuss UCC feedback on asset sale
                                            matters
Cullen Stockmeyer       3/27/2023     1.4   Prepare and upload UCC requested documents to virtual dataroom

Cullen Stockmeyer       3/27/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: creditor diligence
                                            process
Ed Mosley               3/27/2023     0.3   Discuss creditor meeting agenda with K.Cofsky (PWP)

Ed Mosley               3/27/2023     0.5   Call with E. Mosley, S. Coverick (A&M), S. Simms, B. Bromberg (FTI)
                                            re: FTX 2.0 strategic options
Ed Mosley               3/27/2023     0.4   Review of FTX Japan KPIs to share with UCC


Ed Mosley               3/27/2023     0.8   Review of draft UCC statement regarding debtors request for the
                                            extension of exclusivity
Ed Mosley               3/27/2023     0.2   Call with E. Mosley, S. Coverick (A&M), S. Simms, B. Bromberg (FTI)
                                            re: agenda for upcoming meeting with committee members
Lorenzo Callerio        3/27/2023     0.3   Review some additional documents received re: surety bonds

Lorenzo Callerio        3/27/2023     0.3   Call with L. Callerio, C. Stockmeyer (A&M) re: creditor diligence
                                            process
Lorenzo Callerio        3/27/2023     0.2   Call with R. Gordon and L. Callerio (A&M) re: additional request
                                            received from Jefferies
Peter Kwan              3/27/2023     1.2   Analyze, extract and draft UCC response support

Robert Gordon           3/27/2023     0.2   Call with R. Gordon and L. Callerio (A&M) re: additional request
                                            received from Jefferies
Steve Coverick          3/27/2023     0.5   Call with M. Rahmani (PWP) re: FTX 2.0 presentation for UCC

Steve Coverick          3/27/2023     0.5   Call with E. Mosley, S. Coverick (A&M), S. Simms, B. Bromberg (FTI)
                                            re: FTX 2.0 strategic options
Steve Coverick          3/27/2023     0.3   Call with J. Ray (FTX) and E. Mosley (A&M) re: UCC meeting agenda




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Creditor Cooperation
Professional                Date     Hours     Activity
Steve Coverick           3/27/2023     0.2   Call with E. Mosley, S. Coverick (A&M), S. Simms, B. Bromberg (FTI)
                                             re: agenda for upcoming meeting with committee members
Alex Canale              3/28/2023     1.7   Prepare avoidance actions summary for UCC update


Cullen Stockmeyer        3/28/2023     1.0   Working session with L. Callerio, C. Stockmeyer (A&M) to comply
                                             with UCC requests related to provided data
Cullen Stockmeyer        3/28/2023     1.1   Prepare correspondences related to UCC requests and dataroom

Ed Mosley                3/28/2023     0.7   Prepare for and participate in meeting with J.Ray (FTX), S&C
                                             (A.Dietderich, B.Glueckstein), PWP (K.Cofsky) and A&M (S.Coverick,
                                             E. Mosley) regarding UCC diligence and strategy
Kumanan Ramanathan       3/28/2023     0.5   Call with the FTI team and K. Ramanathan, L. Callerio (A&M)
                                             regarding token overview
Laureen Ryan             3/28/2023     0.6   Correspond with A&M team regarding UCC presentation materials on
                                             avoidance action investigation
Laureen Ryan             3/28/2023     0.7   Work on UCC presentation materials on avoidance action
                                             investigation
Lorenzo Callerio         3/28/2023     0.5   Call with the FTI team and K. Ramanathan (A&M) re: token overview

Lorenzo Callerio         3/28/2023     1.1   Coordinate the A&M team responding to an additional request
                                             received from Jefferies
Lorenzo Callerio         3/28/2023     1.0   Working session with L. Callerio, C. Stockmeyer (A&M) to comply
                                             with UCC requests related to provided data
Lorenzo Callerio         3/28/2023     0.2   Call with R. Gordon and L. Callerio (A&M) re: additional request
                                             received from Jefferies
Peter Kwan               3/28/2023     0.9   Analyze, extract and draft UCC response support

Robert Gordon            3/28/2023     0.7   Review support materials for fund request by Jefferies

Robert Gordon            3/28/2023     0.2   Call with R. Gordon and L. Callerio (A&M) re: additional request
                                             received from Jefferies
Steve Coverick           3/28/2023     0.7   Prepare for and participate in meeting with J.Ray (FTX), S&C
                                             (A.Dietderich, B.Glueckstein), PWP (K.Cofsky) and A&M (S.Coverick,
                                             E. Mosley) regarding UCC diligence and strategy
Vinny Rajasekhar         3/28/2023     2.1   Update data for Myth Success and updated current pricing


Alessandro Farsaci       3/29/2023     0.2   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                             Farsaci and M. Schweinzer (A&M)
Alessandro Farsaci       3/29/2023     0.8   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                             Farsaci, M. Schweinzer, G. Balmelli (A&M)
Cullen Stockmeyer        3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                             C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                             (FTI) re: Deltec and foreign currency risk
David Johnston           3/29/2023     0.2   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                             Farsaci and M. Schweizer (A&M)



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Creditor Cooperation
Professional               Date     Hours     Activity
David Johnston          3/29/2023     0.8   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                            Farsaci, M. Schweizer, G. Balmelli (A&M)
Ed Mosley               3/29/2023     1.9   Review of and prepare comments to draft presentation of UCC
                                            agenda and talking points for upcoming meeting
Gioele Balmelli         3/29/2023     0.8   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                            Farsaci, M. Schweinzer, G. Balmelli (A&M)
James Cooper            3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                            C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                            (FTI) re: Deltec and foreign currency risk
James Cooper            3/29/2023     0.7   Correspondence re: feedback from UCC on foreign custodial cash


Kevin Kearney           3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                            C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                            (FTI) re: Deltec and foreign currency risk
Kumanan Ramanathan      3/29/2023     0.4   Correspond with FTI team regarding status of FTX 2.0 restart
                                            revenue metrics and market maker details and review of relevant
                                            materials
Kumanan Ramanathan      3/29/2023     0.4   Review and prepare for UCC crypto presentation support

Lorenzo Callerio        3/29/2023     0.2   Call with S. Wheeler and E. Simpson (S&C) and R. Gordon (A&M) re:
                                            Deltec turnover motion follow-up
Lorenzo Callerio        3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                            C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                            (FTI) re: Deltec and foreign currency risk
Matthias Schweinzer     3/29/2023     0.2   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                            Farsaci and M. Schweinzer
Matthias Schweinzer     3/29/2023     0.8   Review of UCC slides on FTX Europe AG with D. Johnston, A.
                                            Farsaci, M. Schweinzer, G. Balmelli (A&M)
Peter Kwan              3/29/2023     1.5   Analyze, extract and draft UCC response support

Robert Gordon           3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                            C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                            (FTI) re: Deltec and foreign currency risk
Robert Gordon           3/29/2023     0.2   Call with S. Wheeler and E. Simpson (S&C) and R. Gordon, L.
                                            Callerio (A&M) re: Deltec turnover motion follow-up
Steve Coverick          3/29/2023     0.6   Call with K. Kearney, R. Gordon, L. Callerio, S. Coverick, J. Cooper,
                                            C. Stockmeyer (A&M), M. Gray, M. Diaz, B. Bromberg, M. Dawson
                                            (FTI) re: Deltec and foreign currency risk
Steve Coverick          3/29/2023     1.9   Review and provide comments on prep binder for J. Ray / UCC call
                                            on 3/30
Ed Mosley               3/30/2023     1.7   Review and prepare comments to draft FTX EU options analysis for
                                            eventual use with the UCC
James Cooper            3/30/2023     1.6   Participate in teleconference with UCC members, J. Ray (FTX), E.
                                            Mosley, S. Coverick, K.Ramanathan, L. Callerio, J. Cooper (A&M),
                                            S&C, PH, Jefferies, and FTI teams re: case update
Kumanan Ramanathan      3/30/2023     1.6   Participate in teleconference with UCC members, J. Ray (FTX), E.
                                            Mosley, S. Coverick, K.Ramanathan, L. Callerio, J. Cooper (A&M),
                                            S&C, PH, Jefferies, and FTI teams regarding case update

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Kumanan Ramanathan      3/30/2023      0.5   Provide UCC with Arbitrum statement for token allotment amount and
                                             review of relevant correspondence and materials
Lorenzo Callerio        3/30/2023      1.6   Participate in teleconference with UCC members, J. Ray (FTX), E.
                                             Mosley, S. Coverick, K. Ramanathan, L. Callerio, J. Cooper (A&M),
                                             S&C, PH, Jefferies, and FTI teams re: case update
Peter Kwan              3/30/2023      0.8   Analyze, extract and draft UCC response support


Steve Coverick          3/30/2023      1.6   Participate in teleconference with UCC members, J. Ray (FTX), E.
                                             Mosley, S. Coverick, K.Ramanathan, L. Callerio, J. Cooper (A&M),
                                             S&C, PH, Jefferies, and FTI teams re: case update
Cullen Stockmeyer       3/31/2023      2.1   Prepare correspondences related to UCC requests and dataroom

Kora Dusendschon        3/31/2023      0.6   Follow up discussions and providing guidance on UCC request for
                                             Top 100 Traders
Kumanan Ramanathan      3/31/2023      0.2   Review Messari platform holdings and assign access to UCC



Subtotal                             204.5

Disclosure Statement and Plan
Professional               Date     Hours     Activity
Christopher Sullivan     3/2/2023      2.7   Review support schedules for WRS balance sheet

Christopher Sullivan     3/2/2023      2.9   Review support schedules for Venture balance sheet


Christopher Sullivan     3/7/2023      0.8   Working session with J. Gonzalez, D. Slay & C. Sullivan (A&M) on
                                             structure for the silo recovery analysis
David Slay               3/7/2023      2.1   Create Plan recovery template deck for each silo and populate with
                                             known information
David Slay               3/7/2023      0.8   Working session with J. Gonzalez, D. Slay & C. Sullivan (A&M) on
                                             structure for the silo recovery analysis
David Slay               3/7/2023      1.1   Update Statements & Schedule deck based on potential scheduled
                                             amounts
David Slay               3/7/2023      0.8   Update Deck for new tables and graphs


David Slay               3/7/2023      2.4   Update Claims model to reflect CMS data drops

Johnny Gonzalez          3/7/2023      0.8   Working session with J. Gonzalez, D. Slay & C. Sullivan (A&M) on
                                             structure for the silo recovery analysis
Christopher Sullivan     3/8/2023      0.8   Review updated Ventures asset schedule

Christopher Sullivan     3/8/2023      0.9   Review updates to the WRS claims mapping


Christopher Sullivan     3/8/2023      0.8   Review updated WRS claims model




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Disclosure Statement and Plan
Professional               Date     Hours     Activity
Christopher Sullivan     3/8/2023     1.2   Review balance sheet mapping for the Ventures silo

Christopher Sullivan     3/8/2023     1.1   Review updated Alameda claims model


Christopher Sullivan     3/8/2023     1.6   Review updates to balance sheet mapping for the Alameda silo

Christopher Sullivan     3/8/2023     1.6   Review balance sheet mapping for the Dotcom silo

David Slay               3/8/2023     1.6   Update Silo balance sheet deck for J. Gonzalez (A&M) comments


David Slay               3/8/2023     0.9   Build checks into new claims model

Christopher Sullivan     3/9/2023     0.4   Meeting w/ J. Gonzalez, D. Slay, S. Coverick & C. Sullivan (A&M) re:
                                            claims discussion and next steps
Christopher Sullivan     3/9/2023     0.6   Working session w/ J. Gonzalez, D. Slay, & C. Sullivan (A&M) re:
                                            claims template update
David Slay               3/9/2023     0.6   Working session w/ J. Gonzalez, D. Slay, & C. Sullivan (A&M) re:
                                            claims template update
David Slay               3/9/2023     0.4   Meeting w/ J. Gonzalez, D. Slay, S. Coverick & C. Sullivan (A&M) re:
                                            claims discussion and next steps
Johnny Gonzalez          3/9/2023     0.6   Working session w/ J. Gonzalez, D. Slay, & C. Sullivan (A&M) re:
                                            claims template update
Johnny Gonzalez          3/9/2023     0.4   Meeting w/ J. Gonzalez, D. Slay, S. Coverick & C. Sullivan (A&M) re:
                                            claims discussion and next steps
Steve Coverick           3/9/2023     0.4   Meeting w/ J. Gonzalez, D. Slay, S. Coverick & C. Sullivan (A&M) re:
                                            claims discussion and next steps
Christopher Sullivan    3/14/2023     0.4   Review build out of Alameda silo hypothetical recovery analysis


Christopher Sullivan    3/15/2023     1.6   Provide comments to updated WRS hypothetical recovery analysis

David Slay              3/16/2023     2.4   Implement high to low range toggles for plans model for different
                                            scenarios
David Slay              3/16/2023     2.4   Review Case Lead detailed time entries for February submission

David Slay              3/16/2023     1.8   Update claims model for business plan process

Christopher Sullivan    3/20/2023     1.4   Review the updated WRS petition date balance sheet


Christopher Sullivan    3/20/2023     1.3   Review the updated Alameda petition date balance sheet

Christopher Sullivan    3/20/2023     1.9   Provide instruction for further development of the silo claims summary


Christopher Sullivan    3/20/2023     1.9   Review the updated Dotcom petition date balance sheet




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Professional               Date     Hours     Activity
Christopher Sullivan    3/20/2023     1.6   Review the updated Ventures petition date balance sheet

Christopher Sullivan    3/20/2023     0.9   Create initial outline of business plan workstream notes


David Slay              3/20/2023     1.4   Develop recovery model with multiple balance sheets to reflect
                                            scheduled and unscheduled amounts
David Slay              3/20/2023     2.2   Update recovery assumption tabs to reflect latest thinking

Johnny Gonzalez         3/20/2023     1.9   Start development of the Alameda plan recovery model


Christopher Sullivan    3/21/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            discussion on claims by silo for the plan recovery workstream
Christopher Sullivan    3/21/2023     0.4   Kick-off call with R. Gordon, K. Ramanathan, J. Cooper & C. Sullivan
                                            to discuss the company's cost profile and potential business plan
David Slay              3/21/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            discussion on claims by silo for the plan recovery workstream
David Slay              3/21/2023     1.6   Create liquidation BoD deck template for claims and recoveries


David Slay              3/21/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: claims model
                                            mechanics and assumptions review
David Slay              3/21/2023     2.4   Working session w/ J. Gonzalez & D. Slay (A&M) re: update recovery
                                            analysis model for all silos
James Cooper            3/21/2023     0.4   Kick-off call with R. Gordon, K. Ramanathan, J. Cooper & C. Sullivan
                                            to discuss the company's cost profile and potential business plan
Johnny Gonzalez         3/21/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            discussion on claims by silo for the plan recovery workstream
Johnny Gonzalez         3/21/2023     2.4   Working session w/ J. Gonzalez & D. Slay (A&M) re: update recovery
                                            analysis model for all silos
Johnny Gonzalez         3/21/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: claims model
                                            mechanics and assumptions review
Kumanan Ramanathan      3/21/2023     0.4   Kick-off call with R. Gordon, K. Ramanathan, J. Cooper & C. Sullivan
                                            to discuss the company's cost profile and potential business plan
Robert Gordon           3/21/2023     0.4   Kick-off call with R. Gordon, K. Ramanathan, J. Cooper & C. Sullivan
                                            to discuss the company's cost profile and potential business plan
Christopher Sullivan    3/22/2023     1.6   Provide comments to the claims analysis for the Alameda silo

Christopher Sullivan    3/22/2023     0.9   Review updates to the Alameda consolidated balance sheet for
                                            inclusion of LedgerPrime
Christopher Sullivan    3/22/2023     1.1   Review initial consolidation of WRS balance sheets

Christopher Sullivan    3/22/2023     1.1   Provide comment to assets/claims mapping of the Ventures silo


Christopher Sullivan    3/22/2023     0.5   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            update on claims by silo for the plan recovery workstream




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Christopher Sullivan    3/22/2023     1.3   Create open item list related to Dotcom consolidated balance sheets

Christopher Sullivan    3/22/2023     1.4   Create open item list related to WRS consolidated balance sheets


Christopher Sullivan    3/22/2023     1.2   Review initial consolidation of Dotcom balance sheets

David Slay              3/22/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            Alameda balance sheet mapping
David Slay              3/22/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            Ventures balance sheet mapping
David Slay              3/22/2023     1.7   Create range tab for assets and include toggle between difference
                                            scenarios
David Slay              3/22/2023     0.5   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            update on claims by silo for the plan recovery workstream
David Slay              3/22/2023     1.3   Create and update formulas for pro fee schedule in recovery model

David Slay              3/22/2023     1.1   Update pro forma balance sheet to appropriately link to master model


Johnny Gonzalez         3/22/2023     2.5   Development of a consolidated Alameda recovery model

Johnny Gonzalez         3/22/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            Alameda balance sheet mapping
Johnny Gonzalez         3/22/2023     1.8   Development of a consolidated Dotcom recovery model


Johnny Gonzalez         3/22/2023     0.5   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            update on claims by silo for the plan recovery workstream
Johnny Gonzalez         3/22/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            Ventures balance sheet mapping
Christopher Sullivan    3/23/2023     2.1   Compare schedules D/E/F support to trial balance figures for Dotcom

Christopher Sullivan    3/23/2023     2.0   Compare schedules A/B support to trial balance figures for Dotcom


Christopher Sullivan    3/23/2023     0.7   Working session w/ & D. Slay (A&M) re: Alameda and WRS asset
                                            balances
Christopher Sullivan    3/23/2023     1.9   Compare schedules D/E/F support to trial balance figures for WRS

David Slay              3/23/2023     1.3   Update Alameda balance sheet in recovery model


David Slay              3/23/2023     0.7   Working session w/ & D. Slay (A&M) re: Alameda and WRS asset
                                            balances
David Slay              3/23/2023     1.1   Update Ventures balance sheet in recovery model


Ed Mosley               3/23/2023     0.4   Discussion w/ E. Mosley, J. Stegenga (A&M) re: international
                                            liquidation workstreams and related analysis coordination/splitting




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Professional               Date     Hours     Activity
Jeffery Stegenga        3/23/2023     0.4   Discussion w/ E. Mosley, J. Stegenga (A&M) re: international
                                            liquidation workstreams and related analysis coordination/splitting
Johnny Gonzalez         3/23/2023     2.6   Development of a consolidated Ventures recovery model


Christopher Sullivan    3/24/2023     1.1   Provide instructions for revisions to WRS & Dotcom balance sheet
                                            reconciliations
Christopher Sullivan    3/24/2023     0.7   Discuss next steps for the balance sheet recovery mapping w/ C.
                                            Sullivan & J. Gonzalez (A&M)
David Slay              3/24/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            WRS balance sheet mapping
David Slay              3/24/2023     0.5   Update Professional fee tab with recent updates

Johnny Gonzalez         3/24/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: next steps for the
                                            WRS balance sheet mapping
Johnny Gonzalez         3/24/2023     0.7   Discuss next steps for the balance sheet recovery mapping w/ C.
                                            Sullivan & J. Gonzalez (A&M)
Johnny Gonzalez         3/24/2023     1.8   Develop a mapping for the Alameda silo assets in the recovery model


Johnny Gonzalez         3/24/2023     1.7   Model the link between the Ventures Silo financials to the global FTX
                                            enterprise
Johnny Gonzalez         3/26/2023     2.4   Develop a Dotcom Silo consolidated balance sheet for the plan
                                            recovery model
Johnny Gonzalez         3/26/2023     1.8   Develop a WRS consolidated balance sheet for the plan recovery
                                            model
Johnny Gonzalez         3/26/2023     1.7   Develop a mapping of the Dotcom Silo consolidated balance sheet

Johnny Gonzalez         3/26/2023     1.4   Develop a mapping of the WRS Silo consolidated balance sheet


Christopher Sullivan    3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
David Slay              3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
David Slay              3/27/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: the
                                            development of the WRS and Dotcom consolidated balance sheets
Drew Hainline           3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
Johnny Gonzalez         3/27/2023     1.2   Link the Dotcom Silo consolidated balance sheet to the claims model

Johnny Gonzalez         3/27/2023     0.3   D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R. Bruck
                                            (A&M) discuss balance sheet consolidation and chart of account
                                            mapping
Johnny Gonzalez         3/27/2023     1.1   Link the WRS Silo consolidated balance sheet to the claims model



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Johnny Gonzalez         3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
Johnny Gonzalez         3/27/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: the
                                            development of the WRS and Dotcom consolidated balance sheets
Johnny Gonzalez         3/27/2023     2.4   Incorporate modelling changes to the Claims recovery model


Ran Bruck               3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
Robert Gordon           3/27/2023     0.8   Review business plan materials in preparation for working session

Robert Gordon           3/27/2023     0.3   Call with D. Slay, C. Sullivan, J. Gonzalez, D. Hainline, R. Gordon, R.
                                            Bruck (A&M) discuss balance sheet consolidation and chart of
                                            account mapping
Christopher Sullivan    3/28/2023     0.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims model review
Christopher Sullivan    3/28/2023     1.8   Review updates to subcon scenario for proposed hypothetical plan
                                            recovery analysis
Christopher Sullivan    3/28/2023     0.9   Provide comments to modelling mechanics for hypothetical
                                            deficiency claims
Christopher Sullivan    3/28/2023     0.4   Review security issues at FTX exchanges documentation from third-
                                            party firm
Christopher Sullivan    3/28/2023     2.6   Compare 3rd party waterfall analysis to internal recovery analysis


David Slay              3/28/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: deficiency
                                            claims implementation
David Slay              3/28/2023     1.5   Update recovery model with updated cash and pro-fee inputs,
                                            capture proforma adjustments
David Slay              3/28/2023     0.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims model review
David Slay              3/28/2023     1.2   Review Reorg comparison release and develop template for
                                            discussion
Johnny Gonzalez         3/28/2023     1.5   Model revisions to the Alameda Silo waterfall mechanics


Johnny Gonzalez         3/28/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: deficiency
                                            claims implementation
Johnny Gonzalez         3/28/2023     1.9   Update the mapping of the Dotcom balance sheet assets and
                                            liabilities
Johnny Gonzalez         3/28/2023     1.7   Update the waterfall mechanics in the plan recovery model

Johnny Gonzalez         3/28/2023     2.1   Develop a comparison to Reorg's plan recovery analysis


Johnny Gonzalez         3/28/2023     0.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims model review



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Robert Gordon           3/28/2023     0.9   Review historical cost information to support business plan review

Christopher Sullivan    3/29/2023     1.6   Detail review further build out of legal entity breakdown of claims at
                                            WRS
Christopher Sullivan    3/29/2023     1.4   Detail review further build out of legal entity breakdown of claims at
                                            Alameda
Christopher Sullivan    3/29/2023     0.8   Review revised crypto figures and update business plan model for
                                            relevant updates
Christopher Sullivan    3/29/2023     0.2   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            Variance summary review
Christopher Sullivan    3/29/2023     1.2   Detail review further build out of legal entity breakdown of claims at
                                            Dotcom
Christopher Sullivan    3/29/2023     1.1   Review updates to silo consolidation of claims for Alameda


Christopher Sullivan    3/29/2023     0.9   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims variance model review
Cullen Stockmeyer       3/29/2023     1.2   Working session w/ C. Stockmeyer & D. Slay (A&M) re: reorg and
                                            FTX variance template build
David Slay              3/29/2023     0.4   Create ReOrg vs FTX claims variance analysis

David Slay              3/29/2023     0.2   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            Variance summary review
David Slay              3/29/2023     0.9   Update commentary for Reorg and FTX variance analysis


David Slay              3/29/2023     0.9   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims variance model review
David Slay              3/29/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: the Reorg
                                            comparison of plan recoveries
David Slay              3/29/2023     1.2   Working session w/ C. Stockmeyer & D. Slay (A&M) re: reorg and
                                            FTX variance template build
David Slay              3/29/2023     1.1   Build in checks with my internal claims model and filed statements
                                            and schedules
David Slay              3/29/2023     0.8   Update global claims model with cash actuals as of petition date

Johnny Gonzalez         3/29/2023     0.9   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            claims variance model review
Johnny Gonzalez         3/29/2023     1.4   Model revisions to the comparison to Reorg's plan recovery analysis


Johnny Gonzalez         3/29/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: the Reorg
                                            comparison of plan recoveries
Johnny Gonzalez         3/29/2023     1.6   Update the assets recovery assumptions in the plan model


Johnny Gonzalez         3/29/2023     1.2   Update the claims categories in the plan recovery model




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Johnny Gonzalez         3/29/2023     0.2   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re:
                                            Variance summary review
Johnny Gonzalez         3/29/2023     2.3   Development of deficiency claims modelling mechanics


Johnny Gonzalez         3/29/2023     1.3   Model revisions to the Ventures Silo waterfall mechanics

Christopher Sullivan    3/30/2023     0.7   Review data request list for revenue metrics to include with the
                                            revised 2.0 deck
Christopher Sullivan    3/30/2023     1.4   Research regulatory headwinds for crypto domestically and
                                            internationally for inclusion in FTX 2.0 deck
Christopher Sullivan    3/30/2023     0.8   Communication with PWP team on recovery analysis

Christopher Sullivan    3/30/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                            Reorg comparison of plan recoveries discussion
Christopher Sullivan    3/30/2023     0.7   Continued working session with C. Sullivan, J. Gonzalez & D. Slay
                                            (A&M) re: the Reorg comparison of plan recoveries internal review
Christopher Sullivan    3/30/2023     0.8   Create outline for exchange highlights slide


Christopher Sullivan    3/30/2023     0.4   Review updated FTX assets trackers

Christopher Sullivan    3/30/2023     1.4   Review updates to FTX 2.0 presentation

Christopher Sullivan    3/30/2023     0.8   Compile list of recent and expected asset sales


Christopher Sullivan    3/30/2023     2.7   Provide comments to initial subcon plan recovery analysis

David Slay              3/30/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                            Reorg comparison of plan recoveries discussion
David Slay              3/30/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Modelling
                                            revisions to the Reorg recovery comparison model
David Slay              3/30/2023     1.0   Discussion w/ J. Gonzalez, D. Slay (A&M) re: next steps in the Reorg
                                            recovery analysis model
David Slay              3/30/2023     1.8   Adjust proforma balance sheet to capture recent sale and receivable

David Slay              3/30/2023     1.8   Update reorg and FTX comparison based on latest support and
                                            comments
David Slay              3/30/2023     1.3   Working session w/ J. Gonzalez & D. Slay (A&M) re: locate data and
                                            discuss recent asset sales for Reorg comparison
David Slay              3/30/2023     0.7   Continued working session with C. Sullivan, J. Gonzalez & D. Slay
                                            (A&M) re: the Reorg comparison of plan recoveries internal review
David Slay              3/30/2023     1.0   Update recovery comparison model for latest thinking cash and crypto


Johnny Gonzalez         3/30/2023     1.0   Discussion w/ J. Gonzalez, D. Slay (A&M) re: next steps in the Reorg
                                            recovery analysis model




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Johnny Gonzalez         3/30/2023     0.8   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                            Reorg comparison of plan recoveries discussion
Johnny Gonzalez         3/30/2023     0.7   Continued working session with C. Sullivan, J. Gonzalez & D. Slay
                                            (A&M) re: the Reorg comparison of plan recoveries internal review
Johnny Gonzalez         3/30/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Modelling
                                            revisions to the Reorg recovery comparison model
Johnny Gonzalez         3/30/2023     2.4   Updates to the comparison to Reorg's plan recovery analysis

Johnny Gonzalez         3/30/2023     1.9   Update the assumptions section of the Reorg recovery analysis model


Johnny Gonzalez         3/30/2023     0.9   Update the deficiency claims modelling mechanics in the plan
                                            recovery model
Johnny Gonzalez         3/30/2023     1.3   Working session w/ J. Gonzalez & D. Slay (A&M) re: locate data and
                                            discuss recent asset sales for Reorg comparison
Christopher Sullivan    3/31/2023     0.2   Discussion w/ C. Sullivan, G. Walia, D. Slay & V. Rajasekhar (A&M)
                                            re: crypto asset recovery input review
Christopher Sullivan    3/31/2023     0.8   Create draft outline for recovery presentation


Christopher Sullivan    3/31/2023     0.8   Provide comments to crypto petition date bridge

Christopher Sullivan    3/31/2023     1.1   Review revisions to modelling of collateral assets as an offset to third
                                            party loans payable
Christopher Sullivan    3/31/2023     0.7   Provide guidance on inclusion of upcoming asset sales into the
                                            recovery analysis
Christopher Sullivan    3/31/2023     1.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                            Reorg comparison and bridge review
Christopher Sullivan    3/31/2023     0.7   Review updates to treatment of crypto tokens receivable for subcon
                                            analysis
Christopher Sullivan    3/31/2023     1.2   Draft initial placeholder slides for recovery presentation

Christopher Sullivan    3/31/2023     0.8   Meeting w/ C. Sullivan, D. Slay, & S. Coverick (A&M) re: Recovery
                                            analysis next steps
Christopher Sullivan    3/31/2023     2.6   Detail review further updates to the subcon analysis

Christopher Sullivan    3/31/2023     2.1   Provide comments to updated illustrative recovery analysis by silo

David Slay              3/31/2023     0.2   Discussion w/ G. Walia, D. Slay & V. Rajasekhar (A&M) re: crypto
                                            asset bridge review
David Slay              3/31/2023     0.2   Discussion w/ C. Sullivan, G. Walia, D. Slay & V. Rajasekhar (A&M)
                                            re: crypto asset recovery input review
David Slay              3/31/2023     0.2   Discussion w/ J. Gonzalez, D. Slay & V. Rajasekhar (A&M) re: illiquid
                                            and liquid crypto assets comparison for recovery
David Slay              3/31/2023     1.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                            Reorg comparison and bridge review




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David Slay              3/31/2023      1.2   Update recovery support model with latest supporting data

David Slay              3/31/2023      0.9   Draft email for reorg comparison distribution and note material
                                             changes in analysis
David Slay              3/31/2023      0.8   Meeting w/ C. Sullivan, D. Slay, & S. Coverick (A&M) re: Recovery
                                             analysis next steps
David Slay              3/31/2023      3.0   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update Reorg
                                             comparison model based on prior nights comments and develop
                                             responses
Gaurav Walia            3/31/2023      0.2   Discussion w/ G. Walia, D. Slay & V. Rajasekhar (A&M) regarding
                                             crypto asset bridge review
Gaurav Walia            3/31/2023      0.2   Discussion w/ C. Sullivan, G. Walia, D. Slay & V. Rajasekhar (A&M)
                                             regarding crypto asset recovery input review
Johnny Gonzalez         3/31/2023      0.2   Discussion w/ J. Gonzalez, D. Slay & V. Rajasekhar (A&M) re: illiquid
                                             and liquid crypto assets comparison for recovery
Johnny Gonzalez         3/31/2023      1.4   Working session w/ C. Sullivan, J. Gonzalez & D. Slay (A&M) re: the
                                             Reorg comparison and bridge review
Johnny Gonzalez         3/31/2023      3.0   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update Reorg
                                             comparison model based on prior nights comments and develop
                                             responses
Steve Coverick          3/31/2023      0.8   Meeting w/ C. Sullivan, D. Slay, & S. Coverick (A&M) re: Recovery
                                             analysis next steps
Steve Coverick          3/31/2023      0.7   Review and provide comments on draft of plan recovery model

Vinny Rajasekhar        3/31/2023      0.2   Discussion w/ J. Gonzalez, D. Slay & V. Rajasekhar (A&M) regarding
                                             crypto assets comparison for recovery
Vinny Rajasekhar        3/31/2023      0.2   Discussion w/ C. Sullivan, G. Walia, D. Slay & V. Rajasekhar (A&M)
                                             regarding crypto asset recovery input review
Vinny Rajasekhar        3/31/2023      0.2   Discussion w/ G. Walia, D. Slay & V. Rajasekhar (A&M) regarding
                                             crypto asset bridge review

Subtotal                             237.5

Due Diligence
Professional               Date     Hours     Activity
Gaurav Walia             3/1/2023      1.4   Prepare an updated crypto model bridge and database for the UCC

Lorenzo Callerio         3/1/2023      0.4   Update the internal and external trackers including additional
                                             document requested by FTI
Lorenzo Callerio         3/1/2023      0.3   Publish several different document to the UCC shared folder

Lorenzo Callerio         3/1/2023      0.6   Prepare documents for upload prior to publishing to data room


Lorenzo Callerio         3/1/2023      0.6   Update the internal and external tracker to reflect latest uploads




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Due Diligence
Professional               Date     Hours     Activity
Steve Coverick           3/1/2023     0.4   Review and provide comments on latest draft of customer
                                            entitlements analysis for UCC
Lorenzo Callerio         3/2/2023     0.1   Call with S. Coverick (A&M) re: diligence process update


Lorenzo Callerio         3/2/2023     0.5   Prepare 20+ additional documents received from PWP for upload
                                            and publish them to the dataroom
Lorenzo Callerio         3/2/2023     0.4   Update the internal and external trackers reflecting the additional
                                            document provided to Jefferies
Lorenzo Callerio         3/2/2023     0.2   Draft an update document approval list to be distributed to J. Ray
                                            (FTX) for approval
Steve Coverick           3/2/2023     0.1   Call with S. Coverick, L. Callerio (A&M) re: diligence process update

Lorenzo Callerio         3/3/2023     0.2   Review and update the FTX.US lenders tracker


Lorenzo Callerio         3/3/2023     0.2   Prepare an approval list to be sent to J. Ray (FTX)

Lorenzo Callerio         3/3/2023     0.2   Respond to certain questions received from K. Ramanathan (A&M)
                                            re: exchange shortfall deck
Lorenzo Callerio         3/3/2023     0.3   Call with R. Gordon, L. Callerio, K. Ramanathan (A&M) and S.
                                            Yeargan (S&C) re: FTX.US lenders
Mackenzie Jones          3/3/2023     0.6   Research non-debtor entity 3 for information related to entity
                                            business activities
Robert Gordon            3/3/2023     0.3   Call with R. Gordon, L. Callerio, K. Ramanathan (A&M) and S.
                                            Yeargan (S&C) re: FTX.US lenders
Kevin Baker              3/6/2023     2.6   Investigate a wallet address in FTX com/us to produce for the UCC

Lorenzo Callerio         3/6/2023     0.4   Draft an approval list to be discussed with J. Ray (FTX)


Lorenzo Callerio         3/6/2023     0.4   Prepare certain additional documents for upload and publish them to
                                            the dataroom
Lorenzo Callerio         3/6/2023     0.2   Respond to certain questions received from FTI


Mackenzie Jones          3/6/2023     0.8   Research foreign entity for available financial data required for court
                                            reporting purposes
James Cooper             3/7/2023     0.2   Discuss the diligence process with J. Cooper and L. Callerio (A&M)

Jeffery Stegenga         3/7/2023     0.6   Discussion w/ J. Ray (FTX) re: case pace, UCC focus and key next
                                            steps
Lorenzo Callerio         3/7/2023     0.2   Discuss the diligence process with J. Cooper (A&M)

Lorenzo Callerio         3/7/2023     0.5   Prepare certain additional documents for upload and publish them to
                                            the dataroom
Lorenzo Callerio         3/7/2023     0.4   Update the internal and external diligence trackers reflecting latest
                                            responses provided




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Due Diligence
Professional                Date     Hours     Activity
Lorenzo Callerio          3/7/2023     0.2   Respond to certain questions received from FTI

Mackenzie Jones           3/7/2023     1.4   Research incorporation status and information on non-debtor entity 3
                                             and subsidiaries
Steve Coverick            3/7/2023     1.3   Review and provide comments on draft excerpt of Ray report

Douglas Lewandowski       3/8/2023     0.7   Work on Relativity contract searches for specific FTX legal entities for
                                             C. Arnett (A&M) review
Ed Mosley                 3/8/2023     0.8   Review of monthly financial information for Embed for use in the
                                             board package
Gaurav Walia              3/8/2023     0.8   Prepare a summary of the COM exchange data in response to a
                                             UCC request
Gaurav Walia              3/8/2023     1.7   Prepare a summary of the located assets bridge in response to a
                                             UCC request
Gaurav Walia              3/8/2023     0.9   Prepare a summary of the located assets data in response to a UCC
                                             request
Gaurav Walia              3/8/2023     1.4   Prepare a summary of the US exchange data in response to a UCC
                                             request
Lorenzo Callerio          3/8/2023     0.5   Prepare updated internal and external diligence trackers

Lorenzo Callerio          3/8/2023     0.7   Review certain additional documents received from R. Gordon (A&M)
                                             and prepare them for upload
Lorenzo Callerio          3/8/2023     0.7   Draft an updated approval list to be circulated to S&C and J. Ray
                                             (FTX) for approval
Mackenzie Jones           3/8/2023     1.4   Research convertible note purchase and history for non-debtor for
                                             clarity in court reporting requirements
Mackenzie Jones           3/8/2023     1.8   Research and gather formation documents for non-debtor entity 4


Kevin Baker               3/9/2023     2.3   Investigate a wallet address in FTX com/us to produce for the UCC

Lorenzo Callerio          3/9/2023     0.3   Update the internal and external diligence trackers reflecting latest
                                             responses provided
Lorenzo Callerio          3/9/2023     0.8   Prepare several documents for upload and share them with S.
                                             Yeargan (S&C) for discussion
Lorenzo Callerio          3/9/2023     0.4   Prepare a state regulators diligence tracker

Gaurav Walia             3/10/2023     0.4   Prepare a pricing summary in response to a UCC request


Lorenzo Callerio         3/10/2023     0.9   Publish certain additional documents to the dataroom and update the
                                             internal and external trackers
Lorenzo Callerio         3/10/2023     0.3   Prepare a document approval list to send to J. Ray (FTX)


Mackenzie Jones          3/10/2023     1.0   Research financial and formation data available for foreign non-
                                             debtor to provide background in court reporting requirements




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Due Diligence
Professional             Date     Hours     Activity
Kumanan Ramanathan    3/11/2023     0.4   Call regarding UCC member feedback on USDC exposure with K.
                                          Hansen (PH), J. DE Brignac (FTI), J. Ray (FTX), S. Coverick (A&M)
Lorenzo Callerio      3/11/2023     0.2   Respond to a question received from J. Ray (FTX) re: certain
                                          documents published to the dataroom
Lorenzo Callerio      3/13/2023     0.4   Respond to multiple questions received from S&C re: documents to
                                          be published
Lorenzo Callerio      3/13/2023     0.9   Review and upload certain documents provided by PWP

Lorenzo Callerio      3/13/2023     0.3   Review and update the PMO materials


Mackenzie Jones       3/13/2023     1.4   Research source of audited financials and background for FTX entity
                                          7
Mackenzie Jones       3/13/2023     2.6   Research non-debtor entity 8 formation documents


Gaurav Walia          3/14/2023     1.6   Prepare a response to UCC member questions

Lorenzo Callerio      3/14/2023     1.6   Review the surety bonds materials and prepare a calculation of the
                                          annual premiums by contact
Lorenzo Callerio      3/14/2023     0.3   Respond to certain diligence questions received from FTI

Lorenzo Callerio      3/14/2023     1.3   Prepare 59 additional document received from PWP for upload and
                                          draft an approval email to be sent to J. Ray (FTX)
Gaurav Walia          3/15/2023     1.2   Prepare responses to questions from certain UCC members


Lorenzo Callerio      3/15/2023     0.4   Review the UCC dataroom structure and edit accordingly

Lorenzo Callerio      3/15/2023     0.4   Respond to various FTI requests related to posted or outstanding
                                          requests
Lorenzo Callerio      3/15/2023     1.0   Prepare surety bond documents for upload and approval

Lorenzo Callerio      3/15/2023     0.6   Upload certain new documents and prepare updated version of the
                                          internal and external trackers
Lorenzo Callerio      3/15/2023     0.7   Draft some revised responses to FTI re: surety bonds and prepare an
                                          updated approval list for J. Ray (FTX)
Lorenzo Callerio      3/15/2023     1.3   Review the surety bond documents and draft some revised
                                          responses to be approved by S&C
Lorenzo Callerio      3/16/2023     0.7   Publish certain documents to the data room and update the internal
                                          and external trackers
Lorenzo Callerio      3/16/2023     0.5   Prepare an updated approval list to be sent to J. Ray (FTX)

Lorenzo Callerio      3/16/2023     0.4   Respond to certain diligence questions received from PWP and S&C


Cullen Stockmeyer     3/17/2023     0.2   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                          diligence process update




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Professional                Date     Hours     Activity
Lorenzo Callerio         3/17/2023     0.7   Publish several new document to the dataroom and update the
                                             internal and external trackers
Lorenzo Callerio         3/17/2023     0.2   Working session with L. Callerio and C. Stockmeyer (A&M) re:
                                             diligence process update
Lorenzo Callerio         3/17/2023     0.8   Review certain additional documents provided by S&C and PWP
                                             prior to publishing them
Lorenzo Callerio         3/17/2023     0.3   Prepare a new list of documents to be sent to J .Ray (FTX) for
                                             approval
Lorenzo Callerio         3/17/2023     0.3   Prepare a summary of newly uploaded information for FTI


Louis Konig              3/17/2023     0.9   Quality control and review of script outputs related to reconciliation of
                                             liability schedules to presented UCC totals
Lorenzo Callerio         3/18/2023     0.4   Prepare an updated approval list for S&C and J. Ray (FTX)


Lorenzo Callerio         3/19/2023     0.4   Prepare and publish documents approved for data room upload

Cullen Stockmeyer        3/20/2023     0.2   Working session with L. Callerio, C. Stockmeyer (A&M) re: diligence
                                             process update
Lorenzo Callerio         3/20/2023     0.8   Update the internal tracker including all the requests sent to the UCC
                                             as requested by S. Coverick (A&M)
Lorenzo Callerio         3/20/2023     0.3   Review the UCC dataroom structure and edit accordingly

Lorenzo Callerio         3/20/2023     0.6   Update the internal and external diligence tracker including additional
                                             documents provided
Lorenzo Callerio         3/20/2023     0.2   Working session with L. Callerio, C. Stockmeyer (A&M) re: diligence
                                             process update
Lorenzo Callerio         3/20/2023     1.0   Prepare an updated list of items that require feedback from the UCC
                                             to be discussed in a call
Lorenzo Callerio         3/20/2023     0.2   Call with S. Coverick and L. Callerio (A&M) re: UCC open items

Lorenzo Callerio         3/20/2023     0.3   Finalize a summary chart including requests sent to the UCC
                                             including comments received from S. Coverick (A&M)
Lorenzo Callerio         3/20/2023     0.5   Review the updated tracker that includes several additional requests
                                             received from FTI re: SOAL / SOFA
Lorenzo Callerio         3/20/2023     0.5   Prepare certain additional documents for update and publish them

Steve Coverick           3/20/2023     0.2   Call with S. Coverick and L. Callerio (A&M) re: UCC open items


Steve Coverick           3/20/2023     1.9   Review and signoff on materials compiled in response to UCC
                                             information requests on ongoing sale processes
Christopher Sullivan     3/21/2023     0.2   Call with. R. Esposito, C. Sullivan and L. Callerio (A&M) re: SOFA /
                                             SOAL
Ed Mosley                3/21/2023     0.7   Review of current FTX EU documentation around options for
                                             management and UCC and prepare next steps




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Professional             Date     Hours     Activity
Gaurav Walia          3/21/2023     0.9   Prepare responses to a UCC request

Lorenzo Callerio      3/21/2023     0.3   Publish additional documents to the VDR


Lorenzo Callerio      3/21/2023     0.3   Respond to requests received from FTI

Lorenzo Callerio      3/21/2023     0.3   Prepare a revised list of approvals to be sent to S&C and J. Ray
                                          (FTX)
Lorenzo Callerio      3/21/2023     0.2   Call with. R. Esposito, C. Sullivan and L. Callerio (A&M) re: SOFA /
                                          SOAL
Lorenzo Callerio      3/21/2023     0.9   Prepare revised internal and external trackers to reflect responses to
                                          FTI's requests re: SOAL / SOFA
Lorenzo Callerio      3/21/2023     0.5   Review certain additional crypto tracing requests received from
                                          different parties
Lorenzo Callerio      3/21/2023     1.3   Review and update the crypto tracing tracker following discussion
                                          held with L. Lambert (A&M)
Rob Esposito          3/21/2023     0.2   Call with. R. Esposito, C. Sullivan and L. Callerio (A&M) re: SOFA /
                                          SOAL
Steve Coverick        3/21/2023     0.9   Review and provide comments on materials compiled for UCC
                                          information requests on statements and schedules
Steve Kotarba         3/21/2023     3.0   Prepare responses to UCC diligence requests

Gaurav Walia          3/23/2023     0.4   Prepare responses to request from a UCC member


Lorenzo Callerio      3/23/2023     0.8   Draft a new document approval list to be sent to J. Ray (FTX)

Lorenzo Callerio      3/23/2023     0.3   Prepare an updated VDR index for use in internal meeting


Lorenzo Callerio      3/23/2023     0.1   Call with L. Callerio, S. Coverick (A&M) re: UCC information requests

Lorenzo Callerio      3/23/2023     0.5   Prepare updated internal and external diligence trackers


Lorenzo Callerio      3/23/2023     0.6   Prepare certain additional documents received from PWP for upload

Steve Coverick        3/23/2023     0.1   Call with S. Coverick, L. Callerio (A&M) re: UCC information requests

Lorenzo Callerio      3/24/2023     0.7   Prepare several documents for upload prior to publishing them


Lorenzo Callerio      3/24/2023     0.3   Prepare the open items weekly summary to be sent to J. Ray (A&M)

Lorenzo Callerio      3/24/2023     0.4   Prepare a new diligence approval list to be circulated to S&C and J.
                                          Ray (FTX)
Lorenzo Callerio      3/24/2023     0.7   Update internal and external trackers and VDR index




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Due Diligence
Professional              Date     Hours     Activity
Steve Coverick         3/24/2023     1.3   Review and provide comments on materials compiled in response to
                                           recent UCC information requests
Lorenzo Callerio       3/27/2023     0.5   Update the internal and external diligence trackers including
                                           additional documents provided by PWP
Lorenzo Callerio       3/27/2023     0.4   Prepare a summary overview of the diligence process to be
                                           discussed with S. Coverick (A&M)
Lorenzo Callerio       3/27/2023     0.5   Prepare a revised tracker of questions sent to the UCC that are still
                                           open, as requested by S. Coverick (A&M)
Lorenzo Callerio       3/27/2023     0.4   Draft an updated document approval list to be submitted to J. Ray
                                           (A&M)
Cullen Stockmeyer      3/28/2023     0.7   Response to UCC request related to dataroom and compliance
                                           statistics
Ed Mosley              3/28/2023     1.7   Discussion with J.Ray (FTX), S&C (A.Dietderich, A.Kranzley), PWP
                                           (K.Cofsky, others), PH (K.Hansen, others), FTI (S.Simms,
                                           B.Bromberg, others), Jefferies (M. O'Hara, others), and A&M
                                           (S.Coverick, others), regarding UCC diligence requests, upcoming
                                           UCC meet
Gaurav Walia           3/28/2023     2.8   Review the latest UCC request and provide feedback

Gaurav Walia           3/28/2023     2.8   Finalize the UCC response workbook


Lorenzo Callerio       3/28/2023     0.5   Publish additional documents to the VDR

Lorenzo Callerio       3/28/2023     0.4   Prepare an updated VDR index for internal distribution


Lorenzo Callerio       3/28/2023     0.6   Update the internal and external trackers including additional
                                           documents received from R. Gordon and K. Ramanathan (A&M)
Lorenzo Callerio       3/28/2023     2.3   Prepare a detailed analysis of the documents provided to the
                                           different constituents
Lorenzo Callerio       3/28/2023     0.1   Discuss UCC request tracker with L. Callerio and S. Coverick (A&M)

Steve Coverick         3/28/2023     1.7   Discussion with J.Ray (FTX), S&C (A.Dietderich, A.Kranzley), PWP
                                           (K.Cofsky, others), PH (K.Hansen, others), FTI (S.Simms,
                                           B.Bromberg, others), Jefferies (M. O'Hara, others), and A&M
                                           (S.Coverick, others), regarding UCC diligence requests, upcoming
                                           UCC meet
Steve Coverick         3/28/2023     0.1   Discuss UCC request tracker with L. Callerio and S. Coverick (A&M)

Gaurav Walia           3/29/2023     1.0   Update the UCC request document


Lorenzo Callerio       3/29/2023     1.2   Prepare certain additional documents for upload and publish them to
                                           the data room
Lorenzo Callerio       3/29/2023     0.5   Update the internal and external trackers and the VDR index


Lorenzo Callerio       3/29/2023     0.7   Prepare and update document approval list to be circulated to J. Ray
                                           (FTX)



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Professional                 Date     Hours     Activity
Douglas Lewandowski       3/30/2023      1.1   Work on diligence request in Relativity for specific contract
                                               counterparties
Ed Mosley                 3/30/2023      1.6   Prepare for and participate in meeting with UCC members (S. Shah,
                                               M. Gurevich, others), PH (K.Hansen, E.Gilad, G. Sasson, others),
                                               Jefferies (M. O'Hara, others), FTI (S.Simms, B.Bromberg, others),
                                               S&C (A.Dietderich, B.Glueckstein, others), PWP (K.Cofsky,
Gaurav Walia              3/30/2023      0.9   Finalize the UCC response workbook


Lorenzo Callerio          3/30/2023      0.7   Update the internal and external diligence trackers and the VDR index

Cullen Stockmeyer         3/31/2023      0.5   Discussion with L. Callerio, C. Stockmeyer (A&M) re: UCC request
                                               related to ventures and claims data
Cullen Stockmeyer         3/31/2023      1.3   Prepare 70 new files from PWP to provide to UCC


Cullen Stockmeyer         3/31/2023      1.2   Prepare ~400 new files for sharing with the UCC

Lorenzo Callerio          3/31/2023      0.5   Discussion with L. Callerio, C. Stockmeyer (A&M) re: UCC request
                                               related to ventures and claims data
Lorenzo Callerio          3/31/2023      1.2   Review and prepare over 350+ documents received from PWP for
                                               upload
Steve Coverick            3/31/2023      0.9   Review and provide comments on information compiled in response
                                               to UCC information requests on avoidance actions

Subtotal                               107.6

Employee Matters
Professional                 Date     Hours     Activity
Bridger Tenney             3/1/2023      0.7   Use employee listing to determine if invoice is outstanding


Bridger Tenney             3/1/2023      0.7   Discuss prepetition employee compensation still outstanding with N.
                                               Simoneaux, B. Tenney (A&M)
Chris Arnett               3/1/2023      0.2   Address questions from J. Paranyuk (S&C) re: insiders

Hudson Trent               3/1/2023      0.6   Review and circulate updated employee headcount bridge


Nicole Simoneaux           3/1/2023      0.7   Discuss prepetition employee compensation still outstanding with N.
                                               Simoneaux, B. Tenney (A&M)
Nicole Simoneaux           3/1/2023      0.8   Edit payroll requests based on updated criteria


Nicole Simoneaux           3/1/2023      1.7   Verify bank information for wire portal

Nicole Simoneaux           3/1/2023      0.4   Organize datasite for external share


Nicole Simoneaux           3/1/2023      1.9   Compile employee listing based on title criteria




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Employee Matters
Professional             Date     Hours     Activity
Nicole Simoneaux       3/1/2023     2.1   Review contractor payrolls for reconciliation

Nicole Simoneaux       3/1/2023     0.3   Assess invoice request from entity


David Nizhner          3/2/2023     0.2   Call with internal team regarding payroll funding

David Nizhner          3/2/2023     0.6   Coordinate with team regarding payroll disbursement findings

Ed Mosley              3/2/2023     0.8   Discuss UCC proposal of incentive compensation for FTX Japan with
                                          FTI (S.Simms, others), FTX (J. Ray, others), and A&M
Hudson Trent           3/2/2023     0.4   Correspond regarding global HR contacts with K. Schultea (FTX)

Kora Dusendschon       3/2/2023     0.8   Respond to requests/follow up from S&C re KYC information.
                                          Reaching out internally for employee details
Nicole Simoneaux       3/2/2023     0.7   Distribute wire confirmations to entities

Nicole Simoneaux       3/2/2023     0.7   Address bank account inquiries for payroll funding


Nicole Simoneaux       3/2/2023     1.8   Review payroll data for external KYC

Nicole Simoneaux       3/2/2023     0.8   Address foreign payroll banking issues

Nicole Simoneaux       3/2/2023     0.9   Research and track employee titles for S&C review


Nicole Simoneaux       3/2/2023     0.6   Prepare payment requests for 3/3 pay-run

Brian Cumberland       3/3/2023     1.8   Review KERP declaration and make edits as necessary


David Nizhner          3/3/2023     1.1   Consolidate cash transactions with payroll invoices

David Nizhner          3/3/2023     0.4   Call with S. Witherspoon and D. Nizhner (A&M) re: payroll payments


David Nizhner          3/3/2023     2.4   Review historical payroll spend for payroll processor disbursements

Ed Mosley              3/3/2023     1.8   Review of and prepare comments to updated KERP motion

Katie Lei              3/3/2023     2.6   Review peer KERP detail for KERP motion


Samuel Witherspoon     3/3/2023     0.4   Call with S. Witherspoon and D. Nizhner (A&M) re: payroll payments

Hudson Trent           3/4/2023     0.7   Correspond with various parties regarding KERP declarations and
                                          provide feedback on latest drafts
Hudson Trent           3/4/2023     0.8   Review and update KERP motion based on feedback




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Employee Matters
Professional                Date     Hours     Activity
Hudson Trent              3/5/2023     1.2   Update KERP declarations after review

Katie Montague            3/5/2023     0.3   Correspond with Taiwan employees regarding status of expense
                                             reimbursement
Nicole Simoneaux          3/5/2023     0.8   Track unpaid benefits for upcoming payments

Nicole Simoneaux          3/5/2023     1.1   Prepare payment requests for 3/6 pay-run

Brian Cumberland          3/6/2023     2.8   Review revised KERP declarations and motion


Chris Arnett              3/6/2023     0.4   Participate in discussion with H. Trent and C. Arnett (A&M) and R.
                                             Perubhatla (Company) re: IT contract status
Dylan Hernandez           3/6/2023     2.1   Review peer KERPs for payment upon involuntary termination detail


Dylan Hernandez           3/6/2023     1.9   Review peer KERPs for payment upon emergence detail

Ed Mosley                 3/6/2023     2.1   Review of and prepare comments to updated draft Mosley
                                             declaration in support of the KERP
Hudson Trent              3/6/2023     0.8   Incorporate updates into KERP declarations prior to circulation

Hudson Trent              3/6/2023     0.4   Participate in discussion with H. Trent and C. Arnett (A&M) and R.
                                             Perubhatla (Company) re: IT contract status
Hudson Trent              3/6/2023     0.5   Correspond with S&C regarding KERP declarations


Hudson Trent              3/6/2023     0.4   Distribute updated KERP materials and declarations

Hudson Trent              3/6/2023     0.5   Review and provide feedback on KERP analysis


Katie Lei                 3/6/2023     2.4   Review peer KERPs for payment upon involuntary termination detail

Katie Lei                 3/6/2023     2.6   Review peer KERPs for payment upon emergence detail


Nicole Simoneaux          3/6/2023     0.7   Compile list of former debtor employees

Nicole Simoneaux          3/6/2023     1.7   Prepare final prepetition expense review

Steve Coverick            3/6/2023     0.5   Review and provide comments on KERP declaration of Mosley


Steve Coverick            3/6/2023     0.4   Review and provide comments on KERP declaration of Cumberland

Brian Cumberland          3/7/2023     1.6   Review changes to KERP motion and declaration


David Nizhner             3/7/2023     1.7   Research additional entity specific payroll disbursements




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Employee Matters
Professional                Date     Hours     Activity
Dylan Hernandez           3/7/2023     2.8   Review KERP motion and Cumberland Declaration

Hudson Trent              3/7/2023     1.1   Correspond with S&C and A&M regarding updates to the KERP
                                             motion
Hudson Trent              3/7/2023     0.9   Review and provide feedback on KERP declarations

Hudson Trent              3/7/2023     0.6   Review process for preparing estimated prepetition Employee bonus
                                             claims
Hudson Trent              3/7/2023     0.7   Update KERP calculation for changes in compensation


Katie Lei                 3/7/2023     2.6   Review KERP motion and Cumberland Declaration

Nicole Simoneaux          3/7/2023     0.6   Update headcount based on entity responses


Nicole Simoneaux          3/7/2023     1.1   Compile support for payroll bonus analysis

Nicole Simoneaux          3/7/2023     0.4   Organize datasite and share for external utilization


Nicole Simoneaux          3/7/2023     1.9   Forecast timing and headcount for bonus payments per entity

Rob Casburn               3/7/2023     2.4   Review of draft KERP motion and declaration

Samuel Witherspoon        3/7/2023     0.8   Review historical bank payments for payroll detail


Chris Arnett              3/8/2023     0.6   Meeting with K. Schultea (RLKS), C. Arnett, and N. Simoneaux
                                             (A&M) re: employee benefit analysis
Ed Mosley                 3/8/2023     2.1   Review of and provide approval for filing Mosley declaration in
                                             support of the KERP
Ed Mosley                 3/8/2023     1.8   Review of and provide comments to draft KERP motion

Ed Mosley                 3/8/2023     0.8   Review of and provide comments to updated version of Cumberland
                                             declaration in support of the KERP
Hudson Trent              3/8/2023     0.6   Correspond regarding KERP motion with S&C

Hudson Trent              3/8/2023     0.5   Review final KERP motion and declarations and provide feedback

Nicole Simoneaux          3/8/2023     0.6   Meeting with K. Schultea (RLKS), C. Arnett, and N. Simoneaux
                                             (A&M) re: employee benefit analysis
Nicole Simoneaux          3/8/2023     1.1   Prepare payment requests for 3/9 payroll

Nicole Simoneaux          3/8/2023     1.3   Finalize employee contributed benefits analysis


Steve Coverick            3/8/2023     1.3   Review and provide comments on markup of KERP motion




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Employee Matters
Professional                Date     Hours     Activity
Steve Coverick            3/8/2023     0.4   Correspond with FTI and A&M personnel regarding final changes to
                                             KERP motion
Steve Coverick            3/8/2023     0.9   Review and provide comments on changes to KERP motion


Ed Mosley                 3/9/2023     1.9   Review of and prepare comments to response to UST requests
                                             regarding KERP
Hudson Trent              3/9/2023     0.5   Prepare initial responses to US Trustee requests regarding KERP
                                             motion
Hudson Trent              3/9/2023     2.1   Review updated KERP motion and declarations and provide feedback


Nicole Simoneaux          3/9/2023     1.8   Compile additional support for international benefits analysis

Nicole Simoneaux          3/9/2023     0.4   Request general withdrawal activity outputs


Nicole Simoneaux          3/9/2023     1.9   Review payrolls for benefits providers

Nicole Simoneaux          3/9/2023     0.9   Prepare benefit headcount for forecasting


Hudson Trent             3/10/2023     0.6   Prepare summary comparison of KEIP proposals following UCC
                                             feedback
Hudson Trent             3/10/2023     1.9   Update one page comparison of KEIP proposals based on internal
                                             A&M feedback
Kevin Baker              3/10/2023     1.8   Report on withdrawal history for active/inactive FTX employee listing


Nicole Simoneaux         3/10/2023     1.3   Revise benefits analysis for new providers

Nicole Simoneaux         3/10/2023     0.4   Prepare benefits payment requests


Nicole Simoneaux         3/10/2023     0.8   Populate employee salaries in tracker

Nicole Simoneaux         3/10/2023     0.9   Verify payroll support for foreign entity funding


Nicole Simoneaux         3/10/2023     1.9   Review benefit service provider agreements for terms and conditions

Steve Coverick           3/10/2023     1.3   Review and provide comments to revised analysis of CEO success
                                             fee analysis
Steve Coverick           3/10/2023     1.9   Analyze KEIP counterproposal to UCC offer from FTX Japan
                                             management
Hudson Trent             3/11/2023     0.3   Review materials related to employee related cash flows

Matthew Flynn            3/11/2023     1.3   Prepare Employee Withdrawal presentation


Matthew Flynn            3/11/2023     1.6   Analyze Active & Inactive Employee Withdrawals for FTX.COM




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Employee Matters
Professional                 Date     Hours     Activity
Matthew Flynn             3/11/2023     1.7   Analyze Active & Inactive Employee Withdrawals for FTX.US

Nicole Simoneaux          3/12/2023     0.9   Prepare payment requests for 3/13 payroll


Chris Arnett              3/13/2023     0.4   Review employee exchange withdrawal reporting and communication
                                              of same to K. Schultea (Company)
Nicole Simoneaux          3/13/2023     1.1   Prepare payment requests for 3/14 payroll

Nicole Simoneaux          3/13/2023     0.6   Convey contractor inquiries on bankruptcy proceedings to the
                                              appropriate parties
Nicole Simoneaux          3/13/2023     1.2   Review expense reimbursement support and timeline

Nicole Simoneaux          3/13/2023     1.4   Refine benefits analysis based on entity responses


Nicole Simoneaux          3/13/2023     1.3   Utilize payroll actuals for benefit forecast assumptions

Nicole Simoneaux          3/13/2023     0.3   Request payroll processor funding for mid-month payroll


Chris Arnett              3/14/2023     0.3   Compose several emails to A. Kranzley (S&C) re: employee
                                              withdrawals
Chris Arnett              3/14/2023     0.6   Review and comment on worldwide benefit plans analysis and
                                              employee runoff of same
Hudson Trent              3/14/2023     0.6   Meeting H. Trent and N. Simoneaux (A&M) to discuss benefits cost
                                              analysis
Hudson Trent              3/14/2023     0.6   Correspond regarding outstanding employee expenses with K.
                                              Schultea (FTX)
Nicole Simoneaux          3/14/2023     1.9   Assess hypothetical termination fees and amounts owed for benefit
                                              providers
Nicole Simoneaux          3/14/2023     0.4   Verify outstanding reimbursable expense claims

Nicole Simoneaux          3/14/2023     1.4   Update payroll tracker based on disbursement actuals


Nicole Simoneaux          3/14/2023     0.6   Meeting H. Trent and N. Simoneaux (A&M) to discuss benefits cost
                                              analysis
Nicole Simoneaux          3/14/2023     0.6   Verify employee mid-month payroll for same-day funding

Nicole Simoneaux          3/14/2023     0.8   Address payroll inquiries from foreign vendor


Nicole Simoneaux          3/14/2023     0.7   Prepare contractor payroll for direct-wire

Nicole Simoneaux          3/14/2023     1.2   Review foreign payroll for salary increases and monthly discrepancies


Nicole Simoneaux          3/14/2023     1.2   Forecast per-employee benefits for analysis




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Employee Matters
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/14/2023     1.3   Research foreign statutorily required benefits

Chris Arnett              3/15/2023     0.6   Review employee contracts for retention obligations in the event of a
                                              liquidation or sale
Nicole Simoneaux          3/15/2023     0.8   Communicate with payroll provider over payroll funds not received

Nicole Simoneaux          3/15/2023     0.3   Assess contractor legal inquiry and convey to appropriate parties

Nicole Simoneaux          3/15/2023     2.1   Assess payroll tracker for reconciliation against actual disbursements


Nicole Simoneaux          3/15/2023     1.5   Assess timing of disbursements against payroll forecast

Nicole Simoneaux          3/15/2023     1.4   Conduct outreach and analysis for benefit provider services
                                              agreements
Nicole Simoneaux          3/15/2023     1.9   Prepare payment requests and calendar timing for 3/20 pay-run

Hudson Trent              3/16/2023     1.6   Prepare updated comparison of KEIP proposals and circulate for
                                              review
Hudson Trent              3/16/2023     2.6   Review benefits cost analysis and provide feedback

Nicole Simoneaux          3/16/2023     0.8   Review employment contracts for employment dates

Nicole Simoneaux          3/16/2023     0.9   Prepare headcount bridge for UCC


Nicole Simoneaux          3/16/2023     0.6   Refine benefits analysis for statutorily required benefits

Nicole Simoneaux          3/16/2023     1.8   Review employment contracts for tracker


Nicole Simoneaux          3/16/2023     1.7   Incorporate comments and finalize benefits analysis

Nicole Simoneaux          3/16/2023     1.4   Update and bridge foreign headcount based on new information


Nicole Simoneaux          3/16/2023     0.4   Extract foreign entity employee salaries

Steve Coverick            3/16/2023     0.5   Call with S. Melamed and J. Ray (FTX) to discuss Japan KEIP and
                                              other issues with FTX Japan
Steve Coverick            3/16/2023     0.8   Review and provide comments on analysis of UCC counterproposal
                                              to KEIP vs management counterproposal
Katie Lei                 3/17/2023     2.1   Revise summary of incentive and retention programs

Katie Lei                 3/17/2023     1.8   Review KERP peer compensation detail


Nicole Simoneaux          3/17/2023     2.1   Review employment contracts for tracker




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Employee Matters
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/17/2023     0.9   Update salary data in personnel master

Nicole Simoneaux          3/17/2023     1.9   Research FDM employee statuses in employment contract tracker


Nicole Simoneaux          3/17/2023     0.5   Incorporate remaining comments on benefits analysis

Nicole Simoneaux          3/17/2023     2.4   Analyze recent payrolls for accurate headcount adjustments and
                                              payroll costs
Rob Casburn               3/17/2023     1.3   Review KERP supporting documentation


Nicole Simoneaux          3/19/2023     1.4   Review latest payroll data for headcount changes

Nicole Simoneaux          3/19/2023     0.8   Incorporate payroll changes to headcount analysis


Nicole Simoneaux          3/19/2023     1.1   Perform headcount bridge analysis for cash forecast

Brian Cumberland          3/20/2023     1.2   Review draft of KEIP motion in detail


Chris Arnett              3/20/2023     0.8   Continue review and comment on draft worldwide benefit plans
                                              analysis and employee runoff of same
Hudson Trent              3/20/2023     2.2   Review KEIP motion and prepare to address outstanding items

Hudson Trent              3/20/2023     0.4   Correspond with K. Schultea (FTX) regarding employee payroll in
                                              Gibraltar
Hudson Trent              3/20/2023     0.6   Correspond regarding outstanding items related to the KEIP motion
                                              with S&C
Nicole Simoneaux          3/20/2023     1.6   Incorporate changes to employer benefit contribution analysis


Nicole Simoneaux          3/20/2023     2.1   Review latest payroll data for headcount changes

Nicole Simoneaux          3/20/2023     1.9   Organize and research KEIP outstanding items


Nicole Simoneaux          3/20/2023     0.8   Prepare payment requests for 3/21 pay-run

Rob Casburn               3/20/2023     1.6   Review draft of KEIP motion analysis and summary

Steve Coverick            3/20/2023     1.3   Review and provide comments on updated KEIP calculation deck


Chris Arnett              3/21/2023     0.3   Review and comment on draft responses to S&C regarding Japanese
                                              KEIP draft motion
Chris Arnett              3/21/2023     0.4   Call regarding KEIP motion with R. Casburn, C. Arnett, and N.
                                              Simoneaux (A&M)
Dylan Hernandez           3/21/2023     2.1   Review of FTX Japan KEIP declaration




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Employee Matters
Professional                 Date     Hours     Activity
Henry Chambers            3/21/2023     1.7   Attend to response on KEIP diligence

Hudson Trent              3/21/2023     0.8   Prepare responses to KEIP motion questions for incorporation into
                                              the latest draft
Hudson Trent              3/21/2023     0.4   Call regarding KEIP motion with R. Casburn, C. Arnett, and N.
                                              Simoneaux (A&M)
Hudson Trent              3/21/2023     0.4   Correspond regarding KEIP motion terms with S&C

Katie Lei                 3/21/2023     1.4   Summarize base payments for KEIP peers


Katie Lei                 3/21/2023     2.7   Summarize reallocation provisions for KEIP peers

Katie Lei                 3/21/2023     2.9   Review market data for KEIP peers


Nicole Simoneaux          3/21/2023     0.4   Call regarding KEIP motion with R. Casburn, C. Arnett, and N.
                                              Simoneaux (A&M)
Nicole Simoneaux          3/21/2023     0.7   Create employee start date analysis


Nicole Simoneaux          3/21/2023     1.9   Analyze foreign payroll for headcount and salary changes

Nicole Simoneaux          3/21/2023     1.3   Compile historical employee listings for claims management team

Rob Casburn               3/21/2023     0.4   Call regarding KEIP motion with R. Casburn, C. Arnett, and N.
                                              Simoneaux (A&M)
Rob Casburn               3/21/2023     1.1   Review KEIP motion and supporting materials

Chris Arnett              3/22/2023     0.6   Continue to review and comment on KEIP diligence responses


Ed Mosley                 3/22/2023     1.2   Review of and prepare comments to latest draft of KERP
                                              declarations and order
Ed Mosley                 3/22/2023     1.8   Review of and prepare comments to draft presentation to board of
                                              directors regarding employee compensation metrics
Hudson Trent              3/22/2023     0.3   Correspond with various parties regarding KEIP motion inputs

Katie Lei                 3/22/2023     0.6   Provide comments regarding the KEIP motion

Nicole Simoneaux          3/22/2023     1.7   Verify tax reimbursements and government-sponsored benefits


Nicole Simoneaux          3/22/2023     2.2   Review latest payrolls for February actuals

Nicole Simoneaux          3/22/2023     1.2   Export approved expenses for internal review


Nicole Simoneaux          3/22/2023     0.8   Correspond updated headcounts to payroll processors




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Employee Matters
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/22/2023     0.6   Obtain wire confirmations requested by entities

Rob Casburn               3/22/2023     2.8   Review KEIP peer group and plan provisions


Summer Li                 3/22/2023     0.1   Identify numbers of employees of Quoine Pte before petition day

Ed Mosley                 3/23/2023     0.2   Discuss UST interactions regarding KERP and Cash management
                                              with A.Kranzley (S&C)
Ed Mosley                 3/23/2023     1.1   Review of supporting documentation for KERP in conjunction with
                                              supplemental Mosley declaration
Ed Mosley                 3/23/2023     1.0   Review of updated KERP motion / declaration drafted in conjunction
                                              with negotiations with the US Trustee
Hudson Trent              3/23/2023     1.5   Review and provide feedback on KERP motion prior to filing


Katie Lei                 3/23/2023     2.1   Review performance metrics for KEIP peers

Nicole Simoneaux          3/23/2023     0.7   Call with S. Witherspoon and N. Simoneaux (A&M) re: payroll cash
                                              forecast
Nicole Simoneaux          3/23/2023     1.2   Report variance on foreign payrolls

Nicole Simoneaux          3/23/2023     0.9   Analyze foreign payroll for headcount and salary changes

Rob Casburn               3/23/2023     2.7   Review plan features for comparable KEIPs


Rob Casburn               3/23/2023     2.6   Review new draft updates to KEIP motion

Samuel Witherspoon        3/23/2023     0.7   Call with S. Witherspoon and N. Simoneaux (A&M) re: payroll cash
                                              forecast
Steve Coverick            3/23/2023     1.1   Review and provide comments up updated KEIP analysis

Steve Coverick            3/23/2023     1.2   Review and provide comments on updated KERP declaration to
                                              incorporate UST comments
Steve Coverick            3/23/2023     1.4   Review and provide comments on updated KERP motion to
                                              incorporate UST comments
Brian Cumberland          3/24/2023     0.8   Review peer group analysis and develop notes for discussion

Chris Arnett              3/24/2023     0.6   Review and comment on comp and benefits team responses to
                                              proposed KEIP diligence items
Ed Mosley                 3/24/2023     0.8   Review of updated KERP order based on negotiations with UST

Ed Mosley                 3/24/2023     0.3   Discuss with UST and S&C (A.Kranzley) the KERP motion
                                              negotiations
Ed Mosley                 3/24/2023     1.1   Prepare summary of KERP order negotiations for management




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Employee Matters
Professional                 Date     Hours     Activity
Ed Mosley                 3/24/2023     0.9   Review of and provide approval for supplemental Mosley declaration
                                              in support of KERP
Hudson Trent              3/24/2023     0.6   Correspond regarding Europe employee matters with K. Schultea
                                              (FTX) and A&M team
Nicole Simoneaux          3/24/2023     0.7   Prepare requests for 3/27 pay-run

Rob Casburn               3/24/2023     0.8   Update KEIP motion for comparable KEIP data

Steve Coverick            3/24/2023     0.8   Review and provide comments on revised KERP motion after UST
                                              comments
Nicole Simoneaux          3/26/2023     1.1   Prepare weekly calendar and support for month-end payrolls

Chris Arnett              3/27/2023     0.3   Participate in call with K. Schultea (Company) re: employee matters -
                                              payroll, KERP, benefits
Chris Arnett              3/27/2023     0.3   Direct HR team with respect to responding to S&C requests around
                                              KEIP diligence items
Hudson Trent              3/27/2023     0.6   Review and provide feedback on payroll related issues


Hudson Trent              3/27/2023     0.6   Correspond regarding KEIP motion diligence with A&M APAC team

Jeffery Stegenga          3/27/2023     0.4   Discussions w/ S. Coverick, J. Stegenga (A&M) and M. Rosenberg
                                              re: timing of establishment of incentive comp metrics for J. Ray (FTX)
Katie Lei                 3/27/2023     1.2   Review KEIP compensation data for executives


Kumanan Ramanathan        3/27/2023     0.4   Draft email regarding situation with former employees

Nicole Simoneaux          3/27/2023     1.3   Prepare requests for 2/38 pay-run


Steve Coverick            3/27/2023     0.4   Discussions w/ S. Coverick, J. Stegenga (A&M) and M. Rosenberg
                                              re: timing of establishment of incentive comp metrics for J. Ray (FTX)
Chris Arnett              3/28/2023     0.3   Review revised employee withdrawal information and suggest next
                                              steps
Chris Arnett              3/28/2023     0.4   Review and comment on draft benefit plan analysis based on
                                              projected attrition
Ed Mosley                 3/28/2023     0.3   Review of filed order for KERP

Hudson Trent              3/28/2023     0.7   Correspond regrading issues related to end of month payroll with
                                              various parties
Nicole Simoneaux          3/28/2023     0.9   Research employee expense claims in datasite

Nicole Simoneaux          3/28/2023     1.3   Review new payrolls for headcount changes


Nicole Simoneaux          3/28/2023     0.6   Incorporate headcount and 401(k) contributions to benefits analysis




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Employee Matters
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/28/2023     2.3   Prepare severance claim contract review and research

Brian Cumberland          3/29/2023     2.2   Develop notes and materials for upcoming hearing re: employee
                                              matters
Chris Arnett              3/29/2023     0.4   Follow up with J. Paranyuk (S&C) re: KEIP motion progress and data
                                              needs
Chris Arnett              3/29/2023     0.7   Review and comment on final draft of employee benefit analysis
                                              assuming headcount reductions
Chris Arnett              3/29/2023     0.8   Review revised full employee withdrawal listing and suggest next
                                              steps
Kevin Baker               3/29/2023     1.2   Investigate transactional data on AWS exchange for specific internal
                                              FTX employees
Nicole Simoneaux          3/29/2023     1.6   Prepare payment requests for 3/30 pay-run


Nicole Simoneaux          3/29/2023     3.1   Refine payroll forecast assumptions and utilize updated support for
                                              next distribution
Nicole Simoneaux          3/29/2023     1.6   Bridge headcount using updated mapping and support


Nicole Simoneaux          3/29/2023     0.4   Edit weekly calendar and daily summary for payroll requests

Nicole Simoneaux          3/29/2023     1.4   Incorporate comments to benefits analysis

Nicole Simoneaux          3/29/2023     0.7   Incorporate comments to benefits analysis


Brian Cumberland          3/30/2023     1.3   Review updated peer group analysis and provide feedback to team

Chris Arnett              3/30/2023     1.1   Continue to review and suggest edits to KEIP analyses and direct
                                              analysis of due diligence items
Chris Arnett              3/30/2023     0.6   Follow-up, edits, and distribution of employee benefits analysis to J.
                                              Ray (Company)
Ed Mosley                 3/30/2023     1.4   Review and prepare comments to draft data presentation to board
                                              regarding incentive compensation structures
Hudson Trent              3/30/2023     0.7   Correspond regarding employee connectivity issues with FTX IT team

Hudson Trent              3/30/2023     0.9   Review outstanding diligence items related to KEIP motion and
                                              prepare responses
Hudson Trent              3/30/2023     0.8   Draft revised language in the KEIP motion from diligence gathered


Hudson Trent              3/30/2023     1.5   Review and provide feedback on benefit cost analysis

Hudson Trent              3/30/2023     0.8   Correspond regarding outstanding items for the KEIP motion with
                                              S&C
Hudson Trent              3/30/2023     1.1   Prepare summary of updates to KEIP motion for discussion purposes




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Employee Matters
Professional                 Date     Hours     Activity
Hudson Trent              3/30/2023     0.6   Review issues related to KEIP comparable cases and prepare
                                              responses
Jeffery Stegenga          3/30/2023     0.6   Review of variable Board compensation summaries for
                                              Zohar/Lehman and follow-up with Ed Mosley
Joachim Lubsczyk          3/30/2023     0.6   Call w/ M. Haase, F. Wuensche (S&C), R. Matzke, J. Bavaud (FTX)
                                              on employees FTX Trading GmbH
Katie Lei                 3/30/2023     2.1   Review KEIP peer jurisdiction and diligence requests

Matthew Flynn             3/30/2023     1.3   Create presentation on employee withdrawals


Matthew Flynn             3/30/2023     1.9   Analyze FTX.COM employee withdrawal activity 90 days prior to
                                              petition date
Matthew Flynn             3/30/2023     1.7   Analyze FTX.US employee withdrawal activity 90 days prior to
                                              petition date
Nicole Simoneaux          3/30/2023     0.4   Address service fee changes for payroll providers

Nicole Simoneaux          3/30/2023     0.9   Finalize benefits analysis for external distribution


Nicole Simoneaux          3/30/2023     2.1   Approve payrolls for end-of-month funding

Nicole Simoneaux          3/30/2023     1.2   Prepare payment requests for 3/31 pay-run

Nicole Simoneaux          3/30/2023     0.8   Review contractor payrolls for approval funds


Rob Casburn               3/30/2023     1.2   Review and provide comments on draft of KEIP motion

Steve Coverick            3/30/2023     0.4   Correspond with A&M and S&C personnel regarding FTX EU
                                              employee matter
Steve Coverick            3/30/2023     0.4   Correspond with A&M personnel regarding incentive comp
                                              benchmarks
Steve Coverick            3/30/2023     1.4   Review and provide comments on benefits rationalization analysis


Chris Arnett              3/31/2023     0.3   Review and comment on status of KEIP diligence

Hudson Trent              3/31/2023     1.2   Review and provide feedback on various employee and payroll
                                              related matters
Hudson Trent              3/31/2023     1.6   Review FTX Europe related employee matters and provide feedback


Nicole Simoneaux          3/31/2023     1.4   Research severance claim support and compile data

Nicole Simoneaux          3/31/2023     1.2   Address payroll funding for hypothetical liquidations


Nicole Simoneaux          3/31/2023     0.7   Prepare payment requests for 4/3 pay-run




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Employee Matters
Professional                 Date     Hours     Activity
Nicole Simoneaux          3/31/2023      0.7   Incorporate changes to headcount forecast

Nicole Simoneaux          3/31/2023      1.3   Request payment for critical vendors for same-day payment


Nicole Simoneaux          3/31/2023      1.5   Prepare diligence request for payroll-related accounting analysis

Rob Casburn               3/31/2023      0.9   Review revised draft of KEIP motion and comparable



Subtotal                               309.0

Fee Application
Professional                 Date     Hours     Activity
Chris Arnett               3/1/2023      0.3   Coordinate with J. Gonzales (A&M) re: fee statement timing and
                                               review of same
David Nizhner              3/1/2023      0.6   Incorporate S&C revisions into fee application


Bernice Grussing           3/2/2023      1.7   Create January fee statement Exhibits

Bernice Grussing           3/2/2023      2.4   Format January daily time reports for database


Chris Arnett               3/2/2023      1.2   Review and comment on first compilation of January exhibits

David Nizhner              3/2/2023      0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                               Clayton (A&M) re: Group review and assignment of
                                               comments/feedback from leadership
David Slay                 3/2/2023      0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                               Clayton (A&M) re: Group review and assignment of
                                               comments/feedback from leadership
Erik Taraba                3/2/2023      0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                               Clayton (A&M) re: Group review and assignment of
                                               comments/feedback from leadership
Johnny Gonzalez            3/2/2023      0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                               Clayton (A&M) re: Group review and assignment of
                                               comments/feedback from leadership
Lance Clayton              3/2/2023      0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                               Clayton (A&M) re: Group review and assignment of
                                               comments/feedback from leadership
Chris Arnett               3/3/2023      0.9   Review January fee statement detail and provide edits to the team in
                                               preparation for filing
David Nizhner              3/6/2023      1.7   Working session w/ E. Taraba, L. Clayton, D. Nizhner, J. Gonzalez
                                               and D. Slay (A&M) re: January fee app submission review
David Slay                 3/6/2023      1.7   Working session w/ E. Taraba, L. Clayton, D. Nizhner, J. Gonzalez
                                               and D. Slay (A&M) re: January fee app submission review
Ed Mosley                  3/6/2023      2.4   Review of and provide approval for filing of January fee statement




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Fee Application
Professional                Date     Hours     Activity
Erik Taraba               3/6/2023     1.7   Working session w/ E. Taraba, L. Clayton, D. Nizhner, J. Gonzalez
                                             and D. Slay (A&M) re: January fee app submission review
Johnny Gonzalez           3/6/2023     1.7   Working session w/ E. Taraba, L. Clayton, D. Nizhner, J. Gonzalez
                                             and D. Slay (A&M) re: January fee app submission review
Lance Clayton             3/6/2023     1.7   Working session w/ E. Taraba, L. Clayton, D. Nizhner, J. Gonzalez
                                             and D. Slay (A&M) re: January fee app submission review
Bridger Tenney            3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
Chris Arnett              3/7/2023     1.2   Review and comment on initial draft of interim fee application


David Nizhner             3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
David Slay                3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
Erik Taraba               3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
Johnny Gonzalez           3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
Johnny Gonzalez           3/7/2023     0.5   Working session with J. Gonzalez and L. Clayton (A&M) re: Interim
                                             fee application
Lance Clayton             3/7/2023     0.5   Working session with J. Gonzalez and L. Clayton (A&M) re: Interim
                                             fee application
Lance Clayton             3/7/2023     0.3   Discussion w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner and D.
                                             Slay, B. Tenney (A&M) re: February fee application planning
Bernice Grussing          3/8/2023     0.3   Meeting with E. Taraba, B. Grussing, J. Gonzalez and D. Slay (A&M)
                                             re: February and Interim Fee app process
Bridger Tenney            3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                             Gonzalez and D. Slay (A&M) re: Interim fee app process
Bridger Tenney            3/8/2023     0.5   Meeting with E. Taraba, L. Clayton, B. Tenney, D. Slay, and D.
                                             Nizhner (A&M) re: plan of action and timeline for development of
                                             February Fee Application and exhibits
David Nizhner             3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                             Gonzalez and D. Slay (A&M) re: Interim fee app process
David Nizhner             3/8/2023     0.5   Meeting with E. Taraba, L. Clayton, B. Tenney, D. Slay, and D.
                                             Nizhner (A&M) re: plan of action and timeline for development of
                                             February Fee Application and exhibits
David Slay                3/8/2023     0.5   Meeting with E. Taraba, L. Clayton, B. Tenney, D. Slay, and D.
                                             Nizhner (A&M) re: plan of action and timeline for development of
                                             February Fee Application and exhibits
David Slay                3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                             Gonzalez and D. Slay (A&M) re: Interim fee app process
Erik Taraba               3/8/2023     0.5   Meeting with E. Taraba, L. Clayton, B. Tenney, D. Slay, and D.
                                             Nizhner (A&M) re: plan of action and timeline for development of
                                             February Fee Application and exhibits
Erik Taraba               3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                             Gonzalez and D. Slay (A&M) re: Interim fee app process


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Fee Application
Professional                 Date     Hours     Activity
Johnny Gonzalez            3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                              Gonzalez and D. Slay (A&M) re: Interim fee app process
Lance Clayton              3/8/2023     0.3   Meeting with E. Taraba, B. Tenney, L. Clayton, D. Nizhner, J.
                                              Gonzalez and D. Slay (A&M) re: Interim fee app process
Lance Clayton              3/8/2023     0.5   Meeting with E. Taraba, L. Clayton, B. Tenney, D. Slay, and D.
                                              Nizhner (A&M) re: plan of action and timeline for development of
                                              February Fee Application and exhibits
Bernice Grussing           3/9/2023     0.6   Create November excel report specific to fee examiner requests

Chris Arnett               3/9/2023     0.3   Review and direct team on fee examiner requirements


David Slay                 3/9/2023     0.5   Meeting w/ J. Gonzalez, D. Slay & L. Clayton (A&M) re: March time
                                              review update
Ed Mosley                  3/9/2023     1.2   Review of and prepare comments to interim fee application

Johnny Gonzalez            3/9/2023     0.5   Meeting w/ J. Gonzalez, D. Slay & L. Clayton (A&M) re: March time
                                              review update
Johnny Gonzalez            3/9/2023     0.1   Update the Interim Fee Application for the fee examiner guidelines

Lance Clayton              3/9/2023     0.5   Meeting w/ J. Gonzalez, D. Slay & L. Clayton (A&M) re: March time
                                              review update
Lance Clayton              3/9/2023     2.8   Detailed review of past fee applications to ensure consistency in
                                              interim fee application
Steve Coverick             3/9/2023     0.9   Review and provide comments on draft of first interim fee application


Bernice Grussing          3/10/2023     0.3   Create January excel report specific to fee examiner requests

Bernice Grussing          3/10/2023     0.4   Create December excel report specific to fee examiner requests

Johnny Gonzalez           3/10/2023     0.5   Continue updates the Interim Fee Application for the fee examiner
                                              guidelines
Johnny Gonzalez           3/10/2023     0.2   Discussion w/ J. Gonzalez & L. Clayton (A&M) re: Interim Fee App
                                              next steps
Lance Clayton             3/10/2023     0.2   Discussion w/ J. Gonzalez & L. Clayton (A&M) re: Interim Fee App
                                              next steps
Bernice Grussing          3/13/2023     0.3   Call with E. Taraba and B. Grussing (A&M) re: deliverables and
                                              timeline for Interim Fee Application
Bernice Grussing          3/13/2023     1.9   Communication with team reviewing how to pull First Interim expense
                                              reports with receipts for Fee Examiner requests.
Bernice Grussing          3/13/2023     3.2   Continue review of Feb Expense detail, scrubbing for caps, grammar,
                                              attendees and language
Chris Arnett              3/13/2023     0.3   Discussion w/ C. Arnett, J. Gonzalez (A&M) re: fee examiner
                                              reporting requirements
Erik Taraba               3/13/2023     0.3   Call with E. Taraba and B. Grussing (A&M) re: deliverables and
                                              timeline for Interim Fee Application


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Fee Application
Professional                 Date     Hours     Activity
Johnny Gonzalez           3/13/2023     0.3   Discussion w/ C. Arnett, J. Gonzalez (A&M) re: fee examiner
                                              reporting requirements
Bernice Grussing          3/14/2023     2.9   Update initial draft of First Interim application and finalize for tasks
                                              and totals
Bernice Grussing          3/14/2023     1.7   Consolidate exhibits and update with minor edits

Bernice Grussing          3/14/2023     3.1   Prepare Exhibit A - C for First Interim fee application

Chris Arnett              3/14/2023     0.6   Review and provide guidance to team on interim fee statement filing


Bridger Tenney            3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
David Nizhner             3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
David Slay                3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
Erik Taraba               3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
Johnny Gonzalez           3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
Lance Clayton             3/15/2023     0.4   Meeting with B. Grussing, J. Gonzalez, E. Taraba, D. Slay, B.
                                              Tenney, D. Nizhner, L. Clayton (A&M) re: Weekly fee application
                                              update
Chris Arnett              3/16/2023     0.3   Continue review of revised draft fee application and suggest edits to
                                              J. Gonzalez (A&M)
Steve Coverick            3/17/2023     0.4   Review and signoff on final draft of interim fee application #1

David Slay                3/18/2023     0.3   Discuss next steps for February fee application w/ J. Gonzalez and
                                              D. Slay (A&M)
Johnny Gonzalez           3/18/2023     0.3   Discuss next steps for February fee application w/ J. Gonzalez and
                                              D. Slay (A&M)
Bernice Grussing          3/20/2023     1.8   Isolate list of receipts required for fee examiner and communicate
                                              with team how to download and send reports with receipts
Bridger Tenney            3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                              Gonzalez (A&M) re: February professional update
Bridger Tenney            3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner (A&M) re: Best
                                              practices deck
Chris Arnett              3/20/2023     0.2   Follow up on interim fee application requirements vis-à-vis fee
                                              examiner with J. Gonzales (A&M)
David Nizhner             3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                              Gonzalez (A&M) re: February professional update



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Fee Application
Professional                Date     Hours     Activity
David Nizhner            3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner (A&M) re: Best
                                             practices deck
David Slay               3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                             Gonzalez (A&M) re: February professional update
Erik Taraba              3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                             Gonzalez (A&M) re: February professional update
Johnny Gonzalez          3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                             Gonzalez (A&M) re: February professional update
Lance Clayton            3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner, E. Taraba, D. Slay, J.
                                             Gonzalez (A&M) re: February professional update
Lance Clayton            3/20/2023     0.3   Meeting with L. Clayton, B. Tenney, D. Nizhner (A&M) re: Best
                                             practices deck
Bernice Grussing         3/21/2023     4.0   Consolidate team reports and create exhibits for expenses related to
                                             fee examiner request
David Slay               3/22/2023     0.2   Meeting w/ J. Gonzalez, E. Taraba, D. Slay, L. Clayton & B. Grussing
                                             (A&M) re: Interim and March fee application process
Erik Taraba              3/22/2023     0.2   Meeting w/ J. Gonzalez, E. Taraba, D. Slay, L. Clayton & B. Grussing
                                             (A&M) re: Interim and March fee application process
Johnny Gonzalez          3/22/2023     0.2   Meeting w/ J. Gonzalez, E. Taraba, D. Slay, L. Clayton & B. Grussing
                                             (A&M) re: Interim and March fee application process
Lance Clayton            3/22/2023     0.2   Meeting w/ J. Gonzalez, E. Taraba, D. Slay, L. Clayton & B. Grussing
                                             (A&M) re: Interim and March fee application process
Cullen Stockmeyer        3/23/2023     0.2   Call with J. Gonzalez, E. Taraba, C. Stockmeyer (A&M) re:
                                             professional management documentation
Cullen Stockmeyer        3/23/2023     0.5   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
Cullen Stockmeyer        3/23/2023     0.4   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
David Nizhner            3/23/2023     0.5   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
David Nizhner            3/23/2023     0.8   Review February professional entries


David Nizhner            3/23/2023     0.4   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
Erik Taraba              3/23/2023     0.2   Call with J. Gonzalez, E. Taraba, C. Stockmeyer (A&M) re:
                                             professional management documentation
Erik Taraba              3/23/2023     0.4   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
Erik Taraba              3/23/2023     0.5   Call with E. Taraba, D. Nizhner, C. Stockmeyer (A&M) re:
                                             professional management procedures
Johnny Gonzalez          3/23/2023     0.2   Call with J. Gonzalez, E. Taraba, C. Stockmeyer (A&M) re:
                                             professional management documentation
Bridger Tenney           3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                             Stockmeyer (A&M) re: professional management documentation




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Fee Application
Professional                 Date     Hours     Activity
Cullen Stockmeyer         3/24/2023     0.5   Call with D. Nizhner, C. Stockmeyer (A&M) re: professional
                                              management documentation
Cullen Stockmeyer         3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                              Stockmeyer (A&M) re: professional management documentation
David Nizhner             3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                              Stockmeyer (A&M) re: professional management documentation
David Nizhner             3/24/2023     0.5   Call with D. Nizhner, C. Stockmeyer (A&M) re: professional
                                              management documentation
David Slay                3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                              Stockmeyer (A&M) re: professional management documentation
Erik Taraba               3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                              Stockmeyer (A&M) re: professional management documentation
Johnny Gonzalez           3/24/2023     0.5   Prepare the February Fee Application time detail for review by legal
                                              counsel
Johnny Gonzalez           3/24/2023     0.4   Call with J. Gonzalez, E. Taraba, D. Slay, D. Nizhner, B. Tenney, C.
                                              Stockmeyer (A&M) re: professional management documentation
Chris Arnett              3/25/2023     0.2   Review progress on February fee statement


Cullen Stockmeyer         3/25/2023     0.6   Working session re: professional management documentation

Cullen Stockmeyer         3/25/2023     0.4   Allocate professional tracker review between DTR team

Bernice Grussing          3/26/2023     3.3   Finalize review and scrub of February expense data


Bernice Grussing          3/26/2023     2.7   Pull and review February expense raw data and review for language
                                              and category
Chris Arnett              3/26/2023     0.4   Address coordination with fee examiner on primary exhibits based on
                                              precedent cases
Bernice Grussing          3/27/2023     1.2   Prepare February expense exhibits

Erik Taraba               3/27/2023     0.2   Call with B. Grussing and E. Taraba (A&M) re: status of February
                                              expenses and Fee Examiner deliverables for interim fee application
Bridger Tenney            3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
Cullen Stockmeyer         3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
David Nizhner             3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
David Slay                3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
Erik Taraba               3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits

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Fee Application
Professional                 Date     Hours     Activity
Johnny Gonzalez           3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
Lance Clayton             3/28/2023     0.3   Meeting with E. Taraba, D. Slay, D. Nizhner, J. Gonzalez, B. Tenney,
                                              C. Stockmeyer, and L. Clayton (A&M) to discuss status and timing of
                                              February Fee Application and Exhibits
Bridger Tenney            3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, B. Grussing, B. Tenney, and
                                              D. Slay (A&M) re: weekly Fee Application check-in
Chris Arnett              3/29/2023     1.7   Review and comment on February fee statement draft and
                                              associated exhibits
Cullen Stockmeyer         3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, L. Clayton, B. Tenney, D.
                                              Nizhner, and D. Slay (A&M) re: feedback on February Fee
                                              Application draft
Cullen Stockmeyer         3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, B. Grussing, B. Tenney, and
                                              D. Slay (A&M) re: weekly Fee Application check-in
David Nizhner             3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, L. Clayton, B. Tenney, D.
                                              Nizhner, and D. Slay (A&M) re: feedback on February Fee
                                              Application draft
David Slay                3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, B. Grussing, B. Tenney, and
                                              D. Slay (A&M) re: weekly Fee Application check-in
Erik Taraba               3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, B. Grussing, B. Tenney, and
                                              D. Slay (A&M) re: weekly Fee Application check-in
Erik Taraba               3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, L. Clayton, B. Tenney, D.
                                              Nizhner, and D. Slay (A&M) re: feedback on February Fee
                                              Application draft
Johnny Gonzalez           3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, B. Grussing, B. Tenney, and
                                              D. Slay (A&M) re: weekly Fee Application check-in
Johnny Gonzalez           3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, L. Clayton, B. Tenney, D.
                                              Nizhner, and D. Slay (A&M) re: feedback on February Fee
                                              Application draft
Lance Clayton             3/29/2023     0.2   Call with C. Stockmeyer, J. Gonzalez, L. Clayton, B. Tenney, D.
                                              Nizhner, and D. Slay (A&M) re: feedback on February Fee
                                              Application draft
Steve Coverick            3/29/2023     0.9   Review and provide comments on February fee application

Chris Arnett              3/30/2023     0.4   Follow-up and continue to provide edits to February fee statement


Cullen Stockmeyer         3/30/2023     0.4   Working session with D. Nizhner, C. Stockmeyer (A&M) re: updates
                                              based on feedback on February Fee Application draft
Cullen Stockmeyer         3/30/2023     0.5   Working session with C. Stockmeyer, J. Gonzalez, D. Nizhner (A&M)
                                              re: feedback on February Fee Application draft
David Nizhner             3/30/2023     0.5   Working session with C. Stockmeyer, J. Gonzalez, D. Nizhner (A&M)
                                              re: feedback on February Fee Application draft
David Nizhner             3/30/2023     0.4   Working session with D. Nizhner, C. Stockmeyer (A&M) re: updates
                                              based on feedback on February Fee Application draft
Johnny Gonzalez           3/30/2023     0.5   Working session with C. Stockmeyer, J. Gonzalez, D. Nizhner (A&M)
                                              re: feedback on February Fee Application draft


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Fee Application
Professional                Date     Hours     Activity
Bernice Grussing         3/31/2023      0.9   Prepare Exhibits A-D for February

Erik Taraba              3/31/2023      0.2   Call with B. Grussing and E. Taraba (A&M) re: formatting of February
                                              Fee Application exhibits

Subtotal                               91.9

Financial Analysis
Professional                Date     Hours     Activity
Adam Titus                3/1/2023      2.1   Review investment tracker and corresponding token investments
                                              ensure coding is correct sync after review with schedules
Adam Titus                3/1/2023      1.4   Review SOFAs and Schedule details to ensure bucketing and coding
                                              is in line with latest investment tracker
Adam Titus                3/1/2023      0.3   Email correspondence specific to distributions from GDA and track
                                              potential funding pre and post petition
Adam Titus                3/1/2023      0.4   Email correspondence related to DCG and KRA funding, respond to
                                              requests for information and background on the situation
Adam Titus                3/1/2023      0.4   Call with K. Flinn, M. Rahmani (PWP), J. McDonald (S&C), A. Titus,
                                              S. Glustein (A&M) relating to Ledger Prime
Adam Titus                3/1/2023      0.7   Conference call with K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                              Cohen, M. Wu (S&C), A. Titus, K. Kearney, S. Glustein (A&M)
                                              relating to venture investment updates
Adam Titus                3/1/2023      0.2   Support analysis for schedules, review latest draft and respond to
                                              questions related to certain positions
Adam Titus                3/1/2023      1.0   Put Ledger Prime materials together related to latest update to team

Adam Titus                3/1/2023      0.5   Call with F. Crocco, B. Zonenshayne (S&C), A. Titus, S. Glustein
                                              (A&M) regarding demand letters relating to Ledger Prime
Adam Titus                3/1/2023      0.9   Track information related to NFTs BAYC specific based on creditor
                                              questions related to wallet and stored value of NFTs
Adam Titus                3/1/2023      1.9   Gather information related to investment fund distribution, respond to
                                              request for data and to complete distribution
Alec Liv-Feyman           3/1/2023      0.3   Call with W. Walker, A. Liv-Feyman (A&M) regarding crypto hours
                                              walkthrough and 3P Exchanges model discussion
Alec Liv-Feyman           3/1/2023      2.1   Update exchanges model to bring in new exchange data for
                                              analyzing figures
Alec Liv-Feyman           3/1/2023      0.8   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                              data pull into 3rd party exchanges model
Alec Liv-Feyman           3/1/2023      2.1   Update database analysis to bring in current figures from third party
                                              pricing company
Alec Liv-Feyman           3/1/2023      0.2   Call with G. Walia, A. Liv-Feyman (A&M) regarding crypto
                                              withdrawals sent analysis
Alec Liv-Feyman           3/1/2023      2.2   Update third party exchanges model to pull in database variance
                                              figures
Alec Liv-Feyman           3/1/2023      0.8   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                              model analysis updates

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Financial Analysis
Professional               Date     Hours     Activity
Alec Liv-Feyman          3/1/2023     1.5   Update crypto withdrawals analysis for new ID matching and search
                                            on scanner for matches
Anan Sivapalu            3/1/2023     0.4   Upload TRM balance data into database for data manipulation and
                                            transformation
Anan Sivapalu            3/1/2023     2.5   Write Python script to extract data from OKX data for particular dates

Anan Sivapalu            3/1/2023     1.6   Check through extracted data and troubleshoot error in extraction

Charles Evans            3/1/2023     0.3   Correspondence with J. Yan and C. Evans (A&M) regarding MPC
                                            Technologies Pte Ltd and Dappbase Ventures Limited
David Nizhner            3/1/2023     2.3   Review resource model for newly revised entries

David Nizhner            3/1/2023     0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: Review resource model exhibits and create
                                            package for leadership
David Slay               3/1/2023     0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: Review resource model exhibits and create
                                            package for leadership
David Slay               3/1/2023     1.2   Project plan review and revisions in resource allocation model

Ed Mosley                3/1/2023     0.2   Meeting between H. Ardizzoni, L. Chamma, R. Gordon, P. Kwan, M.
                                            Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and O. de Vito
                                            Piscicelli, T. Hill (S&C) to discuss updates over FTX Europe matters
Erik Taraba              3/1/2023     0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: Review resource model exhibits and create
                                            package for leadership
Erik Taraba              3/1/2023     0.8   Update Allocation master model with additional data and organize file
                                            for production of exhibits
Gaurav Walia             3/1/2023     1.0   Update the exchange shortfall analysis deck for the latest figures

Gaurav Walia             3/1/2023     0.3   Provide feedback on the pending crypto withdrawals analysis


Gaurav Walia             3/1/2023     0.8   Update the exchange balances related parties figure

Gaurav Walia             3/1/2023     0.6   Prepare a summary of the exchange shortfall deck support schedules


Gaurav Walia             3/1/2023     1.1   Prepare summary one-pager of the crypto model bridge

Gaurav Walia             3/1/2023     1.3   Update the US customer exchange balances figures


Gaurav Walia             3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                            Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                            balances
Gaurav Walia             3/1/2023     1.1   Prepare a bridge from the coins report to the exchange balances
                                            shortfall
Gaurav Walia             3/1/2023     1.3   Prepare a bridge to identify pricing impact between crypto model
                                            versions

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Financial Analysis
Professional             Date     Hours     Activity
Gaurav Walia           3/1/2023     0.6   Update the exchange balances shortfall deck for the latest round of
                                          feedback
Gaurav Walia           3/1/2023     0.2   Call with G. Walia, A. Liv-Feyman (A&M) regarding crypto
                                          withdrawals sent analysis
Gioele Balmelli        3/1/2023     0.4   Call with G. Balmelli (A&M) T. Luginbühl, E. Müller (L&S) regarding
                                          Dec-Jan FTX Europe AG payments
Gioele Balmelli        3/1/2023     0.8   Correspondence with S&C FTX Europe entities description

Gioele Balmelli        3/1/2023     0.8   Correspondence with L&S regarding Dec-Jan FTX Europe AG
                                          payments
Heather Ardizzoni      3/1/2023     0.7   Enroll in VPN security program to access financial data

Henry Chambers         3/1/2023     0.8   Analysis of FTX Japan key performance indicator report and
                                          remediation recommendations
Henry Chambers         3/1/2023     0.4   Correspondence regarding FTX Japan key performance indicator
                                          report
Henry Chambers         3/1/2023     0.2   Organization of debrief on balance calculation process between FTX
                                          Japan and A&M
Henry Chambers         3/1/2023     0.4   Attend to correspondence regarding FTX Japan imaging

Henry Chambers         3/1/2023     1.2   Review of SRM/FTT analysis and consideration of associated
                                          customer balances
Henry Chambers         3/1/2023     0.1   Call with H. Chambers, K. Ramanathan (A&M) to discuss FTX Japan
                                          matters
Henry Chambers         3/1/2023     0.9   Call with S. Melamed (FTX) regarding FTX Japan operations

Henry Chambers         3/1/2023     0.4   Call with J. Masters (FTX) regarding use of FTX JP code for wider
                                          FTX balance confirmation
Henry Chambers         3/1/2023     0.5   Attend to queries regarding FTX Japan payments

Henry Chambers         3/1/2023     0.8   Draft of FTX Japan Audit Trail Document


Hudson Trent           3/1/2023     1.9   Update asset bridge for press release materials based on internal
                                          A&M feedback
Hudson Trent           3/1/2023     1.8   Review and updated asset bridge materials based on internal A&M
                                          feedback
Hudson Trent           3/1/2023     2.3   Prepare updated asset bridge for incorporation into press release
                                          materials
Igor Radwanski         3/1/2023     2.3   Analyze portfolio balance details regarding specific wallet addresses

Jack Yan               3/1/2023     2.9   Update the operation for daily monitoring of FTX Japan crypto asset
                                          balances
Jack Yan               3/1/2023     2.4   Answer follow-up enquiries regarding the mismatch of FTX Japan
                                          crypto asset balances




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Financial Analysis
Professional             Date     Hours     Activity
James Lam              3/1/2023     1.3   Document the review of the adjustment to fiat balances of FTX Japan
                                          customers
James Lam              3/1/2023     0.6   Prepare and propose a working scope for validating the adjustments
                                          made to FTX Japan user balances
James Lam              3/1/2023     1.2   Review and update Quoine PTE wallet address and token balance
                                          information
Jeffery Stegenga       3/1/2023     1.0   Review of current draft of Preliminary Shortfalls deck being presented
                                          to the UCC tomorrow
Jeffery Stegenga       3/1/2023     0.3   Review of latest press release draft re: preliminary shortfalls public
                                          deck
Johnny Gonzalez        3/1/2023     0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                          Clayton (A&M) re: Review resource model exhibits and create
                                          package for leadership
Jon Chan               3/1/2023     1.9   Develop python script regarding the formatting of the balance report
                                          table values
Jonathan Zatz          3/1/2023     1.2   Identify potential deposits in subset of Alameda data for SNDY
                                          request
Jonathan Zatz          3/1/2023     0.9   Identify potential withdrawals in subset of Alameda data for SNDY
                                          request
Kevin Kearney          3/1/2023     1.1   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                          discuss SOFA and schedules relating to fund investments
Kevin Kearney          3/1/2023     1.0   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                          discuss SOFA and schedules relating to equity investments
Kevin Kearney          3/1/2023     0.7   Conference call with K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                          Cohen, M. Wu (S&C), A. Titus, K. Kearney, S. Glustein (A&M)
                                          relating to venture investment updates
Kevin Kearney          3/1/2023     0.4   Working session with K. Kearney and S. Glustein (A&M) to review
                                          venture investments relating to the Ventures Silo
Kevin Kearney          3/1/2023     1.9   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                          discuss SOFA and schedules relating to token investments
Kumanan Ramanathan     3/1/2023     0.4   Call with N. Friedlander (S&C) to discuss exchange shortfall
                                          presentation
Kumanan Ramanathan     3/1/2023     1.2   Review BitGo and Coinbase contracts and describe variances

Kumanan Ramanathan     3/1/2023     1.1   Review side by side analysis of vendor contracts


Kumanan Ramanathan     3/1/2023     0.9   Revise press release associated with exchange shortfall presentation

Kumanan Ramanathan     3/1/2023     1.5   Review updated exchange shortfall presentation after various edits
                                          from staff
Kumanan Ramanathan     3/1/2023     1.1   Revise bridge for assets and exchange shortfall and review detailed
                                          model
Kumanan Ramanathan     3/1/2023     0.1   Call with H. Chambers, K. Ramanathan (A&M) to discuss FTX Japan
                                          matters
Kumanan Ramanathan     3/1/2023     1.1   Review updated exchange shortfall presentation



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Financial Analysis
Professional               Date     Hours     Activity
Lance Clayton            3/1/2023     3.3   Prepare February resource model and create tracker for updates to
                                            be made
Lance Clayton            3/1/2023     0.2   Meeting with J. Gonzalez, D. Nizhner, E. Taraba, D. Slay, and L.
                                            Clayton (A&M) re: Review resource model exhibits and create
                                            package for leadership
Lance Clayton            3/1/2023     3.1   Create resource model template for future use


Leslie Lambert           3/1/2023     2.2   Model internal transfer activity by transfer party

Leslie Lambert           3/1/2023     0.7   Quality control review model of internal transfer activity by transfer
                                            party
Louis Konig              3/1/2023     0.9   Database scripting related to EU customer balance calculation

Louis Konig              3/1/2023     1.5   Quality control and review of script for EU customer balance
                                            calculation
Louis Konig              3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                            Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                            balances
Louis Konig              3/1/2023     1.3   Database scripting related to EU customer balance reconciliation

Luke Francis             3/1/2023     1.0   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                            discuss SOFA and schedules relating to equity investments
Luke Francis             3/1/2023     1.1   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                            discuss SOFA and schedules relating to fund investments
Luke Francis             3/1/2023     1.9   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                            discuss SOFA and schedules relating to token investments
Manasa Sunkara           3/1/2023     2.8   Continue to develop the user balance python script and create a
                                            prototype export
Manasa Sunkara           3/1/2023     1.4   Search SQL database to provide deposit, withdrawal and transaction
                                            for users associated with a certain token
Matthew Flynn            3/1/2023     0.9   Research underlying stablecoin blockchains in model


Matthew Flynn            3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                            Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                            balances
Matthew Warren           3/1/2023     2.4   Review and analyze internal account balance data

Peter Kwan               3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                            Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                            balances
Peter Kwan               3/1/2023     2.7   FTX EU Balances Recalculation and Validation

Quinn Lowdermilk         3/1/2023     2.1   Upload new data to the balances tab for internal account analysis

Quinn Lowdermilk         3/1/2023     1.6   Update deliverable for new balances chart



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Financial Analysis
Professional              Date     Hours     Activity
Ricardo Armando Avila   3/1/2023     0.6   Incorporate new data entries to the balance sheet

Ricardo Armando Avila   3/1/2023     1.3   Break down the transactions into the internal account balance sheet


Robert Johnson          3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                           Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                           balances
Steven Glustein         3/1/2023     1.9   Review and provide comments on statement and schedules relating
                                           to fund venture investments
Steven Glustein         3/1/2023     1.9   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                           discuss SOFA and schedules relating to token investments
Steven Glustein         3/1/2023     2.0   Prepare reconciliation summary between investment master tracker
                                           and balance sheet schedules relating to venture investments
Steven Glustein         3/1/2023     0.7   Conference call with K. Flinn, M. Rahmani, W. Syed (PWP), A.
                                           Cohen, M. Wu (S&C), A. Titus, K. Kearney, S. Glustein (A&M)
                                           relating to venture investment updates
Steven Glustein         3/1/2023     1.0   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                           discuss SOFA and schedules relating to equity investments
Steven Glustein         3/1/2023     1.3   Update Token Release Tracker relating to confirmed token receipts

Steven Glustein         3/1/2023     0.5   Call with F. Crocco, B. Zonenshayne (S&C), A. Titus, S. Glustein
                                           (A&M) regarding demand letters relating to Ledger Prime
Steven Glustein         3/1/2023     0.4   Working session with K. Kearney and S. Glustein (A&M) to review
                                           venture investments relating to the Ventures Silo
Steven Glustein         3/1/2023     1.8   Prepare summary of funded investments based on type of
                                           consideration funded
Steven Glustein         3/1/2023     1.1   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                           discuss SOFA and schedules relating to fund investments
Steven Glustein         3/1/2023     0.4   Call with K. Flinn, M. Rahmani (PWP), J. McDonald (S&C), A. Titus,
                                           S. Glustein (A&M) relating to Ledger Prime
Steven Glustein         3/1/2023     1.6   Review and provide comments on statement and schedules relating
                                           to equity venture investments
Steven Glustein         3/1/2023     1.8   Review and provide comments on statement and schedules relating
                                           to token venture investments
Steven Glustein         3/1/2023     0.4   Correspondence with token investee company relating to frozen
                                           unlocked tokens
Summer Li               3/1/2023     0.3   Correspondence with M.Zess (A&M) in relation to the payment
                                           reports of FTX Japan
Summer Li               3/1/2023     0.3   Review of the payment reports of FTX Japan generated from the
                                           system
Summer Li               3/1/2023     0.7   Identify wire transactions details from FTX Japan's shared drive


Summer Li               3/1/2023     0.1   Correspondence with the external book keepers on the payment
                                           reports of FTX Japan
Vinny Rajasekhar        3/1/2023     1.0   Prepare distribution summary for database variance between 2.20
                                           and 1.16 coin report

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Financial Analysis
Professional                Date     Hours     Activity
Vinny Rajasekhar          3/1/2023     2.9   Determine drivers for token level variances between 2.24 report to
                                             2.20 coin report
Vinny Rajasekhar          3/1/2023     0.7   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, M.
                                             Flynn (A&M), N. Molina, P. Lee (FTX) to discuss customer account
                                             balances
Vinny Rajasekhar          3/1/2023     2.1   Prepare variance descriptions for internal coin report presentation as
                                             of 2.24.23
Vinny Rajasekhar          3/1/2023     0.8   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                             data pull into 3rd party exchanges model
William Walker            3/1/2023     0.3   Call with W. Walker and A. Liv-Feyman (A&M) regarding crypto hours
                                             walkthrough and 3P Exchanges model discussion
Adam Titus                3/2/2023     1.0   Review analysis for schedules, sync internally and respond to
                                             questions related to certain positions
Adam Titus                3/2/2023     1.0   Review NFT data and pricing materials from Crypto analysis and
                                             summarize data
Adam Titus                3/2/2023     1.3   Email correspondence specific to distributions from Ventures receipt
                                             and ensure amount is correct
Adam Titus                3/2/2023     0.8   Update brokerage positions based on latest pricing, ensure update
                                             values over petition date values
Adam Titus                3/2/2023     0.9   Put Ledger Prime materials together related to latest update to team


Adam Titus                3/2/2023     1.4   Update slides presentation related to Venture focus, including details
                                             on changes between dates, sizing of investments, and overall
                                             considerations paid
Adam Titus                3/2/2023     0.5   Email correspondence related investment fund distribution, respond
                                             to requests for information and background on the situation
Adam Titus                3/2/2023     2.1   Draft initial update materials for PMO, revise schedules to conform
                                             with latest details needed to update team
Adam Titus                3/2/2023     1.5   Review SOFAs and Schedule details to ensure bucketing and coding
                                             is in line with latest investment tracker
Alec Liv-Feyman           3/2/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                             data and 3P Exchanges model updates
Alec Liv-Feyman           3/2/2023     2.3   Update bridging analysis to determine variability between outstanding
                                             figures
Alec Liv-Feyman           3/2/2023     2.2   Update figures for third party exchange transfers data and pull into
                                             exchanges data variance analysis
Anan Sivapalu             3/2/2023     1.7   Upload individual TRM Wallet Group map files into database

Anan Sivapalu             3/2/2023     1.4   Create table in database to upload TRM map data

Anan Sivapalu             3/2/2023     1.8   Troubleshoot TRM data loading error in database


Charles Evans             3/2/2023     0.2   Correspondence with J. Yan, C. Evans, W. Edwards (A&M) regarding
                                             Dappbase Ventures Limited and MPC Technologies
Chris Arnett              3/2/2023     0.5   Review exchange shortfall presentation and analysis



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Financial Analysis
Professional               Date     Hours     Activity
David Nizhner            3/2/2023     2.4   Reconcile staffing model with current submissions

David Nizhner            3/2/2023     2.7   Consolidate February submissions across all teams


David Nizhner            3/2/2023     2.8   Review professional submissions to ensure consistency in resource
                                            model
David Nizhner            3/2/2023     0.4   Correspond with team regarding February professional review

David Slay               3/2/2023     1.7   Review petition date financials and create mapping matrix for our
                                            inputs
Erik Taraba              3/2/2023     2.3   Update resource allocation model with latest inputs from workstream
                                            leadership and re-run analysis
Erik Taraba              3/2/2023     1.7   Develop outputs for resource allocation model and import into
                                            presentation slides
Erik Taraba              3/2/2023     1.2   Project plan review and analysis on January resource allocation
                                            model
Gaurav Walia             3/2/2023     1.2   Prepare for the exchange shortfall presentation


Gaurav Walia             3/2/2023     1.1   Review the latest exchange balances analysis

Gaurav Walia             3/2/2023     0.3   Review the Japan exchange balances

Gaurav Walia             3/2/2023     0.9   Call with G. Walia, L. Konig, V. Rajasekhar (A&M), N. Molina, P. Lee
                                            (FTX) to discuss customer account balances
Gaurav Walia             3/2/2023     1.2   Call with A. Kranzley, A. Dietderich, B. Glueckstein, Brian D (S&C),
                                            G. Walia, L. Konig, E. Mosley, L. Callerio, K. Ramanathan (A&M), K.
                                            Hansen, G. Sasson (PH), S. Simms, B. Bromberg, J. De Brignac
                                            (FTI) and others to walk through preliminary analysis on
Gaurav Walia             3/2/2023     0.8   Review the crypto model with G. Walia, W. Walker (A&M)

Gaurav Walia             3/2/2023     0.5   Review the adjustments to the crypto model and provide feedback


Heather Ardizzoni        3/2/2023     2.6   Document existing state of financial controls

Henry Chambers           3/2/2023     1.5   Attend to Alameda accounts held with FTX Japan and Liquid Global
                                            withdrawal operations
Henry Chambers           3/2/2023     0.4   Correspondence regarding FTX Japan key performance indicator
                                            report
Henry Chambers           3/2/2023     2.3   Attend to balance adjustment validation exercise

Henry Chambers           3/2/2023     0.6   Review of FTX Japan daily withdrawal analysis


Hudson Trent             3/2/2023     0.4   Correspond regarding FTX Europe analysis with A&M accounting
                                            team
Hudson Trent             3/2/2023     0.6   Correspond regarding FTX Europe analysis with A&M Europe team


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Financial Analysis
Professional               Date     Hours     Activity
Hudson Trent             3/2/2023     1.2   Review ongoing issues with non-op entities in Europe

Jack Yan                 3/2/2023     2.4   Review Solscan record for the update of operation for daily
                                            monitoring of FTX Japan crypto balances
Jack Yan                 3/2/2023     1.8   Perform daily monitoring of FTX Japan crypto asset balances

James Lam                3/2/2023     2.3   Research and analyze the fund flow of SRM tokens

James Lam                3/2/2023     2.9   Research and analyze the fund flow of FTT tokens


James Lam                3/2/2023     0.7   Review the scope of the validating the adjustments made to FTX
                                            Japan customer balances
James Lam                3/2/2023     0.9   Review movements of FTX Japan wallet addresses for the customer
                                            withdrawal process
Johnny Gonzalez          3/2/2023     0.5   Prepare the January fee application exhibits for legal review

Jon Chan                 3/2/2023     2.4   Develop python script regarding the formatting of the balance report
                                            table values
Kevin Baker              3/2/2023     2.4   Analyze and report on specific user balances and transactions
                                            involving certain tokens
Kevin Baker              3/2/2023     2.8   Report on specific user balances from 3rd party exchange data

Kora Dusendschon         3/2/2023     1.6   Communications with FTI regarding the EU and Turkey KYC setup,
                                            permissions needed, access and status. Deep dive into setup and
                                            other issues
Kora Dusendschon         3/2/2023     0.1   Reach out to P. Lee for additional Turkey information for workspace

Kumanan Ramanathan       3/2/2023     1.7   Call with L. Iwanski, L. Konig, P. Kwan, K. Ramanathan, L. Chamma
                                            (A&M), R. Matzke, P. Gruhn, M. Lambrianou, M. Athinodorou (FTX),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                            customer balance calculation and KYC review
Kumanan Ramanathan       3/2/2023     0.3   Call with L. Iwanski, P. Kwan, K. Ramanathan, L. Chamma (A&M),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss next steps regarding
                                            FTX Europe customer balance calculation and KYC review
Kumanan Ramanathan       3/2/2023     1.2   Call with A. Kranzley, A. Dietderich, B. Glueckstein, Brian D (S&C),
                                            G. Walia, L. Konig, E. Mosley, L. Callerio, K. Ramanathan (A&M), K.
                                            Hansen, G. Sasson (PH), S. Simms, B. Bromberg, J. De Brignac
                                            (FTI) and others to walk through preliminary analysis on
Kumanan Ramanathan       3/2/2023     0.5   Revise post-petition deposits materials


Kumanan Ramanathan       3/2/2023     1.3   Revise the exchange shortfall presentation

Lance Clayton            3/2/2023     2.8   Detail review of February model drivers to ensure latest data


Lance Clayton            3/2/2023     2.9   Holistic review of combined entries for best practices for
                                            incorporation into resource model



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Financial Analysis
Professional               Date     Hours     Activity
Lance Clayton            3/2/2023     3.1   Prepare updates to resource model for February inputs

Lance Clayton            3/2/2023     3.3   Update the resource costing model for data adjustments by team


Larry Iwanski            3/2/2023     1.7   Call with L. Iwanski, L. Konig, P. Kwan, K. Ramanathan, L. Chamma
                                            (A&M), R. Matzke, P. Gruhn, M. Lambrianou, M. Athinodorou (FTX),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                            customer balance calculation and KYC review
Larry Iwanski            3/2/2023     0.3   Call with L. Iwanski, P. Kwan, K. Ramanathan, L. Chamma (A&M),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss next steps regarding
                                            FTX Europe customer balance calculation and KYC review
Larry Iwanski            3/2/2023     0.1   Preparation for Call with L. Iwanski, P. Kwan, K. Ramanathan, L.
                                            Chamma (A&M), C. Jones, O. de Vito Piscicelli (S&C) to discuss next
                                            steps regarding FTX Europe customer balance calculation and KYC
                                            review
Leandro Chamma           3/2/2023     0.3   Call with L. Iwanski, P. Kwan, K. Ramanathan, L. Chamma (A&M),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss next steps regarding
                                            FTX Europe customer balance calculation and KYC review
Leandro Chamma           3/2/2023     1.7   Call with L. Iwanski, L. Konig, P. Kwan, K. Ramanathan, L. Chamma
                                            (A&M), R. Matzke, P. Gruhn, M. Lambrianou, M. Athinodorou (FTX),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                            customer balance calculation and KYC review
Leslie Lambert           3/2/2023     0.5   Call with L. Callerio, L. Lambert, and M. Rodriguez (A&M) regarding
                                            internal account balances
Lorenzo Callerio         3/2/2023     1.2   Call with A. Kranzley, A. Dietderich, B. Glueckstein, Brian D (S&C),
                                            G. Walia, L. Konig, E. Mosley, L. Callerio, K. Ramanathan (A&M), K.
                                            Hansen, G. Sasson (PH), S. Simms, B. Bromberg, J. De Brignac
                                            (FTI) and others to walk through preliminary analysis on
Lorenzo Callerio         3/2/2023     0.5   Call with L. Callerio, L. Lambert, and M. Rodriguez (A&M) regarding
                                            internal account balances
Louis Konig              3/2/2023     0.9   Call with G. Walia, L. Konig, V. Rajasekhar (A&M), N. Molina, P. Lee
                                            (FTX) to discuss customer account balances
Louis Konig              3/2/2023     1.7   Call with L. Iwanski, L. Konig, P. Kwan, K. Ramanathan, L. Chamma
                                            (A&M), R. Matzke, P. Gruhn, M. Lambrianou, M. Athinodorou (FTX),
                                            C. Jones, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                            customer balance calculation and KYC review
Louis Konig              3/2/2023     1.5   Database scripting related to targeted data requests for account
                                            balances
Louis Konig              3/2/2023     1.4   Quality control and review of script for EU customer balance
                                            reconciliation
Louis Konig              3/2/2023     1.4   Quality control and review of script for targeted data requests for
                                            account balances
Louis Konig              3/2/2023     1.2   Call with A. Kranzley, A. Dietderich, B. Glueckstein, Brian D (S&C),
                                            G. Walia, L. Konig, E. Mosley, L. Callerio, K. Ramanathan (A&M), K.
                                            Hansen, G. Sasson (PH), S. Simms, B. Bromberg, J. De Brignac
                                            (FTI) and others to walk through preliminary analysis on
Manasa Sunkara           3/2/2023     1.4   Use SQL database to query a balance summary of all deposits made
                                            during a specific timeframe



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Financial Analysis
Professional              Date     Hours     Activity
Manasa Sunkara          3/2/2023     3.1   Continue to troubleshoot and develop python script to export user
                                           balance details to a PDF
Mariah Rodriguez        3/2/2023     0.5   Call with L. Callerio, L. Lambert, and M. Rodriguez (A&M) regarding
                                           internal account balances
Matthew Flynn           3/2/2023     0.4   Call with M. Flynn (A&M), P. Lee (FTX), K. Flinn, S. Saferstein, N.
                                           Velivela, M. Rahmani (PWP) to discuss exchange revenue and cost
                                           modeling
Peter Kwan              3/2/2023     2.7   FTX EU Balances Recalculation and Validation

Peter Kwan              3/2/2023     0.3   Call with L. Iwanski, P. Kwan, K. Ramanathan, L. Chamma (A&M),
                                           C. Jones, O. de Vito Piscicelli (S&C) to discuss next steps regarding
                                           FTX Europe customer balance calculation and KYC review
Peter Kwan              3/2/2023     1.7   Call with L. Iwanski, L. Konig, P. Kwan, K. Ramanathan, L. Chamma
                                           (A&M), R. Matzke, P. Gruhn, M. Lambrianou, M. Athinodorou (FTX),
                                           C. Jones, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                           customer balance calculation and KYC review
Ricardo Armando Avila   3/2/2023     0.9   Reconcile information of the balance sheet


Ricardo Armando Avila   3/2/2023     1.3   Generate graphics for the balance sheet regarding new withdrawal
                                           information provided
Ricardo Armando Avila   3/2/2023     0.4   Validate transactions from the balance sheet


Steve Kotarba           3/2/2023     1.4   Prepare internal updates re financial reporting

Steven Glustein         3/2/2023     1.3   Prepare consideration funding type slides relating to Ventures Silo
                                           venture investments
Steven Glustein         3/2/2023     1.3   Update draft consideration funding analysis relating to venture
                                           investments
Steven Glustein         3/2/2023     1.7   Prepare consideration funding type slides relating to Alameda Silo
                                           venture investments
Steven Glustein         3/2/2023     1.6   Review updated draft SOFA and schedules relating to venture
                                           investments
Steven Glustein         3/2/2023     1.3   Update investment master tracker relating to venture investments

Steven Glustein         3/2/2023     2.1   Prepare dashboard summary relating to token venture investments


Steven Glustein         3/2/2023     0.9   Prepare consideration funding type slides relating to WRS Silo
                                           venture investments
Steven Glustein         3/2/2023     0.9   Prepare consideration funding type slides relating to Dotcom Silo
                                           venture investments
Steven Glustein         3/2/2023     0.4   Discussion with A&M cash team re: receipt of funds from venture
                                           investment distribution
Vinny Rajasekhar        3/2/2023     2.2   Update token pricing in crypto model for accurate token identifier in
                                           Yahoo Finance
Vinny Rajasekhar        3/2/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                           data and 3P Exchanges model updates


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Financial Analysis
Professional              Date     Hours     Activity
William Walker          3/2/2023     0.6   Review NFT wallet data to be incorporated into Crypto Model

William Walker          3/2/2023     1.2   Review crypto model variance tab


William Walker          3/2/2023     1.7   Reconcile cold storage transaction list with other data sources

William Walker          3/2/2023     1.1   Review the crypto model with G. Walia, W. Walker (A&M)

William Walker          3/2/2023     1.4   Review BitGo model discrepancies file


William Walker          3/2/2023     2.1   Extract hidden data from crypto model to check for errors

Adam Titus              3/3/2023     1.2   Review NFT data and pricing materials from Crypto analysis and
                                           summarize data
Adam Titus              3/3/2023     2.1   Review SOFAs and Schedule details to ensure bucketing and coding
                                           is in line with latest investment tracker
Adam Titus              3/3/2023     0.3   Update schedule for NFT work prior to discussion based on findings
                                           within database
Adam Titus              3/3/2023     0.9   Build dashboard via of Token schedule for population, review latest
                                           schedule within tracker to ensure coding is correct
Adam Titus              3/3/2023     0.3   Ledger Prime update materials for BOD meeting

Adam Titus              3/3/2023     1.4   Update PMO slides presentation related to Venture focus, including
                                           new slide on venture positions and changes between prior and new
                                           balance
Adam Titus              3/3/2023     0.9   NFT review of separate excel details review in preparation for call

Adam Titus              3/3/2023     0.9   Finalize latest Schedule details to ensure sizing and coding in
                                           preparation for internal review
Alec Liv-Feyman         3/3/2023     2.2   Analyze balance breakdown of exchange data to determine fiat
                                           currency variance
Alec Liv-Feyman         3/3/2023     1.8   Update exchanges data breakdown to determine new token mapping
                                           variance report
Alec Liv-Feyman         3/3/2023     2.0   Analyze fiat/crypto balance breakdowns per exchanges data and pull
                                           into database analysis
Alec Liv-Feyman         3/3/2023     0.3   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding breakdown
                                           for balances
Alec Liv-Feyman         3/3/2023     1.3   Update analysis for token mappings in database analysis within
                                           crypto exchanges model report
Alec Liv-Feyman         3/3/2023     0.5   Call with K. Ramanathan, K. Baker, V. Rajasekhar, A. Liv-Feyman
                                           (A&M), A. Holland (S&C) regarding exchanges data breakdown for
                                           token balances
Anan Sivapalu           3/3/2023     1.1   Write SQL script to insert new table for TRM wallet address data by
                                           coin and symbol
Anan Sivapalu           3/3/2023     0.4   Run crypto wallet process to update tracking dashboard



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Financial Analysis
Professional               Date     Hours     Activity
Anan Sivapalu            3/3/2023     1.0   Upload TRM balance data into database for data manipulation and
                                            transformation
Anan Sivapalu            3/3/2023     1.4   Modify PowerBI dashboard to include new TRM data


Anan Sivapalu            3/3/2023     1.8   Write SQL script to unpivot TRM wallet group map data

Anan Sivapalu            3/3/2023     1.4   Create data model in Visual Studios to feed into PowerBI

Anan Sivapalu            3/3/2023     2.1   Develop python script to download fiat currency history from Yahoo
                                            Finance
Charles Evans            3/3/2023     0.5   Correspondence with J. Yan, C. Evans, W. Edwards (A&M) regarding
                                            Dappbase Ventures Limited and MPC Technologies
David Nizhner            3/3/2023     2.8   Consolidate February submissions into master resource model tabs


Ed Mosley                3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Ed Mosley                3/3/2023     0.7   Review of and prepare comments to draft contract for crypto tracing
                                            licenses
Erik Taraba              3/3/2023     1.3   Develop updated expenses exhibit for resource model


Erik Taraba              3/3/2023     0.9   Refresh project asset allocation analysis and develop new schedules

Erik Taraba              3/3/2023     0.4   Review leadership feedback re: January Application and Exhibits and
                                            respond to questions
Gaurav Walia             3/3/2023     0.4   Review the crypto model and provide feedback


Gioele Balmelli          3/3/2023     1.6   Review FTX Europe options presentation

Gioele Balmelli          3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Gioele Balmelli          3/3/2023     1.9   Review Invoice list update FTX Europe entities


Heather Ardizzoni        3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Henry Chambers           3/3/2023     1.3   Attend to queries regarding FTX Japan key performance indicator
                                            report
Henry Chambers           3/3/2023     1.8   Attend to FTX Japan year end account closing matters


Henry Chambers           3/3/2023     0.8   Correspondence with PWP regarding FTX Japan key performance
                                            indicator report



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Financial Analysis
Professional               Date     Hours     Activity
Henry Chambers           3/3/2023     1.3   Review of SRM/FTT analysis and consideration of associated
                                            customer balances
Igor Radwanski           3/3/2023     2.8   Analyze user account information regarding withdrawal and transfer
                                            activity
Igor Radwanski           3/3/2023     1.2   Edit deliverable regarding user withdrawal activity

Jack Yan                 3/3/2023     1.1   Perform public domain search on Dappbase Ventures Limited

Jack Yan                 3/3/2023     1.2   Perform transaction checking on deposit wallets held by FTX Japan


Jack Yan                 3/3/2023     1.8   Perform daily monitoring of FTX Japan crypto asset balances

Jack Yan                 3/3/2023     1.8   Perform transaction checking's on segregated asset wallets held by
                                            FTX Japan
James Lam                3/3/2023     0.4   Review and consider the token shortfall analysis

James Lam                3/3/2023     3.1   Analyze the fund flow and transaction history of some wallet
                                            addresses related to FTT
James Lam                3/3/2023     0.8   Consider FTX Japan customer adjusted balance and prepare a list of
                                            data request for validation
James Lam                3/3/2023     0.8   Review on-chain transactions for large withdrawals from FTX Japan
                                            wallet addresses
Joachim Lubsczyk         3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Johnny Gonzalez          3/3/2023     1.5   Working session with J. Gonzalez and L. Clayton (A&M) re: Updates
                                            to staff resource model based on feedback from leadership
Kevin Baker              3/3/2023     2.3   Produce reports and user account balances from 3rd party exchange
                                            data
Kevin Baker              3/3/2023     1.3   Develop scripts for the calculation of user account balances
                                            regarding supplemental productions for re-calc
Kevin Baker              3/3/2023     0.5   Call with K. Ramanathan, K. Baker, V. Rajasekhar, A. Liv-Feyman
                                            (A&M), A. Holland (S&C) regarding exchanges data breakdown for
                                            balances
Kora Dusendschon         3/3/2023     1.1   Correspondence with S&C re Turkey status, permissions required
                                            and outstanding questions
Kora Dusendschon         3/3/2023     0.8   Emails to FTI to get Turkey and EU workspace setup for reviewers


Kora Dusendschon         3/3/2023     0.1   Email to P. Lee re additional information needed for Turkey request

Kumanan Ramanathan       3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Kumanan Ramanathan       3/3/2023     0.3   Review of Coinbase contracts and propose amendments


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Financial Analysis
Professional               Date     Hours     Activity
Kumanan Ramanathan       3/3/2023     0.9   Review of the crypto coin report and provide comments

Kumanan Ramanathan       3/3/2023     0.5   Call with K. Ramanathan, K. Baker, V. Rajasekhar, A. Liv-Feyman
                                            (A&M), A. Holland (S&C) regarding exchanges data breakdown for
                                            balances
Kumanan Ramanathan       3/3/2023     0.6   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                            Kwan, K. Ramanathan (A&M), C. Jones, O. de Vito Piscicelli (S&C)
                                            and others to discuss FTX EU KYC and customer balance matters
Kumanan Ramanathan       3/3/2023     0.9   Review crypto intelligence platform contract and write draft for
                                            approval
Kumanan Ramanathan       3/3/2023     0.5   Correspondence with L. Abendschein (Coinbase) to discuss prime
                                            brokerage contract changes
Lance Clayton            3/3/2023     1.2   Finalize list of reconciliation errors within resource model and update
                                            tracker
Lance Clayton            3/3/2023     2.8   Update January resource model based on feedback from leadership

Lance Clayton            3/3/2023     1.5   Working session with J. Gonzalez and L. Clayton (A&M) re: Updates
                                            to staff resource model based on feedback from leadership
Larry Iwanski            3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Larry Iwanski            3/3/2023     0.6   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                            Kwan, K. Ramanathan (A&M), C. Jones, O. de Vito Piscicelli (S&C)
                                            and others to discuss FTX EU KYC and customer balance matters
Larry Iwanski            3/3/2023     0.6   Call with L. Iwanski, L. Konig, P. Kwan, L. Chamma (A&M), S.
                                            Stephens, P. Gruhn (FTX), O. de Vito Piscicelli (S&C) to discuss FTX
                                            Europe customer balance calculation
Leandro Chamma           3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                            Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                            Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                            discuss FTX Europe matters
Leandro Chamma           3/3/2023     0.5   Call with L. Iwanski, L. Konig, P. Kwan, L. Chamma (A&M), S.
                                            Stephens, P. Gruhn (FTX), O. de Vito Piscicelli (S&C) to discuss FTX
                                            Europe customer balance calculation
Louis Konig              3/3/2023     1.3   Database scripting related to detailed balance component
                                            reconciliation
Louis Konig              3/3/2023     1.5   Quality control and review of script for detailed balance component
                                            reconciliation
Louis Konig              3/3/2023     1.4   Quality control and review of script for customer liabilities coin
                                            balance schedule creation
Louis Konig              3/3/2023     1.3   Database scripting related to customer liabilities coin balance
                                            schedule creation
Louis Konig              3/3/2023     0.6   Call with L. Iwanski, L. Konig, P. Kwan, L. Chamma (A&M), S.
                                            Stephens, P. Gruhn (FTX), O. de Vito Piscicelli (S&C) to discuss FTX
                                            Europe customer balance calculation
Manasa Sunkara           3/3/2023     3.1   Update the balance export python script to use a new table, add
                                            additional fields and create more rows per page


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Financial Analysis
Professional              Date     Hours     Activity
Manasa Sunkara          3/3/2023     0.6   Confirm that specific deposits were made to the exchange and
                                           incorporate this information into the deliverable
Manasa Sunkara          3/3/2023     0.6   Query the database and provide user and balance exports for users
                                           that held a certain token as of the petition date
Matthew Flynn           3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                           Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                           Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                           discuss FTX Europe matters
Peter Kwan              3/3/2023     0.6   Call with L. Iwanski, L. Konig, P. Kwan, L. Chamma (A&M), S.
                                           Stephens, P. Gruhn (FTX), O. de Vito Piscicelli (S&C) to discuss FTX
                                           Europe customer balance calculation
Peter Kwan              3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                           Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                           Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                           discuss FTX Europe matters
Peter Kwan              3/3/2023     1.5   FTX EU Balances Recalculation and Validation

Peter Kwan              3/3/2023     0.6   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                           Kwan, K. Ramanathan (A&M), C. Jones, O. de Vito Piscicelli (S&C)
                                           and others to discuss FTX EU KYC and customer balance matters
Robert Gordon           3/3/2023     0.8   Review WRS balance sheets to begin responses to States requests


Robert Gordon           3/3/2023     0.3   Meeting between E. Mosley, R. Gordon, L. Chamma, P. Kwan, L.
                                           Iwanski, K. Ramanathan, M. Flynn, G. Balmelli, J. Lubsczyk, H.
                                           Ardizzoni (A&M), O. de Vito Piscicelli, T. Hill (S&C), R. Perubhatla to
                                           discuss FTX Europe matters
Steven Glustein         3/3/2023     1.9   Prepare presentation slides for PMO meeting relating to Alameda
                                           brokerage positions
Steven Glustein         3/3/2023     1.3   Prepare presentation slides for PMO meeting relating to venture
                                           investment updates
Steven Glustein         3/3/2023     1.8   Prepare presentation slides for PMO meeting relating to token
                                           investment updates
Steven Glustein         3/3/2023     1.8   Prepare summary of investments to be transferred to Alameda
                                           relating to Ledger Prime
Vinny Rajasekhar        3/3/2023     0.6   Call with W. Walker, V. Rajasekhar (A&M) regarding coin report
                                           feedback and commentary
Vinny Rajasekhar        3/3/2023     1.3   Update internal coin report for feedback received

Vinny Rajasekhar        3/3/2023     3.1   Prepare bridge between internal 2.24 coin report and 2.20 coin report


Vinny Rajasekhar        3/3/2023     2.9   Review 3rd party exchange model for pointer data incorporated

Vinny Rajasekhar        3/3/2023     0.3   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding exchanges
                                           data and 3P Exchanges model updates
Vinny Rajasekhar        3/3/2023     0.5   Call with K. Ramanathan, K. Baker, V. Rajasekhar, A. Liv-Feyman
                                           (A&M), A. Holland (S&C) regarding breakdown for balances




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Financial Analysis
Professional               Date     Hours     Activity
William Walker           3/3/2023     0.8   Review variances in weekly coin report outputs

William Walker           3/3/2023     0.8   Draft update comments to coin report bridge


William Walker           3/3/2023     0.9   Review updated coin report bridge

William Walker           3/3/2023     0.6   Review questions & responses related to the updated weekly coin
                                            report
William Walker           3/3/2023     0.6   Call with W. Walker and V. Rajasekhar (A&M) regarding coin report
                                            feedback and commentary
William Walker           3/3/2023     0.6   Research coin report inputs with public blockchain data

Alec Liv-Feyman          3/4/2023     2.0   Analyze third party transaction IDs on crypto explorers and input
                                            pricing, quantity, amounts, and dates
Anan Sivapalu            3/4/2023     1.4   Model out variance analysis of TRM, chain by token data

Erik Taraba              3/4/2023     0.2   Gather additional details re: January expenses for input into Fee
                                            Application
Henry Chambers           3/4/2023     0.6   Attend to Quoine PTE balance queries

Henry Chambers           3/4/2023     0.6   Correspondence regarding FTX Japan key performance indicator
                                            report and Alameda Accounts at Liquid Japan
James Lam                3/4/2023     2.1   Review and consider the nature of requested balances on Quoine
                                            PTE's financials
Kevin Baker              3/4/2023     2.7   Develop scripts for user accounts balances and quality control
                                            measures for balance re-calculations
Kora Dusendschon         3/4/2023     0.2   Send emails to FTI re Turkey KYC setup


Kumanan Ramanathan       3/4/2023     0.5   Review of 3rd party exchange updated account balance detail

Kumanan Ramanathan       3/4/2023     2.4   Review of crypto coin report and provide updates


Lance Clayton            3/4/2023     0.9   Prepare adjustments to January resource model based on leadership
                                            feedback
Manasa Sunkara           3/4/2023     2.1   Review list of previously completed requests and compile all account
                                            id's where balance information was provided
Peter Kwan               3/4/2023     0.9   FTX EU Balances Recalculation and Validation


Steven Glustein          3/4/2023     1.7   Prepare reconciliation between Sofa Load file and venture
                                            investment master tracker
Steven Glustein          3/4/2023     1.4   Review updated SOFA and Schedules relating to Venture
                                            Investments
Vinny Rajasekhar         3/4/2023     2.5   Update internal coin report for feedback received regarding report
                                            bridge and token variances




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Financial Analysis
Professional               Date     Hours     Activity
Adam Titus               3/5/2023     0.9   Prep for internal meeting, update agenda items and latest details on
                                            venture silo
Adam Titus               3/5/2023     1.2   Update PMO slides presentation related to Venture focus, including
                                            new slide on venture positions and changes between prior and new
                                            balance
Alec Liv-Feyman          3/5/2023     2.0   Analyze crypto scanner pages to determine variance in inputs versus
                                            current updates
Erik Taraba              3/5/2023     0.4   Gather additional details and input into January Fee Application
                                            exhibits
James Lam                3/5/2023     2.6   Analyze the fund flow and transaction history of FTT tokens


Kora Dusendschon         3/5/2023     0.8   Start to create instructions for Turkey team on how to access KYC
                                            user object. Communicate with FTI
Louis Konig              3/5/2023     0.7   Database scripting related to reconciliation between airdrop
                                            components and calculated balances
Louis Konig              3/5/2023     0.8   Quality control and review of script for trade fills detail reconciliation
                                            to balances
Louis Konig              3/5/2023     0.8   Quality control and review of outputs related to reconciliation
                                            between balance change components and calculated balances
Louis Konig              3/5/2023     0.8   Database scripting related to reconciliation between balance change
                                            components and calculated balances
Louis Konig              3/5/2023     0.5   Quality control and review of outputs related to reconciliation
                                            between airdrop components and calculated balances
Louis Konig              3/5/2023     0.7   Automation of schedule creation for customer NFT balances


Louis Konig              3/5/2023     0.4   Automation of schedule creation for customer coin balances

Louis Konig              3/5/2023     0.8   Database scripting related trade fills detail reconciliation to balances

Manasa Sunkara           3/5/2023     0.4   Continue to extract all deposit, withdrawal and transfer activity
                                            associated with a certain token
Manasa Sunkara           3/5/2023     2.8   Review the list of requests reconcile the account id's for which
                                            balance information was provided
Peter Kwan               3/5/2023     1.0   FTX EU Balances Recalculation and Validation


Steven Glustein          3/5/2023     0.3   Correspondence with crypto team re: ownership of wallet address
                                            relating to venture token in vestments
Steven Glustein          3/5/2023     0.5   Prepare reconciliation between Dotcom Silo balance sheet and
                                            venture investment master tracker
Steven Glustein          3/5/2023     2.3   Prepare reconciliation between Alameda Silo balance sheet and
                                            venture investment master tracker
Steven Glustein          3/5/2023     1.6   Working session with K. Kearney, S. Glustein, (A&M) to bridge
                                            venture investments relating to the Alameda Balance Sheet
Steven Glustein          3/5/2023     0.6   Prepare reconciliation between WRS Silo balance sheet and venture
                                            investment master tracker


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Financial Analysis
Professional              Date     Hours     Activity
Steven Glustein         3/5/2023     1.7   Prepare reconciliation between Ventures Silo balance sheet and
                                           venture investment master tracker
Vinny Rajasekhar        3/5/2023     2.1   Update internal coin report for feedback received regarding report
                                           bridge and token inclusion in BitGo and Sygnia token file
Adam Titus              3/6/2023     1.6   Update investment tracker for latest details and provide summary
                                           schedules to develop for PMO slides
Adam Titus              3/6/2023     0.9   Prepare draft materials and review Ledger Prime update materials for
                                           preparation with BOD update
Adam Titus              3/6/2023     1.4   Email correspondence with potential Venture investor, share limited
                                           public information and schedule call
Adam Titus              3/6/2023     2.5   Review SOFAs and Schedule details to ensure bucketing and coding
                                           is in line with latest investment tracker
Adam Titus              3/6/2023     0.8   Internal update call to discuss latest process status S. Coverick,
                                           [A&M]
Adam Titus              3/6/2023     1.5   Meeting to discuss schedules and statements draft with internal team
                                           R. Esposito [A&M]
Adam Titus              3/6/2023     0.5   Schedule F prepare update for schedules on unfunded commitments
                                           gather information
Adam Titus              3/6/2023     1.2   Email correspondence with Investor services and gather / send
                                           information to respond for requests to receive distributions
Alec Liv-Feyman         3/6/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) to discuss exchange
                                           balances
Alec Liv-Feyman         3/6/2023     2.1   Analyze cold storage holdings analysis to bridge variance in
                                           transferred assets and current holdings
Alec Liv-Feyman         3/6/2023     2.0   Update exchanges balances to determine variance within crypto
                                           holdings
Alec Liv-Feyman         3/6/2023     1.6   Update balances analysis regarding third party exchanges based on
                                           new figures
Alec Liv-Feyman         3/6/2023     0.3   Call with K. Ramanathan, W. Walker, K. Baker, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding exchange balances analysis
Alec Liv-Feyman         3/6/2023     0.2   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding third party
                                           transaction ID variance report
Anan Sivapalu           3/6/2023     1.4   TRM wallet address analysis on large top 10 balances

Anan Sivapalu           3/6/2023     1.0   Ungroup wallet addresses analysis in the TRM data

Anan Sivapalu           3/6/2023     1.1   Run crypto wallet process to update tracking dashboard and
                                           troubleshoot visual studio error
Anan Sivapalu           3/6/2023     0.9   Troubleshoot error with TRM PowerBI dashboard display of summary

Anan Sivapalu           3/6/2023     1.1   Analysis of pricing on petition date within TRM data


Anan Sivapalu           3/6/2023     0.9   Run process to update pricing data from Yahoo Finance




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Financial Analysis
Professional               Date     Hours     Activity
Anan Sivapalu            3/6/2023     1.6   Silo map data input and integration into data model

Brett Bammert            3/6/2023     1.6   Conduct document analysis across central repository to find similar
                                            agreements and contracts provided by review team
Charles Evans            3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                            (A&M) to discuss the latest updates on FTX Japan
David Nizhner            3/6/2023     1.8   Reconcile customer withdrawals with new transaction files

David Nizhner            3/6/2023     0.9   Correspond regarding new withdrawal files


David Nizhner            3/6/2023     2.1   Working session w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner
                                            and D. Slay (A&M) re: Initial resource model submission template
                                            and app development
David Slay               3/6/2023     1.1   Update PMO deck and professional model for management
                                            distribution
David Slay               3/6/2023     2.1   Working session w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner
                                            and D. Slay (A&M) re: Initial resource model submission template
                                            and app development
Ed Mosley                3/6/2023     0.4   Discuss post petition customer deposits with E. Mosley, S. Coverick,
                                            and K. Ramanathan (A&M)
Erik Taraba              3/6/2023     1.3   Update resource model and refresh outputs to include latest thinking


Erik Taraba              3/6/2023     2.1   Working session w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner
                                            and D. Slay (A&M) re: Initial resource model submission template
                                            and app development
Gaurav Walia             3/6/2023     2.4   Prepare a bridge between the shortfall presentation and latest
                                            exchange extract
Gaurav Walia             3/6/2023     0.6   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, (A&M), N. Molina,
                                            P. Lee (FTX) to discuss customer account balances
Gaurav Walia             3/6/2023     1.4   Review the latest crypto model and provide feedback

Gaurav Walia             3/6/2023     2.3   Prepare a summary of withdrawal and deposit history for market
                                            makers only
Gaurav Walia             3/6/2023     1.1   Review the failed crypto withdrawals analysis


Gaurav Walia             3/6/2023     0.3   Call with G. Walia and W. Walker (A&M) to discuss latest crypto
                                            model updates
Gaurav Walia             3/6/2023     0.3   Review certain withdrawal addresses associated with exchange
                                            accounts
Gaurav Walia             3/6/2023     0.3   Call with L. Konig (A&M) to discuss various exchange balance
                                            related workstreams
Gioele Balmelli          3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters




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Financial Analysis
Professional               Date     Hours     Activity
Heather Ardizzoni        3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters
Henry Chambers           3/6/2023     0.9   Call with J. Masters, C. Bertrand (FTX Japan), H. Chambers, K.
                                            Ramanathan, P. Kwan, R. Johnson (A&M) to discuss lessons learned
                                            from FTX Japan customer balance release
Henry Chambers           3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                            (A&M) to discuss the latest updates on FTX Japan
Henry Chambers           3/6/2023     2.3   Undertake analysis on list of Liquid Japan users and FTX Japan
                                            users for screening process
Jack Yan                 3/6/2023     1.6   Review adjusted crypto balance for ETH

Jack Yan                 3/6/2023     0.9   Discuss the validation works regarding FTX Japan customer crypto
                                            balances between J. Lam and J. Yan (A&M)
Jack Yan                 3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                            (A&M) to discuss the latest updates on FTX Japan
Jack Yan                 3/6/2023     0.6   Review adjusted crypto balance for XRP

Jack Yan                 3/6/2023     3.1   Review adjusted crypto balance for BTC


Jack Yan                 3/6/2023     3.2   Perform daily monitoring of FTX Japan crypto asset balances over
                                            the weekend
James Lam                3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                            (A&M) to discuss the latest updates on FTX Japan
James Lam                3/6/2023     0.9   Discuss the validation works regarding FTX Japan customer crypto
                                            balances between J. Lam and J. Yan (A&M)
James Lam                3/6/2023     2.6   Update the wallet information and crypto balances for FTX Japan and
                                            Quoine PTE
James Lam                3/6/2023     2.8   Review data provided regarding Quoine PTE crypto balances in
                                            February 2023
James Lam                3/6/2023     0.8   Prepare the workplan and process for validating sampled
                                            adjustments to FTX Japan customer balance
James Lam                3/6/2023     0.3   Correspondence with H. Le (FTX Japan) regarding the status of
                                            crypto balances of Quoine PTE
Jane Chuah               3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                            (A&M) to discuss the latest updates on FTX Japan
Joachim Lubsczyk         3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters
Johnny Gonzalez          3/6/2023     2.1   Working session w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner
                                            and D. Slay (A&M) re: Initial resource model submission template
                                            and app development
Kevin Baker              3/6/2023     1.1   Call with A. Holland (S&C) discussing certain account balances




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Financial Analysis
Professional               Date     Hours     Activity
Kevin Baker              3/6/2023     0.3   Call with K. Ramanathan, W. Walker, K. Baker, V. Rajasekhar, A. Liv-
                                            Feyman (A&M) regarding exchange balances analysis
Kevin Kearney            3/6/2023     0.7   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                            review SOFA and schedules relating to venture investments
Kora Dusendschon         3/6/2023     2.1   Draft communication to FTX Turkey team with detailed screenshots
                                            and other navigation information
Kumanan Ramanathan       3/6/2023     0.9   Call with J. Masters, C. Bertrand (FTX Japan), H. Chambers, K.
                                            Ramanathan, P. Kwan, R. Johnson (A&M) to discuss lessons learned
                                            from FTX Japan customer balance release
Kumanan Ramanathan       3/6/2023     0.4   Discuss post petition customer deposits with E. Mosley, K.
                                            Ramanathan, S. Coverick (A&M)
Kumanan Ramanathan       3/6/2023     0.5   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                            Kwan, K. Ramanathan (A&M), T. Hill, E. Simpson, O. de Vito
                                            Piscicelli (S&C) and others to discuss FTX EU KYC and customer
                                            balance matters
Kumanan Ramanathan       3/6/2023     0.8   Email correspondence with L. Abenschein (Coinbase) and review of
                                            relevant materials regarding contract and onboarding
Kumanan Ramanathan       3/6/2023     0.4   Revise post-petition deposits materials

Kumanan Ramanathan       3/6/2023     0.3   Call with K. Ramanathan, W. Walker, K. Baker, V. Rajasekhar, A. Liv-
                                            Feyman (A&M) regarding exchange balances analysis
Kumanan Ramanathan       3/6/2023     0.3   Call with L. Iwanski, K. Ramanathan, L. Chamma (A&M), C. Jones,
                                            O. de Vito Piscicelli (S&C) to discuss KYC report regarding FTX
                                            Europe
Kumanan Ramanathan       3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters
Lance Clayton            3/6/2023     2.6   Adjust initial project plan review template based on first round of
                                            comments
Lance Clayton            3/6/2023     2.8   Prepare first draft of resource model template for initial review

Lance Clayton            3/6/2023     1.5   Consolidate all data entries into one master file and reconcile to raw
                                            data
Lance Clayton            3/6/2023     1.8   Update the resource model to be synonymous with all output


Lance Clayton            3/6/2023     2.1   Working session w/ E. Taraba, L. Clayton, J. Gonzalez, D. Nizhner
                                            and D. Slay (A&M) re: Initial resource model submission template
                                            and app development
Larry Iwanski            3/6/2023     0.8   Review of third party identification contract and KYC policies

Larry Iwanski            3/6/2023     0.6   Prepare for meeting between H. Ardizzoni, R. Gordon, K.
                                            Ramanathan, M. Flynn, L. Chamma, L. Iwanski, G. Balmelli, P. Kwan,
                                            J. Lubsczyk (A&M) and O. de Vito Piscicelli, E. Simpson (A&M) to
                                            discuss FTX Europe matters




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Financial Analysis
Professional               Date     Hours     Activity
Larry Iwanski            3/6/2023     0.5   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                            Kwan, K. Ramanathan (A&M), T. Hill, E. Simpson, O. de Vito
                                            Piscicelli (S&C) and others to discuss FTX EU KYC and customer
                                            balance matters
Larry Iwanski            3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters
Leandro Chamma           3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters
Leandro Chamma           3/6/2023     0.3   Call with L. Iwanski, K. Ramanathan, L. Chamma (A&M), C. Jones,
                                            O. de Vito Piscicelli (S&C) to discuss KYC report regarding FTX
                                            Europe
Louis Konig              3/6/2023     1.2   Database scripting related to reconciliation between creation
                                            components and calculated balances
Louis Konig              3/6/2023     1.3   Database scripting related to reconciliation between deposit
                                            components and calculated balances
Louis Konig              3/6/2023     1.3   Database scripting related to extraction and analysis of pending
                                            withdrawals
Louis Konig              3/6/2023     0.9   Target internal account reconciliation against balance component
                                            details
Louis Konig              3/6/2023     0.9   Quality control and review of outputs related to reconciliation
                                            between creation components and calculated balances
Louis Konig              3/6/2023     0.9   Quality control and review of outputs related to reconciliation
                                            between binary option fills trade components and calculated balances
Louis Konig              3/6/2023     0.6   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, (A&M), N. Molina,
                                            P. Lee (FTX) to discuss customer account balances
Louis Konig              3/6/2023     0.8   Creation of dataset related to NFT balances

Louis Konig              3/6/2023     1.3   Database scripting related to reconciliation between binary option fills
                                            trade components and calculated balances
Louis Konig              3/6/2023     0.3   Call with G. Walia, L. Konig (A&M) to discuss various exchange
                                            balance related workstreams
Luke Francis             3/6/2023     0.7   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                            review SOFA and schedules relating to venture investments
Manasa Sunkara           3/6/2023     0.7   Expand the search for any users associated with a certain name and
                                            pull their user account details and balance information
Manasa Sunkara           3/6/2023     0.8   Provide the balance information associated with the user accounts
                                            that may belong to a certain user in FTX.COM
Mariah Rodriguez         3/6/2023     1.2   Analyze wallet withdrawal data for asset tracing request


Matthew Flynn            3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                            L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                            O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                            matters



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Professional              Date     Hours     Activity
Peter Kwan              3/6/2023     0.6   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, (A&M), N. Molina,
                                           P. Lee (FTX) to discuss customer account balances
Peter Kwan              3/6/2023     0.9   Call with J. Masters, C. Bertrand (FTX Japan), H. Chambers, K.
                                           Ramanathan, P. Kwan, R. Johnson (A&M) to discuss lessons learned
                                           from FTX Japan customer balance release
Peter Kwan              3/6/2023     2.3   FTX EU Balances Recalculation and Validation


Peter Kwan              3/6/2023     0.5   Call with M. Hadjigavriel, O. Adamidou (Triantafyllides), L. Iwanski, P.
                                           Kwan, K. Ramanathan (A&M), T. Hill, E. Simpson, O. de Vito
                                           Piscicelli (S&C) and others to discuss FTX EU KYC and customer
                                           balance matters
Peter Kwan              3/6/2023     0.7   FTX EU Balances Review and highlight key issues for internal team

Peter Kwan              3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                           L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                           O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                           matters
Rob Esposito            3/6/2023     1.5   Meeting to discuss schedules and statements draft with internal team
                                           R. Esposito [A&M]
Robert Gordon           3/6/2023     0.3   Meeting between H. Ardizzoni, R. Gordon, K. Ramanathan, M. Flynn,
                                           L. Chamma, L. Iwanski, G. Balmelli, P. Kwan, J. Lubsczyk (A&M) and
                                           O. de Vito Piscicelli, E. Simpson (A&M) to discuss FTX Europe
                                           matters
Robert Johnson          3/6/2023     0.6   Call with G. Walia, R. Johnson, L. Konig, P. Kwan, (A&M), N. Molina,
                                           P. Lee (FTX) to discuss customer account balances
Robert Johnson          3/6/2023     0.9   Call with J. Masters, C. Bertrand (FTX Japan), H. Chambers, K.
                                           Ramanathan, P. Kwan, R. Johnson (A&M) to discuss lessons learned
                                           from FTX Japan customer balance release
Steve Coverick          3/6/2023     0.4   Discuss post petition customer deposits with E. Mosley, S. Coverick,
                                           and K. Ramanathan (A&M)
Steve Coverick          3/6/2023     0.8   Internal update call to discuss latest process status S. Coverick, A.
                                           Titus(A&M)
Steven Glustein         3/6/2023     0.4   Correspondence with investee companies regarding updated contact
                                           information letter relating to venture investments
Steven Glustein         3/6/2023     0.4   Correspondence with K. Flinn (PWP) regarding fund committed
                                           capital balances relating to venture investments
Steven Glustein         3/6/2023     0.7   Working session with K. Kearney, S. Glustein, L. Francis (A&M) to
                                           review SOFA and schedules relating to venture investments
Steven Glustein         3/6/2023     2.2   Update investment master tracker relating to recently identified
                                           funded investments
Steven Glustein         3/6/2023     1.6   Review and provide comments re: SOFA and schedules relating to
                                           equity investments
Steven Glustein         3/6/2023     1.2   Review and provide comments re: SOFA and schedules relating to
                                           fund investments
Steven Glustein         3/6/2023     0.6   Draft updated contact information letter relating to venture
                                           investments




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Professional              Date     Hours     Activity
Steven Glustein         3/6/2023     0.4   Review and provide comments re: SOFA and schedules relating to
                                           token investments
Summer Li               3/6/2023     0.5   Call with H. Chambers, C. Evans, S. Li, J. Lam, J. Chuah, J. Yan
                                           (A&M) to discuss the latest updates on FTX Japan
Vinny Rajasekhar        3/6/2023     1.3   Call with W. Walker, V. Rajasekhar (A&M) regarding coin report
                                           presentation and model updates
Vinny Rajasekhar        3/6/2023     2.7   Perform quality check and create formula checks for sources model

Vinny Rajasekhar        3/6/2023     1.6   Incorporate current pricing as of 2.24 into model gears workbook


Vinny Rajasekhar        3/6/2023     2.7   Prepare petition pricing formulas for model gears workbook

Vinny Rajasekhar        3/6/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) to discuss exchange
                                           balances
Vinny Rajasekhar        3/6/2023     0.2   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding third party
                                           transaction ID variance report
Vinny Rajasekhar        3/6/2023     0.3   Call with K. Ramanathan, W. Walker, K. Baker, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding exchange balances analysis
Vinny Rajasekhar        3/6/2023     2.9   Prepare consolidated database within model gears workbook

Vinny Rajasekhar        3/6/2023     3.1   Compile crypto sources into sources model

William Walker          3/6/2023     2.2   Review coin report analysis for use in coin report model


William Walker          3/6/2023     1.2   Develop timeline for coin report model changes

William Walker          3/6/2023     1.3   Call with W. Walker, V. Rajasekhar (A&M) regarding coin report
                                           presentation and model updates
William Walker          3/6/2023     0.3   Call with K. Ramanathan, W. Walker, K. Baker, V. Rajasekhar, A. Liv-
                                           Feyman (A&M) regarding exchange balances analysis
William Walker          3/6/2023     2.9   Reconcile account balances on certain 3rd party exchanges in
                                           response to request from S&C
William Walker          3/6/2023     0.3   Call with G. Walia and W. Walker (A&M) to discuss latest crypto
                                           model updates
Adam Titus              3/7/2023     1.5   Follow up from PMO call on requested information for status of
                                           certain investments, email team with data and response to situation
                                           on investment
Adam Titus              3/7/2023     0.9   Email correspondence to gather information for incentive plan
                                           schedules and supporting documents
Adam Titus              3/7/2023     0.9   Prepare draft materials and review Ledger Prime update materials for
                                           preparation with BOD update
Adam Titus              3/7/2023     2.5   Review SOFAs and Schedule details to ensure bucketing and coding
                                           is in line with latest investment tracker
Adam Titus              3/7/2023     0.5   Track information related to NFTs BAYC specific based on creditor
                                           questions related to wallet and stored value of NFTs


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Financial Analysis
Professional              Date     Hours     Activity
Adam Titus              3/7/2023     2.1   Prep incentive plan materials, diligence prior presentation and update
                                           schedules for latest thinking estimates
Adam Titus              3/7/2023     1.2   Work to gather request materials from a Venture token, to ensure
                                           funds / distributions are received given a winddown
Alec Liv-Feyman         3/7/2023     0.4   Call with G. Walia, W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M),
                                           M. Cheng (BitGo) regarding token Deposits discussion
Alec Liv-Feyman         3/7/2023     1.2   Update current balances analysis through explorer pages to
                                           determine potential variance
Alec Liv-Feyman         3/7/2023     2.0   Update exchange data breakdown variance report between fiat
                                           holdings and crypto holdings
Alec Liv-Feyman         3/7/2023     2.0   Update transaction ID information in current crypto holdings to
                                           confirm current balances
Alec Liv-Feyman         3/7/2023     2.1   Update third party exchanges model to consolidate current holdings
                                           versus future holdings
Alec Liv-Feyman         3/7/2023     0.5   Call with W. Walker, A. Liv-Feyman (A&M), J. Croke, A. Holland
                                           (S&C), and A. Istrefi (Sygnia) regarding exchange withdrawals
Alec Liv-Feyman         3/7/2023     1.8   Update cold storage variance report to determine potential holdings


Alec Liv-Feyman         3/7/2023     0.3   Update central address list information to report variance between
                                           third parties
Anan Sivapalu           3/7/2023     2.0   Check through SQL code that creates link between wallet group and
                                           wallet addresses
Anan Sivapalu           3/7/2023     2.4   Check through missing silos and wallet groups for each wallet
                                           address
Anan Sivapalu           3/7/2023     1.2   Develop preliminary outline of intercompany analysis, required data
                                           and access to data
Anan Sivapalu           3/7/2023     0.5   Run crypto wallet process to update tracking dashboard


David Johnston          3/7/2023     2.3   Analysis of FTX Europe summary presentation

David Nizhner           3/7/2023     1.4   Working session with J. Gonzalez, D. Nizhner (A&M) re: resource
                                           model review
David Nizhner           3/7/2023     0.6   Coordinate with internal team regarding updated customer
                                           withdrawal model
David Nizhner           3/7/2023     2.2   Review February fee app model for new revisions

David Nizhner           3/7/2023     1.5   Revise customer withdrawal model with revised assumptions


Ed Mosley               3/7/2023     0.4   Review of latest FTX Japan withdrawal information

Gaurav Walia            3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                           Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                           customer account balances
Gaurav Walia            3/7/2023     0.4   Call with G. Walia, W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M),
                                           M. Cheng (BitGo) regarding BitGo Deposits discussion


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Professional              Date     Hours     Activity
Gaurav Walia            3/7/2023     2.1   Prepare a summary presentation comparing the SBF sub stack post
                                           to the latest shortfall presentation
Gaurav Walia            3/7/2023     0.9   Update the exchange balance bridge for the latest thinking


Gaurav Walia            3/7/2023     0.7   Review the latest crypto model bridge

Gaurav Walia            3/7/2023     0.9   Call with G. Walia, L. Konig (A&M) to discuss various exchange
                                           balance related workstreams
Henry Chambers          3/7/2023     0.4   Call with H. Chambers, K. Ramanathan (A&M) to discuss FTX Japan
                                           matters
Henry Chambers          3/7/2023     1.1   Correspondence with S. Melamed regarding open FTX Japan items

Henry Chambers          3/7/2023     0.4   Consideration and updates to FTX Japan press release


Jack Yan                3/7/2023     0.4   Generate the 2022 December trial balances of FTX Japan entities

Jack Yan                3/7/2023     1.7   Perform daily monitoring of FTX Japan crypto asset balances


Jack Yan                3/7/2023     2.2   Review adjusted crypto balance for BTC

Jack Yan                3/7/2023     2.2   Investigate the difference between the adjusted crypto balance and
                                           original balance for BTC
James Lam               3/7/2023     1.1   Review the updated FTX Japan adjusted customer balances


Johnny Gonzalez         3/7/2023     1.3   Working session with J. Gonzalez and L. Clayton (A&M) re: Alameda
                                           Venture Investments
Johnny Gonzalez         3/7/2023     1.4   Working session with J. Gonzalez, D. Nizhner (A&M) re: resource
                                           model review
Johnny Gonzalez         3/7/2023     0.5   Review allocation model with J. Gonzalez and L. Clayton (A&M)

Jon Chan                3/7/2023     2.8   Provide withdrawal and deposit summary for specific market maker
                                           accounts
Julian Lee              3/7/2023     0.1   Review customer withdrawals workpaper

Kumanan Ramanathan      3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                           Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                           customer account balances
Kumanan Ramanathan      3/7/2023     0.4   Review of communications on FTX EU balance return process


Kumanan Ramanathan      3/7/2023     0.4   Call with H. Chambers, K. Ramanathan (A&M) to discuss FTX Japan
                                           matters
Lance Clayton           3/7/2023     0.5   Review allocation model with J. Gonzalez and L. Clayton (A&M)

Lance Clayton           3/7/2023     0.8   Update diligence tracker for inbound communication




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Professional               Date     Hours     Activity
Lance Clayton            3/7/2023     1.6   Set up diligence tracker for Alameda Investment third party
                                            communications
Lance Clayton            3/7/2023     0.4   Call with S. Glustein and L. Clayton (A&M) re: Onboarding to Venture
                                            workstream and model overview
Lance Clayton            3/7/2023     1.4   Prepare first draft tear sheets for Alameda investment to discuss with
                                            team
Lance Clayton            3/7/2023     1.3   Working session with J. Gonzalez and L. Clayton (A&M) re: Alameda
                                            Venture Investments
Lance Clayton            3/7/2023     2.5   Prepare initial tracker for venture investment workstream


Lance Clayton            3/7/2023     1.8   Create templates for Alameda Investment one pagers

Lance Clayton            3/7/2023     1.2   Adjust Alameda tear sheet based on internal comments


Lance Clayton            3/7/2023     3.1   Initial review of important documents and presentations to get up to
                                            speed on investment workstream
Louis Konig              3/7/2023     0.9   Call with G. Walia, L. Konig (A&M) to discuss various exchange
                                            balance related workstreams
Louis Konig              3/7/2023     1.2   Quality control and review of outputs related to reconciliation
                                            between fiat withdrawal components and calculated balances
Louis Konig              3/7/2023     1.1   Quality control and review of outputs related to reconciliation
                                            between fiat deposit components and calculated balances
Louis Konig              3/7/2023     0.6   Database scripting related to reconciliation between fee voucher
                                            deduction components and calculated balances
Louis Konig              3/7/2023     0.9   Quality control and review of outputs related to reconciliation
                                            between fee voucher deduction components and calculated balances
Louis Konig              3/7/2023     1.4   Database scripting related to reconciliation between fee voucher
                                            change components and calculated balances
Louis Konig              3/7/2023     1.0   Database scripting related to reconciliation between fiat withdrawal
                                            components and calculated balances
Louis Konig              3/7/2023     0.7   Quality control and review of outputs related to reconciliation
                                            between deposit components and calculated balances
Louis Konig              3/7/2023     1.2   Database scripting related to reconciliation between fiat deposit
                                            components and calculated balances
Louis Konig              3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                            Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                            customer account balances
Louis Konig              3/7/2023     1.1   Quality control and review of outputs related to reconciliation
                                            between fee voucher change components and calculated balances
Manasa Sunkara           3/7/2023     1.1   Query and extract the users' account details, deposits, withdrawals,
                                            transfers, KYC and balance data from the database
Manasa Sunkara           3/7/2023     0.8   Provide the balance details for any user accounts that are holders of
                                            a certain coin during a specific time frame
Matthew Flynn            3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                            Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                            customer account balances

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Financial Analysis
Professional              Date     Hours     Activity
Peter Kwan              3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                           Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                           customer account balances
Peter Kwan              3/7/2023     1.6   FTX EU Balances Review and highlight key issues for internal team

Peter Kwan              3/7/2023     2.9   FTX EU Balances Recalculation and Validation


Quinn Lowdermilk        3/7/2023     2.2   Analyze counterparty information for internal transfer commingling of
                                           funds
Robert Johnson          3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                           Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                           customer account balances
Steven Glustein         3/7/2023     0.9   Update investment master tracker relating to recently identified
                                           venture investments
Steven Glustein         3/7/2023     0.3   Correspondence with A. Searles and S. Schwartz (Alix Partners) re:
                                           funding of select venture fund investment
Steven Glustein         3/7/2023     0.4   Correspondence with K. Flinn (PWP) re: SOFA and schedules
                                           presentation relating to fund investments
Steven Glustein         3/7/2023     1.3   Update token release schedule based on findings provided by crypto
                                           team relating to venture token investments
Steven Glustein         3/7/2023     0.4   Call with S. Glustein and L. Clayton (A&M) re: Onboarding to Venture
                                           workstream and model overview
Steven Glustein         3/7/2023     1.4   Prepare situation update presentation relating to Ledger Prime

Steven Glustein         3/7/2023     2.3   Prepare status summary by silo and investment type relating to
                                           venture investments
Steven Glustein         3/7/2023     0.5   Correspondence with investee company regarding closing
                                           transaction calculation amounts
Steven Glustein         3/7/2023     1.6   Prepare updated schedule of fund investments relating to SOFA and
                                           schedules
Steven Glustein         3/7/2023     0.8   Review relativity for legal documents relating to venture investments


Vinny Rajasekhar        3/7/2023     0.4   Call with W. Walker & V. Rajasekhar (A&M) to discuss coin report
                                           model updates
Vinny Rajasekhar        3/7/2023     2.1   Create summary tables and ranking formulas for dynamic updates in
                                           presentation model
Vinny Rajasekhar        3/7/2023     2.9   Update formatting and presentation model based on feedback

Vinny Rajasekhar        3/7/2023     0.7   Create variance report between 2.20 coin report and internal 2.24
                                           coin report
Vinny Rajasekhar        3/7/2023     0.4   Call with G. Walia, W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M),
                                           M. Cheng (BitGo) regarding BitGo Deposits discussion
Vinny Rajasekhar        3/7/2023     0.6   Call with M. Flynn, R. Johnson, L. Konig, P. Kwan, V. Rajasekhar, K.
                                           Ramanathan, G. Walia (A&M), N. Molina, P. Lee (FTX) to discuss
                                           customer account balances



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Financial Analysis
Professional              Date     Hours     Activity
Vinny Rajasekhar        3/7/2023     3.1   Create presentation model for weekly coin report

William Walker          3/7/2023     0.5   Call with W. Walker, A. Liv-Feyman (A&M), J. Croke, A. Holland
                                           (S&C), and A. Istrefi (Sygnia) regarding exchange withdrawals
William Walker          3/7/2023     0.4   Call with W. Walker & V. Rajasekhar (A&M) to discuss coin report
                                           model updates
William Walker          3/7/2023     0.4   Call with G. Walia, W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M),
                                           M. Cheng (BitGo) regarding BitGo Deposits discussion
William Walker          3/7/2023     2.2   Reconcile Sygnia and Bitgo transaction list


Adam Titus              3/8/2023     2.3   Draft update slides for BOD call on brokerage and venture book,
                                           update BOD on latest details regarding funding and distributions
Adam Titus              3/8/2023     1.2   Review customer name search requirement file as part of the
                                           statement and schedule review highlight details
Adam Titus              3/8/2023     0.8   Venture investment professional call with M. Rahmani (PWP) A.
                                           Titus, and S. Glustein (A&M) discuss latest venture position updates
                                           and discuss next steps
Adam Titus              3/8/2023     2.1   Alameda investment define call and agenda to receive distribution for
                                           funds, research purchase agreement schedule to ensure coordinate
                                           on amounts owed and when
Adam Titus              3/8/2023     1.2   Review details of CEGA transactions determine next steps source
                                           transition
Adam Titus              3/8/2023     0.8   Investment fund review financials and move to Box tracking folder
                                           organize information
Adam Titus              3/8/2023     1.3   Review investment cash election, ensure proper funding. Look
                                           through agreement to determine split of cash and equity proceeds
Adam Titus              3/8/2023     0.6   Review tear-sheet process with L. Clayton and make sure he knows
                                           next steps on how to fill out form
Alec Liv-Feyman         3/8/2023     2.0   Analyze current holdings and determine variance report between
                                           future holdings and current storage crypto
Alec Liv-Feyman         3/8/2023     1.0   Review token tracker model to prepare for tasks related to updates


Alec Liv-Feyman         3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M), A. Holland
                                           (S&C), A. Istrefi (Sygnia) regarding exchange withdrawals
Anan Sivapalu           3/8/2023     1.9   Modify SQL code to reflect new structure of TRM data


Anan Sivapalu           3/8/2023     0.5   Call with TRM Labs, A. Sivapalu, G. Walia (A&M) to review hot wallet
                                           balances
Anan Sivapalu           3/8/2023     1.7   Check TRM data for missing silos and groups within the latest data

Anan Sivapalu           3/8/2023     1.6   Upload latest TRM data for balances and maps into database


Anan Sivapalu           3/8/2023     0.4   Run crypto wallet process to update tracking dashboard

Anan Sivapalu           3/8/2023     1.1   Analyze transfers data within the AWS environment



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Professional              Date     Hours     Activity
Anan Sivapalu           3/8/2023     2.2   Build model to reflect transfers data between FTX legal entities

Anan Sivapalu           3/8/2023     1.1   Modify PowerBI dashboard to reflect changes to data structure


Anan Sivapalu           3/8/2023     1.1   Modify data model to reflect new structure of TRM data

Andrew Heric            3/8/2023     0.8   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing of
                                           identified address deposits
Andrew Heric            3/8/2023     1.1   Review contracts related to token tracing request for ventures team


Bridger Tenney          3/8/2023     1.2   Review time detail in master resource model

Bridger Tenney          3/8/2023     0.8   Compile meeting data for resource model


Bridger Tenney          3/8/2023     0.5   Audit time entries for resource costing model

Bridger Tenney          3/8/2023     1.2   Update time entries for staffing model


Bridger Tenney          3/8/2023     1.0   Adjust master staffing model with new time entries

David Nizhner           3/8/2023     2.8   Reconcile customer withdrawals with transactions in consolidated
                                           database
David Nizhner           3/8/2023     1.8   Review Signet customer withdrawals in consolidated Signet file


David Slay              3/8/2023     0.7   Update and modify projection model to reflect actuals

Ed Mosley               3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                           Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                           to discuss updates to FTX Europe matters
Gaurav Walia            3/8/2023     1.0   Call with R. Johnson, L. Konig, P. Kwan, G. Walia (A&M), N. Molina
                                           (FTX) to discuss customer account balances
Gaurav Walia            3/8/2023     0.4   Review the latest pending withdrawals analysis

Gaurav Walia            3/8/2023     0.5   Call with L. Luke, W. Scheffer, N. Friedlander (S&C) and G. Walia, K.
                                           Ramanathan (A&M) to discuss FTX US shortfall
Gaurav Walia            3/8/2023     0.5   Call with TRM Labs, A. Sivapalu, G. Walia (A&M) to review hot wallet
                                           balances
Gioele Balmelli         3/8/2023     0.1   H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R. Gordon,
                                           S. Coverick (A&M) meeting with E. Simpson, O. de Vito Piscicelli
                                           (S&C) to discuss updates to FTX Europe matters
Gioele Balmelli         3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                           Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                           to discuss updates to FTX Europe matters
Gioele Balmelli         3/8/2023     0.4   Call with G. Balmelli, D. Johnston (A&M) on FTX Europe Liquidation
                                           BS



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Financial Analysis
Professional             Date     Hours     Activity
Heather Ardizzoni      3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                          Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                          to discuss updates to FTX Europe matters
Henry Chambers         3/8/2023     0.4   Call with S. Melamed (FTX) regarding FTX Japan operations

Henry Chambers         3/8/2023     1.1   Attend to correspondence regarding Alameda account at Liquid and
                                          cancelled withdrawal
Henry Chambers         3/8/2023     0.4   Review of balance adjustment checks

Igor Radwanski         3/8/2023     3.0   Identify specific transfers and deposits of interest relating to identified
                                          token
Jack Yan               3/8/2023     1.8   Perform daily monitoring of FTX Japan crypto asset balances

Jack Yan               3/8/2023     2.1   Review adjusted crypto balance for ETH

Jack Yan               3/8/2023     1.8   Review adjusted crypto balance for BTC


Jack Yan               3/8/2023     1.6   Investigate the difference between the adjusted crypto balance and
                                          original balance for BTC
James Lam              3/8/2023     0.7   Update and check the returns of crypto assets from FTX Japan


James Lam              3/8/2023     0.5   Discuss various matters regarding the validation of adjusted
                                          customer balances and the withdrawal transactions of FTX Japan
                                          wallets
Jon Chan               3/8/2023     1.2   Provide withdrawal and deposit activity for several accounts over a
                                          period of time for specific accounts
Jon Chan               3/8/2023     2.8   Provide withdrawal activity for several accounts and all withdrawals
                                          pertaining to a coin type
Kumanan Ramanathan     3/8/2023     1.1   Revise presentation on exchange shortfall comparative against sub
                                          stack post
Kumanan Ramanathan     3/8/2023     1.1   Review and revise exchange shortfall comparison to SBF sub stack


Lance Clayton          3/8/2023     1.3   Update diligence tracker for inbound communication

Lance Clayton          3/8/2023     1.9   Consolidate required data into new storage method and update
                                          diligence tracker
Lance Clayton          3/8/2023     1.2   Adjust investment tracker based on comments from internal team

Lance Clayton          3/8/2023     1.5   Prepare additional tear sheet for Alameda investments

Lance Clayton          3/8/2023     0.6   Call with K. Dennison, L. Clayton, S. Glustein (A&M) re: Ledger
                                          Prime Updates and outstanding items
Lance Clayton          3/8/2023     1.9   Review and adjust one page investment summaries based on
                                          feedback and to ensure consistency
Lance Clayton          3/8/2023     1.8   Set up box folders and create storage system for all relevant
                                          information re: Alameda Investments

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Financial Analysis
Professional               Date     Hours     Activity
Lance Clayton            3/8/2023     2.3   Detailed review of resource model and prepare feedback for team

Lance Clayton            3/8/2023     0.6   Review tear-sheet process with L. Clayton, A. Titus (A&M) and make
                                            sure he knows next steps on how to fill out form
Larry Iwanski            3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                            Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                            to discuss updates to FTX Europe matters
Leslie Lambert           3/8/2023     0.4   Call with L. Lambert and V. Rajasekhar (A&M) regarding
                                            unauthorized transfers update for coin report
Louis Konig              3/8/2023     0.8   Database scripting related to reconciliation between option fills trade
                                            components and calculated balances
Louis Konig              3/8/2023     1.3   Quality control and review of outputs related to reconciliation
                                            between funding payment components and calculated balances
Louis Konig              3/8/2023     0.8   Quality control and review of outputs related to reconciliation
                                            between option fills trade components and calculated balances
Louis Konig              3/8/2023     0.8   Database scripting related to reconciliation between options
                                            components and calculated balances
Louis Konig              3/8/2023     1.5   Quality control and review of outputs related to reconciliation
                                            between net transfers to options components and calculated balances
Louis Konig              3/8/2023     1.2   Database scripting related to reconciliation between funding payment
                                            components and calculated balances
Louis Konig              3/8/2023     1.2   Database scripting related to reconciliation between net transfers to
                                            options components and calculated balances
Louis Konig              3/8/2023     1.0   Call with R. Johnson, L. Konig, P. Kwan, G. Walia (A&M), N. Molina
                                            (FTX) to discuss customer account balances
Louis Konig              3/8/2023     1.7   Quality control and review of outputs related to reconciliation
                                            between futures trade components and calculated balances
Louis Konig              3/8/2023     0.8   Database scripting related to reconciliation between futures trade
                                            components and calculated balances
Manasa Sunkara           3/8/2023     2.1   Search the SQL database for a list of Alameda associated accounts
                                            and provide their deposit and withdrawal history by token and account
Manasa Sunkara           3/8/2023     2.4   Search for all users associated with a certain email address handles
                                            and provide their withdrawal, deposit and transfer data
Manasa Sunkara           3/8/2023     1.9   Query the database and provide a balance summary analysis for
                                            each account, the number of their sub accounts and balance by token
Matthew Flynn            3/8/2023     1.0   Call with M. Flynn (A&M), P. Lee (FTX), K. Flinn, N. Velivela (PWP)
                                            to discuss revenue model
Peter Kwan               3/8/2023     0.3   Review FTX EU Balances for updated values


Peter Kwan               3/8/2023     0.5   Continue the verification of FTX EU Balances Recalculation and
                                            Validation
Peter Kwan               3/8/2023     3.1   FTX EU Balances Recalculation and Validation

Peter Kwan               3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                            Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                            to discuss updates to FTX Europe matters

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Professional              Date     Hours     Activity
Peter Kwan              3/8/2023     1.0   Call with R. Johnson, L. Konig, P. Kwan, G. Walia (A&M), N. Molina
                                           (FTX) to discuss customer account balances
Quinn Lowdermilk        3/8/2023     0.8   Call with Q. Lowdermilk and A. Heric (A&M) regarding tracing of
                                           identified address deposits
Robert Gordon           3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                           Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                           to discuss updates to FTX Europe matters
Robert Johnson          3/8/2023     1.0   Call with R. Johnson, L. Konig, P. Kwan, G. Walia (A&M), N. Molina
                                           (FTX) to discuss customer account balances
Steve Coverick          3/8/2023     0.1   Call with H. Ardizzoni, E. Mosley, L. Iwanski, P. Kwan, G. Balmelli, R.
                                           Gordon, S. Coverick (A&M), E. Simpson, O. de Vito Piscicelli (S&C)
                                           to discuss updates to FTX Europe matters
Steven Glustein         3/8/2023     0.4   Call with K. Flinn (PWP) regarding fund investments relating to SOFA
                                           and schedules
Steven Glustein         3/8/2023     0.4   Correspondence with S. Tang (LedgerPrime) relating to stablecoin
                                           held at LedgerPrime
Steven Glustein         3/8/2023     1.7   Prepare summary of token vesting period relating to select Token
                                           Purchase Agreements
Steven Glustein         3/8/2023     0.2   Correspondence with K. Flinn (PWP) relating to data-room access

Steven Glustein         3/8/2023     2.1   Prepare summary of fund investments relating to SOFA and
                                           schedules
Steven Glustein         3/8/2023     1.6   Prepare summary of remaining assets to monetize relating to
                                           LedgerPrime
Steven Glustein         3/8/2023     2.1   Update investment master tracker relating to recently identified
                                           investments
Steven Glustein         3/8/2023     0.6   Call with K. Dennison, L. Clayton, S. Glustein (A&M) re: Ledger
                                           Prime Updates and outstanding items
Steven Glustein         3/8/2023     0.8   Venture investment professional call with M. Rahmani (PWP) A.
                                           Titus, and S. Glustein (A&M) discuss latest venture position updates
                                           and discuss next steps
Summer Li               3/8/2023     0.8   Review peer-to-pear loan structure in FTX Japan's book

Vinny Rajasekhar        3/8/2023     0.8   Call with W. Walker and V. Rajasekhar (A&M) regarding the coin
                                           report model
Vinny Rajasekhar        3/8/2023     3.2   Update crypto sources model for data up to 3/5/23

Vinny Rajasekhar        3/8/2023     2.8   Update model gears for 3.5.23 data


Vinny Rajasekhar        3/8/2023     2.3   Prepare variance analysis between internal 2.24.23 report and 3.5.23
                                           presentation model
Vinny Rajasekhar        3/8/2023     2.1   Prepare presentation model for 3.5.23 data and related feedback


Vinny Rajasekhar        3/8/2023     0.2   Call with W. Walker and V. Rajasekhar (A&M) regarding the coin
                                           report model



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Professional              Date     Hours     Activity
Vinny Rajasekhar        3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M), A. Holland
                                           (S&C), A. Istrefi (Sygnia) regarding exchange withdrawals
Vinny Rajasekhar        3/8/2023     0.4   Call with L. Lambert and V. Rajasekhar (A&M) regarding
                                           unauthorized transfers update for coin report
Vinny Rajasekhar        3/8/2023     0.4   Call with W. Walker and V. Rajasekhar (A&M) to discuss coin report
                                           presentation model
William Walker          3/8/2023     0.2   Call with W. Walker and V. Rajasekhar (A&M) regarding the coin
                                           report model
William Walker          3/8/2023     0.3   Call with W. Walker, V. Rajasekhar, A. Liv-Feyman (A&M), A. Holland
                                           (S&C), A. Istrefi (Sygnia) regarding exchange withdrawals
William Walker          3/8/2023     0.8   Call with W. Walker and V. Rajasekhar (A&M) regarding the coin
                                           report model
William Walker          3/8/2023     1.2   Review coin report model and highlight key points for internal team


William Walker          3/8/2023     1.1   Revise update comments to coin report bridge

William Walker          3/8/2023     0.4   Call with W. Walker and V. Rajasekhar (A&M) to discuss coin report
                                           presentation model
William Walker          3/8/2023     2.1   Review 3rd party exchange model

William Walker          3/8/2023     1.4   Review updated coin report bridge

Adam Titus              3/9/2023     1.1   Draft incentive plan materials, discuss with S. Coverick [A&M]


Adam Titus              3/9/2023     1.2   Analyze token schedule above $1M funded for error checking,
                                           reviewing status and ensuring fields are properly updated
Adam Titus              3/9/2023     0.7   Draft email correspondence to update team on Next Steps for Ledger
                                           Prime and schedule follow up meeting
Adam Titus              3/9/2023     0.9   Review schedule F of unfunded commitments compare to investment
                                           tracker
Adam Titus              3/9/2023     2.1   Provide updated materials for BOD meeting on LedgerPrime


Adam Titus              3/9/2023     1.2   Venture team BOD meeting to discuss Venture positions and latest
                                           sale process updates + Ledger Prime M. Rahmani [PWP], S.
                                           Glustein [A&M]
Adam Titus              3/9/2023     0.4   Email correspondence with Token issuer to gather information for
                                           distribution request
Adam Titus              3/9/2023     1.6   Review and draft PMO slides begin update process for this week's
                                           latest process materials and situation alternatives
Alec Liv-Feyman         3/9/2023     1.7   Analyze ventures contracts to begin developing scheduled reports

Alec Liv-Feyman         3/9/2023     1.3   Call with S. Glustein, L. Clayton, A. Liv-Feyman (A&M) re: Investment
                                           tracking model and diligence
Anan Sivapalu           3/9/2023     1.6   Build out intercompany account level payable summary in excel for
                                           presentation


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Professional             Date     Hours     Activity
Anan Sivapalu          3/9/2023     1.3   Build out intercompany legal entity payable summary table in excel
                                          for review
Anan Sivapalu          3/9/2023     1.8   Build out intercompany account level receivable summary in excel for
                                          presentation
Anan Sivapalu          3/9/2023     0.7   Preliminary analysis of movement of funds between FTX entities

Anan Sivapalu          3/9/2023     0.4   Build out intercompany legal entity net transfers summary table in
                                          excel for review
Anan Sivapalu          3/9/2023     1.6   Review TRM variance analysis to provide feedback to TRM personnel


Anan Sivapalu          3/9/2023     2.2   Review intercompany data provided previously to build out model

Anan Sivapalu          3/9/2023     0.6   Call with TRM Labs, A. Sivapalu, G. Walia (A&M) to review hot wallet
                                          balances
Anan Sivapalu          3/9/2023     1.0   Build out intercompany legal entity receivable summary table in excel
                                          for review
Anan Sivapalu          3/9/2023     0.4   Run crypto wallet process to update tracking dashboard


Bridger Tenney         3/9/2023     0.9   Compile time detail to be used in resource costing model

Bridger Tenney         3/9/2023     1.1   Audit staffing model time detail

Bridger Tenney         3/9/2023     0.5   Update entries in resource model for all workstreams


David Nizhner          3/9/2023     2.4   Revise customer withdrawal memo to track process for WRS
                                          withdrawals
David Nizhner          3/9/2023     2.9   Review customer withdrawal validation process


David Nizhner          3/9/2023     2.7   Revise customer withdrawal memo to track process for Dotcom
                                          withdrawals
Gaurav Walia           3/9/2023     2.2   Review the TRM hot wallet variance analysis


Gaurav Walia           3/9/2023     1.6   Discussion with G. Walia, V. Rajasekhar (A&M) regarding TRM
                                          variance analysis and search
Gaurav Walia           3/9/2023     0.6   Call with TRM Labs, A. Sivapalu, G. Walia (A&M) to review hot wallet
                                          balances
Gaurav Walia           3/9/2023     0.7   Call with N. Aragam, N. Molina, P. Lee (FTX), L. Konig, P. Kwan, G.
                                          Walia, R. Johnson (A&M) to discuss customer account balances
                                          reconciliation
Gioele Balmelli        3/9/2023     1.4   Correspondence on FTX EU Ltd trades and balances

Gioele Balmelli        3/9/2023     0.9   Correspondence on bank account balances

Gioele Balmelli        3/9/2023     0.9   Call with K. Ramanathan, P. Kwan, L. Iwanski, D. Johnston, G.
                                          Balmelli (A&M), O. de Vito Piscicelli, T. Hill (S&C), P. Gruhn (FTX) on
                                          FTX EU Calculation of balances

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Professional               Date     Hours     Activity
Henry Chambers           3/9/2023     1.0   Call with S. Melamed, J. Masters, K. Takahashi, R. Fung, K.
                                            Nakamura (FTX) regarding FTX Japan operations
Henry Chambers           3/9/2023     1.4   Perform analysis re FTX Japan withdrawals to data and associated
                                            pricing
Igor Radwanski           3/9/2023     2.2   Analyze deposit activity regarding specific token request

Jack Yan                 3/9/2023     1.7   Perform daily monitoring of FTX Japan crypto asset balances

Jack Yan                 3/9/2023     2.2   Perform weekly review of segregated asset wallets held by FTX
                                            Japan
Jack Yan                 3/9/2023     3.1   Review adjusted crypto balance for XRP

James Lam                3/9/2023     1.5   Update the Quoine PTE and FTX Japan wallet and transaction
                                            information for the crypto tracker
James Lam                3/9/2023     0.8   Review crypto balances and transaction of FTX Japan withdrawal
                                            wallet groups
James Lam                3/9/2023     0.6   Review the supporting documentation for reverted JPY withdrawals


Jon Chan                 3/9/2023     1.4   Investigate fiat tables in the database to assist transaction tracking
                                            activities
Jon Chan                 3/9/2023     2.9   Provide updated logic for withdrawals and deposits for fiat tracing

Kevin Baker              3/9/2023     1.1   Provide counsel with initial listing of production requests that were
                                            affected by re-calculation of user balances
Kevin Baker              3/9/2023     2.7   Provide initial findings and reporting on user accounts associated to
                                            the re-calculation of user balances
Kumanan Ramanathan       3/9/2023     0.9   Call with K. Ramanathan, P. Kwan, L. Iwanski, G. Balmelli (A&M), O.
                                            de Vito Piscicelli, T. Hill (S&C), P. Gruhn (FTX) on FTX EU
                                            Calculation of balances
Kumanan Ramanathan       3/9/2023     1.3   Review crypto coin report and provide amendments


Lance Clayton            3/9/2023     1.3   Call with S. Glustein, L. Clayton, A. Liv-Feyman (A&M) re: Investment
                                            tracking model and diligence
Lance Clayton            3/9/2023     1.2   Prepare bridge for new inputs in investment tracker


Lance Clayton            3/9/2023     1.4   Prepare gameplan for Alameda investment workstream and discuss
                                            with internal team
Lance Clayton            3/9/2023     0.8   Review necessary documents to prepare for upcoming investment
                                            calls
Lance Clayton            3/9/2023     0.6   Update diligence tracker for inbound communication

Lance Clayton            3/9/2023     0.8   Review Alameda investment's communication and store in database

Lance Clayton            3/9/2023     3.1   Prepare additional tear sheets for Alameda investments




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Professional               Date     Hours     Activity
Larry Iwanski            3/9/2023     0.9   Call with K. Ramanathan, P. Kwan, L. Iwanski, G. Balmelli (A&M), O.
                                            de Vito Piscicelli, T. Hill (S&C), P. Gruhn (FTX) on FTX EU
                                            Calculation of balances
Louis Konig              3/9/2023     1.2   Database scripting related to reconciliation between spot borrow
                                            components and calculated balances
Louis Konig              3/9/2023     1.5   Database scripting related to reconciliation between spot lend
                                            components and calculated balances
Louis Konig              3/9/2023     1.0   Database scripting related to reconciliation between referral rebate
                                            components and calculated balances
Louis Konig              3/9/2023     1.6   Quality control and review of outputs related to reconciliation
                                            between options components and calculated balances
Louis Konig              3/9/2023     1.1   Database scripting related to reconciliation between redemption
                                            components and calculated balances
Louis Konig              3/9/2023     1.7   Quality control and review of outputs related to reconciliation
                                            between referral rebate components and calculated balances
Louis Konig              3/9/2023     0.7   Call with N. Aragam, N. Molina, P. Lee (FTX), L. Konig, P. Kwan, G.
                                            Walia, R. Johnson (A&M) to discuss customer account balances
                                            reconciliation
Louis Konig              3/9/2023     0.9   Quality control and review of outputs related to reconciliation
                                            between redemption components and calculated balances
Louis Konig              3/9/2023     0.9   Quality control and review of outputs related to reconciliation
                                            between spot borrow components and calculated balances
Manasa Sunkara           3/9/2023     1.3   Query the database and provide withdrawals and fills data pertaining
                                            to an Alameda account during a certain time period
Manasa Sunkara           3/9/2023     0.8   Provide all available balances as of the petition date for each account
                                            that returned in the wild card search across both platforms
Peter Kwan               3/9/2023     0.9   Call with K. Ramanathan, P. Kwan, L. Iwanski, G. Balmelli (A&M), O.
                                            de Vito Piscicelli, T. Hill (S&C), P. Gruhn (FTX) on FTX EU
                                            Calculation of balances
Peter Kwan               3/9/2023     0.7   Call with N. Aragam, N. Molina, P. Lee (FTX), L. Konig, P. Kwan, G.
                                            Walia, R. Johnson (A&M) to discuss customer account balances
                                            reconciliation
Peter Kwan               3/9/2023     0.8   FTX EU Balances Review and highlight key issues for internal team

Peter Kwan               3/9/2023     2.8   FTX EU Balances Recalculation and Validation


Quinn Lowdermilk         3/9/2023     2.4   Analyze counterparty information for the source of funds

Robert Johnson           3/9/2023     0.7   Call with N. Aragam, N. Molina, P. Lee (FTX), L. Konig, P. Kwan, G.
                                            Walia, R. Johnson (A&M) to discuss customer account balances
                                            reconciliation
Steven Glustein          3/9/2023     2.3   Draft token release dashboard relating to token venture investments


Steven Glustein          3/9/2023     1.3   Call with S. Glustein, L. Clayton, A. Liv-Feyman (A&M) re: Investment
                                            tracking model and diligence
Steven Glustein          3/9/2023     0.4   Research Relativity regarding legal documents relating to
                                            LedgerPrime

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Professional               Date     Hours     Activity
Steven Glustein          3/9/2023     0.6   Call with K. Flinn and M. Rahmani (PWP) relating to venture update
                                            slides for venture board discussion
Steven Glustein          3/9/2023     1.4   Update fund investments summary relating to SOFA and Statements


Steven Glustein          3/9/2023     0.6   Draft and send contact update letter relating to venture investments

Steven Glustein          3/9/2023     1.6   Update token release schedule relating to token venture investments

Summer Li                3/9/2023     0.2   Check and confirm the book keeper of FTX Japan entities as at the
                                            petition date
Vinny Rajasekhar         3/9/2023     1.6   Discussion with G. Walia, V. Rajasekhar (A&M) regarding TRM
                                            variance analysis and search
Vinny Rajasekhar         3/9/2023     2.7   Identify token naming differences between TRM data and crypto
                                            model
Vinny Rajasekhar         3/9/2023     2.7   Research variances between TRM data and crypto model sources for
                                            US silo
Vinny Rajasekhar         3/9/2023     3.1   Identify silo variances between TRM and crypto model for US and
                                            COM
Vinny Rajasekhar         3/9/2023     3.1   Address feedback on crypto model and investigate variance drivers

William Walker           3/9/2023     1.5   Create graphics to supplement coin report

William Walker           3/9/2023     1.1   Review updated turn of coin report


William Walker           3/9/2023     1.9   Make revisions to coin report model

William Walker           3/9/2023     2.6   Prepare variance model for analyzing changes in coin report versions


William Walker           3/9/2023     0.4   Review withdrawal authority notification

Adam Titus              3/10/2023     0.5   Draft email response to senior leadership team regarding Ledger
                                            Prime materials
Adam Titus              3/10/2023     2.4   Ledger Prime update materials post BOD meeting, discussing next
                                            steps
Adam Titus              3/10/2023     1.4   Update PMO materials and provide edits to key schedules for token
                                            and venture investments
Adam Titus              3/10/2023     1.2   Draft schedules for token schedule and dashboard summary for
                                            review within PMO materials
Adam Titus              3/10/2023     1.9   Update materials related to CRO incentive plan, new schedules and
                                            data regarding latest estimates. Update from internal team comments
                                            S. Coverick [A&M]
Adam Titus              3/10/2023     1.9   Draft response to deregulation from K. Dennison [A&M], email
                                            Ledger Prime CIO and provide summary of findings
Adam Titus              3/10/2023     1.8   Process update materials for Ledger Prime update materials post
                                            BOD meeting, discussing next steps


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Financial Analysis
Professional                Date     Hours     Activity
Alec Liv-Feyman          3/10/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto tokens
                                             tracker timeline updates
Anan Sivapalu            3/10/2023     1.4   Write SQL code to detect duplicate entries within the A&M silo map
                                             data
Anan Sivapalu            3/10/2023     1.3   Upload the new wallet address mapping file into database

Anan Sivapalu            3/10/2023     0.4   Run crypto wallet process to update tracking dashboard

Anan Sivapalu            3/10/2023     1.3   Build out intercompany account level net transfers summary in excel
                                             for presentation
Anan Sivapalu            3/10/2023     2.3   Rebuild SQL logic within database views to reflect new mapping and
                                             Solana data
Anan Sivapalu            3/10/2023     1.1   Build out intercompany account level payable summary in excel for
                                             presentation
Anan Sivapalu            3/10/2023     2.3   Modify map data within the database to correct double counting error
                                             with source file provided by TRM
Anan Sivapalu            3/10/2023     0.8   Call with A. Sivapalu, V. Rajasekhar, and G. Walia (A&M) regarding
                                             TRM variance and updates to variance analysis
Anan Sivapalu            3/10/2023     1.6   Rebuild data model for TRM PowerBI dashboard to reflect new
                                             structure of data
Anan Sivapalu            3/10/2023     0.6   Review new wallet address mapping file from TRM

Anan Sivapalu            3/10/2023     1.9   Troubleshoot error with uploading new wallet address mapping in the
                                             database
Brett Bammert            3/10/2023     1.6   Create Target searches for review team based upon variation on
                                             phrases extracted from reports
Bridger Tenney           3/10/2023     0.7   Add new time detail to master resource model


Bridger Tenney           3/10/2023     0.6   Update staffing model with new time entries

David Johnston           3/10/2023     0.9   Call with D, Johnston and G. Balmelli (A&M) on FTX Europe options


David Johnston           3/10/2023     0.6   Review analysis related to FTX EU Ltd customer balances

David Nizhner            3/10/2023     0.4   Review February fee app model for new revisions

David Nizhner            3/10/2023     1.2   Correspond with internal team regarding customer withdrawal memo
                                             update
David Nizhner            3/10/2023     0.8   Coordinate with internal team regarding customer withdrawal server
                                             access
David Nizhner            3/10/2023     1.2   Professional workstream rationalization model update


Erik Taraba              3/10/2023     1.8   Review and conduct additional analysis on project resource
                                             allocation model




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Financial Analysis
Professional                Date     Hours     Activity
Gaurav Walia             3/10/2023     1.4   Review list of all deposits and withdrawals by customer against the
                                             market maker list
Gaurav Walia             3/10/2023     0.8   Call with A. Sivapalu, V. Rajasekhar, and G. Walia (A&M) regarding
                                             TRM variance and updates to variance analysis
Gioele Balmelli          3/10/2023     0.9   Call with D, Johnston and G. Balmelli (A&M) on FTX Europe options

Gioele Balmelli          3/10/2023     1.6   Call with G. Balmelli (A&M), J. Bavaud (FTX) and A. Rana (Mazars)
                                             on FTX Europe AG year end financials preparation
Henry Chambers           3/10/2023     0.6   Attend to withdrawal of Alameda funds from FTX Japan


Jack Yan                 3/10/2023     2.3   Perform weekly review of segregated asset wallets held by FTX
                                             Japan
Jack Yan                 3/10/2023     1.3   Perform daily monitoring of FTX Japan crypto asset balances


Jack Yan                 3/10/2023     1.4   Review the reverted Japanese Yen withdrawal of FTX Japan

Jon Chan                 3/10/2023     0.1   Call with J. Chan, Q. Lowdermilk, A. Heric, M. Rodriguez, and M.
                                             Sunkara (A&M) to discuss data request for withdrawals and fills data
Jon Chan                 3/10/2023     3.1   Investigate withdrawal and deposit history and provide summary
                                             information
Jon Chan                 3/10/2023     2.8   Investigate accounts on the platform and provide withdrawals

Jon Chan                 3/10/2023     2.6   Provide additional exports including a year of activity for withdrawals
                                             and deposits for accounts
Lance Clayton            3/10/2023     0.9   Update diligence tracker for inbound communication

Lance Clayton            3/10/2023     1.4   Prepare updates to investment tracking model to incorporate
                                             additional updates
Lance Clayton            3/10/2023     0.7   Review Alameda investment's communication and store in database

Lance Clayton            3/10/2023     2.7   Update resource allocation model support tabs


Lance Clayton            3/10/2023     2.9   Prepare additional tear sheets for Alameda investments

Lance Clayton            3/10/2023     1.8   Final detailed project plan review before sending to leadership for
                                             additional review
Leslie Lambert           3/10/2023     0.6   Quality control review of deposit and withdrawal activity for specific
                                             account of interest
Louis Konig              3/10/2023     1.1   Database scripting related to reconciliation between spot trade
                                             components and calculated balances
Louis Konig              3/10/2023     1.5   Quality control and review of outputs related to reconciliation
                                             between spot trade components and calculated balances
Louis Konig              3/10/2023     1.3   Database scripting related to reconciliation between transfer
                                             components and calculated balances




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Financial Analysis
Professional                Date     Hours     Activity
Louis Konig              3/10/2023     1.6   Quality control and review of outputs related to reconciliation
                                             between spot lend components and calculated balances
Louis Konig              3/10/2023     1.7   Quality control and review of outputs related to reconciliation
                                             between transfer components and calculated balances
Manasa Sunkara           3/10/2023     1.2   Query the database to check for a wallet address and provide their
                                             account profiles along with their withdrawal history
Manasa Sunkara           3/10/2023     0.1   Call with J. Chan, Q. Lowdermilk, A. Heric, M. Rodriguez, and M.
                                             Sunkara (A&M) to discuss data request for withdrawals and fills data
Mariah Rodriguez         3/10/2023     0.1   Call with J. Chan, Q. Lowdermilk, A. Heric, M. Rodriguez, and M.
                                             Sunkara (A&M) to discuss data request for withdrawals and fills data
Matthew Warren           3/10/2023     1.1   Further research of flow of funds and that information regarding new
                                             request
Peter Kwan               3/10/2023     0.3   FTX EU Balances Review and highlight key issues for internal team


Peter Kwan               3/10/2023     0.8   FTX EU Data Extracts for Analysis Support

Peter Kwan               3/10/2023     2.1   FTX EU Balances Recalculation and Validation


Quinn Lowdermilk         3/10/2023     1.8   Calculate net position for deposits and withdrawals

Steven Glustein          3/10/2023     1.2   Update dashboard relating to token release schedule

Steven Glustein          3/10/2023     1.1   Draft PMO meeting slides relating to venture investment update


Steven Glustein          3/10/2023     0.5   Update summary of outstanding Assets to be Transferred relating to
                                             LedgerPrime
Steven Glustein          3/10/2023     0.6   Update investment master tracker relating to investment classification
                                             type
Steven Glustein          3/10/2023     0.2   Update working group listing relating to venture investment team

Steven Glustein          3/10/2023     0.3   Correspondence with S. Tang (LedgerPrime) relating to outstanding
                                             assets to be transferred to Alameda
Steven Glustein          3/10/2023     0.8   Prepare summary of outstanding Assets to be Transferred relating to
                                             LedgerPrime
Steven Glustein          3/10/2023     2.1   Draft PMO meeting slides relating to updated token dashboard
                                             analysis
Steven Glustein          3/10/2023     2.1   Review token release schedule relating to token vesting period data


Summer Li                3/10/2023     1.1   Understand the fund flow of for a transaction of Quoine Pte

Vinny Rajasekhar         3/10/2023     2.6   Prepare distribution excel model for 3.5.23 coin report


Vinny Rajasekhar         3/10/2023     0.4   Call with W. Walker, V. Rajasekhar (A&M) regarding coin report
                                             updates and feedback




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Financial Analysis
Professional                Date     Hours     Activity
Vinny Rajasekhar         3/10/2023     0.8   Call with A. Sivapalu, V. Rajasekhar, and G. Walia (A&M) regarding
                                             TRM variance and updates to variance analysis
Vinny Rajasekhar         3/10/2023     1.4   Update TRM variance for description of drivers for token level
                                             variances in US
Vinny Rajasekhar         3/10/2023     2.7   Update TRM variance for description of drivers for token level
                                             variances in COM
William Walker           3/10/2023     0.4   Call with W. Walker, V. Rajasekhar (A&M) regarding coin report
                                             updates and feedback
William Walker           3/10/2023     0.9   Review coin report and highlight key points for internal team


William Walker           3/10/2023     1.4   Review coin report variance analysis

William Walker           3/10/2023     1.4   Reconcile NFT database and notify A&M team of key differences


Anan Sivapalu            3/11/2023     1.4   Delete corrupted data model and rebuild new and deploy to database

Anan Sivapalu            3/11/2023     2.5   Troubleshoot error with process to eliminate duplicate entries


Erik Taraba              3/11/2023     1.2   Update resource allocation schedules with additional data requested
                                             by management
Erik Taraba              3/11/2023     0.8   Conduct outreach to gather additional data re: resource allocation
                                             analysis
Erik Taraba              3/11/2023     0.5   Consolidate and import latest data into resource allocation model


Erik Taraba              3/11/2023     2.7   Conduct resource allocation analysis and update output schedules
                                             for future discussion
Gaurav Walia             3/11/2023     2.8   Prepare the initial analysis of the Alameda account shortfall


Jack Yan                 3/11/2023     1.5   Perform daily monitoring of FTX Japan crypto asset balances

Kevin Baker              3/11/2023     0.5   Call with M. Flynn, K. Baker (A&M) to discuss withdrawals request


Kumanan Ramanathan       3/11/2023     0.9   Correspondence with L. Abendschein (Coinbase) to discuss prime
                                             brokerage contract changes
Lance Clayton            3/11/2023     0.6   Review Alameda investment's communication and store in database

Lance Clayton            3/11/2023     3.1   Prepare additional tear sheets for Alameda investments


Lance Clayton            3/11/2023     0.5   Update diligence tracker for inbound communication

Louis Konig              3/11/2023     1.5   Database scripting related to reconciliation between withdrawal
                                             components and calculated balances
Louis Konig              3/11/2023     1.7   Quality control and review of outputs related to reconciliation
                                             between withdrawal components and calculated balances




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Financial Analysis
Professional               Date     Hours     Activity
Manasa Sunkara          3/11/2023     0.4   Search the SQL database for a transaction and confirm the user
                                            associated with the address that funds were deposited to for S&C
Manasa Sunkara          3/11/2023     1.4   Query and extract the users' account details, deposits, withdrawals,
                                            transfers, KYC and balance data
Matthew Flynn           3/11/2023     0.5   Call with M. Flynn, K. Baker (A&M) to discuss withdrawals request

Peter Kwan              3/11/2023     0.5   FTX EU Data Extracts for Analysis Support

Steven Glustein         3/11/2023     0.7   Research Relativity relating for executed legal documents relating to
                                            equity venture investment
Steven Glustein         3/11/2023     0.6   Review updated redacted investment listing relating to SOFA and
                                            schedules
Adam Titus              3/12/2023     0.3   Respond to emails related to Ledger Prime CIO and payments for
                                            latest invoices
Adam Titus              3/12/2023     0.4   Review deregulation correspondence information for Ledger Prime
                                            and schedule follow up call with K Dennison [A&M]
Adam Titus              3/12/2023     1.2   Update agenda and writeup for internal update call, latest thinking
                                            estimates for token and venture investment disbursements and timing
Bridger Tenney          3/12/2023     0.7   Prepare time detail analysis in resource costing model

Bridger Tenney          3/12/2023     1.0   Update entry detail in resource model

David Slay              3/12/2023     1.3   Update Invoice model and PMO with comments from S. Coverick & J.
                                            Cooper (A&M)
Gaurav Walia            3/12/2023     2.2   Prepare the withdrawal and deposits analysis for the Alameda .COM
                                            accounts
Lance Clayton           3/12/2023     0.2   Update diligence tracker for inbound communication


Lance Clayton           3/12/2023     1.2   Updates to the investment tracker to consolidate work to ensure
                                            compatibility
Lance Clayton           3/12/2023     3.1   Detailed review of monthly data inputs for resource model


Lance Clayton           3/12/2023     3.3   Prepare additional tear sheets for Alameda investments

Lance Clayton           3/12/2023     0.3   Review Alameda investment's communication and store in database

Lance Clayton           3/12/2023     0.8   Audit monthly entries for the resource tracking model


Matthew Flynn           3/12/2023     0.6   Update for withdrawal presentation comments

Peter Kwan              3/12/2023     0.3   FTX EU Data Extracts for Analysis Support


Peter Kwan              3/12/2023     1.2   Analyze a subset of the Revised FTX EU Limited Balances for
                                            validation against recalculated FTX.com balances (for EU users)




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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/12/2023     0.5   FTX EU Balances Recalculation and Validation

Robert Gordon           3/12/2023     0.8   Comment on financial controls document for team to review


Steven Glustein         3/12/2023     0.5   Update token investment presentation slide relating to PMO deck

Steven Glustein         3/12/2023     0.9   Reconcile investment tracker re: SOFA and schedules

Steven Glustein         3/12/2023     0.4   Draft weekly update email relating to prior weeks tasks completed


Steven Glustein         3/12/2023     0.9   Update investment master tracker relating to summary of investments
                                            by legal entity
Steven Glustein         3/12/2023     0.4   Draft and send contact update letter relating to venture investments


Steven Glustein         3/12/2023     1.2   Prepare draft investment tracker for PWP/S&C relating to recently
                                            identified investments
Adam Titus              3/13/2023     1.1   Prepare for and attend call with K. Dennison and A. Titus (A&M) and
                                            S. Tang (LedgerPrime) regarding wind-down options for Cayman
                                            master Fund
Adam Titus              3/13/2023     1.2   Work to transfer assets of Ledger Prime to Coinbase account, ensure
                                            wallet and transfer details are correct with crypto team
Adam Titus              3/13/2023     1.2   Trace and track value of crypto sent versus what was in portfolio,
                                            provide summary schedule
Adam Titus              3/13/2023     1.9   Review Token release schedule and dashboard summary, provide
                                            data set granularity to the summary schedules and ensure / review
                                            for accuracy
Adam Titus              3/13/2023     0.9   Respond to questions related to specific investment details and work
                                            to answer through review of agreements
Adam Titus              3/13/2023     1.2   Respond to questions related to specific investment details and work
                                            to answer through review of agreements
Adam Titus              3/13/2023     0.4   Confirm schedule with CIO of Ledger Prime, update based on details
                                            provided
Adam Titus              3/13/2023     0.6   Email correspondence and follow up to various token investment to
                                            seek latest status of releases and distributions of investment tokens
Adam Titus              3/13/2023     0.5   Email correspondence and follow up to various token investment to
                                            seek latest status of releases and distributions of investment tokens
Adam Titus              3/13/2023     0.5   Review LOI and proposal information for Ledger Prime and schedule
                                            follow up call with S. Tang [Ledger prime]
Adam Titus              3/13/2023     0.5   Call with A. Titus and S. Glustein (A&M) re: LedgerPrime relating to
                                            de-registration options
Adam Titus              3/13/2023     0.7   Discuss deregulation correspondence information for Ledger Prime
                                            with S. Tang [Ledger prime]
Alec Liv-Feyman         3/13/2023     2.0   Update token tracker sets 41-50 to determine agreement information
                                            regarding vesting schedules
Alec Liv-Feyman         3/13/2023     1.8   Update token tracker sets 11-20 to determine agreement information
                                            regarding vesting schedules

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Professional             Date     Hours     Activity
Alec Liv-Feyman       3/13/2023     2.1   Update token tracker sets 1-10 to determine agreement information
                                          regarding vesting schedules
Alec Liv-Feyman       3/13/2023     2.3   Review third party website to determine token generation dates for
                                          analysis
Alec Liv-Feyman       3/13/2023     1.0   Working session with S. Glustein, A. Liv-Feyman (A&M) regarding
                                          crypto tokens tracker analysis updates
Alec Liv-Feyman       3/13/2023     1.5   Update token tracker sets 21-30 to determine agreement information
                                          regarding vesting schedules
Alec Liv-Feyman       3/13/2023     1.3   Update token tracker sets 31-40 to determine agreement information
                                          regarding vesting schedules
Alec Liv-Feyman       3/13/2023     0.6   Review investments tracker to update contact information for new
                                          venture agreements
Alec Liv-Feyman       3/13/2023     2.4   Review third party website to determine pricing, market cap, total
                                          token supplies of ventures
Alessandro Farsaci    3/13/2023     0.8   Call with A. Farsaci, G. Balmelli (A&M) T. Luginbühl, E. Müller (L&S)
                                          regarding FTX Europe options
Anan Sivapalu         3/13/2023     0.5   Run daily process to update crypto wallets being tracked


Anan Sivapalu         3/13/2023     1.7   Rebuild TRM data model by downloading new data into SQL Server
                                          Analysis Services database
Anan Sivapalu         3/13/2023     2.5   Write SQL script to make update to Solana wallet groups and silo
                                          maps
Anan Sivapalu         3/13/2023     2.6   Troubleshoot error with data model with respect to TRM data


Anan Sivapalu         3/13/2023     0.8   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                          the latest TRM hot wallet variance analysis
Anan Sivapalu         3/13/2023     0.4   Update pricing data from Yahoo finance and rebuild pricing data
                                          model to reflect new weekly data
Anan Sivapalu         3/13/2023     2.4   Deploy and test new TRM data model to SSAS cube and apply
                                          changes to dashboard
Bridger Tenney        3/13/2023     0.9   Review time detail for resource model


Bridger Tenney        3/13/2023     1.1   Audit February entries in resource model

Bridger Tenney        3/13/2023     0.7   Update time code formulas in resource costing model

Bridger Tenney        3/13/2023     1.3   Review updates to resource staffing model


Bridger Tenney        3/13/2023     0.8   Update resource model with latest entries

Bridger Tenney        3/13/2023     0.8   Prepare time summary for staffing model


David Johnston        3/13/2023     0.8   Call with A. Farsaci, D. Johnston, G. Balmelli (A&M), T. Luginbühl, E.
                                          Müller (L&S), J. Bavaud, R. Matzke (FTX), E. Simpson and others
                                          (S&C) regarding FTX Europe options


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Professional                 Date     Hours     Activity
David Nizhner             3/13/2023     1.4   Create bridge with sample withdrawals

David Nizhner             3/13/2023     2.4   Make a bridge to September withdrawal / deposits


David Nizhner             3/13/2023     0.4   Call with G. Walia, D. Nizhner (A&M) re: Dotcom balance analysis

David Nizhner             3/13/2023     0.8   Call with G. Walia, E. Hoffer, D. Nizhner (A&M) re: Dotcom
                                              withdrawal reconciliation
David Nizhner             3/13/2023     2.2   Validate Dotcom bank withdrawals within consolidated database


David Nizhner             3/13/2023     1.9   Confirm Dotcom bank deposits within consolidated bank database

Emily Hoffer              3/13/2023     0.8   Call with G. Walia, E. Hoffer, D. Nizhner (A&M) re: Dotcom
                                              withdrawal reconciliation
Erik Taraba               3/13/2023     2.7   Refine resource allocation analysis with updated assumptions

Gaurav Walia              3/13/2023     0.4   Call with G. Walia, D. Nizhner (A&M) regarding Dotcom balance
                                              analysis
Gaurav Walia              3/13/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                              and P. Lee (FTX) to discuss customer balances
Gaurav Walia              3/13/2023     1.2   Prepare summary of all .COM account balances

Gaurav Walia              3/13/2023     0.8   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                              the latest TRM hot wallet variance analysis
Gaurav Walia              3/13/2023     0.8   Call with G. Walia, E. Hoffer, D. Nizhner (A&M) regarding Dotcom
                                              withdrawal reconciliation
Gaurav Walia              3/13/2023     1.1   Prepare a summary of historical deposits and withdrawals


Gaurav Walia              3/13/2023     0.4   Call with G. Walia, L. Konig (A&M) to discuss all available deposit
                                              and withdrawal activity
Gioele Balmelli           3/13/2023     0.8   Call with A. Farsaci, G. Balmelli (A&M) T. Luginbühl, E. Müller (L&S)
                                              regarding FTX Europe options
Gioele Balmelli           3/13/2023     1.9   Analysis of Stablecoins transactions communicated to FTX Europe
                                              AG CFO
Gioele Balmelli           3/13/2023     0.9   Call with G. Balmelli (A&M), J. Bavaud (FTX) and A. Rana (Mazars)
                                              on FTX Europe AG year end financials preparation
Igor Radwanski            3/13/2023     0.9   Call with L. Lambert, I. Radwanski, and M. Warren (A&M) regarding
                                              updates to flow of funds request and next steps
Jack Yan                  3/13/2023     2.9   Perform daily monitoring of FTX Japan crypto asset balances

Jack Yan                  3/13/2023     0.4   Perform weekly monitoring of the BCH wallet held by FTX Japan


James Lam                 3/13/2023     2.0   Update Quoine PTE and FTX Japan crypto balance tracker for the
                                              crypto model




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Professional                Date     Hours     Activity
James Lam                3/13/2023     1.4   Review FTX Japan customer withdrawal report and request for
                                             further data and information
Kevin Baker              3/13/2023     2.1   Report summary fiat deposits and withdrawals since inception of
                                             exchange
Kumanan Ramanathan       3/13/2023     0.6   Correspond with Coinbase to enable fiat withdrawals

Lance Clayton            3/13/2023     0.9   Prepare updates to investment tracking model to incorporate
                                             additional updates
Lance Clayton            3/13/2023     0.6   Update diligence tracker for inbound communication


Lance Clayton            3/13/2023     0.4   Review Alameda investment's communication and store in database

Lance Clayton            3/13/2023     0.7   Update interim Fee application draft based on feedback from
                                             leadership
Lance Clayton            3/13/2023     2.4   Search relativity for relevant documents and organize on box re:
                                             Alameda Investments
Lance Clayton            3/13/2023     2.6   Prepare additional tear sheets for Alameda investments


Lance Clayton            3/13/2023     1.5   Update stagnate One pagers with recent events

Lance Clayton            3/13/2023     0.3   Call with S. Glustein and L. Clayton (A&M) re: Investment tracker
                                             updates and relativity search
Lance Clayton            3/13/2023     1.2   Populate and review monthly inputs and update drivers re: resource
                                             model
Leslie Lambert           3/13/2023     0.9   Call with L. Lambert, I. Radwanski, and M. Warren (A&M) regarding
                                             updates to flow of funds request and next steps
Louis Konig              3/13/2023     0.8   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/13/2023     1.3   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/13/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss customer balances
Louis Konig              3/13/2023     0.4   Call with G. Walia, L. Konig (A&M) to discuss all available deposit
                                             and withdrawal activity
Louis Konig              3/13/2023     1.4   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/13/2023     1.3   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/13/2023     2.1   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/13/2023     0.4   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/13/2023     1.0   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances




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Financial Analysis
Professional               Date     Hours     Activity
Manasa Sunkara          3/13/2023     3.2   Create a summary analysis of all fiat withdrawal and deposit activity
                                            on both exchanges since inception by day and currency
Manasa Sunkara          3/13/2023     2.8   Provide an updated balances by account, subaccount and ticker for
                                            an additional user
Matthew Flynn           3/13/2023     0.6   Call with M. Flynn, V. Rajasekhar (A&M) to discuss stablecoin
                                            balances
Matthew Warren          3/13/2023     0.9   Call with L. Lambert, I. Radwanski, and M. Warren (A&M) regarding
                                            updates to flow of funds request and next steps
Peter Kwan              3/13/2023     1.1   FTX EU Balances Recalculation and Validation


Peter Kwan              3/13/2023     0.5   FTX EU Data Extracts for Analysis Support

Peter Kwan              3/13/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss customer balances
Peter Kwan              3/13/2023     0.3   Analyze Revised FTX EU Limited Balances for validation against
                                            recalculated FTX.com balances (for EU users)
Robert Gordon           3/13/2023     1.3   Read latest edits and comments on the financial controls
                                            memorandum
Robert Gordon           3/13/2023     0.8   Review FTX Europe options draft presentation for comments

Robert Johnson          3/13/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss customer balances
Steven Glustein         3/13/2023     0.3   Correspondence with K. Flinn (PWP) relating to venture fund
                                            investment updates
Steven Glustein         3/13/2023     2.8   Prepare reconciliation of funds received from wallets relating to
                                            LedgerPrime wind down
Steven Glustein         3/13/2023     0.5   Call with A. Titus and S. Glustein (A&M) re: LedgerPrime relating to
                                            de-registration options
Steven Glustein         3/13/2023     2.5   Draft and update diligence tracker relating to venture team open items

Steven Glustein         3/13/2023     1.1   Correspondence with S. Tang (LedgerPrime) relating to stablecoin
                                            held at LedgerPrime
Steven Glustein         3/13/2023     0.3   Call with S. Glustein and L. Clayton (A&M) re: Investment tracker
                                            updates and relativity search
Steven Glustein         3/13/2023     2.4   Review and provide comments on token receipt waterfall analysis
                                            relating to token investments
Steven Glustein         3/13/2023     1.0   Working session with S. Glustein, A. Liv-Feyman (A&M) regarding
                                            crypto tokens tracker analysis updates
Steven Glustein         3/13/2023     2.4   Review and provide comments on investment master tracker relating
                                            to cash receipt tracking
Vinny Rajasekhar        3/13/2023     2.1   Update crypto model for Singapore and Japan information


Vinny Rajasekhar        3/13/2023     0.6   Call with M. Flynn, V. Rajasekhar (A&M) to discuss stablecoin
                                            balances




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Financial Analysis
Professional               Date     Hours     Activity
Vinny Rajasekhar        3/13/2023     1.8   Update presentation model for changes to 3rd party exchange
                                            information
Vinny Rajasekhar        3/13/2023     1.7   Explain variance to TRM data for US legal entity


Vinny Rajasekhar        3/13/2023     0.4   Call with V. Rajasekhar, A. Sivapalu, and G. Walia (A&M) to review
                                            the latest TRM hot wallet variance analysis
Vinny Rajasekhar        3/13/2023     2.3   Explain variance to TRM data for COM legal entity

Adam Titus              3/14/2023     0.3   Call with F. Crocco (S&C) A. Titus, S. Glustein, (A&M) relating to
                                            Ledger Prime
Adam Titus              3/14/2023     0.9   Review and update CRO incentive materials based on latest thinking
                                            and comments received
Adam Titus              3/14/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and S&C re: Updates
                                            on Venture Investments
Adam Titus              3/14/2023     0.8   Call with A. Titus, S. Glustein, L. Clayton, K. Kearney (A&M) S&C,
                                            PWP, and Alameda Investment entity re: Entity outlook and options
                                            going forward
Adam Titus              3/14/2023     0.8   Weekly PMO update call M. Rahmani, [PWP], S. Coverick [A&M].
                                            Discuss latest workstream updates and process milestones
Adam Titus              3/14/2023     1.6   Confirm latest transfer schedule with CIO of Ledger Prime, update
                                            based on details provided
Adam Titus              3/14/2023     0.9   Correspondence with Alameda investment and fill in required
                                            documentation for release of tokens
Adam Titus              3/14/2023     0.5   Call with M. Rahman, K. Flinn (PWP), W. Cohen (Katten), A. Titus
                                            and S. Glustein (A&M) re: Ledger Prime bid submission
Adam Titus              3/14/2023     1.0   Review latest investment tracker and details for alignment on
                                            finalization of schedules
Adam Titus              3/14/2023     1.8   Update presentation materials for Ledger Prime for BOD requested
                                            meeting, request comments
Adam Titus              3/14/2023     1.2   Work to compile requested documentation for fund reconciliation and
                                            closing
Alec Liv-Feyman         3/14/2023     2.2   Review legal contracts for ventures to determine new items in token
                                            tracker
Alec Liv-Feyman         3/14/2023     2.5   Update investments tracker information on relevant crypto companies


Alec Liv-Feyman         3/14/2023     2.3   Review ICO drops to create generation dates from vesting schedule

Alec Liv-Feyman         3/14/2023     1.6   Update token tracker dashboard information to determine status of
                                            each venture agreement
Alec Liv-Feyman         3/14/2023     2.2   Review coin report holdings and determine variance from dashboard

Alec Liv-Feyman         3/14/2023     1.8   Review vesting schedule to confirm timing on new ventures that are
                                            upcoming
Alec Liv-Feyman         3/14/2023     2.4   Update investment contact information for investments tracker
                                            through third party website


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Financial Analysis
Professional                Date     Hours     Activity
Alessandro Farsaci       3/14/2023     0.8   Call with A. Farsaci, D. Johnston, G. Balmelli (A&M), T. Luginbühl, E.
                                             Müller (L&S), J. Bavaud, R. Matzke (FTX), E. Simpson and others
                                             (S&C) regarding FTX Europe options
Anan Sivapalu            3/14/2023     1.4   Troubleshoot error with upload of currency data into database

Anan Sivapalu            3/14/2023     1.4   Download weekly pricing data from Yahoo Finance for both crypto
                                             currency and fiat
Anan Sivapalu            3/14/2023     0.6   Transfer new intercompany data provided by data team into model

Anan Sivapalu            3/14/2023     0.9   Rearrange intercompany data sent over by data team to match
                                             existing model
Anan Sivapalu            3/14/2023     1.0   Run daily process to update crypto wallets and track error with data
                                             model
Anan Sivapalu            3/14/2023     0.6   Update and deploy pricing data model and refresh dashboard

Anan Sivapalu            3/14/2023     2.9   Write SQL query to update new Silo map for Solana groups


Anan Sivapalu            3/14/2023     2.0   Build and deploy TRM data model to SSAS cube using new silo
                                             mapping
Bridger Tenney           3/14/2023     0.7   Audit monthly entry inputs in allocation model


Bridger Tenney           3/14/2023     0.9   Review duplicate entries in resource model

Bridger Tenney           3/14/2023     1.0   Prepare summary of February time detail for staffing allocation model


Caoimhe Corr             3/14/2023     1.2   Review FTX Europe Options summary

David Johnston           3/14/2023     0.8   Call with A. Farsaci, D. Johnston, G. Balmelli (A&M), T. Luginbühl, E.
                                             Müller (L&S), J. Bavaud, R. Matzke (FTX), E. Simpson and others
                                             (S&C) regarding FTX Europe options
David Johnston           3/14/2023     2.7   Review and analyze European entities operations and historical
                                             activities
David Johnston           3/14/2023     2.9   Draft presentation materials relating to European entities operations

David Nizhner            3/14/2023     1.8   Create summary schedule to verify US withdrawals


David Nizhner            3/14/2023     2.8   Consolidate February submissions for staffing model

David Nizhner            3/14/2023     0.3   Call with G. Walia, D. Nizhner (A&M) re: Dotcom balance update

Erik Taraba              3/14/2023     0.3   Review feedback from counsel re: Interim Fee Application and
                                             incorporate into latest draft
Erik Taraba              3/14/2023     2.5   Review latest project planning analysis, incorporate updated
                                             assumptions and actuals to-date, and re-run analysis with associated
                                             outputs for management



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Professional                Date     Hours     Activity
Gaurav Walia             3/14/2023     0.9   Update the Alameda account balances for the latest revised data

Gaurav Walia             3/14/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balances
Gaurav Walia             3/14/2023     0.3   Call with G. Walia, D. Nizhner (A&M) regarding Dotcom balance
                                             update
Gaurav Walia             3/14/2023     0.8   Call with P. Kwan, R. Johnson, G. Walia (A&M) and J. Sardhina
                                             (FTX) to review deposits and withdrawals bank account detail extract
Gaurav Walia             3/14/2023     0.3   Call with V. Rajasekhar, G. Walia (A&M) to review the latest TRM hot
                                             wallet variance analysis
Gaurav Walia             3/14/2023     1.6   Review the TRM variance analysis and provide feedback

Gioele Balmelli          3/14/2023     1.8   Correspondence on FTX EU Ltd trades and balances


Gioele Balmelli          3/14/2023     2.2   Analysis of Stablecoins transactions communicated to FTX Europe
                                             AG CFO
Gioele Balmelli          3/14/2023     0.8   Call with A. Farsaci, D. Johnston, G. Balmelli (A&M), T. Luginbühl, E.
                                             Müller (L&S), J. Bavaud, R. Matzke (FTX), E. Simpson and others
                                             (S&C) regarding FTX Europe options
Heather Ardizzoni        3/14/2023     3.3   Draft multi-page financial reporting overview of controls and
                                             processes at various silos
Henry Chambers           3/14/2023     0.7   Consideration of go forward FTX Japan operations and associated
                                             infrastructure plans
Henry Chambers           3/14/2023     0.6   Analysis of and responding to queries on the FTX Japan daily key
                                             performance indicator report
Igor Radwanski           3/14/2023     1.8   Edit final deliverable regarding flow of funds request

Igor Radwanski           3/14/2023     2.1   Triage transfer details for specific deposit address

Jack Yan                 3/14/2023     1.0   Perform daily monitoring of FTX Japan crypto asset balances


James Lam                3/14/2023     0.9   Update FTX Japan crypto balance tracker for the crypto model

James Lam                3/14/2023     2.4   Update Quoine PTE and FTX Japan crypto balance tracker for the
                                             crypto model
James Lam                3/14/2023     2.3   Prepare a summary of FTX Japan customer withdrawals

James Lam                3/14/2023     1.1   Review the adjusted FTX Japan customer balances


Johnny Gonzalez          3/14/2023     0.7   Make revisions to the Interim Fee Application

Kevin Baker              3/14/2023     2.4   Investigate the balances of key individuals on the OKC exchange

Kevin Baker              3/14/2023     1.7   Investigate internal transfers, deposits and withdrawals for specific
                                             individuals related to TUR on the AWS exchange


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Financial Analysis
Professional                Date     Hours     Activity
Kevin Baker              3/14/2023     1.3   Investigate the activity around customer accounts relating to TRYB
                                             balances
Kevin Kearney            3/14/2023     0.8   Call with A. Titus, S. Glustein, L. Clayton, K. Kearney (A&M) S&C,
                                             PWP, and Alameda Investment entity re: Entity outlook and options
                                             going forward
Kumanan Ramanathan       3/14/2023     0.4   Review post-petition deposit analysis and distribute


Kumanan Ramanathan       3/14/2023     1.0   Prepare exchange shortfall table and distribute

Lance Clayton            3/14/2023     0.4   Update diligence tracker for inbound communication


Lance Clayton            3/14/2023     1.5   Prepare updates to investment tracking model to incorporate
                                             additional updates
Lance Clayton            3/14/2023     2.4   Search relativity for relevant documents and organize on box re:
                                             Alameda Investments
Lance Clayton            3/14/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and S&C re: Updates
                                             on Venture Investments
Lance Clayton            3/14/2023     2.4   Detail analysis of resource model and prepare feedback

Lance Clayton            3/14/2023     0.4   Call with S. Glustein, L. Clayton (A&M) and K. Flinn (PWP) re:
                                             Investment tracker updates and walkthrough
Lance Clayton            3/14/2023     0.8   Call with A. Titus, S. Glustein, L. Clayton, K. Kearney (A&M) S&C,
                                             PWP, and Alameda Investment entity re: Entity outlook and options
                                             going forward
Lance Clayton            3/14/2023     2.5   Prepare additional tear sheets for Alameda investments

Louis Konig              3/14/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balances
Louis Konig              3/14/2023     1.9   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/14/2023     1.5   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/14/2023     1.2   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/14/2023     1.3   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Manasa Sunkara           3/14/2023     2.2   Provide the user account details and balance information related to
                                             the holders of a certain coin type
Matthew Flynn            3/14/2023     0.4   Call with M. Flynn, V. Rajasekhar (A&M) to discuss stablecoin
                                             balances
Matthew Flynn            3/14/2023     1.3   Analyze customer TRYB account balance activity


Matthew Warren           3/14/2023     1.9   Provide assistance with flow of funds request to identify sources and
                                             uses of funds for Venture Team
Matthew Warren           3/14/2023     2.1   Develop structure for management presentation re: token tracing
                                             efforts

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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/14/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            N. Aragam, and P. Lee (FTX) to discuss customer balances
Peter Kwan              3/14/2023     2.1   FTX EU Data Extracts for Analysis Support


Peter Kwan              3/14/2023     0.3   Validate Revised FTX EU Limited Balances with recalculated
                                            FTX.com balances (for EU users)
Peter Kwan              3/14/2023     1.0   Call with P. Kwan, R. Johnson, G. Walia (A&M) and J. Sardhina
                                            (FTX) to review deposits and withdrawals bank account detail extract
Peter Kwan              3/14/2023     1.3   FTX EU Balances Recalculation and Validation


Quinn Lowdermilk        3/14/2023     2.1   Prepare analysis file with updated contract positions

Quinn Lowdermilk        3/14/2023     2.1   Analyze contract positions to determine net investment


Quinn Lowdermilk        3/14/2023     1.7   Research contract positions with token protocols

Robert Johnson          3/14/2023     0.7   Migration of Prime Trust balance data to summary table in staging on
                                            metabase
Robert Johnson          3/14/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            N. Aragam, and P. Lee (FTX) to discuss customer balances
Steven Glustein         3/14/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and S&C re: Updates
                                            on Venture Investments
Steven Glustein         3/14/2023     0.3   Correspondence with S. Tang (LedgerPrime) relating to return of
                                            funds from select LedgerPrime assets
Steven Glustein         3/14/2023     0.3   Call with F. Crocco (S&C) A. Titus, S. Glustein, (A&M) relating to
                                            LedgerPrime
Steven Glustein         3/14/2023     1.3   Review findings from crypto tracing team relating to token receipt
                                            transactions
Steven Glustein         3/14/2023     2.2   Review and respond to UCC request relating to select token venture
                                            investment
Steven Glustein         3/14/2023     1.7   Prepare summary of transferred crypto assets relating to LedgerPrime


Steven Glustein         3/14/2023     0.7   Review Relativity relating to venture token related schedules

Steven Glustein         3/14/2023     1.8   Update venture investment master tracker relating to recently
                                            identified updates
Steven Glustein         3/14/2023     2.3   Update token tracing schedule based on SAFT agreements


Steven Glustein         3/14/2023     0.8   Call with A. Titus, S. Glustein, L. Clayton, K. Kearney (A&M) S&C,
                                            PWP, and Alameda Investment entity re: Entity outlook and options
                                            going forward
Steven Glustein         3/14/2023     0.9   Prepare package of legal docs relating to select venture fund
                                            investments
Steven Glustein         3/14/2023     0.5   Call with M. Rahman, K. Flinn (PWP), W. Cohen (Katten), A. Titus
                                            and S. Glustein (A&M) re: LedgerPrime bid submission


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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/14/2023     0.3   Correspondence with legal counsel to investee company relating to
                                            venture investment legal documents
Steven Glustein         3/14/2023     0.4   Call with S. Glustein, L. Clayton (A&M) and K. Flinn (PWP) re:
                                            Investment tracker updates and walkthrough
Steven Glustein         3/14/2023     1.2   Prepare for call with PWP relating to investment master tracker

Vinny Rajasekhar        3/14/2023     2.8   Update 3rd party exchange model for new token visibility

Vinny Rajasekhar        3/14/2023     0.3   Call with V. Rajasekhar, G. Walia (A&M) to review the latest TRM hot
                                            wallet variance analysis
Vinny Rajasekhar        3/14/2023     0.4   Call with M. Flynn, V. Rajasekhar (A&M) to discuss stablecoin
                                            balances
Adam Titus              3/15/2023     0.8   Revise CRO incentive plan presentation based on comments and
                                            feedback received
Adam Titus              3/15/2023     0.8   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Adam Titus              3/15/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton, K. Dennison (A&M), S&C
                                            and WG re: Alameda Investment LP inquiry and discussion of options
Adam Titus              3/15/2023     1.0   Venture Call PMO updates and next steps

Adam Titus              3/15/2023     0.9   Email correspondence and follow up to Alameda investment gather
                                            supporting materials for funding
Adam Titus              3/15/2023     0.4   Discuss incentive materials with A&M crypto team


Adam Titus              3/15/2023     1.4   Update Ledger Prime materials based on feedback on process and
                                            latest thinking on action plan and next steps
Adam Titus              3/15/2023     1.2   Update Ledger Prime materials post discussion for latest thinking on
                                            action plan and next steps
Adam Titus              3/15/2023     1.2   Work to gather and complete request for Alameda investment closing
                                            and funding details needed from buyer
Adam Titus              3/15/2023     1.4   Review and respond to email correspondences related to the venture
                                            book and token investments
Adam Titus              3/15/2023     1.3   Review final statement and schedules, enter into database and link
                                            with our overall tracking document
Alec Liv-Feyman         3/15/2023     2.0   Update investments tracker contact information for external
                                            communications with crypto companies
Alec Liv-Feyman         3/15/2023     2.1   Review token tracker vesting schedule calculations to determine
                                            checks
Alec Liv-Feyman         3/15/2023     1.7   Review third party site to compile ventures agreements in process

Alec Liv-Feyman         3/15/2023     2.4   Update token tracker analysis based on third party site information


Alec Liv-Feyman         3/15/2023     2.3   Update token tracker agreements based on new vesting schedule
                                            and lock-up period formatting




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Financial Analysis
Professional                 Date     Hours     Activity
Anan Sivapalu             3/15/2023     0.6   Check TRM data for integrity and match with source data provided

Anan Sivapalu             3/15/2023     1.3   Research missing coins data and market capitalization by day


Bridger Tenney            3/15/2023     0.9   Update monthly resource cost model

Bridger Tenney            3/15/2023     1.5   Compare monthly meeting entries in resource staffing model

Bridger Tenney            3/15/2023     1.5   Match meeting and entries for each workstream in costing model


Caoimhe Corr              3/15/2023     3.1   Prepare FTX Europe strategic options deck

Caoimhe Corr              3/15/2023     2.1   Prepare FTX Europe customer reconciliation


Caoimhe Corr              3/15/2023     1.9   Review FTX Europe materials relating to other considerations

Caoimhe Corr              3/15/2023     2.9   Prepare FTX Europe situation overview deck


David Johnston            3/15/2023     0.3   Call with D. Johnston, G. Balmelli, P. Kwan (A&M), P. Gruhn, R.
                                              Matzke (FTX), T. Hill (S&C) and local counsel on FTX EU calculation
                                              of balances
David Nizhner             3/15/2023     0.5   Meeting with G. Walia, E. Hoffer, D. Nizhner (A&M) re: deposit /
                                              withdrawal status
Emily Hoffer              3/15/2023     0.5   Meeting with G. Walia, E. Hoffer, D. Nizhner (A&M) re: deposit /
                                              withdrawal status
Erik Taraba               3/15/2023     2.6   Perform analysis on latest project planning and resource allocation
                                              data
Erik Taraba               3/15/2023     1.3   Workstream coordination planning for Case Management, and Data
                                              Operations Teams
Gaurav Walia              3/15/2023     0.4   Review the excluded tokens in the customer balances analysis


Gaurav Walia              3/15/2023     0.5   Meeting with G. Walia, E. Hoffer, D. Nizhner (A&M) regarding deposit
                                              / withdrawal status
Gaurav Walia              3/15/2023     0.8   Review the latest withdrawals and deposits bank account analysis
                                              output
Gaurav Walia              3/15/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                              N. Aragam, and P. Lee (FTX) to discuss customer balance
                                              component reconciliation
Gaurav Walia              3/15/2023     1.1   Develop methodology for updated pricing and historical balances
                                              output
Gaurav Walia              3/15/2023     0.4   Call with V. Rajasekhar, G. Walia (A&M) to review the latest TRM hot
                                              wallet variance analysis
Gaurav Walia              3/15/2023     0.6   Review the TRM variance analysis and provide feedback

Gaurav Walia              3/15/2023     0.9   Review the output of the latest crypto model



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Financial Analysis
Professional              Date     Hours     Activity
Gaurav Walia           3/15/2023     1.1   Meeting with G. Walia, L. Konig (A&M) to discuss the pricing source
                                           necessary to recreate historical balances
Gaurav Walia           3/15/2023     2.3   Prepare summary of calculation used for certain customer balances


Gioele Balmelli        3/15/2023     0.3   Call with D. Johnston, G. Balmelli, P. Kwan (A&M), P. Gruhn, R.
                                           Matzke (FTX), T. Hill (S&C) and local counsel on FTX EU calculation
                                           of balances
Gioele Balmelli        3/15/2023     1.2   Review FTX Europe options strawman presentation

Henry Chambers         3/15/2023     0.5   Attend to the management of imaging of unstructured data at FTX
                                           Japan
Henry Chambers         3/15/2023     0.3   Attend to correspondence regarding FTX Japan operations

Henry Chambers         3/15/2023     0.3   Respond to queries regarding FTX Japan Daily key performance
                                           indicator report
Jack Yan               3/15/2023     1.3   Perform daily monitoring of FTX Japan crypto asset balances


James Lam              3/15/2023     0.8   Review the adjusted FTX Japan customer balances

James Lam              3/15/2023     0.7   Review and consider the FTX Japan supporting documents on
                                           reverted withdrawals
James Lam              3/15/2023     1.0   Investigate wallet addresses identified in the schedules of trial
                                           balance of FTX Japan
James Lam              3/15/2023     2.3   Consider and review the trial balance of Quoine Pte for information
                                           on crypto assets and customer liabilities
Jon Chan               3/15/2023     1.9   Provide withdrawal and deposit activity between main Alameda
                                           accounts
Kim Dennison           3/15/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton, K. Dennison (A&M), S&C
                                           and WG re: Alameda Investment LP inquiry and discussion of options
Kumanan Ramanathan     3/15/2023     0.6   Review post-petition deposit analysis and revise


Lance Clayton          3/15/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton, K. Dennison (A&M), S&C
                                           and WG re: Alameda Investment LP inquiry and discussion of options
Lance Clayton          3/15/2023     0.6   Update diligence tracker for inbound communication


Lance Clayton          3/15/2023     0.8   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                           re: Alameda Investments weekly update
Lance Clayton          3/15/2023     0.8   Prepare updates to investment tracking model to incorporate
                                           additional investments
Lance Clayton          3/15/2023     1.8   Update resource model based on feedback from leadership

Lance Clayton          3/15/2023     1.4   Detailed review of investment model for imbalances of checks

Lance Clayton          3/15/2023     1.2   Prepare and send investment updates and next steps for the venture
                                           workstream


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Financial Analysis
Professional                Date     Hours     Activity
Lance Clayton            3/15/2023     1.4   SAFE research as it pertains to Alameda Venture Investments

Lance Clayton            3/15/2023     1.8   Prepare additional tear sheets for Alameda investments


Larry Iwanski            3/15/2023     0.4   Meeting regarding the calculation of customer balances for return of
                                             Cyprus balances
Louis Konig              3/15/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balance
                                             component reconciliation
Louis Konig              3/15/2023     0.9   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/15/2023     1.1   Meeting with G. Walia, L. Konig (A&M) to discuss the pricing source
                                             necessary to recreate historical balances
Louis Konig              3/15/2023     0.4   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/15/2023     1.4   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/15/2023     1.2   Quality control review of outputs related to targeted balance
                                             database requests
Matthew Flynn            3/15/2023     1.2   Research TRYB deposited tokens


Matthew Flynn            3/15/2023     1.2   Review AUS customer deposit detail

Matthew Flynn            3/15/2023     1.1   Update post-petition customer balance presentation


Matthew Warren           3/15/2023     0.7   Review of updates and information for exchange flow of funds request

Matthew Warren           3/15/2023     1.8   Provide updates and formatting to presentation of flows of funds

Matthew Warren           3/15/2023     1.6   Provide summary for exchange flow of funds request to inform crypto
                                             tracing efforts
Peter Kwan               3/15/2023     0.9   FTX EU Balances Recalculation and Validation

Peter Kwan               3/15/2023     0.3   Analyze Revised FTX EU Limited Balances to validate against
                                             recalculated FTX.com balances (for EU users)
Peter Kwan               3/15/2023     0.3   Call with D. Johnston, G. Balmelli, P. Kwan (A&M), P. Gruhn, R.
                                             Matzke (FTX), T. Hill (S&C) and local counsel on FTX EU calculation
                                             of balances
Peter Kwan               3/15/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balance
                                             component reconciliation
Peter Kwan               3/15/2023     1.8   FTX EU Data Extracts for Analysis Support


Quinn Lowdermilk         3/15/2023     1.8   Update token schedule with updated contract positions




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Financial Analysis
Professional               Date     Hours     Activity
Robert Johnson          3/15/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            N. Aragam, and P. Lee (FTX) to discuss customer balance
                                            component reconciliation
Steve Coverick          3/15/2023     0.9   Review and provide comments on post-petition customer deposits
                                            analysis
Steven Glustein         3/15/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton, K. Dennison (A&M), S&C
                                            and WG re: Alameda Investment LP inquiry and discussion of options
Steven Glustein         3/15/2023     0.6   Correspondence with S. Tang (LedgerPrime) relating to crypto
                                            transfers
Steven Glustein         3/15/2023     0.9   Update contact update letter relating to venture investment noticing
                                            parties
Steven Glustein         3/15/2023     0.8   Review and update investment master tracker relating to recently
                                            identified investments
Steven Glustein         3/15/2023     0.8   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Steven Glustein         3/15/2023     2.0   Update venture investment master tracker regarding open items
                                            relating to expected disbursements and receipts from investee
                                            companies
Steven Glustein         3/15/2023     2.1   Review and update process tracking schedule relating to venture
                                            investment open items
Steven Glustein         3/15/2023     1.4   Review and update token tracing schedule relating to recently traced
                                            tokens
Steven Glustein         3/15/2023     1.6   Update crypto transfer tracking schedule from LedgerPrime to
                                            Alameda wallets
Vinny Rajasekhar        3/15/2023     0.4   Call with V. Rajasekhar, G. Walia (A&M) to review the latest TRM hot
                                            wallet variance analysis
Adam Titus              3/16/2023     0.5   Discussion with A. Titus and S. Glustein (A&M) relating to status and
                                            progress on Venture workstream align on next steps
Adam Titus              3/16/2023     0.4   Email correspondence related to solvency and intercompany
                                            transfers within Ledger Prime
Adam Titus              3/16/2023     1.2   Finalize Ledger Prime independent BOD materials


Adam Titus              3/16/2023     1.7   Review updated crypto asset receivable workbook

Adam Titus              3/16/2023     1.3   Update leadership tracking schedule for workstream details and
                                            latest thinking on various timing and situation assessments
Adam Titus              3/16/2023     0.5   Meeting with S. Coverick, A. Titus, S. Glustein, L. Clayton (A&M),
                                            S&C, PWP, and FTX teams re: Alameda Investment update and next
                                            steps
Adam Titus              3/16/2023     1.3   Draft updated PMO slides for Token and Venture updates

Adam Titus              3/16/2023     1.2   Email correspondence related to requests and file corresponding
                                            incoming data within files for further details on key investments
Adam Titus              3/16/2023     0.4   Draft update materials for Ledger Prime situation update for PMO




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Financial Analysis
Professional             Date     Hours     Activity
Alec Liv-Feyman       3/16/2023     2.0   Update new sheet of investment contacts regarding venture holdings

Alec Liv-Feyman       3/16/2023     2.0   Research contacts for crypto funds from agreements listings


Alec Liv-Feyman       3/16/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracker
                                          updates and investments contacts analysis
Alec Liv-Feyman       3/16/2023     0.4   Review investment contact information to determine positions of
                                          members
Alessandro Farsaci    3/16/2023     0.4   Call with D. Johnston, A. Farsaci, G. Balmelli (A&M) on FTX Europe
                                          options slides update
Anan Sivapalu         3/16/2023     2.2   Read through CoinGeko free API end points to gauge service

Anan Sivapalu         3/16/2023     1.4   Modify TRM search PowerBI dashboard to include further search
                                          capabilities
Anan Sivapalu         3/16/2023     2.4   Access crypto API end points to access market close data to analyze
                                          format
Anan Sivapalu         3/16/2023     0.7   Call with V. Rajasekhar, A. Sivapalu (A&M) to review the latest TRM
                                          hot wallet variance analysis
Anan Sivapalu         3/16/2023     1.8   Write Python code to access CoinGeko API

Andrew Heric          3/16/2023     2.7   Analyze deposit activity of internal accounts for 21 tokens for venture
                                          token tracing request 39
Bridger Tenney        3/16/2023     0.9   Consolidate time entries for resource and staffing model


Bridger Tenney        3/16/2023     1.7   Consolidate entries from multiple workstreams in staffing model

Caoimhe Corr          3/16/2023     2.9   Prepare FTX Europe preliminary options assessment


Caoimhe Corr          3/16/2023     2.9   Prepare analysis of FTX Europe strategic options

Caoimhe Corr          3/16/2023     3.3   Prepare FTX Europe summary of options


David Johnston        3/16/2023     2.9   Review and draft FTX Europe overview presentation

David Johnston        3/16/2023     2.4   Draft materials relating to FTX Europe AG Limited

David Johnston        3/16/2023     2.3   Draft materials relating to FTX Europe AG Limited


David Johnston        3/16/2023     0.4   Call with D. Johnston, A. Farsaci, G. Balmelli (A&M) on FTX Europe
                                          options slides update
David Nizhner         3/16/2023     2.0   Update model for adjusted allocation drivers on resource model


David Nizhner         3/16/2023     2.3   Revise variances across meeting entries in resource model




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Professional                Date     Hours     Activity
David Nizhner            3/16/2023     2.7   Secondary working session to perform second level of checks on
                                             meetings
David Nizhner            3/16/2023     3.0   Review variances between resource model and allocation model


David Nizhner            3/16/2023     3.0   Working session regarding meeting consolidations

Erik Taraba              3/16/2023     2.5   Conduct staff outreach to gather updated data for resource allocation
                                             analysis and re-run analysis using provided feedback
Gaurav Walia             3/16/2023     2.8   Update the summary of the calculation for historical balances
                                             provided by Alix partners
Gaurav Walia             3/16/2023     1.1   Review the TRM variance analysis and provide feedback

Gaurav Walia             3/16/2023     0.3   Prepare a summary of certain Alameda balances


Gaurav Walia             3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Gaurav Walia             3/16/2023     1.4   Review the latest customer withdrawals and deposits file output

Gaurav Walia             3/16/2023     0.6   Prepare a summary of latest balances for certain wallet groups


Gaurav Walia             3/16/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balance analyses
Gioele Balmelli          3/16/2023     0.4   Call with D. Johnston, A. Farsaci, G. Balmelli (A&M) on FTX Europe
                                             options slides update
Gioele Balmelli          3/16/2023     0.8   Preparation call on FTX Europe options slides

Gioele Balmelli          3/16/2023     3.2   Update of FTX Europe options slides

Henry Chambers           3/16/2023     0.6   Call with K. Ramanathan and H. Chambers (A&M) regarding FTX
                                             Japan operations
Henry Chambers           3/16/2023     0.8   Respond to queries regarding FTX Japan Daily key performance
                                             indicator report
Igor Radwanski           3/16/2023     2.9   Prepare schedule of deposit activity for different tokens for a crypto
                                             tracing request
Igor Radwanski           3/16/2023     1.8   Triage data in relation to deposit activity for a specific token request

Jack Faett               3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Jack Yan                 3/16/2023     1.7   Perform daily monitoring of FTX Japan crypto asset balances


James Lam                3/16/2023     0.9   Correspondence with Liquid Global regarding crypto balances
                                             recorded on financials
Johnny Gonzalez          3/16/2023     1.8   Model revisions regarding entries in resource allocation model



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Professional                Date     Hours     Activity
Jon Chan                 3/16/2023     2.1   Investigate wallets from related institutions and individuals from
                                             withdrawals and deposits
Kevin Baker              3/16/2023     0.8   Report summary findings for user accounts with updated balance
                                             changes to S&C for supplemental productions
Kevin Kearney            3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Kumanan Ramanathan       3/16/2023     0.6   Call with K. Ramanathan and H. Chambers (A&M) regarding FTX
                                             Japan operations
Lance Clayton            3/16/2023     0.5   Meeting with S. Coverick, A. Titus, S. Glustein, L. Clayton (A&M),
                                             S&C, PWP, and FTX teams re: Alameda Investment update and next
                                             steps
Lance Clayton            3/16/2023     3.1   Audit monthly entries for the resource tracking model


Lance Clayton            3/16/2023     2.9   Prepare additional tear sheets for Alameda investments

Lance Clayton            3/16/2023     2.2   Update diligence tracker for inbound communication and changes in
                                             investment status
Louis Konig              3/16/2023     1.2   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/16/2023     0.9   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/16/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balance analyses
Louis Konig              3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Louis Konig              3/16/2023     1.1   Database scripting and development related to internal account
                                             balance reconciliation
Louis Konig              3/16/2023     0.8   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/16/2023     1.2   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Manasa Sunkara           3/16/2023     0.7   Review current withdrawal and deposit scripts and update the logic to
                                             include circle payments
Matthew Flynn            3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Peter Kwan               3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                             Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                             and withdrawal tables
Peter Kwan               3/16/2023     0.2   Conduct validation of Revised FTX EU Limited Balances


Peter Kwan               3/16/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             N. Aragam, and P. Lee (FTX) to discuss customer balance analyses
Peter Kwan               3/16/2023     1.1   FTX EU Balances Recalculation and Validation


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Financial Analysis
Professional               Date     Hours     Activity
Robert Johnson          3/16/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            N. Aragam, and P. Lee (FTX) to discuss customer balance analyses
Robert Johnson          3/16/2023     0.5   Call with M. Flynn, P. Kwan, J. Faett, K. Kearney, L. Konig, R.
                                            Johnson, G. Walia (A&M), J. Sardinha (FTX) to discuss fiat deposit
                                            and withdrawal tables
Steve Coverick          3/16/2023     0.5   Meeting with S. Coverick, A. Titus, S. Glustein, L. Clayton (A&M),
                                            S&C, PWP, and FTX teams re: Alameda Investment update and next
                                            steps
Steven Glustein         3/16/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracker
                                            updates and investments contacts analysis
Steven Glustein         3/16/2023     0.5   Meeting with S. Coverick, A. Titus, S. Glustein, L. Clayton (A&M),
                                            S&C, PWP, and FTX teams re: Alameda Investment update and next
                                            steps
Steven Glustein         3/16/2023     0.4   Review and update process tracking schedule relating to token
                                            investment updates
Steven Glustein         3/16/2023     0.4   Prepare summary of locked crypto and illiquid tokens relating to
                                            LedgerPrime
Steven Glustein         3/16/2023     0.8   Correspondence with legal counsel to investee company relating to
                                            accessing legal documents pertaining to a recent sale
Steven Glustein         3/16/2023     1.9   Review updated legal documents relating to sale of investee company


Steven Glustein         3/16/2023     1.3   Review and update process tracking schedule relating to venture
                                            investment updates
Steven Glustein         3/16/2023     0.9   Update status update presentation re: LedgerPrime relating to asset
                                            transfer updates
Steven Glustein         3/16/2023     1.1   Review and update process tracking schedule relating to
                                            LedgerPrime updates
Steven Glustein         3/16/2023     1.2   Prepare summary package of legal and financial documents relating
                                            to investigative exited investment
Steven Glustein         3/16/2023     0.5   Discussion with A. Titus and S. Glustein (A&M) relating to status and
                                            progress on Venture workstream align on next steps
Vinny Rajasekhar        3/16/2023     3.1   Explain variance to TRM data for COM legal entity

Vinny Rajasekhar        3/16/2023     2.9   Explain variance to TRM data for US legal entity


Vinny Rajasekhar        3/16/2023     0.7   Call with V. Rajasekhar, A. Sivapalu (A&M) to review the latest TRM
                                            hot wallet variance analysis
Vinny Rajasekhar        3/16/2023     2.6   Create fiat transfer summary tables for inclusion in coin report


Vinny Rajasekhar        3/16/2023     0.9   Create fiat transfer detail tables for inclusion in coin report

Adam Titus              3/17/2023     1.3   Fill in Alameda investment correspondence to ensure token transfer.
                                            Follow up with M. Cilia on other requested information
Adam Titus              3/17/2023     2.1   Update investment tracker for latest details and provide summary
                                            schedules to develop for PMO slides



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Financial Analysis
Professional               Date     Hours     Activity
Adam Titus              3/17/2023     1.5   Review updated details within final statement and schedules, link
                                            with our overall tracking document
Adam Titus              3/17/2023     0.9   Email correspondence and tracing / follow up on investments and
                                            diligence received from notifications
Adam Titus              3/17/2023     1.3   Update PMO slides presentation related to Venture focus, including
                                            new slide on venture positions and changes between prior and new
                                            balance
Adam Titus              3/17/2023     1.4   Review investment tracker and corresponding token investments
                                            ensure coding is correct sync after review with schedules
Adam Titus              3/17/2023     1.0   Fill in Alameda token investment correspondence to ensure token
                                            transfer. Follow up with M. Cilia on other requested information
Alec Liv-Feyman         3/17/2023     1.4   Update token tracker through third party site to determine variance in
                                            coin report balances
Alec Liv-Feyman         3/17/2023     0.2   Call with L. Clayton, A. Liv-Feyman (A&M) regarding token tracker
                                            workstream updates
Alec Liv-Feyman         3/17/2023     2.0   Review holdings and update analysis on ventures agreements


Alec Liv-Feyman         3/17/2023     0.4   Call with S. Glustein, A. Liv-Feyman (A&M) regarding workstream
                                            updates, tokens and investments analysis discussion
Aly Helal               3/17/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal, B. Price, and I. Patel (A&M)
                                            regarding the process of defining A&M counterparties in FTX cash
                                            transactions for all banks
Anan Sivapalu           3/17/2023     2.7   Log in for the first time in through Relativity and check through for
                                            Crypto Wallet Addresses
Anan Sivapalu           3/17/2023     2.4   Check through remaining CoinGeko API end points to gauge service

Caoimhe Corr            3/17/2023     2.1   Prepare strategic options materials for FTX Europe


Caoimhe Corr            3/17/2023     1.9   Review strategic options for FTX Europe

David Johnston          3/17/2023     1.9   Review and analyze priority issues for FTX Europe


David Johnston          3/17/2023     2.6   Analysis of options for FTX Europe

David Johnston          3/17/2023     2.3   Prepare materials summarizing options for FTX Europe


David Johnston          3/17/2023     2.9   Review and analyze FTX Europe options under different scenarios

David Johnston          3/17/2023     1.0   Call with L. Iwanski, K. Ramanathan, D. Johnston, G. Balmelli, P.
                                            Kwan (A&M), P. Gruhn, R. Matzke (FTX), E. Simpson, O. de Vito
                                            Piscicelli (S&C) on FTX EU Calculation of balances
David Nizhner           3/17/2023     2.7   Standardize resource allocations across workstreams


David Nizhner           3/17/2023     3.1   Finalize meeting consolidation model by reviewing and consolidating
                                            missing entries



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Financial Analysis
Professional                 Date     Hours     Activity
Emily Hoffer              3/17/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal, B. Price, and I. Patel (A&M)
                                              regarding the process of defining A&M counterparties
Erik Taraba               3/17/2023     0.4   Review Venture investment tear sheets and provide feedback on
                                              format and refinement
Erik Taraba               3/17/2023     1.5   Refresh analysis and schedules for resource allocation financial
                                              model
Gaurav Walia              3/17/2023     1.6   Review the TRM variance analysis and provide feedback

Gioele Balmelli           3/17/2023     0.9   Preparation FTX Europe AG financials overview


Gioele Balmelli           3/17/2023     1.0   Call with L. Iwanski, K. Ramanathan, D. Johnston, G. Balmelli, P.
                                              Kwan (A&M), P. Gruhn, R. Matzke (FTX), E. Simpson, O. de Vito
                                              Piscicelli (S&C) on FTX EU Calculation of balances
Henry Chambers            3/17/2023     1.5   Call with S. Melamed, J. Masters, K. Takahashi, R. Fung, K.
                                              Nakamura (FTX) regarding FTX Japan operations
Ishika Patel              3/17/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal, B. Price, and I. Patel (A&M)
                                              regarding the process of defining A&M counterparties
Jack Yan                  3/17/2023     1.4   Perform daily monitoring of FTX Japan crypto asset balances

Jack Yan                  3/17/2023     1.7   Perform weekly activity monitoring of the wallets held by FTX Japan


James Lam                 3/17/2023     1.1   Review validation work on adjusted crypto balances of FTX Japan

James Lam                 3/17/2023     2.5   Review reverted fiat withdrawals supporting documents in relation to
                                              FTX Japan
James Lam                 3/17/2023     1.3   Confirm and analyze crypto balances held by addresses in Solana
                                              and Ethereum blockchains
Johnny Gonzalez           3/17/2023     1.9   Make revisions to the Interim Fee Application for legal review

Jon Chan                  3/17/2023     2.2   Quality check python script and report exports relating to balances


Jon Chan                  3/17/2023     2.7   Develop python script to parse out balance details

Jon Chan                  3/17/2023     1.7   Compare balances with updated logic to old reports


Julian Lee                3/17/2023     0.9   Call with J. Lee, E. Hoffer, A. Helal, B. Price, and I. Patel (A&M)
                                              regarding the process of defining A&M counterparties
Kevin Baker               3/17/2023     1.7   Provide update on the balance components and summary findings
                                              for balance changes to S&C
Kora Dusendschon          3/17/2023     0.3   Review information from K. Baker for balance recalculation KYCs.
                                              Compiling information for FTI for balance recalculations KYC
Kumanan Ramanathan        3/17/2023     1.0   Call with L. Iwanski, K. Ramanathan, D. Johnston, G. Balmelli, P.
                                              Kwan (A&M), P. Gruhn, R. Matzke (FTX), E. Simpson, O. de Vito
                                              Piscicelli (S&C) on FTX EU Calculation of balances
Lance Clayton             3/17/2023     2.8   Source contact information for uncontacted venture investments



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Financial Analysis
Professional                Date     Hours     Activity
Lance Clayton            3/17/2023     0.2   Call with L. Clayton, A. Liv-Feyman (A&M) regarding token tracker
                                             workstream updates
Lance Clayton            3/17/2023     2.7   Prepare contact letter and contact sourced investments


Larry Iwanski            3/17/2023     1.0   Call with L. Iwanski, K. Ramanathan, D. Johnston, G. Balmelli, P.
                                             Kwan (A&M), P. Gruhn, R. Matzke (FTX), E. Simpson, O. de Vito
                                             Piscicelli (S&C) on FTX EU Calculation of balances
Leslie Lambert           3/17/2023     0.2   Reconcile records and documentation of tracing requests

Louis Konig              3/17/2023     0.9   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/17/2023     1.0   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/17/2023     1.1   Quality control and review of script outputs related to reconciliation of
                                             trade fills from raw data to calculated balances
Louis Konig              3/17/2023     2.7   Quality control and review of script outputs related to internal account
                                             balance reconciliation
Louis Konig              3/17/2023     1.4   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Louis Konig              3/17/2023     0.5   Database scripting and development related to reconciliation of trade
                                             fills from raw data to calculated balances
Manasa Sunkara           3/17/2023     2.2   Review the list of requests to quality check for balance recalculations

Matthew Warren           3/17/2023     2.5   Review of token contracts for details on schedule and summarize
                                             findings for leadership
Peter Kwan               3/17/2023     0.4   FTX EU Balances Recalculation and Validation

Peter Kwan               3/17/2023     0.5   Perform validation of Revised FTX EU Limited Balances

Peter Kwan               3/17/2023     1.0   Call with L. Iwanski, K. Ramanathan, D. Johnston, G. Balmelli, P.
                                             Kwan (A&M), P. Gruhn, R. Matzke (FTX), E. Simpson, O. de Vito
                                             Piscicelli (S&C) on FTX EU Calculation of balances
Quinn Lowdermilk         3/17/2023     1.3   Analyze specific contract details for an understanding of investment

Quinn Lowdermilk         3/17/2023     0.2   Update each token contract detail for the population that did not have
                                             exchange data
Steven Glustein          3/17/2023     0.4   Update PMO presentation slides relating to token update

Steven Glustein          3/17/2023     0.4   Call with S. Glustein, A. Liv-Feyman (A&M) regarding workstream
                                             updates, tokens and investments analysis discussion
Steven Glustein          3/17/2023     0.8   Update PMO presentation slides relating to LedgerPrime update


Steven Glustein          3/17/2023     0.9   Update PMO presentation slides relating to brokerage update

Steven Glustein          3/17/2023     1.1   Review presentation relating to replacement brokerage summary



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                                   FTX Trading Ltd., et al.,
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Financial Analysis
Professional                Date     Hours     Activity
Steven Glustein          3/17/2023     1.2   Review and update process tracking schedule relating to expected
                                             receipts from venture investments
Steven Glustein          3/17/2023     2.8   Review and update crypto tracing schedule relating to token
                                             dashboard summary
Steven Glustein          3/17/2023     0.6   Update PMO presentation slides relating to venture investment
                                             update
Summer Li                3/17/2023     1.1   Close the December accounts of Quoine Pte in relation to goods and
                                             services taxes input balance and goods and services taxes summary
Summer Li                3/17/2023     1.9   Close the December accounts of Quoine Pte in relation to FTX asset
                                             migration balance
Vinny Rajasekhar         3/17/2023     2.6   Update crypto model for internal weekly report as of 3.10.23

Vinny Rajasekhar         3/17/2023     2.3   Update TRM variances for feedback received


Alec Liv-Feyman          3/18/2023     1.0   Review token scheduling analysis provided to view ventures balances

David Nizhner            3/18/2023     0.4   Correspond with internal team regarding consolidated professional
                                             review
David Slay               3/18/2023     1.8   Update Invoice model to align with submitted fee apps and reflect
                                             Interim application
Erik Taraba              3/18/2023     1.9   Update resource allocation presentation materials with latest
                                             schedules from financial analysis model
Erik Taraba              3/18/2023     0.4   Consolidate February entries into master model to produce exhibits
                                             for February Application
Henry Chambers           3/18/2023     0.4   Attend to correspondence regarding FTX Japan operations

Johnny Gonzalez          3/18/2023     1.4   Revise resource allocation model involving new March submissions


Louis Konig              3/18/2023     1.6   Quality control and review of script outputs related to balance
                                             verification
Louis Konig              3/18/2023     1.7   Database scripting related to balance difference reporting between
                                             various calculation methods
Peter Kwan               3/18/2023     0.9   FTX EU Data Extracts for Analysis Support

Peter Kwan               3/18/2023     0.8   FTX EU Balances Recalculation and Validation

Peter Kwan               3/18/2023     0.3   FTX EU Revised Balances Review for Final Balance Calculations


Vinny Rajasekhar         3/18/2023     1.2   Update crypto model for internal weekly report as of 3.10.23

Adam Titus               3/19/2023     1.4   Review Balance Sheets to respond to questions related to Ledger
                                             Prime solvency for call with F. Weinberg [S&C]
Adam Titus               3/19/2023     1.2   Follow up email on Leger Prime process and next steps / Review
                                             fund investment structure between Feeder Fund and Master Fund




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Financial Analysis
Professional                Date     Hours     Activity
Adam Titus               3/19/2023     1.1   Update PMO slides presentation related to Venture focus, including
                                             new slide on venture positions and changes between prior and new
                                             balance
Adam Titus               3/19/2023     0.6   Update weekly leadership workstream tracker for venture workstream
                                             for internal leadership review
Alec Liv-Feyman          3/19/2023     2.1   Update bridging analysis between exited investments schedule and
                                             current token holdings
Alec Liv-Feyman          3/19/2023     0.9   Search 3rd party site for legal agreements related to token quantity
                                             variance report
David Nizhner            3/19/2023     2.7   Working session with E. Taraba, D. Slay, J. Gonzalez, D. Nizhner
                                             (A&M) re: January initial professional review
David Slay               3/19/2023     2.7   Working session with E. Taraba, D. Slay, J. Gonzalez, D. Nizhner
                                             (A&M) re: January initial professional review
Erik Taraba              3/19/2023     2.7   Working session with E. Taraba, D. Slay, J. Gonzalez, D. Nizhner
                                             (A&M) re: February initial professional review
Johnny Gonzalez          3/19/2023     2.3   Continue modelling revisions to the February time detail model for
                                             the fee application
Johnny Gonzalez          3/19/2023     2.7   Working session with E. Taraba, D. Slay, J. Gonzalez, D. Nizhner
                                             (A&M) re: February initial professional review
Lance Clayton            3/19/2023     1.8   Source and compile data in box related to venture investments


Lance Clayton            3/19/2023     2.2   Update diligence tracker for inbound communication and changes in
                                             investment status
Lance Clayton            3/19/2023     1.2   Prepare and send investment updates and next steps for the venture
                                             workstream
Peter Kwan               3/19/2023     1.0   FTX EU Balances Recalculation and Validation

Peter Kwan               3/19/2023     1.0   FTX EU Data Extracts for Analysis Support

Steven Glustein          3/19/2023     1.1   Update crypto transfer tracking schedule relating to LedgerPrime
                                             liquid assets
Steven Glustein          3/19/2023     0.4   Correspondence with K. Flinn (PWP) relating to purchase agreement
                                             of investee company
Steven Glustein          3/19/2023     1.2   Review purchase agreement regarding investee company relating to
                                             venture book
Steven Glustein          3/19/2023     0.4   Correspondence with F. Crocco (S&C) relating to LedgerPrime
                                             financial information
Vinny Rajasekhar         3/19/2023     0.6   Update crypto model to include fiat transfer summary


Adam Titus               3/20/2023     0.3   Call with M. Cilia (RLKS), M. Titus and S. Glustein (A&M) regarding
                                             wire instruction details relating to venture investment sale process
Adam Titus               3/20/2023     1.1   Update timeline and schedules for Ledger Prime unwinding and
                                             deregistration process
Adam Titus               3/20/2023     0.5   Call to update J. Ray and S. Coverick on latest next steps and
                                             process on Ledger Prime


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Financial Analysis
Professional               Date     Hours     Activity
Adam Titus              3/20/2023     2.1   Review Alameda investment release schedule and agreement.
                                            Coordinate with team on next steps regarding receipt of token issue
                                            and warrants
Adam Titus              3/20/2023     0.5   Call with J. Ray, M. Rosenberg (FTX), S. Coverick, and A. Titus
                                            (A&M) re: LedgerPrime LP redemptions
Adam Titus              3/20/2023     0.7   email correspondence on follow up requests from M. Cilia (RLKS)
                                            and provide update to discussion with fund administrator
Adam Titus              3/20/2023     1.1   Detailed list and agenda update for internal discussion. Based on
                                            latest transaction details and weekly process updates
Adam Titus              3/20/2023     1.4   Review PMO materials prepare topic points / Draft key highlights
                                            from token, equity and recent disbursements
Adam Titus              3/20/2023     0.5   email correspondence on process update to M. Wu [S&C] on next
                                            steps on process for transaction and next steps
Adam Titus              3/20/2023     1.4   Review investment decision presentation provide comments related
                                            to materials. Sale process decision
Alec Liv-Feyman         3/20/2023     2.4   Review token vesting schedule for tokens analyzed in agreements


Alec Liv-Feyman         3/20/2023     0.8   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracking
                                            and investments tracker analysis updates
Alec Liv-Feyman         3/20/2023     0.2   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding variance
                                            report for venture tokens
Alec Liv-Feyman         3/20/2023     2.1   Develop bridge report between coin report for March figures and
                                            current vesting schedule
Alec Liv-Feyman         3/20/2023     1.9   Analyze coin report variance between vested tokens and confirmed
                                            tokens in wallet
Alec Liv-Feyman         3/20/2023     2.3   Update token tracking schedule through reading purchase
                                            agreements
Anan Sivapalu           3/20/2023     2.9   Research and gather relevant block chain scanners with API access

Anan Sivapalu           3/20/2023     2.9   Sign up for coin data provider account, create API key and familiarize
                                            with developer environment
Anan Sivapalu           3/20/2023     1.7   Check through coin database for missing data in the coin tables

Anan Sivapalu           3/20/2023     2.6   Read through API documentation of select scanners to gauge ability
                                            to build platform to retrieve blockchain data
Caoimhe Corr            3/20/2023     3.0   Updates to Europe calculation of balances deck

David Johnston          3/20/2023     2.1   Review and analyze customer balances FTX EU Ltd


David Johnston          3/20/2023     1.0   Call with O. de Vito Piscicelli T. Hill, E. Simpson (S&C), R. Matzke, P.
                                            Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                            (AT&S), D. Johnston, K. Ramanathan, (A&M) on FTX EU Calculation
                                            of balances
David Nizhner           3/20/2023     1.4   Update ventures process tracker with new initiatives




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Financial Analysis
Professional               Date     Hours     Activity
David Nizhner           3/20/2023     2.3   Research ventures investments tear sheets across investment master

David Nizhner           3/20/2023     0.2   Meeting with S. Glustein, D. Nizhner (A&M) re: Ventures team
                                            onboard
David Nizhner           3/20/2023     0.3   Meeting with L. Clayton, D. Nizhner (A&M) re: Ventures team update

David Nizhner           3/20/2023     0.6   Research venture investments initiatives

David Slay              3/20/2023     1.0   Update invoice model to reflect most recent projections and time


Gaurav Walia            3/20/2023     2.7   Review the historical pricing analysis

Gaurav Walia            3/20/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                            N. Molina, and P. Lee (FTX) to discuss customer balances
Gioele Balmelli         3/20/2023     2.1   Correspondence on FTX EU Segregated bank accounts balances

Gioele Balmelli         3/20/2023     3.2   Review of FTX Europe FTX Account transactions booking in FTX
                                            Europe BS
Henry Chambers          3/20/2023     1.1   Review of Q&A to be published on FTX Japan website

Henry Chambers          3/20/2023     0.8   Review of update of FTX Japan withdrawal key performance indicator
                                            analysis
Henry Chambers          3/20/2023     2.3   Plan of KYC procedures for post-petition deposits


Hudson Trent            3/20/2023     1.9   Review existing contracts for consideration in subsidiary wind down
                                            analysis
Hudson Trent            3/20/2023     0.3   Meeting H. Trent and N. Simoneaux (A&M) to discuss entity wind-
                                            down budget
Jack Yan                3/20/2023     2.9   Perform daily monitoring of FTX Japan crypto asset balances over
                                            the weekend
Jack Yan                3/20/2023     0.9   Summarize the PowerPoint deck to identify the potential financial
                                            resources to cover the shortfall suffered by Quoine Pte Ltd
Jack Yan                3/20/2023     1.4   Investigate the sources of unknown fund inflows into Quoine Pte Ltd

James Lam               3/20/2023     1.6   Prepare the status update on Quoine Pte Ltd concerning the
                                            customer deposits
James Lam               3/20/2023     0.7   Consider the migrated balances from FTX Japan to Liquid


James Lam               3/20/2023     3.1   Update the presentation materials on Quoine Pte Ltd concerning the
                                            crypto and fiat balances
James Lam               3/20/2023     0.6   Prepare the regular update on FTX Japan customer withdrawals


Kumanan Ramanathan      3/20/2023     1.0   Call with O. de Vito Piscicelli, T. Hill, E. Simpson (S&C), R. Matzke,
                                            P. Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                            (AT&S), D. Johnston, K. Ramanathan, (A&M) on FTX EU Calculation
                                            of balances

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Financial Analysis
Professional                Date     Hours     Activity
Lance Clayton            3/20/2023     2.8   Review completed one page summaries on investments for feedback
                                             from internal team
Lance Clayton            3/20/2023     1.5   Working session with S. Glustein and L. Clayton (A&M) re: Add in
                                             and update investments in tracking model
Lance Clayton            3/20/2023     1.7   Detailed review of investment model's drivers and checks

Lance Clayton            3/20/2023     0.3   Meeting with L. Clayton, D. Nizhner (A&M) re: Ventures team update

Lance Clayton            3/20/2023     1.3   Working session with S. Glustein and L. Clayton (A&M) re: Updates
                                             to the investment tracking model
Lance Clayton            3/20/2023     2.1   Update investment model for newly identified investments

Lance Clayton            3/20/2023     3.1   Prepare additional tear sheets for Alameda investments


Louis Konig              3/20/2023     1.1   Database scripting related to balance component detail reconciliation
                                             of options trades to balance calculation
Louis Konig              3/20/2023     0.8   Database scripting related to balance component detail reconciliation
                                             of spot trades to balance calculation
Louis Konig              3/20/2023     1.6   Database scripting related to balance component detail reconciliation
                                             of deposits to balance calculation
Louis Konig              3/20/2023     1.3   Database scripting related to balance component detail reconciliation
                                             of withdrawals to balance calculation
Louis Konig              3/20/2023     1.2   Database scripting related to balance component detail reconciliation
                                             of futures trades to balance calculation
Louis Konig              3/20/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balances
Manasa Sunkara           3/20/2023     1.4   Search the SQL database for a specific coin and provide balance
                                             data for the users who held this particular coin
Matthew Flynn            3/20/2023     0.7   Review AUS withdrawal activity

Matthew Flynn            3/20/2023     0.8   Review AUS deposit activity on the exchange for data pack


Matthew Flynn            3/20/2023     0.9   Prepare analysis to compare post-petition deposits for FTX.COM
                                             against pre-petition withdrawals
Matthew Flynn            3/20/2023     0.9   Prepare analysis to compare post-petition deposits for FTX.US
                                             against pre-petition withdrawals
Matthew Warren           3/20/2023     1.4   Research of contracts for relevant addresses for token request
                                             tracing effort
Nicole Simoneaux         3/20/2023     0.3   Meeting H. Trent and N. Simoneaux (A&M) to discuss entity wind-
                                             down budget
Peter Kwan               3/20/2023     0.5   Call with P. Kwan, D. Johnston, C. Caoimhe (A&M) regarding EU
                                             Customer balance recalculations
Peter Kwan               3/20/2023     1.2   Validate Revised FTX EU Limited Balances against recalculated
                                             FTX.com balances (for EU users)




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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/20/2023     1.6   FTX EU Data Extracts for Analysis Support

Peter Kwan              3/20/2023     2.5   FTX EU Balances Recalculation and Validation


Peter Kwan              3/20/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                            N. Molina, and P. Lee (FTX) to discuss customer balances
Quinn Lowdermilk        3/20/2023     2.2   Research agreement contract details for token investment

Robert Johnson          3/20/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                            N. Molina, and P. Lee (FTX) to discuss customer balances
Steven Glustein         3/20/2023     1.1   Review and provide comments on process update and
                                            recommendation presentation relating to sale of venture investment
Steven Glustein         3/20/2023     0.4   Review and update process tracker relating to daily open items


Steven Glustein         3/20/2023     0.4   Correspondence with venture investee company relating to token
                                            warrant elections
Steven Glustein         3/20/2023     0.8   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracking
                                            and investments tracker analysis updates
Steven Glustein         3/20/2023     0.9   Correspondence with K. Flinn (PWP) and J. MacDonald (S&C)
                                            relating to vesting schedule of token investment
Steven Glustein         3/20/2023     1.3   Working session with S. Glustein and L. Clayton (A&M) re: Updates
                                            to the investment tracking model
Steven Glustein         3/20/2023     1.3   Review and update process tracking schedule relating to outstanding
                                            venture investment items
Steven Glustein         3/20/2023     1.3   Update investment master tracker relating to recently identified
                                            investments
Steven Glustein         3/20/2023     0.9   Review SAFT agreement relating to venture token investment


Steven Glustein         3/20/2023     1.5   Working session with S. Glustein and L. Clayton (A&M) re: Add in
                                            and update investments in tracking model
Steven Glustein         3/20/2023     0.4   Correspondence with K. Flinn (PWP) regarding venture investment
                                            recommendation relating to venture sale process
Steven Glustein         3/20/2023     0.2   Meeting with S. Glustein, D. Nizhner (A&M) re: Ventures team
                                            onboard
Vinny Rajasekhar        3/20/2023     0.5   Call with W. Walker, V. Rajasekhar (A&M) regarding fiat transfers
                                            and coin report presentation
Vinny Rajasekhar        3/20/2023     0.3   Update TRM data variances for Solana blockchain impact


Vinny Rajasekhar        3/20/2023     0.2   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding variance
                                            report for venture tokens
Vinny Rajasekhar        3/20/2023     2.8   Update crypto model for new Singapore and Japan token data and
                                            3rd party exchange data
Vinny Rajasekhar        3/20/2023     2.8   Update crypto model variance model for 3.5.23 to 3.17.23 numbers




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Professional               Date     Hours     Activity
William Walker          3/20/2023     0.5   Call with W. Walker, V. Rajasekhar (A&M) regarding fiat transfers
                                            and coin report presentation
William Walker          3/20/2023     0.8   Reconcile 3/5 coin report with latest data


William Walker          3/20/2023     1.4   Reconcile 3rd party exchange transaction detail with summary
                                            holdings report
William Walker          3/20/2023     2.5   Reconcile 3rd party exchange detail received from data team

William Walker          3/20/2023     1.4   Update coin report model variance deck


Adam Titus              3/21/2023     0.5   Review and correct discussion materials for CRO plan and incentive
                                            based on comments and updated information relayed from the team
Adam Titus              3/21/2023     1.3   Update presentation materials for CRO plan and incentive plan.
                                            Review draft and provide to internal team
Adam Titus              3/21/2023     1.4   Review draft of token Alameda investment, review election and
                                            documents for submission for signature and receipt of ARB
Adam Titus              3/21/2023     2.3   Update incentive comp model for CRO plan. Update summary
                                            schedules and data based on feedback and comments
Alec Liv-Feyman         3/21/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracking
                                            and investments tracker workstream analysis updates
Alec Liv-Feyman         3/21/2023     0.2   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracking
                                            analysis updates
Alec Liv-Feyman         3/21/2023     2.0   Update token vesting schedule for token agreements with pricing,
                                            quantity, vested amounts
Alec Liv-Feyman         3/21/2023     2.1   Analyze token vesting schedule for vested tokens and dates related
                                            to new token generation events
Alec Liv-Feyman         3/21/2023     2.3   Analyze legal agreements for token vesting schedule with confirmed
                                            amounts and quantity
Alec Liv-Feyman         3/21/2023     1.5   Review token vesting schedule updates for new tokens analyzed

Anan Sivapalu           3/21/2023     1.0   Modify TRM dashboard to gauge Silo allocation by TRM and A&M


Anan Sivapalu           3/21/2023     1.1   Price ticker search for missing crypto coins

Anan Sivapalu           3/21/2023     0.4   Update currency pricing data from Yahoo Finance

Anan Sivapalu           3/21/2023     0.9   Analysis of Solana Chain within the TRM data to gauge balance


Anan Sivapalu           3/21/2023     1.7   Go through all block chain scanners that's available in the market
                                            place
Anan Sivapalu           3/21/2023     2.0   Write preliminary code to test out Python Solana API data pulls


Anan Sivapalu           3/21/2023     2.2   Read through Solana API documentation to facilitate transaction pulls




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Financial Analysis
Professional                 Date     Hours     Activity
Anan Sivapalu             3/21/2023     1.2   Check through new modification of TRM PowerBI dashboard and
                                              refine visualizations
Caoimhe Corr              3/21/2023     0.4   Discuss Turkey matters with D. Johnston, C. Arnett, S. Coverick, and
                                              C. Corr (A&M)
Caoimhe Corr              3/21/2023     2.4   Reconciliation of Turkey financials and previous materials

Caoimhe Corr              3/21/2023     2.1   Review of Turkish entity financials

Chris Arnett              3/21/2023     0.2   Discuss Turkey matters with D. Johnston, C. Arnett, S. Coverick, and
                                              C. Corr (A&M)
David Johnston            3/21/2023     0.2   Discuss Turkey matters with D. Johnston, C. Arnett, S. Coverick, and
                                              C. Corr (A&M
David Johnston            3/21/2023     2.1   Prepare FTX Europe materials for group update


David Johnston            3/21/2023     2.4   Review and analyze customer balances at FTX EU Ltd

David Johnston            3/21/2023     2.1   Review and analyze historical withdrawals at FTX EU Ltd


David Nizhner             3/21/2023     0.8   Consolidate March time entries in resource allocation model

David Nizhner             3/21/2023     1.6   Update FTX ventures progress tracker with new updates

David Nizhner             3/21/2023     2.2   Create standardized fee templates


David Nizhner             3/21/2023     1.8   Create consolidated fee process memo

David Nizhner             3/21/2023     1.5   Create draft of FTX ventures progress update


Erik Taraba               3/21/2023     2.8   Review and update project planning resource model with latest
                                              assumptions and refresh schedules
Gaurav Walia              3/21/2023     0.6   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss
                                              exchange P&L calculation methodology
Gaurav Walia              3/21/2023     0.4   Prepare a summary of TRM vs. Tres Finance quotes for a hot wallet
                                              analysis
Gaurav Walia              3/21/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                              N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                              methods
Gaurav Walia              3/21/2023     2.8   Call with L. Konig, G. Walia (A&M) to discuss exchange P&L
                                              calculation methodology
Gaurav Walia              3/21/2023     2.4   Develop skeleton methodology to understand open items as it relates
                                              to the P&L calculation
Gioele Balmelli           3/21/2023     3.1   Review of FTX Europe FTX Account transactions booking in FTX
                                              Europe BS
Henry Chambers            3/21/2023     0.4   Preparation of weekly update on FTX Japan asset return process




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Financial Analysis
Professional                Date     Hours     Activity
Henry Chambers           3/21/2023     0.4   Correspondence regarding FTX Japan terms of service

Hudson Trent             3/21/2023     0.2   Discuss Turkey matters with D. Johnston, C. Arnett, S. Coverick, and
                                             C. Corr (A&M)
Hudson Trent             3/21/2023     1.0   Call to update Committee advisors on ongoing asset sale processes
                                             with J. Ray (FTX), B. Bromberg, S. Simms, M. Diaz, M. Gray, M.
                                             Dawson, F. Risler (FTI), M. O'Hara, L. Szlezinger, T. Shea, M.
                                             Karakilinc (Jefferies), M. Rahmani, N. Nussbaum, G. Possess (PW
Hudson Trent             3/21/2023     2.2   Prepare subsidiary balance sheet analysis for wind down analysis

Jack Yan                 3/21/2023     2.5   Draft the illustration of inter-entity trading and settlement between
                                             Quoine Pte Ltd and FTX Japan for the PowerPoint deck
Jack Yan                 3/21/2023     1.9   Perform daily monitoring of FTX Japan crypto asset balances over
                                             the weekend
James Lam                3/21/2023     3.1   Update the wallet information and crypto balances for FTX Japan and
                                             Quoine PTE
James Lam                3/21/2023     1.9   Consolidate withdrawal data from FTX Japan and prepare the weekly
                                             withdrawal update
Jon Chan                 3/21/2023     0.2   Call with M. Flynn, J. Chan (A&M) to discuss TRY deposits

Kevin Baker              3/21/2023     1.9   Report on produce all TRY and TRYB deposits from AWS exchange
                                             data
Kumanan Ramanathan       3/21/2023     0.9   Call with T. Zakcon, E. Lotem (Tres Finance) to discuss product
                                             offering and review of relevant materials
Kumanan Ramanathan       3/21/2023     0.6   Multiple calls with K. Ramanathan, G. Walia (A&M) to discuss
                                             exchange P&L calculation methodology
Lance Clayton            3/21/2023     0.5   Update diligence tracker for inbound communication and changes in
                                             investment status
Lance Clayton            3/21/2023     0.8   Source and compile data in box related to venture investments

Lance Clayton            3/21/2023     2.5   Update investment model for newly identified investments


Lance Clayton            3/21/2023     2.3   Create investment tracking model specifically for investments under a
                                             certain threshold
Lance Clayton            3/21/2023     2.9   Prepare additional tear sheets for Alameda investments


Lance Clayton            3/21/2023     1.9   Investment reconciliation to compare funded amounts to claimed
                                             amounts
Louis Konig              3/21/2023     0.8   Database scripting related to balance component detail reconciliation
                                             of fiat withdrawals to balance calculation
Louis Konig              3/21/2023     0.7   Database scripting related to balance component detail reconciliation
                                             of fiat deposits to balance calculation
Louis Konig              3/21/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods



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Financial Analysis
Professional                Date     Hours     Activity
Louis Konig              3/21/2023     1.3   Database scripting related to balance component detail reconciliation
                                             of creations to balance calculation
Louis Konig              3/21/2023     1.5   Database scripting related to balance component detail reconciliation
                                             of referral rebates to balance calculation
Louis Konig              3/21/2023     1.2   Database scripting related to balance component detail reconciliation
                                             of funding payments to balance calculation
Louis Konig              3/21/2023     2.8   Call with L. Konig, G. Walia (A&M) to discuss exchange P&L
                                             calculation methodology
Louis Konig              3/21/2023     1.3   Database scripting related to balance component detail reconciliation
                                             of transfers to balance calculation
Matthew Flynn            3/21/2023     0.2   Call with M. Flynn, J. Chan (A&M) to discuss TRY deposits

Peter Kwan               3/21/2023     0.6   Compare Revised FTX EU Limited Balances to recalculated
                                             FTX.com balances (for EU users)
Peter Kwan               3/21/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Peter Kwan               3/21/2023     1.2   FTX EU Balances Recalculation and Validation

Peter Kwan               3/21/2023     1.4   FTX EU Data Extracts for Analysis Support


Quinn Lowdermilk         3/21/2023     1.6   Research another token contract and outline the terms

Robert Johnson           3/21/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Steve Coverick           3/21/2023     0.2   Discuss Turkey matters with D. Johnston, C. Arnett, S. Coverick, and
                                             C. Corr (A&M)
Steven Glustein          3/21/2023     1.1   Review warrant exercise agreement regarding to SAFE side letter
                                             relating to token venture investment
Steven Glustein          3/21/2023     0.7   Review SAFT agreement relating to token venture investment


Steven Glustein          3/21/2023     0.4   Correspondence with M. Rahmani (PWP) relating to audit requests

Steven Glustein          3/21/2023     0.4   Correspondence with K. Flinn (PWP) to discuss legal docs relating to
                                             token venture investments
Steven Glustein          3/21/2023     0.7   Provide comments on investment master tracker reconciliation to
                                             Carta
Steven Glustein          3/21/2023     0.7   Correspondence with fund investee company relating to audit
                                             requests
Steven Glustein          3/21/2023     2.3   Review and update process tracking schedule


Steven Glustein          3/21/2023     2.3   Review and update investment master tracker relating to recently
                                             identified token investments
Steven Glustein          3/21/2023     2.2   Prepare summary of SAFT agreement relating to select token
                                             investments

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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/21/2023     1.8   Review investments presented in Carta and cross reference to
                                            investment master tracker
Vinny Rajasekhar        3/21/2023     0.3   Call with V. Rajasekhar, W. Walker (A&M), A. Holland (S&C)
                                            regarding 3rd party exchange balances
Vinny Rajasekhar        3/21/2023     2.9   Identify bridging items based on variance analysis

Vinny Rajasekhar        3/21/2023     3.1   Update coin report for 3.17.23 current pricing

Vinny Rajasekhar        3/21/2023     2.7   Update crypto model for 3rd party exchange fiat detail


Vinny Rajasekhar        3/21/2023     2.6   Prepare initial 3.17.23 coin report draft

William Walker          3/21/2023     0.3   Call with V. Rajasekhar, W. Walker (A&M), A. Holland (S&C)
                                            regarding 3rd party exchange balances
William Walker          3/21/2023     2.1   Update crypto strategies deck charts and tables

William Walker          3/21/2023     1.5   Create shell template for crypto strategies deck


William Walker          3/21/2023     2.4   Review coin report database for accuracy & completeness

William Walker          3/21/2023     3.1   Create tables for incorporation into hedging strategies deck

Adam Titus              3/22/2023     1.5   Coordinate and requests to provide information and wallet address
                                            for token investment. Work to understand if can secure tokens
                                            through current BitGo or Coinbase account
Adam Titus              3/22/2023     1.3   Update presentation materials for CRO plan and incentive based on
                                            comments from S. Coverick (A&M)
Adam Titus              3/22/2023     1.0   Review de minimis asset sale materials, update investment tracker
                                            and understand latest state of investments sales and corresponding
                                            entity
Adam Titus              3/22/2023     1.6   Review Alameda investment closing and funding documents work to
                                            set up secure site and gather required documents
Adam Titus              3/22/2023     0.9   Review tear sheet on Alameda investment and scorecard per transfer
                                            of tokens to and make sure he knows next steps on how to fill out
                                            form
Adam Titus              3/22/2023     1.9   Ledger Prime update correspondence with CIO, on requests and
                                            follow ups from potential liquidators
Adam Titus              3/22/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Alec Liv-Feyman         3/22/2023     2.3   Review token vesting schedule to confirm accurate figures

Alec Liv-Feyman         3/22/2023     1.9   Review legal agreements of new tokens to determine quantity,
                                            pricing, dates
Alec Liv-Feyman         3/22/2023     0.6   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracking
                                            analysis and workstream updates



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Financial Analysis
Professional                 Date     Hours     Activity
Alec Liv-Feyman           3/22/2023     2.4   Update token vesting schedule for additional tokens added to tracker

Alec Liv-Feyman           3/22/2023     1.7   Review 3rd party site to determine token generate event dates to
                                              determine vested token amounts
Alec Liv-Feyman           3/22/2023     2.1   Analyze legal agreements for new vested tokens to determine vested
                                              periods
Alessandro Farsaci        3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                              Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                              Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                              discuss FTX Europe matters
Anan Sivapalu             3/22/2023     2.4   Write code to convert Unix time provided by coin historical provider to
                                              standard time using python
Anan Sivapalu             3/22/2023     1.4   Configure platform to download of EUR based Fiat currency data
                                              from public source
Anan Sivapalu             3/22/2023     2.8   Set up software scripts to link directly to CoinGeko back-end data
                                              source
Anan Sivapalu             3/22/2023     2.8   Test out initial link to coin data provider backend using provided
                                              license key
Caoimhe Corr              3/22/2023     1.6   Review of options for specified EU entities

Caoimhe Corr              3/22/2023     1.7   Reconciliation of dismissal analysis for SNG Investments and FTX
                                              Turkey
Caoimhe Corr              3/22/2023     3.2   Prepare financial analysis of Turkish entities

Chris Arnett              3/22/2023     1.1   Review and direct HR, contract, and vendor workstream and
                                              necessary upcoming deliverables
Cullen Stockmeyer         3/22/2023     1.9   Update crypto tracker for liquid vs illiquid token recoverable assets


David Johnston            3/22/2023     2.3   Review recoverable values for FTX Europe

David Johnston            3/22/2023     0.5   Call with P. Kwan, D. Johnston (A&M) regarding EU Customer
                                              balance recalculations
David Johnston            3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                              Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                              Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                              discuss FTX Europe matters
David Johnston            3/22/2023     0.9   Call with D. Johnston, G. Balmelli (A&M), R. Matzke (FTX) on FTX
                                              EU Ltd balances reconciliation
David Nizhner             3/22/2023     1.4   Draft info request regarding Alameda Investment


David Nizhner             3/22/2023     2.7   Revise memo regarding process steps

David Nizhner             3/22/2023     1.2   Revise ventures process tracker with updates

David Nizhner             3/22/2023     2.4   Consolidate formatting style and model mechanics in resource model



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Financial Analysis
Professional                Date     Hours     Activity
David Slay               3/22/2023     0.5   Update invoice model to reflect most recent projections and time

David Slay               3/22/2023     0.8   Update expenses in invoice model for actuals


Ed Mosley                3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, S. Coverick (A&M)
                                             and E. Simpson, O. de Vito Piscicelli (S&C) to discuss FTX Europe
                                             matters
Erik Taraba              3/22/2023     0.8   Perform analysis of liquidity and treasury team resource allocation
                                             data
Erik Taraba              3/22/2023     0.9   Consolidate additional time entries into February Fee Application
                                             model
Gaurav Walia             3/22/2023     1.4   Review and continue to sketch out P&L analysis


Gaurav Walia             3/22/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Gaurav Walia             3/22/2023     0.5   Call with G. Walia (A&M), L. Goldman (Alix) to discuss P&L
                                             methodology
Gioele Balmelli          3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Gioele Balmelli          3/22/2023     0.9   Call with D. Johnston, G. Balmelli (A&M), R. Matzke (FTX) on FTX
                                             EU Ltd balances reconciliation
Gioele Balmelli          3/22/2023     2.4   Communication of FTX Europe FTX Account transactions booking in
                                             FTX Europe BS
Gioele Balmelli          3/22/2023     0.6   Review of FTX Europe FTX Account transactions booking in FTX
                                             Europe BS
Heather Ardizzoni        3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Henry Chambers           3/22/2023     0.6   Consideration of approach to AML and KYC process for post petition
                                             deposits
Henry Chambers           3/22/2023     0.3   Correspondence regarding FTX Development team and introduction
                                             to FTX Japan Development team
Hudson Trent             3/22/2023     2.9   Prepare shell of materials and corresponding financial analysis for
                                             subsidiary wind down analysis
James Lam                3/22/2023     3.1   Update the presentation with additional financial and non-financial
                                             metrics of Quoine Pte Ltd
James Lam                3/22/2023     2.5   Update the shortfall analysis of Quoine Pte and the presentation
                                             materials
James Lam                3/22/2023     0.4   Follow-up enquiries on FTX Japan customer withdrawal process




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Financial Analysis
Professional                Date     Hours     Activity
Joachim Lubsczyk         3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Jon Chan                 3/22/2023     2.8   Provide account and balance extracts relating to institutions provided

Kora Dusendschon         3/22/2023     0.5   Call with K. Baker, K. Dusendschon (A&M), S. Yeargan and B.
                                             Harsch (S&C) to discuss balance recalculations
Kumanan Ramanathan       3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Kumanan Ramanathan       3/22/2023     0.8   Review of Dune analytics dashboards and pricing

Kumanan Ramanathan       3/22/2023     0.9   Provide comments on customer deposit analysis

Lance Clayton            3/22/2023     3.1   Prepare additional tear sheets for Alameda investments


Lance Clayton            3/22/2023     1.2   Prepare recommendation tear-sheet for Alameda investment decision

Lance Clayton            3/22/2023     0.7   Update diligence tracker for inbound communication and changes in
                                             investment status
Lance Clayton            3/22/2023     0.5   Update recommendation tear-sheet based on feedback

Lance Clayton            3/22/2023     1.2   Review of Alameda investment contact list


Lance Clayton            3/22/2023     2.7   Prepare additional tear sheets for Alameda investments - Continued

Lance Clayton            3/22/2023     0.8   Search for updated contact information for Alameda investments

Lance Clayton            3/22/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                             re: Alameda Investments weekly update
Louis Konig              3/22/2023     1.0   Database scripting related to balance component detail reconciliation
                                             of interest payments to balance calculation
Louis Konig              3/22/2023     1.3   Database scripting related to balance component detail reconciliation
                                             of balance changes to balance calculation
Louis Konig              3/22/2023     1.2   Database scripting related to balance component detail reconciliation
                                             of redemptions to balance calculation
Louis Konig              3/22/2023     1.3   Database scripting related to balance component detail reconciliation
                                             of lends to balance calculation
Louis Konig              3/22/2023     0.3   Database scripting related to balance component detail reconciliation
                                             of options transfers to balance calculation
Louis Konig              3/22/2023     1.0   Database scripting related to balance component detail reconciliation
                                             of fee vouchers to balance calculation
Louis Konig              3/22/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods

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Financial Analysis
Professional                Date     Hours     Activity
Louis Konig              3/22/2023     0.9   Database scripting related to Alameda realized/unrealized gains
                                             analysis
Louis Konig              3/22/2023     1.5   Database scripting related to balance component detail reconciliation
                                             of borrows to balance calculation
Matthew Flynn            3/22/2023     0.8   Update post-petition customer withdrawals analysis

Matthew Flynn            3/22/2023     0.9   Review customer withdrawal interface (crypto/ fiat)

Matthew Flynn            3/22/2023     1.1   Review customer deposit interface (crypto/ fiat)


Matthew Warren           3/22/2023     2.1   Research of contracts for details regarding purchase schedules

Peter Kwan               3/22/2023     0.7   Validate Revised FTX EU Limited Balances against recalculated
                                             FTX.com balances (for EU users)
Peter Kwan               3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Peter Kwan               3/22/2023     1.6   FTX EU Data Extracts for Analysis Support

Peter Kwan               3/22/2023     1.6   FTX EU Balances Recalculation and Validation


Peter Kwan               3/22/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Peter Kwan               3/22/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Peter Kwan               3/22/2023     0.5   Call with P. Kwan, D. Johnston (A&M) regarding EU Customer
                                             balance recalculations
Quinn Lowdermilk         3/22/2023     2.1   Research ALPHA token contract and agreements to extract
                                             addresses and contract information
Robert Gordon            3/22/2023     0.8   Review findings on FTX Europe impairment and cold wallet

Robert Gordon            3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                             Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                             Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                             discuss FTX Europe matters
Robert Johnson           3/22/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Robert Johnson           3/22/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Robert Johnson           3/22/2023     0.3   Communication with AWS support regarding export to S3 for prod
                                             balances database




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Professional             Date     Hours     Activity
Steve Coverick        3/22/2023     0.5   Call with H. Ardizzoni, R. Gordon, D. Johnston, A. Farsaci, J.
                                          Lubsczyk, G. Balmelli, K. Ramanathan, P. Kwan, E. Mosley, S.
                                          Coverick (A&M) and E. Simpson, O. de Vito Piscicelli (S&C) to
                                          discuss FTX Europe matters
Steven Glustein       3/22/2023     0.4   Call with I. Nesser relating to investigative token investments

Steven Glustein       3/22/2023     1.7   Review names and email addresses regarding contact update letter
                                          relating to venture investments
Steven Glustein       3/22/2023     2.8   Prepare recommendation tear-sheet summarizing options relating to
                                          token warrant exercise options
Steven Glustein       3/22/2023     0.4   Review cash flows relating to venture investment receipts

Steven Glustein       3/22/2023     0.6   Draft signature page relating to token warrant exercise notice


Steven Glustein       3/22/2023     0.6   Correspondence with S. Yeargan relating to review of Token Warrant
                                          Exercise agreement
Steven Glustein       3/22/2023     0.6   Correspondence with K. Flinn (PWP) regarding outreach relating to
                                          select token investee companies
Steven Glustein       3/22/2023     1.2   Provide comments on investment master tracker relating to Carta
                                          reconciliation
Steven Glustein       3/22/2023     2.6   Review token vesting schedule relating to venture token investments


Steven Glustein       3/22/2023     0.4   Correspondence with E. Kauper relating to investigative token
                                          investments
Steven Glustein       3/22/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                          re: Alameda Investments weekly update
Vinny Rajasekhar      3/22/2023     0.8   Meeting with V. Rajasekhar, W. Walker (A&M) regarding fiat transfers
                                          in the coin report
Vinny Rajasekhar      3/22/2023     2.2   Update coin report for changes to presentation and visuals

Vinny Rajasekhar      3/22/2023     3.1   Identify Ledger Prime transfer as of 3.17.23 and reflect impact in Coin
                                          Report
Vinny Rajasekhar      3/22/2023     2.9   Update crypto model for updates to silo mapping and BitGo
                                          transaction file
Vinny Rajasekhar      3/22/2023     3.1   Update coin report database to reflect changes to 3rd party
                                          exchanges and fiat transfers
Vinny Rajasekhar      3/22/2023     0.2   Call with V. Rajasekhar and J. Lam (A&M) to discuss crypto balances
                                          held by Quoine Pte addresses and general crypto model matters
William Walker        3/22/2023     1.2   Update coin report dashboard tables

William Walker        3/22/2023     2.1   Update tables and graphics for crypto strategies deck


William Walker        3/22/2023     3.2   Prepare deck outlining crypto strategies

William Walker        3/22/2023     0.8   Meeting with V. Rajasekhar, W. Walker (A&M) regarding fiat transfers
                                          in the coin report

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Financial Analysis
Professional               Date     Hours     Activity
William Walker          3/22/2023     1.5   Update variance model with updated historical data

William Walker          3/22/2023     2.9   Review 3rd party exchange balance detail


Adam Titus              3/23/2023     0.9   Email correspondence on token investment and gathering token
                                            information. Provide responses to questions and follow ups
Adam Titus              3/23/2023     1.5   Provide signature documents and email recommendation for
                                            investment decision. Provide documents to token issuer and provide
                                            follow up response
Adam Titus              3/23/2023     1.9   Review and edit tear sheet on Alameda investment summary and
                                            recommendation
Adam Titus              3/23/2023     1.4   Update materials related to CRO incentive plan, new schedules and
                                            data regarding latest estimates. Update from internal team comments
                                            S. Coverick [A&M]
Adam Titus              3/23/2023     0.5   Discuss Ledger Prime update with J. MacDonald and M. Wu (S&C)
                                            and S. Glustein (A&M)
Adam Titus              3/23/2023     1.8   Draft recommendation on token investment, base recommendation
                                            on options provided by token issuer and ability to comply with request
                                            work with S. Yeargan (S&C) to review documentation for execution
Alec Liv-Feyman         3/23/2023     1.9   Review token vesting schedule to determine token generation events
                                            and update summary page
Alec Liv-Feyman         3/23/2023     1.7   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                            receivable analysis and vesting schedule updates
Alec Liv-Feyman         3/23/2023     2.1   Review legal agreements for new tokens and fill in vesting periods
                                            and amounts
Alec Liv-Feyman         3/23/2023     2.4   Analyze legal agreements for new tokens and view on 3rd party site
                                            to determine variability
Alec Liv-Feyman         3/23/2023     1.2   Review token vesting schedule to determine variance in quantities
                                            and current holdings
Alessandro Farsaci      3/23/2023     0.6   Review of FTX Europe FTX Account transactions booking in FTX
                                            Europe BS
Anan Sivapalu           3/23/2023     1.9   Write script to convert Unix time stamp to utc time stamp using
                                            pythonic methods
Anan Sivapalu           3/23/2023     1.3   Refine script work with JSON format of sample crypto currency data


Anan Sivapalu           3/23/2023     0.8   Download EUR based crypto currency data for Europe based analysis

Anan Sivapalu           3/23/2023     0.7   Download EUR based fiat currency for Europe based analysis


Anan Sivapalu           3/23/2023     1.1   Modify script to test out download of sample crypto currencies and
                                            gauge data
Anan Sivapalu           3/23/2023     1.8   Write script to access coin description data from pricing provider


Anan Sivapalu           3/23/2023     0.9   Test coin data provider API call to ensure data is retrieved for
                                            historical period



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Financial Analysis
Professional                Date     Hours     Activity
Anan Sivapalu            3/23/2023     0.9   Link coin provider datasets together using SQL code

Andrew Heric             3/23/2023     3.1   Create a summary deliverable of crypto tracing findings related to
                                             BiLira tokens of request 76
Andrew Heric             3/23/2023     2.3   Conduct TRM crypto tracing analysis of BiLira tokens related to
                                             tracing request 76
Caoimhe Corr             3/23/2023     2.9   Review of financials for dormant entities

Caoimhe Corr             3/23/2023     2.9   Prepare analysis of European entities


Cullen Stockmeyer        3/23/2023     0.7   Update crypto tracker for liquid vs illiquid token recoverable assets

David Nizhner            3/23/2023     2.2   Consolidate newly added March entries for resource model


David Nizhner            3/23/2023     1.8   Research and compile information regarding Alameda investment

David Nizhner            3/23/2023     0.4   Update email list ownership and access


David Nizhner            3/23/2023     2.3   Update FTX process tracker and process deck

David Slay               3/23/2023     0.4   Working session to align on approach to consolidated balance sheets
                                             for liquidation analysis with D. Hainline, D. Slay (A&M)
Drew Hainline            3/23/2023     0.4   Working session to align on approach to consolidated balance sheets
                                             for liquidation analysis with D. Hainline, D. Slay (A&M)
Ed Mosley                3/23/2023     0.4   Discuss surety bonds and licenses with FTX (M.Cilia, K.Shultea),
                                             A.Kranzley (S&C), and A&M (S.Coverick, L.Callerio, others)
Erik Taraba              3/23/2023     0.8   Develop additional checks into project allocation model


Erik Taraba              3/23/2023     0.6   Update schedules re: resource allocation model

Gaurav Walia             3/23/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Gaurav Walia             3/23/2023     0.8   Review the historical cash balances analysis


Gaurav Walia             3/23/2023     0.3   Review the FTT balances analysis

Gaurav Walia             3/23/2023     0.2   Prepare hot wallet balances request


Gaurav Walia             3/23/2023     1.3   Call with L. Konig, G. Walia (A&M) to discuss exchange P&L
                                             calculation methodology
Jack Yan                 3/23/2023     1.9   Correspondence with H. Chambers (A&M) re: summarization of
                                             shortfall findings
Jack Yan                 3/23/2023     2.6   Perform daily monitoring of FTX Japan crypto asset balances for 21
                                             and 22 March 2023


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Professional                Date     Hours     Activity
James Lam                3/23/2023     0.2   Call with V. Rajasekhar and J. Lam (A&M) to discuss crypto balances
                                             held by Quoine Pte addresses and general crypto model matters
James Lam                3/23/2023     0.6   Update the Quoine Pte crypto model tracker


James Lam                3/23/2023     1.6   Examine transaction records among FTX Japan wallets

James Lam                3/23/2023     0.3   Update the customer withdrawal records of FTX Japan

Kevin Baker              3/23/2023     2.1   Develop scripts for account balances and KYC documentation


Kumanan Ramanathan       3/23/2023     0.6   Call with K. Ramanathan, W. Walker (A&M) regarding crypto
                                             strategies deck
Kumanan Ramanathan       3/23/2023     0.9   Various revisions to customer deposit analysis


Lance Clayton            3/23/2023     1.5   Working session with S. Glustein and L. Clayton (A&M) re: Alameda
                                             investment updates to tracker and model
Lance Clayton            3/23/2023     2.6   Update investment model for investments within internal team's
                                             parameters
Lance Clayton            3/23/2023     2.8   Prepare additional tear sheets for Alameda investments

Lance Clayton            3/23/2023     2.1   Create new weekly update deck and tracker and distribute
                                             instructions to team
Lance Clayton            3/23/2023     1.2   Update investment tracker based on internal team comments


Louis Konig              3/23/2023     1.3   Quality control / review related to script output of balance component
                                             detail reconciliation of spot trades to balance calculation
Louis Konig              3/23/2023     1.2   Quality control / review related to script output of balance component
                                             detail reconciliation of withdrawals to balance calculation
Louis Konig              3/23/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                             methods
Louis Konig              3/23/2023     0.9   Quality control / review related to script output of balance component
                                             detail reconciliation of options trades to balance calculation
Louis Konig              3/23/2023     1.3   Call with L. Konig, G. Walia (A&M) to discuss exchange P&L
                                             calculation methodology
Louis Konig              3/23/2023     1.5   Quality control / review related to script output of balance component
                                             detail reconciliation of transfers to balance calculation
Louis Konig              3/23/2023     1.6   Quality control / review related to script output of balance component
                                             detail reconciliation of futures trades to balance calculation
Louis Konig              3/23/2023     1.6   Quality control / review related to script output of balance component
                                             detail reconciliation of deposits to balance calculation
Matthew Flynn            3/23/2023     1.4   Refresh post-petition customer withdrawals analysis for comments

Peter Kwan               3/23/2023     1.6   FTX EU Data Extracts for Analysis Support




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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/23/2023     1.3   Call with L. Konig, G. Walia (A&M) to discuss exchange P&L
                                            calculation methodology
Peter Kwan              3/23/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                            N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                            methods
Peter Kwan              3/23/2023     0.7   FTX EU Balances Recalculation and Validation


Peter Kwan              3/23/2023     0.9   Analyze Revised FTX EU Limited Balances to validate against
                                            recalculated FTX.com balances (for EU users)
Quinn Lowdermilk        3/23/2023     1.3   Research contract terms to understand when investments should
                                            have been received
Robert Johnson          3/23/2023     0.6   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                            N. Molina, and P. Lee (FTX) to discuss customer balance calculation
                                            methods
Steven Glustein         3/23/2023     1.7   Call with S. Glustein, A. Liv-Feyman (A&M) regarding crypto assets
                                            receivable analysis and vesting schedule updates
Steven Glustein         3/23/2023     1.3   Finalize recommendation presentation relating to token warrant
                                            exercise option
Steven Glustein         3/23/2023     1.5   Working session with S. Glustein and L. Clayton (A&M) re: Alameda
                                            investment updates to tracker and model
Steven Glustein         3/23/2023     0.8   Prepare final draft relating to token warrant exercise option


Steven Glustein         3/23/2023     0.6   Correspondence with S. Tang (LedgerPrime) relating to internal
                                            requested diligence questions
Steven Glustein         3/23/2023     1.4   Review draft recommendation tear-sheet relating to token venture
                                            investment exercise warrant
Steven Glustein         3/23/2023     1.4   Conference call with J. Ray (FTX), M. Rosenberg (Lincoln Park
                                            Advisors), R. Jain (Niro), K. Flinn, K. Cofsky, M. Rahmani (PWP), A.
                                            Cohen, J. Macdonald. M. Wu (S&C), S. Glustein (A&M) relating to
                                            venture investment updates
Steven Glustein         3/23/2023     1.7   Call with investee company relating to background information on
                                            investment dissolution
Steven Glustein         3/23/2023     0.4   Draft email for recommendation for J. Ray relating to token warrant
                                            exercise option
Steven Glustein         3/23/2023     1.3   Prepare list of assumptions relating to LedgerPrime wind-down
                                            budget
Steven Glustein         3/23/2023     0.4   Correspondence with A. Searles, D. Schwartz (Alix Partners), J.
                                            Croke (S&C) relating to venture investment settlement agreement
Vinny Rajasekhar        3/23/2023     2.9   Update variance analysis for changes to crypto model and coin report


Vinny Rajasekhar        3/23/2023     2.9   Update coin report for feedback received on fiat and token transfers

Vinny Rajasekhar        3/23/2023     0.7   Call with W. Walker, V. Rajasekhar (A&M) regarding 3.17.23 coin
                                            report feedback and updates
Vinny Rajasekhar        3/23/2023     2.7   Update coin report for feedback on formatting and presentation



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Financial Analysis
Professional               Date     Hours     Activity
William Walker          3/23/2023     3.1   Update crypto strategies deck risks and benefits

William Walker          3/23/2023     2.5   Update crypto strategies deck with staking information


William Walker          3/23/2023     2.1   Review coin report draft and provide notes

William Walker          3/23/2023     0.7   Call with W. Walker, V. Rajasekhar (A&M) regarding 3.17.23 coin
                                            report feedback and updates
William Walker          3/23/2023     1.2   Update coin variance analysis to be used in model


William Walker          3/23/2023     0.6   Call with K. Ramanathan, W. Walker (A&M) regarding crypto
                                            strategies deck
Zachary Voll            3/23/2023     0.9   Consider parameters for entity analysis of European Entities


Zachary Voll            3/23/2023     3.1   Consider parameters for entity analysis of European Entities

Adam Titus              3/24/2023     1.2   Correspondence with Alameda investment team and email regarding
                                            token issue. Provide email to questions
Adam Titus              3/24/2023     1.9   Provide Box site access and correspondence with IT to include
                                            documents and closing funds for Alameda investment and follow up
                                            with fund administrator
Adam Titus              3/24/2023     1.8   Draft correspondence and summary details for receipt of Alameda
                                            investment tokens. Review purchase agreement to ensure amount
                                            vested is correct compare to potential increased amount from news
                                            feed
Adam Titus              3/24/2023     1.4   Review tear sheet on Alameda investment and response regarding
                                            proposal. Provide comments and next steps to S. Glustein
Adam Titus              3/24/2023     1.9   Review dissolution documents for token investment. Review
                                            winddown plan analysis per liquidation administrator. Update token
                                            tracker and provide next steps to team
Alec Liv-Feyman         3/24/2023     2.0   Develop exited investments token vesting schedule dashboard


Alec Liv-Feyman         3/24/2023     1.8   Update legal agreement documentation for token vesting schedule -
                                            exited investments
Alec Liv-Feyman         3/24/2023     2.4   Develop updates in token vesting schedule for exited investments
                                            model
Alec Liv-Feyman         3/24/2023     0.7   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracker
                                            vesting schedule updates
Alec Liv-Feyman         3/24/2023     1.5   Update exited investments token vesting schedule model formatting


Alec Liv-Feyman         3/24/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding crypto coin
                                            report figures pulling into token tracker
Anan Sivapalu           3/24/2023     2.5   Market maker search of subsidiary in KYC documents

Anan Sivapalu           3/24/2023     2.0   Build pivot table and analyze market maker data



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Professional                Date     Hours     Activity
Anan Sivapalu            3/24/2023     2.2   Review market maker data uploaded by FTX

Anan Sivapalu            3/24/2023     0.6   Build summary of subsidiary of each market maker


Anan Sivapalu            3/24/2023     2.4   Implement coin metrics using DAX on downloaded crypto currency
                                             data
Anan Sivapalu            3/24/2023     1.7   Market maker data comparison between old and new data

Anan Sivapalu            3/24/2023     1.7   Download and upload into database historical fiat and crypto
                                             currencies before 2022 year
Caoimhe Corr             3/24/2023     2.2   Prepare variance analysis European entities

Caoimhe Corr             3/24/2023     1.9   Prepare financial analysis of Turkish entities


Christopher Sullivan     3/24/2023     0.2   Call with S. Coverick, C. Sullivan (A&M) to discuss FTX 2.0 cost
                                             model
Cullen Stockmeyer        3/24/2023     2.1   Update crypto tracker for liquid vs illiquid token recoverable assets


David Nizhner            3/24/2023     2.4   Create tear sheet for Alameda venture investment

David Nizhner            3/24/2023     1.6   Update ventures process tracker with new updates

David Nizhner            3/24/2023     1.8   Research Alameda venture investment and compile information


Erik Taraba              3/24/2023     0.4   Adjust formatting on resource allocation model outputs

Gaurav Walia             3/24/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance
                                             reconciliation
Gioele Balmelli          3/24/2023     0.9   Communication regarding FTX Europe AG payments approvals


Henry Chambers           3/24/2023     0.8   Review of AML proposition for post petition deposits

Henry Chambers           3/24/2023     0.4   Call between H. Chambers and J. Lam (A&M) to discuss FTX Japan
                                             and Quoine matters and the adjusted balance issue
Jack Collis              3/24/2023     1.3   Begin summarizing key information / considerations for FTX Europe
                                             and discuss with H. McGoldrick (A&M)
James Lam                3/24/2023     1.3   Correspondence with M. Jonathan (Bitocto) for updated financials
                                             and non-financial data
James Lam                3/24/2023     0.4   Call between H. Chambers and J. Lam (A&M) to discuss FTX Japan
                                             and Quoine matters and the adjusted balance issue
Jane Chuah               3/24/2023     0.3   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                             marketing recharge and bank transaction details
Kumanan Ramanathan       3/24/2023     0.3   Call with D. Johnson, K. Ramanathan, and P. Kwan (A&M) to discuss
                                             FTX EU balances


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Financial Analysis
Professional                Date     Hours     Activity
Kumanan Ramanathan       3/24/2023     1.1   Review crypto coin report and provide comments on changes

Kumanan Ramanathan       3/24/2023     0.3   Call with K. Ramanathan, W. Walker, V. Rajasekhar (A&M) regarding
                                             weekly coin report
Louis Konig              3/24/2023     0.8   Alameda realized/unrealized gains analysis

Louis Konig              3/24/2023     1.5   Quality control / review related to script output of balance component
                                             detail reconciliation of interest payments to balance calculation
Louis Konig              3/24/2023     1.2   Quality control / review related to script output of balance component
                                             detail reconciliation of fiat withdrawals to balance calculation
Louis Konig              3/24/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance
                                             reconciliation
Louis Konig              3/24/2023     1.9   Quality control / review related to script output of balance component
                                             detail reconciliation of funding payments to balance calculation
Luke Francis             3/24/2023     0.2   Meeting with L. Francis, S. Glustein (A&M) re: Updates on sold
                                             investments and follow ups on new data
Peter Kwan               3/24/2023     0.9   FTX EU Balances Recalculation and Validation

Peter Kwan               3/24/2023     2.1   FTX EU Data Extracts for Analysis Support


Peter Kwan               3/24/2023     0.3   Call with D. Johnson, K. Ramanathan, and P. Kwan (A&M) to discuss
                                             FTX EU balances
Peter Kwan               3/24/2023     1.1   Conduct validation of Revised FTX EU Limited Balances


Peter Kwan               3/24/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance
                                             reconciliation
Quinn Lowdermilk         3/24/2023     1.6   Research contract agreement to understand investment

Robert Johnson           3/24/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Aragam,
                                             N. Molina, and P. Lee (FTX) to discuss customer balance
                                             reconciliation
Steve Coverick           3/24/2023     0.2   Call with S. Coverick, C. Sullivan (A&M) to discuss FTX 2.0 cost
                                             model
Steven Glustein          3/24/2023     0.9   Draft PMO presentation slides relating to LedgerPrime updates

Steven Glustein          3/24/2023     1.1   Draft PMO presentation slides relating to brokerage position updates


Steven Glustein          3/24/2023     1.6   Draft PMO presentation slides relating to equity and fund investment
                                             updates
Steven Glustein          3/24/2023     0.6   Review tear-sheet regarding recommendation relating to SAFE
                                             cancellation agreement
Steven Glustein          3/24/2023     0.7   Call with S. Glustein, A. Liv-Feyman (A&M) regarding token tracker
                                             vesting schedule updates



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Professional              Date     Hours     Activity
Steven Glustein        3/24/2023     2.1   Draft PMO presentation slides relating to token investment updates

Steven Glustein        3/24/2023     0.5   Review PWP materials relating to equity venture investments


Steven Glustein        3/24/2023     0.2   Meeting with L. Francis, S. Glustein (A&M) re: Updates on sold
                                           investments and follow ups on new data
Steven Glustein        3/24/2023     0.4   Correspondence with K. Flinn (PWP) regarding collaboration relating
                                           to investigative investments
Summer Li              3/24/2023     0.3   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                           marketing recharge and bank transaction details
Vinny Rajasekhar       3/24/2023     3.0   Update coin report on feedback related to other opportunities

Vinny Rajasekhar       3/24/2023     3.1   Update coin report for accurate representation of fiat conversions and
                                           transfers to cold storage
Vinny Rajasekhar       3/24/2023     0.3   Call with K. Ramanathan, W. Walker, V. Rajasekhar (A&M) regarding
                                           weekly coin report
Vinny Rajasekhar       3/24/2023     0.4   Call with V. Rajasekhar, A. Liv-Feyman (A&M) regarding crypto coin
                                           report figures pulling into token tracker
William Walker         3/24/2023     0.9   Review coin report draft and provide notes

William Walker         3/24/2023     0.6   Review bridging items from 3/5 coin report to current coin report

William Walker         3/24/2023     1.0   Update crypto strategies deck slide bullet points


William Walker         3/24/2023     1.6   Prepare analysis of holdings with historic prices for crypto strategy
                                           deck
William Walker         3/24/2023     0.3   Call with K. Ramanathan, W. Walker, V. Rajasekhar (A&M) regarding
                                           weekly coin report
William Walker         3/24/2023     1.4   Prepare asset holding schedule for use in crypto strategies deck

Zachary Voll           3/24/2023     1.0   Undertake initial analysis of entity analysis for European Entities to
                                           confirm parameters are applicable / correct for individual
                                           circumstances
Zachary Voll           3/24/2023     3.0   Undertake initial analysis of entity analysis for European Entities to
                                           confirm parameters are applicable / correct for individual
                                           circumstances
Alec Liv-Feyman        3/25/2023     2.0   Search through 3rd party site to confirm token generation events for
                                           exited investments tokens
Alec Liv-Feyman        3/25/2023     2.0   Update token vesting schedule dashboard to showcase generation
                                           date vesting periods and review legal documents
Anan Sivapalu          3/25/2023     2.4   Create specialized ticker map to retrieve select coins in data provider
                                           data
David Johnston         3/25/2023     2.7   Review and analyze model for FTX EU Ltd customer balance rec

Kumanan Ramanathan     3/25/2023     1.7   Prepare check controls in excel model linked to FTX EU data



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Financial Analysis
Professional                Date     Hours     Activity
Kumanan Ramanathan       3/25/2023     0.5   Call with D. Johnson, P. Kwan, K. Ramanathan (A&M) to discuss
                                             FTX EU balance calculations
Kumanan Ramanathan       3/25/2023     1.8   Review and provide comments on FTX EU balance calculations


Louis Konig              3/25/2023     1.4   Quality control / review related to script output of balance component
                                             detail reconciliation of referral rebates to balance calculation
Louis Konig              3/25/2023     1.5   Quality control / review related to script output of balance component
                                             detail reconciliation of creations to balance calculation
Louis Konig              3/25/2023     0.8   Quality control / review related to script output of balance component
                                             detail reconciliation of redemptions to balance calculation
Louis Konig              3/25/2023     0.9   Quality control / review related to script output of balance component
                                             detail reconciliation of borrows to balance calculation
Louis Konig              3/25/2023     1.1   Quality control / review related to script output of balance component
                                             detail reconciliation of fee vouchers to balance calculation
Peter Kwan               3/25/2023     1.0   Perform validation of Revised FTX EU Limited Balances

Peter Kwan               3/25/2023     2.1   FTX EU Balance Components and Customer Activity recalculation


Peter Kwan               3/25/2023     1.2   FTX EU Balances Recalculation and Validation

Peter Kwan               3/25/2023     0.5   Call with D. Johnson, P. Kwan, K. Ramanathan (A&M) to discuss
                                             FTX EU balance calculations
Peter Kwan               3/25/2023     1.6   FTX EU Data Extracts for Analysis Support


Steven Glustein          3/25/2023     2.8   Review and provide comments on Token vesting schedule

Steven Glustein          3/25/2023     1.7   Update PMO presentation slides relating to equity and fund
                                             investment updates
Vinny Rajasekhar         3/25/2023     2.4   Update coin report for fiat transfer for Liquid exchange and exclusion
                                             of Quoine PTE FTX wallets
William Walker           3/25/2023     1.3   Review updated coin report & reconcile balance with latest update


Alec Liv-Feyman          3/26/2023     1.4   Update token vesting schedule formatting to align with current
                                             vesting schedule model
Alec Liv-Feyman          3/26/2023     2.1   Review legal agreements for exited token investments to create
                                             vesting schedules
Anan Sivapalu            3/26/2023     1.7   Review Relativity for newly updated documents and gather subsidiary
                                             detail
Anan Sivapalu            3/26/2023     2.1   Review crypto currency node providers for all block chains end points

Bridger Tenney           3/26/2023     1.0   Review latest staffing model for updates to time entries


Cullen Stockmeyer        3/26/2023     2.3   Update excluded tokens analysis summary for new information




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                                   FTX Trading Ltd., et al.,
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Financial Analysis
Professional                Date     Hours     Activity
David Johnston           3/26/2023     2.9   Analyze historical fiat deposits at FTX EU Ltd

David Johnston           3/26/2023     2.6   Develop model relating to open positions at FTX EU Ltd


David Johnston           3/26/2023     2.3   Analyze historical crypto deposits FTX EU Ltd

David Nizhner            3/26/2023     2.0   Continue to create Alameda venture investment tear sheets

Erik Taraba              3/26/2023     0.5   Conduct outreach to team leads re: updated inputs to resource
                                             allocation model
Henry Chambers           3/26/2023     0.4   Attend Correspondence regarding FTX Japan operations

Johnny Gonzalez          3/26/2023     1.8   Model revisions to the February portion of staffing allocation model


Kumanan Ramanathan       3/26/2023     0.4   Call with D. Johnson, P. Kwan, K. Ramanathan (A&M) to discuss
                                             FTX EU balance calculations
Kumanan Ramanathan       3/26/2023     0.7   Review and provide comments on FTX EU balance calculations


Lance Clayton            3/26/2023     1.5   Create additional tear-sheet decks for Alameda Investments

Lance Clayton            3/26/2023     2.6   Perform detailed review of resource model tracker and identified
                                             themes for internal team
Lance Clayton            3/26/2023     2.5   Update and expanded investment tear-sheet model


Louis Konig              3/26/2023     1.6   Quality control / review related to script output of balance component
                                             detail reconciliation of balance changes to balance calculation
Louis Konig              3/26/2023     1.9   Quality control / review related to script output of balance component
                                             detail reconciliation of lends to balance calculation
Louis Konig              3/26/2023     1.7   Quality control / review related to script output of balance component
                                             detail reconciliation of options transfers to balance calculation
Peter Kwan               3/26/2023     0.4   Call with D. Johnson, P. Kwan, K. Ramanathan (A&M) to discuss
                                             FTX EU balance calculations
Peter Kwan               3/26/2023     2.8   FTX EU Balance Components and Customer Activity recalculation

Peter Kwan               3/26/2023     1.1   Validate Revised FTX EU Limited Balances against recalculated
                                             FTX.com balances (for EU users)
Peter Kwan               3/26/2023     0.6   FTX EU Data Extracts for Analysis Support


Peter Kwan               3/26/2023     1.2   Troubleshoot FTX EU Balance Components and Customer Activity
                                             recalculation
Peter Kwan               3/26/2023     0.8   FTX EU Balances Recalculation and Validation


Robert Gordon            3/26/2023     1.3   initial review of latest Financial controls report




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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/26/2023     2.8   Review Token Release schedule relating to dashboard summary

Steven Glustein         3/26/2023     2.4   Review Token Release schedule relating to ICO drop date


Vinny Rajasekhar        3/26/2023     1.7   Prepare final 3.17.23 coin report presentation

William Walker          3/26/2023     1.5   Review updated coin report detail and variances

Adam Titus              3/27/2023     0.4   Call with J. Sutherland (Alix Partners), A. Titus, S. Glustein (A&M)
                                            relating to LedgerPrime
Adam Titus              3/27/2023     0.8   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding progress tracker and workstream updates
Adam Titus              3/27/2023     1.3   Review progress tracker on token and equity schedules. Develop
                                            next steps and follow up based on latest detail within tracker. Confirm
                                            plan
Adam Titus              3/27/2023     0.8   Email correspondence on token investment and gathering token
                                            information. Provide responses to questions and follow ups
Adam Titus              3/27/2023     0.9   Review LedgerPrime transfer analysis

Adam Titus              3/27/2023     1.4   Check daily email correspondences related to investments and
                                            respond to request for follow up. Token investments
Adam Titus              3/27/2023     1.3   Review updated PMO slides, presentation. Create key highlights
                                            from weekly activity. Total venture token and equity distributions to
                                            date
Adam Titus              3/27/2023     2.1   Update PMO slides presentation related to Venture focus, including
                                            new slide on venture positions and changes between prior and new
                                            balance
Alec Liv-Feyman         3/27/2023     0.8   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding progress tracker and workstream updates
Alec Liv-Feyman         3/27/2023     0.3   Discussion with S. Glustein, A. Liv-Feyman (A&M) regarding crypto
                                            tokens tracker relating to exited investments
Alec Liv-Feyman         3/27/2023     2.4   Review 3rd party sites to find token related information such as
                                            pricing and total tokens in supply
Alec Liv-Feyman         3/27/2023     2.3   Update exited investments model to pull in dates from vested tokens


Alec Liv-Feyman         3/27/2023     2.1   Review token vesting schedule and update figures for new
                                            information related to tokens
Alec Liv-Feyman         3/27/2023     2.1   Review 3rd party site to view more agreements related to tokens
                                            exited
Anan Sivapalu           3/27/2023     0.7   Review new market maker data sent by P. Lee (FTX)

Anan Sivapalu           3/27/2023     2.1   Attempt at writing and accessing the free API end point provided by
                                            Chainstack for testing purposes
Anan Sivapalu           3/27/2023     2.1   Develop visualization dashboard to summarize market maker data




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Financial Analysis
Professional              Date     Hours     Activity
Anan Sivapalu          3/27/2023     2.5   Review documentation related to Ethereum block chain and its API
                                           end points
Anan Sivapalu          3/27/2023     2.5   Exploratory analysis on latest exchange related dataset provided by
                                           FTX
Anan Sivapalu          3/27/2023     2.9   Review documentation related to Chainstack and supported crypto
                                           currency end points
Bas Fonteijne          3/27/2023     2.9   Gather information on entities within FTX Europe

Caoimhe Corr           3/27/2023     0.9   Participate in call with O. de Vito Piscicelli T. Hill, E. Simpson (S&C),
                                           R. Matzke, P. Gruhn (FTX), O. Adamidou, S. Triantafyllides (AT&S),
                                           D. Johnston, P. Kwan, K. Ramanathan, (A&M) FTX Europe customer
                                           payables
Caoimhe Corr           3/27/2023     2.1   Prepare options Assessment (EU & Non-EU entities)


Christopher Sullivan   3/27/2023     0.2   Call with C. Sullivan (A&M) to discuss exchange profitability analysis

Cullen Stockmeyer      3/27/2023     0.6   Review and provide commentary on Sollend coin report


Cullen Stockmeyer      3/27/2023     0.3   Call with. K .Ramanathan, T. Adams, S. Glustein, C. Stockmeyer and
                                           L. Callerio (A&M) re: token investments
Cullen Stockmeyer      3/27/2023     1.7   Update crypto tracker for liquid vs illiquid token recoverable assets


Cullen Stockmeyer      3/27/2023     0.4   Working session w/ C. Stockmeyer & D. Slay (A&M) re: discuss deal
                                           tracking model and updates
David Johnston         3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                           Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                           Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                           discuss FTX Europe
David Johnston         3/27/2023     0.8   Call with O. de Vito Piscicelli T. Hill, E. Simpson (S&C), R. Matzke, P.
                                           Gruhn (FTX), O. Adamidou, S. Triantafyllides (AT&S), D. Johnston,
                                           P. Kwan, K. Ramanathan, (A&M) FTX EU Calculation of balances
David Johnston         3/27/2023     2.2   Review latest KYC analysis for FTX Europe


David Johnston         3/27/2023     2.3   Prepare materials for group update related to FTX Europe

David Nizhner          3/27/2023     1.2   Redraft token claim form confirmation and tear sheet

David Nizhner          3/27/2023     1.2   Revise allocation model assumptions based on edits


David Nizhner          3/27/2023     1.6   Update ventures tracker and coordinate with internal team

David Nizhner          3/27/2023     1.8   Update ventures progress deck and coordinate with internal team


David Nizhner          3/27/2023     1.2   Consolidate prior driver adjustments into professional model

David Nizhner          3/27/2023     0.8   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                           Feyman (A&M) regarding progress tracker and workstream updates

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Financial Analysis
Professional                Date     Hours     Activity
David Nizhner            3/27/2023     2.6   Adjust resource model bridge to consolidate new assumptions

David Slay               3/27/2023     1.5   Add and update mapping to balance sheet and proforma support
                                             model
David Slay               3/27/2023     0.9   Update recovery model with WRS and Ventures updated balance
                                             sheets
David Slay               3/27/2023     0.8   Update docket summary model with recent activity

David Slay               3/27/2023     0.4   Working session w/ C. Stockmeyer & D. Slay (A&M) re: discuss deal
                                             tracking model and updates
David Slay               3/27/2023     2.1   Review & update summary tables and update to deal flow model

Ed Mosley                3/27/2023     0.6   Review of and prepare comments to draft email to customers in
                                             connection with balance information
Ed Mosley                3/27/2023     1.9   Review of draft interim report on control failures for presentation to
                                             management
Erik Taraba              3/27/2023     2.1   Update resource allocation analysis and input updated schedules into
                                             presentation materials for management
Gaurav Walia             3/27/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss balance calculations
Gaurav Walia             3/27/2023     3.0   Prepare a summary of the spot gain / loss calculation

Gaurav Walia             3/27/2023     3.2   Prepare a summary of the perpetuals gain / loss calculation


Heather Ardizzoni        3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                             Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                             Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                             discuss FTX Europe
Henry Chambers           3/27/2023     1.3   Weekly update on FTX Japan withdrawal process

Henry Chambers           3/27/2023     0.4   Discussion with S. Melamed (FTX) re FTX Japan operations


Henry Chambers           3/27/2023     0.1   Discussion between H. Chambers and J. Lam (A&M) for matters in
                                             relation to FTX Japan adjusted customer balances
Jack Collis              3/27/2023     1.9   Research of FTX Europe strategic options


Jack Yan                 3/27/2023     2.7   Perform daily monitoring of FTX Japan crypto asset balances over
                                             the weekend
James Lam                3/27/2023     1.1   Review movements of crypto assets between Quoine Pte and FTX
                                             Japan
James Lam                3/27/2023     0.1   Discussion between H. Chambers and J. Lam (A&M) for matters in
                                             relation to FTX Japan adjusted customer balances
James Lam                3/27/2023     1.9   Review withdrawal key performance indicator reports and update the
                                             customer withdrawal summary of FTX Japan
Jane Chuah               3/27/2023     0.1   Call with S. Kojima, C. Bertrand (FTX Japan), S. Li, J. Chuah (A&M)
                                             to discuss status of user reports

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Financial Analysis
Professional              Date     Hours     Activity
Joachim Lubsczyk       3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                           Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                           Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                           discuss FTX Europe
Joachim Lubsczyk       3/27/2023     0.5   Call with J. Baveuad, (FTX), J. Lubsczyk (A&M), Anja Marino (Lenz),
                                           M.Haase, F. Wünshce (S&C) on HR issues FTX Europe
Johnny Gonzalez        3/27/2023     2.2   Continue development of staff workstream management model


Johnny Gonzalez        3/27/2023     2.0   Update the development of staff workstream management model

Jon Chan               3/27/2023     0.9   Meeting with K. Dusendschon, M. Sunkara, J. Chan, K. Baker (A&M)
                                           to go balances and know your customer requests
Kevin Kearney          3/27/2023     0.6   Call with S. Glustein and K. Kearney (A&M) relating to venture
                                           investment updates
Kora Dusendschon       3/27/2023     0.9   Meeting with K. Dusendschon, M. Sunkara, J. Chan, K. Baker (A&M)
                                           to go balances and know your customer requests
Kumanan Ramanathan     3/27/2023     0.9   Prepare exchange expense detail breakdown for FTX 2.0 cost model


Kumanan Ramanathan     3/27/2023     0.8   Call with O. de Vito Piscicelli T. Hill, E. Simpson (S&C), R. Matzke, P.
                                           Gruhn (FTX), O. Adamidou, S. Triantafyllides (AT&S), D. Johnston,
                                           P. Kwan, K. Ramanathan, (A&M) FTX EU Calculation of balances
Kumanan Ramanathan     3/27/2023     0.3   Call with K. Ramanathan and W. Walker (A&M) regarding Crypto
                                           Strategies deck
Kumanan Ramanathan     3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                           Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                           Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                           discuss FTX Europe
Lance Clayton          3/27/2023     0.3   Discussion with S. Glustein and L. Clayton (A&M) regarding
                                           Investment tracker bridge relating to SOFA and schedules
Lance Clayton          3/27/2023     1.4   Create bridge in investment tracker to show changes from STMTSCH
                                           to present
Lance Clayton          3/27/2023     1.8   Prepare Alameda Investment summary for correspondence with
                                           investee and counsel
Lance Clayton          3/27/2023     0.8   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                           Feyman (A&M) regarding progress tracker and workstream updates
Lance Clayton          3/27/2023     2.8   Update tear-sheet for Alameda investment and prepare new template
                                           for process
Larry Iwanski          3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                           Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                           Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                           discuss FTX Europe
Leandro Chamma         3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                           Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                           Coverick (A&M), J. Ray (RLKS), E. Simpson and others (S&C) to
                                           discuss FTX Europe
Lorenzo Callerio       3/27/2023     0.3   Call with. K .Ramanathan, T. Adams, S. Glustein, C. Stockmeyer and
                                           L. Callerio (A&M) re: token investments



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Financial Analysis
Professional                Date     Hours     Activity
Louis Konig              3/27/2023     1.5   Quality control and review of outputs related to reconciliation
                                             between creation components and calculated balances
Louis Konig              3/27/2023     1.3   Investigation of differences related to reconciliation between airdrop
                                             components and calculated balances
Louis Konig              3/27/2023     1.1   Quality control and review of outputs related to reconciliation
                                             between binary option fills trade components and calculated balances
Louis Konig              3/27/2023     1.2   Quality control and review of outputs related to reconciliation
                                             between balance change components and calculated balances
Louis Konig              3/27/2023     1.6   Quality control and review of outputs related to reconciliation
                                             between airdrop components and calculated balances
Louis Konig              3/27/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss balance calculations
Louis Konig              3/27/2023     1.7   Investigation of differences related to reconciliation between creation
                                             components and calculated balances
Louis Konig              3/27/2023     1.1   Investigation of differences related to reconciliation between binary
                                             option fills trade components and calculated balances
Louis Konig              3/27/2023     1.1   Investigation of differences related to reconciliation between deposit
                                             components and calculated balances
Manasa Sunkara           3/27/2023     0.9   Meeting with K. Dusendschon, M. Sunkara, J. Chan, K. Baker (A&M)
                                             to go balances and know your customer requests
Mark vanden Belt         3/27/2023     0.2   Prepare analysis of European financials and entities

Mark vanden Belt         3/27/2023     1.9   Prepare document for Thursday Kick-off meeting on EU entities


Mark vanden Belt         3/27/2023     1.2   Review recovery options European dormant entities

Mark vanden Belt         3/27/2023     2.1   Review info on shared drive for European entities


Mark vanden Belt         3/27/2023     2.9   Prepare financial analysis of Europe entities

Mark vanden Belt         3/27/2023     3.1   Prepare option analysis for FTX Europe entities


Peter Kwan               3/27/2023     1.1   FTX EU Data Extracts for Analysis Support

Peter Kwan               3/27/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                             and P. Lee (FTX) to discuss balance calculations
Peter Kwan               3/27/2023     0.6   Validate Revised FTX EU Limited Balances with recalculated
                                             FTX.com balances (for EU users)
Peter Kwan               3/27/2023     0.8   Call with O. de Vito Piscicelli, T. Hill, E. Simpson (S&C), R. Matzke,
                                             P. Gruhn (FTX), O. Adamidou, M. Hadjigavriel, S. Triantafyllides
                                             (AT&S), D. Johnston, P. Kwan, K. Ramanathan, (A&M) FTX EU
                                             Calculation of balances
Peter Kwan               3/27/2023     1.9   FTX EU Balances Recalculation and Validation




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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                            Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                            Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                            discuss FTX Europe
Robert Gordon           3/27/2023     0.7   Review supporting material for potential inclusion into financial
                                            controls memorandum
Robert Gordon           3/27/2023     1.2   Draft comments and redlines for financial controls latest draft


Robert Gordon           3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                            Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                            Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                            discuss FTX Europe
Robert Johnson          3/27/2023     0.3   Review status of Alameda Prod Balances export to s3

Robert Johnson          3/27/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, G. Walia (A&M), N. Molina,
                                            and P. Lee (FTX) to discuss balance calculations
Steve Coverick          3/27/2023     0.2   Call with C. Sullivan (A&M) to discuss exchange profitability analysis


Steve Coverick          3/27/2023     0.6   Call between H. Ardizzoni, D. Johnston, J. Lubsczyk, K.
                                            Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R. Gordon, S.
                                            Coverick (A&M), J. Ray (FTX), E. Simpson and others (S&C) to
                                            discuss FTX Europe
Steve Coverick          3/27/2023     0.4   Partial attendance on call between H. Ardizzoni, D. Johnston, J.
                                            Lubsczyk, K. Ramanathan, L. Iwanski, L. Chamma, P. Kwan, R.
                                            Gordon, S. Coverick (A&M), J. Ray (RLKS), E. Simpson and others
                                            (S&C) to discuss FTX Europe
Steven Glustein         3/27/2023     0.4   Call with J. Sutherland (Alix Partners), A. Titus, S. Glustein (A&M)
                                            relating to LedgerPrime
Steven Glustein         3/27/2023     0.3   Update Token Release Schedule Model relating to cover page


Steven Glustein         3/27/2023     1.6   Prepare exited token investment model relating to token investments

Steven Glustein         3/27/2023     0.3   Call with. K .Ramanathan, T. Adams, S. Glustein, C. Stockmeyer and
                                            L. Callerio (A&M) re: token investments
Steven Glustein         3/27/2023     0.8   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding progress tracker and workstream updates
Steven Glustein         3/27/2023     0.8   Update Token Release Schedule Model relating to safe harbor

Steven Glustein         3/27/2023     0.6   Call with S. Glustein and K. Kearney (A&M) relating to venture
                                            investment updates
Steven Glustein         3/27/2023     0.3   Correspondence with J. MacDonald (S&C) relating to de minimis sale
                                            process
Steven Glustein         3/27/2023     0.4   Review draft legal document regarding to wallet address update
                                            relating to token investments
Steven Glustein         3/27/2023     0.3   Discussion with S. Glustein and L. Clayton (A&M) regarding
                                            Investment tracker bridge relating to SOFA and schedules




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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/27/2023     1.3   Review and summarize vesting schedule relating to token venture
                                            investments
Steven Glustein         3/27/2023     0.3   Correspondence with E. Kauper (QE) relating to investigative token
                                            investments
Steven Glustein         3/27/2023     0.3   Discussion with S. Glustein, A. Liv-Feyman (A&M) regarding crypto
                                            tokens tracker relating to exited investments
Steven Glustein         3/27/2023     1.9   Update summary of transferred crypto relating to LedgerPrime

Steven Glustein         3/27/2023     2.1   Update Token Release Schedule Model relating to assumptions


Summer Li               3/27/2023     0.1   Call with S. Kojima, C. Bertrand (FTX Japan), S. Li, J. Chuah (A&M)
                                            to discuss status of user reports
Vinny Rajasekhar        3/27/2023     2.8   Update crypto model to reflect comments on fiat conversion
                                            presentation
Vinny Rajasekhar        3/27/2023     2.1   Update crypto model database to show unsuppressed current pricing

William Walker          3/27/2023     0.4   Call with V. Rajasekhar and W. Walker (A&M) regarding coin report


William Walker          3/27/2023     0.3   Call with K. Ramanathan and W. Walker (A&M) regarding Crypto
                                            Strategies deck
William Walker          3/27/2023     1.5   Update charts and tables for crypto strategies deck

William Walker          3/27/2023     1.0   Review coin report architecture regarding FIAT currency
                                            reconciliations
William Walker          3/27/2023     0.3   Call with A. Armstrong (Cumberland) regarding hedging strategies

William Walker          3/27/2023     1.9   Compile current pricing data for Category B assets for use in the
                                            crypto strategies deck
William Walker          3/27/2023     1.3   Draft updates to crypto strategies deck

William Walker          3/27/2023     2.5   Research Custodial wallet data for Crypto Strategies deck


William Walker          3/27/2023     2.4   Reconcile coin report data for Category A & B Assets

William Walker          3/27/2023     3.1   Research slashing risk on various protocols for incorporation into
                                            crypto strategies deck
Adam Titus              3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding progress tracker and workstream updates
Adam Titus              3/28/2023     0.7   Provide follow up to Alameda investment sale. Check with fund
                                            administrator on files provided. Follow up with Treasury team M. Cilia
                                            to ensure process is on track to close 3/31
Adam Titus              3/28/2023     0.2   Token issuer call Bastion Protocol. Discuss potential offer and latest
                                            update on issuer and warrants
Adam Titus              3/28/2023     1.6   Review tear sheets provided by Venture group. Comment on
                                            scorecard and layout of slides


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Professional               Date     Hours     Activity
Adam Titus              3/28/2023     0.6   Call with S. Tang (LedgerPrime), R. Bell, F. Crocco, B. Zonenshayn
                                            (S&C), A. Titus, S. Glustein, D. Nizhner (A&M) re: LedgerPrime LLC
                                            creditor claims
Adam Titus              3/28/2023     0.8   Ledger Prime discussion with B. Zonenshayn [S&C] and S. Glustein
                                            [A&M] re unredeemed LPs
Adam Titus              3/28/2023     1.3   Review token schedule and corresponding updates based on email
                                            correspondence with token issuers and updates within the broader
                                            team
Adam Titus              3/28/2023     0.8   Working session with A. Titus, S. Glustein, L. Clayton (A&M) re:
                                            Alameda Investment tear-sheets and scorecards
Adam Titus              3/28/2023     0.8   Call with Shiliang Tang (LedgerPrime), Rupert Bell, Fabio Crocco,
                                            Benjamin Zonenshayn (S&C), A. Titus, S. Glustein, D. Nizhner (A&M)
                                            re: LedgerPrime LLC creditor claims
Adam Titus              3/28/2023     1.0   Discussion with team on tear sheets. Review industry grouping and
                                            categories within scorecard. Determine which to adjust, edit tracker
Adam Titus              3/28/2023     0.9   Detailed list and agenda update for PMO. Create agenda for slides
                                            and work on notes to provide to team. Based on latest transaction
                                            details and weekly process updates
Alec Liv-Feyman         3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding workstream check-in progress
Alec Liv-Feyman         3/28/2023     1.9   Format and update exited investments token vesting schedule for
                                            tokens 30-37 and review model
Alec Liv-Feyman         3/28/2023     2.1   Update exited investments token vesting schedule for tokens 1-10

Alec Liv-Feyman         3/28/2023     2.2   Develop exited investments token vesting schedule for tokens 21-30


Alec Liv-Feyman         3/28/2023     0.3   Working session with A. Titus, L. Clayton, D. Nizhner, A. Liv-Feyman
                                            (A&M) regarding Ventures PMO deck
Alec Liv-Feyman         3/28/2023     2.2   Analyze exited investments token vesting schedule for tokens 11-20

Anan Sivapalu           3/28/2023     2.1   Reformulate market maker summary to include additional measure
                                            for explanatory purposes
Anan Sivapalu           3/28/2023     2.3   Develop visualization dashboard to summarize top pairs by revenue

Anan Sivapalu           3/28/2023     1.0   Configure dashboard DAX formula to process large market maker by
                                            pair data
Anan Sivapalu           3/28/2023     2.8   Refine DAX code to calculate top market maker by top currency pair

Anan Sivapalu           3/28/2023     2.8   Write DAX code to calculate balance by top market maker by top
                                            currency pair combination
Anan Sivapalu           3/28/2023     0.6   Call with A. Sivapalu, L. Konig, G. Walia (A&M) and C .Rogers
                                            (Nansen) to discuss wallet tracking
Anan Sivapalu           3/28/2023     0.7   Develop visualization dashboard to summarize market maker data

Anan Sivapalu           3/28/2023     0.3   Review data visualization dashboard with market maker summary



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Professional                 Date     Hours     Activity
Anan Sivapalu             3/28/2023     1.0   Refine format and modify report for market maker summary

Bas Fonteijne             3/28/2023     3.1   Prepare a overview slide deck for FTX Europe


Bridger Tenney            3/28/2023     0.8   Determine how entity financials roll up to parent European entities

Calvin Myrie              3/28/2023     2.5   Continue KYC review of the Top 100 traders

Caoimhe Corr              3/28/2023     2.3   Prepare financial analysis for Europe focus entities


Caoimhe Corr              3/28/2023     2.3   Prepare FTX Europe financial analysis

Caoimhe Corr              3/28/2023     3.1   Prepare Non-European entity analysis


Charles Evans             3/28/2023     0.2   Correspondence with C. Evans, H. Chambers, J. Lam, V.
                                              Rajasekhar, K. Ramanathan, G. Walia and W. Walker (A&M)
                                              regarding crypto balances for FTX Japan and Quoine Pte Ltd
Chris Arnett              3/28/2023     0.8   Coordinate and update workstream deliverables with HR, vendor,
                                              and contract teams
Cullen Stockmeyer         3/28/2023     0.6   Review and provide commentary on Solana coin report


Cullen Stockmeyer         3/28/2023     1.6   Review and provide commentary on Sommelier coin report

Cullen Stockmeyer         3/28/2023     0.7   Review and provide commentary on Alpha coin report


David Johnston            3/28/2023     0.2   Discussion over FTX Turkey between H. Ardizzoni, R. Gordon, T.
                                              Hudson, K. Ramanathan, M. Flynn, D. Johnston, M. van den Belt
                                              (A&M)
David Johnston            3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                              Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                              FTX Turkey
David Johnston            3/28/2023     2.7   Review and analyze FTX Turkey memo

David Nizhner             3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                              Feyman (A&M) regarding workstream check-in progress
David Nizhner             3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                              Feyman (A&M) regarding progress tracker and workstream updates
David Nizhner             3/28/2023     1.4   Working session regarding wind down cash flow summary


David Nizhner             3/28/2023     0.3   Working session with A. Titus, L. Clayton, D. Nizhner, A. Liv-Feyman
                                              (A&M) regarding Ventures PMO deck
David Nizhner             3/28/2023     1.5   Adjust crypto receivable schedule in preparation for meeting


David Nizhner             3/28/2023     1.6   Working session regarding Alameda Investment tear sheet




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David Nizhner            3/28/2023     1.3   Adjust ventures process tracker for recent updates

David Nizhner            3/28/2023     0.6   Call with S. Tang (LedgerPrime), R. Bell, F. Crocco, B. Zonenshayn
                                             (S&C), A. Titus, S. Glustein, D. Nizhner (A&M) re: LedgerPrime LLC
                                             creditor claims
David Slay               3/28/2023     0.9   Review and update weekly professional model and PMO for
                                             distribution
Erik Taraba              3/28/2023     0.5   Conduct additional outreach to workstream leadership re: inputs to
                                             project planning and analysis model
Erik Taraba              3/28/2023     1.0   Input additional data points into resource allocation model and
                                             produce draft of outputs for review by workstream leadership
Gaurav Walia             3/28/2023     0.3   Review the Tres Finance historical hot wallet balance sample and
                                             provide feedback
Gioele Balmelli          3/28/2023     0.4   Correspondence on FTX Europe Interactive Brokers funds

Heather Ardizzoni        3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                             Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                             FTX Turkey
Henry Chambers           3/28/2023     0.3   Call with S. Melamed, B. Spitz (FTX), E. Simpson, J Simpson (S&C)
                                             H. Chambers (A&M) regarding FTX Japan operations
Henry Chambers           3/28/2023     1.0   Call with K. Ramanathan, H. Chambers (A&M), S. Melamed, K.
                                             Takahashi, K. Nakamura (FTX) regarding TTP wallets and FTX
                                             Japan Operations
Henry Chambers           3/28/2023     1.0   Call with J. Masters, S. Melamed (FTX) H. Chambers (A&M)
                                             regarding go-forward FTX Japan operations
Henry Chambers           3/28/2023     0.6   Review of FTX Japan withdrawal analysis and correspondence
                                             thereon
Hudson Trent             3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                             Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                             FTX Turkey
Hudson Trent             3/28/2023     1.6   Incorporate commencement date financials into wind down analysis
                                             and update materials
Hudson Trent             3/28/2023     2.1   Roll wind down analysis pro forma financials to wind down
                                             commencement date
Hugh McGoldrick          3/28/2023     2.5   Prep and review of deck re: FTX EU operations


Jack Collis              3/28/2023     2.3   Review Europe entity analysis and prepare tracker

Jack Yan                 3/28/2023     1.8   Perform daily monitoring of FTX Japan crypto asset balances


James Lam                3/28/2023     0.5   Update the documentation for FTX Japan customer balance
                                             adjustments
James Lam                3/28/2023     1.2   Update the crypto balances of Quoine Pte and FTX Japan for the
                                             crypto model
James Lam                3/28/2023     1.3   Review the pricing and balance data extracted from the wallet
                                             address tracking database for Quoine Pte


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Professional                Date     Hours     Activity
Jane Chuah               3/28/2023     0.3   Compress user balance reconciliation template file of FTX Japan

Jane Chuah               3/28/2023     0.4   Call with S. Kojima, T. Hsu (FTX Japan), S. Li, J. Chuah (A&M) to
                                             discuss daily user balance reconciliation
Jane Chuah               3/28/2023     0.8   Sort raw data for user balance reconciliation of FTX Japan by month

Jane Chuah               3/28/2023     0.7   Consolidate October data for user balance reconciliation of FTX
                                             Japan
Jon Chan                 3/28/2023     2.1   Quality check balance refresh extracts for US government requests


Kevin Baker              3/28/2023     2.6   Investigate the withdrawal activity for specific accounts regarding
                                             NFT transactions
Kevin Kearney            3/28/2023     0.8   Working session with K. Kearney and S. Glustein (A&M) relating to
                                             review of Token Release Schedule
Kumanan Ramanathan       3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                             Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                             FTX Turkey
Kumanan Ramanathan       3/28/2023     1.0   Call with K. Ramanathan, H. Chambers (A&M), S. Melamed, K.
                                             Takahashi, K. Nakamura (FTX) regarding TTP wallets and FTX
                                             Japan Operations
Kumanan Ramanathan       3/28/2023     0.2   Discussion over FTX Turkey between H. Ardizzoni, R. Gordon, T.
                                             Hudson, K. Ramanathan, M. Flynn, D. Johnston, M. van den Belt
                                             (A&M)
Lance Clayton            3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                             Feyman (A&M) regarding progress tracker and workstream updates
Lance Clayton            3/28/2023     2.4   Create initial Venture board update deck

Lance Clayton            3/28/2023     2.9   Update resource model based on new entries and review output


Lance Clayton            3/28/2023     1.8   Further research into Alameda Investments and update tracker

Lance Clayton            3/28/2023     0.8   Working session with A. Titus, S. Glustein, L. Clayton (A&M) re:
                                             Alameda Investment tear-sheets and scorecards
Lance Clayton            3/28/2023     1.9   Updates to summary of investments tracker based on team's
                                             feedback
Louis Konig              3/28/2023     1.1   Quality control and review of outputs related to reconciliation
                                             between deposit components and calculated balances
Louis Konig              3/28/2023     1.1   Quality control and review of outputs related to reconciliation
                                             between fee voucher change components and calculated balances
Louis Konig              3/28/2023     1.1   Quality control and review of outputs related to reconciliation
                                             between fee voucher deduction components and calculated balances
Louis Konig              3/28/2023     1.2   Investigation of differences related to reconciliation between fee
                                             voucher change components and calculated balances
Louis Konig              3/28/2023     1.0   Investigation of differences related to reconciliation between fee
                                             voucher deduction components and calculated balances



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Manasa Sunkara          3/28/2023     0.8   Identify any wallet addresses associated with a specific user by
                                            providing their withdrawals and deposits
Mark vanden Belt        3/28/2023     0.3   Participate in discussion between H. Ardizzoni, R. Gordon, H. Trent,
                                            K. Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                            FTX Turkey
Mark vanden Belt        3/28/2023     1.8   Review financials for FTX Turkey


Mark vanden Belt        3/28/2023     1.4   Finalize information availability list EU entities

Mark vanden Belt        3/28/2023     0.2   Participate in discussion between H. Ardizzoni, R. Gordon, H. Trent,
                                            K. Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                            FTX Turkey
Mark vanden Belt        3/28/2023     0.8   E-mail with recovery team for EU entities analysis


Mark vanden Belt        3/28/2023     2.8   Prepare FTX Europe overview materials

Mark vanden Belt        3/28/2023     1.7   Prepare financial analysis for Turkish entities


Mark vanden Belt        3/28/2023     1.8   Review financial presentation materials related to Turkish entities

Matthew Flynn           3/28/2023     0.5   Call with M. Flynn and V. Rajasekhar (A&M) to discuss customer
                                            entitlement balances
Matthew Flynn           3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                            Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                            FTX Turkey
Matthew Flynn           3/28/2023     1.2   Analyze FTX.US customer entitlement balances

Matthew Flynn           3/28/2023     0.2   Discussion over FTX Turkey between H. Ardizzoni, R. Gordon, T.
                                            Hudson, K. Ramanathan, M. Flynn, D. Johnston, M. van den Belt
                                            (A&M)
Matthew Flynn           3/28/2023     0.9   Update post-petition withdrawal analysis


Matthew Flynn           3/28/2023     1.1   Analyze FTX.COM customer entitlement balances

Matthew Flynn           3/28/2023     0.8   Update post-petition deposit analysis


Matthew Flynn           3/28/2023     1.1   Review of FTX Japan Fireblocks MSA terms

Peter Kwan              3/28/2023     1.5   FTX EU Data Extracts for Analysis Support


Peter Kwan              3/28/2023     0.4   FTX EU Balances Recalculation and Validation

Peter Kwan              3/28/2023     1.2   Analyze Revised FTX EU Limited Balances to validate against
                                            recalculated FTX.com balances (for EU users)
Robert Gordon           3/28/2023     0.2   Discussion between H. Ardizzoni, R. Gordon, H. Trent, K.
                                            Ramanathan, M. Flynn, D. Johnston, M. van den Belt (A&M) over
                                            FTX Turkey

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Professional              Date     Hours     Activity
Robert Johnson         3/28/2023     2.4   Create replica of Prod Balances Alameda database server and
                                           Update pointers from analysis server
Robert Johnson         3/28/2023     1.3   Update replica of Prod Balances Alameda database server to latest
                                           version of Postgres
Steven Glustein        3/28/2023     0.3   Finalize PMO presentation relating to brokerage update

Steven Glustein        3/28/2023     0.3   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                           Feyman (A&M) regarding progress tracker and workstream updates
Steven Glustein        3/28/2023     0.4   Finalize PMO presentation relating to LedgerPrime updates


Steven Glustein        3/28/2023     0.6   Review legal document relating to LedgerPrime

Steven Glustein        3/28/2023     1.6   Finalize PMO presentation relating to token investments


Steven Glustein        3/28/2023     0.4   Correspondence with S. Tang (LedgerPrime) regarding receipts
                                           relating to SAFE cancelation
Steven Glustein        3/28/2023     1.9   Review and update Token Release Schedule relating to Assumptions
                                           Tab
Steven Glustein        3/28/2023     2.1   Review and update Token Release Schedule relating to Dashboard
                                           Tab
Steven Glustein        3/28/2023     0.8   Working session with K. Kearney and S. Glustein (A&M) relating to
                                           review of Token Release Schedule
Steven Glustein        3/28/2023     0.6   Call with S. Tang (LedgerPrime), R. Bell, F. Crocco, B. Zonenshayn
                                           (S&C), A. Titus, S. Glustein, D. Nizhner (A&M) re: LedgerPrime LLC
                                           creditor claims
Steven Glustein        3/28/2023     0.8   Working session with A. Titus, S. Glustein, L. Clayton (A&M) re:
                                           Alameda Investment tear-sheets and scorecards
Steven Glustein        3/28/2023     0.6   Call with J. MacDonald (S&C) to discuss token allocations relating to
                                           venture token investments
Steven Glustein        3/28/2023     1.2   Finalize PMO presentation relating to venture investments


Steven Glustein        3/28/2023     1.1   Review reconciliation of transferred crypto assets relating to
                                           LedgerPrime
Steven Glustein        3/28/2023     1.2   Review and update Token Release Schedule relating to Pricing Tab


Steven Glustein        3/28/2023     1.3   Review and update Token Release Schedule relating to Drivers Tab

Summer Li              3/28/2023     0.2   Plan out the user balance reconciliation in order to reconcile the
                                           intercompany balance between FTX Japan KK and FTX Trading
Summer Li              3/28/2023     0.4   Call with S. Kojima, T. Hsu (FTX Japan), S. Li, J. Chuah (A&M) to
                                           discuss daily user balance reconciliation
Vinny Rajasekhar       3/28/2023     0.5   Call with M. Flynn, V. Rajasekhar (A&M) to discuss customer
                                           entitlement balances
Vinny Rajasekhar       3/28/2023     2.7   Update presentation formula to pull directly from model database




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Professional               Date     Hours     Activity
Vinny Rajasekhar        3/28/2023     2.4   Reconcile February BitGo fee invoice to crypto model data

William Walker          3/28/2023     0.3   Call with V. Rajasekhar and W. Walker (A&M) regarding coin report


William Walker          3/28/2023     1.1   Reconcile final crypto strategies deck with coin report

William Walker          3/28/2023     1.5   Update crypto strategies staking data with updated information on
                                            various protocol policies
William Walker          3/28/2023     1.8   Finalize crypto strategies deck with summary materials


William Walker          3/28/2023     1.8   Compile current pricing for various options strategies

William Walker          3/28/2023     2.4   Prepare hedging model to outline various hedging strategies and
                                            impact on estate value
William Walker          3/28/2023     1.7   Research additional staking data for incorporation into crypto
                                            strategies deck
William Walker          3/28/2023     1.6   Update hedging strategies slide tables


Adam Titus              3/29/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Adam Titus              3/29/2023     1.2   Review sale process materials from PWP to ensure accurate update
                                            of equity investments / fund investments. Prep for call
Adam Titus              3/29/2023     1.8   Review PMO slides and draft corresponding tables and charts.
                                            Provide comments to team
Adam Titus              3/29/2023     2.1   Review Ledger Prime update materials based on latest facts and
                                            knowledge base
Adam Titus              3/29/2023     1.4   Update BOD materials related to venture investments. Update slide
                                            on token and equity investments, latest process notes and schedules
Adam Titus              3/29/2023     1.3   Review De minimis asset sale detail. Confirm wire instructions and
                                            sale documents based on request from buyer
Adam Titus              3/29/2023     0.5   Call with Rupert Bell, Fabio Crocco (S&C), A. Titus, S. Glustein, D.
                                            Nizhner (A&M) re: LedgerPrime LLC fund next steps
Alec Liv-Feyman         3/29/2023     0.7   Working session with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A.
                                            Liv-Feyman (A&M) regarding PMO ventures deck outline
Alec Liv-Feyman         3/29/2023     2.1   Analyze legal agreements to update dates for the vesting schedule

Alec Liv-Feyman         3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                            Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
                                            Tracing - Ventures Touchpoint
Alec Liv-Feyman         3/29/2023     2.4   Update exited investments schedule for vested token quantities

Alec Liv-Feyman         3/29/2023     1.0   Review PMO token slide to update figures and model

Alec Liv-Feyman         3/29/2023     2.3   Update PMO tokens deck for new formatting, token information




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Financial Analysis
Professional                Date     Hours     Activity
Alec Liv-Feyman          3/29/2023     2.1   Update variance analysis for coin report and exited token
                                             investments for vested tokens
Alessandro Farsaci       3/29/2023     0.4   Review of slide on FTX Europe AG situation for Board Meeting


Alex Canale              3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                             Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
                                             Tracing - Ventures Touchpoint
Anan Sivapalu            3/29/2023     2.8   Check relativity for subsidiary association to larger entity for top
                                             market makers
Anan Sivapalu            3/29/2023     0.4   Call with A. Mohammed and A. Sivapalu (A&M) regarding exchange
                                             P&L model next steps
Anan Sivapalu            3/29/2023     0.5   Reformulate market maker summary to include additional measure
                                             for explanatory purposes
Anan Sivapalu            3/29/2023     0.3   Review and send over financial model related to exchange services
                                             and products
Anan Sivapalu            3/29/2023     1.1   Modify data received from FTX and fit to accounting data for variance
                                             analysis
Anan Sivapalu            3/29/2023     0.7   Generate pricing data for select fiat currency for the year 2019

Anan Sivapalu            3/29/2023     1.2   Check online sources for subsidiary name found in document
                                             repository
Azmat Mohammed           3/29/2023     0.4   Call with A. Mohammed and A. Sivapalu (A&M) regarding exchange
                                             P&L model next steps
Bas Fonteijne            3/29/2023     2.8   Update checklist per entity in scope with new information


Bridger Tenney           3/29/2023     1.0   Review time entries in resource staffing model

Bridger Tenney           3/29/2023     0.7   Summarize current entries into consolidated resource model

Calvin Myrie             3/29/2023     2.8   Continue KYC review of the Top 100 traders


Calvin Myrie             3/29/2023     3.1   Continue KYC review of the Top 100 traders

Caoimhe Corr             3/29/2023     1.9   Prepare European balance sheet reconciliation


Cullen Stockmeyer        3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                             Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
                                             Tracing - Ventures Touchpoint
David Johnston           3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
David Johnston           3/29/2023     2.1   Review additional materials received and updated analysis relating to
                                             FTX Turkey
David Johnston           3/29/2023     2.7   Review and analyze FTX Europe presentation materials




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Professional                Date     Hours     Activity
David Nizhner            3/29/2023     2.2   Create slide regarding dissolution investments

David Nizhner            3/29/2023     1.6   Create a bridge with adjusted LedgerPrime tokens


David Nizhner            3/29/2023     0.7   Adjust resource model with updated drivers

David Nizhner            3/29/2023     1.3   Update LedgerPrime crypto wallet transfer balances

David Nizhner            3/29/2023     0.5   Call with Rupert Bell, Fabio Crocco (S&C), A. Titus, S. Glustein, D.
                                             Nizhner (A&M) re: LedgerPrime LLC fund next steps
David Nizhner            3/29/2023     1.2   Revise LedgerPrime PMO update slide

David Slay               3/29/2023     0.9   Update variance analysis based on comments from management


David Slay               3/29/2023     1.8   Update consolidated balance sheet proforma supporting files

Ed Mosley                3/29/2023     0.6   Review of updated draft of February interim operating report


Ed Mosley                3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Erik Taraba              3/29/2023     0.3   Build additional check formulas into staff efficiency analysis to
                                             account for additional data fields
Erik Taraba              3/29/2023     0.6   QC staff allocation analysis and edit as necessary


Erik Taraba              3/29/2023     0.4   Make edits to resource allocation model formatting per management
                                             feedback
Gaurav Walia             3/29/2023     0.3   Call with G. Walia, V. Rajasekhar (A&M) regarding bridge from 1.17
                                             to 3.17 crypto balances
Gaurav Walia             3/29/2023     0.9   Review the historical Alameda balance sheets analysis


Gioele Balmelli          3/29/2023     0.3   Correspondence on FTX Europe Bank accounts

Heather Ardizzoni        3/29/2023     0.9   Prepare for call between A&M and S&C to discuss FTX Europe
                                             updates
Heather Ardizzoni        3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Jack Yan                 3/29/2023     1.7   Perform Relativity search for the user interface of FTX Application to
                                             determine whether there is any contractual relationship change
                                             between Blockfolio and customers
James Lam                3/29/2023     2.2   Review the schedules of Quoine Pte's trial balances and crypto
                                             transfer records
Jane Chuah               3/29/2023     1.1   Consolidate April to July data for user balance reconciliation of FTX
                                             Japan



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Jane Chuah              3/29/2023     0.4   Consolidate initial user balance of FTX Japan and convert the format
                                            for user balance reconciliation
Jane Chuah              3/29/2023     0.4   Consolidate November data for user balance reconciliation of FTX
                                            Japan
Jane Chuah              3/29/2023     0.5   Call with S. Kojima, T. Hsu (FTX Japan), S. Li, J. Chuah (A&M) to
                                            discuss the work plan for the user balance reconciliation
Jane Chuah              3/29/2023     0.8   Consolidate August to November data for user balance reconciliation
                                            of FTX Japan
Jane Chuah              3/29/2023     0.9   Convert the format of consolidated data for user balance
                                            reconciliation of FTX Japan
Joachim Lubsczyk        3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                            Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                            O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Johnny Gonzalez         3/29/2023     1.2   Prepare the February Fee Application PDF for management review

Jon Chan                3/29/2023     2.8   Provide documents for activity relating to specific wallets that have
                                            made withdrawals from the exchange
Jon Chan                3/29/2023     2.1   Quality check additional balance refresh extracts for US government
                                            requests
Kevin Kearney           3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                            Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
                                            Tracing - Ventures Touchpoint
Kumanan Ramanathan      3/29/2023     0.5   Call with K.Ramanathan, W. Walker (A&M), D.Bailey, L.Lovelace
                                            (EY) regarding tax implications of various crypto management
                                            strategies
Kumanan Ramanathan      3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                            Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                            O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Kumanan Ramanathan      3/29/2023     0.9   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                            Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                            O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Lance Clayton           3/29/2023     1.2   Revise board deck with new equity updates


Lance Clayton           3/29/2023     1.9   Prepare bridge summary for internal team ahead of discussion

Lance Clayton           3/29/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Lance Clayton           3/29/2023     1.7   Review Alameda contact list and prepare outreach

Lance Clayton           3/29/2023     2.1   Populate board deck and discuss gameplan with team

Larry Iwanski           3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                            Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                            O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Lorenzo Callerio        3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                            Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
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Financial Analysis
Professional                Date     Hours     Activity
Louis Konig              3/29/2023     1.6   Quality control and review of outputs related to reconciliation
                                             between fiat withdrawal components and calculated balances
Louis Konig              3/29/2023     1.5   Quality control and review of outputs related to reconciliation
                                             between futures trade components and calculated balances
Louis Konig              3/29/2023     1.5   Investigation of differences related to reconciliation between funding
                                             payment components and calculated balances
Louis Konig              3/29/2023     1.5   Investigation of differences related to reconciliation between fiat
                                             withdrawal components and calculated balances
Louis Konig              3/29/2023     1.3   Quality control and review of outputs related to reconciliation
                                             between fiat deposit components and calculated balances
Louis Konig              3/29/2023     1.1   Investigation of differences related to reconciliation between futures
                                             trade components and calculated balances
Louis Konig              3/29/2023     1.1   Investigation of differences related to reconciliation between fiat
                                             deposit components and calculated balances
Louis Konig              3/29/2023     1.1   Quality control and review of outputs related to reconciliation
                                             between funding payment components and calculated balances
Mark vanden Belt         3/29/2023     2.1   Prepare balance sheet analysis on EU/ Rest of World entities


Mark vanden Belt         3/29/2023     1.0   Update FTX Europe presentation materials

Matthew Flynn            3/29/2023     0.9   Review exchange withdrawal prioritization on bankruptcy

Matthew Flynn            3/29/2023     0.7   Review of hot wallet historical balance display framework


Matthew Flynn            3/29/2023     0.4   Confirm Coinbase deposits made on chain to cold wallets

Peter Kwan               3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Peter Kwan               3/29/2023     0.4   Conduct validation of Revised FTX EU Limited Balances


Peter Kwan               3/29/2023     1.8   FTX EU Data Extracts for Analysis Support

Peter Kwan               3/29/2023     0.9   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Sharon Schlam Batista    3/29/2023     3.0   Analyze customer reconciliation file and understand customer
                                             reconciliation balances in order to create the customer trading book
                                             workflow
Steve Coverick           3/29/2023     0.3   Conference call between H. Ardizzoni, D. Johnston, E. Mosley, J.
                                             Lubsczyk, K. Ramanathan, L. Iwanski, P. Kwan, S. Coverick (A&M),
                                             O. de Vito Piscicelli and others (S&C) to discuss FTX Europe updates
Steven Glustein          3/29/2023     0.5   Call with R. Bell (Walkers Global), F. Crocco, B. Zonenshayne (S&C)
                                             relating to LedgerPrime deregulation
Steven Glustein          3/29/2023     1.4   Research Relativity for venture investment details relating to
                                             investigative venture investments


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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/29/2023     1.7   Prepare package for PWP relating to fund investment documents

Steven Glustein         3/29/2023     1.6   Review token presentation relating to token tracing analysis


Steven Glustein         3/29/2023     2.1   Research token investments relating to token warrants and
                                            milestones
Steven Glustein         3/29/2023     1.4   Prepare draft Token Release Schedule for the token tracing team
                                            relating to token venture investments
Steven Glustein         3/29/2023     0.4   Call with L. Lambert, L. Callerio, A. Liv-Feyman, K. Kearney, C.
                                            Stockmeyer, A. Canale, L. Iwanski, S. Glustein (A&M) re: Avoidance -
                                            Tracing - Ventures Touchpoint
Steven Glustein         3/29/2023     0.3   Meeting with A. Titus, S. Glustein, L. Clayton (A&M), S&C and PWP
                                            re: Alameda Investments weekly update
Steven Glustein         3/29/2023     1.9   Review token release schedule relating to select token investments
                                            and their vesting schedule
Summer Li               3/29/2023     3.2   Reconcile user balance in Japanese Yen for April 2022 in order to
                                            reconcile the intercompany balance between FTX Japan KK and FTX
                                            Trading
Summer Li               3/29/2023     1.1   Input the data into the template for user balance reconciliation in
                                            Japanese Yen for April 2022
Summer Li               3/29/2023     0.7   Correspondence with S. Kojima (FTX Japan) regarding the user
                                            balance reconciliation in Japanese Yen for April
Summer Li               3/29/2023     0.5   Call with S. Kojima, T. Hsu (FTX Japan), S. Li, J. Chuah (A&M) to
                                            discuss the work plan for the user balance reconciliation
Vinny Rajasekhar        3/29/2023     0.3   Call with G. Walia, V. Rajasekhar (A&M) regarding bridge from 1.17
                                            to 3.17 crypto balances
Vinny Rajasekhar        3/29/2023     2.2   Prepare consolidated bridge from January shortfall deck to 3.17.23
                                            coin report
Vinny Rajasekhar        3/29/2023     2.9   Update silo mapping for 3.17.23 coin report fiat conversion mapping

William Walker          3/29/2023     2.3   Reconcile coin report category B tokens with current and petition
                                            date pricing data
William Walker          3/29/2023     0.5   Call with K.Ramanathan, (A&M), D.Bailey, L.Lovelace (EY) regarding
                                            tax implications of various crypto management strategies
William Walker          3/29/2023     1.2   Compare 3rd party intel data with pricing data used in coin report


Adam Titus              3/30/2023     0.3   Call with B. Zonenshayn, Fabio Crocco (S&C), A. Titus, S. Glustein,
                                            D. Nizhner (A&M) re: fund deregistration
Adam Titus              3/30/2023     0.4   Review emails relating to DI investigative work respond to questions
                                            related to investment funds and portal access
Adam Titus              3/30/2023     0.9   Review and comment on venture investment presentation. Latest
                                            equity and fund positions for update to BOD
Adam Titus              3/30/2023     1.2   Respond to email request on erroneous BTC transfer. Work to define
                                            process, set up time to chat with issuer of payment and discuss next
                                            steps



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Financial Analysis
Professional               Date     Hours     Activity
Adam Titus              3/30/2023     2.0   BOD update materials. Draft layout and organize slides. Build charts
                                            and templates coordinate with S. Glustein (A&M) on deliverables and
                                            timeline
Adam Titus              3/30/2023     2.3   Update draft of PMO slides and include Token schedule and
                                            summary of positions based on latest token releases and work to
                                            transfer tokens
Adam Titus              3/30/2023     1.4   Review closing documents for fund sale. Ensure wire transfer
                                            information and closing documents are reflective of correct accounts
                                            and transfer details
Adam Titus              3/30/2023     1.3   Update investment tracker for latest details and provide summary
                                            schedules to develop for PMO slides
Alec Liv-Feyman         3/30/2023     0.4   Call with S. Glustein and A. Liv-Feyman (A&M) re: PMO updates for
                                            Token workstream
Alec Liv-Feyman         3/30/2023     2.0   Update token agreement compared to coin report to compare
                                            bridging schedule
Alec Liv-Feyman         3/30/2023     2.1   Update token deck for new summary and investment analysis

Alec Liv-Feyman         3/30/2023     2.2   Draft emails for new contact information to investees of tokens

Alec Liv-Feyman         3/30/2023     2.3   Review token agreement for new vesting schedule information


Alessandro Farsaci      3/30/2023     0.7   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                            AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), T. Luginbühl,
                                            E. Müller and A.Pellizzari (L+S), F. Lorandi, D. Knesevic (Holenstein
                                            Brusa LTD), A. Dietderich, E. Simpson, O. de Vito Pisc
Anan Sivapalu           3/30/2023     2.6   Check through magnus for required data for analysis and mark
                                            obsolete tables for deletion
Anan Sivapalu           3/30/2023     2.5   Power BI dashboard modification for market maker to reflect maker
                                            by pair combination
Anan Sivapalu           3/30/2023     2.9   Check relativity for the main account of top market makers to gauge
                                            whether subsidiaries are linked to accounts
Bas Fonteijne           3/30/2023     2.8   Prepare customer balance reconciliation


Bas Fonteijne           3/30/2023     1.9   Gather data for Singaporean and RoW entities

Calvin Myrie            3/30/2023     1.2   Continue KYC review of the Top 100 traders

Calvin Myrie            3/30/2023     1.3   Continue KYC review of the Top 100 traders


Caoimhe Corr            3/30/2023     0.1   Participate in call with C. Kotarba, D. Johnston M. Van den Belt C.
                                            Corr B. Fonteijne (A&M) to discuss current situation in FTX Europe
Caoimhe Corr            3/30/2023     1.1   Participate in meeting with S&C (London office) to discuss FTX
                                            Europe
Caoimhe Corr            3/30/2023     2.0   Analyze Turkish balance sheets

Cullen Stockmeyer       3/30/2023     2.2   Prepare February detail time entries based on feedback for February
                                            Fee Application

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Financial Analysis
Professional                Date     Hours     Activity
David Johnston           3/30/2023     2.5   Prepare analysis and materials relating to FTX Turkey

David Johnston           3/30/2023     1.6   Prepare balance sheet analysis for FTX Turkey


David Johnston           3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                             (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                             Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                             Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                             wor
David Nizhner            3/30/2023     1.9   Revise Alameda investment presentation with new updates


David Nizhner            3/30/2023     1.7   Review SEC registration various for entities

David Nizhner            3/30/2023     1.4   Update process tracker with new updates


David Nizhner            3/30/2023     0.3   Call with B. Zonenshayn, Fabio Crocco (S&C), A. Titus, S. Glustein,
                                             D. Nizhner (A&M) re: fund deregistration
David Nizhner            3/30/2023     0.6   Working session with S. Glustein, D. Nizhner (A&M) re: LedgerPrime
                                             transfers
David Nizhner            3/30/2023     2.8   Create model for transaction bridge re: asset listing


David Slay               3/30/2023     1.9   Identify variance in asset bridge and reflect changes in model

Erik Taraba              3/30/2023     2.9   Develop financial analysis of designated project resource
                                             management initiatives
Erik Taraba              3/30/2023     1.4   Develop summary schedules of resource management analysis for
                                             review by leadership
Gaurav Walia             3/30/2023     0.2   Review the pending Circle withdrawals database


Gaurav Walia             3/30/2023     0.4   Review the excluded tokens analysis and make adjustments to the
                                             underlying exchange shortfall analysis
Gaurav Walia             3/30/2023     0.3   Call with G. Walia, W. Walker, and L. Konig (A&M) regarding FTT
                                             customer balances
Gaurav Walia             3/30/2023     1.3   Review the bank account detail against the AWS deposits and
                                             withdrawals table
Gioele Balmelli          3/30/2023     0.7   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                             AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), T. Luginbühl,
                                             E. Müller and A.Pellizzari (L+S), F. orandi, D. Knesevic (Holenstein
                                             Brusa LTD), A. Dieterich, E. Simpson, O. de Vito Piscic
Henry Chambers           3/30/2023     0.4   Attend to FTX Japan audit questions

Henry Chambers           3/30/2023     0.4   Attend to queries regarding FTX Japan cost structure


Henry Chambers           3/30/2023     1.3   Attend to correspondence regarding Fireblocks contract

Igor Radwanski           3/30/2023     3.1   Analyze withdrawal data pertaining to specific wallet addresses


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Financial Analysis
Professional                Date     Hours     Activity
Jack Yan                 3/30/2023     0.9   Perform Relativity search for the user interface of FTX Application to
                                             determine whether there is any contractual relationship change
                                             between Blockfolio and customers
Jack Yan                 3/30/2023     1.8   Perform daily monitoring of FTX Japan crypto asset balances

James Lam                3/30/2023     3.1   Obtain and review the changes in trading volumes of entities under
                                             FTX Japan Holdings
Jon Chan                 3/30/2023     2.6   Investigate exchange activity and help trace funds from fiat deposit
                                             information
Jon Chan                 3/30/2023     0.5   Call with M. Sunkara, J. Chan, P. Kwan, K. Baker, L. Konig (A&M), B.
                                             Harsch, S. Yeargan, J. Gallant (S&C) to discuss balance
                                             recalculation outputs
Jon Chan                 3/30/2023     1.1   Provide account information regarding specific deposit wallets on the
                                             exchange
Kevin Baker              3/30/2023     2.4   Develop and maintain scripts for AWS balance and KYC data
                                             requests
Kora Dusendschon         3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                             (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                             Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                             Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                             wor
Kumanan Ramanathan       3/30/2023     0.2   Call with K. Ramanathan and W. Walker (A&M) regarding hedging
                                             strategies
Kumanan Ramanathan       3/30/2023     0.4   Review and circulate non-PEO version of crypto coin reports


Kumanan Ramanathan       3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                             (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                             Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                             Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                             wor
Lance Clayton            3/30/2023     1.6   Review resource model and send feedback prior to leadership review

Lance Clayton            3/30/2023     1.6   Update the process tracker for Alameda Investments


Lance Clayton            3/30/2023     0.3   Call with S. Glustein and L. Clayton (A&M) re: PMO updates for
                                             Venture workstream
Lance Clayton            3/30/2023     3.2   Prepare slide for PMO deck re: Venture Update

Lance Clayton            3/30/2023     2.1   Updates to the investment tracker for exited and in process
                                             investments
Lance Clayton            3/30/2023     0.2   Call with S. Glustein and L. Clayton (A&M) re: PMO updates for
                                             Venture workstream
Lance Clayton            3/30/2023     2.5   Adjust PMO deck based on feedback from team




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Professional                Date     Hours     Activity
Louis Konig              3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                             (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                             Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                             Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                             wor
Louis Konig              3/30/2023     0.5   Quality control and review of outputs related to reconciliation
                                             between options components and calculated balances
Louis Konig              3/30/2023     1.1   Investigation of differences related to reconciliation between options
                                             components and calculated balances
Louis Konig              3/30/2023     0.6   Investigation of differences related to reconciliation between option
                                             fills trade components and calculated balances
Louis Konig              3/30/2023     1.3   Quality control and review of outputs related to reconciliation
                                             between option fills trade components and calculated balances
Louis Konig              3/30/2023     0.8   Quality control and review of outputs related to reconciliation
                                             between net transfers to options components and calculated balances
Louis Konig              3/30/2023     0.5   Call with M. Sunkara, J. Chan, P. Kwan, K. Baker, L. Konig (A&M), B.
                                             Harsch, S. Yeargan, J. Gallant (S&C) to discuss balance
                                             recalculation outputs
Louis Konig              3/30/2023     1.5   Investigation of differences related to reconciliation between
                                             redemption components and calculated balances
Louis Konig              3/30/2023     1.6   Investigation of differences related to reconciliation between net
                                             transfers to options components and calculated balances
Louis Konig              3/30/2023     1.6   Quality control and review of outputs related to reconciliation
                                             between redemption components and calculated balances
Louis Konig              3/30/2023     0.3   Call with G. Walia, W. Walker, and L. Konig (A&M) regarding FTT
                                             customer balances
Manasa Sunkara           3/30/2023     3.1   Analyze the user's trading activity to help identify missing funds in
                                             their ending balance and provide the results
Manasa Sunkara           3/30/2023     0.8   Provide the user account details and all associated withdrawal,
                                             deposit and transfer activity
Manasa Sunkara           3/30/2023     0.7   Search the SQL database to confirm whether a certain fiat
                                             transaction occurred
Manasa Sunkara           3/30/2023     0.5   Call with M. Sunkara, J. Chan, P. Kwan, K. Baker, L. Konig (A&M), B.
                                             Harsch, S. Yeargan, J. Gallant (S&C) to discuss balance
                                             recalculation outputs
Mark vanden Belt         3/30/2023     2.1   Prepare update on Europe entities

Mark vanden Belt         3/30/2023     1.6   Respond to questions on Turkey and review prior materials


Mark vanden Belt         3/30/2023     1.9   Prepare update on Europe priority entities

Mark vanden Belt         3/30/2023     1.7   Update FTX Europe overview presentation for comments received


Matthew Flynn            3/30/2023     1.1   Create FTX.COM name mapping to withdrawals tables

Matthew Flynn            3/30/2023     0.9   Create FTX.US entity name mapping to withdrawals tables


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Professional               Date     Hours     Activity
Matthias Schweinzer     3/30/2023     0.7   Call on FTX Europe AG to discuss debt moratorium of FTX Europe
                                            AG with A. Farsaci, M. Schweinzer, G. Balmelli (A&M), T. Luginbühl,
                                            E. Müller and A.Pellizzari (L+S), F. Lorandi, D. Knesevic (Holenstein
                                            Brusa LTD), A. Dietderich, E. Simpson, O. de Vito Pisc
Peter Kwan              3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                            (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                            Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                            Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                            wor
Peter Kwan              3/30/2023     0.6   Perform validation of Revised FTX EU Limited Balances


Peter Kwan              3/30/2023     0.5   Call with M. Sunkara, J. Chan, P. Kwan, K. Baker, L. Konig (A&M), B.
                                            Harsch, S. Yeargan, J. Gallant (S&C) to discuss balance
                                            recalculation outputs
Peter Kwan              3/30/2023     1.5   FTX EU Balances Recalculation and Validation


Peter Kwan              3/30/2023     1.6   FTX EU Data Extracts for Analysis Support

Quinn Lowdermilk        3/30/2023     1.8   Research surrounding the Heco blockchain and how transactions are
                                            facilitated through smart contracts
Robert Johnson          3/30/2023     1.3   Provide queries to update permissions to tables to allow querying by
                                            relevant parties in support of balance calculations
Robert Johnson          3/30/2023     0.5   Call with R. Perubhatla (FTX), S. Stephens, K. Goser, Giiaga
                                            (Kephas), A. Taylor, H. Nachmias, N. Leizerovich (Sygnia), D.
                                            Johnston, K. Ramanathan, K. Dusendschon, P. Kwan, L. Konig, R.
                                            Johnson (A&M) to discuss FTX Europe data preservation efforts and
                                            wor
Robert Johnson          3/30/2023     1.2   Monitor of S3 export of Prod Balances database for eventual loading
                                            to database
Robert Johnson          3/30/2023     1.8   Create snapshot of Prod Balances database and beginning parallel
                                            export to S3 storage
Steven Glustein         3/30/2023     0.3   Call with B. Zonenshayn, Fabio Crocco (S&C), A. Titus, S. Glustein,
                                            D. Nizhner (A&M) re: fund deregistration
Steven Glustein         3/30/2023     0.3   Discussion with N. Velivela (PWP) relating to wind-down analysis

Steven Glustein         3/30/2023     0.2   Correspondence with K. Flinn (PWP) regarding updates on
                                            transaction closing
Steven Glustein         3/30/2023     0.2   Call with S. Glustein and L. Clayton (A&M) re: PMO updates for
                                            Venture workstream
Steven Glustein         3/30/2023     0.4   Call with S. Glustein and A. Liv-Feyman (A&M) re: PMO updates for
                                            Token workstream
Steven Glustein         3/30/2023     0.4   Correspondence with M. Wu (S&C) relating to process regarding
                                            SAFE cancelations
Steven Glustein         3/30/2023     0.3   Call with S. Glustein and L. Clayton (A&M) re: PMO updates for
                                            Venture workstream
Steven Glustein         3/30/2023     0.8   Review draft presentation on token investment relating to FTX
                                            investment



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Financial Analysis
Professional               Date     Hours     Activity
Steven Glustein         3/30/2023     0.5   Call with K. Flinn (PWP) to discuss di minimis sales process relating
                                            to documentation and procedures
Steven Glustein         3/30/2023     2.8   Update draft Token Release Schedule relating to Token Generation
                                            Event dates
Steven Glustein         3/30/2023     2.9   Update draft presentation regarding token investment relating to
                                            indication of interests received
Steven Glustein         3/30/2023     1.8   Update draft Token Release Schedule relating to Dashboard updates

Vinny Rajasekhar        3/30/2023     2.1   Compile token transfers during week of 3.26.23 for inclusion in crypto
                                            model
Vinny Rajasekhar        3/30/2023     1.9   Update crypto model to reflect accurate ledger prime balances after
                                            transfers
Vinny Rajasekhar        3/30/2023     1.5   Prepare and review non-peo coin report for Crypto team discussion


William Walker          3/30/2023     1.3   Prepare costless hedge strategies workbook

William Walker          3/30/2023     0.3   Call with G. Walia, W. Walker, and L. Konig (A&M) regarding FTT
                                            customer balances
William Walker          3/30/2023     2.2   Update crypto strategies deck with updated hedge strategies detail

William Walker          3/30/2023     1.1   Review hedge strategies provided by Cumberland

William Walker          3/30/2023     0.6   Call with W. Walker and A. Armstrong (Cumberland) regarding
                                            hedging strategies
William Walker          3/30/2023     1.9   Prepare updated costless hedge strategies chart

William Walker          3/30/2023     0.2   Call with K. Ramanathan and W. Walker (A&M) regarding hedging
                                            strategies
Adam Titus              3/31/2023     0.6   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding PMO and BOD deck updates
Adam Titus              3/31/2023     0.9   Review response on token investment and data requests via email
                                            related to possible transaction on de-minimis sale process
Adam Titus              3/31/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP re:
                                            Alameda Investment situation overview
Adam Titus              3/31/2023     0.4   Discuss token investment and potential IOI received with M. Rahmani
                                            [PWP]
Adam Titus              3/31/2023     1.3   Review Alameda investment closing documents and finalize wire
                                            instructions to support transaction closing. Email funding criteria and
                                            other considerations to counterparties
Adam Titus              3/31/2023     2.4   Draft situation overview on token investment to update team on
                                            process and next steps. Including schedules of holders and review of
                                            purchase agreements / release schedules
Adam Titus              3/31/2023     2.1   Update BOD materials related to venture investments. Update slide
                                            on token and equity investments, latest process notes and schedules
Adam Titus              3/31/2023     1.8   Draft token situation overview. Including process of information and
                                            next steps regarding a potential solution

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Professional               Date     Hours     Activity
Adam Titus              3/31/2023     1.8   Update internal time and process tracker for review by leadership
                                            team. Update workstreams and add next actionable items. Include
                                            timeline and applicable team members within venture workstream
Alec Liv-Feyman         3/31/2023     0.6   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding PMO and BOD deck updates
Alec Liv-Feyman         3/31/2023     2.1   Update PMO deck and token vesting schedule of quantity variance
                                            between vested tokens and tokens held in storage
Alec Liv-Feyman         3/31/2023     1.8   Update BOD deck information related to new updates and next steps
                                            after reviewing agreements and emails
Alec Liv-Feyman         3/31/2023     1.9   Update token vesting schedule for exited investments to tie out
                                            dashboard, summary page, and bridging report
Anan Sivapalu           3/31/2023     0.8   Check through results of last week's crypto currency prices to ensure
                                            API functionality
Anan Sivapalu           3/31/2023     2.2   Rewrite python codes and modify API calls to conform to new
                                            package installation
Anan Sivapalu           3/31/2023     2.2   Write python code to calculate top currency pairs traded


Bas Fonteijne           3/31/2023     1.9   Update checklist per entity in scope with newly available information

David Johnston          3/31/2023     0.5   Call with J. Ray, M. Cilia, K. Schultea (FTX), E. Simpson (S&C), D.
                                            Johnston, S. Coverick, K. Ramanathan, R. Gordon, and H. Trent
                                            (A&M) regarding Turkey operations
David Johnston          3/31/2023     0.5   Call regarding Turkey operations with J. Ray, M. Cilia, K. Schultea
                                            (FTX), E. Simpson (S&C), D. Johnston, S. Coverick, K. Ramanathan,
                                            R. Gordon, and H. Trent (A&M)
David Johnston          3/31/2023     2.1   Update materials relating to FTX Turkey

David Nizhner           3/31/2023     0.5   Call with S. Tang (LedgerPrime), B. Zonenshayn, Fabio Crocco, D.
                                            Gilberg (S&C), A. Titus, D. Nizhner (A&M) re: fund deregistration
David Nizhner           3/31/2023     0.6   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding PMO and BOD deck updates
David Nizhner           3/31/2023     1.2   Variance analysis regarding crypto transfers

David Nizhner           3/31/2023     1.4   Revise Alameda investment PMO slide


David Nizhner           3/31/2023     0.5   Call with B. Zonenshayn, Fabio Crocco (S&C), A. Titus, D. Nizhner
                                            (A&M) re: follow up on deregistration
David Nizhner           3/31/2023     2.7   Create bridge regarding asset listing discrepancies


David Nizhner           3/31/2023     1.6   Working session regarding asset listing schedule

Ed Mosley               3/31/2023     0.9   Teleconference with A. Dietderich (S&C), E. Mosley, S. Coverick, K.
                                            Ramanathan and G. Walia (A&M) re: Alameda balance overview
Ed Mosley               3/31/2023     1.1   Review and prepare comments to draft FTX Japan options analysis
                                            for management



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Professional                Date     Hours     Activity
Ed Mosley                3/31/2023     1.2   Review and provide comments to draft options analysis FTX Turkey

Erik Taraba              3/31/2023     0.2   Call with L. Clayton and E. Taraba (A&M) re: coordination of efforts
                                             for resource efficiency analyses
Erik Taraba              3/31/2023     0.7   Adjust parameters of resource efficiency analysis per feedback from
                                             management
Erik Taraba              3/31/2023     0.6   Make edits to select allocation analysis schedules per feedback from
                                             leadership
Erik Taraba              3/31/2023     1.7   Update formatting for select schedules re: resource allocation
                                             analysis and refresh associated presentation materials
Gaurav Walia             3/31/2023     0.8   Teleconference with N. Friedlander, M. Materni, L. Ross (S&C), K.
                                             Ramanathan and G. Walia (A&M) regarding US exchange shortfall
Gaurav Walia             3/31/2023     0.6   Teleconference with D. Jones, L. Venditti (Coinbase), K.
                                             Ramanathan and G. Walia (A&M) regarding P&L calculation
                                             methodology
Gaurav Walia             3/31/2023     0.9   Teleconference with A. Dietderich (S&C), E. Mosley, S. Coverick, K.
                                             Ramanathan and G. Walia (A&M) regarding Alameda balance
                                             overview
Gaurav Walia             3/31/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, K. Ramanathan, G. Walia
                                             (A&M), N. Molina, N. Aragam, and P. Lee (FTX) to discuss balance
                                             and profit/loss calculation
Hudson Trent             3/31/2023     0.5   Call regarding Turkey operations with J. Ray, M. Cilia, K. Schultea
                                             (FTX), E. Simpson (S&C), D. Johnston, S. Coverick, K. Ramanathan,
                                             R. Gordon, and H. Trent (A&M)
Hudson Trent             3/31/2023     0.5   Call with J. Ray, M. Cilia, K. Schultea (FTX), E. Simpson (S&C), D.
                                             Johnston, S. Coverick, K. Ramanathan, R. Gordon, and H. Trent
                                             (A&M) regarding Turkey operations
Jack Yan                 3/31/2023     1.7   Perform daily monitoring of FTX Japan crypto asset balances


James Lam                3/31/2023     2.3   Prepare the proposal for the AML control and procedures for
                                             reverting post-petition deposits to customers
Jane Chuah               3/31/2023     0.3   Call with S. Kojima, (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                             status of monthly user balance reconciliation
Jane Chuah               3/31/2023     0.5   Download and clean user balance reconciliation template file of FTX
                                             Japan
Kevin Baker              3/31/2023     2.7   Develop and maintain scripts for AWS balance and KYC data
                                             requests
Kumanan Ramanathan       3/31/2023     0.4   Review of FTX US shortfall analysis and provide feedback

Kumanan Ramanathan       3/31/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, K. Ramanathan, G. Walia
                                             (A&M), N. Molina, N. Aragam, and P. Lee (FTX) to discuss balance
                                             and profit/loss calculation
Kumanan Ramanathan       3/31/2023     0.6   Teleconference with D. Jones, L. Venditti (Coinbase), K.
                                             Ramanathan and G. Walia (A&M) regarding P&L calculation
                                             methodology
Kumanan Ramanathan       3/31/2023     0.5   Call regarding Turkey operations with J. Ray, M. Cilia, K. Schultea
                                             (FTX), E. Simpson (S&C), D. Johnston, S. Coverick, K. Ramanathan,
                                             R. Gordon, and H. Trent (A&M)

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Financial Analysis
Professional                Date     Hours     Activity
Kumanan Ramanathan       3/31/2023     0.5   Call with J. Ray, M. Cilia, K. Schultea (FTX), E. Simpson (S&C), D.
                                             Johnston, S. Coverick, K. Ramanathan, R. Gordon, and H. Trent
                                             (A&M) regarding Turkey operations
Kumanan Ramanathan       3/31/2023     0.5   Call with G. Walia, K. Ramanathan (A&M) and L. Ross, N.
                                             Friedlander, M. Materni (S&C) to discuss FTX US shortfall
Kumanan Ramanathan       3/31/2023     0.5   Call with D. Johnston, R. Gordon, K. Ramanathan (A&M) regarding
                                             Turkey wind down analysis
Kumanan Ramanathan       3/31/2023     0.8   Teleconference with N. Friedlander, M. Materni, L. Ross (S&C), K.
                                             Ramanathan and G. Walia (A&M) regarding US exchange shortfall
Kumanan Ramanathan       3/31/2023     0.9   Teleconference with A. Dietderich (S&C), E. Mosley, S. Coverick, K.
                                             Ramanathan and G. Walia (A&M) regarding Alameda balance
                                             overview
Kumanan Ramanathan       3/31/2023     0.3   Review of FTX Turkey materials and provide feedback


Lance Clayton            3/31/2023     0.3   Call with S. Glustein and L. Clayton (A&M) re: PMO updates for
                                             Venture workstream
Lance Clayton            3/31/2023     0.6   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                             Feyman (A&M) regarding PMO and BOD deck updates
Lance Clayton            3/31/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP re:
                                             Alameda Investment situation overview
Lance Clayton            3/31/2023     1.4   Update the process tracker for recent events and information


Lance Clayton            3/31/2023     2.9   Further work on board update deck for Alameda investments

Lance Clayton            3/31/2023     2.7   Updates to the PMO deck based on feedback

Lance Clayton            3/31/2023     2.4   Prepare additional tear-sheets for Alameda investments and update
                                             tracker
Louis Konig              3/31/2023     1.2   Investigation of differences related to reconciliation between referral
                                             rebate components and calculated balances
Louis Konig              3/31/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, K. Ramanathan, G. Walia
                                             (A&M), N. Molina, N. Aragam, and P. Lee (FTX) to discuss balance
                                             and profit/loss calculation
Louis Konig              3/31/2023     0.9   Investigation of differences related to reconciliation between spot
                                             borrow components and calculated balances
Louis Konig              3/31/2023     1.7   Quality control and review of outputs related to reconciliation
                                             between referral rebate components and calculated balances
Mark vanden Belt         3/31/2023     2.1   Update Deck with initial Europe entity analysis


Matthew Flynn            3/31/2023     0.6   Update post-petition deposits analysis

Matthew Flynn            3/31/2023     0.7   Review crypto model and provide comments on stablecoin/ wrapped
                                             tokens
Matthew Flynn            3/31/2023     0.7   Call with M. Flynn, V. Rajasekhar (A&M) to discuss Alameda
                                             balances



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Financial Analysis
Professional               Date     Hours     Activity
Peter Kwan              3/31/2023     1.1   Analyze Revised FTX EU Limited Balances for validation against
                                            recalculated FTX.com balances (for EU users)
Peter Kwan              3/31/2023     0.8   Call with S. Schlam, P. Kwan (A&M) regarding detailed activity data
                                            inputs into final FTX EU balances
Peter Kwan              3/31/2023     1.4   FTX EU Balances Recalculation and Validation

Peter Kwan              3/31/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, K. Ramanathan, G. Walia
                                            (A&M), N. Molina, N. Aragam, and P. Lee (FTX) to discuss balance
                                            and profit/loss calculation
Peter Kwan              3/31/2023     1.9   FTX EU Data Extracts for Analysis Support


Robert Gordon           3/31/2023     0.5   Call with J. Ray, M. Cilia, K. Schultea (FTX), E. Simpson (S&C), D.
                                            Johnston, S. Coverick, K. Ramanathan, R. Gordon, and H. Trent
                                            (A&M) regarding Turkey operations
Robert Johnson          3/31/2023     0.5   Call with L. Konig, P. Kwan, R. Johnson, K. Ramanathan, G. Walia
                                            (A&M), N. Molina, N. Aragam, and P. Lee (FTX) to discuss balance
                                            and profit/loss calculation
Sharon Schlam Batista   3/31/2023     2.4   Reconcile trading workflow output with the file of customer final
                                            balances
Steve Coverick          3/31/2023     0.9   Teleconference with A. Dietderich (S&C), E. Mosley, S. Coverick, K.
                                            Ramanathan and G. Walia (A&M) re: Alameda balance overview
Steve Coverick          3/31/2023     0.5   Call regarding Turkey operations with J. Ray, M. Cilia, K. Schultea
                                            (FTX), E. Simpson (S&C), D. Johnston, S. Coverick, K. Ramanathan,
                                            R. Gordon, and H. Trent (A&M)
Steven Glustein         3/31/2023     0.9   Review and update PMO slides relating to token investments


Steven Glustein         3/31/2023     0.6   Discussion with A. Titus, S. Glustein, L. Clayton, D. Nizhner, A. Liv-
                                            Feyman (A&M) regarding PMO and BOD deck updates
Steven Glustein         3/31/2023     0.9   Prepare package on findings from Relativity relating to token
                                            investment documents
Steven Glustein         3/31/2023     0.4   Call with A. Titus, S. Glustein, L. Clayton (A&M) and PWP re:
                                            Alameda Investment situation overview
Steven Glustein         3/31/2023     0.8   Review and update PMO slides relating to venture equity and fund
                                            investments
Steven Glustein         3/31/2023     0.2   Correspondence with R. Perubhatla (FTX) relating to Carta access


Steven Glustein         3/31/2023     1.3   Research Relativity relating to select amended and restated token
                                            purchase agreements
Steven Glustein         3/31/2023     1.4   Review and update PMO slides relating to LedgerPrime


Steven Glustein         3/31/2023     0.5   Conference call with J. Croke (S&C) regarding select token
                                            investment relating to venture token investments
Steven Glustein         3/31/2023     1.6   Update draft presentation regarding token investment relating to lock-
                                            up release schedule
Summer Li               3/31/2023     1.2   Input the data into the template for user balance reconciliation in
                                            August 2022 in order to reconcile the intercompany balance between
                                            FTX Japan KK and FTX Trading

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Financial Analysis
Professional                 Date     Hours      Activity
Summer Li                 3/31/2023       1.1   Input the data into the template for user balance reconciliation in May
                                                2022 in order to reconcile the intercompany balance between FTX
                                                Japan KK and FTX Trading
Summer Li                 3/31/2023       0.9   Input the data into the template for user balance reconciliation in
                                                June 2022 in order to reconcile the intercompany balance between
                                                FTX Japan KK and FTX Trading
Summer Li                 3/31/2023       0.3   Develop plan for the user balance reconciliation in order to reconcile
                                                the intercompany balance between FTX Japan KK and FTX Trading
Summer Li                 3/31/2023       0.3   Call with S. Kojima, (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                                status of monthly user balance reconciliation
Summer Li                 3/31/2023       1.3   Input the data into the template for user balance reconciliation in July
                                                2022 in order to reconcile the intercompany balance between FTX
                                                Japan KK and FTX Trading
Summer Li                 3/31/2023       2.1   Input the data into the template for user balance reconciliation in April
                                                2022 in order to reconcile the intercompany balance between FTX
                                                Japan KK and FTX Trading
Vinny Rajasekhar          3/31/2023       0.7   Call with M. Flynn, V. Rajasekhar (A&M) to discuss Alameda
                                                balances
Vinny Rajasekhar          3/31/2023       2.0   Prepare linked bridge to reflect source of bridging items to 3.17.23
                                                coin report
William Walker            3/31/2023       2.1   Update crypto strategies deck with additional slide outlining expert
                                                support
William Walker            3/31/2023       1.8   Update Crypto strategies hedging section with actual pricing



Subtotal                              3,221.3

Government and Regulatory Data Requests
Professional                 Date     Hours      Activity
Emily Hoffer               3/1/2023       2.6   Compile statements for Southern District of New York request

Heather Ardizzoni          3/1/2023       0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                                Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                                O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                                Europe matters
Joachim Lubsczyk           3/1/2023       0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                                Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                                O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                                Europe matters
Julian Lee                 3/1/2023       0.1   Review of SDNY request for various bank statements


Kumanan Ramanathan         3/1/2023       0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                                Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                                O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                                Europe matters
Larry Iwanski              3/1/2023       0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                                Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                                O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                                Europe matters

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Government and Regulatory Data Requests
Professional               Date     Hours     Activity
Leandro Chamma           3/1/2023     0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                            Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                            O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                            Europe matters
Manasa Sunkara           3/1/2023     0.6   Review a subpoena request from S&C to provide documents related
                                            to specific individuals
Matthew Flynn            3/1/2023     0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                            Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                            O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                            Europe matters
Michael Shanahan         3/1/2023     0.5   Review request and responsive documents for SDNY


Peter Kwan               3/1/2023     0.6   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Peter Kwan               3/1/2023     0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                            Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                            O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                            Europe matters
Robert Gordon            3/1/2023     0.2   Meeting between H. Ardizzoni, E. Mosley, L. Chamma, R. Gordon, P.
                                            Kwan, M. Flynn, J. Lubsczyk, L. Iwanski, K. Ramanathan (A&M) and
                                            O. de Vito Piscicelli, T. Hill (S&C) to discuss updates over FTX
                                            Europe matters
Robert Johnson           3/1/2023     1.2   FBI User administration and adjustments to permissions

Jon Chan                 3/2/2023     0.3   Analyze emails and correspondence regarding regulators


Julian Lee               3/2/2023     0.1   Call with M. Shanahan and J. Lee (A&M) regarding SDNY bank
                                            statement request
Julian Lee               3/2/2023     0.4   Review of bank statements for SDNY and counsel request


Kevin Baker              3/2/2023     0.8   Develop workflow and methodology around KYC documents from
                                            AWS exchange and review platform for counsel
Michael Shanahan         3/2/2023     0.1   Call with M. Shanahan and J. Lee (A&M) regarding SDNY bank
                                            statement request
Peter Kwan               3/2/2023     0.6   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Kumanan Ramanathan       3/4/2023     0.7   Review on-chain tracing withdrawals and AWS activity and respond
                                            to investigation requests
Kumanan Ramanathan       3/6/2023     0.4   Review data request pertaining to German court litigation


Kumanan Ramanathan       3/6/2023     0.8   Review data requests and responses for AWS team

Matthew Flynn            3/6/2023     0.9   Review Australia deposit balances detail


Matthew Flynn            3/6/2023     0.8   Review TRYB Turkey activity on the exchange




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Government and Regulatory Data Requests
Professional              Date     Hours     Activity
Matthew Flynn           3/6/2023     1.7   Review FTX Turkey IT account details

Matthew Flynn           3/6/2023     0.8   Update FTX Turkey presentation


Peter Kwan              3/6/2023     0.5   Draft and respond to communications related to Regulatory &
                                           Investigations requests
Jon Chan                3/7/2023     3.1   Provide documents for law enforcement request pertaining to an
                                           account relating to a transaction
Kora Dusendschon        3/7/2023     0.8   Call with M. Flynn, K. Dusendschon, K. Ramanathan (A&M), C.
                                           Beatty, E. Simpson, J. Simpson (S&C), S. Langdon, J. Mouawad, N.
                                           Paxton, P. Hewson (KordaMentha), J. Hardwick, M. Bacina, S. Kyrou
                                           (Piper Alderman) to discuss FTX Australia
Kumanan Ramanathan      3/7/2023     0.8   Call with M. Flynn, K. Dusendschon, K. Ramanathan (A&M), C.
                                           Beatty, E. Simpson, J. Simpson (S&C), S. Langdon, J. Mouawad, N.
                                           Paxton, P. Hewson (KordaMentha), J. Hardwick, M. Bacina, S. Kyrou
                                           (Piper Alderman) to discuss FTX Australia
Kumanan Ramanathan      3/7/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss FTX Turkey
                                           presentation
Kumanan Ramanathan      3/7/2023     0.3   Review of activity on Modulo and provide feedback

Manasa Sunkara          3/7/2023     0.7   Search the database for the receivers of certain transactions and
                                           confirm their wallet addresses for a law enforcement request by S&C
Matthew Flynn           3/7/2023     0.8   Call with M. Flynn, K. Dusendschon, K. Ramanathan (A&M), C.
                                           Beatty, E. Simpson, J. Simpson (S&C), S. Langdon, J. Mouawad, N.
                                           Paxton, P. Hewson (KordaMentha), J. Hardwick, M. Bacina, S. Kyrou
                                           (Piper Alderman) to discuss FTX Australia
Matthew Flynn           3/7/2023     1.6   Update FTX Turkey presentation for comments

Matthew Flynn           3/7/2023     0.6   Review Solana AUS detail on the exchange


Matthew Flynn           3/7/2023     1.2   Analyze TRY trade detail on the exchange

Matthew Flynn           3/7/2023     0.5   Call with M. Flynn, K. Ramanathan (A&M) to discuss FTX Turkey
                                           presentation
Peter Kwan              3/7/2023     0.6   Draft and respond to communications related to Regulatory &
                                           Investigations requests
Matthew Flynn           3/8/2023     1.8   Update FTX Turkey Transfer presentation

Peter Kwan              3/8/2023     0.8   Draft and respond to communications related to Regulatory &
                                           Investigations requests
Steve Coverick          3/8/2023     0.7   Review and provide comments on draft of shortfall analysis for SDNY
                                           presentation
Manasa Sunkara          3/9/2023     1.9   Query and extract the users' account details, deposits, withdrawals,
                                           transfers, KYC and balance data pertaining to a law enforcement
                                           request




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Government and Regulatory Data Requests
Professional                Date     Hours     Activity
Manasa Sunkara            3/9/2023     2.2   Query and extract the users' trades, fills, orders, activity records,
                                             borrows, lends and positions data pertaining to a law enforcement
                                             request
Matthew Flynn             3/9/2023     0.7   Review USDC Circle withdrawals for FTX.US entity

Matthew Flynn             3/9/2023     0.9   Review USDC circle withdrawals for FTX.COM entities


Peter Kwan                3/9/2023     0.7   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Kumanan Ramanathan       3/10/2023     0.5   Discussion with K. Ramanathan, S. Coverick (A&M) regarding USDC
                                             situation
Kumanan Ramanathan       3/10/2023     1.2   Review of USDC and USDT holdings and review on-chain test
                                             transactions
Matthew Flynn            3/10/2023     0.6   Review TRY transfer activity on the exchange

Peter Kwan               3/10/2023     0.8   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Vinny Rajasekhar         3/10/2023     0.9   Prepare summary table for USDC coin holdings

Brett Bammert            3/11/2023     1.2   Construct regular expressions to locate a targeted population of
                                             documents based upon certain numerical identifiers
Kevin Baker              3/11/2023     1.4   Analyze and provide detail account history and transaction for certain
                                             accounts for SDNY request
Manasa Sunkara           3/11/2023     0.7   Quality check queries and exports and prepare deliverables for
                                             S&C's law enforcement request
Manasa Sunkara           3/11/2023     2.8   Review a previous request provided to SDNY and confirm the
                                             accounts in the orders export
Gaurav Walia             3/12/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss USDC board
                                             presentation
Kumanan Ramanathan       3/12/2023     1.1   Prepare USDC and USDT conversion to fiat proposal and timeline


Kumanan Ramanathan       3/12/2023     2.1   Various calls with R. Perubhatla (FTX) to transfer USDC from cold
                                             storage to trading platform
Kumanan Ramanathan       3/12/2023     1.3   Review market news for impacts to proposed USDC and USDT
                                             conversion path
Matthew Flynn            3/12/2023     0.5   Call with M. Flynn, G. Walia (A&M) to discuss USDC board
                                             presentation
Matthew Flynn            3/12/2023     1.7   Prepare USDC board presentation


Vinny Rajasekhar         3/12/2023     1.3   Update USDC summary table for Singapore division and variances
                                             from scanner data
Kim Dennison             3/13/2023     0.4   Emails w A Titus (A&M) regarding LedgerPrime deregulation options

Kim Dennison             3/13/2023     0.4   Attend call w M Lopez (Baker Tilly) regarding quote for LedgerPrime
                                             audit as part of deregulation process


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Kumanan Ramanathan      3/13/2023     1.1   Prepare updates to online USDC and USDT tracking sheet

Kumanan Ramanathan      3/13/2023     2.8   Various calls with R. Perubhatla (FTX) to transfer USDC from cold
                                            storage to trading platform
Kumanan Ramanathan      3/13/2023     1.2   Prepare board materials on USDC and USDT redemptions above
                                            parity
Peter Kwan              3/13/2023     1.2   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Vinny Rajasekhar        3/13/2023     3.2   Prepare fiat transfer table noting USDT and USDC transfers


Manasa Sunkara          3/14/2023     2.7   Search the SQL database for transaction activity associated with a
                                            wallet address and provide related exports
Matthew Flynn           3/14/2023     1.1   Review and respond to KM Australia data request


Peter Kwan              3/14/2023     1.6   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Jon Chan                3/15/2023     0.4   Call with Q. Lowdermilk, L. Lambert, J. Chan, M. Sunkara (A&M) B.
                                            Harsch, J. Gallant, and S. Yeargan (S&C) regarding AWS data law
                                            enforcement request
Kumanan Ramanathan      3/15/2023     0.7   Various correspondences with BitGo team to discuss USDC and
                                            bridging across chains
Kumanan Ramanathan      3/15/2023     0.7   Review updated interview questions for G. Wang and C. Ellison

Leslie Lambert          3/15/2023     0.4   Call with Q. Lowdermilk, L. Lambert, J. Chan, M. Sunkara (A&M) B.
                                            Harsch, J. Gallant, and S. Yeargan (S&C) regarding AWS data law
                                            enforcement request
Manasa Sunkara          3/15/2023     0.4   Call with Q. Lowdermilk, L. Lambert, J. Chan, M. Sunkara (A&M) B.
                                            Harsch, J. Gallant, and S. Yeargan (S&C) regarding AWS data law
                                            enforcement request
Manasa Sunkara          3/15/2023     1.8   Review a subpoena sent by S&C and discuss delivery expectations

Peter Kwan              3/15/2023     0.9   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Quinn Lowdermilk        3/15/2023     0.4   Call with Q. Lowdermilk, L. Lambert, J. Chan, M. Sunkara (A&M) B.
                                            Harsch, J. Gallant, and S. Yeargan (S&C) regarding AWS data law
                                            enforcement request
Kumanan Ramanathan      3/16/2023     0.4   Review Alameda AWS database memo and distribute

Matthew Flynn           3/16/2023     0.9   Review of AUS fiat withdrawals


Matthew Flynn           3/16/2023     1.1   Review of AUS fiat deposits on the exchange

Peter Kwan              3/16/2023     0.7   Draft and respond to communications related to Regulatory &
                                            Investigations requests
Steve Coverick          3/16/2023     0.3   Call with A. Kranzley, J. Petiford (S&C), L. Callerio (A&M) re:
                                            Philadelphia surety bond claims


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Professional                Date     Hours     Activity
Caoimhe Corr             3/17/2023     2.9   Update strategic options presentation for local counsel comments

Caoimhe Corr             3/17/2023     0.9   Review local strategic options for inactive European entities


Peter Kwan               3/17/2023     0.8   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Hudson Trent             3/20/2023     0.4   Prepare follow along questions for subsidiary management related to
                                             regulatory matters
Hudson Trent             3/20/2023     0.2   Coordinate discussions regarding regulatory considerations for
                                             various wind down analyses
Kevin Baker              3/20/2023     1.9   Investigate and report on USAO Northern District of California
                                             subpoena request for key individual
Kim Dennison             3/20/2023     2.4   Draft response to A Titus (A&M) clarifying regulatory, audit, governing
                                             documents and asset position considerations
Peter Kwan               3/20/2023     1.8   Draft and respond to communications related to Regulatory &
                                             Investigations requests
David Johnston           3/21/2023     2.7   Analysis of European local insolvency process


Peter Kwan               3/21/2023     1.1   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Caoimhe Corr             3/22/2023     2.4   Review of local strategic considerations for Europe

Hudson Trent             3/22/2023     2.0   Review and update assumptions related to regulatory considerations
                                             in hypothetical wind down analysis
Julian Lee               3/22/2023     0.9   Search and review supporting documents for potential bank accounts
                                             with Safetypay and DLocal
Matthew Flynn            3/22/2023     1.1   Analyze and respond to FTX Australia crypto deposits and on-chain
                                             questions
Matthew Flynn            3/22/2023     0.8   Analyze FTX Australia structured data questions

Peter Kwan               3/22/2023     0.6   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Caoimhe Corr             3/23/2023     3.1   Review of local insolvency considerations

Hudson Trent             3/23/2023     2.2   Review and update wind down analysis based on counsel feedback

Kevin Baker              3/23/2023     1.6   Analyze AWS exchange data to provide KYC information to counsel


Peter Kwan               3/23/2023     0.8   Draft and respond to communications related to Regulatory &
                                             Investigations requests
David Johnston           3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters
Gioele Balmelli          3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters

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Professional                Date     Hours     Activity
Heather Ardizzoni        3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters
Jonathan Zatz            3/24/2023     0.8   Results consolidation and formatting to identify entities in Alameda
                                             data named in subpoena
Jonathan Zatz            3/24/2023     3.1   Database scripting to identify entities in Alameda data named in
                                             subpoena
Jonathan Zatz            3/24/2023     2.6   Scripts execution to identify entities in Alameda data named in
                                             subpoena
Kumanan Ramanathan       3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters
Larry Iwanski            3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters
Matthew Flynn            3/24/2023     1.2   Review and tracing of AUS post-petition balances

Peter Kwan               3/24/2023     0.5   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Peter Kwan               3/24/2023     0.3   Call between H. Ardizzoni, D. Johnston, K. Ramanathan, G. Balmelli,
                                             L. Iwanski, P. Kwan (A&M) and E. Simpson, O. de Vito Piscicelli
                                             (S&C) to discuss FTX Europe matters
Kevin Baker              3/25/2023     0.8   Analyze KYC information in AWS exchange to produce to counsel

Matthew Flynn            3/26/2023     0.4   Research FTX AUS legal entity relationship


David Johnston           3/27/2023     2.3   Review regional insolvency analysis for dormant entities

Hudson Trent             3/27/2023     1.6   Update wind down analysis based on feedback from local counsel

Jack Collis              3/27/2023     2.3   Research strategic options and applicable legislation for each of the
                                             three jurisdictions. Call with H. McGoldrick (A&M)
Kevin Baker              3/27/2023     2.6   Analyze know-your-customer information available in AWS exchange
                                             to produce to counsel
Peter Kwan               3/27/2023     0.6   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Jack Collis              3/28/2023     2.3   Continue to review jurisdiction legislation

Manasa Sunkara           3/28/2023     2.6   Search for the user account associated with a specific transaction
                                             and provide all their transaction information for a law enforcement
                                             request by S&C
Mark vanden Belt         3/28/2023     0.8   Review and update presentation ahead of meeting with counsel


Peter Kwan               3/28/2023     0.7   Draft and respond to communications related to Regulatory &
                                             Investigations requests
Robert Johnson           3/28/2023     0.6   Add FBI IP addresses to relevant firewall rules


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Professional                 Date     Hours     Activity
Robert Johnson            3/28/2023     1.3   Create FBI accounts on domain controller and Postgres databases

Hugh McGoldrick           3/29/2023     1.1   Email exchange re: status of various subs and legislation


Hugh McGoldrick           3/29/2023     0.6   Review of information provided and prepare tracker. Research
                                              insolvency processes and applicable legislation for each of the three
                                              jurisdictions. Call with J. Collis (A&M)
Hugh McGoldrick           3/29/2023     2.4   Detailed review of legislation, discuss with H. McGoldrick (A&M)

Jack Collis               3/29/2023     2.4   Detailed review of legislation, discuss with H. McGoldrick (A&M)


Peter Kwan                3/29/2023     1.0   Draft and respond to communications related to Regulatory &
                                              Investigations requests
Robert Johnson            3/29/2023     0.8   Test and configuring FBI accounts on remote access server

Steve Coverick            3/29/2023     1.6   Review and provide comments on revised EU moratorium funding
                                              analysis
Brett Bammert             3/30/2023     0.6   Perform additional targeted searching within review workspace
                                              related to contract review
Brett Bammert             3/30/2023     1.1   Search central document repository for reports and various audit files


Caoimhe Corr              3/30/2023     3.1   Review local jurisdictions strategic options

Hugh McGoldrick           3/30/2023     1.0   Analysis of Turkish legislation and develop notes re: same


Kevin Baker               3/30/2023     0.9   Respond to database time zone and specific questions from counsel

Mark vanden Belt          3/30/2023     1.1   Participate in meeting with E. Simpson (S&C), D. Johnston (A&M)
                                              regarding FTX Europe
Mark vanden Belt          3/30/2023     2.6   Review work on local jurisdiction strategic options


Mark vanden Belt          3/30/2023     0.9   Coordinate local jurisdiction options analysis

Matthew Flynn             3/30/2023     0.4   Review of AUS tracing work conducted


Peter Kwan                3/30/2023     0.7   Draft and respond to communications related to Regulatory &
                                              Investigations requests
Brett Bammert             3/31/2023     0.7   Setup various targeted searches for additional licenses and
                                              agreements
Brett Bammert             3/31/2023     0.8   Conduct additional searches within central document repository to
                                              locate securities licenses issued in Hong Kong
Emily Hoffer              3/31/2023     0.7   Call with M. Flynn, E. Hoffer (A&M) to discuss USDC / fiat balances

Hugh McGoldrick           3/31/2023     3.0   Preparation of Turkish legislation synopsis for team




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Government and Regulatory Data Requests
Professional                Date     Hours     Activity
Kevin Baker              3/31/2023      0.5   Call with M. Flynn, K. Baker (A&M) to discuss USDC tables

Kevin Baker              3/31/2023      2.4   Investigate all transactional data related to law enforcement request
                                              from Taipei PD
Louis Konig              3/31/2023      0.5   Call with M. Flynn, L. Konig (A&M) to discuss USDC tracking

Mark vanden Belt         3/31/2023      1.6   Review local jurisdiction options - Malta

Mark vanden Belt         3/31/2023      1.8   Review local jurisdiction options - Gibraltar


Matthew Flynn            3/31/2023      0.7   Call with M. Flynn, E. Hoffer (A&M) to discuss USDC / fiat balances

Matthew Flynn            3/31/2023      0.5   Call with M. Flynn, K. Baker (A&M) to discuss USDC tables


Matthew Flynn            3/31/2023      1.3   Review of USDC withdrawal tables

Matthew Flynn            3/31/2023      0.5   Call with M. Flynn, L. Konig (A&M) to discuss USDC tracking



Subtotal                              177.5

Intercompany
Professional                Date     Hours     Activity
James Lam                 3/1/2023      1.2   Call with S. Kojima (FTX Japan), S. Li, J. Lam (A&M) to discuss the
                                              reconciliation of intercompany balance between FTX Japan and FTX
                                              Trading
Summer Li                 3/1/2023      1.2   Call with S. Kojima (FTX Japan), S. Li, J. Lam (A&M) to discuss the
                                              reconciliation of intercompany balance between FTX Japan and FTX
                                              Trading
Gaurav Walia              3/3/2023      1.1   Prepare a preliminary intercompany matrix analysis

Kevin Baker               3/3/2023      1.3   Investigate transactions (withdraws/deposits) for intercompany and
                                              counterparty activity on AWS exchange
Kumanan Ramanathan        3/3/2023      0.3   Discussion between R. Gordon, E. Mosley, K. Ramanathan(A&M)
                                              over Cyprus intercompany balances
Robert Gordon             3/3/2023      0.3   Discussion between R. Gordon, E. Mosley, K. Ramanathan(A&M)
                                              over Cyprus intercompany balances
Cole Broskay              3/6/2023      0.4   Internal discussion on intercompany balances for select entities


Kevin Kearney             3/6/2023      2.8   Review of underlying bank statements to identify accounts used to
                                              receive customer funds in connection with intercompany accounting
                                              reconciliation
Anan Sivapalu             3/7/2023      0.6   Call with L. Konig, P. Kwan, G. Walia, A. Sivapalu (A&M) to discuss
                                              intercompany analysis
Cole Broskay              3/7/2023      0.4   Internal discussion regarding intercompany data available in SEN
                                              accounts


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Intercompany
Professional               Date     Hours     Activity
Gaurav Walia             3/7/2023     0.6   Call with L. Konig, P. Kwan, G. Walia, A. Sivapalu (A&M) to discuss
                                            intercompany analysis
Gaurav Walia             3/7/2023     0.5   Call with G. Walia, A. Sivapalu (A&M) to discuss intercompany
                                            analysis
Gaurav Walia             3/7/2023     1.4   Prepare skeleton model for intercompany analysis

Henry Chambers           3/7/2023     1.5   Attend to accounting intercompany balance workstream and FTX
                                            Japan accounting requests
Louis Konig              3/7/2023     0.6   Call with L. Konig, P. Kwan, G. Walia, A. Sivapalu (A&M) to discuss
                                            intercompany analysis
Peter Kwan               3/7/2023     0.6   Call with L. Konig, P. Kwan, G. Walia, A. Sivapalu (A&M) to discuss
                                            intercompany analysis
Gaurav Walia             3/8/2023     0.6   Review the intercompany deposits and withdrawals output table


Heather Ardizzoni        3/8/2023     1.6   Draft narrative of intercompany & related party risks and responsive
                                            FTX controls at WRS silo
Henry Chambers           3/8/2023     1.8   Consideration of FTX earn impact on intercompany balances


James Lam                3/8/2023     1.6   Call with S. Kojima (FTX Japan), S. Li, J. Lam, J. Chuah (A&M) to
                                            discuss intercompany balance reconciliation and the closing of
                                            financial statements of Quoine PTE
Jane Chuah               3/8/2023     1.6   Call with S. Kojima (FTX Japan), S. Li, J. Lam, J. Chuah (A&M) to
                                            discuss intercompany balance reconciliation and the closing of
                                            financial statements of Quoine PTE
Kevin Kearney            3/8/2023     1.7   Review of underlying bank statements to identify accounts used to
                                            receive customer funds in connection with intercompany accounting
                                            reconciliation
Summer Li                3/8/2023     0.3   Correspondences with S. Kojima (FTX Japan) on the agreed action
                                            plans relating to the intercompany balance reconciliation and the
                                            closing of financial statements of Quoine PTE
Summer Li                3/8/2023     1.6   Call with S. Kojima (FTX Japan), S. Li, J. Lam, J. Chuah (A&M) to
                                            discuss intercompany balance reconciliation and the closing of
                                            financial statements of Quoine PTE
Anan Sivapalu            3/9/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) to discuss the
                                            intercompany analysis
Gaurav Walia             3/9/2023     2.1   Review the latest intercompany analysis provided by A. Sivapalu
                                            (A&M) and provided feedback
Gaurav Walia             3/9/2023     0.2   Call with A. Sivapalu and G. Walia (A&M) to discuss the
                                            intercompany analysis
Heather Ardizzoni        3/9/2023     0.8   Draft narrative of intercompany & related party risks and responsive
                                            FTX controls at Ventures silo
James Lam                3/9/2023     1.0   Call with S. Kojima, M. Kobayashi, T. Hsu, C. Bertrand (FTX Japan),
                                            S. Li, J. Lam, J. Chuah (A&M) to discuss intercompany balance
                                            reconciliation
Jane Chuah               3/9/2023     1.0   Call with S. Kojima, M. Kobayashi, T. Hsu, C. Bertrand (FTX Japan),
                                            S. Li, J. Lam, J. Chuah (A&M) to discuss intercompany balance
                                            reconciliation


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Intercompany
Professional                Date     Hours     Activity
Kevin Kearney             3/9/2023     1.8   Review of underlying bank statements to identify accounts used to
                                             receive customer funds in connection with intercompany accounting
                                             reconciliation
Summer Li                 3/9/2023     1.0   Call with S. Kojima, M. Kobayashi, T. Hsu, C. Bertrand (FTX Japan),
                                             S. Li, J. Lam, J. Chuah (A&M) to discuss intercompany balance
                                             reconciliation
Anan Sivapalu            3/10/2023     0.3   Call with A. Sivapalu and G. Walia (A&M) to review the intercompany
                                             analysis
Anan Sivapalu            3/10/2023     0.5   Call with K.Ramanathan, G. Walia, L. Konig, P. Kwan and A.
                                             Sivapalu (A&M) regarding intercompany transfers
David Johnston           3/10/2023     0.3   Call with D. Johnston, R. Gordon (A&M) to discuss intercompany at
                                             FTX EU Ltd
David Johnston           3/10/2023     0.3   Prepare for meeting to discuss intercompany at FTX EU Ltd


Gaurav Walia             3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation
Gaurav Walia             3/10/2023     1.4   Review the final output of the intercompany analysis


Gaurav Walia             3/10/2023     0.5   Call with K.Ramanathan, G. Walia, L. Konig, P. Kwan and A.
                                             Sivapalu (A&M) regarding intercompany transfers
Gaurav Walia             3/10/2023     0.3   Call with A. Sivapalu and G. Walia (A&M) to review the intercompany
                                             analysis
Heather Ardizzoni        3/10/2023     1.2   Draft narrative of intercompany & related party risks and responsive
                                             FTX controls at Dotcom silo
Jack Faett               3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation
Julian Lee               3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation
Julian Lee               3/10/2023     0.2   Call with M. Shanahan, J. Lee, K. Kearney (A&M) to discuss cash
                                             database, intercompany transactions, and customer funds activity
Kevin Kearney            3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation
Kevin Kearney            3/10/2023     0.3   Call with M. Shanahan, J. Lee, K. Kearney (A&M) to discuss cash
                                             database, intercompany transactions, and customer funds activity
Kevin Kearney            3/10/2023     1.1   Review of underlying bank statements to identify accounts used to
                                             receive customer funds in connection with intercompany accounting
                                             reconciliation
Kevin Kearney            3/10/2023     1.1   Review of cash activity database to identify payments between
                                             related party entities to be included in intercompany/related party
                                             reconciliations
Kumanan Ramanathan       3/10/2023     0.5   Call with K.Ramanathan, G. Walia, L. Konig, P. Kwan and A.
                                             Sivapalu (A&M) regarding intercompany transfers
Louis Konig              3/10/2023     0.5   Call with K.Ramanathan, G. Walia, L. Konig, P. Kwan and A.
                                             Sivapalu (A&M) regarding intercompany transfers
Michael Shanahan         3/10/2023     0.2   Call with M. Shanahan, J. Lee, K. Kearney (A&M) to discuss cash
                                             database, intercompany transactions, and customer funds activity


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Intercompany
Professional                 Date     Hours     Activity
Michael Shanahan          3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                              Lee (A&M) to discuss intercompany reconciliation
Michael Shanahan          3/10/2023     0.5   Prepare for call re: intercompany matters


Peter Kwan                3/10/2023     0.5   Call with K.Ramanathan, G. Walia, L. Konig, P. Kwan and A.
                                              Sivapalu (A&M) regarding intercompany transfers
Robert Gordon             3/10/2023     0.3   Call with D. Johnston, R. Gordon(A&M) to discuss intercompany at
                                              FTX EU Ltd
Robert Gordon             3/10/2023     0.5   Call with R. Gordon, K. Kearney, J. Faett, G. Walia, M. Shanahan, J.
                                              Lee (A&M) to discuss intercompany reconciliation
Heather Ardizzoni         3/11/2023     2.6   Draft narrative of intercompany & related party risks and responsive
                                              FTX controls at Alameda silo
Heather Ardizzoni         3/11/2023     0.2   Call between H. Ardizzoni, R. Gordon (A&M) to review intercompany
                                              controls narrative
Kevin Kearney             3/11/2023     2.0   Review of underlying bank statements to identify accounts used to
                                              receive customer funds in connection with intercompany accounting
                                              reconciliation
Robert Gordon             3/11/2023     0.2   Call between H. Ardizzoni, R. Gordon (A&M) to review intercompany
                                              controls narrative
Robert Gordon             3/11/2023     0.8   Review initial draft of intercompany support for JRR Memo


Robert Gordon             3/11/2023     0.7   Prepare notes on intercompany documentation for JRR memo

Heather Ardizzoni         3/13/2023     0.3   Discussion with H. Ardizzoni, R. Gordon (A&M) and S. Wheeler, Z.
                                              Flegenheimer, T. Millet (S&C) regarding intercompany and related
                                              party transactions
Henry Chambers            3/13/2023     2.4   Attend to cash transfer analysis, and associated intercompany
                                              accounting analysis
Robert Gordon             3/13/2023     0.3   Discussion with H. Ardizzoni, R. Gordon (A&M) and S. Wheeler, Z.
                                              Flegenheimer, T. Millet (S&C) regarding intercompany and related
                                              party transactions
Robert Gordon             3/13/2023     0.6   Prepare for discussion with S&C over the intercompany section of the
                                              financial controls memorandum
Summer Li                 3/13/2023     0.4   Understand the intercompany balance between FTX Japan KK and
                                              Quoine Pte
Julian Lee                3/14/2023     0.4   Correspond with team regarding bank status for intercompany
                                              reconciliation
Cole Broskay              3/15/2023     1.1   Discussion between R. Gordon, C. Broskay(A&M) to continue
                                              planning Intercompany approach
David Johnston            3/15/2023     0.2   Call with D. Johnston, G. Balmelli, K. Ramanathan, P. Kwan (A&M)
                                              and R. Matzke (FTX) on FTX EU Ltd intercompany claims with FDM
Emily Hoffer              3/15/2023     1.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss bank data
                                              and cash database for purposes of intercompany reconciliation
Emily Hoffer              3/15/2023     1.8   Review of Circle production for purposes of intercompany
                                              reconciliation



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Intercompany
Professional                Date     Hours     Activity
Gaurav Walia             3/15/2023     0.4   Call with K. Kearney, G. Walia (A&M) to discuss bank-level data for
                                             intercompany analysis
Gioele Balmelli          3/15/2023     0.2   Call with D. Johnston, G. Balmelli, K. Ramanathan, P. Kwan (A&M)
                                             and R. Matzke (FTX) on FTX EU Ltd intercompany claims with FDM
James Lam                3/15/2023     0.7   Consider and review the trial balance of Quoine Pte for information
                                             on intercompany balances
Julian Lee               3/15/2023     0.2   Correspond with team regarding bank status for intercompany
                                             reconciliation
Julian Lee               3/15/2023     1.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss bank data
                                             and cash database for purposes of intercompany reconciliation
Kevin Kearney            3/15/2023     0.4   Call with K. Kearney, G. Walia (A&M) to discuss bank-level data for
                                             intercompany analysis
Kumanan Ramanathan       3/15/2023     0.2   Call with D. Johnston, G. Balmelli, K. Ramanathan, P. Kwan (A&M)
                                             and R. Matzke (FTX) on FTX EU Ltd intercompany claims with FDM
Michael Shanahan         3/15/2023     1.5   Review documents related to cash database and intercompany
                                             reconciliation workstream
Michael Shanahan         3/15/2023     1.3   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss bank data
                                             and cash database for purposes of intercompany reconciliation
Peter Kwan               3/15/2023     0.2   Call with D. Johnston, G. Balmelli, K. Ramanathan, P. Kwan (A&M)
                                             and R. Matzke (FTX) on FTX EU Ltd intercompany claims with FDM
Robert Gordon            3/15/2023     1.1   Discussion between R. Gordon, C. Broskay(A&M) to continue
                                             planning Intercompany approach
Gaurav Walia             3/16/2023     0.5   Call with K. Kearney, G. Walia (A&M) to discuss bank-level data for
                                             intercompany analysis
Henry Chambers           3/16/2023     1.3   Attend to correspondence regarding data requirements for
                                             intercompany balance calculations
Henry Chambers           3/16/2023     1.3   Attend to intercompany balance analysis


James Lam                3/16/2023     0.6   Analyze the intercompany balance accounts of Quoine Pte Ltd

Kevin Baker              3/16/2023     0.4   Call with K. Baker, K. Kearney (A&M) regarding intercompany
                                             accounts on the FTX US and FTX.com exchanges
Kevin Kearney            3/16/2023     0.5   Call with K. Kearney, G. Walia (A&M) to discuss bank-level data for
                                             intercompany analysis
Kevin Kearney            3/16/2023     0.4   Call with K. Baker, K. Kearney (A&M) regarding intercompany
                                             accounts on the FTX US and FTX.com exchanges
Michael Shanahan         3/16/2023     1.4   Review documents related to intercompany reconciliation and
                                             customer FBO accounts
Summer Li                3/16/2023     0.2   Update status regarding the intercompany reconciliation between
                                             FTX Japan and Quoine Pte
Anan Sivapalu            3/17/2023     0.7   Intercompany analysis summary build up


Anan Sivapalu            3/17/2023     0.4   Call with A. Sivapalu and G. Walia (A&M) to discuss pricing source
                                             and intercompany analysis




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Professional               Date     Hours     Activity
Gaurav Walia            3/17/2023     0.4   Call with A. Sivapalu and G. Walia (A&M) to discuss pricing source
                                            and intercompany analysis
Henry Chambers          3/17/2023     1.6   Analysis regarding FTX Japan KK and Quoine PTE intercompany
                                            balance
Summer Li               3/17/2023     3.2   Close the December accounts of Quoine Pte in relation to
                                            intercompany balance
Henry Chambers          3/19/2023     0.3   Correspondence regarding FTX Japan data for intercompany
                                            reconciliation
Caoimhe Corr            3/20/2023     1.1   Call with D. Johnston, G. Balmelli, P. Kwan, C. Corr (A&M) on
                                            Europe calculation of intercompany balances
Cole Broskay            3/20/2023     0.2   Discussion with C. Broskay, R. Gordon(A&M) to discuss silo
                                            responsibilities for intercompany
David Johnston          3/20/2023     2.7   Review of FTX Europe AG intercompany activity


David Johnston          3/20/2023     1.0   Call with D. Johnston, G. Balmelli, P. Kwan, C. Corr (A&M) on FTX
                                            EU calculation of intercompany balances
David Johnston          3/20/2023     1.9   Draft presentation materials relating to FTX Europe AG intercompany
                                            activity
Drew Hainline           3/20/2023     0.2   Meeting with J. Sequeira, D. Hainline (A&M) to align on next steps for
                                            the intercompany analysis for WRS and DOTCOM entities
Drew Hainline           3/20/2023     0.6   Working session with J. Sequeira, S. Li, D. Hainline (A&M) to review
                                            FTX Japan intercompany analysis
Gaurav Walia            3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                            Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                            reconciliation and cash database
Gioele Balmelli         3/20/2023     1.0   Call with D. Johnston, G. Balmelli, P. Kwan, C. Corr (A&M) on FTX
                                            EU calculation of intercompany balances
Jack Faett              3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                            Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                            reconciliation and cash database
Jack Yan                3/20/2023     0.8   Review the intercompany balances between Quoine Pte Ltd and FTX
                                            Japan K.K
Joseph Sequeira         3/20/2023     0.6   Working session with J. Sequeira, S. Li, D. Hainline (A&M) to review
                                            FTX Japan intercompany analysis
Joseph Sequeira         3/20/2023     0.2   Meeting with J. Sequeira, D. Hainline (A&M) to align on next steps for
                                            the intercompany analysis for WRS and DOTCOM entities
Julian Lee              3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                            Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                            reconciliation and cash database
Kathryn Zabcik          3/20/2023     0.9   Review bank statements from banks #1-3 for intercompany
                                            transactions
Kathryn Zabcik          3/20/2023     1.3   Review bank statements from banks #9-10 for intercompany
                                            transactions
Kathryn Zabcik          3/20/2023     1.2   Review bank statements from banks #4-5 for intercompany
                                            transactions



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Intercompany
Professional                Date     Hours     Activity
Kathryn Zabcik           3/20/2023     0.9   Review bank statements from banks #6-8 for intercompany
                                             transactions
Kathryn Zabcik           3/20/2023     1.7   Review intercompany tie out file for additional intercompany
                                             transactions
Kathryn Zabcik           3/20/2023     1.6   Review bank statements from banks #14-17 for intercompany
                                             transactions
Kathryn Zabcik           3/20/2023     1.5   Review bank statements from banks #17-20 for intercompany
                                             transactions
Kathryn Zabcik           3/20/2023     1.6   Review bank statements from banks #11-13 for intercompany
                                             transactions
Kevin Kearney            3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                             Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                             reconciliation and cash database
Kevin Kearney            3/20/2023     1.3   Review of AWS extracts to identify complete listing of bank accounts
                                             used to process customer deposits
Kevin Kearney            3/20/2023     0.4   Review of FTX US wallet information in order to reconcile related
                                             party accounts
Kevin Kearney            3/20/2023     1.5   Review of FTX.com wallet information in order to reconcile related
                                             party accounts
Kevin Kearney            3/20/2023     1.2   Compilation of Alameda silo legal entity financial information to assist
                                             solvency model creation
Kevin Kearney            3/20/2023     2.5   Review of Alameda silo combined intercompany reconciliation
                                             template
Kevin Kearney            3/20/2023     0.6   Review of Alameda account on Binance exchange for activity
                                             pertaining to share repurchase for proper intercompany accounting
Louis Konig              3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                             Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                             reconciliation and cash database
Mackenzie Jones          3/20/2023     2.2   Review of WRS silo entities for overview of unrecorded intercompany
                                             transactions
Michael Shanahan         3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                             Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                             reconciliation and cash database
Peter Kwan               3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                             Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                             reconciliation and cash database
Peter Kwan               3/20/2023     1.0   Call with D. Johnston, G. Balmelli, P. Kwan, C. Corr (A&M) on FTX
                                             EU calculation of intercompany balances
Robert Gordon            3/20/2023     0.2   Discussion with C. Broskay, R. Gordon(A&M) to discuss silo
                                             responsibilities for intercompany
Robert Johnson           3/20/2023     0.3   Call with K. Kearney, J. Faett, R. Johnson, P. Kwan, L. Konig, G.
                                             Walia, M. Shanahan, J. Lee (A&M) to discuss intercompany
                                             reconciliation and cash database
Zach Burns               3/20/2023     1.1   Analyze Alameda Research KK bank statements for intercompany
                                             transactions
Zach Burns               3/20/2023     1.4   Analyze Alameda Research LLC bank statements for intercompany
                                             transactions

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Intercompany
Professional               Date     Hours     Activity
Cole Broskay            3/21/2023     0.5   Discussion with R. Gordon, C. Broskay(A&M) to plan intercompany
                                            workstreams
Cole Broskay            3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                            Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                            workstream roles and reconciliation process
Drew Hainline           3/21/2023     0.7   Meeting with J. Sequeira, D. Hainline, H. Ardizzoni (A&M) to discuss
                                            specific next steps in intercompany reconciliation process
Drew Hainline           3/21/2023     0.3   Working session with J. Sequeira, D. Hainline (A&M) to review
                                            priorities and approach for DOTCOM intercompany reconciliation
Drew Hainline           3/21/2023     0.3   Review intercompany matrix including book values of intercompany
                                            and related party receivables
Drew Hainline           3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                            Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                            workstream roles and reconciliation process
Drew Hainline           3/21/2023     0.3   Call with J. Sequeira, D. Hainline (A&M) to discuss next steps for
                                            intercompany reconciliation of DOTCOM entities
Drew Hainline           3/21/2023     0.4   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to workplan
                                            for intercompany reconciliation of DOTCOM silo
Drew Hainline           3/21/2023     0.4   Review of bank statement tracker for intercompany reconciliation

Drew Hainline           3/21/2023     0.8   Working session with J. Sequeira, D. Hainline, H. Ardizzoni, M. Jones
                                            (A&M) to review intercompany matrix tool and align on next steps
Gaurav Walia            3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Heather Ardizzoni       3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                            Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                            workstream roles and reconciliation process
Heather Ardizzoni       3/21/2023     0.8   Working session with J. Sequeira, D. Hainline, H. Ardizzoni, M. Jones
                                            (A&M) to review intercompany matrix tool and align on next steps
Heather Ardizzoni       3/21/2023     0.7   Meeting with J. Sequeira, D. Hainline, H. Ardizzoni (A&M) to discuss
                                            specific next steps in intercompany reconciliation process
Heather Ardizzoni       3/21/2023     2.4   Review WRS transactions with related parties for correct recording in
                                            general ledger
Heather Ardizzoni       3/21/2023     1.7   Review exported WRS general ledger data for completeness and
                                            accuracy against source data in QuickBooks
Jack Faett              3/21/2023     0.6   Meeting with K. Kearney, J. Faett, M. Jones (A&M) to discuss
                                            intercompany reconciliation and consolidation process
Jack Faett              3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                            Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                            workstream roles and reconciliation process
Jack Faett              3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Joseph Sequeira         3/21/2023     0.3   Working session with J. Sequeira, D. Hainline (A&M) to review
                                            priorities and approach for DOTCOM intercompany reconciliation



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Intercompany
Professional                Date     Hours     Activity
Joseph Sequeira          3/21/2023     0.8   Working session to review intercompany matrix

Joseph Sequeira          3/21/2023     0.4   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to workplan
                                             for intercompany reconciliation of DOTCOM silo
Joseph Sequeira          3/21/2023     1.0   Formulate review process for intercompany reconciliations

Joseph Sequeira          3/21/2023     0.7   Meeting with J. Sequeira, D. Hainline, H. Ardizzoni (A&M) to discuss
                                             specific next steps in intercompany reconciliation process
Joseph Sequeira          3/21/2023     0.6   Analyze intercompany activity between related party entities to
                                             determine accuracy of balances
Joseph Sequeira          3/21/2023     0.8   Working session with J. Sequeira, D. Hainline, H. Ardizzoni, M. Jones
                                             (A&M) to review intercompany matrix tool and align on next steps
Joseph Sequeira          3/21/2023     0.9   Review Dotcom intercompany documentation to determine
                                             reasonableness
Joseph Sequeira          3/21/2023     0.3   Call with J. Sequeira, D. Hainline (A&M) to discuss next steps for
                                             intercompany reconciliation of DOTCOM entities
Joseph Sequeira          3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                             Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                             workstream roles and reconciliation process
Julian Lee               3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation and cash database
Kevin Kearney            3/21/2023     0.6   Meeting with K. Kearney, J. Faett, M. Jones (A&M) to discuss
                                             intercompany reconciliation and consolidation process
Kevin Kearney            3/21/2023     1.1   Review of AWS extracts to identify complete listing of bank accounts
                                             used to process customer withdrawals
Kevin Kearney            3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                             Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                             workstream roles and reconciliation process
Kevin Kearney            3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation and cash database
Louis Konig              3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation and cash database
Mackenzie Jones          3/21/2023     0.5   Compare intercompany general ledger data with latest WRS silo data
                                             in QBO
Mackenzie Jones          3/21/2023     1.1   Update general ledger data for latest WRS silo intercompany and
                                             related party balances
Mackenzie Jones          3/21/2023     0.8   Working session with J. Sequeira, D. Hainline, H. Ardizzoni, M. Jones
                                             (A&M) to review intercompany matrix tool and align on next steps
Mackenzie Jones          3/21/2023     0.9   Meeting with K. Kearney, J. Sequeira, C. Broskay, D. Hainline, J.
                                             Faett, H. Ardizzoni, M. Jones (A&M) to discuss intercompany
                                             workstream roles and reconciliation process
Mackenzie Jones          3/21/2023     0.6   Meeting with K. Kearney, J. Faett, M. Jones (A&M) to discuss
                                             intercompany reconciliation and consolidation process



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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/21/2023     2.8   Update general ledger data for latest Dotcom silo intercompany and
                                            related party balances
Mackenzie Jones         3/21/2023     2.3   Compare intercompany general ledger data with latest Dotcom silo
                                            data in QBO
Michael Shanahan        3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Peter Kwan              3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Robert Gordon           3/21/2023     0.4   Prepare for upcoming intercompany status meeting

Robert Gordon           3/21/2023     0.4   Meeting with R. Gordon, J. Sequeira, D. Hainline (A&M) to workplan
                                            for intercompany reconciliation of DOTCOM silo
Robert Gordon           3/21/2023     0.5   Discussion with R. Gordon, C. Broskay(A&M) to plan intercompany
                                            workstreams
Robert Gordon           3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Robert Johnson          3/21/2023     0.2   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation and cash database
Summer Li               3/21/2023     0.3   Correspondence with C. Kotarba (A&M) regarding the intercompany
                                            balance between FTX Japan KK and Quoine Pte
Cole Broskay            3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Cole Broskay            3/22/2023     0.7   Review intercompany model with data through 11/30


Daniel Kuruvilla        3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Daniel Kuruvilla        3/22/2023     1.0   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla (A&M) to discuss
                                            Dot Com intercompany reconciliation process
Daniel Kuruvilla        3/22/2023     0.4   Meeting to discuss intercompany reconciliation process K.
                                            Kearney, D. Kuruvilla (A&M)
David Johnston          3/22/2023     3.1   Analysis of European intercompany historical activity


David Johnston          3/22/2023     0.5   Meeting with R. Gordon, D. Johnston, J. Sequeira (A&M) to discuss
                                            Europe's intercompany transactional activities
David Johnston          3/22/2023     0.5   Meeting to discuss Europe's intercompany transactional activities
                                            with R. Gordon, D. Johnston, J. Sequeira (A&M)
Drew Hainline           3/22/2023     1.0   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla (A&M) to discuss
                                            Dot Com intercompany reconciliation process




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Intercompany
Professional               Date     Hours     Activity
Drew Hainline           3/22/2023     0.4   Draft adjusting journal entries for FTX Trading Ltd based on IC with
                                            FTX Japan KK
Drew Hainline           3/22/2023     0.2   Discussion between H. Ardizzoni, D. Hainline (A&M) over WRS
                                            intercompany balances
Drew Hainline           3/22/2023     1.1   Review IC questions from FTX Japan for reimbursement charge in
                                            2022 and provide guidance for journal entries booked on
                                            counterparties GL
Drew Hainline           3/22/2023     1.2   Analyze IC balances between Blockfolio and other DOTCOM entities
                                            to identify imbalances
Drew Hainline           3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Drew Hainline           3/22/2023     0.3   Meeting with J. Sequeira, D. Hainline (A&M) to align on approach
                                            and next steps for intercompany reconciliation of DOTCOM entities
Drew Hainline           3/22/2023     0.3   Meeting with J. Sequeira, D. Hainline (A&M) to debrief on historical
                                            compilation and next steps for intercompany reconciliation
Drew Hainline           3/22/2023     1.6   Analyze IC balances between FTX Trading Ltd and other DOTCOM
                                            entities to identify imbalances
Gaurav Walia            3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Gaurav Walia            3/22/2023     0.7   Review the intercompany analysis to prepare for a meeting

Gaurav Walia            3/22/2023     0.4   Call with , R.Gordon, K. Kearney and G. Walia (A&M) regarding
                                            intercompany transactions
Heather Ardizzoni       3/22/2023     0.2   Discussion between H. Ardizzoni, D. Hainline (A&M) over WRS
                                            intercompany balances
Heather Ardizzoni       3/22/2023     0.3   Call with H. Ardizzoni, K. Kearney, R. Gordon(A&M) to walkthrough
                                            intercompany presentation
Heather Ardizzoni       3/22/2023     2.1   Revise intercompany process comparison slide deck


Heather Ardizzoni       3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Jack Faett              3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Jack Faett              3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Joseph Sequeira         3/22/2023     0.3   Meeting with J. Sequeira, D. Hainline (A&M) to debrief on historical
                                            compilation and next steps for intercompany reconciliation
Joseph Sequeira         3/22/2023     0.5   Meeting with R. Gordon, D. Johnston, J. Sequeira (A&M) to discuss
                                            Europe's intercompany transactional activities



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Intercompany
Professional                Date     Hours     Activity
Joseph Sequeira          3/22/2023     1.0   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla (A&M) to discuss
                                             Dot Com intercompany reconciliation process
Joseph Sequeira          3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                             Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                             Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                             process
Joseph Sequeira          3/22/2023     0.3   Meeting with J. Sequeira, D. Hainline (A&M) to align on approach
                                             and next steps for intercompany reconciliation of DOTCOM entities
Joseph Sequeira          3/22/2023     1.5   Discussion with various teammates regarding intercompany analyses

Joseph Sequeira          3/22/2023     1.2   Analyze intercompany activity within the FTX Trading Silo

Julian Lee               3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation, AWS database, and cash database
Kathryn Zabcik           3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                             Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                             Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                             process
Kevin Kearney            3/22/2023     0.3   Prepare for Alameda intercompany presentation walkthrough meeting

Kevin Kearney            3/22/2023     0.2   Discussion with R. Gordon, K. Kearney(A&M) re: customer account
                                             intercompany
Kevin Kearney            3/22/2023     0.4   Meeting to discuss intercompany reconciliation process K.
                                             Kearney, D. Kuruvilla (A&M)
Kevin Kearney            3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation, AWS database, and cash database
Kevin Kearney            3/22/2023     0.3   Call with H. Ardizzoni, K. Kearney, R. Gordon(A&M) to walkthrough
                                             intercompany presentation
Kevin Kearney            3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                             Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                             Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                             process
Kevin Kearney            3/22/2023     0.4   Call with , R.Gordon, K. Kearney and G. Walia (A&M) regarding
                                             intercompany transactions
Kevin Kearney            3/22/2023     0.5   Call with M. Flynn, K. Ramanathan, K. Kearney, R. Gordon (A&M) to
                                             discuss intercompany balances
Kumanan Ramanathan       3/22/2023     0.5   Call with M. Flynn, K. Ramanathan, K. Kearney, R. Gordon (A&M) to
                                             discuss intercompany balances
Louis Konig              3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                             Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                             intercompany reconciliation, AWS database, and cash database
Mackenzie Jones          3/22/2023     1.7   Update intercompany source data for updated WRS silo balances

Mackenzie Jones          3/22/2023     1.1   Update intercompany reconciliation summary with unique identifiers




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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/22/2023     1.4   Update general ledger data for latest intercompany balances from
                                            QBO
Mackenzie Jones         3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Mackenzie Jones         3/22/2023     0.4   Summarize and distribute intercompany data file to team


Mackenzie Jones         3/22/2023     1.4   Update intercompany matrix for updated WRS silo balances

Mackenzie Jones         3/22/2023     1.2   Match new intercompany and related party balances to
                                            corresponding account
Mackenzie Jones         3/22/2023     1.5   Review of intercompany account matchings within silos


Mackenzie Jones         3/22/2023     1.6   Update intercompany matrix for updated Venture silo balances

Mackenzie Jones         3/22/2023     1.9   Update general ledger data for latest related party balances from
                                            QBO
Matthew Flynn           3/22/2023     0.5   Call with M. Flynn, K. Ramanathan, K. Kearney, R. Gordon (A&M) to
                                            discuss intercompany balances
Michael Shanahan        3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Peter Kwan              3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Ran Bruck               3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Robert Gordon           3/22/2023     0.5   Meeting with R. Gordon, D. Johnston, J. Sequeira (A&M) to discuss
                                            Europe's intercompany transactional activities
Robert Gordon           3/22/2023     0.8   Review and edit IC approach presentation

Robert Gordon           3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Robert Gordon           3/22/2023     0.5   Call with M. Flynn, K. Ramanathan, K. Kearney, R. Gordon (A&M) to
                                            discuss intercompany balances
Robert Gordon           3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Robert Gordon           3/22/2023     0.3   Call with H. Ardizzoni, K. Kearney, R. Gordon(A&M) to walkthrough
                                            intercompany presentation
Robert Gordon           3/22/2023     0.2   Discussion with R. Gordon, K. Kearney(A&M) re: customer account
                                            intercompany



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Intercompany
Professional               Date     Hours     Activity
Robert Gordon           3/22/2023     0.4   Call with , R.Gordon, K. Kearney and G. Walia (A&M) regarding
                                            intercompany transactions
Robert Johnson          3/22/2023     0.5   Call with K. Kearney, J. Faett, R. Gordon, R. Johnson, P. Kwan, L.
                                            Konig, G. Walia, M. Shanahan, J. Lee (A&M) to discuss
                                            intercompany reconciliation, AWS database, and cash database
Zach Burns              3/22/2023     1.0   Review Quoine Pte bank statements for intercompany transactions


Zach Burns              3/22/2023     0.9   Analyze Blockfolio bank accounts for intercompany transactions

Zach Burns              3/22/2023     1.6   Review FTX Europe AG bank statements for intercompany
                                            transactions
Zach Burns              3/22/2023     1.8   Analyze Digital Assets DAAG bank accounts for intercompany
                                            transactions
Zach Burns              3/22/2023     0.4   Meeting with R. Gordon, J. Sequeira, C. Broskay, K. Kearney, D.
                                            Hainline, J. Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z.
                                            Burns, M. Jones (A&M) to discuss intercompany reconciliation
                                            process
Cole Broskay            3/23/2023     0.3   Teleconference between R. Gordon, C. Broskay(A&M) to discuss
                                            updates to WRS Intercompany matrix
Cole Broskay            3/23/2023     0.7   Continue review of intercompany model for select entities with
                                            financial data loaded through 11/30
Cole Broskay            3/23/2023     0.5   Call between D. Schwarz, J. LaBella, M. Jacques(AP), K. Kearney,
                                            R. Gordon, C. Broskay, S. Coverick(A&M) to coordinate
                                            Intercompany mapping
Daniel Kuruvilla        3/23/2023     0.8   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, (A&M) re:
                                            Europe, Quoine and Japan intercompany data and investment in subs
Daniel Kuruvilla        3/23/2023     2.0   Identify and review newly identified FTX.com Investment in Subsidiary

Daniel Kuruvilla        3/23/2023     0.7   Live review of intercompany approach presentation between K.
                                            Kearney, D. Kuruvilla (A&M)
Daniel Kuruvilla        3/23/2023     1.8   FTX.com Japan Intercompany entry identification


Daniel Kuruvilla        3/23/2023     0.4   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, M. Jones
                                            (A&M) re: FTX silo intercompany data
Drew Hainline           3/23/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to review open items
                                            and priorities for December close and intercompany analysis
Drew Hainline           3/23/2023     0.4   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, M. Jones
                                            (A&M) re: FTX silo intercompany data
Drew Hainline           3/23/2023     0.6   Review information received from RLKS on updated post-petition
                                            CoA and post-petition recorded entries
Drew Hainline           3/23/2023     0.6   Review updated intercompany matrix, outstanding updates and gaps
                                            to analyze
Drew Hainline           3/23/2023     0.3   Review open intercompany questions for European entities and
                                            schedule time with FTX representatives
Drew Hainline           3/23/2023     0.7   Review Alameda non-silo transactions to identify potential
                                            unrecorded IC transactions for DOTCOM entities


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Intercompany
Professional               Date     Hours     Activity
Drew Hainline           3/23/2023     0.5   Review investment in subs account entries for potential intercompany
                                            with FTX Trading Ltd
Drew Hainline           3/23/2023     0.7   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, (A&M) re:
                                            Europe, Quoine and Japan intercompany data and investment in subs
Drew Hainline           3/23/2023     0.3   Review proposed journal entry approach for Japan KK intercompany
                                            adjustments
Gaurav Walia            3/23/2023     0.7   Prepare responses to intercompany analysis

Heather Ardizzoni       3/23/2023     0.5   Call between H. Ardizzoni, K. Kearney, R. Gordon (A&M) to review
                                            intercompany approach presentation
Heather Ardizzoni       3/23/2023     2.8   Review WRS inter-silo and intra-silo identified transactions not
                                            recorded in general ledger
Heather Ardizzoni       3/23/2023     2.2   Create WRS intrasilo and intrasilo intercompany matrices template


Heather Ardizzoni       3/23/2023     2.2   Review intercompany transactions recorded in general ledger for
                                            various WRS entities
Heather Ardizzoni       3/23/2023     1.8   Make updates to intercompany process comparison slide deck


Heather Ardizzoni       3/23/2023     1.9   Create WRS intercompany transaction reconciliation template

Jane Chuah              3/23/2023     0.7   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                            intercompany balance and entries
Joseph Sequeira         3/23/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to review open items
                                            and priorities for December close and intercompany analysis
Joseph Sequeira         3/23/2023     0.4   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, M. Jones
                                            (A&M) re: FTX silo intercompany data
Joseph Sequeira         3/23/2023     0.8   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, (A&M) re:
                                            Europe, Quoine and Japan intercompany data and investment in subs
Joseph Sequeira         3/23/2023     2.1   Analyze intercompany activity across silos

Joseph Sequeira         3/23/2023     2.2   Analyze intercompany activity within the FTX Trading entities


Kathryn Zabcik          3/23/2023     2.5   Update in intercompany bank transactions from third party bank for
                                            Alameda
Kathryn Zabcik          3/23/2023     1.3   Review bank transactions intercompany file and related bank
                                            statements to confirm transactions are in USD
Kevin Kearney           3/23/2023     0.5   Call between D. Schwarz, J. LaBella, M. Jacques(AP), K. Kearney,
                                            R. Gordon, C. Broskay, S. Coverick(A&M) to coordinate
                                            Intercompany mapping
Kevin Kearney           3/23/2023     0.3   Prepare for coordination call over Intercompany mapping

Kevin Kearney           3/23/2023     3.1   Review of consolidated Alameda silo intercompany matrix

Kevin Kearney           3/23/2023     0.7   Live review of intercompany approach presentation between K.
                                            Kearney, D. Kuruvilla (A&M)


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                                  FTX Trading Ltd., et al.,
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Intercompany
Professional               Date     Hours     Activity
Kevin Kearney           3/23/2023     0.5   Call between H. Ardizzoni, K. Kearney, R. Gordon (A&M) to review
                                            intercompany approach presentation
Kevin Kearney           3/23/2023     0.5   Prepare agenda for call with AlixPartners over intercompany mapping
                                            K. Kearney, R. Gordon (A&M)
Mackenzie Jones         3/23/2023     0.4   Discussion with J. Sequeira, D. Kuruvilla, D. Hainline, M. Jones
                                            (A&M) re: FTX silo intercompany data
Mackenzie Jones         3/23/2023     1.8   Compare intercompany file to latest Alameda silo balances in QBO

Mackenzie Jones         3/23/2023     0.4   Adjust intercompany matrix formulas and summary overview


Mackenzie Jones         3/23/2023     2.4   Update intercompany general ledger data for latest Alameda silo
                                            balances
Mackenzie Jones         3/23/2023     1.1   Review and upload non-debtor intercompany balances into matrix in
                                            order to match debtor balances
Mackenzie Jones         3/23/2023     0.9   Reconcile Alameda intercompany account balances and review for
                                            missing journal entries
Robert Gordon           3/23/2023     0.5   Final updates to IC presentation


Robert Gordon           3/23/2023     0.5   Prepare agenda for call with AlixPartners over intercompany mapping
                                            K. Kearney, R. Gordon (A&M)
Robert Gordon           3/23/2023     0.2   Prepare for A&M and AP working meeting on intercompany

Robert Gordon           3/23/2023     0.5   Call between D. Schwarz, J. LaBella, M. Jacques(AP), K. Kearney,
                                            R. Gordon, C. Broskay, S. Coverick(A&M) to coordinate
                                            Intercompany mapping
Robert Gordon           3/23/2023     0.5   Call between H. Ardizzoni, K. Kearney, R. Gordon (A&M) to review
                                            intercompany approach presentation
Robert Gordon           3/23/2023     0.3   Teleconference between R. Gordon, C. Broskay(A&M) to discuss
                                            updates to WRS Intercompany matrix
Robert Johnson          3/23/2023     1.4   Adjust VPC route tables to increase interconnectivity between VPCs
                                            in multiple AWS regions
Summer Li               3/23/2023     0.7   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                            intercompany balance and entries
Zach Burns              3/23/2023     1.0   Analyze West Realm Shires Financial Services bank statements for
                                            intercompany transactions
Zach Burns              3/23/2023     0.9   Analyze Alameda Research LLC transaction report for intercompany
                                            transactions
Cole Broskay            3/24/2023     0.9   Edit intercompany update slide for PMO deck and provide for review


Cole Broskay            3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Daniel Kuruvilla        3/24/2023     2.8   FTX.com Japan Intercompany entry identification




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Intercompany
Professional               Date     Hours     Activity
Daniel Kuruvilla        3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Daniel Kuruvilla        3/24/2023     0.7   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla, M. Jones (A&M)
                                            to review of FTX silo intercompany progress and next steps
Daniel Kuruvilla        3/24/2023     0.4   Meeting to discuss FTX.com intercompany progress and D. Hainline,
                                            D. Kuruvilla (A&M)
Daniel Kuruvilla        3/24/2023     1.9   Petition date FTX.com Europe Intercompany matching of balances

Daniel Kuruvilla        3/24/2023     2.2   FTX.com Europe Intercompany entry identification as of petition date


Drew Hainline           3/24/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to discuss open items
                                            and approach for intercompany reconciliation of DOTCOM entities
Drew Hainline           3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Drew Hainline           3/24/2023     0.7   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla, M. Jones (A&M)
                                            to review of FTX silo intercompany progress and next steps
Drew Hainline           3/24/2023     1.2   Review updates on open FTX Japan IC questions, perform research
                                            and provide updates to stakeholders
Drew Hainline           3/24/2023     0.4   Meeting to discuss FTX.com intercompany progress and D. Hainline,
                                            D. Kuruvilla (A&M)
Heather Ardizzoni       3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Heather Ardizzoni       3/24/2023     2.6   Perform research on WRS payments made on behalf of other entities

Heather Ardizzoni       3/24/2023     1.3   Perform research over various WRS intercompany transactions
                                            recorded in general ledger
Heather Ardizzoni       3/24/2023     1.9   Implement formula in intercompany matrices workbook to
                                            automatically identify discrepancies in WRS intercompany payables /
                                            receivables balances
Jack Faett              3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                            Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                            and cash database
Jack Faett              3/24/2023     0.4   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                            intercompany bank transactions tracking
Jack Faett              3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Joseph Sequeira         3/24/2023     2.3   Analyze Dotcom bank statements for intercompany transactional
                                            activities
Joseph Sequeira         3/24/2023     0.7   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla, M. Jones (A&M)
                                            to review of FTX silo intercompany progress and next steps
Joseph Sequeira         3/24/2023     0.5   Meeting with J. Sequeira, D. Hainline (A&M) to discuss open items
                                            and approach for intercompany reconciliation of DOTCOM entities



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Intercompany
Professional                Date     Hours     Activity
Julian Lee               3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                             and cash database
Kathryn Zabcik           3/24/2023     0.4   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                             intercompany bank transactions tracking
Kathryn Zabcik           3/24/2023     1.9   Search for the counterparty for identified transactions where the
                                             counterparty is not clear from the bank statement- bank #2 for
                                             Alameda Silo Intercompany Reconciliation
Kathryn Zabcik           3/24/2023     2.2   Search for the counterparty for identified transactions where the
                                             counterparty is not clear from the bank statement- bank #1 for
                                             Alameda Silo Intercompany Reconciliation
Kathryn Zabcik           3/24/2023     3.1   Verify the counterpart of existing intercompany cash entries for
                                             Alameda Silo Intercompany Reconciliation
Kathryn Zabcik           3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                             Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                             Jones (A&M) to discuss intercompany progress and updates
Kevin Kearney            3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                             Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                             Jones (A&M) to discuss intercompany progress and updates
Kevin Kearney            3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                             and cash database
Kevin Kearney            3/24/2023     3.2   Review of consolidated Alameda silo intercompany matrix

Louis Konig              3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                             and cash database
Mackenzie Jones          3/24/2023     0.3   Update intercompany file for FTX entity balances in QBO

Mackenzie Jones          3/24/2023     0.7   Meeting with J. Sequeira, D. Hainline, D. Kuruvilla, M. Jones (A&M)
                                             to review of FTX silo intercompany progress and next steps
Mackenzie Jones          3/24/2023     1.9   Update intercompany general ledger data for latest Alameda silo
                                             balances
Mackenzie Jones          3/24/2023     2.3   Review of Alameda silo transaction report for intercompany and
                                             related party accounts
Mackenzie Jones          3/24/2023     2.2   Compare intercompany general ledger data to latest Alameda silo
                                             balances in QBO
Mackenzie Jones          3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                             Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                             Jones (A&M) to discuss intercompany progress and updates
Mackenzie Jones          3/24/2023     0.5   Review and summarize action items from intercompany progress
                                             meeting
Michael Shanahan         3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                             and cash database
Peter Kwan               3/24/2023     0.2   Call with K. Kearney, J. Faett, P. Kwan, L. Konig, M. Shanahan, J.
                                             Lee (A&M) to discuss intercompany reconciliation, AWS database,
                                             and cash database


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Intercompany
Professional               Date     Hours     Activity
Ran Bruck               3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Robert Gordon           3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Zach Burns              3/24/2023     1.2   Analyze Analysa PTE bank statements for intercompany transactions


Zach Burns              3/24/2023     0.3   Meeting with R. Gordon, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany progress and updates
Zach Burns              3/24/2023     0.4   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                            intercompany bank transactions tracking
Zach Burns              3/24/2023     0.7   Analyze additional West Realm Shires bank statements for
                                            intercompany transactions
Zach Burns              3/24/2023     1.6   Update intercompany bank statement tracker to align with new
                                            overall bank statement tracker
Daniel Kuruvilla        3/25/2023     2.3   Euro AG FTX Intercompany Matching as of petition date

Zach Burns              3/25/2023     1.6   Analyze Hive Empire Trading bank statements for intercompany
                                            transactions
Daniel Kuruvilla        3/26/2023     2.0   FTX.com EUROPE AG Review of Intercompany difference

Daniel Kuruvilla        3/26/2023     2.7   Perform FTX Japan Intercompany matching


Daniel Kuruvilla        3/26/2023     2.5   FTX.com EUROPE AG and Japan Investment in subsidiary review

Drew Hainline           3/26/2023     0.5   Review updates on open FTX Japan IC questions, perform research
                                            and provide updates to stakeholders
Cole Broskay            3/27/2023     0.3   Working session with M. Jones and C. Broskay (A&M) regarding
                                            intercompany matrix progress and next steps for WRS silo
Cole Broskay            3/27/2023     1.1   Investigate intercompany imbalances between WRS and Alameda
                                            silo
Cole Broskay            3/27/2023     0.7   Conduct review of intercompany claims matrix, specifically entities
                                            out of balance
Daniel Kuruvilla        3/27/2023     1.5   Call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to discuss
                                            FTX.com silo Europe and Japan intercompany project updates
Daniel Kuruvilla        3/27/2023     1.8   Match FTX Trading subsidiaries Balance with counterparties


Daniel Kuruvilla        3/27/2023     0.5   Preparation call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) for
                                            discussion with FTX EU client contact
Daniel Kuruvilla        3/27/2023     0.5   Prepare and organize materials for meeting with FTX EU client
                                            contact over petition date financials
Daniel Kuruvilla        3/27/2023     2.1   Match FTX Europe AG Balance with counterparties




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Intercompany
Professional               Date     Hours     Activity
Daniel Kuruvilla        3/27/2023     2.3   Match Liquid group Balance with counterparties

Drew Hainline           3/27/2023     0.3   Review additional questions on the Japan IC analysis for charges
                                            from FTX Trading Ltd
Drew Hainline           3/27/2023     0.3   Review updates on IC reconciliation between FTX Structured
                                            Products and FTX Europe AG
Drew Hainline           3/27/2023     0.7   Call with K. Kearney, D. Hainline (A&M) to review potential
                                            unrecorded related party transactions based on bank statement and
                                            GL information
Drew Hainline           3/27/2023     0.3   Meeting to review intercompany objectives and distribute tasks with
                                            D. Hainline, Z. Burns (A&M)
Drew Hainline           3/27/2023     1.1   Review updates and questions for FTX Japan intercompany analysis
                                            and provide responses
Drew Hainline           3/27/2023     0.5   Preparation call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) for
                                            discussion with FTX EU client contact
Drew Hainline           3/27/2023     1.5   Call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to discuss
                                            FTX.com silo Europe and Japan intercompany project updates
Drew Hainline           3/27/2023     0.7   Review potential related party transactions in FTX Trading Ltd bank
                                            accounts to verify completeness of GL entries
Heather Ardizzoni       3/27/2023     0.8   Review and add comments to newest version of intercompany
                                            controls report
Heather Ardizzoni       3/27/2023     0.8   Call with H. Ardizzoni and R. Gordon (A&M) to review intercompany
                                            controls report
Heather Ardizzoni       3/27/2023     1.6   Review WRS intrasilo/intracompany fiat transactions


Heather Ardizzoni       3/27/2023     0.2   Meeting with H. Ardizzoni and M. Jones (A&M) to discuss WRS silo
                                            intercompany review process and approach
Heather Ardizzoni       3/27/2023     0.2   Discuss WRS silo intercompany review process and approach with
                                            H. Ardizzoni and M. Jones (A&M)
Heather Ardizzoni       3/27/2023     2.2   Review WRS intrasilo/intercompany fiat transactions


Jack Faett              3/27/2023     0.3   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to review
                                            intercompany objectives and distribute tasks
Jack Faett              3/27/2023     0.6   Meeting with K. Kearney and J. Faett (A&M) to discuss priorities for
                                            Alameda Silo intercompany analysis for first half of week
Jack Faett              3/27/2023     1.6   Add additional intercompany transactions to the consolidated
                                            Alameda intercompany workpaper and reconciling total activity back
                                            to individual bank statements
Jack Faett              3/27/2023     0.3   Meeting with J. Faett and K. Zabcik (A&M) to check in on
                                            intercompany objectives and cover questions
Jack Faett              3/27/2023     2.7   Review A&M Cash Database for new bank statements processed
                                            and performing intercompany analysis for Alameda Silo entities
Jack Faett              3/27/2023     2.4   Identify unrecorded intercompany transactions for the Venture Silo




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Intercompany
Professional               Date     Hours     Activity
Jack Faett              3/27/2023     2.6   Match intra-silo transactions between Alameda Silo entities and
                                            agreeing intercompany transactions to the general ledger to
                                            determine if they were recorded or unrecorded
Joseph Sequeira         3/27/2023     1.5   Call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to discuss
                                            FTX.com silo Europe and Japan intercompany project updates
Joseph Sequeira         3/27/2023     0.5   Preparation call with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) for
                                            discussion with FTX EU client contact
Kathryn Zabcik          3/27/2023     1.7   Review entries where bank statements are missing for Alameda
                                            Intercompany Reconciliation
Kathryn Zabcik          3/27/2023     0.3   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to review
                                            intercompany objectives and distribute tasks
Kathryn Zabcik          3/27/2023     0.3   Meeting with J. Faett and K. Zabcik (A&M) to check in on
                                            intercompany objectives and cover questions
Kathryn Zabcik          3/27/2023     1.6   Reconcile intercompany cash entries for bank account #1 for
                                            Alameda
Kathryn Zabcik          3/27/2023     0.8   Reconcile intercompany cash entries for bank account #3 for
                                            Alameda
Kathryn Zabcik          3/27/2023     2.2   Reconcile intercompany cash entries for bank account #4 for
                                            Alameda
Kathryn Zabcik          3/27/2023     2.0   Reconcile intercompany cash entries for bank account #2 for
                                            Alameda
Kathryn Zabcik          3/27/2023     2.8   Review and update bank statement tracker for Alameda

Kevin Kearney           3/27/2023     1.0   Review of related party wallet information gathered by AWS database
                                            team
Kevin Kearney           3/27/2023     0.6   Meeting with K. Kearney and J. Faett (A&M) to discuss priorities for
                                            Alameda Silo intercompany analysis for first half of week
Kevin Kearney           3/27/2023     0.7   Call with K. Kearney, D. Hainline (A&M) to review potential
                                            unrecorded related party transactions based on bank statement and
                                            GL information
Kevin Kearney           3/27/2023     1.4   Preparation of consolidated intercompany matrix for Alameda silo for
                                            Dotcom silo transactions
Kevin Kearney           3/27/2023     0.8   Review of Alameda Research KK intercompany transfers

Kevin Kearney           3/27/2023     1.1   Preparation of consolidated intercompany matrix for Alameda silo for
                                            WRS silo transactions
Kevin Kearney           3/27/2023     2.0   Preparation of consolidated intercompany matrix for Alameda silo for
                                            Ventures silo transactions
Kevin Kearney           3/27/2023     2.5   Preparation of consolidated intercompany matrix for Alameda silo
                                            intra-entity transactions
Mackenzie Jones         3/27/2023     0.3   Working session with M. Jones and C. Broskay (A&M) regarding
                                            intercompany matrix progress and next steps for WRS silo
Mackenzie Jones         3/27/2023     1.2   Update Alameda intercompany accounts for latest QBO data

Mackenzie Jones         3/27/2023     0.7   Update FTX silo entity general ledger data for updated intercompany
                                            transactions

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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/27/2023     0.8   Match intercompany balances between silos for preliminary analysis
                                            on intercompany matrix balances
Mackenzie Jones         3/27/2023     1.2   Complete analysis on matching recorded intercompany and related
                                            party account balances
Mackenzie Jones         3/27/2023     0.2   Meeting with H. Ardizzoni and M. Jones (A&M) to discuss WRS silo
                                            intercompany review process and approach
Mackenzie Jones         3/27/2023     2.8   Update general ledger data for latest Alameda silo data

Mackenzie Jones         3/27/2023     2.6   Match intrasilo and intrasilo intercompany and related party balances
                                            as of 11/30
Robert Gordon           3/27/2023     0.8   Call with H. Ardizzoni and R. Gordon (A&M) to review intercompany
                                            controls report
Zach Burns              3/27/2023     0.3   Meeting with J. Faett, K. Zabcik, and Z. Burns (A&M) to review
                                            intercompany objectives and distribute tasks
Zach Burns              3/27/2023     1.1   Analyze Cottonwood Technologies bank statements for intercompany
                                            transactions
Zach Burns              3/27/2023     0.8   Analyze additional Alameda Research LLC bank statements for
                                            intercompany transactions
Zach Burns              3/27/2023     0.8   Analyze additional Alameda Research Ltd bank statements for
                                            intercompany transactions
Zach Burns              3/27/2023     0.9   Analyze Euclid Way bank statements for intercompany transactions

Zach Burns              3/27/2023     0.7   Analyze Circle bank statements for intercompany transactions


Zach Burns              3/27/2023     0.3   Meeting to review intercompany objectives and distribute tasks with
                                            D. Hainline, Z. Burns (A&M)
Zach Burns              3/27/2023     2.2   Analyze Alameda Research Ltd bank statements for intercompany
                                            transactions
Cole Broskay            3/28/2023     0.2   Continue intercompany matrix review focusing on WRS silo
                                            intercompany balances and related cash transactions
Cole Broskay            3/28/2023     0.4   Respond to questions regarding Ledger entities' intercompany
                                            balances
Cole Broskay            3/28/2023     0.4   Correspondence related to intercompany matrix with internal
                                            accounting team
Daniel Kuruvilla        3/28/2023     2.4   Consolidate FTX.com balances for further review

Daniel Kuruvilla        3/28/2023     1.2   Discussions with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) and J.
                                            Bavaud (FTX) re: FTX Europe on Intercompany out of balances
Daniel Kuruvilla        3/28/2023     0.2   Meeting J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to debrief FTX
                                            Europe Intercompany discuss
Daniel Kuruvilla        3/28/2023     1.1   Discussion with J. Sequeira, D. Hainline, D. Kuruvilla, and Z. Burns
                                            (A&M) on dotcom silo intercompany transactions in the month of
                                            November and October 2022
Daniel Kuruvilla        3/28/2023     2.0   Match FTX Europe AG Balance with counterparties




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Intercompany
Professional                 Date     Hours     Activity
Daniel Kuruvilla          3/28/2023     1.5   Match FTX Europe AG subsidiaries Balance with counterparties

Daniel Kuruvilla          3/28/2023     1.6   Match Liquid group Balance with counterparties


Daniel Kuruvilla          3/28/2023     0.9   Working session with J. Sequeira, D. Hainline, D. Kuruvilla, and Z.
                                              Burns (A&M) to outline of intracompany transactions within the
                                              dotcom silo
David Johnston            3/28/2023     2.6   Analyze claims and intercompany positions for wind down entities

Drew Hainline             3/28/2023     0.5   Review updated Quoine Pte Ltd trial balance after transfer pricing
                                              adjustments and analyze intra-company balances
Drew Hainline             3/28/2023     0.3   Review of related party transactions in FTX Trading operating bank
                                              account
Drew Hainline             3/28/2023     0.9   Working session with J. Sequeira, D. Hainline, D. Kuruvilla, and Z.
                                              Burns (A&M) to outline of intracompany transactions within the
                                              dotcom silo
Drew Hainline             3/28/2023     0.9   Meet with J. LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen
                                              (ALIX), R. Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                              (A&M) to discuss historical financial statement compilation
Drew Hainline             3/28/2023     1.1   Discussion with J. Sequeira, D. Hainline, D. Kuruvilla, and Z. Burns
                                              (A&M) on dotcom silo intercompany transactions in the month of
                                              November and October 2022
Drew Hainline             3/28/2023     1.2   Discussions with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) and J.
                                              Bavaud (FTX) re: FTX Europe on Intercompany out of balances
Drew Hainline             3/28/2023     0.2   Meeting J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to debrief FTX
                                              Europe Intercompany discuss
Emily Hoffer              3/28/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                              intercompany reconciliation and cash database updates
Heather Ardizzoni         3/28/2023     2.1   Review general ledger for WRS intercompany transactions

Heather Ardizzoni         3/28/2023     2.6   Review general ledger for WRS intracompany transactions


Hudson Trent              3/28/2023     0.5   Prepare intercompany matrix for subsidiary wind down analysis

Hudson Trent              3/28/2023     0.7   Prepare intercompany matrix for subsidiary wind down analysis


Jack Faett                3/28/2023     2.7   Reconcile newly identified intercompany transactions from the bank
                                              statement activity to the consolidated Alameda intercompany
                                              workpaper
Jack Faett                3/28/2023     3.1   Perform intercompany analysis on Alameda LLC Signet bank
                                              statement
Jack Faett                3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                              Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                              AWS database, and cash database
Jack Faett                3/28/2023     1.8   Match intra-silo transactions between Alameda Silo entities and tying
                                              each side of entry to bank statement details



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Intercompany
Professional               Date     Hours     Activity
Jack Faett              3/28/2023     0.4   Meeting with K. Kearney and J. Faett (A&M) to discuss status update
                                            for Alameda Silo intercompany transactions
Jack Faett              3/28/2023     2.9   Review bank statements for additional intercompany transactions
                                            and matching intracompany transactions for the Alameda silo
Jack Faett              3/28/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                            intercompany review process
Joseph Sequeira         3/28/2023     0.9   Meet with J. LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen
                                            (ALIX), R. Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                            (A&M) to discuss historical financial statement compilation
Joseph Sequeira         3/28/2023     1.4   Review bank statement details associated with Dotcom entities


Joseph Sequeira         3/28/2023     2.1   Prepare cash account inventory analysis for Dotcom legal entities

Joseph Sequeira         3/28/2023     1.1   Discussion with J. Sequeira, D. Hainline, D. Kuruvilla, and Z. Burns
                                            (A&M) on dotcom silo intercompany transactions in the month of
                                            November and October 2022
Joseph Sequeira         3/28/2023     1.2   Discussions with J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) and J.
                                            Bavaud (FTX) re: FTX Europe on Intercompany out of balances
Joseph Sequeira         3/28/2023     1.1   Analyze QuickBooks' transactional activities within the Dotcom silo

Joseph Sequeira         3/28/2023     0.2   Meeting J. Sequeira, D. Hainline, D. Kuruvilla, (A&M) to debrief FTX
                                            Europe Intercompany discuss
Joseph Sequeira         3/28/2023     0.9   Working session with J. Sequeira, D. Hainline, D. Kuruvilla, and Z.
                                            Burns (A&M) to outline of intracompany transactions within the
                                            dotcom silo
Julian Lee              3/28/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                            intercompany reconciliation and cash database updates
Julian Lee              3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                            Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                            AWS database, and cash database
Kathryn Zabcik          3/28/2023     1.5   Finish update to bank statement tracker by checking all reviewed
                                            bank statement and adding new statements for Alameda
                                            Intercompany Reconciliation
Kathryn Zabcik          3/28/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                            intercompany review process
Kathryn Zabcik          3/28/2023     1.3   Review initial preparation of intercompany transactions for banks #1-
                                            3 for Alameda Intercompany Reconciliation
Kathryn Zabcik          3/28/2023     1.2   Review initial preparation of intercompany transactions for banks #4
                                            and 5 for Alameda Intercompany Reconciliation
Kathryn Zabcik          3/28/2023     2.3   Review initial preparation of intercompany transactions for banks #6
                                            by looking at large transactions for Alameda Intercompany
                                            Reconciliation
Kathryn Zabcik          3/28/2023     1.7   Finalize comments to mark missing bank statements for Alameda
                                            Intercompany Reconciliation
Kathryn Zabcik          3/28/2023     0.7   Working session with K. Zabcik and Z. Burns (A&M) re: Alameda
                                            bank statements reconciliation



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Intercompany
Professional                Date     Hours     Activity
Kathryn Zabcik           3/28/2023     0.6   Review initial preparation of intercompany transactions for banks #6
                                             by looking at groups of small transactions for Alameda Intercompany
                                             Reconciliation
Kevin Baker              3/28/2023     2.5   Analyze and report in intercompany transactions for specific accounts
                                             on AWS exchange
Kevin Kearney            3/28/2023     0.5   Review of specific market making loan counterparty for on-chain
                                             activity
Kevin Kearney            3/28/2023     1.0   Review of FTX.com account for Alameda intercompany activity

Kevin Kearney            3/28/2023     0.4   Meeting with K. Kearney and J. Faett (A&M) to discuss status update
                                             for Alameda Silo intercompany transactions
Kevin Kearney            3/28/2023     0.4   Review of FTX US account for Alameda intercompany activity

Kevin Kearney            3/28/2023     0.9   Meet with J. LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen
                                             (ALIX), R. Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                             (A&M) to discuss historical financial statement compilation
Kevin Kearney            3/28/2023     0.9   Review of FTX.com account for WRS intercompany activity


Kevin Kearney            3/28/2023     0.9   Review of FTX US account for Dotcom intercompany activity

Kevin Kearney            3/28/2023     1.2   Review of FTX.com account for Dotcom intercompany activity


Kevin Kearney            3/28/2023     0.9   Review of intra-entity transactions within Deltec accounts for
                                             intercompany activity
Kevin Kearney            3/28/2023     0.7   Review of FTX US insider accounts for transaction activity

Kevin Kearney            3/28/2023     1.4   Review of FTX US account for WRS intercompany activity


Kevin Kearney            3/28/2023     0.7   Review of USDT transactions within Deltec accounts for
                                             intercompany activity
Kevin Kearney            3/28/2023     2.2   Review of Circle transactions for intercompany activity


Kevin Kearney            3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                             Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                             AWS database, and cash database
Kevin Kearney            3/28/2023     1.2   Review of FTX.com insider accounts for transaction activity

Louis Konig              3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                             Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                             AWS database, and cash database
Mackenzie Jones          3/28/2023     1.4   Review and match remaining WRS intra-silo intercompany balances

Mackenzie Jones          3/28/2023     0.9   Build WRS intra-silo standalone matrix with intercompany balances

Mackenzie Jones          3/28/2023     1.6   Cross-reference Alameda transactions with WRS silo intercompany
                                             records


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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/28/2023     0.8   Update WRSS intercompany general ledger data from latest QBO
                                            data
Mackenzie Jones         3/28/2023     2.9   Reconcile mismatched recorded intercompany and related party
                                            balances
Mackenzie Jones         3/28/2023     0.7   Update and analyze Ledger entities intercompany balances

Michael Shanahan        3/28/2023     0.9   Meet with J. LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen
                                            (ALIX), R. Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                            (A&M) to discuss historical financial statement compilation
Michael Shanahan        3/28/2023     0.6   Call with M. Shanahan, J. Lee, E. Hoffer (A&M) to discuss
                                            intercompany reconciliation and cash database updates
Michael Shanahan        3/28/2023     0.9   Meet to discuss historical financial statement compilation with J.
                                            LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen (ALIX), R.
                                            Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline (A&M)
Michael Shanahan        3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                            Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                            AWS database, and cash database
Peter Kwan              3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                            Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                            AWS database, and cash database
Robert Gordon           3/28/2023     0.5   Prepare for AlixPartners call over intercompany and Alameda cash
                                            transfers
Robert Gordon           3/28/2023     0.9   Meet with J. LaBella, K. Wessel, D. Schwartz, J. Somerville, C. Chen
                                            (ALIX), R. Gordon, J. Sequeira, M Shanahan, K. Kearney, D. Hainline
                                            (A&M) to discuss historical financial statement compilation
Robert Johnson          3/28/2023     0.4   Call with K. Kearney, J. Faett, P. Kwan, R. Johnson, L. Konig, M.
                                            Shanahan, J. Lee (A&M) to discuss intercompany reconciliation,
                                            AWS database, and cash database
Zach Burns              3/28/2023     0.3   Call with J. Faett, K. Zabcik, and Z. Burns (A&M) to discuss
                                            intercompany review process
Zach Burns              3/28/2023     0.9   Working session with J. Sequeira, D. Hainline, D. Kuruvilla, and Z.
                                            Burns (A&M) to outline of intracompany transactions within the
                                            dotcom silo
Zach Burns              3/28/2023     1.4   Review dotcom silo financials for intercompany transaction

Zach Burns              3/28/2023     1.3   Build preliminary intercompany dotcom silo matrix


Zach Burns              3/28/2023     1.6   Analyze FTX Trading Signature bank statements for intercompany
                                            transactions
Zach Burns              3/28/2023     1.1   Discussion with J. Sequeira, D. Hainline, D. Kuruvilla, and Z. Burns
                                            (A&M) on dotcom silo intercompany transactions in the month of
                                            November and October 2022
Zach Burns              3/28/2023     0.4   Add additional tracking capabilities to dotcom matrix


Zach Burns              3/28/2023     1.9   Analyze additional FTX Trading Signature bank statements for
                                            intercompany transactions
Zach Burns              3/28/2023     0.7   Working session with K. Zabcik and Z. Burns (A&M) re: Alameda
                                            bank statements reconciliation

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Intercompany
Professional              Date     Hours     Activity
Cole Broskay           3/29/2023     0.2   Meeting with C. Broskay, M. Jones, D. Hainline, D. Kuruvilla (A&M) to
                                           review Form 426 balances and next steps
Cole Broskay           3/29/2023     0.2   Correspondence regarding unrecorded intercompany transactions
                                           between Alameda silo and WRS silo
Cole Broskay           3/29/2023     1.7   For select WRS entities, review historical bank transactions from
                                           bank statements not included in the database to corroborate
                                           intercompany balances
Cole Broskay           3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, and M. Jones (A&M) to review
                                           WRS intra-silo balances and next steps
Cole Broskay           3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, M. Jones (A&M) to discuss
                                           WRS unrecorded intercompany transaction tracing process
Cole Broskay           3/29/2023     2.3   Conduct analysis of bank transaction database data in order to
                                           corroborate WRS silo intercompany balances
Cole Broskay           3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                           Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                           Jones (A&M) to discuss intercompany updates
Cole Broskay           3/29/2023     0.4   Respond to questions regarding exchange data required to
                                           corroborate intercompany balances
Cole Broskay           3/29/2023     0.2   Meeting to review Form 426 balances and next steps with C.
                                           Broskay, D. Kuruvilla (A&M)
Daniel Kuruvilla       3/29/2023     0.9   Meeting to discuss FTX.com silo intercompany updates D. Hainline,
                                           D. Kuruvilla (A&M)
Daniel Kuruvilla       3/29/2023     1.2   Compare FTX Trading and FTX Trading subsidiaries' payable and
                                           receivable balances with counterparties' balances
Daniel Kuruvilla       3/29/2023     0.2   Meeting with C. Broskay, M. Jones, D. Hainline, D. Kuruvilla (A&M) to
                                           review Form 426 balances and next steps
Daniel Kuruvilla       3/29/2023     0.5   Meeting to discuss WRS unrecorded intercompany transaction
                                           tracing process with D. Kuruvilla, H. Ardizzoni (A&M)
Daniel Kuruvilla       3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                           Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                           Jones (A&M) to discuss intercompany updates
Daniel Kuruvilla       3/29/2023     2.3   Compare Liquid Group payable and receivable balances with
                                           counterparties' balances
Daniel Kuruvilla       3/29/2023     0.2   Meeting to review Form 426 balances and next steps with C.
                                           Broskay, D. Kuruvilla (A&M)
Daniel Kuruvilla       3/29/2023     0.8   Working session to discuss WRS intra-silo outputs and working plan
                                           with H. Ardizzoni and D. Kuruvilla (A&M)
Daniel Kuruvilla       3/29/2023     1.8   Compare FTX Europe AG payable and receivable balances with
                                           counterparties' balances
Daniel Kuruvilla       3/29/2023     0.3   Meeting to discuss FTX.com silo intercompany updates J. Sequeira,
                                           D. Kuruvilla (A&M)
David Johnston         3/29/2023     2.4   Review and analyze intercompany transfers for FTX Turkey and SNG
                                           Investments
Drew Hainline          3/29/2023     0.2   Meeting with C. Broskay, M. Jones, D. Hainline, D. Kuruvilla (A&M) to
                                           review Form 426 balances and next steps



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Intercompany
Professional               Date     Hours     Activity
Drew Hainline           3/29/2023     1.2   Draft journal entries for known intercompany adjusting entries not
                                            recorded
Drew Hainline           3/29/2023     0.9   Meeting to discuss FTX.com silo intercompany updates D. Hainline,
                                            D. Kuruvilla (A&M)
Drew Hainline           3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Heather Ardizzoni       3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, and M. Jones (A&M) to review
                                            WRS intra-silo balances and next steps
Heather Ardizzoni       3/29/2023     0.5   Meeting to discuss WRS unrecorded intercompany transaction
                                            tracing process with D. Kuruvilla, H. Ardizzoni (A&M)
Heather Ardizzoni       3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, M. Jones (A&M) to discuss
                                            WRS unrecorded intercompany transaction tracing process
Heather Ardizzoni       3/29/2023     0.3   Create templates for documenting consolidated WRS intercompany
                                            transactions
Heather Ardizzoni       3/29/2023     0.7   Working session with H. Ardizzoni and M. Jones (A&M) to discuss
                                            WRS intra-silo outputs and working plan
Heather Ardizzoni       3/29/2023     2.2   Investigate various intercompany transactions related to WRS legal
                                            entities
Heather Ardizzoni       3/29/2023     0.8   Working session to discuss WRS intra-silo outputs and working plan
                                            with H. Ardizzoni and D. Kuruvilla (A&M)
Heather Ardizzoni       3/29/2023     1.3   Investigate WRS intracompany transactions recorded in QuickBooks

Heather Ardizzoni       3/29/2023     2.1   Investigate various intracompany transactions recorded for WRS
                                            legal entities
Heather Ardizzoni       3/29/2023     1.6   Research various intercompany transactions related to WRS silo

Heather Ardizzoni       3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Jack Faett              3/29/2023     2.0   Match intra-silo transactions between Alameda Silo entities and tying
                                            each side of entry to bank statement details
Jack Faett              3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Jack Faett              3/29/2023     2.2   Perform secondary review of ED&F Man brokerage statements to
                                            ensure all intercompany transactions were captured for Alameda Silo
Jack Faett              3/29/2023     2.6   Review Signature bank statements for Alameda Silo entities for
                                            intercompany transactions
Jack Faett              3/29/2023     2.7   Calculate intercompany journal entries for the Venture silo and
                                            agreeing recorded intercompany transactions to general ledger
Joseph Sequeira         3/29/2023     2.2   Review intercompany transactional activity for reconciliation purposes


Joseph Sequeira         3/29/2023     2.2   Reconcile intercompany cash transactions




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Intercompany
Professional             Date     Hours     Activity
Joseph Sequeira       3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                          Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                          Jones (A&M) to discuss intercompany updates
Joseph Sequeira       3/29/2023     2.0   Review cash statement transactions to verify intercompany postings

Joseph Sequeira       3/29/2023     0.3   Meeting to discuss FTX.com silo intercompany updates J. Sequeira,
                                          D. Kuruvilla (A&M)
Kathryn Zabcik        3/29/2023     2.1   Review bank #6 transactions for additional intercompany transactions
                                          with a focus on transactions from bank #9 for Alameda Intercompany
                                          Reconciliation
Kathryn Zabcik        3/29/2023     0.5   Discussion with K. Zabcik and Z. Burns (A&M) re: access to cash
                                          data base and how to use it to identify intercompany transactions
Kathryn Zabcik        3/29/2023     1.7   Review bank #6 transactions for additional intercompany transactions
                                          with a focus on transactions from bank #7 for Alameda Intercompany
                                          Reconciliation
Kathryn Zabcik        3/29/2023     1.6   Review bank #6 transactions for additional intercompany transactions
                                          with a focus on transactions from bank #8 for Alameda Intercompany
                                          Reconciliation
Kathryn Zabcik        3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                          Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                          Jones (A&M) to discuss intercompany updates
Kathryn Zabcik        3/29/2023     0.4   Working session with K. Zabcik and Z. Burns (A&M) to build out
                                          structure for dotcom silo intercompany transactions
Kathryn Zabcik        3/29/2023     1.4   Review bank #6 transactions for additional intercompany transactions
                                          with a focus on transactions from bank #10 for Alameda
                                          Intercompany Reconciliation
Kathryn Zabcik        3/29/2023     0.5   Review bank #6 transactions for additional intercompany transactions
                                          with a focus on transactions from bank #11 for Alameda
                                          Intercompany Reconciliation
Kevin Kearney         3/29/2023     1.0   Compilation of collateral activity for crypto tracing analysis

Kevin Kearney         3/29/2023     0.6   Review of FTX.com extracted deposits information for intercompany
                                          analysis
Kevin Kearney         3/29/2023     1.0   Review of tokens receivable scheduling for targeted investment for
                                          presentation analysis
Kevin Kearney         3/29/2023     1.5   Compilation of loans payable activity for crypto tracing analysis


Kevin Kearney         3/29/2023     0.8   Review of FTX US extracted withdrawal information for intercompany
                                          analysis
Kevin Kearney         3/29/2023     0.3   Review of specific loan counterparty information on FTX.com
                                          exchange for collateral activity
Kevin Kearney         3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                          Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                          Jones (A&M) to discuss intercompany updates
Kevin Kearney         3/29/2023     0.5   Review of Alameda sub-accounts on FTX.com exchange for
                                          intercompany activity
Kevin Kearney         3/29/2023     0.8   Compilation of market making loans payable activity for crypto tracing
                                          analysis

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Intercompany
Professional               Date     Hours     Activity
Kevin Kearney           3/29/2023     0.8   Review of FTX.com extracted withdrawal information for
                                            intercompany analysis
Kevin Kearney           3/29/2023     2.0   Review of Alameda silo consolidated intercompany reconciliation
                                            analysis
Kevin Kearney           3/29/2023     0.5   Review of FTX US extracted deposits information for intercompany
                                            analysis
Kevin Kearney           3/29/2023     1.4   Review of activity Alameda Research KK activity for intercompany
                                            activity
Mackenzie Jones         3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Mackenzie Jones         3/29/2023     0.5   Review non-debtor intercompany write-offs

Mackenzie Jones         3/29/2023     2.1   Trace Alameda intercompany transfers through to WRS silo bank
                                            statements
Mackenzie Jones         3/29/2023     0.7   Working session with H. Ardizzoni and M. Jones (A&M) to discuss
                                            WRS intra-silo outputs and working plan
Mackenzie Jones         3/29/2023     2.8   Analyze WRS bank statements for unrecorded intercompany
                                            transactions
Mackenzie Jones         3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, and M. Jones (A&M) to review
                                            WRS intra-silo balances and next steps
Mackenzie Jones         3/29/2023     0.2   Meeting with C. Broskay, M. Jones, D. Hainline, D. Kuruvilla (A&M) to
                                            review Form 426 balances and next steps
Mackenzie Jones         3/29/2023     0.5   Meeting with C. Broskay, H. Ardizzoni, M. Jones (A&M) to discuss
                                            WRS unrecorded intercompany transaction tracing process
Ran Bruck               3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Robert Gordon           3/29/2023     0.4   Correspondence with R. Hoskins (RLKS) on LedgerX intercompany

Robert Gordon           3/29/2023     2.2   Begin reviewing Alameda intrasilo reconciliation for edits and data
                                            sources
Zach Burns              3/29/2023     0.6   Input and check remaining 2022 Signature bank statements into
                                            dotcom intercompany matrix
Zach Burns              3/29/2023     0.5   Discussion with K. Zabcik and Z. Burns (A&M) re: access to cash
                                            data base and how to use it to identify intercompany transactions
Zach Burns              3/29/2023     0.4   Working session with K. Zabcik and Z. Burns (A&M) to build out
                                            structure for dotcom silo intercompany transactions
Zach Burns              3/29/2023     0.9   Input and analyze second half of 2021 Signature bank statements
                                            into dotcom intercompany matrix
Zach Burns              3/29/2023     0.8   Meeting with J. Sequeira, C. Broskay, K. Kearney, D. Hainline, J.
                                            Faett, D. Kuruvilla, H. Ardizzoni, K. Zabcik, R. Bruck, Z. Burns, M.
                                            Jones (A&M) to discuss intercompany updates
Zach Burns              3/29/2023     1.3   Analyze dotcom silo Signature September bank statements for
                                            intercompany transactions



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Intercompany
Professional               Date     Hours     Activity
Zach Burns              3/29/2023     1.8   Input and check January-March Signature bank statements into
                                            dotcom intercompany matrix
Zach Burns              3/29/2023     1.2   Input and analyze first half of 2021 Signature bank statements into
                                            dotcom silo intercompany matrix
Cole Broskay            3/30/2023     0.3   Trace cash transactions for Digital Custody Inc to corroborate
                                            intercompany balances
Cole Broskay            3/30/2023     0.2   Correspondence regarding status of Deltec historical records

Cole Broskay            3/30/2023     0.2   Continue analysis of bank transaction database for WRS entities to
                                            corroborate intercompany balances
Cole Broskay            3/30/2023     0.4   Conduct cash tracing exercise to corroborate intercompany balances
                                            for FTX Vault Trust
Cole Broskay            3/30/2023     0.4   Correspondence regarding update of certain intercompany balances
                                            for FTX Vault Trust and Embed entities
Cole Broskay            3/30/2023     0.4   Respond to correspondence regarding WRS intra-silo intercompany
                                            balance matching
Cole Broskay            3/30/2023     0.5   Working session to compile intercompany update for PMO
                                            presentation
Cole Broskay            3/30/2023     0.6   Match general ledger transactions to bank account activity for WRS
                                            entity intercompany balances
Cole Broskay            3/30/2023     0.5   Working session with C. Broskay and M. Jones (A&M) to review
                                            WRS intra-silo balances
Cole Broskay            3/30/2023     0.5   Working session to review WRS intra-silo balances C. Broskay and
                                            M. Jones (A&M)
Cole Broskay            3/30/2023     0.4   Meeting with C. Broskay and M. Jones (A&M) to discuss WRS silo
                                            intercompany update
Daniel Kuruvilla        3/30/2023     2.4   Match FTX Europe AG subsidiaries Balance with counterparties


Daniel Kuruvilla        3/30/2023     2.6   Match Liquid group Balance with counterparties

Daniel Kuruvilla        3/30/2023     2.5   Review of FTX Europe accounts that are out of balance against new
                                            support and files
Daniel Kuruvilla        3/30/2023     0.8   Meeting with S. Kojima (FTX), J. Sequeira, D. Hainline, S. Li, D.
                                            Kuruvilla (A&M) to discuss open items and next steps for Japan IC
                                            analysis
Drew Hainline           3/30/2023     0.8   Meeting with S. Kojima (FTX), J. Sequeira, D. Hainline, S. Li, D.
                                            Kuruvilla (A&M) to discuss open items and next steps for Japan IC
                                            analysis
Drew Hainline           3/30/2023     1.8   Working session with J. Sequeira, D. Hainline, D. Kuruvilla (A&M) to
                                            review IC imbalances and align on next steps and priorities for the
                                            DOTCOM silo
Drew Hainline           3/30/2023     0.7   Review updates on intercompany balances between Japan KK and
                                            Quoine Pte Ltd
Drew Hainline           3/30/2023     0.7   Review of agenda for upcoming discussion with FTX Japan for intra-
                                            group intercompany imbalances



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Intercompany
Professional               Date     Hours     Activity
Gaurav Walia            3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Heather Ardizzoni       3/30/2023     0.4   H. Ardizzoni, J. Faett (A&M) review of intercompany documentation
                                            for WRS silo
Heather Ardizzoni       3/30/2023     2.0   Consolidate WRS intercompany transaction templates into master
                                            workbook
Heather Ardizzoni       3/30/2023     0.3   Meeting to discuss WRS silo intercompany update H. Ardizzoni and
                                            M. Jones (A&M)
Heather Ardizzoni       3/30/2023     2.1   Perform research on various WRS inter-silo/intercompany
                                            transactions
Jack Faett              3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Jack Faett              3/30/2023     2.4   Match intra-silo transactions between Alameda Silo entities and tying
                                            each side of entry to bank statement details
Jack Faett              3/30/2023     1.2   Meeting with K. Kearney and J. Faett (A&M) to discuss intracompany
                                            transactions for Alameda silo
Jack Faett              3/30/2023     2.3   Reconcile newly identified intercompany transactions within the
                                            Silvergate bank statement data to the consolidated intercompany
                                            workpaper for the Alameda Silo
Jack Faett              3/30/2023     1.1   Meeting with K. Kearney, R. Gordon and J. Faett (A&M) to discuss
                                            data received for fiat customer deposits and withdrawals
Jack Faett              3/30/2023     1.4   Update the bank statement tracker for bank statements reviewed for
                                            intercompany transactions for the Alameda Silo
Jack Faett              3/30/2023     0.3   Working session with J. Faett, K. Zabcik, and Z. Burns (A&M) to
                                            building Alameda silo matching entries practices
Jack Faett              3/30/2023     0.4   H. Ardizzoni, J. Faett (A&M) review of intercompany documentation
                                            for WRS silo
Jane Chuah              3/30/2023     0.7   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                            intercompany balance and January closing of Quoine Pte. user
                                            balance reconciliation
Joseph Sequeira         3/30/2023     1.7   Review intercompany transactional activity for reconciliation purposes

Joseph Sequeira         3/30/2023     0.8   Meeting with S. Kojima (FTX), J. Sequeira, D. Hainline, S. Li, D.
                                            Kuruvilla (A&M) to discuss open items and next steps for Japan IC
                                            analysis
Joseph Sequeira         3/30/2023     0.2   Meeting with J. Sequeira and M. Jones (A&M) to walkthrough FTX
                                            silo intercompany cash transactions data
Joseph Sequeira         3/30/2023     1.8   Working session with J. Sequeira, D. Hainline, D. Kuruvilla (A&M) to
                                            review IC imbalances and align on next steps and priorities for the
                                            DOTCOM silo
Joseph Sequeira         3/30/2023     1.9   Review Dotcom intercompany reconciliation support


Julian Lee              3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database


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Intercompany
Professional                Date     Hours     Activity
Kathryn Zabcik           3/30/2023     1.2   Review Alameda intercompany reconciliation bank #3 transactions
                                             and newly mapped descriptions for additional intercompany
                                             transactions
Kathryn Zabcik           3/30/2023     0.3   Working session with J. Faett, K. Zabcik, and Z. Burns (A&M) to
                                             building Alameda silo matching entries practices
Kathryn Zabcik           3/30/2023     2.7   Review Alameda intercompany reconciliation bank #7 transactions
                                             for additional intercompany transactions with a focus on transactions
                                             from bank #12
Kathryn Zabcik           3/30/2023     0.5   Working session with K. Zabcik and Z. Burns (A&M) diving into
                                             deeper detail on how to set up build intercompany matching practices
Kathryn Zabcik           3/30/2023     1.3   Review Alameda intercompany reconciliation bank #7 transactions
                                             for additional intercompany transactions with a focus on transactions
                                             from bank #19
Kathryn Zabcik           3/30/2023     1.6   Review Alameda intercompany reconciliation bank #7 transactions
                                             and research intercompany transaction found from unknown bank
Kathryn Zabcik           3/30/2023     1.5   Make Alameda intercompany reconciliation workbook changes
                                             requested in internal team call
Kevin Kearney            3/30/2023     0.5   Reconciliation of Alameda and Venture transactions for related party
                                             activity
Kevin Kearney            3/30/2023     1.0   Review of debtor-prepared Deltec reconciliation for customer
                                             custodial activity
Kevin Kearney            3/30/2023     1.0   Review of Silvergate bank activity for intercompany transactions

Kevin Kearney            3/30/2023     1.2   Review of targeted third party exchange activity for intra-entity
                                             transactions
Kevin Kearney            3/30/2023     1.2   Review of debtor-prepared Deltec reconciliation for intra-entity activity

Kevin Kearney            3/30/2023     0.6   Reconciliation of Alameda and Dotcom transactions for related party
                                             activity
Kevin Kearney            3/30/2023     1.1   Meeting with K. Kearney, R. Gordon and J. Faett (A&M) to discuss
                                             data received for fiat customer deposits and withdrawals
Kevin Kearney            3/30/2023     0.2   Reconciliation of Alameda and WRS transactions for related party
                                             activity
Kevin Kearney            3/30/2023     1.2   Meeting with K. Kearney and J. Faett (A&M) to discuss intracompany
                                             transactions for Alameda silo
Kevin Kearney            3/30/2023     0.8   Preparation of consolidated Alameda silo intercompany reconciliation

Kevin Kearney            3/30/2023     0.7   Review of specific loan counterparty information on FTX US
                                             exchange for collateral activity
Louis Konig              3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                             reconciliation, customer data from FTX exchange database
Mackenzie Jones          3/30/2023     2.6   Analyze WRSS cash receipts originating from Alameda and
                                             subsequent outflows
Mackenzie Jones          3/30/2023     0.2   Meeting with J. Sequeira and M. Jones (A&M) to walkthrough FTX
                                             silo intercompany cash transactions data


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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/30/2023     0.4   Meeting with C. Broskay and M. Jones (A&M) to discuss WRS silo
                                            intercompany update
Mackenzie Jones         3/30/2023     2.8   Trace subsequent outflows of intercompany funds to third parties
                                            from WRSS accounts
Mackenzie Jones         3/30/2023     0.3   Meeting to discuss WRS silo intercompany update H. Ardizzoni and
                                            M. Jones (A&M)
Mackenzie Jones         3/30/2023     0.5   Working session with C. Broskay and M. Jones (A&M) to review
                                            WRS intra-silo balances
Mackenzie Jones         3/30/2023     2.3   Trace Alameda silo intercompany cash withdrawals through to
                                            WRSS bank statements
Michael Shanahan        3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Peter Kwan              3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Robert Gordon           3/30/2023     1.1   Meeting with K. Kearney, R. Gordon and J. Faett (A&M) to discuss
                                            data received for fiat customer deposits and withdrawals
Robert Gordon           3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Robert Gordon           3/30/2023     0.4   Review data output on customer cash transfers through Alameda silo

Robert Johnson          3/30/2023     0.2   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, R. Johnson, L. Konig (A&M) to discuss intercompany
                                            reconciliation, customer data from FTX exchange database
Summer Li               3/30/2023     0.7   Call with S. Kojima (FTX Japan), S. Li, J. Chuah (A&M) to discuss
                                            intercompany balance and January closing of Quoine Pte. user
                                            balance reconciliation
Trevor DiNatale         3/30/2023     1.1   Review preliminary intercompany analysis for inclusion in SOFAs &
                                            Schedules
Zach Burns              3/30/2023     0.6   Check dotcom silo intercompany matrix to exclude non-intercompany
                                            transactions
Zach Burns              3/30/2023     0.5   Working session with K. Zabcik and Z. Burns (A&M) diving into
                                            deeper detail on how to set up build intercompany matching practices
Zach Burns              3/30/2023     0.3   Working session with J. Faett, K. Zabcik, and Z. Burns (A&M) to
                                            building Alameda silo matching entries practices
Zach Burns              3/30/2023     0.5   Recover corrupted intercompany document and adjust entries to
                                            realign
Zach Burns              3/30/2023     1.3   Continue to match intercompany transactions between bank
                                            statements and general ledger for Alameda Research Ltd
Zach Burns              3/30/2023     1.9   Build matching matrix for Alameda silo as to automate part of
                                            reconciliation process of bank statements to general ledgers
Zach Burns              3/30/2023     1.7   Match intercompany transactions between the bank statements and
                                            general ledger for Blockfolio Inc
Zach Burns              3/30/2023     1.4   Match intercompany transactions between the bank statements and
                                            general ledger for Alameda Research Ltd

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Intercompany
Professional               Date     Hours     Activity
Zach Burns              3/30/2023     1.2   Match intercompany transactions between the bank statements and
                                            general ledger for Alameda Research LLC
Zach Burns              3/30/2023     1.1   Match intercompany transactions between the bank statements and
                                            general ledger for LedgerPrime LLC
Cole Broskay            3/31/2023     0.5   Working session with C. Broskay and M. Jones (A&M) to review
                                            WRS intra-silo balances
Cole Broskay            3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                            Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                            intercompany progress
Cole Broskay            3/31/2023     1.6   Prepare notes and other materials for WRS intercompany
                                            reconciliation working session
Cole Broskay            3/31/2023     2.4   Prepare notes and other materials to discuss status and progress in
                                            upcoming intercompany reconciliation meeting
Daniel Kuruvilla        3/31/2023     0.5   Discussion over WRS intra-silo balances at petition date and next
                                            steps with H. Ardizzoni, D. Kuruvilla (A&M)
Daniel Kuruvilla        3/31/2023     1.5   Match FTX Europe AG subsidiaries Balance with counterparties


Daniel Kuruvilla        3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                            Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                            intercompany progress
Daniel Kuruvilla        3/31/2023     2.9   Review FTX Europe AG Balance with counterparties by journal
                                            entries
Daniel Kuruvilla        3/31/2023     2.2   Match Liquid group Balance with counterparties

Drew Hainline           3/31/2023     0.9   Review open items and workplan for IC analysis of DOTCOM entities

Drew Hainline           3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                            Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                            intercompany progress
Drew Hainline           3/31/2023     0.9   Review intra-silo intercompany imbalances between select DOTCOM
                                            entities
Gaurav Walia            3/31/2023     0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                            customer data from FTX exchange database
Heather Ardizzoni       3/31/2023     0.5   Discussion over WRS intra-silo balances at petition date and next
                                            steps with H. Ardizzoni, D. Kuruvilla (A&M)
Heather Ardizzoni       3/31/2023     1.3   Compile list of intracompany transactions requiring further
                                            investigation and follow-up
Heather Ardizzoni       3/31/2023     1.1   Consolidate list of intercompany transactions with follow-ups and
                                            further questions
Heather Ardizzoni       3/31/2023     2.0   Compile list of intercompany transactions without corresponding
                                            counterparty transaction
Jack Faett              3/31/2023     1.0   Reconcile the consolidated workpaper back to bank statements for
                                            intercompany transactions for the Alameda silo
Jack Faett              3/31/2023     0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                            Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                            customer data from FTX exchange database

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Intercompany
Professional                Date     Hours     Activity
Jack Faett               3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                             Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                             intercompany progress
Jack Faett               3/31/2023     2.7   Match intra-silo transactions between Alameda Silo entities and tying
                                             each side of entry to bank statement details
Jack Faett               3/31/2023     2.2   Review and converting to excel new Deltec statements received for
                                             Alameda
Jack Faett               3/31/2023     1.7   Perform secondary review of bank statements to ensure all
                                             intercompany transactions are captured for Alameda silo
Joseph Sequeira          3/31/2023     0.6   Review Dotcom and Alameda intercompany reconciliation analysis


Joseph Sequeira          3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                             Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                             intercompany progress
Joseph Sequeira          3/31/2023     0.4   Review FTX Trading's intercompany outstanding items prior to
                                             discussions with key stakeholders
Joseph Sequeira          3/31/2023     2.1   Reconcile DOTCOM intercompany cash transactions


Julian Lee               3/31/2023     0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                             customer data from FTX exchange database
Kathryn Zabcik           3/31/2023     0.3   Call with K. Zabcik and Z. Burns (A&M) over matching process from
                                             bank balances to general ledger for intercompany transactions
Kathryn Zabcik           3/31/2023     1.1   Review Alameda intercompany reconciliation bank statement #7 for
                                             additional intercompany transactions
Kathryn Zabcik           3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                             Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                             intercompany progress
Kathryn Zabcik           3/31/2023     2.8   Match intercompany transactions for bank #6 for Alameda
                                             intercompany reconciliation
Kathryn Zabcik           3/31/2023     2.4   Match intercompany transactions for bank #3 for Alameda
                                             intercompany reconciliation
Kathryn Zabcik           3/31/2023     2.1   Verify new bank transaction receipts for Alameda intercompany
                                             reconciliation
Kevin Kearney            3/31/2023     1.0   Review of Signet bank activity for intercompany transactions


Kevin Kearney            3/31/2023     1.2   Review of Prime Trust bank activity for intercompany transactions

Louis Konig              3/31/2023     0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                             customer data from FTX exchange database
Mackenzie Jones          3/31/2023     0.4   Reconcile intercompany account balances with latest source data
                                             updates
Mackenzie Jones          3/31/2023     0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                             Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                             intercompany progress



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Intercompany
Professional               Date     Hours     Activity
Mackenzie Jones         3/31/2023      0.8   Consolidate list of updates to be made on WRS intra-silo account
                                             balances
Mackenzie Jones         3/31/2023      0.5   Working session to review WRS intra-silo balances C. Broskay and
                                             M. Jones (A&M)
Mackenzie Jones         3/31/2023      0.7   Compare WRSS bank statements to general ledger accounts for
                                             confirmation of proper recording of intercompany cash movements
Mackenzie Jones         3/31/2023      0.5   Working session with C. Broskay and M. Jones (A&M) to review
                                             WRS intra-silo balances
Mackenzie Jones         3/31/2023      0.4   Review summary of outstanding intercompany differences and
                                             questions
Mackenzie Jones         3/31/2023      1.2   Create summary view for comparison of intercompany Alameda
                                             transactions to WRSS general ledger and bank statement data
Michael Shanahan        3/31/2023      0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                             customer data from FTX exchange database
Peter Kwan              3/31/2023      0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                             customer data from FTX exchange database
Robert Gordon           3/31/2023      0.1   Call with R. Gordon, J. Faett, M. Shanahan, J. Lee, G. Walia, P.
                                             Kwan, L. Konig (A&M) to discuss intercompany reconciliation,
                                             customer data from FTX exchange database
Zach Burns              3/31/2023      0.3   Call with K. Zabcik and Z. Burns (A&M) over matching process from
                                             bank balances to general ledger for intercompany transactions
Zach Burns              3/31/2023      0.9   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in Q4 2021
Zach Burns              3/31/2023      1.2   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in Q3 2022
Zach Burns              3/31/2023      0.8   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in 2023
Zach Burns              3/31/2023      0.4   Meeting with J. Sequeira, C. Broskay, D. Hainline, J. Faett, D.
                                             Kuruvilla, K. Zabcik, Z. Burns, M. Jones (A&M) to review
                                             intercompany progress
Zach Burns              3/31/2023      1.4   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in Q2 2022
Zach Burns              3/31/2023      0.5   Analyze WRSS general ledger for intercompany transactions


Zach Burns              3/31/2023      1.8   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in Q1 2022
Zach Burns              3/31/2023      1.9   Match debits and credits from Alameda silo intercompany
                                             reconciliation to general ledger for transactions in Q4 2022

Subtotal                             720.7

Motions and Related Support
Professional               Date     Hours     Activity



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Motions and Related Support
Professional                 Date     Hours     Activity
Nicole Simoneaux           3/3/2023     1.2   Incorporate changes to KERP motion and analysis

Robert Gordon              3/3/2023     0.3   Correspondence on potential entities to be dismissed


Chris Arnett               3/6/2023     1.1   Review KERP declarations and revised motion to finalize same for
                                              filing
Nicole Simoneaux           3/6/2023     0.9   Research role criteria for KERP analysis

Nicole Simoneaux           3/6/2023     1.7   Incorporate compensation and benefits comments on KERP analysis


Nicole Simoneaux           3/6/2023     1.1   Update KERP support in accordance with allocation changes

Nicole Simoneaux           3/6/2023     0.7   Create reimbursable expense outputs for payroll providers


Nicole Simoneaux           3/6/2023     0.4   Review KERP motion for language and content

Nicole Simoneaux           3/6/2023     2.1   Revise KERP relief based on headcount changes


Chris Arnett               3/7/2023     0.4   Review and comment on final draft KERP declarations in advance of
                                              filing
Nicole Simoneaux           3/7/2023     1.9   Adjust KERP analysis and motion based on compensation and
                                              benefits updates
Chris Arnett               3/8/2023     0.4   Working session with C. Arnett and N. Simoneaux (A&M) re: KERP
                                              motion redline review
Nicole Simoneaux           3/8/2023     0.3   Incorporate comments on KERP motion

Nicole Simoneaux           3/8/2023     0.4   Working session with C. Arnett and N. Simoneaux (A&M) re: KERP
                                              motion redline review
Nicole Simoneaux           3/8/2023     0.6   Address UCC inquiries on KERP analysis

Chris Arnett               3/9/2023     0.8   Research and direct responses re: UST KERP inquiries


Nicole Simoneaux           3/9/2023     1.7   Update KERP analysis and motion based on new criteria

Nicole Simoneaux           3/9/2023     0.4   Compile employment dates for bonus forecast

Nicole Simoneaux           3/9/2023     1.1   Address footnotes on KERP declarations


Chris Arnett              3/10/2023     0.7   Continue to research and direct responses re: UST KERP inquiries

Nicole Simoneaux          3/10/2023     1.3   Incorporate role description comments for KERP participants


Nicole Simoneaux          3/15/2023     1.6   Review support and incorporate changes to KEIP motion




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Motions and Related Support
Professional                 Date     Hours     Activity
Steve Kotarba             3/16/2023     1.9   Work re notice to customers re scheduled amounts

Claudia Sigman            3/17/2023     1.4   Review creditors in schedules for parties in interest supplement


Claudia Sigman            3/17/2023     1.6   Compare schedules and statements to PII for supplemental filing

Claudia Sigman            3/17/2023     1.1   Prepare parties in interest supplement for external circulation

Steve Kotarba             3/17/2023     0.7   Work re notice to customers re scheduled amounts


Kevin Kearney             3/20/2023     1.4   Preparation of summary materials in connection with motion
                                              pertaining to Norton Hall promissory note
Claire Myers              3/21/2023     0.5   Discussion with S. Kotarba, C. Sigman, and C. Myers (A&M)
                                              regarding PII process
Claudia Sigman            3/21/2023     0.5   Discussion with S. Kotarba, C. Sigman, and C. Myers (A&M)
                                              regarding PII process
Emily Hoffer              3/21/2023     0.3   Review of Deltec Turnover motion and summary


Julian Lee                3/21/2023     0.1   Call with M. Shanahan, J. Lee (A&M) to discuss Deltec turnover
                                              motion
Julian Lee                3/21/2023     0.9   Review and summarize Deltec turnover motion

Kevin Kearney             3/21/2023     0.5   Call with M. Shanahan, K. Kearney, R. Gordon(A&M) to review draft
                                              of Turnover motion presentation
Michael Shanahan          3/21/2023     0.1   Call with M. Shanahan, J. Lee (A&M) to discuss Deltec turnover
                                              motion
Michael Shanahan          3/21/2023     0.5   Call with M. Shanahan, K. Kearney, R. Gordon(A&M) to review draft
                                              of Turnover motion presentation
Michael Shanahan          3/21/2023     0.5   Review draft of Turnover motion presentation with M. Shanahan, K.
                                              Kearney, R. Gordon(A&M)
Michael Shanahan          3/21/2023     0.9   Review and revise summary slides for Deltec turnover motion


Michael Shanahan          3/21/2023     1.2   Review documents related to Deltec turnover motion

Nicole Simoneaux          3/21/2023     0.3   Conduct KEIP diligence list outreach

Robert Gordon             3/21/2023     0.8   Review turnover motion for potential comments


Robert Gordon             3/21/2023     0.5   Call with M. Shanahan, K. Kearney, R. Gordon(A&M) to review draft
                                              of Turnover motion presentation
Robert Gordon             3/21/2023     0.5   Continue reviewing and edit Turnover motion presentation


Steve Kotarba             3/21/2023     0.5   Discussion with S. Kotarba, C. Sigman, and C. Myers (A&M)
                                              regarding PII process




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Motions and Related Support
Professional                 Date     Hours     Activity
Steve Kotarba             3/21/2023     1.1   Prepare updates to names to be searched re professional retentions

Chris Arnett              3/22/2023     0.4   Respond to UST comments regarding pending KERP motion


Claire Myers              3/22/2023     1.4   Compare creditors in statements and schedules to known parties in
                                              PII for next supplement of conflicts
Michael Shanahan          3/22/2023     0.8   Review and revise summary of Deltec motion

Robert Gordon             3/22/2023     0.3   Review S&C edits to turnover motion presentation


Steve Kotarba             3/22/2023     1.5   Review and analysis re creditor redactions

Chris Arnett              3/23/2023     0.6   Continue responding to UST comments regarding pending KERP
                                              motion
Chris Arnett              3/23/2023     0.8   Review and comment on supplemental declaration as requested by
                                              UST
Claire Myers              3/23/2023     1.8   Analyze and determine what type of party an individual or entity is for
                                              parties in interest
Claire Myers              3/23/2023     2.1   Analyze parties in statements and schedules in order to determine if
                                              they were represented in PII
Nicole Simoneaux          3/23/2023     1.3   Conduct review of KERP declaration and add comments

Steve Kotarba             3/23/2023     0.9   Review redactions and analysis re same re creditor redactions for
                                              filing
Chris Arnett              3/24/2023     0.6   Continue responding to UST comments regarding pending KERP
                                              motion
Claire Myers              3/24/2023     2.2   Analyze 90 day payments in order determine thresh hold for PII


Claire Myers              3/24/2023     2.1   Analyze open accounts payable in order determine thresh hold for PII

Claire Myers              3/24/2023     2.3   Analyze sources of new PII parties for conflicts


Claire Myers              3/24/2023     1.8   Analyze and determine what type of party an individual or entity is for
                                              parties in interest
Claire Myers              3/26/2023     1.9   Analyze possible parties of interest for conflicts

Claire Myers              3/27/2023     1.9   Consolidate and remove duplicates of new parties in conflicts from
                                              statements and schedules with existing PII parties
Claire Myers              3/27/2023     1.6   Analyze open ap that was not scheduled for conflicts

Claire Myers              3/27/2023     1.7   Analyze results of comparison between parties in PII and parties in
                                              statements and schedules
Claire Myers              3/27/2023     0.5   Meeting with S. Kotarba, R. Esposito, and C. Myers regarding parties
                                              in interest




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Motions and Related Support
Professional                 Date     Hours     Activity
Claire Myers              3/27/2023     2.4   Analyze claims register parties and claim amounts to add to PII

Rob Esposito              3/27/2023     0.5   Meeting with S. Kotarba, R. Esposito, and C. Myers (A&M) regarding
                                              parties in interest
Steve Kotarba             3/27/2023     0.5   Meeting with S. Kotarba, R. Esposito, and C. Myers (A&M) regarding
                                              parties in interest
Steve Kotarba             3/27/2023     0.6   Review filed claims, parties searched and prepare internal notes re
                                              additional parties to search
Steve Kotarba             3/27/2023     0.4   Review prior disclosures and update notes following internal call re
                                              additional parties to search
Claire Myers              3/28/2023     0.5   Meeting with S. Kotarba, R. Esposito and C. Myers (A&M) regarding
                                              parties of interest
Claire Myers              3/28/2023     0.9   Analyze and summarize new parties from PII and their sources for
                                              review
Rob Esposito              3/28/2023     0.5   Meeting with S. Kotarba, R. Esposito and C. Myers (A&M) regarding
                                              parties of interest
Robert Gordon             3/28/2023     0.4   Begin preparing for turnover motion review and presentation


Steve Kotarba             3/28/2023     0.5   Meeting with S. Kotarba, R. Esposito and C. Myers (A&M) regarding
                                              parties of interest
Steve Kotarba             3/28/2023     0.2   Review analysis and update list of parties to search re retention apps

Chris Arnett              3/29/2023     0.7   Review and comment on revised draft KEIP motion and requested
                                              information
Claire Myers              3/29/2023     1.4   Analyze parties in conflicts to determine exact duplicates and
                                              duplicates across categories for PII
Claire Myers              3/29/2023     1.6   Summarize SOFA 9, SOFA 13, open ap, 1-year, 90-day spend
                                              payments in order to determine threshold for PII
Claire Myers              3/29/2023     1.9   Update internal PII tracker with notes regarding parties that were
                                              excluded with the search
Claire Myers              3/29/2023     0.9   Analyze sofa 9 and sofa 13 payments for PII


Claire Myers              3/29/2023     0.8   Determine which contract counterparties in PII relate to rejected
                                              contracts
Rob Esposito              3/29/2023     2.0   Prepare detailed updates to the parties-in-interest data

Robert Gordon             3/29/2023     0.8   Continue preparing for turnover motion walkthrough for the UCC


Steve Kotarba             3/29/2023     0.6   Finalize list of parties to update for retention searches

David Johnston            3/30/2023     0.6   Discussion between R. Gordon and D. Johnston (A&M) over Turkish
                                              dismissal motion
Nicole Simoneaux          3/30/2023     1.2   Review updated KEIP motion and address diligence list




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Professional               Date     Hours     Activity
Robert Gordon           3/30/2023      0.6   Discussion between R. Gordon, D. Johnston(A&M) over Turkish
                                             dismissal motion
Nicole Simoneaux        3/31/2023      0.4   Update KEIP diligence tracker for Compensation and Benefits inputs



Subtotal                              88.3

Non-working Travel (Billed at 50%)
Professional               Date     Hours     Activity
Douglas Lewandowski      3/1/2023      0.7   Client Travel to Chicago, IL from Dallas, TX at 50% billable time


Gaurav Walia             3/2/2023      0.9   Client travel to Los Angeles, CA from Dallas, TX at 50% billable time

Heather Ardizzoni        3/2/2023      1.0   Client Travel to New York, NY from Dallas, TX at 50% billable time

Luke Francis             3/2/2023      0.7   Client Travel to Denver, CO from Dallas, TX at 50% billable time


Steven Glustein          3/2/2023      0.9   Client Travel to Toronto, ON from Dallas, TX at 50% billable time

William Walker           3/2/2023      0.7   Client Travel to Houston, TX from Dallas, TX at 50% billable time


Claudia Sigman           3/3/2023      0.5   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Cole Broskay             3/3/2023      1.8   Client Travel to San Antonio, TX from Dallas, TX at 50% billable time


Drew Hainline            3/3/2023      0.8   Client Travel to Dallas, TX from Houston, TX at 50% billable time

Jack Faett               3/3/2023      0.3   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Joseph Sequeira          3/3/2023      1.0   Client Travel from Dallas TX to Charlotte NC at 50% billable


Kathryn Zabcik           3/3/2023      0.9   Client Travel to Houston, TX from Dallas, TX at 50% billable time

Ran Bruck                3/3/2023      0.7   Client Travel to Houston, TX from Dallas, TX at 50% billable time


Rob Esposito             3/3/2023      1.2   Client Travel to Sarasota, FL from Dallas, TX at 50% billable time

Robert Gordon            3/3/2023      0.5   Client Travel to Austin, TX from Dallas, TX at 50% billable time


Claudia Sigman           3/5/2023      0.5   Client Travel to Dallas, TX from Chicago, IL at 50% billable time

Douglas Lewandowski      3/5/2023      0.8   Client Travel to Dallas, TX from Chicago, IL at 50% billable time

Jack Faett               3/5/2023      1.3   Client Travel to Dallas, TX from Chicago, IL at 50% billable time



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Non-working Travel (Billed at 50%)
Professional               Date     Hours     Activity
Rob Esposito             3/5/2023     1.0   Client Travel to Dallas, TX from Sarasota, FL at 50% billable time

Cole Broskay             3/6/2023     0.5   Client Travel to Dallas, TX from San Antonio, TX at 50% billable time


Drew Hainline            3/6/2023     0.9   Client Travel to Houston, TX from Dallas, TX at 50% billable time

James Cooper             3/6/2023     2.0   Client Travel to Dallas, TX from Richmond, VA at 50% billable time

Lorenzo Callerio         3/6/2023     2.0   Client Travel to Dallas, TX from Chicago, IL at 50% billable time


Luke Francis             3/6/2023     0.7   Client Travel to Dallas, TX from Denver, CO at 50% billable time

Ran Bruck                3/6/2023     0.7   Client Travel to Dallas, TX from Houston, TX at 50% billable time


Robert Gordon            3/6/2023     0.5   Client Travel to Dallas, TX from Austin, TX at 50% billable time

Cole Broskay             3/8/2023     0.5   Client Travel to San Antonio, TX from Dallas, TX at 50% billable time


Steven Glustein          3/8/2023     1.1   Client Travel to Dallas, TX from Toronto, ON at 50% billable time

Drew Hainline            3/9/2023     0.8   Client Travel to Dallas, TX from Houston, TX at 50% billable time

Kathryn Zabcik           3/9/2023     1.0   Client Travel to Dallas, TX from San Francisco, CA at 50% billable
                                            time
Lorenzo Callerio         3/9/2023     2.0   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Ran Bruck                3/9/2023     0.5   Client Travel to Dallas, TX from Houston, TX at 50% billable time


Robert Gordon            3/9/2023     0.5   Client Travel to Austin, TX from Dallas, TX at 50% billable time

Steven Glustein          3/9/2023     1.2   Client Travel to Toronto, ON from Dallas, TX at 50% billable time


Claudia Sigman          3/10/2023     0.5   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Douglas Lewandowski     3/10/2023     0.7   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Heather Ardizzoni       3/10/2023     2.0   Client Travel to New York, NY from Dallas, TX at 50% billable time


Jack Faett              3/10/2023     0.3   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Luke Francis            3/10/2023     0.7   Client Travel from Dallas, TX, to Chicago, IL at 50% billable time


Rob Esposito            3/10/2023     1.0   Client Travel to Sarasota, FL from Dallas, TX at 50% billable time




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Non-working Travel (Billed at 50%)
Professional               Date     Hours     Activity
Douglas Lewandowski     3/12/2023     0.8   Client Travel to Dallas, TX from Chicago, IL at 50% billable time

Jack Faett              3/12/2023     1.3   Client Travel to Dallas, TX from Chicago, IL at 50% billable time


Jared Gany              3/12/2023     1.0   Client Travel to Dallas, TX from New York, NY at 50% billable time

Luke Francis            3/12/2023     0.7   Client Travel from Chicago, IL to Dallas, TX at 50% billable time

Rob Esposito            3/12/2023     1.0   Client Travel to Dallas, TX from Sarasota, FL at 50% billable time


Drew Hainline           3/13/2023     0.9   Client Travel to Houston, TX from Dallas, TX at 50% billable time

Steven Glustein         3/13/2023     0.6   Client Travel to Dallas, TX from Toronto, ON at 50% billable time


Christopher Sullivan    3/14/2023     1.3   Client Travel to Dallas, TX from Ft. Lauderdale, FL at 50% billable
                                            time
Gaurav Walia            3/14/2023     0.9   Client travel to Los Angeles, CA from Dallas, TX at 50% billable time


Jack Faett              3/15/2023     0.3   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Steven Glustein         3/15/2023     1.3   Client Travel to Toronto, ON from Dallas, TX at 50% billable time

Claudia Sigman          3/16/2023     1.0   Client Travel to Chicago, IL from Dallas, TX at 50% billable time


Douglas Lewandowski     3/16/2023     0.7   Client Travel to Chicago, IL from Dallas, TX at 50% billable time

Drew Hainline           3/16/2023     0.8   Client Travel to Houston, TX from Dallas, TX at 50% billable time


Gaurav Walia            3/16/2023     0.6   Client travel to Nashville, TN from Dallas, TX at 50% billable time

Jared Gany              3/16/2023     1.0   Client Travel to New York, NY from Dallas, TX at 50% billable time


Joseph Sequeira         3/16/2023     1.0   Client Travel to Charlotte, NC from Dallas, TX at 50% billable time

Luke Francis            3/16/2023     0.7   Client Travel from Dallas, TX, to Chicago, IL at 50% billable time

Rob Esposito            3/16/2023     1.2   Client Travel to Sarasota, FL from Dallas, TX at 50% billable time


Robert Gordon           3/16/2023     0.5   Client Travel to Minneapolis, MN from Dallas, TX at 50% billable time

Trevor DiNatale         3/16/2023     1.5   Client Travel to Chicago, IL from Dallas, TX at 50% billable time


William Walker          3/21/2023     0.7   Client Travel to Dallas, TX from Houston, TX at 50% billable time




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Non-working Travel (Billed at 50%)
Professional              Date     Hours     Activity
William Walker         3/23/2023      0.7   Client Travel to Houston, TX from Dallas, TX at 50% billable time

Steven Glustein        3/26/2023      0.7   Client Travel to Dallas, TX from Toronto, ON at 50% billable time


Robert Gordon          3/27/2023      0.5   Client Travel to Austin, TX from Dallas, TX at 50% billable time

Steven Glustein        3/29/2023      0.3   Client Travel to Toronto, ON from Dallas, TX at 50% billable time

Robert Gordon          3/31/2023      0.5   Client Travel to Dallas, TX from Austin, TX at 50% billable time



Subtotal                             58.8

Schedules and Statements
Professional              Date     Hours     Activity
Aly Helal               3/1/2023      2.9   Review of FTX Partner Donations Payments and matching to bank
                                            statements used
Aly Helal               3/1/2023      2.5   Search Relativity for support for FTX's Partner Donations such as
                                            celebrities
Aly Helal               3/1/2023      2.9   Expand review of FTX Partner Donations (Celebrities) based on the
                                            new cash database transactions identified
Aly Helal               3/1/2023      0.7   Teleconference with J. Lee, A. Helal, M. Ryan II (A&M) regarding
                                            FTX Cash Donations and bank support
Bridger Tenney          3/1/2023      0.6   Prepare prepetition master AP file for distribution


Bridger Tenney          3/1/2023      0.6   Reconcile AP on QBO to current master AP file

Bridger Tenney          3/1/2023      1.0   Review vendor invoices for legal entity and service dates

Bridger Tenney          3/1/2023      1.4   Reconcile prepetition liabilities list with AP line item on balance sheet


Bridger Tenney          3/1/2023      1.4   Allocate invoices to pre and post petition to be included in master AP
                                            file
Bridger Tenney          3/1/2023      0.5   Calculate prepetition liabilities in master file


Bridger Tenney          3/1/2023      0.8   Call with K. Montague, B. Tenney (A&M) re: review invoices and AP
                                            aging detail
Bridger Tenney          3/1/2023      0.5   Prepare summary of AP liabilities broken down by service date


Bridger Tenney          3/1/2023      0.6   Review schedule of liabilities for duplicate payments

Bridger Tenney          3/1/2023      1.0   Review invoice and AP Data in QBO

Bridger Tenney          3/1/2023      0.8   Search shared files for payment confirmation for outstanding invoice



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Schedules and Statements
Professional             Date     Hours     Activity
Christopher Sullivan   3/1/2023     0.9   Review support schedule for potential Alameda internal notes
                                          receivable
Christopher Sullivan   3/1/2023     0.8   Review support schedule for potential Alameda external notes
                                          receivable
Christopher Sullivan   3/1/2023     0.9   Review support schedule for potential Alameda cash accounts

Christopher Sullivan   3/1/2023     0.7   Review updates to collateral schedule supporting 3rd party loans
                                          payable at the Alameda silo
Christopher Sullivan   3/1/2023     1.9   Review support schedule for potential Alameda crypto assets
                                          receivable
Christopher Sullivan   3/1/2023     2.2   Update asset assumptions notes for the Alameda silo

Christopher Sullivan   3/1/2023     0.8   Update claims notes for Alameda silo in BoD presentation


Claire Myers           3/1/2023     1.4   Compare GDPR and customers to list of insiders for litigation team

Claire Myers           3/1/2023     1.5   Working session with C. Myers and S. Kotarba (A&M) regarding
                                          SOFA responses and statements and schedules draft presentations
Claire Myers           3/1/2023     1.2   Analyze vendors from open accounts payable for schedule F

Claire Myers           3/1/2023     1.6   Summarize all responses from SOFA information requests

Claire Myers           3/1/2023     1.0   Working session with S. Kotarba, R. Esposito, L. Francis, and C.
                                          Myers (A&M) re: responses from the SOFA question outreach
                                          responses
Claire Myers           3/1/2023     0.8   Working session with C. Myers and S. Kotarba (A&M) regarding
                                          SOFA responses
Claire Myers           3/1/2023     2.8   Analyze responses from SOFA questions information requests for
                                          statements and schedules for WRS and European entities
Claire Myers           3/1/2023     1.7   Analyze responses from SOFA questions information requests for
                                          statements and schedules for Ledger entities
Claire Myers           3/1/2023     0.4   Meeting with M. Cilia (RLKS), S. Kotarba, L. Francis, and C. Myers
                                          (A&M) regarding SOFA and schedules drafts and progress tracking
Claire Myers           3/1/2023     0.5   Discussion with S. Kotarba, R. Esposito, and C. Myers (A&M)
                                          regarding SOFA outreach responses
Claire Myers           3/1/2023     0.8   Organize S&S drafts and summaries for RLSK and litigation team

Claudia Sigman         3/1/2023     0.4   Prepare updates to list of insiders to report payments on SOFA 4


Claudia Sigman         3/1/2023     2.9   Review payroll data to report payments on SOFA 4

Claudia Sigman         3/1/2023     2.1   Review historical income statements for schedules and statements

Claudia Sigman         3/1/2023     0.6   Review list of directors and officers re: redactions on schedules and
                                          statements


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Schedules and Statements
Professional              Date     Hours     Activity
Claudia Sigman          3/1/2023     1.3   Prepare SOFA 4 summary file of individual insiders for schedules
                                           and statements
Claudia Sigman          3/1/2023     0.9   Prepare updates to SOFA 9 based on review of transaction data


Claudia Sigman          3/1/2023     1.1   Review employee loan information to report as insider payments on
                                           statements
Claudia Sigman          3/1/2023     1.2   Prepare updates to Statements question 1 & 2 based on updated
                                           income statements
Claudia Sigman          3/1/2023     2.8   Prepare updates to Statements questions based on company data
                                           request responses
Cole Broskay            3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                           Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                           entities statements and schedules review
Cole Broskay            3/1/2023     0.4   Meeting with R. Gordon, C. Broskay, J. Sequeira, M. Jones (A&M) to
                                           review dormant entities and statements and schedules overview
Cole Broskay            3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
David Slay              3/1/2023     2.3   Update Statements & Schedule deck based on comments from C.
                                           Sullivan (A&M)
David Slay              3/1/2023     2.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                           schedule BoD deck updates
David Slay              3/1/2023     1.7   Consolidate and update claims and assets in the statements &
                                           schedules model
David Slay              3/1/2023     1.3   Identify errors in the support model and update formulas to ensure
                                           accuracy
Johnny Gonzalez         3/1/2023     2.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                           schedule BoD deck updates
Johnny Gonzalez         3/1/2023     2.6   Model the Alameda balance sheet investments for the statements
                                           and schedules materials
Johnny Gonzalez         3/1/2023     1.6   Update the Statements and schedules presentation based on an
                                           updated Alameda balance sheet
Johnny Gonzalez         3/1/2023     2.8   Update the Statements and schedules model based on an updated
                                           Alameda balance sheet
Joseph Sequeira         3/1/2023     0.4   Meeting with R. Gordon, C. Broskay, J. Sequeira, M. Jones (A&M) to
                                           review dormant entities and statements and schedules overview
Joseph Sequeira         3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
Joseph Sequeira         3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                           Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                           entities statements and schedules review
Julian Lee              3/1/2023     0.3   Correspond with team on donation tracing

Julian Lee              3/1/2023     0.8   Review of donations tracing workpaper



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Professional              Date     Hours     Activity
Julian Lee              3/1/2023     0.2   Review list of donations by debtor entity

Julian Lee              3/1/2023     0.7   Teleconference with J. Lee, A. Helal, M. Ryan II (A&M) regarding
                                           Cash Donations bank support
Katie Montague          3/1/2023     0.7   Correspond with CMS team regarding status of prepetition invoice
                                           consolidation
Katie Montague          3/1/2023     1.8   Update prepetition invoice tracking file for WRS silo entities

Katie Montague          3/1/2023     0.4   Reconcile invoices provided by Ledger Prime to prepetition invoice
                                           file for statements and schedules
Katie Montague          3/1/2023     0.8   Call with K. Montague, B. Tenney (A&M) re: review invoices and AP
                                           aging detail
Kevin Kearney           3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
Luke Francis            3/1/2023     0.4   Meeting with S. Kotarba, and L. Francis (A&M) re: S&S updates for
                                           fund and equity investments and scheduling of assets
Luke Francis            3/1/2023     1.9   Updates to Schedule Investment answers for equity

Luke Francis            3/1/2023     1.4   Analysis of token receivables and valuation to petition date


Luke Francis            3/1/2023     0.7   Meeting w/ S. Kotarba, and L. Francis (A&M) re: S&S dormant
                                           entities presentation materials review
Luke Francis            3/1/2023     0.3   Meeting w/ S. Kotarba, and L. Francis (A&M) re: S&S active entities
                                           presentation materials review
Luke Francis            3/1/2023     1.8   Updates to SOFA Investment answers for equity

Luke Francis            3/1/2023     0.4   Meeting with M. Cilia (RLKS), S. Kotarba, L. Francis, and C. Myers
                                           (A&M) regarding SOFA and schedules drafts and progress tracking
Luke Francis            3/1/2023     1.2   Review of exited investments and potential locked proceeds


Luke Francis            3/1/2023     1.0   Working session with S. Kotarba, R. Esposito, L. Francis, and C.
                                           Myers (A&M) re: responses from the SOFA question outreach
                                           responses
Luke Francis            3/1/2023     0.9   Working session w/ T. DiNatale and L. Francis (A&M) re: Ventures
                                           balance sheet review and mapping
Luke Francis            3/1/2023     1.4   Updates to SOFA Investment answers for funds

Luke Francis            3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                           Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                           entities statements and schedules review
Luke Francis            3/1/2023     1.3   Updates to Schedule Investment answers for funds


Mackenzie Jones         3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                           Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                           entities statements and schedules review


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Schedules and Statements
Professional              Date     Hours     Activity
Mackenzie Jones         3/1/2023     0.4   Meeting with R. Gordon, C. Broskay, J. Sequeira, M. Jones (A&M) to
                                           review dormant entities and statements and schedules overview
Mark Zeiss              3/1/2023     1.8   Review payments prior to bankruptcy for FTX Japan and related
                                           entities for Statements Question 3 filings
Mark Zeiss              3/1/2023     1.1   Revise Customer exhibits for Schedules Filings for Unsecured Claims

Mark Zeiss              3/1/2023     2.6   Review payments prior to bankruptcy for FTX Europe and related
                                           entities for Statements Question 3 filings
Mark Zeiss              3/1/2023     2.2   Revise payments prior to bankruptcy for FTX Europe and related
                                           entities for Statements Question 3 filings
Mark Zeiss              3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
Mark Zeiss              3/1/2023     2.7   Revise Statements Question 9 filings per FTX entity for Donations to
                                           third parties
Matthew Ryan II         3/1/2023     1.2   Identify bank statement support for Paperbird cash donations


Matthew Ryan II         3/1/2023     0.7   Teleconference with J. Lee, A. Helal, M. Ryan II (A&M) regarding
                                           Cash Donations bank support
Matthew Ryan II         3/1/2023     3.2   Identify bank statement support for WRS cash donations


Matthew Ryan II         3/1/2023     3.3   Consolidate bank statement support for WRS cash donations

Michael Shanahan        3/1/2023     0.7   Review donation schedule to plan tracing analysis


Nicole Simoneaux        3/1/2023     1.1   Analyze per-employee payroll actuals for liabilities

Nicole Simoneaux        3/1/2023     2.2   Collect payroll actuals for SOFAs

Rob Esposito            3/1/2023     0.5   Review of dormant entity data to prepare for meeting


Rob Esposito            3/1/2023     2.3   Review and analysis of the SOFA data provided by FTX employees

Rob Esposito            3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
Rob Esposito            3/1/2023     0.7   Prepare detailed updates to the draft global notes

Rob Esposito            3/1/2023     0.5   Discussion with S. Kotarba, R. Esposito, and C. Myers (A&M)
                                           regarding SOFA outreach responses
Rob Esposito            3/1/2023     1.1   Working session on global notes with S. Kotarba, R. Esposito, R.
                                           Gordon(A&M)
Rob Esposito            3/1/2023     1.1   Work on and distribute Statement of Financial Affairs data and follow-
                                           up to FTX employees
Rob Esposito            3/1/2023     1.2   Discussion between R. Gordon, R. Esposito (A&M) over SOFA
                                           revenue and transfers questions

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Schedules and Statements
Professional            Date     Hours     Activity
Rob Esposito          3/1/2023     1.0   Working session with S. Kotarba, R. Esposito, L. Francis, and C.
                                         Myers (A&M) re: responses from the SOFA question outreach
                                         responses
Rob Esposito          3/1/2023     1.1   Prepare detailed follow-up requests for SOFA data

Rob Esposito          3/1/2023     0.9   Management of team tasks and workstreams for Statements and
                                         Schedules
Robert Gordon         3/1/2023     0.9   Read through latest clean version of Global Notes

Robert Gordon         3/1/2023     0.3   Prepare for schedule status discussion by drafting open items list


Robert Gordon         3/1/2023     0.4   Meeting with R. Gordon, C. Broskay, J. Sequeira, M. Jones (A&M) to
                                         review dormant entities and statements and schedules overview
Robert Gordon         3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                         Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                         S&S updates
Robert Gordon         3/1/2023     0.4   Prepare for working session on global notes by continuing make
                                         comments and edit the live file
Robert Gordon         3/1/2023     1.2   Discussion between R. Gordon, R. Esposito(A&M) over SOFA
                                         revenue and transfers questions
Robert Gordon         3/1/2023     1.1   Review Dormant company list and supporting documentation


Robert Gordon         3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                         Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                         entities statements and schedules review
Robert Gordon         3/1/2023     0.7   Prepare for Ventures walkthrough by review A/B schedule

Robert Gordon         3/1/2023     1.1   Working session on global notes with S. Kotarba, R. Esposito, R.
                                         Gordon(A&M)
Steve Kotarba         3/1/2023     0.3   Meeting w/ S. Kotarba, and L. Francis (A&M) re: S&S active entities
                                         presentation materials review
Steve Kotarba         3/1/2023     0.7   Meeting w/ S. Kotarba, and L. Francis (A&M) re: S&S dormant
                                         entities presentation materials review
Steve Kotarba         3/1/2023     1.0   Working session with S. Kotarba, R. Esposito, L. Francis, and C.
                                         Myers (A&M) re: responses from the SOFA question outreach
                                         responses
Steve Kotarba         3/1/2023     0.4   Meeting with S. Kotarba, and L. Francis (A&M) re: S&S updates for
                                         fund and equity investments and scheduling of assets
Steve Kotarba         3/1/2023     1.1   Working session on global notes with S. Kotarba, R. Esposito, R.
                                         Gordon(A&M)
Steve Kotarba         3/1/2023     1.4   Review new responses re SOFA questions and incorporate

Steve Kotarba         3/1/2023     0.4   Meeting with M. Cilia (RLKS), S. Kotarba, L. Francis, and C. Myers
                                         (A&M) regarding SOFA and schedules drafts and progress tracking
Steve Kotarba         3/1/2023     0.9   Working session w/ T. DiNatale and L. Francis (A&M) re: Ventures
                                         balance sheet review and mapping


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Professional            Date     Hours     Activity
Steve Kotarba         3/1/2023     0.8   Working session with C. Myers and S. Kotarba (A&M) regarding
                                         SOFA responses
Steve Kotarba         3/1/2023     1.5   Working session with C. Myers and S. Kotarba (A&M) regarding
                                         SOFA responses and statements and schedules draft presentations
Steve Kotarba         3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                         Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                         entities statements and schedules review
Steve Kotarba         3/1/2023     0.5   Discussion with S. Kotarba, R. Esposito, and C. Myers (A&M)
                                         regarding SOFA outreach responses
Trevor DiNatale       3/1/2023     2.1   Analyze updated Ventures silo asset account recs for inclusion in
                                         Schedule AB
Trevor DiNatale       3/1/2023     1.3   Review trade payable detail for WRS silo for inclusion in liability
                                         schedules
Trevor DiNatale       3/1/2023     0.6   Perform review on Ventures token received and receivable accounts

Trevor DiNatale       3/1/2023     0.9   Working session w/ T. DiNatale and L. Francis (A&M) re: Ventures
                                         balance sheet review and mapping
Trevor DiNatale       3/1/2023     1.4   Review crypto assets for FTX Trading for inclusion in asset schedule

Trevor DiNatale       3/1/2023     0.9   Update Ventures asset summary review presentation


Trevor DiNatale       3/1/2023     2.6   Prepare updated asset scheduled summary tracker for RLKS review

Trevor DiNatale       3/1/2023     0.8   Review FTX Trading investment detail to properly map assets for
                                         Sch. A/B
Trevor DiNatale       3/1/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                         Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                         S&S updates
Trevor DiNatale       3/1/2023     0.9   Review Venture silo loan receivables for inclusion in asset disclosures

Trevor DiNatale       3/1/2023     0.9   Analyze venture token and fund investment summary exhibit


Trevor DiNatale       3/1/2023     2.3   Review updated petition date balance sheet detail for dotcom silos

Trevor DiNatale       3/1/2023     1.1   Review trade payable detail for Alameda silo for inclusion in liability
                                         schedules
Trevor DiNatale       3/1/2023     0.3   Meeting with M. Cilia (RLKS), R. Gordon, J. Sequeira, M. Jones, C.
                                         Broskay, T. DiNatale, L. Francis, and S. Kotarba (A&M) re: dormant
                                         entities statements and schedules review
Andrey Ulyanenko      3/2/2023     0.2   A&M Internal Call (S. Kotarba, A. Ulyanenko, M. Zeiss, B. Parker) re:
                                         Tax Charitable Contributions
Brandon Parker        3/2/2023     0.2   A&M Internal Call (S. Kotarba, A. Ulyanenko, M. Zeiss, B. Parker) re:
                                         Tax Charitable Contributions
Bridger Tenney        3/2/2023     0.8   Create summary of entities with completed AP data




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Professional             Date     Hours     Activity
Bridger Tenney         3/2/2023     0.5   Participate in call with K. Montague, B. Tenney (A&M) re: balance
                                          sheet and AP aging reconciliation
Bridger Tenney         3/2/2023     0.6   Summarize prepetition liabilities by business silo


Bridger Tenney         3/2/2023     0.8   Create calculations check for AP balances on the balance sheet and
                                          current master AP file
Bridger Tenney         3/2/2023     0.9   Analyze balance sheet data that connects to AP aging detail

Bridger Tenney         3/2/2023     0.9   Review prepetition liabilities summary tab for every entity


Bridger Tenney         3/2/2023     1.0   Consolidate all prepetition liabilities into a single file

Bridger Tenney         3/2/2023     1.1   Build variance summary from AP aging to balance sheet line items


Bridger Tenney         3/2/2023     0.7   Summarize balance sheet reconciliation process

Christopher Sullivan   3/2/2023     0.6   Meeting w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re: Statements
                                          and Schedules deck walk through
Christopher Sullivan   3/2/2023     2.8   Review and provide comments to latest draft of the statements and
                                          schedules deck
Christopher Sullivan   3/2/2023     1.8   Revisions to schedules and statements BoD deck

Christopher Sullivan   3/2/2023     1.7   Utilize revised schedules support file for updates to BoD presentation


Christopher Sullivan   3/2/2023     0.6   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                          Statements and Schedules deck updates
Christopher Sullivan   3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                          & C. Sullivan (A&M) re: Statements and Schedules deck review
Claire Myers           3/2/2023     1.9   Update SOFA and Schedules answers on SOFA forms for drafts

Claire Myers           3/2/2023     1.2   Meeting w/ M. Cilia (FTX), M. Zeiss, S. Kotarba, and C. Myers (A&M)
                                          to discuss statements and schedules status
Claire Myers           3/2/2023     2.8   Summarize all responses from SOFA information requests

Claire Myers           3/2/2023     2.4   Analyze addresses from document analysis to update the master
                                          mailing list
Claire Myers           3/2/2023     0.8   Working session with C. Myers and S. Kotarba (A&M) regarding
                                          SOFA responses
Claire Myers           3/2/2023     1.4   Analyze indemnification agreements for schedule F

Claire Myers           3/2/2023     0.8   Analyze cash payments from bank statements in order to find insider
                                          payments
Claudia Sigman         3/2/2023     0.9   Perform updates on income statement tracker based on updated
                                          2022 financials




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Professional              Date     Hours     Activity
Claudia Sigman          3/2/2023     2.7   Analyze payroll data for insider payments to report on statements
                                           question 4
Claudia Sigman          3/2/2023     0.8   Prepare updates to list of insiders to report payments on SOFA 4


Claudia Sigman          3/2/2023     2.2   Review historical income statements for revenue to report on SOFA 1
                                           &2
Claudia Sigman          3/2/2023     2.1   Review and update statements based on SOFA question outreach
                                           responses
Claudia Sigman          3/2/2023     0.4   Working session with S. Kotarba, L. Francis, M. Zeiss, C. Sigman re:
                                           visuals and presentation set up for SOFA 3-4
Claudia Sigman          3/2/2023     1.6   Perform updates on SOFA 4 summary file of individual insiders
                                           based on review of payroll data
Claudia Sigman          3/2/2023     0.9   Analyze statements data responses in preparation for SOFA updates


Claudia Sigman          3/2/2023     1.9   Review cash database to report insider payments on SOFA 4

David Slay              3/2/2023     2.3   Working session w/ J. Gonzalez & D. Slay (A&M) re: revisions to the
                                           statements & schedule BoD deck
David Slay              3/2/2023     2.0   Summarize Assets and Claims model into new format based on
                                           comments for S&S BoD deck
David Slay              3/2/2023     0.6   Meeting w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re: Statements
                                           and Schedules deck walk through
David Slay              3/2/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: Silo assets and
                                           claims summaries
David Slay              3/2/2023     1.2   Update claims slides in the S&S deck for meeting

David Slay              3/2/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: address
                                           comments for distribution of statements & schedule BoD deck
David Slay              3/2/2023     0.6   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                           Statements and Schedules deck updates
David Slay              3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                           & C. Sullivan (A&M) re: Statements and Schedules deck review
David Slay              3/2/2023     1.2   Develop commentary for the detailed assets slides for S&S BoD deck

David Slay              3/2/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                           statements & schedule BoD deck
David Slay              3/2/2023     0.2   Discussion w/ K. Kearney & D. Slay (A&M) re: Alameda collateral
                                           assets
David Slay              3/2/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                           schedules next steps
Hudson Trent            3/2/2023     0.3   Correspond with A&M case management personnel regarding
                                           statements and schedules materials
Johnny Gonzalez         3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                           & C. Sullivan (A&M) re: Statements and Schedules deck review




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                               FTX Trading Ltd., et al.,
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Schedules and Statements
Professional            Date     Hours     Activity
Johnny Gonzalez       3/2/2023     0.4   Discussion w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                         schedules next steps
Johnny Gonzalez       3/2/2023     0.6   Create the Alameda balance sheet investments slide for the
                                         statements and schedules materials
Johnny Gonzalez       3/2/2023     0.6   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                         Statements and Schedules deck updates
Johnny Gonzalez       3/2/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                         statements & schedule BoD deck
Johnny Gonzalez       3/2/2023     1.7   Create graphics for the assets section of the board deck


Johnny Gonzalez       3/2/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: Silo assets and
                                         claims summaries
Johnny Gonzalez       3/2/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: address
                                         comments for distribution of statements & schedule BoD deck
Johnny Gonzalez       3/2/2023     1.9   Incorporate latest management changes to the assets and claims
                                         sections of the board deck
Johnny Gonzalez       3/2/2023     2.4   Create graphics for the claims section of the board deck


Johnny Gonzalez       3/2/2023     0.6   Meeting w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re: Statements
                                         and Schedules deck walk through
Johnny Gonzalez       3/2/2023     2.3   Working session w/ J. Gonzalez & D. Slay (A&M) re: revisions to the
                                         statements & schedule BoD deck
Jon Chan              3/2/2023     0.7   Working session with R. Esposito, L. Francis, and J. Chan (A&M) re:
                                         SOFA answers for outstanding entities
Joseph Sequeira       3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                         & C. Sullivan (A&M) re: Statements and Schedules deck review
Katie Montague        3/2/2023     0.5   Participate in call with K. Montague, B. Tenney (A&M) re: balance
                                         sheet and AP aging reconciliation
Kevin Kearney         3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                         & C. Sullivan (A&M) re: Statements and Schedules deck review
Kevin Kearney         3/2/2023     0.2   Discussion w/ K. Kearney & D. Slay (A&M) re: Alameda collateral
                                         assets
Luke Francis          3/2/2023     0.7   Working session with R. Esposito, L. Francis, and J. Chan (A&M) re:
                                         SOFA answers for outstanding entities
Luke Francis          3/2/2023     2.2   Updates to Schedule Investment answers for tokens

Luke Francis          3/2/2023     1.1   Updates to SOFA 3 and SOFA 4 summary decks and review material


Luke Francis          3/2/2023     1.2   Working session with R. Esposito, L. Francis (A&M) re: SOFA
                                         answers for outstanding entities
Luke Francis          3/2/2023     0.4   Working session with S. Kotarba, L. Francis, M. Zeiss, C. Sigman re:
                                         visuals and presentation set up for SOFA 3-4
Luke Francis          3/2/2023     1.6   Review of client provided SOFA responses and updates to Summary
                                         tracker




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Schedules and Statements
Professional              Date     Hours     Activity
Mark Zeiss              3/2/2023     1.9   Draft Statements Question 9 filings answer for donations in the past
                                           two years
Mark Zeiss              3/2/2023     2.3   Draft Statements Question 3 filings answer for payments in the 90
                                           days before bankruptcy for FTX Japan entities
Mark Zeiss              3/2/2023     1.8   Draft Statements Question 3 filings answer for payments in the 90
                                           days before bankruptcy for FTX European entities
Mark Zeiss              3/2/2023     0.4   Working session with S. Kotarba, L. Francis, M. Zeiss, C. Sigman re:
                                           visuals and presentation set up for SOFA 3-4
Mark Zeiss              3/2/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                           Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                           S&S updates
Mark Zeiss              3/2/2023     1.6   Review QuickBooks payments for Statements Question 3 filings

Mark Zeiss              3/2/2023     0.8   Revise Schedules filings for Customer Liabilities Exhibits

Mark Zeiss              3/2/2023     0.2   A&M Internal Call (S. Kotarba, A. Ulyanenko, M. Zeiss, B. Parker) re:
                                           Tax Charitable Contributions
Mark Zeiss              3/2/2023     1.2   Meeting w/ M. Cilia (FTX), M. Zeiss, S. Kotarba, and C. Myers (A&M)
                                           to discuss statements and schedules status
Mark Zeiss              3/2/2023     0.7   Draft Statements Question 3 filings answer for payments in the 90
                                           days before bankruptcy for specific transferees
Matthew Ryan II         3/2/2023     2.8   Identify bank statement support for WRSS cash donations

Matthew Ryan II         3/2/2023     2.7   Identify recipients of FTX Foundation grants and charitable activities


Matthew Ryan II         3/2/2023     0.4   Identify bank statement support for WRS cash donations

Matthew Ryan II         3/2/2023     1.1   Search for donations made to Stephen Curry Eat Play Learn
                                           foundation post July 2022
Michael Shanahan        3/2/2023     0.6   Review status of cash donations tracing analysis


Nicole Simoneaux        3/2/2023     2.3   Compile employee data for SOFAs listing

Nicole Simoneaux        3/2/2023     1.2   Refine payroll prepetition liabilities analysis


Rob Esposito            3/2/2023     1.7   Review and analysis of draft Schedules of Assets and Liabilities

Rob Esposito            3/2/2023     1.2   Working session with R. Esposito, L. Francis (A&M) re: SOFA
                                           answers for outstanding entities
Rob Esposito            3/2/2023     0.4   Working session with S. Kotarba, L. Francis, M. Zeiss, C. Sigman re:
                                           visuals and presentation set up for SOFA 3-4
Rob Esposito            3/2/2023     2.2   Work on statements and schedule overview presentation for FTX
                                           management
Rob Esposito            3/2/2023     0.5   Initial discussion with M. Cilia(RLKS), R. Gordon, R. Esposito(A&M)
                                           to review global notes


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Schedules and Statements
Professional            Date     Hours     Activity
Rob Esposito          3/2/2023     0.4   Work on and follow-up with respect to insider payments at Ledger
                                         entities
Rob Esposito          3/2/2023     0.7   Update meeting with R. Esposito, R. Gordon(A&M) to determine
                                         schedule D & F mapping for Alameda
Rob Esposito          3/2/2023     0.7   Working session with R. Esposito, L. Francis, and J. Chan (A&M) re:
                                         SOFA answers for outstanding entities
Rob Esposito          3/2/2023     0.6   Conference with R Esposito (A&M) and J Bavaud (FTX) to discuss
                                         the SOFA responses for FTX EU Ltd
Rob Esposito          3/2/2023     0.7   Work on insider data collections for Statement of Financial Affairs
                                         disclosures
Rob Esposito          3/2/2023     1.0   Prepare for and compile data for Venture Schedules meeting

Rob Esposito          3/2/2023     0.7   Meeting with M Cilia (RLKS) R Esposito, K Kearney and C Broskay
                                         (A&M) to review and discuss the Ventures balance sheets
Rob Esposito          3/2/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                         Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                         S&S updates
Rob Esposito          3/2/2023     0.6   Prepare follow-up requests to FTX management for Statement of
                                         Financial Affairs disclosures
Rob Esposito          3/2/2023     0.5   Management and review of Statements and Schedules related tasks
                                         and workstreams
Robert Gordon         3/2/2023     0.5   Initial discussion with M. Cilia (RLKS), R. Gordon, R. Esposito(A&M)
                                         to review global notes
Robert Gordon         3/2/2023     0.8   Meeting w/ R. Gordon, K. Kearney, J. Sequeira, J. Gonzalez, D. Slay
                                         & C. Sullivan (A&M) re: Statements and Schedules deck review
Robert Gordon         3/2/2023     0.7   Update meeting with R. Esposito, R. Gordon(A&M) to determine
                                         schedule D & F mapping for Alameda
Steve Kotarba         3/2/2023     0.8   Working session with C. Myers and S. Kotarba (A&M) regarding
                                         SOFA responses
Steve Kotarba         3/2/2023     1.5   Update SOFA by-question update for FTX contact responses


Steve Kotarba         3/2/2023     0.4   Working session with S. Kotarba, L. Francis, M. Zeiss, C. Sigman re:
                                         visuals and presentation set up for SOFA 3-4
Steve Kotarba         3/2/2023     1.4   Updates to schedules re Dotcom silo


Steve Kotarba         3/2/2023     1.7   Update SOFA responses to reflect new information from FTX contacts

Steve Kotarba         3/2/2023     0.2   A&M Internal Call (S. Kotarba, A. Ulyanenko, M. Zeiss, B. Parker) re:
                                         Tax Charitable Contributions
Steve Kotarba         3/2/2023     1.2   Meeting w/ M. Cilia (FTX), M. Zeiss, S. Kotarba, and C. Myers (A&M)
                                         to discuss statements and schedules status
Trevor DiNatale       3/2/2023     0.8   Update deposit and prepaid detail for asset disclosures

Trevor DiNatale       3/2/2023     0.7   Update real property asset exhibit for Schedule AB




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Schedules and Statements
Professional             Date     Hours     Activity
Trevor DiNatale        3/2/2023     0.3   Meeting with R. Gordon, K. Kearney, C. Broskay, J. Sequeira, R.
                                          Esposito, T. DiNatale, and M. Zeiss, (A&M) re: dotcom and ventures
                                          S&S updates
Trevor DiNatale        3/2/2023     1.9   Prepare variance summary from traceable wallet detail to balance
                                          sheet data
Trevor DiNatale        3/2/2023     1.1   Update master asset account and schedule detail tracker for internal
                                          review
Trevor DiNatale        3/2/2023     2.3   Prepare exhibit of crypto asset holdings for inclusion in Schedule AB

Trevor DiNatale        3/2/2023     2.3   Analyze crypto asset holdings and balances


Trevor DiNatale        3/2/2023     2.4   Prepare updated dotcom asset summary review file

Trevor DiNatale        3/2/2023     0.9   Update and categorize intangible asset accounts for inclusion in
                                          Schedules
Trevor DiNatale        3/2/2023     2.2   Review finalized dotcom petition date balance sheet detail


Trevor DiNatale        3/2/2023     1.3   Review dotcom Schedule AB drafts

Aly Helal              3/3/2023     1.9   Collect Bank Statements for new FTX Partner Donations identified


Bridger Tenney         3/3/2023     0.9   Calculate total AP outstanding as of petition date for each entity

Bridger Tenney         3/3/2023     0.8   Edit analysis for prepetition liabilities separated by business silo


Bridger Tenney         3/3/2023     0.8   Update current status for each entity in prepetition liabilities file

Bridger Tenney         3/3/2023     0.9   Review QBO for entities without AP data

Christopher Sullivan   3/3/2023     1.3   Updates to Dotcom claims section of the schedules and statements
                                          BoD deck
Christopher Sullivan   3/3/2023     1.1   Updates to WRS claims section of the schedules and statements
                                          BoD deck
Christopher Sullivan   3/3/2023     1.7   Review updated commentary in the schedules and statements BoD
                                          deck
Christopher Sullivan   3/3/2023     0.9   Updates to Alameda claims section of the schedules and statements
                                          BoD deck
Christopher Sullivan   3/3/2023     1.9   Updates to assets section of the schedules and statements BoD deck


Christopher Sullivan   3/3/2023     1.6   Provide comments for consolidated claims and assets schedules for
                                          the BoD deck
Claire Myers           3/3/2023     1.9   Compare parties in affidavits of service to customer matrix to
                                          determine redaction
Claire Myers           3/3/2023     0.4   Discussion between C. Myers (A&M) and D. Mapplethorpe (Kroll) re:
                                          redaction for affidavits of service


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Professional              Date     Hours     Activity
Claire Myers            3/3/2023     0.4   Meeting with A&M team regarding statements and schedules priority
                                           workstreams
Claire Myers            3/3/2023     1.7   Update redactions in affidavits of service to redactions given by
                                           litigation team
Claire Myers            3/3/2023     2.3   Compare parties in affidavits of service to PII in order to determine
                                           public ally disclosed parties for redaction
Claudia Sigman          3/3/2023     1.9   Review historical disbursements for debtor payments to directors and
                                           officers
Claudia Sigman          3/3/2023     1.8   Prepare updates to Statements questions based on company data
                                           request responses
Claudia Sigman          3/3/2023     2.1   Review historical income statements for inclusion in Statement
                                           questions
Claudia Sigman          3/3/2023     0.6   Working session with S. Kotarba and C. Sigman (A&M) regarding
                                           income statement review for SOFA 1 & 2
Claudia Sigman          3/3/2023     1.1   Prepare SOFA 1 & 2 summary deck in preparation for filing
                                           schedules and statements
Claudia Sigman          3/3/2023     0.4   Meeting with A&M team regarding statements and schedules priority
                                           workstreams
Claudia Sigman          3/3/2023     1.4   Prepare SOFA 4 summary file for external review

Claudia Sigman          3/3/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                           (A&M) regarding Europe employee loans for schedules and
                                           statements
Cole Broskay            3/3/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, S. Kotarba, C. Broskay,
                                           and T. DiNatale (A&M) to walkthrough Dotcom Statements and
                                           Schedules
David Slay              3/3/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: review S&S
                                           deck prior to distribution and update formatting
David Slay              3/3/2023     1.6   Update formatting and charts with new financials from accounting

David Slay              3/3/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: update
                                           statements and schedules deck tables and charts based on
                                           comments
David Slay              3/3/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: revise
                                           schedules and statements BoD deck for updated financials
Douglas Lewandowski     3/3/2023     0.7   Discussion with D. Lewandowski and L. Konig (A&M) re: customer
                                           schedule
Douglas Lewandowski     3/3/2023     0.5   Conference with R Esposito, L Konig, S Kotarba, D Lewandowski, K
                                           Ramanathan and M Zeiss (A&M) to discuss customer liabilities and
                                           exhibits
Douglas Lewandowski     3/3/2023     0.6   Discussion with R. Esposito and D. Lewandowski (A&M) re: loan
                                           payables and schedule D/F
Hudson Trent            3/3/2023     1.5   Prepare updated materials related to statements and schedules

Johnny Gonzalez         3/3/2023     0.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: review S&S
                                           deck prior to distribution and update formatting


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Professional               Date     Hours     Activity
Johnny Gonzalez          3/3/2023     1.0   Incorporate management commentary to the S&S presentation

Johnny Gonzalez          3/3/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: revise
                                            schedules and statements BoD deck for updated financials
Johnny Gonzalez          3/3/2023     1.7   Development of a cash bridge from Petition Date

Johnny Gonzalez          3/3/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: update
                                            statements and schedules deck tables and charts based on
                                            comments
Johnny Gonzalez          3/3/2023     1.3   Draft commentary for the S&S presentation


Julian Lee               3/3/2023     0.9   Call with M. Shanahan and J. Lee (A&M) regarding donation tracing
                                            workpaper
Kumanan Ramanathan       3/3/2023     0.5   Conference with R Esposito, L Konig, S Kotarba, D Lewandowski, K
                                            Ramanathan and M Zeiss (A&M) to discuss customer liabilities and
                                            exhibits
Laureen Ryan             3/3/2023     0.5   Call with L. Ryan, S. Kotarba, M. Shanahan and P. McGrath (A&M)
                                            regarding 90 day cash and crypto payments
Louis Konig              3/3/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson (A&M) to discuss conversion
                                            of balances to PDF for purposes of filing
Louis Konig              3/3/2023     0.7   Discussion with D. Lewandowski and L. Konig (A&M) regarding
                                            customer schedule
Luke Francis             3/3/2023     1.2   Updates to SOFA 13 for other transfers

Luke Francis             3/3/2023     0.7   Updates to SOFA questions based on client responses

Luke Francis             3/3/2023     1.5   Updates to liabilities schedules for investments and unfunded capital


Luke Francis             3/3/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                            (A&M) regarding Europe employee loans for schedules and
                                            statements
Mark Zeiss               3/3/2023     1.8   Revise Schedules filings for Customer Liabilities Exhibits

Mark Zeiss               3/3/2023     2.3   Review QuickBooks payments for Statements Question 3 filings


Mark Zeiss               3/3/2023     1.9   Draft Statements Question 9 filings answer for donations in the past
                                            two years
Mark Zeiss               3/3/2023     0.5   Conference with R Esposito, L Konig, S Kotarba, D Lewandowski, K
                                            Ramanathan and M Zeiss (A&M) to discuss customer liabilities and
                                            exhibits
Mark Zeiss               3/3/2023     2.1   Prepare memo of sources and methods for Statements Question 3
                                            filings
Matthew Ryan II          3/3/2023     0.4   Review new found donations from counterparty Search

Matthew Ryan II          3/3/2023     2.6   Search for counterparties within Counterpart search terms
                                            (combined) Query results excel spreadsheet`


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Schedules and Statements
Professional              Date     Hours     Activity
Matthew Ryan II         3/3/2023     1.1   Move over newly found unknown cash donation bank statements

Matthew Ryan II         3/3/2023     0.3   Review new cash donations with previously known donations


Matthew Ryan II         3/3/2023     0.7   Identify unknown cash donations made to organizations through bank
                                           transactions
Matthew Ryan II         3/3/2023     0.4   Identify journal entries of cash donations relating to "Music for
                                           Movements" organization
Michael Shanahan        3/3/2023     0.5   Call with L. Ryan, S. Kotarba, M. Shanahan and P. McGrath (A&M)
                                           regarding 90 day cash and crypto payments
Michael Shanahan        3/3/2023     0.9   Call with M. Shanahan and J. Lee (A&M) regarding donation tracing
                                           workpaper
Nicole Simoneaux        3/3/2023     0.3   Address inquiries on prepetition payroll analysis


Nicole Simoneaux        3/3/2023     1.2   Finalize prepetition payroll liability analysis

Patrick McGrath         3/3/2023     0.5   Call with L. Ryan, S. Kotarba, M. Shanahan and P. McGrath (A&M)
                                           regarding 90 day cash and crypto payments
Peter Kwan              3/3/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson (A&M) to discuss conversion
                                           of balances to PDF for purposes of filing
Peter Kwan              3/3/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson to discuss conversion of
                                           balances to PDF for purposes of filing
Ritchine Guerrier       3/3/2023     2.4   Prepare FTX Eu Ltd payment files for SOFA 3 disclosure


Ritchine Guerrier       3/3/2023     2.8   Contract update and reconciliation for Schedule and Statements

Rob Esposito            3/3/2023     0.4   Discussion with R. Esposito, R. Gordon(A&M) over management
                                           presentation for Schedules
Rob Esposito            3/3/2023     1.1   Review and detailed updates to the insider and creditor payment
                                           presentation
Rob Esposito            3/3/2023     0.5   Conference with R Esposito, L Konig, S Kotarba, D Lewandowski, K
                                           Ramanathan and M Zeiss (A&M) to discuss customer liabilities and
                                           exhibits
Rob Esposito            3/3/2023     0.6   Discussion with R. Esposito and D. Lewandowski (A&M) re: loan
                                           payables and schedule D/F
Rob Esposito            3/3/2023     0.4   Meeting with A&M team regarding statements and schedules priority
                                           workstreams
Rob Esposito            3/3/2023     1.5   Review and analysis of customer liability data


Rob Esposito            3/3/2023     1.2   Work on Statements and Schedules presentation for meeting with
                                           management
Rob Esposito            3/3/2023     1.8   Work on Statement of Financial Affairs data for response and follow-
                                           up to FTX management
Robert Gordon           3/3/2023     0.8   Prepare for Trading Ltd balance sheet walkthrough




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Professional            Date     Hours     Activity
Robert Gordon         3/3/2023     0.4   Discussion with R. Esposito, R. Gordon(A&M) over management
                                         presentation for Schedules
Robert Gordon         3/3/2023     0.6   Read through foreign litigation listing for SOFA and Schedules


Robert Gordon         3/3/2023     0.6   Meeting with M. Cilia (RLKS), R. Gordon, S. Kotarba, C. Broskay,
                                         and T. DiNatale (A&M) to walkthrough Dotcom Statements and
                                         Schedules
Robert Johnson        3/3/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson (A&M) to discuss conversion
                                         of balances to PDF for purposes of filing
Robert Johnson        3/3/2023     0.4   Call with L. Konig, P. Kwan, R. Johnson to discuss conversion of
                                         balances to PDF for purposes of filing
Steve Kotarba         3/3/2023     0.6   Working session with S. Kotarba and C. Sigman (A&M) regarding
                                         income statement review for SOFA 1 & 2
Steve Kotarba         3/3/2023     0.8   Reconcile research re recovery actions to identified payment detail

Steve Kotarba         3/3/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                         (A&M) regarding Europe employee loans for schedules and
                                         statements
Steve Kotarba         3/3/2023     0.5   Call with L. Ryan, S. Kotarba, M. Shanahan and P. McGrath (A&M)
                                         regarding 90 day cash and crypto payments
Steve Kotarba         3/3/2023     1.1   Review dotcom silo detail and analysis to prepare for internal review
                                         with M. Cilia
Steve Kotarba         3/3/2023     0.5   Conference with R Esposito, L Konig, S Kotarba, D Lewandowski, K
                                         Ramanathan and M Zeiss (A&M) to discuss customer liabilities and
                                         exhibits
Steve Kotarba         3/3/2023     0.6   Walkthrough of Dotcom Statements and Schedules with M. Cilia
                                         (RLKS), R. Gordon, S. Kotarba, C. Broskay, and T. DiNatale (A&M)
Steve Kotarba         3/3/2023     0.6   Discussion with R. Esposito and D. Lewandowski (A&M) re: loan
                                         payables and schedule D/F
Steve Kotarba         3/3/2023     0.7   Review, discuss and incorporate additional donations detail

Trevor DiNatale       3/3/2023     1.4   Review updated Alameda silo account reconciliation to update asset
                                         and liability detail
Trevor DiNatale       3/3/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                         (A&M) regarding Europe employee loans for schedules and
                                         statements
Trevor DiNatale       3/3/2023     0.6   Walkthrough of Dotcom Statements and Schedules with M. Cilia
                                         (RLKS), R. Gordon, S. Kotarba, C. Broskay, and T. DiNatale (A&M)
Trevor DiNatale       3/3/2023     2.2   Update master asset account and schedule detail tracker for internal
                                         review
Trevor DiNatale       3/3/2023     1.3   Review updated Schedule AB drafts prior to sending to RLKS and
                                         S&C for review
Trevor DiNatale       3/3/2023     0.9   Update WRSFS asset account mapping for Schedule AB

Trevor DiNatale       3/3/2023     0.4   Meeting with A&M team regarding statements and schedules priority
                                         workstreams


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Schedules and Statements
Professional              Date     Hours     Activity
Christopher Sullivan    3/4/2023     1.4   Provide comments for updated claims schedules in the BoD deck

Christopher Sullivan    3/4/2023     1.6   Review updated schedules and statements BoD deck


Claire Myers            3/4/2023     1.9   Incorporate RLKS comments into global notes for statements and
                                           schedules
Claire Myers            3/4/2023     1.6   Analyze addresses from document analysis to update the master
                                           mailing list
Claire Myers            3/4/2023     2.5   Update SOFA 26 with answers from company representatives'
                                           responses
Claire Myers            3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                           status of deliverables
Claire Myers            3/4/2023     2.4   Update SOFA answers with answers from company representatives'
                                           responses
Claudia Sigman          3/4/2023     2.4   Incorporate updates to Statements questions based on review of
                                           historical financials
Claudia Sigman          3/4/2023     0.6   Working session with S. Kotarba and C. Sigman (A&M) regarding
                                           income statement review for SOFA 1 & 2
Claudia Sigman          3/4/2023     0.9   Perform updates on SOFA 1 & 2 summary deck in preparation for
                                           filing schedules and statements
Claudia Sigman          3/4/2023     2.0   Review historical disbursements for debtor payments to insiders

Claudia Sigman          3/4/2023     1.3   Prepare updates in internal management system for statement
                                           questions based on SOFA data responses
Claudia Sigman          3/4/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                           (A&M) regarding Europe employee loans for schedules and
                                           statements
Claudia Sigman          3/4/2023     1.8   Perform updates on income statement tracker based on updated
                                           2022 financials
Claudia Sigman          3/4/2023     1.6   Prepare updates to SOFA 7 and Schedule F based on foreign
                                           litigation review
David Slay              3/4/2023     2.0   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck w/ latest financials
David Slay              3/4/2023     1.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: supplemental
                                           data revisions for statements and schedules BoD deck
Douglas Lewandowski     3/4/2023     1.2   Working session with D. Lewandowski and R. Guerrier (A&M) re:
                                           loans and schedule D
Douglas Lewandowski     3/4/2023     0.6   Discussion with S. Kotarba, R. Esposito and D. Lewandowski (A&M)
                                           re: loan payables and schedule D/F
Jared Gany              3/4/2023     1.1   Database analysis to determine qualified payments to insiders and
                                           related parties
Jared Gany              3/4/2023     3.1   Process transactions data for all entities to create transactions
                                           database
Jared Gany              3/4/2023     1.3   Clean transaction database and tagging line items for potential
                                           payments to insiders


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Schedules and Statements
Professional              Date     Hours     Activity
Johnny Gonzalez         3/4/2023     0.6   Revisions to the commentary in the S&S presentation

Johnny Gonzalez         3/4/2023     0.7   Incorporate updated tables in the S&S presentation


Johnny Gonzalez         3/4/2023     1.3   Incorporate latest crypto assets to the S&S presentation

Johnny Gonzalez         3/4/2023     2.0   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck w/ latest financials
Johnny Gonzalez         3/4/2023     1.3   Incorporate updated management commentary to the S&S
                                           presentation
Johnny Gonzalez         3/4/2023     1.5   Working session w/ J. Gonzalez & D. Slay (A&M) re: supplemental
                                           data revisions for statements and schedules BoD deck
Luke Francis            3/4/2023     0.6   Prepare descriptions for SOFA 13 transfers


Luke Francis            3/4/2023     0.6   Conference call with S. Kotarba, R. Esposito, M. Zeiss, T. DiNatale,
                                           and L. Francis (A&M) regarding historical disbursements and
                                           available payments for inclusion in SOFAs
Luke Francis            3/4/2023     0.4   Conference call with L. Francis and T. DiNatale regarding transfers
                                           for inclusion in SOFAs and AP liability detail
Luke Francis            3/4/2023     0.3   Conference with L Francis and R Esposito (A&M) to discuss the
                                           SOFA payment presentations
Luke Francis            3/4/2023     1.8   Summary of liabilities and variance between scheduled amounts and
                                           TB
Luke Francis            3/4/2023     0.6   Conference call with T. DiNatale and L. Francis (A&M) regarding
                                           review of asset classification
Luke Francis            3/4/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                           (A&M) regarding Europe employee loans for schedules and
                                           statements
Luke Francis            3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                           status of deliverables
Mark Zeiss              3/4/2023     1.8   Review QuickBooks payments for Statements Question 4 filings for
                                           Insiders in the past year before filing
Mark Zeiss              3/4/2023     2.7   Revise QuickBooks payments for Statements Question 3 filings

Mark Zeiss              3/4/2023     2.3   Review QuickBooks payments for Statements Question 3 filings


Mark Zeiss              3/4/2023     1.1   Prepare data request for bank statements processed for reporting
                                           Statements Filing Question 3
Mark Zeiss              3/4/2023     1.2   Prepare data request for QuickBooks payments without readily
                                           identifiable counterparties
Mark Zeiss              3/4/2023     0.6   Conference call with S. Kotarba, R. Esposito, M. Zeiss, T. DiNatale,
                                           and L. Francis (A&M) regarding historical disbursements and
                                           available payments for inclusion in SOFAs
Mark Zeiss              3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                           status of deliverables



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Schedules and Statements
Professional             Date     Hours     Activity
Michael Shanahan       3/4/2023     0.9   Review cash tracing analysis related to donations

Ritchine Guerrier      3/4/2023     1.2   Working session with D. Lewandowski and R. Guerrier (A&M) re:
                                          loans and schedule D
Ritchine Guerrier      3/4/2023     1.3   Prepare FTX Japan K.K payment files for SOFA 3 disclosure

Ritchine Guerrier      3/4/2023     2.6   Conduct review of Pte Ltd and Quoine Vietnam Co. Ltd payments for
                                          SOFA 3 and SOFA 4 disclosure
Ritchine Guerrier      3/4/2023     3.2   Review of FTX Europe AG payments files for SOFA 4 purposes


Ritchine Guerrier      3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                          status of deliverables
Rob Esposito           3/4/2023     0.6   Conference call with S. Kotarba, R. Esposito, M. Zeiss, T. DiNatale,
                                          and L. Francis (A&M) regarding historical disbursements and
                                          available payments for inclusion in SOFAs
Rob Esposito           3/4/2023     0.6   Discussion with S. Kotarba, R. Esposito and D. Lewandowski (A&M)
                                          re: loan payables and schedule D/F
Rob Esposito           3/4/2023     0.4   Review of the liabilities summary to provide comments to A&M team

Rob Esposito           3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                          status of deliverables
Rob Esposito           3/4/2023     0.3   Review of the draft insider presentation

Rob Esposito           3/4/2023     0.3   Review of draft loan payable data in Schedules D & F


Rob Esposito           3/4/2023     0.3   Conference with L Francis and R Esposito (A&M) to discuss the
                                          SOFA payment presentations
Rob Esposito           3/4/2023     1.6   Review and analysis of insider data and source information

Robert Gordon          3/4/2023     0.7   Provide latest comments to the BoD schedules presentation


Steve Kotarba          3/4/2023     2.3   Update review decks re SOFA / Schedule responses

Steve Kotarba          3/4/2023     0.6   Discussion with S. Kotarba, R. Esposito and D. Lewandowski (A&M)
                                          re: loan payables and schedule D/F
Steve Kotarba          3/4/2023     2.1   Prepare updated drafts for review

Steve Kotarba          3/4/2023     0.6   Conference call with S. Kotarba, R. Esposito, M. Zeiss, T. DiNatale,
                                          and L. Francis (A&M) regarding historical disbursements and
                                          available payments for inclusion in SOFAs
Steve Kotarba          3/4/2023     1.6   Update payment disclosures re: statement and schedules


Steve Kotarba          3/4/2023     0.4   Updates to global notes to schedules

Steve Kotarba          3/4/2023     0.6   Working session with S. Kotarba and C. Sigman (A&M) regarding
                                          income statement review for SOFA 1 & 2

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Schedules and Statements
Professional             Date     Hours     Activity
Steve Kotarba          3/4/2023     0.4   Conference call with Statements & Schedules team to discuss the
                                          status of deliverables
Steve Kotarba          3/4/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                          (A&M) regarding Europe employee loans for schedules and
                                          statements
Steve Kotarba          3/4/2023     1.1   Prepare updated list of priorities and task list


Steve Kotarba          3/4/2023     0.4   Meeting with A&M team regarding statements and schedules priority
                                          workstreams
Trevor DiNatale        3/4/2023     0.7   Update master asset account and schedule detail tracker for internal
                                          review
Trevor DiNatale        3/4/2023     0.3   Discussion with S. Kotarba, T. DiNatale, L. Francis and C. Sigman
                                          (A&M) regarding Europe employee loans for schedules and
                                          statements
Trevor DiNatale        3/4/2023     0.6   Conference call with S. Kotarba, R. Esposito, M. Zeiss, T. DiNatale,
                                          and L. Francis (A&M) regarding historical disbursements and
                                          available payments for inclusion in SOFAs
Trevor DiNatale        3/4/2023     0.6   Review S&S board presentation materials

Trevor DiNatale        3/4/2023     0.4   Conference call with L. Francis and T. DiNatale regarding transfers
                                          for inclusion in SOFAs and AP liability detail
Trevor DiNatale        3/4/2023     0.6   Conference call with T. DiNatale and L. Francis (A&M) regarding
                                          review of asset classification
Trevor DiNatale        3/4/2023     0.8   Review updated investments in equity securities and fixed income for
                                          inclusion in asset schedules
Trevor DiNatale        3/4/2023     1.1   Update pledged collateral asset detail exhibit for Schedule AB

Trevor DiNatale        3/4/2023     1.3   Review Schedule AB drafts prior to sending to S&C for review


Trevor DiNatale        3/4/2023     1.4   Review newly identified loan receivables detail

Trevor DiNatale        3/4/2023     1.7   Update asset schedule detail prior to running drafts

Bridger Tenney         3/5/2023     0.6   Summarize additions to AP totals on master file


Bridger Tenney         3/5/2023     0.8   Add pre and post allocation calculations to invoice data

Bridger Tenney         3/5/2023     0.9   Compile invoices for foreign entity to be used in AP calculations


Bridger Tenney         3/5/2023     1.0   Add invoices to master prepetition liabilities file

Christopher Sullivan   3/5/2023     0.3   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                          Statements and Schedules deck updates
Christopher Sullivan   3/5/2023     0.7   Review 1/31 to petition date cash bridge for BoD deck




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Schedules and Statements
Professional              Date     Hours     Activity
Christopher Sullivan    3/5/2023     0.6   Incorporate latest S&S liability breakdown into BoD presentation of
                                           schedules and statements
Christopher Sullivan    3/5/2023     0.9   Incorporate updated Schedule A/B into commentary in the schedules
                                           BoD deck
Christopher Sullivan    3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                           DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                           Statements and Schedules BoD deck review and next steps
Christopher Sullivan    3/5/2023     1.2   Review claims by silo composition

Claire Myers            3/5/2023     0.6   Analyze litigation claims in schedule F for statements and schedules


Claire Myers            3/5/2023     1.1   Prepare statements and schedules drafts for review for filings

Claire Myers            3/5/2023     1.3   Consolidate notes and changes of global notes for statements and
                                           schedules
Claire Myers            3/5/2023     1.7   Analyze SOFA and Schedules status to prepare internal tracker


Claudia Sigman          3/5/2023     1.4   Analyze payroll transaction data to report on SOFA 4

Claudia Sigman          3/5/2023     1.1   Review Schedules and Statements Global Notes for accuracy


Claudia Sigman          3/5/2023     2.1   Review insider payments for inclusion in schedules and statements

Claudia Sigman          3/5/2023     1.4   Prepare updates to SOFA 1 summary deck for external review


Claudia Sigman          3/5/2023     1.3   Prepare update to donations on SOFA 9 in preparation for filing
                                           schedules and statements
David Slay              3/5/2023     0.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: Review
                                           numbers and bullets in statements and schedules BoD deck
David Slay              3/5/2023     1.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck based on prior meeting
David Slay              3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                           DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                           Statements and Schedules BoD deck review and next steps
David Slay              3/5/2023     1.2   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck charts and tables
David Slay              3/5/2023     0.3   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                           Statements and Schedules deck updates
David Slay              3/5/2023     1.6   Update statements and schedules BoD deck charts and tables with
                                           latest updates
Jared Gany              3/5/2023     2.1   Review and clean transaction data for 10 entities, Alameda Research
                                           and affiliates
Jared Gany              3/5/2023     1.7   Clean and stack transaction data for West Realm Shires Services
                                           over a one year look back period
Jared Gany              3/5/2023     2.4   Review and clean transaction data for 19 FTX Trading entities and
                                           affiliates

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Schedules and Statements
Professional              Date     Hours     Activity
Johnny Gonzalez         3/5/2023     0.3   Discussion w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                           Statements and Schedules deck updates
Johnny Gonzalez         3/5/2023     1.4   Mark up the S&S presentation for team revisions


Johnny Gonzalez         3/5/2023     1.4   Incorporate latest claims and liabilities to the S&S presentation

Johnny Gonzalez         3/5/2023     1.2   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck charts and tables
Johnny Gonzalez         3/5/2023     1.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Update
                                           statements and schedules BoD deck based on prior meeting
Johnny Gonzalez         3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                           DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                           Statements and Schedules BoD deck review and next steps
Johnny Gonzalez         3/5/2023     0.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: Review
                                           numbers and bullets in statements and schedules BoD deck
Joseph Sequeira         3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                           DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                           Statements and Schedules BoD deck review and next steps
Luke Francis            3/5/2023     1.3   Analysis of SOFA 4 and potential SOFA 13 data

Luke Francis            3/5/2023     0.7   Review of client responses for previous addresses


Luke Francis            3/5/2023     0.6   Conference with L Francis, T DiNatale and R Esposito (A&M) to
                                           discuss the Statements and Schedules review presentation
Luke Francis            3/5/2023     1.3   Updates to asset schedules for token receivables

Luke Francis            3/5/2023     1.2   Review of SOFA 25 client responses


Luke Francis            3/5/2023     1.7   Updates to S&S Summary PPT for liabilities

Mark Zeiss              3/5/2023     0.7   Draft revised Statements Question 3 payments filing from FTX Japan
                                           and related payments data
Mark Zeiss              3/5/2023     2.6   Revise revised payments files from QuickBooks for Statements filings

Mark Zeiss              3/5/2023     0.8   Review drafts of Statements Question 3 payments filing from revised
                                           QuickBooks payments data
Mark Zeiss              3/5/2023     1.2   Review payments from FTX Japan and related entities for
                                           Statements Filings
Mark Zeiss              3/5/2023     0.8   Draft revised Statements Question 3 payments filing from FTX
                                           Europe payments data
Mark Zeiss              3/5/2023     0.4   Discussion with M. Zeiss and R. Guerrier (A&M) re: SOFA 3 payment
                                           files
Mark Zeiss              3/5/2023     2.3   Draft revised Statements Question 3 payments filing from revised
                                           QuickBooks payments data
Mark Zeiss              3/5/2023     1.4   Review payments from FTX Europe entities for Statements Filings



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Schedules and Statements
Professional             Date     Hours     Activity
Ritchine Guerrier      3/5/2023     0.4   Discussion with M. Zeiss and R. Guerrier (A&M) re: SOFA 3 payment
                                          files
Ritchine Guerrier      3/5/2023     2.2   Review of FTX Europe AG vendors for SOFA 3 purposes


Rob Esposito           3/5/2023     1.3   Review an provide comments for the Statements & Schedules board
                                          deck
Rob Esposito           3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                          DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                          Statements and Schedules BoD deck review and next steps
Rob Esposito           3/5/2023     0.6   Conference with L Francis, T DiNatale and R Esposito (A&M) to
                                          discuss the Statements and Schedules review presentation
Rob Esposito           3/5/2023     1.7   Management and review of Statements and Schedules drafts and
                                          workstreams
Rob Esposito           3/5/2023     1.3   Prepare detailed updates to the Insider presentation

Robert Gordon          3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                          DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                          Statements and Schedules BoD deck review and next steps
Robert Gordon          3/5/2023     0.8   Review and edit Schedules presentation for BoD

Robert Gordon          3/5/2023     1.2   Review latest liability mapping file to Schedule D, E, & F


Steve Kotarba          3/5/2023     1.0   Discussions and review detail re presentation of customer account
                                          liabilities
Steve Kotarba          3/5/2023     0.8   Review updates to Global Notes and prepare for incorporation into
                                          drafts
Steve Kotarba          3/5/2023     2.1   Review drafts to prepare comments to finalize


Steve Kotarba          3/5/2023     1.8   Update issue decks and analysis summaries to prepare for onsite
                                          work to finalize SOFA and Schedule drafts
Steve Kotarba          3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                          DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                          Statements and Schedules BoD deck review and next steps
Trevor DiNatale        3/5/2023     2.3   Prepare updated liability summary detail highlighting liabilities by silo


Trevor DiNatale        3/5/2023     0.6   Conference with L Francis, T DiNatale and R Esposito (A&M) to
                                          discuss the Statements and Schedules review presentation
Trevor DiNatale        3/5/2023     1.7   Analyze updated accounts payable detail for inclusion in Schedule F


Trevor DiNatale        3/5/2023     0.9   Review S&S board presentation materials

Trevor DiNatale        3/5/2023     0.7   Meeting with J. Gonzalez, C. Sullivan, R. Gordon, D. Slay, T.
                                          DiNatale, S. Kotarba, J. Sequeira and R. Esposito (A&M) re:
                                          Statements and Schedules BoD deck review and next steps
Trevor DiNatale        3/5/2023     2.6   Prepare consolidated summary of balance sheet liability detail and
                                          amounts


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Schedules and Statements
Professional                Date     Hours     Activity
Bridger Tenney            3/6/2023     0.6   Review prepetition liabilities deliverable

Bridger Tenney            3/6/2023     0.5   Calculate prepetition liabilities outstanding and unpaid


Bridger Tenney            3/6/2023     0.5   Revise AP model to reflect paid off invoices

Bridger Tenney            3/6/2023     0.5   Respond to email communication re: prepetition liabilities

Bridger Tenney            3/6/2023     0.4   Call with K. Montague, B. Tenney (A&M) re: AP process go forward


Bridger Tenney            3/6/2023     0.7   Use internal payment file to find payment date for each invoice

Bridger Tenney            3/6/2023     0.8   Create template for AP process going forward


Bridger Tenney            3/6/2023     0.8   Calculate prepetition liabilities outstanding and unpaid

Bridger Tenney            3/6/2023     0.8   Prepare new file detailing responsible parties for AP


Bridger Tenney            3/6/2023     0.6   Determine which prepetition invoices have already been paid

Bridger Tenney            3/6/2023     1.5   Search payment files for every invoice in AP data

Bridger Tenney            3/6/2023     1.0   Review internal payment file for invoices in AP report


Chris Arnett              3/6/2023     0.4   Review progress on remaining prepetition vs. post petition AP split
                                             for schedules purposes
Christopher Sullivan      3/6/2023     1.9   Review updates to assets summary


Christopher Sullivan      3/6/2023     1.8   Review updates to claims summary

Christopher Sullivan      3/6/2023     0.6   Discussion w/ C. Sullivan, J. Gonzalez, & D. Slay (A&M) re: open
                                             items in the statements and schedules board presentation
Christopher Sullivan      3/6/2023     2.2   Create outline for balance sheet summary of assets and claims

Christopher Sullivan      3/6/2023     2.5   Create schedules to balance sheet comparison slides

Claire Myers              3/6/2023     1.4   Prepare drafts for semi dormant and dormant entities for review


Claire Myers              3/6/2023     1.4   Prepare internal tracker of SOFA and Schedule responses for draft
                                             review
Claire Myers              3/6/2023     1.7   Prepare drafts for active entities for statements and schedules review


Claire Myers              3/6/2023     1.7   Update statements and schedules answers where no details were
                                             available




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                                 FTX Trading Ltd., et al.,
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                           March 1, 2023 through March 31, 2023


Schedules and Statements
Professional              Date     Hours     Activity
Claire Myers            3/6/2023     0.5   Discussion with S. Kotarba, L. Francis, and C. Myers re: dormant and
                                           semi dormant categorization
Claire Myers            3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Claire Myers            3/6/2023     1.9   Update statements and schedules presentations for review


Claire Myers            3/6/2023     0.4   Meeting with S. Kotarba and C. Myers (A&M) re: S&S draft
                                           preparation and tracking
Claire Myers            3/6/2023     1.1   Analyze open ap amounts to update Schedule F


Claire Myers            3/6/2023     1.6   Analyze addresses for open ap creditors for schedule F

Claire Myers            3/6/2023     0.3   Update global notes with changes from litigation team, A&M and
                                           RLSK
Claudia Sigman          3/6/2023     1.9   Review insider loan payment detail to report on SOFA 4


Claudia Sigman          3/6/2023     1.3   Review Statements drafts for accuracy in preparation for filing

Claudia Sigman          3/6/2023     2.2   Review income statements for revenue to report in Statements
                                           questions
Claudia Sigman          3/6/2023     0.5   Meeting with C Sigman, S Kotarba, R Esposito and M Zeiss (A&M) to
                                           discuss transaction details for insiders
Claudia Sigman          3/6/2023     1.6   Prepare and circulate SOFA 4 review file for external review


Claudia Sigman          3/6/2023     1.6   Prepare updates to SOFA 1 and 2 based on new financials received

Claudia Sigman          3/6/2023     1.2   Prepare SOFA 9 donation summary deck for external review

Claudia Sigman          3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Claudia Sigman          3/6/2023     1.9   Compare list of insiders to transaction data to identify payments to
                                           report on SOFA 4
Claudia Sigman          3/6/2023     2.1   Prepare updates to SOFA questions in internal management system
                                           based on SOFA data request responses
Claudia Sigman          3/6/2023     0.3   Analyze employee liabilities to report in schedules in preparation for
                                           filing
Cole Broskay            3/6/2023     1.4   Call with T. DiNatale, S. Coverick, E. Mosley R. Esposito, C.
                                           Broskay(A&M), A. Kranzley, J. Petiford(S&C), M. Pierce, K.
                                           Brown(Landis), M. Cilia, R. Hoskins, J. Ray(FTX) to walkthrough
                                           latest SOFA/SOALs
David Slay              3/6/2023     0.6   Discussion w/ C. Sullivan, J. Gonzalez, & D. Slay (A&M) re: open
                                           items in the statements and schedules board presentation
David Slay              3/6/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: incorporating
                                           latest balance sheet figures into the S&S presentation


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                                 FTX Trading Ltd., et al.,
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Schedules and Statements
Professional              Date     Hours     Activity
Douglas Lewandowski     3/6/2023     0.7   Work on preliminary counts of schedule G records for no/none
                                           purposes and reporting
Douglas Lewandowski     3/6/2023     1.3   Update loans payable schedules with changes from J. Faett (A&M)


Douglas Lewandowski     3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Douglas Lewandowski     3/6/2023     0.5   Discussion with S. Kotarba, D. Lewandowski and R. Guerrier (A&M)
                                           re: contract address for schedule G
Douglas Lewandowski     3/6/2023     0.5   Discussion with R. Esposito, S. Kotarba, M. Zeiss, and D.
                                           Lewandowski (A&M) re: customer schedules
Ed Mosley               3/6/2023     1.4   Walkthrough of latest SOFA/SOALs with T. DiNatale, S. Coverick, E.
                                           Mosley R. Esposito, C. Broskay(A&M), A. Kranzley, J. Petiford(S&C),
                                           M. Pierce, K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)
Ed Mosley               3/6/2023     1.5   Prepare for and participate in working session re: statements and
                                           schedules with R. Esposito, S. Coverick, E. Mosley (A&M), M. Cilia
                                           (RLKS), A. Kranzley (S&C)
Jared Gany              3/6/2023     2.8   Combine transaction data for all debtor entities using QuickBooks

Jared Gany              3/6/2023     2.4   Review combined transaction database for duplicative entries and
                                           intercompany accounts
Jared Gany              3/6/2023     2.6   Review individual transactions in the combined transaction database
                                           to determine if they are cash payments
Jared Gany              3/6/2023     1.1   Review database and tagged all credit card transactions paid by the
                                           Company
Jared Gany              3/6/2023     0.3   Teleconference with A. Canale, Steve Kotarba, Rob Esposito, Jared
                                           Gany, Mark Zeiss, and A. Cox (A&M) regarding cash database
                                           details of professional fees paid
Johnny Gonzalez         3/6/2023     1.4   Update the assets section of the S&S presentation

Johnny Gonzalez         3/6/2023     1.8   Incorporate updated management commentary to the S&S
                                           presentation
Johnny Gonzalez         3/6/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: incorporating
                                           latest balance sheet figures into the S&S presentation
Johnny Gonzalez         3/6/2023     1.3   Update the claims section of the S&S presentation


Johnny Gonzalez         3/6/2023     0.6   Discussion w/ C. Sullivan, J. Gonzalez, & D. Slay (A&M) re: open
                                           items in the statements and schedules board presentation
Katie Montague          3/6/2023     0.4   Call with K. Montague, B. Tenney (A&M) re: AP process go forward


Luke Francis            3/6/2023     0.5   Discussion with S. Kotarba, L. Francis, and C. Myers re: dormant and
                                           semi dormant categorization
Luke Francis            3/6/2023     0.6   Working session with S. Kotarba, and L. Francis (A&M) re:
                                           Investment details and trial balance updates for schedules
Luke Francis            3/6/2023     1.2   Review of payment data for SOFA 13 responses for Alameda silo



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Schedules and Statements
Professional              Date     Hours     Activity
Luke Francis            3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Luke Francis            3/6/2023     0.6   Analyze updated trial balances for Alameda silo

Luke Francis            3/6/2023     1.1   Updates to asset schedules for ventures silo


Luke Francis            3/6/2023     1.5   Review of recipients for SOFA 13 and transfers outside the normal
                                           course
Mark Zeiss              3/6/2023     0.5   Discussion with R. Esposito, S. Kotarba, M. Zeiss, and D.
                                           Lewandowski (A&M) re: customer schedules
Mark Zeiss              3/6/2023     0.5   Meeting with C Sigman, S Kotarba, R Esposito and M Zeiss (A&M) to
                                           discuss transaction details for insiders
Mark Zeiss              3/6/2023     1.9   Revise Statements filings question 4 payments to Insiders

Mark Zeiss              3/6/2023     1.6   Prepare report of potential causes of action as represented in
                                           Statements question 3 filings
Mark Zeiss              3/6/2023     1.3   Revise Statements filings question 3 payments to Creditors in the 90
                                           days versus parties on Statements filings question 4
Mark Zeiss              3/6/2023     1.4   Prepare report of Statements filings question 3 sources and methods
                                           for internal review
Mark Zeiss              3/6/2023     1.7   Revise Customer Liabilities for Schedule F Non-Priority Unsecured
                                           claims filing
Mark Zeiss              3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Mark Zeiss              3/6/2023     0.3   Teleconference with A. Canale, Steve Kotarba, Rob Esposito, Jared
                                           Gany, Mark Zeiss, and A. Cox (A&M) regarding cash database
                                           details of professional fees paid
Ritchine Guerrier       3/6/2023     2.3   Schedule G contract address review A-C

Ritchine Guerrier       3/6/2023     0.5   Discussion with S. Kotarba, D. Lewandowski and R. Guerrier (A&M)
                                           re: contract address for schedule G
Ritchine Guerrier       3/6/2023     2.1   Schedule G contract address review D-E


Rob Esposito            3/6/2023     0.4   Work on draft global notes to incorporate comments from
                                           professionals
Rob Esposito            3/6/2023     0.5   Meeting with C Sigman, S Kotarba, R Esposito and M Zeiss (A&M) to
                                           discuss transaction details for insiders
Rob Esposito            3/6/2023     0.5   Prepare for insider discussion with S&C team

Rob Esposito            3/6/2023     1.5   Prepare for and participate in working session re: statements and
                                           schedules with R. Esposito, S. Coverick, E. Mosley (A&M), M. Cilia
                                           (RLKS), A. Kranzley (S&C)
Rob Esposito            3/6/2023     1.4   Walkthrough of latest SOFA/SOALs with T. DiNatale, R. Esposito, C.
                                           Broskay, S. Kotarba(A&M), A. Kranzley, J. Petiford(S&C), M. Pierce,
                                           K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)

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Schedules and Statements
Professional            Date     Hours     Activity
Rob Esposito          3/6/2023     2.2   Review and analysis of draft Statement of Financial Affairs

Rob Esposito          3/6/2023     0.5   Discussion with R. Esposito, S. Kotarba, M. Zeiss, and D.
                                         Lewandowski (A&M) re: customer schedules
Rob Esposito          3/6/2023     0.8   Review and analysis of draft unsecured claim liabilities

Rob Esposito          3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                         DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                         workstreams
Rob Esposito          3/6/2023     1.9   Walkthrough of latest SOFA/SOALs with T. DiNatale, S. Coverick, E.
                                         Mosley R. Esposito, C. Broskay(A&M), A. Kranzley, J. Petiford(S&C),
                                         M. Pierce, K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)
Rob Esposito          3/6/2023     0.7   Management of team tasks and workstreams for Statements and
                                         Schedules
Rob Esposito          3/6/2023     1.3   Review and prepare detailed Statements and Schedule examples per
                                         request from S&C
Rob Esposito          3/6/2023     0.4   Review and analysis of draft asset schedules


Rob Esposito          3/6/2023     0.3   Prepare summary of tasks based on Statements and schedules
                                         meetings
Rob Esposito          3/6/2023     0.3   Conference with J Croke (S&C) to discuss insider payments/transfers


Rob Esposito          3/6/2023     0.3   Discuss presentation priorities with S Kotarba and R Esposito (A&M)

Rob Esposito          3/6/2023     0.3   Teleconference with A. Canale, Steve Kotarba, Rob Esposito, Jared
                                         Gany, Mark Zeiss, and A. Cox (A&M) regarding cash database
                                         details of professional fees paid
Robert Gordon         3/6/2023     1.4   Call with T. DiNatale, S. Coverick, E. Mosley R. Esposito, C.
                                         Broskay(A&M), A. Kranzley, J. Petiford(S&C), M. Pierce, K.
                                         Brown(Landis), M. Cilia, R. Hoskins, J. Ray(FTX) to walkthrough
                                         latest SOFA/SOALs
Robert Gordon         3/6/2023     1.1   Review latest draft of the global notes for Statements and Schedules


Robert Gordon         3/6/2023     1.3   Review latest draft of BoD presentation and supporting schedules

Steve Coverick        3/6/2023     0.7   Review and provide comments on draft of global notes

Steve Coverick        3/6/2023     1.5   Prepare for and participate in working session re: statements and
                                         schedules with R. Esposito, S. Coverick, E. Mosley (A&M), M. Cilia
                                         (RLKS), A. Kranzley (S&C)
Steve Coverick        3/6/2023     1.4   Walkthrough of latest SOFA/SOALs with T. DiNatale, S. Coverick, E.
                                         Mosley R. Esposito, C. Broskay(A&M), A. Kranzley, J. Petiford(S&C),
                                         M. Pierce, K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)
Steve Kotarba         3/6/2023     0.4   Meeting with S. Kotarba and C. Myers (A&M) re: S&S draft
                                         preparation and tracking
Steve Kotarba         3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                         DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                         workstreams

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Schedules and Statements
Professional            Date     Hours     Activity
Steve Kotarba         3/6/2023     1.0   Discussions and analysis re filing logistics and providing data access
                                         to customers re scheduled claims
Steve Kotarba         3/6/2023     0.5   Discussion with S. Kotarba, L. Francis, and C. Myers re: dormant and
                                         semi dormant categorization
Steve Kotarba         3/6/2023     1.4   Walkthrough of latest SOFA/SOALs with T. DiNatale, R. Esposito, C.
                                         Broskay, S. Kotarba(A&M), A. Kranzley, J. Petiford(S&C), M. Pierce,
                                         K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)
Steve Kotarba         3/6/2023     1.3   Analysis of available data and internal discussions and strategy re
                                         reporting of customer liabilities
Steve Kotarba         3/6/2023     0.5   Meeting with C Sigman, S Kotarba, R Esposito and M Zeiss (A&M) to
                                         discuss transaction details for insiders
Steve Kotarba         3/6/2023     0.5   Discussion with S. Kotarba, D. Lewandowski and R. Guerrier (A&M)
                                         re: contract address for schedule G
Steve Kotarba         3/6/2023     0.6   Working session with S. Kotarba, and L. Francis (A&M) re:
                                         Investment details and trial balance updates for schedules
Steve Kotarba         3/6/2023     0.5   Discussion with R. Esposito, S. Kotarba, M. Zeiss, and D.
                                         Lewandowski (A&M) re: customer schedules
Steve Kotarba         3/6/2023     0.7   Review and comment on certain SOFA drafts prior to posting for
                                         internal review
Steve Kotarba         3/6/2023     1.2   Discuss updates to revenue reporting and update SOFA 1 and 2


Steve Kotarba         3/6/2023     0.3   Discuss presentation priorities with S Kotarba and R Esposito (A&M)

Trevor DiNatale       3/6/2023     0.6   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                         DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                         workstreams
Trevor DiNatale       3/6/2023     1.2   Prepare liability account reconciliation detail for RLKS review


Trevor DiNatale       3/6/2023     1.4   Walkthrough of latest SOFA/SOALs with T. DiNatale, R. Esposito, C.
                                         Broskay, S. Kotarba(A&M), A. Kranzley, J. Petiford(S&C), M. Pierce,
                                         K. Brown(Landis), M. Cilia, R. Hoskins(RLKS), J. Ray(FTX)
Trevor DiNatale       3/6/2023     1.9   Review Schedule A/B draft detail prior to sending to S&C

Trevor DiNatale       3/6/2023     1.3   Review updated S&S board presentation materials


Trevor DiNatale       3/6/2023     1.7   Update master asset account and schedule detail tracker for internal
                                         review
Trevor DiNatale       3/6/2023     1.4   Update liability detail tracker for RLKS review


Trevor DiNatale       3/6/2023     2.9   Prepare asset account reconciliation detail for RLKS review

Bridger Tenney        3/7/2023     0.7   Edit prepetition liabilities file to reflect changes in currency pricing


Bridger Tenney        3/7/2023     0.6   Detail step by step process for AP to be collected




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Schedules and Statements
Professional             Date     Hours     Activity
Bridger Tenney         3/7/2023     0.7   Working session with K. Montague, B. Tenney (A&M) re: review of
                                          master AP file for every entity
Bridger Tenney         3/7/2023     0.3   Compile company contacts involved in AP process


Bridger Tenney         3/7/2023     0.7   Build summary table for AP collection process going forward

Bridger Tenney         3/7/2023     0.8   Revise prepetition liabilities calculations for unpaid invoices

Bridger Tenney         3/7/2023     1.2   List source of invoice and AP amount in master prepetition liabilities
                                          file
Bridger Tenney         3/7/2023     0.8   List prepetition amounts paid on master prepetition liabilities file

Christopher Sullivan   3/7/2023     1.4   Review updates to schedules and statements deck


Christopher Sullivan   3/7/2023     0.7   Review global notes draft for statements presentation

Christopher Sullivan   3/7/2023     1.1   Draft outline for support slides to be included in the schedules and
                                          statements presentation
Christopher Sullivan   3/7/2023     2.5   Create global notes summary for schedules and statements
                                          presentation
Christopher Sullivan   3/7/2023     1.3   Create slide for schedules and statements presentation that
                                          summarizes balance sheet values not included in the schedules
Christopher Sullivan   3/7/2023     1.4   Create balance sheet to schedules/statements comparison


Claire Myers           3/7/2023     1.3   Analyze sources for schedule F data for draft review

Claire Myers           3/7/2023     1.5   Analyze the sources of SOFA responses for data presentation for
                                          RSLK
Claire Myers           3/7/2023     1.8   Update asset responses internal tracker for draft review

Claire Myers           3/7/2023     1.9   Analyze closed bank accounts for SOFA 18


Claire Myers           3/7/2023     0.7   Review of dormant entity data for Statement of Financial Affairs with
                                          S Kotarba, R Esposito and C Myers (A&M)
Claire Myers           3/7/2023     0.4   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                          external sharing of statements and schedules drafts and resources
Claire Myers           3/7/2023     0.3   Discussion with S. Kotarba and C. Myers re: schedule questions
                                          status for dormant and semi dormant entities
Claire Myers           3/7/2023     0.8   Working session with S. Kotarba and C. Myers (A&M) re: sources for
                                          dormant and semi dormant entities for statements
Claire Myers           3/7/2023     2.2   Working session with C. Myers, S. Kotarba (A&M) to update
                                          summary files re SOFA and Schedule responses
Claire Myers           3/7/2023     0.9   Prepare dormant and semi dormant drafts for statements and
                                          schedules for review




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Schedules and Statements
Professional              Date     Hours     Activity
Claire Myers            3/7/2023     0.5   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                           statement questions status for dormant and semi dormant entities
Claire Myers            3/7/2023     1.1   Update open AP for schedule F with new vendors


Claire Myers            3/7/2023     0.6   Update master mailing list with creditors that will appear on schedule
                                           G
Claire Myers            3/7/2023     0.9   Update liabilities responses internal tracker for draft review

Claudia Sigman          3/7/2023     1.3   Review SOFA data responses to ensure all relevant information is
                                           reflected in schedules and statements drafts
Claudia Sigman          3/7/2023     2.3   Review insider payments to determine transaction types to report on
                                           SOFA 4
Claudia Sigman          3/7/2023     1.4   Prepare updates to SOFA 4 review file based on updates to
                                           undocumented loans
Claudia Sigman          3/7/2023     0.4   Prepare workbook of SOFA 7 audits to circulate to tax professionals

Claudia Sigman          3/7/2023     2.1   Review insider loan detail to report on Statements questions 4 and 13


Claudia Sigman          3/7/2023     1.7   Analyze statements source detail for accuracy in preparation for
                                           schedules and statements reporting
Claudia Sigman          3/7/2023     1.9   Review potential affiliates and connected entities for payments to
                                           report on SOFA 4 or 13
Claudia Sigman          3/7/2023     1.2   Review dormant entities sofa responses in preparation for filing
                                           schedules and statements
Claudia Sigman          3/7/2023     1.2   Review promissory notes to determine value of insider payments

Claudia Sigman          3/7/2023     0.9   Review payroll bank statements to report cash transactions in
                                           schedules and statements
David Slay              3/7/2023     1.7   Review S&S deck for distribution and develop key notes

Douglas Lewandowski     3/7/2023     1.8   Prepare schedule G for dormant/semi-dormant entities for
                                           management discussion and review
Ed Mosley               3/7/2023     3.2   Review of draft schedules and statements

Heather Ardizzoni       3/7/2023     2.3   Review statements & schedules overview presentation

Jared Gany              3/7/2023     2.6   Review European debtor entities cash entries to determine potential
                                           payments to insiders
Jared Gany              3/7/2023     1.4   Compare cash outflows in the transaction database against the
                                           insiders list for matches in the description and memo fields - for
                                           SOFA 4 purposes
Jared Gany              3/7/2023     2.9   Review international (non-EU) debtor's cash entries and AP logs for
                                           potential payments to insiders
Jared Gany              3/7/2023     2.9   Compare cash outflows in the transaction database against company
                                           insiders for matches in the name field for SOFA 4 purposes


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Schedules and Statements
Professional              Date     Hours     Activity
Jared Gany              3/7/2023     2.4   Compile summary database for all cash payments made to insiders
                                           from identified debtor entities
Jared Gany              3/7/2023     0.3   Discuss insider payments with S Kotarba, M Zeiss, R Esposito and J
                                           Gany (A&M)
Jeffery Stegenga        3/7/2023     0.5   Review of / comments on the working draft of S&S global notes

Johnny Gonzalez         3/7/2023     1.6   Incorporate latest management comments to the S&S board materials

Johnny Gonzalez         3/7/2023     1.8   Draft the global assumptions for the S&S presentation


Katie Montague          3/7/2023     0.7   Working session with K. Montague, B. Tenney (A&M) re: review of
                                           master AP file for every entity
Katie Montague          3/7/2023     1.0   Review and provide feedback on unpaid portion of prepetition
                                           liabilities analysis
Kevin Kearney           3/7/2023     0.9   Working session with K. Kearney, R. Gordon(A&M) re: Alameda
                                           Global notes
Luke Francis            3/7/2023     1.2   Discussion with L. Francis (A&M) re: reporting of loans to and notes
                                           from certain related parties
Luke Francis            3/7/2023     0.4   Working session with R. Esposito and L. Francis (A&M) re: SOFA
                                           26a for debtors book keepers
Luke Francis            3/7/2023     0.6   Review of current addresses for SOFA 25

Luke Francis            3/7/2023     0.7   Review of market maker loans payable


Luke Francis            3/7/2023     1.6   Updates to Sch 15 for equity investments and subsidiary relationships

Luke Francis            3/7/2023     1.8   Analysis and reconciliation of investments from venture book to trial
                                           balances Alameda silo
Luke Francis            3/7/2023     1.8   Analysis and reconciliation of investments from venture book to trial
                                           balances Ventures silo
Mark Zeiss              3/7/2023     0.3   Discuss insider payments with S Kotarba, M Zeiss, R Esposito and J
                                           Gany (A&M)
Mark Zeiss              3/7/2023     1.1   Revise SOFA 9 filings for gifts and charitable contributions in the past
                                           two years per internal comments
Mark Zeiss              3/7/2023     1.2   Revise SOFA 4 filings for payments in the past year for insiders for
                                           cash payments
Mark Zeiss              3/7/2023     1.3   Revise SOFA 4 filings for payments in the past year for insiders for
                                           payments from FTX Europe
Mark Zeiss              3/7/2023     1.7   Review cash payments for directors fees for SOFA 4 filings for
                                           payments in the past year to Insiders
Mark Zeiss              3/7/2023     2.6   Revise SOFA 4 filings for payments in the past year for insiders for
                                           Amex charges
Mark Zeiss              3/7/2023     2.5   Revise SOFA 3 filings for payments in the 90 days for creditors per
                                           internal comments




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Professional              Date     Hours     Activity
Mark Zeiss              3/7/2023     1.1   Revise SOFA 4 filings for payments in the past year for insiders for
                                           payments from FTX Japan
Nicole Simoneaux        3/7/2023     2.1   Review cash files for unpaid prepetition liabilities


Patrick McGrath         3/7/2023     1.2   Identify all collateral transactions for statements and schedules

Ritchine Guerrier       3/7/2023     3.1   Schedule G contract exclusion review duplicated agreements

Ritchine Guerrier       3/7/2023     1.8   Schedule G contract exclusion review I-M


Ritchine Guerrier       3/7/2023     3.2   Schedule G contract exclusion review F-H

Ritchine Guerrier       3/7/2023     3.2   Schedule G contract exclusion review per contract type


Rob Esposito            3/7/2023     0.3   Discuss insider payments with S Kotarba, M Zeiss, R Esposito and J
                                           Gany (A&M)
Rob Esposito            3/7/2023     0.4   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                           external sharing of statements and schedules drafts and resources
Rob Esposito            3/7/2023     0.8   Meeting with A Kranzley (S&C) to discuss legal entities

Rob Esposito            3/7/2023     0.8   Management of Statements and Schedules tasks and workstreams

Rob Esposito            3/7/2023     0.5   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                           statement questions status for dormant and semi dormant entities
Rob Esposito            3/7/2023     0.3   Discussion with R Hoskins and M Cilia (RLKS) re: SOFA data

Rob Esposito            3/7/2023     1.9   Review and work on Statements of Financial Affairs data and
                                           collections
Rob Esposito            3/7/2023     0.4   Working session with R. Esposito and L. Francis (A&M) re: SOFA
                                           26a for debtors book keepers
Rob Esposito            3/7/2023     0.4   Review of the draft SOFA 13 transfers


Rob Esposito            3/7/2023     0.7   Review of dormant entity data for Statement of Financial Affairs with
                                           S Kotarba, R Esposito and C Myers (A&M)
Rob Esposito            3/7/2023     2.1   Review and analysis of draft Schedules for dormant and semi
                                           dormant entities
Rob Esposito            3/7/2023     0.4   Prepare tax data for discussion with T Shea (EY)


Rob Esposito            3/7/2023     0.5   Prepare Statements and Schedules example data for S&C request

Rob Esposito            3/7/2023     1.9   Prepare and review support files for dormant entity Statements and
                                           Schedules drafts
Rob Esposito            3/7/2023     2.2   Review and analysis of draft SOFAs for dormant and semi dormant
                                           entities




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Professional            Date     Hours     Activity
Robert Gordon         3/7/2023     1.1   Review updated Schedule A/B summary for potential comments

Robert Gordon         3/7/2023     0.5   Review and provide comments on capital calls for SOFAs


Robert Gordon         3/7/2023     0.9   Working session with K. Kearney, R. Gordon(A&M) re: Alameda
                                         Global notes
Robert Gordon         3/7/2023     0.9   Review SOFA Summary documentation

Robert Gordon         3/7/2023     0.4   Review comments on Global Notes from J. Ray (RLKS)


Robert Gordon         3/7/2023     1.9   Review Alameda Research draft Schedule against supporting
                                         schedules
Steve Kotarba         3/7/2023     0.3   Discussion with S. Kotarba and C. Myers re: schedule questions
                                         status for dormant and semi dormant entities
Steve Kotarba         3/7/2023     0.5   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                         statement questions status for dormant and semi dormant entities
Steve Kotarba         3/7/2023     0.4   Meeting with R. Esposito, S. Kotarba and C. Myers (A&M) re:
                                         external sharing of statements and schedules drafts and resources
Steve Kotarba         3/7/2023     0.3   Discuss insider payments with S Kotarba, M Zeiss, R Esposito and J
                                         Gany (A&M)
Steve Kotarba         3/7/2023     0.7   Review of dormant entity data for Statement of Financial Affairs with
                                         S Kotarba, R Esposito and C Myers (A&M)
Steve Kotarba         3/7/2023     0.8   Working session with S. Kotarba and C. Myers (A&M) re: sources for
                                         dormant and semi dormant entities for statements
Steve Kotarba         3/7/2023     2.2   Working session with C. Myers, S. Kotarba (A&M) to update
                                         summary files re SOFA and Schedule responses
Steve Kotarba         3/7/2023     1.2   Review detail, discussion with L. Francis, FTX accounting re
                                         reporting of loans to and notes from certain related parties
Steve Kotarba         3/7/2023     1.6   Review and discuss payments to related party individuals re SOFA 4
                                         reporting
Steve Kotarba         3/7/2023     1.8   Finalize drafts low activity entities


Trevor DiNatale       3/7/2023     0.7   Prepare updates to liability summary tracker

Trevor DiNatale       3/7/2023     1.1   Review updated SOFA and Schedule drafts for dormant entities

Trevor DiNatale       3/7/2023     1.2   Prepare summary of outstanding AP detail for RLKS review


Trevor DiNatale       3/7/2023     2.2   Update master asset account and schedule detail tracker for internal
                                         review
Trevor DiNatale       3/7/2023     1.6   Review updated Cottonwood Grove financials for inclusion in
                                         schedules
Trevor DiNatale       3/7/2023     2.1   Review updated Alameda asset account reconciliation for updates to
                                         Schedule AB drafts




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Trevor DiNatale        3/7/2023     1.7   Prepare SOFA detail reconciliation for RLKS review

Trevor DiNatale        3/7/2023     1.9   Update liability analysis detail for S&C and RLKS review


Trevor DiNatale        3/7/2023     0.9   Review updated outstanding AP detail for inclusion in Schedule F

Bridger Tenney         3/8/2023     0.4   Discuss invoice compiling process internally

Bridger Tenney         3/8/2023     0.7   Update AP process next steps and agenda items


Bridger Tenney         3/8/2023     0.6   Prepare summary table of outstanding AP by silo

Bridger Tenney         3/8/2023     0.4   Summarize AP contact list for each entity


Bridger Tenney         3/8/2023     0.7   Prepare table of responsible parties pertaining to entity AP

Christopher Sullivan   3/8/2023     1.1   Compare schedules support file to silo trial balances


Christopher Sullivan   3/8/2023     0.6   Provide comments to the updated Global Notes summary slide

Claire Myers           3/8/2023     1.8   Analyze creditors and notice information for schedule G

Claire Myers           3/8/2023     1.1   Prepare drafts of active entities for statements and schedules review


Claire Myers           3/8/2023     1.1   Determine whether creditors in statements and schedules were
                                          individuals or entities for redaction
Claire Myers           3/8/2023     1.4   Analyze questions re: statements and schedules of draft entities from
                                          RSLK and litigation team for draft review
Claire Myers           3/8/2023     0.6   Discussion with Kroll, S. Kotarba, D. Lewandowski, and C. Myers
                                          (A&M) re: schedule logistics, customer claims portal, and S&S status
Claire Myers           3/8/2023     1.6   Determine whether a creditor will be redacted based on public
                                          disclosure and customer status
Claire Myers           3/8/2023     1.9   Determine customers of known creditors in statements and
                                          schedules for redaction
Claire Myers           3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                          DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                          workstreams
Claire Myers           3/8/2023     2.3   Analyze addresses for creditors in statements and schedules


Claire Myers           3/8/2023     0.3   Meeting with R. Esposito, T. DiNatale, L. Francis, C. Myers and C.
                                          Sigman (A&M) re: redactions for S&S filing
Claire Myers           3/8/2023     2.7   Analyze results from a comparison between parties in PII and in
                                          statements and schedules for redaction purposes
Claire Myers           3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                          streams


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Claire Myers            3/8/2023     0.6   Working session with S. Kotarba and C. Myers re: redaction of
                                           creditors on sofas and schedules
Claudia Sigman          3/8/2023     2.7   Prepare updates to SOFA 4 master transaction file based on new
                                           payment information
Claudia Sigman          3/8/2023     0.9   Prepare updates to income statement tracker for external review

Claudia Sigman          3/8/2023     1.3   Review transfers to include on SOFA 13 for accuracy in preparation
                                           for filing schedules and statements
Claudia Sigman          3/8/2023     0.3   Meeting with R. Esposito, T. DiNatale, L. Francis, C. Myers and C.
                                           Sigman (A&M) re: redactions for S&S filing
Claudia Sigman          3/8/2023     1.4   Review QBO transaction detail for cash payments connected to
                                           insiders
Claudia Sigman          3/8/2023     1.6   Analyze potential affiliates and connected entities for payments to
                                           report on SOFA 4 or 13
Claudia Sigman          3/8/2023     1.8   Review conveyed property loans for inclusion on SOFA 4 insider
                                           payments
Claudia Sigman          3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Claudia Sigman          3/8/2023     0.5   Meeting with S. Kojima (FTX), T. DiNatale, L. Francis and C. Sigman
                                           (A&M) regarding statements data requests
Claudia Sigman          3/8/2023     1.9   Analyze revenue reported on SOFA 1 and 2 for accuracy in
                                           preparation for filing statements and schedules
Claudia Sigman          3/8/2023     2.3   Review tax data provided by EY to incorporate into Schedule E and
                                           SOFA 7
Claudia Sigman          3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                           streams
David Slay              3/8/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                           S&S presentation
Douglas Lewandowski     3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Douglas Lewandowski     3/8/2023     0.9   Review Schedule H and update per discussion with A&M team

Douglas Lewandowski     3/8/2023     0.8   Review S&S logistical filing memo in preparation for discussion with
                                           Kroll
Douglas Lewandowski     3/8/2023     1.1   Review additional contracts to exclude from Schedule G population

Douglas Lewandowski     3/8/2023     0.6   Discussion with Kroll, S. Kotarba, D. Lewandowski, and C. Myers
                                           (A&M) re: schedule logistics, customer claims portal, and S&S status
Douglas Lewandowski     3/8/2023     0.8   Prepare Schedule G review correspondence to FTX management
                                           reviewers and R. Esposito (A&M) review
Douglas Lewandowski     3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                           streams
Ed Mosley               3/8/2023     1.1   Review and provide comments to updated global notes to SOFA /
                                           SOALs

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Heather Ardizzoni        3/8/2023     1.9   Draft comments and questions over statements & schedules
                                            overview presentation
Jared Gany               3/8/2023     2.3   Compile cash payments made to insiders and related party entities
                                            for SOFA 4 load file
Jared Gany               3/8/2023     2.8   Review SOFA 4 load file for duplicative cash payments

Jared Gany               3/8/2023     3.1   Search database for cash payments made to related party entities

Jared Gany               3/8/2023     2.1   Perform search through international and QuickBooks cash
                                            transactions for additional high priority related entities
Jared Gany               3/8/2023     1.9   Create summary of all credit card payments that related to insider
                                            expenses paid for by the Company
Johnny Gonzalez          3/8/2023     2.3   Update the global notes for assets in the S&S presentation


Johnny Gonzalez          3/8/2023     2.6   Update the global notes for claims in the S&S presentation

Johnny Gonzalez          3/8/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates to the
                                            S&S presentation
Kevin Kearney            3/8/2023     1.5   Review of reconciliation of Alameda venture investments to
                                            Statements and Schedules
Louis Konig              3/8/2023     1.6   Database scripting related to creation of customer liabilities schedules

Luke Francis             3/8/2023     0.9   Review of liability schedules for Alameda silo


Luke Francis             3/8/2023     0.3   Meeting with R. Esposito, T. DiNatale, L. Francis, C. Myers and C.
                                            Sigman (A&M) re: redactions for S&S filing
Luke Francis             3/8/2023     1.3   Reconciliation of investments and S&S details


Luke Francis             3/8/2023     0.5   Meeting with S. Kojima (FTX), T. DiNatale, L. Francis and C. Sigman
                                            (A&M) regarding statements data requests
Luke Francis             3/8/2023     0.8   Working session with T. DiNatale, L. Francis (A&M) re: asset
                                            schedules Alameda
Luke Francis             3/8/2023     1.4   Reconciliation for SOFA 13 payments and recipients

Luke Francis             3/8/2023     0.8   Review of client provided SOFA responses and updates to Summary
                                            tracker
Luke Francis             3/8/2023     1.1   Updates to Schedule F and unsecured liabilities


Luke Francis             3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                            DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                            workstreams
Luke Francis             3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                            streams
Mark Zeiss               3/8/2023     0.8   Revise Customer Liabilities for Schedule F Non-Priority Unsecured
                                            claims filing


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Mark Zeiss              3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Mark Zeiss              3/8/2023     1.1   Prepare SOFA 3 filings for certain FTX Japan entities now
                                           considered for Statements and Schedules filings
Mark Zeiss              3/8/2023     1.3   Prepare SOFA 4 filings for certain FTX Japan entities now
                                           considered for Statements and Schedules filings
Mark Zeiss              3/8/2023     1.2   Prepare report of certain investments as represented in Statements
                                           and Schedules filings per internal request
Mark Zeiss              3/8/2023     1.2   Prepare SOFA 3 filings for certain FTX Europe entities now
                                           considered for Statements and Schedules filings
Mark Zeiss              3/8/2023     2.1   Review SOFA 4 filing for payments to individual insiders from
                                           QuickBooks and other sources vs bank statement data
Mark Zeiss              3/8/2023     1.8   Review SOFA 4 filing for payments to non-individual insiders from
                                           QuickBooks and other sources vs bank statement data
Mark Zeiss              3/8/2023     1.4   Prepare SOFA 4 filings for certain FTX Europe entities now
                                           considered for Statements and Schedules filings
Mark Zeiss              3/8/2023     1.3   Review SOFA 3 filings for payments in the 90 days versus certain
                                           known investments per internal request
Mark Zeiss              3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                           streams
Nicole Simoneaux        3/8/2023     1.2   Address payroll inquiries for SOFAs

Ritchine Guerrier       3/8/2023     2.8   Potential executory address review for creditors A-E


Ritchine Guerrier       3/8/2023     2.1   Schedule G contract duplicated agreements review

Rob Esposito            3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                           workstreams
Rob Esposito            3/8/2023     0.5   Call with A. Searles and Alix team, S. Kotarba, R. Esposito, S.
                                           Coverick (A&M) re: statements and schedules coordination
Rob Esposito            3/8/2023     0.8   Prepare detailed updates to the global notes

Rob Esposito            3/8/2023     1.4   Prepare detail responses to Statements and Schedules questions
                                           provided by M Cilia (RLKS)
Rob Esposito            3/8/2023     0.8   Review and prepare detailed responses to the Schedule questions
                                           provided by R. Hoskins (RLKS)
Rob Esposito            3/8/2023     1.1   Review and prepare auditor and bookkeeper information from C
                                           Papadopoulos (FTX) for Statement question 26
Rob Esposito            3/8/2023     1.4   Management of team tasks and workstreams for Statements and
                                           Schedules
Rob Esposito            3/8/2023     2.6   Review and analysis of the draft Statements of Financial Affairs

Rob Esposito            3/8/2023     0.9   Management and review of insider transactions for Statement
                                           Question 4

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Rob Esposito          3/8/2023     0.9   Review and analysis of tax data provided by T Shea (EY)

Rob Esposito          3/8/2023     0.9   Review detailed support for questions provided by the S&C team


Rob Esposito          3/8/2023     0.3   Meeting with R. Esposito, T. DiNatale, L. Francis, C. Myers and C.
                                         Sigman (A&M) re: redactions for S&S filing
Rob Esposito          3/8/2023     2.8   Review and analysis of the draft Schedules of Assets and Liabilities

Rob Esposito          3/8/2023     1.2   Review and prepare updates for distribution of the Schedule G draft
                                         and review presentation
Rob Esposito          3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                         streams
Robert Gordon         3/8/2023     0.3   Read through and determine assignments for DOTCOM schedules
                                         questions from RLKS
Robert Gordon         3/8/2023     1.3   Review and provide feedback on updated DEF liability summary

Steve Coverick        3/8/2023     0.8   Review and provide comments on updated draft of global notes


Steve Coverick        3/8/2023     0.5   Call with A. Searles and Alix team, S. Kotarba, R. Esposito (A&M) re:
                                         statements and schedules coordination
Steve Kotarba         3/8/2023     0.6   Discussion with Kroll, S. Kotarba, D. Lewandowski, and C. Myers
                                         (A&M) re: schedule logistics, customer claims portal, and S&S status
Steve Kotarba         3/8/2023     0.5   Call with A. Searles and Alix team, S. Kotarba, R. Esposito, S.
                                         Coverick (A&M) re: statements and schedules coordination
Steve Kotarba         3/8/2023     2.1   Update reporting decks re insiders, donations, crypto currency

Steve Kotarba         3/8/2023     1.3   Review and approve revisions to schedules


Steve Kotarba         3/8/2023     1.8   Update related parties research and reporting

Steve Kotarba         3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                         DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                         workstreams
Steve Kotarba         3/8/2023     1.4   Update to related parties analysis following discussion with counsel


Steve Kotarba         3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                         streams
Steve Kotarba         3/8/2023     0.6   Working session with S. Kotarba and C. Myers re: redaction of
                                         creditors on sofas and schedules
Steve Kotarba         3/8/2023     0.6   Update global notes re assets, crypto and reporting periods

Trevor DiNatale       3/8/2023     1.1   Analyze updated crypto holding detail to identify updated asset values

Trevor DiNatale       3/8/2023     0.9   Update master asset account and schedule detail tracker for internal
                                         review


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Trevor DiNatale           3/8/2023     0.3   Meeting with R. Esposito, T. DiNatale, L. Francis, C. Myers and C.
                                             Sigman (A&M) re: redactions for S&S filing
Trevor DiNatale           3/8/2023     1.2   Update European entity asset schedule disclosures


Trevor DiNatale           3/8/2023     1.3   Review additional liabilities for inclusion in Schedule F

Trevor DiNatale           3/8/2023     0.3   Update NOL detail for Schedule AB per EY feedback

Trevor DiNatale           3/8/2023     1.4   Update accounts payable detail for Schedule F


Trevor DiNatale           3/8/2023     1.4   Review RLKS questions re: liability schedules

Trevor DiNatale           3/8/2023     0.5   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                             DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S priority
                                             workstreams
Trevor DiNatale           3/8/2023     2.3   Prepare updated liability schedule summary report for RLKS and
                                             S&C review
Trevor DiNatale           3/8/2023     0.5   Meeting with S. Kojima (FTX), T. DiNatale, L. Francis and C. Sigman
                                             (A&M) regarding statements data requests
Trevor DiNatale           3/8/2023     1.8   Review RLKS inquires related to scheduled asset drafts


Trevor DiNatale           3/8/2023     0.8   Working session with T. DiNatale, L. Francis (A&M) re: asset
                                             schedules Alameda
Trevor DiNatale           3/8/2023     0.6   Review LedgerPrime Fund asset accounts


Trevor DiNatale           3/8/2023     0.7   Discussion with A&M team re: statements and schedule priority work
                                             streams
Bridger Tenney            3/9/2023     0.6   Summarize current invoice and AP process

Bridger Tenney            3/9/2023     0.5   Reconcile between QBO balance sheet and internal AP file


Bridger Tenney            3/9/2023     0.7   Continue to populate list of contacts involved in AP and accounting

Bridger Tenney            3/9/2023     0.8   Develop steps for processing AP going forward


Bridger Tenney            3/9/2023     0.7   Review prepetition liabilities totals for statements and schedules

Chris Arnett              3/9/2023     0.6   Review and comment on responses to SOFA inquiries at request of
                                             K. Schultea (Company)
Christopher Sullivan      3/9/2023     0.9   Provide comments to first draft of Alameda appendix slides for S&S
                                             UCC deck
Christopher Sullivan      3/9/2023     1.3   Provide comments to first draft of Dotcom appendix slides for S&S
                                             UCC deck
Christopher Sullivan      3/9/2023     0.9   Review detailed account Global Notes summary




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Schedules and Statements
Professional             Date     Hours     Activity
Christopher Sullivan   3/9/2023     1.1   Provide comments to first draft of Venture appendix slides for S&S
                                          UCC deck
Christopher Sullivan   3/9/2023     1.2   Provide comments to first draft of WRS appendix slides for S&S UCC
                                          deck
Christopher Sullivan   3/9/2023     1.4   Review TB to schedule AB mapping for inclusion in schedules and
                                          statements deck
Christopher Sullivan   3/9/2023     1.4   Create updated outline for support slides in the S&S UCC deck

Christopher Sullivan   3/9/2023     0.8   Review updated Global Notes slide


Claire Myers           3/9/2023     0.3   Meeting with Kroll, S. Kotarba, D. Lewandowski, and C. Myers re:
                                          schedule logistics regarding customers
Claire Myers           3/9/2023     1.9   Find missing addresses for creditors in statements and schedules


Claire Myers           3/9/2023     1.4   Analyze results from a comparison between parties in PII and in
                                          statements and schedules for redaction purposes
Claire Myers           3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                          workstreams
Claire Myers           3/9/2023     0.3   Working session with S. Kotarba, L. Francis, and C. Myers (A&M) re:
                                          dormant entities
Claire Myers           3/9/2023     1.3   Update internal tracker with sofa and schedules responses for draft
                                          review
Claire Myers           3/9/2023     0.9   Analyze addresses of creditors in statements and schedules for full
                                          addresses for redactions
Claire Myers           3/9/2023     2.3   Analyze creditors in statements and schedules to determine which
                                          parties need to be redacted
Claire Myers           3/9/2023     0.7   Analyze results from a comparison between names in the combine
                                          customer matrix and in SOFA and schedules for redaction
Claire Myers           3/9/2023     1.3   Analyze affidavits of services for redaction

Claire Myers           3/9/2023     0.3   Discussion with S. Kotarba, T. DiNatale and C. Myers re: addresses
                                          for statements and schedules
Claire Myers           3/9/2023     0.2   Update statements and schedules with a reference to global notes for
                                          statements and schedules
Claudia Sigman         3/9/2023     2.1   Analyze 2022 income statements for revenue to report on SOFA 1
                                          and 2
Claudia Sigman         3/9/2023     2.2   Review promissory notes to determine value of insider payments


Claudia Sigman         3/9/2023     1.8   Review connected entity and potential affiliate payments for inclusion
                                          in SOFAs
Claudia Sigman         3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                          workstreams
Claudia Sigman         3/9/2023     0.7   Prepare updates to donations summary deck for external review




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Schedules and Statements
Professional              Date     Hours     Activity
Claudia Sigman          3/9/2023     1.9   Prepare updates to SOFA 4 based on review of transaction data

Claudia Sigman          3/9/2023     1.6   Review international cash payment detail for insiders to include in
                                           SOFA 4
Claudia Sigman          3/9/2023     1.3   Review affiliate invoice detail for inclusion in Statements process

Claudia Sigman          3/9/2023     1.8   Working session with S. Kotarba, J. Gany and C. Sigman (A&M) re:
                                           analysis of insider payments
Claudia Sigman          3/9/2023     0.9   Review SOFA data responses to ensure all relevant information is
                                           reflected in schedules and statements drafts
Cole Broskay            3/9/2023     0.2   Discussion with C. Broskay and R. Esposito (A&M) regarding AP
                                           data vintage for statements and schedules
Cole Broskay            3/9/2023     0.9   Working session with M. Jones and C. Broskay (A&M) to determine
                                           reconciling differences between general ledger detail and accounts
                                           payable schedules
Cole Broskay            3/9/2023     0.9   Working session to determine reconciling differences between
                                           general ledger detail and accounts payable schedules with H.
                                           Ardizzoni and C. Broskay (A&M)
David Slay              3/9/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: Scheduled
                                           Asset and Claims deck
David Slay              3/9/2023     0.8   Meeting w/ J. Gonzalez & D. Slay (A&M) re: Asset and claims deck
                                           layout
Douglas Lewandowski     3/9/2023     1.2   Working session with D. Lewandowski and R. Guerrier (A&M) re:
                                           schedule G
Douglas Lewandowski     3/9/2023     0.6   Update schedule D to include letters of credit

Douglas Lewandowski     3/9/2023     1.3   Update contracts that were not matched to known debtor entities for
                                           Schedule G
Douglas Lewandowski     3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                           workstreams
Douglas Lewandowski     3/9/2023     2.1   Work on contract population for Schedule G creation


Douglas Lewandowski     3/9/2023     0.3   Meeting with Kroll, S. Kotarba, D. Lewandowski, and C. Myers re:
                                           schedule logistics regarding customers
Douglas Lewandowski     3/9/2023     0.8   Work on schedule G noticing addresses


Douglas Lewandowski     3/9/2023     0.5   Discussion with K. Ramanathan, L. Konig, M. Zeiss, S. Kotarba, and
                                           D. Lewandowski (A&M) re: customer schedules
Gioele Balmelli         3/9/2023     0.1   Discussion between H. Ardizzoni, R. Gordon, G. Balmelli, and M.
                                           Zeiss (A&M) over charitable donations
Heather Ardizzoni       3/9/2023     0.1   Discussion between H. Ardizzoni, R. Gordon, G. Balmelli, and M.
                                           Zeiss (A&M) over charitable donations
Heather Ardizzoni       3/9/2023     0.9   Working session to determine reconciling differences between
                                           general ledger detail and accounts payable schedules with H.
                                           Ardizzoni and C. Broskay (A&M)



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Schedules and Statements
Professional              Date     Hours     Activity
Heather Ardizzoni       3/9/2023     1.3   Revise and edit statements & schedules overview presentation

Jared Gany              3/9/2023     1.6   Review SOFA 3 file to identify Vendor names for cash outflows with
                                           missing detail
Jared Gany              3/9/2023     2.3   Search multiple databases for additional related entities Provide by
                                           third party
Jared Gany              3/9/2023     0.8   Research promissory notes from insiders and matched them against
                                           related investments for SOFA 4 purposes
Jared Gany              3/9/2023     1.8   Working session with S. Kotarba, J. Gany and C. Sigman (A&M) re:
                                           analysis of insider payments
Jared Gany              3/9/2023     0.5   Meeting with R. Esposito, S. Kotarba, M. Zeiss, L. Francis and J.
                                           Gany (A&M) re: SOFA 4 insider payments
Jared Gany              3/9/2023     1.8   Clean data for new cash outflows discovered and added to SOFA 4
                                           load file
Jared Gany              3/9/2023     2.8   Tag all transactions in the SOFA 4 load file with reasons for and
                                           descriptions of the payments
Johnny Gonzalez         3/9/2023     2.1   Working session w/ J. Gonzalez & D. Slay (A&M) re: Scheduled
                                           Asset and Claims deck
Johnny Gonzalez         3/9/2023     1.6   Update the commentary to the WRS Silo in the statements and
                                           schedules presentation
Johnny Gonzalez         3/9/2023     0.8   Meeting w/ J. Gonzalez & D. Slay (A&M) re: Asset and claims deck
                                           layout
Johnny Gonzalez         3/9/2023     1.1   Update the commentary to the Dotcom Silo in the statements and
                                           schedules presentation
Johnny Gonzalez         3/9/2023     1.8   Draft commentary to the Ventures Silo in the statements and
                                           schedules presentation
Johnny Gonzalez         3/9/2023     1.9   Update the assumptions in the S&S presentation for reporting
                                           requirements
Johnny Gonzalez         3/9/2023     1.5   Draft commentary to the WRS and Dotcom Silos in the statements
                                           and schedules presentation
Johnny Gonzalez         3/9/2023     1.6   Draft commentary to the Alameda Silo in the statements and
                                           schedules presentation
Joseph Sequeira         3/9/2023     0.9   Review requested statements and schedules and Provide feedback

Katie Montague          3/9/2023     0.4   Conference with K. Montague, C. Broskay and R. Esposito (A&M) to
                                           discuss prepetition accounts payable
Kevin Kearney           3/9/2023     0.7   Review of revised crypto asset balances in connection with
                                           preparation of Alameda silo petition date balance sheet amounts to
                                           properly reflect changes in balances
Kevin Kearney           3/9/2023     2.2   Review of legal documents associated with targeted venture
                                           investments to determine proper presentation on petition date
                                           balance sheets
Kevin Kearney           3/9/2023     2.7   Review of reconciliation of calculated insider loans to Statements and
                                           Schedules
Kumanan Ramanathan      3/9/2023     0.5   Discussion with K. Ramanathan, L. Konig, M. Zeiss, S. Kotarba, and
                                           D. Lewandowski (A&M) regarding customer schedules

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Professional               Date     Hours     Activity
Louis Konig              3/9/2023     0.5   Discussion with K. Ramanathan, L. Konig, M. Zeiss, S. Kotarba, and
                                            D. Lewandowski (A&M) regarding customer schedules
Luke Francis             3/9/2023     0.3   Working session with S. Kotarba, L. Francis, and C. Myers (A&M) re:
                                            dormant entities
Luke Francis             3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                            workstreams
Luke Francis             3/9/2023     0.7   Meeting with K. Flinn, M. Rahmani (PWP) L. Francis, S. Glustein, S.
                                            Kotarba, and T. DiNatale (A&M) re: Statements and Schedule
                                            descriptions for FTX Investments in 3rd party customers
Luke Francis             3/9/2023     0.5   Meeting with R. Esposito, S. Kotarba, M. Zeiss, L. Francis and J.
                                            Gany (A&M) re: SOFA 4 insider payments
Luke Francis             3/9/2023     0.8   Updates to SOFA 13 detail for securities information

Luke Francis             3/9/2023     1.4   Updates to SOFA 26a-c based on professionals feedback

Luke Francis             3/9/2023     2.1   Updates to SOFA full review presentation


Luke Francis             3/9/2023     1.8   Updates to Schedules full review presentation

Luke Francis             3/9/2023     1.4   Review of potential updates to investments for S&S


Luke Francis             3/9/2023     0.6   Review of EIN information for SOFA 25

Luke Francis             3/9/2023     0.6   Working session with T. DiNatale, and L. Francis re: asset schedules
                                            and investment summaries
Luke Francis             3/9/2023     0.7   Add potential redaction detail for SOFA 25

Mackenzie Jones          3/9/2023     0.9   Working session with M. Jones and C. Broskay (A&M) to determine
                                            reconciling differences between general ledger detail and accounts
                                            payable schedules
Mark Zeiss               3/9/2023     2.6   Prepare report of potential causes of action parties as represented on
                                            Schedules and Statements filings for internal review
Mark Zeiss               3/9/2023     2.3   Prepare report of potential causes of action parties from other
                                            professionals as represented on Schedules and Statements filings for
                                            internal review
Mark Zeiss               3/9/2023     0.1   Discussion between H. Ardizzoni, R. Gordon, G. Balmelli, and M.
                                            Zeiss (A&M) over charitable donations
Mark Zeiss               3/9/2023     2.3   Revise Customer Liabilities for Schedule F Non-Priority Unsecured
                                            claims filing
Mark Zeiss               3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                            workstreams
Mark Zeiss               3/9/2023     2.1   Revise SOFA 4 filings for payments in the past year for insiders per
                                            comments and new data
Mark Zeiss               3/9/2023     0.5   Meeting with R. Esposito, S. Kotarba, M. Zeiss, L. Francis and J.
                                            Gany (A&M) re: SOFA 4 insider payments



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Professional              Date     Hours     Activity
Mark Zeiss              3/9/2023     0.5   Discussion with K. Ramanathan, L. Konig, M. Zeiss, S. Kotarba, and
                                           D. Lewandowski (A&M) re: customer schedules
Nicole Simoneaux        3/9/2023     0.3   Address SOFAs inquiries on prepetition liabilities


Nicole Simoneaux        3/9/2023     1.7   Analyze prepetition bonus and severance liabilities

Nicole Simoneaux        3/9/2023     1.3   Review employment contracts for bonus language

Ritchine Guerrier       3/9/2023     2.6   Potential executory address review for creditors F-K


Ritchine Guerrier       3/9/2023     1.2   Working session with D. Lewandowski and R. Guerrier (A&M) re:
                                           schedule G
Ritchine Guerrier       3/9/2023     3.2   Potential executory contract review for FTX debtor


Ritchine Guerrier       3/9/2023     3.1   Potential executory address review for creditors L-Z

Ritchine Guerrier       3/9/2023     2.7   Executory contract review for FTX debtor


Rob Esposito            3/9/2023     0.9   Review of payroll data for insider disclosures

Rob Esposito            3/9/2023     0.9   Call with R. Esposito, R. Gordon(A&M), A. Kranzley(S&C) over
                                           schedules filing timeline
Rob Esposito            3/9/2023     1.2   Review of insider transfers for SOFA 4


Rob Esposito            3/9/2023     0.4   Conference with K Montague, C Broskay and R Esposito (A&M) to
                                           discuss prepetition accounts payable
Rob Esposito            3/9/2023     0.8   Prepare detailed responses to S&C questions


Rob Esposito            3/9/2023     0.2   Discussion regarding AP data vintage for statements and schedules
                                           with C. Broskay and R. Esposito (A&M)
Rob Esposito            3/9/2023     0.7   Prepare updates to auditor and bookkeeper disclosures for S&C
                                           review
Rob Esposito            3/9/2023     0.4   Management of Statements and Schedules tasks and workstreams

Rob Esposito            3/9/2023     0.5   Meeting with R. Esposito, S. Kotarba, M. Zeiss, L. Francis and J.
                                           Gany (A&M) re: SOFA 4 insider payments
Rob Esposito            3/9/2023     1.7   Review and QC of Scheduled asset data


Rob Esposito            3/9/2023     1.7   Review and analysis of liabilities data for Schedules disclosures

Rob Esposito            3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                           workstreams
Rob Esposito            3/9/2023     2.6   Review of draft Statement of Financial Affairs reports




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Schedules and Statements
Professional            Date     Hours     Activity
Rob Esposito          3/9/2023     2.8   Review of draft Schedules of Assets and Liabilities

Robert Gordon         3/9/2023     0.9   Call with R. Esposito, R. Gordon(A&M), A. Kranzley(S&C) over
                                         schedules filing timeline
Robert Gordon         3/9/2023     1.7   Edit global notes for schedule A/B by reviewing latest balance sheet
                                         mapping
Robert Gordon         3/9/2023     1.8   Clear comments and add content to Global Notes

Robert Gordon         3/9/2023     1.3   Draft global notes for section 77


Robert Gordon         3/9/2023     0.1   Discussion between H. Ardizzoni, R. Gordon, G. Balmelli, and M.
                                         Zeiss (A&M) over charitable donations
Steve Coverick        3/9/2023     0.8   Review and provide comments on statements and schedules
                                         presentation for UCC
Steve Kotarba         3/9/2023     0.3   Discussion with S. Kotarba, T. DiNatale and C. Myers re: addresses
                                         for statements and schedules
Steve Kotarba         3/9/2023     0.3   Working session with S. Kotarba, L. Francis, and C. Myers (A&M) re:
                                         dormant entities
Steve Kotarba         3/9/2023     1.5   Update review decks (insiders, customers, revenue) re SOFA /
                                         Schedule review
Steve Kotarba         3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                         workstreams
Steve Kotarba         3/9/2023     1.2   Working session with D. Lewandowski and R. Guerrier (A&M) re:
                                         schedule G
Steve Kotarba         3/9/2023     0.5   Discussion with K. Ramanathan, L. Konig, M. Zeiss, S. Kotarba, and
                                         D. Lewandowski (A&M) re: customer schedules
Steve Kotarba         3/9/2023     0.3   Meeting with Kroll, S. Kotarba, D. Lewandowski, and C. Myers re:
                                         schedule logistics regarding customers
Steve Kotarba         3/9/2023     1.9   Finalize drafts for filing and discuss key adjustments with A&M team

Steve Kotarba         3/9/2023     1.4   Reconcile to balance sheet and finalize investment listings and token
                                         ownership
Steve Kotarba         3/9/2023     1.8   Working session with S. Kotarba, J. Gany and C. Sigman (A&M) re:
                                         analysis of insider payments
Steve Kotarba         3/9/2023     1.6   Update progress trackers and review files

Steve Kotarba         3/9/2023     0.7   Meeting with K. Flinn, M. Rahmani (PWP) L. Francis, S. Glustein, S.
                                         Kotarba, and T. DiNatale (A&M) re: Statements and Schedule
                                         descriptions for FTX Investments in 3rd party customers
Steve Kotarba         3/9/2023     0.5   Meeting with R. Esposito, S. Kotarba, M. Zeiss, L. Francis and J.
                                         Gany (A&M) re: SOFA 4 insider payments
Steve Kotarba         3/9/2023     1.2   Finalize customer liability presentation

Steven Glustein       3/9/2023     0.7   Meeting with K. Flinn, M. Rahmani (PWP) L. Francis, S. Glustein, S.
                                         Kotarba, and T. DiNatale (A&M) re: Statements and Schedule
                                         descriptions for FTX Investments in 3rd party customers

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Professional              Date     Hours     Activity
Trevor DiNatale         3/9/2023     0.6   Working session with T. DiNatale, and L. Francis re: asset schedules
                                           and investment summaries
Trevor DiNatale         3/9/2023     0.6   Prepare updates to AR account detail for asset schedules


Trevor DiNatale         3/9/2023     1.8   Update liability schedule tracker for RLKS review

Trevor DiNatale         3/9/2023     0.4   Meeting with A&M teams regarding statements and schedules
                                           workstreams
Trevor DiNatale         3/9/2023     2.6   Prepare liability schedule summary review presentation highlighting
                                           data analysis process
Trevor DiNatale         3/9/2023     1.6   Update master asset account and schedule detail tracker for internal
                                           review
Trevor DiNatale         3/9/2023     0.7   Meeting with K. Flinn, M. Rahmani (PWP) L. Francis, S. Glustein, S.
                                           Kotarba, and T. DiNatale (A&M) re: Statements and Schedule
                                           descriptions for FTX Investments in 3rd party customers
Trevor DiNatale         3/9/2023     2.2   Summarize employee liabilities for inclusion in Schedule E


Trevor DiNatale         3/9/2023     0.3   Discussion with S. Kotarba, T. DiNatale and C. Myers re: addresses
                                           for statements and schedules
Trevor DiNatale         3/9/2023     0.7   Prepare updates to crypto asset holdings for asset disclosures


Trevor DiNatale         3/9/2023     1.3   Update balance sheet mapping to Schedule AB questions

Trevor DiNatale         3/9/2023     2.9   Prepare asset schedule summary review presentation highlighting
                                           data analysis process
Bridger Tenney         3/10/2023     0.9   Review source of data for Dotcom silo AP data

Bridger Tenney         3/10/2023     0.5   Bridge from previous prepetition liabilities file to current draft

Bridger Tenney         3/10/2023     0.4   Review the source of data for every entity in master AP file


Bridger Tenney         3/10/2023     0.5   Distribute flow charts and graphics relating to AP process

Bridger Tenney         3/10/2023     0.7   Review master prepetition liabilities file prior to call with internal team


Bridger Tenney         3/10/2023     0.4   Review differences between outstanding invoice amounts and total
                                           invoice amount
Bridger Tenney         3/10/2023     0.3   Call with C. Broskay, B. Tenney, T. DiNatale, K. Montague, M. Jones
                                           (A&M) re: AP data for statements & schedules
Christopher Sullivan   3/10/2023     0.8   Review updated third party loans support files

Christopher Sullivan   3/10/2023     1.6   Draft up commentary for undetermined claims amounts

Christopher Sullivan   3/10/2023     2.4   Provide comments to updated silo claims section of S&S UCC deck




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Schedules and Statements
Professional              Date     Hours     Activity
Christopher Sullivan   3/10/2023     1.3   Edits to detailed global notes section for S&S UCC deck

Christopher Sullivan   3/10/2023     1.1   Provide comments to updated customer entitlement slide for S&S
                                           UCC deck
Christopher Sullivan   3/10/2023     0.5   Meeting w/ T. DiNatale J. Gonzalez, C. Sullivan & D. Slay (A&M) re:
                                           Scheduled and unscheduled amounts
Christopher Sullivan   3/10/2023     0.9   Edit global notes section of S&S UCC deck

Christopher Sullivan   3/10/2023     0.6   Refresh loans payable collateral commentary for UCC deck


Claire Myers           3/10/2023     1.3   Determine redaction status of creditors for statements and schedules
                                           filing
Claire Myers           3/10/2023     0.8   Update questions with no answers in internal database system


Claire Myers           3/10/2023     0.9   Update signature pages on the S&S forms for filing

Claire Myers           3/10/2023     0.3   Working session with S. Kotarba, C. Myers and D. Lewandowski
                                           (A&M) re: creditor matrix updates
Claire Myers           3/10/2023     1.1   Develop an internal tracker for dormant entities for S&S draft review

Claire Myers           3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                           updates and new workstreams
Claire Myers           3/10/2023     1.7   Find addresses for individuals in mentioned in SOFA 4 in the master
                                           mailing list
Claire Myers           3/10/2023     1.7   Update internal tracker with sofa and schedules responses for draft
                                           review
Claudia Sigman         3/10/2023     1.4   Prepare summary of potential SOFA 13 payments for review in
                                           preparation for filing Statements
Claudia Sigman         3/10/2023     0.6   Prepare updates to tax liabilities reported on Schedule E


Claudia Sigman         3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                           DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                           updates and new workstreams
Claudia Sigman         3/10/2023     1.2   Review tax audits listed in Schedules and Statements for accuracy


Claudia Sigman         3/10/2023     1.2   Review directors and officers listed on SOFA 28 & 29 for accuracy

Claudia Sigman         3/10/2023     1.9   Prepare updates to SOFA question in internal management system
                                           based on review comments by S&C
Claudia Sigman         3/10/2023     1.7   Prepare insider payment summary review file for external circulation
                                           in preparation for filing
Claudia Sigman         3/10/2023     1.9   Review Statements and Schedules drafts for accuracy in preparation
                                           for filing
Cole Broskay           3/10/2023     0.3   Call with C. Broskay, B. Tenney, T. DiNatale, K. Montague, M. Jones
                                           (A&M) re: AP data for statements & schedules

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Professional               Date     Hours     Activity
David Slay              3/10/2023     2.6   Update tables based on discussion of scheduled amounts

David Slay              3/10/2023     0.5   Meeting w/ T. DiNatale J. Gonzalez, C. Sullivan & D. Slay (A&M) re:
                                            Scheduled and unscheduled amounts
David Slay              3/10/2023     2.9   Update charts for all assets/liabilities by legal entity for scheduled
                                            amounts
David Slay              3/10/2023     0.5   Discussion w/ J. Gonzalez & D. Slay (A&M) re: Silo undetermined
                                            amounts
Douglas Lewandowski     3/10/2023     1.4   Update schedule claims deck with changes from A&M team


Douglas Lewandowski     3/10/2023     0.5   Review and update schedule G descriptions

Douglas Lewandowski     3/10/2023     0.3   Working session with S. Kotarba, C. Myers and D. Lewandowski
                                            (A&M) re: creditor matrix updates
Douglas Lewandowski     3/10/2023     1.5   Prepare contracts with more than 5 counterparties for schedule G
                                            disclosure
Douglas Lewandowski     3/10/2023     2.1   Update loans payable schedule attachments


Douglas Lewandowski     3/10/2023     0.7   Review intercompany agreements for schedule G creation

Douglas Lewandowski     3/10/2023     0.9   Working session with S. Kotarba, D. Lewandowski, and R. Esposito
                                            (A&M) re: S&S planning
Douglas Lewandowski     3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                            DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                            updates and new workstreams
Heather Ardizzoni       3/10/2023     0.7   Call between H. Ardizzoni, R. Gordon, K. Kearney (A&M) and M.
                                            Cilia, R. Hoskins (RLKS) to discuss Alameda balance sheet
Jared Gany              3/10/2023     2.7   Review SOFA 3 files to clean blank customer names

Jared Gany              3/10/2023     0.6   Clean up counterparty names in SOFA 3 files


Jared Gany              3/10/2023     1.9   Compare SEN numbers identified as related party counterparties to
                                            SOFA 3 file to determine additional missing counterparties
Johnny Gonzalez         3/10/2023     1.3   Draft summary of claims section assumptions


Johnny Gonzalez         3/10/2023     0.5   Discussion w/ J. Gonzalez & D. Slay (A&M) re: Silo undetermined
                                            amounts
Johnny Gonzalez         3/10/2023     1.3   Draft commentary for the undetermined amounts by silo in the S&S
                                            presentation
Johnny Gonzalez         3/10/2023     2.3   Develop an assets bridge for the S&S presentation

Johnny Gonzalez         3/10/2023     0.5   Meeting w/ T. DiNatale J. Gonzalez, C. Sullivan & D. Slay (A&M) re:
                                            Scheduled and unscheduled amounts
Johnny Gonzalez         3/10/2023     1.7   Develop an assets bridge for the Alameda Silo




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Johnny Gonzalez         3/10/2023     1.9   Draft commentary for the undetermined amounts by type in the S&S
                                            presentation
Katie Montague          3/10/2023     0.5   Analysis of prepetition vendor amounts for statements and schedules


Katie Montague          3/10/2023     0.3   Call with C. Broskay, B. Tenney, T. DiNatale, K. Montague, M. Jones
                                            (A&M) re: AP data for statements & schedules
Katie Montague          3/10/2023     1.1   Respond to inquiry from CPI team regarding status of contracts and
                                            invoices
Katie Montague          3/10/2023     1.9   Continue to update prepetition liability analysis


Kevin Kearney           3/10/2023     0.7   Prepare notes of progress made over Alameda balance sheet for
                                            upcoming meeting
Kevin Kearney           3/10/2023     0.7   Call between H. Ardizzoni, R. Gordon, K. Kearney (A&M) and M.
                                            Cilia, R. Hoskins (RLKS) to discuss Alameda balance sheet
Kevin Kearney           3/10/2023     1.4   Review of reconciliation of funding amounts and presentation of
                                            targeted venture investments in connection with draft Statements and
                                            Schedules
Kevin Kearney           3/10/2023     1.0   Preparation of responses to management questions and requests on
                                            draft Statements and Schedules information
Luke Francis            3/10/2023     1.2   Updates to SOFA 26 per counsels request


Luke Francis            3/10/2023     0.8   Review of potential redactions for investments for SOFA 25

Luke Francis            3/10/2023     1.4   Provide updates and changes since initial review


Luke Francis            3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                            DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                            updates and new workstreams
Luke Francis            3/10/2023     0.9   Working session with T. DiNatale, and L. Francis re: liability
                                            schedules and unfunded investments and trial balance accounts
Luke Francis            3/10/2023     1.6   Analysis and summary of SOFA 13 details


Luke Francis            3/10/2023     0.4   Working session with T. DiNatale, and L. Francis re: schedule F
                                            summary and loan payables
Luke Francis            3/10/2023     0.4   Updates of summary for SOFA 13


Luke Francis            3/10/2023     2.1   Updates to review questions for Alameda schedules

Mackenzie Jones         3/10/2023     0.3   Call with C. Broskay, B. Tenney, T. DiNatale, K. Montague, M. Jones
                                            (A&M) re: AP data for statements & schedules
Mark Zeiss              3/10/2023     1.3   Draft Schedule F Customer Liabilities for applicable debtors


Mark Zeiss              3/10/2023     2.2   Review statements and schedules for filing debtors




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Professional               Date     Hours     Activity
Mark Zeiss              3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                            DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                            updates and new workstreams
Mark Zeiss              3/10/2023     1.8   Draft Schedule G Contracts filings for applicable debtors

Mark Zeiss              3/10/2023     1.9   Revise statements and schedules for filing debtors


Michael Shanahan        3/10/2023     0.7   Review schedule of transactions to be included in SOFAs

Patrick McGrath         3/10/2023     0.8   Review transactions for statements and schedules


Ritchine Guerrier       3/10/2023     2.3   FTX individual vs entity review for redaction purposes

Ritchine Guerrier       3/10/2023     3.0   Creditor address updates for counterparties E-H

Ritchine Guerrier       3/10/2023     2.9   Creditor address updates for counterparties A-D


Rob Esposito            3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                            DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                            updates and new workstreams
Rob Esposito            3/10/2023     2.4   Work on detailed responses and examples of management questions
                                            to the Statements and Schedules disclosures
Rob Esposito            3/10/2023     1.5   Prepare updated Statements and Schedules data for FTX
                                            management
Rob Esposito            3/10/2023     1.2   Review of investment data within the asset schedules

Rob Esposito            3/10/2023     0.9   Working session with S. Kotarba, D. Lewandowski, and R. Esposito
                                            (A&M) re: S&S planning
Rob Esposito            3/10/2023     0.3   Review of tax data to prepare for meeting with T. Shea (EY)

Rob Esposito            3/10/2023     0.7   Management of tasks and workstreams for Statements & Schedules
                                            team
Rob Esposito            3/10/2023     0.2   Conference with T. Shea (EY) and R Esposito (A&M) to discuss tax
                                            data in the Statements and Schedules
Rob Esposito            3/10/2023     0.7   Review and provide comments to the customer claims presentation


Rob Esposito            3/10/2023     0.9   Review and analysis of the draft SOFA 4 review file

Rob Esposito            3/10/2023     1.4   Review of data within the Statement of Financial Affairs disclosures

Rob Esposito            3/10/2023     0.8   Prepare detailed edits to the SOFA review presentation


Rob Esposito            3/10/2023     1.1   Prepare responses to Statement of Financial Affairs related
                                            questions provided by the S&C team
Robert Gordon           3/10/2023     0.9   Prepare for Alameda schedules discussion by reviewing balance
                                            sheet and supporting documentation

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Professional             Date     Hours     Activity
Robert Gordon         3/10/2023     0.7   Call between H. Ardizzoni, R. Gordon, K. Kearney (A&M) and M.
                                          Cilia, R. Hoskins (RLKS) to discuss Alameda balance sheet
Robert Gordon         3/10/2023     1.1   Continue reviewing and provide comments on mapping for DOTCOM
                                          silo to A/B
Robert Gordon         3/10/2023     1.7   Continue to review DEF mapping file for updates and reclassification
                                          to liquidated
Steve Coverick        3/10/2023     0.4   Review and provide comments on statements and schedules
                                          presentation re: customer liabilities for management team
Steve Kotarba         3/10/2023     0.5   Update to workstreams and priorities


Steve Kotarba         3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                          DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                          updates and new workstreams
Steve Kotarba         3/10/2023     0.3   Working session with S. Kotarba, C. Myers and D. Lewandowski
                                          (A&M) re: creditor matrix updates
Steve Kotarba         3/10/2023     0.9   Working session with S. Kotarba, D. Lewandowski, and R. Esposito
                                          (A&M) re: S&S planning
Steve Kotarba         3/10/2023     1.4   Review drafts of customer liabilities and updates to same

Steve Kotarba         3/10/2023     1.9   Prepare updated file re related party payments and circulate internally


Steve Kotarba         3/10/2023     1.7   Review and comment on drafts - active entities

Trevor DiNatale       3/10/2023     0.5   Meeting w/ T. DiNatale J. Gonzalez, C. Sullivan & D. Slay (A&M) re:
                                          Scheduled and unscheduled amounts
Trevor DiNatale       3/10/2023     0.9   Working session with T. DiNatale, and L. Francis (A&M) re: liability
                                          schedules and unfunded investments and trial balance accounts
Trevor DiNatale       3/10/2023     0.3   Call with C. Broskay, B. Tenney, T. DiNatale, K. Montague, M. Jones
                                          (A&M) re: AP data for statements & schedules
Trevor DiNatale       3/10/2023     1.2   Update asset schedule summary review presentation highlighting
                                          data analysis process
Trevor DiNatale       3/10/2023     1.3   Prepare updated source review documents for RLKS review

Trevor DiNatale       3/10/2023     0.7   Update liability schedule tracker for RLKS review


Trevor DiNatale       3/10/2023     1.1   Prepare updates to UCC presentation related to S&S

Trevor DiNatale       3/10/2023     2.3   Review RLKS inquires related to Alameda scheduled asset drafts


Trevor DiNatale       3/10/2023     0.4   Working session with T. DiNatale, and L. Francis (A&M) re: schedule
                                          F summary and loan payables
Trevor DiNatale       3/10/2023     0.4   Meeting with S. Kotarba, R. Esposito, D. Lewandowski, M. Zeiss, T.
                                          DiNatale, C. Sigman, L. Francis, and C. Myers (A&M) re: S&S
                                          updates and new workstreams
Trevor DiNatale       3/10/2023     2.1   Update liability schedule summary review presentation highlighting
                                          data analysis process

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Professional              Date     Hours     Activity
Christopher Sullivan   3/11/2023     2.3   Detail review revised full S&S UCC deck

Claire Myers           3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                           DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                           updates to S&S workstreams
Claire Myers           3/11/2023     1.4   Update the global notes with notes from RSLK


Claire Myers           3/11/2023     2.4   Compare customers and creditors in S&S for redaction

Claire Myers           3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                           Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                           Francis (A&M) re: progress on S&S drafts
Claire Myers           3/11/2023     2.1   Compare new creditors that were mentioned in S&S with unredacted
                                           individuals in PII
Claire Myers           3/11/2023     1.6   Analyze rejected contracts to update schedule F

Claudia Sigman         3/11/2023     0.8   Prepare updates to SOFA 16 in internal management system related
                                           to privacy policies
Claudia Sigman         3/11/2023     1.6   Prepare updates to insider summary review file based on review of
                                           transaction detail
Claudia Sigman         3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                           DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                           updates to S&S workstreams
Claudia Sigman         3/11/2023     1.8   Incorporate SOFA data request responses in preparation for filing
                                           statements and schedules
Claudia Sigman         3/11/2023     1.1   Analyze schedules and statements drafts for accuracy in preparation
                                           for filing
Claudia Sigman         3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                           Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                           Francis (A&M) re: progress on S&S drafts
Cole Broskay           3/11/2023     0.4   Call w/ M. Cilia (RLKS), R. Gordon, C. Broskay, K. Kearney, K.
                                           Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                           schedules and AP data
Douglas Lewandowski    3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                           DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                           updates to S&S workstreams
Douglas Lewandowski    3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                           Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                           Francis (A&M) re: progress on S&S drafts
Douglas Lewandowski    3/11/2023     0.2   Conference call with D Lewandowski, M Zeiss, R. Esposito and S
                                           Kotarba (A&M) re: customer disclosures within the liability schedules
Douglas Lewandowski    3/11/2023     0.7   Work on revisions to open AP file against rejected contracts

Douglas Lewandowski    3/11/2023     1.1   Work on reviewing customer schedule updates

Douglas Lewandowski    3/11/2023     1.3   Review revised customer schedule attachments



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Schedules and Statements
Professional               Date     Hours     Activity
Jared Gany              3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: progress on S&S drafts
Jared Gany              3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                            DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                            updates to S&S workstreams
Jared Gany              3/11/2023     1.6   Search for company descriptions for entities invested in by FTX


Johnny Gonzalez         3/11/2023     2.6   Draft summary of assets section assumptions

Katie Montague          3/11/2023     0.4   Compile support for certain prepetition liabilities for M. Cilia
                                            (Company)
Katie Montague          3/11/2023     0.4   Call w/ M. Cilia (FTX), R. Gordon, C. Broskay, K. Kearney, K.
                                            Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                            schedules and AP data
Kevin Kearney           3/11/2023     0.4   Call w/ M. Cilia (RLKS), R. Gordon, C. Broskay, K. Kearney, K.
                                            Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                            schedules and AP data
Kevin Kearney           3/11/2023     2.3   Review of underlying contracts associated with targeted venture
                                            investments to determine proper presentation on Statements and
                                            Schedules
Kevin Kearney           3/11/2023     2.5   Preparation of responses to management questions and requests on
                                            draft Statements and Schedules information
Luke Francis            3/11/2023     0.5   Updates to SOFA 26 per counsels request

Luke Francis            3/11/2023     1.2   Analysis of SOFA 13 and property transferred and recipient
                                            descriptions
Luke Francis            3/11/2023     1.2   Updates to investments business nature


Luke Francis            3/11/2023     1.2   Review of draft Schedules for WRS silo

Luke Francis            3/11/2023     0.7   Updates to SOFA 25 based on feedback


Luke Francis            3/11/2023     0.3   Conference with S Kotarba, L Francis, T DiNatale and R Esposito
                                            (A&M) to review and discuss the FTX management questions on
                                            Alameda
Luke Francis            3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                            DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                            updates to S&S workstreams
Luke Francis            3/11/2023     1.8   Review of draft SOFAs for WRS silo


Luke Francis            3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: progress on S&S drafts
Luke Francis            3/11/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, and L. Francis
                                            (A&M) re: Responding to schedule questions for Alameda
Luke Francis            3/11/2023     1.2   Review of asset schedules and token receivables


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Professional               Date     Hours     Activity
Luke Francis            3/11/2023     1.4   Analysis of SOFA 4 and SOFA 13 transfers

Mark Zeiss              3/11/2023     0.6   Revise Schedule F Customer Liabilities filings per internal comments


Mark Zeiss              3/11/2023     0.7   Revise Customer Liabilities presentation for internal review per
                                            internal comments
Mark Zeiss              3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: progress on S&S drafts
Mark Zeiss              3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                            DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                            updates to S&S workstreams
Mark Zeiss              3/11/2023     0.2   Conference call with D Lewandowski, M Zeiss, R. Esposito and S
                                            Kotarba (A&M) re: customer disclosures within the liability schedules
Ritchine Guerrier       3/11/2023     1.7   SOFA 25 equity description updates

Rob Esposito            3/11/2023     0.4   Call w/ M. Cilia (FTX), R. Gordon, C. Broskay, K. Kearney, K.
                                            Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                            schedules and AP data
Rob Esposito            3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                            DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                            updates to S&S workstreams
Rob Esposito            3/11/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, and L. Francis
                                            (A&M) re: Responding to schedule questions for Alameda
Rob Esposito            3/11/2023     0.6   Review and updates to the Statements and Schedules update for
                                            FTX Management
Rob Esposito            3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: progress on S&S drafts
Rob Esposito            3/11/2023     0.2   Conference call with D Lewandowski, M Zeiss, R. Esposito and S
                                            Kotarba (A&M) re: customer disclosures within the liability schedules
Rob Esposito            3/11/2023     0.7   Prepare detailed updates to the Alameda Statements and Schedules
                                            related questions from management
Rob Esposito            3/11/2023     0.3   Review and analysis of the customer claims presentation

Rob Esposito            3/11/2023     1.0   Prepare detailed updates to the Schedules review presentation


Rob Esposito            3/11/2023     0.3   Conference with S Kotarba, L Francis, T DiNatale and R Esposito
                                            (A&M) to review and discuss the FTX management questions on
                                            Alameda
Rob Esposito            3/11/2023     0.2   Conference with S. Kotarba and R Esposito (A&M) to discuss status
                                            and next steps for Statements and Schedules
Rob Esposito            3/11/2023     2.3   Analysis and detailed summary of Statements and Schedules
                                            changes for FTX management review
Robert Gordon           3/11/2023     0.4   Review and edit responses to Alameda questions from RLKS




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Schedules and Statements
Professional             Date     Hours     Activity
Robert Gordon         3/11/2023     0.4   Call w/ M. Cilia (RLKS), R. Gordon, C. Broskay, K. Kearney, K.
                                          Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                          schedules and AP data
Steve Kotarba         3/11/2023     1.1   Review drafts and comment re prep for filing

Steve Kotarba         3/11/2023     1.2   Review payment detail and prepare summary files to discuss related
                                          party payments
Steve Kotarba         3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                          DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                          updates to S&S workstreams
Steve Kotarba         3/11/2023     0.6   Review payables detail and analysis re scheduling of vendor
                                          payments
Steve Kotarba         3/11/2023     0.3   Conference with S Kotarba, L Francis, T DiNatale and R Esposito
                                          (A&M) to review and discuss the FTX management questions on
                                          Alameda
Steve Kotarba         3/11/2023     0.7   Prepare updates to global notes

Steve Kotarba         3/11/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, and L. Francis
                                          (A&M) re: Responding to schedule questions for Alameda
Steve Kotarba         3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                          Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                          Francis (A&M) re: progress on S&S drafts
Steve Kotarba         3/11/2023     0.2   Conference with S. Kotarba and R Esposito (A&M) to discuss status
                                          and next steps for Statements and Schedules
Steve Kotarba         3/11/2023     0.4   Call w/ M. Cilia (FTX), R. Gordon, C. Broskay, K. Kearney, K.
                                          Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                          schedules and AP data
Steve Kotarba         3/11/2023     0.2   Conference call with D Lewandowski, M Zeiss, R. Esposito and S
                                          Kotarba (A&M) re: customer disclosures within the liability schedules
Trevor DiNatale       3/11/2023     0.4   Review statements and schedules draft versions

Trevor DiNatale       3/11/2023     1.2   Update trade payable summary and liability detail for Schedule F


Trevor DiNatale       3/11/2023     0.3   Conference with S Kotarba, L Francis, T DiNatale and R Esposito
                                          (A&M) to review and discuss the FTX management questions on
                                          Alameda
Trevor DiNatale       3/11/2023     0.7   Update liability schedule summary review presentation highlighting
                                          data analysis process
Trevor DiNatale       3/11/2023     0.4   Meeting with S. Kotarba, R. Esposito, T. DiNatale, and L. Francis
                                          (A&M) re: Responding to schedule questions for Alameda
Trevor DiNatale       3/11/2023     0.4   Call w/ M. Cilia (FTX), R. Gordon, C. Broskay, K. Kearney, K.
                                          Montague, R. Esposito, S. Kotarba, and T. DiNatale (A&M) re: liability
                                          schedules and AP data
Trevor DiNatale       3/11/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                          Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                          Francis (A&M) re: progress on S&S drafts
Trevor DiNatale       3/11/2023     0.6   Provide responses to RLKS inquires related to Alameda scheduled
                                          asset drafts

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Professional               Date     Hours     Activity
Trevor DiNatale         3/11/2023     0.6   Conference call w/ R. Esposito, M. Zeiss, D. Lewandowski, T.
                                            DiNatale, J. Gany, C. Myers, C. Sigman and L. Francis (A&M) re:
                                            updates to S&S workstreams
Trevor DiNatale         3/11/2023     0.4   Update schedules review presentation for RLKS review

Trevor DiNatale         3/11/2023     1.2   Finalize updates to UCC presentation related to S&S


Bridger Tenney          3/12/2023     0.9   Review prepetition liabilities data still unpaid as of petition date

Christopher Sullivan    3/12/2023     2.6   Review latest updates for claims section of S&S UCC deck


Christopher Sullivan    3/12/2023     2.4   Review latest updates for assets section of S&S UCC deck

Christopher Sullivan    3/12/2023     1.4   Provide comments for detailed line item slides in the S&S UCC deck

Claire Myers            3/12/2023     1.9   Analyze creditors in statements and schedules GDPR responses,
                                            customer status, and public disclosure status for redaction of S&S
Claire Myers            3/12/2023     2.3   Update internal tracking of statements and schedules answers for
                                            draft review
Claire Myers            3/12/2023     1.4   Review drafts of dormant and active entities for statements and
                                            schedules review
Claire Myers            3/12/2023     1.1   Summarize S&S redaction methodology for and status for litigation
                                            and A&M team
Claire Myers            3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                            re: review of dormant S&S drafts and next steps
Claire Myers            3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: updates to S&S workstream progress
Claudia Sigman          3/12/2023     1.4   Prepare updates to insider summary based on review of payment
                                            detail
Claudia Sigman          3/12/2023     2.8   Review transaction detail for insider payments listed on SOFA 4

Claudia Sigman          3/12/2023     1.4   Review income statement detail based on external questions related
                                            to SOFA 1 and 2
Claudia Sigman          3/12/2023     1.6   Review insider loan detail for inclusion in schedules and statements

Claudia Sigman          3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: updates to S&S workstream progress
David Slay              3/12/2023     2.6   Update Statements & Schedules deck with new amounts and ensure
                                            deck reflects
Douglas Lewandowski     3/12/2023     1.8   Work schedule data requests from S&C

Douglas Lewandowski     3/12/2023     2.8   Work on Schedule G review non-contract management system
                                            entries from S&C


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Professional                Date     Hours     Activity
Douglas Lewandowski      3/12/2023     1.8   Work on comments from FTX reviewers and incorporate changes
                                             into contract database
Douglas Lewandowski      3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                             Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                             re: review of dormant S&S drafts and next steps
Douglas Lewandowski      3/12/2023     0.7   Work on M. Cilia (FTX) comments to accounts payable schedules


Douglas Lewandowski      3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                             Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                             Francis (A&M) re: updates to S&S workstream progress
Jared Gany               3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                             Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                             re: review of dormant S&S drafts and next steps
Jared Gany               3/12/2023     1.7   Quality control review of dormant entity schedule drafts


Jared Gany               3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                             Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                             Francis (A&M) re: updates to S&S workstream progress
Johnny Gonzalez          3/12/2023     2.3   Draft commentary for the Alameda assets appendix section

Johnny Gonzalez          3/12/2023     1.8   Incorporate latest presentation changes for the A&M claims
                                             management team
Johnny Gonzalez          3/12/2023     1.7   Draft commentary for the WRS assets appendix section

Johnny Gonzalez          3/12/2023     1.3   Draft commentary for management's approval regarding the S&S
                                             presentation
Katie Montague           3/12/2023     1.1   Prepare responses for M. Cilia (Company) related to prepetition
                                             credit card bills and Dubai vendor invoices
Louis Konig              3/12/2023     1.4   Database scripting related to customer liabilities scheduling

Louis Konig              3/12/2023     1.7   Quality control and review related to customer liabilities scheduling


Luke Francis             3/12/2023     1.2   Updates to SOFA 13 descriptions

Luke Francis             3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                             Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                             Francis (A&M) re: updates to S&S workstream progress
Luke Francis             3/12/2023     0.8   Review of potential redactions by creditor

Luke Francis             3/12/2023     1.2   Review of loans to 3rd party investments

Luke Francis             3/12/2023     1.4   Review of draft SOFAs for WRS silo


Luke Francis             3/12/2023     1.7   Review of previous addresses and client responses

Luke Francis             3/12/2023     1.6   Review of draft SOFAs for Alameda silo


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Schedules and Statements
Professional               Date     Hours     Activity
Luke Francis            3/12/2023     1.9   Analysis of funded commitments for investments

Luke Francis            3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                            re: review of dormant S&S drafts and next steps
Luke Francis            3/12/2023     1.4   Analysis of asset summaries re: statements and schedules


Mark Zeiss              3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                            re: review of dormant S&S drafts and next steps
Mark Zeiss              3/12/2023     1.2   Review Statements of financial affairs filing Question 3 for payments
                                            made in the 90 days to Creditors for dormant or near-dormant FTX
                                            entities
Mark Zeiss              3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: updates to S&S workstream progress
Mark Zeiss              3/12/2023     0.9   Review Statements of financial affairs filing Question 4 for payments
                                            made in the past year to insiders for dormant or near-dormant FTX
                                            entities
Rob Esposito            3/12/2023     0.7   Prepare and communication summary to management, S&C and
                                            Landis re: insider disclosures and next steps
Rob Esposito            3/12/2023     1.1   Review and summary of the customer claims data and process for
                                            company, Landis and S&C review
Rob Esposito            3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                            Francis (A&M) re: updates to S&S workstream progress
Rob Esposito            3/12/2023     1.4   Review and analysis of proposed creditor redaction data for
                                            Statements and Schedules
Rob Esposito            3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                            Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                            re: review of dormant S&S drafts and next steps
Rob Esposito            3/12/2023     0.6   Analysis and summary communication of the insider data to the S&C,
                                            Landis and FTX management
Rob Esposito            3/12/2023     0.6   Work on responses to questions re: pre-petition accounts payable

Rob Esposito            3/12/2023     0.2   Prepare tax related data request for T Shea (EY)


Robert Gordon           3/12/2023     0.2   Call with M. Cilia (RLKS) to discuss status on Global Notes

Robert Gordon           3/12/2023     0.9   Review customer liability exhibits for comments


Robert Gordon           3/12/2023     0.7   Review Global notes comments from RLKS

Robert Gordon           3/12/2023     0.4   Review DOTCOM questions from RLKS and make assignments

Steve Kotarba           3/12/2023     0.5   Internal meetings re open items



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Professional                 Date     Hours     Activity
Steve Kotarba             3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                              Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                              Francis (A&M) re: updates to S&S workstream progress
Steve Kotarba             3/12/2023     1.6   Prepare update for discussion re related party payments

Steve Kotarba             3/12/2023     0.9   Prepare redactions re parties listed in schedules


Steve Kotarba             3/12/2023     1.6   Review drafts and respond to team questions re finalizing open
                                              workstreams
Trevor DiNatale           3/12/2023     1.7   Update crypto holding asset detail for Schedule AB


Trevor DiNatale           3/12/2023     0.4   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                              Lewandowski, T. DiNatale, J. Gany, C. Myers, C. Sigman and L.
                                              Francis (A&M) re: updates to S&S workstream progress
Trevor DiNatale           3/12/2023     0.2   Conference call w/ S. Kotarba, R. Esposito, M. Zeiss, D.
                                              Lewandowski, T. DiNatale, J. Gany, C. Myers and L. Francis (A&M)
                                              re: review of dormant S&S drafts and next steps
Trevor DiNatale           3/12/2023     1.4   Review dormant entity S&S drafts

Trevor DiNatale           3/12/2023     1.2   Review UCC S&S review presentation


Chris Arnett              3/13/2023     1.8   Review and comment on statement and schedule drafts in advance
                                              of filing
Chris Arnett              3/13/2023     0.8   Review and comment on global notes for Statements and Schedules


Christopher Sullivan      3/13/2023     1.2   Edits to support files for the appendix slides to the S&S UCC deck

Christopher Sullivan      3/13/2023     0.9   Update third party loans slide to include global commentary for UCC
                                              deck
Christopher Sullivan      3/13/2023     2.3   Provide comments for updated claims section of the S&S UCC deck

Christopher Sullivan      3/13/2023     2.7   Provide updated comments to assets section of the S&S UCC deck

Christopher Sullivan      3/13/2023     2.4   Address comments from R. Gordon in the S&S UCC deck


Christopher Sullivan      3/13/2023     1.7   Create outlines for SOFA section of S&S UCC deck

Christopher Sullivan      3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                              Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck
Claire Myers              3/13/2023     2.3   Update internal tracking of statements and schedules answers for
                                              draft review
Claire Myers              3/13/2023     1.6   Analyze trademark litigation and update SOFA 7


Claire Myers              3/13/2023     0.6   Working session with C. Myers and S. Kotarba regarding redaction
                                              methodology for statements and schedules



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Professional               Date     Hours     Activity
Claire Myers            3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                            drafts
Claire Myers            3/13/2023     0.6   Update signature pages with signature for statements and schedules


Claire Myers            3/13/2023     1.7   Print and review drafts of dormant entities S&S for final review before
                                            filing
Claire Myers            3/13/2023     2.1   Analyze customer comparison results and update redaction of S&S
                                            creditors
Claire Myers            3/13/2023     2.1   Print drafts of active entities S&S for review before filing


Claire Myers            3/13/2023     1.2   Summarize S&S redaction methodology for and status for litigation
                                            and A&M team
Claire Myers            3/13/2023     0.9   Update Global Notes with edits and comments from Owl Hill Advisory
                                            and RSLK
Claire Myers            3/13/2023     2.3   Analyze creditors addresses in S&S to update incomplete addresses

Claire Myers            3/13/2023     0.3   Discussion with S. Kotarba, D. Lewandowski, C. Myers (A&M), and
                                            Kroll re: schedule logistics
Claudia Sigman          3/13/2023     1.4   Review Schedules drafts of dormant entities for accuracy before filing

Claudia Sigman          3/13/2023     0.8   Review directors and officers listed on SOFA 4 for accuracy in
                                            preparation for filing
Claudia Sigman          3/13/2023     0.8   Review SOFA 13 transfers in preparation for filling schedules and
                                            statements
Claudia Sigman          3/13/2023     1.3   Prepare updates to insider payment summary based on new
                                            payment detail
Claudia Sigman          3/13/2023     1.9   Review SOFA 4 payment descriptions for accuracy in preparation for
                                            filing
Claudia Sigman          3/13/2023     1.1   Prepare updates to Schedule E based on updated tax information

Claudia Sigman          3/13/2023     1.7   Review Statements drafts of dormant entities for accuracy before filing


Claudia Sigman          3/13/2023     2.2   Review insider loan detail for accuracy in preparation for filing
                                            schedules and statements
Claudia Sigman          3/13/2023     1.8   Prepare updates to SOFA 1 and 2 based on review of income
                                            statements
Claudia Sigman          3/13/2023     1.7   Review SOFA 4 insider detail for accuracy in preparation for filing
                                            schedules and statements
Claudia Sigman          3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                            drafts
David Slay              3/13/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: the statements
                                            and schedules assets section
David Slay              3/13/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: the statements
                                            and schedules claims section




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Professional               Date     Hours     Activity
David Slay              3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                            Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck
David Slay              3/13/2023     1.5   Update statements and schedules deck with latest tables and review
                                            footnotes
David Slay              3/13/2023     1.8   Update charts for all assets/liabilities by legal entity for scheduled
                                            amounts
Douglas Lewandowski     3/13/2023     1.5   Incorporate comments from RLKS into AP, Schedule F records

Douglas Lewandowski     3/13/2023     2.1   Work on liability schedule slides for UCC presentation


Douglas Lewandowski     3/13/2023     2.1   Incorporate duplicate/non-contract review into schedule G file

Douglas Lewandowski     3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                            drafts
Douglas Lewandowski     3/13/2023     1.7   Work on summary slides for AP, Schedule F entries

Douglas Lewandowski     3/13/2023     0.3   Discussion with S. Kotarba, D. Lewandowski, C. Myers (A&M), and
                                            Kroll re: schedule logistics
Douglas Lewandowski     3/13/2023     1.0   Working session with M. Cilia (RLKS), D. Lewandowski and R.
                                            Esposito (A&M) re: Schedule F, AP
Douglas Lewandowski     3/13/2023     1.1   Work on updates from FTX contract reviewers into schedule G

Drew Hainline           3/13/2023     0.6   Review schedules to confirm revenue for Liquid group entities


Drew Hainline           3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                            Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck
Jack Yan                3/13/2023     0.1   Generate Quoine Pte Ltd.'s trial balance


Jared Gany              3/13/2023     2.8   SOFA 13 review of payments for potential inclusion in other
                                            schedules
Jared Gany              3/13/2023     3.2   SOFA 4 review of insider payments


Jared Gany              3/13/2023     2.4   Quality control review of active entity schedule drafts

Jared Gany              3/13/2023     0.7   Quality control review of dormant entity schedule drafts

Johnny Gonzalez         3/13/2023     1.8   Draft commentary for the Ventures assets appendix section


Johnny Gonzalez         3/13/2023     1.4   Update the executive summary for the S&S presentation

Johnny Gonzalez         3/13/2023     1.9   Draft commentary for the Dotcom assets appendix section


Johnny Gonzalez         3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                            Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck




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Johnny Gonzalez         3/13/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: the statements
                                            and schedules claims section
Johnny Gonzalez         3/13/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: the statements
                                            and schedules assets section
Johnny Gonzalez         3/13/2023     2.2   Update commentary for the undetermined amounts by silo in the S&S
                                            presentation
Kevin Kearney           3/13/2023     1.2   Call w/ M. Cilia (RLKS), K. Kearney, R. Esposito, and T. DiNatale
                                            (A&M) re: token receivables and crypto holding disclosure on asset
                                            schedules
Luke Francis            3/13/2023     1.3   Updates to Schedule F and unsecured liabilities


Luke Francis            3/13/2023     0.8   Analysis of asset summaries for WRS silo

Luke Francis            3/13/2023     1.5   Analysis and summary of SOFA 13 details

Luke Francis            3/13/2023     1.8   Analysis of asset summaries for DOTCOM silo


Luke Francis            3/13/2023     1.4   Analysis of asset summaries for Alameda silo

Luke Francis            3/13/2023     1.6   Review of summary for litigation and threatened


Luke Francis            3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                            drafts
Luke Francis            3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                            Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck
Luke Francis            3/13/2023     1.2   Review and updates to draft documents

Luke Francis            3/13/2023     1.1   Analysis of asset summaries for Ventures silo

Luke Francis            3/13/2023     1.9   Review of client responses for SOFA questions


Mark Zeiss              3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                            drafts
Mark Zeiss              3/13/2023     0.6   Review Global Notes attached to Statements filings for Question 9
                                            Donations in the past two years
Mark Zeiss              3/13/2023     2.1   Prepare review report for FTX entity Statements question 3 filings per
                                            internal request
Mark Zeiss              3/13/2023     0.9   Draft Statements Question 4 Payments to Insiders in the year prior to
                                            filing for FTX Foundation payments
Mark Zeiss              3/13/2023     0.7   Draft Statements Question 4 Payments to Insiders in the year prior to
                                            filing for certain additional parties per internal request
Mark Zeiss              3/13/2023     1.1   Revise Customer Liabilities Exhibits per internal comments

Mark Zeiss              3/13/2023     1.2   Draft Statements Question 4 Payments to Insiders in the year prior to
                                            filing for certain insiders who incurred Amex charges allocated to
                                            them

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Professional               Date     Hours     Activity
Mark Zeiss              3/13/2023     1.4   Review Customer Liabilities Exhibits for internal balancing by number
                                            and valuation
Mark Zeiss              3/13/2023     2.8   Prepare drafts of Statements question 3 payments for four FTX
                                            international entities
Mark Zeiss              3/13/2023     1.2   Revise Customer Liabilities Schedule F presentation per internal
                                            comments
Nicole Simoneaux        3/13/2023     0.9   Address SOFA inquiries on global benefits

Rob Esposito            3/13/2023     1.1   Review of 90 day creditor payment disclosures in Statement
                                            Question 3
Rob Esposito            3/13/2023     0.3   Review of proposed transfers for Statement Question 13

Rob Esposito            3/13/2023     0.3   Review of trademark dispute data for Statement Question 7


Rob Esposito            3/13/2023     1.2   Call w/ M. Cilia (RLKS), K. Kearney, R. Esposito, and T. DiNatale
                                            (A&M) re: token receivables and crypto holding disclosure on asset
                                            schedules
Rob Esposito            3/13/2023     2.1   Review of the final draft Schedules for the dormant and semi-
                                            dormant entities
Rob Esposito            3/13/2023     1.0   Working session with M. Cilia (RLKS), D. Lewandowski and R.
                                            Esposito (A&M) re: Schedule F, AP
Rob Esposito            3/13/2023     0.6   Working session with T Shea (EY) and R Esposito (A&M) re: tax
                                            claims
Rob Esposito            3/13/2023     1.9   Review of the final draft Statements for the dormant and semi-
                                            dormant entities
Rob Esposito            3/13/2023     0.8   Prepare detailed updates to the draft global notes

Rob Esposito            3/13/2023     0.4   Review and update the liabilities excel summary for management
                                            review
Rob Esposito            3/13/2023     0.4   Review of asset and liability data within the UCC Statements and
                                            Schedules presentation
Rob Esposito            3/13/2023     1.4   SOFA 4 discussion with A. Kranzley, J. Petiford(S&C), M.
                                            Cilia(RLKS), R. Gordon, R. Esposito(A&M)
Rob Esposito            3/13/2023     0.7   Meeting with S Kotarba and R Esposito (A&M) to review and update
                                            global notes
Rob Esposito            3/13/2023     0.4   Review of profit sharing plans for Statement Question 17

Rob Esposito            3/13/2023     0.7   Management of team tasks and workstreams for Statements and
                                            Schedules
Rob Esposito            3/13/2023     0.9   Review session of Global Notes blackline with R. Gordon, R.
                                            Esposito(A&M)
Robert Gordon           3/13/2023     1.4   Discussion with A. Kranzley, J. Petiford (S&C), M. Cilia (RLKS), R.
                                            Gordon, R. Esposito (A&M) re: SOFA 4
Robert Gordon           3/13/2023     0.4   Meeting w/ R. Gordon, L. Francis, J. Gonzalez, C. Sullivan, D.
                                            Hainline & D. Slay (A&M) re: Statements & Schedules UCC deck


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Schedules and Statements
Professional             Date     Hours     Activity
Robert Gordon         3/13/2023     0.9   Call with R. Gordon, R. Esposito(A&M) to review of Global Notes
                                          blackline
Robert Gordon         3/13/2023     0.9   Review latest draft of S&S deck for the UCC and provide comments


Robert Gordon         3/13/2023     0.4   Review update global notes with latest S&C comments

Robert Gordon         3/13/2023     1.0   Final read through of the global notes

Robert Gordon         3/13/2023     1.2   Final review of dormant/semi dormant Schedules


Robert Gordon         3/13/2023     1.2   Question 77 of Global Notes working session with M. Cilia (RLKS)

Steve Kotarba         3/13/2023     0.7   Meeting with S Kotarba and R Esposito (A&M) to review and update
                                          global notes
Steve Kotarba         3/13/2023     0.7   Revisions to Global Notes re: statements and schedules

Steve Kotarba         3/13/2023     0.3   Discussion with S. Kotarba, D. Lewandowski, C. Myers (A&M), and
                                          Kroll re: schedule logistics
Steve Kotarba         3/13/2023     0.6   Review payments with accounting team to properly disclose

Steve Kotarba         3/13/2023     0.6   Working session with C. Myers and S. Kotarba regarding redaction
                                          methodology for statements and schedules
Steve Kotarba         3/13/2023     0.6   Review and discuss updates to revenue disclosures


Steve Kotarba         3/13/2023     1.7   Respond to questions re reviewer comments to prepare for data
                                          updates
Steve Kotarba         3/13/2023     0.4   Review contract disclosure updates and comment on same re edits


Steve Kotarba         3/13/2023     1.9   Review and incorporate comments from counsel re related parties

Steve Kotarba         3/13/2023     2.3   Review, revise and update related party disclosures


Steve Kotarba         3/13/2023     3.1   Update SOFA and Schedule drafts for final review

Steve Kotarba         3/13/2023     1.2   Research, discuss and amend disclosures re donations for newly
                                          received data
Trevor DiNatale       3/13/2023     0.4   Update SOFA employee benefit related questions


Trevor DiNatale       3/13/2023     0.4   Meeting with A&M team regarding final statements and schedules
                                          drafts
Trevor DiNatale       3/13/2023     1.2   Call w/ M. Cilia (RLKS), K. Kearney, R. Esposito, and T. DiNatale
                                          (A&M) re: token receivables and crypto holding disclosure on asset
                                          schedules
Trevor DiNatale       3/13/2023     1.3   Prepare updates to S&S UCC draft presentation




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Schedules and Statements
Professional                 Date     Hours     Activity
Trevor DiNatale           3/13/2023     1.4   Update asset schedule master tracker for RLKS review

Trevor DiNatale           3/13/2023     1.6   Review liability schedule drafts prior to filing


Trevor DiNatale           3/13/2023     1.8   Review asset schedule drafts prior to filing

Trevor DiNatale           3/13/2023     2.1   Review updated crypto asset detail for updates to Schedule AB

Trevor DiNatale           3/13/2023     2.6   Review updated S&S drafts prior to final sign off


Trevor DiNatale           3/13/2023     0.9   Review other asset rider detail prior to filing

Trevor DiNatale           3/13/2023     1.1   Prepare summary of updates to S&S drafts to highlight for RLKS
                                              review
Bridger Tenney            3/14/2023     0.7   Determine AP software used by every entity

Bridger Tenney            3/14/2023     0.8   Prepare contacts for every step in AP go forward process


Bridger Tenney            3/14/2023     1.2   List unknown items in AP go forward process

Chris Arnett              3/14/2023     1.9   Review and comment on draft statements and schedules in advance
                                              of filing of same
Christopher Sullivan      3/14/2023     0.2   Identify amounts of venture investments for press release


Christopher Sullivan      3/14/2023     0.6   Review updates to trades payable slide for UCC deck

Christopher Sullivan      3/14/2023     0.7   Provide comments to cash support slides in S&S UCC deck


Christopher Sullivan      3/14/2023     1.1   Finalization of working session for drafting the press release for
                                              Schedules and SOFAs with R. Gordon, S. Coverick, C. Sullivan
                                              (A&M)
Christopher Sullivan      3/14/2023     0.2   Identify amounts of loans to insiders for press release

Christopher Sullivan      3/14/2023     0.4   Update assets and claims figures for S&S press release


Christopher Sullivan      3/14/2023     1.0   Address comments from S. Coverick in the S&S UCC deck

Christopher Sullivan      3/14/2023     0.7   Working session #1 for drafting the press release for Schedules and
                                              SOFAs with R. Gordon, S. Coverick, C. Sullivan, K. Zabcik (A&M)
Christopher Sullivan      3/14/2023     0.5   Continuation of working session for drafting the press release for
                                              Schedules and SOFAs with R. Gordon, S. Coverick, C. Sullivan, K.
                                              Zabcik (A&M)
Christopher Sullivan      3/14/2023     1.2   Working session with R. Gordon, S. Coverick, C. Sullivan, K. Zabcik
                                              (A&M) for drafting the press release for Schedules and SOFAs
Christopher Sullivan      3/14/2023     1.2   Working session with C. Sullivan, D. Slay & J. Gonzalez (A&M)
                                              review and edits to the S&S UCC deck

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Professional             Date     Hours     Activity
Claire Myers          3/14/2023     2.4   Analyze drafts of active entities for filing errors or misprints

Claire Myers          3/14/2023     2.7   Update redactions on S&S form for active entities


Claire Myers          3/14/2023     2.3   Update redactions on S&S form for doorman entities in order to file

Claire Myers          3/14/2023     0.6   Working session with C. Myers and D. Lewandowski (A&M) re:
                                          creditor matrix updates and redactions
Claire Myers          3/14/2023     1.3   Update internal tracking of statements and schedules answers for
                                          draft review
Claire Myers          3/14/2023     0.4   Discussion with S. Kotarba, R. Esposito, T. DiNatale, D.
                                          Lewandowski, and C. Myers (A&M) regarding redactions for
                                          statements and schedules
Claire Myers          3/14/2023     1.0   Update addresses for directors and officers for S&S

Claire Myers          3/14/2023     0.5   A&M team meeting re: statements and schedule drafts and priority
                                          work streams
Claire Myers          3/14/2023     2.1   Determine redactions of new creditors on S&S

Claire Myers          3/14/2023     1.4   Compare redaction on S&S form to internal redaction tracker for S&S
                                          filing
Claire Myers          3/14/2023     1.2   Analyze GDPR, customer data, and PII to review redaction status of
                                          S&S
Claire Myers          3/14/2023     1.1   Update missing addresses to "ADDRESS UNKNOWN" on S&S form


Claudia Sigman        3/14/2023     2.2   Perform review of draft schedules for accuracy in preparation for filing

Claudia Sigman        3/14/2023     0.5   A&M team meeting re: statements and schedule drafts and priority
                                          work streams
Claudia Sigman        3/14/2023     0.6   Review insider redactions for schedules and statements


Claudia Sigman        3/14/2023     1.4   Review SOFA 13 transfers in preparation for filling schedules and
                                          statements
Claudia Sigman        3/14/2023     0.9   Prepare updates to SOFA 28 and 29 based on internal review


Claudia Sigman        3/14/2023     1.3   Review SOFA 4 source detail to ensure all relevant payments are
                                          included
Claudia Sigman        3/14/2023     1.9   Review insider loan detail for accuracy in preparation for filing SOFA
                                          4
Claudia Sigman        3/14/2023     1.1   Review SOFA 1 and 2 for accuracy in preparation for filing

Claudia Sigman        3/14/2023     0.8   Prepare updates to schedules and statements based on review of
                                          drafts before filing
Claudia Sigman        3/14/2023     1.0   SOFA 4 working session with C. Sigman, L. Francis, S. Kotarba, K.
                                          Kearney, R. Gordon, J. Gany(A&M)


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Schedules and Statements
Professional               Date     Hours     Activity
Claudia Sigman          3/14/2023     2.3   Prepare updates to SOFA 4 payment descriptions in preparation for
                                            filing
Claudia Sigman          3/14/2023     2.1   Perform review of draft statements for accuracy in preparation for
                                            filing
David Slay              3/14/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Schedules A &
                                            B in the S&S presentation
David Slay              3/14/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: Schedules D, E,
                                            & F in the S&S presentation
David Slay              3/14/2023     1.1   Finalization of working session for drafting the press release for
                                            Schedules and SOFAs with R. Gordon, S. Coverick, C. Sullivan
                                            (A&M)
David Slay              3/14/2023     2.2   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates for
                                            management commentary
David Slay              3/14/2023     1.2   Working session with C. Sullivan, D. Slay & J. Gonzalez (A&M)
                                            review and edits to the S&S UCC deck
Douglas Lewandowski     3/14/2023     2.4   Review customer schedule f PDF files against counts in AWS
                                            database
Douglas Lewandowski     3/14/2023     0.2   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) re: customer data files
Douglas Lewandowski     3/14/2023     2.4   Review dormant entity Schedules


Douglas Lewandowski     3/14/2023     0.6   Working session with C. Myers and D. Lewandowski (A&M) re:
                                            creditor matrix updates and redactions
Douglas Lewandowski     3/14/2023     0.5   A&M team meeting re: statements and schedule drafts and priority
                                            work streams
Douglas Lewandowski     3/14/2023     1.6   Work on market maker schedule F entries

Douglas Lewandowski     3/14/2023     1.4   Review customer revised PDF schedules exhibit

Douglas Lewandowski     3/14/2023     1.3   Update AP, Schedule F based on feedback from RLKS


Douglas Lewandowski     3/14/2023     0.7   identify contracts supporting certain AP balances for RLKS review

Douglas Lewandowski     3/14/2023     0.4   Discussion with S. Kotarba, R. Esposito, T. DiNatale, D.
                                            Lewandowski, and C. Myers (A&M) regarding redactions for
                                            statements and schedules
Douglas Lewandowski     3/14/2023     0.4   Discussion with R. Esposito, D. Lewandowski (A&M), and M. Cilia
                                            (RLKS) re: AP in Schedule F
Douglas Lewandowski     3/14/2023     2.2   Review SOFA documents for active entities

Drew Hainline           3/14/2023     0.7   Develop bridge analysis between rollback detail for MOR versus S&S
                                            schedule F detail for WRSS
Drew Hainline           3/14/2023     0.8   Develop bridge analysis between rollback detail for MOR versus S&S
                                            schedule F detail for WRS
Drew Hainline           3/14/2023     0.5   Review open S&S review questions from RLKS



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Professional               Date     Hours     Activity
Drew Hainline           3/14/2023     0.7   Review comments from Japan for open S&S review questions and
                                            provide responses and documents in RLKS question tracker
Drew Hainline           3/14/2023     0.2   Review and update executive summary for the S&S BoD presentation


Drew Hainline           3/14/2023     0.4   Review S&S schedule F against liabilities in rollback draft for FTX
                                            Japan KK
Drew Hainline           3/14/2023     0.5   Review responses from Jurg on FTX Europe entities and provide
                                            responses for S&S review questions from RLKS
Drew Hainline           3/14/2023     0.7   Tie out of S&S against balance sheet information for Quoine Pte Ltd


Drew Hainline           3/14/2023     0.8   Tie out of S&S against balance sheet information for FTX Europe AG

Drew Hainline           3/14/2023     1.4   Develop bridge analysis between rollback detail for MOR versus S&S
                                            schedule F detail for FTX Trading Ltd
Drew Hainline           3/14/2023     1.2   Tie out of S&S against balance sheet information for FTX Trading Ltd

Heather Ardizzoni       3/14/2023     2.8   Review Draft Schedule A/B for various Alameda legal entities


Heather Ardizzoni       3/14/2023     2.1   Draft comments on Draft Schedule A/B for various Alameda legal
                                            entities
Jared Gany              3/14/2023     2.2   Final review of dormant entity SOFA's

Jared Gany              3/14/2023     1.8   Reconciliation between SOFA 3 and 4 to remove duplicates


Jared Gany              3/14/2023     2.1   Review of undocumented loan and promissory note transactions for
                                            potential inclusion in schedules
Jared Gany              3/14/2023     0.9   Reconciliation between SOFA 3 and SOFA 13 to identify potential
                                            duplicates
Jared Gany              3/14/2023     2.8   Reconcile final SOFA 4 amounts against source material

Jared Gany              3/14/2023     1.0   SOFA 4 working session with C. Sigman, L. Francis, S. Kotarba, K.
                                            Kearney, R. Gordon, J. Gany(A&M)
Jared Gany              3/14/2023     3.1   Final review of dormant entity schedules

Jeffery Stegenga        3/14/2023     0.3   Review of draft press release for the initial filing of the Debtors'
                                            schedules and statements
Johnny Gonzalez         3/14/2023     0.2   Update the S&S presentation for the latest trade payables information


Johnny Gonzalez         3/14/2023     2.9   Working session w/ J. Gonzalez & D. Slay (A&M) re: Schedules D, E,
                                            & F in the S&S presentation
Johnny Gonzalez         3/14/2023     0.4   Update the S&S presentation for the latest customer exchange
                                            claims information
Johnny Gonzalez         3/14/2023     2.7   Working session w/ J. Gonzalez & D. Slay (A&M) re: Schedules A &
                                            B in the S&S presentation




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Schedules and Statements
Professional               Date     Hours     Activity
Johnny Gonzalez         3/14/2023     2.2   Working session w/ J. Gonzalez & D. Slay (A&M) re: updates for
                                            management commentary
Johnny Gonzalez         3/14/2023     0.2   Update the Global Notes section of the S&S presentation for the
                                            updated version distributed
Johnny Gonzalez         3/14/2023     0.4   Update the S&S presentation for the latest loans payable information

Johnny Gonzalez         3/14/2023     1.4   Incorporate formatting changes to the S&S presentation

Johnny Gonzalez         3/14/2023     1.2   Working session with C. Sullivan, D. Slay & J. Gonzalez (A&M)
                                            review and edits to the S&S UCC deck
Kathryn Zabcik          3/14/2023     0.4   Prepare initial draft for Schedules and SOFAs press release

Kathryn Zabcik          3/14/2023     0.6   Edit Draft for Schedules and SOFAs press release after second
                                            working session
Kathryn Zabcik          3/14/2023     1.2   Working session with R. Gordon, S. Coverick, C. Sullivan, K. Zabcik
                                            (A&M) for drafting the press release for Schedules and SOFAs
Kevin Kearney           3/14/2023     1.0   Working session with C. Sigman, L. Francis, S. Kotarba, K. Kearney,
                                            R. Gordon, J. Gany (A&M) re: SOFA 4
Luke Francis            3/14/2023     1.8   Review of SOFA 4 and 13 parties

Luke Francis            3/14/2023     1.4   Updates to asset schedules and review of liabilities

Luke Francis            3/14/2023     1.5   Review of SOFA / Schedule final documents for Alameda silo


Luke Francis            3/14/2023     1.4   Updates to SOFA 4 and SOFA 13 analysis and summaries

Luke Francis            3/14/2023     1.1   Review of SOFA / Schedule final documents for Ventures silo


Luke Francis            3/14/2023     1.0   SOFA 4 working session with C. Sigman, L. Francis, S. Kotarba, K.
                                            Kearney, R. Gordon, J. Gany(A&M)
Luke Francis            3/14/2023     1.3   Review of SOFA 25 and investments in 3rd parties


Luke Francis            3/14/2023     1.1   Review of Schedule G and schedule F for investments

Luke Francis            3/14/2023     1.7   Review of SOFA / Schedule final documents for WRS silo

Luke Francis            3/14/2023     1.1   Review of insider loans and description of value


Luke Francis            3/14/2023     0.5   A&M team meeting re: statements and schedules drafts and priority
                                            work streams
Luke Francis            3/14/2023     1.8   Review of SOFA / Schedule final documents for DOTCOM silo


Mark Zeiss              3/14/2023     1.6   Revise SOFA Question 3 payments in the 90 days, removing
                                            corresponding entries for finalized SOFA 4 transfers




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Schedules and Statements
Professional               Date     Hours     Activity
Mark Zeiss              3/14/2023     1.7   Finalize Customer Liabilities Exhibits for Schedules Filings for FTX
                                            entities with Customer Liabilities
Mark Zeiss              3/14/2023     2.1   Review final drafts of Schedules for dormant FTX filing entities,
                                            providing comments for drafts
Mark Zeiss              3/14/2023     0.9   Schedules A/B drafts for four FTX entities for Schedules filings per
                                            comments
Mark Zeiss              3/14/2023     2.2   Review final drafts of Statements for active FTX filing entities,
                                            providing comments for drafts
Mark Zeiss              3/14/2023     2.2   Review final drafts of Statements for dormant FTX filing entities,
                                            providing comments for drafts
Mark Zeiss              3/14/2023     0.8   Revise Schedule D Loan Payables for redaction and other comments
                                            for Schedules filings
Mark Zeiss              3/14/2023     2.1   Review final drafts of Schedules for active FTX filing entities,
                                            providing comments for drafts
Mark Zeiss              3/14/2023     0.2   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                            K. Ramanathan (A&M) re: customer data files
Mark Zeiss              3/14/2023     1.2   Revise Schedule F Loan Payables for redaction and other comments
                                            for Schedules filings
Mark Zeiss              3/14/2023     1.1   Revise SOFA 11 Exhibits for payments to bankruptcy professionals
                                            per comments
Rob Esposito            3/14/2023     0.4   Correspondences with S&C team re: finalizing global notes

Rob Esposito            3/14/2023     0.4   Discussion with S. Kotarba, R. Esposito, T. DiNatale, D.
                                            Lewandowski, and C. Myers (A&M) regarding redactions for
                                            statements and schedules
Rob Esposito            3/14/2023     1.8   Review and analysis of the liability schedules for active entity
                                            Schedules
Rob Esposito            3/14/2023     0.4   Discussion with R. Esposito, D. Lewandowski (A&M), and M. Cilia
                                            (RLKS) re: AP in Schedule F
Rob Esposito            3/14/2023     1.1   Review and analysis of draft active entity Statement of Financial
                                            Affairs reports
Rob Esposito            3/14/2023     1.1   Management of team tasks and workstreams for Statements and
                                            Schedules
Rob Esposito            3/14/2023     1.7   Review and analysis of certain final draft Statement and Schedules
                                            reports
Rob Esposito            3/14/2023     0.6   Teleconferences with A. Kranzley (S&C) re: Statements and
                                            Schedules disclosures
Rob Esposito            3/14/2023     1.3   Review and analysis of payment disclosures within the Statement of
                                            Financial Affairs
Rob Esposito            3/14/2023     1.7   Review and analysis of the final dormant entity Statement of
                                            Financial Affairs reports
Rob Esposito            3/14/2023     0.8   Prepare summary data for final approval of Statements and
                                            Schedules
Rob Esposito            3/14/2023     2.1   Review and analysis of final asset schedules for the active entity
                                            Schedules


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Schedules and Statements
Professional             Date     Hours     Activity
Rob Esposito          3/14/2023     2.6   Review and analysis of the final dormant entity Schedules of Assets
                                          and Liabilities reports
Robert Gordon         3/14/2023     1.4   Review Schedules in the Ventures silo against supporting schedules


Robert Gordon         3/14/2023     1.8   Review Schedules in the WRS silo against supporting schedules

Robert Gordon         3/14/2023     0.4   Review schedules for ARL against supporting materials

Robert Gordon         3/14/2023     1.1   Finalization of working session for drafting the press release for
                                          Schedules and SOFAs with R. Gordon, S. Coverick, C. Sullivan
                                          (A&M)
Robert Gordon         3/14/2023     1.5   Review Schedules in the DOTCOM silo against supporting schedules

Robert Gordon         3/14/2023     0.3   Review Schedules in the Alameda silo against supporting schedules

Robert Gordon         3/14/2023     1.0   Working session with C. Sigman, L. Francis, S. Kotarba, K. Kearney,
                                          R. Gordon, J. Gany (A&M) re: SOFA 4
Robert Gordon         3/14/2023     1.2   Working session with R. Gordon, S. Coverick, C. Sullivan, K. Zabcik
                                          (A&M) for drafting the press release for Schedules and SOFAs
Robert Gordon         3/14/2023     1.3   Continue reviewing schedules in the DOTCOM silo


Steve Coverick        3/14/2023     0.7   Working session #1 for drafting the press release for Schedules and
                                          SOFAs with R. Gordon, S. Coverick, C. Sullivan, K. Zabcik (A&M)
Steve Coverick        3/14/2023     1.1   Finalization of working session for drafting the press release for
                                          Schedules and SOFAs with R. Gordon, S. Coverick, C. Sullivan
                                          (A&M)
Steve Coverick        3/14/2023     1.4   Review proposed filing versions of SOFAs


Steve Coverick        3/14/2023     1.6   Review and provide comments on updated draft of Statements and
                                          Schedules presentation for UCC
Steve Coverick        3/14/2023     1.4   Review and provide comments on final draft of global notes pre-filing


Steve Coverick        3/14/2023     1.4   Review proposed filing versions of SOALs

Steve Kotarba         3/14/2023     2.1   Respond to questions from review team and counsel


Steve Kotarba         3/14/2023     1.0   Prepare list of open items and coordinate with claims agent re filing

Steve Kotarba         3/14/2023     0.4   Discussion with S. Kotarba, R. Esposito, T. DiNatale, D.
                                          Lewandowski, and C. Myers (A&M) regarding redactions for
                                          statements and schedules
Steve Kotarba         3/14/2023     2.6   Review and finalize payments to related parties


Steve Kotarba         3/14/2023     1.0   Review liability disclosures and related balance sheets




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Professional              Date     Hours     Activity
Steve Kotarba          3/14/2023     1.6   Discussions and updates re redaction of party names

Steve Kotarba          3/14/2023     1.1   Logistics re filing - posting exhibits, customer access, exhibit labels


Steve Kotarba          3/14/2023     1.0   SOFA 4 working session with C. Sigman, L. Francis, S. Kotarba, K.
                                           Kearney, R. Gordon, J. Gany(A&M)
Steve Kotarba          3/14/2023     0.2   Discussion with M. Zeiss, L. Konig, S. Kotarba, D. Lewandowski, and
                                           K. Ramanathan (A&M) re: customer data files
Steve Kotarba          3/14/2023     2.2   Revise insider disclosures, research additional payments to disclose


Trevor DiNatale        3/14/2023     2.3   Review active entity Schedule SOFA drafts prior to filing

Trevor DiNatale        3/14/2023     2.1   Review active entity Schedule AB detail prior to filing


Trevor DiNatale        3/14/2023     1.7   Review dormant entity SOFA drafts prior to filing

Trevor DiNatale        3/14/2023     1.1   Prepare updates to UCC presentation detail


Trevor DiNatale        3/14/2023     1.6   Analyze market making loan detail for inclusion in Schedule F

Trevor DiNatale        3/14/2023     1.8   Review active entity Schedule D/E/F detail prior to filing

Trevor DiNatale        3/14/2023     0.4   Review S&S press release detail


Trevor DiNatale        3/14/2023     0.7   Update crypto asset holding detail for Schedule AB

Trevor DiNatale        3/14/2023     0.8   Update cash account detail for inclusion in asset schedules


Trevor DiNatale        3/14/2023     0.4   Discussion with S. Kotarba, R. Esposito, T. DiNatale, D.
                                           Lewandowski, and C. Myers (A&M) regarding redactions for
                                           statements and schedules
Trevor DiNatale        3/14/2023     0.7   Prepare updates to S&S UCC draft presentation

Trevor DiNatale        3/14/2023     0.4   A&M team meeting re: statements and schedule drafts and priority
                                           work streams
Trevor DiNatale        3/14/2023     0.8   Update asset schedule master tracker for RLKS review

Trevor DiNatale        3/14/2023     1.3   Prepare updated liability summary detail for RLKS review


Christopher Sullivan   3/15/2023     0.6   Working session w/ S. Coverick, C. Sullivan, J. Gonzalez, D. Slay &
                                           R. Gordon (A&M), re: Statements & Schedules review of SOFA
                                           slides and recent updates
Christopher Sullivan   3/15/2023     0.6   Call with C. Sullivan, D. Slay, R. Gordon, R. Esposito (A&M) to
                                           prepare for statements and schedules summary presentation to FTI




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Schedules and Statements
Professional               Date     Hours     Activity
Christopher Sullivan    3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                            Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                            (A&M), re: Statements & Schedules review
Christopher Sullivan    3/15/2023     2.1   Review updated SOFA slides for UCC deck

Christopher Sullivan    3/15/2023     1.8   Reconcile support files to latest draft of the S&S deck


Christopher Sullivan    3/15/2023     1.8   Review list of claims schedule with undetermined amounts

Claire Myers            3/15/2023     2.1   Analyze drafts of active entities for filing errors or misprints in order to
                                            file
Claire Myers            3/15/2023     2.3   Analyze schedule G descriptions for parties that should be redacted

Claire Myers            3/15/2023     1.4   Print final drafts of S&S after all updates of redaction were made

Claire Myers            3/15/2023     1.6   Update SOFAs with redaction updates based on customer data


Claudia Sigman          3/15/2023     0.4   Integrate SOFA 4 payments into internal management system in
                                            preparation for filing schedules and statements
Claudia Sigman          3/15/2023     0.3   Prepare updates to SOFA 9 summary in preparation for UCC
                                            presentation
Claudia Sigman          3/15/2023     1.0   Conference with Alix team, J Croke (S&C), A Kranzley (S&C), R.
                                            Esposito, L Francis, S Kotarba, C Sigman, and J Gany (A&M) to
                                            review and discuss insider transfers and Statement Question 4
                                            descriptions thereof
Claudia Sigman          3/15/2023     1.3   Prepare updates to SOFA 4 summary based on updates in
                                            transaction data
Claudia Sigman          3/15/2023     1.8   Review statements drafts for accuracy before filing final versions


Claudia Sigman          3/15/2023     1.7   Review schedules drafts for accuracy before filing final versions

Claudia Sigman          3/15/2023     1.9   Prepare updates to SOFA 4 payments based on discussion with S&C

David Slay              3/15/2023     0.5   Working session w/ J. Gonzalez, D. Slay, R. Gordon, L. Francis & R.
                                            Esposito (A&M), re: SOFA 4 & 13 review
David Slay              3/15/2023     0.6   Call with C. Sullivan, D. Slay, R. Gordon, R. Esposito (A&M) to
                                            prepare for statements and schedules summary presentation to FTI
David Slay              3/15/2023     0.6   Update statements and schedules deck from changes from prior night


David Slay              3/15/2023     0.5   Working session with R Gordon, J Gonzalez, D Slay, R Esposito and
                                            L Francis (A&M) re: press release disclosures
David Slay              3/15/2023     0.6   Working session w/ S. Coverick, C. Sullivan, J. Gonzalez, D. Slay &
                                            R. Gordon (A&M), re: Statements & Schedules review of SOFA
                                            slides and recent updates
David Slay              3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, J.
                                            Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba (A&M), re:
                                            Statements & Schedules review

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                            March 1, 2023 through March 31, 2023


Schedules and Statements
Professional               Date     Hours     Activity
David Slay              3/15/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                            schedule internal review
David Slay              3/15/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: address
                                            comments for statements and schedules
Douglas Lewandowski     3/15/2023     0.7   Review loan payables in Schedule D/F

Douglas Lewandowski     3/15/2023     0.7   Make final updates to AP, Schedule F vendors

Douglas Lewandowski     3/15/2023     0.4   Prepare customer schedule PDFs for filing


Douglas Lewandowski     3/15/2023     0.6   Update schedule G redacted descriptions

Douglas Lewandowski     3/15/2023     0.6   Work on schedule email redaction


Douglas Lewandowski     3/15/2023     0.6   Update redaction for email addresses printed on Schedule G

Douglas Lewandowski     3/15/2023     1.5   Review customer data for customized email blast re: balances and
                                            schedules
Douglas Lewandowski     3/15/2023     1.5   Review schedules excel files in preparation of liability/contract
                                            schedule filing
Douglas Lewandowski     3/15/2023     1.4   Review Liability schedule redaction

Douglas Lewandowski     3/15/2023     1.3   Review active entity schedules exports for redaction purposes


Douglas Lewandowski     3/15/2023     1.7   Review and update Schedule G redaction

Douglas Lewandowski     3/15/2023     2.1   Review schedule drafts for active entities


Douglas Lewandowski     3/15/2023     1.4   Review customer files against master customer database

Drew Hainline           3/15/2023     0.7   Develop bridge analysis between rollback detail for MOR versus S&S
                                            schedule F detail for WRSS
Ed Mosley               3/15/2023     1.4   Review of supporting documents for SOFA / SOAL release

Jared Gany              3/15/2023     1.0   Conference with Alix team, J Croke (S&C), A Kranzley (S&C), R.
                                            Esposito, L Francis, S Kotarba, C Sigman, and J Gany (A&M) to
                                            review and discuss insider transfers and Statement Question 4
                                            descriptions thereof
Jared Gany              3/15/2023     0.9   Finalization of SOFA 4 insider review for inclusion and potential
                                            redactions
Jared Gany              3/15/2023     2.2   Final review of active entity Schedules


Jared Gany              3/15/2023     2.9   Final review of active entity SOFA's




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Schedules and Statements
Professional                Date     Hours     Activity
Johnny Gonzalez          3/15/2023     0.6   Working session w/ S. Coverick, C. Sullivan, J. Gonzalez, D. Slay &
                                             R. Gordon (A&M), re: Statements & Schedules review of SOFA
                                             slides and recent updates
Johnny Gonzalez          3/15/2023     0.5   Update the SOFAs section of the S&S presentation with latest
                                             commentary
Johnny Gonzalez          3/15/2023     0.5   Working session with R Gordon, J Gonzalez, D Slay, R Esposito and
                                             L Francis (A&M) re: press release disclosures
Johnny Gonzalez          3/15/2023     0.5   Working session w/ J. Gonzalez, D. Slay, R. Gordon, L. Francis & R.
                                             Esposito (A&M), re: SOFA 4 & 13 updates
Johnny Gonzalez          3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                             Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                             (A&M), re: Statements & Schedules review
Johnny Gonzalez          3/15/2023     0.4   Update the SOFAs section of the S&S presentation with latest
                                             numbers
Johnny Gonzalez          3/15/2023     2.6   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                             schedule internal review
Johnny Gonzalez          3/15/2023     2.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: address
                                             comments for statements and schedules
Johnny Gonzalez          3/15/2023     2.4   Update the Global Notes section of the S&S presentation for the final
                                             version distributed
Louis Konig              3/15/2023     1.2   Script and development related to customer liabilities scheduling
                                             automation
Luke Francis             3/15/2023     1.0   Conference with Alix team, J Croke (S&C), A Kranzley (S&C), R.
                                             Esposito, L Francis, S Kotarba, C Sigman, and J Gany (A&M) to
                                             review and discuss insider transfers and Statement Question 4
                                             descriptions thereof
Luke Francis             3/15/2023     0.5   Working session with R Gordon, J Gonzalez, D Slay, R Esposito and
                                             L Francis (A&M) re: press release disclosures
Luke Francis             3/15/2023     0.5   Working session w/ J. Gonzalez, D. Slay, R. Gordon, L. Francis & R.
                                             Esposito (A&M), re: SOFA 4 & 13 updates
Luke Francis             3/15/2023     1.2   Review of SOFA / Schedule final documents for Ventures silo


Luke Francis             3/15/2023     1.3   Review of SOFA / Schedule final documents for Alameda silo

Luke Francis             3/15/2023     1.6   Review of loans payable and additional liabilities


Luke Francis             3/15/2023     1.3   Review of SOFA / Schedule final documents for DOTCOM silo

Luke Francis             3/15/2023     1.4   Review of redactions and potential updates


Luke Francis             3/15/2023     1.5   Review of SOFA / Schedule final documents for WRS silo

Luke Francis             3/15/2023     1.7   Review of investments and asset summaries and descriptions

Mark Zeiss               3/15/2023     2.3   Review final drafts of Schedules for active FTX filing entities,
                                             providing comments for drafts


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Schedules and Statements
Professional               Date     Hours     Activity
Mark Zeiss              3/15/2023     1.8   Revise final drafts of Statements for active FTX filing entities per
                                            comments
Mark Zeiss              3/15/2023     2.7   Review final drafts of Statements for active FTX filing entities,
                                            providing comments for drafts
Mark Zeiss              3/15/2023     2.1   Revise final drafts of Schedules for active FTX filing entities per
                                            comments
Rob Esposito            3/15/2023     0.6   Call with C. Sullivan, D. Slay, R. Gordon, R. Esposito (A&M) to
                                            prepare for statements and schedules summary presentation to FTI
Rob Esposito            3/15/2023     1.0   Conference with Alix team, J Croke (S&C), A Kranzley (S&C), R.
                                            Esposito, L Francis, S Kotarba, C Sigman, and J Gany (A&M) to
                                            review and discuss insider transfers and Statement Question 4
                                            descriptions thereof
Rob Esposito            3/15/2023     0.9   Work on insider data for Statement of Financial Affairs disclosures


Rob Esposito            3/15/2023     0.9   Review and analysis of draft active entity Schedules of Assets and
                                            Liabilities reports
Rob Esposito            3/15/2023     0.5   Working session with R Gordon, J Gonzalez, D Slay, R Esposito and
                                            L Francis (A&M) re: press release disclosures
Rob Esposito            3/15/2023     0.4   Review of data provided in press release for insider data

Rob Esposito            3/15/2023     0.5   Working session w/ J. Gonzalez, D. Slay, R. Gordon, L. Francis & R.
                                            Esposito (A&M), re: SOFA 4 & 13 updates
Rob Esposito            3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                            Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                            (A&M), re: Statements & Schedules review
Rob Esposito            3/15/2023     2.1   Review and analysis of the final active entity Schedules of Assets
                                            and Liabilities reports
Rob Esposito            3/15/2023     1.7   Work on Statements and Schedules data for the UCC presentation


Rob Esposito            3/15/2023     1.9   Review of final active entity Statement of Financial Affairs reports

Robert Gordon           3/15/2023     0.5   Working session w/ J. Gonzalez, D. Slay, R. Gordon, L. Francis & R.
                                            Esposito (A&M), re: SOFA 4 & 13 updates
Robert Gordon           3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                            Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                            (A&M), re: Statements & Schedules review
Robert Gordon           3/15/2023     0.6   Working session w/ S. Coverick, C. Sullivan, J. Gonzalez, D. Slay &
                                            R. Gordon (A&M), re: Statements & Schedules review of SOFA
                                            slides and recent updates
Robert Gordon           3/15/2023     2.1   Prepare for UCC review of Schedules by reviewing presentation and
                                            supporting materials
Steve Coverick          3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                            Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                            (A&M), re: Statements & Schedules review
Steve Coverick          3/15/2023     0.6   Working session w/ S. Coverick, C. Sullivan, J. Gonzalez, D. Slay &
                                            R. Gordon (A&M), re: Statements & Schedules review of SOFA
                                            slides and recent updates


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Schedules and Statements
Professional              Date     Hours     Activity
Steve Coverick         3/15/2023     0.6   Call with C. Sullivan, D. Slay, R. Gordon, R. Esposito (A&M) to
                                           prepare for statements and schedules summary presentation to FTI
Steve Coverick         3/15/2023     1.9   Review and provide comments on final draft of statements and
                                           schedules presentation for UCC
Steve Kotarba          3/15/2023     1.0   Conference with Alix team, J Croke (S&C), A Kranzley (S&C), R.
                                           Esposito, L Francis, S Kotarba, C Sigman, and J Gany (A&M) to
                                           review and discuss insider transfers and Statement Question 4
                                           descriptions thereof
Steve Kotarba          3/15/2023     0.9   Meeting with M. Dawson, B. Bromberg, M. Gray (FTI), S. Coverick, C.
                                           Sullivan, J. Gonzalez, D. Slay, R. Gordon, R. Esposito & S. Kotarba
                                           (A&M), re: Statements & Schedules review
Steve Kotarba          3/15/2023     2.1   Implement final revisions per filing review and comments from
                                           counsel
Steve Kotarba          3/15/2023     3.2   Final review of drafts prefiling


Steve Kotarba          3/15/2023     1.6   Prepare final schedule versions for filing

Steve Kotarba          3/15/2023     2.7   Follow up and finalize related party payment disclosures

Trevor DiNatale        3/15/2023     0.7   Update S&S UCC presentation materials


Trevor DiNatale        3/15/2023     1.9   Finalize SOFAs for filing in current motion

Trevor DiNatale        3/15/2023     1.9   Prepare summary reports of schedule and SOFA detail for UCC
                                           review
Trevor DiNatale        3/15/2023     2.1   Review final schedule drafts prior to filing

Trevor DiNatale        3/15/2023     2.3   Finalize statements and schedules for filing


Christopher Sullivan   3/16/2023     0.7   Update footnote explanations for various support tables

Christopher Sullivan   3/16/2023     1.4   Review filed Global notes and make adjustments to summary tables
                                           as necessary
Christopher Sullivan   3/16/2023     1.1   Draft press release to accompany the S&S support deck to be filed


Christopher Sullivan   3/16/2023     0.9   Review cash support files to check the S&S deck materials

Christopher Sullivan   3/16/2023     1.1   Conform labelling of accounts throughout the S&S deck


Christopher Sullivan   3/16/2023     0.9   Reconcile investment support schedules to the revised S&S deck

Christopher Sullivan   3/16/2023     1.2   Address S. Coverick (A&M) comments on the S&S deck


Douglas Lewandowski    3/16/2023     1.4   Work on S&S response questions from J. Petiford (S&C)




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Schedules and Statements
Professional                Date     Hours     Activity
Douglas Lewandowski      3/16/2023     0.6   Discussion with R. Esposito and D. Lewandowski (A&M) re: customer
                                             communications
Douglas Lewandowski      3/16/2023     0.9   Work on customer communication re: filing of statements and
                                             schedules
Douglas Lewandowski      3/16/2023     0.4   Prepare customer data files for upload to Kroll

Douglas Lewandowski      3/16/2023     2.2   Review customer data files in preparation for email blast

Douglas Lewandowski      3/16/2023     0.6   Correspond with R. Esposito (A&M) re: customer disclosures


Drew Hainline            3/16/2023     2.3   Develop bridge analysis between rollback detail for MOR versus S&S
                                             schedule F detail for WRSS
Jared Gany               3/16/2023     0.5   Final review of active entity SOFA's


Jeffery Stegenga         3/16/2023     1.2   Review of final draft of S&S overview deck and questions follow-up
                                             w/ Steve Coverick
Johnny Gonzalez          3/16/2023     1.2   Reconcile scheduled claims amounts in the S&S presentation


Johnny Gonzalez          3/16/2023     2.2   Reconcile scheduled assets amounts in the S&S presentation

Johnny Gonzalez          3/16/2023     0.9   Prepare the S&S presentation for the UCC review

Johnny Gonzalez          3/16/2023     1.8   Reconcile the undetermined assets and claims of the S&S
                                             presentation
Johnny Gonzalez          3/16/2023     1.6   Update the undetermined amounts section of the S&S presentation

Louis Konig              3/16/2023     0.7   Quality control and review of script outputs related to customer
                                             liabilities scheduling
Luke Francis             3/16/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: asset data within
                                             the UCC presentation
Luke Francis             3/16/2023     1.7   Review of unredacted exports and preparation of filing


Luke Francis             3/16/2023     1.7   Preparation of UCC presentation for SOFA and Schedule

Luke Francis             3/16/2023     1.9   Review of filed documents to export summaries and preparation of
                                             exports for others
Luke Francis             3/16/2023     1.5   Preparation of exports of statements and schedules


Mark Zeiss               3/16/2023     1.1   Review Statements & Schedules presentation for Statements
                                             payments questions re: reconciliation to Statements filings
Rob Esposito             3/16/2023     0.2   Discussion with L Francis and R Esposito (A&M) re: asset data within
                                             the UCC presentation
Rob Esposito             3/16/2023     0.6   Discussion with R. Esposito and D. Lewandowski (A&M) re: customer
                                             communications




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                                  FTX Trading Ltd., et al.,
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Schedules and Statements
Professional               Date     Hours     Activity
Rob Esposito            3/16/2023     2.4   Review and QC of the Statements and Schedules review presentation

Rob Esposito            3/16/2023     0.4   Discussion with A Kranzley (S&C), J Petiford (S&C) and R Esposito
                                            (A&M) re: redactions and other Statements/Schedules related matters
Robert Gordon           3/16/2023     1.2   Review statement and schedules overview presentation with a focus
                                            on alameda claims
Steve Coverick          3/16/2023     0.9   Markup press release re: statements and schedules presentation

Steve Coverick          3/16/2023     1.7   Review and provide comments on final statements and schedules
                                            summary presentation for public release
Steve Coverick          3/16/2023     0.5   Correspond with A&M, JF, S&C personnel on press release for
                                            statements and schedules presentation
Trevor DiNatale         3/16/2023     1.1   Review UCC S&S review presentation


Trevor DiNatale         3/16/2023     1.4   Update S&S data exports for UCC review

Christopher Sullivan    3/17/2023     1.1   Review latest updates to loans payable schedules


Christopher Sullivan    3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Christopher Sullivan    3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Christopher Sullivan    3/17/2023     2.9   Working session w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                            Statements & Schedules Summary update for distribution
Claire Myers            3/17/2023     1.4   Analyze individuals who were unredacted in statements and
                                            schedules for litigation team and S&S review
Claire Myers            3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                            C Myers and L Francis (A&M) to discuss next steps post Schedules
                                            and Statements
Claudia Sigman          3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                            C Myers and L Francis (A&M) to discuss next steps post Schedules
                                            and Statements
Claudia Sigman          3/17/2023     1.9   Prepare Statements excel summary report for UCC review

David Slay              3/17/2023     2.9   Working session w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                            Statements & Schedules Summary update for distribution
David Slay              3/17/2023     2.1   Update global footnotes in Statements & Statements schedules

David Slay              3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
David Slay              3/17/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                            Schedules Summary revisions for press release


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Schedules and Statements
Professional               Date     Hours     Activity
David Slay              3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Douglas Lewandowski     3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Douglas Lewandowski     3/17/2023     0.4   Conference with S. Kotarba and R Esposito (A&M) to discuss status
                                            of UCC related requests
Douglas Lewandowski     3/17/2023     0.8   Discussion with D. Lewandowski, M. Zeiss, and S. Kotarba (A&M) re:
                                            customer schedules and summary deck
Douglas Lewandowski     3/17/2023     1.6   Review UCC deck in preparation for public filing

Douglas Lewandowski     3/17/2023     1.8   Review excel version of schedules for UCC review


Douglas Lewandowski     3/17/2023     2.1   Reconcile public version of schedules to totals in the UCC excel files

Douglas Lewandowski     3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Douglas Lewandowski     3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                            C Myers and L Francis (A&M) to discuss next steps post Schedules
                                            and Statements
Johnny Gonzalez         3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Johnny Gonzalez         3/17/2023     1.8   Working session w/ J. Gonzalez & D. Slay (A&M) re: Statements &
                                            Schedules Summary revisions for press release
Johnny Gonzalez         3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Johnny Gonzalez         3/17/2023     2.9   Working session w/ J. Gonzalez, D. Slay & C. Sullivan (A&M) re:
                                            Statements & Schedules Summary update for distribution
Kevin Kearney           3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Kevin Kearney           3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Luke Francis            3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Luke Francis            3/17/2023     1.8   Updates for SOFA and Schedule PPT and review of next steps

Luke Francis            3/17/2023     1.5   Analysis of potential next steps for new information




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Schedules and Statements
Professional               Date     Hours     Activity
Luke Francis            3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                            C Myers and L Francis (A&M) to discuss next steps post Schedules
                                            and Statements
Luke Francis            3/17/2023     1.7   Review and preparation of Investment SOFA and Schedule exports

Luke Francis            3/17/2023     1.6   Review of filed documents to export summaries and preparation of
                                            exports for others
Luke Francis            3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Luke Francis            3/17/2023     1.7   Review of UCC presentation and updates

Mark Zeiss              3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Mark Zeiss              3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Mark Zeiss              3/17/2023     0.8   Discussion with D. Lewandowski, M. Zeiss, and S. Kotarba (A&M) re:
                                            customer schedules and summary deck
Mark Zeiss              3/17/2023     1.6   Review Statements & Schedules presentation for Customer Liabilities
                                            questions re: reconciliation to Schedules filings
Mark Zeiss              3/17/2023     1.1   Review Statements & Schedules presentation for Statements
                                            payments questions re: reconciliation to Statements filings
Rob Esposito            3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution
Rob Esposito            3/17/2023     0.4   Conference with S. Kotarba and R Esposito (A&M) to discuss status
                                            of UCC related requests
Rob Esposito            3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                            C Myers and L Francis (A&M) to discuss next steps post Schedules
                                            and Statements
Rob Esposito            3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                            K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                            review of the Statements & Schedules presentation
Rob Esposito            3/17/2023     1.2   Review and modifications to the Schedules and Statements excel
                                            reports for the UCC
Rob Esposito            3/17/2023     1.7   Review and analysis of the Statements and Schedules presentation

Robert Gordon           3/17/2023     0.6   Prepare for Schedules and Statements presentation review


Robert Gordon           3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                            Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                            Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                            Summary deck review for distribution


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Schedules and Statements
Professional                Date     Hours     Activity
Robert Gordon            3/17/2023     1.1   Final review of schedules and statements overview presentation

Robert Gordon            3/17/2023     1.9   Continue reviewing and editing schedules and statement overview
                                             presentation
Robert Gordon            3/17/2023     0.5   Meeting w/ J. Gonzalez, D. Slay, C. Sullivan, R. Esposito, R. Gordon,
                                             K. Kearney, L. Francis, D. Lewandowski & M. Zeiss (A&M) re: Final
                                             review of the Statements & Schedules presentation
Steve Coverick           3/17/2023     2.0   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                             Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                             Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                             Summary deck review for distribution
Steve Coverick           3/17/2023     2.9   Review and provide comments on filing version of statements and
                                             schedules summary presentation for public release
Steve Kotarba            3/17/2023     1.9   Review and provide comments to Statement and Schedule deck for
                                             public posting
Steve Kotarba            3/17/2023     0.4   Conference with S. Kotarba and R Esposito (A&M) to discuss status
                                             of UCC related requests
Steve Kotarba            3/17/2023     0.8   Discussion with D. Lewandowski, M. Zeiss, and S. Kotarba (A&M) re:
                                             customer schedules and summary deck
Steve Kotarba            3/17/2023     0.5   Conference with R Esposito, S Kotarba, D Lewandowski, C Sigman,
                                             C Myers and L Francis (A&M) to discuss next steps post Schedules
                                             and Statements
Steve Kotarba            3/17/2023     1.9   Prepare data turnover files for UCC

Trevor DiNatale          3/17/2023     2.1   Meeting w/ S. Coverick, J. Gonzalez, D. Slay, C. Sullivan, R.
                                             Esposito, R. Gordon, K. Kearney, L. Francis, T. DiNatale, D.
                                             Lewandowski & M. Zeiss (A&M) re: Statements & Schedules
                                             Summary deck review for distribution
Louis Konig              3/19/2023     1.5   Database scripting related to customer liability scheduling reporting
                                             file
Louis Konig              3/19/2023     1.7   Quality control and review of script outputs related to liability
                                             scheduling reporting file
Luke Francis             3/19/2023     1.3   Update statements and schedules summary PPT

Luke Francis             3/19/2023     1.3   Review of filed documents to export summaries and preparation of
                                             exports for others
Luke Francis             3/19/2023     1.2   Review of redactions and potential updates

Christopher Sullivan     3/20/2023     0.7   Review UCC diligence questions related to S&S materials


Christopher Sullivan     3/20/2023     1.4   Structure outline for S&S to BS comparison analysis

Claire Myers             3/20/2023     2.3   Analyze unredacted versions of statements and schedules for the
                                             trustee
Claire Myers             3/20/2023     2.6   Analyze list of individuals that were unredacted and redacted in
                                             statements and schedules



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Schedules and Statements
Professional               Date     Hours     Activity
Claire Myers            3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                            Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Claire Myers            3/20/2023     0.6   Update master mailing list with good addresses for creditors in S&S


Claire Myers            3/20/2023     1.8   Analyze list of individuals who received the GDPR and who didn't for
                                            redaction purposes
Claire Myers            3/20/2023     0.5   Teleconferences with C Myers and R Esposito (A&M) re: individual
                                            creditor redactions
David Slay              3/20/2023     0.9   Update Diligence Tracker with responses on Statements and
                                            Schedules
Douglas Lewandowski     3/20/2023     0.3   Teleconferences with D Lewandowski and R Esposito (A&M) re:
                                            customer claims
Douglas Lewandowski     3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                            Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Douglas Lewandowski     3/20/2023     2.5   Work on customer schedules for UST review

Douglas Lewandowski     3/20/2023     2.4   Work on invalid email address for customer blast


Drew Hainline           3/20/2023     0.7   Develop bridge analysis between rollback detail for MOR versus S&S
                                            schedule F detail for WRSS
Johnny Gonzalez         3/20/2023     1.5   Develop a UCC diligence tracker for the UCC re: the S&S
                                            presentation
Luke Francis            3/20/2023     1.3   Review of media coverage of S&S


Luke Francis            3/20/2023     1.1   Review of redactions and additional parties

Luke Francis            3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                            Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Luke Francis            3/20/2023     0.7   Review of banks and disclosures within S&S

Luke Francis            3/20/2023     1.4   Review of crypto transactions and transfers for investments


Luke Francis            3/20/2023     1.8   Preparation of exports of statements and schedules

Rob Esposito            3/20/2023     0.3   Teleconferences with D Lewandowski and R Esposito (A&M) re:
                                            customer claims
Rob Esposito            3/20/2023     0.4   Review of unredacted individuals to prepare summary to S&C team


Rob Esposito            3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                            Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Rob Esposito            3/20/2023     0.4   Teleconferences with J Petiford (S&C) to discuss the creditor
                                            redactions
Rob Esposito            3/20/2023     0.5   Teleconferences with C Myers and R Esposito (A&M) re: individual
                                            creditor redactions




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Schedules and Statements
Professional              Date     Hours     Activity
Steve Kotarba          3/20/2023     2.8   Discussion and strategy re: customer claims

Steve Kotarba          3/20/2023     1.3   Review additional items re schedule amendments


Steve Kotarba          3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                           Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Trevor DiNatale        3/20/2023     2.4   Review unredacted Schedule drafts for UST review

Trevor DiNatale        3/20/2023     0.8   Review additional asset information for inclusion in potential S&S
                                           amendments
Trevor DiNatale        3/20/2023     0.9   Analyze UCC questions related to S&S diligence

Trevor DiNatale        3/20/2023     0.4   S&S follow up discussion with S. Kotarba, D. Lewandowski, R.
                                           Esposito, C. Myers, L. Francis, and T. DiNatale (A&M)
Trevor DiNatale        3/20/2023     0.8   Review unredacted SOFA drafts for UST review

Christopher Sullivan   3/21/2023     0.9   Review responses to UCC diligence questions


Claire Myers           3/21/2023     1.1   Update redaction with employee information

Claire Myers           3/21/2023     0.6   Determine which individuals were redacted in SOFA 4 by debtor

Claire Myers           3/21/2023     2.5   Match creditors with missing address to creditors with addresses in
                                           statements and schedules for redaction
Claire Myers           3/21/2023     1.2   Update redaction with new GDPR categorization for statements and
                                           schedules
Claire Myers           3/21/2023     2.1   Update redaction for EU/UK citizens and employees


Douglas Lewandowski    3/21/2023     1.0   Discussion with D. Lewandowski, R. Esposito, T. DiNatale, L.
                                           Francis, and S. Kotarba (A&M) re: UCC diligence requests and S&S
                                           follow up tasks
Douglas Lewandowski    3/21/2023     0.4   Conference call w/ R. Gordon, K. Kearney, D. Lewandowski, R.
                                           Esposito, T. DiNatale, and L. Francis (A&M) re: UCC S&S question
                                           responses
Douglas Lewandowski    3/21/2023     1.4   Work on data issues related to customer email blast


Douglas Lewandowski    3/21/2023     1.3   Review and provide comments on UCC S&S questions

Drew Hainline          3/21/2023     0.3   Review and provide responses for questions from S&S diligence

Johnny Gonzalez        3/21/2023     1.2   Incorporate responses into the S&S diligence tracker for the UCC


Luke Francis           3/21/2023     1.0   Discussion with D. Lewandowski, R. Esposito, T. DiNatale, L.
                                           Francis, and S. Kotarba (A&M) re: UCC diligence requests and S&S
                                           follow up tasks



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Professional                 Date     Hours     Activity
Luke Francis              3/21/2023     1.2   Review of liability schedules for Alameda silo

Luke Francis              3/21/2023     0.8   Review of claims register for filed claims


Luke Francis              3/21/2023     1.0   Review of liability schedules for WRS silo

Luke Francis              3/21/2023     0.4   Conference call w/ R. Gordon, K. Kearney, D. Lewandowski, R.
                                              Esposito, T. DiNatale, and L. Francis (A&M) re: UCC S&S question
                                              responses
Luke Francis              3/21/2023     0.6   Review of liability schedules for Ventures silo


Luke Francis              3/21/2023     0.3   Discussion with L. Francis and S. Kotarba (A&M) re: claim summary
                                              and reconciliation process
Luke Francis              3/21/2023     1.3   Review of UCC questions and comments

Luke Francis              3/21/2023     1.4   Review of liability schedules for DOTCOM silo


Rob Esposito              3/21/2023     0.9   Review and response to Statements and Schedules questions from
                                              the UCC professionals
Rob Esposito              3/21/2023     0.4   Conference call w/ R. Gordon, K. Kearney, D. Lewandowski, R.
                                              Esposito, T. DiNatale, and L. Francis (A&M) re: UCC S&S question
                                              responses
Rob Esposito              3/21/2023     1.0   Discussion with D. Lewandowski, R. Esposito, T. DiNatale, L.
                                              Francis, and S. Kotarba (A&M) re: UCC diligence requests and S&S
                                              follow up tasks
Steve Kotarba             3/21/2023     0.3   Discussion with L. Francis and S. Kotarba (A&M) re: claim summary
                                              and reconciliation process
Steve Kotarba             3/21/2023     1.0   Discussion with D. Lewandowski, R. Esposito, T. DiNatale, L.
                                              Francis, and S. Kotarba (A&M) re: UCC diligence requests and S&S
                                              follow up tasks
Trevor DiNatale           3/21/2023     0.6   Review loan payable summary detail for UCC review


Trevor DiNatale           3/21/2023     0.4   Conference call w/ R. Gordon, K. Kearney, D. Lewandowski, R.
                                              Esposito, T. DiNatale, and L. Francis (A&M) re: UCC S&S question
                                              responses
Trevor DiNatale           3/21/2023     0.9   Review crypto asset detail and spot pricing detail


Trevor DiNatale           3/21/2023     1.0   Discussion with D. Lewandowski, R. Esposito, T. DiNatale, L.
                                              Francis, and S. Kotarba (A&M) re: UCC diligence requests and S&S
                                              follow up tasks
Trevor DiNatale           3/21/2023     1.6   Prepare responses to UCC questions related to S&S

Trevor DiNatale           3/21/2023     2.3   Prepare initial summary of additional items for S&S amendment


Chris Arnett              3/22/2023     0.8   Review statements and schedules presentation presented to the
                                              UCC and posted on docket



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Schedules and Statements
Professional             Date     Hours     Activity
Claire Myers          3/22/2023     2.1   Analyze redaction for creditors with EU/UK addresses that were
                                          mentioned in statements and schedules
Claire Myers          3/22/2023     2.8   Analyze creditors in order to determine redaction for AOS


Claire Myers          3/22/2023     1.7   Analyze redaction for creditors who are employed for EU/UK debtors
                                          that were mentioned in statements and schedules
Claire Myers          3/22/2023     0.3   Discussion with R. Esposito and C. Myers (A&M) regarding redaction
                                          methodology
Claire Myers          3/22/2023     0.3   Teleconference with R. Esposito, T. DiNatale, and C. Myers (A&M)
                                          regarding affidavits of service and redactions
Claire Myers          3/22/2023     0.2   Determine which individuals were redacted in SOFA 4 by debtor

Douglas Lewandowski   3/22/2023     0.8   Correspond with J. Petiford (S&C) re: customer schedule notice blast


Douglas Lewandowski   3/22/2023     1.3   Review customer email notice drafts

Johnny Gonzalez       3/22/2023     2.1   Continue development of the model support for the UCC presentation


Johnny Gonzalez       3/22/2023     2.3   Development of the model support for the UCC presentation

Johnny Gonzalez       3/22/2023     0.3   Development of the UCC presentation for the filed S&S

Luke Francis          3/22/2023     0.5   Teleconference with L Francis and R Esposito (A&M) re: SOFA 4
                                          disclosures
Luke Francis          3/22/2023     0.2   Teleconference with L Francis and R. Esposito (A&M) re: redactions
                                          in SOFA 4
Luke Francis          3/22/2023     1.6   Review of claims register for filed claims and populating summary
                                          liabilities file
Luke Francis          3/22/2023     1.2   Review of filed documents for redaction review

Luke Francis          3/22/2023     1.4   Review of SOFA 4 disclosures and analysis of parties


Luke Francis          3/22/2023     1.5   Analysis of data regulatory countries and parties redacted

Rob Esposito          3/22/2023     0.6   Review and analysis of redaction and service data

Rob Esposito          3/22/2023     0.8   Management of Statements and Schedules tasks and workstreams
                                          or amendments
Rob Esposito          3/22/2023     0.2   Teleconference with L Francis and R. Esposito (A&M) re: redactions
                                          in SOFA 4
Rob Esposito          3/22/2023     0.3   Discussion with R. Esposito and C. Myers (A&M) regarding redaction
                                          methodology
Rob Esposito          3/22/2023     0.3   Teleconference with R. Esposito, T. DiNatale, and C. Myers (A&M)
                                          regarding affidavits of service and redactions




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Professional              Date     Hours     Activity
Rob Esposito           3/22/2023     0.5   Teleconference with L Francis and R Esposito (A&M) re: SOFA 4
                                           disclosures
Steve Kotarba          3/22/2023     1.4   Review prior internal and team notes re amendment needs


Steve Kotarba          3/22/2023     1.2   Review cash payment disclosures and additional information re
                                           SOFA updates
Steve Kotarba          3/22/2023     0.6   Review contract collection, new documents re Schedule G update

Trevor DiNatale        3/22/2023     0.3   Teleconference with R. Esposito, T. DiNatale, and C. Myers (A&M)
                                           regarding affidavits of service and redactions
Trevor DiNatale        3/22/2023     2.8   Prepare S&S amendment summary presentation for S&C review

Christopher Sullivan   3/23/2023     2.4   Review updates to the S&S to balance sheet variance analysis for
                                           updates to the claims sizing analysis
Drew Hainline          3/23/2023     0.3   Working session with D. Hainline, T. DiNatale (A&M) to review crypto
                                           asset balances in petition date schedules
Luke Francis           3/23/2023     1.4   Review of Gibraltar entities and parties in S&S


Luke Francis           3/23/2023     1.4   Review of parties in interest list and updates

Luke Francis           3/23/2023     0.2   Teleconference with L Francis and R Esposito (A&M) to the discuss
                                           the redactions and revised SOFAs
Luke Francis           3/23/2023     1.1   Review of redactions and additional parties


Rob Esposito           3/23/2023     0.4   Prepare detailed team task list for SOFA amendment and
                                           replacements
Rob Esposito           3/23/2023     0.9   Review and analysis of redacted parties related to insider disclosures


Rob Esposito           3/23/2023     0.2   Teleconference with L Francis and R Esposito (A&M) to the discuss
                                           the redactions and revised SOFAs
Steve Kotarba          3/23/2023     0.8   Discussion and analysis re SOFA / Schedule amendments


Steve Kotarba          3/23/2023     0.9   Review updates and analysis of certain payment items re possible
                                           SOFA updates
Trevor DiNatale        3/23/2023     1.8   Update S&S amendment summary presentation for S&C review

Trevor DiNatale        3/23/2023     1.2   Update Statements and Schedules amendment tracker


Trevor DiNatale        3/23/2023     0.3   Working session to review crypto asset balances in petition date
                                           schedules with D. Hainline, T. DiNatale (A&M)
Claire Myers           3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                           DiNatale and C Myers (A&M) to discuss workstreams and
                                           deliverables
Douglas Lewandowski    3/24/2023     0.3   Correspond with J. Petiford (S&C) re: customer email blast




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Professional             Date     Hours     Activity
Douglas Lewandowski   3/24/2023     1.8   Work on customer balance inquiry related to specific customers and
                                          their disclosures
Douglas Lewandowski   3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                          DiNatale and C Myers (A&M) to discuss workstreams and
                                          deliverables
Johnny Gonzalez       3/24/2023     2.3   Develop a summary for the Dotcom assets by entity as of the Petition
                                          Date
Johnny Gonzalez       3/24/2023     2.4   Develop a summary for the WRS assets by entity as of the Petition
                                          Date
Luke Francis          3/24/2023     0.5   Conference with S Kotarba, R Esposito, L Francis and T DiNatale
                                          (A&M) to discuss the Statements and Schedules amendment
                                          workstreams
Luke Francis          3/24/2023     1.4   Review of Gibraltar entities and parties in S&S


Luke Francis          3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                          DiNatale and C Myers (A&M) to discuss workstreams and
                                          deliverables
Rob Esposito          3/24/2023     0.8   Review and analysis of the SOFAs for replacement and amendments

Rob Esposito          3/24/2023     0.5   Conference with S Kotarba, R Esposito, L Francis and T DiNatale
                                          (A&M) to discuss the Statements and Schedules amendment
                                          workstreams
Rob Esposito          3/24/2023     0.3   Final review and summary of replacement SOFAs for EU redactions

Rob Esposito          3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                          DiNatale and C Myers (A&M) to discuss workstreams and
                                          deliverables
Steve Kotarba         3/24/2023     1.7   Review notes and files re updated list of Schedule amendments


Steve Kotarba         3/24/2023     0.5   Conference with S Kotarba, R Esposito, L Francis and T DiNatale
                                          (A&M) to discuss the Statements and Schedules amendment
                                          workstreams
Steve Kotarba         3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                          DiNatale and C Myers (A&M) to discuss workstreams and
                                          deliverables
Trevor DiNatale       3/24/2023     1.9   Prepare updates to S&S amendment summary presentation for S&C
                                          review
Trevor DiNatale       3/24/2023     0.5   Conference with S Kotarba, R Esposito, L Francis and T DiNatale
                                          (A&M) to discuss the Statements and Schedules amendment
                                          workstreams
Trevor DiNatale       3/24/2023     1.6   Review update and amended SOFA drafts prior to filing

Trevor DiNatale       3/24/2023     0.4   Conference with S Kotarba, R Esposito, D Lewandowski, L Francis, T
                                          DiNatale and C Myers (A&M) to discuss workstreams and
                                          deliverables
Rob Esposito          3/25/2023     0.4   Prepare final updates to amended FTX Ventures Ltd SOFA




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Schedules and Statements
Professional               Date     Hours     Activity
Luke Francis            3/26/2023     1.4   Review of liabilities scheduled for Venture silo

Luke Francis            3/26/2023     1.3   Review of liabilities scheduled for Alameda silo


Luke Francis            3/26/2023     1.1   Review of liabilities scheduled for Dotcom silo

Rob Esposito            3/26/2023     0.6   Prepare updates and summary of the replaced and amended SOFAs

Steve Kotarba           3/26/2023     0.3   Review amendment drafts re: statement and schedules


Jared Gany              3/27/2023     0.9   Review of potential SOFA 3 gaps for amendment filings

Jared Gany              3/27/2023     1.1   Review of potential SOFA 4 and SOFA 13 gaps for amendment filing


Luke Francis            3/27/2023     1.4   Analysis of WRS accounts in master tracking file

Luke Francis            3/27/2023     0.3   Discussion with K. Baker, J, Chan, M. Sunkara, R. Esposito, T.
                                            DiNatale, and L. Francis (A&M) re: transfers to insiders and crypto
                                            transfers
Luke Francis            3/27/2023     1.0   Updates to liability summary and potential amendments


Manasa Sunkara          3/27/2023     0.3   Discussion with K. Baker, J, Chan, M. Sunkara, R. Esposito, T.
                                            DiNatale, and L. Francis (A&M) regarding transfers to insiders and
                                            crypto transfer
Rob Esposito            3/27/2023     0.3   Discussion with K. Baker, J, Chan, M. Sunkara, R. Esposito, T.
                                            DiNatale, and L. Francis (A&M) re: transfers to insiders and crypto
                                            transfers
Trevor DiNatale         3/27/2023     1.4   Review updated crypto asset detail for S&S amendments


Trevor DiNatale         3/27/2023     1.6   Prepare updates to S&S amendment tracker

Trevor DiNatale         3/27/2023     0.3   Discussion with K. Baker, J, Chan, M. Sunkara, R. Esposito, T.
                                            DiNatale, and L. Francis (A&M) re: transfers to insiders and crypto
                                            transfer
Claire Myers            3/28/2023     1.7   Analyze similar prior searches for conflicts with new PII parties from
                                            S&S
Claire Myers            3/28/2023     2.4   Update master mailing list internal tracker with new parties added for
                                            S&S
Jared Gany              3/28/2023     0.3   Call with L. Francis, J. Gany, J. Lee (A&M) to discuss bank account
                                            tracker and SOFA reconciliation
Jared Gany              3/28/2023     0.4   Teleconference with L. Francis, and J. Gany (A&M) to review bank
                                            statement tracking
Jared Gany              3/28/2023     1.7   Review of bank statement database for SOFA 4 outflows

Jared Gany              3/28/2023     0.6   Teleconference with L. Francis, and J. Gany (A&M) to discuss SOFA
                                            reconciliation and bank data available


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Schedules and Statements
Professional               Date     Hours     Activity
Jared Gany              3/28/2023     2.4   Review of bank statement database selected accounts for SOFA 3
                                            outflows
Jared Gany              3/28/2023     2.1   Reconciliation of bank statement database with SOFA 3 information
                                            sources for overall balances
Julian Lee              3/28/2023     0.3   Call with L. Francis, J. Gany, J. Lee (A&M) to discuss bank account
                                            tracker and SOFA reconciliation
Lance Clayton           3/28/2023     0.4   Call with S. Glustein, L. Francis, L. Clayton (A&M) re: Investment
                                            tracker bridge from statements & schedules filing to present
Luke Francis            3/28/2023     0.3   Call with L. Francis, J. Gany, J. Lee (A&M) to discuss bank account
                                            tracker and SOFA reconciliation
Luke Francis            3/28/2023     0.4   Call with S. Glustein, L. Francis, L. Clayton (A&M) re: Investment
                                            tracker bridge from statements & schedules filing to present
Luke Francis            3/28/2023     1.6   Review of master bank statement and transaction data for statement
                                            detail
Luke Francis            3/28/2023     0.4   Teleconference with L. Francis, and J. Gany (A&M) to review bank
                                            statement tracking
Luke Francis            3/28/2023     0.6   Teleconference with L. Francis, and J. Gany (A&M) to discuss SOFA
                                            reconciliation and bank data available
Luke Francis            3/28/2023     1.2   Updates to liability summary and potential amendments

Rob Esposito            3/28/2023     0.2   Prepare director list for internal request

Steven Glustein         3/28/2023     0.4   Call with S. Glustein, L. Francis, L. Clayton (A&M) re: Investment
                                            tracker bridge from statements & schedules filing to present
Jared Gany              3/29/2023     1.4   Organize database of selected bank accounts and pulled 90 day and
                                            2 year outflows
Jared Gany              3/29/2023     0.9   Clean cash database memo category to match to QB sources


Jared Gany              3/29/2023     2.3   Reconciliation of specific payment detail SOFA 3 vs bank activity

Jared Gany              3/29/2023     1.7   Clean cash database name category to match to QB sources


Robert Gordon           3/29/2023     0.2   Research details on schedules question for Alameda entity

Sharon Schlam Batista   3/29/2023     1.3   Reconcile Bank Accounts in regards to Paysafe payment processor

Trevor DiNatale         3/29/2023     1.8   Review intercompany claim process to identify necessary data points
                                            for S&S
Trevor DiNatale         3/29/2023     0.9   Review global note detail to identify any updates required for
                                            potential amendments
Trevor DiNatale         3/29/2023     1.6   Prepare updates to S&S amendment tracker


Trevor DiNatale         3/29/2023     1.3   Analyze updated crypto asset detail




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Schedules and Statements
Professional               Date     Hours      Activity
Jared Gany              3/30/2023       0.4   Clean SOFA 3 data and cash database to remove excluded items

Jared Gany              3/30/2023       2.7   Search for potential insider names and investments in bank database


Jared Gany              3/30/2023       1.8   Search bank data for additional SOFA 3 payments

Jared Gany              3/30/2023       2.2   Reconcile additional payments found to other data sources to check
                                              for potential double counting
Rob Esposito            3/30/2023       0.3   Review of scheduled data for response to S&C team


Sharon Schlam Batista   3/30/2023       2.9   Final Balance of Customer Reconciliation

Sharon Schlam Batista   3/30/2023       0.9   Customer Reconciliation Scenario Analysis


Trevor DiNatale         3/30/2023       1.9   Prepare updates to S&S amendment tracker

Trevor DiNatale         3/30/2023       0.7   Review updated bank transaction detail to identify additional
                                              historical payments
Jared Gany              3/31/2023       1.6   Review accounts payable data against Schedule F and cross
                                              checked against invoices
Jared Gany              3/31/2023       2.1   Review accounts payable consolidated database from QB and
                                              compared to invoices received
Rob Esposito            3/31/2023       0.6   Work on Japan related liability Schedules matters


Steve Coverick          3/31/2023       0.9   Review and investigate comments received from EU customers on
                                              statements and schedules
Steve Kotarba           3/31/2023       2.1   Review detail for incorporation into schedule amendments


Trevor DiNatale         3/31/2023       2.1   Review updates to S&S amendment tracker



Subtotal                            2,297.3

Tax Initiatives
Professional               Date     Hours      Activity
Andrey Ulyanenko         3/1/2023       0.2   A&M Internal Call (A. Ulyanenko, B. Parker) re: Tax Return
                                              Charitable Contributions
Brandon Parker           3/1/2023       1.1   Review North Dimension Tax Returns


Brandon Parker           3/1/2023       0.2   A&M Internal Call (A. Ulyanenko, B. Parker) re: Tax Return
                                              Charitable Contributions
Brandon Parker           3/1/2023       1.9   Update Ledger Prime Transaction Visios

Brandon Parker           3/1/2023       1.4   A&M Internal Call (W. Su, B. Parker) re: Alameda Prime transfer
                                              slides


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Tax Initiatives
Professional               Date     Hours     Activity
Brandon Parker           3/1/2023     1.8   Create Schedule of Tax Return Charitable Contributions

Chris Kotarba            3/1/2023     0.6   Update Vietnam Treaty Analysis for Liquid Acquisition


Robert Piechota          3/1/2023     0.8   Review state income tax returns re: apportionment data and fixed
                                            asset schedules
Robert Piechota          3/1/2023     0.6   Gather asset values for Ledger X

Warren Su                3/1/2023     1.4   A&M Internal Call (W. Su, B. Parker) re: Alameda Prime transfer
                                            slides
Andrey Ulyanenko         3/2/2023     0.3   Internal A&M Call (C. Howe, C. Kotarba, K. Jacobs, A. Ulyanenko,
                                            and B. Seaway) re: UCC Tax Requests
Andrey Ulyanenko         3/2/2023     0.8   A&M internal Call (A. Ulyanenko, B. Parker) re: Entity Consolidation
                                            tax workstream overview
Andrey Ulyanenko         3/2/2023     2.3   Review FTX Europe structure in anticipation of sale

Bill Seaway              3/2/2023     0.3   Internal A&M Call (C. Howe, C. Kotarba, K. Jacobs, A. Ulyanenko,
                                            and B. Seaway) re: UCC Tax Requests
Bill Seaway              3/2/2023     0.1   Review filing regarding exchange shortfall

Brandon Parker           3/2/2023     0.2   A&M Internal Call (C. Howe, B. Parker) re: Internal Tax PMO Deck

Brandon Parker           3/2/2023     1.3   Review Alameda Ledger Prime Transaction


Brandon Parker           3/2/2023     1.1   Update Tax Return Charitable Contribution Excel

Brandon Parker           3/2/2023     0.8   Update Tax overview presentation for use in internal meeting


Brandon Parker           3/2/2023     0.8   A&M internal Call (A. Ulyanenko, B. Parker) re: Entity Consolidation
                                            tax workstream overview
Brandon Parker           3/2/2023     0.4   A&M Internal Call (W. Su, B. Parker) re: Tax Return Charitable
                                            Contributions
Chris Kotarba            3/2/2023     0.3   Internal A&M Call (C. Howe, C. Kotarba, K. Jacobs, A. Ulyanenko,
                                            and B. Seaway) re: UCC Tax Requests
Christopher Howe         3/2/2023     0.3   Internal A&M Call (C. Howe, C. Kotarba, K. Jacobs, A. Ulyanenko,
                                            and B. Seaway) re: UCC Tax Requests
Christopher Howe         3/2/2023     0.2   A&M Internal Call (C. Howe, B. Parker) re: Internal Tax PMO Deck


Christopher Howe         3/2/2023     2.9   Review Tax Return Charitable Contributions

Christopher Howe         3/2/2023     2.5   Review UCC Tax request list for use in internal meeting


Christopher Howe         3/2/2023     2.6   Review preliminary analysis of exchange shortfalls




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Tax Initiatives
Professional               Date     Hours     Activity
Kevin Jacobs             3/2/2023     0.4   Review preliminary analysis of exchange shortfalls

Kevin Jacobs             3/2/2023     0.3   Internal A&M Call (C. Howe, C. Kotarba, K. Jacobs, A. Ulyanenko,
                                            and B. Seaway) re: UCC Tax Requests
Warren Su                3/2/2023     0.4   A&M Internal Call (W. Su, B. Parker) re: Tax Return Charitable
                                            Contributions
Andrey Ulyanenko         3/3/2023     0.5   Internal A&M (K Jacobs, B Seaway, C Howe, A Ulyanenko) re:
                                            LedgerX and Embed sales
Bill Seaway              3/3/2023     0.5   Internal A&M (K Jacobs, B Seaway, C Howe, A Ulyanenko) re:
                                            LedgerX and Embed sales
Brandon Parker           3/3/2023     1.7   Review potential LedgerX transaction tax implications

Brandon Parker           3/3/2023     0.4   Revise Internal Tax summary presentation for use in PMO deck


Brandon Parker           3/3/2023     3.2   Draft Memo Regarding LedgerX sale re: Tax Attributes

Brandon Parker           3/3/2023     0.4   A&M Internal Call (W. Su, B. Parker) re: LedgerX transaction memo


Brandon Parker           3/3/2023     2.6   Draft memo regarding LedgerX built-in-gain

Chris Kotarba            3/3/2023     1.4   Review UCC Tax request list

Chris Kotarba            3/3/2023     2.1   Prepare FTX Europe Stock Basis model for potential sale calculation


Christopher Howe         3/3/2023     0.5   Internal A&M (K Jacobs, B Seaway, C Howe, A Ulyanenko) re:
                                            LedgerX and Embed sales
Christopher Howe         3/3/2023     1.3   Review LedgerX sale and tax materials


Christopher Howe         3/3/2023     1.7   Review slides re: FTX Press Release - Exchange Shortfall

Kevin Jacobs             3/3/2023     0.5   Internal A&M (K Jacobs, B Seaway, C Howe, A Ulyanenko) re:
                                            LedgerX and Embed sales
Robert Piechota          3/3/2023     0.6   State transfer tax research including research on available
                                            exemptions
Warren Su                3/3/2023     0.4   A&M Internal Call (W. Su, B. Parker) re: LedgerX transaction memo

Warren Su                3/3/2023     0.8   Review slides re: FTX Exchange Shortfall Press Release


Brandon Parker           3/4/2023     2.9   Draft memo analyzing 1502-36 regarding LedgerX transaction memo

Brandon Parker           3/4/2023     2.7   Draft memo analyzing Section 382 regarding LedgerX transaction
                                            memo
Brandon Parker           3/4/2023     2.6   Draft memo analyzing Section 384 regarding LedgerX transaction
                                            memo




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Tax Initiatives
Professional               Date     Hours     Activity
Brandon Parker           3/4/2023     2.1   Draft Memo regarding LedgerX Sale - Built in Gain

Chris Kotarba            3/4/2023     1.8   Perform FTX Japan Holdings Stock Basis Calculation for Potential
                                            Sale
Chris Kotarba            3/4/2023     1.7   Perform FTX Europe Stock Basis Calculation for Potential Sale

Brandon Parker           3/5/2023     2.4   Review LedgerX Transaction Memo Write up

Brandon Parker           3/5/2023     1.7   Review Ledger Holdings documents for transaction


Brandon Parker           3/5/2023     0.8   Update LedgerX transaction post call with W. Su

Brandon Parker           3/5/2023     1.5   A&M Internal Call (W. Su, B . Parker) regarding LedgerX transaction
                                            memo review
Brandon Parker           3/5/2023     1.1   Review Ledger Holdings, Inc. Tax Returns for memo

Warren Su                3/5/2023     1.5   A&M internal Call (W. Su, B. Parker) regarding LedgerX transaction
                                            memo review
Andrey Ulyanenko         3/6/2023     2.6   Begin to review LedgerX sale memorandum prepared by B. Parker

Bill Seaway              3/6/2023     0.4   Begin review of tax memo on sale of LedgerX

Brandon Parker           3/6/2023     0.8   Review internal documents re: overall tax workstreams


Brandon Parker           3/6/2023     0.6   Review FTX Docket for new uploads

Brandon Parker           3/6/2023     1.7   Begin to create Redemption / Payable LedgerPrime Feeder Fund
                                            summary
Brandon Parker           3/6/2023     1.1   Review LedgerPrime Power Point Structure Deck

Brandon Parker           3/6/2023     0.8   Revise Internal Tax PMO Deck with comments from leadership


Brandon Parker           3/6/2023     0.8   Review LedgerX Transaction Memo Write up

Brandon Parker           3/6/2023     0.2   A&M Internal Call (W. Su, B. Parker) re: internal tax pmo deck

Christopher Howe         3/6/2023     2.6   Review LedgerX Transaction Memo Write up


Hudson Trent             3/6/2023     0.3   Review and update claimant tax matters summary

Steve Coverick           3/6/2023     0.6   Review and provide comments on draft of employee claims trading
                                            tax implications document
Warren Su                3/6/2023     0.2   A&M Internal Call (W. Su, B. Parker) re; internal tax pmo deck




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Tax Initiatives
Professional               Date     Hours     Activity
Warren Su                3/6/2023     2.9   Track changes to LedgerX transaction memo

Andrey Ulyanenko         3/7/2023     1.3   A&M Internal Call (A. Ulyanenko, B. Parker) re: LedgerX Sale memo


Andrey Ulyanenko         3/7/2023     2.9   Continue to review LedgerX sale memorandum

Bill Seaway              3/7/2023     0.8   Discussion A&M (B Seaway); S&C (D. Hariton, S. Profeta); EY (L.
                                            Lovelace, A. Katelas, D. Bailey, J. Scott) re: Alameda
Brandon Parker           3/7/2023     1.6   Review LedgerPrime Transfer Visio / Excel documents


Brandon Parker           3/7/2023     0.8   Review FTX Docket for new uploads

Brandon Parker           3/7/2023     2.3   Create LedgerPrime Redemption Payable Excel


Brandon Parker           3/7/2023     0.3   Review UCC request list prior to sending to A. Ulyanenko

Brandon Parker           3/7/2023     1.3   A&M Internal Call (A. Ulyanenko, B. Parker) re: LedgerX Sale memo


Christopher Howe         3/7/2023     3.2   Review LedgerX Transaction Memo Write up

Kevin Jacobs             3/7/2023     0.8   Discussion A&M (K. Jacobs, B Seaway); S&C (D. Hariton, S.
                                            Profeta); EY (L. Lovelace, A. Katelas, D. Bailey, J. Scott) re: Alameda
Kevin Jacobs             3/7/2023     0.8   Review Alameda items following discussion with S&C and EY


Warren Su                3/7/2023     1.6   Examine Alameda and WRS general ledgers for fund activities

Andrey Ulyanenko         3/8/2023     1.0   Revise LedgerX sale memorandum


Brandon Parker           3/8/2023     0.7   Review FTX Docket for new uploads

Brandon Parker           3/8/2023     1.6   Review LedgerPrime balance sheets


Brandon Parker           3/8/2023     0.4   Create chart for LedgerPrime ending balance summary

Brandon Parker           3/8/2023     3.2   Update Ledger Prime Feeder Fund ending balance excel summary

Chris Kotarba            3/8/2023     1.4   Prepare Strategy for Vietnam Indirect Capital Gains Tax Payment


Christopher Howe         3/8/2023     2.2   Review UCC Request List and prepare feedback for diligence team

Christopher Howe         3/8/2023     2.2   Review LedgerPrime transaction structure chart


Warren Su                3/8/2023     2.2   Research SRLY implications on LedgerX transaction




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Tax Initiatives
Professional                Date     Hours     Activity
Bill Seaway               3/9/2023     0.3   Internal discussion A&M (B. Seaway, S. Wilson) re: draft section 382
                                             memo
Bill Seaway               3/9/2023     1.1   Review section 382 memo on WRS


Brandon Parker            3/9/2023     0.6   Review UCC request List post call with A. Ulyanenko

Brandon Parker            3/9/2023     1.4   Review Entity Simplification and UCC Request List

Brandon Parker            3/9/2023     2.3   Update Ledger Prime Feeder Fund ending balance excel summary


Brandon Parker            3/9/2023     1.1   Review new documents uploaded to the FTX Docket

Brandon Parker            3/9/2023     1.3   Create LedgerPrime Master Fund ending balance excel summary


Brandon Parker            3/9/2023     1.1   Make updates to Entity Simplification excel document

Brandon Parker            3/9/2023     1.8   Create LedgerPrime Feeder Fund Redemption Payable Excel
                                             Summary
Christopher Howe          3/9/2023     2.4   Review UCC Package for Entity Simplification

Warren Su                 3/9/2023     2.1   Read through PPM for Feeder Fund

Warren Su                 3/9/2023     2.4   Review LLC agreement for LedgerPrime funds


Warren Su                 3/9/2023     2.6   Review spreadsheet summary of Feeder Fund ending balances and
                                             redemption payables
Andrey Ulyanenko         3/10/2023     0.8   Provide comments to W. Su and B. Parker re: LedgerPrime transfer
                                             deck
Andrey Ulyanenko         3/10/2023     0.2   Internal A&M Discussion (A. Ulyanenko, W. Su) re: Related party
                                             sale of LP interests
Andrey Ulyanenko         3/10/2023     1.1   Review Ledger Prime Transfer slides


Andrey Ulyanenko         3/10/2023     0.4   A&M Internal Call (W. Su, A. Ulyanenko) re: high-level tax findings on
                                             related party funds sale
Bill Seaway              3/10/2023     0.5   Internal discussion A&M (B. Seaway, K. Jacobs, C. Howe) re: tax
                                             election, coordination with EY on issue
Brandon Parker           3/10/2023     0.6   Review Alameda Mark to Market Election


Brandon Parker           3/10/2023     0.6   Make updates to Entity Simplification excel document

Brandon Parker           3/10/2023     1.4   Pull FTX Europe and subsidiaries balance sheets in anticipation of
                                             sale
Brandon Parker           3/10/2023     1.1   Review LedgerPrime Private Placement Memorandum




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Tax Initiatives
Professional                Date     Hours     Activity
Brandon Parker           3/10/2023     0.4   Review Alameda GL for LedgerPrime GP interest

Chris Kotarba            3/10/2023     0.3   Review Debtor Taxation Jurisdictions for UCC Request List


Christopher Howe         3/10/2023     0.5   Internal discussion A&M (B. Seaway, K. Jacobs, C. Howe) re: tax
                                             election, coordination with EY on issue
Christopher Howe         3/10/2023     1.9   Review overall Tax Workstreams

Kevin Jacobs             3/10/2023     1.4   Research potential Section 61 gross income


Kevin Jacobs             3/10/2023     0.5   Internal discussion A&M (B. Seaway, K. Jacobs, C. Howe) re: tax
                                             election, coordination with EY on issue
Kevin Jacobs             3/10/2023     0.2   Review and replay to email correspondence re UCC request list


Summer Li                3/10/2023     0.2   Correspondence with Yvette Chan (A&M) in relation to tax filing of
                                             FTX Japan Services KK
Warren Su                3/10/2023     2.3   Read through Revenue Ruling 99-6


Warren Su                3/10/2023     0.2   Internal A&M Discussion (A. Ulyanenko, W. Su) re: Related party
                                             sale of LP interests
Warren Su                3/10/2023     0.4   A&M Internal Call (W. Su, A. Ulyanenko) re: high-level tax findings on
                                             related party funds sale
Warren Su                3/10/2023     0.8   Review spreadsheet summary of Master Fund ending balances and
                                             redemption payables
Warren Su                3/10/2023     1.9   Perform Tax research on section 267 to be included in Memo

Bill Seaway              3/12/2023     0.4   Internal discussion A&M (B. Seaway, K. Jacobs) re: UCC document
                                             request
Brandon Parker           3/12/2023     1.1   Review West Realm Shires, Inc. Tax Returns

Brandon Parker           3/12/2023     0.8   Create list of jurisdictions subject to taxation document


Chris Kotarba            3/12/2023     0.9   Analyze AMT points re: Japan cash transfer

Kevin Jacobs             3/12/2023     0.4   Internal discussion A&M (B. Seaway, K. Jacobs) re: UCC document
                                             request
Andrey Ulyanenko         3/13/2023     1.9   Begin to review tax implications of asset sale vs. stock sale of FTX
                                             Japan
Andrey Ulyanenko         3/13/2023     1.1   Review updates to UCC Request List post call with K. Jacobs and B.
                                             Seaway
Brandon Parker           3/13/2023     2.7   Update Entity Simplification document with updated balance sheets


Brandon Parker           3/13/2023     2.7   Review West Realm Shires, Inc. Tax Returns




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Tax Initiatives
Professional                Date     Hours     Activity
Chris Kotarba            3/13/2023     0.8   Analyze Japan VAT tax refund analysis

Chris Kotarba            3/13/2023     0.5   Call with C. Kotarba, H. Chambers (A&M), F. Weinberg, N. Mehta, K.
                                             Hatano (S&C), T. Awataguchi, S. Tago, B. Kong, S. Uchida (AMT) re
                                             cash transfer analysis
Christopher Howe         3/13/2023     3.1   Review need for Transfer Pricing Workstream


Christopher Howe         3/13/2023     3.2   Review overall tax workstreams for week of 3/13

Christopher Howe         3/13/2023     0.9   Review Alameda Research Historical Elections


Henry Chambers           3/13/2023     0.5   Call with C. Kotarba, H. Chambers (A&M), F. Weinberg, N. Mehta, K.
                                             Hatano (S&C), T. Awataguchi, S. Tago, B. Kong, S. Uchida (AMT)
                                             regarding cash transfer analysis
Warren Su                3/13/2023     2.4   Tax research on Treas. Reg. 1.1502-36 application on Embed and
                                             LedgerX sales; basis reductions under paragraph c
Warren Su                3/13/2023     0.2   Review latest PMO presentation and understand impact to tax
                                             workstreams
Warren Su                3/13/2023     2.1   Tax research on Treas. Reg. 301.7701 and applications to LP
                                             transfers
Warren Su                3/13/2023     0.4   Review updated UCC tax request list and outstanding items


Andrey Ulyanenko         3/14/2023     0.7   Continue to review tax implications of asset sale vs. stock sale

Andrey Ulyanenko         3/14/2023     1.8   Begin to review tax implications of stock vs. asset sale of FTX
                                             Europe
Bill Seaway              3/14/2023     0.4   Internal conference with A&M (B. Seaway, K. Jacobs) re historical
                                             elections
Bill Seaway              3/14/2023     0.6   Conference with A&M (B. Seaway, K. Jacobs) and EY (A. Katelas, B.
                                             Mistler, D. Bailey, J. Berman, J. Scott, L. Lovelace, T. Shea) re
                                             historical elections
Brandon Parker           3/14/2023     3.2   Update UCC Request Lists with comments

Brandon Parker           3/14/2023     1.1   Review new documents uploaded to the docket


Brandon Parker           3/14/2023     0.9   Review Consolidated Entities info for Entity Simplification

Brandon Parker           3/14/2023     2.9   Update Entity Simplification document with updated balance sheets


Brandon Parker           3/14/2023     0.4   Review Island Bay P&L for tax implications

Chris Kotarba            3/14/2023     1.8   Prepare UCC Request List jurisdictions subject to taxation


Christopher Howe         3/14/2023     1.3   Review Alameda Research Historical Elections




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Tax Initiatives
Professional                Date     Hours     Activity
Kevin Jacobs             3/14/2023     0.6   Conference with A&M (B. Seaway, K. Jacobs) and EY (A. Katelas, B.
                                             Mistler, D. Bailey, J. Berman, J. Scott, L. Lovelace, T. Shea) re
                                             historical elections
Kevin Jacobs             3/14/2023     0.4   Internal conference with A&M (B. Seaway, K. Jacobs) re historical
                                             elections
Kevin Jacobs             3/14/2023     0.4   Review UCC request list emails


Warren Su                3/14/2023     2.8   Tax research on Treas. Reg. 1.1502-36 application on Embed and
                                             LedgerX sales; attribute reduction under paragraph d
Warren Su                3/14/2023     1.7   Review 1502-36 language in Section 382 memo for WRS sales


Andrey Ulyanenko         3/15/2023     0.8   Review entity consolidation document prepared by B. Parker

Andrey Ulyanenko         3/15/2023     0.7   A&M Internal Call (A. Ulyanenko, B. Parker) re: updates to entity
                                             simplification document
Bill Seaway              3/15/2023     0.3   Conference with A&M (B. Seaway, K. Jacobs) and S&C (D. Hariton,
                                             H. Kim) re historical elections
Brandon Parker           3/15/2023     0.7   A&M Internal Call (A. Ulyanenko, B. Parker) re: updates to entity
                                             simplification document
Brandon Parker           3/15/2023     1.9   Review Entity Consolidation document prior to sending for review


Brandon Parker           3/15/2023     1.8   Review Alameda Research Tax Returns

Christopher Howe         3/15/2023     2.1   Review M&A Tax / entity simplification workstream


Kevin Jacobs             3/15/2023     0.6   Research Company's historical tax elections

Kevin Jacobs             3/15/2023     0.3   Conference with A&M (B. Seaway, K. Jacobs) and S&C (D. Hariton,
                                             H. Kim) re historical elections
Warren Su                3/15/2023     0.3   Revisit FTX org chart and review proposed entity simplifications


Warren Su                3/15/2023     1.6   Review WRS Section 382 general memo

Warren Su                3/15/2023     1.9   Review B. Parker edits to entity simplification document with updated
                                             balance sheets
Warren Su                3/15/2023     1.2   Tax research on application of section 368, 381, and Treas. Reg.
                                             301.7701 on entity simplifications
Andrey Ulyanenko         3/16/2023     1.6   Review FTX Europe balance sheets and general ledgers as part of
                                             review of tax implications
Andrey Ulyanenko         3/16/2023     1.4   Review FTX Japan balance sheets and general ledgers for potential
                                             tax implications
Chris Kotarba            3/16/2023     0.2   Seek ZUBR February salaries approval

Warren Su                3/16/2023     2.7   Tax research on Section 382 value methods for ownership change
                                             testing


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Tax Initiatives
Professional                Date     Hours     Activity
Warren Su                3/16/2023     0.6   Review internal email correspondence re: UCC request list

Andrey Ulyanenko         3/17/2023     0.6   A&M internal call (A. Ulyanenko, B. Parker) re: initial LedgerX
                                             comments
Andrey Ulyanenko         3/17/2023     0.4   Review overall tax workstreams re: M&A and Entity Simplification

Bill Seaway              3/17/2023     2.6   Edit memo summary on sale of LedgerX

Brandon Parker           3/17/2023     0.6   Review initial LedgerX comments


Brandon Parker           3/17/2023     0.6   A&M internal call (A. Ulyanenko, B. Parker) re: initial LedgerX
                                             comments
Chris Kotarba            3/17/2023     0.5   Review ZUBR Gibraltar February 2023 salary payments


Christopher Howe         3/17/2023     1.7   Review updated UCC Request List items

Christopher Howe         3/17/2023     2.7   Review section 382 memo on WRS


Warren Su                3/17/2023     2.6   Review & analyze B. Seaway's comments to Section 382 memo for
                                             WRS sales
Andrey Ulyanenko         3/19/2023     0.6   Review Section 267 re: related party tax implications

Andrey Ulyanenko         3/19/2023     1.9   Review Fenwick LedgerPrime transfer slide deck re: related party
                                             transaction
Brandon Parker           3/19/2023     3.2   Review FTX Trading Ltd Balance Sheets

Brandon Parker           3/19/2023     1.2   Review WRS Tax Returns for 2021 Tax Attributes


Brandon Parker           3/19/2023     2.7   Review LedgerPrime PowerPoint Transfer

Brandon Parker           3/19/2023     3.1   Review FTX Trading / Paper Bird Tax Returns


Christopher Howe         3/19/2023     2.4   Internal workstream review for Transfer Pricing

Henry Chambers           3/19/2023     0.2   Attend to correspondence regarding FTX Japan Services Tax matters

Andrey Ulyanenko         3/20/2023     0.8   Review 301-7701 re: LedgerPrime transaction


Andrey Ulyanenko         3/20/2023     1.6   Research Treas. Reg. 1.1502-36 re: application on Embed and
                                             LedgerX sales; basis reductions
Andrey Ulyanenko         3/20/2023     0.6   Review Section 267 re: related party tax implications


Brandon Parker           3/20/2023     2.9   Research Treas. Reg. 1.1502-36 re: application on Embed and
                                             LedgerX sales; basis reductions under paragraph c




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Tax Initiatives
Professional                Date     Hours     Activity
Brandon Parker           3/20/2023     1.4   Research Section 267 re: updates to LedgerPrime transfer deck

Brandon Parker           3/20/2023     3.1   Tax Research on Treas. Reg, 301-7701 re: application to LP
                                             Transfers
Brandon Parker           3/20/2023     2.3   Review Ledger Holdings 2020 and 2021 Tax Returns

Brandon Parker           3/20/2023     2.6   Research Treas. Reg. 1.1502-36 re: application on Embed and
                                             LedgerX sales; attribute reduction under paragraph d
Christopher Howe         3/20/2023     2.8   Review FTX entity consolidation document


Kevin Jacobs             3/20/2023     0.4   Research re: Alameda historical elections

Kevin Jacobs             3/20/2023     0.1   Review and respond to emails re historical elections


Warren Su                3/20/2023     0.8   Pull and review docket filings re: revised dates for LedgerX sale

Warren Su                3/20/2023     2.1   Read through and analyze IRS notice 2023-27 re: treatment of
                                             certain NFTs
Andrey Ulyanenko         3/21/2023     0.4   Review docket filings re: revised dates for LedgerX sale

Andrey Ulyanenko         3/21/2023     0.6   Review initial iteration of Liquid sale model

Bill Seaway              3/21/2023     0.4   Internal conference call (A&M) (B. Seaway, K. Jacobs) re historic
                                             elections
Bill Seaway              3/21/2023     0.6   Conference with B. Seaway, K. Jacobs (A&M), A. Katelas, D. Bailey,
                                             L. Lovelace, B. Mistler, T. Shea (EY) re historical elections
Brandon Parker           3/21/2023     3.2   Revise LedgerPrime Transfer Slides following Section 267 research


Brandon Parker           3/21/2023     2.8   Research bad debt reductions re: loans receivables

Christopher Howe         3/21/2023     1.9   Review first part of Liquid Model


Kevin Jacobs             3/21/2023     0.3   Review EY's analysis re historical elections

Kevin Jacobs             3/21/2023     0.4   Internal conference call (A&M) (B. Seaway, K. Jacobs) re historic
                                             elections
Kevin Jacobs             3/21/2023     0.6   Conference with B. Seaway, K. Jacobs (A&M), A. Katelas, D. Bailey,
                                             L. Lovelace, B. Mistler, T. Shea (EY) re historical elections
Warren Su                3/21/2023     0.9   Continue tax research on section 267 with respect to LP transfers

Warren Su                3/21/2023     2.8   Compare & analyze drafted Fenwick deck on LP transfers and
                                             proposed tax treatment for each step
Warren Su                3/21/2023     2.6   Research section 332 rules on eligibility to claim worthless stock
                                             deduction




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Tax Initiatives
Professional                Date     Hours     Activity
Andrey Ulyanenko         3/22/2023     0.6   A&M Internal call (A. Ulyanenko, B. Parker) re: comments to LedgerX
                                             sale memo
Andrey Ulyanenko         3/22/2023     1.9   Review B. Seaway's comments on LedgerX Sale model


Bill Seaway              3/22/2023     0.5   Weekly update call with EY and Jen (Debtor) to discuss crypto
                                             movement and overseas bookkeeping
Bill Seaway              3/22/2023     0.8   Review and provide comments on EY's write up about methods of
                                             accounting
Brandon Parker           3/22/2023     2.7   Review comments by B. Seaway on LedgerX sale memo


Brandon Parker           3/22/2023     0.6   A&M Internal call (A. Ulyanenko, B. Parker) re: comments to LedgerX
                                             sale memo
Brandon Parker           3/22/2023     0.3   Review LedgerPrime Transfer PowerPoint


Brandon Parker           3/22/2023     0.5   Internal A&M Tax (W. Su, B. Parker) discussion re: Ledger Prime
                                             related party sale steps
Brandon Parker           3/22/2023     2.5   Review LedgerX sale write up re: Section 382


Christopher Howe         3/22/2023     2.9   Research re: historical elections

Kevin Jacobs             3/22/2023     0.5   Weekly update call with EY and Jen (Debtor) to discuss crypto
                                             movement and overseas bookkeeping
Warren Su                3/22/2023     0.5   Internal A&M Tax (W. Su, B. Parker) discussion re: Ledger Prime
                                             related party sale steps
Warren Su                3/22/2023     0.7   Review March 21st PMO presentation and understand impact to tax
                                             workstreams
Warren Su                3/22/2023     2.7   Tax research on Section 166 re: bad debt deductions with respect to
                                             loan receivables
Warren Su                3/22/2023     2.3   Review updated step transaction deck for related party sale steps

Andrey Ulyanenko         3/23/2023     1.9   Begin to review initial stages of Liquid sale model


Andrey Ulyanenko         3/23/2023     0.5   A&M Internal Call (A. Ulyanenko, A. Kritzman, W. Su, B. Parker) re:
                                             Liquid Sale Tax Model
Andrey Ulyanenko         3/23/2023     0.6   A&M internal Call (A. Ulyanenko, B. Parker) re: liquid sale

Bill Seaway              3/23/2023     0.5   Internal conference call (A&M) (B. Seaway, K. Jacobs) re historic
                                             elections
Brandon Parker           3/23/2023     0.3   A&M Internal Call (A. Ulyanenko, A. Kritzman, W. Su, B. Parker) re:
                                             Liquid Sale Tax Model - Joined Late
Brandon Parker           3/23/2023     0.6   A&M internal Call (A. Ulyanenko, B. Parker) re: liquid sale


Brandon Parker           3/23/2023     2.7   Prepare FTX Europe Balance sheets for Liquid Model




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Tax Initiatives
Professional                Date     Hours     Activity
Christopher Howe         3/23/2023     3.2   Review Alameda Historical Elections

Christopher Howe         3/23/2023     1.8   Review overall tax workstreams re: M&A and Entity Simplification


Kevin Jacobs             3/23/2023     0.5   Internal conference call (A&M) (B. Seaway, K. Jacobs) re historic
                                             elections
Warren Su                3/23/2023     0.5   A&M Internal Call (A. Ulyanenko, A. Kritzman, W. Su, B. Parker) re:
                                             Liquid Sale Tax Model
Warren Su                3/23/2023     2.7   Preview Liquid Sale Tax Model provided by A. Kritzman prior to
                                             internal discussion
Kevin Jacobs             3/24/2023     0.4   Research historical elections and discuss with A&M team on
                                             relevance
Brandon Parker           3/25/2023     0.6   Pull together FTX Japan and Europe balance sheets


Brandon Parker           3/25/2023     2.9   Review Liquid Sale Model post call with A. Kritzman

Brandon Parker           3/25/2023     0.9   Pull together FTX Japan Balance sheets for Liquid Model


Brandon Parker           3/26/2023     0.8   Review latest PMO deck looking for potential tax issues

Chris Kotarba            3/26/2023     1.1   Gibraltar Bank (Turicum) February 2023 Salaries & Tax Office
                                             Payments Authorization
Bill Seaway              3/27/2023     0.4   Conference with A&M (B. Seaway) and EY (T. Shea) re: historical
                                             elections, new returns, admin issues
Brandon Parker           3/27/2023     1.9   Review consolidated entities info sheet re: company's structure

Chris Kotarba            3/27/2023     1.7   Begin Turicum Board Resolution Analysis


Christopher Howe         3/27/2023     3.2   Review Section 382 memo prepared by S. Wilson

Christopher Howe         3/27/2023     2.9   Review B. Seaway Comments on LedgerX sale


Kevin Jacobs             3/27/2023     0.4   Correspondence re historical elections

Bill Seaway              3/28/2023     1.0   Conference with A&M (B. Seaway, K. Jacobs) and EY (A. Karan, B.
                                             Mistler, D. Bailey, J. Berman, J. Scott, L. Lovelace, B. Mistler, T.
                                             Shea) re historical elections and potential gross income
Brandon Parker           3/28/2023     1.2   Reach out internally to different workstream leads to understand who
                                             to contact to reach out to foreign subsidiaries for foreign tax
                                             implications
Christopher Howe         3/28/2023     3.1   Begin to review first iteration of Liquid Model


Kevin Jacobs             3/28/2023     1.0   Conference with A&M (B. Seaway, K. Jacobs) and EY (A. Karan, B.
                                             Mistler, D. Bailey, J. Berman, J. Scott, L. Lovelace, B. Mistler, T.
                                             Shea) re historical elections and potential gross income



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Tax Initiatives
Professional                Date     Hours     Activity
Kevin Jacobs             3/28/2023     0.9   Research re historical elections and potential gross income

Andrey Ulyanenko         3/29/2023     1.8   Review different foreign taxes that may impact FTX Europe sale


Andrey Ulyanenko         3/29/2023     1.9   Review different foreign taxes that may impact FTX Japan sale

Bill Seaway              3/29/2023     0.6   A&M Internal Call (B. Seaway, A. Kritzman) re: cross border loans

Bill Seaway              3/29/2023     0.4   Research method of accounting and tax returns


Bill Seaway              3/29/2023     0.2   Conference with A&M (B. Seaway) and EY (L. Lovelace, D. Bailey,
                                             et. al.) re Hong Kong
Chris Kotarba            3/29/2023     0.7   Continue Turicum Board Resolution Analysis


Chris Kotarba            3/29/2023     0.5   Review FTT Token Sale Characterization

Christopher Howe         3/29/2023     2.7   Review entity simplification document prepared by B. Parker


Andrey Ulyanenko         3/30/2023     2.6   Review updates to Liquid Sale model

Chris Kotarba            3/30/2023     1.0   Review Gibraltar Director Vacancy Analysis

Christopher Howe         3/30/2023     1.1   Review tax implications of asset sale vs. stock sale of FTX Europe


Andrey Ulyanenko         3/31/2023     1.2   Review tax implications of stock sale vs. asset sale post model
                                             updates
Andrey Ulyanenko         3/31/2023     0.9   A&M Internal Call (A. Ulyanenko, B. Parker) re: overall tax
                                             workstream updates
Andrey Ulyanenko         3/31/2023     0.9   A&M Internal Working Session (A. Ulyanenko, B. Parker) re: live
                                             working discussion re: Liquid funds
Bill Seaway              3/31/2023     0.5   Conference with A&M (B. Seaway, K. Jacobs); EY; J. Chan (Debtor)
                                             to discuss overseas activities
Brandon Parker           3/31/2023     0.4   A&M Internal Call (A. Ulyanenko, B. Parker) re: Liquid Fund
                                             investment docs
Brandon Parker           3/31/2023     0.9   A&M Internal Working Session (A. Ulyanenko, B. Parker) re: live
                                             working discussion re: Liquid funds
Brandon Parker           3/31/2023     0.9   A&M Internal Call (A. Ulyanenko, B. Parker) re: overall tax
                                             workstream updates
Brandon Parker           3/31/2023     0.8   Review Liquid Fund investment documents for tax consequences

Chris Kotarba            3/31/2023     0.2   Review Turicum Board Resolution Request


Christopher Howe         3/31/2023     0.6   Internal conference with A&M (K. Jacobs, C. Howe) re historical
                                             elections




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Tax Initiatives
Professional                 Date     Hours     Activity
Christopher Howe          3/31/2023      2.0   Review overall tax workstream progress

Kevin Jacobs              3/31/2023      0.5   Conference with A&M (B. Seaway, K. Jacobs); EY; J. Chan (Debtor)
                                               to discuss overseas activities
Kevin Jacobs              3/31/2023      0.6   Internal conference with A&M (K. Jacobs, C. Howe) re historical
                                               elections
Robert Gordon             3/31/2023      1.6   Prepare for tax workshop with M. Cilia (RLKS), R. Hoskins(A&M), T.
                                               Shea(EY)

Subtotal                               376.2

Vendor Management
Professional                 Date     Hours     Activity
Bridger Tenney             3/1/2023      0.8   Review foreign vendor reporting for professional services firms

Bridger Tenney             3/1/2023      0.5   Review current list of critical and foreign vendors


Chris Arnett               3/1/2023      0.3   Address questions from J. Petiford (S&C) on OCPs and
                                               contemplated payments
Erik Taraba                3/1/2023      1.4   Research professional firms listed in payment file and compare to
                                               latest filed OCP list
Erik Taraba                3/1/2023      0.6   Coordinate with management re: OCP firms and payment procedures

Erik Taraba                3/1/2023      0.9   Develop schedule of OCPs and historical payment activity


Katie Montague             3/1/2023      0.2   Review revised list of OCPs with outstanding DoDs

Katie Montague             3/1/2023      0.5   Research inquiry from S&C regarding OCP status

Bridger Tenney             3/2/2023      0.9   Review master payments file to determine if vendor invoices were
                                               paid
Bridger Tenney             3/2/2023      0.6   Update vendor tracker for invoices that have been paid

Bridger Tenney             3/2/2023      0.5   Compile paid invoices in shared file


Erik Taraba                3/2/2023      0.4   Update OCP status tracker with latest info from debtor counsel

Erik Taraba                3/2/2023      0.3   Call with J. Petiford (S&C) re: OCP list updates


Erik Taraba                3/2/2023      0.6   Correspondence with Company Finance Team re: updates to OCP
                                               firms and associated onboarding requirements
Erik Taraba                3/2/2023      0.6   Input data from invoices received through 3/2/23 into invoice tracker
                                               for analysis
Erik Taraba                3/2/2023      1.6   Research filed Retention Applications and extract relevant retainer
                                               information for input into professional fees forecast model


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Vendor Management
Professional                Date     Hours     Activity
Erik Taraba               3/2/2023     0.3   Coordinate with A&M and S&C teams re: gathering additional data on
                                             OCP workstreams
Erik Taraba               3/2/2023     0.2   Call with J. Petiford (S&C) re: updated OCP approval process


Erik Taraba               3/2/2023     0.9   Coordinate with management re: OCP procedures and onboarding

Katie Montague            3/2/2023     0.2   Update weekly PMO report for vendor reporting status

Katie Montague            3/2/2023     1.4   Reconcile QBO outputs for Alameda balance sheet to AP aging


Chris Arnett              3/3/2023     0.8   Triage vendor requests for payment and address noticing issues re:
                                             same
Erik Taraba               3/3/2023     0.6   Review docket and respond to questions re: OCP payment statement


Erik Taraba               3/3/2023     1.2   Complete payment checklists for OCP invoices received through
                                             3/3/23
Erik Taraba               3/3/2023     0.9   Link professional fee review model to updated forecast model


Erik Taraba               3/3/2023     0.7   Coordinate with Ventures Team and S&C re: ongoing legal work
                                             pertaining to LedgerPrime
Erik Taraba               3/3/2023     0.4   Complete payment checklists for UCC professionals fee applications

Erik Taraba               3/3/2023     2.9   Conduct analysis on OCP invoices received through 3/3/23


Erik Taraba               3/5/2023     0.6   Make updates to weekly payment package per leadership feedback

Erik Taraba               3/5/2023     0.7   Compile, organize, and communicate weekly payment package and
                                             associated invoices to Company Finance Team
Katie Montague            3/5/2023     0.2   Correspond with CMS team regarding status of Dotcom liabilities

Bridger Tenney            3/6/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: vendor invoice payments


Chris Arnett              3/6/2023     0.7   Triage vendor requests for payment and contract assumption

Erik Taraba               3/6/2023     0.5   Coordinate with J. Petiford (S&C) re: updated OCP status

Erik Taraba               3/6/2023     0.8   Coordinate with Company Finance Team and OCP firms re: historical
                                             accruals
Erik Taraba               3/6/2023     0.8   Update professional fees review model with latest invoices from FTX
                                             Japan OCPs
Erik Taraba               3/6/2023     0.7   Research debtor entities to determine appropriate entity and
                                             associated silo for invoicing by OCP
Erik Taraba               3/6/2023     0.3   Coordinate with overseas OCP re: missing invoice for December




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Vendor Management
Professional               Date     Hours     Activity
Katie Montague           3/6/2023     0.5   Email B. Lai (Company) regarding status of outstanding
                                            reimbursements
Katie Montague           3/6/2023     0.6   Call with K. Montague, B. Tenney (A&M) re: vendor invoice payments


Katie Montague           3/6/2023     2.0   Review and propose edits to memo and summary regarding
                                            customer and vendor claims
Bridger Tenney           3/7/2023     0.9   Allocate new vendor invoices to pre and post petition

Bridger Tenney           3/7/2023     0.8   Add vendor invoices to prepetition liabilities file


Bridger Tenney           3/7/2023     0.9   Determine payments made on vendor invoices in the month of
                                            November
Bridger Tenney           3/7/2023     0.8   Review vendor invoices and compare to total AP numbers


Erik Taraba              3/7/2023     0.7   Input invoices and fee applications filed and received on 3/6 and 3/7
                                            into invoice tracker
Erik Taraba              3/7/2023     0.4   Review docket, collect, and organize fee applications filed on 3/6/23


Erik Taraba              3/7/2023     2.2   Conduct analysis on fee applications filed through 3/6/23 for 327(a)
                                            retained professionals
Erik Taraba              3/7/2023     0.6   Import latest invoice and fee application data into professional fees
                                            review model for analysis
Erik Taraba              3/7/2023     0.5   Update OCP status list with latest information


Erik Taraba              3/7/2023     0.3   Coordinate with J. Petiford (S&C) re: OCP objection status and
                                            pending invoices
Katie Montague           3/7/2023     1.3   Prepare go-forward AP process tracker


Katie Montague           3/7/2023     0.9   Review and propose edits to memo and summary regarding
                                            customer and vendor claims
Katie Montague           3/7/2023     0.1   Correspond with vendor in Seychelles regarding status of payment


Bridger Tenney           3/8/2023     0.5   Update vendor payment request with correct banking information

Bridger Tenney           3/8/2023     0.8   Determine correct banking information for foreign vendor

Erik Taraba              3/8/2023     2.3   Conduct analysis on invoices received from OCPs on 3/8


Erik Taraba              3/8/2023     0.4   Input invoices received on 3/8 into invoice tracker

Erik Taraba              3/8/2023     0.2   Discussion with J. Petiford (S&C) re: OCP status update


Erik Taraba              3/8/2023     2.1   Conduct analysis on invoices received from OCPs between 3/6 and
                                            3/7




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Vendor Management
Professional                Date     Hours     Activity
Erik Taraba               3/8/2023     0.2   Correspondence with J. Petiford (S&C) re: OCP status changes

Erik Taraba               3/8/2023     2.4   Conduct analysis on overseas OCP invoices received through 3/8/23


Erik Taraba               3/8/2023     0.3   Import invoice data into professional fees review model for analysis

Katie Montague            3/8/2023     1.8   Reach out to Antigua vendor to determine process for terminating
                                             service
Katie Montague            3/8/2023     0.1   Correspond with M. Cilia regarding payment of outstanding invoices


Katie Montague            3/8/2023     0.2   Communicate with C. Jensen (S&C) regarding status of service
                                             termination in Antigua
Katie Montague            3/8/2023     1.1   Respond to inquiry from CMS team regarding unknown vendor
                                             liabilities at Dotcom entities
Bridger Tenney            3/9/2023     0.7   Reach out to foreign vendor to cancel account

Bridger Tenney            3/9/2023     0.3   Prepare communication to pay foreign vendor and cancel service


Bridger Tenney            3/9/2023     0.4   Research contact info for foreign vendor

Bridger Tenney            3/9/2023     0.6   Contact foreign vendor payment processing system

Bridger Tenney            3/9/2023     1.1   Review vendor invoice payment file to determine AP still outstanding


Erik Taraba               3/9/2023     0.3   Input additional invoices received overnight into professional fees
                                             forecast model
Erik Taraba               3/9/2023     0.4   Import new invoice data into professional fees review model for
                                             analysis
Erik Taraba               3/9/2023     2.3   Perform analysis on OCP invoices received since 3/8/23

Katie Montague            3/9/2023     0.8   Research WRS accounts payable balance sheet and prepetition
                                             amounts
Katie Montague            3/9/2023     0.5   Correspond with M. Cilia and K. Schultea (Company) regarding
                                             process to terminate Antigua service and payment of same
Katie Montague            3/9/2023     0.5   Call to Antigua ISP to discuss process for service termination

Bridger Tenney           3/10/2023     0.4   Determine vendor information needed to pay invoice


Bridger Tenney           3/10/2023     0.7   Contact foreign vendor to receive detailed invoice

Erik Taraba              3/10/2023     1.2   Review invoices received through 3/10/23 for accuracy and
                                             completeness
Erik Taraba              3/10/2023     0.3   Compile relevant invoices and fee applications with weekly payment
                                             package for review




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Vendor Management
Professional                Date     Hours     Activity
Erik Taraba              3/10/2023     0.3   Update OCP status list with latest information from counsel

Erik Taraba              3/10/2023     0.6   Import firm analysis into professional fees weekly payment package
                                             for WE 3/10/23
Erik Taraba              3/10/2023     0.4   Coordinate with OCP firm re: re-issue of invoices

Erik Taraba              3/10/2023     0.6   Review fee applications filed on 3/10/23 for mathematical errors

Erik Taraba              3/10/2023     0.9   Complete professional fee review checklists for invoices received
                                             through 3/10/23
Erik Taraba              3/10/2023     0.7   Complete professional fee review checklists for fee applications
                                             received through 3/10/23
Erik Taraba              3/10/2023     2.4   Conduct analysis on OCP invoices received through 3/10/23


Erik Taraba              3/10/2023     1.3   Import professional fee checklists into weekly payment package and
                                             QC output
Katie Montague           3/10/2023     0.2   Communicate with M. Cilia and K. Schultea (Company) regarding
                                             payment of Antigua ISP
Katie Montague           3/10/2023     0.3   Update PMO report for current status of vendor workstreams

Katie Montague           3/10/2023     0.3   Follow-up with Antigua ISP regarding termination of service

Erik Taraba              3/11/2023     0.8   Correspondence with J. Petiford (S&C) re: OCP status changes and
                                             pending actions
Erik Taraba              3/11/2023     0.7   Update weekly payment request package with recently filed fee
                                             application
Erik Taraba              3/11/2023     0.3   Coordinate with Vendor Team re: weekly payment package and OCP
                                             status updates
Erik Taraba              3/11/2023     0.4   Update OCP status list with latest feedback from counsel

Erik Taraba              3/12/2023     1.7   Review docket and gather additional data re: retainer amounts for
                                             various professional firms
Erik Taraba              3/12/2023     0.6   Consolidate relevant invoices and send to Company Finance Team
                                             along with weekly payment package
Erik Taraba              3/12/2023     0.4   Coordinate with Company Finance Team re: changes to professional
                                             firm banking information
Erik Taraba              3/12/2023     0.3   Make updated to payment request package for WE 3/10 per
                                             leadership feedback
Erik Taraba              3/12/2023     1.6   Review and audit recently filed fee applications in preparation for
                                             weekly payment package
Bridger Tenney           3/13/2023     0.5   Determine if invoices were paid in master payment file


Bridger Tenney           3/13/2023     0.7   Search shared folders for detailed vendor invoices




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Vendor Management
Professional                Date     Hours     Activity
Bridger Tenney           3/13/2023     0.5   Create folder of invoices for specific vendor

Bridger Tenney           3/13/2023     0.4   Compile vendor invoices for distribution


Erik Taraba              3/13/2023     0.9   Review invoices received on 3/13/23 and input relevant data into
                                             invoice tracker
Erik Taraba              3/13/2023     0.5   Consolidate additional relevant invoices and send to Company
                                             Finance Team along with updated weekly payment package
Erik Taraba              3/13/2023     0.3   Coordinate with Vendor Team re: updates to slides for weekly cash
                                             meeting with Company Finance Team
Erik Taraba              3/13/2023     0.6   Make updates to weekly payment package per leadership feedback

Erik Taraba              3/13/2023     0.6   Update weekly professional fees payment package with feedback
                                             from leadership
Erik Taraba              3/13/2023     0.7   Provide responses to questions re: invoices to be paid WE 3/10/23

Erik Taraba              3/13/2023     0.3   Coordinate with J. Petiford (S&C) re: OCP invoice re-issue


Katie Montague           3/13/2023     1.3   Review professional fee vendor payment requests and provide
                                             comments
Katie Montague           3/13/2023     0.1   Email M. Cilia and K. Schultea (Company) to request payment of past
                                             due vendor invoices
Katie Montague           3/13/2023     0.1   Communicate with M. Eattock (Company) regarding outstanding
                                             vendor invoices
Bridger Tenney           3/14/2023     1.5   Use vendor payment information to determine accounting software
                                             used by each entity
Bridger Tenney           3/14/2023     0.7   Review bank information and wire instructions for vendor payment


Bridger Tenney           3/14/2023     1.0   Review new foreign payments in internal payment file

Bridger Tenney           3/14/2023     0.5   Discuss outstanding vendor invoices with K. Montague, B. Tenney
                                             (A&M)
Bridger Tenney           3/14/2023     1.1   Prepare follow-up to confirm vendor bank information

Bridger Tenney           3/14/2023     1.1   Review internal payment file for new vendor payments

Erik Taraba              3/14/2023     0.6   Input data from recently received invoices into professional fees
                                             invoice tracking model
Erik Taraba              3/14/2023     1.6   Conduct analysis on professional fee invoices received on 3/14/23

Erik Taraba              3/14/2023     2.7   Update weekly payment request package with feedback from
                                             Company Finance Team
Erik Taraba              3/14/2023     0.4   Import OCP invoice data into professional fees review model for
                                             analysis




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Vendor Management
Professional                Date     Hours     Activity
Erik Taraba              3/14/2023     0.8   Complete professional fee payment checklists for invoices received
                                             on 3/13/23
Erik Taraba              3/14/2023     1.2   Conduct analysis on professional fee invoices received on 3/13/23


Katie Montague           3/14/2023     0.5   Correspond with Company personnel regarding outstanding payment
                                             requests
Katie Montague           3/14/2023     0.3   Follow-up with M. Cilia (Company) regarding status of payment
                                             requests
Katie Montague           3/14/2023     0.6   Review and provide feedback on professional firm vendor payment
                                             requests and summary
Katie Montague           3/14/2023     0.4   Discuss outstanding vendor invoices with K. Montague, B. Tenney
                                             (A&M)
Katie Montague           3/14/2023     0.5   Correspond with Company personnel regarding additional items
                                             needed for processing payment requests
Bridger Tenney           3/15/2023     0.5   Working session with K. Montague, B. Tenney (A&M) re: vendor
                                             reporting through Mar. 9
Bridger Tenney           3/15/2023     1.2   Process updates to vendor reporting for current month


Bridger Tenney           3/15/2023     1.3   Bridge previous internal payment file to current numbers

Bridger Tenney           3/15/2023     2.0   Reconcile previous vendor reporting file to current

Bridger Tenney           3/15/2023     1.5   Categorize foreign vendor payments in internal payment file


Erik Taraba              3/15/2023     0.6   Update OCP status tracker with latest docket filings and feedback
                                             from counsel
Erik Taraba              3/15/2023     0.8   Import latest invoice data into professional fees invoice tracker and
                                             review model for analysis
Erik Taraba              3/15/2023     2.4   Review professionals invoices received through 3/15/23 and audit for
                                             accuracy and completeness
Erik Taraba              3/15/2023     2.5   Perform additional analysis on overseas OCP invoices re: foreign
                                             exchange rates and detailed time reporting
Erik Taraba              3/15/2023     2.9   Perform analysis on professionals invoices received through 3/15/23

Katie Montague           3/15/2023     0.5   Working session with K. Montague, B. Tenney (A&M) re: vendor
                                             reporting through Mar. 9
Bridger Tenney           3/16/2023     1.1   Match IT invoices with current contracts outstanding


Bridger Tenney           3/16/2023     1.1   Prepare list of invoices with missing service dates

Bridger Tenney           3/16/2023     1.1   Reconcile pre and post petition portion of vendor invoices


Bridger Tenney           3/16/2023     1.1   Review IT invoices for service date and post petition totals




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Vendor Management
Professional                 Date     Hours     Activity
Bridger Tenney            3/16/2023     0.7   Create list of IT invoices ready to be paid

Bridger Tenney            3/16/2023     1.5   Compare current IT invoices to past versions


Chris Arnett              3/16/2023     0.3   Review and comment on draft vendor reporting to the UCC

Chris Arnett              3/16/2023     0.4   Triage various vendor inquiries re: payment as alerted by R.
                                              Parabatla (Company)
Erik Taraba               3/16/2023     2.3   Reconcile IT service provider invoices to proposed payment schedule


Erik Taraba               3/16/2023     1.0   Coordinate with Vendor Team re: pre/post-petition bifurcation for IT
                                              service provider invoices
Erik Taraba               3/16/2023     0.5   Import fee applications data as of 3/16/23 into professional fees
                                              review model for analysis
Erik Taraba               3/16/2023     1.3   Conduct individual firm analyses on OCP firms with invoices
                                              submitted to-date
Erik Taraba               3/16/2023     0.6   Update OCP status schedule with latest data from counsel and
                                              docket filings
Erik Taraba               3/16/2023     0.4   Coordinate with Crypto Team re: unpaid invoices

Erik Taraba               3/16/2023     0.6   Correspondence with OCP firm billing department re: status of
                                              pending invoices
Katie Montague            3/16/2023     1.1   Update critical and foreign vendor payment summary


Katie Montague            3/16/2023     1.7   Review invoices from IT vendor regarding post-petition payments

Katie Montague            3/16/2023     0.5   Review and reconcile inquiry from IT vendor for post-petition
                                              payments
Bridger Tenney            3/17/2023     2.1   Consolidate list of foreign vendor payments for vendor reporting
                                              period
Bridger Tenney            3/17/2023     1.2   Add new payments to vendor reporting file for UCC


Bridger Tenney            3/17/2023     0.7   Identify payments to be categorized under another motion

Bridger Tenney            3/17/2023     1.2   Distribute list of invoices being excluded in reporting period

Erik Taraba               3/17/2023     0.3   Update OCP status list with latest data re: invoices received


Erik Taraba               3/17/2023     0.4   Coordinate with Vendor Team leadership re: review of professional
                                              fees payment package for WE 3/17/23
Erik Taraba               3/17/2023     0.8   Check docket and retrieve filed fee applications for week ending
                                              3/17/23 for analysis
Erik Taraba               3/17/2023     0.8   Compile relevant data and input into professional fees payment
                                              request package for WE 3/17/23




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Vendor Management
Professional                 Date     Hours     Activity
Erik Taraba               3/17/2023     0.9   Complete professional fees checklist for OCP invoices received WE
                                              3/17/23
Erik Taraba               3/17/2023     1.3   Complete professional fees checklist for 327(a) retained
                                              professionals fee applications filed WE 3/17/23
Erik Taraba               3/17/2023     2.4   Perform firm analysis on recently filed fee applications

Katie Montague            3/17/2023     1.5   Review and update go-forward accounts payable process for Dotcom
                                              silo
Katie Montague            3/17/2023     0.3   Correspond with D. Ornelas (Company) to assist with service
                                              termination
Katie Montague            3/17/2023     0.9   Call internet service provider to terminate service

Katie Montague            3/17/2023     1.3   Review and update go-forward accounts payable process for WRS
                                              silo
Erik Taraba               3/18/2023     0.9   Make updates to professional fees payment package for WE 3/17

Bridger Tenney            3/19/2023     1.3   Finalize full payment analysis regarding foreign vendor payments


Bridger Tenney            3/19/2023     1.2   Add dates and category of payment in vendor reporting package

David Nizhner             3/19/2023     0.6   Correspond with internal team regarding consolidated February
                                              professional review
Erik Taraba               3/19/2023     0.4   Audit IT service provider invoices provided by R. Perubhatla (FTX)
                                              for accuracy and forecasting
Erik Taraba               3/19/2023     0.3   Input IT service provided invoice data into invoice tracker model

Bridger Tenney            3/20/2023     1.2   List vendors that are paid using local bank accounts


Bridger Tenney            3/20/2023     1.4   Update master list of vendors for vendor reporting period

Bridger Tenney            3/20/2023     0.9   Update entity listing for each vendor payment


Bridger Tenney            3/20/2023     0.7   Update master list of vendors for vendor reporting period

Chris Arnett              3/20/2023     0.4   Review and comment on status of ordinary course professional
                                              payments and processing
Chris Arnett              3/20/2023     0.4   Various emails with R. Parabatla (Company) re: critical vendor
                                              treatment
Erik Taraba               3/20/2023     0.4   Coordinate with Vendor Team and counsel re: 327(a) retained
                                              professional fee applications for November through January
Erik Taraba               3/20/2023     0.5   Coordinate with Company Finance Team re: Interim Fee Application
                                              review and payment process
Erik Taraba               3/20/2023     0.4   Update professional fees payment package with additional details
                                              requested by management




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Vendor Management
Professional                Date     Hours     Activity
Erik Taraba              3/20/2023     0.3   Coordinate with Vendor Team re: OCP vendor status updates

Erik Taraba              3/20/2023     0.3   Complete professional fee checklist for 327(a) retained professional
                                             fee application filed on 3/10
Erik Taraba              3/20/2023     0.4   Update OCP status tracker with latest invoice and legal status
                                             information
Erik Taraba              3/20/2023     0.2   Resubmit updated payment package for WE 3/17 to Company
                                             Finance Team
Erik Taraba              3/20/2023     0.7   Conduct analysis on additional 327(a) retained professional fee
                                             application filed 3/10
Erik Taraba              3/20/2023     0.8   Compile invoices and other materials and communicate weekly
                                             payment package to Company Finance Team
Erik Taraba              3/20/2023     1.1   Update professional fees payment package per feedback from
                                             workstream leadership
Erik Taraba              3/20/2023     0.6   Correspondence with OCP firm re: invoice development and
                                             submission process
Erik Taraba              3/20/2023     0.5   Update professional fee payment package for WE 3/17 with
                                             additional 327(a) retained professional fee application
Katie Montague           3/20/2023     1.3   Provide feedback regarding go-forward accounts payable process for
                                             all debtor entities
Katie Montague           3/20/2023     0.5   Review and provide comments on professional fee payment requests

Erik Taraba              3/21/2023     0.2   Coordinate with J. Petiford (S&C) re: payment approval of OCP
                                             invoice
Erik Taraba              3/21/2023     0.7   Update professional fees payment package and review model to
                                             reflect 328(a) professional fees payment schedule
Katie Montague           3/21/2023     0.3   Research status of Ledger Prime payments requests


Katie Montague           3/21/2023     1.5   Continue to update process for tracking of vendor inquiries and
                                             accounts payable
Katie Montague           3/21/2023     1.2   Update list of go-forward accounts payable processes for each entity


Katie Montague           3/21/2023     3.1   Consolidate list of vendor inquiries for R. Perubhatla (Company)

Bridger Tenney           3/22/2023     1.1   Add pre and post calculations to vendor inquiries master file

Bridger Tenney           3/22/2023     0.6   Find vendor contact information for services no longer in use


Bridger Tenney           3/22/2023     0.3   Call vendor contact line to terminate service

Bridger Tenney           3/22/2023     0.7   Review vendor invoices for service dates


Bridger Tenney           3/22/2023     0.4   Schedule meetings and working sessions to go over AP go forward
                                             process




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Vendor Management
Professional                 Date     Hours     Activity
Bridger Tenney            3/22/2023     0.4   Distribute vendor invoice tracker to company vendor manager

Bridger Tenney            3/22/2023     1.2   List separate vendor invoices in contract rejection spreadsheet


Bridger Tenney            3/22/2023     0.4   Call with J. Sequeira, K. Montague, B. Tenney (A&M) and M. Cilia
                                              (FTX) re: vendor invoice tracking and AP go-forward process
Bridger Tenney            3/22/2023     1.3   Allocate vendor invoices to pre or post petition for company vendor
                                              manager
Bridger Tenney            3/22/2023     1.4   List descriptions of each contract for company vendor manager


Chris Arnett              3/22/2023     1.2   Triage vendor requests for payment and strategize around same

Erik Taraba               3/22/2023     1.5   Perform analysis on OCP invoices received through 3/22/23


Erik Taraba               3/22/2023     0.4   Coordinate with counsel re: status and updates of potential
                                              incremental OCPs
Erik Taraba               3/22/2023     0.2   Update Vendor Team re: outcomes of incremental OCP review with
                                              counsel
Erik Taraba               3/22/2023     0.3   Additional coordination and status updates communication with
                                              counsel re: potential OCPs
Joseph Sequeira           3/22/2023     0.4   Call with J. Sequeira, K. Montague, B. Tenney (A&M) and M. Cilia
                                              (RLKS) re: vendor invoice tracking and AP go-forward process
Katie Montague            3/22/2023     0.4   Research professional fee historical spend for S&C inquiry


Katie Montague            3/22/2023     0.9   Review company billing email accounts for additional information on
                                              vendor inquiries
Katie Montague            3/22/2023     0.4   Call with J. Sequeira, K. Montague, B. Tenney (A&M) and M. Cilia
                                              (FTX) re: vendor invoice tracking and AP go-forward process
Katie Montague            3/22/2023     1.8   Update vendor inquiry tracker for additional invoices received

Katie Montague            3/22/2023     0.5   Correspond with D. Ornelas (Company) regarding credit card bills


Bridger Tenney            3/23/2023     0.9   Allocate vendor invoices relating to contracts to pre or post petition

Chris Arnett              3/23/2023     0.4   Compose emails regarding vendor request for payment

Chris Arnett              3/23/2023     0.8   Triage credit card vendor requests for payment from individual team
                                              members
Chris Arnett              3/23/2023     0.4   Call with R. Perubhatla (FTX) C. Arnett, J. Cooper, S. Witherspoon,
                                              K. Montague, and E. Taraba (A&M) re: IT vendor spend forecast
Erik Taraba               3/23/2023     0.4   Call with R. Perubhatla (FTX) C. Arnett, J. Cooper, S. Witherspoon,
                                              K. Montague, and E. Taraba (A&M) re: IT vendor spend forecast
Erik Taraba               3/23/2023     0.5   Develop template for professional firms to submit time detail to
                                              support invoice review and analysis




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Vendor Management
Professional                 Date     Hours     Activity
Erik Taraba               3/23/2023     0.3   Correspondence with counsel re: supporting documentation for
                                              professional firm invoices
Erik Taraba               3/23/2023     0.3   Coordination with counsel re: OCP status updates


Erik Taraba               3/23/2023     0.4   Update OCP status tracker with latest invoice and legal status
                                              information
James Cooper              3/23/2023     0.4   Call with R. Perubhatla (FTX) C. Arnett, J. Cooper, S. Witherspoon,
                                              K. Montague, and E. Taraba (A&M) re: IT vendor spend forecast
Katie Montague            3/23/2023     0.2   Correspond with Antigua landlord regarding status of wire payment


Katie Montague            3/23/2023     0.8   Prepare options for K. Schultea (Company) for items at storage facility

Katie Montague            3/23/2023     0.2   Correspond with D. Ornelas (Company) regarding credit card bills


Katie Montague            3/23/2023     0.4   Call with R. Perubhatla (FTX) C. Arnett, J. Cooper, S. Witherspoon,
                                              K. Montague, and E. Taraba (A&M) re: IT vendor spend forecast
Katie Montague            3/23/2023     0.3   Communicate with registered agent regarding mail


Katie Montague            3/23/2023     1.9   Send multiple emails to vendors requesting status of outstanding
                                              payments
Samuel Witherspoon        3/23/2023     0.4   Call with R. Perubhatla (FTX) C. Arnett, J. Cooper, S. Witherspoon,
                                              K. Montague, and E. Taraba (A&M) re: IT vendor spend forecast
Bridger Tenney            3/24/2023     0.8   Draft email communication to send to vendor and cancel service


Chris Arnett              3/24/2023     0.7   Triage vendor payment requests and direct team regarding
                                              responses to same
Erik Taraba               3/24/2023     0.5   Perform individual firm analysis on PR/Marketing firm invoices


Erik Taraba               3/24/2023     0.3   Compile relevant invoices and other supporting materials for
                                              professional fees payment package for WE 3/24/23
Erik Taraba               3/24/2023     0.6   Complete professional fee checklists for invoices received through
                                              3/24/23
Katie Montague            3/24/2023     0.5   Communicate with D. Ornelas (Company) to discuss help with
                                              service terminations
Bridger Tenney            3/25/2023     0.4   Draft communication to be sent to vendor and cancel service

Bridger Tenney            3/26/2023     1.6   Review vendor service contracts for termination details


Bridger Tenney            3/26/2023     1.5   Prepare spreadsheet listing amendments to be made to statements
                                              and schedules
Chris Arnett              3/26/2023     0.5   Address emails from R. Parabatla (Company) re: outstanding
                                              invoices and terminations
Katie Montague            3/26/2023     1.3   Correspond with multiple IT vendors regarding termination of service
                                              and creditor information




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                                                                                                    Exhibit D

                                    FTX Trading Ltd., et al.,
                              Time Detail by Activity by Professional
                              March 1, 2023 through March 31, 2023


Vendor Management
Professional                 Date     Hours     Activity
Katie Montague            3/26/2023     0.9   Review and provide comments on professional fee payment requests

Katie Montague            3/26/2023     0.4   Draft email template for use in responding to vendor inquiries and
                                              termination of services
Bridger Tenney            3/27/2023     1.1   Determine prepetition liabilities outstanding for Europe entity

Bridger Tenney            3/27/2023     1.0   Input vendor invoice information into statements and schedules
                                              amendment spreadsheet
Chris Arnett              3/27/2023     1.3   Triage vendor requests for payment and associated contractual
                                              issues
Chris Arnett              3/27/2023     0.7   Direct vendor team with regard to addressing pending service
                                              terminations
Erik Taraba               3/27/2023     0.3   Update OCP tracker with latest invoice, filing, and status updates
                                              from counsel
Erik Taraba               3/27/2023     0.3   Consolidate relevant invoices and communicate professional fees
                                              payment package for WE 3/24 to Company Finance Team for review
Erik Taraba               3/27/2023     0.2   Coordinate with Vendor Team re: inputs to weekly cash meeting
                                              slides
Erik Taraba               3/27/2023     0.2   Complete professional fees review checklist for FTI eDiscovery
                                              invoice received on 3/25
Erik Taraba               3/27/2023     0.2   Refresh weekly professional fees payment request package for WE
                                              3/31
Erik Taraba               3/27/2023     0.9   Conduct firm analysis on FTI eDiscovery invoice received on 3/25


Katie Montague            3/27/2023     1.1   Research vendors with multiple contracts to ensure completeness
                                              during termination process
Katie Montague            3/27/2023     0.4   Correspond with R. Perubhatla (Company) regarding IT contracts


Katie Montague            3/27/2023     0.5   Correspond with R. Perubhatla (Company) to discuss status of
                                              certain vendor terminations
Katie Montague            3/27/2023     2.6   Communicate with multiple vendors regarding termination of service


Bridger Tenney            3/28/2023     1.0   Review vendor invoice tracker to determine invoices not listed in
                                              prepetition liabilities
Bridger Tenney            3/28/2023     1.0   Update vendor inquiries list for new emails from vendor AR teams

Chris Arnett              3/28/2023     0.7   Investigate and research surety bond broker requests for payment


Chris Arnett              3/28/2023     1.4   Triage vendor requests for payment and associated contractual
                                              issues
Erik Taraba               3/28/2023     0.3   Correspondence with J. Petiford (S&C) and A&M Vendor Team re:
                                              OCP status
Katie Montague            3/28/2023     0.3   Correspond with O. Okuneva (Company) to coordinate site visit to
                                              storage unit




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                              Time Detail by Activity by Professional
                              March 1, 2023 through March 31, 2023


Vendor Management
Professional                 Date     Hours     Activity
Katie Montague            3/28/2023     3.1   Various communications with vendors regarding service terminations
                                              and outstanding payables
Erik Taraba               3/29/2023     0.3   Review IT vendor invoice and supplemental documentation and input
                                              data into professional fees forecast model
Erik Taraba               3/29/2023     0.2   Update OCP status list with latest updates from counsel

Katie Montague            3/29/2023     2.4   Follow-up on service terminations with multiple vendors

Chris Arnett              3/30/2023     0.2   Follow-up on status vendor contract termination letter and suggest
                                              next steps
Chris Arnett              3/30/2023     0.9   Address vendor requests for critical vendor status and requests for
                                              payment
Erik Taraba               3/30/2023     0.5   Review docket and update OCP tracker with latest filing data and
                                              feedback from counsel
Erik Taraba               3/30/2023     0.4   Complete individual firm analysis for IT professional firm February
                                              invoice and detailed time entries
Erik Taraba               3/30/2023     0.2   Email correspondence with Bahamas/Caymans team re: review of
                                              OCP invoice
Erik Taraba               3/30/2023     0.2   Complete professional fee review checklist for IT professional firm
                                              February invoice
Erik Taraba               3/30/2023     0.3   Coordinate with counsel re: 2nd Amended OCP list and status of
                                              current OCPs
Bridger Tenney            3/31/2023     1.4   Prepare communication to notice vendors of bar date and creditor
                                              matrix
Bridger Tenney            3/31/2023     0.8   Determine source and legitimacy of large outstanding invoice

Bridger Tenney            3/31/2023     1.4   Update vendor inquiry tracker based on responses from vendors


Chris Arnett              3/31/2023     0.6   Review and comment on progress of service provider terminations

Chris Arnett              3/31/2023     0.3   Follow-up on status of ordinary course professional vendors and
                                              DOD filings
Erik Taraba               3/31/2023     0.2   Email correspondence with Company Finance Team leadership re:
                                              approval of payments to 327(a) professionals
Erik Taraba               3/31/2023     1.2   Research relevant OCP motions and associated filings to determine
                                              appropriate review level for various OCP firms
Erik Taraba               3/31/2023     0.5   Update individual firm analysis for FTI eDiscovery per feedback from
                                              counsel
Erik Taraba               3/31/2023     0.2   Coordinate with counsel re: 2nd Amended OCP list and status of
                                              current OCPs
Erik Taraba               3/31/2023     0.6   Review docket and update OCP tracker with latest data per 2nd
                                              Amended OCP list and associated declarations
Erik Taraba               3/31/2023     0.2   Complete professional fees review checklist for OCP invoice received
                                              on 3/30




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                                   FTX Trading Ltd., et al.,
                             Time Detail by Activity by Professional
                             March 1, 2023 through March 31, 2023


Vendor Management
Professional                Date     Hours       Activity
Erik Taraba              3/31/2023       0.4    Consolidate relevant invoices and data and communicate
                                                professional fees payment package for WE 3/31 to leadership for
                                                review
Katie Montague           3/31/2023       0.1    Review email received from B. Lai (Company) regarding claims

Katie Montague           3/31/2023       1.5    Correspond with vendors regarding termination of service



Subtotal                               244.0


Grand Total                          18,954.4




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                            FTX Trading Ltd., et al.,
                      Summary of Expense Detail by Category
                      March 1, 2023 through March 31, 2023




Expense Category                                                       Sum of Expenses


License Fees                                                                $373,493.55

Lodging                                                                      $63,790.54

Airfare                                                                      $50,733.41

Meals                                                                        $26,614.51

Transportation                                                               $25,734.64

Miscellaneous                                                                    $696.68




                                                               Total        $541,063.33




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                                  FTX Trading Ltd., et al.,
                                Expense Detail by Category
                            March 1, 2023 through March 31, 2023


                                                 License Fees

Professional/Service         Date           Expense        Expense Description

Kurt Dudek                    2/1/2023        $3,100.00    Monthly data infrastructure usage fee

Steve Kotarba                2/28/2023        $1,599.42    Claims Management Monthly Data Storage Fee

Kumanan Ramanathan           3/15/2023        $4,445.15    Screening fees for Elliptic Blockchain Analytics tool

Robert Johnson               3/31/2023      $364,348.98    Third-party data storage and virtual server usage

   Expense Category Total                $373,493.55



                                                       Lodging

Professional/Service         Date           Expense        Expense Description

Alex Lawson                 11/28/2022          $525.00    Hotel in New York, NY, one night, Marriott

Alex Lawson                 11/29/2022          $525.00    Hotel in New York, NY, one night, Marriott

Alex Lawson                 11/30/2022          $525.00    Hotel in New York, NY, one night, Marriott

Alex Lawson                  12/1/2022          $525.00    Hotel in New York, NY, one night, Marriott

Gaurav Walia                12/12/2022          $491.19    Hotel in New York, NY, one night, Marriott

Gaurav Walia                12/13/2022          $491.19    Hotel in New York, NY, one night, Marriott

Gaurav Walia                12/14/2022          $491.19    Hotel in New York, NY, one night, Marriott

Gaurav Walia                  1/9/2023          $468.23    Hotel in New York, NY, one night, Marriott

Gaurav Walia                 1/10/2023          $479.71    Hotel in New York, NY, one night, Marriott

Gaurav Walia                 1/11/2023          $479.71    Hotel in New York, NY, one night, Marriott

Gaurav Walia                 1/23/2023          $514.13    Hotel in New York, NY, one night, Marriott

Gaurav Walia                 1/24/2023          $514.13    Hotel in New York, NY, one night, Marriott

Lance Clayton                2/21/2023          $223.69    Hotel in Dallas, TX, one night, Adolphus

Lance Clayton                2/22/2023          $223.69    Hotel in Dallas, TX, one night, Adolphus

Leslie Lambert               2/26/2023          $225.00    Hotel in Tampa, FL, one night, TownePlace Suites

Heather Ardizzoni            2/26/2023          $225.00    Hotel in Dallas, TX, one night, Warwick

Claire Myers                 2/26/2023          $225.00    Hotel in Dallas, TX, one night, Marriott

Claire Myers                 2/27/2023          $225.00    Hotel in Dallas, TX, one night, Marriott

Leslie Lambert               2/27/2023          $225.00    Hotel in Tampa, FL, one night, TownePlace Suites

Heather Ardizzoni            2/27/2023          $225.00    Hotel in Dallas, TX, one night, Warwick

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                              FTX Trading Ltd., et al.,
                            Expense Detail by Category
                        March 1, 2023 through March 31, 2023


                                            Lodging

Professional/Service     Date         Expense      Expense Description

Cole Broskay             2/27/2023       $225.00   Hotel in Dallas, TX, one night, Fairmont

Ritchine Guerrier        2/27/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Adam Titus               2/27/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Mariah Rodriguez         2/28/2023       $225.00   Hotel in Tampa, FL, one night, Marriott

William Walker           2/28/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers             2/28/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Cole Broskay             2/28/2023       $225.00   Hotel in Dallas, TX, one night, Fairmont

Heather Ardizzoni        2/28/2023       $225.00   Hotel in Dallas, TX, one night, Warwick

Leslie Lambert           2/28/2023       $225.00   Hotel in Tampa, FL, one night, TownePlace Suites

Gaurav Walia             2/28/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Adam Titus               2/28/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Claudia Sigman            3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Leslie Lambert            3/1/2023       $225.00   Hotel in Tampa, FL, one night, TownePlace Suites

William Walker            3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Mariah Rodriguez          3/1/2023       $225.00   Hotel in Tampa, FL, one night, Marriott

Mark Zeiss                3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claire Myers              3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ritchine Guerrier         3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Heather Ardizzoni         3/1/2023       $225.00   Hotel in Dallas, TX, one night, Warwick

Ricardo Armando Avila     3/1/2023       $225.00   Hotel in Tampa, FL, one night, Marriott

Ran Bruck                 3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Zach Burns                3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Trevor DiNatale           3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Rob Esposito              3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Luke Francis              3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steven Glustein           3/1/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Gaurav Walia              3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Robert Gordon             3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kevin Kearney             3/1/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

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                              FTX Trading Ltd., et al.,
                            Expense Detail by Category
                        March 1, 2023 through March 31, 2023


                                            Lodging

Professional/Service     Date         Expense      Expense Description

Steve Kotarba             3/1/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kathryn Zabcik            3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett                3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Cole Broskay              3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira           3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Adam Titus                3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline             3/1/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Mariah Rodriguez          3/2/2023       $225.00   Hotel in Tampa, FL, one night, Marriott

Claire Myers              3/2/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ran Bruck                 3/2/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ricardo Armando Avila     3/2/2023       $225.00   Hotel in Tampa, FL, one night, Marriott

Mark Zeiss                3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Leslie Lambert            3/2/2023       $225.00   Hotel in Tampa, FL, one night, TownePlace Suites

Steve Kotarba             3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kevin Kearney             3/2/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ritchine Guerrier         3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Robert Gordon             3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito              3/2/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Trevor DiNatale           3/2/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Zach Burns                3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claudia Sigman            3/2/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kathryn Zabcik            3/2/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira           3/2/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline             3/2/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Cole Broskay              3/2/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett                3/2/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Heather Ardizzoni         3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers              3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Trevor DiNatale           3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

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                        March 1, 2023 through March 31, 2023


                                            Lodging

Professional/Service     Date         Expense      Expense Description

Mark Zeiss                3/5/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claudia Sigman            3/5/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Douglas Lewandowski       3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Zach Burns                3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton             3/5/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito              3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Kevin Kearney             3/5/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steve Kotarba             3/5/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Jack Faett                3/5/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira           3/5/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Kathryn Zabcik            3/5/2023       $204.35   Hotel in Dallas, TX, one night, Westin

Adam Titus                3/5/2023       $189.90   Hotel in Dallas, TX, one night, Westin

David Nizhner             3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski       3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Heather Ardizzoni         3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claudia Sigman            3/6/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claire Myers              3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Katie Montague            3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Kevin Kearney             3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jared Gany                3/6/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito              3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Christopher Sullivan      3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Trevor DiNatale           3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Cole Broskay              3/6/2023       $225.00   Hotel in Dallas, TX, one night, Fairmont

Ran Bruck                 3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Zach Burns                3/6/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton             3/6/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Mark Zeiss                3/6/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Steve Kotarba             3/6/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

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                              FTX Trading Ltd., et al.,
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                                            Lodging

Professional/Service     Date         Expense      Expense Description

Joseph Sequeira           3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Cullen Stockmeyer         3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline             3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Robert Gordon             3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Luke Francis              3/6/2023       $223.69   Hotel in Dallas, TX, one night, Marriott

Jack Faett                3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Lorenzo Callerio          3/6/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Adam Titus                3/6/2023       $213.36   Hotel in Dallas, TX, one night, Westin

Kathryn Zabcik            3/6/2023       $204.35   Hotel in Dallas, TX, one night, Westin

Christopher Sullivan      3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Heather Ardizzoni         3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Mark Zeiss                3/7/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

David Nizhner             3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Adam Titus                3/7/2023       $225.00   Hotel in Dallas, TX, one night, Westin

Jared Gany                3/7/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claudia Sigman            3/7/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Katie Montague            3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski       3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Kevin Kearney             3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Rob Esposito              3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ran Bruck                 3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers              3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Cole Broskay              3/7/2023       $225.00   Hotel in Dallas, TX, one night, Fairmont

Lance Clayton             3/7/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Zach Burns                3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steve Kotarba             3/7/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Trevor DiNatale           3/7/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Robert Gordon             3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Cullen Stockmeyer         3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

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                                            Lodging

Professional/Service     Date         Expense      Expense Description

Drew Hainline             3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett                3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Lorenzo Callerio          3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira           3/7/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Kathryn Zabcik            3/7/2023       $204.35   Hotel in Dallas, TX, one night, Westin

Luke Francis              3/7/2023       $140.03   Hotel in Dallas, TX, one night, Marriott

Christopher Sullivan      3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claudia Sigman            3/8/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito              3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Heather Ardizzoni         3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Mark Zeiss                3/8/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Adam Titus                3/8/2023       $225.00   Hotel in Dallas, TX, one night, Westin

David Nizhner             3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers              3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski       3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steve Kotarba             3/8/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Kevin Kearney             3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jared Gany                3/8/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Trevor DiNatale           3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton             3/8/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Zach Burns                3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Ran Bruck                 3/8/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steven Glustein           3/8/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Robert Gordon             3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett                3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Lorenzo Callerio          3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline             3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira           3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Cullen Stockmeyer         3/8/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

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                              FTX Trading Ltd., et al.,
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                                            Lodging

Professional/Service     Date         Expense      Expense Description

Kathryn Zabcik            3/8/2023       $204.35   Hotel in Dallas, TX, one night, Westin

Luke Francis              3/8/2023       $173.99   Hotel in Dallas, TX, one night, Marriott

Kevin Kearney             3/9/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers              3/9/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claudia Sigman            3/9/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Steve Kotarba             3/9/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Mark Zeiss                3/9/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Douglas Lewandowski       3/9/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Rob Esposito              3/9/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jared Gany                3/9/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Steven Glustein           3/9/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Trevor DiNatale           3/9/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jack Faett                3/9/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Luke Francis              3/9/2023       $173.99   Hotel in Dallas, TX, one night, Marriott

Claudia Sigman           3/12/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Jared Gany               3/12/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Mark Zeiss               3/12/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito             3/12/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski      3/12/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers             3/12/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Zach Burns               3/12/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett               3/12/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Steve Kotarba            3/12/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira          3/12/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Kathryn Zabcik           3/12/2023       $223.69   Hotel in Dallas, TX, one night, Westin

Trevor DiNatale          3/12/2023       $209.96   Hotel in Dallas, TX, one night, Renaissance

Luke Francis             3/12/2023       $209.96   Hotel in Dallas, TX, one night, Marriott

Katie Montague           3/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claire Myers             3/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

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                              FTX Trading Ltd., et al.,
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                                            Lodging

Professional/Service     Date         Expense      Expense Description

Mark Zeiss               3/13/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

David Nizhner            3/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton            3/13/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Steven Glustein          3/13/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Rob Esposito             3/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jared Gany               3/13/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claudia Sigman           3/13/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Douglas Lewandowski      3/13/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steve Kotarba            3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira          3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline            3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Robert Gordon            3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett               3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Zach Burns               3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Kathryn Zabcik           3/13/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Trevor DiNatale          3/13/2023       $209.96   Hotel in Dallas, TX, one night, Renaissance

Luke Francis             3/13/2023       $209.96   Hotel in Dallas, TX, one night, Marriott

Katie Montague           3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Mark Zeiss               3/14/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Gaurav Walia             3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Claudia Sigman           3/14/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claire Myers             3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steven Glustein          3/14/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Jared Gany               3/14/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Rob Esposito             3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton            3/14/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

David Nizhner            3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski      3/14/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steve Kotarba            3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

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                                            Lodging

Professional/Service     Date         Expense      Expense Description

Joseph Sequeira          3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline            3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Robert Gordon            3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Jack Faett               3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Zach Burns               3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Kathryn Zabcik           3/14/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Trevor DiNatale          3/14/2023       $209.96   Hotel in Dallas, TX, one night, Renaissance

Luke Francis             3/14/2023       $209.96   Hotel in Dallas, TX, one night, Marriott

Mark Zeiss               3/15/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Gaurav Walia             3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

David Nizhner            3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Christopher Sullivan     3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Jared Gany               3/15/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claudia Sigman           3/15/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Katie Montague           3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Steven Glustein          3/15/2023       $225.00   Hotel in Dallas, TX, one night, Sheraton

Rob Esposito             3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Lance Clayton            3/15/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Claire Myers             3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Douglas Lewandowski      3/15/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

Robert Gordon            3/15/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Drew Hainline            3/15/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Joseph Sequeira          3/15/2023       $223.69   Hotel in Dallas, TX, one night, Sheraton

Luke Francis             3/15/2023       $209.96   Hotel in Dallas, TX, one night, Marriott

Trevor DiNatale          3/15/2023       $209.96   Hotel in Dallas, TX, one night, Renaissance

Lance Clayton            3/16/2023       $225.00   Hotel in Dallas, TX, one night, Adolphus

Christopher Sullivan     3/16/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

William Walker           3/21/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

William Walker           3/22/2023       $225.00   Hotel in Dallas, TX, one night, Marriott

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                                                      Lodging

Professional/Service         Date          Expense        Expense Description

Steven Glustein              3/26/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

David Nizhner                3/26/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

Cullen Stockmeyer            3/26/2023         $225.00    Hotel in Dallas, TX, one night, Adolphus

Mark vanden Belt             3/27/2023         $525.00    Hotel in London, UK, one night, Bas Fonteijne

Cullen Stockmeyer            3/27/2023         $225.00    Hotel in Dallas, TX, one night, Adolphus

David Nizhner                3/27/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

Steven Glustein              3/27/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

Mark vanden Belt             3/28/2023         $525.00    Hotel in London, UK, one night, Bas Fonteijne

Steven Glustein              3/28/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

David Nizhner                3/28/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

Cullen Stockmeyer            3/28/2023         $225.00    Hotel in Dallas, TX, one night, Adolphus

Mark vanden Belt             3/29/2023         $525.00    Hotel in London, UK, one night, Bas Fonteijne

David Nizhner                3/29/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

Cullen Stockmeyer            3/29/2023         $225.00    Hotel in Dallas, TX, one night, Adolphus

Steven Glustein              3/29/2023         $225.00    Hotel in Dallas, TX, one night, Marriott

   Expense Category Total                $63,790.54



                                                      Airfare

Professional/Service         Date          Expense        Expense Description

Gaurav Walia                12/12/2022         $758.00    Airfare round trip coach, LAX to DFW, American Airlines

Gaurav Walia                  1/9/2023         $568.00    Airfare one way coach, LAX to JFK, American Airlines

Gaurav Walia                 1/12/2023         $489.00    Airfare one way coach, JFK to LAX, American Airlines

Gaurav Walia                 1/15/2023         $379.00    Airfare one way coach, LAX to JFK, American Airlines

Gaurav Walia                 1/19/2023         $379.00    Airfare one way coach, JFK to LAX, American Airlines

Gaurav Walia                 1/23/2023         $489.00    Airfare one way coach, LAX to JFK, American Airlines

Gaurav Walia                 1/25/2023         $269.90    Airfare one way coach, JFK to ATL, American Airlines

Lance Clayton                2/21/2023         $467.80    Airfare one way coach, DFW to IAH, United Airlines

Leslie Lambert               2/24/2023         $382.80    Airfare one way coach, NYC to TPA, Jet Blue

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                                                Airfare

Professional/Service     Date         Expense       Expense Description

Leslie Lambert           2/26/2023        $30.00    Airfare: Bag Fee, Jet Blue

Adam Titus               2/27/2023       $770.96    Airfare one way coach, PHX to DAL, Southwest Airlines

William Walker           2/27/2023       $258.98    Airfare: One way coach HOU to DAL, Southwest Airlines

Gaurav Walia             2/28/2023       $715.80    Airfare one way coach, LAX to DFW, American Airlines

Joseph Sequeira           3/1/2023       $740.30    Airfare one way coach, DFW to CLT, American Airlines

Douglas Lewandowski       3/1/2023       $345.90    Airfare one way coach, ORD to DFW, American Airlines

Steven Glustein           3/2/2023       $991.44    Airfare one way coach, DFW to YYZ, Air Canada

Claire Myers              3/2/2023       $664.80    Airfare round trip coach, ORD to DFW, United Airlines

Steven Glustein           3/2/2023       $522.19    Airfare one way coach, YYZ to DFW, Air Canada

Kevin Kearney             3/2/2023       $415.90    Airfare one way coach, MSP to DFW, Delta Air Lines

Claudia Sigman            3/2/2023       $295.90    Airfare one way coach, DFW to ORD, United Airlines

David Nizhner             3/2/2023       $288.09    Airfare one way coach, LGA to DFW, American Airlines

Luke Francis              3/2/2023       $259.90    Airfare one way coach, DFW to DEN, United Airlines

William Walker            3/2/2023       $258.98    Airfare one way coach, DAL to HOU, Southwest Airlines

Heather Ardizzoni         3/2/2023       $233.99    Airfare one way coach, DAL to NYC, Southwest Airlines

Trevor DiNatale           3/3/2023       $507.90    Airfare one way coach, DFW to ORD, United Airlines

Rob Esposito              3/3/2023       $357.90    Airfare one way coach, DFW to MCO, American Airlines

Robert Gordon             3/3/2023       $308.98    Airfare one way coach, DAL to AUS, Southwest Airlines

Steve Kotarba             3/3/2023       $293.98    Airfare one way coach, DFW to MDW, Southwest Airlines

Leslie Lambert            3/3/2023        $30.00    Airfare: Bag Fee, Jet Blue

Jack Faett                3/4/2023       $851.96    Airfare round trip coach, ORD to DFW, Southwest Airlines

Mark Zeiss                3/4/2023       $638.85    Airfare one way coach, ORD to DFW, American Airlines

Ran Bruck                 3/4/2023       $548.90    Airfare one way coach, IAH to DFW, United Airlines

Steve Kotarba             3/5/2023       $425.98    Airfare one way coach, MDW to DFW, Southwest Airlines

Trevor DiNatale           3/5/2023       $363.28    Airfare one way coach, ORD to DFW, United Airlines

Claire Myers              3/5/2023       $345.90    Airfare one way coach, DFW to ORD, United Airlines

Zach Burns                3/5/2023       $343.90    Airfare one way coach, EWR to DFW, United Airlines

Rob Esposito              3/5/2023       $295.91    Airfare one way coach, SRQ to DFW, American Airlines

Claudia Sigman            3/5/2023       $295.90    Airfare one way coach, ORD to DFW, United Airlines

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                                                Airfare

Professional/Service     Date         Expense       Expense Description

Adam Titus                3/5/2023       $274.90    Airfare one way coach, PHX to DFW, American Airlines

Heather Ardizzoni         3/5/2023       $263.98    Airfare one way coach, NYC to DAL, Southwest Airlines

Lorenzo Callerio          3/6/2023      $1,099.80   Airfare round trip coach, ORD to DFW, United Airlines

Ran Bruck                 3/6/2023       $560.70    Airfare one way coach, DFW to IAH, United Airlines

Christopher Sullivan      3/6/2023       $477.90    Airfare one way coach, FLL to DFW, American Airlines

Katie Montague            3/6/2023       $393.90    Airfare one way coach, DTW to DAL, Delta Air Lines

Cullen Stockmeyer         3/6/2023       $289.25    Airfare one way coach, ATL to DFW, Delta Air Lines

Luke Francis              3/6/2023       $259.90    Airfare one way coach, DEN to DFW, American Airlines

Jared Gany                3/6/2023       $232.45    Airfare one way coach, LGA to DFW, Delta Air Lines

Robert Gordon             3/6/2023       $203.40    Airfare one way coach, DAL to AUS, United Airlines

Joseph Sequeira           3/7/2023       $637.30    Airfare round trip coach, CLT to DFW, American Airlines

Kevin Kearney             3/8/2023       $588.90    Airfare one way coach, DFW to MSP, Delta Air Lines

David Nizhner             3/8/2023       $468.90    Airfare one way coach, DFW to LGA, Delta Air Lines

Steven Glustein           3/8/2023       $436.91    Airfare one way coach, YYZ to DFW, Air Canada

Katie Montague            3/8/2023       $364.90    Airfare one way coach, DAL to DTW, Delta Air Lines

Robert Gordon             3/8/2023       $308.98    Airfare one way coach, AUS to DAL, Southwest Airlines

Cole Broskay              3/8/2023       $301.87    Airfare one way coach, SAT to DAL, Southwest Airlines

Cole Broskay              3/8/2023       $294.27    Airfare one way coach, DAL to SAT, Southwest Airlines

Jack Faett                3/9/2023       $851.96    Airfare round trip coach, ORD to DFW, Southwest Airlines

Douglas Lewandowski       3/9/2023       $805.00    Airfare one way coach, DFW to FLL, American Airlines

Christopher Sullivan      3/9/2023       $677.98    Airfare one way coach, DFW to FLL, Southwest Airlines

Heather Ardizzoni         3/9/2023       $671.98    Airfare one way coach, NYC to DAL, Southwest Airlines

Mark Zeiss                3/9/2023       $668.80    Airfare one way coach, ORD to DFW, American Airlines

Steven Glustein           3/9/2023       $613.25    Airfare one way coach, DFW to YYZ, Air Canada

Cullen Stockmeyer         3/9/2023       $546.35    Airfare one way coach, DFW to ATL, Delta Air Lines

Adam Titus                3/9/2023       $533.90    Airfare one way coach, DFW to SLC, Delta Air Lines

Zach Burns                3/9/2023       $518.90    Airfare one way coach, DFW to EWR, United Airlines

Jared Gany                3/9/2023       $518.90    Airfare one way coach, DFW to LGA, United Airlines

Claudia Sigman            3/9/2023       $488.90    Airfare one way coach, ORD to DFW, United Airlines

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                                                Airfare

Professional/Service     Date         Expense       Expense Description

Lance Clayton             3/9/2023       $423.90    Airfare one way coach, DFW to IAH, United Airlines

Kathryn Zabcik            3/9/2023       $362.90    Airfare one way coach, DFW to SFO, United Airlines

Lance Clayton             3/9/2023       $213.90    Airfare one way coach, IAH to DFW, United Airlines

Mark Zeiss                3/9/2023       $195.96    Airfare flight to Dallas Airfare Change Fee, American Airlines

Claire Myers             3/10/2023       $558.90    Airfare one way coach, DFW to ORD, American Airlines

Rob Esposito             3/10/2023       $536.90    Airfare one way coach, DFW to SRQ, American Airlines

Trevor DiNatale          3/10/2023       $484.70    Airfare one way coach, DFW to ORD, United Airlines

Luke Francis             3/10/2023       $295.98    Airfare one way coach, DFW to ORD, Southwest Airlines

Luke Francis             3/11/2023       $273.43    Airfare one way coach, ORD to DFW, American Airlines

Jared Gany               3/11/2023       $243.90    Airfare one way coach, LGA to DFW, Delta Air Lines

Claudia Sigman           3/12/2023       $488.90    Airfare one way coach, ORD to DFW, United Airlines

Steve Kotarba            3/12/2023       $487.98    Airfare one way coach, MDW to DFW, Southwest Airlines

Zach Burns               3/12/2023       $408.90    Airfare one way coach, EWR to DFW, United Airlines

Trevor DiNatale          3/12/2023       $363.28    Airfare one way coach, ORD to DFW, United Airlines

Claire Myers             3/12/2023       $362.99    Airfare one way coach, ORD to DFW, Southwest Airlines

Kathryn Zabcik           3/12/2023       $362.90    Airfare one way coach, SFO to DFW, United Airlines

Rob Esposito             3/12/2023       $357.90    Airfare one way coach, SRQ to DFW, American Airlines

David Nizhner            3/12/2023       $283.90    Airfare one way coach, DFW to LGA, Delta Air Lines

David Nizhner            3/12/2023        $26.00    Flight Insurance for DFW to LGA flight, Delta Air Lines

Christopher Sullivan     3/14/2023       $364.90    Airfare one way coach, FLL to DFW, American Airlines

Gaurav Walia             3/14/2023       $357.90    Airfare one way coach, LAX to DFW, American Airlines

Lance Clayton            3/14/2023       $213.90    Airfare one way coach, IAH to DFW, United Airlines

Steven Glustein          3/15/2023       $829.69    Airfare one way coach, YYZ to DFW, Air Canada

Steven Glustein          3/15/2023       $683.55    Airfare one way coach, DFW to YYZ, Air Canada

Jared Gany               3/15/2023       $509.91    Airfare one way coach, DFW to LGA, American Airlines

Kathryn Zabcik           3/15/2023       $508.90    Airfare one way coach, DFW to IAH, United Airlines

Claudia Sigman           3/15/2023       $345.90    Airfare one way coach, DFW to ORD, American Airlines

Douglas Lewandowski      3/15/2023       $324.90    Airfare one way coach, DFW to FLL, American Airlines

David Nizhner            3/15/2023       $243.90    Airfare one way coach, DFW to LGA, American Airlines

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                                                      Airfare

Professional/Service         Date          Expense        Expense Description

David Nizhner                3/15/2023          $49.99    Seat selection charge, American Airlines

Katie Montague               3/16/2023         $713.90    Airfare one way coach, DAL to DTW, Delta Air Lines

Claire Myers                 3/16/2023         $436.80    Airfare one way coach, DFW to ORD, American Airlines

Katie Montague               3/16/2023         $393.90    Airfare one way coach, DTW to DAL, Delta Air Lines

Gaurav Walia                 3/16/2023         $389.98    Airfare one way coach, DFW to LAX, Southwest Airlines

Trevor DiNatale              3/16/2023         $375.90    Airfare one way coach, DFW to ORD, United Airlines

Rob Esposito                 3/16/2023         $345.90    Airfare one way coach, DFW to SRQ, American Airlines

Luke Francis                 3/16/2023         $345.90    Airfare one way coach, DFW to ORD, United Airlines

William Walker               3/17/2023         $640.96    Airfare round trip coach, HOU to DAL, Southwest Airlines

Christopher Sullivan         3/17/2023         $477.90    Airfare one way coach, DFW to FLL, American Airlines

Zach Burns                   3/19/2023         $300.40    Airfare one way coach, IAH to LGA, United Airlines

Bas Fonteijne                3/24/2023         $380.35    Airfare round trip coach, AMS to LHR, KLM

Mark vanden Belt             3/24/2023         $380.35    Airfare round trip coach, AMS to LHR, KLM

David Nizhner                3/25/2023         $398.90    Airfare one way coach, LGA to DFW, Delta Air Lines

Steven Glustein              3/26/2023         $527.88    Airfare one way coach, YYZ to DFW, Air Canada

Cullen Stockmeyer            3/26/2023         $509.95    Airfare one way coach, ATL to DFW, Delta Air Lines

David Nizhner                3/26/2023          $49.99    Seat selection charge, Delta Air Lines

Steven Glustein              3/29/2023         $365.95    Airfare one way coach, DFW to YYZ, Air Canada

Robert Gordon                3/29/2023         $337.96    Airfare one way coach, AUS to DAL, Southwest Airlines

David Nizhner                3/29/2023         $231.90    Airfare one way coach, LGA to DFW, Delta Air Lines

Cullen Stockmeyer            3/30/2023         $619.15    Airfare one way coach, DFW to ATL, Delta Air Lines

Mark vanden Belt             3/31/2023         $403.73    Airfare round trip coach, AMS to LHR, KLM

   Expense Category Total                $50,733.41



                                                      Meals

Professional/Service         Date          Expense        Expense Description

Gaurav Walia                12/12/2022          $27.33    Individual Meal - Out of town breakfast in New York, NY

Gaurav Walia                  1/9/2023          $37.72    Individual Meal - Out of town dinner in New York, NY

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Professional/Service    Date         Expense      Expense Description

Gaurav Walia            1/10/2023        $35.00   Individual Meal - Out of town breakfast in New York, NY

Gaurav Walia            1/12/2023        $58.19   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/16/2023        $70.00   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/17/2023        $33.09   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/17/2023         $7.76   Individual Meal - Out of town breakfast in New York, NY

Gaurav Walia            1/19/2023        $64.75   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/19/2023         $7.08   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/23/2023        $56.46   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/24/2023        $59.68   Individual Meal - Out of town dinner in New York, NY

Gaurav Walia            1/25/2023        $35.00   Individual Meal - Out of town breakfast in New York, NY

Kevin Kearney            2/1/2023       $141.54   Business Meals (Attendees): Out of town dinner while working
                                                  in NY, K Kearney, Z Burns, Z Glustein (All A&M)
Ed Mosley                2/6/2023       $140.00   Business Meals (Attendees): Client Dinner New York, NY with
                                                  two attendees
Ed Mosley                2/7/2023       $280.00   Business Meals (Attendees): Client Dinner in New York, NY
                                                  with four attendees
Ed Mosley                2/8/2023       $140.00   Business Meals (Attendees): Dinner, Client (5 attendees)

Kevin Kearney            2/9/2023       $392.07   Business Meals (Attendees): Team dinner, out of town dinner
                                                  while working in Dallas TX, A Hainline, H Ardizzoni, K Zabick,
                                                  K Kearney, M Jones, N Faett, R Bruck, Z Burns (All A&M)
Kevin Kearney           2/16/2023       $100.00   Business Meals (Attendees): Out of town dinner while working
                                                  in Dallas TX, K Kearney, N Faett (All A&M)
Douglas Lewandowski     2/20/2023       $812.55   Business Meal (Attendees) - Team dinner, out of town meal in
                                                  Dallas TX, A Hainline, C Myers, C Sigman, D Lewandowski, H
                                                  Ardizzoni, J Sequeira, K Zabcik, K Kearney, L Francis, M
                                                  Zeiss, N Faett, R Bruck, R Guerrier, R Esposito, R Gordon, S
                                                  Kotarba, T DiNata
Nicole Simoneaux        2/21/2023       $910.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with 30 members of the FTX team (All A&M)
Lance Clayton           2/21/2023       $200.00   Business Meals (Attendees): Out of town dinner in Dallas TX,
                                                  D. Nizhner, C. Myers, D. Slay, C. Sigman (All A&M)
Lance Clayton           2/21/2023        $83.31   Business Meals (Attendees): Out of town dinner in Dallas TX,
                                                  E. Taraba, L. Clayton (All A&M)
Lance Clayton           2/21/2023        $70.99   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with six members of the team (All A&M)
Lance Clayton           2/21/2023        $29.36   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                  TX, D. Nizhner, L. Clayton

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Professional/Service    Date         Expense      Expense Description

Nicole Simoneaux        2/22/2023       $945.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with 31 members of the team (All A&M)
Lance Clayton           2/22/2023       $100.00   Business Meals (Attendees): Out of town breakfast in Dallas
                                                  TX, D. Slay, D. Nizhner, C. Myers, C. Sigman (All A&M)
Kevin Kearney           2/22/2023        $26.86   Business Meals (Attendees): Working lunch out of town meal
                                                  in Dallas TX C. Broskay, K. Kearney (All A&M)
Lance Clayton           2/22/2023         $5.95   Individual Meal - Out of town breakfast in Dallas, TX

Douglas Lewandowski     2/23/2023        $70.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, D Lewandowski, L Francis (All A&M)
Leslie Lambert          2/26/2023        $27.02   Individual Meal - Out of town dinner in Tampa, FL

Ran Bruck               2/27/2023       $404.48   Business Meal (Attendees) - Team dinner, out of town meal in
                                                  Dallas TX, A Hainline, C Broskay, H Ardizzoni, J Sequeira, K
                                                  Zabick, K Kearney, M Jones, N Faett, R Bruck, R Gordon Z.
                                                  Burns, (All A&M)
Douglas Lewandowski     2/27/2023       $341.13   Business Meal (Attendees) - Team dinner, out of town meal in
                                                  Dallas TX, C Myers, C Sigman, D Lewandowski, L Francis, R
                                                  Guerrier, R Esposito, S Kotarba, T DiNatale (All A&M)
Ran Bruck               2/27/2023       $224.64   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with ten members of the FTX team (All A&M)
Douglas Lewandowski     2/27/2023       $165.12   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with nine members of the FTX team (All A&M)
Leslie Lambert          2/27/2023       $152.76   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with eight members of the FTX team (All A&M)
Leslie Lambert          2/27/2023       $122.77   Business Meals (Attendees): Team dinner, out of town dinner
                                                  while working in Tampa, FL, A Heric, I Radwanski, L Lambert,
                                                  M Rodriguez, M Warren, Q Lowdermilk (All A&M)
Douglas Lewandowski     2/27/2023       $121.24   Business Meal (Attendees) - Team breakfast, out of town
                                                  meal in Dallas TX, C Myers, C Sigman, D Lewandowski, L
                                                  Francis, R Guerrier, R Esposito, S Kotarba, T DiNatale (All
                                                  A&M)
Ritchine Guerrier       2/27/2023       $102.51   Business Meal (Attendees) - Team dinner, out of town meal in
                                                  Dallas TX, C Myers, R Guerrier, R Esposito, S Kotarba, T
                                                  DiNatale (All A&M)
Ran Bruck               2/28/2023       $302.51   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with 13 members of the team (All A&M)
Ran Bruck               2/28/2023       $289.89   Business Meal (Attendees) - Team dinner, out of town meal in
                                                  Dallas TX, A Hainline, C Broskay, H Ardizzoni, J Sequeira, K
                                                  Zabick, K Kearney, M Jones, N Faett, R Bruck, R Gordon Z.
                                                  Burns, (All A&M) M Cilia (RLKS)
Douglas Lewandowski     2/28/2023       $215.45   Business Meal (Attendees) - Working lunch, out of town meal
                                                  in Dallas TX, with ten members of the team (All A&M)


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Leslie Lambert           2/28/2023       $178.41   Business Meals (Attendees): Team dinner, out of town dinner
                                                   while working in Tampa, FL, A Heric, I Radwanski, L Lambert,
                                                   M Rodriguez, M Warren, Q Lowdermilk (All A&M)
Douglas Lewandowski      2/28/2023       $168.10   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, C Sigman, D Lewandowski, L
                                                   Francis, R Guerrier, R Esposito, S Kotarba, T DiNatale (All
                                                   A&M)
Leslie Lambert           2/28/2023       $153.91   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with eight members of the team (All A&M)
Nicole Simoneaux         2/28/2023       $119.95   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, B Tenney, J Gonzalez, M Trent, N Simoneaux, S
                                                   Witherspoon, S Coverick, W Walker (All A&M)
Adam Titus               2/28/2023       $100.00   Business Meals (Attendees): Out of town dinner in Dallas, TX
                                                   with S. Glustein and A. Titus
William Walker           2/28/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Cole Broskay             2/28/2023         $8.98   Individual Meal - Out of town breakfast in Dallas, TX

Mariah Rodriguez          3/1/2023       $350.00   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Tampa FL, A Heric, I Radwanski, L Lambert, M Rodriguez, M
                                                   Warren, Q Loudermilk, R Avila (All A&M)
Ran Bruck                 3/1/2023       $325.35   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, A Hainline, C Broskay, H Ardizzoni, J Sequeira,
                                                   K Zabick, M Jones, N Faett, R Bruck, R Gordon Z. Burns (All
                                                   A&M)
Ran Bruck                 3/1/2023       $277.95   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 12 members of the team (All A&M)
Nicole Simoneaux          3/1/2023       $199.68   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with ten members of the team (All A&M)
Douglas Lewandowski       3/1/2023       $193.37   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with ten members of the team (All A&M)
Douglas Lewandowski       3/1/2023       $136.32   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, C Sigman, D Lewandowski, L
                                                   Francis, R Guerrier, R Esposito (All A&M)
Leslie Lambert            3/1/2023        $88.93   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Tampa, FL, I Radwanski, L Lambert, M Rodriguez (All A&M)
Adam Titus                3/1/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

William Walker            3/1/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Gaurav Walia              3/1/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Steve Kotarba             3/1/2023        $47.18   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns                3/1/2023        $45.91   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, M Jones, Z Burns (All A&M)

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Professional/Service     Date         Expense      Expense Description

Mariah Rodriguez          3/1/2023        $44.00   Business Meal (Attendees) - Out of town breakfast in Tampa
                                                   FL, L Lambert, M Rodriguez (All A&M)
Luke Francis              3/1/2023        $40.19   Individual Meal - Out of town dinner in Dallas, TX

Trevor DiNatale           3/1/2023        $37.23   Individual Meal - Out of town dinner in Dallas, TX

Douglas Lewandowski       3/1/2023        $28.43   Individual Meal - Out of town dinner in Dallas, TX

Claire Myers              3/1/2023        $23.96   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni         3/1/2023        $22.57   Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/1/2023        $20.08   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale           3/1/2023        $18.00   Individual Meal - Out of town breakfast in Dallas, TX

Gaurav Walia              3/1/2023        $18.00   Individual Meal - Out of town breakfast in Dallas, TX

Kathryn Zabcik            3/1/2023        $16.75   Individual Meal - Out of town breakfast in Dallas, TX

Jack Faett                3/1/2023        $16.45   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/1/2023        $15.96   Individual Meal - Out of town dinner in Dallas, TX

Robert Gordon             3/1/2023        $15.87   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline             3/1/2023        $12.99   Individual Meal - Out of town breakfast in Dallas, TX

Cole Broskay              3/1/2023        $10.51   Individual Meal - Out of town working lunch in Dallas, TX

Ritchine Guerrier         3/1/2023        $10.37   Individual Meal - Out of town dinner in Dallas, TX

Mark Zeiss                3/1/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Ran Bruck                 3/2/2023       $379.34   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, A Hainline, C Broskay, J Sequeira, K Zabick, K
                                                   Kearney, M Jones, N Faett, R Bruck, Z. Burns (All A&M)
Ran Bruck                 3/2/2023       $194.32   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with ten members of the FTX team (All A&M)
Leslie Lambert            3/2/2023       $168.59   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Tampa, FL,A Henric, I Radwanski, L Lambert, M Rodriguez,
                                                   M Warren, Q Loudermilk (All A&M)
Ed Mosley                 3/2/2023        $95.33   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with seven members of the FTX team (All A&M)
Rob Esposito              3/2/2023        $94.14   Business Meal (Attendees) - Out of town dinner in Dallas TX,
                                                   R Esposito, S Kotarba (All A&M)
Ritchine Guerrier         3/2/2023        $89.46   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, R Guerrier, R Esposito, S
                                                   Kotarba (All A&M)
Claudia Sigman            3/2/2023        $82.88   Business Meal (Attendees) - Out of town dinner in Tampa FL,
                                                   C Myers, C Sigman (All A&M)

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                                                Meals

Professional/Service     Date         Expense      Expense Description

Ritchine Guerrier         3/2/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Mariah Rodriguez          3/2/2023        $45.92   Business Meal (Attendees) - Out of town breakfast in Tampa
                                                   FL, L Lambert, M Rodriguez (All A&M)
Zach Burns                3/2/2023        $35.15   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, R Bruck, Z Burns (All A&M)
Trevor DiNatale           3/2/2023        $35.04   Individual Meal - Out of town dinner in Dallas, TX

Ricardo Armando Avila     3/2/2023        $27.74   Individual Meal - Out of town dinner in Dallas, TX

Leslie Lambert            3/2/2023        $26.89   Individual Meal - Out of town dinner in Tampa, FL

Zach Burns                3/2/2023        $26.58   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni         3/2/2023        $23.44   Individual Meal - Out of town breakfast in Dallas, TX

Ricardo Armando Avila     3/2/2023        $21.34   Individual Meal - Out of town working lunch in Dallas, TX

Mariah Rodriguez          3/2/2023        $17.65   Individual Meal - Out of town dinner in Dallas, TX

Luke Francis              3/2/2023        $17.21   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale           3/2/2023        $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline             3/2/2023        $12.99   Individual Meal - Out of town breakfast in Dallas, TX

Mariah Rodriguez          3/2/2023        $12.00   Individual Meal - Working lunch, out of town meal in Tampa,
                                                   FL
Cole Broskay              3/2/2023        $11.10   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/2/2023        $10.45   Individual Meal - Out of town dinner in Dallas, TX

Joseph Sequeira           3/2/2023         $8.66   Individual Meal - Out of town breakfast in Dallas, TX

Steven Glustein           3/2/2023         $8.58   Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/2/2023         $8.00   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/2/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Rob Esposito              3/3/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Claudia Sigman            3/3/2023        $46.95   Individual Meal - Out of town dinner in Dallas, TX

Ritchine Guerrier         3/3/2023        $44.88   Individual Meal - Out of town dinner in Dallas, TX

Ritchine Guerrier         3/3/2023        $42.57   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, R Esposito, R Guerrier (All A&M)
Ran Bruck                 3/3/2023        $28.00   Individual Meal - Out of town working lunch in Dallas, TX

Robert Gordon             3/3/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Jack Faett                3/3/2023        $17.41   Individual Meal - Out of town breakfast in Dallas, TX


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Professional/Service     Date         Expense      Expense Description

Trevor DiNatale           3/3/2023        $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/3/2023        $15.38   Individual Meal - Out of town breakfast in Dallas, TX

Kathryn Zabcik            3/3/2023        $14.92   Individual Meal - In town meal while traveling Houston, TX

Robert Gordon             3/3/2023        $14.59   Individual Meal - Out of town breakfast in Dallas, TX

Ricardo Armando Avila     3/3/2023        $14.23   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/3/2023        $12.22   Individual Meal - Out of town working lunch in Dallas, TX

Ritchine Guerrier         3/3/2023         $8.42   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline             3/3/2023         $8.31   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/3/2023         $6.82   Individual Meal - Out of town breakfast in Dallas, TX

Heather Ardizzoni         3/5/2023        $53.47   Individual Meal - Out of town dinner in New York while
                                                   traveling to Dallas
Douglas Lewandowski       3/5/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Kevin Kearney             3/5/2023        $40.00   Individual Meal - Out of town dinner in Dallas, TX

Jack Faett                3/5/2023        $39.92   Individual Meal - Out of town dinner in Dallas, TX

Kathryn Zabcik            3/5/2023        $35.65   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns                3/5/2023        $26.17   Individual Meal - Out of town dinner in Dallas, TX

Trevor DiNatale           3/5/2023        $18.68   Individual Meal - In town dinner in Chicago while traveling

Nicole Simoneaux          3/6/2023       $675.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 23 members of the team (All A&M)
Ed Mosley                 3/6/2023       $300.00   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, E Mosley, S Coverick, R Gordon, C Sullivan, A.
                                                   Titus (All A&M) J Ray (FTX)
Ran Bruck                 3/6/2023       $247.29   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, A Hainline, C Broskay, H Ardizzoni, J Sequeira,
                                                   K Zabick, K Kearney, M Jones, N Faett, R Bruck, R Gordon,
                                                   Z. Burns (All A&M)
Douglas Lewandowski       3/6/2023       $162.15   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, C Myers, C Sigman, D Lewandowski, L Francis, M
                                                   Zeiss, R Esposito, S Kotarba, T DiNatale (All A&M)
Ed Mosley                 3/6/2023       $116.59   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with seven members of the FTX team (All A&M),
                                                   J Ray (FTX), and A Kranzley (S&C)
Lorenzo Callerio          3/6/2023       $100.00   Business Meal (Attendees) - Out of town dinner in Dallas TX,
                                                   T Stockmeyer, L Callerio (All A&M)



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Douglas Lewandowski       3/6/2023        $58.27   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, C Sigman, D Lewandowski, R
                                                   Esposito (All A&M)
David Nizhner             3/6/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni         3/6/2023        $20.19   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton             3/6/2023        $19.61   Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon             3/6/2023        $18.52   Individual Meal - Out of town breakfast in Dallas, TX

Kathryn Zabcik            3/6/2023        $18.16   Individual Meal - Out of town breakfast in Dallas, TX

Luke Francis              3/6/2023        $18.11   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale           3/6/2023        $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/6/2023        $15.83   Individual Meal - Out of town breakfast in Dallas, TX

Christopher Sullivan      3/6/2023        $11.97   Individual Meal - In town breakfast in Ft. Lauderdale, FL while
                                                   traveling
Drew Hainline             3/6/2023        $10.33   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/6/2023         $8.12   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/6/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton             3/6/2023         $5.95   Individual Meal - Out of town breakfast in Dallas, TX

Nicole Simoneaux          3/7/2023       $639.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 22 members of the team (All A&M)
Douglas Lewandowski       3/7/2023       $391.51   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, C Myers, C Sigman, D Lewandowski, J Gany, L
                                                   Francis, M Zeiss, R Esposito, S Kotarba, T DiNatale (All A&M)
Ran Bruck                 3/7/2023       $326.35   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, C Broskay, H Ardizzoni, J Sequeira, K Zabick, K
                                                   Kearney, M Jones, N Faett, R Bruck, R Gordon (All A&M)
Nicole Simoneaux          3/7/2023       $200.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with ten members of the team (All A&M)
Johnny Gonzalez           3/7/2023       $149.98   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, B Tenney, D Nizhner, D Slay, J Cooper, J
                                                   Gonzalez, K Montague, L Clayton, N Simoneaux (All A&M)
Douglas Lewandowski       3/7/2023       $118.57   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, D Lewandowski, L Francis, R
                                                   Esposito, S Kotarba (All A&M)
Joseph Sequeira           3/7/2023        $43.33   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns                3/7/2023        $41.82   Individual Meal - Out of town dinner in Dallas, TX



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                              FTX Trading Ltd., et al.,
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                                                Meals

Professional/Service     Date         Expense       Expense Description

David Nizhner             3/7/2023        $40.52    Business Meal (Attendees) - Out of town dinner in Dallas TX,
                                                    D Nizhner, L Clayton (All A&M)
Christopher Sullivan      3/7/2023        $39.50    Business Meal (Attendees) - Out of town breakfast in Dallas
                                                    TX, C Sullivan, J Gonzalez (All A&M)
Katie Montague            3/7/2023        $38.32    Business Meal (Attendees) - Out of town breakfast in Dallas
                                                    TX, K Montague, N Simoneaux (All A&M)
Heather Ardizzoni         3/7/2023        $34.69    Individual Meal - Out of town working lunch in Dallas, TX

Drew Hainline             3/7/2023        $34.20    Individual Meal - Out of town dinner in Dallas, TX

Lorenzo Callerio          3/7/2023        $31.75    Business Meal (Attendees) - Out of town breakfast in Dallas
                                                    TX, T Stockmeyer, L Callerio (All A&M)
Trevor DiNatale           3/7/2023        $24.00    Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/7/2023        $20.08    Individual Meal - Out of town working lunch in Dallas, TX

Heather Ardizzoni         3/7/2023        $19.43    Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon             3/7/2023        $16.74    Individual Meal - Out of town breakfast in Dallas, TX

Zach Burns                3/7/2023        $16.72    Individual Meal - Out of town working lunch in Dallas, TX

Jack Faett                3/7/2023        $16.32    Individual Meal - Out of town working lunch in Dallas, TX

Lance Clayton             3/7/2023        $16.24    Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/7/2023        $15.58    Individual Meal - Out of town breakfast in Dallas, TX

Christopher Sullivan      3/7/2023        $15.19    Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline             3/7/2023        $14.61    Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/7/2023        $14.02    Individual Meal - Out of town working lunch in Dallas, TX

Ran Bruck                 3/7/2023        $11.37    Individual Meal - Out of town working lunch in Dallas, TX

David Nizhner             3/7/2023        $10.54    Individual Meal - Out of town breakfast in Dallas, TX

Jack Faett                3/7/2023         $9.11    Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/7/2023         $8.12    Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton             3/7/2023         $7.89    Individual Meal - Out of town working lunch in Dallas, TX

Mark Zeiss                3/7/2023         $7.14    Individual Meal - Out of town breakfast in Dallas, TX

Claudia Sigman            3/7/2023         $6.49    Individual Meal - Out of town breakfast in Dallas, TX

Katie Montague            3/8/2023      $1,470.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                    in Dallas TX, with 46 members of the team (All A&M) and 10
                                                    members of RLKS team




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                                                Meals

Professional/Service     Date         Expense      Expense Description

Robert Gordon             3/8/2023       $400.00   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, A Hainline, H Ardizzoni, K Zabick, K Kearney, M
                                                   Jones, N Faett, R Gordon, Z Burns (All A&M)
Lance Clayton             3/8/2023       $400.00   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, A Titus, B Tenney, C Sullivan, D Nizhner, D
                                                   Slay, E Taraba, J Gonzalez, L Clayton (All A&M)
Douglas Lewandowski       3/8/2023       $361.90   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, C Myers, C Sigman, D Lewandowski, J Gany, L
                                                   Francis, M Zeiss, R Esposito, S Kotarba, T DiNatale (All A&M)
Lorenzo Callerio          3/8/2023       $100.00   Business Meal (Attendees) - Out of town dinner in Dallas TX,
                                                   T Stockmeyer, L Callerio (All A&M)
Douglas Lewandowski       3/8/2023        $86.69   Business Meal (Attendees) - Team breakfast, out of town
                                                   meal in Dallas TX, C Myers, D Lewandowski, L Francis, R
                                                   Esposito, S Kotarba (All A&M)
Adam Titus                3/8/2023        $45.57   Individual Meal - Out of town dinner in Dallas, TX

Joseph Sequeira           3/8/2023        $40.74   Individual Meal - Out of town dinner in Dallas, TX

David Nizhner             3/8/2023        $33.28   Individual Meal - Out of town dinner in Dallas, TX

Robert Gordon             3/8/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Katie Montague            3/8/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Heather Ardizzoni         3/8/2023        $24.09   Individual Meal - Out of town breakfast in Dallas, TX

Kevin Kearney             3/8/2023        $23.72   Individual Meal - Out of town working lunch in Dallas, TX

Cole Broskay              3/8/2023        $23.58   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns                3/8/2023        $23.57   Individual Meal - Out of town working lunch in Dallas, TX

Drew Hainline             3/8/2023        $21.11   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale           3/8/2023        $17.00   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns                3/8/2023        $15.00   Individual Meal - Out of town breakfast in Dallas, TX

David Nizhner             3/8/2023        $14.63   Individual Meal - Out of town breakfast in Dallas, TX

Ran Bruck                 3/8/2023        $10.95   Individual Meal - Out of town breakfast in Dallas, TX

Claudia Sigman            3/8/2023        $10.80   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/8/2023         $9.32   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/8/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Jeffery Stegenga          3/8/2023         $3.87   Individual Meal - Out of town breakfast in Dallas, TX




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                              FTX Trading Ltd., et al.,
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                                                Meals

Professional/Service     Date         Expense      Expense Description

Nicole Simoneaux          3/9/2023       $945.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 31 members of the team (All A&M) and 10
                                                   members of RLKS team (all RLKS)
Trevor DiNatale           3/9/2023       $360.42   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, C Myers, C Sigman, J Gany, L Francis, M Zeiss, R
                                                   Esposito, S Kotarba, T DiNatale (All A&M)
Ran Bruck                 3/9/2023       $228.23   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 11 members of the team (All A&M) and 10
                                                   members of RLKS team
Jack Faett                3/9/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Kevin Kearney             3/9/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Steven Glustein           3/9/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Douglas Lewandowski       3/9/2023        $44.80   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, R Esposito, D Lewandowski (All A&M)
Ran Bruck                 3/9/2023        $35.00   Individual Meal - Out of town working lunch in Dallas, TX

Zach Burns                3/9/2023        $34.91   Individual Meal - Out of town dinner in Dallas, TX

Kathryn Zabcik            3/9/2023        $33.10   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni         3/9/2023        $32.06   Individual Meal - Out of town dinner in Dallas, TX

Douglas Lewandowski       3/9/2023        $31.74   Individual Meal - Out of town dinner in Dallas, TX

Kevin Kearney             3/9/2023        $23.72   Individual Meal - Out of town breakfast in Dallas, TX

Heather Ardizzoni         3/9/2023        $20.19   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton             3/9/2023        $19.23   Individual Meal - Out of town working lunch in Dallas, TX

Drew Hainline             3/9/2023        $17.49   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale           3/9/2023        $17.00   Individual Meal - Out of town breakfast in Dallas, TX

David Nizhner             3/9/2023        $16.73   Individual Meal - Out of town breakfast in Dallas, TX

Zach Burns                3/9/2023        $16.72   Individual Meal - Out of town working lunch in Dallas, TX

Lance Clayton             3/9/2023        $16.40   Individual Meal - Out of town dinner in Dallas, TX

Luke Francis              3/9/2023        $15.68   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton             3/9/2023        $15.31   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira           3/9/2023        $13.38   Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon             3/9/2023        $12.83   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss                3/9/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX



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                                                Meals

Professional/Service     Date         Expense      Expense Description

Christopher Sullivan      3/9/2023         $6.00   Individual Meal - Out of town breakfast in Dallas, TX

Rob Esposito             3/10/2023        $41.84   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni        3/10/2023        $30.20   Individual Meal - Out of town dinner in Dallas, TX

Douglas Lewandowski      3/10/2023        $28.65   Individual Meal - Out of town dinner in Dallas, TX

Heather Ardizzoni        3/10/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Luke Francis             3/10/2023        $21.86   Individual Meal - Out of town working lunch in Dallas, TX

Kevin Kearney            3/10/2023        $16.35   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale          3/10/2023        $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Claudia Sigman           3/10/2023        $15.45   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/10/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Jack Faett               3/12/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Douglas Lewandowski      3/12/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Mark Zeiss               3/12/2023        $44.60   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns               3/12/2023        $42.08   Individual Meal - Out of town dinner in Dallas, TX

Steve Kotarba            3/12/2023        $41.40   Individual Meal - Out of town dinner in Dallas, TX

Luke Francis             3/12/2023        $36.51   Individual Meal - Out of town dinner in Dallas, TX

Claudia Sigman           3/12/2023        $36.19   Individual Meal - Out of town dinner in Dallas, TX

Claire Myers             3/12/2023        $32.15   Individual Meal - Out of town dinner in Dallas, TX

Kathryn Zabcik           3/12/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Kathryn Zabcik           3/12/2023        $22.49   Individual Meal - Out of town dinner in Dallas, TX

Luke Francis             3/12/2023        $15.96   Individual Meal - Meal at Airport while traveling, Chicago, IL

Trevor DiNatale          3/12/2023        $14.27   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns               3/13/2023       $221.48   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, A Hainline, J Sequeira, K Zabick, M Jones, N
                                                   Faett, R Gordon, Z Burns (All A&M)
Zach Burns               3/13/2023       $127.84   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with eight members of the team (All A&M) and
                                                   10 members of RLKS team
David Nizhner            3/13/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Katie Montague           3/13/2023        $44.31   Individual Meal - Out of town dinner in Dallas, TX

David Nizhner            3/13/2023        $19.48   Individual Meal - Out of town breakfast in Dallas, TX

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                                                Meals

Professional/Service     Date         Expense      Expense Description

Robert Gordon            3/13/2023        $15.13   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline            3/13/2023        $11.83   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale          3/13/2023        $11.74   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton            3/13/2023        $10.82   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira          3/13/2023         $9.06   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/13/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale          3/14/2023       $163.00   Business Meal (Attendees) - Team dinner, out of town meal in
                                                   Dallas TX, C Myers, J Gany, L Francis, T DiNatale (All A&M)
Johnny Gonzalez          3/14/2023       $100.00   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, B Tenney, C Sullivan, J Gonzalez, K Montague,
                                                   M Trent, S Coverick (All A&M)
Steven Glustein          3/14/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

David Nizhner            3/14/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Joseph Sequeira          3/14/2023        $45.53   Individual Meal - Out of town dinner in Dallas, TX

Gaurav Walia             3/14/2023        $44.67   Individual Meal - Out of town dinner in Dallas, TX

Drew Hainline            3/14/2023        $30.93   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns               3/14/2023        $23.86   Individual Meal - Out of town breakfast in Dallas, TX

Christopher Sullivan     3/14/2023        $22.48   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline            3/14/2023        $21.11   Individual Meal - Out of town breakfast in Dallas, TX

Douglas Lewandowski      3/14/2023        $20.00   Individual Meal - Out of town breakfast in Dallas, TX

Luke Francis             3/14/2023        $14.90   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale          3/14/2023        $11.20   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira          3/14/2023         $9.47   Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon            3/14/2023         $9.20   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/14/2023         $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton            3/14/2023         $5.95   Individual Meal - Out of town working lunch in Dallas, TX

Nicole Simoneaux         3/15/2023       $675.00   Business Meal (Attendees) - Working lunch, out of town meal
                                                   in Dallas TX, with 23 members of the team (All A&M) and 10
                                                   members of RLKS team
Rob Esposito             3/15/2023       $650.00   Business Meal (Attendees) - Team dinner, out of town dinner
                                                   in Dallas TX, A Hainline, C Myers, C Sigman, D Lewandowski,
                                                   J Gany, J Sequeira, L Francis, M Jones, M Zeiss, R Esposito,
                                                   R Gordon, S Kotarba, T DiNatale (All A&M)

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                                                Meals

Professional/Service     Date         Expense      Expense Description

David Nizhner            3/15/2023       $150.00   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, A Liv-Feyman, B Tenney, D Nizhner, D Slay, J Gonzalez,
                                                   S Witherspoon (All A&M)
David Nizhner            3/15/2023        $50.00   Business Meal (Attendees) - Out of town breakfast in Dallas
                                                   TX, D Nizhner, L Clayton (All A&M)
Kathryn Zabcik           3/15/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Steven Glustein          3/15/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Gaurav Walia             3/15/2023        $47.23   Individual Meal - Out of town dinner in Dallas, TX

Christopher Sullivan     3/15/2023        $35.00   Individual Meal - Out of town working lunch in Dallas, TX

Steven Glustein          3/15/2023        $33.70   Individual Meal - Out of town dinner in Dallas, TX

Christopher Sullivan     3/15/2023        $33.67   Individual Meal - Out of town dinner in Dallas, TX

Katie Montague           3/15/2023        $23.97   Individual Meal - Out of town breakfast in Dallas, TX

Trevor DiNatale          3/15/2023        $19.49   Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon            3/15/2023        $17.23   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton            3/15/2023        $16.62   Individual Meal - Out of town working lunch in Dallas, TX

Lance Clayton            3/15/2023        $16.24   Individual Meal - Out of town breakfast in Dallas, TX

Drew Hainline            3/15/2023        $16.24   Individual Meal - Out of town breakfast in Dallas, TX

Gaurav Walia             3/15/2023        $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Jack Faett               3/15/2023        $12.43   Individual Meal - Out of town dinner in Dallas, TX

Joseph Sequeira          3/15/2023        $12.38   Individual Meal - Out of town breakfast in Dallas, TX

Zach Burns               3/15/2023        $10.33   Individual Meal - Out of town dinner in Dallas, TX

Zach Burns               3/15/2023         $4.39   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/15/2023         $3.99   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/15/2023         $3.19   Individual Meal - Out of town breakfast in Dallas, TX

Mark Zeiss               3/16/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Gaurav Walia             3/16/2023        $50.00   Individual Meal - Out of town dinner in Dallas, TX

Joseph Sequeira          3/16/2023        $38.30   Individual Meal - Out of town dinner in Dallas, TX

Katie Montague           3/16/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Christopher Sullivan     3/16/2023        $25.00   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira          3/16/2023        $19.81   Individual Meal - Out of town working lunch in Dallas, TX



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                                                     Meals

Professional/Service        Date          Expense       Expense Description

Katie Montague              3/16/2023          $16.00   Individual Meal - Out of town breakfast in Dallas, TX

Gaurav Walia                3/16/2023          $16.00   Individual Meal - Out of town breakfast in Dallas, TX

David Nizhner               3/16/2023          $14.00   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira             3/16/2023           $7.85   Individual Meal - Out of town dinner in Dallas, TX

Mark Zeiss                  3/16/2023           $7.14   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira             3/16/2023           $6.88   Individual Meal - Out of town breakfast in Dallas, TX

Joseph Sequeira             3/16/2023           $5.00   Individual Meal - Out of town breakfast in Dallas, TX

Lance Clayton               3/17/2023          $31.79   Individual Meal - Out of town working lunch in Dallas, TX

Christopher Sullivan        3/17/2023          $15.00   Individual Meal - Out of town breakfast in Dallas, TX

William Walker              3/21/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

William Walker              3/22/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

Cullen Stockmeyer           3/26/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

David Nizhner               3/26/2023          $38.04   Individual Meal - Meal at LGA Airport while traveling

Steven Glustein             3/26/2023          $22.19   Individual Meal - Out of town dinner in Dallas, TX

Cullen Stockmeyer           3/27/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

Mark vanden Belt            3/27/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

Cullen Stockmeyer           3/28/2023          $25.49   Individual Meal - Out of town dinner in Dallas, TX

Steven Glustein             3/29/2023          $50.00   Individual Meal - Out of town dinner in Dallas, TX

David Nizhner               3/29/2023          $35.00   Individual Meal - Out of town working lunch in Dallas, TX

David Nizhner               3/29/2023          $21.62   Individual Meal - Out of town breakfast in Dallas, TX

Cullen Stockmeyer           3/29/2023          $18.68   Individual Meal - Out of town breakfast in Dallas, TX

Cullen Stockmeyer           3/30/2023          $29.00   Individual Meal - Out of town working lunch in Dallas, TX

Robert Gordon               3/31/2023          $16.36   Individual Meal - Out of town breakfast in Dallas, TX

Robert Gordon               3/31/2023           $5.17   Individual Meal - Out of town breakfast in Dallas, TX

   Expense Category Total               $26,614.51




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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Alex Lawson             11/29/2022       $700.00   Car Rental: Car rental in NYC for in-person meetings with
                                                   Maynard Law for four nights
Gaurav Walia            12/12/2022       $116.95   Taxi: Uber office to hotel

Gaurav Walia            12/12/2022        $94.68   Taxi: Uber office to airport

Gaurav Walia            12/13/2022        $51.74   Taxi: Uber Airport to hotel

Gaurav Walia            12/13/2022        $30.21   Taxi: Uber office to dinner

Gaurav Walia            12/14/2022        $25.98   Taxi: Uber office to dinner

Gaurav Walia            12/14/2022        $11.80   Taxi: Uber hotel to office

Gaurav Walia            12/15/2022        $51.99   Taxi: Uber office to hotel

Gaurav Walia            12/16/2022        $42.97   Taxi: Uber office to hotel

Gaurav Walia            12/16/2022        $31.40   Taxi: Uber hotel to office

Gaurav Walia            12/16/2022        $19.93   Taxi: Uber hotel to dinner

Gaurav Walia              1/6/2023        $79.76   Taxi: Uber airport to home

Gaurav Walia              1/9/2023        $83.41   Taxi: Uber office to hotel

Gaurav Walia             1/12/2023       $163.35   Taxi: Uber home to airport

Gaurav Walia             1/12/2023        $77.44   Taxi: Uber office to hotel

Gaurav Walia             1/17/2023        $28.98   Taxi: Uber to hotel

Gaurav Walia             1/17/2023        $26.17   Taxi: Uber to client

Gaurav Walia             1/18/2023        $31.25   Taxi: Uber hotel to client

Gaurav Walia             1/18/2023        $30.72   Taxi: Uber airport to home

Gaurav Walia             1/19/2023       $169.17   Taxi: Uber home to airport

Lorenzo Callerio         1/19/2023       $132.00   Parking: Parking O'Hare

Gaurav Walia             1/19/2023        $76.23   Taxi: Uber airport to hotel

Gaurav Walia             1/19/2023        $28.62   Taxi: Uber hotel to office

Gaurav Walia             1/23/2023        $77.40   Taxi: Uber home to Airport

Gaurav Walia             1/23/2023        $71.91   Taxi: Uber from Airport to hotel

Peter Kwan               1/24/2023        $78.94   Taxi: Uber from office to home

Gaurav Walia             1/24/2023        $23.63   Taxi: Uber hotel to office

Gaurav Walia             1/24/2023        $19.67   Taxi: Uber Airport to hotel



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Professional/Service     Date         Expense      Expense Description

Peter Kwan               1/25/2023       $116.04   Taxi: Uber from office to home

Gaurav Walia             1/25/2023        $71.23   Taxi: Uber home to airport

Gaurav Walia             1/25/2023        $23.81   Taxi: Uber hotel to office

Peter Kwan                2/1/2023        $73.19   Taxi: Uber from office to home

Peter Kwan               2/15/2023        $55.00   Taxi: Uber from office to home

Lance Clayton            2/21/2023       $125.06   Taxi: Uber from home to IAH airport

Lance Clayton            2/21/2023        $90.95   Taxi: Uber from DFW to office

Lance Clayton            2/23/2023       $114.65   Taxi: Uber from IAH to home

Lance Clayton            2/23/2023        $96.93   Taxi: Uber from office to DFW airport

Leslie Lambert           2/26/2023        $57.53   Taxi: Uber airport to hotel

Leslie Lambert           2/26/2023        $44.38   Taxi: Uber home to airport

Leslie Lambert           2/27/2023        $19.55   Taxi: Uber dinner to hotel

Leslie Lambert           2/27/2023        $15.13   Taxi: Uber hotel to dinner

Gaurav Walia             2/28/2023        $71.27   Taxi: Uber home to airport

Gaurav Walia             2/28/2023        $33.86   Taxi: Uber airport to hotel

William Walker           2/28/2023        $18.60   Taxi: Lyft from DAL to Dallas office

Leslie Lambert           2/28/2023        $16.15   Taxi: Uber hotel to office

William Walker           2/28/2023        $13.59   Taxi: Uber from Dallas office to Hotel

Adam Titus                3/1/2023        $68.72   Taxi: Uber Office to Airport

Douglas Lewandowski       3/1/2023        $56.23   Taxi: Uber A&M Dallas office to DFW

Peter Kwan                3/1/2023        $52.69   Taxi: Uber from Office to home

Douglas Lewandowski       3/1/2023        $47.40   Taxi: Curb Chicago taxi Ord to Residence

Mariah Rodriguez          3/1/2023        $36.83   Taxi: Uber to dinner

Heather Ardizzoni         3/1/2023        $29.91   Taxi: Uber from hotel to A&M office

Zach Burns                3/1/2023        $29.68   Taxi: Uber from Hotel to A&M Office

Heather Ardizzoni         3/1/2023        $24.03   Taxi: Uber from A&M office to hotel

Ran Bruck                 3/1/2023        $21.83   Taxi: Lyft office to Hotel, out of town travel

Leslie Lambert            3/1/2023        $21.37   Taxi: Lyft from airport to hotel

Trevor DiNatale           3/1/2023        $20.40   Taxi from Hotel to A&M Offices

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Professional/Service     Date         Expense      Expense Description

Adam Titus                3/1/2023        $19.43   Taxi: Uber hotel to dinner

Douglas Lewandowski       3/1/2023        $18.83   Taxi: Uber Hotel to Dallas Office

Trevor DiNatale           3/1/2023        $18.83   Taxi: Uber from A&M Office to Hotel

Kevin Kearney             3/1/2023        $17.37   Taxi: Uber from Adolphus to A&M Dallas Office

Steven Glustein           3/1/2023        $16.24   Taxi: Uber from Airport to Office (Dallas, TX)

Robert Gordon             3/1/2023        $15.83   Taxi: Uber to A&M Dallas office

Claudia Sigman            3/1/2023        $15.83   Taxi: Uber to Hotel from Office

Gaurav Walia              3/1/2023        $15.83   Taxi: Uber hotel to office

Luke Francis              3/1/2023        $15.04   Taxi: Uber from work site to hotel

William Walker            3/1/2023        $14.89   Taxi: Lyft from hotel to Dallas office

Leslie Lambert            3/1/2023        $13.99   Taxi: Lyft from hotel to office

Mariah Rodriguez          3/1/2023        $10.27   Taxi: Uber to hotel from office

Gaurav Walia              3/1/2023         $8.07   Taxi: Uber office to hotel

Mariah Rodriguez          3/1/2023         $5.44   Taxi: Uber to office

Adam Titus                3/2/2023       $154.92   Taxi: Uber From airport to home

Heather Ardizzoni         3/2/2023        $98.25   Taxi: Uber from airport to home

Gaurav Walia              3/2/2023        $96.21   Taxi: Uber airport to home

Steven Glustein           3/2/2023        $85.02   Taxi: Uber from office to Airport (Dallas, TX)

Gaurav Walia              3/2/2023        $78.78   Taxi: Uber office to airport

Luke Francis              3/2/2023        $74.21   Taxi: Uber to airport

William Walker            3/2/2023        $72.00   Overnight parking at HOU

Mariah Rodriguez          3/2/2023        $66.61   Taxi: Uber to airport

Steven Glustein           3/2/2023        $54.60   Taxi: Uber from Airport (Toronto, ON) to home

Heather Ardizzoni         3/2/2023        $32.54   Taxi: Uber from hotel to DAL airport

William Walker            3/2/2023        $25.99   Taxi: Lyft from Dallas office to DAL

Heather Ardizzoni         3/2/2023        $25.11   Taxi: Uber from hotel to A&M office

Heather Ardizzoni         3/2/2023        $24.13   Taxi: Uber from A&M office to hotel

Mariah Rodriguez          3/2/2023        $24.11   Taxi: Uber from airport to home

Ran Bruck                 3/2/2023        $22.99   Taxi: Lyft hotel to Office, out of town travel

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Professional/Service     Date         Expense      Expense Description

Ran Bruck                 3/2/2023        $22.49   Taxi: Lyft office to Hotel, out of town travel

Trevor DiNatale           3/2/2023        $21.99   Taxi: Uber from A&M Offices to Hotel

Igor Radwanski            3/2/2023        $21.85   Taxi: Uber to get back from work location

Trevor DiNatale           3/2/2023        $18.83   Taxi: Uber from Hotel to A&M Offices

Kevin Kearney             3/2/2023        $17.29   Taxi: Uber from Adolphus to A&M Dallas Office

Leslie Lambert            3/2/2023        $16.61   Taxi: Lyft from office to hotel

Kevin Kearney             3/2/2023        $16.37   Taxi: Uber from A&M Dallas Office to Adolphus

William Walker            3/2/2023        $16.34   Taxi: Lyft from hotel to Dallas office

Claire Myers              3/2/2023        $16.18   Taxi: Uber from Hotel to Office

Kevin Kearney             3/2/2023        $16.17   Taxi: Uber from A&M Dallas Office to Adolphus

Leslie Lambert            3/2/2023        $16.15   Taxi: Lyft from hotel to office

Gaurav Walia              3/2/2023        $15.83   Taxi: Uber hotel to office

Robert Gordon             3/2/2023        $15.83   Taxi: Uber to A&M Dallas office

Claudia Sigman            3/2/2023        $15.83   Taxi: Uber to Office from Hotel

Cole Broskay              3/3/2023       $352.39   Personal Car Mileage: Travel to client site SAT to DAL

Zach Burns                3/3/2023       $187.74   Taxi: Uber from EWR to home

Kathryn Zabcik            3/3/2023       $153.27   Personal Car Mileage: Travel from Dallas to Houston

Drew Hainline             3/3/2023       $144.76   Personal Car Mileage: Travel from Dallas, TX to Houston, TX

Trevor DiNatale           3/3/2023       $120.51   Taxi: Uber from A&M Offices to DFW Airport

Robert Gordon             3/3/2023       $120.32   Taxi: Uber from airport to home

Joseph Sequeira           3/3/2023       $120.00   Parking CLT Airport

Joseph Sequeira           3/3/2023       $101.86   Taxi: Uber from A&M Dallas office to DFW Airport

Zach Burns                3/3/2023        $99.82   Taxi: Uber from A&M Dallas Office to DFW

Kevin Kearney             3/3/2023        $96.42   Taxi: Uber from Adolphus to DFW

Rob Esposito              3/3/2023        $95.43   Taxi: Uber from office to DFW while working in Dallas

Kevin Kearney             3/3/2023        $90.42   Taxi: Uber from MSP to home

Ritchine Guerrier         3/3/2023        $90.00   Parking at Chicago Airport

Trevor DiNatale           3/3/2023        $86.28   Taxi: Uber from ORD airport to home

Ran Bruck                 3/3/2023        $73.75   Taxi: Lyft IAH airport to home, out of town travel

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Professional/Service     Date         Expense      Expense Description

Ran Bruck                 3/3/2023        $72.38   Taxi: Lyft office to DFW Airport, out of town travel

Mark Zeiss                3/3/2023        $68.89   Taxi: Uber from Dallas office to DFW for FTX Project

Jack Faett                3/3/2023        $59.38   Taxi: Uber from Airport to home for client onsite

Rob Esposito              3/3/2023        $59.32   Taxi: Uber for R Esposito from airport to destination

Jack Faett                3/3/2023        $56.70   Taxi: Uber from Hotel to Airport for client onsite

Mark Zeiss                3/3/2023        $55.17   Taxi: Uber from ORD to Residence for FTX Project

Leslie Lambert            3/3/2023        $50.96   Taxi: Lyft from office to airport

Adam Titus                3/3/2023        $45.55   Taxi: Uber home to Airport

Claudia Sigman            3/3/2023        $40.99   Taxi: Uber to home from airport

Claire Myers              3/3/2023        $40.93   Taxi: Uber from Airport to House

Leslie Lambert            3/3/2023        $39.95   Taxi: Lyft from airport to home

Robert Gordon             3/3/2023        $38.84   Taxi: Uber to airport for out of town client trip

Ricardo Armando Avila     3/3/2023        $26.98   Taxi: Uber Hotel to Airport

Ricardo Armando Avila     3/3/2023        $22.97   Taxi: Uber Airport to home

Ran Bruck                 3/3/2023        $22.79   Taxi: Lyft hotel to Office, out of town travel

Trevor DiNatale           3/3/2023        $21.99   Taxi: Uber from Hotel to A&M Offices

Zach Burns                3/3/2023        $18.40   Taxi: Uber from Hotel to A&M Office

Joseph Sequeira           3/3/2023        $17.69   Personal Car Mileage: Commute from CLT Airport to home

Claudia Sigman            3/3/2023        $17.40   Taxi: Uber to Office from Hotel

Robert Gordon             3/3/2023        $15.83   Taxi: Uber from hotel to A&M Dallas office

Ritchine Guerrier         3/3/2023        $11.65   Taxi: Lyft from work site to hotel

Steve Kotarba             3/4/2023       $101.04   Taxi: Uber from Chicago Airport to home

Zach Burns                3/5/2023       $163.75   Taxi: Uber from home to EWR

Kevin Kearney             3/5/2023       $125.18   Taxi: Uber from home to MSP

Heather Ardizzoni         3/5/2023       $108.09   Taxi: Uber from home to LGA

Katie Montague            3/5/2023       $107.99   Taxi: Uber home from airport

Trevor DiNatale           3/5/2023       $103.44   Taxi: Uber from home to ORD Airport

Douglas Lewandowski       3/5/2023       $101.98   Taxi: Uber DFW to Hotel

Zach Burns                3/5/2023        $93.81   Taxi: Uber from DFW to Adolphus Hotel

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Professional/Service     Date         Expense      Expense Description

Trevor DiNatale           3/5/2023        $92.19   Taxi: Uber from DFW Airport to Hotel

Rob Esposito              3/5/2023        $88.50   Taxi: Uber from DFW to hotel

Claire Myers              3/5/2023        $70.11   Taxi: Uber Airport to Hotel

Jack Faett                3/5/2023        $69.04   Taxi: Uber from home to MDW Airport

Mark Zeiss                3/5/2023        $66.90   Taxi: Uber from Residence to ORD

Steve Kotarba             3/5/2023        $61.16   Taxi: Uber from home to Chicago Airport

Douglas Lewandowski       3/5/2023        $60.87   Taxi: Uber Residence to ORD

Claire Myers              3/5/2023        $59.37   Taxi: Uber home to Airport

Kathryn Zabcik            3/5/2023        $52.78   Taxi: Uber from DFW airport to hotel

Claudia Sigman            3/5/2023        $49.95   Taxi: Uber home to Airport

Mark Zeiss                3/5/2023        $46.71   Taxi: Uber from DFW to Hotel

Jack Faett                3/5/2023        $38.01   Taxi: Uber from DAL Airport to Hotel

Heather Ardizzoni         3/5/2023        $33.32   Taxi: Uber from DAL airport to hotel

Steve Kotarba             3/5/2023        $22.97   Taxi: Uber from Dallas Airport to hotel

Joseph Sequeira           3/5/2023        $17.69   Personal Car Mileage: Client Travel home to Dallas TX

Rob Esposito              3/5/2023        $17.03   Personal Car Mileage: Round trip drive to/from home and
                                                   Sarasota Airport
Drew Hainline             3/6/2023       $144.76   Personal Car Mileage: Travel from Houston, TX to Dallas, TX

Katie Montague            3/6/2023       $120.00   Taxi: Uber from home to airport

Lance Clayton             3/6/2023       $117.82   Taxi: Uber from home to airport

Robert Gordon             3/6/2023       $117.02   Taxi: Uber from home to airport

David Nizhner             3/6/2023       $100.62   Taxi: Uber from home to JFK

Joseph Sequeira           3/6/2023       $100.62   Taxi: Uber from DFW Airport to Sheraton

Ran Bruck                 3/6/2023        $96.52   Taxi: Lyft home to IAH Airport

Luke Francis              3/6/2023        $93.79   Taxi: Uber to client site from airport

Adam Titus                3/6/2023        $92.88   Taxi: Uber DFW Airport to hotel

Cullen Stockmeyer         3/6/2023        $90.73   Taxi: Uber DFW to office

Christopher Sullivan      3/6/2023        $86.90   Taxi: Uber from DFW to office

David Nizhner             3/6/2023        $86.33   Taxi: Uber from DFW to A&M



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Professional/Service     Date         Expense      Expense Description

Katie Montague            3/6/2023        $85.64   Taxi: Uber from airport to hotel

Kevin Kearney             3/6/2023        $80.91   Taxi: Uber from DFW to Adolphus

Cullen Stockmeyer         3/6/2023        $75.39   Taxi: Uber home to ATL

Ran Bruck                 3/6/2023        $73.67   Taxi: Lyft DFW airport to office

Jared Gany                3/6/2023        $68.61   Taxi: Uber home to airport

Jared Gany                3/6/2023        $40.41   Taxi: Uber airport to hotel

Luke Francis              3/6/2023        $39.21   Taxi: Uber home to airport

Heather Ardizzoni         3/6/2023        $33.25   Taxi: Uber office to Adolphus hotel

Claire Myers              3/6/2023        $24.10   Taxi: Uber Hotel to office

Katie Montague            3/6/2023        $21.84   Taxi: Uber from dinner to hotel

Christopher Sullivan      3/6/2023        $20.52   Taxi: Uber home to Airport

Lance Clayton             3/6/2023        $20.21   Taxi: Uber from office to hotel

Adam Titus                3/6/2023        $19.67   Taxi: Uber office to client dinner

Trevor DiNatale           3/6/2023        $18.83   Taxi: Uber from A&M Offices to Hotel

Trevor DiNatale           3/6/2023        $18.83   Taxi: Uber from Hotel to A&M Offices

Robert Gordon             3/6/2023        $16.72   Taxi: Uber from hotel to dinner

Kevin Kearney             3/6/2023        $16.71   Taxi: Uber from Adolphus to A&M Dallas Office

Zach Burns                3/6/2023        $15.83   Taxi: Uber from Hotel to A&M

Rob Esposito              3/6/2023        $15.83   Taxi: Uber hotel to A&M office

Claudia Sigman            3/6/2023        $15.83   Taxi: Uber Office to Hotel

Luke Francis              3/6/2023        $15.04   Taxi: Uber from client site to hotel

Ran Bruck                 3/6/2023        $13.94   Taxi: Lyft Office to Hotel

Kathryn Zabcik            3/6/2023        $10.97   Taxi: Uber from hotel to office on 3/6

Kathryn Zabcik            3/6/2023         $9.27   Taxi: Uber from office to hotel on 3/6

Katie Montague            3/7/2023       $120.00   Taxi: D2M Taxi home from airport

Lorenzo Callerio          3/7/2023        $81.51   Taxi: Uber Dallas airport to A&M office

Jeffery Stegenga          3/7/2023        $59.40   Taxi: Uber from DFW Airport to Dallas Office

Adam Titus                3/7/2023        $55.66   Taxi: Uber Hotel to Office

Adam Titus                3/7/2023        $53.47   Taxi: Uber Dinner to hotel

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Professional/Service     Date         Expense      Expense Description

Adam Titus                3/7/2023        $52.54   Taxi: Uber dinner to hotel

Luke Francis              3/7/2023        $34.73   Taxi: Uber from client site to hotel

Cullen Stockmeyer         3/7/2023        $33.98   Taxi: Uber dinner to hotel

Ran Bruck                 3/7/2023        $24.16   Taxi: Lyft office to Hotel, out of town travel

Cullen Stockmeyer         3/7/2023        $22.82   Taxi: Uber Dinner to hotel

Lorenzo Callerio          3/7/2023        $22.02   Taxi: Uber dinner to Marriott hotel

Heather Ardizzoni         3/7/2023        $19.44   Taxi: Uber from hotel to office

Lance Clayton             3/7/2023        $19.07   Taxi: Uber from office to hotel

Heather Ardizzoni         3/7/2023        $18.83   Taxi: Uber from office to hotel

Trevor DiNatale           3/7/2023        $18.83   Taxi: Uber from Hotel to A&M Offices

Douglas Lewandowski       3/7/2023        $18.83   Taxi: Uber Hotel to A&M Dallas Office

Adam Titus                3/7/2023        $18.79   Taxi: Uber FTX office to hotel

Cullen Stockmeyer         3/7/2023        $18.44   Taxi: Uber hotel to dinner

David Nizhner             3/7/2023        $17.81   Taxi: Uber from Office to restaurant

Lance Clayton             3/7/2023        $17.64   Taxi: Uber from hotel to office

Katie Montague            3/7/2023        $17.56   Taxi: Uber from hotel to dinner

Cullen Stockmeyer         3/7/2023        $17.13   Taxi: Uber Dinner to hotel

Christopher Sullivan      3/7/2023        $16.83   Taxi: Uber to hotel after dinner

Kevin Kearney             3/7/2023        $16.76   Taxi: Uber from Adolphus to A&M Dallas Office

Kevin Kearney             3/7/2023        $16.17   Taxi: Uber from A&M Dallas Office to Adolphus

David Nizhner             3/7/2023        $15.83   Taxi: Uber from hotel to office

Robert Gordon             3/7/2023        $15.83   Taxi: Uber to hotel

Ran Bruck                 3/7/2023        $15.22   Taxi: Lyft Hotel to office

Kathryn Zabcik            3/7/2023         $8.91   Taxi: Uber to the Dallas Office

Katie Montague            3/8/2023       $110.96   Taxi: Uber from office to airport

Steven Glustein           3/8/2023        $89.89   Taxi: Uber Hotel to Office (Dallas, TX)

Lance Clayton             3/8/2023        $87.52   Taxi: Uber from airport to office

Adam Titus                3/8/2023        $52.03   Taxi: Uber Hotel to office

Luke Francis              3/8/2023        $48.76   Taxi: Uber from hotel to client site

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Professional/Service     Date         Expense      Expense Description

Christopher Sullivan      3/8/2023        $46.53   Taxi: Uber to dinner from hotel

Steven Glustein           3/8/2023        $45.74   Taxi: Uber to Airport (Toronto, ON)

Lorenzo Callerio          3/8/2023        $31.77   Taxi: Uber dinner to Sheraton hotel

Heather Ardizzoni         3/8/2023        $26.11   Taxi: Uber from dinner to hotel

Lance Clayton             3/8/2023        $24.51   Taxi: Uber from dinner to hotel

Ran Bruck                 3/8/2023        $23.75   Taxi: Lyft Hotel to Office

Douglas Lewandowski       3/8/2023        $21.48   Taxi: Uber Dallas A&M Office to Hotel

Trevor DiNatale           3/8/2023        $20.40   Taxi: Uber from A&M Offices to Hotel

Trevor DiNatale           3/8/2023        $18.95   Taxi: Uber from Hotel to A&M Offices

David Nizhner             3/8/2023        $18.19   Taxi: Uber from hotel to A&M

Lance Clayton             3/8/2023        $17.85   Taxi: Uber from hotel to office

Kevin Kearney             3/8/2023        $17.56   Taxi: Uber from Adolphus to A&M Dallas Office

Luke Francis              3/8/2023        $16.53   Taxi: Uber from client site to hotel

Kevin Kearney             3/8/2023        $16.32   Taxi: Uber from A&M Dallas Office to Adolphus

Kevin Kearney             3/8/2023        $16.17   Taxi: Uber from A&M Dallas Office to Adolphus

Claudia Sigman            3/8/2023        $16.00   Taxi: Uber office to Hotel

Zach Burns                3/8/2023        $15.99   Taxi: Uber from Hotel to A&M Office

Katie Montague            3/8/2023        $15.85   Taxi: Uber from hotel to office

David Nizhner             3/8/2023        $15.83   Taxi: Uber from A&M to hotel

Claudia Sigman            3/8/2023        $15.83   Taxi: Uber Hotel to Office

Cullen Stockmeyer         3/8/2023        $15.83   Taxi: Uber Hotel to dinner

Cullen Stockmeyer         3/8/2023        $12.66   Taxi: Uber Dinner to hotel

Kathryn Zabcik            3/8/2023         $9.99   Taxi: Uber to the Dallas Office

Jared Gany                3/8/2023         $7.38   Taxi: Uber hotel to office

Drew Hainline             3/9/2023       $144.76   Personal Car Mileage: Travel from Dallas, TX to Houston, TX

Lorenzo Callerio          3/9/2023       $140.00   Parking at O'Hare airport while at client site

David Nizhner             3/9/2023       $130.06   Taxi: Uber from LGA to home

Joseph Sequeira           3/9/2023       $120.00   CLT Airport Parking

Kathryn Zabcik            3/9/2023       $117.80   Taxi: Uber from Office to Airport

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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Ran Bruck                 3/9/2023       $117.28   Taxi: Lyft Office to Airport

Adam Titus                3/9/2023       $109.38   Taxi: Uber Office to Airport

David Nizhner             3/9/2023       $102.68   Taxi: Uber from office to DFW

Christopher Sullivan      3/9/2023       $100.00   Parking at FLL airport while working at client site

Joseph Sequeira           3/9/2023        $96.96   Taxi: Uber from A&M Office to DFW Airport

Robert Gordon             3/9/2023        $93.95   Taxi: Uber from Airport to home

Cullen Stockmeyer         3/9/2023        $93.46   Taxi: Uber Hotel to DFW

Steven Glustein           3/9/2023        $92.24   Taxi: Uber Office to Airport (Dallas, TX)

Lorenzo Callerio          3/9/2023        $78.44   Taxi: Uber Sheraton to DFW airport

Adam Titus                3/9/2023        $66.88   Taxi: Uber Hotel to office

Steven Glustein           3/9/2023        $58.52   Taxi: Uber hotel to Dinner

Robert Gordon             3/9/2023        $58.46   Taxi: Uber from hotel to airport

Cullen Stockmeyer         3/9/2023        $47.78   Taxi: Uber ATL to home

Kevin Kearney             3/9/2023        $40.07   Taxi: Uber from Adolphus to Dinner

Christopher Sullivan      3/9/2023        $39.10   Taxi: Uber from office to DAL

Heather Ardizzoni         3/9/2023        $35.08   Taxi: Uber from dinner to hotel

Kathryn Zabcik            3/9/2023        $26.37   Taxi: Uber from Hotel to Office

Heather Ardizzoni         3/9/2023        $26.15   Taxi: Uber from hotel to dinner

Ran Bruck                 3/9/2023        $23.56   Taxi: Lyft Hotel to Office

Kevin Kearney             3/9/2023        $19.72   Taxi: Uber from A&M Dallas Office to Adolphus

Trevor DiNatale           3/9/2023        $19.12   Taxi: Uber from A&M Offices to Hotel

Heather Ardizzoni         3/9/2023        $18.90   Taxi: Uber from hotel to office

Trevor DiNatale           3/9/2023        $18.83   Taxi: Uber from Hotel to A&M Offices

Lance Clayton             3/9/2023        $17.70   Taxi: Uber from hotel to office

Joseph Sequeira           3/9/2023        $17.69   Personal Car Mileage: Client Travel from Dallas TX to home

Claudia Sigman            3/9/2023        $17.40   Taxi: Uber Office to Hotel

Kevin Kearney             3/9/2023        $17.08   Taxi: Uber from Adolphus to A&M Dallas Office

David Nizhner             3/9/2023        $16.62   Taxi: Uber from hotel to office

Rob Esposito              3/9/2023        $15.83   Taxi: Uber hotel to A&M office

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                        March 1, 2023 through March 31, 2023


                                         Transportation

Professional/Service     Date         Expense      Expense Description

Adam Titus                3/9/2023        $14.92   Taxi: Uber Hotel to office

Zach Burns               3/10/2023       $216.66   Taxi: Uber from EWR to home

Mark Zeiss               3/10/2023       $102.27   Taxi: Uber from ORD to Residence

Kevin Kearney            3/10/2023        $96.71   Taxi: Uber from MSP to home

Trevor DiNatale          3/10/2023        $93.04   Taxi: Uber from ORD Airport to home

Lance Clayton            3/10/2023        $86.60   Taxi: Uber from airport to home

Heather Ardizzoni        3/10/2023        $85.42   Taxi: Uber from LGA airport to home after return flight

Rob Esposito             3/10/2023        $85.41   Taxi: Uber DFW from A&M office

Kevin Kearney            3/10/2023        $84.05   Taxi: Uber from A&M Dallas Office to DFW

Ran Bruck                3/10/2023        $67.72   Taxi: Lyft Airport to home

Claire Myers             3/10/2023        $64.38   Taxi: Uber Airport to home

Jack Faett               3/10/2023        $61.67   Taxi: Uber from MDW Airport to home

Jared Gany               3/10/2023        $56.73   Taxi: Uber office to hotel

Jack Faett               3/10/2023        $56.70   Taxi: Uber from Hotel to DAL Airport

Steve Kotarba            3/10/2023        $56.51   Taxi: Uber from ORD to home

Claudia Sigman           3/10/2023        $53.62   Taxi: Uber office to DFW Airport

Steven Glustein          3/10/2023        $51.34   Taxi: Uber from Airport (Toronto, ON) to home

Mark Zeiss               3/10/2023        $50.29   Taxi: Uber from Dallas office to DFW

Claire Myers             3/10/2023        $48.18   Taxi: Uber Office to Airport

Luke Francis             3/10/2023        $45.75   Taxi: Uber from airport home

Claudia Sigman           3/10/2023        $43.93   Taxi: Uber to home from Airport

Heather Ardizzoni        3/10/2023        $34.08   Taxi: Uber office to Love Field Airport

Kevin Kearney            3/10/2023        $18.58   Taxi: Uber from Dinner to Adolphus

Kevin Kearney            3/10/2023        $16.17   Taxi: Uber from Adolphus to A&M Dallas Office

Claudia Sigman           3/10/2023        $15.83   Taxi: Uber Hotel to Office

Rob Esposito             3/10/2023        $15.83   Taxi: Uber R Esposito and C Myers from hotel to A&M office

Douglas Lewandowski      3/10/2023        $15.66   Taxi: Uber from Hotel to Dallas Office

Trevor DiNatale          3/10/2023        $14.66   Taxi: Uber from Hotel to A&M Offices

Zach Burns               3/12/2023       $199.67   Taxi: Uber from home to EWR

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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Trevor DiNatale          3/12/2023       $105.06   Taxi: Uber from DFW Airport to home

Kathryn Zabcik           3/12/2023       $104.98   Taxi: Uber from DFW to Hotel for Dallas travel

Trevor DiNatale          3/12/2023        $96.75   Taxi: Uber from home to ORD Airport

Luke Francis             3/12/2023        $93.25   Taxi: Uber to hotel from airport

Rob Esposito             3/12/2023        $85.18   Taxi: Uber from DFW to hotel

Luke Francis             3/12/2023        $77.46   Taxi: Uber home to airport

Jack Faett               3/12/2023        $72.67   Taxi: Uber from DAL to Office

Mark Zeiss               3/12/2023        $66.85   Taxi: Uber Residence to ORD

Douglas Lewandowski      3/12/2023        $61.10   Taxi: Uber DFW to Dallas Hotel

Mark Zeiss               3/12/2023        $53.91   Taxi: Uber DFW to Hotel

Jared Gany               3/12/2023        $52.58   Taxi: Uber airport to office

Claire Myers             3/12/2023        $51.65   Taxi: Uber home to airport

Jared Gany               3/12/2023        $50.77   Taxi: Uber home to airport

Claudia Sigman           3/12/2023        $48.40   Taxi: Uber home to Airport

Claudia Sigman           3/12/2023        $41.93   Taxi: Uber Airport to Hotel

Jack Faett               3/12/2023        $37.48   Taxi: Uber from home to MDW airport

Steve Kotarba            3/12/2023        $24.98   Taxi: Uber from DAL to hotel

Joseph Sequeira          3/12/2023        $17.69   Personal Car Mileage: Commute from residence to CLT
                                                   Airport
Rob Esposito             3/12/2023        $17.03   Personal Car Mileage: Round trip drive home/airport

Drew Hainline            3/13/2023       $144.76   Personal Car Mileage: Travel from Houston, TX to Dallas, TX

Joseph Sequeira          3/13/2023       $129.32   Taxi: Uber from DFW Airport to Hotel

Katie Montague           3/13/2023       $120.00   Taxi: D2M Taxi home to airport

Robert Gordon            3/13/2023       $118.74   Taxi: Uber to airport for out of town client work

Lance Clayton            3/13/2023       $117.99   Taxi: Uber Office to IAH

Zach Burns               3/13/2023        $96.42   Taxi: Uber from DFW to Sheraton Downtown Dallas

Steven Glustein          3/13/2023        $92.80   Taxi: Uber Airport to Office (Dallas, TX)

Lance Clayton            3/13/2023        $89.49   Taxi: Uber to office from airport

David Nizhner            3/13/2023        $89.47   Taxi: Uber from DFW to office



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                                         Transportation

Professional/Service     Date         Expense      Expense Description

David Nizhner            3/13/2023        $72.76   Taxi: Uber from home to LGA

Steven Glustein          3/13/2023        $45.99   Taxi: Uber home to Airport (Toronto, ON)

Robert Gordon            3/13/2023        $37.37   Taxi: Uber-airport to Dallas A&M Office for out of town client
                                                   work
Trevor DiNatale          3/13/2023        $18.83   Taxi: Uber from A&M Offices to Hotel

Rob Esposito             3/13/2023        $15.85   Taxi: Uber from office to hotel in Dallas

Claudia Sigman           3/13/2023        $15.83   Taxi: Uber Office to Hotel

Rob Esposito             3/13/2023        $15.83   Taxi: Uber from hotel to office

David Nizhner            3/13/2023        $15.83   Taxi: Uber from office to hotel

Jared Gany               3/13/2023         $9.68   Taxi: Uber hotel to office

Claire Myers             3/13/2023         $8.77   Taxi: Uber Hotel to office

Jared Gany               3/13/2023         $7.38   Taxi: Uber office to hotel

Christopher Sullivan     3/14/2023       $106.06   Taxi: Uber from DFW to office

Katie Montague           3/14/2023       $101.50   Taxi: Uber from airport to hotel

Gaurav Walia             3/14/2023        $84.36   Taxi: Uber office to hotel

Gaurav Walia             3/14/2023        $79.10   Taxi: Uber home to airport

Katie Montague           3/14/2023        $20.83   Taxi: Uber from office to hotel

David Nizhner            3/14/2023        $17.19   Taxi: Uber from hotel to office

Steven Glustein          3/14/2023        $16.30   Taxi: Uber office to Hotel (Dallas, TX)

Rob Esposito             3/14/2023        $15.83   Taxi: Uber from hotel to office

David Nizhner            3/14/2023        $15.83   Taxi: Uber from office to hotel

Claudia Sigman           3/14/2023        $15.83   Taxi: Uber Hotel to Office

Claudia Sigman           3/14/2023        $15.83   Taxi: Uber Office to Hotel

Claudia Sigman           3/14/2023        $15.83   Taxi: Uber Hotel to Office

Jared Gany               3/14/2023         $7.38   Taxi: Uber office to hotel

Kathryn Zabcik           3/15/2023       $117.38   Taxi: Uber from IAH to home

Kathryn Zabcik           3/15/2023        $91.42   Taxi: Uber from Office to DFW

Steven Glustein          3/15/2023        $88.23   Taxi: Uber office to Airport (Dallas, TX)

Jack Faett               3/15/2023        $57.31   Taxi: Uber from MDW Airport to home



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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Jack Faett               3/15/2023        $50.36   Taxi: Uber from Office to DAL airport

Christopher Sullivan     3/15/2023        $28.22   Taxi: Uber from office to dinner

David Nizhner            3/15/2023        $26.18   Taxi: Uber from hotel to restaurant

Lance Clayton            3/15/2023        $20.93   Taxi: Uber from Dinner to hotel

Katie Montague           3/15/2023        $19.43   Taxi: Uber home from office

Douglas Lewandowski      3/15/2023        $19.41   Taxi: Uber from Dinner to Dallas Hotel

Douglas Lewandowski      3/15/2023        $18.83   Taxi: Uber from Hotel to A&M Dallas Office

Trevor DiNatale          3/15/2023        $18.83   Taxi: Uber from A&M Offices to Dinner

Lance Clayton            3/15/2023        $16.95   Taxi: Uber to office from hotel

Joseph Sequeira          3/15/2023        $16.83   Taxi: Uber from dinner to Sheraton Hotel

Steven Glustein          3/15/2023        $16.36   Taxi: Uber office to Hotel (Dallas, TX)

Lance Clayton            3/15/2023        $16.17   Taxi: Uber from office to hotel

Claudia Sigman           3/15/2023        $15.96   Taxi: Uber Office to Hotel

Katie Montague           3/15/2023        $15.83   Taxi: Uber to office from hotel

Rob Esposito             3/15/2023        $15.83   Taxi: Uber from hotel to office

David Nizhner            3/15/2023        $15.83   Taxi: Uber to office from hotel

Claudia Sigman           3/15/2023        $15.83   Taxi: Uber Hotel to Office

Luke Francis             3/15/2023        $15.04   Taxi: Uber from office to hotel

Luke Francis             3/15/2023        $15.04   Taxi: Uber to hotel from client site

Douglas Lewandowski      3/15/2023        $11.97   Tax Uber from hotel to office

Gaurav Walia             3/15/2023        $10.09   Taxi: Uber hotel to office

Gaurav Walia             3/15/2023         $8.54   Taxi: Uber hotel to office

Gaurav Walia             3/15/2023         $7.77   Taxi: Uber office to hotel

Jared Gany               3/15/2023         $7.38   Taxi: Uber office to hotel

Rob Esposito             3/16/2023       $165.97   Taxi: Uber from TPA to SRQ to return home from Dallas

Drew Hainline            3/16/2023       $144.76   Personal Car Mileage: Travel from Dallas, TX to Houston, TX

Joseph Sequeira          3/16/2023       $120.00   Parking CLT Airport

Katie Montague           3/16/2023       $120.00   Taxi: D2M Taxi home from airport

Trevor DiNatale          3/16/2023       $110.41   Taxi: Uber from ORD Airport to home

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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Mark Zeiss               3/16/2023       $106.68   Taxi: Uber ORD to Residence

David Nizhner            3/16/2023       $103.25   Taxi: Uber from hotel to home

Rob Esposito             3/16/2023       $100.00   Parking at SRQ Airport while working on FTX

Katie Montague           3/16/2023        $99.16   Taxi: Uber from office to airport

Trevor DiNatale          3/16/2023        $98.85   Taxi: Uber from Hotel to DFW Airport

Claudia Sigman           3/16/2023        $86.86   Taxi: Uber Office to Airport

Rob Esposito             3/16/2023        $86.29   Taxi: Uber from hotel to DFW

Rob Esposito             3/16/2023        $86.29   Taxi: Uber from hotel to DFW

Joseph Sequeira          3/16/2023        $85.65   Taxi: Uber Office to DFW Airport

David Nizhner            3/16/2023        $84.22   Taxi: Uber from office to DFW

Gaurav Walia             3/16/2023        $76.98   Taxi: Uber Airport to home

Luke Francis             3/16/2023        $64.48   Taxi: Uber from airport home

Mark Zeiss               3/16/2023        $59.68   Taxi: Uber Dallas office to DFW

Douglas Lewandowski      3/16/2023        $51.96   Taxi: Uber from Dallas Hotel to Airport

Steven Glustein          3/16/2023        $51.77   Taxi: Uber from Airport (Toronto, ON) to home

Jared Gany               3/16/2023        $46.40   Taxi: Uber from hotel to airport

Claudia Sigman           3/16/2023        $45.93   Taxi: Uber Airport to Apartment

Gaurav Walia             3/16/2023        $41.36   Taxi: Uber office to airport

Robert Gordon            3/16/2023        $40.89   Taxi: Uber to airport in DAL

Lance Clayton            3/16/2023        $32.78   Taxi: Uber from Dinner to hotel

Douglas Lewandowski      3/16/2023        $28.75   Taxi: Uber from FLL to Residence

Katie Montague           3/16/2023        $28.67   Taxi: Uber from dinner to hotel

Lance Clayton            3/16/2023        $24.39   Taxi: Uber from hotel to dinner

Rob Esposito             3/16/2023        $23.03   Taxi: Uber from restaurant to hotel

Lance Clayton            3/16/2023        $18.67   Taxi: Uber from office to hotel

Trevor DiNatale          3/16/2023        $18.19   Taxi: Uber from Dinner to Hotel

Joseph Sequeira          3/16/2023        $17.69   Personal Car Mileage: Commute from CLT Airport to
                                                   residence
Lance Clayton            3/16/2023        $16.90   Taxi: Uber from hotel to office



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                                         Transportation

Professional/Service     Date         Expense      Expense Description

Joseph Sequeira          3/16/2023        $16.83   Taxi: Uber from restaurant to hotel

Robert Gordon            3/16/2023        $15.91   Taxi: Uber to hotel from Dinner, in DAL

Christopher Sullivan     3/16/2023        $15.83   Taxi: Uber from hotel to office

Lance Clayton            3/17/2023       $159.17   Personal Car Mileage: Travel from Dallas to Houston

Christopher Sullivan     3/17/2023        $82.42   Taxi: Uber from hotel to airport

Christopher Sullivan     3/19/2023       $125.00   Parking at FFL airport while at client site

Claire Myers             3/19/2023        $93.11   Taxi: Uber Airport to home

Zach Burns               3/19/2023        $70.67   Taxi: Uber from LGA to home

William Walker           3/21/2023        $18.47   Taxi: Lyft from hotel to Dallas office

William Walker           3/21/2023        $13.51   Taxi: Lyft from Dallas office to hotel

William Walker           3/22/2023        $14.29   Taxi: Lyft from hotel to Dallas office

William Walker           3/22/2023        $12.51   Taxi: Lyft from Dallas office to hotel

William Walker           3/23/2023        $72.00   Overnight parking at HOU

William Walker           3/23/2023        $17.93   Taxi: Lyft from Dallas office to DAL

William Walker           3/23/2023        $12.51   Taxi: Lyft from hotel to Dallas office

Steven Glustein          3/26/2023        $83.03   Taxi: Uber Office to Hotel

Cullen Stockmeyer        3/26/2023        $80.92   Taxi: Uber Airport to Hotel

David Nizhner            3/26/2023        $80.43   Taxi: Uber from airport to hotel

David Nizhner            3/26/2023        $77.05   Taxi: Uber home to airport

Cullen Stockmeyer        3/26/2023        $50.41   Taxi: Uber home to Airport

Steven Glustein          3/26/2023        $44.91   Taxi: Uber home to Airport (Toronto, ON)

Steven Glustein          3/26/2023        $16.26   Taxi: Uber Airport to Office

Bas Fonteijne            3/27/2023        $51.19   Taxi: Taxi Central to the airport

Mark vanden Belt         3/27/2023        $51.19   Taxi: Uber Office to airport

David Nizhner            3/27/2023        $26.61   Taxi: Uber from office to dinner

David Nizhner            3/27/2023        $18.41   Taxi: Uber from dinner to hotel

David Nizhner            3/27/2023        $17.21   Taxi: Uber from hotel to airport

Mark vanden Belt         3/27/2023        $16.87   Public Transport: Tube from London Bank to Moorgate

Mark vanden Belt         3/27/2023        $16.45   Public Transport: DLR from LCY to Bank

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                                              Transportation

Professional/Service        Date          Expense       Expense Description

Steven Glustein             3/27/2023          $16.31   Taxi: Uber Office to Hotel

Steven Glustein             3/27/2023          $16.31   Taxi: Uber Hotel to Office

Cullen Stockmeyer           3/27/2023          $15.83   Taxi: Uber Office to hotel

Cullen Stockmeyer           3/27/2023          $15.83   Taxi: Uber Office to hotel

Cullen Stockmeyer           3/28/2023          $16.98   Taxi: Uber Hotel to Office

Steven Glustein             3/28/2023          $16.47   Taxi: Uber Office to Hotel

Steven Glustein             3/28/2023          $16.32   Taxi: Uber Hotel to Office

David Nizhner               3/28/2023          $15.83   Taxi: Uber from hotel to office

Cullen Stockmeyer           3/28/2023          $15.83   Taxi: Uber Hotel to Office

Steven Glustein             3/29/2023          $86.48   Taxi: Uber Office to Airport

David Nizhner               3/29/2023          $75.91   Taxi: Uber from hotel to DFW

David Nizhner               3/29/2023          $19.24   Taxi: Uber from hotel to office

Cullen Stockmeyer           3/29/2023          $17.40   Taxi: Uber hotel to office

David Nizhner               3/29/2023          $16.59   Taxi: Uber from office to hotel

Steven Glustein             3/29/2023          $16.34   Taxi: Uber Hotel to Office

Cullen Stockmeyer           3/29/2023          $13.46   Taxi: Uber Office to hotel

Mark vanden Belt            3/29/2023           $3.39   Public Transport: Tube to/from Office

David Nizhner               3/30/2023          $77.64   Taxi: Uber from LGA to home

Steven Glustein             3/30/2023          $52.55   Taxi: Uber from Airport (Toronto, ON) to home

Mark vanden Belt            3/30/2023           $6.78   Public Transport: Tube from/to office

Robert Gordon               3/31/2023         $115.62   Taxi: Uber home to AUS

Robert Gordon               3/31/2023          $97.19   Taxi: Uber Airport to home

Cullen Stockmeyer           3/31/2023          $57.60   Taxi: Uber Airport to home

Robert Gordon               3/31/2023          $42.54   Taxi: Uber from DAL to Office

Robert Gordon               3/31/2023          $24.24   Taxi: Uber from office to airport

Mark vanden Belt            3/31/2023          $11.90   Public Transport: Tube from Moorgate to LCY

Robert Gordon               3/31/2023           $8.30   Taxi: Uber from Office to EY for client tax workshop

   Expense Category Total               $25,734.64



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                                        Miscellaneous

Professional/Service    Date         Expense      Expense Description

Gaurav Walia           12/12/2022        $29.00   In flight Wi-Fi to continue client work

Gaurav Walia           12/14/2022        $29.00   In flight Wi-Fi to continue client work

Gaurav Walia             1/9/2023        $29.00   In flight Wi-Fi to continue client work

Gaurav Walia            1/12/2023        $29.00   In flight Wi-Fi to continue client work

Gaurav Walia            1/19/2023        $29.00   In flight Wi-Fi to continue client work

Lance Clayton           2/21/2023        $12.00   In flight Wi-Fi to continue client work

Gaurav Walia            2/28/2023        $19.00   In flight Wi-Fi to continue client work

Johnny Gonzalez          3/2/2023        $59.95   In flight Wi-Fi to continue client work

Heather Ardizzoni        3/2/2023         $8.00   In flight Wi-Fi to continue client work

Rob Esposito             3/3/2023        $19.00   In flight Wi-Fi to continue client work

Joseph Sequeira          3/5/2023        $19.00   In flight Wi-Fi to continue client work

Rob Esposito             3/5/2023        $16.00   In flight Wi-Fi to continue client work

Heather Ardizzoni        3/5/2023         $8.00   In flight Wi-Fi to continue client work

Trevor DiNatale          3/5/2023         $8.00   In flight Wi-Fi to continue client work

Steve Kotarba            3/5/2023         $8.00   In flight Wi-Fi to continue client work

David Nizhner            3/6/2023        $19.00   In flight Wi-Fi to continue client work

Lance Clayton            3/8/2023         $8.00   In flight Wi-Fi to continue client work

Steven Glustein          3/9/2023        $47.80   In flight Wi-Fi to continue client work

David Nizhner            3/9/2023        $15.00   In flight Wi-Fi to continue client work

Joseph Sequeira         3/10/2023        $19.00   In flight Wi-Fi to continue client work

Rob Esposito            3/10/2023        $16.00   In flight Wi-Fi to continue client work

Heather Ardizzoni       3/10/2023         $8.00   In flight Wi-Fi to continue client work

Heather Ardizzoni       3/10/2023         $8.00   In flight Wi-Fi to continue client work

Trevor DiNatale         3/10/2023         $8.00   In flight Wi-Fi to continue client work

Claudia Sigman          3/10/2023         $8.00   In flight Wi-Fi to continue client work

Rob Esposito            3/12/2023        $16.00   In flight Wi-Fi to continue client work

Claudia Sigman          3/12/2023         $8.00   In flight Wi-Fi to continue client work

Trevor DiNatale         3/12/2023         $8.00   In flight Wi-Fi to continue client work

David Nizhner           3/13/2023        $15.00   In flight Wi-Fi to continue client work

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                                                                                                   Exhibit F


                                  FTX Trading Ltd., et al.,
                                Expense Detail by Category
                            March 1, 2023 through March 31, 2023


                                               Miscellaneous

Professional/Service        Date           Expense       Expense Description

Lance Clayton               3/13/2023            $8.00   In flight Wi-Fi to continue client work

David Nizhner               3/16/2023           $25.00   In flight Wi-Fi to continue client work

Trevor DiNatale             3/16/2023            $8.00   In flight Wi-Fi to continue client work

David Nizhner               3/27/2023           $25.00   In flight Wi-Fi to continue client work

Steve Coverick              3/28/2023           $29.98   In flight Wi-Fi to continue client work

Ed Mosley                   3/29/2023           $49.95   In flight Wi-Fi to continue client work

David Nizhner               3/30/2023           $25.00   In flight Wi-Fi to continue client work

   Expense Category Total                  $696.68


   Grand Total                          $541,063.33




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